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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    RELATIVITY MEDIA, LLC, et al.,1                             )        Case No. 18-11358 (MEW)
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

                                          AFFIDAVIT OF SERVICE

       I, Nuno Cardoso, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

       On August 2, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Master Service List
attached hereto as Exhibit A:

      •      Notice of Deadlines for the Filing of Proofs of Claim and Rejection Damages Claims, a
             sample of which is attached hereto as Exhibit B (the “Bar Date Notice”)

      •      a proof of claim form, a sample of which is attached hereto as Exhibit C (the “Proof of
             Claim Form”)




        On August 2, 2018, at my direction and under my supervision, employees of Prime Clerk
caused (1) the Bar Date Notice and a Proof of Claim Form, individualized to include the name
and address of the party, to be served on the date and by the method set forth on the Master
Mailing List attached hereto as Exhibit D, (2) the Bar Date Notice and a Proof of Claim Form,
customized to include the name and address of the party, the debtor, amount, nature and
classification of the scheduled claim, to be served via First Class Mail on the parties listed on the
Schedule DEF Parties Service List attached hereto as Exhibit E, and (3) the Bar Date Notice and
a Proof of Claim Form, individualized to include the name and address of the party and an
indication that the party appears on Schedule G, to be served via First Class Mail on the Parties
listed on the Schedule G Parties Service List attached hereto as Exhibit F.



1     Each of the Debtors in the above-captioned jointly administered chapter 11 cases and their respective tax
      identification numbers are set forth (a) in the Order (A) Authorizing the Joint Administration of their Chapter 11
      Cases and (B) Waiving Requirements of Section 342(C)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n)
      [Docket No. 5] and (b) at https://cases.primeclerk.com/relativity. The location of Relativity Media, LLC’s
      corporate headquarters and the Debtors’ service address is: 9242 Beverly Blvd #300, Beverly Hills, CA 90210.
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                             DESCRIPTION                                              NAME                                                          ADDRESS                            EMAIL        METHOD OF SERVICE
                                                                                                          c/o Gregory P. Korn
                                                                                                          Kinsella Weitzman Iser Kump & Aldisert LLP
                                                                                                          808 Wilshire Boulevard Third Floor
Top 50 Unsecured Creditor                                         Adam Fields                             Santa Monica CA 90401                               gkorn@kwikalaw.com               First Class Mail and Email
                                                                                                          Attention: John P. Campo, Sarir Silver
                                                                                                          666 Fifth Avenue
                                                                                                          20th Floor                                          john.campo@akerman.com
Counsel to Vector Media Holding Corp.                             Akerman LLP                             New York NY 10103                                   sarir.silver@akerman.com         First Class Mail and Email
                                                                                                          Attn: Joseph H. Matzkin Esq.
                                                                                                          co Partridge Snow & Hahn LLP
                                                                                                          30 Federal Street
Top 50 Unsecured Creditor                                         Allied Integrated Marketing             Boston MA 02110                                     jmatzkin@psh.com                 First Class Mail and Email
                                                                                                          Attn: President or General Counsel
                                                                                                          55 Cambridge Parkway Suite 200
Top 50 Unsecured Creditor                                         Allied Integrated Marketing             Cambridge MA 02142                                  jmatzkin@psh.com                 First Class Mail
                                                                                                          Attn: Leib M. Lerner
                                                                                                          333 South Hope Street
                                                                                                          16th Floor
Counsel to Twentieth Century Fox Home Entertainment LLC           Alston & Bird LLP                       Los Angeles CA 90071                                leib.lerner@alston.com           First Class Mail and Email
                                                                                                          Attn: William Hao
                                                                                                          90 Park Avenue
Counsel to Twentieth Century Fox Home Entertainment LLC           Alston & Bird LLP                       New York NY 10016-1387                              william.hao@alston.com           First Class Mail and Email
                                                                                                          Attn: Martin McGahan
                                                                                                          540 West Madison Street
                                                                                                          Suite 1800
Top 50 Unsecured Creditor                                         Alvarez & Marsal                        Chicago IL 60661                                    mmcgahan@alvarezandmarsal.com    First Class Mail and Email
                                                                                                          Attn: Joe Kohanski
                                                                                                          c/o Bush Gottlieb
                                                                  American Film Market & Conference       801 N. Brand Boulevard Suite 950
Top 50 Unsecured Creditor                                         (AFMC)                                  Glendale CA 91203                                   jkohanski@bushgottlieb.com       First Class Mail and Email
                                                                                                          Attn: Jason Starks Assistant Attorney General
                                                                                                          c/o Sherri K. Simpson Paralegal
                                                                  Attorney General's Office Bankuptcy &   PO Box 12548                                        bk-jstarks@oag.texas.gov
Counsel to the Texas Comptroller of Public Accounts               Collections Division                    Austin TX 78711-2548                                sherri.simpson@oag.texas.gov     First Class Mail and Email
                                                                                                          Attn: Jasa McCall
                                                                                                          c/o Treehouse Films LLC
                                                                                                          4450 Lakesire Drive Suite 225
Top 50 Unsecured Creditor                                         Black White LLC                         BURBANK CA 91505                                                                     First Class Mail
Top 50 Unsecured Creditor                                         Brett Dahl                              Address on file                                                                      First Class Mail and Email
                                                                                                          Attn: Eric George
                                                                                                          2121 Avenue of the Stars
                                                                                                          Suite 2800
Top 50 Unsecured Creditor                                         Browne George Ross LLP                  Los Angeles CA 90067                                egeorge@bgrfirm.com              First Class Mail and Email
                                                                                                          Attn: President or General Counsel
                                                                                                          1741 Ivar Avenue
Top 50 Unsecured Creditor                                           Buddha Jones                          Hollywood CA 90028                                  marinam@buddha-jones.com         First Class Mail and Email
Local counsel to the Directors Guild of America Inc. Screen Actors
Guild – American Federation of Television and Radio Artists
Writers Guild of America West Inc. Directors Guild of America Inc.-
Producer Pension and Health Plans Screen Actors Guild-Producers                                           Attn: Joseph A. Kohanski David E. Ahdoot
Pension & Health Plans Writers Guild Pension Plan and Industry                                            801 North Brand Boulevard
Health Fund and the Motion Picture Industry Pension and Health                                            Suite 950
Plans                                                               Bush Gottlieb A Law Corporation       Glendale CA 91203                                   jkohanski@bushgottlieb.com       First Class Mail and Email
                                                                                                          Attn: Scott Hughes, Sean Power
                                                                                                          150 East 42nd Street                                scott.hughes@dentsuaegis.com
Top 50 Unsecured Creditor                                         Carat USA                               New York NY 10017                                   Sean.Power@dentsuaegis.com       First Class Mail and Email
Top 50 Unsecured Creditor                                         Carol Genis                             Address on file                                                                      First Class Mail and Email




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                              DESCRIPTION                                            NAME                                                                   ADDRESS                                             EMAIL                  METHOD OF SERVICE
                                                                                                                Attn: Jeffrey A. Krieger
                                                                                                                c/o Greenberg Glusker Fields Claman & Machtinger LLP
                                                                                                                1900 Avenue of the Stars 21st Floor
Top 50 Unsecured Creditor                                         Christie Digital Systems USA                  Los Angeles CA 90067                                                    JKrieger@greenbergglusker.com             First Class Mail and Email
                                                                                                                Attn: John M. Kline Richard Wallace
                                                                                                                10550 Camden Drive                                                      Jack.Kline@christiedigital.com
Top 50 Unsecured Creditor                                         Christie Digital Systems USA                  Cypress CA 90630                                                        Richard.Wallace@christiedigital.com       First Class Mail and Email
                                                                                                                Attn: Gregory S. Loffredo
                                                                                                                902 Broadway
                                                                                                                9th Floor                                                               gloffredo@cinedigm.com
Top 50 Unsecured Creditor                                         Cinedigm Digital Cinema Corp                  New York NY 10010                                                       flupo@cinedigm.com                        First Class Mail and Email
                                                                                                                Attn: James S. Carr, Gilbert R. Saydah Jr. & Kristin S. Elliott, Esq.   jcarr@kelleydrye.com
                                                                                                                c/o Kelley Drye & Warren LLP                                            gsaydah@kelleydrye.com
                                                                                                                101 Park Avenue                                                          KDWBankruptcyDepartment@kelleydrye.com
Top 50 Unsecured Creditor                                         Cinedigm Digital Cinema Corp                  New York NY 10178                                                       kelliott@kelleydrye.com                   First Class Mail and Email
                                                                                                                Attn: President or General Counsel
                                                                    Cinedigm Digital Cinema Corp dba Pavilion   55 Madison Avenue Suite 300
Top 50 Unsecured Creditor                                           Theatre                                     Morristown NJ 07960                                                                                               First Class Mail
Local counsel to the Directors Guild of America Inc. Screen Actors
Guild – American Federation of Television and Radio Artists
Writers Guild of America West Inc. Directors Guild of America Inc.-
Producer Pension and Health Plans Screen Actors Guild-Producers                                            Attn: Richard M. Seltzer Peter D. DeChiara & Melissa S. Woods
Pension & Health Plans Writers Guild Pension Plan and Industry                                             900 Third Avenue                                                             rseltzer@cwsny.com
Health Fund and the Motion Picture Industry Pension and Health                                             21st Floor                                                                   pdechiara@cwsny.com
Plans                                                               Cohen Weiss & Simon LLP                New York NY 10022-4869                                                       mwoods@cwsny.com                          First Class Mail and Email
                                                                                                           Attn: President or General Counsel
                                                                                                           4201 Wilshire Boulevard
                                                                                                           5th Floor
Top 50 Unsecured Creditor                                         Concept Arts Studios Inc.                Los Angeles CA 90010                                                         frontdesk@conceptarts.com                 First Class Mail and Email
                                                                                                           c/o Don Steele
                                                                                                           450 N. Roxbury Drive
                                                                                                           8th Floor
Top 50 Unsecured Creditor                                         Dana Brunetti                            Beverly Hills CA 90210-4222                                                  ds@hjth.com                               First Class Mail and Email
                                                                                                           Attn: President or General Counsel
                                                                                                           File #56477
Top 50 Unsecured Creditor                                         Deluxe Digital Cinema Inc.               Los Angeles CA 90074                                                                                                   First Class Mail
                                                                                                           Attn: Robert K. Malone
                                                                                                           600 Campus Drive
Top 50 Unsecured Creditor                                         Drinker Biddle                           Florham Park NJ 07932-1047                                                   robert.malone@dbr.com                     First Class Mail and Email
                                                                                                           Attn: Bankruptcy Division
                                                                                                           1200 Pennsylvania Ave NW
Environmental Protection Agency                                   Environmental Protection Agency          Washington DC 20460                                                                                                    First Class Mail
                                                                                                           Attn: Bankruptcy Division
                                                                  Environmental Protection Agency Region 2 290 Broadway
Environmental Protection Agency Region 2 (NJ NY PR VI             (NJ NY PR VI                             New York NY 10007                                                                                                      First Class Mail
                                                                                                           Attn: George R. Mesires
                                                                                                           311 South Wacker Drive
Counsel to Technicolor Inc.                                       Faegre Baker Daniels LLP                 Chicago IL 60606                                                             george.mesires@Faegrebd.com               First Class Mail and Email
                                                                                                           Attn: Kristina M. Wesch & Patrick Collins
                                                                                                           400 RXR Plaza                                                                kwesch@farrellfritz.com
Counsel to Ryan Kavanaugh                                         Farrell Fritz, P.C.                      Uniondale NY 11556                                                           pcollins@farrellfritz.com                 First Class Mail and Email
                                                                                                           Attn: James W. Hale
                                                                                                           751 Fairfax Avenue
Top 50 Unsecured Creditor                                         Fishbowl LLC                             Los Angeles CA 90046                                                         jim@fishbowlfilms.net                     First Class Mail and Email




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                                                                                                                                    Served as set forth below


                              DESCRIPTION                                          NAME                                                                ADDRESS                                     EMAIL           METHOD OF SERVICE
                                                                                                             Attn: Jane K. Springwater, Esq.
                                                                                                             350 Sansome Street
Counsel for Universal Music Enterprises,                                                                     Suite 210
a division of UMG Recordings, Inc.                              Friedman & Springwater LLP                   San Francisco CA 94104                                        jspringwater@friedmanspring.com    First Class Mail and Email
                                                                                                             Attn: Jason Shin
                                                                                                             1016 West Magnolia Boulevard
Top 50 Unsecured Creditor                                       GDC Digital Cinema Network (USA LLC          Burbank CA 91506                                              jason.shin@gdc-tech.com            First Class Mail and Email
                                                                                                             Attn: Matthew K. Kelsey, J. Eric Wise & Matthew P. Porcelli   MKelsey@gibsondunn.com
Counsel to Macquarie US Trading LLC and Crystal Screens Media                                                200 Park Avenue                                               EWise@gibsondunn.com
Inc.                                                            Gibson, Dunn & Crutcher LLP                  New York NY 10166                                             MPorcelli@gibsondunn.com           First Class Mail and Email
                                                                                                             Attn: Samuel A. Newman & Daniel B. Denny
Counsel to Macquarie US Trading LLC and Crystal Screens Media                                                333 South Grand Avenue                                        SNewman@gibsondunn.com
Inc.                                                            Gibson, Dunn & Crutcher LLP                  Los Angeles CA 90071-3197                                     DDenny@gibsondunn.com              First Class Mail and Email
                                                                                                             Attn: Harley J. Goldstein, Esq.
                                                                                                             111 W Washington St.,
                                                                                                             Ste. 1221
Counsel to WWE Studios, Inc.                                    Goldstein & McClintock LLP                   Chicago IL 60602                                              harleyg@restructuringshop.com      First Class Mail and Email
                                                                                                             Attention: Legal Department
                                                                                                             1600 Amphitheatre Pkwy
Interested Party                                                Google LLC                                   Mountain View CA 94043                                                                           First Class Mail
                                                                                                             Attn: Joe Kohanski
                                                                                                             c/o Bush Gottlieb
                                                                                                             801 N. Brand Boulevard Suite 950
Top 50 Unsecured Creditor                                       Guild's Counsel                              Glendale CA 91203                                             jkohanski@bushgottlieb.com         First Class Mail and Email
                                                                                                             Attn: David Miller
                                                                                                             40 West 57th Street
Top 50 Unsecured Creditor                                       Heatherden Securities LLC                    New York NY 10019                                             Keith.Wofford@ropesgray.com        First Class Mail and Email
                                                                                                             Attn: President or General Counsel
                                                                                                             12777 W Jefferson Blvd
                                                                                                             Suite 100
Top 50 Unsecured Creditor                                       HYFN Inc.                                    Los Angeles CA 90066-7034                                                                        First Class Mail
                                                                                                             Attn: Centralized Insolvency Operation
                                                                                                             2970 Market Street
IRS Insolvency Section                                          Internal Revenue Service                     Philadelphia PA 19104-5016                                    Mimi.M.Wong@irscounsel.treas.gov   First Class Mail and Email
                                                                                                             Attn: Centralized Insolvency Operation
                                                                                                             P.O. Box 7346
IRS Insolvency Section                                          Internal Revenue Service                     Philadelphia PA 19101-7346                                    Mimi.M.Wong@irscounsel.treas.gov   First Class Mail and Email
                                                                                                             Attn: Joe Kohanski
                                                                                                             c/o Bush Gottlieb
                                                                International Alliance of Theatrical Stage   801 N. Brand Boulevard Suite 950
Top 50 Unsecured Creditor                                       Employees (IATSE)                            Glendale CA 91203                                             jkohanski@bushgottlieb.com         First Class Mail and Email
                                                                                                             Attn: Todd Geremia
                                                                                                             250 Vesey Street
Top 50 Unsecured Creditor                                       Jones Day                                    New York NY 10281-1047                                        trgeremia@jonesday.com             First Class Mail and Email
                                                                                                             Attn: Chief Executive Officer
                                                                                                             c/o Digital Cinema Implementation Partners LLC
                                                                                                             One International Boulevard 9th Floor
Top 50 Unsecured Creditor                                       Kasima LLC                                   Mahwah NJ 07495                                               christine@dcipllc.com              First Class Mail and Email
                                                                                                             Attn: Andrew Glenn
                                                                                                             1633 Broadway
Top 50 Unsecured Creditor                                       Kasowitz Benson Torres & Friedman LLP        New York NY 10019                                             aglenn@kasowitz.com                First Class Mail and Email
Top 50 Unsecured Creditor                                       Ken Halsband                                 Address on file                                                                                  First Class Mail and Email
                                                                                                             Attn: Arthur J. Steinberg Esq.
Counsel to the Prepetition Midcap Secured                                                                    1185 Avenue of the Americas
Lenders                                                         King & Spalding LLP                          New York NY 10036                                             asteinberg@kslaw.com               First Class Mail and Email




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                              DESCRIPTION                                     NAME                                                              ADDRESS                                  EMAIL        METHOD OF SERVICE
                                                                                                     Attn: Thomas E. Patterson & Julian I. Gurule
                                                                                                     1999 Avenue of the Stars
                                                                                                     39th Floor                                                   tpatterson@ktbslaw.com
Counsel to Netflix Inc.                                    Klee, Tuchin, Bogdanoff & Stern LLP       Los Angeles CA 90067                                         jgurule@ktbslaw.com            First Class Mail and Email
                                                                                                     Attn: Jeffrey Mispagel
                                                                                                     885 Third Avenue
Counsel to RKA Film Financing, LLC                         Latham & Watkins LLP                      New York NY 10022                                            jeffrey.mispagel@lw.com        First Class Mail and Email
                                                                                                     Attn: Matthew L. Warren, Lindsey Henrikson
                                                                                                     330 North Wabash Avenue
                                                                                                     Suite 2800                                                   matthew.warren@lw.com
Counsel to RKA Film Financing, LLC                         Latham & Watkins LLP                      Chicago IL 60611                                             lindsey.henrikson@lw.com       First Class Mail and Email
                                                                                                     Attn: Janis Grubin
                                                                                                     885 Third Avenue
                                                                                                     16th Floor
Counsel to Relativity Secured Lender                       LeClair Ryan                              New York NY 10022                                            janice.grubin@leclairyan.com   First Class Mail and Email
                                                                                                     Attn: President or General Counsel
                                                                                                     1 St. Paul Street Suite 701
Top 50 Unsecured Creditor                                  Left Behind Investments                   St. Catharines ON L2R 7L Canada                              scott@ollawood.com             First Class Mail and Email
                                                                                                     c/o Togut Segal & Segal LLP
                                                                                                     Attn Frank A. Oswald
                                                                                                     One Penn Plaza Suite 3335
Top 50 Unsecured Creditor                                  Litigation Trust                          New York NY 10119                                            frankoswald@teamtogut.com      First Class Mail and Email
                                                                                                     Attn: Richard Stern, Stephan E. Hornung
                                                                                                     Eleven Times Square                                          stern@lsellp.com
Counsel to Viacom International Inc. and its Affiliates    Luskin, Stern & Eisler LLP                New York NY 10036                                            hornung@lsellp.com             First Class Mail and Email
                                                                                                     Attn: CMS AR
                                                                                                     P.O. Box 270355
Top 50 Unsecured Creditor                                  Market Force Information Inc              Louisville CO 80027                                                                         First Class Mail
                                                                                                     Attn: Scott H. McNutt
                                                                                                     219 9th Street
Counsel to Netflix Inc.                                    McNutt Law Group LLP                      San Francisco CA 94103                                       smcnutt@ml-sf.com              First Class Mail and Email
                                                                                                     Attn: President or General Counsel
                                                                                                     5750 Wilshire Boulevard
                                                                                                     Suite 530
Top 50 Unsecured Creditor                                  Mob Scene LLC                             Los Angeles CA 90036                                         brett.abbey@mobscene.com       First Class Mail and Email
                                                                                                     Attn: President or General Counsel
                                                                                                     5780 W. Jefferson
Top 50 Unsecured Creditor                                  National Research Group Inc dba NRG       Los Angeles CA 90016                                         inquiry@nrgmr.com              First Class Mail and Email
                                                                                                     Attn: Benjamin J. Higgins, Greg M. Zipes and Serene Nakano
                                                                                                     U.S. Federal Office Building                                 greg.zipes@usdoj.gov
                                                           Office of the United States Trustee for   201 Varick Street Suite 1006                                 Serene.Nakano@usdoj.gov
United States Trustee Southern District of New York        Region 2                                  New York NY 10014                                            benjamin.j.higgins@usdoj.gov   Overnight Mail and Email
                                                                                                     Attn: Daniel A. Lowenthal
                                                                                                     1133 Avenue of the Americas
Counsel to Winston & Strawn LLP                            Patterson Belknap Webb & Tyler LLP        New York NY 10036-6710                                       dalowenthal@pbwt.com           First Class Mail and Email
                                                                                                     Attn: Hamish Allanson
                                                                                                     11401 Chalon Road
Top 50 Unsecured Creditor                                  QNO LLC                                   Los Angeles CA 90049                                                                        First Class Mail
                                                                                                     Attn: Jason Wallach
                                                                                                     co Gipson Hoffman & Pancione
                                                                                                     1901 Avenue of Starts Suite 1100
Top 50 Unsecured Creditor                                  QNO LLC                                   Los Angeles CA 90067                                         jwallach@ghplaw.com            First Class Mail and Email
                                                                                                     Attn: Hamid R. Rafatjoo
                                                                                                     1800 Avenue of the Stars
                                                                                                     12th Floor
Counsel for Carol Genis, Creditor and Party in Interest    Raines Feldman LLP                        Los Angeles CA 90067                                         hrafatjoo@raineslaw.com        First Class Mail and Email




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                              DESCRIPTION                                     NAME                                                             ADDRESS                          EMAIL             METHOD OF SERVICE
                                                                                                  Attn: Kevin McDonald
                                                                                                  c/o EuropaCorp USA
                                                                                                  345 N. Maple Drive Suite 123
Top 50 Unsecured Creditor                                 RED                                     Beverly Hills CA 90210                                 kmcdonald@europacorp.com            First Class Mail and Email
                                                                                                  Attn: Robert Engel
                                                          Regal Entertainment Group - Attn Film   7132 Regal Lane
Top 50 Unsecured Creditor                                 Division                                Knoxville TN 37918                                     bob.engel@regalcinemas.com          First Class Mail and Email
                                                                                                  Attn: Robert Engel
                                                          Regal Entertainment Group - Attn Film   P.O. Box 844360
Top 50 Unsecured Creditor                                 Division                                Los Angeles CA 90084                                   Bob.Engel@regalcinemas.com          First Class Mail and Email
Top 50 Unsecured Creditor                                 Reid Rogers                             Address on file                                                                            First Class Mail and Email
                                                                                                  Attn: Lori Sinanyan
                                                                                                  9242 Beverly Boulevard
                                                                                                  Suite 300
Debtors                                                   Relativity Media LLC                    Beverly Hills CA 90210                                 lori.sinanyan@relativitymedia.com   Email
                                                                                                  Attn: Joseph Nicholas
                                                                                                  10 South Riverside Plaza
                                                                                                  Suite 700
Relativity Secured Lender                                 Relativity Secured Lender               Chicago IL 60606                                                                           First Class Mail
                                                                                                  Attn: Joseph Nicholas
                                                                                                  17001 Collins Ave., Suite 4305
Relativity Secured Lender, LLC                            Relativity Secured Lender, LLC          North Miami FL 33160                                                                       First Class Mail
                                                                                                  Attn: Douglas Schneller
                                                                                                  245 Park Avenue
                                                                                                  39th Floor
Counsel to Pure Flix Entertainment, LLC                   Rimon, P.C.                             New York NY 10167                                      douglas.schneller@rimonlaw.com      First Class Mail and Email
                                                                                                  Attn: Lillian Stenfeldt
                                                                                                  One Embarcadero Center
                                                                                                   #400
Counsel to Pure Flix Entertainment, LLC                   Rimon, P.C.                             San Francisco CA 94111                                 lillian.stenfeldt@rimonlaw.com      First Class Mail and Email
                                                                                                  c/o Bernstein Shur
                                                                                                  100 Middle Street
                                                                                                  P.O. Box 9729
Top 50 Unsecured Creditor                                 Robert Keach                            Portland ME 04104-5029                                 rkeach@bernsteinshur.com            First Class Mail and Email
                                                                                                  Attn: Minyao Wang
                                                                                                  399 Park Avenue
Proposed Counsel to the Official Committee of Unsecured                                           Suite 3600
Creditors                                                 Robins Kaplan LLP                       New York NY 10022                                      mwang@robinskaplan.com              First Class Mail and Email
                                                                                                  Attn: Scott F. Gautier, Michael T. Delaney
                                                                                                  2049 Century Park East
Proposed Counsel to the Official Committee of Unsecured                                           Suite 3400                                             SGautier@RobinsKaplan.com
Creditors                                                 Robins Kaplan LLP                       Los Angeles CA 90067                                   mdelaney@robinskaplan.com           First Class Mail and Email

Top 50 Unsecured Creditor                                 Ryan Kavanaugh                          Address on file                                                                            First Class Mail and Email
                                                                                                  Attn: Adam C. Harris Kristine Manoukian
                                                                                                  919 Third Avenue                                       adam.harris@srz.com
Counsel to UltraV Holdings LLC                            Schulte Roth & Zabel LLP                New York NY 10022                                      Kristine.Manoukian@srz.com          First Class Mail and Email
                                                                                                  Attn: Secretary of the Treasury
                                                                                                  100 F Street NE                                        secbankruptcy@sec.gov
Securities and Exchange Commission - Headquarters         Securities & Exchange Commission        Washington DC 20549                                    NYROBankruptcy@sec.gov              First Class Mail and Email
                                                                                                  Attn: Bankruptcy Department
                                                                                                  Brookfield Place
                                                          Securities & Exchange Commission – NY   200 Vesey Street Suite 400
Securities and Exchange Commission - Regional Office      Office                                  New York NY 10281-1022                                 bankruptcynoticeschr@sec.gov        First Class Mail and Email
                                                                                                  Attn: David Sunkin
                                                                                                  333 South Hope Street 43rd Floor
Top 50 Unsecured Creditor                                 Sheppard Mullin Richter & Hampton LLP   Los Angeles CA 90071-1422                              dsunkin@sheppardmullin.com          First Class Mail and Email




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                              DESCRIPTION                                           NAME                                                                   ADDRESS                                                   EMAIL                METHOD OF SERVICE
                                                                                                              Attn: Ronald M. Tucker, Esq.
                                                                                                              225 West Washington Street
Counsel to Simon Properties Group, L.P.                             Simon Property Group, L.P.                Indianapolis ID 46204                                                            rtucker@simon.com                     First Class Mail and Email
                                                                                                              Attn: Van C. Durrer II
                                                                                                              300 S. Grand Avenue Suite 3400
Top 50 Unsecured Creditor                                           Skadden Arps Slate Meagher & Flom LLP     Los Angeles CA 90071                                                             van.durrer@skadden.com                First Class Mail and Email
                                                                                                              Attn: President or General Counsel
                                                                                                              16530 Via Esprillo
Top 50 Unsecured Creditor                                           Sony Electronics Inc                      San Diego CA 92127                                                                                                     First Class Mail
                                                                                                              Attn: Brent Almond
                                                                                                              23852 Pacific Coast Highway
                                                                                                              Suite 465
Top 50 Unsecured Creditor                                           Story Pictures                            Malibu CA 90265                                                                                                        First Class Mail
                                                                                                              Attn: Victor A. Sahn, Jason D. Balitzer, Claire K. Wu
                                                                                                              333 South Hope Street                                                            vsahn@sulmeyerlaw.com
                                                                                                              35th Floor                                                                       jbalitzer@sulmeyerlaw.com
Counsel for Kenneth Halsband, creditor and party in interest        SulmeyerKupetz A Professional Corporation Los Angeles CA 90071                                                             ckwu@sulmeyerlaw.com                  First Class Mail and Email
                                                                                                              Attn: Jack J. Hagerty
                                                                                                              111 East Wacker Suite 2800
Top 50 Unsecured Creditor                                           Taft Stettinius & Hollister LLP           Chicago IL 60601                                                                 jhagerty@taftlaw.com                  First Class Mail and Email
                                                                                                              Attn: Frank A. Oswald Neil Berger Charles Person Jacob Herz Esq.                 frankoswald@teamtogut.com
                                                                                                              One Penn Plaza                                                                   neilberger@teamtogut.com
Top 50 Unsecured Creditor and Counsel to the Relativity Litigation                                            Suite 3335                                                                       cpersons@teamtogut.com
Trust                                                               Togut Segal & Segal LLP                   New York NY 10119                                                                jherz@teamtogut.com                   First Class Mail and Email
                                                                                                              Attn: Mitchel H. Perkiel & Brett D. Goodman
Counsel to Ollawood Productions, LLC, individually and as attorney-                                           875 Third Avenue                                                                 mitchel.perkiel@troutmansanders.com
in-fact of Left Behind Investments, LLC                             Troutman Sanders LLP                      New York NY 10022                                                                brett.goodman@troutmansanders.com     First Class Mail and Email
                                                                                                              Attn: Bankruptcy Division                                                        David.Jones6@usdoj.gov
                                                                                                              86 Chambers Street                                                               Jeffrey.Oestericher@usdoj.gov
United States Attorney's Office for the Southern District of New    US Attorney for Southern District of New  3rd Floor                                                                        Joseph.Cordaro@usdoj.gov
York                                                                York                                      New York NY 10007                                                                Carina.Schoenberger@usdoj.gov         First Class Mail and Email
Counsel to Boy of Year, Inc., Leslie Dixon, Many Rivers                                                       Attn: Jeffrey S. Sabin, Esq.
Productions, Inc., and Scott Kroopf; Counsel to Music For the                                                 1270 Avenue of the Americas
People and Mark Wahlberg                                            Venable LLP                               New York NY 10020                                                                jssabin@venable.com                   First Class Mail and Email
                                                                                                              Attn: Keith C. Owens
Counsel to Boy of Year, Inc., Leslie Dixon, Many Rivers                                                       2049 Century Park East
Productions, Inc., and Scott Kroopf; Counsel to Music For the                                                 Suite 2300
People and Mark Wahlberg                                            Venable LLP                               Los Angeles CA 90067                                                             kowens@venable.com                    First Class Mail and Email
                                                                                                              Attn: Christa A. D'Alimonte
                                                                                                              1515 Broadway
Top 50 Unsecured Creditor                                           Viacom                                    New York NY 10036                                                                christa.d' alimonte@viacom.com        First Class Mail and Email
                                                                                                                                                                                               jlongmire@willkie.com
                                                                                                             Attn: John C. Longmire, Antonio Yanez, Jr., Jeffrey B. Korn, & Matthew Freimuth   ayanez@willkie.com
                                                                                                             787 Seventh Avenue                                                                jkorn@willkie.com
Special Litigation Counsel to the Debtors                        Willkie Farr & Gallagher LLP                New York NY 10019                                                                 mfreimuth@willkie.com                 Email
                                                                                                                                                                                               dmcguire@winston.com
                                                                                                                                                                                               jrawlins@winston.com
                                                                                                             Attn: Justin E. Rawlins, Daniel J. McGuire, & Carrie V. Hardman                   chardman@winston.com
                                                                                                             200 Park Avenue                                                                   cschreiber@winston.com
Counsel to Debtors                                               Winston & Strawn LLP                        New York NY 10166-4193                                                            agobersims@winston.com                Email
                                                                                                             Attn: Robert Myers
                                                                                                             9006 Melrose Avenue
Top 50 Unsecured Creditor                                        Workshop Creative LLC                       West Hollywood CA 90069                                                           robm@workshopcreative.net             First Class Mail and Email




            In re: Relativity Media, LLC, et al.
            Case No. 18-11358 (MEW)                                                                                                        Page 6 of 6
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Justin E. Rawlins (admitted pro hac vice)
Daniel J. McGuire (admitted pro hac vice)
Carrie V. Hardman
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166
Tel: (212) 294-6700
Fax: (212) 294-4700
Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 11

    RELATIVITY MEDIA, LLC, et al.,1                           Case No. 18-11358 (MEW)

                               Debtors.                       (Jointly Administered)


                           NOTICE OF DEADLINES FOR THE FILING OF
                       PROOFS OF CLAIM AND REJECTION DAMAGES CLAIMS

             PLEASE TAKE NOTICE THAT

             1.     On May 3, 2018 (the “Petition Date”), the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of

the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern

District of New York (the “Court”).

             2.     On July 27, 2018, the Court entered an order [Docket. No. 399] the (“Bar Date Order”)2

establishing certain dates by which parties (other than parties and entities that are exempt from filing

proof(s) of claim pursuant to the Bar Date Order) holding prepetition claims against the Debtors (including

governmental units) must file proofs of claim (“Proofs of Claim”), including, without limitation, claims




1
  Each of the Debtors in the above-captioned jointly administered chapter 11 cases and their respective tax
identification numbers are set forth (a) in the Order (A) Authorizing the Joint Administration of their Chapter 11 Cases
and (B) Waiving Requirements of Section 342(C)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n) [Docket
No. 5] and (b) at https://cases.primeclerk.com/relativity. The location of Relativity Media, LLC’s corporate
headquarters and the Debtors’ service address is: 9242 Beverly Blvd #300, Beverly Hills, CA 90210.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Bar Date Order.
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arising under section 503(b)(9) of the Bankruptcy Code and claims for damages arising from the Debtors’

rejection of executory contracts or unexpired leases. For your convenience, enclosed with this notice (this

“Notice”) is a proof of claim form prepared for these chapter 11 cases.

        3.      As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of

the Bankruptcy Code, and includes all persons, estates, trusts and governmental units. The terms “persons”

and “governmental units” are defined in sections 101(41) and 101(27) of the Bankruptcy Code,

respectively.

        4.      As used in this Notice, the term “claim” means, as to or against the Debtors and in

accordance with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or not such right

is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,

undisputed, legal, equitable, secured or unsecured; or (b) any right to an equitable remedy for breach of

performance if such breach gives rise to a right to payment, whether or not such right to an equitable remedy

is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.

I.      The Bar Dates

        5.      The Bar Date Order establishes the following bar dates for filing Proofs of Claim in the

Debtors’ chapter 11 cases:

        6.      General Bar Date: Pursuant to the Bar Date Order, except as described below, all entities

holding claims against any Debtor that arose or are deemed to have arisen prior to the Petition Date,

including claims arising under section 503(b)(9) of the Bankruptcy Code, are required to file Proofs of

Claim so that such Proofs of Claim are actually received by Prime Clerk on or before September 12, 2018

at 5:00 p.m. (Eastern Time) (the “General Bar Date”). The General Bar Date applies to all types of

claims against any Debtor that arose prior to the Petition Date (except to claims that are exempt from

complying with the General Bar Date pursuant to the Bar Date Order), including, without limitation,

secured claims, unsecured priority claims, unsecured non-priority claims and claims arising under section

503(b)(9) of the Bankruptcy Code.



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        7.       Governmental Bar Date. Pursuant to the Bar Date Order, all governmental units holding

claims against the Debtors that arose or are deemed to have arisen prior to the Petition Date are required to

file Proofs of Claim so that such Proofs of Claim are actually received by Prime Clerk on or before October

30, 2018 at 5:00 p.m. (Eastern Time) (“Governmental Bar Date”). The Governmental Bar Date applies

to all governmental units holding claims against the Debtors (whether secured, unsecured priority or

unsecured non-priority) that arose prior to the Petition Date, including, without limitation, governmental

units with claims against the Debtors for unpaid taxes, whether such claims arise from prepetition tax years

or periods or prepetition transactions to which the Debtors were a party.

        8.       Supplemental Bar Date. Pursuant to the Bar Date Order, all parties asserting claims

against the Debtors’ estates that are affected by an amendment or supplement to the Schedules are required

to file Proofs of Claim so that such Proofs of Claim are actually received by Prime Clerk by the later of:

(a) the applicable Bar Date; and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days

from service of the notice to the affected creditors that the Schedules have been amended or supplemented

(the “Supplemental Bar Date”); provided, however, that persons and entities that are exempt from filing

proof(s) of claim are not required to file a proof of claim or request for payment of an administrative expense

by such Supplemental Bar Date.

        9.       Rejection Bar Date. Pursuant to the Bar Date Order, except as otherwise provided herein

and entities that are exempt from filing proof(s) of claim under the Bar Date Order, all parties asserting

claims against the Debtors arising from the Debtors’ rejection of an executory contract or unexpired lease

are required to file Proofs of Claim with respect to such rejection so that such Proofs of Claim are actually

received by Prime Clerk by the later of: (a) the applicable Bar Date; (b) 5:00 p.m. (prevailing Eastern Time)

on the date that is 30 days following the date of service of notice of entry of an order authorizing the

rejection of such executory contract or unexpired lease (which order may include an order confirming a

plan of reorganization for the Debtors pursuant to chapter 11 of the Bankruptcy Code; provided, however,

in this instance, the bar date shall be 30 days following the date specific notice of such rejection pursuant

to such confirmation order is provided to a non-debtor counterparty to an executory contract or unexpired

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lease); or (c) the date set by any other order of the Court authorizing rejection of such contract or lease (the

“Rejection Bar Date” and, together with the General Bar Date, the Governmental Bar Date and the

Supplemental Bar Date, the “Bar Dates”).

II.     Parties Required to File Proofs of Claim

        10.      The following categories of claimants (unless such claimant is exempt from filing a proof

of claim or complying with the applicable Bar Date pursuant to the Bar Date Order) shall be required to file

a proof of claim by the applicable Bar Date: (i) any entity whose Prepetition Claim against a Debtor is not

listed in the applicable Debtor’s Schedules or is listed as “disputed,” “contingent” or “unliquidated” and

desires to share in any distribution to creditors in the chapter 11 cases; (ii) any entity that believes that its

claim is improperly classified in the Schedules or is listed in an incorrect amount and who desires to have

its claim allowed in a different classification or amount; (iii) any entity that believes that any Prepetition

Claim as listed in the Schedules is not an obligation of the specific Debtor against which the claim is listed

and that desires to have its claim allowed against a different Debtor; and (iv) any entity who believes that

its claim against a Debtor is or may be entitled to priority under section 503(b)(9) of the Bankruptcy Code.

III.    Claims for Which a Proof of Claim Need Not be Filed

        1.       Certain parties are not required to file Proofs of Claim. The Court may, however, enter

one or more separate orders at a later time requiring creditors to file Proofs of Claim for some kinds of the

following claims and setting related deadlines. If the Court does enter such an order, you will receive notice

of it. Proofs of claim need not be filed on or before the Bar Dates, solely with respect to the claims subject

to the Bar Date and solely with respect to the types of claims described below:

        a.       Any claim held by a claimant who has already filed against the Debtors with respect to the
                 claim being asserted in the above-captioned case in a form substantially similar to Official
                 Bankruptcy Form No. 410;

        b.       Any claim that is listed on the Schedules, provided that (i) the claim is not scheduled as
                 “disputed”, “contingent” or “unliquidated”; (ii) the claimant does not disagree with the
                 amount, nature and priority of the claim as set forth in the Schedules; and (iii) the claimant
                 does not dispute that the claim is an obligation of the specific Debtor against which the
                 claim is listed in the Schedules;



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        c.       Any a claim that has been allowed, or who is exempt from filing a claim, by an order of
                 this Court;

        d.       Any claim has been paid in full;

        e.       Any claim for which specific deadlines have previously been fixed by this Court;

        f.       Any claim by a Debtor against another Debtor in these chapter 11 cases;

        g.       Any claim allowable under sections 503(b) and 507(a)(2) of the Bankruptcy Code as an
                 expense of administration;

        h.       Any claim by the DIP Lender, Prepetition Secured Note Lender3 and the Relativity Secured
                 Lender whose claims shall be deemed timely filed and valid proofs of claim (without the
                 need for the DIP Lender or Prepetition Secured Note Lender to file a proof of claim) against
                 each Debtor, guarantor and obligor in each of the Debtors’ chapter 11 cases and in any
                 Successor Case; and

        i.       Any claim by an employee of the Debtors, but only to the extent that such claim is solely
                 for reimbursement of ordinary course business expenses or outstanding wages, base salary,
                 commissions, benefits, bonuses or other ordinary course compensation; provided,
                 however, that any employee of the Debtors who wishes to assert a claim against the
                 Debtors that is not based solely on reimbursement of ordinary course business expenses or
                 outstanding wages, base salary, commissions, benefits, bonuses or other ordinary course
                 compensation must file a proof of claim for such claim on or prior to the General Bar Date.

IV.     No Requirement to File Proofs of Interest

        11.      Any person or entity holding an equity interest in the Debtors (an “Interest Holder”),

which interest is based exclusively upon the ownership of stock in a corporation or warrants or rights to

purchase, sell or subscribe to such a security or interest (any such security or interest referred to herein as

an “Interest”), need not file a proof of such Interest on or before the General Bar Date; provided, however,

that any Interest Holder who wishes to assert a prepetition claim against the Debtors that is not based solely

on account of such Interest, including, but not limited to, prepetition claims arising from the issuance,

purchase or sale of such Interest, must file a proof of claim for such claim on or prior to the General Bar

Date unless another exception identified in this Notice or the Bar Date Order applies.




3
  All references herein to the DIP Lender and Prepetition Secured Note Lender shall include, in each case, each of
their successors and assigns and their professionals. For the avoidance of doubt, notwithstanding anything to the
contrary herein, the professionals of the DIP Lender and Prepetition Secured Note Lender are not required to file
proofs of claim in any of these chapter 11 cases or Successor Cases.

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V.      Instructions for Filing Proof of Claim

        12.      Each Proof of Claim must (a) conform substantially to Official Bankruptcy Form No. 410;

(b)   be      filed     either   electronically   through    Prime     Clerk’s    website,    located     at

https://cases.primeclerk.com/relativity, or by mailing the original proof of claim either by U.S. Postal

Service mail or overnight delivery to Relativity Media, LLC Claims Processing Center, c/o Prime Clerk

LLC, 850 3rd Avenue, Suite 412, Brooklyn, NY 11232; (c) be actually received by Prime Clerk or the Clerk

of the Bankruptcy Court on or before the applicable Bar Date; (d) except for any proof of claim filed by the

DIP Lender, Prepetition Secured Note Lender and/or Relativity Secured Lender, specify by name and case

number the Debtor against which the claim is filed (if the holder asserts a claim against more than one

Debtor or has claims against different Debtors, a separate proof of claim form must be filed with respect to

each Debtor) and (e) (i) be signed; (ii) include supporting documentation or an explanation as to why

documentation is not available, provided, however, the DIP Lender and Prepetition Secured Note Lender

are not required to file or include any supporting documentation on which any of their respective claims

are based with any proof of claim that the Prepetition Secured Note Lender may file; (iii) be in the English

language; and (iv) be denominated in United States currency.

        13.      Section 503(b)(9) Requests for Payment. Any Proof of Claim asserting a claim arising

under section 503(b)(9) of the Bankruptcy Code must also (i) include the value of the goods delivered to

and received by the Debtors in the 20 days prior to the Petition Date; (ii) attach any documentation

identifying the particular invoices for which such 503(b)(9) claim is being asserted; and (iii) attach

documentation of any reclamation demand made to the Debtors under section 546(c) of the Bankruptcy

Code (if applicable).

        14.      Proofs of Claim that are not filed in accordance with the instructions above and in

the Bar Date Order will not be deemed timely filed.




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VI.     Consequences of Failing to Timely File Your Proof of Claim

        15.     Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you

are required, but fail, to file a Proof of Claim in accordance with the Bar Date Order on or before the

applicable Bar Date, please be advised that: (i) you will be forever barred, estopped, and enjoined from

asserting such claim against any of the Debtors (or filing a proof of claim with respect thereto in these

chapter 11 cases); (ii) the Debtors and their property shall be forever discharged from any and all

indebtedness or liability with respect to or arising from such claim; (iii) you will not receive any

distribution in these chapter 11 cases on account of that claim; and (iv) you will not be permitted to

vote on any chapter 11 plan for the Debtors on account of that claim or receive further notices

regarding such claim.

VII.    Additional Information

        16.     Copies of the Schedules, the Bar Date Order and other information regarding these chapter

11 cases are available for inspection free of charge at https://cases.primeclerk.com/relativity.      The

Schedules and other filings in these chapter 11 cases also are available for a fee at the Court’s website:

https://ecf.nysb.uscourts.gov/. A login identification and password to the Court’s Public Access to Court

Electronic Records (“PACER”) are required to access this information and can be obtained through the

PACER Service Center at http://www.pacer.psc.uscourts.gov.        If you require additional information

regarding the filing of a proof of claim, you may contact Prime Clerk directly at In re Relativity Media,

LLC, Claims Processing Center, c/o Prime Clerk LLC, 850 3rd Avenue, Suite 412, Brooklyn, NY 11232,

or by telephone at (866) 355-3940 (for domestic or Canadian callers) or (323) 406-6362 (for international

callers), or by email at relativityinfo@primeclerk.com.

                                       [continued on the next page]




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VIII.     Reservation of Rights

          17.    Nothing contained in this Notice is intended, or should be construed, as a waiver of the

rights of the Debtors or any party in interest to (a) dispute, or assert offsets or defenses against, any claim

asserted by a Proof of Claim or listed on the Schedules; (b) subsequently designate any scheduled claim as

disputed, contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.

          18.    To the extent of any inconsistency between this Notice and this Bar Date Order, the terms

of the Bar Date Order shall govern.

 Dated:     July 30, 2018               WINSTON & STRAWN LLP
            New York, NY
                                        By:    /s/ Carrie V. Hardman
                                               Justin E. Rawlins (admitted pro hac vice)
                                               Daniel J. McGuire (admitted pro hac vice)
                                               Carrie V. Hardman
                                               200 Park Avenue
                                               New York, NY 10166
                                               Tel: (212) 294-6700
                                               Fax: (212) 294-4700

                                               Counsel to the Debtors and Debtors in Possession




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                                    Exhibit C
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United States Bankruptcy Court, Southern Pg
                                         District
                                            20 of of
                                                  276New York




      Debtor: __________________________________________

      Case Number: ____________________________________


 *Please see Schedule 1 for a complete list of Debtor Entities

 Official Form 410
 Proof of Claim                                                                                                                                            4/16

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense (other than a claim entitled to priority under 11 U.S.C. § 503(b)(9)). Make such a
 request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                  No
   someone else?                  Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
   Federal Rule of
   Bankruptcy Procedure
   (FRBP) 2002(g)




                               Contact phone                                                               Contact phone

                               Contact email                                                               Contact email

4. Does this claim amend          No
   one already filed?             Yes. Claim number on court claims registry (if known)                                        Filed on
                                                                                                                                           MM   / DD   / YYYY



5. Do you know if anyone          No
   else has filed a proof         Yes. Who made the earlier filing?
   of claim for this claim?




  Official Form 410                                                      Proof of Claim                                                           page 1
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   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



7. How much is the claim?          $                                       . Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim    No
     secured?                     Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:



                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                            $


                                           Amount of the claim that is secured:          $


                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $



                                           Annual Interest Rate (when case was filed)              %
                                              Fixed
                                              Variable


10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property:




   Official Form 410                                                   Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                 Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
   nonpriority. For example,
   in some categories, the                   Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(             ) that applies.                          $

                                          * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. Indicate the amount of your claim arising from the value of any goods received                             $ ____________________
    pursuant to                           by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?                which the goods have been sold to the Debtor in the ordinary course of such
                                          Debtor’s business. Attach documentation supporting such claim.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature      amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.
                                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 A person who files a             and correct.
 fraudulent claim could be
 fined up to $500,000,            I declare under penalty of perjury that the foregoing is true and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.




                                  Name of the person who is completing and signing this claim:

                                  Name
                                                          First name                           Middle name                            Last name

                                  Title

                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          Number            Street


                                                          City                                                         State          ZIP Code

                                  Contact phone                                                                        Email




 Official Form 410                                                           Proof of Claim                                                                  page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                       must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the             number, individual’s tax identification number, or
   date the case was filed.                                            financial account number, and only the year of any
                                                                       person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,
                                                                       full name and address of the child’s parent or
   then state the identity of the last party who owned the             guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred            Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                       Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
   definition of redaction on the next page.)                       To receive confirmation that the claim has been filed, enclose a
                                                                    stamped self-addressed envelope and a copy of this form. You
   Also attach redacted copies of any documents that show           may view a list of filed claims in this case by visiting the
   perfection of any security interest or any assignments or        Claims and Noticing Agent's website at
   transfers of the debt. In addition to the documents, a           http://cases.primeclerk.com/relativity.
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Understand the terms used in this form
 Do not attach original documents because                         Administrative expense: Generally, an expense that arises
   attachments may be destroyed after scanning.                    after a bankruptcy case is filed in connection with operating,
                                                                   liquidating, or distributing the bankruptcy estate.
 If the claim is based on delivering health care goods            11 U.S.C. § 503.
   or services, do not disclose confidential health care
   information. Leave out or redact confidential
                                                                   Claim: A creditor’s right to receive payment for a debt that
   information both in the claim and in the attached
                                                                   the debtor owed on the date the debtor filed for bankruptcy.
   documents.
                                                                   11 U.S.C. §101 (5). A claim may be secured or unsecured.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising              Secured claim under 11 U.S.C. §506(a): A claim backed by
from the value of any goods received by the Debtor within            a lien on particular property of the debtor. A claim is secured
20 days before the date of commencement of the above case,           to the extent that a creditor has the right to be paid from the
in which the goods have been sold to the Debtor in the               property before other creditors are paid. The amount of a
ordinary course of the Debtor's business. Attach                     secured claim usually cannot be more than the value of the
documentation supporting such claim.                                 particular property on which the creditor has a lien. Any
                                                                     amount owed to a creditor that is more than the value of the
Creditor: A person, corporation, or other entity to whom a
                                                                     property normally may be an unsecured claim. But exceptions
debtor owes a debt that was incurred on or before the date the       exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                    sentence of 1325(a).
                                                                     Examples of liens on property include a mortgage on real
Debtor: A person, corporation, or other entity who is in             estate or a security interest in a car. A lien may be voluntarily
bankruptcy. Use the debtor’s name and case number as shown           granted by a debtor or may be obtained through a court
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         proceeding. In some states, a court judgment may be a lien.


Evidence of perfection: Evidence of perfection of a security         Setoff: Occurs when a creditor pays itself with money
interest may include documents showing that a security               belonging to the debtor that it is holding, or by canceling a
interest has been filed or recorded, such as a mortgage, lien,       debt it owes to the debtor.
certificate of title, or financing statement.
                                                                     Unsecured claim: A claim that does not meet the
Information that is entitled to privacy: A Proof of Claim            requirements of a secured claim. A claim may be unsecured in
form and any attached documents must show only the last 4            part to the extent that the amount of the claim is more than the
digits of any social security number, an individual’s tax            value of the property on which a creditor has a lien.
identification number, or a financial account number, only the
initials of a minor’s name, and only the year of any person’s
date of birth. If a claim is based on delivering health care         Offers to purchase a claim
goods or services, limit the disclosure of the goods or services
                                                                     Certain entities purchase claims for an amount that is less than
to avoid embarrassment or disclosure of confidential health
                                                                     the face value of the claims. These entities may contact
care information. You may later be required to give more
                                                                     creditors offering to purchase their claims. Some written
information if the trustee or someone else in interest objects to
                                                                     communications from these entities may easily be confused
the claim.
                                                                     with official court documentation or communications from the
                                                                     debtor. These entities do not represent the bankruptcy court,
Priority claim: A claim within a category of unsecured               the bankruptcy trustee, or the debtor. A creditor has no
claims that is entitled to priority under 11 U.S.C. §507(a).         obligation to sell its claim. However, if a creditor decides to
These claims are paid from the available money or                    sell its claim, any transfer of that claim is subject to
property in a bankruptcy case before other unsecured                 Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
claims are paid. Common priority unsecured claims                    Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
include alimony, child support, taxes, and certain unpaid            the bankruptcy court that apply.
wages.


Proof of claim: A form that shows the amount of debt the             Please send completed Proof(s) of Claim to:
debtor owed to a creditor on the date of the bankruptcy filing.      Relativity Media, LLC Claims Processing Center
The form must be filed in the district where the case is             c/o Prime Clerk LLC
pending.                                                             850 3rd Avenue, Suite 412
                                                                     Brooklyn, NY 11232
Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.                              Do not file these instructions with your form
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                                                      Debtor Entities


      Debtor                               Case No.               Debtor                                    Case No.
1.    Relativity Media, LLC                18-11358        30.    RML Acquisitions II, LLC                  18-11330
2.    21 & Over Productions, LLC           18-11304        31.    RML Acquisitions III, LLC                 18-11331
3.    3 Days To Kill Productions, LLC      18-11302        32.    RML Acquisitions IV, LLC                  18-11332
4.    Armored Car Productions, LLC         18-11305        33.    RML Acquisitions IX, LLC                  18-11333
5.    Best of Me Productions, LLC          18-11306        34.    RML Acquisitions V, LLC                   18-11334
6.    Black or White Films, LLC            18-11307        35.    RML Acquisitions VI, LLC                  18-11335
7.    Relativity Fashion, LLC              18-11291        36.    RML Acquisitions VIII, LLC                18-11337
8.    RML Distribution Domestic, LLC       18-11292        37.    RML Acquisitions X, LLC                   18-11338
9.    Rogue Digital, LLC                   18-11301        38.    RML Acquisitions XI, LLC                  18-11339
10.   Blackbird Productions, LLC           18-11308        39.    RML Acquisitions XIII, LLC                18-11340
11.   Brick Mansions Acquisitions, LLC     18-11309        40.    RML Acquisitions VII, LLC                 18-11336
12.   Don Jon Acquisitions, LLC            18-11310        41.    RML Desert Films, LLC                     18-11341
13.   DR Productions, LLC                  18-11311        42.    RML Distribution International, LLC       18-11342
14.   Malavita Productions, LLC            18-11313        43.    RML Film Development, LLC                 18-11344
15.   Movie Productions, LLC               18-11314        44.    RML Hector Films, LLC                     18-11345
16.   Paranoia Acquisitions, LLC           18-11315        45.    RML International Assets, LLC             18-11346
17.   Phantom Acquisitions, LLC            18-11316        46.    RML November Films, LLC                   18-11347
18.   Relative Motion Music, LLC           18-11317        47.    RML Oculus Films, LLC                     18-11348
19.   Relative Velocity Music, LLC         18-11318        48.    RML Romeo and Juliet Films, LLC           18-11350
20.   Relativity Development, LLC          18-11319        49.    RML Turkeys Films, LLC                    18-11351
21.   Relativity Films, LLC                18-11320        50.    RML WIB Films, LLC                        18-11352
22.   Relativity Foreign, LLC              18-11321        51.    RMLDD Financing, LLC                      18-11353
23.   Relativity Jackson, LLC              18-11323        52.    Rogue Games, LLC                          18-11354
24.   Relativity Media Distribution, LLC   18-11324        53.    Safe Haven Productions, LLC               18-11356
25.   Relativity Media Films, LLC          18-11325        54.    Snow White Productions, LLC               18-11357
26.   Relativity Music Group, LLC          18-11326        55.    Furnace Films, LLC                        18-11312
27.   Relativity Production LLC            18-11327        56.    Relativity Holdings LLC                   18-11322
28.   Relativity Rogue, LLC                18-11328        57.    RML Echo Films, LLC                       18-11343
29.   RML Acquisitions I, LLC              18-11329        58.    Roguelife LLC (dba Relativity Digital)    18-11355
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                                                                                                                                       Master Mailing List
                                                                                                                                      Served First Class Mail

MMLID     NAME                                               ADDRESS                                                            ADDRESS 2                          ADDRESS 3                       ADDRESS 4             CITY                  STATE   POSTAL CODE COUNTRY
6468359   1 FORCE, INC.                                      1482 HORSEMILL ROAD                                                                                                                                         EL CAJON              CA      92021
6468361   1 Race, Inc. fso Thomas D. Coe                     922 Maltman Ave.                                                                                                                                            Los Angeles           CA      90026
6468363   1124 Design Advertising                            322 Culver Blvd                                                                                                                                             Playa Del Rey         CA      90293
6468364   121 S. ELM LLC                                     1319 WESTRIDGE FOREST COURT                                                                                                                                 GREENSBORO            NC      27410
6468366   140 W 57th St LLC - Jeffrey Mgmt                   200 W 57th St. Ste.407                                                                                                                                      New York              NY      10019
6468368   15/40 Productions Ltd.                             3133 Jack Northrop Ave.                                                                                                                                     Hawthorne             CA      90250
6468370   1719 Ocean Front Walk                              100 Wilshire Blvd. #2050                                                                                                                                    Santa Monica          CA      90401
6468372   17-28 Black, Inc.                                  c/o William Morris Endeavor Entertainment, LLC                     Attn: Danny Greenberg              9601 Wilshire Blvd. 3rd Floor                         Beverly Hills         CA      90212
6468374   1K Studios                                         P.O. Box 660414                                                                                                                                             Indianapolis          IN      46266
6468376   1st Corporate                                      245 University Ave SW                                                                                                                                       Atlanta               GA      30315
6468379   20TH CENTURY FOX FILM CORP                         10201 W PICO BLVD                                                  BLDG 99 RM 570                                                                           LOS ANGELES           CA      90035
6468380   20TH CENTURY FOX LICENSING                         PO BOX 900                                                         BLDG 2121, ROOM 4026                                                                     BEVERLY HILLS         CA      90213-0900
6468382   20th Century Fox New York Screening Room           1211 Avenue of the Americas - 3rd Floor                                                                                                                     New York              NY      10036
6468384   2137 Films                                         2137 Louella Avenue                                                                                                                                         Venice                CA      90291
6468386   215 Exclusive, LLC                                 6103 Melrose Ave.                                                                                                                                           Los Angeles           CA      90038
6468388   22nd and Indiana Incorporated                      P.O. Box 251499                                                                                                                                             Los Angeles           CA      90025
6468389   22ND AND INDIANA, INC.                             F/S/O BRADELY COOPER                                               P. O. BOX 251499                                                                         LOS ANGELES           CA      90025
6486741   2301 M. CINEMA, LLC DBA WEST END CINEMA            2301 M STREET NW                                                                                                                                            WASHINGTON            DC      20037
6468393   24 FPS dba Darkside Cinema                         215 SW 4th St.                                                                                                                                              Corvallis             OR      97333
6468394   24 FRAME.COM                                       3520 HELMS AVE.                                                                                                                                             CULVER CITY           CA      90232
6468395   24 PLAYBACK, LLC                                   3209 CHANDRA SE                                                                                                                                             RIO RANCHO            NM      87124
6468397   24 Seven Productions                               3120 W. Post Rd.                                                                                                                                            Las Vegas             NV      89118
6468399   24/7 Radio Rentals, Inc.                           11477 Awenita Court                                                                                                                                         Chatsworth            CA      91311
6468401   24/7 Real Media USA                                132 W. 31st Street 9th flr                                                                                                                                  New York              NY      10001
6468402   24/7 STUDIO EQUIPMENT                              3111 NORTH KENWOOD STREET                                                                                                                                   BURBANK               CA      91505
6486742   247 DELIVERS                                       ATTN: CHASE MICHAELS, CEO                                          PO BOX 16193                                                                             NORTH HOLLYWOOD       CA      91615
6468404   247 Delivers                                       PO Box 16193                                                                                                                                                North Hollywood       CA      91615
6468405   24FRAME.COM INC.                                   944 VENICE BLVD.                                                                                                                                            LOS ANGELES           CA      90015
6468406   26 INCH AUDIO , LLC.                               2030 SOUTH TRYON, ST.SUITE 3D                                                                                                                               CHARLOTTE             NC      28203
6468408   2600 Tenth Street LLC                              1120 Nye St, Ste. 400                                                                                                                                       San Rafael            CA      94901
6468410   2G Digital Post                                    280 E Magnolia Blvd                                                                                                                                         Burbank               CA      91502
6468411   2Tall Productions, Inc.                            3720 Fredonia Drive                                                                                                                                         Los Angeles           CA      90068
6468412   3 CHEERS PARTY RENTALS LLC                         7804 EAST BEACH DRIVE                                                                                                                                       OAK ISLAND            NC      28465
6468415   3 Kick Heads, Inc.                                 9111Sunset Blvd. Attn: K. Pals                                                                                                                              West Hollywood        CA      90069
6468414   3 KICK HEADS, INC.                                 ATTN: K. PALS                                                      9111 SUNSET BLVD.                                                                        LOS ANGELES           CA      90069
6468413   3 KICK HEADS, INC.                                 ATTN: K. PALS                                                      9111SUNSET BLVD.                                                                         WEST HOLLYWOOD        CA      90069
6491888   3 KICK HEADS, INC.                                 ATTN: K. PALS, PARALEGAL                                           9111 SUNSET BLVD.                                                                        WEST HOLLYWOOD        CA      90069

6468416   3 MORE                                             2122 TOSCANINI DR                                                                                                                                           RANCHO PALOS VERDES   CA      90275
6468417   3 RIVERS LOCKSMITH                                 4529 MCKNIGHT ROAD                                                                                                                                          PITTSBURGH            PA      15237
6468418   3 X DALEY, INC. F/S/O JOHN DALEY                   C/O UNITED TALENT AGENCY                                           ATTN: JOHN HUDDLE                  9336 CIVIC CENTER DRIVE                               BEVERLY HILLS         CA      90210
6468420   315 HOLDINGS, LLC                                  ATTENTION: ASSET MANAGER                                           450 LEXINGTON AVENUE, 39TH FLOOR                                                         NEW YORK              NY      10017
6468421   315 Holdings, LLC                                  One Market Plaza, Spear Tower, Suite 4125                                                                                                                   San Francisco         CA      94105
6468424   33andout, Inc. fso Channing Tatum                  17530 Ventura Blvd. #201                                                                                                                                    Encino                CA      91316
6468426   344 Design                                         101 N. Grand Ave. Apt #7                                                                                                                                    Pasadena              CA      91103
6468427   344 DESIGN, LLC                                    101 N. GRAND AVENUE,                                               SUITE # 7                                                                                PASADENA              CA      91103-3576
6468428   360 COMMUNICATION RENTALS LLC                      PO BOX 778                                                                                                                                                  MOORPARK              CA      93020
6468430   3D Cheeze                                          PO BOX 1663                                                                                                                                                 ORANGE                CA      92856-0663
6799073   3DTK, INC.                                         C/O EUROPACORP                                                     ATTN: NEIL OLLIVIERRA              LA CITE DU CINEMA               20 RUE AMPERE SAINT   DENIS CEDEX                   93413        FRANCE
6468432   3RD STREET DANCE                                   8558 WEST 3RD STREET                                                                                                                                        LOS ANGELES           CA      90048
6468434   3S Corporation                                     1251 E. Walnut                                                                                                                                              Carson                CA      90746
6468435   4 PERF PRODUCTIONS                                 225 STONEWALL JACKSON DR.                                                                                                                                   WILMINGTON            NC      28412
6468436   4 YOUR ENTERTAINMENT                               74 MUTT NELSON                                                                                                                                              SANTA FE              NM      87507
6486743   4:52 DESIGN                                        707 MONTGOMERY AVENUE                                                                                                                                       NARBERTH              PA      19072
6491889   40 OR 50 YEARS, INC. F/S/O JUSTIN ADLER            C/O HANSEN JACOBSON TELLER HOBERMAN, ET AL                         ATTN: KEN RICHMAN, ESQ.            450 NORTH ROXBURY DRIVE, 8TH                          BEVERLY HILLS         CA      90210
6468439   40 OR 50 YEARS, INC. FSO JUSTIN ADLER              C/O HANSEN JACOBSON TELLER                                         ATTN: KEN RICHMAN                  450 N. ROXBURY DR., 8TH FLOOR                         BEVERLY HILLS         CA      90210
6468440   40 or 50 Years, Inc. fso Justin Adler              c/o Hansen Jacobson Teller450 N. Roxbury Dr., 8th FloorAttn: Ken                                                                                            Beverly Hills         CA      90210
6468442   41 Sets, Corp.                                     1040 Las Plamas                                                                                                                                             Los Angeles           CA      90038
6799075   42 WEST                                            1840 Century Park East                                             Suite 700                                                                                LOS ANGELES           CA      90067
6491890   42 WEST, LLC                                       ATTN: THOMAS J. RENO, COO                                          220 WEST 42ND ST., 12TH FLOOR                                                            NEW YORK              NY      10036
6468444   42West LLC - Finance Dept                          220 W 42nd St 12th Floor                                                                                                                                    New York              NY      10036
6468446   44th Street Productions                            c/o Marty Shapiro Management1010 Lexington Road                                                                                                             Beverly Hills         CA      90210
6468448   4th & King, LLC                                    404 Bryant St.                                                                                                                                              San Francisco         CA      94107
6491891   5 ALARM MUSIC                                      ATTN: DANIELLE MALMLUND, OPERATIONS MANAGER                        44 W. GREEN ST.                                                                          PASADENA              CA      91105
6468450   5 Star Film Locations Inc.                         11244 Briarcliff Lane                                                                                                                                       Studio City           CA      91604
6486745   50 SHADES OF GREEN, LLC                            7329 BUSH GARDEN AVE                                                                                                                                        LAS VEGAS             NV      89129
6468451   50 STATES, LLC.                                    521 OLD RIVER ACRES DRIVE                                                                                                                                   BURGAW                NC      28425
6486746   500 PARK AVENUE SCREENING ROOM, LLC                422 E. 72ND ST. 42A                                                                                                                                         NEW YORK              NY      10021
6491892   500 PARK AVENUE SCREENING ROOM, LLC                ATTN: JOEL ASSERAF                                                 422 E. 72ND ST., #42A                                                                    NEW YORK              NY      10021
6468454   501 POST                                           PO BOX 6500                                                                                                                                                 AUSTIN                TX      78762-6500




             In re: Relativity Media, LLC, et al.
             Case No. 18-11358 (MEW)                                                                                                        Page 1 of 199
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                                                                                                                                               Master Mailing List
                                                                                                                                              Served First Class Mail

MMLID     NAME                                                    ADDRESS                                                             ADDRESS 2                            ADDRESS 3                       ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6468455   505 STUDIO RENTALS                                      150 WOODWARD RD SE                                                                                                                                   ALBUQUERQUE       NM      87102
6468456   505 STUDIO WORKS, LLC                                   C/O JO EDNA BOLDIN                                                  PO BOX 419                                                                       ARROYO HONDO      NM      87513
6468457   505 STUDIO WORKS, LLC                                   PO BOX 419                                                                                                                                           ARROYO HONDO      NM      87513
6468461   6 StringMedia Inc                                       1015 N Cahuenga Blvd                                                                                                                                 Los Angeles       CA      90038
6486747   609 NY PRODUCTION GROUP, LLC                            609 GREENWICH ST. 8TH FLOOR                                                                                                                          NEW YORK          NY      10014
6799069   7 BUCKS ENTERTAINMENT, INC.                             F/S/O DWAYNE JOHNSON                                                C/O GANG TYRE, RAMNER & BROWN INC.   132 SOUTH RODEO DRIVE                       BEVERLY HILLS     CA      90212
6468465   7570, Inc.                                              c/o Lichter, Grossman, Nichols & Adler9200 Sunset Boulevard #1200                                                                                    West Hollywood    CA      90069
6799066   7786 HOLDINGS, LLC                                      23679 CALABASAS ROAD                                                SUITE 980                                                                        CALABAS           CA      92302
6799060   7-ELEVEN, INC.                                          LAURA GORDON                                                        ONE ARTS PLAZA                       1722 ROUTH ST. SUITE 1000                   DALLAS            TX      75201
6468466   8 DWELLING                                              P.O. BOX 4045                                                                                                                                        ALBUQUERQUE       NM      87196
6468467   8020 Consulting LLC                                     16027 Ventura Blvd., Ste. 501                                                                                                                        Encino            CA      91436
6468468   83 Investments LLC                                      Address on File
6468470   88 Media Empire, Inc.                                   5386 Jed Smith Rd.                                                                                                                                   Hidden Hills      CA      91302
6468472   8899 Beverly Blvd. Building                             c/o ADR | Preferred Business 20664 Ventura Blvd.                                                                                                     Woodland Hills    CA      91364
6468473   89 EDITORIAL, INC.                                      136 WEST 21ST STREET, 4TH FLOOR                                                                                                                      NEW YORK          NY      10011
6468475   8955239 CANADA INC.                                     7023 WAVERLY                                                                                                                                         MONTREAL          QC      H2S3JI       CANADA
6468476   9 STORIES PRODUCTIONS, INC.                             9100 WILSHIRE BLVD                                                  SUITE 1000W                                                                      BEVERLY HILLS     CA      90212
6468478   922 14th Street LLC dba Gargotta Consulting Group       2177 Ridgemont Dr.                                                                                                                                   Los Angeles       CA      90046
6486748   A & E TELEVISION NETWORKS LLC                           ATTN: KELLEY DRUKKER, VP                                            235 E. 45TH STREET                                                               NEW YORK          NY      10017
6468480   A -1 SAFE & LOCK                                        2803 CAROLINA BEACH RD                                                                                                                               WILMINGTON        NC      28412
6468481   A ADVANTAGE TRUCK & TRAILER SR                          815 BUTLER ST                                                                                                                                        PITTSBURGH        PA      15223
6468482   A B C STUDIOS                                           AKA TOUCHSTONE TELEVISION PROD                                      500 S. BUENA VISTA STREET                                                        BURBANK           CA      91521
6468484   A B Unlimited                                           2232 S. Figueroa St.                                                                                                                                 Los Angeles       CA      90007
6468486   A Family Cinema, LLC                                    P.O. Box 684                                                                                                                                         Ripley            WV      25271
6468487   A FEW OLD THINGS ANTIQUES                               8833 4TH STREET NW                                                                                                                                   ALBUQUERQUE       NM      87114
6468491   A List fso Ashlee Margolis, The                         9292 Civic Center Dr.                                                                                                                                Beverly Hills     CA      90210
6468493   A MAN AND HIS TOYS, INC.                                F/S/O FRANK WOLF                                                    19528 VENTURA BLVD # 325                                                         TARZANA           CA      91356
6468492   A MAN AND HIS TOYS, INC.                                F/S/O FRANK WOLF                                                    4391 VANALDEN AVENUE                                                             TARZANA           CA      91356
6468494   A MARC SCOTT COMPANY INC                                127 RADCLIFF DRIVE                                                                                                                                   PITTSBURGH        PA      15237
6468495   A PERFECT GETAWAY, LLC                                  8899 BEVERLY BLVD #510                                                                                                                               LOS ANGELES       CA      90048
6798897   A PERFECT GETAWAY, LLC                                  ATTN: SENIOR VICE PRESIDENT AND DEPUTY GENERAL COUNSEL              235 E. 45TH STREET                                                               NEW YORK          NY      10017
6468497   A Private Maui Chef                                     PO Box 792194                                                                                                                                        Paia              HI      96779
6468498   A SANI-CAN SERVICE, INC.                                2316 JOE BROWN DR                                                                                                                                    GREENSBORO        NC      27405
6486749   A SIDE MUSIC LLC                                        PO BOX 120365                                                                                                                                        NASHVILLE         TN      37212-0365
6468499   A SIGN OF DISTINCTION                                   1625 N. HOWE ST                                                                                                                                      SOUTHPORT         NC      28461
6468501   A Squared Design Group                                  43 East 20th St. 6th Floor                                                                                                                           New York          NY      10003
6468502   A STORAGE INN #7                                        64023 HIGHWAY 11                                                                                                                                     PEARL RIVER       LA      70452
6468504   A Thousand Miles Long Inc.                              c/o Cohen Pivo & Company9171 Wilshire Blvd., Suite 40                                                                                                Beverly Hills     CA      90210
6468505   A TOUCH OF GLASS                                        1224 CALLE LA RESOLANA                                                                                                                               SANTA FE          NM      87505
6798748   A WARNER MUSIC GROUP COMPANY                            3400 WEST OLIVER AVENUE                                                                                                                              BURBANK           CA      91505
6468508   A WREK ROOM                                             717 BROWNSVILLE RD                                                                                                                                   PITTSBURGH        PA      15210
6468509   A&A WASTE MANAGMENT INC.                                PO BOX 1253                                                                                                                                          CERBA             PR      00735
6468510   A&E Television Networks, LLC                            235 East 45th St.                                                                                                                                    New York          NY      10017
6491893   A&E TELEVISION NETWORKS, LLC                            C/O VORYS SATER SEYMOUR AND PEASE LLP                               ATTN: JEFFREY A. MARKS               301 EAST FOURTH STREET, SUITE               CINCINNATI        OH      45201
6468511   A&R CINE RENTAL                                         CALLE 1 A-18                                                        RIVERSIDE PARK                                                                   BAYAMON           PR      00961
6468513   A&S Repair & Remodeling                                 16826 Otsego ST                                                                                                                                      Encino            CA      91436
6468514   A. C. MOORE, INC.                                       3208 SILAS CREEK PARKWAY                                                                                                                             WINSTON-SALEM     NC      27103
6468516   A. Holcomb Rentals                                      171 Pier Ave                                                                                                                                         Santa Monica      CA      90405
6468517   A.D. WYNNE COMPANY, INC                                 710 BARONNE ST                                                                                                                                       NEW ORLEANS       LA      70113
6468519   A.H. Flores, Inc.                                       11679 Kittridge                                                                                                                                      North Hollywood   CA      91606
6468520   A.J. MYERS & SONS, INC                                  13413 STATE RT 422                                                                                                                                   KITTANNING        PA      16201
6468522   A.P Facilities Pty, LTD                                 P.O. Box 766                                                                                                                                         Artarmon          NSW     1570         Australia
6468523   A.T. MERHAUT INC                                        4684 WILLIAM FLYNN HIGHWAY                                                                                                                           ALLISON PARK      PA      15101
6468525   A+ Advantage Tinting                                    713 W 113th Street                                                                                                                                   Los Angeles       CA      90044
6468526   AAA ALLIED SEPTIC TANK SERVICE                          PO BOX 791                                                                                                                                           SANTA FE          NM      87504-0791
6486750   AAA SIGN & SAFETY PRODUCTS                              7810 NORTH MAIN ST                                                                                                                                   JONESBORO         GA      30236
6468527   AAGAARD*CHRISTOPHER                                     Address on File
6468529   aardvark letterpress                                    2500 W. 7th St.                                                                                                                                      Los Angeles       CA      90057
6468531   Aaron Drucker                                           2123 Rodney Dr.                                                                                                                                      Los Angeles       CA      90027
6468533   Aaron Fedor                                             250 Riverside Dr. #86B                                                                                                                               New York          NY      10025
6468535   Aaron Jackson                                           2021 N. Lemans Blvd. #7409                                                                                                                           Tampa             FL      33607
6468537   Aaron Lee Northcraft                                    c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                    Northbrook        IL      60062
6468538   AARON RENTS                                             5000-A PAN AMERICAN FREEWAY NE                                                                                                                       ALBUQUERQUE       NM      87109
6468540   Aaron Sims Company, The                                 6330 San Vicente Blvd. Suite 101                                                                                                                     Los Angeles       CA      90048
6468541   AARON SOWD PRODUCTIONS, INC                             3045 KELTON AVE                                                                                                                                      LOS ANGELES       CA      90035
6468542   AARON ZIGMAN ENTERPRISES, LLC                           C/O FIRST ARTISTS MANAGEMENT                                        4764 PARK GRANADA SUITE #210                                                     CALABASAS         CA      91302
6468543   AARON*THOMAS                                            Address on File
6468544   Aaron, Thomas D.                                        Address on File
6468545   AARON'S CORPORATE FURNISHINGS                           5000-A PAN AMERICAN FRWY NE                                                                                                                          ALBUQUERQUE       NM      87109
6468546   AARON'S SALES & LEASE                                   6200 COORS BLVD NW                                                  STE F                                                                            ALBUQUERQUE       NM      87120




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                                                                                                                                    Master Mailing List
                                                                                                                                   Served First Class Mail

MMLID     NAME                                                      ADDRESS                                                  ADDRESS 2                                 ADDRESS 3                           ADDRESS 4   CITY               STATE   POSTAL CODE UNITED
                                                                                                                                                                                                                                                              COUNTRY
6468548   Aartlondon                                                93 Chichele Rd.                                                                                                                                    London                     NW32 3AT    KINGDOM
6468549   AB CAFFE SERVICES                                         3904 PATRICK HENRY PLACE                                                                                                                           AGOURA HILLS       CA      91301
6468551   Abadan Co., Inc.                                          22504 Lemon Street                                                                                                                                 Agua Dulce         CA      91390
6468552   ABARIS ENTERTAINMENT                                      9200 WEST SUNSET BLVD.                                   SUITE 320                                                                                 WEST HOLLYWOOD     CA      90069
6468553   ABARIS ENTERTAINMENT MEDIA                                PARTNERSHIPS, LLC.                                       9200 WEST SUNSET BLVD # 320                                                               WEST HOLLYWOOD     CA      90069
6468555   Abaris Media                                              9200 Sunset Blvd. #320                                                                                                                             West Hollywood     CA      90069
6468556   ABARIS/CTS TRAVEL                                         4917 GENESTA AVENUE                                                                                                                                ENCINO             CA      91316
6468558   Abba Termite & Pest Control                               8747 Nogal Ave                                                                                                                                     Whittier           CA      90606
6468560   ABC BICYCLE CENTER                                        2641 SAN MATEO BLVD NE                                                                                                                             ALBUQUERQUE        NM      87110
6468561   ABC COSTUME DEPARTMENT                                    545 CIRCLE SEVEN DRIVE                                                                                                                             GLENDALE           CA      91201-8453
                                                                                                                             ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492786   ABC DIGITAL                                               C/O THE WALT DISNEY COMPANY                              MGR.                                      500 S. BUENA VISTA ST.                          BURBANK            CA      91521-9750
6468563   ABC Family Channel                                        Bank of America12304 Collections Center Drive                                                                                                      Chicago            IL      60693
                                                                                                                             ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492787   ABC FAMILY CHANNEL                                        C/O THE WALT DISNEY COMPANY                              MGR                                       500 S BUENA VISTA ST                            BURBANK            CA      91521
6468565   ABC STUDIOS                                               545 CIRCLE SEVEN DRIVE                                                                                                                             GLENDALE           CA      91201-8453
6468564   ABC STUDIOS                                               FILE #56298                                                                                                                                        LOS ANGELES        CA      90074-6298
6468566   ABC STUDIOS COSTUMES                                      500 S BUENA VISTA ST                                                                                                                               BURBANK            CA      91521
                                                                                                                             ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6491894   ABC TELEVISION NETWORK                                    C/O THE WALT DISNEY COMPANY                              MGR.                                      500 S. BUENA VISTA STREET                       BURBANK            CA      91521
6468568   Abdul Hmam                                                P.O. Box 230372                                                                                                                                    Brooklyn           NY      11223
6468570   Abe Alfaro                                                230 Whiting Street                                                                                                                                 El Segundo         CA      90245
6468571   Abel, Elizabeth                                           Address on File
6468572   ABELLERA\NICOLE                                           1340 N POINSETTIA PL #311                                                                                                                          HOLLYWOOD          CA      90046
6468573   ABEYTA\PHILLIP G.                                         11020 MIRAVISTA PLACE SE                                                                                                                           ALBUQUERQUE        NM      87123
6468575   Abigail B. Baram                                          950 Phyllis Drive                                                                                                                                  Baldwin            NY      11510
6468577   ABImages, Inc.                                            8033 W. Sunset Blvd. Suite 800                                                                                                                     Los Angeles        CA      90046
6491895   ABIMAGES, INC.                                            ATTN: ALEX BERLINER, PRESIDENT                           8033 W. SUNSET BLVD., SUITE 800                                                           LOS ANGELES        CA      90046
6468578   ABIQUIU INN                                               POB 1010                                                                                                                                           ABIQUIU            NM      87510
6468579   ABKCO MUSIC, INC                                          1700 BROADWAY - 41ST FLOOR                                                                                                                         NEW YORK           NY      10019
6468580   Abkco Music, Inc                                          1700 Broadway - 41st Floor41st Floor                                                                                                               New York           NY      10019
6468581   ABLE HOME IMPROVEMENTS                                    207 SCENIC DRIVE                                                                                                                                   SLIDELL            LA      70460
6468582   ABLE RENT A JOHN AND                                      WASTE SERVICES                                           108 SWEETEN CREEK RD                                                                      ASHEVILLE          NC      28803
6468583   ABM JANITORIAL SERVICES                                   P.O. BOX 951864                                                                                                                                    DALLAS             TX      75395-1864
6468585   ABM Janitorial Services Southwest Inc                     File #53120                                                                                                                                        Los Angeles        CA      90074
6468586   ABORIGINAL MERCHANTS INC                                  FSO BALE/C                                               8383 WILSHIRE BLVD STE 500                                                                BEVERLY HILLS      CA      90211
6468588   Aboriginal Merchants, Inc. f/s/o Christian Bale           c/o William Morris Endeavor EntertainmentAttn: Patrick                                                                                             Beverly Hills      CA      90210
6468590   Above Average Productions, Inc.                           1619 Broadway, 4th Floor                                                                                                                           New York           NY      10019
6468592   AboveNet Communications, Inc.                             P.O. Box 79006                                                                                                                                     City Of Industry   CA      91716
6468593   ABQ COSTUME RENTAL & SUPPLY HO                            1600 LAFAYETTE DRIVE NE                                                                                                                            ALBUQUERQUE        NM      87106
6468594   ABQ DIGITAL                                               4411 MCLEOD NE STE. G                                                                                                                              ALBUQUERQUE        NM      87109
6468596   Abraham D. Levy                                           642 Rosedale Ave. #PH                                                                                                                              Bronx              NY      10473
6468598   Abrams Artist Agency                                      9200 Sunset Blvd. Eleventh Floor                                                                                                                   West Hollywood     CA      90069
6468599   ABRIGO\GARY L.                                            112 PHEDORA SPUR DRIVE                                                                                                                             BURGAW             NC      28425
6468600   ABS PRODUCTION SERVICES, LLC                              514 FRANKLIN AVE                                                                                                                                   NEW ORLEANS        LA      70117
6468601   ABSOLUT VIDEO                                             5 RICO CT                                                                                                                                          SANTA FE           NM      87508
6468602   ABSOLUTE RENTALS, INC.                                    2633 N. SAN FERNANDO BLVD.                                                                                                                         BURBANK            CA      91504
6468603   ABSTRACT VIEW PRODUCTIONS                                 6513 SMITHFIELD STREET                                                                                                                             MCKEESPORT         PA      15135
6468605   Abstract, LLC                                             70 Hicks St.                                                                                                                                       Brooklyn           NY      11201
6468607   ABTP Services, LLC                                        19 W. 21st Suite 401                                                                                                                               New York           NY      10010
6468608   AC STUDIO RENTALS                                         25379 WAYNE MILLS PLACE                                  SUITE 313                                                                                 VALENCIA           CA      91355
6468610   Academy Foundation                                        8949 Wilshire Blvd.                                                                                                                                Beverly Hills      CA      90211
6468614   Academy of Magical Arts, Inc                              7001 Franklin Avenue                                                                                                                               Los Angeles        CA      90028
6468615   ACADEMY OF MAGICAL ARTS, INC.                             7001 FRANKLIN AVENUE                                                                                                                               HOLLYWOOD          CA      90028
6468617   Academy of Motion Picture Arts & Science                  8949 Wilshire Blvd                                                                                                                                 Beverly Hills      CA      90211
6468618   ACC Business                                              PO Box 105306                                                                                                                                      Atlanta            GA      30348
6468619   ACCESS CONTROL TECHNOLOGIES                               4204 SW 9TH ST                                                                                                                                     DES MOINES         IA      50309-2309
6799043   ACCESS DIGITAL CINEMA PHASE 2 CORP.                       6255 SUNSET BLVD                                         SUITE 1025                                                                                HOLLYWOOD          CA      90028
6799044   ACCESS DIGITAL CINEMA PHASE 2, CORP.                      (under Cinedigm)                                         45 W. 36th Street 7th Floor                                                               New York           NY      10018
6799034   ACCESS DIGITAL CINEMA PHASE 2, CORP.                      ATTN: PRESIDENT                                          6255 SUNSET BLVD.                         SUITE 1025                                      HOLLYWOOD          CA      90028
6468620   ACCESSORY ANNEX\THE                                       1512 PACHECO STREET                                      SUITE C-104                                                                               SANTA FE           NM      87505
6468622   Accountemps                                               P.O. Box 743295                                                                                                                                    Los Angeles        CA      90074
6468624   AccuConference                                            PO Box 98607Dept 2029                                                                                                                              Las Vegas          NV      89193
6468625   ACCURATE AUTO GLASS                                       2110 L AND R ROAD                                                                                                                                  METAIRIE           LA      70001
6468628   ACE AMERICAN INSURANCE CO.                                AL TUAZON                                                601 S. FIGUEROA STREET, 15TH FLOOR                                                        LOS ANGELES        CA      90017
6468627   ACE AMERICAN INSURANCE CO.                                CHRISTINE WATKINS                                        601 S. FIGUEROA STREET, 15TH FLOOR                                                        LOS ANGELES        CA      90017
6468626   ACE AMERICAN INSURANCE CO.                                JAMES FLEISCHER                                          601 S. FIGUEROA STREET, 15TH FLOOR                                                        LOS ANGELES        CA      90017
6486725   ACE American Insurance Company                            ACE USA                                                  P.O. Box 5105                                                                             Scranton           PA      18505-0518
6468629   ACE AMERICAN INSURANCE COMPANY                            ATTN: LEGAL DEPARTMENT                                   436 WALNUT STREET                                                                         PHILADELPHIA       PA      19106
6486677   ACE American Insurance Company                            Chief Underwriting Officer                               ACE USA - Professional Risk               1133 Avenue of the Americas, 32nd               New York           NY      10036




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                                                                                                                          Exhibit D
                                                                                                                      Master Mailing List
                                                                                                                     Served First Class Mail

MMLID     NAME                                             ADDRESS                                             ADDRESS 2                         ADDRESS 3                             ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6468630   ACE STREET LLC                                   P.O. BOX 2113                                                                                                                           ASHEVILLE           NC      28802
6468631   ACE UPHOLSTERY                                   3906 MENAUL NE                                                                                                                          ALBUQUERQUE         NM      87110       UNITED
6799036   ACENTIC, LIMITED                                 The Limes                                           12 Dunstable Street                                                                 Ampthill                    MK45 2GJ    KINGDOM
6468632   ACEVEDO\GLORIMAR                                 CALLE CORDOVA #8                                    URB 00727                                                                           CAGUAS              PR      00727
6468633   ACKEL CONSTRUCTION CORPORATION                   6301 GENERAL HAIG ST                                                                                                                    NEW ORLEANS         LA      70124
6468634   ACKEL REAL ESTATE, LLC                           427 N COLUMBIA ST                                                                                                                       COVINGTON           LA      70433
6468635   ACME CLEANING SERVICE                            4786 NAVIGATION RD SE                                                                                                                   SOUTHPORT           NC      28461
6468637   Acme Production Services                         1709 Harvard Ave.                                                                                                                       Seattle             WA      98122
6486751   ACME TRAILER COMPANY LLC                         6330 SAN VICENTE BLVD. #400                                                                                                             LOS ANGELES         CA      90048
6468641   ACMO REL HOLDINGS, L.L.C                         C/O ANCHORAGE CAPITAL GROUP, L.L.C.                 ATTENTION: LEGAL                  610 BROADWAY, 6TH FLOOR                           NEW YORK            NY      10012
6468642   ACOF Operating Manager IV, LLC                   Address on File
6799039   A-COMPANY FILM LICENSING INTERNATIONAL GMBH      ALEXANDRERSTRABE 7                                                                                                                      BERLIN                      10178        GERMANY
6468643   ACOSTA\JOSEPH                                    344 WESTMEADE DRIVE                                                                                                                     GRETNA              LA      70056
6468644   ACOSTA\JUAN                                      527 W 25TH AVE #A                                                                                                                       COVINGTON           LA      70433
6468645   ACQUISTAPACE\STEVE                               1000 US BUSINESS HWY 190                                                                                                                COVINGTON           LA      70433
6468646   ACT 1 SCRIPT CLEARANCE, INC.                     230 N. MARYLAND AVENUE,                             SUITE # 201                                                                         GLENDALE            CA      91206
6468648   ACT ONE SCRIPT CLEARANCE, INC.                   230 N MARYLAND AVE SUITE 201                                                                                                            GLENDALE            CA      91206
6486752   ACT ONE SCRIPT CLEARANCE, INC.                   230 N MARYLAND AVE. SUITE 208                                                                                                           GLENDALE            CA      91206
6468650   ACT SCRIPT CLEARANCE INC                         230 N MARYLAND AVE SUITE 201                                                                                                            GLENDALE            CA      91206
6468651   ACTION FORCE SECURITY                            345 E GARDENA BLVD                                                                                                                      GARDENA             CA      90248
6468652   ACTION LOCK COMPANY                              P.O BOX 2206                                                                                                                            WEAVERVILLE         NC      28787
6468654   Action Messenger Service                         PO Box 69763                                                                                                                            West Hollywood      CA      90069
6468661   ACTIVE CAMERA SYSTEM, INC.                       1499 NE 104 STREET                                                                                                                      MIAMI SHORES        FL      33138
6476762   ACTIVE DJ ENTERTAINMENT, LLC                     1013 N 4TH ST                                                                                                                           WILMINGTON          NC      28401-3057
6483492   ACW Creative                                     676 S. Ave. 21 #200                                                                                                                     Los Angeles         CA      90031
6481645   Ad Personnel Inc                                 PO Box 2392                                                                                                                             New York            NY      10116
6484886   AD Racing LLC                                    17383 Sunset BlvdSuite A210                                                                                                             Pacific Palisades   CA      90272
6477969   AD RANCH\THE                                     6001 HUDSON BEND ROAD                                                                                                                   AUSTIN              TX      78734
6484860   Adam Bice                                        30730 Manzano Dr.                                                                                                                       Malibu              CA      90265
6484924   Adam Davis                                       2322 Frey Avenue                                                                                                                        Venice              CA      90291
6484309   Adam Drucker                                     801 N FAIRFAX AVE UNIT 313                                                                                                              LOS ANGELES         CA      90046-7293
6491812   ADAM FARAG                                       Address on File
6485028   Adam Fields                                      2726 Montana Ave., #E                                                                                                                   Santa Monica        CA      90403
6481034   Adam Fields                                      c/o Kinsella Weitzman Iser Kump & Aldisert LLP      Dale F. Kinsella & Gregory Korn   808 Wilshire Boulevard, Third Floor               Santa Monica        CA      90401-1889
6484262   Adam Keen                                        5881 Locksley Place                                                                                                                     Los Angeles         CA      90068
6483351   Adam Keller                                      3232 Rowena Ave.                                                                                                                        Los Angeles         CA      90027
6481622   Adam Maclay                                      140 Riverside Blvd. #405                                                                                                                New York            NY      10069
6482956   Adam Macy                                        P.O. Box 275                                                                                                                            Timnath             CO      80547
6799030   ADAM MASON AND DAVID BOYES                       C/O LUKER ROKLIN ENTERTAINMENT                      ATTN: BRYAN BRUCKS                5815 W SUNSET BLVD                                LOS ANGELES         CA      90028
6484823   Adam Mull                                        539 Penn Street                                                                                                                         El Segundo          CA      90245
6481561   Adam Steinman                                    750 Columbus Avenue, Apt 8E                                                                                                             New York            NY      10025
6468798   ADAM TARGUM ('WRITER')                           C/O UNITED TALENT AGENCY                            ATTN: CHARLIE FERRARO             9336 CIVIC CENTER DRIVE                           BEVERLY HILLS       CA      90210
6485646   Adam Tash DOP LLC                                14476 Valley Vista Blvd                                                                                                                 Sherman Oaks        CA      91423
6482292   Adam Taylor                                      904 S. 13th St.                                                                                                                         Nashville           TN      37206
6483493   Adam Wagner                                      676 South Ave 21 #200                                                                                                                   Los Angeles         CA      90031
6477301   ADAMIDIS\GABRIELLE                               31 BRANKSOME GROVE                                                                                                                      BLACKBURN SOUTH             3130         AUSTRALIA
6479745   ADAMIDOV\RENATA                                  4000 SW PENDLETON ST                                                                                                                    PORTLAND            OR      97221
6478546   ADAMS COLLISION CENTER                           5636 W ADAMS BLVD                                                                                                                       LOS ANGELES         CA      90016
6476496   ADAMS JR., DELTON JEROME                         1225 BRAEHILL TERRACE DR.                                                                                                               WINSTON-SALEM       NC      27104
6491549   ADAMS* MICHELLE                                  1360 W. 139TH ST., UNIT H                                                                                                               GARDENA             CA      90247
6478767   ADAMS\CATLIN                                     1317 N ORANGE GROVE AVENUE                                                                                                              LOS ANGELES         CA      90046
6476709   ADAMS\CHARLES R.                                 545 CASTLE STREET                                                                                                                       WILMINGTON          NC      28401
6484623   AdamsMorioka, Inc.                               8484 Wilshire Blvd. Suite 600                                                                                                           Beverly Hills       CA      90211
6486211   adap.tv, Inc                                     1 Waters Park Drive, Suite 250                                                                                                          San Mateo           CA      94402
6479919   Adaptive Studios, Inc.                           Address on File
6483654   ADD Marketing                                    6600 Lexington Ave                                                                                                                      Los Angeles         CA      90038
6479370   ADD-A-LITE                                       11861 CARDEENE ROAD                                                                                                                     AUGUA DULCE         CA      91390
6476523   ADDED OOMPH INC.                                 PO BOX 6135                                                                                                                             HIGH POINT          NC      27262
6480909   Adee, Peter                                      Address on File
6480509   Adelman, Jason                                   Address on File
6477251   ADELSFLUGEL, NORMAN                              1327 FORT LAMAR RD                                                                                                                      JAMES ISLAND        SC      29412
6474728   ADER*SHAYLA                                      Address on File
6481006   Ader, Shayla Natsumi                             Address on File
6482991   Adicon Media, Inc                                P.O. Box 29680                                                                                                                          Phoenix             AZ      85038
6476137   ADKINS\NICOLE                                    328 PRESIDENT STREET #3                                                                                                                 BROOKLYN            NY      11231
6474434   ADLER*STEPHEN                                    Address on File
6480439   Adler, Kasey                                     Address on File
6480452   Adler, Stephen P. M.                             Address on File
6481254   AdMeld Inc.                                      230 Park Avenue South, Suite 1201                                                                                                       New York            NY      10003
6484843   Administrative Services Co-Op                    2129 W. Rosecrans Ave.                                                                                                                  Gardena             CA      90249




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                                                                                                                              Master Mailing List
                                                                                                                             Served First Class Mail

MMLID     NAME                                                       ADDRESS                                           ADDRESS 2                       ADDRESS 3                  ADDRESS 4             CITY              STATE   POSTAL CODE COUNTRY
6478295   ADOBE BUILDING SUPPLY, LLC                                 P.O. BOX 91943                                                                                                                     ALBUQUERQUE       NM      87199-1943
6475509   ADOBE PICTURES, INC.                                       4000 WARNER BLVD.                                 BLDG 5, RM 116                                                                   BURBANK           CA      91522
6482335   Adonis Michael Thomas                                      9080 Gracie Lane                                                                                                                   Cordova           TN      38016
6480991   Adorno-Weatherford, Kiyoko                                 Address on File
6799023   ADP, INC.                                                  ONE ADP BOULEVARD                                                                                                                  ROSELAND          NJ      07068
6486718   ADP, Inc.                                                  PO Box 31001-1874                                                                                                                  Pasadena          CA      91110
6482938   ADP, LLC                                                   1851 N. Resler Dr., MS-600                                                                                                         El Paso           TX      79912
6491588   ADP, LLC                                                   PO BOX 31001-1874                                                                                                                  PASADENA          CA      91110
6484155   ADR Services, Inc                                          1900 Avenue of the Stars, Suite 250                                                                                                Los Angeles       CA      90067
6482142   Adriana Monsalve, LLC                                      1440 Lake Shadow Cir 8104                                                                                                          Maitland          FL      32751
6485682   Adriean Hershey                                            15821Ventura Blvd. #500                                                                                                            Encino            CA      91436
6728909   Adspace Networks, Inc.                                     99 Park Avenue                                    Suite #310                                                                       New York          NY      10016
6476710   ADT SECURITY SERVICES, INC.                                3810 US HWY 421N STE 130                                                                                                           WILMINGTON        NC      28401
6799027   ADVANCE MAGAZINE PUBLISHERS INC                            C/O ZIFFREN BRITTENHAM LLP                        ARR: ERIC SHERMAN               1801 CENTURY PARK WEST                           LOS ANGELES       CA      90067
6799016   ADVANCE MAGAZINE PUBLISHERS INC.                           THROUGH ITS DIVISION CONDE NAST ENTERAINMENT      ATTN: DAWN OSTROFF, PRESIDENT   FOUR TIMES SQUARE                                NEW YORK          NY      10036
6482751   Advance Magazine Publishers, Inc. dba Conde Nast           P.O. Box 88965                                                                                                                     Chicago           IL      60695
6477187   ADVANCED BUSINESS EQUIPMENT                                PO BOX 5836                                                                                                                        ASHEVILLE         NC      28803
6485544   Advanced Centrifugal Systems Inc                           PO Box 2555                                                                                                                        Santa Clarita     CA      91386
6491883   ADVANCED DIGITAL SERVICES, INC.                            948 N CAHUENGA BLVD                                                                                                                LOS ANGELES       CA      90038
6479529   ADVANCED LIQUIDATORS, INC.                                 10631 MAGNOLIA BLVD.                                                                                                               NORTH HOLLYWOOD   CA      91601
6475376   ADVANCED MACHINING SHEETMETAL                              DESIGN, LLC                                       6901 GRUBER AVE N.E.                                                             ALBUQUERQUE       NM      87109
6485647   Advanced Marketing Perspectives Inc                        14144 Ventura BlvdSuite 250                                                                                                        Sherman Oaks      CA      91423
6485683   Advanced Security Concepts                                 16027 Ventura Blvd. Suite 601                                                                                                      Encino            CA      91436
6478459   ADVANTAGE EXCAVATING                                       P.O. BOX 2                                                                                                                         ESPANOLA          NM      87532
6478460   ADVANTAGE PAVING & SEALCOAT LL                             RT 3 BOX 341-C                                                                                                                     ESPANOLA          NM      87532
6478085   ADVANTAGE RENT A CAR                                       3400 UNIVERSITY BLVD SE                                                                                                            ALBUQUERQUE       NM      87106
6478171   ADVANTAGE RENT A CAR                                       5401 LOMAS BLVD NE                                                                                                                 ALBUQUERQUE       NM      87110
6484918   Adventure Lust Of Wonder                                   19780 Vision Trail                                                                                                                 Topanga           CA      90290
6482039   Advertising Digital Identification LLC                     11020 David Taylor Dr                                                                                                              Charlotte         NC      28262
6476299   ADVISION SIGNS INC                                         4735 CAMPBELLS RUN ROAD                                                                                                            PITTSBURGH        PA      15205
6483995   Advisors LLP                                               11911 San Vicente Blvd                                                                                                             Los Angeles       CA      90049
6477593   ADVOCACY CENTER                                            8325 OAK ST                                                                                                                        NEW ORLEANS       LA      70118
6482153   AEC One Stop Group, Inc.                                   4250 Coral Ridge Dr.                                                                                                               Pompano Beach     FL      33065
6483567   AEG Live LA                                                5750 Wilshire Blvd. Suite 501                                                                                                      Los Angeles       CA      90036
6475706   AEG LIVE LLC                                               5750 WILSHIRE BLVD                                STE 501                                                                          LOS ANGELES       CA      90036
6479298   AEGG PROMOTIONS                                            26216 CHISWICK COURT                                                                                                               VALENCIA          CA      91355        SWITZERLA
6799017   AELITE FILM AG                                             BADENERSTRASSE 156                                                                                                                 ZUIRCH                    8026         ND
6478157   AERO TECH                                                  8308 YEAGER DRIVE NE                                                                                                               ALBUQUERQUE       NM      87109
6475414   AESTHETIC MEDICINE\THE                                     ANTI AGING CLINIC OF LA LLC                       8940 BLUEBONNET BLVD                                                             BATON ROUGE       LA      70810
6484479   Aetna                                                      PO Box 894938                                                                                                                      Los Angeles       CA      90189
6486138   Affiliated Concepts Corp. dba Santa Barbara Sound Design   33 W. Haley St.                                                                                                                    Santa Barbara     CA      93101
6480340   AFG PRODUCTIONS, INC.                                      F/S/O JUSTIN BALDONI                              C/O THE GOTHAM GROUP            9255 SUNSET BLVD STE 515   ATTN: ERIC ROBINSON   LOS ANGELES       CA      90069
6799010   AFM PRODUCTIONS                                            FSO: ARTIE MALESCI                                5900 SW 123 AVE                                                                  MIAMI             FL      33183
6474968   AFM PRODUCTIONS INC                                        FSO: ARTIE MALESCI                                5900 SW 123 AVE                                                                  MIAMI             FL      33183
6478589   AFORO\MAAME-YAA                                            1545 AMHERST AVENUE, #109                                                                                                          LOS ANGELES       CA      90025
6469197   AFRICAN AMERICAN FILM CRITICS ASSOC                        (AAFCA)                                           3245 BEVERLY DR. #136                                                            BEVERLY HILLS     CA      90213
6484749   African American Film Critics Association (AAFCA)          3245 Beverly Dr. #136                                                                                                              Beverly Hills     CA      90213
6482095   Afterburner, Inc.                                          55 Ivan Allen Jr. Blvd. Suite 525                                                                                                  Atlanta           GA      30308
6474302   AFTERGOOD*TRACY                                            Address on File
6480757   Aftergood, Tracy Weinberg                                  Address on File
6486152   Aftr-7 Inc.                                                40647 Cypress Grove Ct.                                                                                                            Palmdale          CA      93551
6475397   AFTRA HEALTH & RETIREMENT FUND                             5757 WILSHIRE BOULEVARD,                          7TH FLOOR                                                                        LOS ANGELES       CA      90036

6479871   AFTRA HEALTH & RETIREMENT FUNDS                            ATTN: LEGAL DEPT.                                 261 MADISON AVENUE, 8TH FLOOR                                                    NEW YORK          NY      10016
6481423   AFTRA Health Fund                                          261 Madison Ave. 8th Floor                                                                                                         New York          NY      10016
6478987   AGA DESIGNS INC                                            11521 S YORK AVE                                                                                                                   HAWTHORNE         CA      90250
6484658   Agency for the Performing Arts, Inc.                       405 So. Beverly Dr.                                                                                                                Beverly Hills     CA      90212
6477948   AGGREKO INC                                                P O BOX 972562                                                                                                                     DALLAS            TX      75397-2562
6480967   Agnani, Raja                                               Address on File
6479067   AGOGLIA\JOHN                                               1325 CHELSEA AVE                                                                                                                   SANTA MONICA      CA      90404
6475274   AGUA DULCE MOVIE RANCH, INC.                               AKA S.O.S. FILMWORKS                              34855 PETERSEN ROAD                                                              AGUA DULCE        CA      91390
6491341   AGUILAR* ROBERT                                            125 S. GREEN ST., APT 808A                                                                                                         CHICAGO           IL      60607
6478272   AGUINO\STEVE                                               2393 HIGH DESERT CIRCLE                                                                                                            RIO RANCHO        NM      87144
6486010   AGV Painting Inc.                                          216 S Cherrywood Street                                                                                                            West Covina       CA      91791
6485448   Ah2, LLC                                                   28322 Constellation Rd.                                                                                                            Valencia          CA      91355
6478039   AHERN RENTALS                                              2920 BROADWAY BLVD. SE                                                                                                             ALBUQUERQUE       NM      87102
6492341   AHERN RENTALS, INC                                         ATTN: J.M. CASTILLO, LEGAL COORDINATOR            1401 MINERAL AVENUE                                                              LAS VEGAS         NV      89106
6478524   AHERN RENTALS, INC.                                        4241 S. ARVILLE                                                                                                                    LAS VEGAS         NV      89103
6484659   Ahna Tessler                                               9465 Wilshire Blvd., Suite # 880                                                                                                   Beverly Hills     CA      90212
6483568   Aim Artists Agency                                         509 N. Sycamore Ave.                                                                                                               Los Angeles       CA      90036




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                                                                                                                                     Served First Class Mail

MMLID     NAME                                                   ADDRESS                                                       ADDRESS 2                         ADDRESS 3         ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6484263   Aimee V. Pitta                                         6022 Graciosa Dr.                                                                                                             Los Angeles      CA      90068
6479239   AIR HOLLYWOOD, INC.                                    13240 WEIDNER ST.                                                                                                             PACOIMA          CA      91331
6475932   AIR JAMAICA LTD                                        72-76 HARBOUR STREET                                                                                                          KINGSTON                             JAMAICA
6479378   AIR ON LOCATION INC.                                   PO BOX 922980                                                                                                                 SYLMAR           CA      91392
6486950   AIRBORNE TOXIC EVENT* THE                              C/O GALLI MANAGEMENT LLC                                      ATTN: MIKEL FRANS JOLLETT         4220 LANKERSHIM   3RD FLOOR   NO. HOLLYWOOD    CA      91602
6478400   AIRGAS                                                 2810 INDUSTRIAL ROAD                                                                                                          SANTA FE         NM      87507
6476686   AIRGAS NATIONAL WELDERS                                P.O. BOX 31007                                                                                                                CHARLOTTE        NC      28231
6478099   AIRGAS SOUTHWEST                                       2801 PRINCETON DRIVE                                                                                                          ALBUQUERQUE      NM      87107
6477272   AIRGAS USA LLC                                         P. O. BOX 9249                                                                                                                MARIETTA         GA      30065-2249
6477940   AIRGAS, INC.                                           PO BOX 676015                                                                                                                 DALLAS           TX      75267
6486250   Airsoft Extreme                                        891 Larelwood Rd. Ste 108                                                                                                     Santa Clara      CA      95054       UNITED
6475518   AIRWARE TECHNOLOGY LTD.                                18 STORY LANE                                                 BROADSTONE                                                      DORSET                   BH18 8EQ    KINGDOM
6485648   Airwaves Cellular, Inc.                                13400 Riverside DriveSuite 103                                                                                                Sherman Oaks     CA      91423
6491789   AIRWAVES INC.                                          13400 RIVERSIDE DRIVE STE 103                                 STE 103                                                         SHERMAN OAKS     CA      91423
6479418   AIRWAVES, INC.                                         13400 RIVERSIDE DRIVE #103                                                                                                    SHERMAN OAKS     CA      91423
6482397   Aishon Jeffrey                                         6435 W. Jefferson Blvd. #197                                                                                                  Fort Wayne       IN      46804
6477158   AITKEN\MESERET                                         17 BROADWAY STREET                                                                                                            ASHEVILLE        NC      28801
6482522   AJ Jimenez                                             c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                             Northbrook       IL      60062
6479264   AJAR\TOM                                               8935 AQUEDUCT AVENUE                                                                                                          NORTH HILLS      CA      91343-3101
6482342   Ajay Theatres                                          P.O. Box 772097                                                                                                               Memphis          TN      38177
6486216   AJG & Co Ins. Brokers of CA                            3697 Mt. Diablo Blvd. #300                                                                                                    Lafayette        CA      94549
6477734   AJSK SERVICES LLC                                      P.O. BOX 56366                                                                                                                NEW ORLEANS      LA      70156
6474882   AKANA*JARINN                                           Address on File
6476945   AKERS, DANNY                                           1103 N. SHORE DR.                                                                                                             SOUTHPORT        NC      28461
6475347   AKIN GUMP STRAUSS - LOCKBOX                            ATTN: 894516                                                  5860 UPLANDER WAY                                               CULVER CITY      CA      90230
6484049   Akin Gump Strauss Hauer & Feld                         2029 Century Park East Suite 2400                                                                                             Los Angeles      CA      90057
6799013   AKIN GUMP STRAUSS HAUER & FELD, LLP                    1999 Avenue of the Stars                                      Suite 600                                                       Los Angeles      CA      90067-6022
6484906   AKM-GSI Media, Inc.                                    409 Pacific Coast Hwy. #431                                                                                                   Redondo Beach    CA      90277
6492839   AKM-GSI MEDIA, INC.                                    ATTN: STEVEN L. GINSBURG, OWNER/PRESIDENT                     409 N. PACIFIC COAST HWY., #431                                 REDONDO BEACH    CA      90277
6479992   ALABAMA DEPARTMENT OF LABOR                            COMMISSIONER                                                  P.O. BOX 303500                                                 MONTGOMERY       AL      36130
6482230   Alabama Film Office                                    Alabama Center for Commerce401 Adams Ave. Suite 170                                                                           Montgomery       AL      36104
6480187   ALAMEDA COUNTY TREASURER                               TAX COLLECTOR'S OFFICE                                        1221 OAK STREET                   ROOM 131                      OAKLAND          CA      94612
6482915   Alamo Drafthouse Village                               612A E. 6th Street                                                                                                            Austin           TX      78701
6482920   Alamo South Lamar LP                                   1120 S Lamar Blvd                                                                                                             Austin           TX      78704
6479460   ALAN AUTO GLASS                                        599 SOUTH BONNYWOOD PLACE                                                                                                     BURBANK          CA      91502-1936
6482020   Alan Erik Turovlin                                     205 Lion Gate Dr                                                                                                              Cary             NC      27518
6469692   ALAN GLYNN                                             6 THE COVA, 163 WHITEHALL ROAD TERENURE                                                                                       DUBLIN 12                             IRELAND
6483656   Alan Harris                                            6424 Santa Monica Blvd                                                                                                        Los Angeles      CA      90038
6484624   Alan L. Isaacman                                       8484 Wilshire Blvd., Suite 850                                                                                                Beverly Hills    CA      90211
6482813   Alan Markfield                                         828 Royal Street#159                                                                                                          New Orleans      LA      70116
6481579   Alan Menken                                            c/o CohnReznick, LLP1212 Avenue of the Americas, 14th Floor                                                                   New York         NY      10036
6799004   ALAN MENKEN                                            C/O J.H. COHEN, LLP                                           1301 AVENUE OF THE AMERICAS                                     NEW YORK         NY      10019
6482293   Alan Poizner                                           P.O. Box 68184                                                                                                                Nashville        TN      37206
6485567   Alan R. Klein                                          15233 Ventura Blvd., #1210                                                                                                    Sherman Oaks     CA      91403
6485484   Alan Rommelfanger dba Daybreak Entertainment           2890 Parkview Dr.                                                                                                             Thousand Oaks    CA      91362
6479944   ALASKA DEPT. OF LABOR AND                              WORKFORCE DEVELOPMENT                                         COMMISSIONER                      P.O. BOX 11149                JENEAU           AK      99811
6484310   Albert Karapetyan dba Argyle Salon                     8358 Sunset Blvd.                                                                                                             West Hollywood   CA      90069
6482818   Albert Quaid                                           204 E 6th Avenue                                                                                                              Covington        LA      70433
6481001   Albert, Isabelle                                       Address on File
6476533   ALBERTSON\BENJAMIN JOHN                                306 SHELLY LEONARD STREET                                                                                                     LEXINGTON        NC      27295
6476084   ALBERTSON\JESSICA                                      50 W 34TH ST APT 11A1                                                                                                         NEW YORK         NY      10012
6475602   ALBUQUERQUE BERNALILLO COUNTY                          WATER UTILITY AUTHORITY                                       ONE CIVIC PLAZA NW, ROOM 5012                                   ALBUQUERQUE      NM      87102
6478100   ALBUQUERQUE FENCE CO.                                  521 EDITH BVLD. NE                                                                                                            ALBUQUERQUE      NM      87107
6478101   ALBUQUERQUE HARDWOOD LUMBER CO                         4100 2ND ST NW                                                                                                                ALBUQUERQUE      NM      87107
6474974   ALBUQUERQUE PUBLIC SCHOOLS                             ATTN: GENERAL LEDGER DEPT                                     PO BOX 25704                                                    ALBUQUERQUE      NM      87125-0704
6478086   ALBUQUERQUE STUDIOS                                    5650 UNIVERSITY BLVD. SE                                                                                                      ALBUQUERQUE      NM      87106
6480737   Alcabes, Adam                                          Address on File
6486242   Alchemy LLC                                            351 Lovell AvenueAndrew Grant                                                                                                 Mill Valley      CA      94941
6469222   ALCHEMY LLC                                            ANDREW GRANT                                                  351 LOVELL AVENUE                                               MILL VALLEY      CA      94941
6482189   Alco Capital Theaters dba Boynton Cinema               9764 S Military Trail                                                                                                         Boynton Beach    FL      33436
6492856   ALCO CAPITAL THEATERS, LLC                             ATTN: LARRY FORBES, VICE PRESIDENT                            9764 S. MILITARY TRAIL                                          BOYNTON BEACH    FL      33436
6485821   ALD Productions/Lopez Tonight                          Attn: Robin Topp4000 Warner Blvd, Bldg 137                                                                                    Burbank          CA      91522
6480394   ALDAMISA RELEASING, LLC                                15760 VENTURA BOULEVARD, SUITE 1450                                                                                           BEVERLY HILLS    CA      90210
6468815   ALDAMISA RELEASING, LLC                                ATTN: SERGEI BESPALOV-CHAIRMAN                                15760 VENTURA BOULEVARD           SUITE 1450                    ENCINO           CA      91436
6475477   ALDERMAN\THEODORE                                      3013 16TH ST                                                  APT D                                                           METAIRIE         LA      70002
6484484   Aldon Smith                                            345 N. Maple Dr. Suite 205                                                                                                    Beverly Hills    CA      90210
6476711   ALDRIDGE\ROBERT ALAN                                   409 S. 6TH STREET                                                                                                             WILMINGTON       NC      28401
6486187   Alejandro Arroyo                                       247 Collins St                                                                                                                San Francisco    CA      94118
6485551   Aleksandar Todorov                                     6121 Woodman Ave. #315                                                                                                        Van Nuys         CA      91401
6484844   Aleksandar, Inc                                        1542 W. 130th Street                                                                                                          Gardena          CA      90249




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                                                                                                                                              Served First Class Mail

MMLID     NAME                                                          ADDRESS                                                         ADDRESS 2                                 ADDRESS 3         ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6479282   ALERT LITE NEON, INC.                                         11116 TUXFORD STREET                                                                                                                    SUN VALLEY         CA      91352
6482379   Alex Capaldi                                                  3806 21st St. NW                                                                                                                        Canton             OH      44708
6485457   Alex Demyanenko                                               4526 Totana Drive                                                                                                                       Tarzana            CA      91356
6484311   Alex Freedman                                                 9127 Thrasher Ave.                                                                                                                      West Hollywood     CA      90069
6485826   Alex Korp                                                     5519 Coldfax Ave.                                                                                                                       North Hollywood    CA      91601
6485113   Alex Ranarivelo                                               827 Pearl St. Apt. A                                                                                                                    Santa Monica       CA      90405
6485458   Alex Roullet                                                  19316 Miranda St.                                                                                                                       Tarzana            CA      91356
6483506   Alex Watson                                                   3343 Bagley Ave.                                                                                                                        Los Angeles        CA      90034
6480729   Alex, Jade                                                    Address on File
6486262   Alexa Renee Tijerino                                          2419 Evenstar Lane                                                                                                                      Davis              CA      95616
6491667   ALEXANDER CAMPBELL                                            10609 BLOOMFIELD ST #302                                                                                                                NORTH HOLLYWOOD    CA      91602
6484050   Alexander Tarzan                                              256 S. Lafayette Park Place, Apt#110                                                                                                    Los Angeles        CA      90057
6491841   ALEXANDER WANG, INC                                           386 BROADWAY                                                                                                                            NEW YORK           NY      10013
6481803   Alexander Watt                                                462 Deer Park Ave.                                                                                                                      Babylon            NY      11702
6492739   ALEXANDER* YVONNE N.                                          Address on File
6485944   Alexander's Talent Management                                 P.O. Box 4161                                                                                                                           Valley Village     CA      91607
6483797   Alexandra Davis                                               1010 N Spaulding #4                                                                                                                     Los Angeles        CA      90046
6483569   Alexandra Mandelkorn                                          308 N. Mansfield Ave.                                                                                                                   Los Angeles        CA      90036
6485459   Alexandre de la Bouillerie                                    19316 Miranda St.                                                                                                                       Tarzana            CA      91356
6485469   Alexis del Vecchio                                            548 Hollyburne Lane                                                                                                                     Thousand Oaks      CA      91360
6483722   Alexx Henry Studios, LLC fso Alexander Ouanes                 3256 Kazaz Lane                                                                                                                         Los Angeles        CA      90039
6479283   ALFONSO'S BREAKAWAY GLASS INC.                                8070 SAN FERNANDO ROAD                                                                                                                  SUN VALLEY         CA      91352
6481762   Ali Robinson                                                  594 Court St. #2                                                                                                                        Brooklyn           NY      11231
6799008   ALIBI MUSIC LP                                                ATTN: JONATHAN PARKS                                            731 W. BROAD STREET                                                     BETHLEHEM          PA      18018
6798998   ALIBI MUSIC LP                                                MR.JONTHAN PARKS                                                731 W. BROAD STREET                                                     BETHLEHEM          PA      18018
6481888   ALIBI Music, LP                                               4865 Hamilton Blvd, Suite 200                                                                                                           Allentown          PA      18106
6486064   Alicia Keanu                                                  27494 Hazelhurst St. #3                                                                                                                 Murrieta           CA      92562
6483352   Alicia Sexton                                                 1826 Normandie Ave                                                                                                                      Los Angeles        CA      90027
6475780   ALICINO\CASEY                                                 1777 ALAMOANA BLVD.                                             SUITE 107 # 13                                                          HONOLULU           HI      96815
6482891   Alisha McCasland                                              1625 Weiler Blvd.                                                                                                                       Fort Worth         TX      76112
6483570   Alison Dammann                                                434 N. Ogden Dr. #5                                                                                                                     Los Angeles        CA      90036
6485799   Alive Records                                                 919 Isabel St. #G                                                                                                                       Burbank            CA      91506        UNITED
6799003   ALKI DAVID                                                    C/O FILMON                                                      111 Wardour Street                                                      London                     W1F 0UH      KINGDOM
6479039   ALKOFER/LISA                                                  4201 VIA MARINA #242D                                                                                                                   MARINA DEL REY     CA      90292
6477112   ALL ABOUT AWNINGS                                             103 REDDEN ROAD                                                                                                                         HENDERSONVILLE     NC      28739
6479209   ALL ABOUT PRINTING                                            21901 DEVONSHIRE STREET                                                                                                                 CHATSWORTH         CA      91311
6478102   ALL AMERICAN WASTE REMOVAL                                    5049 EDITH BLVD NE                                                                                                                      ALBUQUERQUE        NM      87107
6475786   ALL AXIS REMOTE SYSTEM                                        201 ST CHARLES AVE                                              SUITE 114-216                                                           NEW ORLEANS        LA      70170
6476940   ALL CAROLINA CRANE RENTAL                                     P.O. BOX 70                                                                                                                             ROCKY POINT        NC      28457
6484773   All Def Digital, Inc.                                         8965 Lindblade St.                                                                                                                      Culver City        CA      90232
6491606   ALL MEDIA MUSIC GROUP INC                                     23679 CALABASAS RD, #1042                                                                                                               CALABASAS          CA      91302
6485242   All Pictures Media                                            15 South Raymond Ave. Suite 200                                                                                                         Pasadena           CA      91105
6485684   All Printing Services, Inc.                                   15616 Ventura Blvd.                                                                                                                     Encino             CA      91436
6477183   ALL PRO PLUMBING SERVICES,INC.                                P.O BOX 811                                                                                                                             ASHEVILLE          NC      28802
6477336   ALL SPECIAL EFFECTS                                           478 TALAMONE DR.                                                                                                                        WINTER HAVEN       FL      33884
6481577   All Sport Media Group, LLC                                    546 West 146th St. #24                                                                                                                  New York           NY      10031
6481972   All Stage & Sound Inc                                         21500 Laytonsville Rd                                                                                                                   Laytonsville       MD      20882
6482901   All Star Cinemas LLC                                          957 Nasa Parkway                                                                                                                        Houston            TX      77058
6477461   ALL STAR ELECTRIC INC                                         821 LITTLE FARMS AVE                                                                                                                    METAIRIE           LA      70003
6475348   ALL STAR EXECUTIVE AVIATION                                   ATTN:MARC SCOTT ROUSE                                           59 RANCHO NAVATO DR                                                     POMONA             CA      91766-4784
6478276   ALL STAR FOAM & MARKETING, INC                                PO BOX 21473                                                                                                                            ALBUQUERQUE        NM      87154
6479465   ALL SYSTEMS BUS & TRUCK, INC.                                 PO BOX 11483                                                                                                                            BURBANK            CA      91510
6477091   ALL THINGS CANVAS                                             560 JENKINS BRANCH ROAD                                                                                                                 BRYSON CITY        NC      28713
6477252   ALLANSON\WILLIAM                                              1248 VALLEY FORGE DR.                                                                                                                   CHARLESTON         SC      29412
6476311   ALLEGENY FENCE CONST CO, INC                                  4301 IRVINE ST                                                                                                                          PITTSBURGH         PA      15207
6475309   ALLEGHENY COUNTY                                              REDEVELOPMENT AUTHORITY                                         425 SIXTH AVENUE SUITE 800                                              PITTSBURGH         PA      15219
6476273   ALLEGHENY SIGN                                                1090 3RD STREET                                                                                                                         NORTH VERSAILLES   PA      15137
6482487   Allegra Print & Imaging                                       618 2nd Ave. South                                                                                                                      Minneapolis        MN      55402
6482135   Allen Robinson                                                5332 Dowington Dr.                                                                                                                      Jacksonville       FL      32257
6476763   ALLEN, SHEILA                                                 110 MOUNT VERNON DRIVE                                                                                                                  WILMINGTON         NC      28403
6477754   ALLEN\ALEXANDER H.                                            5467 WEST PARK AVE                                                                                                                      HOUMA              LA      70360
6477064   ALLEN\CHRISTOPHER W.                                          1002 SUMMERBROOK PLACE                                                                                                                  JACKSONVILLE       NC      28540
6479752   ALLEN\KOLBY                                                   421 NORTH 125TH STREET                                                                                                                  SEATTLE            WA      98133
6476764   ALLEN\SHEILA K.                                               110 MOUNT VERNON DR.                                                                                                                    WILMINGTON         NC      28403
6479583   ALLEY CATS STUDIO RENTALS                                     7101 CASE AVE                                                                                                                           NORTH HOLLYWOOD    CA      91605
6798996   ALLIANCE ATLANTIS RELEASING LIMITED D/B/A MOMENTUM PICTURES   Attn: President, Managing Director and Head of Legal Business   134 Peter Street                                                        Toronto            ON      M5V 2H2      CANADA
6798989   ALLIANCE ATLANTIS RELEASING LIMITED T/A MOMENTUM PICTURES     134 Peter Street                                                                                                                        Toronto            ON      M5V 2H2      CANADA
6491755   ALLIANCE FILMS                                                455 ST-ANTOINE OUEST, SUITE 300                                                                                                         MONTREAL           QC      H2Z 1J1      CANADA
6798953   ALLIANCE FILMS (UK) LIMITED                                   D/B/A MOMENTUM PICTURES                                         ATTN: HEAD OF LEGAL AND BUSINESS AFFAIRS 134 Peter Street               Toronto            ON      M5V 2H2      CANADA
                                                                                                                                                                                                                                                        UNITED
6798961   ALLIANCE FILMS (UK) LIMITED                                   20 SOHO SQUARE                                                  2ND FLOOR                                                               LONDON                     W1D 3QW      KINGDOM




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MMLID     NAME                                                  ADDRESS                                            ADDRESS 2                         ADDRESS 3                         ADDRESS 4   CITY                STATE   POSTAL CODE   COUNTRY
                                                                                                                                                                                                                                             UNITED
6490449   ALLIANCE FILMS (UK) LIMITED                           ATTN: SPYRO MARKESINIS                             45 WARREN STREET                                                                LONDON                      W1T 6AG       KINGDOM
6798975   ALLIANCE FILMS INC.                                   (under Enertainment One LTD)                       134 Peter Street Suite 700                                                      TORONTO             ON      M5V 2H2       CANADA
6798966   ALLIANCE FILMS INC.                                   (UNDER ENTERTAINMENT ONE)                          134 Peter Street                                                                TORONTO             ON      M5V 2H2       CANADA
6798991   ALLIANCE FILMS INC.                                   121 BLOOR ST                                       SUITE 1500                                                                      TORONTO             ON      M4W 3M5       CANADA
6798983   ALLIANCE FILMS INC.                                   134 Peter Street                                   Suite 700                                                                       Toronto             ON      M5V 2H2       CANADA
6798974   ALLIANCE FILMS INC.                                   145 KING STREET EAST                               SUTIE 300                                                                       TORONTO             ON      M5C 2Y7       CANADA
6798963   ALLIANCE FILMS INC.                                   455 ST. ANTOINE STREET WEST                        SUITE 300                                                                       MONTREAL            QC      H2Z 1J1       CANADA
6798965   ALLIANCE FILMS INC.                                   AMY PAPETTO, GENERAL COUNSEL                       455 ST-ANTOINE OUEST, SUITE 300                                                 MONTREAL            QC      H2Z 1J1       CANADA
6798973   ALLIANCE FILMS, INC.                                  455 ST-ANTOINE OUEST, SUITE 300                                                                                                    MONTREAL            QC      H2Z 1J1       CANADA
6481580   Alliance for Lupus Research, Inc.                     28 West 44th St. Suite 501                                                                                                         New York            NY      10036
6479434   ALLIANCE OF MOTION PICTURE & T                        15503 VENTURA BLVD.                                                                                                                ENCINO              CA      91436
6798945   ALLIANCE OF MOTION PICTURE AND TELEVISION PRODUCERS   15301 Ventura Boulevard, Building E                                                                                                Sherman Oaks        CA      91403
6479299   ALLIANCE RENTAL SOLUTIONS INC.                        23639 VIA PRIMERO                                                                                                                  VALENCIA            CA      91355
6479886   ALLIANZ GLOBAL CORPORATE &                            SPECAILTY N.A. INS CO.                             MERRY ROGERS                      1811 STATE STREET, SUITE A                    SANTA BARBARA       CA      93101
6479884   ALLIANZ GLOBAL CORPORATE &                            SPECIALTY INSURANCE                                ATTN: LEGAL DEPARTMENT            1 CHASE MANHATTAN PLAZA                       NEW YORK            NY      10005
6480077   ALLIANZ GLOBAL RISKS US INSURANCE COMPANY             130 ADELEIDE STREET WEST                           SUITE 1600                                                                      TORONTO             ON      M5H 3P5       CANADA
6485649   Allie Fullmer                                         4420 Ventura Canyon Ave. #1                                                                                                        Sherman Oaks        CA      91423
6492253   ALLIED ADVERTISING LIMITED PARTNERSHIP                D/B/A ALLIED INTEGRATED MARKETING                  ATTN: GERRY FELDMAN, CHAIRMAN     55 CAMBRIDGE PARKWAY, SUITE 200               CAMBRIDGE           MA      02142
6491699   ALLIED ALARMS                                         1336 4TH ST                                                                                                                        EUREKA              CA      95501-0605
6483041   Allied Collection Services, Inc. dba A.C.S.I.         3080 S. Durango Drive, Ste. 208                                                                                                    Las Vegas           NV      89117
6478401   ALLIED ELECTRIC                                       2892 CALLE DE PINOS ALTOS                                                                                                          SANTA FE            NM      87507
6491803   ALLIED INTEGRATED MARKETING                           55 CAMBRIDGE PARKWAY, STE.200                                                                                                      CAMBRIDGE           MA      02142
6477373   ALLIED WASTE SERVICES #264                            PO BOX 9001099                                                                                                                     LOUISVILLE          KY      40290-1099
6485370   Alligator Pear                                        7901 Canoga Ave., Ste.B                                                                                                            Canoga Park         CA      91304
6482700   Alligator Records & Artist Management, Inc.           1441 W. Devon                                                                                                                      Chicago             IL      60660
6482211   Allison Cecchini Tyus                                 4515 26th St. West #714                                                                                                            Bradenton           FL      34207
6485426   Allison Jackson                                       12111 Jeanette Place                                                                                                               Granada Hills       CA      91344
6477950   ALLISON\DEAN                                          5804 CONCORD                                                                                                                       WATAUSA             TX      76148
6474821   ALLOR*RYAN                                            Address on File
6491350   ALLOY MEDIA DBA ALLOY MEDIA & MARKETING               14878 COLLECTIONS CENTER DR                                                                                                        CHICAGO             IL      60693
6491659   ALLOY TRACKS                                          530 N. LAMAR STREET                                                                                                                BURBANK             CA      91506
6492616   ALLOY TRACKS LLC                                      ATTN: MR. TROY MACCUBBIN, OWNER                    5650 CAMELLIA AVENUE                                                            NORTH HOLLYWOOD     CA      91601
6483798   Ally B Entertainment                                  1320 N. Harper AvenueSuite 112                                                                                                     Los Angeles         CA      90046
6476246   ALLYN & NOORI LLC                                     PO BOX 296                                                                                                                         DUQUESNE            PA      15110
6479174   ALMEIDA, PATRICIA                                     1517 E GARFIELD AVE # 55                                                                                                           GLENDALE            CA      91205
6480843   Almond, Brent                                         Address on File
6484098   Almost Human Inc                                      3650 Eagle Rock Blvd                                                                                                               Los Angeles         CA      90065
6477159   ALOFT ASHEVILLE DOWNTOWN                              51 BILTMORE AVE                                                                                                                    ASHEVILLE           NC      28801
6482182   Alonzo Gee                                            6809 Osage Circle                                                                                                                  West Palm Beach     FL      33413
6478870   ALONZO\ROBERT                                         7252 PACIFIC VIEW DR.                                                                                                              LOS ANGELES         CA      90068
6485650   Alpha Blueprint Company                               13346 Ventura Blvd.                                                                                                                Sherman Oaks        CA      91423
6485989   Alpha Image Tech                                      1718 Potrero Ave. Suite A                                                                                                          South El Monte      CA      91733
6479284   ALPHA MEDICAL RESOURCES, INC.                         7990 SAN FERNANDO ROAD                                                                                                             SUN VALLEY          CA      91352
6476556   ALPHA WASTE INDUSTRIES, LLC                           PO BOX 1359                                                                                                                        WELCOME             NC      27374
6481089   Alphabet Arm Design                                   500 Harrison Ave, 3R                                                                                                               Boston              MA      02118
6479769   ALPINE AIR ALASKA                                     PO BOX 519                                                                                                                         GIRDWOOD            AK      99587
6478354   ALPINE BUILDERS SUPPLY CO.                            PO BOX 2207                                                                                                                        SANTA FE            NM      87504-2207
6476397   AL'S WATER SERVICE                                    2699 JEFFERSON AVE                                                                                                                 WASHINGTON          PA      15301
6482398   Alshon Jeffery                                        6435 W. Jefferson Blvd. #197                                                                                                       Fort Wayne          IN      46804
6478256   ALSOP\LISA                                            5519 LUNA DRIVE NE                                                                                                                 RIO RANCHO          NM      87124
6476946   ALT VENTURES, INC.                                    111-A SOUTH HOWE STREET                                                                                                            SOUTHPORT           NC      28461
6485309   Alta Office Services                                  630 W Colorado St                                                                                                                  Glendale            CA      91204
6476498   ALTAIR CASTING & PRODUCTION SERVICES LLC              703 COLISEUM PLAZA COURT                                                                                                           WINSTON-SALEM       NC      27106
6475767   ALTERIAN, INC.                                        15709 E ARROW HWY                                  SUITE 1                                                                         IRWINDALE           CA      91706
6481636   Alternative Distribution Alliance                     1290 Avenue of the Americas, 24th Floor                                                                                            New York            NY      10104
6478547   ALTERNATIVE RENTALS                                   5805 WEST JEFFERSON BLVD.                                                                                                          LOS ANGELES         CA      90016         UNITED
6486392   Altitude Music Ltd dba Must Save Jane                 Old Truman Brewery, 91 Brick Lane                                                                                                  London                      E1 6QL        KINGDOM
6484058   ALTOUR                                                12100 West Olympic Blvd. Suite 300                                                                                                 Los Angeles         CA      90064
6491842   ALTUZARRA, LLC                                        21 HOWARD ST. 4TH FLOOR                                                                                                            NEW YORK            NY      10013
6478854   ALUISI, DOMINIC A.                                    12215 LOUISE AVENUE                                                                                                                LOS ANGELES         CA      90066
6474780   ALVA*HARRISON                                         Address on File
6481531   Alvarez & Marsal North America, LLC                   600 Lexington Avenue - 6th Floor                                                                                                   New York            NY      10022
6475925   ALVAREZ CORREA\FELIX                                  350 AVE A APT 14C                                  VILLA MARINA VILLAGE                                                            FAJARDO             PR      00738
6475534   ALVAREZ FONSECA\FERNANDO                              URB. PARQUE CENTRAL BAIROA                         CALLE 65 V13                                                                    CAGUAS              PR      00725
6480848   Alvarez, Matthew                                      Address on File
6486033   Alvaro Jose Aguirre                                   PO Box 9620                                                                                                                        Rancho Santa Fe     CA      92067
6479110   ALVAS, LLC                                            1417 W. 8TH STREET                                                                                                                 SAN PEDRO           CA      90732
6475805   ALVERT MUSIC INC.                                     6929 JFK BLVD                                      SUITE 20-323                                                                    NORTH LITTLE ROCK   AK      72116
6481565   Alvin J. Fields                                       2220 8th Ave. Apt #2s                                                                                                              New York            NY      10026
6481809   Alyson Gordon dba Alyson Richman                      4 Wincoma Dr.                                                                                                                      Huntington          NY      11743




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                                                                                                                                        Served First Class Mail

MMLID     NAME                                                           ADDRESS                                                   ADDRESS 2                          ADDRESS 3                  ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6485751   Alyssa Fisher                                                  333 N. Screenland Drive #111                                                                                                        Burbank            CA      91505
6478943   AMADOR\GINA                                                    203 S DOHNEY DR                                                                                                                     BEVERLY HILLS      CA      90211
6486041   Amanda Brophy                                                  1125 Hornblend St. #11                                                                                                              San Diego          CA      92109
6468855   AMANDA MACKEY                                                  1755 YORK AVENUE                                          SUITE 34G                                                                 NEW YORK           NY      10128
6481650   Amanda Mackey                                                  1755 York Avenue #346                                                                                                               New York           NY      10128
6468774   AMANDA MACKEY                                                  C/O CREATIVE ARTISTS AGENCY                               ATTN: CHARLIE JENNINGS, AGENT      2000 AVENUE OF THE STARS               LOS ANGELES        CA      90067
6485497   Amar'e Stoudemire                                              c/o Boulevard Management21731 Ventura Blvd, Suite 300                                                                               Woodland Hills     CA      91364
6485498   Amare Stoudemire Enterprise, Inc.                              c/o 21731 Ventura Blvd. Suite 300                                                                                                   Woodland Hills     CA      91364
6485499   Amar'e Stoudemire Foundation, Inc., The                        21731 Ventura Blvd, Suite 300                                                                                                       Woodland Hills     CA      91364
6478582   AMAZING PINATAS, INC.                                          1204 E. OLYMPIC BLVD.                                                                                                               LOS ANGELES        CA      90021
6486357   Amazon Media Group, LLC                                        P.O. Box 24651                                                                                                                      Seattle            WA      98124
6486722   Amazon Web Services                                            PO Box 84023                                                                                                                        Seattle            WA      98124
6482113   Amazon.com Credit Service                                      PO Box 530958                                                                                                                       Atlanta            GA      30353
6482026   Ambassador Entertainment, Inc.                                 Rialto TheatreAttn: John Munson1620 Glenwood Ave.                                                                                   Raleigh            NC      27608
6483507   Ambergreen Entertainment UK, Inc.                              c/o Mark Ambrose3151 Hutchison Ave.                                                                                                 Los Angeles        CA      90034
6476571   AMBLESIDE GALLERY                                              528 S. ELM ST.                                                                                                                      GREENSBORO         NC      27406
6478667   AMBROSE\MARC                                                   3151 HUTCHINSON AVENUE                                                                                                              LOS ANGELES        CA      90034
6492305   AMC NETWORK ENTERTAINMENT LLC                                  ATTN: E. LENNER                                           11 PENN PLAZA                                                             NEW YORK           NY      10001
6481836   Ament Co., Ltd                                                 4F, Tetis Building, 100-15 Chungdam-dongGangnam-gu                                                                                  Seoul                      135-010     Korea
6478927   AMERCIAN EXPRESS                                               BOX 00001                                                                                                                           LOS ANGELES        CA      90096-8000
6478241   AMERICA TENT RENTALS                                           2110 COORS BLVD.                                                                                                                    ALBUQUERQUE        NM      87121
6478242   AMERICA TENT RENTALS, INC.                                     2110 COORS BLVD SW                                                                                                                  ALBUQUERQUE        NM      87121
6481667   American Arbitration Association                               120 Broadway, 21st Floor                                                                                                            New York           NY      10271
6481550   American Broadcasting Company, Inc.                            77 West 66th St.                                                                                                                    New York           NY      10023
6485968   American Cinema Editors                                        100 Universal City Plaza, Ste#190Verna Fileds Bldg 2282                                                                             Universal City     CA      91608
6483395   American Cinematheque                                          6712 Hollywood Blvd                                                                                                                 Hollywood          CA      90028
6482000   American Diabetes Association                                  1701 N. Beauregard St.                                                                                                              Alexandria         VA      22311
6478200   AMERICAN DIESEL SERVICE,LLC                                    3700 MORRIS STREET NE                                                                                                               ALBUQUERQUE        NM      87111
6482058   American Eagle Locksmith                                       3484 Hendersonville Rd.                                                                                                             Fletcher           NC      28732
6482179   American Express                                               2965 W. Corporate Lakes Blvd                                                                                                        Fort Lauderdale    FL      33331
6478924   AMERICAN EXPRESS                                               BOX 0001                                                                                                                            LOS ANGELES        CA      90096
6477328   AMERICAN EXPRESS                                               P.O. BOX 360001                                                                                                                     FORT LAUDERDALE    FL      33336-0001
6477329   AMERICAN EXPRESS                                               PO BOX 360001                                                                                                                       FT. LAUDERDALE     FL      33336-0001
6477934   AMERICAN EXPRESS                                               PO BOX 650448                                                                                                                       DALLAS             TX      75264-0448
6492301   AMERICAN EXPRESS TRAVEL RELATED SERVICES                       COMPANY, INC.                                             C/O BECKET AND LEE LLP             POB 3001                               MALVERN            PA      19355-0701
6475407   AMERICAN FEDERATION OF                                         MUSICIANS                                                 817 VINE STREET                                                           HOLLYWOOD          CA      90038
6483090   American Federation of Musicians                               3550 Wilshire Blvd. Suite 1900                                                                                                      Los Angeles        CA      90010
6798943   AMERICAN FEDERATION OF MUSICIANS                               ATTN: GENERAL COUNSEL                                     1501 BROADWAY                      SUITE 600                              NEW YORK           NY      10036
6490300   AMERICAN FEDERATION OF MUSICIANS                               ATTN: LEGAL DEPT.                                         1501 BROADWAY, SUITE 600                                                  NEW YORK           NY      10036

6479867   AMERICAN FEDERATION OF MUSICIANS                               ATTN: LEGAL DEPT.                                         1501 BROADWAY, SUITE 600                                                  NEW YORK           NY      10036
6481648   American Federation of Musicians and Employer's Pension Fund   One Penn Plaza, Suite 3115                                                                                                          New York           NY      10119
6478230   AMERICAN FENCE COMPANY                                         9634 2ND AVENUE NW                                                                                                                  ALBUQUERQUE        NM      87114
6477314   AMERICAN FILM FLEET                                            7751 N. W. 181 STREET                                                                                                               MIAMI              FL      33015
6481978   American Film Institute - Silver Theatre and Cultural Center   8633 Colesville Rd                                                                                                                  Silver Spring      MD      20910
6482330   American Heart Association                                     4708 Papermint Drive                                                                                                                Knoxville          TN      37909
6491260   AMERICAN HI DEFINITION INC                                     2 BETA DR.                                                                                                                          PITTSBURGH         PA      15238
6479399   AMERICAN HI-DEFINITION                                         7635 AIRPORT BUSINESS PKWY                                                                                                          VAN NUYS           CA      91406
6478103   AMERICAN HOME                                                  801 COMANCHE RD NE                                                                                                                  ALBUQUERQUE        NM      87107
6478281   AMERICAN HOME                                                  P.O. BOX 3685                                                                                                                       ALBUQUERQUE        NM      87190
6479566   AMERICAN HUMANE ASSOCIATION                                    11530 VENTURA BLVD.                                                                                                                 STUDIO CITY        CA      91604
6475832   AMERICAN HUMANE ASSOCIATION                                    1400 16TH ST NW                                           SUITE 360                                                                 WASHINGTON         DC      20036
6482200   American Imperial Cinemas                                      c/o Howard Edelman3507 Bayshore Blvd. #302                                                                                          Tampa              FL      33629
6492814   AMERICAN INFOSOURCE LP AS AGENT FOR T MOBILE/                  T-MOBILE USA INC.                                         ATTN: AMANDA MATCHETT, PARALEGAL   PO BOX 248848                          OKLAHOMA CITY      OK      73124-8848
6477744   AMERICAN LEGION POST 11                                        114 ST. MARY ST                                                                                                                     THIBODAUX          LA      70301
6477739   AMERICAN LUXURY LIMOUSINES LLC                                 PO BOX 19878                                                                                                                        NEW ORELANS        LA      70179-9878
6485752   American Mailing Service, Inc dba American Direct Mail         908 N. Hollywood Way                                                                                                                Burbank            CA      91505
6476947   AMERICAN MARINE CONSTRUCTION                                   P.O. BOX 11046                                                                                                                      SOUTHPORT          NC      28461
6490286   AMERICAN MECHANICAL RIGHTS AGENCY                              OBO OLYMPUS PICTURES PUBLISHING, LLC                      149 S. BARRINGTON AVE. #810                                               LOS ANGELES        CA      90049
6491351   AMERICAN MULTI-CINEMA INC.                                     13731 COLLECTIONS CENTER DR                                                                                                         CHICAGO            IL      60693
6483256   American Original Entertainment Inc                            10390 Santa Monica Blvd                                                                                                             Los Angeles        CA      90025
6475981   AMERICAN PARKING SYSTEMS, INC.                                 P.O. BOX 19239                                                                                                                      SAN JUAN           PR      00919-2239
6479270   AMERICAN PLAYBACK IMAGES                                       27748 CARAWAY LANE                                                                                                                  SANTA CLARITA      CA      91350
6489478   AMERICAN PUBLIC MEDIA                                          ATTN: LISA BROWN, ACCOUNTS RECEIVABLE                     CM 9788                            PO BOX 70870                           ST. PAUL           MN      55170-9788
6485176   American Relocation & Logistics, Inc                           13565 Larwin Circle                                                                                                                 Santa Fe Springs   CA      90670
6481424   American Scandinavian Foundation The                           58 Park Ave                                                                                                                         New York           NY      10016
6479642   AMERICAN SCREEN & WINDOW COVER                                 1903 CENTRAL AVE.                                                                                                                   SOUTH EL MONTE     CA      91733
6475880   AMERICAN SIGNS                                                 1508 EDWARDS AVE                                          SUITE DD                                                                  HARAHAN            LA      70123
6482115   American Teleconferencing Services, Ltd. dba PGi               P.O. Box 404351                                                                                                                     Atlanta            GA      30384
6477936   AMERIGAS                                                       P.O. BOX 660288                                                                                                                     DALLAS             TX      75266-0288




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MMLID     NAME                                                    ADDRESS                                                   ADDRESS 2                           ADDRESS 3                ADDRESS 4   CITY                STATE     POSTAL CODE COUNTRY
6479021   AMES COX\RICHARD                                        306 N VENICE                                                                                                                       VENICE              CA        90291
6478925   AMEX (APG)                                              BOX 0001                                                                                                                           LOS ANGELES         CA        90096-0001
6478926   AMEX(RELATIVITY)                                        BOX 0001                                                                                                                           LOS ANGELES         CA        90096-0001
6474392   AMMER*GEOFFREY                                          Address on File
6474538   AMMER*MIA                                               Address on File
6480788   Ammer, Geoffrey G.                                      Address on File
6483396   Ammo Creative, LLC                                      6725 Sunset Blvd. Suite 380                                                                                                        Los Angeles         CA        90028
6492641   AMMO CREATIVE, LLC                                      ATTN: SCOTT OGDEN, OWNER                                  6725 SUNSET BLVD., SUITE 380                                             LOS ANGELES         CA        90028
6477621   AMOND\CATHERINE                                         2725 ESPLANADE AVE UP                                                                                                              NEW ORLEANS         LA        70119
6485322   Amotz Music Company Inc                                 2057 Cookout Dr                                                                                                                    Agoura Hills        CA        91301
6484660   AMPAS                                                   8949 Wilshire Blvd                                                                                                                 Beverly Hills       CA        90212
6475258   AMPCO SYSTEM PARKING                                    STATION SQUARE GARAGE                                     301 W STATION SQUARE DRIVE                                               PITTSBURGH          PA        15219
6477394   AMPED UP LLC                                            2041 Taylor Rd                                                                                                                     Central Point       OR        97502
6479181   AMPLE POWER                                             3840 BRITTANY LANE                                                                                                                 LA CRESCENTA        CA        91214
6473038   AMPLO, JOSEPH                                           Address on File
6475520   AMPTP                                                   15301 VENTURA BLVD                                        BUILDING E                                                               SHEMAN OAKS         CA        91403
6485568   AMPTP                                                   15301 Ventura Blvd., Building E                                                                                                    Sherman Oaks        CA        91403
6479567   AMR EDITING CORPORATION                                 11592 SUNSHINE TERRACE                                                                                                             STUDIO CITY         CA        91604
6483012   Amusing Investments                                     c/o Ralph BrutschePO Box 2046                                                                                                      Santa Fe            NM        87501
6475659   AMUSING INVESTMENTS, LLC                                C/O IVAN BRUTSCHE                                         PO BOX 2046                                                              SANTA FE            NM        87501
6485391   Amy Lynne Lederman                                      17328 Ventura Blvd. Suite 141                                                                                                      Encino              CA        91316
6484887   Amy Nadine Enterprises, LLC                             656 N. Las Casas Avenue                                                                                                            Pacific Palisades   CA        90272
6481153   Amy Sciarretto                                          PO Box 1670                                                                                                                        Rutherford          NJ        07070
6481705   Ana Michelon                                            43-30 46 Street #41                                                                                                                Sunnyside           NY        11104
6485020   Anastacia Junqueira-DeGarcia                            401 Sycamore Rd.                                                                                                                   Santa Monica        CA        90402
6479772   ANCHOR - SPORTSMAN INN                                  PO BOX 750                                                                                                                         WHITTIER            AK        99693
6486378   Anchor - Sportsman Inn fso Chou J. & Yenwen A. Shen     100 Whittier St. P.O. Box 750                                                                                                      Whittier            AK        99693
6491290   ANCHOR HEATING & AIR CO, INC                            6556 ADAIR PL.                                                                                                                     DOUGLASVILLE        GA        30134
6485424   And That's A Wrap                                       16240 Itasca St.                                                                                                                   North Hills         CA        91343
6484486   Anderson Varejao                                        c/o Relativity Sports345 N. Maple Dr. #205                                                                                         Beverly Hills       CA        90210
6480905   Anderson, Nathan                                        Address on File
6477348   ANDERSON\BRIAN L.                                       11250-B POTTER TRACK ROAD                                                                                                          GRAND BAY           AL        36541
6478502   ANDERSON\SAMUEL                                         1034 8TH STREET                                                                                                                    LAS VEGAS           NV        87701
6476948   ANDERSON\THERESA                                        104 & 106 E. MOORE STREET                                                                                                          SOUTHPORT           NC        28461
6481581   Ando Media, LLC                                         Attn: Aida Langlade220 West 42nd Street 3rd Floor                                                                                  New York            NY        10036
6479667   ANDRADE\RODERICK MARK                                   15165 SEVENTH ST #F                                                                                                                VICTORVILLE         CA        92392
6491702   ANDREA L. GALVIN DBA ALOHA AGENCY, LLC                  3114 KAHAKO PLACE                                                                                                                  KAILUA              HI        96734
6482376   Andrea Vecchio                                          139 Main St                                                                                                                        Westlake            OH        44145
6482220   Andrelton Simmons                                       700 S. Victory Way                                                                                                                 Kissimmee           FL        34747
6482523   Andres Santiago                                         c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                  Northbrook          IL        60062
6486220   Andrew Bogut                                            421 Twin Oaks Lane                                                                                                                 Walnut Creek        CA        94596
6481078   Andrew Edwards                                          316 Taylor Rd.                                                                                                                     Stow                MA        01775
6482492   Andrew Egan Thompson                                    3315 W. 46th St.                                                                                                                   Minneapolis         MN        55410
6485945   Andrew Freedman                                         12512 Chandler Blvd., #204                                                                                                         Valley Village      CA        91607
6491395   ANDREW HAN                                              Address on File
6492611   ANDREW HINDES DBA THE IN HOUSE WRITER                   ATTN: ANDREW HINDES, PRESIDENT                            5239 HIGHLAND VIEW AVENUE                                                LOS ANGELES         CA        90041
6469300   ANDREW JEFFREY SCHUGEL                                  C/O RELATIVITY BASEBALL                                   400 SKOKIE BLVD., SUITE 280                                              NORTHBROOK          IL        60062
6482524   Andrew Jeffrey Schugel                                  c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                  Northbrook          IL        60062
6485228   Andrew Kopperud                                         1940 Marengo Avenue                                                                                                                South Pasadena      CA        91030
6483799   Andrew Laws Design Inc.                                 Montana Artists Agency, Inc.7715 Sunset Blvd, 3rd Floor                                                                            Los Angeles         CA        90046
6481301   Andrew Nisinson                                         225 N 7TH ST #3                                                                                                                    BROOKLYN            NY        11211-2907
6482253   Andrew P. Bollman                                       P.O. Box 10582                                                                                                                     Murfreesboro        TN        37129
6468729   ANDREW PANAY                                            C/O JACKOWAY TYERMAN WERTHERIMER                          ATTN: KARL AUSTEN AND RYAN LEVINE   1925 CENTURY PARK EAST   22ND FL.    LOS ANGELES         CA        90067
6485052   Andrew R. Schwartz                                      1908 20th Street, Apt. B                                                                                                           Santa Monica        CA        90404        UNITED
6491763   ANDREW ROSSITER T/A LOVE THY NEIGHBOR                   58 OLD SHOREHAM RD.                                                                                                                BRIGHTON            BN1 5DD                KINGDOM
6491230   ANDREW SAFFIR DBA CINEMA SOCIETY                        11 EAST 76TH ST.                                                                                                                   NEW YORK            NY        10021
6486143   Andrew Tomlinson                                        2957 E Valley Rd                                                                                                                   Santa Barbara       CA        93108
6798931   ANDREW WIGHT                                            375 HUDSON ST.                                            12TH FLOOR                                                               NEW YORK            NY        90014
6482127   Andrews International                                   P.O. Box 935461                                                                                                                    Atlanta             GA        31193
6491622   ANDREWS INTERNATIONAL INC                               27959 SMYTH DR                                                                                                                     VALENCIA            CA        91355
6470623   ANDREWS INTERNATIONAL, INC.                             P.O. BOX 935461                                                                                                                    ATLANTA             GA        31193-5461
6476949   ANDRUS\CATHERINE A.                                     1272 NORTH SHORE DRIVE                                                                                                             SOUTHPORT           NC        28461
6482438   Andwele Gardner                                         21800 Green Hill Rd.                                                                                                               Farmington          MI        48335
6483765   Andy Chung                                              6140 Monterey Rd. #314                                                                                                             Los Angeles         CA        90042
6798922   ANDY DYLAN                                              9601 WILSHIRE BLVD                                        SUITE 755                                                                BEVERLY HILLS       CA        90210
6492424   ANDY GUMP, INC.                                         ATTN: SHARON MANLEY, CFO                                  26954 RUETHER AVE                                                        SANTA CLARITA       CA        91351
6485632   Andy Keeter                                             5333 Bevis Avenue                                                                                                                  Van Nuys            CA        91411
6485753   ANE Productions, Inc.                                   3500 West Olive Ave. #1000                                                                                                         Burbank             CA        91505
6492820   ANGEL CITY AIR, INC.                                    ATTN: GARY GRUNDEN, CONTROLLER                            12653 OSBORNE ST., BOX 6                                                 PACOIMA             CA        91331
6485754   Angel City Drum Works                                   827 N. Hollywood Way #115                                                                                                          Burbank             CA        91505




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                                                                                                                                    Served First Class Mail

MMLID     NAME                                                          ADDRESS                                               ADDRESS 2                           ADDRESS 3                              ADDRESS 4                 CITY               STATE   POSTAL CODE   COUNTRY
6484115   Angela Courtin                                                3101 Colby Avenue                                                                                                                                          Los Angeles        CA      90066
6485827   Angela Rinaldo                                                5250 Denny Avenue #203                                                                                                                                     North Hollywood    CA      91601
6485755   Angelic Mercer                                                1230 N Ontario Street                                                                                                                                      Burbank            CA      91505
6482836   Angelika Film Centers LP - Plano                              7205 Bishop Rd                                                                                                                                             Plano              TX      75024
6485053   Angelika Schubert Inc dba Celestine                           1548 16th St                                                                                                                                               Santa Monica       CA      90404
6485651   Angelina S. Alvarado                                          13220 Riverside Drive, #208                                                                                                                                Sherman Oaks       CA      91423
6481869   Angels of East Africa                                         P.O. Box 131                                                                                                                                               Central City       PA      15926
6484845   ANGELUS MEDICAL & OPTICAL. CO.INC.                            13007 S. Western Ave                                                                                                                                       Gardena            CA      90249
6485114   Angry Mob Music, LLC                                          2110 Main St., Suite 207                                                                                                                                   Santa Monica       CA      90405         UNITED
6798924   ANGRY ROBOT LTD., AGENT                                       20 Fletcher Gate                                                                                                                                           NOTTINGHAM                 NG1 2FZ       KINGDOM
                                                                                                                                                                                                                                                                            UNITED
6491758   ANGRY ROBOT, LTD                                              LACE MARKET HOUSE 4-56 HIGH PAVEMENT                                                                                                                       NOTTINGHAM                 NG1 1HW       KINGDOM
                                                                                                                                                                                                                                                                            UNITED
6486456   Angry Robot, LTD                                              Lace Market House54-56 High Pavement                                                                                                                       Nottingham                 NG1 1HW       KINGDOM
6475991   ANGUEIRA\HECTOR                                               MONTE CARLO 1316 CALLE 27                                                                                                                                  SAN JUAN           PR      00924
6475161   ANGULAR MOMENTUM                                              C/O ANN OLSON                                         16530 VENTURA BLVD #305                                                                              ENCINO             CA      91436
6480415   Anica, Rocio                                                  Address on File
6479668   ANIMAL AGENCY\THE                                             16203 CAJON BLVD.                                                                                                                                          DEVORE HEIGHTS     CA      92407         UNITED
6798916   ANIMAL CRACKERS MOVIE LIMITED                                 ATTN: GENERAL COUNSEL                                 8 PENTIRE POINT                                                                                      PENTIRE, NEWQUAY           TR71FS        KINGDOM
6798914   Animal Crackers Movie Limited                                 c/o Gipson Hoffman & Pancione                         Attn: Leighton Lloyd, Esq           1901 Avenue of the Stars, Suite 1100                             Los Angeles        CA      90067
6798917   Animal Crackers Properties Ltd.                               c/o Gipson Hoffman & Pancione                         Attn: Leighton Lloyd, Esq           1901 Avenue of the Stars, Suite 1100                             Los Angeles        CA      90067
6475685   ANIMAL WRANGLER PR, LLC                                       CALLE CALABURG U-2                                    SANTA CLARA                                                                                          GUAYNABO           PR      00969
6485335   Animation Magazine                                            26500 West Agoura Rd., Ste.102-651                                                                                                                         Calabasas          CA      91302
6481175   Anita Gibson                                                  378 Lantana Ave.                                                                                                                                           Englewood          NJ      07631
6476170   ANKROM\MILFORD                                                596 BACK BONE RD                                                                                                                                           CLINTON            PA      15026
6483397   Anna Cecilia Betsill                                          5525 Carlton Way #21                                                                                                                                       Los Angeles        CA      90028
6485310   Anna Haley O'Neil                                             1271 Boynton St. #31                                                                                                                                       Glendale           CA      91205
6483508   Anna O'Steen                                                  3321 Mentone Ave. #5                                                                                                                                       Los Angeles        CA      90034
6485473   Annaliese Wolverton                                           31803 Saddletree Dr.                                                                                                                                       Westlake Village   CA      91361
6482949   Annalisa Blanco dba Fox 31/RDVR                               4550 Cherry Creek S. Drive, #813                                                                                                                           Denver             CO      80246
6484661   Annapurna Productions, LLC dba Annapurna International, LLC   9536 Wilshire Blvd. #206                                                                                                                                   Beverly Hills      CA      90212
6484959   Anne Ford                                                     333 Washington Blvd. #246                                                                                                                                  Marina Del Rey     CA      90292
6482051   Anne Wilson                                                   6721 Falcon Pointe Road                                                                                                                                    Wilmington         NC      28411
6483766   Anne-Louise Ewen                                              4844 Lynn St.                                                                                                                                              Los Angeles        CA      90042
6485317   Annette Reid                                                  1420 Valane Drive                                                                                                                                          Glendale           CA      91208
6474017   ANNICK CHARTIER                                               737 LUSIGNAN                                                                                                                                               MONTREAL           QC      H3C-1Z1       CANADA
6486415   Annick Chartier                                               737 LusignanMontreal                                                                                                                                       Quebec             QC      H3C 1Z1       CANADA
6484662   Anomaly Productions, Inc.                                     9100 Wilshire Blvd. #400W                                                                                                                                  Beverly Hills      CA      90212
6484853   Another Adventure, Inc fso James M. Freitag                   601 Porter Lane                                                                                                                                            Hermosa Beach      CA      90254
6483353   Anson Jew                                                     4534 Los Feliz #202                                                                                                                                        Los Angeles        CA      90027
6491435   ANT FARM, LLC DBA INDUSTRY CREATIVE, THE                      110 S. FAIRFAX AVE #200                                                                                                                                    LOS ANGELES        CA      90036
6492309   ANT FARM, LLC* THE                                            ATTN: MELISSA Q. SANDOVAL, CONTROLLER                 110 SOUTH FAIRFAX AVE., SUITE 200                                                                    LOS ANGELES        CA      90036
6484401   Anthem Blue Cross                                             Attn: Premium PaymentsDepartment 5812                                                                                                                      Los Angeles        CA      90074
6482878   Anthem Dental                                                 P.O. Box 202837Dept #83711                                                                                                                                 Dallas             TX      75320
6484156   Anthesis, Inc.                                                1880 Century Park East, Suite 200                                                                                                                          Los Angeles        CA      90067
6482123   Anthony D. Franks                                             6318 Stewart Ridge Walk                                                                                                                                    Buford             GA      30518
6482525   Anthony Desclafani                                            c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                          Northbrook         IL      60062
6482971   Anthony E. Toscano dba Talking Pictures                       10726 So. 1090 East                                                                                                                                        Sandy              UT      84094
6484960   Anthony Elgort                                                4119 Via Marina 53-7                                                                                                                                       Marina Del Rey     CA      90292
6485882   Anthony Guilianti                                             3322 Berry Dr                                                                                                                                              Studio City        CA      91604
6483509   Anthony Kaan                                                  2054 Charlton St. #1                                                                                                                                       Los Angeles        CA      90034
6482406   Anthony Lukens c/o Dead Oceans                                1499 West 2nd Street                                                                                                                                       Bloomington        IN      47403
6486373   Anthony M. Minotti                                            1701 Broadway #167                                                                                                                                         Vancouver          WA      98663
6486304   Anthony P. Takitani, Attorney at Law                          24 N. Church St, Suite 409                                                                                                                                 Wailuku            HI      96793
6483175   Anthony Rosc                                                  1061 1/2 Masselin Ave.                                                                                                                                     Los Angeles        CA      90019
6485287   Anthony Teal dba Full Service Heating & Air                   330 Thompson Avenue                                                                                                                                        Glendale           CA      91201
6469247   ANTHONY WOLTERS                                               C/O SFX BASEBALL GROUP                                400 SKOKIE BLVD. SUITE 280                                                                           NORTHBROOK         IL      60062
6482526   Anthony Wolters                                               c/o SFX Baseball Group400 Skokie Blvd, Ste.280                                                                                                             Northbrook         IL      60062
6482527   Anthony Zych                                                  c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                          Northbrook         IL      60062
6477793   ANTHONY\CASEY                                                 200 E KIRKLAND ST                                                                                                                                          COVINGTON          LA      70433
6483257   Anti-Defamation League-Pacific Northwest Region               Attn: Maggie Howard10495 Santa Monica Blvd.                                                                                                                Los Angeles        CA      90025
6483258   Anti-Defamation League-Pacific Southwest Region               10495 Santa Monica Blvd.                                                                                                                                   Los Angeles        CA      90025
6478104   ANTIQUE CO-OP                                                 7601 4TH STREET, NW                                                                                                                                        ALBUQUERQUE        NM      87107
6477160   ANTIQUE MARKET GALLERY                                        52 BROADWAY STREET                                                                                                                                         ASHEVILLE          NC      28801
6476605   ANTIQUE MARKET PLACE                                          6428 BURNT POPLAR RD                                                                                                                                       GREENSBORO         NC      27409
6476518   ANTIQUES & INTERIORS                                          517 W. GREEN DRIVE                                                                                                                                         HIGH POINT         NC      27260
6477707   ANTIQUES MAGAZINE                                             2028 MAGAZINE ST                                                                                                                                           NEW ORLEANS        LA      70130
6483800   Anton Khachaturian                                            7560 Hollywood Blvd. #207                                                                                                                                  Los Angeles        CA      90046
6483902   Anton L. Kitaj                                                c/o Creative Artists Agency2000 Avenue of the Stars                                                                                                        Los Angeles        CA      90048
6481562   Antonio J. Rengifo                                            120 West 97th St. #14B                                                                                                                                     New York           NY      10025
6482294   Antonio Richardson                                            421 Hart Ave.                                                                                                                                              Nashville          TN      37206
6468718   ANTONO MOURAS SANTOS JR.                                      C/O JACKOWAY TYERMAN WERTHERIMER                      AUSTEN MANDELEBAUM MORRIS & KLEIN   ATTN: DARREN TRATTNER                  1925 CENTURY PARK EAST,   LOS ANGELES        CA      90067




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                                                                                                                        Master Mailing List
                                                                                                                       Served First Class Mail

MMLID     NAME                                                  ADDRESS                                          ADDRESS 2                           ADDRESS 3                    ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6468769   ANVIL PRODUCTIONS                                     C/O ZIFFREN BRITTENHAM LLP                       ATTN: DAVID NOCHIMSON               1801 CENTURY PARK WEST                   LOS ANGELES      CA      90067
6483088   Anya Lynn Christiansen                                4215 11th Ave                                                                                                                 Los Angeles      CA      90008
6478699   ANYTIME PROD EQUIP RENTAL INC.                        755 N. LILLIAN WAY                                                                                                            LA               CA      90038
6481627   AOL Advertising, Inc.                                 PO Box 5696                                                                                                                   New York         NY      10087
6475562   AON/ALBERT G RUBEN INSURANCE SERVICE, INC.            AON RISK SERVICES INC.                           DEPT 9832                                                                    LOS ANGELES      CA      90084-9832
6485569   Aon/Albert G. Ruben Ins. Service, Inc.                15303 Ventura Blvd.Suite 1200                                                                                                 Sherman Oaks     CA      91403
6478172   AON/ALBERT G. RUBEN INSURANCE                         6000 UPTOWN BLVD. NE                                                                                                          ALBUQUERQUE      NM      87110
6485730   AOPATL, LLC                                           2835 N. Naomi St., 2nd Floor                                                                                                  Burbank          CA      91504
6481052   Apaches Entertainment                                 Calle Conde De Aranda 21 40 OCHA                                                                                              Madrid                   28001       Spain
6476010   APANTE\PEDRO MENENDEZ                                 AC-46 CALLE 30 TOA ALTA HEIGHT                                                                                                TOA ALTA         PR      00953
6484312   Apartment 9 Productions, LLC                          1112 Cory Ave.                                                                                                                West Hollywood   CA      90069
6480789   Apel, Casey                                           Address on File
6478668   APERTURE MUSIC LIBRARY LLC                            2630 LA CIENEGA AVENUE                                                                                                        LOS ANGELES      CA      90034        UNITED
6474916   APEX FILMS LTD                                        FSO: DAVID WILCOCK                               22 COURTLANDS AVENUE                HAMPTON                                  MIDDLESEX                TW12 3NT     KINGDOM
6798900   APEX SUCCESS GLOBAL LTD                               ATTN: PAUL WANG                                  2F NO 113 SEC 2                     HAN KOU ST WANHUA DISTRICT               TAIPEI CITY              108          TAIWAN
                                                                                                                                                                                                                                    BRITISH
                                                                                                                                                                                                                                    VIRGIN
6798884   APEX SUCCESS GLOBAL LTD.                              ATTN: PAUL WANG                                  SEA MEADOW HOUSE, BLACKBURNE HWY    (P.P. BOX 116), ROAD TOWN                TORTOLA                               ISLANDS
                                                                                                                                                                                                                                    UNITED
6479778   APMS PRODUCTIONS LTD                                  17 CHURCH STREET                                                                                                              POOLE                    BH15 1JP     KINGDOM
6484989   Apollo Couriers Inc                                   1039 W Hillcrest Blvd                                                                                                         Inglewood        CA      90301
6481214   Apollo Jets                                           247 W. 30th St., 12th Floor                                                                                                   New York         NY      10001
6798881   APOLLO MOULTRIE CREDIT FUND, L.P.                     ATTN: GENERAL COUNSEL                            C/O CORPORATION SERVICE COMPANY     2711 CENTERVILLE RD.         SUITE 400   WILMINGTON       DE      19808        CAYMAN
6798868   APOLLO TACTICAL VALUE SPN INVESTMENTS, LP             ATTN: GENERAL COUNSEL                            PO BOX 309                          UGLAND HOUSE                             GEORGE TOWN              KY1-1104     ISLANDS
6475417   APPIAN WAY                                            450 NORTH ROXBURY DRIVE,                         8TH FLOOR                                                                    BEVERLY HILLS    CA      90210
6485214   Apple Graphics Inc                                    1858 Evergreen St                                                                                                             Duarte           CA      91010
6471156   APPLE INC                                             PO BOX 846095                                                                                                                 DALLAS           CA      75284
6482869   Apple Inc                                             PO Box 846095                                                                                                                 Dallas           TX      75284
6485320   Apple One Employment Services                         Accounts ReceivableP.O. Box 29048                                                                                             Glendale         CA      91209
6483091   Apple Ridge Films                                     3183 Wilshire Blvd. #196Z                                                                                                     Los Angeles      CA      90010
6479728   APPLE, INC.                                           1 INFINITE LOOP                                                                                                               CUPERTINO        CA      95014
6484157   Apples & Shovels, Inc.                                1880 Century Park East #200                                                                                                   Los Angeles      CA      90067
6485115   Apples Core, The                                      1425 Ocean Park Blvd., Unit C                                                                                                 Santa Monica     CA      90405
6477694   APPLEWHITE\MADELYN                                    4208 STATE ST                                                                                                                 NEW ORLEANS      LA      70125
6481303   AppNexus Resources, Inc.                              28 W. 23rd St. 4th Floor                                                                                                      New York         NY      10010
6484861   Appnsminded, LLC                                      22631 Pacific Coast Hwy. Suite 976                                                                                            Malibu           CA      90265
6468836   APSECT RATIO, INC.                                    ATTN: DENNIS J. HAMILTON, CFO/COO                1347 N. CAHUENGA BLVD.                                                       HOLLYWOOD        CA      90028
6483213   AQL Fine Art, Inc. dba Absolute Framemakers           8927 Ellis Ave.                                                                                                               Los Angeles      CA      90024
6475070   AQUA FILTER FRESH INC.                                TYLER MOUNTAIN WATER                             1 COMMERCE DR                                                                PITTSBURGH       PA      15239
6798861   AQUA GROUP INC.                                       450 ALTON ROAD                                   2301                                                                         MIAMI BEACH      FL      33139
6798851   AQUA GROUP INC./PINEMA                                PAMIR M. DEMIRTAS                                450 ALTON ROAD                      2301                                     MIAMI BEACH      FL      33139
6798853   AQUA GROUP/PINEMA                                     450 ALTON ROAD                                   2301                                                                         MIAMI BEACH      FL      33139
6490405   AQUA SPRING WATER DISTRIBUTION, INC.                  DBA XO ESPRESSO                                  3541 OLD CONEJO RD. #116                                                     NEWBURY PARK     CA      91320
6485194   Aquarium of the Pacific                               Attn: Accounts Receivable100 Aquarium Way                                                                                     Long Beach       CA      90802
6478218   AQUILA TRAVEL, INC.                                   8415 WASHINGTON PLACE N.E.                                                                                                    ALBUQUERQUE      NM      87113
6477490   ARABI SLING & RIGGING CO INC                          1504 MEHLE STREET                                                                                                             ARABI            LA      70032
6477563   ARAGON\JOAQUIN                                        5214 Bora CT                                                                                                                  SALIDA           CA      95368-9402
6486103   Aran de la Pena                                       542 S. West St.                                                                                                               Anaheim          CA      92805
6479307   ARANDA\ANDRES R.                                      18619 COLLINS STREET, #F32                                                                                                    TARZANA          CA      91356
6475897   ARBADEL PRODUCTIONS                                   66 NORTH 1ST STREET,                             UNIT # 5-B                                                                   BROOKLYN         NY      11249
6480591   Arbogast, Alexandra                                   Address on File
6485570   ARC Engineering, Inc.                                 15260 Ventura Blvd.Ste.1520                                                                                                   Sherman Oaks     CA      91403
6492438   ARC ENTERTAINMENT                                     ATTENTION: TREVOR DRINKWATER                     3212 NEBRASKA AVENUE                                                         SANTA MONICA     CA      90404
6798839   ARC ENTERTAINMENT, LLC                                3212 NEBRASKA AVE                                                                                                             SANTA MONICA     CA      90404
6492435   ARC ENTERTAINMENT, LLC                                ATTN: CLARK MCCUTCHEN, ATTORNEY                  3212 NEBRASKA AVE                                                            SANTA MONICA     CA      90404
6479510   ARCH 9 FILMS                                          405 S PARISH PL                                                                                                               BURBANK          CA      91506
6481403   Arch Entertainment                                    430 West 14th Street, Ste. 407                                                                                                New York         NY      10014
6483398   Archaia Entertainment                                 1680 Vine St. Suite 910                                                                                                       Los Angeles      CA      90028
6483572   Archetype DVD                                         639 S. Cochran Ave #208                                                                                                       Los Angeles      CA      90036
6482259   Architect Music Collective, LLC                       1209 Pine St. #301                                                                                                            Nashville        TN      37203
6490683   ARCHITECT MUSIC COLLECTIVE, LLC                       C/O SMITH WILES & CO., P.C.                      900 DIVISION ST                                                              NASHVILLE        TN      37203-4111
6475894   ARCLIGHT CINEMA COMPANY                               120 N. ROBERTSON BLVD                            THIRD FLOOR TREASURY                                                         LOS ANGELES      CA      90048-8204
6483657   Arclight Productions                                  732 N. Highland Ave.                                                                                                          Los Angeles      CA      90038
6477779   ARDOYNE PLANTATION, LLC                               2678 HIGHWAY 311                                                                                                              SCHRIEVER        LA      70395
6482356   Arena Theatres LLC Arena Grand Theatre                175 W. Nationwide Blvd.                                                                                                       Columbus         OH      43215
6484264   Arenas Entertainment, LLC                             3375 Barham Blvd.                                                                                                             Los Angeles      CA      90068
6483055   ARG Productions, Inc.                                 363 North Bronson Avenue                                                                                                      Los Angeles      CA      90004
6486736   Argo Group US                                         101 Hudson Street                                Suite 1201                                                                   Jersey City      NJ      07302
6798833   Argonaut Insurance Company                            Attn: General Counsel                            175 E. Houston Street, Suite 1300                                            San Antonio      TX      78205
6486552   Argonaut Insurance Company                            PO Box 469011                                                                                                                 San Antonio      TX      78246
6491454   ARI KARPEL                                            Address on File
6491246   ARI SADOWITZ DBA BLACK TORTOISE                       Address on File




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                                                                                                                                Master Mailing List
                                                                                                                               Served First Class Mail

MMLID     NAME                                                        ADDRESS                                             ADDRESS 2                      ADDRESS 3                  ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6482431   Arian Simone Enterprises                                    19521 Renfrew                                                                                                             Detroit           MI      48221
6475549   ARIAS\JOSE                                                  C/4 S.O. #1313                                      CAPARRA TERRACE                                                       SAN JUAN          PR      00921
6476121   ARIES GLOBAL LOGISTICS, INC.                                365 FRANKLIN AVE                                                                                                          FRANKLIN SQUARE   NC      11010
6479986   ARIZONA INDUSTRIAL COMMISSION                               CHAIRMAN                                            800 WEST WASHINGTON STREET                                            PHOENIX           AZ      85007
6479965   ARKANSAS DEPARTMENT OF LABOR                                DIRECTOR                                            10421 WEST MARKHAM                                                    LITTLE ROCK       AR      77205
6477423   ARL                                                         PO BOX 809374                                                                                                             CHICAGO           IL      60680-9374
6482638   Arlington Theatres, LLC                                     355 W. Dundee Rd. Suite 202                                                                                               Buffalo Grove     IL      60089
6481255   Arlo Allen, Inc                                             200 Park Ave South8th Floor                                                                                               New York          NY      10003
6486247   Armand Baltazar                                             27 Halsey Ave,                                                                                                            Petaluma          CA      94952
6483658   Armand Yardemian                                            1040 N. Las Palmas Ave., Bldg 40                                                                                          Los Angeles       CA      90038
6476365   ARMENTI\MICHAEL                                             4744 FRIENDSHIP AVENUE                                                                                                    PITTSBURGH        PA      15224
6798834   ARMORED CAR PRODUCTIONS, LLC                                942 BEVERLY BOULEVARD                               SUITE 300                                                             BERVERLY HILLS    CA      90210
6477705   ARMSTEAD\PENNY                                              7130 BARRINGTON COURT                                                                                                     NEW ORLEANS       LA      70128
6475451   ARMSTRONG PICTURES INC.                                     3100 W.RIVERSIDE DR.                                APT 110                                                               BURBANK           CA      91505
6478138   ARMSTRONG PROPERTIES, INC.                                  400 WASHINGTON SE                                                                                                         ALBUQUERQUE       NM      87108
6474913   ARMSTRONG, ANDY                                             DBA: ARMSTRONG PICTURES, INC                        9465 WILSHIRE BL               6TH FLOOR                              BEVERLY HILLS     CA      90212
6480837   Armstrong, Rory                                             Address on File
6478844   ARMSTRONG/JEREMY                                            2906 DUNLEER PLACE                                                                                                        LOS ANGELES       CA      90064
6476194   ARMSTRONG\BRENDA                                            1324 KIRKPATRICK AVENUE                                                                                                   NORTH BRADDOCK    PA      15104
6483214   Arne L. Schmidt                                             11009 Strathmore Drive                                                                                                    Los Angeles       CA      90024
6489691   ARNE L. SCHMIDT, INC.                                       ATTN: ARNE L. SCHMIDT, PRESIDENT                    11811 BELLAGIO RD.                                                    LOS ANGELES       CA      90049
6798815   ARNE L. SCHMIDT, INC.                                       ATTN: GENERAL COUNSEL                               11811 BELLAGIO RD.                                                    LOS ANGELES       CA      90049
6476255   ARNOLD\ROBERT J                                             819 BRIERLY LANE                                                                                                          MUNHALL           PA      15120
6483779   Aroma Cafe Culture, Inc                                     5200 West 104th Street                                                                                                    Los Angeles       CA      90045
6489705   AROMA CAFE CULTURE, INC.                                    ATTN: AVI LEVY, GENERAL MANAGER                     14141 COVELLO STREET, STE 1C                                          VAN NUYS          CA      91405-1400
6477141   ARREDONDO\ARNOLD                                            65 MAXIMA LN.                                                                                                             WAYNESVILLE       NC      28786
6481157   ARRI CSC                                                    25 Enterprise Avenue North                                                                                                Secaucus          NJ      07094
6485983   Arrow Wire & Cable, Inc.                                    13911 Yorba Ave.                                                                                                          Chino             CA      91710
6477371   ARROWHEAD                                                   P.O. BOX 856158                                                                                                           LOUISVILLE        KY      40285
6482349   Arrowhead Mountain Spring Water                             PO Box 856158                                                                                                             Louisville        KY      40285
6475671   ARROYO ORTIZ\JOSE                                           PUNTA SANTIAGO                                      PO BOX 632                                                            HUMACAO           PR      00741
6478087   ARROYO\DIEGO R.                                             2115 LEAD AVENUE SE                                                                                                       ALBUQUERQUE       NM      87106
6484158   Arsenal LLC                                                 1801 Century Park East, Suite 700                                                                                         Los Angeles       CA      90067
6484159   Arsenal LLC (expenses)                                      1801 Century Park East, Suite 700                                                                                         Los Angeles       CA      90067
6484774   Arsonal Design, LLC                                         3524 Hayden Ave.                                                                                                          Culver City       CA      90232
6492835   ARSONAL DESIGN, LLC                                         ATTN: BRADLEY JOHNSON, GENERAL PARTNER              3524 HAYDEN AVE.                                                      CULVER CITY       CA      90232
6486711   Art of Elysium, The                                         3278 Wilshire Blvd                                                                                                        Los Angeles       CA      90010
6481707   Art Partner, Inc.                                           1 Dekalb Ave. Floor 4                                                                                                     Brooklyn          NY      11201
6492615   ART RESOURCE INC.                                           ATTN: CHRISTINE CINERAR, CONTROLLER                 536 BROADWAY, 5TH FL                                                  NEW YORK          NY      10012
6479530   ARTE DE MEXICO                                              5356 RIVERTON AVE                                                                                                         NORTH HOLLYWOOD   CA      91601
6492151   ARTERIE*THE                                                 C/O RONALD J. GRANT LAW CORP.                       ATTN: RONALD J. GRANT          12121 WILSHIRE BOULEVARD   SUITE 800   LOS ANGELES       CA      90025
6484775   Arterie, The                                                3710 S. Robertson Blvd. Suite 202                                                                                         Culver City       CA      90232
6491736   ARTERIE, THE                                                6101 WASHINGTON BLVD., STE 200                                                                                            CULVER CITY       CA      90232-7472
6481202   Arthur Fennell                                              20 Lafayette Ave.                                                                                                         Voorhees          NJ      08043
6475785   ARTHUR J GALLAGHER & CO                                     111 VETERANS BLVD                                   SUITE 1130                                                            METAIRIE          LA      70005
6475570   ARTHUR J GALLAGHER & CO                                     RISK MANAGEMENT SVS, INC.                           FILE 62430                                                            LOS ANGELES       CA      90074-2430
6475239   ARTHUR J GALLAGHER & CO.                                    LOCKBOX LAC-742886                                  2706 MEDIA CENTER DR                                                  LA                CA      90065
6478903   ARTHUR J. GALLAGHER & CO                                    PO BOX 742886                                                                                                             LOS ANGELES       CA      90074-2886
6478173   ARTHUR J. GALLAGHER & CO.                                   6301 UPTOWN BLVD, STE 120                                                                                                 ALBUQUERQUE       NM      87110
6484402   Arthur J. Gallagher & Co.                                   File 742886                                                                                                               Los Angeles       CA      90074
6475334   ARTHUR J. GALLAGHER & CO.                                   INS BROKERS OF CALIFORNIA, INC                      505 N. BRAND BLVD #600                                                GLENDALE          CA      91203-3944
6475633   ARTHUR J. GALLAGHER & CO.                                   RISK MANAGEMENT SERVICES, INC.                      P.O. BOX 527                                                          CONCORD           NC      28026
6486681   Arthur J. Gallagher & Co. Insurance Brokers of California   505 N Brand Blvd, STE 600                                                                                                 Glendale          CA      91203-3018
6475335   ARTHUR J. GALLAGHER RISK                                    MANAGEMENT SERVICES INC                             505 N. BRAND BLVD, STE # 600                                          GLENDALE          CA      91203-3944
6481669   Arthur M. Wilson                                            502 Bay St. c/o Next Level Barbershop & Salon                                                                             Staten Island     NY      10304
6478300   ARTICHOKES & POMEGRANATE                                    418 CERRILLOS ROAD                                                                                                        SANTA FE          NM      87501
6798809   ARTIE MALESCI                                               5900 SW 123 AVE                                                                                                           MIAMI             FL      33183
6483573   Artificial Light Limited                                    625 N Gardner Street                                                                                                      Los Angeles       CA      90036
6475141   ARTIFICIAL LIGHT LTD.                                       F/S/O JAMES GREER                                   151 EL CAMINO DRIVE                                                   BEVERLY HILLS     CA      90212
6476037   ARTIST & CRAFTSMAN SUPPLY                                   540 DEERING AVENUE                                                                                                        PORTLAND          ME      04103
6478105   ARTISTIC TILE & GRANITE                                     521 RANKIN RD NE                                                                                                          ALBUQUERQUE       NM      87107
6484992   Artists for Peace and Justice                               1507 7th St., #403                                                                                                        Santa Monica      CA      90401
6484059   Artmix                                                      2332 S Centinela AveSuite C                                                                                               Los Angeles       CA      90064
6479547   ARTMONT\NICOLE                                              4319 MARIOTA AVE.                                                                                                         TOLUCA LAKE       CA      91602
6483510   ArtsolutionsLA                                              3772 Selby Ave                                                                                                            Los Angeles       CA      90034
6471572   ARVIN BAUTISTA                                              1809 NORTH BERENDO STREET #203                                                                                            LOS ANGELES       CA      90027
6483354   Arvin Bautista                                              3111 ESTARA AVE                                                                                                           Los Angeles       CA      90065-2912
6486133   Arxis Technology, Inc.                                      2468 Tapo Canyon Rd                                                                                                       Simi Valley       CA      93063
6470020   AS IF MEDIA GROUP, LLC                                      15 GREENE ST. 3RD FLOOR                                                                                                   NEW YORK          NY      10013
6481374   AS IF Media Group, LLC                                      233 13TH ST #1                                                                                                            BROOKLYN          NY      11215




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                                                                                                                                               Master Mailing List
                                                                                                                                              Served First Class Mail

MMLID     NAME                                                     ADDRESS                                                             ADDRESS 2                             ADDRESS 3                  ADDRESS 4   CITY            STATE   POSTAL CODE COUNTRY
6484663   Asa Nisi Mara, Inc. fso Larry Karaszewski                c/o United Talent AgencyAttn: Accounting Dept.9560 Wilshire Blvd.                                                                                Beverly Hills   CA      90212
6474659   ASARO*AMBER                                              Address on File
6478915   ASCENT MEDIA GROUP LLC                                   DBA: SOUNDELUX, DEPT. 8250                                                                                                                       LOS ANGELES     CA      90084-8250
6478913   ASCENT MEDIA GROUP LLC                                   DBA: TODD-AO STUDIOS, DEPT. 2146                                                                                                                 LOS ANGELES     CA      90084-2146
6484403   Ascent Media Group LLC dba LA Feature DI                 PO Box 749663                                                                                                                                    Los Angeles     CA      90074
6484404   Ascent Media Mgt Services                                PO Box 749663                                                                                                                                    Los Angeles     CA      90074
6482490   Asche & Spencer Music                                    258 Humboldt Ave. N.                                                                                                                             Minneapolis     MN      55405
6478675   ASCHER\LEE                                               936 SHERBOURNE DR                                                                                                                                LOS ANGELES     CA      90035
6482528   Asher Wojciechowski                                      c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                Northbrook      IL      60062
6477161   ASHEVILLE COLOR AND IMAGING                              45 ASHELAND AVE.                                                                                                                                 ASHEVILLE       NC      28801
6477092   ASHEVILLE FENCE CO                                       P O BOX 1540                                                                                                                                     CANDLER         NC      28715
6477162   ASHEVILLE FINE ARTS THEATRE                              36 BILTMORE AVE                                                                                                                                  ASHEVILLE       NC      28801
6477103   ASHEVILLE MOBILE PHYSICIANS                              18 WALDROP TRACE                                                                                                                                 FLETCHER        NC      28732
6477516   ASHFORD\DEVAUNTA                                         34 TERRAZA DEL ESTE                                                                                                                              HARVEY          LA      70058
6482840   Ashlee Erickson                                          4440 Denver Dr.                                                                                                                                  Plano           TX      75093
6485445   Ashley Elizabeth Janusek                                 27209 Blueridge Drive                                                                                                                            Valencia        CA      91354
6477557   ASHLEY HALL INTERIORS LTD, INC                           832 HOWARD AVE                                                                                                                                   NEW ORLEANS     LA      70113
6478469   ASHLEY HOTEL & SUITES                                    2175 TRINITY DRIVE                                                                                                                               LOS ALAMOS      NM      87544
6483802   Ashley Kline                                             1425 N. Sierra Bonita Ave. #407                                                                                                                  Los Angeles     CA      90046
6485974   Ashley Michelle Tisdale, Inc.                            P.O. Box 2128                                                                                                                                    Toluca Lake     CA      91610
6480546   Ashley Miess, Amanda                                     Address on File
6484060   Ashley Smith                                             11301 West Olympic Blvd, #352                                                                                                                    Los Angeles     CA      90064
6474667   ASHLEY*AMANDA                                            Address on File
6476926   ASHWORTH\CHARLES LEE                                     8881 MILLER PATH N.E.                                                                                                                            LELAND          NC      28451
6483259   Asia Minor Pictures                                      1951 Malcom Avenue #201                                                                                                                          Los Angeles     CA      90025
6479478   ASKIN\COREY                                              1430 N NIAGRA ST.                                                                                                                                BURBANK         CA      91505
6479479   ASKINS\COREY                                             1430 N. NIAGARA ST.                                                                                                                              BURBANK         CA      91505
6475727   ASKINS\COREY                                             827 HOLLYWOOD WAY,                                                  SUITE # 171                                                                  BURBANK         CA      91505
6483215   Asli Taylor                                              1250 S. Beverly Glen Blvd, Apt#207                                                                                                               Los Angeles     CA      90024
6490522   ASM CAPITAL V, LLC/ BAD BEARD, LLC                       TRANSFEROR: BAD BEARD, LLC                                          7600 JERICHO TURNPIKE, STE 302                                               WOODBURY        NY      11797
6483659   Asmaniac Productions Inc                                 910 N Sycamore Ave                                                                                                                               Los Angeles     CA      90038
6483399   Aspect Ratio                                             1347 Cahuenga Blvd                                                                                                                               Los Angeles     CA      90028
6478231   ASPEN MASONRY, INC.                                      9241 4TH STREET                                                                                                                                  ALBUQUERQUE     NM      87114
6480590   Asplundh, Madeleine                                      Address on File
6474613   ASSILY*SYLVIE                                            Address on File
6480639   Assily, Sylvie E.                                        Address on File
6478402   ASSOCIATED ASPHALT & MATERIALS                           380 OLIVER ROAD                                                                                                                                  SANTA FE        NM      87507
6485054   Associated Media Group                                   1620 26th Street #1060N                                                                                                                          Santa Monica    CA      90404
6481215   Associated Press, The                                    450 West 33rd St.                                                                                                                                New York        NY      10001
6478629   ASSOCIATED PROD. MUSIC, LLC                              6255 SUNSET BLVD, STE 900                                                                                                                        HOLLYWOOD       CA      90028
6492808   ASSOCIATED PRODUCTION MUSIC LLC                          O/B/O APM MUSIC                                                     ATTN: SARAH KONKOSKI, DIRECTOR OF     6255 SUNSET BLVD.                      HOLLYWOOD       CA      90028
6483401   Associated Production Music, LLC dba APM Music           6255 Sunset Blvd. Suite 820                                                                                                                      Los Angeles     CA      90028
6474793   ASTACIO*CRISTOBAL F                                      Address on File
6479400   ASTEK WALLCOVERINGS                                      15924 ARMINTA STREET                                                                                                                             VAN NUYS        CA      91406
6479401   ASTEK, INC.                                              15924 ARMINTA STREET                                                                                                                             VAN NUYS        CA      91406
6485243   At Play Creative, Inc.                                   159 W. Green Street, Ste. 302                                                                                                                    Pasadena        CA      91105
6490306   AT PLAY CREATIVE, INC.                                   ATTN: GARY M. SMITH, OWNER                                          159 WEST GREEN STREET, #308                                                  PASADENA        CA      91105
6798771   AT PLAY CREATIVE, INC.                                   ATTN: VICKIE DENICOLA, CEO                                          1615 E. WASHINGTON BLVD.              2ND FLOOR                              PASADENA        CA      91104
6491401   AT&T                                                     1150 S. OLIVE ST.                                                                                                                                LOS ANGELES     CA      90015
6477294   AT&T                                                     P.O. BOX 105262                                                                                                                                  ATLANTA         GA      30348-5262
6482648   AT&T                                                     P.O. Box 5017                                                                                                                                    Carol Stream    IL      60197
6482649   AT&T                                                     P.O. Box 5019                                                                                                                                    Carol Stream    IL      60197
6479736   AT&T                                                     PAYMENT CENTER                                                                                                                                   SACRAMENTO      CA      95887-0001
6477414   AT&T                                                     PO BOX 5014                                                                                                                                      CAROL STREAM    IL      60197
6482668   AT&T                                                     PO Box 8100                                                                                                                                      Aurora          IL      60507
6482720   AT&T Capital Services, Inc.                              13160 Collections Center Drive                                                                                                                   Chicago         IL      60693
6481485   AT&T Corp dba AT&T AdWorks                               1 ROCKEFELLER PLZ                                                   FL 5                                                                         New York        NY      10020-2018
6491856   AT&T CORP DBA AT&T ADWORKS                               810 7TH AVE. 19TH FLOOR                                                                                                                          NEW YORK        NY      10019
6492284   AT&T CORP.                                               C/O AT&T SERVICES, INC.                                             ATTN: KAREN A. CAVAGNARO, LEAD        ONE AT&T WAY, ROOM 3A104               BEDMINSTER      NJ      07921-0752
6791095   AT&T Corp.                                               c/o AT&T Services, Inc.                                             Karen A. Cavagnaro-Lead Paralegal     One AT&T Way, Room 3A104               Bedminster      NJ      07921
6791095   AT&T Corp.                                               Marin L. West                                                       4331 Communications Drive, Floor 4W                                          Dallas          TX      75211
6798774   AT&T CORP.                                               One AT&T Way                                                                                                                                     Bedminster      NJ      07921
6492282   AT&T LONG DISTANCE, LLC                                  C/O AT&T SERVICES, INC.                                             ATTN: KAREN A. CAVAGNARO, LEAD        ONE AT&T WAY, ROOM 3A104               BEDMINSTER      NJ      07921
6484056   AT&T Mobility                                            PO Box 60017                                                                                                                                     Los Angeles     CA      90060
6482652   AT&T Mobility - USE #V000115                             P.O. Box 6463                                                                                                                                    Carol Stream    IL      60197
6491338   AT&T MOBILITY 2                                          PO BOX 6463                                                                                                                                      CAROL STREAM    IL      60197
6482912   AT&T Services, Inc.                                      Attn: Rosemarie Uresti1010 N. St. Mary's Room 7-H-01G                                                                                            San Antonio     TX      78215
6798768   AT&T SERVICES, INC.                                      ATTN: SR. CONTRACT MANAGER                                          208 S AKARD ST                                                               DALLAS          TX      75202
6475020   ATELIER MANAGEMENT                                       453 S. SPRING STEET                                                 #1036                                                                        LOS ANGELES     CA      90013
6491399   ATELIER MANAGEMENT, INC.                                 529 S. BROADWAY SUITE 305                                                                                                                        LOS ANGELES     CA      90013




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MMLID     NAME                                             ADDRESS                                                   ADDRESS 2                               ADDRESS 3       ADDRESS 4   CITY                     STATE   POSTAL CODE   COUNTRY
6475708   ATHENA PARKING INC                               818 W 7TH ST                                              STE 860                                                             LOS ANGELES              CA      90017
6482089   Atlanta Film Festival 365                        25 Park Place, Suite 900                                                                                                      Atlanta                  GA      30303
6479082   ATLANTIC AVIATION                                2828 DONALD DOUGLAS LOOP NORTH                                                                                                SANTA MONICA             CA      90405
6476688   ATLANTIC CORPORATION                             P.O. BOX 60002                                                                                                                CHARLOTTE                NC      28260
6486382   Atlantic Film Festival Association               P.O. Box 36139                                                                                                                Halifax                  NS      B3J 3S9       CANADA
6474001   ATLANTIC FILM FESTIVAL ASSOCIATION               P.O. BOX 36139                                                                                                                HALIFAX NS               NS      B3J 3S9       CANADA
6482067   Atlantic International, Inc.                     3506 W Montague Street Suite 200                                                                                              Charleston               SC      29418         UNITED
6486468   Atlantic Screen International, LTD               Old School, 23 High St.                                                                                                       Pewsey                           SN9 5AF       KINGDOM
6486063   Atlas Courier Service                            4174 Oldenburg St.                                                                                                            Riverside                CA      92509
6485729   Atlas Digital LLC                                PO Box 4110                                                                                                                   Burbank                  CA      91503
6491750   ATLAS DIGITAL, LLC                               P.O. BOX 4110                                                                                                                 BURBANK                  CA      91503-4110
6469491   ATLAS ENTERTAINMENT                              ATTN: FINANCE DEPARTMENT                                  9200 SUNSET BOULEVARD 0TH FLOOR                                     WEST HOLLYWOOD           CA      90069
6484313   Atlas Entertainment                              Attn: Finance Department9200 Sunset Boulevard10th Floor                                                                       West Hollywood           CA      90069
6485378   Atlas Grips, LLC                                 22201 Devonshire St.                                                                                                          Chatsworth               CA      91311
6485685   Atlas Major, Inc.                                c/o 16000 Ventura Blvd. #900                                                                                                  Encino                   CA      91436
6480642   Atlas, William                                   Address on File
6798780   ATM FILM DISTRIBUTORS CO. LTD.                   ATT: RICHARD TEELUCKSINGH                                 1 FILM CENTER                           P.O. BOX 3034               ST. JAMES                                      TRINIDAD
6483092   Atmosphere Entertainment                         4751 Wilshire Blvd. 3rd Floor                                                                                                 Los Angeles              CA      90010
6481154   Atom Splitter                                    P.O. Box 1670                                                                                                                 Rutherford               NJ      07070
6481532   Atomic Tom                                       450 Park Ave. Suite 1002                                                                                                      New York                 NY      10022
6486024   Attention Getters                                1385 N. Johnson, Suite 101                                                                                                    El Cajon                 CA      92020
6481635   Attitude New York, Inc.                          P.O. Box 1974                                                                                                                 New York                 NY      10101
6477794   ATWELL\BRANDON M.                                527 W 25TH AVE.                                                                                                               COVINGTON                LA      70433
6475042   AU\TINA                                          5227 DENNY AVE                                            #303                                                                NORTH HOLLYWOOD          CA      91601
6469661   AU9 EVENT STORIES SA                             38 EL. VENIZEIOU STR.                                     NEO PSYCHIKO, 154 51                                                ATHENS                                         GREECE
6481867   AU9 Event Stories SA                             38 El. Venizeiou Str.Neo Psychiko                                                                                             Athens                           154 51        Greece
6485523   Audio Group, The                                 5930 Penfield Ave.                                                                                                            Woodland Hills           CA      91367
6491455   AUDIO HEAD, LLC                                  1041 N. FORMOSA AVE.                                                                                                          LOS ANGELES              CA      90046
6484314   Audio Video Interiors                            8687 Melrose Ave., Ste. G275                                                                                                  West Hollywood           CA      90069
6482646   Audio Visual One, Ltd.                           9611 West Foster Ave.                                                                                                         Schiller Park            IL      60176
                                                                                                                                                                                                                                        UNITED
6474051   AUDIOLINK RADIO COMMUNICATIONS                   17 IRON BRIDGE CLOSE                                                                                                          NEASDEN GREATER LONDON           NW10 0UF      KINGDOM
6481189   Audiolink Radio Communications                   17 Iron Bridge Close                                                                                                          Freehold                 NJ      07728
6484664   Audiomachine                                     9903 Santa Monica BlvdSte. 250                                                                                                Beverly Hills            CA      90212
6492858   AUDIOMACHINE                                     ATTN: CAROL SOVINSKI, OWNER                               9903 SANTA MONICA BLVD., STE #250                                   BEVERLY HILLS            CA      90212
6798752   AUDIOMACHINE                                     ATTN: MS CAROL SOVINSKI                                   9903 SANTA MONICA BOULEVARD SUITE 250                               BEVERLY HILLS            CA      90212
6798760   AUDIOMACHINE                                     CAROL SOVINSKI                                            9903 SANTA MONICA BOULEVARD, SUITE                                  BEVERLY HILLS            CA      90212
6483355   Audiomoe Music fso Moses Truzman                 2400 N. Vermont Ave.                                                                                                          Los Angeles              CA      90027
6486072   Audit Time, LLC                                  18007 Sky Park Circle, Suite E2                                                                                               Irvine                   CA      92614
6475690   AUDITEL COMMUNICATIONS INC                       3401 RIDGELAKE DR                                         STE 102                                                             METAIRIE                 LA      70002
6486224   Audubon California                               Attention: Genevieve Turcotte4225 Hollis Street                                                                               Emeryville               CA      94608
6478659   AUGIE'S SECURITY, INC.                           533 CLIFTON ST                                                                                                                LOS ANGELES              CA      90031
6477764   AUGMAN\BETTY LOUISE                              306 TERREBONNE ST                                                                                                             MORGAN CITY              LA      70380
6477435   AUGUST\SCOTT                                     432 MELODY DRIVE                                                                                                              METAIRIE                 LA      70001
6482792   Augusta Arts Council, Inc.                       523 State St.                                                                                                                 Augusta                  KS      67010
6481256   Aurora Ferrara                                   306 E. 5th St. #16                                                                                                            New York                 NY      10003
6479002   AUROUX\CHARLOTTE                                 14916 WEST SUNSET BLVD.                                                                                                       PACIFIC PALISADES        CA      90272
6482529   Austin Brice                                     c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                             Northbrook               IL      60062
6483322   Austin Conroy                                    1500 Silver Lake Blvd.                                                                                                        Los Angeles              CA      90026
6483260   Austin Gall                                      1426 S. Barrington Ave. #9                                                                                                    Los Angeles              CA      90025
6484961   Austin Long                                      13700 Marina Pointe Dr., Unit 1118                                                                                            Marina Del Rey           CA      90292
6482530   Austin Wright                                    c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                             Northbrook               IL      60062
6479419   AUSTIN\JENNIFER                                  14335 HUSTON STREET, #106                                                                                                     SHERMAN OAKS             CA      91423
6491663   AUSTRALIANS IN FILM                              11328 MAGNOLIA BLVD.                                                                                                          NORTH HOLLYWOOD          CA      91601
6481425   Autism Speaks, Inc.                              1 East 33rd St. 4th Floor                                                                                                     New York                 NY      10016
6479166   AUTO IMAGE                                       1254 SOUTH ORANGE STREET                                                                                                      GLENDALE                 CA      91204
6476195   AUTO STORAGE WAREHOUSE LLC                       400 2ND STREET 2ND FL                                                                                                         BRADDOCK                 PA      15104
6486236   Autodesk, Inc.                                   111 McInnis Parkway                                                                                                           San Rafael               CA      94903
6483142   Automatic Sweat, Inc.                            5243 West Washington Blvd.                                                                                                    Los Angeles              CA      90016
6479466   AUTOMATRIX FX                                    1317 N SAN FERNANDO BLVD #134                                                                                                 BURBANK                  CA      91504
6475409   AVAILABLE LIGHTING & MOTION                      PICTURE SERVICES INC                                      826 JEFFERSON HIGHWAY                                               JEFFERSON                LA      70121
6484756   Avalon Transportation LLC                        1000 Corporate Pointe                                                                                                         Culver City              CA      90230
6477622   AVANZO\FRANK                                     3002 ST. PETER                                                                                                                NEW ORLEANS              LA      70119
6475223   AVEC ARTISTS                                     AKA KRAMER CREATIVE GROUP                                 2332 CENTINELA AVENUE, STE C                                        LOS ANGELES              CA      90064
6484116   Avi Levy                                         12601 Mateson Ave. #9                                                                                                         Los Angeles              CA      90066
6476473   AVILA, MARISA                                    195 COOPER CREEK DR #101-641                                                                                                  MOCKSVILLE               NC      27028
6479766   AVIS RENT A CAR                                  PO BOX 190028                                                                                                                 ANCHORAGE                AK      99519
6798756   AVIS-DAVIS PRODUCTIONS, INC                      501 S. BEVERLY DR. FL 3                                                                                                       BEVERLY HILLS            CA      90212
6478700   AVON RENT-A-CAR TRUCK & VAN                      7080 SANTA MONICA BLVD                                                                                                        LOS ANGELES              CA      90038
6475380   AVON RENT-A-CAR-TRUCK & VAN                      AKA SILVERCO ENTERPRISES, INC.                            7080 SANTA MONICA BOULEVARD                                         LOS ANGELES              CA      90038




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                                                                                                                     Served First Class Mail

MMLID     NAME                                             ADDRESS                                             ADDRESS 2                                  ADDRESS 3                  ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6478769   AVRON\NEAL                                       1525 N. OGDEN DR                                                                                                                      LOS ANGELES      CA      90046
6481110   Avtech Software                                  16 Cutler St. Cutler Mill                                                                                                             Warren           RI      02885
6477765   AWOPAHO LITTERBOX RENTALS, INC                   1472 SIRACUSA ROAD                                                                                                                    MORGAN CITY      LA      70380
6479892   AXIS INSURANCE CO.                               CHEECH BRADFORD                                     1201 WALNUT, SUITE 1800                                                           KANSAS CITY      MO      64106
6479891   AXIS INSURANCE COMPANY                           ATTN: LEGAL DEPARTMENT                              92 PITTS BAY ROAD                          AXIS HOUSE                             PEMBROKE                 HM 08       BERMUDA
6486037   AXmentor Inc                                     401 B Street, Suite 1450                                                                                                              San Diego        CA      92101
6491685   AXMENTOR INC                                     41593 WINCHESTER RD., STE.200                                                                                                         TEMECULA         CA      92590
                                                                                                               ATTN: JONATHAN PSAROUDIS, SR. FIN. OPER.
6492252   AXS DIGITAL MEDIA GROUP, LLC D/B/A               EXAMINER.COM                                        MGR.                                       55 17TH ST., SUITE 400                 DENVER           CO      80202
6479673   AYRES HOTEL AND SUITES                           325 BRISTOL STREET                                                                                                                    COSTA MESA       CA      92626
6476874   AZALEA LIMOUSINE SERVICE LLC                     6789 GORDON ROAD                                                                                                                      WILMINGTON       NC      28411
6475346   AZAMI\YOUSEF                                     C/O SAG - MARISA NEAL                               5757 WILSHIRE BL 8TH FL                                                           LOS ANGELES      CA      90036
6478403   AZTEC UPHOLSTERY INC.                            2909 RUFINA COURT                                                                                                                     SANTA FE         NM      87507
6479359   B & A STUDIO RENTALS                             30242 JASMINE VALLEY DRIVE                                                                                                            CANYON COUNTRY   CA      91387
6478174   B & B PRODUCTION SERVICES LLC                    3167 SAN MATEO BLVD.                                                                                                                  ALBUQUERQUE      NM      87110
6477163   B & K TOOLS AND SUPPLY                           268 BILTMORE AVE                                                                                                                      ASHEVILLE        NC      28801
6476072   B A BAY INC                                      156 FIFTH AVE SUITE 500                                                                                                               NEW YORK         NY      10010
6481176   B Lynn Group The                                 102 Hillside Ave                                                                                                                      Englewood        NJ      07631
6479295   B MORE TRANSPORTATION INC.                       23890 COPPERHILL DRIVE                                                                                                                SANTA CLARITA    CA      91354
6478175   B&B PRODUCTIONS SERVICES LLC                     3167 SAN MATEO BLVD NE #201                                                                                                           ALBUQUERQUE      NM      87110
6798676   B&B THEATRES                                     110 West 2nd Street                                                                                                                   Salisbury        MO      65281
6484840   B&G House of Printing, Inc                       1825-A W. 169th Street.                                                                                                               Gardena          CA      90247
6475251   B&J FABRICS                                      525 SEVENTH AVENUE                                  2ND FLOOR                                                                         NEW YORK         NY      10018
6476950   B&R APPLIANCES                                   4611 LONG BEACH ROAD                                                                                                                  SOUTHPORT        NC      28461
6476576   B&S VENTURES LLC                                 4510 WEYBRIDGE LANE                                                                                                                   GREENSBRORO      NC      27407
6478540   B. BLACK & SONS                                  548 S LOS ANGELES ST                                                                                                                  LOS ANGELES      CA      90013
6477079   B.B. BARNS,INC.                                  3377 SWEETEN CREEK RD.                                                                                                                ARDEN            NC      28704
6479210   B.C. STUDIO POWER                                19956 SUPERIOR STREET                                                                                                                 CHATSWORTH       CA      91311
6480414   B.I.G. CREATIVE SERVICES, LLC.                   ATTN: BARRY GERMAN, PRESIDENT                       7820 BROOKMAR COURT                                                               LAKE WORTH       FL      33467
6479714   B.W. ENTERPRISES                                 10006 EAST AVE S                                                                                                                      LITTLEROCK       CA      93543
6482488   Babble-On Recording Studios                      12 South 6th St. Suite 1221                                                                                                           Minneapolis      MN      55402
6480555   Babcock, Jillian                                 Address on File
6484488   Babok & Levin, LLP                               9201 Wilshire BoulevardSuite 303                                                                                                      Beverly Hills    CA      90210
6481466   Baby Buggy, The                                  306 West 37th St. 8th Floor                                                                                                           New York         NY      10018
6479767   BAC TRANSPORTATION                               PO BOX 243742                                                                                                                         ANCHORAGE        AK      99524
6478273   BACA\PAUL                                        7204 MACKENZIE CT                                                                                                                     RIO RANCHO       NM      87144
6474720   BACKER*STEPHEN                                   Address on File
6480998   Backer, Stephen K                                Address on File
6483660   Backlot Entertainment LLC                        1149 N Gower St                                                                                                                       Los Angeles      CA      90038
6481708   Backstage, LLC                                   45 Main Street, Ste. 416Attn: Finance                                                                                                 Brooklyn         NY      11201
6469376   BACKSTAGE, LLC                                   ATTN: FINANCE                                       45 MAIN STREET, STE. 416                                                          BROOKLYN         NY      11201
6492602   BACKSTAGE, LLC                                   ATTN: MICHAEL FELMAN, CFO                           45 MAIN STREET, STE. 416                                                          BROOKLYN         NY      11201
6479245   BACLAAN, STEFANY                                 7731 NESTLE AVE                                                                                                                       RESEDA           CA      91335
6479246   BACLAAN\STEFANY J.                               7731 NESTLE AVE.                                                                                                                      RESEDA           CA      91335
6479247   BACLAAN\STEPHANIE J.                             7731 NESTLE AVENUE                                                                                                                    RESEDA           CA      91335
6474427   BACON*CARTER                                     Address on File
6480812   Bacon, Carter S                                  Address on File
6475049   BACOT\SARAH                                      119 HART ST                                         #4B                                                                               BROOKLYN         NY      11206
6483176   Bad Beard, LLC                                   1890 S. Cochran Ave. #6                                                                                                               Los Angeles      CA      90019
6475332   BAD KITTY, INC.                                  FSO TOM LOHMANN                                     501 SOUTH BEVERLY DRIVE-3RD FL                                                    BEVERLY HILLS    CA      90212
6484666   Bad Neighbor LLC                                 9903 Santa Monica Blvd #1005                                                                                                          Beverly Hills    CA      90212
6798751   Bad Parents LLC                                  c/o Paul Hastings LLP                               Attn: Gregg B. Ramer, Esq.                 1999 Avenue of the Stars               Los Angeles      CA      90067
6479379   BADALATO\WILLIAM                                 14120 MARGATE ST                                                                                                                      SHERMAN OAKS     CA      91401
6480690   Badali, Meredith Anne                            Address on File
6476765   BADER\ANDREW                                     2222 MARKET ST.                                                                                                                       WILMINGTON       NC      28403
6477310   BADGER\JENNIFER                                  13320 CR 450 W                                                                                                                        UMATILLA         FL      32784
6476629   BADGER\THOMAS                                    1006 CEDARHURST DR.                                                                                                                   RALEIGH          NC      27609
6474829   BAEZ*VANESA                                      Address on File
6475556   BAEZ\NILDA                                       CALLE 522 OS#2 4TA EXTENSION                        COUNTRY CLUB                                                                      CAROLINA         PR      00982
6485883   BAFTA/LA                                         c/o Michael Teta Associate13107 Ventura Blvd #206                                                                                     Studio City      CA      91604
6480994   Bahmanyar, Arya                                  Address on File
6477835   BAIAMONTE\FRANK                                  39470 WILLIS ALLEY                                                                                                                    PEARL RIVER      LA      70452
6475028   BAIBA\BAIBA                                      5 HAMPTON COURT                                     #2                                                                                JERSEY CITY      NJ      07302
6477871   BAILEY\KEVIN                                     1501 CHERRY ST                                                                                                                        SLIDELL          LA      70460
6477121   BAILEY\MICHEL TYLER                              368 COMMERCE ST.                                                                                                                      OLD FORT         NC      28762
6479265   BAILEY\SHEILA                                    11247 DEBRA AVE                                                                                                                       GRANDA HILLS     CA      91344
6478176   BAILLIO'S                                        5301 MENOUL BLVD. NE                                                                                                                  ALBUQUERQUE      NM      87110
6476951   BAKAN JR.\ALEX                                   4395 FISH FACTORY RD SE                                                                                                               SOUTHPORT        NC      28461
6481325   Baked By Melissa, LLC                            104 West 4th St. Floor 4                                                                                                              New York         NY      10011
6485633   Baked it Myself Inc                              14543 Erwin St                                                                                                                        Van Nuys         CA      91411




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                                                                                                                        Master Mailing List
                                                                                                                       Served First Class Mail

MMLID     NAME                                                ADDRESS                                             ADDRESS 2                             ADDRESS 3                        ADDRESS 4                   CITY            STATE   POSTAL CODE COUNTRY
6481928   Baker Winokur Ryder                                 Ogilvy Public Relations WorldwidePO Box 8500-3900                                                                                                      Philadelphia    PA      19178
6492874   BAKER* WARREN                                       Address on File
6476478   BAKER, JESSICA                                      611 S BROAD ST.                                                                                                                                        WINSTON-SALEM   NC      27101
6476712   BAKER-FAHEY\DAVID M.                                508 SOUTH 7TH ST.                                                                                                                                      WILMINGTON      NC      28401
6474201   BALDINI*NATALIE                                     Address on File
6479480   BALIEL\TERRELL L.                                   1426 N BUENA VISTA STREET                                                                                                                              BURBANK         CA      91505
6478001   BALLANTINE\KEN                                      72 MORNING SUN DRIVE                                                                                                                                   SEDONA          AZ      86336
6478040   BALLARD\DERRICK                                     224 12TH ST NE                                                                                                                                         ALBUQUERQUE     NM      87102
6478404   BALLOON GIRL, LLC                                   4346 LOS FEATHER LANE                                                                                                                                  SANTA FE        NM      87507
6482494   Ballroom Music, LLC                                 c/o Dave Ness, 5924 Pillsbury Ave #312                                                                                                                 Minneapolis     MN      55419
6475349   BALLROOM MUSIC, LLC.                                F/S/O DAVE NESS                                     5924 PILLSBURY AVENUE, # 312                                                                       MINNEAPOLIS     MN      55419
6476521   BALTEK, INC.                                        P.O. BOX 16148                                                                                                                                         HIGH POINT      NC      27261
6481769   Baltimore Eastpointe Movies 10, LLC                 c/o Mini Theatres5507 Ave. N, 2nd Floor                                                                                                                Brooklyn        NY      11234
6479022   BALTON\LORI                                         858 COEUR D'ALENE AVE.                                                                                                                                 VENICE          CA      90291
6479195   BANDIT STUDIO RENTALS, INC.                         5430 LAS VIRGENES RD                                                                                                                                   CALABASAS       CA      91302
6483143   Bandito Brothers                                    3115 S. La Cienega Blvd.                                                                                                                               Los Angeles     CA      90016
                                                                                                                  LAVIOLETTE FELDMAN SCHENKMAN &                                         150 S. RODEO DRIVE, THIRD
6468710   BANDITO BROTHERS LLC                                C/O BLOOM HERGOTT DIEMER ROSENTHAL                  GOODMAN                               ATTN: STUART ROSENTHAL, ESQ.     FLOOR                       BEVERLY HILLS   CA      90212
6487902   BANDITO BROTHERS, LLC                               C/O FREEMAN FREEMAN & SMILEY LLP                    ATTN: THEODORE B STOLMAN/CAROL CHOW   1888 CENTURY PARK EAST, SUITE                                LOS ANGELES     CA      90067
6487900   BANDITO FILMS, INC.                                 FREEMAN, FREEMAN & SMILEY, LLP                      ATTN: CAROL CHOW, ESQ                 1888 CENTURY PARK EAST, SUITE                                LOS ANGELES     CA      90067
6480353   BANDITO FILMS, INC. F/S/O JACOB ROSENBERG           C/O BLOOM HERGOTT DIEMER ROSENTHAL ET AL.           ATTN: STUART ROSENTHAL                150 SOUTH RODEO DRIVE 3RD                                    BEVERLY HILLS   CA      90212
6477542   BANEGAS\STEPHEN                                     208 ST. ROSE AVE                                                                                                                                       ST. ROSE        LA      70087
6476766   BANGZ HAIR SALON & SPA                              1203 S. 43RD STREET                                                                                                                                    WILMINGTON      NC      28403
6479930   Banijay Entertainment                               Address on File
6468689   BANK OF AMERICA                                     BANKRUPTCY DEPARTMENT                               475 CROSSPOINT PKWY                                                                                GETZVILLE       NY      14068-1609
6468690   BANK OF AMERICA                                     DAVID GARCIA                                        6300 SUNSET BLVD.                                                                                  HOLLYWOOD       CA      90028
6468691   BANK OF AMERICA                                     SARAH CUNNINGHAM                                    6300 SUNSET BLVD.                                                                                  HOLLYWOOD       CA      90028
6478503   BANK OF LAS VEGAS\THE                               622 DOUGLAS AVENUE                                                                                                                                     LAS VEGAS       NM      87701
6479481   BANK RECORDING STUDIO\THE                           1104 NORTH HOLLYWOOD WAY                                                                                                                               BURBANK         CA      91505
6481290   Bank Robber Music, LLC                              40 Exchange Place, Suite #1900                                                                                                                         New York        NY      10005
6489501   BANKDIRECT CAPITAL FINANCE                          ATTN: RICHARD TWARDOWSKI, VP/PORTFOLIO MGMT         150 NORTH FIELD DR.IVE                SUITE 190                                                    LAKE FOREST     IL      60045
6482513   BankDirect Capital Finance                          Two Conway Park 150 North Field Dr. Suite 190                                                                                                          Lake Forest     IL      60045        UNITED
6486501   Bankside Films Ltd.                                 5th Floor, Ashley House12 Great Portland St.                                                                                                           London                  W1W 8QN      KINGDOM
6477072   BANNER, PHILLIP                                     P.O. BOX 572                                                                                                                                           NEWLAND         NC      28657
6478759   BANTA, JOHNATHAN R.                                 8501 READING AVENUE                                                                                                                                    LOS ANGELES     CA      90045
6481026   Banyai, Frank                                       Address on File
6475790   BARATTINI\LAWRENCE                                  701 POYDRAS ST                                      SUITE 126                                                                                          NEW ORLEANS     LA      70139
6478296   BARBEAU\LINDA                                       PO BOX 4946                                                                                                                                            BUENA VISTA     CO      81211-4946
6478257   BARBER\SHANE A.                                     1441 34TH CIRCLE                                                                                                                                       RIO RANCHO      NM      87124
6476669   BARBIZON LIGHTING, INC                              1016 MCCLELLAND COURT                                                                                                                                  CHARLOTTE       NC      28206
6481216   Barden Schnee Casting Inc.                          150 W 28th StreetSuite 402                                                                                                                             New York        NY      10001
6484625   Bared Constanian Notary Public                      8685 Wilshire Blvd. #13                                                                                                                                Beverly Hills   CA      90211
6478041   BARELAS NEIGHBORHOOD ASSOC.                         612 10TH STREET SW                                                                                                                                     ALBUQUERQUE     NM      87102
6482041   Barfly Group, The                                   9716-B Rea Road                                                                                                                                        Charlotte       NC      28277
6480879   Barhydt, Jason                                      Address on File
6476489   BARKER, JOSH                                        2215 STONECUTTER DR.                                                                                                                                   WINSTON-SALEM   NC      27103
6476490   BARKER\DEREK JOSHUA                                 2215 STONECUTTER DR.                                                                                                                                   WINSTON SALEM   NC      27103
6491492   BARNES & THORNBURG                                  2029 CENTURY PARK EAST, SUITE 300                                                                                                                      LOS ANGELES     CA      90067
6478869   BARNES & THORNBURG, LLP                             2049 CENTURY PARK EAST, #3550                                                                                                                          LOS ANGELES     CA      90067-3210
6492306   BARNES & THORNBURG, LLP                             ATTN: ANNETTE ENGLAND                               11 SOUTH MERIDIAN STREET                                                                           INDIANAPOLIS    IN      46204
6474807   BARNES*ROOSEVELT                                    Address on File
6481013   Barnes, Alex                                        Address on File
6480606   Barnes, Alexander                                   Address on File
6479402   BARNES, CHRIS                                       17611 ENADIA WAY                                                                                                                                       LAKE BALBOA     CA      91406
6478301   BARNES\GUY                                          832 EL CAMINITO                                                                                                                                        SANTA FE        NM      87501
6478356   BARNES\WENDY                                        832 EL CAMINITO STREET                                                                                                                                 SANTA FE        NM      87505
6479568   BARNETT\JO                                          12831 MOORPARK STREET #18                                                                                                                              STUDIO CITY     CA      91604
6477378   BARNEY'S BH STUDIO SERVICE                          3100 EASTON SQUARE PLACE                                                                                                                               COLUMBUS        OH      43219
6476097   BARNEYS, INC.                                       575 FIFTH AVE                                                                                                                                          NEW YORK        NY      10017
6476363   BARNHART\MATTHEW M                                  15 SYCAMORE STREET                                                                                                                                     ETNA            PA      15223
6476927   BARNHILL\BROOKE                                     2004 GARNET COURT                                                                                                                                      LELAND          NC      28451
6475022   BARNSTORM CINEMA, LLC                               1540 CHICKASAW AVE                                  #108                                                                                               METAIRIE        LA      70005
6480365   BARON FILMS, INC. F/S/O CASEY LASCALA               C/O STONE MEYER GENOW SMELKINSON ET AL.             ATTN: MITCH SMELKINSON                9665 WILSHIRE BLVD., 5TH FLOOR                               BEVERLY HILLS   CA      90212
6486243   Barrie Osborne                                      9 Glen Drive                                                                                                                                           Mill Valley     CA      94941
6478601   BARRIE\PHIL                                         1615 LUCRETIA                                                                                                                                          LOS ANGELES     CA      90026
6477836   BARRIOS\MARK                                        39470 WILLIS ALLEY                                                                                                                                     PEARL RIVER     LA      70452
6475421   BARRIS\BRUNILDA                                     URB. UNIVERSITY GARDEN                              909 CALLE DUKE TH8                                                                                 SAN JUAN        PR      00927
6491247   BARRY GENE SILVER                                   Address on File
6483539   Barry R. Chandler                                   1473 Rexford DriveApt. #4                                                                                                                              Los Angeles     CA      90035
6474759   BARRY*JAMES                                         Address on File




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                                                                                                                      Master Mailing List
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MMLID     NAME                                                  ADDRESS                                         ADDRESS 2                             ADDRESS 3                    ADDRESS 4            CITY              STATE   POSTAL CODE COUNTRY
6479040   BARSKY/BENJAMIN                                       3719 #5 ESPLANADE CT                                                                                                                    VENICE            CA      90292
6477391   BARSKY\BENJAMIN J.                                    408 S. JACKSON STREET                                                                                                                   FRANKFORT         IN      46041
6477221   BARTLETT\JONWILDER                                    25 OAKEREST PLACE                                                                                                                       ASHEVILLE         NC      28806
6474303   BARTON*DANIEL                                         Address on File
6480514   Barton, Daniel A                                      Address on File
6481257   Baruch Hecht                                          324 East 13th Street#11                                                                                                                 New York          NY      10003
6486406   BarXseven Limited                                     4533 Boyer                                                                                                                              Montreal          QC      H2J 3E5      CANADA
6477522   BASE CRAFT LLC                                        1200 EDWARDS AVE                                                                                                                        ELMWOOD           LA      70123-2230
6475825   BASE MEDIA TECHNOLOGY GROUP                           NO. 6 WORKERS' STADIUM N. ROAD                  SUITE 301, 3/F, ZHONG YU PLAZA                                                          BEIJING                   100027 PRC   CHINA
6481065   Base Media Technology Group, Ltd.                     A301 Zhongyu Plaza No. 6 Gongti LuChaoyang                                                                                              Beijing                   100027       China
6476867   BASECAMP EQUIPMENT RENTAL                             130 WINTERGREEN RD                                                                                                                      WILMINGTON        NC      28409
6484405   Baseline, LLC                                         PO Box 740474                                                                                                                           Los Angeles       CA      90074
6483903   Basik Graphic Design LLC                              8391 Beverly Blvd #130                                                                                                                  Los Angeles       CA      90048
6476164   BASISTA\GLENDA LEE                                    124 LYNNWOOD AVENUE                                                                                                                     BELLE VERNON      PA      15012
6481140   Basketball Fundamentals                               340 Bloomfield Ave. Apt B                                                                                                               Caldwell          NJ      07006
6485829   Bates Equipment Rentals, Inc. fso Mychael Bates       5503 Willow Crest Ave.                                                                                                                  North Hollywood   CA      91601
6479531   BATES EQUIPMENT RENTALS,INC.                          5503 WILLOW CREST AVE.                                                                                                                  NORTH HOLLYWOOD   CA      91601
6479532   BATES\MYCHAEL                                         5503 WILLOW CREST AVE                                                                                                                   NORTH HOLLYWOOD   CA      91601
6482814   Batou Chandler                                        724 Gov. Nicholls Apt.#1                                                                                                                New Orleans       LA      70116        THE
6798724   BATRAX ENTERTAINMENT B.V.                             ATTN.: SAID BOURDARGA                           STATIONSWEG 32                                                                          AV LEIDEN                 2312         NETHERLA
                                                                                                                                                                                                                                               THE
6798723   BATRAX ENTERTAINMENT B.V.                             SAID BOUDARGA                                   STATIONSWEG 32                                                                          AV LEIDEN                 2312         NETHERLA
                                                                                                                                                                                                                                               THE
6482006   Batrax Entertainment B.V.                             Stationsweg 32                                                                                                                          Leiden                    2312AV       NETHERLA
                                                                                                                                                                                                                                               THE
6469698   BATRAX ENTERTAINMENT B.V.                             STATIONSWEG 32, 2312                                                                                                                    AV LEIDEN                              NETHERLA
                                                                                                                                                                                                                                               THE
6798684   BATRAX ENTERTAINMENT, B.V.                            STATIONSWEG 32                                                                                                                          AV LEIDEN                 2312         NETHERLA
6476952   BATTAGLIA\KATHLEEN M.                                 6147 RIVERSOUND CIRCLE                                                                                                                  SOUTHPORT         NC      28461
6479046   BATTAGLIA\STEVE                                       PO BOX 1047                                                                                                                             VENICE            CA      90294
6478397   BATTERIES PLUS                                        1609 ST. MICHAELS DRIVE                                                                                                                 SANTA FE          NM      87505-7614   UNITED
6479801   BATZ LIMITED                                          27 THIRSK ROAD                                                                                                                          LONDON                    SW11 5SU     KINGDOM
6477666   BAUDIER MARKETING                                     5134 STOREY ST                                                                                                                          HARAHAN           LA      70123
6477856   BAUER\MATTHEW THOMAS                                  3741 MYRTLE ST                                                                                                                          SLIDELL           LA      70458
6477417   BAUGH, GARY                                           5256 N. MAGNOLIA AVE                                                                                                                    CHICAGO           IL      60640
6474787   BAUMAN*DAVID ALAN                                     Address on File
6478297   BAUMANN\DAVID                                         1207 N FRONTIER RD                                                                                                                      BLOOMFIELD        NM      87413
6478298   BAUMANN\DAVID D.                                      1207 N. FRONTIER                                                                                                                        BLOOMFIELD        NM      87413
6491419   BAUTISTA* ARVIN LOUIS A.                              1809 NORTH BERENDO STREET, #203                                                                                                         LOS ANGELES       CA      90027
6491420   BAUTISTA* ARVIN LOUIS A.                              311 ESTARA AVE                                                                                                                          LOS ANGELES       CA      90065-2012
6474756   BAUTISTA*JENNIFER                                     Address on File
6476419   BAXIE LLC                                             2774 MELLONEY LANE                                                                                                                      INDIANA           PA      15701
6492272   BAY CITY TELEVISION, INC.                             XETV CW6                                        ATTN: STAN MURPHY                     PO BOX 712109                                     SAN DIEGO         CA      92171-2109
6486199   Bay View Funding - First Calling Messengers LLC       PO Box 881774                                                                                                                           San Francisco     CA      94188
6480631   Bayazit, Peri                                         Address on File
6492143   BAYERISCHER RUNDFUNK, H. RUNDFUNK,                    NORDDEUTSCHER RUNDFUNK, RADIO BREMEN,           RUNDFUNK BERLIN-BRANDENBURG           ATTN: HANS WOLFGANG JURGEN   AM STOINEMEN STOCK   FRANKFURT                 D-60320      GERMANY
6477498   BAYOU GREENS, LLC                                     215 LONGVIEW DR                                                                                                                         DESTREHAN         LA      70047
6477872   BAYOU LIBERTY MARINA, LLC\THE                         58047 HWY 433                                                                                                                           SLIDELL           LA      70460
6475273   BAYOU LIBERTY WATER                                   ASSOCIATION                                     34578 BAYOU LIBERTY RD                                                                  SLIDELL           LA      70460
6481375   Bayrock/Sapir Organization dba Trump Soho New York    246 Spring St.                                                                                                                          New York          NY      10013
6486253   BayTSP.com Inc                                        PO Box 49266                                                                                                                            San Jose          CA      95161
6481150   Bazan Entertainment Marketing, Inc.                   4 Rainbow Terrace                                                                                                                       West Orange       NJ      07052
6475405   BB STUNTS                                             FSO BRAY\B                                      8033 SUNSET BLVD STE 302                                                                LOS ANGELES       CA      90046
6481447   BBC WORLDWIDE AMERICAS                                747 THIRD AVENUE                                                                                                                        NEW YORK          NY      10017
6484626   BBDR Pacific                                          8484 Wilshire BlvdSuite 220                                                                                                             Beverly Hills     CA      90211
6468828   BBMG ENTERTAINMENT, INC.                              F/S/O KEVIN GOETZ                               10635 SANTA MONICA BLVD., SUITE 125                                                     LOS ANGELES       CA      90025
6468829   BBMG ENTERTAINMENT, INC.                              F/S/O NEIL GOETZ                                10635 SANTA MONICA BLVD., SUITE 125                                                     LOS ANGELES       CA      90025
6468830   BBMG ENTERTAINMENT, INC.                              F/S/O STEPHEN HORNYAK                           10635 SANTA MONICA BLVD., SUITE 125                                                     LOS ANGELES       CA      90025
6484962   BC Creative, LLC fso Benjamin Z. Copion               117 Reef Mall                                                                                                                           Marina Del Rey    CA      90292
6475189   BC SMITH MUSIC                                        C/O CAA                                         2000 AVE OF THE STARS                                                                   LOS ANGELES       CA      90067
6485259   BDO Seidman LLP                                       PO Box 31001-0860                                                                                                                       Pasadena          CA      91110
6484161   BDO USA                                               1888 Century Park East, 4th Floor                                                                                                       Los Angeles       CA      90067
6481057   Be Bright                                             23125 Rue Jean-Jacques Rousseau                                                                                                         Paris                     75001        France
6486314   Beach Cinema Bistro Group, Inc.                       16055 SW Walker Rd. #425                                                                                                                Beaverton         OR      97006
6477824   BEACH\JAMES P                                         13517 DEFRIES RD                                                                                                                        FOLSOM            LA      70437
6478970   BEACHWOOD SERVICES, INC.                              10202 WEST WASHINGTON BLVD.                                                                                                             CULVER CITY       CA      90232
6491559   BEACON STREET STUDIOS                                 1225 ABBOT KINNEY BLVD.                                                                                                                 VENICE            CA      90291
6478676   BEALE\DENISE                                          1034 S. HI POINT STREET                                                                                                                 LOS ANGELES       CA      90035
6475741   BEAM\SAMUEL E.                                        1920 ADELICIA STREET,                           SUITE # 300                                                                             NASHVILLE         TN      37212
6475333   BEAR CREEK STUDIO RESTROOM                            RENTALS                                         5021 BARNARD STREET                                                                     SIMI VALLEY       CA      93063
6481856   Bear Network Service Company                          1463 McFarland Rd.                                                                                                                      Pittsburgh        PA      15216
6480680   Bear, Nathaniel                                       Address on File
6477757   BEASLEY PEST CONTROL, INC                             2510 BAYOU BLUE RD                                                                                                                      HOUMA             LA      70364
6477701   BEASLEY\BRENDA                                        5913 BOEING ST                                                                                                                          NEW ORLEANS       LA      70126




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MMLID     NAME                                                 ADDRESS                                            ADDRESS 2                         ADDRESS 3                  ADDRESS 4   CITY                 STATE   POSTAL CODE COUNTRY
6479023   BEASLEY\JOHN                                         225 DIMMICK AVE                                                                                                             VENICE               CA      90291
6477708   BEATTIE\DENVER                                       1017 ST PHILLIP ST                                                                                                          NEW ORLEANS          LA      70130
6485253   Beaufort California dba DTS Digital Cine             PO Box 8237                                                                                                                 Pasadena             CA      91109
6478770   BEAUMONT\HUSTON                                      2368 STANLEY HILLS DR                                                                                                       LOS ANGELES          CA      90046
6482178   Beaute 411 Inc                                       3961 SW 83rd Terrace                                                                                                        Davie                FL      33328       UNITED
6486453   Beautiful Songs Ltd.                                 36A Bromham Rd.                                                                                                             Biddenham Beds               MK40 4AF    KINGDOM
6479676   BEBEE\BRUCE T                                        6141 DUNDEE DRIVE                                                                                                           HUNTINGTON BEACH     CA      92647
6477058   BECHTLER\IVEY                                        P.O. BOX 963                                                                                                                WRIGHTSVILLE BEACH   NC      28480
6479167   BECHTOLD\GUS                                         1842 PRINCETON ST                                                                                                           GLENDALE             CA      91204
6476677   BECK, SEAN                                           2408 BUCKLEIGH DR                                                                                                           CHARLOTTE            NC      28215
6476928   BECK\D.J.                                            9483 BEAULAH LANE                                                                                                           LELAND               NC      28451
6478470   BECKER\STEVE                                         162 CHAMISA COURT                                                                                                           LOS ALAMOS           NM      87544
6475896   BECKY JO PRODUCTIONS                                 328 SOUTH ELM DRIVE                                UNIT # 2                                                                 BEVERLY HILLS        CA      90212
6485021   Becky Jo Productions, Inc.                           Jeremiah Samuels609 20th Street                                                                                             Santa Monica         CA      90402
6475217   BECO REALTY, CORP.                                   BO. CUPEY ALTO                                     22 CALLE YAGRUMO                                                         SAN JUAN             PR      00926
6798670   BED & BREAKFAST PUBLISHING LTD.,                     C/O ZYNC MUSIC GROUP                               243 MULBERRY STREET               SUITE 4R                               NEW YORK             NY      10012
6475207   BED, BATH & BEYOND, INC.                             STORE #111                                         2100 LOUISIANA BLVD NE                                                   ALBUQUERQUE          NM      87110
6476126   BEDFORD\HANK                                         472 HUMBOLDT STREET #3R                                                                                                     BROOKLYN             NY      11211
6475462   BEDFORD\HENRY                                        472 HUMBOLDT AVE                                   APT 3                                                                    BROOKLYN             NY      11211
6491346   BEDGOOD, TYLER                                       Address on File
6476383   BEE CONTROL                                          7119 BENNINGTON WOODS DR                                                                                                    PITTSBURGH           PA      15237
6480704   Beebee, Zachary                                      Address on File
6477837   BEECH\BRIAN                                          73994 HWY 41                                                                                                                PEARL RIVER          LA      70452
6485634   Beehive Group                                        14623 McCormick St.                                                                                                         Van Nuys             CA      91411
6483043   Beer Pong Events, LLC                                6291 Dean Martin Dr.                                                                                                        Las Vegas            NV      89118
6478871   BEESON\STEVE                                         2137 WHITLEY AVENUE                                                                                                         LOS ANGELES          CA      90068      UNITED
6474056   BEGGARS GROUP MEDIA LIMITED                          17-19 ALMA RD                                                                                                               LONDON                       SW181AA    KINGDOM
                                                                                                                                                                                                                                   UNITED
6486474   Beggars Group Media, Ltd.                            17-19 Alma Rd.                                                                                                              London                       SW18 1AA   KINGDOM
6798671   BEGINNERS LLC                                        C/O FOCUS FEATURESA DIVISION OF NBC UNIVERSAL      ATTN: ROBIN URDANG                100 UNIVERSAL CITY PLAZA               UNIVERSAL CITY       CA      91608
6481194   Beginners Movie, LLC                                 67 E. Park Place                                                                                                            Morristown           NJ      07960
6798672   BEGINNERS,LLC                                        C/O OLYMPUS PICTURES, LLC                          67 Park Place East                                                       Morristown           NJ      07960
6475225   BEHIND THE SCENES                                    WORLDWIDE LOGISTICS INC                            23934 CRAFTSMAN RD                                                       CALABASAS            CA      91302
6479308   BEHIND THE SCENES WORLDWIDE                          5931 VANALDEN AVENUE                                                                                                        TARZANA              CA      91356
6484907   Behind The Scenes, Financial Services Inc.           1108 Camino Real #405                                                                                                       Redondo Beach        CA      90277
6480985   Behnood, Kyan                                        Address on File
6477653   BEIER, ALEXANDER                                     1010 ROBERT E LEE BLVD                                                                                                      NEW ORLEANS          LA      70122
6476186   BEIGHEY\LARRY                                        713 8TH AVENUE                                                                                                              NEW BRIGHTON         PA      15066
6475455   BEISHIR\CLINT                                        6921 MEADE ST                                      APT 2                                                                    PITTSBURGH           PA      15208
6485830   Believe-Become, Inc.                                 5264 Blakeslee Ave.                                                                                                         North Hollywood      CA      91601
6476679   BELK,INC.                                            2801 WEST TYVOLA RD.                                                                                                        CHARLOTTTE           NC      28217
6482511   Bell Litho, Inc.                                     370 Crossen Ave.                                                                                                            Elk Grove Village    IL      60007
6475448   BELL\JULIAN T.                                       2513 TROY DRIVE                                    APT #8                                                                   WILMINGTON           NC      28401
6475882   BELLA OF BRUNSWICK INC                               1450 FIFTY LAKES DRIVE                             SUITE E                                                                  SOUTHPORT            NC      28461
6491336   BELLAIR EXPEDITING                                   3713 25TH AVENUE                                                                                                            SCHILLER PARK        IL      60176
6482647   Bellair Expediting                                   3745 25th Avenue                                                                                                            Schiller Park        IL      60176
6475156   BELLY BURNER, INC./THE                               C/O ROBERT WALDRON,                                1617 COSMO ST. #101                                                      LOS ANGELES          CA      90028
6482082   Belnick, Inc. DBA BizChair.com                       4350 Ball Ground Hwy.                                                                                                       Canton               GA      30114
6485178   Beltmann Group, Inc.                                 13021 Leffingwell Ave.                                                                                                      Santa Fe Springs     CA      90670
6482480   Beltmann Relocation Group                            2480 Long Lake Road                                                                                                         Roseville            MN      55113
6475542   BELTRAN\JAVINET                                      URB. JARDIN DEL ESTE                               CALLE OLIVO C-35                                                         NAGUABO              PR      00718
6483904   Bemis Balkind LLC (USE V005380)                      6135 Wishire Blvd                                                                                                           Los Angeles          CA      90048
6483484   BEMO, LLC                                            4043 W. Sunset Blvd.                                                                                                        Los Angeles          CA      90029
6468750   BEN CORY JONES                                       C/O FINEMAN ENTERTAINMENT                          ATTN: MICHAEL KOLODNY             4370 TUJUNGA AVE.          SUITE 235   STUDIO CITY          CA      91604
6491852   BEN FOLDS PRODUCTIONS, LLC                           529 FIFTH AVE, 4TH FLOOR                                                                                                    NEW YORK             NY      10017
6485392   Ben Hyatt Certified Deposition Reporters             17835 Ventura Blvd., Suite 310                                                                                              Encino               CA      91316
6482696   Ben Jacobson Consultants, Inc.                       2919 W. Coyle Ave.                                                                                                          Chicago              IL      60645
6484667   Ben Shields Catlin                                   229 S. Elm Dr. Apt #3                                                                                                       Beverly Hills        CA      90212
6483661   Ben Wood                                             1040 N. Las Palmas Ave., Bldg 40                                                                                            Los Angeles          CA      90038
6477564   BEN, FRANK                                           2104 PENISTON ST                                                                                                            NEW ORLEANS          LA      70115
6483177   Benarroch Productions                                1057 S Burnside Ave.                                                                                                        Los Angeles          CA      90019
6490524   BENARROCH PRODUCTIONS                                ATTN: MR. P.J. SCHUMACHER EA, CONTROLLER           775 MCCARTHY VISTA                                                       LOS ANGELES          CA      90048
6479321   BENAY'S BIRD & ANIMAL SERVICE                        4776 NOMAD DR.                                                                                                              WOODLAND HILLS       CA      91364
6485449   Benchmark Sound Services, Inc.                       27047 Edgewater Ln.                                                                                                         Valencia             CA      91355
6476377   BENDEL\JOHN E                                        228 ST CROIX DRIVE                                                                                                          PITTSBURGH           PA      15235      UNITED
6479781   BENE FILM LOCATIONS LTD                              18 AUDLEY ROAD                                                                                                              COLCHESTER                   CO3 3TY    KINGDOM
6483056   Benjamin C. Jones                                    622 1/2 N. Wilton Place                                                                                                     Los Angeles          CA      90004
6480147   BENJAMIN GRAUER                                      C/O MONSTER VISION, LLC                            555 SOUTH LAKE DESTINY DRIVE                                             ORLANDO              FL      32810
6485373   Benjamin Jenkin                                      8408 Oso Ave.                                                                                                               Winnetka             CA      91306
6483216   Benjamin Productions, Inc.                           P.O. Box 24950                                                                                                              Los Angeles          CA      90024
6482531   Benjamin Verlander                                   c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                            Northbrook           IL      60062




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                                                                                                                                      Served First Class Mail

MMLID     NAME                                                ADDRESS                                                            ADDRESS 2                             ADDRESS 3                        ADDRESS 4                 CITY             STATE   POSTAL CODE COUNTRY
6474639   BENJAMIN*LINDA                                      Address on File
6481014   Benjamin, Linda                                     Address on File
6480951   Benjamin, Linda H                                   Address on File
6476043   BENNET\JOHN                                         274 ROWAYTON AVE                                                                                                                                                    ROWAYTON         CT      06853
6476044   BENNETT, JOHN                                       274 ROWAYTON AVE                                                                                                                                                    ROWAYTON         CT      06853
6476045   BENNETT\JOHN M                                      274 ROWAYTON AVE                                                                                                                                                    ROWAYTON         CT      06853
6479111   BENNETT\STEVE                                       PO BOX 768                                                                                                                                                          SUNSET BEACH     CA      90742
6477780   BENNY'S MINIS                                       PO BOX 457                                                                                                                                                          SCHRIEVER        LA      70395
6477164   BEN'S TUNE UP                                       195 HILLIARD AVE.                                                                                                                                                   ASHEVILLE        NC      28801
6480420   Benson, Tiffany                                     Address on File
6477534   BENTEL\WILLIAM                                      5109 WARWICK DRIVE                                                                                                                                                  MARRERO          LA      70072
6477973   BENTLEY & ASSOCIATES, LLC                           7148 BELL ST                                                                                                                                                        AMARILLO         TX      79109
6477894   BENTON BROTHERS FURNITURE                           115 N RANGE AVE                                                                                                                                                     DENHAM SPRINGS   LA      70726
6474795   BENTZ*DIEGO E                                       Address on File
6476159   BERARDI IMMIGRATION LAW                             2314 WEHRLE DRIVE                                                                                                                                                   WILLIAMSVILLE    NY      14221
6476567   BERICO FUEL CO                                      2200 E. BESSEMER AVE                                                                                                                                                GREENSBORO       NC      27405
6479893   BERKLEY REGIONAL INSURANCE CO.                      JENNIFER MAGGI                                                     1277 TREAT BLVD., SUITE 300                                                                      WALNUT CREEK     CA      94597
6479898   BERKLEY REGIONAL INSURANCE COMPANY                  ATTN: LEGAL DEPARTMENT                                             475 STEAMBOAT ROAD                                                                               GREENWICH        CT      06830
6478302   BERKOWITZ\JENNIFER                                  301 CALLE SIERPE                                                                                                                                                    SANTA FE         NM      87501
6483905   Berliner Photography, LLC                           P.O. Box 480066                                                                                                                                                     Los Angeles      CA      90048
6477413   BERNACCHI/ROBERT                                    638 N. GOODWIN DR.                                                                                                                                                  PARK RIDGE       IL      60068
6475087   BERNALILLO COUNTY                                   1 CIVIC PLAZA                                                      10TH FLOOR                                                                                       ALBUQUERQUE      NM      87102
6482136   Bernard R. James                                    520 West Madison St. Suite 311                                                                                                                                      Tallahassee      FL      32301
6475208   BERNARD\DUSTIN                                      C/O DJINN ENTERTAINMENT                                            2101 ROSECRANS AVE, STE 3270                                                                     EL SEGUNDO       CA      90245
6477594   BERNING\LAURA J.                                    7926 SYCAMORE STREET                                                                                                                                                NEW ORLEANS      LA      70118
6474814   BERRAFATO*LAURA M                                   Address on File
6477747   BERRY BROS GENERAL CONTRACTORS                      1414 RIVER RD                                                                                                                                                       BERWICK          LA      70342
6475446   BERRY\MICHAEL                                       424 RODNEY STREET                                                  APT #3                                                                                           BROOKLYN         NY      11211
6474737   BERTHOLOMEY*STEVEN                                  Address on File
6480855   Bertram, Steven                                     Address on File
6482155   Best Buddies International                          c/o Patricia Trachtenberg100 Southeast Second Street, Suite 2200                                                                                                    Miami            FL      33131
6484757   Best Friends Animal Society                         c/o Fleetwood Limousine5839 Green Valley Circle, Suite 102                                                                                                          Culver City      CA      90230
6476713   BEST WESTERN COASTLINE INN                          503 NUTT STREET                                                                                                                                                     WILMINGTON       NC      28401
6478471   BEST WESTERN HILLTOP HOUSE HOT                      400 TRINITY DRIVE                                                                                                                                                   LOS ALAMOS       NM      87544
6798667   BET PRODUCTIONS IV, LLC                             1540 Broadway                                                                                                                                                       New York         NY      10036
6479175   BETANCOURT\BONNIE                                   1520 E. MAPLE STREET                                                                                                                                                GLENDALE         CA      91205
6477041   BETTER BEACH RENTALS, INC.                          8601 EAST OAK ISLAND DRIVE                                                                                                                                          OAK ISLAND       NC      28465
6481304   Better Living Industries                            c/o Flood, Bumstead, McCready & McCarthy16 W. 22nd St. Fl 3                                                                                                         New York         NY      10010
6484490   Betty Gower                                         1148 Pickfair Way                                                                                                                                                   Beverly Hills    CA      90210
6484963   Betty Mae, Inc. fso Mary Vernieu                    13375 Beach Ave.                                                                                                                                                    Marina Del Rey   CA      90292
6475015   BETWEEN 8TH AND THE PARK, INC.                      9100 WILSHIRE BLVD                                                 #1000W                                                                                           BEVERLY HILLS    CA      90212
6468763   BETWEEN 8TH AND THE PARK, INC.                      C/I ICM PARTNERS                                                   ATTN: JOANNE WILES, AGENT             10250 CONSTELLATION BLVD.                                  LOS ANGELES      CA      90067
6484162   Between 8th and The Park, Inc.                      c/o ICM Partners, Attn: Joanne Wiles10250 Constellation Blvd.                                                                                                       Los Angeles      CA      90067
6468805   BETWEEN 8TH AND THE PARK, INC.                      C/O SLOANE OFFER WEBER & DERN LLP                                  ATTN: HARRIS T, HARTMAN               9601 WILSHIRE BLVD., SUITE 500                             BEVERLY HILLS    CA      90210
6490428   BEV/EARLY, LLC                                      C/O HALPERIN BATTAGLIA BENZIJA, LLP                                40 WALL STREET, 37TH FLOOR                                                                       NEW YORK         NY      10005
6474735   BEVANS*CHRISTOPHER                                  Address on File
6468847   BEVEARLY, LLC                                       ATTN: DINO SARTI                                                   80 W. SIERRA MADRE BLVD., SUITE 366                                                              SIERRA MADRE     CA      91024
6490431   BEVERLY BLVD 2 HOLDINGS LLC                         ATTN: DAVID MILLER                                                 40 WEST 57TH STREET, 30TH FLOOR                                                                  NEW YORK         NY      10019
6480113   BEVERLY BLVD 2 HOLDINGS LLC                         C/O ELLIOTT MANAGEMENT CORPORATION                                 ATTN: DAVID MILLER                    40 WEST 57TH ST.                                           NEW YORK         NY      10019
6485500   Beverly Blvd Associates, L.P.                       20664 Ventura Blvd.                                                                                                                                                 Woodland Hills   CA      91364
6483906   Beverly Blvd. Leaseco, LLC dba Sofitel LA           8555 Beverly Blvd.                                                                                                                                                  Los Angeles      CA      90048
6478561   BEVERLY HILLS CAB COMPANY                           5741 W. ADAMS BLVD                                                                                                                                                  LOS ANGELES      CA      90016-2440
6480235   BEVERLY HILLS CITY HALL                             OFFICE OF TAX COLLECTOR                                            455 N. REXFORD DR.                                                                               BEVERLY HILLS    CA      90210
6483907   Beverly Hills Pro Billing                           430 1/2 N. La Cienega Blvd.                                                                                                                                         Los Angeles      CA      90048
6478944   BEVERLY HILLS PRO BILLING, INC                      8306 WILSHIRE BLVD, STE 7052                                                                                                                                        BEVERLY HILLS    CA      90211
6491530   BEVERLY HILLS TENNIS CLUB, INC., THE                340 N. MAPLE DR.                                                                                                                                                    BEVERLY HILLS    CA      90210
6484841   Beverly Hills Transfer & Storage                    15500 S. Main St.                                                                                                                                                   Gardena          CA      90248
6484492   Beverly Hilton, The                                 9876 Wilshire Blvd                                                                                                                                                  Beverly Hills    CA      90210
6486928   BEVERLY PLACE, L.P.                                 C/O ALLEN MATKINS LECK GAMBLE MALLORY &                            NATSIS LLP                            ATTN: A. KENNETH HENNESAY, JR.   1900 MAIN STREET, FIFTH   IRVINE           CA      92614-7321
6479999   BEVERLY PLACE, L.P.                                 TISHMAN SPEYER PROPERTIES, L.P.,                                   ATTN: PROPERTY MANAGER                345 NORTH MAPLE DRIVE, SUITE 194                           BEVERLY HILLS    CA      90210
6485271   Beverly Place, LP                                   PO Box 601152                                                                                                                                                       Pasadena         CA      91189
6480866   Beverly, Holly                                      Address on File
6477709   BEVOLO GAS & ELECTRIC LIGHTS                        521 CONTI ST                                                                                                                                                        NEW ORLEANS      LA      70130
6485055   Beware Doll Inc                                     1550 16th Street                                                                                                                                                    Santa Monica     CA      90404
6474668   BEYER*JONATHAN                                      Address on File
6477530   BEYERBACK III\EDWARD                                3104 PANAMA ST                                                                                                                                                      KENNER           LA      70065
6484668   BF. Net, Inc. dba Lea Journo Salon                  9500 Wilshire Blvd. Attn: The Salon                                                                                                                                 Beverly Hills    CA      90212
6469509   BF. NET, INC. DBA LEA JOURNO SALON                  ATTN: THE SALON                                                    9500 WILSHIRE BLVD.                                                                              BEVERLY HILLS    CA      90212
6476032   BFPE INTERNATIONAL                                  P.O. BOX 418897                                                                                                                                                     BOSTON           MA      02241-8897
6484758   BGM Productions, Inc.                               c/o Doug Apatow Agency Inc12049 Jefferson Blvd., Suite 200                                                                                                          Culver City      CA      90230




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                                                                                                                       Served First Class Mail

MMLID     NAME                                                    ADDRESS                                         ADDRESS 2                              ADDRESS 3                        ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6474957   BGM PRODUCTIONS, INC.                                   FSO: BRUCE MORIARTY                             3811 US HWY 87                                                                                    BANNER            WY      83832
6478929   BH9900 WILSHIRE PROPERTY ACCT                           9900 WILSHIRE BLVD                                                                                                                                BEVERLY HILLS     CA      90210
6470171   BHS PRODUCTIONS, INC. FSO BRYAN SARKINEN                131 E. 83RD ST. SUITE 31                                                                                                                          NEW YORK          NY      10028
6481572   BHS Productions, Inc. fso Bryan Sarkinen                131 E. 83rd St. Suite 3D                                                                                                                          New York          NY      10028
6491707   BIANCO ARTIST MANAGEMENT, LLC                           5220 SOUTH BRANDON ST.                                                                                                                            SEATTLE           WA      98118
6476615   BIBBY, SHARON ANNE                                      4603 LAWNDALE DR.                                                                                                                                 GREENSBORO        NC      27455
6476426   BIBLICAL LIFE INSTITUTE                                 927 FREEPORT ROAD                                                                                                                                 FREEPORT          PA      16229
6475746   BICYCLE MUSIC COMPANY INC.\THE                          449 S. BEVERLY DRIVE                            SUITE # 300                                                                                       BEVERLY HILLS     CA      90212
6492156   BICYCLE MUSIC COMPANY* THE                              ATTN: EVELYN PAGLINANAN, SR DIRECTOR/LEGAL      100 NORTH CRESCENT DRIVE               #323                                                       BEVERLY HILLS     CA      90210
6478930   BICYCLE MUSIC COMPANY, INC                              100 N. CRESCENT DRIVE #323                                                                                                                        BEVERLY HILLS     CA      90210
6484493   Bicycle Music Company, Inc., The                        100 N. Crescent Dr. Suite 323                                                                                                                     Beverly Hills     CA      90210
6480813   Biddle, Jessica                                         Address on File
6480856   Bidner, Zachary                                         Address on File
6476373   BIDWELL TRAINING CENTER                                 1815 METROPOLITAN STREET                                                                                                                          PITTSBURGH        PA      15233
6476714   BIENIAS\KRAIG                                           523 S. THIRD STREET                                                                                                                               WILMINGTON        NC      28401
6476694   BIG ART GRAPHICS, LLC                                   434 MAMMOTH OAKS DRIVE                                                                                                                            CHARLOTTE         NC      28270
6481356   Big Beach LLC                                           41 Great Jones St                                                                                                                                 New York          NY      10012
6798657   BIG BLUE BUS                                            CITY OF SANTA MONIA                             1334 5th Street                                                                                   SANTA MONICA      CA      90401
6492815   BIG DOOR, INC.                                          ATTN: MAX YOFFE, PRINCIPAL                      114 SHELDON ST.                                                                                   EL SEGUNDO        CA      90245
6481295   Big Honcho Media LLC                                    111 Broadway, Ste.505                                                                                                                             New York          NY      10006
6478303   BIG HOUSE PROPS AND COSTUMES,                           423 LA JOYA ROAD                                                                                                                                  SANTA FE          NM      87501
6477359   BIG MACHINE RECORDS LLC                                 1219 16TH AVE S                                                                                                                                   NASHVILLE         TN      37212
6482248   Big Monster Company, The                                4636 Lebanon Pike #353                                                                                                                            Hermitage         TN      37076
6484669   Big Nickel Films, Inc.                                  c/o William Morris Agency151 El Camino Drive                                                                                                      Beverly Hills     CA      90212
6484776   Big Picture Entertainment, LLC                          3524 Hayden Ave                                                                                                                                   Culver City       CA      90232
6492441   BIG PICTURE ENTERTAINMENT, LLC                          ATTN: RYAN HEGENBERGER, MANAGING MEMBER         3524 HAYDEN AVE                                                                                   CULVER CITY       CA      90232
6484163   Big Picture Group                                       1250 Constellation Blvd.                                                                                                                          Los Angeles       CA      90067
6491540   BIG PICTURE MEDIA ASSOCIATES                            250 S. BEVERLY DR, STE. 200                                                                                                                       BEVERLY HILLS     CA      90212
6492447   BIG PICTURE MEDIA ASSOCIATES CORPORATION                ATTN: DAYNA TRAVERS, OWNER                      40 W. 29TH ST., ROOM 401                                                                          NEW YORK          NY      10001        UNITED
6486507   Big Picture Studio Entertainment Design, Ltd.           21 Oatlands Rd.                                                                                                                                   Oxford                                 KINGDOM
6486353   Big Picture, LLC                                        2505 1st Ave.                                                                                                                                     Seattle           WA      98121
6479731   BIG RED PIXEL                                           4223 GLENCOE AVE, SUITE A210                                                                                                                      MARINA DEL REY    CA      95472
6477623   BIG SHOW RENTS                                          4701 CONTI ST                                                                                                                                     NEW ORLEANS       LA      70119
6476767   BIG SOUTH AUCTION & ANTIQUES                            3911 MARKET STREET                                                                                                                                WILMINGTON        NC      28403
6483574   Big Sunday                                              7319 Beverly Blvd. Suite 7                                                                                                                        Los Angeles       CA      90036
6483261   Big Time Picture Company, Inc.                          12210 1/2 Nebraska Ave                                                                                                                            Los Angeles       CA      90025
6476953   BIG TOY STORAGE                                         4500 FISH FACTORY ROAD                                                                                                                            SOUTHPORT         NC      28461
6478177   BIG WOODS PROD. SERVICES LLC                            3167 SAN MATEO BLVD NE #201                                                                                                                       ALBUQUERQUE       NM      87110
6478178   BIG WOODS PRODUCTION SERVICES                           3167 SAN MATEO BLVD.                                                                                                                              ALBUQUERQUE       NM      87110
6475426   BIG WOODS PRODUCTION SVCS LLC                           C/O ACCOUNTING SOLUTIONS PLUS                   9202 CALLE SALINAS, SW                                                                            ALBUQUERQUE       NM      87121
6482366   Bigfly Aviation                                         13940 Cedar Rd. #227                                                                                                                              Cleveland         OH      44118
6477222   BIGHAM\MICHAEL                                          27 SUNSET DR                                                                                                                                      ASHEVILLE         NC      28806
6487883   BIGTS LOAN SERVICING, LLC                               ATTN: NICK MESERVE, MANAGING DIRECTOR           SAMMY CASHIOLA                         1300 POST OAK BLVD, SUITE 800                              HOUSTON           TX      77056
6471233   BIJOU INC                                               PO BOX 2170                                                                                                                                       CASPER            NY      82601
6482959   Bijou Inc                                               PO Box 2170                                                                                                                                       Casper            WY      82601
6478701   BIKESTYLER CUSTOMS                                      5621 MELROSE AVE                                                                                                                                  LOS ANGELES       CA      90038
6475809   BILL DANCE CASTING                                      4605 LANKERSHIM BLVD.                           SUITE 219                                                                                         NORTH HOLLYWOOD   CA      91602
6485858   Bill Dance Casting fso William Forest Dance             4605 Lankershim Blvd. Suite 219                                                                                                                   North Hollywood   CA      91602
6478771   BILL HARGATE COSTUMES                                   1117 N. FORMOSA AVE                                                                                                                               W. HOLLYWOOD      CA      90046
6486067   Bill Thompson                                           3129 Watermarke Place                                                                                                                             Irvine            CA      92612
6492872   BILLINGSLEY* KANDICE                                    Address on File
6487823   BILLIOS PRODUCTIONS INC                                 C/O MORRIS YORN ET AL                           ATTN: NICKOLAS A. GLADDEN, ATTORNEY    2000 AVENUE OF THE STARS         NORTH TOWER, 3RD FLOOR    LOS ANGELES       CA      90067
6477766   BILLIOT\BRANDON ANTHONY                                 521 7TH STREET                                                                                                                                    MORGAN CITY       LA      70380
6477748   BILLIOT\RANDAL                                          4004 PHARR ST                                                                                                                                     BERWICK           LA      70342
6476823   BILLS, JAMES L.                                         2225 BRANDON RD                                                                                                                                   WILMINGTON        NC      28405
6482689   Billy Taylor                                            1323 South Independent Blvd. 3rd Floor                                                                                                            Chicago           IL      60623
6479196   BILSON\DAVID L.                                         5497 AMBER CIRCLE                                                                                                                                 CALABASAS         CA      91302
6477165   BILTMORE COMPANY\THE                                    1 NORTH PACK SQUARE                                                                                                                               ASHEVILLE         NC      28801
6477166   BILTMORE PRINT AND IMAGE                                231 BILTMORE AVE.                                                                                                                                 ASHEVILLE         NC      28801
6798655   BILZERIAN ENTERTAINMENT INC.                            6005 LAS VEGAS BLVD S                                                                                                                             LAS VEGAS         NV      89119
6475300   BIMFEST MUSIC, INC. FSO B.BERN                          C/O THE GORFAINE/SCHWARTZ AGEN                  4111 W ALAMEDA AVE #509                                                                           BURBANK           CA      91505
6477241   BIMINI PRODUCTION SOUND, LLC.                           1020 JONES RD.                                                                                                                                    IRMO              SC      29063
6484406   Bingham McCutchen LLP                                   PO Box 70030                                                                                                                                      Los Angeles       CA      90074
6474485   BINGHAM*JOSHUA                                          Address on File
6484164   Bird Marella                                            1875 Century Park East, 23rd Floor                                                                                                                Los Angeles       CA      90067
6479674   BIRDS & ANIMALS UNLIMITED INC.                          34145 PACIFIC COAST HWY #761                                                                                                                      DANA POINT        CA      92629-2808
6479707   BIRDS & ANIMALS UNLIMITED LLC                           1125 BUENA VISTA RD                                                                                                                               ACTON             CA      93510
6481258   Birdy Num Num Productions, Inc.                         C/O AGS 200 Park Ave. S. 8th Fl.                                                                                                                  New York          NY      10003
6468721   BIRDY NUM NUM PRODUCTIONS, INC.                         C/O JACKOWAY TYERMAN WERTHEIMER                 AUSTEN MANDELBAUM MORRIS & KLEIN, PC   ATTN: KARL AUSTEN                1925 CENTURY PARK EAST,   LOS ANGELES       CA      90067
6468799   BIRDY NUM NUM PRODUCTIONS, INC.                         C/O UNITED TALENT AGENCY                        ATTN: JEREMY BARBER & KEYA KHAYATIAN   9560 WILSHIRE BLVD., SUITE 250                             BEVERLY HILLS     CA      90212-2401




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MMLID     NAME                                                         ADDRESS                                                        ADDRESS 2                                    ADDRESS 3                  ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6480338   BIRDY NUM NUM PRODUCTIONS, INC.                              F/S/O MARC KLEIN                                               C/O UNITED TALENT AGENCY                     ATTN: KEYA KHAYATIAN       9336 CIVIC CENTER DRIVE   BEVERLY HILLS     CA      90210
6474268   BISHOP*BRAD                                                  Address on File
6477795   BISSEL\ERIC                                                  227 N COLUMBIA ST                                                                                                                                                COVINGTON         LA      70433
6482260   Bitter Little Dutchboy                                       700 Church St. #605                                                                                                                                              Nashville         TN      37203
6491368   BIUTIFUL, LLC                                                14301 CALIBER DR., SUITE 300                                                                                                                                     OKLAHOMA CITY     OK      73134
6476652   BIVINS, LARRY                                                2726 TONEY RD                                                                                                                                                    LAWNDALE          NC      28090
6476653   BIVINS\RAY                                                   638 WARLICK ROAD                                                                                                                                                 LAWNDALE          NC      28090
6477499   BIVONA\SCOTT                                                 215 LONGVIEW DR                                                                                                                                                  DESTREHAN         LA      70047
6478487   BJERKE\BRIGITTE                                              PO BOX 1031                                                                                                                                                      PECOS             NM      87552
6485652   Black & White Productions, LLC                               14156 Magnolia Blvd, Ste 102c/o Alvarez & Shelley PC                                                                                                             Sherman Oaks      CA      91423
6476394   BLACK AND DECKER                                             PO BOX 223516                                                                                                                                                    PITTSBURGH        PA      15251-2516
6491884   BLACK BOX CREATIVE GROUP, LLC                                6418 SANTA MONICA BLVD. #8200I                                                                                                                                   LOS ANGELES       CA      90038
6475304   BLACK CAT GRIP                                               ATTN: MAXWELL THORPE                                           4120 NAGLE AVE                                                                                    SHERMAN OAKS      CA      91423
6475083   BLACK ENT. TELEVISION, LLC                                   ATTN: DARRELL E. WALKER                                        10635 STA.MONICA BLVD., 2ND FL                                                                    LOS ANGELES       CA      90025
6798638   BLACK ENTERTAINMENT TELEVISION, LLC                          ATTN: DARRELL E. WALKER,                                       EVP & GENERAL COUNSEL                        1540 Broadway                                        New York          NY      10036
6487880   BLACK ENTERTAINMENT TELEVISION, LLC                          ATTN: DARRELL WALKER, ESQ., GENERAL                            COUNSEL AND EXECUTIVE VICE PRESIDENT         1235 W. STREET N.E.                                  WASHINGTON        DC      20018
6481217   Black Frame                                                  530 W, 25th St.                                                                                                                                                  New York          NY      10001
6476893   BLACK GOLD HOLDINGS, LLC                                     101 PORTWATCH WAY                                                                                                                                                WILMINGTON        NC      28412
6486100   Black Kro Productions, LLC                                   2915 S. Fairview Unit F                                                                                                                                          Santa Ana         CA      92704
6484993   Black Monday Film Services, LLC                              1447 2nd St. Floor 2B                                                                                                                                            Santa Monica      CA      90401
6484671   Black Ocean Films, Inc                                       c/o Bloom Hergott Diemer LLP150 South Rodeo Drive, 3rd Floor                                                                                                     Beverly Hills     CA      90212
6468713   BLACK OCEAN FILMS, INC.                                      F/S/O CHRISTIAN GUDEGAST                                       C/O BLOOM HERGOTT ET AL. LLP,                ATTN: PATRICK KNAPP        150 SOUTH RODEO DRIVE 3RD BEVERLY HILLS     CA      90212
6468712   BLACK OCEAN FILMS, INC. AND                                  CHRISTIAN GUDEGAST                                             C/O BLOOM HERGOTT ET AL. LLP                 ATTN: PATRICK KNAPP        150 SOUTH RODEO DRIVE 3RD BEVERLY HILLS     CA      90212
6482261   Black River Entertainment, LLC                               12 Music Circle South                                                                                                                                            Nashville         TN      37203
6485756   Black White, LLC c/o Treehouse Films, LLC                    4450 Lakeside Drive, Ste.225                                                                                                                                     Burbank           CA      91505
6476077   BLACK, TAYLOR L.                                             114 7TH AVE #2C                                                                                                                                                  NEW YORK          NY      10011
6476234   BLACK\STEPHEN A                                              1215 & 1217 KIRKPATRICK AVENUE                                                                                                                                   NORTH BRADDOCK    PA      15104-2613
6475045   BLACK\TAYLOR                                                 122 FORT GREENE PLACE                                          #4                                                                                                BROOKLYN          NY      11217
6477929   BLACKARD\GARRETT                                             710 S E AVE M                                                                                                                                                    IDABEL            OK      74745
6482721   Blackberry Corporation fka Research In Motion Corporation    12432 Collections Center Drive                                                                                                                                   Chicago           IL      60693
6492176   BLACKBOX CREATIVE GROUP, LLC                                 C/O ALVARADO LAW GROUP                                         ATTN: FRANK J. ALVARADO, ESQ.                1677 EL SERENO AVENUE                                PASADENA          CA      91103
6476687   BLACKLION INTERNATIONAL                                      P.O. BOX 472825                                                                                                                                                  CHARLOTTE         NC      28247
6481652   Blackstone Holdings I, LP dba Blackstone Advisory Partners   345 Park Ave.                                                                                                                                                    New York          NY      10154
6477796   BLACKWELL\JAMES EDWARD                                       200 E KIRKLAND ST                                                                                                                                                COVINGTON         LA      70433
6798629   BLACKWHITE LLC                                               ATTN: GENERAL COUNSEL                                          PO BOX 601152                                                                                     PASADENA          CA      91189
6798634   BLACKWHITE LLC                                               C/O ALVEREZ & SHELLY                                           PC                                           14156 MAGNOLIA BOULEVARD   SUITE 102                 SHERMAN OAKS      CA      90423
6798633   BLACKWHITE LLC C/O ALVAREZ & SHELLEY P.C.                    ATTN: FRANCIS SHELLEY                                          14156 MAGNOLIA BOULEVARD, SUITE 102                                                               SHERMAN OAKS      CA      91423
6485653   BlackWhite, LLC                                              c/o Alvarez & Shelley PC14156 Magnolia Blvd. Ste. 102                                                                                                            Sherman Oaks      CA      91423
6798626   BLACKWHITE, LLC                                              C/O TREEHOUSE FILMS, LLC                                       4450 LAKESIDE DRIVE, SUITE 225                                                                    BURBANK           CA      91505
6798627   BlackWhite, LLC                                              c/o Treehouse Films, LLC                                       Cole Behringer TTE Behringer-Fussell Trust   14156 Magnolia Blvd                                  Sherman Oaks      CA      91423
6484165   Blaine and Associates Inc                                    2029 Centurty Park E                                                                                                                                             Los Angeles       CA      90067
6485938   Blaire Chandler                                              11470 Bessemer St.                                                                                                                                               North Hollywood   CA      91606
6483356   Blake Harjes                                                 1800 N. New Hampshire Ave, Apt 315                                                                                                                               Los Angeles       CA      90027
6483500   Blakely Co., The                                             5533 Alhambra Ave                                                                                                                                                Los Angeles       CA      90032
6477688   BLANCHARD, ANNA                                              6834 ORLEANS AVE                                                                                                                                                 NEW ORLEANS       LA      70124
6476145   BLANCHARD\RICARDO                                            156 ATLANTIC AVE                                                                                                                                                 CARLE PLACE       NY      11514
6480346   BLAND-RICKY ROBERTS                                          C/O RICHMAN & LEVINE, P.C.                                     SETH A. LEVINE                               666 OLD COUNTRY ROAD       SUITE 101                 GARDEN CITY       NY      11530
6481906   Blank Rome, LLP                                              One Logan Square                                                                                                                                                 Philadelphia      PA      19103
6483804   Blank Shore Music, LLC                                       2744 Angelo Dr                                                                                                                                                   Los Angeles       CA      90077-2102
6476461   BLAZER'S AUTO BODY & TOWING                                  505 WESTERN AVE                                                                                                                                                  MOUNDSVILLE       WV      26041
6475537   BLAZQUEZ TORRES\RICARDO                                      URB. VILLAS DEL MAR                                            CALLE GAVIOTA 136                                                                                 RIO GRANDE        PR      00745
6476954   BLEE\ELIZABETH S.                                            4945 S SOMMET DR                                                                                                                                                 HOLLADAY          UT      84117
6484265   Bleed101, Inc.                                               2104 N. Cahuenga Blvd. #306                                                                                                                                      Los Angeles       CA      90068
6476875   BLESS YOUR HEART PROD GROUP                                  341 PAGES CREEK DRIVE                                                                                                                                            WILMINGTON        NC      28411
6479211   BLESSING, JACK M.                                            10800 BAILE AVENUE                                                                                                                                               CHATSWORTH        CA      91311
6481822   Blinding Light, Inc.                                         16 Elder Ave.                                                                                                                                                    Hampton Bays      NY      11946
6484407   Blink Digital c/o Ascent Media                               PO Box 749663                                                                                                                                                    Los Angeles       CA      90074
6485687   Bliss Group, Inc.                                            16133 Ventura Blvd. Suite 545                                                                                                                                    Encino            CA      91436
6798622   BLKBX CREATIVE GROUP                                         1020 COLE AVE, SUITE 4375                                                                                                                                        LOS ANGELES       CA      90038
6479711   BLM SOLUTIONS, LLC                                           4555 W AVE G #25                                                                                                                                                 LANCASTER         CA      93536
6485056   Block Carter dba The Viral Factory                           1531 Colorado Ave                                                                                                                                                Santa Monica      CA      90404
6483908   Block-Korenbrot, Inc.                                        6100 Wilshire Blvd. #170                                                                                                                                         Los Angeles       CA      90048
6482192   BlogWire                                                     2502 N. Dixie Hwy, #25                                                                                                                                           Lake Worth        FL      33460
6478342   BLONDIS\KURT ROBERT                                          406 NAZARIO STREET                                                                                                                                               SANTA FE          NM      87501-2302
6485571   Blood & Chocolate, Inc.                                      15973 Valley Wood Rd.                                                                                                                                            Sherman Oaks      CA      91403
6492825   BLOOD & CHOCOLATE, INC.                                      ATTN: KAREN CRAWFORD, CO-FOUNDER/CREATIVE DIR                  15973 VALLEY WOOD RD.                                                                             SHERMAN OAKS      CA      91403
6483114   Bloodrush Films                                              411 W. 5th St. #1230                                                                                                                                             Los Angeles       CA      90013
6481045   Bloodsport Productions Pty Ltd                               320 Adelaide St, Level 7                                                                                                                                         Brisbane          Qld     4000         Australia
6484494   Bloom Hergott Diemer Rosenthal                               150 S. Rodeo Drive, 3rd Floor                                                                                                                                    Beverly Hills     CA      90210
6475497   BLOOMFIELD, DAVID                                            10202 WEST WASHINGTON BLVD                                     ASTAIRE BUILDING                                                                                  CULVER CITY       CA      90232




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MMLID     NAME                                                         ADDRESS                                                     ADDRESS 2                        ADDRESS 3                          ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6478971   BLOOMFIELD, DAVID J.                                         10202 WEST WASHINGTON BLVD                                                                                                                  CULVER CITY         CA      90232
6479003   BLOOMFIELD\DAVID                                             1135 MONUMENT ST                                                                                                                            PACIFIC PALISADES   CA      90272
6475495   BLOOMFIELD\DAVID J.                                          10202 W. WASHINGTON BLVD                                    ASTAIRE BLDG EAST, 3RD FLOOR                                                    CULVER CITY         CA      90232
6479420   BLOOMINGDALE'S                                               14060 RIVERSIDE DR                                                                                                                          SHERMAN OAKS        CA      91423
6479421   BLOOMINGDALE'S STUDIO SERVICES                               14060 RIVERSIDE DR                                                                                                                          SHERMAN OAKS        CA      91423       UNITED
6479815   BLOOMSBURY HOTEL/THE                                         16-22 GREAT RUSSELL STREET                                                                                                                  LONDON                      WC1B 3NN    KINGDOM
6486171   Bloomspot, Inc.                                              345 Ritch St.                                                                                                                               San Francisco       CA      94107
6477797   BLOUNT III\ROBERT                                            70492 D ST                                                                                                                                  COVINGTON           LA      70433
6483403   BLT & Associates Inc.                                        6430 Sunset Blvd. 8th Floor                                                                                                                 Los Angeles         CA      90028
6483575   Blue 8 Group                                                 143 S. Highland Ave.                                                                                                                        Los Angeles         CA      90036
6485757   Blue Bonsai, LLC fso Joseph Trapanese                        c/o Gorfaine/Schwartz Agency 4111 W. Alameda Ave. Ste 509                                                                                   Burbank             CA      91505
6475302   BLUE BONSAI, LLC.                                            FSO JOE TRAPANESE                                           4111 W. ALAMEDA AVE, SUITE 509                                                  BURBANK             CA      91505
6474991   BLUE CLAW IMPROVEMENTS                                       & ELECTRIC                                                  P.O. BOX 356                                                                    OAK ISLAND          NC      28465
6484046   Blue Cross                                                   Blue Cross of CaliforniaPO Box 54630                                                                                                        Los Angeles         CA      90054
6475889   BLUE HAND HOME                                               1125 MILITARY CUT-OFF ROAD                                  SUITE P                                                                         WILMINGTON          NC      28406
6481449   Blue Heron Research Partners, LLC                            286 Madison Avenue                                                                                                                          New York            NY      10017
6486159   Blue Jeans Network, Inc.                                     516 Clyde Ave.                                                                                                                              Mountain View       CA      94043
6798615   BLUE LAKE ENTERTAINMENT FUND SOUTH, LTD                      5950 BERKSHIRE LANE                                         STE. 550                                                                        DALLAS              TX      75225
6487857   BLUE LAKE MUSIC, LTD.                                        C/O LEVENE NEALE BENDER YOO & BRILL, L.L.P.                 ATTN: J.P. FRITZ, ESQ.           10250 CONSTELLATION BLVD., SUITE               LOS ANGELES         CA      90067
6484672   Blue Lake Music, Ltd. dba Blue Lake Romeo Music Publishing   Attn: Bobby Hoppey410 S. Beverly Dr. 6th Floor                                                                                              Beverly Hills       CA      90212
6487860   BLUE LAKE ROMEO MUSIC PUBLISHING                             C/O LEVENE NEALE BENDER YOO & BRILL L.L.P.                  ATTN: J.P. FRITZ, ESQ.           10250 CONSTELLATION BLVD., SUITE               LOS ANGELES         CA      90067
6482245   Blue Miller                                                  1288 Old Hillsboro Rd.                                                                                                                      Franklin            TN      37069
6479720   BLUE MOON RESTORATION                                        PO BOX 900805                                                                                                                               PALMDALE            CA      93590
6475787   BLUE MOON SERVICES, LLC                                      9601 WILSHIRE BLVD.                                         SUITE 1190                                                                      BEVERLY HILLS       CA      90210
6486145   Blue Palm International                                      7928 Winchester Circle                                                                                                                      Goleta              CA      93117
6477106   BLUE RIDGE AUTO SALES                                        3647 GEORGIA RD.                                                                                                                            FRANKLIN            NC      28734
6483780   Blue Room Events                                             5777 W. Century Blvd. Suite 880                                                                                                             Los Angeles         CA      90045
6484408   Blue Shield of California                                    PO Box 749415                                                                                                                               Los Angeles         CA      90074
6478243   BLUE WONDER                                                  520 VIA PAZ SW                                                                                                                              ALBUQUERQUE         NM      87121
6478071   BLUEBIRD COLLECTIBLES                                        7216 4TH STREET NW                                                                                                                          ALBUQUERQUE         NM      87105
6491254   BLUEBIRD EXPRESS, LLC                                        145 HOOK CREEK BLVD. BUILDING CSC                                                                                                           VALLEY STREAM       NY      11581
6476009   BLUELINE RENTAL PR INC.                                      P.O. BOX 1028                                                                                                                               SABANA SECA         PR      00952-1028
6483909   Blueprint Furniture                                          8366 Beverly Blvd                                                                                                                           Los Angeles         CA      90048
6478677   BLUEPRINT FURNITURE, INC.                                    8600 W. PICO BLVD.                                                                                                                          LOS ANGELES         CA      90035
6479313   BLUE-SKY SERVICES, INC.                                      P.O. BOX 571085                                                                                                                             TARZANA             CA      91357
6490729   BLUEWATER MUSIC SERVICES CORP                                ATTN: PETER A ROSELLI                                       PO BOX 120904                                                                   NASHVILLE           TN      37212
6482301   Bluewater Music Services Corp.                               P.O. Box 120904                                                                                                                             Nashville           TN      37212
6482338   Bluff City Legends                                           209 N. Lauderdale                                                                                                                           Memphis             TN      38105
6476665   BLUMENTHAL FOUNDATION                                        1355 GREENWOOD CLIFF #200                                                                                                                   CHARLOTTE           NC      28204
6483262   Blumhouse Entertainment, Inc.                                1990 S. Bundy Dr. #200                                                                                                                      Los Angeles         CA      90025
6483263   Blumhouse Productions, LLC                                   1990 S. Bundy Dr. #200                                                                                                                      Los Angeles         CA      90025
6482204   BMA Production Services of Florida, Inc.                     4461 38th Way S.                                                                                                                            Saint Petersburg    FL      33711
6482778   BMAR Entertainment fso Adam Roberts                          408 Armour Rd.                                                                                                                              Kansas City         MO      64116
6481486   BMG Gold Songs obo Relative Velocity Music                   c/o BMG Rights Management1745 Broadway, 19th Floor                                                                                          New York            NY      10019
6481487   BMG Platinum Songs obo Relative Motion Music, LLC            c/o BMG Rights Management1745 Broadway, 19th Floor                                                                                          New York            NY      10019
6798605   BMG RIGHTS MANAGEMENT (US) LLC                               ATTN: GENERAL COUNSEL                                       1745 BROADWAY, 19TH FLOOR                                                       NEW YORK            NY      10019
6798597   BMG RIGHTS MANAGEMENT (US) LLC                               ATTN: GENERAL COUNSEL & SENIOR VICE PRESIDENT, BUSINESS &   1745 BROADWAY, 19TH FLOOR                                                       NEW YORK            NY      10019
6798601   BMG Rights Management (US) LLC                               Attn: President, Repertoire & Marketing, North America      1745 Broadway, 19th Floor                                                       New York            NY      10019
6798591   BMG RIGHTS MANAGEMENT (US) LLC                               ATTN: ROYALTIES                                             1745 BROADWAY, 19TH FLOOR                                                       NEW YORK            NY      10019
6481489   BMG Silver Songs obo Songs of Relativity                     c/o BMG Rights Management1745 Broadway, 19th Floor                                                                                          New York            NY      10019
6484315   BOA Sunset, LLC dba BOA Steakhouse                           9200 Sunset Blvd. Suite 650                                                                                                                 West Hollywood      CA      90069
6479656   BOARD BANDITS, INC.                                          810 E. BARBARA AVENUE                                                                                                                       WEST COVINA         CA      91790
6798592   BOARDWALK PICTURES                                           2644 30th Street Suite 101                                                                                                                  Santa Monica        CA      90405
6476955   BOAT HOUSE MARINE                                            3974 OLD BRIDGE ROAD                                                                                                                        SOUTHPORT           NC      28461
6485393   Boat: An Entertainment Company, Inc.                         17530 Ventura Blvd. #201                                                                                                                    Encino              CA      91316
6484316   Bob Bowen                                                    8491 Sunset Blvd. #250                                                                                                                      West Hollywood      CA      90069
6491240   BOB DYLAN DBA DWARF MUSIC                                    P.O. BOX 860, COOPER STATION                                                                                                                NEW YORK            NY      10276
6478106   BOBBY N. HOLSTEAD LLC                                        6463 4TH ST, STE C                                                                                                                          ALBUQUERQUE         NM      87107
6482088   Bobby Ray Simmons, Jr.                                       125 Westgreen Way                                                                                                                           Tyrone              GA      30290
6475937   BOBBY'S PLACE                                                PO BOX 122                                                                                                                                  NAQUABO             PR      00718
6476136   BOCCIA, MARGOT                                               1843 GERRITSEN AVE                                                                                                                          BROOKLYN            NY      11229-2611
6478236   BODE AVIATION INCORPORATED                                   P.O. BOX 19006                                                                                                                              ALBUQUERQUE         NM      87119
6478772   BODIWORK HEALTH & FITNESS                                    936 N. LAUREL AVENUE                                                                                                                        LOS ANGELES         CA      90046
6486690   Bodman, PLC                                                  1901 St. Antoine St                                         6th Fl At Ford Field                                                            Detroit             MI      48226
6477857   BOENSCH\MARIE                                                932 ASHEVILLE DR                                                                                                                            SLIDELL             LA      70458
6474616   BOERSMA*CASEY                                                Address on File
6480930   Boersma, Casey                                               Address on File
6477624   BOES IRON WORKS, INC                                         2321 PERDIDO ST                                                                                                                             NEW ORLEANS         LA      70119
6480898   Bogert, Rachael                                              Address on File
6478084   BOGGS\LOU                                                    4908 COMMUNITY LANE SW                                                                                                                      ALBUQUERQUE         NM      87105-0717




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MMLID     NAME                                             ADDRESS                                                          ADDRESS 2                          ADDRESS 3                         ADDRESS 4                 CITY                   STATE   POSTAL CODE COUNTRY
6483576   Bogner Entertainment, Inc.                       Rebel Ent. Partners Attn:W.McNeal5700 Wilshire Blvd, Suite 456                                                                                                  Los Angeles            CA      90036
6476196   BOGOS\ANN                                        1320 KIRKPATRICK AVE                                                                                                                                            N BRADDOCK             PA      15104
6476956   BOILING SPRINGS LAKES FIRE                       3059 GEORGE II HIGHWAY                                                                                                                                          BOILING SPRING LAKES   NC      28461
6492159   BOLD FILMS PRODUCTIONS, LLC                      C/O LOEB & LOEB LLP                                              ATTN: LANCE N. JURICH, ESQ.        10100 SANTA MONICA BLVD., SUITE                             LOS ANGELES            CA      90067-4120
6480683   Bolden, Patrick                                  Address on File
6479776   BOLES, STACY MARIE                               PO BOX 2194                                                                                                                                                     SITKA                  AK      99835
6474597   BOLKIN*MICHAEL                                   Address on File
6481022   Bolkin, Michael                                  Address on File
6477404   BOLLA, DANA R.                                   12279 82ND AVENUE N                                                                                                                                             MAPLE GROVE            MN      55369
6477322   BOLLER\ELIZABETH                                 1513 NE 1ST AVE                                                                                                                                                 FT. LAUDERDALE         FL      33304
6477249   BOLLER\ELIZABETH                                 8066 LONG SHADOW LANE                                                                                                                                           N CHARLESTON           SC      29406
6477263   BOLLER\JESSICA                                   8066 LONG SHADOW LN.                                                                                                                                            N. CHARLESTON          SC      29906
6491312   BOLLMAN* ANDREW P.                               Address on File
6475162   BOLTON CONSTRUCTION & SERVICE                    OF WNC, INC.                                                     169 ELK MOUNTAIN RD                                                                            ASHEVILLE              NC      28804
6476552   BOLTON, ALICE W.                                 1731 LAND ESTATES DR.                                                                                                                                           STALEY                 NC      27355
6477167   BOMBA                                            1 SW PACK SQUARE                                                                                                                                                ASHEVILLE              NC      28801
6476281   BON-AIR PRODUCTS INC                             147 SANDY CREEK ROAD                                                                                                                                            VERONA                 PA      15147
6478434   BONANZA CREEK FILM LOCATIONS L                   15 BONANZA CREEK LANE                                                                                                                                           SANTA FE               NM      87508
6479300   BONAVENTURA\TONY                                 26216 CHISWICK CT                                                                                                                                               VALENCIA               CA      91355
6481426   Bond Street Group, LLC                           261 Madison Ave. 17th Floor                                                                                                                                     New York               NY      10016
6492798   BOND STREET GROUP, LLC                           ATTN: SANDRA ROBINSON, CHIEF OFFICER                             MARYANN SINNOTT, CONTROLLER        261 MADISON AVE. 17TH FLOOR                                 NEW YORK               NY      10016
6474862   BOND*ELIOTT                                      Address on File
6492202   BONDED SERVICES INTERNATIONAL LTD.               C/O BONDED SERVICES, INC.                                        ATTN: LEE M. POSNER, CONTROLLER    3205 BURTON AVENUE                                          BURBANK                CA      91504
6475533   BONILLA\CARLOS                                   COLINAS DE CUPEY                                                 CALLE 2824                                                                                     SAN JUAN               PR      00926
6476957   BONOMO\DONNA                                     4153 BUCKINGHAM CT                                                                                                                                              SOUTHPORT              NC      28461
6474304   BONSALL*LINDSAY                                  Address on File
6476876   BONSIGNORE, MICHAEL                              6624 SHIRE LN                                                                                                                                                   WILMINGTON             NC      28411
6479041   BONSORTE\ANAEL                                   333 WASHINGTON BLVD. #618                                                                                                                                       MARINA DEL REY         CA      90292
6479715   BOOB TUBE LEASING LLC                            10006 E AVE S-8                                                                                                                                                 LITTLEROCK             CA      93543
6486291   Boobie Shack                                     62 Ohukai Rd.                                                                                                                                                   Kihei                  HI      96753
6485758   Boomerang! fso Mark Thomas Hannah                514 S. Gaylord Dr.                                                                                                                                              Burbank                CA      91505
6492842   BOOMERANG! FSO MARK THOMAS HANNAH                ATTN: MARK THOMAS HANNAH                                         514 S. GAYLORD DR.                                                                             BURBANK                CA      91505
6492841   BOOMGEN STUDIOS, LLC                             ATTN: ERIC TILDEN, ACCOUNTANT                                    5 DEVOE ST. 2ND FLOOR                                                                          BROOKLYN               NY      11211
6483540   Boomkack World Wide, Inc.                        1069 S. Sherbourne Dr. Unit 105                                                                                                                                 Los Angeles            CA      90035
6475909   BOOMKACK WORLD WIDE, INC.                        1069 SHERBOURNE DRIVE                                            UNIT 105                                                                                       LOS ANGELES            CA      90035
6476534   BOOTH, CAITLIN                                   217 HICKS RD                                                                                                                                                    LEXINGTON              NC      27295
6476504   BOOTH, TORRANCE                                  160 SAWTOOTH TRAIL                                                                                                                                              WINSTON-SALEM          NC      27127
6485884   Booyah Pictures LLC                              3325 Laurel Canyon Blvd                                                                                                                                         Studio City            CA      91604
6479422   BOQUIREN\ARMANDO                                 14311 DICKENS ST #104                                                                                                                                           SHERMAN OAKS           CA      91423
6477763   BORDELON\BENJAMIN                                PO BOX 250                                                                                                                                                      LOCKPORT               LA      70374
6475046   BORDEN, TYLER ZACHARY                            5314 CLEARMONT AVE                                               #4                                                                                             CHARLOTTE              NC      28212
6476181   BORGEN\JOHN                                      5901 GRUBBS ROAD                                                                                                                                                GIBSONIA               PA      15044
6477565   BORGERDING METALWORKS, LLC                       3249 CHIPPEWA ST                                                                                                                                                NEW ORLEANS            LA      70115
6479722   BORROWLENSES.COM                                 1664 INDUSTRIAL ROAD                                                                                                                                            SAN CARLOS             CA      94070
6480444   Borucki, Jordan                                  Address on File
6478794   BOSQUE RANCH PRODUCTIONS, INC.                   7924 ROSEWOOD AVENUE                                                                                                                                            LOS ANGELES            CA      90048
6483217   Bosshouse Music, LLC                             10466 Kinnard Ave.                                                                                                                                              Los Angeles            CA      90024
6481218   Boston Scally Punk                               c/o Padell Business Mgmt213 West 35th St. Suite 802A                                                                                                            New York               NY      10001
6476651   BOSWELL, KENNETH A.                              532 PICKETTS CIRCLE                                                                                                                                             INDIAN TRAIL           NC      28079
6477595   BOTT\LAUREN                                      2431 CALHOUN ST                                                                                                                                                 NEW ORLEANS            LA      70118
6477820   BOTTOM LINE DOZER SERVICES,LLC                   20238 ST. THERESA ST                                                                                                                                            COVINGTON              LA      70435
6475857   BOTTOM LINE PRODUCTIONS                          3940 LAUREL CANYON BLVD                                          SUITE 878                                                                                      STUDIO CITY            CA      91604
6479785   BOUCROT\MARC                                     3722 DE MENTANA                                                                                                                                                 MONTREAL               QC      H2L 3R3      CANADA
6478527   BOUDREAU\BERNARD                                 419 NORTH LARCHMONT BL #25                                                                                                                                      LOS ANGELES            CA      90004
6477532   BOUDREAUX\LINDA R                                354 MCREINE ROAD                                                                                                                                                LAPLACE                LA      70068
6482954   Boulder Theater, The                             2032 14th Street                                                                                                                                                Boulder                CO      80302
6483404   Boulevard 3                                      6523 W. Sunset Blvd.                                                                                                                                            Los Angeles            CA      90028
6483131   Bounce Event Marketing                           800 W. Olympic BlvdSuite 305                                                                                                                                    Los Angeles            CA      90015
6481135   Bow Tie Cinemas LLC                              641 Danbury Rd                                                                                                                                                  Ridgefield             CT      06877
6478525   BOWE\KEVIN                                       3856 COLUMBUS STREET                                                                                                                                            LAS VEGAS              NV      89121
6480433   Bowen, Robert                                    Address on File
6475740   BOWEN\ROBERT                                     8491 W. SUNSET BOULEVARD,                                        SUITE # 250                                                                                    LOS ANGELES            CA      90069
6482213   Bowes Imaging Center                             6015 Pointe West Blvd. Suite 102                                                                                                                                Bradenton              FL      34209
6476929   BOWLIN PRODUCTION SERVICES                       504 KINGSWORTH LANE                                                                                                                                             LELAND                 NC      28451
6477311   BOWLIN/KILEY DEAN                                7304 DELLA DRIVE                                                                                                                                                ORLANDO                FL      32819
6486936   BOWMAN* CHRIS                                    C/O JACKOWAY TYERMAN WERTHEIMER                                  AUSTEN MANDELBAUM MORRIS & KLEIN   ATTN: KARL AUSTEN                 1925 CENTURY PARK EAST,   LOS ANGELES            CA      90067
6491587   BOWMAN\CHRISTOPHER A.                            Address on File
6482776   Box Office Analyst                               7301 MISSION RD STE 234                                                                                                                                         PRAIRIE VLG            KS      66208-3031
6481738   Box Office Guru                                  359 15th St. Suite 1B                                                                                                                                           Brooklyn               NY      11215
6481286   Box Office Media, LLC                            60 Broad St., Suite 3502                                                                                                                                        New York               NY      10004




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MMLID     NAME                                                ADDRESS                                                          ADDRESS 2                      ADDRESS 3                       ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6483577   Boxjump Entertainment, Inc. fso Dale Wilkinson      532 1/2 N. Spaulding Ave.                                                                                                                   Los Angeles       CA      90036
6485572   Boy of the Year, Inc.                               c/o Rogers Accountancy Corp.15260 Ventura Blvd. Suite 1750                                                                                  Sherman Oaks      CA      91403
6487935   BOY OF THE YEAR, INC.                               C/O VENABLE LLP                                                  ATTN: KEITH C. OWENS, ESQ.     2049 CENTURY PARK EAST, SUITE               LOS ANGELES       CA      90067
6478534   BOYCE/DEON                                          2700 W. 43RD PLACE                                                                                                                          LOS ANGELES       CA      90008
6480902   Boyer, Stephen                                      Address on File
6474845   BOYLE III*VINCENT P                                 Address on File
6475266   BOYS & GIRLS CLUBS OF                               ALBUQUERQUE & RIO RANCHO                                         3333 TRUMAN STREET NE                                                      ALBUQUERQUE       NM      87110
6483578   BPG Interactive LLC                                 110 S Fairfax Ave                                                                                                                           Los Angeles       CA      90036
6477291   BRACE\WARREN                                        3707 NOBLE CREEK DR. NW                                                                                                                     ATLANTA           GA      30327
6479059   BRACHMANN/KEITH                                     1055 5TH STREET, APARTMENT #9                                                                                                               SANTA MONICA      CA      90403
6477790   BRACY'S NURSERY LLC                                 64624 DUMMYLINE ROAD                                                                                                                        AMITE             LA      70422
6483579   Brad Bishop (expenses)                              942 S Stanley Avenue                                                                                                                        Los Angeles       CA      90036
6490698   BRAD CARR                                           Address on File
6483663   Brad Carr Production Executive                      Ellen Rakieten Entertainment1040 N. Las Palmas Ave.Bungalow CD                                                                              Los Angeles       CA      90038
6484317   Brad Cerf                                           916 N. Alfred St., Apt.2                                                                                                                    West Hollywood    CA      90069
6482414   Brad D Allen dba Linton Cinemas                     5621 Gardenia Dr                                                                                                                            Newburgh          IN      47630
6485885   Brad Einhorn                                        11271 Ventura Blvd #488                                                                                                                     Studio City       CA      91604
6483218   Brad Hecht                                          1396 Veteran Avenue                                                                                                                         Los Angeles       CA      90024
6486482   Brad Van Arragon                                    2900 Woodland Drive                                                                                                                         Vancouver         BC      V5N 3R1      CANADA
6481855   Brad Wanamaker                                      151 Robinson St. Apt R1                                                                                                                     Pittsburgh        PA      15213
6476197   BRADDOCK CARNEGIE LIBRARY                           419 LIBRARY STREET                                                                                                                          BRADDOCK          PA      15104
6476198   BRADDOCK VFW #2                                     110 BRADDOCK AVENUE                                                                                                                         BRADDOCK          PA      15104
6476199   BRADDOCK\BOROUGH OF                                 415 SIXTH ST                                                                                                                                BRADDOCK          PA      15104
6476200   BRADDOCK\BOROUGH OF NORTH                           600 N ANDERSON ST                                                                                                                           N BRADDOCK        PA      15104
6483003   Bradford Cedmat                                     3326 E. Lafayette Ave.                                                                                                                      Gilbert           AZ      85298
6482532   Bradley Miller                                      c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                           Northbrook        IL      60062
6482533   Bradley Zimmer                                      c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                           Northbrook        IL      60062
6469250   BRADLEY ZIMMER                                      C/O SFX BASEBALL GROUP                                           400 SKOKIE BLVD. SUITE 280                                                 NORTHBROOK        IL      60062
6477517   BRADLEY\DAVID                                       1016 ESTALOTE AVE                                                                                                                           HARVEY            LA      70058
6480535   Brady, Yuliya                                       Address on File
6479212   BRANAM ENTERPRISES, INC.                            9152 INDEPENDENCE AVE.                                                                                                                      CHATSWORTH        CA      91311
6476824   BRANCH\BARBARA                                      6601 GOLDEN ASTOR CT                                                                                                                        WILMINGTON        NC      28405
6491457   BRAND X INC                                         842 N FAIRFAX AVE                                                                                                                           LOS ANGELES       CA      90046
6491458   BRAND X MUSIC, LLC                                  842 N. FAIRFAX AVE.                                                                                                                         LOS ANGELES       CA      90046
6798579   BRAND X MUSIC, LLC                                  ATTN: MARGARET SAADI KRAMER                                      842 N. FAIRFAX AVENUE                                                      LOS ANGELES       CA      90046
6485446   Brandi Harkonen                                     27479 Coldwater Dr.                                                                                                                         Valencia          CA      91354
6485029   Brandon & Morner-Ritt, P.C.                         2001 Wilshire Blvd, Suite 400                                                                                                               Santa Monica      CA      90403
6485801   Brandon Birtell                                     930 North Lincoln St.                                                                                                                       Burbank           CA      91506
6481919   Brandon Boykin                                      1 Novacare Way                                                                                                                              Philadelphia      PA      19145
6482283   Brandon Epps                                        605 W. Iris Dr.                                                                                                                             Nashville         TN      37204
6485312   Brandon Heaslip                                     1714 E. Chevy Chase Dr. Apt H                                                                                                               Glendale          CA      91206
6482794   Brandon Herbel                                      1631 East Capital                                                                                                                           Grand Island      NE      68803
6491297   BRANDON J. BUSH DBA AND ANOTHER THING MUSIC         1767 TOBEY RD.                                                                                                                              ATLANTA           GA      30341
6484877   Brandon Knott                                       2800 The Strand Unit BSte.200                                                                                                               Manhattan Beach   CA      90266
6483664   Brandon Loureiro                                    5408 1/2 Lemon Grove Avenue                                                                                                                 Los Angeles       CA      90038
6482021   Brandon M. Moore                                    301 Fayetteville St.                                                                                                                        Raleigh           NC      27601
6482311   Brandon M. Schexnayder                              2011 Richard Jones Rd. #R2                                                                                                                  Nashville         TN      37215
6482534   Brandon Tate Nimmo                                  c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                           Northbrook        IL      60062
6486093   Brandory, Inc., The                                 5051 Northwestern Way                                                                                                                       Westminster       CA      92683
6476314   BRATNER\ZACHERY                                     653 NORTH AVENUE                                                                                                                            PITTSBURGH        PA      15209
6483807   Braun Creative Inc                                  2825 Seattle Drive                                                                                                                          Los Angeles       CA      90046
6480906   Braun, Phillip                                      Address on File
6477338   BRAUN\DENNY                                         6089 ISLAND WALK BLVD                                                                                                                       NAPLES            FL      34119
6479569   BRAY\STEPHANIE                                      11684 VENTURA BLVD                                                                                                                          STUDIO CITY       CA      91604
6798582   BRCR CONSULTING, INC                                5405 Aura Ave                                                                                                                               Tarzana           CA      91356
6483144   Bread & Butter Catering, Inc.                       5001 W. Washington Blvd.                                                                                                                    Los Angeles       CA      90016
6477547   BREAUX III\ARNOLD N                                 401 4TH STREET                                                                                                                              WESTWEGO          LA      70094
6481376   B-Reel Los Angeles, CA                              401 Broadway, 24th Floor                                                                                                                    New York          NY      10013
6479618   BREHME JR\RICHARD J.                                6213 MORELLA AVE                                                                                                                            NORTH HOLLYWOOD   CA      91606
6479701   BREITHAUPT\BRIAN                                    1847 LAKOTA ST.                                                                                                                             SIMI VALLEY       CA      93065
6483511   Brendan Biryla                                      26 THERIN DR                                                                                                                                HAMBURG           NY      14075-3839
6481829   Brendan Kelly                                       130 William St.                                                                                                                             Catskill          NY      12414
6481770   Brendan Russell                                     54 Knickerbocker Avenue#2J                                                                                                                  Brooklyn          NY      11237
6483033   Brenden Theatre Corporation                         4321 W Flamingo Rd                                                                                                                          Las Vegas         NV      89103
6476291   BRENEMAN\CAILEY                                     2335 SARAH ST                                                                                                                               PITTSBURGH        PA      15203
6480790   Brenner, Robbie                                     Address on File
6478795   BRENNER/ROBBIE                                      337 N. ALFRED ST.                                                                                                                           LOS ANGELES       CA      90048
6479570   BRENNER\ROBBIE                                      3399 FRYMAN PLACE                                                                                                                           STUDIO CITY       CA      91604
6483541   Brent Beath                                         PO Box 35685                                                                                                                                Los Angeles       CA      90035
6474096   BRESCIA*CHRIS                                       Address on File




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MMLID     NAME                                                  ADDRESS                                                ADDRESS 2                               ADDRESS 3                      ADDRESS 4                   CITY              STATE   POSTAL CODE COUNTRY
6480658   Brescia, Chris                                        Address on File
                                                                                                                       LAVIOLETTE FELDMAN SCHENKMAN &                                         150 S. RODEO DRIVE, THIRD
6468711   BRET ANTHONY JOHNSTON                                 C/O BLOOM HERGOTT DIEMER ROSENTHAL                     GOODMAN                                 ATTN: STUART ROSENTHAL, ESQ.   FLOOR                       BEVERLY HILLS     CA      90212
6480354   BRET ANTHONY JOHNSTON                                 C/O BLOOM HERGOTT DIEMER ROSENTHAL ET AL.              ATTN: STUART ROSENTHAL                  150 SOUTH RODEO DRIVE 3RD                                  BEVERLY HILLS     CA      90212
6484673   Bret Anthony Johnston                                 c/o Bloom Hergott Diemer Rosenthal La Violette et al   Attn: Stuart Rosenthal                  150 S. Rodeo Dr. 3rd Floor                                 Beverly Hills     CA      90212
                                                                                                                       C/O BLOOM HERGOTT DIEMER ROSENTHAL ET   150 SOUTH RODEO DRIVE 3RD
6480342   BRET ANTHONY JOHNSTON & BANDITO BROTHERS, LLC         F/S/O JACOB ROSENBERG                                  AL.                                     FLOOR                          ATTN: STUART ROSENTHAL      BEVERLY HILLS     CA      90212
6485524   Bret Cohen                                            6203 Variel Ave. #304                                                                                                                                     Woodland Hills    CA      91367
6483495   Brett David Phillips                                  642 Moulton Ave, E-29                                                                                                                                     Los Angeles       CA      90031
6480374   BRETT RATNER                                          C/O RATPAC ENTERTAINMENT                               4000 WARNER BLVD.                                                                                  BURBANK           CA      91522
6476577   BREWER EQUIPMENT CO.                                  4611 W. MARKET ST.                                                                                                                                        GREENSBORO        NC      27407
6478107   BREWER OIL CO.                                        2701 CANDELARIA NE                                                                                                                                        ALBUQUERQUE       NM      87107
6484166   Brian A Kates                                         Bramley Sullivan                                                                                                                                          Los Angeles       CA      90067
6472273   BRIAN A KATES                                         BRAMLEY SULLIVAN                                                                                                                                          LOS ANGELES       NY      90067
6483264   Brian Anderson (intern)                               1960 S Barrington Avenue                                                                                                                                  Los Angeles       CA      90025
6484496   Brian Bertino Incorporated                            c/o Paradigm360 N. Crescent Dr. N. Bldg                                                                                                                   Beverly Hills     CA      90210
6485717   Brian C. Wensel                                       1019 E. Elmwood Ave                                                                                                                                       Burbank           CA      91501
6483045   Brian Craig                                           528 Painted Cloud Place                                                                                                                                   Las Vegas         NV      89144
6484117   Brian Edwards                                         3255 Granville Ave.                                                                                                                                       Los Angeles       CA      90066
6482535   Brian Fletcher                                        c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                         Northbrook        IL      60062
6482085   Brian J Reed                                          5316 Jones Reserve Walk                                                                                                                                   Hiram             GA      30141
6485946   Brian J Smith                                         11922 Burbank Blvd                                                                                                                                        Valley Village    CA      91607
6491631   BRIAN LANDO PRODUCTIONS                               15470 VISTA HAVEN PLACE                                                                                                                                   VAN NUYS          CA      91405
6485573   Brian Lando Productions, Inc.                         15470 Vista Haven Pl.                                                                                                                                     Sherman Oaks      CA      91403
6486015   Brian Lemos                                           410 S. Curtis Ave #2                                                                                                                                      Alhambra          CA      91803
6484266   Brian M. Smith                                        3654 Barham Blvd. #Q-105                                                                                                                                  Los Angeles       CA      90068
6482290   Brian Max Schwenke Jr.                                402 McAdoo Ave.                                                                                                                                           Nashville         TN      37205
6484914   Brian O'Neill                                         1511 Mackay Lane                                                                                                                                          Redondo Beach     CA      90278
6486111   Brian P. Murray                                       1600 Beechwood Ave.                                                                                                                                       Fullerton         CA      92835
6483808   Brian Quintano                                        7357 Franklin Ave.                                                                                                                                        Los Angeles       CA      90046
6482025   Brian Rekuc                                           2816 Everett Ave.                                                                                                                                         Raleigh           NC      27607
6486160   Brian Solis                                           1581 James Ave.                                                                                                                                           Redwood City      CA      94062
6479482   BRIAN TYLER, INC, F/S/O BRIAN TYLER                   4111 W. ALAMEDA AVENUE, STE 509                                                                                                                           BURBANK           CA      91505
6482355   Brian W. Lucey                                        1305 Holly Ave. Suite 8                                                                                                                                   Columbus          OH      43212
6485116   Brian Williamson                                      508 Ashland Apt 210                                                                                                                                       Santa Monica      CA      90405
6485461   Brianna Leone                                         18307 Burbank Blvd. #334                                                                                                                                  Tarzana           CA      91356
6477305   BRICE, AMY                                            227 LINDEN DR.                                                                                                                                            WAYCROSS          GA      31501
6481219   Brick Wall Management                                 39 W. 32nd St. Suite 1403                                                                                                                                 New York          NY      10001
6485688   Bridge Entertainment, Inc. dba E-Poll                 16133 Ventura Blvd. Suite 905                                                                                                                             Encino            CA      91436
6491280   BRIDGERS* SEAN                                        628 SAVANNAH DR                                                                                                                                           SYLVA             NC      28779
6798569   BRIGADE MARKETING, LLC                                116 West 23rd Street Suite 500                                                                                                                            NEW YORK          NY      10011
6491818   BRIGADE MARKETING, LLC                                548 WEST 28TH STREET, #332-334                                                                                                                            NEW YORK          NY      10001
6486259   Bright Ideas Promotional Products, Inc                PO Box 2467                                                                                                                                               Santa Rosa        CA      95405
6481190   Bright Pursuit, The                                   c/o Evan Blaire28 Amherst Rd.                                                                                                                             Marlboro          NJ      07746
6477469   BRIGHT\ASHLEY                                         1010 FALCON RD                                                                                                                                            METAIRIE          LA      70005
6477302   BRIGHTWELL\LAYNE                                      146 SAN MARCO DR.                                                                                                                                         TYBEE ISLAND      GA      31328
6485759   Brightwood Productions LLC                            4120 W. National Ave                                                                                                                                      Burbank           CA      91505
6477218   BRIGHTWORKS WINDOW WASHING INC                        26 UTOPIA RD., SUITE B                                                                                                                                    ASHEVILLE         NC      28805
6485886   Brigitte Dale Gregg dba There's A Bee On You, Inc.    11621 Laurelcrest Dr.                                                                                                                                     Studio City       CA      91604
6483542   Brilliant Consulting Group                            930 S. Robertson Blvd. Suite 501                                                                                                                          Los Angeles       CA      90035
6476690   BRILLIANT LINES LLC                                   4203 MCKENDREE WAY                                                                                                                                        CHARLOTTE         NC      28269
6478602   BRISSON\GERAUD                                        3336 HAMILTON WAY #1                                                                                                                                      LOS ANGELES       CA      90026
6485191   Bristol Farms                                         915 E 230th St                                                                                                                                            Carson            CA      90745
6477235   BRITT AND TILSON GLASS COMPANY                        P.O. BOX 5816                                                                                                                                             ASHEVILLE         NC      28813
6486149   Brittain Scott                                        5580 Rosario Ave.                                                                                                                                         Atascadero        CA      93422
6485831   Brittani Taylor                                       11135 Weddington Street#451                                                                                                                               North Hollywood   CA      91601
6482112   Brittany Walls                                        613 Spring Creek Ln.                                                                                                                                      Atlanta           GA      30350
6486271   Brittany Young dba Mark at the Movies                 1164 Brownwyr Dr.                                                                                                                                         Sacramento        CA      95822
6485525   Brittney Hayes                                        5663 Jumilla Ave                                                                                                                                          Woodland Hills    CA      91367
6479904   Broad Green Pictures, LLC                             Address on File
6491507   BROADCAST FILM CRITICS ASSOCIATION                    9220 W SUNSET BLVD. SUITE 220                                                                                                                             LOS ANGELES       CA      90069
6486054   Broadcast Images, Inc.                                P.O. Box 502910                                                                                                                                           San Diego         CA      92150
6473716   BROADCAST IMAGES, INC.                                P.O. BOX 502910                                                                                                                                           SAN DIEGO         CA      92150-2910
6482262   Broadcast Music, Inc.                                 10 Music Square East                                                                                                                                      Nashville         TN      37203
6480472   Broadfoot, Robert                                     Address on File
6481824   Broadway Marketing Ltd.                               80 Fuller Rd.                                                                                                                                             Albany            NY      12205
6481490   Broadway Screening Room, The                          1619 Broadway, 5th Fl                                                                                                                                     New York          NY      10019
6475343   BROADWAY VIDEO ENTERTAINMENT                          30 ROCKEFELLER PLAZA                                   54TH FLOOR                                                                                         NEW YORK          NY      10112
6798573   BROADWAY VIDEO ENTERTAINMENT, INC.                    30 ROCKEFELLER PLAZA                                   54TH FLOOR                                                                                         NEW YORK          NY      10112




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MMLID     NAME                                               ADDRESS                                             ADDRESS 2                              ADDRESS 3                      ADDRESS 4                  CITY                 STATE   POSTAL CODE COUNTRY
                                                                                                                 C/O HANSEN JACOBSON TELLER HOBERMAN,                                  450 NORTH ROXBURY DRIVE,
6492127   BROADWAY VIDEO ENTERTAINMENT, INC. F/S/O           LORNE MICHAELS                                      ET AL                                  ATTN: STEWART BROOKMAN, ESQ.   8TH FLOOR                  BEVERLY HILLS        CA      90210
6481491   Broadway Video, Inc.                               1619 Broadway 10th Floor                                                                                                                             New York             NY      10019
6480773   Brodlie, Matthew                                   Address on File
6484926   Brogan Agency, The                                 1517 Park Row                                                                                                                                        Venice               CA      90291
6490402   BROKEN BOW RECORDS                                 STONEY CREEK RECORDS                                35 MUSIC SQUARE E                                                                                NASHVILLE            TN      37203
6478686   BROKERICK\COLLEN M                                 434 ALANDALE AVE.                                                                                                                                    LA                   CA      90036
6482831   Broncho                                            539 North Santa Fe Ave.                                                                                                                              Tulsa                OK      74127
6482076   Bronner Bros. Inc.                                 4200 Wendell Dr Sw                                                                                                                                   Atlanta              GA      30336
6470584   BRONNER BROS. INC.                                 4200 WENDELL DR SW                                                                                                                                   ATLANTA              GA      30336-1621
6480263   BRONX COUNTY                                       7 COURTHOUSE ST                                                                                                                                      BELMONT              NY      14813
6482708   Brook Furniture Rental                             4078 Paysphere Circle                                                                                                                                Chicago              IL      60674
6475594   BROOK FURNITURE RENTAL, INC.                       100 FIELD DRIVE                                     NO. 220                                                                                          LAKE FOREST          IL      60045
6485336   Brooke Weisbarth                                   23640 Park Belmonte                                                                                                                                  Calabasas            CA      91302
6798561   BROOKLYN PROCTOR                                   1626 7TH ST. APT A                                                                                                                                   NEW ORLEANS          LA      70115
6477059   BROOKMAN\MATTHEW C.                                P.O. BOX 851                                                                                                                                         WRIGHTSVILLE BEACH   NC      28480
6480464   Brooks, Michael                                    Address on File
6477858   BROOKS\GEORGE J                                    209 EDEN ISLES BLVD                                                                                                                                  SLIDELL              LA      70458
6798565   BROTHERS PRODUCTIONS,LLC                           C/O GARSON STUDIOS,                                 1600 ST. MICHAEL'S DRIVE                                                                         SANTA FE             NM      87505
6474257   BROUCEK*IAN                                        Address on File
6480732   Broucek, Ian H.                                    Address on File
6480959   Brower, Benjamin                                   Address on File
6477956   BROWER\DONNA                                       28807 ASHBROOK LN                                                                                                                                    MAGNOLIA             TX      77355
6477395   BROWER\DONNA                                       52S S. 28TH ST.                                                                                                                                      LAFAYETTE            IN      47904
6477392   BROWER\DONNA J.                                    408 S.JACKSON STREET                                                                                                                                 FRANKFORT            IN      46041
6480470   Brown, Ariell                                      Address on File
6476468   BROWN, DERRICK M.                                  339 GORDON DR.                                                                                                                                       ADVANCE              NC      27006
6481015   Brown, Nate                                        Address on File
6480501   Brown, Nathon                                      Address on File
6478591   BROWN/CAMILLE                                      12320 TEXAS AVENUE, APT #4                                                                                                                           LOS ANGELES          CA      90025
6477642   BROWN\CHRISTIAN                                    520 JEFFERSON ST                                                                                                                                     JEFFERSON            LA      70121
6476201   BROWN\D'ANGELA                                     1308 KIRKPATRICK AVENUE                                                                                                                              BRADDOCK             PA      15104
6476242   BROWN\DAVID E                                      121 OLDE MANOR LANE                                                                                                                                  MOON TOWNSHIP        PA      15108
6479024   BROWN\EVANS                                        2554 LINCOLN BLVD., #146                                                                                                                             VENICE               CA      90291
6477873   BROWN\JEFF                                         1545 CHERRY ST                                                                                                                                       SLIDELL              LA      70460
6479703   BROWN\ROBERT                                       6312 RIDGECREST LN                                                                                                                                   SOMIS                CA      93066
6476674   BROWN\WILLIAM D.                                   4438 WHITBY LANE                                                                                                                                     CHARLOTTE            NC      28211
6481037   Browne George Ross LLP                             Attn: Eric M. George                                2121 Avenue of the Stars, Suite 2800                                                             Los Angeles          CA      90067
6484167   Browne George Ross, LLP                            2121 Avenue of the Stars, 24th floor                                                                                                                 Los Angeles          CA      90067
6472274   BROWNE WOODS GEORGE, LLP                           2121 AVENUE OF THE STARS, 24TH FLOOR                                                                                                                 LOS ANGELES          CA      90067
6482929   Bruce Ellington Enterprises, LLC                   1701 Directors Blvd. #370                                                                                                                            Austin               TX      78744
6484482   Bruce Gilbert                                      c/o GTBAP.O. Box 5623                                                                                                                                Beverly Hills        CA      90209
6482231   Bruce Larsen dba Bruce Larsen Art                  18830 Highland Dr.                                                                                                                                   Fairhope             AL      36532
6482536   Bruce Rondon                                       SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                         Northbrook           IL      60062
6482687   Bruce Terris                                       4029 N. Southport #1                                                                                                                                 Chicago              IL      60613
6475557   BRUCKMAN\MADELEINE                                 QUINTAS DE DORADO                                   D-12 ALMACIGO ST                                                                                 DORADO               PR      00646
6474306   BRUHL*DANIEL                                       Address on File
6477838   BRUNER\DONNA                                       300 NELSON LANDING DR                                                                                                                                PEARL RIVER          LA      70452
6480456   Brunetti, Dana                                     Address on File
6477798   BRUNNER GALLERY                                    215 N COLUMBIA ST                                                                                                                                    COVINGTON            LA      70433
6474557   BRUNO*PHILIP                                       Address on File
6479343   BRUNO\DOMINICK R.                                  24210 ALBERS ST                                                                                                                                      WOODLAND HILLS       CA      91369
6476247   BRUNO\NICOLE                                       9 MILLER AVE                                                                                                                                         BRADDOCK             PA      15104-1019
6475630   BRUNSWICK COUNTY                                   PUBLIC UTILITIES                                    P.O. BOX 249                                                                                     BOLIVIA              NC      28422
6476958   BRUNSWICK COUNTY SCHOOLS                           35 REFERENDUM DRIVE                                                                                                                                  BOLIVIA              NC      28461
6476902   BRUNSWICK COUNTY SHERIFF DEPT                      P.O. BOX 9                                                                                                                                           BOLIVIA              NC      28422
6475620   BRUNSWICK GLASS SERVICE                            OF SOUTHPORT, INC.                                  P.O. BOX 10754                                                                                   SOUTHPORT            NC      28461
6481655   Brunswick Group, LLC                               245 Park Ave. 14th Floor                                                                                                                             New York             NY      10167
6476959   BRUNSWICK PEST CONTROL, INC.                       265 WEST BOILING SPRING RD                                                                                                                           SOUTHPORT            NC      28461
6476930   BRUNSWICK REGIONAL WATER                           P.O. BOX 2230                                                                                                                                        LELAND               NC      28451
6480928   Brunswick, Marc                                    Address on File
6484888   Bruschi Beauty & Grooming                          17368 W Sunset Blvd #205A                                                                                                                            Pacific Palisades    CA      90272
6476877   BRUTON, SR.\GEORGE                                 7404 ANACA POINT ROAD                                                                                                                                WILMINGTON           NC      28411
6476960   BRUTON\JOHN MCDOWELL                               318 WEST BRUNSWICK STREET                                                                                                                            SOUTHPORT            NC      28461
6484319   Bruvion, Inc.                                      9200 Sunset Blvd. Suite 320                                                                                                                          West Hollywood       CA      90069
6481259   Bryan Bantry, Inc.                                 900 Broadway, Suite 400                                                                                                                              New York             NY      10003
6484497   Bryan Bertino Incorporated                         c/o Paradigm360 N. Crescent Dr. N. Bldg                                                                                                              Beverly Hills        CA      90210
6480345   BRYAN MCMULLIN                                     C/O PARADIGM TALENT AGENCY                          ATTN: MARTIN SPENCER                   360 NORTH CRESCENT DRIVE       NORTH BUILDING             BEVERLY HILLS        CA      90210
6482936   Bryan Premiere Cinema                              109 W. 4th St.                                                                                                                                       Big Spring           TX      79720
6481573   Bryan Sarkinen                                     131 E. 83rd St. #3D                                                                                                                                  New York             NY      10028




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MMLID     NAME                                                       ADDRESS                                               ADDRESS 2                        ADDRESS 3                   ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6483781   Bryan Yaconelli                                            7884 Naylor Ave.                                                                                                               Los Angeles        CA      90045
6476825   BRYANT\DAVID C.                                            4305 MABRY CT                                                                                                                  WILMINGTON         NC      28405
6476267   BRYANT\KEISHA S                                            1036 JEFFERSON STREET                                                                                                          MCKEESPORT         PA      15132
6479704   BRYANT\TODD                                                1110 SNOWLINE DR                                                                                                               FRAZIER PARK       CA      93225
6483997   Bryna Rifkin                                               11930 Mayfied Ave. #5                                                                                                          Los Angeles        CA      90049
6468752   BSFG HOLDING CORP.                                         C/O LAW OFFICES OF ADRIAN F. ROSCHER                  ATTN: ADRIAN F. ROSCHER          612 S. BARRINGTON AVE       SUITE 410   LOS ANGELES        CA      90049
6491797   BSFG HOLDINGS,LLC                                          401 WILSHIRE BOULEVARD                                SUITE 850                                                                SANTA MONICA       CA      90401
6484878   B-Tru Entertainment                                        1601 N. Sepulvda Blvd, #728                                                                                                    Manhattan Beach    CA      90266
6476366   BUBA\JARRETT                                               4640 FRIENDSHIP AVE                                                                                                            PITTSBURGH         PA      15224
6477582   BUBBA'S PRODUCE CO, INC                                    400 MARIGNY ST                                                                                                                 NEW ORLEANS        LA      70117
6798558   BUCK MCDONALD PRODUCTIONS, LLC                             ATTN: BUSINESS AND LEGAL AFFAIRS                      1129 STATE STREET STE 3                                                  SANTA BARBRA       CA      93101
6488378   BUCK MCDONALD PRODUCTIONS, LLC                             C/O REEL FX                                           ATTN: DAVID ROSS & DONNA HENRY   301 N. CROWDUS                          DALLAS             TX      75226
6477150   BUCKNER AUTO BODY                                          100 ELLER FORD RD.                                                                                                             WEAVERVILLE        NC      28787
6477596   BUCKTOWN BARBECUE, LLC                                     8400 OAK ST                                                                                                                    NEW ORLEANS        LA      70118
6481326   Buddakan NY, L.P.                                          75 Ninth Avenue                                                                                                                New York           NY      10011
6491885   BUDDHA JONES                                               Address on File
6474956   BUDDY'S HOME FURNISHINGS                                   DBA: 4SYNERGY SALES & LEASING, LLC                    3729 HIGH POINT RD                                                       GREENSBORO         NC      27407
6482715   Budget Conferencing Inc                                    Lockbox #2332023202 Momentum Place                                                                                             Chicago            IL      60689
6476202   BUDZINSKI\MABEL                                            1305 KIRKPATRICK AVENUE                                                                                                        NORTH BRADDOCK     PA      15104
6476768   BUFFINGTON\SUSAN                                           944 PAGE AVE                                                                                                                   WILMINGTON         NC      28403
6477902   BUG MAN, INC\THE                                           1946 WOODDALE BLVD                                                                                                             BATON ROUGE        LA      70806
6491859   BUG MUSIC OBO BIG EARS MUSIC                               1745 BROADWAY, 19TH FLOOR                                                                                                      NEW YORK           NY      10019
6479042   BUGS BUNNY INC.                                            578 WASHINGTON BLVD. #21                                                                                                       MARINA DEL REY     CA      90292
6484964   Bugs Bunny Inc.                                            f/s/o Jamie Marshall578 Washington Blvd, #121                                                                                  Marina Del Rey     CA      90292
6474912   BUGS BUNNY, INC.                                           FSO: JAMIE MARSHALL                                   578 WASHINGTON BLVD #121         578 WASHINGTON BLVD # 121               MARINA DEL REY     CA      90292
6477297   BUILDERS FIRST SOURCE                                      P. O. BOX 402616                                                                                                               ATLANTA            GA      30384-2616
6479467   BULINSKI\IBRAHIM                                           1711 GRISMER AVE. UNIT 7                                                                                                       BURBANK            CA      91504
6475957   BULLS EYE GUN SHOP                                         251 SANTIAGO IGLESIAS PANTIN                                                                                                   FAJARDO            PR      00738
6476578   BUMGARNER, BRIAN K.                                        3301 ALAMANCE RD                                                                                                               GREENSBORO         NC      27407
6476183   BUNDY INVESTMENTS                                          33-2 MCGOVERN BLVD                                                                                                             CRESCENT           PA      15046
6484168   Bungalow B, Inc.                                           c/o Creative Artists Agency2000 Avenue of the Stars                                                                            Los Angeles        CA      90067
6484061   Bungalow Colony Corp                                       11845 W. Olympic Blvd., #1125W                                                                                                 Los Angeles        CA      90064
6480230   BURBANK CITY HALL                                          OFFICE OF TAX COLLECTOR                               275 EAST OLIVE AVENUE                                                    BURBANK            CA      91502
6476903   BURGAW ANTIQUE PLACE                                       101 S.WRIGHT STREET                                                                                                            BURGAW             NC      28425
6475552   BURGOS\SHEILA                                              URB. PRADERAS DEL ESTE                                CASA G-9                                                                 NAGUABO            PR      00718
6477358   BURK\GARNETT                                               240 SUNRISE AVE                                                                                                                NASHVILLE          TN      37211
6475039   BURKART\DANA                                               4580 BROADWAY                                         #2B                                                                      NEW YORK           NY      10040
6476646   BURKE\BRIDGET                                              915 NNORTH EAST DR.APT # 20                                                                                                    DAVIDSON           NC      28036
6476371   BURKE\JAMES V                                              537 E GARDEN ROAD                                                                                                              PITTSBURGH         PA      15227
6480816   Burkle, Andrew                                             Address on File
6489681   BURMEISTER ENTERPRISES, INC.                               1607 S Kniss Ave                                                                                                               LUVERNE            MN      56156-2249
6482504   Burmeister Enterprises, Inc. fso Verne Drive In Theater    1074 161st St.                                                                                                                 Luverne            MN      56156
6480074   BURMESTER DUNCKER & JOLY GMBH & CO.                        KG TROSTBR                                            CKE1                                                                     HAMBURG                    20457        GERMANY
6486556   BURMESTER, DUNCKER & JOLY GMBH & CO. KG                    TROSTBRUKE 1                                                                                                                   HAMBURG                    20457        GERMANY
6479206   BURNES, STEPHEN                                            23251 VICTORY BLVD                                                                                                             WEST HILLS         CA      91307
6480540   Burns, Charles                                             Address on File
6476911   BURNS\DONALD E.                                            3213 MARATHON AVENUE                                                                                                           CASTLE HAYNE       NC      28429
6478472   BURNS\MARY T                                               165 CHAISA STREET                                                                                                              LOS ALAMOS         NM      87544
6477205   BURNS\RYAN STUART                                          15 DUNWOOD RD.                                                                                                                 ASHEVILLE          NC      28804
6478108   BURROWS\CHRISTINE                                          901 SOLAR ROAD NW                                                                                                              ALBUQUERQUE        NM      87107
6491325   BURTON/DANIEL E.                                           Address on File
6479018   BUSCHE, TIFFANY                                            20902 SHADY LANE                                                                                                               TOPANGA            CA      90290
6486701   Bush Gottlieb, A Law Corporation                           801 N BRAND BLVD STE 950                                                                                                       Glendale           CA      91203-1260
6476769   BUSHARDT\ALEA                                              2206 METTS AVENUE                                                                                                              WILMINGTON         NC      28403
6483265   Business Affairs, Inc.                                     10675 Santa Monica, Blvd.                                                                                                      Los Angeles        CA      90025
6486194   Business Wire                                              Department 34182P.O. Box 39000                                                                                                 San Francisco      CA      94139
6485859   Buss 46, Inc. dba Larrabee Sound Studios                   4162 Lankershim Blvd.                                                                                                          North Hollywood    CA      91602
6475547   BUSTOS\GLADYS                                              COND. WILSON PARK                                     CALLE WILSON 1357 APT 403 S                                              SAN JUAN           PR      00907
6485760   Butamuse                                                   1832 N. Kenwood St.                                                                                                            Burbank            CA      91505
6478998   BUTLER STUDIO RENTALS                                      220 ROSECRANS AVENUE                                                                                                           MANHATTAN BEACH    CA      90266
6475298   BUTLER\STEVE                                               BUTLER STUDIO RENTALS                                 4106 MONTEBELLA PLACE                                                    FRANKLIN           TN      37067
6482439   Buz FM, Inc.                                               4553 SEDONA DR                                                                                                                 CLARKSTON          MI      48348-2268
6486249   BuzzFocus.com, LLC                                         642 Miller Ave.                                                                                                                Cupertino          CA      95014
6483666   Buzzy's Recording                                          6900 Melrose Ave.                                                                                                              Los Angeles        CA      90038
6482433   Bwana Partners, LLC                                        6632 Telegraph Rd. #193                                                                                                        Bloomfield Hills   MI      48301
6491607   BWP MEDIA USA, INC. DBA PACIFIC COAST NEWS                 22287 MULHOLLAND HWY. #229                                                                                                     CALABASAS          CA      91302
6481929   BWR Public Relations                                       PO Box 8500-3900                                                                                                               Philadelphia       PA      19178
6478760   BYRD\DEBRA                                                 8410 READING AVENUE                                                                                                            LOS ANGELES        CA      90045
6477039   BYRD\RUSSELL                                               1008 B-VAK ROAD                                                                                                                WILMINGTON         NC      28462
6480416   Byrnes, Gerald                                             Address on File




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                                                                                                                         Served First Class Mail

MMLID     NAME                                                 ADDRESS                                           ADDRESS 2                         ADDRESS 3                     ADDRESS 4    CITY              STATE   POSTAL CODE COUNTRY
6478883   BYRON WILLIAMS INC.                                  1323 NORTH SWEETZER AVENUE                                                                                                     WEST HOLLYWOOD    CA      90069
6479371   C&D RENTALS, LLC                                     28310 GOLD CANYONH DRIVE                                                                                                       SAUGUS            CA      91390
6481327   C. Fletcher and Company, LLC                         78 Fifth Ave., 3rd Floor                                                                                                       New York          NY      10011
6482158   C.C. Limardo Productions dba Elite Music Studios     216 Catalonia Ave., Suite 110                                                                                                  Coral Gables      FL      33134
6481467   C.M.J. Printing Corp                                 313 W 37th St                                                                                                                  New York          NY      10018
6481702   C.M.S.S.                                             4-31 27th Avenue, Suite 3F                                                                                                     Astoria           NY      11102
6480373   C/O DEL SHAW, MOONVES, TANAKA, ET AL.                ATTN: LAURIE MEGERY                               2120 COLORADO AVENUE, SUITE 200                                              SANTA MONICA      CA      90404
6481427   C2C Media, LLC dba C2C Outdoor                       353 Lexington Ave. Suite 204                                                                                                   New York          NY      10016
6476894   C-4 STUNTS, INC.                                     1302 MIDDLETON PLACE                                                                                                           WILMINGTON        NC      28412
6492188   CA- CITY OF LOS ANGELES, OFFICE OF FINANCE           C/O LOS ANGELES CITY ATTORNEY'S OFFICE            ATTN: WENDY LOO                   200 N. MAIN STREET, STE 920                LOS ANGELES       CA      90012
6490808   CA- FRANCHISE TAX BOARD                              C/O BANKRUPTCY SECTION MS A340                    PO BOX 2952                                                                  SACRAMENTO        CA      95812-2952
6492783   CABLE SCOPE, INC.                                    630 3RD AVE. 18TH FLOOR                                                                                                        NEW YORK          NY      10017
6485155   Cablemasters                                         2271 West 205th St. Suite 103                                                                                                  Torrance          CA      90501
6480718   Cadden, Rachel                                       Address on File
6482299   Caden Cheyenne Medders                               485 Westcrest Dr.                                                                                                              Nashville         TN      37211
6475580   CADIZ RIVERA\HECTOR                                  BO. PLAYA HUCARES CARR. 3                         KM 69.5                                                                      NAGUABO           PR      00718
6479789   CADORETTE VIGNEAU, ALEXIS                            18 DU DIAMANT J2WOG2                                                                                                           QUEBEC            QC      J200 062     CANADA
6483057   Cadre Entertainment                                  585 N. Windsor                                                                                                                 Los Angeles       CA      90004
6481404   Caelan Corporation                                   302 A W 12th St                                                                                                                New York          NY      10014
6483049   Caesars Entertainment c/o Caesars Palace             PO Box 96118                                                                                                                   Las Vegas         NV      89193
6478026   CAGGIANO\STACIA B.                                   16 SAGE COURT                                                                                                                  EDGEWOOD          NM      87015
6475206   CAHUENGA PLAZA LP                                    C/O RY OLSON                                      20950 WARNER CENTER LN, STE C                                                WOODLAND HILLS    CA      91367
6475013   CAIN\HOLLY                                           348 E. 15TH ST.                                   #10                                                                          NEW YORK          NY      10003
6483013   Cainer Mersereau                                     1617 Camino La Canada                                                                                                          Santa Fe          NM      87501
6483998   Caitlin McGinty Stacy                                900 Kenter Way                                                                                                                 Los Angeles       CA      90049
6477893   CAJUN CYPRESS & HARDWOODS                            14251 BROWN RD                                                                                                                 BAKER             LA      70714
6477667   CAJUN STUNTS, INC                                    121 DROLLA PARK                                                                                                                RIVER RIDGE       LA      70123
6478960   CAL EAST IMPORTS INC.                                232 S. BEVERLY DRIVE SUITE 211                                                                                                 BEVERLY HILLS     CA      90212-3805
6468705   CALABAZITAZ INC. F/S/O LEOPOLDO GOUT                 C/O HERTZ LICHTENSTEIN & YOUNG, LLP               ATTN: JAMES FINNEY, ATTORNEY      1800 CENTURY PARLK EAST       10TH FLOOR   LOS ANGELES       CA      90067
6468706   CALABAZITAZ INC./LEOPOLDO GOUT (ARTIST)              C/O HERTZ LICHTENSTEIN & YOUNG, LLP               ATTN: JAMES FINNEY, ATTORNEY      1800 CENTURY PARLK EAST       10TH FLOOR   LOS ANGELES       CA      90067
6483758   Calcmasters                                          PO Box 412453                                                                                                                  Los Angeles       CA      90041
6477325   CALDER RACE COURSE INC                               21001 NW 27TH AVE                                                                                                              MIAMI GARDENS     FL      33311
6475464   CALDERON\CLAUDIA                                     #906 AVE. PONCE DE LEON                           APT 3-A                                                                      SAN JUAN          PR      00907
6477781   CALDWELL III\VERNON LEE                              803 HWY 311                                                                                                                    SCHRIEVER         LA      70395
6475759   CALECHE TRAVEL INC.                                  600 GRANT STREET,                                 SUITE # 660                                                                  PITTSBURGH        PA      15219
6480320   CALIFORNIA - FRANCHISE TAX BOARD                     BANKRUPTCY, BE MS A345                            P.O. BOX 2952                                                                SACRAMENTO        CA      95812-2952
6474904   CALIFORNIA AIR RESOURCES BOARD                       1001 'I' STREET                                   P.O. BOX 2815                                                                SACRAMENTO        CA      95812
6486227   California Association of Sudent Council             1212 Preservation Park Way                                                                                                     Oakland           CA      94612
6486276   California Chamber of Commerce                       1332 North Market Blvd.                                                                                                        Sacramento        CA      95834
6490498   CALIFORNIA CINEMA INVESTMENTS                        DBA CINEPOLIS LUXURY CINEMAS                      6420 WILSHIRE BLVD. SUITE 900                                                LOS ANGELES       CA      90048
6474901   CALIFORNIA DEPARTMENT OF                             TOXIC SUBSTANCES CONTROL                          P.O. BOX 806                                                                 SACRAMENTO        CA      95812-0806
6474903   CALIFORNIA DEPARTMENT OF CONSERVATION                801 K STREET                                      MS 24-01                                                                     SACRAMENTO        CA      95814
6479978   CALIFORNIA DEPARTMENT OF INDUSTRIAL RELATIONS        DIRECTOR                                          455 GOLDEN GATE AVE., 10TH FL                                                SAN FRANCISCO     CA      94102
6474907   CALIFORNIA DEPARTMENT OF WATER RESOURCES             P.O. BOX 942836                                                                                                                SACRAMENTO        CA      94236
6480316   CALIFORNIA DEPT OF REVENUE                           C/O TAXING AUTHORITY                              999 STATE ST                                                                 BEVERLY HILLS     CA      90210
6474905   CALIFORNIA ENVIRONMENTAL PROTECTION AGENCY           1001 'I' STREET                                   P.O. BOX 2815                                                                SACRAMENTO        CA      95812-2815
6479712   CALIFORNIA FENCING INC.                              41918 FIRENZE ST.                                                                                                              LANCASTER         CA      93536
6486233   California Film Institute                            1001 Lootens Place, Suite 220                                                                                                  San Rafael        CA      94901
6480333   CALIFORNIA FRANCHISE TAX BOARD                       PO BOX 942857                                                                                                                  SACRAMENTO        CA      94257-0531
6483754   California Furniture Warehouse                       6021 Bandini Blvd                                                                                                              Los Angeles       CA      90040
6486198   California Insurance Center                          File #31120P.O. Box 60000                                                                                                      San Francisco     CA      94160
6474896   CALIFORNIA INTEGRATED WASTE                          MANAGEMENT BOARD                                  1001 I STREET                     P.O. BOX 2815                              SACRAMENTO        CA      95812-2815
6486139   California Juice Company, LLC                        109 East Del La Guerra St.                                                                                                     Santa Barbara     CA      93101
6486277   California Labor Law Poster Service                  5431 Auburn Blvd, #300                                                                                                         Sacramento        CA      95841
6486204   California Secretary of State                        Special Filings UnitP.O. Box 942877                                                                                            Sacramento        CA      94277
6480319   CALIFORNIA STATE BOARD OF EQUALIZATION (SBOE)        SPECIAL OPERATIONS BANKRUPTCY TEAM                MIC: 74, P.O. BOX 942879                                                     SACRAMENTO        CA      94279-0074
6480400   CALIFORNIA STATE CONTROLLER'S OFFICE                 UNCLAIMED PROPERTY DIVISION                       10600 WHITE ROCK ROAD             SUITE 141                                  RANCHO CORDOVA    CA      95670
6486264   California State Disbursement Unit                   PO Box 989067ID#0600099                                                                                                        West Sacramento   CA      95798
6479060   CALL ME AL PRODUCTIONS                               1107 19TH STREET UNIT F                                                                                                        SANTA MONICA      CA      90403
6476191   CALL TIME INC                                        3050 LENTO BLVD                                                                                                                BETHEL PARK       PA      15102
6480996   Callaghan, Connor                                    Address on File
6476689   CALLAWAY, KETURAH                                    3433 DASHIEL DR.                                                                                                               CHARLOTTE         NC      28262
6492355   CALVERT STUDIOS, LLC                                 ATTN: BILL REIDER                                 15001 CALVERT STREET                                                         VAN NUYS          CA      91411
6475138   CALVERT STUDIOS, LLC                                 C/O BILL REIDER                                   15001 CALVERT STREET                                                         VAN NUYS          CA      91411
6479117   CALVERT, WILLIAM                                     4041 CANYON DELL DR.                                                                                                           ALTADENA          CA      91001
6480923   Camacho, Karen                                       Address on File
6475962   CAMACHO\NANCY                                        P.O. BOX 416 RIO BLANCO ST.                                                                                                    RIO BLANCO        PR      00744
6477859   CAMELLIA PRODUCE                                     2810 WILLIAM TELL ST                                                                                                           SLIDELL           LA      70458
6483405   Cameo Content, Inc.                                  7083 Hollywood Blvd.                                                                                                           Los Angeles       CA      90028
6475710   CAMERA CARS UNLIMITED INC                            5331 DERRY AVE                                    STE A                                                                        AGOURA HILLS      CA      91301




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                                                                                                                            Served First Class Mail

MMLID     NAME                                                           ADDRESS                                       ADDRESS 2                       ADDRESS 3                        ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6486254   Camera Cinemas at the Pavilion LP                              PO Box 720728                                                                                                              San Jose          CA      95172
6479584   CAMERA HOUSE, INC.\THE                                         7351 FULTON AVENUE                                                                                                         NORTH HOLLYWOOD   CA      91605
6476146   CAMERA SERVICE CENTER                                          P.O. BOX 9653                                                                                                              UNIONDALE         NY      11555-9653
6468800   CAMERA SHY FILMS /DAN CADAN (ARTIST)                           C/O WME                                       ARRN: JUNE HORTON, AGENT        9601 WILSHIRE BLVD                           BEVERLY HILLS     CA      90210
6468801   CAMERA SHY FILMS F/S/O DAN CADAN                               C/O WME                                       ATTN: JUNE HORTON, AGENT        9601 WILSHIRE BLVD                           BEVERLY HILLS     CA      90210
6484498   Cameron Jordan                                                 345 N. Maple Dr., Suite 205                                                                                                Beverly Hills     CA      90210
6474626   CAMHI*JUSTIN                                                   Address on File
6483809   Camille E. Knox                                                833 N. Hayworth Ave. Apt 6                                                                                                 Los Angeles       CA      90046
6482086   Camp Southern Ground, Inc.                                     101 Gardner Park                                                                                                           Peachtree City    GA      30269
6484627   Camp Wilson, Inc.                                              8383 Wilshire Blvd. Suite 500                                                                                              Beverly Hills     CA      90211
6478982   CAMPBELL\JOHN S.                                               P.O. BOX 2783                                                                                                              EL SEGUNDO        CA      90245
6477495   CAMPO\JESSIE                                                   2804 PECAN DR                                                                                                              CHALMETTE         LA      70043
6481878   Campus Cinema, LP                                              3029 North Front St.                                                                                                       Harrisburg        PA      17110
6481886   Campus Theatre Ltd The                                         413 Market St                                                                                                              Lewisburg         PA      17837
6480442   Canaan, Jaya                                                   Address on File
6481451   Canal Productions, Inc.                                        c/o Berdon LLP360 Madison Ave.                                                                                             New York          NY      10017
6492232   CANAL PRODUCTIONS, INC.                                        C/O STAGG TERENZI CONFUSIONE & WABNIK, LLP    ATTN: RONALD M. TERENZI, ESQ.   401 FRANKLIN AVENUE, SUITE 300               GARDEN CITY       NY      11530
6478072   CANDALERIA\ADAM                                                290 QUETZAL DR SW                                                                                                          ALBUQUERQUE       NM      87105
6478088   CANDELARIA\NICO                                                3215 PURDUE PL NE                                                                                                          ALBUQUERQUE       NM      87106
6798544   CANDFALL PRODUCTIONS INC.                                      9601 WILSHIRE BLVD. #755                                                                                                   BEVERLY HILLS     CA      11717
6483810   Candice Carella                                                8744 Arlene Terrace                                                                                                        Los Angeles       CA      90046
6477188   CANDLER\KARA ELIZABETH                                         2 GREENWOOD ROAD                                                                                                           ASHEVILLE         NC      28803
6478109   CANDLEWOOD SUITES                                              3025 MENAUL BLVD NE                                                                                                        ALBUQUERQUE       NM      87107
6484674   Candu Management                                               Dolores CantuP.O. Box 6371                                                                                                 Beverly Hills     CA      90212
6798546   CANDUFALL PRODUCTIONS, INC.                                    4930 STROHM AVENUE                                                                                                         NORTH HOLLYWOOD   CA      91601
6481749   Cannoli Productions LLC                                        210 Douglass St                                                                                                            Brooklyn          NY      11217
6476579   CANTER, KENNETH                                                4006 GASTON CT                                                                                                             GREENSBORO        NC      27407
6492342   CANTINAS ENTERTAINMENT, LLC                                    ATTN: CHARLES KLAUS                           22917 PACIFIC COAST HIGHWAY     SUITE 350                                    MALIBU            CA      90265
6475345   CANTON PRODUCTIONS INC.                                        C/O BOGART BUSINESS MGMT                      5670 WILSHIRE BLVD, SUITE 450                                                LOS ANGELES       CA      90036
6480829   Canton, Henry                                                  Address on File
6480705   Cantor, Benjamin                                               Address on File
6475449   CANTU\ERCE D                                                   319 N DUPRE ST                                APT 10                                                                       NEW ORLEANS       LA      70119
6480878   Capaldi, Alex                                                  Address on File
6475899   CAPALDI\ALEX                                                   811 6TH STREET                                UNIT #102                                                                    SANTA MONICA      CA      90403
6475901   CAPE FEAR PRINTING                                             1517 N. HOWE STREET                           UNIT #13                                                                     SOUTHPORT         NC      28461
6476715   CAPE FEAR RESTAURANT EQUIPMENT                                 609 GREENFIELD STREET                                                                                                      WILMINGTON        NC      28401
6491639   CAPILLARY MUSIC, INC.                                          16255 VENTURA BLVD. SUITE 509                                                                                              ENCINO            CA      91436
6468673   CAPITAL ONE BANK                                               JOHN MORTON                                   201 ST. CHARLES AVE.            23RD FLOOR                                   NEW ORLEANS       LA      70170
6468679   CAPITAL ONE BANK                                               LEGAL DEPARTMENT                              1680 CAPITAL ONE DRIVE                                                       MCLEAN            VA      22102
6468674   CAPITAL ONE BANK                                               RITA PICOU                                    201 ST. CHARLES AVE.            23RD FLOOR                                   NEW ORLEANS       LA      70170
6477353   CAPITOL CHRISTIAN MUSIC PUBLIS                                 101 WINNERS CIRCLE                                                                                                         BRENTWOOD         TN      37072
6483406   Capitol Records, LLC dba EMI Music Marketing                   1750 North Vine St.                                                                                                        Los Angeles       CA      90028
6492749   CAPITOL STUDIOS                                                1750 N. VINE ST.                                                                                                           HOLLYWOOD         CA      90028
6484994   Capo                                                           1810 Ocean Ave.                                                                                                            Santa Monica      CA      90401
6480588   Cappuccio, Cassandra                                           Address on File
6485610   Caprice Ridgeway                                               7542 Gloria Avenue                                                                                                         Van Nuys          CA      91406
6482722   Capstar Radio Operating Co. dba Clear Channel Communications   5080 Collections Center Dr.                                                                                                Chicago           IL      60693
6484448   Capstone Global Marketing and Research Group                   3044 Greentree Court                                                                                                       Los Angeles       CA      90077
6476566   CAPSULE GROUP, LLC                                             PO BOX 10768                                                                                                               GREENSBORO        NC      27404
6491329   CAPTIONMAX, INC.                                               2438 27TH AVE SOUTH                                                                                                        MINNEAPOLIS       MN      55406
6479423   CAPTIVE AUDIENCE MARKETING                                     4822 KATHERINE AVENUE                                                                                                      SHERMAN OAKS      CA      91423
6468816   CAPTIVE FILM PRODUCTIONS, LLC                                  ATTN: SERGEI BESPALOV                         15760 VENTURA BOULEVARD         SUITE 1450                                   ENCINO            CA      91436
6477409   CAPYBARA, INC.                                                 P.O. BOX 1046                                                                                                              LIVINGSTON        MT      59047
6484118   Cara Giallanza                                                 4227 Berryman Avenue                                                                                                       Los Angeles       CA      90066
6477436   CARADONA III\JOHN                                              3724 BAUVAIS ST                                                                                                            METAIRIE          LA      70001
6474797   CARADONNA*MICHAEL T                                            Address on File
6491572   CARAT USA                                                      2700 PENNSYLVANIA AVE 2ND FLOOR                                                                                            SANTA MONICA      CA      90404
6490297   CARAT USA INC                                                  ATTN: SEAN POWER, CFO                         150 EAST 42ND STREET                                                         NEW YORK          NY      10017
6475833   CARBONELL/SOPHIE                                               7321 BEVERLY BLVD                             SUITE 4                                                                      LOS ANGELES       CA      90036
6475078   CARDBOARD PLAYHOUSE PRODUCTION                                 THE BOX PERFORMANCE SPACE                     1025 LOMAS BLVD NE                                                           ALBUQUERQUE       NM      87102
6480714   Carde, David                                                   Address on File
6474994   CARDLOCK FUELS SYSTEM, INC                                     DBA: SC FUELS                                 PO BOX 14014                                                                 ORANGE            CA      92863
6474869   CARDOSO TESCH JR*AYLTON                                        Address on File
6484169   Career Group, Inc.                                             10100 Santa Monica Blvd., Suite 900                                                                                        Los Angeles       CA      90067
6474874   CARELLA*BRETT                                                  Address on File
6476066   CARELLI COSTUMES, INC.                                         109 W. 26TH ST.                                                                                                            NEW YORK          NY      10001
6480156   CAREY METZ                                                     256 HEDWIG RD                                                                                                              HOUSTON           TX      77024
6478357   CAREY\BAYARD                                                   11 SOUTH CLOUDSTONE                                                                                                        SANTA FE          NM      87505
6480936   Cargile-Fish, Tracy                                            Address on File
6477397   CARHARTT INC                                                   5750 MERCURY DRIVE                                                                                                         DEARBORN          MI      48121




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                                                                                                                       Master Mailing List
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MMLID     NAME                                                     ADDRESS                                       ADDRESS 2                      ADDRESS 3                          ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6480962   Carignan, Jeffrey                                        Address on File
6485605   Carl Beyer                                               15115 Lemay Street                                                                                                          Van Nuys          CA      91405
6480372   CARL CIARFALIO                                           C/O MISSY’S ACTION SERVICES                   19609 CANTARA STREET                                                          RESEDA            CA      91335
6798531   CARL JOYE                                                1503 PARIS AVENUE                                                                                                           PORT ROYAL        NC      29935
6485761   Carl T. Evans                                            124 N. Pass AvenueApt #3                                                                                                    Burbank           CA      91505
6484267   Carla Wright                                             2475 N. Beachwood Dr.#1                                                                                                     Los Angeles       CA      90068
6481138   Carli M Couillard                                        25*27 East 17th St.                                                                                                         Bayonne           NJ      07002
6491811   CARLI SCOTT                                              Address on File
6475723   CARLILE\BRANDI M.                                        1888 EMERY STREET,                            SUITE # 111                                                                   ATLANTA           GA      30318
6475689   CARLSON SYSTEMS, LLC                                     8700 ALAMEDA PARK DR NE                       STE 100                                                                       ALBUQUERQUE       NM      87113
6477434   CARLSON\KAYLENE                                          PO BOX 641910                                                                                                               OMAHA             NE      68164
6482195   Carlton Fields P.A.                                      P.O. Box 3239                                                                                                               Tampa             FL      33601
6470682   CARLTON FIELDS, P.A.                                     P.O. BOX 3239                                                                                                               TAMPA             FL      33601-3239
6481048   Carly Turner                                             38 Wandana Tle                                                                                                              Taperoo                   5017         AUSTRALIA
6469702   CARLY TURNER                                             38 WANDANA TLE TAPEROO,                                                                                                     SOUTH AUSTRALIA           5017         AUSTRALIA
6483580   Carlyn Horsley                                           7660 Beverly Blvd. #248                                                                                                     Los Angeles       CA      90036
6476248   CARLYSLE ASSOCIATES                                      825 E PITTSBURGH PLAZA                                                                                                      E PITTSBURGH      PA      15112
6476637   CARMICKLE, JIMMY                                         4219 WEST LANGLEY RD                                                                                                        ELM CITY          NC      27822
6798532   CARMIKE CINEMAS                                          11500 ASH ST                                                                                                                LEAWOOD           KS      66211-7804
6482130   Carmike Cinemas Inc                                      11500 ASH ST                                                                                                                LEAWOOD           KS      66211-7804
6469573   CARMIKE CINEMAS INC                                      ATTN:CRYSTAL TRAWICK                          11500 ASH ST                                                                  LEAWOOD           KS      66211-7804
6481799   Carmine Giglio                                           128 E. Argyle St.                                                                                                           Valley Stream     NY      11580
6476203   CARMONEY\SHIRLEY M                                       1311 KIRKPATRICK AVENUE                                                                                                     NORTH BRADDOCK    PA      15104        UNITED
6486505   Carnival Film & Television, Ltd.                         1 Central Saint Giles, Saint Giles High St.                                                                                 London                    WC2H 8NU     KINGDOM
6481131   Carol Brodie                                             200 CENTRAL PARK S APT 29 C                                                                                                 NEW YORK          NY      10019-1448
6486402   Carol-Anne K. Mantha                                     1635 de Chambly                                                                                                             Montreal          QC      H1W 3H9      CANADA
6482919   Carolina Cinemas, LLC                                    1614 W. 5th St.                                                                                                             Austin            TX      78703
6475885   CAROLINA CUSTOM UPHOLSTERY                               939 BURKE ST                                  SUITE H                                                                       WINSTON-SALEM     NC      27101
6477093   CAROLINA LIMOUSINE                                       P O BOX 1967                                                                                                                CANDLER           NC      28715
6476479   CAROLINA PSYCHOLOGY GROUP                                840 W. 4TH ST                                                                                                               WINSTON-SALEM     NC      27101
6486098   Caroline Hill Strassner                                  12 Artisan St.                                                                                                              Ladera Ranch      CA      92694
6486217   Caroline K. Wiseman dba Lovely Day Productions           3308 S. Lucille Lane                                                                                                        Lafayette         CA      94549
6477729   CARONDELET MUSIC GROUP LLC                               1331 LOUISIANA AVE.                                                                                                         NEW ORLEANS       LA      70131
6483407   CarPark, Inc.                                            6541 Hollywood Blvd. Suite #203                                                                                             Los Angeles       CA      90028
6477132   CARPET CITY INC.                                         2407 US HIGHWAY 70                                                                                                          SWANNANOA         NC      28778
6476580   CARPET SUPER MART, INC.                                  4114 SPRING GARDEN STREET                                                                                                   GREENSBORO        NC      27407
6479585   CARPET TOWN OUTLET, INC.                                 11523 SHERMAN WAY                                                                                                           NORTH HOLLYWOOD   CA      91605
6798533   CARR BUSINESS SYSTEMS                                    500 Commack Road Suite 110                                                                                                  Commack           NY      11725
6474680   CARR*BRADLEY                                             Address on File
6479403   CARR\DANA                                                7038 DE CELLS PLACE, #6                                                                                                     LAKE BALBOA       CA      91406
6475938   CARRERO\JULIO                                            217 BARRIADA HUCARES                                                                                                        NAGUABO           PR      00718
6492697   CARR-GARMON* LATUNYA                                     1929 S. KIRKMAN RD.                           APT 01-122                                                                    ORLANDO           FL      32811
6477122   CARRIAGE HOUSE DOOR COMPANY                              1571 E MAIN ST                                                                                                              OLD FORT          NC      28762
6483811   Carrie Maurer                                            1201 N. Ogden Dr #2                                                                                                         Los Angeles       CA      90046
6475235   CARRIE PRODUCTIONS, INC.                                 ATTN: SARISA MIDDLETON                        2625 ALCATRAZ AVENUE, #243                                                    BERKELEY          CA      94705
6475616   CARRIER RENTAL SYSTEMS, INC.                             SPOT COOLERS, A DVIVISION OF                  P. O. BOX 905322                                                              CHARLOTTE         NC      28290-5322
6477597   CARRIERE\CAROLYN                                         8403 OAK ST                                                                                                                 NEW ORLEANS       LA      70118
6474308   CARRILLO*LAURA                                           Address on File
6475472   CARRION\FERNANDO                                         MONTE NORTE AVE HOSTOS 175                    APT A-713                                                                     SAN JUAN          PR      00918
6478931   CARROLL & CO.                                            425 N CANON DR                                                                                                              BEVERLY HILLS     CA      90210
6476491   CARROLL, ANGELA T.                                       708 CHELTENHAM DR,                                                                                                          WINSTON-SALEM     NC      27103
6476581   CARROLL, TRACY D.                                        1437 BURNETTS CHAPEL RD                                                                                                     GREENSBORO        NC      27407
6475720   CARROLL\CHRIS                                            9809 REGENT STREET,                           SUITE # 103                                                                   LOS ANGELES       CA      90034
6486338   Carter Lewis Capps                                       41710 SE 66th St.                                                                                                           Snoqualmie        WA      98065
6483266   Carter Pierce                                            11150 Santa MonicaSuite 330                                                                                                 Los Angeles       CA      90025
6480598   Carter, Joe                                              Address on File
6478548   CARTER\IAN                                               2125 HILLCREST DRIVE                                                                                                        LOS ANGELES       CA      90016
6476868   CARTER\JOYCE W.                                          214 HOLIDAY HILLS DRIVE                                                                                                     WILMINGTON        NC      28409
6477491   CARTER\RUTH ELAINE                                       808 S. BURNSIDE AVE                                                                                                         LOS ANGELES       CA      70036
6482043   Cartoon Network Inc The                                  PO Box 532448                                                                                                               Charlotte         NC      28290
6485654   Cary Jeane Allison                                       13840 Valley Vista Blvd                                                                                                     Sherman Oaks      CA      91423
6484499   Caryn Antonini                                           2434 Benedict Canyon                                                                                                        Beverly Hills     CA      90210
6485887   Casa David                                               12711 Ventura BlvdSuite 420                                                                                                 Studio City       CA      91604
6475958   CASA DEL MAR INC.\LA                                     CONQUISTADOR AVE 1000                                                                                                       FAJARDO           PR      00738
6478992   CASANOVA CLOTHING                                        6611 PACIFIC BLVD.                                                                                                          HUNTINGTON PARK   CA      90255
6480438   Casberg, Tasha                                           Address on File
6475460   CASE\MELISSA                                             21 N FRONT STREET                             APT 2E1                                                                       WILMINGTON        NC      28401
6798534   CASEY AFFLECK                                            C/O WILLIAM MORRIS ENDEAVOR ENTERTAINMENT     ATTN: SIMON FABER              9601 WILSHIRE BLVD., THIRD FLOOR               BEVERLY HILLS     CA      90210
6482257   Casey Lee Lutton                                         P.O. Box 24325                                                                                                              Nashville         TN      37202
6798524   CASEY SILVER PRODUCTIONS                                 CASEY SILVER                                  132 S. RODEO DRIVE                                                            BERVERLY HILLS    CA      90212




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MMLID     NAME                                                        ADDRESS                                        ADDRESS 2                             ADDRESS 3                         ADDRESS 4   CITY             STATE   POSTAL CODE   COUNTRY
6476961   CASH                                                        1456 N. HOWE AVE                                                                                                                   SOUTHPORT        NC      28461
6475860   CASHET CARD LLC                                             9000 SUNSET BLVD.                              SUITE 950                                                                           WEST HOLLYWOOD   CA      90069
6476680   CASISS TRAVEL SERVICES/CTS INC                              ONE WOODLAWN GREEN, STE. #350                                                                                                      CHARLOTTE        NC      28217
6487849   CASPIAN MEDIA CAPITAL, LLC                                  C/O LOEB & LOEB LLP                            ATTN: LANCE N. JURICH, ESQ.           10100 SANTA MONICA BLVD., SUITE               LOS ANGELES      CA      90067-4120
6477732   CASSANO\JOSEPH                                              435 PACIFIC AVE.                                                                                                                   NEW ORLEANS      LA      70144
6482004   Cassidy Barks                                               1319 Beau Val Farm Rd. Box 460                                                                                                     Keswick          VA      22947
6476678   CASSIDY, SEAN                                               2408 BUCKLEIGH DR                                                                                                                  CHARLOTTE        NC      28215
6476618   CASSIDY\PATRICK                                             605 BAYBERRY DRIVE                                                                                                                 CHAPEL HILL      NC      27517
6481260   Cassie Coane                                                145 4th Ave. #11A                                                                                                                  New York         NY      10003
6485202   Cassie Pauline dba Party Face Magic                         3342 Senasac Ave.                                                                                                                  Long Beach       CA      90808
6475829   CASSIS TRAVEL SERVICES, INC                                 9200 SUNSET BLVD                               SUITE 320                                                                           LOS ANGELES      CA      90069
6475355   CAST & CREW                                                 2300 EMPIRE AVENUE                             5TH FLOOR                                                                           BURBANK          CA      91504-3350
6475353   CAST & CREW ENTERTAINMENT                                   2300 EMPIRE AVENUE                             5TH FLOOR                                                                           BURBANK          CA      91504
6477470   CAST & CREW ONSET LOUISIANA, LLC                            433 METAIRIE RD. SUITE 301                                                                                                         METAIRIE         LA      70005
6475356   CAST & CREW PCARD                                           2300 EMPIRE AVENUE                             5TH FLOOR                                                                           BURBANK          CA      91504-3350
6475357   CAST & CREW PRODUCTION SERVICES                             2300 EMPIRE AVE, 5TH FLOOR                     5TH FLOOR                                                                           BURBANK          CA      91504-3350
6479468   CAST & CREW PRODUCTION SERVICES                             2300 EMPIRE AVE., 5TH FLOOR                                                                                                        BURBANK          CA      91504
6798518   Cast & Crew Production Services, LLC                        Attn: General Counsel                          2300 Empire Avenue, 5th Floor                                                       Burbank          CA      91504
6475354   CAST & CREW TALENT SERVICES                                 2300 EMPIRE AVENUE                             5TH FLOOR                                                                           BURBANK          CA      91504
6468777   CAST & CREW TALENT SERVICES,LLC AND/                        OR CAST & CREW PRODUCTION SERVICES, LLC        ATTN: ERIC BELCHER, CEO               2300 EMPIRE AVENUE, 5TH FLOOR                 BURBANK          CA      91504
6485732   Cast and Crew Payroll                                       2300 Empire Ave. 5th Floor                                                                                                         Burbank          CA      91504
6475358   CAST AND CREW PAYROLL, LLC                                  2300 EMPIRE AVE 5TH FLOOR                      5TH FLOOR                                                                           BURBANK          CA      91504-3350
6485030   Cast It Systems                                             1223 Wilshire Blvd #G                                                                                                              Santa Monica     CA      90403
6478773   CAST IT SYSTEMS, LLC                                        2112 STANLEY HILLS DRIVE                                                                                                           LOS ANGELES      CA      90046
6485947   Cast Shadow Productions                                     5430 Bellington Ave. Unit 303                                                                                                      Valley Village   CA      91607
6478796   CASTAWAY STUDIOS                                            8899 BEVERLY BLVD.                                                                                                                 LOS ANGELES      CA      90048
6483912   Castaway Studios, Inc                                       6380 WILSHIRE BLVD STE 100                                                                                                         Los Angeles      CA      90048-5009
6472057   CASTAWAY STUDIOS, INC                                       8899 BEVERLY BLVD STE. 206                                                                                                         LOS ANGELES      CA      90048
6478994   CASTELLANOS/JOSEPH                                          14516 KINGSDALE AVE                                                                                                                LAWNDALE         CA      90260
6477986   CASTELLINA FILMS                                            2396 N HEIGHTS DR                                                                                                                  BOISE            ID      83712
6477471   CASTELLON\ANGELA O                                          1004 FALCON RD                                                                                                                     METAIRIE         LA      70005
6478702   CASTEX RENTALS                                              1044 COLE AVENUE                                                                                                                   HOLLYWOOD        CA      90038
6475976   CASTILLO GALLERY                                            CALLE SAN JORGE #164                                                                                                               SANTURCE         PR      00911
6484995   Casting Artists Inc.                                        1433 6th Street                                                                                                                    Santa Monica     CA      90401
6479222   CASTING COUCH, INC.\THE                                     5736 WISH AVENUE                                                                                                                   ENCINO           CA      91316
6477070   CASTRO\ORLANDO                                              3397 GRIFFINS WAY                                                                                                                  LENOIR           NC      28645
6478304   CATAMOUNT BAR & GRILLE                                      125 EAST WATER STREET                                                                                                              SANTA FE         NM      87501
6483323   Catch A Dream Entertainment, Inc.                           1751 Clinton Street                                                                                                                Los Angeles      CA      90026
6491469   CATCH THE MOON MUSIC LLC                                    6270 OLYMPIC BLVD                                                                                                                  LOS ANGELES      CA      90048         CAYMAN
6798509   CATCHPLAY, INC                                              PO BOX 897                                                                                                                         GRAND CAYMAN     KY      KY1-1103      ISLANDS
6491810   CATFISH PICTURE COMPANY, LLC                                C/O VOGEL & CO., 685 POST ROAD                                                                                                     DARIEN           CT      06820
6483058   Catherine A. Wells                                          349 N. Wilton Place                                                                                                                Los Angeles      CA      90004
6486404   Catherine Gelinas                                           7107 Des Ecores                                                                                                                    Montreal         QC      H2E 2V7       CANADA
6485059   Cathy Sandrich Gelfond                                      3000 Olympic BlvdBldg. 3, Room 2323                                                                                                Santa Monica     CA      90404
6468859   CATHY SANDRICH GELFOND                                      321 S. PECK DRIVE                                                                                                                  BEVERLY HILLS    CA      90212
6468775   CATHY SANDRICH GELFOND                                      C/O CREATIVE ARTISTS AGENCY                    ATTN: CHARLIE JENNINGS, AGENT         2000 AVENUE OF THE STARS                      LOS ANGELES      CA      90067
6475234   CAT'S EYE VIDEO                                             AKA DAVID KATZ                                 25893 CHALMERS PLACE                                                                CALABASAS        CA      91302
6476544   CAUDLE, VICTORIA L.                                         PO BOX 1366                                                                                                                        RAMSEUR          NC      27316
6477287   CAUSEY\PAUL                                                 988 KIRKWOOD AVENUE SE                                                                                                             ATLANTA          GA      30316
6475454   CAVALIER\CARL                                               377 WEST SIDE BLVD                             APT 150                                                                             HOUMA            LA      70364
6478988   CAVALIERO/MATTHEW                                           5438 W. 141ST ST.                                                                                                                  HAWTHORNE        CA      90250
6481328   Cavalry Courier                                             216 W 22nd St                                                                                                                      New York         NY      10011
6476073   CAVCORP                                                     936 BROADWAY, 4TH FLOOR                                                                                                            NEW YORK         NY      10010
6484927   caviar                                                      900 Pacific Ave.                                                                                                                   Venice           CA      90291
6480052   CB AGENCY SERVICES LLC                                      AS AGENT                                       888 SEVENTH AVENUE                    40TH FLOOR                                    NEW YORK         NY      10106
6490679   CB AGENCY SERVICES, LLC                                     Address on File
6480116   CB CA LENDING, LLC                                          Address on File
6492679   CB CA LENDING, LLC                                          Address on File
6480151   CB MEDIA VENTURES SPV, LLC                                  ATTN: MORRIS BEYDA                             888 SEVENTH AVE 40TH FLOOR                                                          NEW YORK         NY      10106
6480114   CB RHL SPV, LLC                                             ATTN: MORRIS BEYDA                             888 SEVENTH AVE                       40TH FLOOR                                    NEW YORK         NY      10106
6482854   CBIZ Valuation Group, LLC                                   4851 LBJ Freeway 8th Floor                                                                                                         Dallas           TX      75244
6482942   CBM Productions, LLC                                        1200 17th St. Suite 660                                                                                                            Denver           CO      80202
6475681   CBS BROADCASTING INC                                        7800 BEVERLY BLVD                              RM M40                                                                              LOS ANGELES      CA      90036
6489451   CBS BROADCASTING, INC.                                      DBA CBS TELEVISION NETWORK                     ATTN: HELEN D'ANTONA, CBS LAW DEPT.   51 WEST 52ND ST.                              NEW YORK         NY      10019
6481493   CBS Broadcasting, Inc. dba CBS Television Network           51 West 52nd St.                                                                                                                   New York         NY      10019
6489447   CBS CORPORATION                                             Address on File
6479922   CBS Corporation                                             Address on File
6475216   CBS NEWS                                                    AKA CBS BROADCASTING, INC.                     21940 NETWORK PLACE                                                                 CHICAGO          IL      60673-1219
6481209   CBS Outdoor                                                 P.O. Box 404                                                                                                                       Broadway         NJ      08808
6485272   CBS Radio dba KROQ-FM                                       P.O. Box 100392                                                                                                                    Pasadena         CA      91189




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MMLID     NAME                                                          ADDRESS                                                          ADDRESS 2                         ADDRESS 3                  ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6475231   CBS TELEVISION DISTRIBUTION                                   DIV-CBS STUDIOS INC-CTDCLIPLIC                                   2401 COLORADO AVENUE                                                     SANTA MONICA       CA      90404
6491436   CBS TELEVISION NETWORK                                        7800 BEVERLY BLVD                                                                                                                         LOS ANGELES        CA      90036
6485690   CC Touring, Inc.                                              16830 Ventura Blvd. Suite 501                                                                                                             Encino             CA      91436
6481193   CCG Holdings dba Clearview Cinemas                            Attn: Finance Dept.200 Park Avenue, Ste 302                                                                                               Florham Park       NJ      07932
6483082   CCI Visual Solution, Inc                                      2726 W. Pico Blvd.                                                                                                                        Los Angeles        CA      90006
6475321   CDB PERDIDO, LLC                                              BOES, CRAIG D.                                                   4801 SHERIDAN AVE                                                        METAIRIE           LA      70002
6477472   CDEMAR, LLC                                                   580 WOODVINE AVE                                                                                                                          METAIRIE           LA      70005
6486086   CDM Company, The                                              12 Corporate Plaza Dr. Suite 200                                                                                                          Newport Beach      CA      92660
6492828   CDW, LLC                                                      ATTN: VIDA KRUG                                                  200 N. MILWAUKEE AVE                                                     VERNON HILLS       IL      60061
6481165   CE Entertainment Inc dba Newark Screens                       23 W Westfield Ave                                                                                                                        Roselle Park       NJ      07204
6483812   Cecilia Conti                                                 7307 Willoughby No. 3                                                                                                                     Los Angeles        CA      90046
6482459   Cedar Graphics, Inc.                                          311 Parsons Drive                                                                                                                         Hiawatha           IA      52233
6482367   Cedar Lee Theatre Co Inc                                      2163 Lee Road, Suite 107                                                                                                                  Cleveland          OH      44118
6483581   Cedars-Sinai Medical Center                                   c/o Grant Associates5670 Wilshire Blvd., Suite 1590                                                                                       Los Angeles        CA      90036
6483913   Cedars-Sinai Medical Center/PIBD                              Communicy Relations & Development8700 Beverly Blvd, Suite 2416                                                                            Los Angeles        CA      90048
6483813   Cedric Mazzara                                                1149 Poinsettia Drive                                                                                                                     Los Angeles        CA      90046       THE
6469618   CEG RIGHTS B.V.                                               C/O TESSA VAN VELUW                                              PRINS BERNHARDPLEIN 200 1097 JB                                          AMSTERDAM                              NETHERLA
6479133   CELEBRITY EYEWORKS                                            9545 WENTWORTH STREET                                                                                                                     SUNLAND            CA      91040
6480362   CELESTE NG                                                    C/O UNITED TALENT AGENCY                                         ATTN: JASON RICHMAN               9336 CIVIC CENTER DRIVE                BEVERLY HILLS      CA      90210
6477168   CELINE AND COMPANY CATERING                                   49 BROADWAY                                                                                                                               ASHEVILLE          NC      28801
6483324   Cellar Music, LLC, The                                        1910 W. Sunset Blvd. #660                                                                                                                 Los Angeles        CA      90026
6849405   CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS, ON BEHALF OF ITS   William Gilbert                                                  899 Heathrow Park Lane                                                   Lake Mary          FL      32746
6849405   CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS, ON BEHALF OF ITS   WILLIAM VERMETTE                                                 22001 LOUDOUN COUNTY PKWY                                                ASHBURN            VA      20147
6481305   Center For Communication                                      110 East 23rd St. Suite 900                                                                                                               New York           NY      10010
6482017   Center for Creative Leadership                                P.O. Box 26300                                                                                                                            Greensboro         NC      27438
6798345   CENTER MASS PRODUCTIONS, INC.                                 F/S/O SHELDON TURNER                                             C/O CREATIVE ARTISTS AGENCY       2000 AVENUE OF THE STARS               LOS ANGELES        CA      90067
6484170   Center Mass Productions, Inc. f/s/o Sheldon Turner            c/o CAA, Attn: John Campisi2000 Avenue of the Stars                                                                                       Los Angeles        CA      90067
6491459   CENTERFOLD NEWS                                               716 N FAIRFAX AVE                                                                                                                         LOS ANGELES        CA      90046
6485733   Centerstaging, LLC                                            3407 Winona Ave.                                                                                                                          Burbank            CA      91504
6477502   CENTOLA\KENNETH                                               1005 MADISON ST                                                                                                                           GRETNA             LA      70053
6475653   CENTRAL BOAT RENTALS                                          DEPT 0422                                                        PO BOX 120422                                                            DALLAS             TX      75312-0422
6483206   Central City Studio                                           737 Terminal St. Bldg. C                                                                                                                  Los Angeles        CA      90021
6486121   Central Coast Beverages dba Aqua Spring                       4526 Telephone Rd                                                                                                                         Ventura            CA      93003
6798503   CENTRAL COAST CINEMAS                                         1321 Spring St Unit 202                                                                                                                   Paso Robles        CA      93446-2325
6478139   CENTRAL NEW MEXICO USBC                                       125 JACKSON STREET NE                                                                                                                     ALBUQUERQUE        NM      87108
6477710   CENTRAL PARKING SYSTEM OF LA                                  365 CANAL ST SUITE 2330                                                                                                                   NEW ORLEANS        LA      70130
6483153   Central Parking Systems dba New South Parking                 1055 W. 7th St. Suite 1500                                                                                                                Los Angeles        CA      90017
6483759   Centro Eagle Rock, LLC dba Eagle Rock Plaza                   2700 Colorado Blvd. #230                                                                                                                  Los Angeles        CA      90041
6482037   Centurion Group, The                                          P.O. Box 60839                                                                                                                            Charlotte          NC      28260
6479685   CENTURY BUSINESS SOLUTIONS                                    PO BOX 2376                                                                                                                               BREA               CA      92822
6491548   CENTURY GROUP                                                 222 N. SEPULVEDA BLVD #2150                                                                                                               EL SEGUNDO         CA      90245
6491371   CENTURY THEATRES INC                                          3900 DALLAS PARKWAYSUITE 500                                                                                                              PLANO              TX      75093
6474437   CERF*BRADLEY                                                  Address on File
6485179   Certified Phone Solutions Sales Co.                           8511-C Wellsford Place                                                                                                                    Santa Fe Springs   CA      90670
6474757   CERULO*EDWARD                                                 Address on File
6481551   CGM EMP RTP LLC                                               44 W 63rd St                                                                                                                              New York           NY      10023
6486062   CGS Makeup                                                    19443 Rotterdam St.                                                                                                                       Riverside          CA      92508
6482426   CH Canton, LLC dba Emagine Canton                             39535 Ford Rd.                                                                                                                            Canton             MI      48187
6482417   CH Royal Oak, LLC dba Emagine Royal Oak & Star Lanes          200 N. Main St.                                                                                                                           Royal Oak          MI      48067
6492731   CHACON* CRAIG                                                 Address on File
6491409   CHAD FISCHER                                                  Address on File
6798495   CHAD FISCHER                                                  C/O GORFAINE SCHWARTZ                                            ATTN: MARIA MACHADO               4111 W. ALAMEDA AVENUE     SUITE 509   BURBANK            CA      91505
6484320   Chad Hudson Events                                            9155 W. Sunset Blvd. 1st Floor                                                                                                            West Hollywood     CA      90069
6482233   Chada Productions, Inc. fso Steve Marcantonio                 205 Tarrington Ct.                                                                                                                        Brentwood          TN      37027
6485301   Chaddy Mattar (Expenses)                                      643 W. Wilson Ave                                                                                                                         Glendale           CA      91203
6485762   Chadwick Struck                                               4221 W. King St. #19                                                                                                                      Burbank            CA      91505
6492771   CHADWICK* KRISTINE                                            Address on File
6485302   Chady Mattar                                                  643 W. Wilson Ave                                                                                                                         Glendale           CA      91203
6480441   Chae, Sung Won                                                Address on File
6475931   CHAGOS STAFFING SOLUTIONS CORP                                VALLE SAN RAFAELBUZON 36                                         ZATIRO #4                                                                TRUJILLO ALTO      PR      00976
6476122   CHAI\JAMES                                                    2501 37TH ST                                                                                                                              ASTORIA            NY      11103
6476640   CHAMBERS\STEVE                                                4407 CEDAR HILL COURT                                                                                                                     BELMONT            NC      28012
6479240   CHAMPION CRANE INC                                            12521 BRANFORD ST.                                                                                                                        PACOIMA            CA      91331
6483357   Champion Fund Childrens Hospital                              Attn: Marvin Belzer5000 Sunset Blvd., 4th Floor                                                                                           Los Angeles        CA      90027
6475086   CHAN\KONG S. ''JACKIE''                                       10866 WILSHIRE BL                                                10TH FL                                                                  LOS ANGELES        CA      90024
6479719   CHANCE OF A LIFETIME                                          37517 MADISON ST                                                                                                                          PALMDALE           CA      93552
6482537   Chance Thomas Leo Sisco                                       c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                         Northbrook         IL      60062
6481002   Chance, John                                                  Address on File
6482894   Chandler Parsons                                              5927 Almeda Rd. Suite 21818                                                                                                               Houston            TX      77004
6485888   Chandler Street Productions                                   4165 Kraft Ave.                                                                                                                           Studio City        CA      91604




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                                                                                                                                        Master Mailing List
                                                                                                                                       Served First Class Mail

MMLID     NAME                                                         ADDRESS                                                    ADDRESS 2                      ADDRESS 3                     ADDRESS 4                CITY              STATE   POSTAL CODE COUNTRY
6476499   CHANDLER'S INTERNATIONAL AUCTION                             1530 WEST 1ST ST                                                                                                                                 WINSTON-SALEM     NC      27106
6480673   Chang, Christine                                             Address on File
6480949   Chang, Emmy                                                  Address on File
6480999   Chang, Kristina                                              Address on File
6477946   CHAPMAN LEONARD STUDIO EQUIP                                 P O BOX 731217                                                                                                                                   DALLAS            TX      75373-1217
6479586   CHAPMAN LEONARD STUDIO EQUIPMT                               12950 RAYMER STREET                                                                                                                              NORTH HOLLYWOOD   CA      91605
6479587   CHAPMAN/LEONARD STUDIO, INC                                  12950 RAYMER STREET                                                                                                                              NORTH HOLLYWOOD   CA      91605
6475612   CHAPMAN\NATHAN P.                                            DBA PAIN IN THE ART PRODS                                  P. O. BOX 340020                                                                      NASHVILLE         TN      37203
6476380   CHAPON'S GREENHOUSE & SUPPLY                                 4846 STREET RUN RD                                                                                                                               PITTSBURGH        PA      15236
6475035   CHARBONNIER DELGADO\LUIS                                     URB. LA CEIBA                                              #23 CALLE ALMENDRO                                                                    JUNCOS            PR      00777
6483723   Charlene A. Huang                                            2246 1/2 Edendale Pl.                                                                                                                            Los Angeles       CA      90039
6483667   Charlene Matthews                                            5720 Melrose venue                                                                                                                               Los Angeles       CA      90038
6483582   Charlene Montante                                            7315 Oakwood Avenue                                                                                                                              Los Angeles       CA      90036
6483075   Charles A. Previtire                                         717 Lorraine Blvd                                                                                                                                Los Angeles       CA      90005
6484675   Charles Aidikoff Screening Room The                          150 S Rodeo Dr                                                                                                                                   Beverly Hills     CA      90212
6481582   Charles B. Strahan, Inc.                                     450 W. 42nd St. #33E                                                                                                                             New York          NY      10036
6483999   Charles B. Wessler Entertainment                             11661 San Vicente Blvd. Suite 609                                                                                                                Los Angeles       CA      90049
6491920   CHARLES B. WESSLER ENTERTAINMENT, INC. FSO                   CHARLIE WESSLER AKA CHARLES WESSLER                        C/O VALENSI ROSE PLC           ATTN: DAVID M. REEDER, ESQ.   188 CENTURY PARK EAST,   LOS ANGELES       CA      90067
6484119   Charles E. Huttinger                                         4330 McLaughlin Ave. #203                                                                                                                        Los Angeles       CA      90066
6483815   Charles E. Rutherford                                        1600 North Genesee Avenue                                                                                                                        Los Angeles       CA      90046
6481830   Charles Fiorello dba Kabukimagic                             466 Washington Ave. Extension                                                                                                                    Saugerties        NY      12477
6481213   Charles Hart                                                 438 Towne Hill Rd.                                                                                                                               Montpelier        AE      09602
6469886   CHARLES HART                                                 438 TOWNE HILL RD.                                                                                                                               MONTPELIER        VT      09602
6482764   Charles Kevin Steincross                                     3892 Connecticut St.                                                                                                                             Saint Louis       MO      63116
6486129   Charles McDonald and Associates LLC                          1007 Drown Ave                                                                                                                                   Ojai              CA      93023
6489703   CHARLES RIZZO & ASSOCIATES OF NY, INC.                       DBA RIZZO GROUP                                            1333 BROADWAY, SUITE 500                                                              NEW YORK          NY      10018
6482538   Charles Roderick Furbush                                     c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                Northbrook        IL      60062
6481817   Charles Sincinito                                            9 Elayne Ct.                                                                                                                                     Smithtown         NY      11787
6481982   Charles Theatre                                              1711 N Charles St                                                                                                                                Baltimore         MD      21201
6482312   Charles W. Ainlay                                            2201 Golf Club Ln                                                                                                                                Nashville         TN      37215
6482824   Charlie Bell                                                 4201 W MEMORIAL RD #10112                                                                                                                        Oklahoma City     OK      73134
6485526   Charlie Borsheim                                             5335 Bayer Place                                                                                                                                 Woodland Hills    CA      91367
6482539   Charlie Tilson                                               c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                Northbrook        IL      60062
6477388   CHARTER COMMUNICATIONS ENT.LLC                               PO BOX 742600                                                                                                                                    CINCINNATI        OH      45274
6484171   Chartscript Ltd.                                             c/o Creative Artists Agency, LLC2000 Avenue of hte Stars                                                                                         Los Angeles       CA      90067
6484321   Chas Court Productions, Inc. fso Eric Johnson                9255 Sunset Blvd, Suite 515c/o The Gotham Group                                                                                                  West Hollywood    CA      90069
6469500   CHAS COURT PRODUCTIONS, INC. FSO ERIC JOHNSON                C/O THE GOTHAM GROUP                                       9255 SUNSET BLVD, SUITE 515                                                           WEST HOLLYWOOD    CA      90069
6484628   Chasen & Company                                             8383 Wilshire Blvd. Suite 500                                                                                                                    Beverly Hills     CA      90211
6480553   Chasin, Yale                                                 Address on File
6483816   Chateau Marmont                                              8221 Sunset Blvd                                                                                                                                 Los Angeles       CA      90046
6478774   CHATEAU MARMONT                                              8221 SUNSET BLVD.                                                                                                                                HOLLYWOOD         CA      90046
6491819   CHAUNCEY STREET ENTERTAINMENT LLC                            129 WEST 29TH STREET, 11TH FLOOR                                                                                                                 NEW YORK          NY      10001
6475317   CHAVEZ GRIEVES CONSULTING                                    ENGINEERS, INC.                                            4700 LINCOLN ROAD NE                                                                  ALBUQUERQUE       NM      87109
6479721   CHAVEZ\EFREN                                                 17340 HIGHACRES AVE.                                                                                                                             PALMDALE          CA      93591
6477265   CHAVEZ\LAURENCE                                              3603 WILLOW GLEN TRAIL                                                                                                                           SUWANNEE          GA      30024
6477223   CHEADLE'S AUTO ART & SIGN                                    71 MORRIS STREET                                                                                                                                 ASHEVILLE         NC      28806
6477566   CHEAPEST SHUTTERS IN TOWN,LLC                                3315 B MAGAZINE ST                                                                                                                               NEW ORLEANS       LA      70115
6475992   CHECKERS PARTY RENTAL INC.                                   CALLE ALEJO CRUZADO #1003                                                                                                                        SAN JUAN          PR      00924
6491389   CHEE HO                                                      Address on File
6483408   Cheese Cutters, Inc.                                         c/o Corner of the Sky1635 North Cahuenga Blvd.                                                                                                   Los Angeles       CA      90028
6476826   CHELO CINE VISION                                            3015 BOUNDARY STREET UNIT #6                                                                                                                     WILMINGTON        NC      28405
6476827   CHELO CINE VISION LLC                                        3015 BOUNDRY STREET UNIT #6                                                                                                                      WILMINGTON        NC      28405
6481187   Chelsea Cleaning Services Co., dba Chelsea Window Cleaning   PO Box 171                                                                                                                                       Englishtown       NJ      07726
6491400   CHELSEA DAVIS                                                Address on File
6468731   CHELSEA GILMORE ('CG')                                       C/O THREE SIX ZERO GROUP                                   ATTN: DAVID UNGER ('AGENT')    9348 CIVIC CENTER DRIVE       2ND FLOOR                BEVERLY HILLS     CA      90210
6485574   Chelsea Iacopelli                                            4607 Willis Ave. #11                                                                                                                             Sherman Oaks      CA      91403
6491531   CHEM-DRY                                                     9107 WILSHIRE BLVD. STE 450                                                                                                                      BEVERLY HILLS     CA      90210
6480976   Chen, Evan                                                   Address on File
6480706   Chen, Leon F                                                 Address on File
6483358   Cheri A. Jacobs                                              4238 Franklin Ave.                                                                                                                               Los Angeles       CA      90027
6476425   CHEROKEE HELICOPTER SERVICE                                  2228 GARRETTS RUN RD                                                                                                                             FORD CITY         PA      16226
6478358   CHERRIX\MARTY                                                2501 WEST ZIA ROAD                                                                                                                               SANTA FE          NM      87505
6482263   Cherry Heart, LLC                                            9 Music Sq. S. 345                                                                                                                               Nashville         TN      37203
6492734   CHERY* CASSANDRA                                             Address on File
6483024   Cheryl A. Kurk                                               53 Arroyo Calabasas Rd.                                                                                                                          Santa Fe          NM      87506
6485575   Cheryl R. Crane                                              3592 Alana Dr.                                                                                                                                   Sherman Oaks      CA      91403
6476624   CHESHIRE CAT GALLERY                                         20050 CLARK AVE                                                                                                                                  RALEIGH           NC      27605
6491269   CHESTNUT HILL COFFEE COMPANY INC                             7715 CRITTENDEN ST , 301                                                                                                                         PHILADELPHIA      PA      19118
6477598   CHIBA NEW ORLEANS, LLC                                       8312 OAK ST                                                                                                                                      NEW ORLEANS       LA      70118
6483132   Chic Little Devil, LLC                                       1206 Maple Ave., Suite 1100-A                                                                                                                    Los Angeles       CA      90015




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                                                                                                                                                 Served First Class Mail

MMLID     NAME                                                           ADDRESS                                                            ADDRESS 2                            ADDRESS 3                 ADDRESS 4                   CITY               STATE   POSTAL CODE COUNTRY
6484676   Chicken House Entertainment, Ltd.,                             c/o Paul Kohner Agency | Stephen Moore9300 Wilshire Blvd., Suite                                                                                              Beverly Hills      CA      90212
6485422   Chicks Dig Gay Guys, LLC                                       12455 Santol Dr                                                                                                                                               Sylmar             CA      91342
6477930   CHILDERS\MICHAEL SCOTT                                         3700 KAYEWOOD                                                                                                                                                 LITTLE ELM         TX      75068
6483219   Children of Thirteen Music, div of Deep Sleep Inc c/o IB Mgm   c/o IB Management10880 Wilshire Blvd. Suite 920                                                                                                               Los Angeles        CA      90024
6477344   CHILDS, JAAN                                                   PMB 126,10 N.O. SECTION ST.                                                                                                                                   FAIRHOPE           AL      36532
6476962   CHILDS\MARY H.                                                 109 S. ATLANTIC AVE                                                                                                                                           SOUTHPORT          NC      28461
6478962   CHILLOWVISION LLC                                              11021 WAGNER ST.                                                                                                                                              CULVER CITY        CA      90230
6483201   Chinese Consulate General                                      443 Shatto Place                                                                                                                                              Los Angeles        CA      90020
6485501   Chiodo Bros. Productions, Inc.                                 C/O Stein Agency5125 Oakdale Avenue                                                                                                                           Woodland Hills     CA      91364
6482723   CHLIC-Chicago                                                  5476 Collections Center Dr.                                                                                                                                   Chicago            IL      60693
6479691   CHO, SIMON S.                                                  4708 E. GOLDEN EAGLE AVENUE                                                                                                                                   ORANGE             CA      92869
6478089   CHOCHOL\MICHAEL                                                126 MESA STREET                                                                                                                                               ALBUQUERQUE        NM      87106
6478541   CHODOROV, MARJORIE                                             417 S.HILL ST                                                                                                                                                 LOS ANGELES        CA      90013
6478289   CHOICE STEEL                                                   PO BOX 90294                                                                                                                                                  ALBUQUERQUE        NM      87199
6478290   CHOICE STEEL CO.                                               P.O. BOX 90294                                                                                                                                                ALBUQUERQUE        NM      87199
6477827   CHOTIN\SCOTT                                                   59778 S FIRST ST                                                                                                                                              LACOMBE            LA      70445
6477580   CHRICEOL, LAUREN                                               Address on File
6477625   CHRICEOL\LAUREN                                                3319 CLEVELAND AVE                                                                                                                                            NEW ORLEANS        LA      70119
6484062   Chris Ann Maxwell                                              10557 Butterfield Rd.                                                                                                                                         Los Angeles        CA      90064
6485552   Chris Baugh                                                    5625 Mammoth Avenue                                                                                                                                           Van Nuys           CA      91401
6484172   Chris Cornell                                                  1880 Century Park East #1600                                                                                                                                  Los Angeles        CA      90067
6480381   CHRIS FILLMORE                                                 6929 IDLEWOOD CT. N.                                               APT. 1204                                                                                  INDIANAPOLIS       IN      46214
6482540   Chris Narveson                                                 c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                             Northbrook         IL      60062
6483410   Chris W. Hill                                                  1555 North Vine Street # 433S                                                                                                                                 Los Angeles        CA      90028
6483583   Chrissy Riley                                                  591 1/2 S. Ogden Dr.                                                                                                                                          Los Angeles        CA      90036
6483584   Christal Garrick                                               c/o AFTRA5757 Wilshire Blvd. Suite 900                                                                                                                        Los Angeles        CA      90036
6479360   CHRISTENSEN\LYLE                                               17906-3 RIVER CIRCLE                                                                                                                                          CANYON COUNTRY     CA      91387
6485691   Christian Del Grosso, LLC                                      16030 Ventura Blvd. #240                                                                                                                                      Encino             CA      91436
6469310   CHRISTIAN GARCIA                                               C/O RELATIVITY BASEBALL                                            400 SKOKIE BLVD., SUITE 280                                                                NORTHBROOK         IL      60062
6482541   Christian Garcia                                               c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                             Northbrook         IL      60062
6468733   CHRISTIAN GUDEGAST                                             C/O BLOOM HERGOTT ET AL. LLP                                       ATTN: PATRICK KNAPP                  150 SOUTH RODEO DRIVE     3RD FLOOR                   BEVERLY HILLS      CA      90212
6481617   Christian LoGrasso                                             9 Thayer St                                                                                                                                                   New York           NY      10040
6485164   Christian Robert Elizondo-Sullivan                             12029 Breezewood Dr.                                                                                                                                          Whittier           CA      90604
6482413   Christian Williams                                             631 E. 3rd St.                                                                                                                                                Bloomington        IN      47406
6483543   Christian Wintter                                              825 South Shenandoah St. #203                                                                                                                                 Los Angeles        CA      90035
6479104   CHRISTIE DIGITAL SYSTEMS                                       10550 CAMDEN DRIVE                                                                                                                                            CYPRESS            CA      90630
6484035   Christie Digital Systems USA                                   P.O. Box 513386                                                                                                                                               Los Angeles        CA      90051
6489679   CHRISTIE DIGITAL SYSTEMS USA                                   VPF - FINANCE DEPT.                                                10550 CAMDEN DR.                                                                           CYPRESS            CA      90630
6486926   CHRISTIE DIGITAL SYSTEMS USA, INC.                             C/O GREENBERG GLUSKER FIELDS CLAMAN &                              MACHTINGER LLP                       ATTN: JEFFREY A.KRIEGER   1900 AVENUE OF THE STARS,   LOS ANGELES        CA      90067
6483268   Christina Perri dba Miss Perri Lane Publishing                 1990 S. Bundy Dr. #200                                                                                                                                        Los Angeles        CA      90025
6484919   Christina Siebeneicher                                         19780 Vision Trial                                                                                                                                            Topanga            CA      90290
6482500   Christina Vandre                                               15360 18th Ave. N. #1014                                                                                                                                      Minneapolis        MN      55447
6483914   Christina Y. Chang                                             8899 Beverly Blvd                                                                                                                                             Los Angeles        CA      90048
6484826   Christine Bergren Music Consulting                             512 Main Street, Suite 1                                                                                                                                      El Segundo         CA      90245
6798481   CHRISTINE BERGREN MUSIC CONSULTING                             ATTN: CHRISTINE BERGREN                                            512 MAIN STREET                      SUITE 1                                               EL SEGUNDO         CA      90245
6481680   Christine Manna                                                201 Washington Ave.                                                                                                                                           Pleasantville      NY      10570
6483544   Christine R. DePauw dba Chrissy DePauw                         1423 1/2 S. Crescent Heights Blvd.                                                                                                                            Los Angeles        CA      90035
6485763   Christine Schaefer                                             330 N Screenland Drive #118                                                                                                                                   Burbank            CA      91505
6485060   Christine Taylor                                               2911 Colorado Ave, Apt B                                                                                                                                      Santa Monica       CA      90404
6478018   CHRISTINE\CARRIE                                               PO BOX 882                                                                                                                                                    CEDAR CREST        NM      87008
6477483   CHRISTMAS VILLAGE LLC                                          4501 VETERANS BLVD                                                                                                                                            METAIRIE           LA      70006
6485247   Christopher A. Bowman                                          182 N. Catalina Ave.                                                                                                                                          Pasadena           CA      91106
6480148   CHRISTOPHER BEAUCHAMP                                          C/O MONSTER VISION, LLC                                            555 SOUTH LAKE DESTINY DRIVE                                                               ORLANDO            FL      32810
6481405   Christopher Brescia                                            344 West 12th St.                                                                                                                                             New York           NY      10014
6483585   Christopher Campbell                                           386 S. Burnside AvenueApt. 6B                                                                                                                                 Los Angeles        CA      90036
6486912   CHRISTOPHER CORNELL                                            DBA DISAPPEARING ONE MUSIC                                         C/O GELFAND RENNERT & FELDMAN, LLP   ATTN: MARK GOODMAN, CPA   1880 CENTURY PARK EAST,     LOS ANGELES        CA      90067
6491877   CHRISTOPHER CROSS DBA MARAJU MUSIC                             2105 JUNE DR.                                                                                                                                                 NASHVILLE          TN      37214
6485982   Christopher Griffin                                            P.O. Box 1526                                                                                                                                                 Chino              CA      91708
6483269   Christopher James Adams                                        1436 Armacost Avenue, Apt 7                                                                                                                                   Los Angeles        CA      90025
6485545   Christopher Kulikowski                                         17251 Summer Maple Way                                                                                                                                        Canyon Country     CA      91387
6486308   Christopher Lee Day                                            745 Ekela Ave #A-3                                                                                                                                            Honolulu           HI      96816
6482542   Christopher M. Bostick                                         c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                             Northbrook         IL      60062
6481122   Christopher M. Patrick                                         51 Baxter Rd.                                                                                                                                                 Storrs Mansfield   CT      06268
6482143   Christopher Martin                                             3000 Northwood Blvd.                                                                                                                                          Winter Park        FL      32789
6484500   Christopher Michael George                                     1840 N. Beverly Dr.                                                                                                                                           Beverly Hills      CA      90210
6483586   Christopher Morgan                                             754 1/2 South Orange Grove                                                                                                                                    Los Angeles        CA      90036
6485939   Christopher Ryan dba Oceanside Entertainment                   6215 Beck Ave. #5                                                                                                                                             North Hollywood    CA      91606
6483817   Christopher Sanata                                             1621 1/4 N. Martell Avenue                                                                                                                                    Los Angeles        CA      90046
6484778   Christopher Schram                                             3838 Vinton ave. #100                                                                                                                                         Culver City        CA      90232      UNITED
6486380   Christopher Stephen Littlechild                                36 Richard Stagg CloseSt. Albans                                                                                                                              Hertfordshire              AL1 5AT    KINGDOM




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                                                                                                                                  Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                ADDRESS 2                           ADDRESS 3                   ADDRESS 4                 CITY              STATE   POSTAL CODE UNITED
                                                                                                                                                                                                                                                             COUNTRY
6474055   CHRISTOPHER SYMES                                           46 DENMAN ROAD                                                                                                                                   LONDON                    SE15 5NR    KINGDOM
6481142   Christopher Symes                                           46 Denman Road                                                                                                                                   Cranford          NJ      07016
6484120   Christopher Tenney                                          18633 DEARBORN ST                                                                                                                                NORTHRIDGE        CA      91324-3022
6482364   Christopher Von Vliet                                       1278 W. 9th St. #940                                                                                                                             Cleveland         OH      44113
6484121   Christopher Young                                           12654 Washington Blvd. #201                                                                                                                      Los Angeles       CA      90066
6468739   CHRISTY FLETCHER ('ARTIST')                                 C/O LICHTER, GROSSMAN, NICHOLS,                        ADLER & FELDMAN, INC.               ATTN: LINDA LICHTER         9200 SUNSET BLVD, #1200   WEST HOLLYWOOD    CA      90069
6479483   CHRISTY'S EDITORIAL FILM SUP                                3625 WEST PACIFIC AVE.                                                                                                                           BURBANK           CA      91505
6491603   CHROMATIC INC                                               127 CONCORD ST                                                                                                                                   GLENDALE          CA      91203
6485061   Chrysalis                                                   1853 Lincoln Blvd.                                                                                                                               Santa Monica      CA      90404
6798472   CHRYSALIS MUSIC PUBLISHING, LLC                             BMG RIGHTS MANAGEMENT US LLC                           1745 BROADWAY                       19TH FLOOR                                            NEW YORK          NY      10019
6487896   CHRYSALIS MUSIC PUBLISHING, LLC                             C/O BMG RIGHTS MANAGEMENT                              ATTN: ROYALTIES                     1745 BROADWAY, 19TH FLOOR                             NEW YORK          NY      10019
6474955   CHSP TRS NEW ORLEANS, LLC                                   DBA: LE MERIDIEN NEW ORLEANS                           333 POYDRAS STREET                                                                        NEW ORLEANS       LA      70130
6488557   CHUCK HAYWARD                                               C/O AGENCY FOR THE PERFORMING ARTS                     ATTN: ADAM PERRY                    405 SOUTH BEVERLY DRIVE                               BEVERLY HILLS     CA      90212
6480361   CHUCK HAYWARD                                               C/O GINSBURG DANIELS, LLP                              ATTN: GRACE KALLIS & LEV GINSBURG   9300 WILSHIRE BOULEVARD                               BEVERLY HILLS     CA      90212
6483587   Chuck Rose                                                  309 N. Mansfield Ave.                                                                                                                            Los Angeles       CA      90036
6484501   Chum Productions                                            345 North Maple Dr. Suite 294                                                                                                                    Beverly Hills     CA      90210
6475576   CHUMAR CORP.                                                CARR. 3 KM 60                                          HUCARES                                                                                   NAGUABO           PR      00718
6484122   Chung & Associates LLC dba Cashmere Agency                  17530 Beatrice Street                                                                                                                            Los Angeles       CA      90066
6481007   Cid, Jacoby                                                 Address on File
6485265   Cimarron Group The                                          Dept LA 23924                                                                                                                                    Pasadena          CA      91185
6483668   Cimarron Group, The-DO NOT USE                              Audio Visual6855 Santa Monica Blvd.                                                                                                              Los Angeles       CA      90038
6475368   CIMUHA, INC.                                                C/O ANITA GAUDIOSO                                     6245 BEN AVENUE                                                                           NORTH HOLLYWOOD   CA      91352
6476828   CINE EXPENDABLE SUPPLY, INC.                                1901 - H BLUE CLAY RD                                                                                                                            WILMINGTON        NC      28405
6491449   CINE G INC                                                  4526 CUTTER STREET                                                                                                                               LOS ANGELES       CA      90039
6485543   Cine Makeup, Inc.                                           30862 Gilmour Rd.                                                                                                                                Castaic           CA      91384
6475779   CINE PARTNERS II, INC.                                      1012 MARQUEZ PLACE                                     SUITE 106-B                                                                               SANTA FE          NM      87505
6476829   CINE PARTNERS II, INC.                                      1901-H BLUE CLAY RD                                                                                                                              WILMINGTON        NC      28405
6475933   CINECOM PRODUCTIONS, LTD.                                   1A FAIRWAY AVE., C/O: NATALIE THOMPSON                                                                                                           KINGSTON                               JAMAICA
6469409   CINEDIGM DIGITAL CINEMA CORP                                DBA PAVILION THEATRE                                   45 W. 36TH STREET                   7TH FLOOR                                             NEW YORK          NY      10018
6491592   CINEDIGM DIGITAL CINEMA CORP                                P.O. BOX 100346                                                                                                                                  PASADENA          CA      91189
6481195   Cinedigm Digital Cinema Corp dba Pavilion Theatre           DBA PAVILION THEATRE                                   CINEDIGM DIGITAL CINEMA CORP        45 WEST 36TH STREET         7TH FLOOR                 NEW YORK          NY      10018
6489471   CINEDIGM DIGITAL FUNDING 2, LLC                             ATTN: GARY S LOFFREDO, PRESIDENT                       902 BROADWAY                        9TH FLOOR                                             NEW YORK          NY      10010
6490687   CINEDIGM DIGITAL FUNDING I, LLC                             ATTN: GARY S. LOFFREDO                                 902 BROADWAY 9TH FLOOR                                                                    NEW YORK          NY      10010
6483724   Cinelease, Inc.                                             5375 West San Fernando Rd.                                                                                                                       Los Angeles       CA      90039
6490468   CINELEASE, INC.                                             ATTN: LUZ GARCIA, SUPERVISOR (BILLING)                 5375 WEST SAN FERNANDO ROAD                                                               LOS ANGELES       CA      90039
6486320   Cinema 21 Inc                                               616 NW 21st Ave                                                                                                                                  Portland          OR      97209
6482219   Cinema 6, Inc.                                              9510 US 19                                                                                                                                       Port Richey       FL      34668
6481724   Cinema Art Productions LTD                                  82 Jefferson St                                                                                                                                  Brooklyn          NY      11206
6481996   Cinema Arts Theatre                                         9650-14 Main St.                                                                                                                                 Fairfax           VA      22031
6475110   CINEMA CATERING                                             C/O EUE/SCREEN GEMS STUDIOS                            1223 N. 23RD STREET                                                                       WILMINGTON        NC      28405
6481874   Cinema Centers                                              502 S. Market St. P.O. Box 146                                                                                                                   Millersburg       PA      17061
6482384   Cinema City at Marketplace, LLC                             10250 Alliance Rd. Suite 205                                                                                                                     Cincinnati        OH      45242
6481091   Cinema Holdings Gilford                                     Attn: Jack Trischitta55 Cambridge Parkway, Suite 200                                                                                             Cambridge         MA      02142
6482444   Cinema Hollywood, LLC                                       12280 Dixie Hwy.                                                                                                                                 Birch Run         MI      48415
6483104   Cinema Properties Group Theater, LLC.                       251 S. Main St.                                                                                                                                  Los Angeles       CA      90012
6798461   CINEMA SERVICE (TX)                                         11910 GRNVLLE AVENUE                                   #106                                                                                      DALLAS            TX      75243
6798460   Cinema Services (NJ)                                        573 Valley Rd                                          Suite 10                                                                                  Wayne             NJ      07470
6475876   CINEMA SERVICES, LLC.                                       1150 HUNGRY NECK BLVD.                                 SUITE C - PMB 211                                                                         MOUNT PLEASANT    SC      29464
6481875   Cinema Supply Co.                                           502 S. Market St. P.O. Box 146                                                                                                                   Millersburg       PA      17061
6481691   Cinema Technology Services LLC                              PO Box D-400                                                                                                                                     Pomona            NY      10970
6475865   CINEMA VEHICLE SERVICES                                     12580 SATICOY ST.                                      SUITE A                                                                                   NORTH HOLLYWOOD   CA      91605
6479588   CINEMA VEHICLE SERVICES                                     12580 SATICOY ST.                                                                                                                                NORTH HOLLYWOOD   CA      91605
6479589   CINEMA VEHICLES SERVICES                                    12580 SATICOY STREET                                                                                                                             NORTH HOLLYWOOD   CA      91605
6485655   Cinema Vision Inc.                                          Dawn Taubin3727 Longridge Avenue                                                                                                                 Sherman Oaks      CA      91423
6491717   CINEMACON, LLC                                              1705 N ST NW                                                                                                                                     WASHINGTON        DC      20036-2836
6481697   CinemaCon, LLC                                              60 Cuttermill Road, Ste. 413                                                                                                                     Great Neck        NY      11021
6470471   CINEMACON, LLC                                              750 FIRST STREET, NE SUITE 1130                                                                                                                  WASHINGTON        DC      20002
6492846   CINEMACON, LLC                                              ATTN: CYNTHIA SCHULER, OFFC. MGR./BOOKKEEPER           60 CUTTERMILL ROAD, SUITE 413                                                             GREAT NECK        NY      11021
6475757   CINEMARK HOLDINGS                                           3900 DALLAS PARKWAY,                                   SUITE # 500                                                                               PLANO             TX      75093
6478999   CINEMATS                                                    201 20TH ST.                                                                                                                                     MANHATTAN BEACH   CA      90266
6479389   CINEMOVERS STUDIO RENTALS, LLC                              4335 VAN NUYS BLVD.                                                                                                                              SHERMAN OAKS      CA      91403
6476931   CINEMOVES, INC.                                             2423 RED MAPLE CIRCLE                                                                                                                            LELAND            NC      28451
6491757   CINEPLEX ENTERTAINMENT LP                                   1303 YONGE STREET                                                                                                                                TORONTO           ON      M4T 2Y9      CANADA
6483818   Cinetrax, Inc.                                              8033 Sunset Blvd. #400                                                                                                                           Los Angeles       CA      90046
6479168   CINEVERSE                                                   4860 SAN FERNANDO RD.                                                                                                                            GLENDALE          CA      91204
6477668   CINEVERSE                                                   5725 HEEBE ST.                                                                                                                                   ELMWOOD           LA      70123
6470608   CINEVISION CORPORATION                                      3300 NE EXPRESSWAY BLDG 2A                                                                                                                       ATLANTA           GA      30341
6492440   CINEVISION CORPORATION                                      ATTN: SAUNDRA CONNER, OFFICE MANAGER                   3300 N.E. EXPRESSWAY, BLDG 2A                                                             ATLANTA           GA      30341
6477711   CINEWORKS LA LLC                                            1523 CONSTANCE ST 2D                                                                                                                             NEW ORLEANS       LA      70130
6476830   CINEWORKS NC LLC                                            905 N 23RD ST                                                                                                                                    WILMINGTON        NC      28405




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                                                                                                                                 Master Mailing List
                                                                                                                                Served First Class Mail

MMLID     NAME                                                          ADDRESS                                            ADDRESS 2                              ADDRESS 3                         ADDRESS 4               CITY             STATE   POSTAL CODE   COUNTRY
6491347   CINRAM 1K STUDIOS, LLC                                        26341 NETWORK PLACE                                                                                                                                 CHICAGO          IL      60673
6492277   CINRAM GROUP, INC.                                            C/O BALLARD SPAHR                                  ATTN: BRENT WEISENBERG                 919 THIRD AVENUE                                          NEW YORK         NY      10021
6482705   Cinram Group, Inc. Olyphant Division                          26340 Network Place                                                                                                                                 Chicago          IL      60673
6798455   CINRAM, GROUP, INC                                            ATTN: FRED RUDOLPH, EVP                            2255 MARKHAM ROAD                                                                                SCARBOROUGH      ON      M1B 2W3       CANADA
6475670   CINTAS CORPORATION                                            (LOCATION# 013)                                    PO BOX 630910                                                                                    CINCINNATI       OH      45263
6477387   CINTAS CORPORATION                                            P O BOX 630803                                                                                                                                      CINCINNATI       OH      45263-0803
6478042   CINTAS DOCUMENT MANAGEMENT                                    1415 BROADWAY NE                                                                                                                                    ALBUQUERQUE      NM      87102
6477386   CINTAS DOCUMENT MANAGEMENT                                    PO BOX 633842                                                                                                                                       CINCINNATI       OH      45263
6475587   CINTRON\MANUEL                                                PINO #235                                          MONTE CASINO                                                                                     TOA ALTA         PR      00953
6477280   CIRAOLO\ANTHONY C.                                            2420 OLD ALABAMA RD.                                                                                                                                AUSTELL          GA      30168
6482906   Cisco, Inc.                                                   P.O. Box 801088                                                                                                                                     Houston          TX      77280
6482724   Cision Us Inc.                                                P.O. Box 98869                                                                                                                                      Chicago          IL      60693
6492421   CIT BANK, N.A.                                                ATTN: DAISY STALL                                  2450 BROADWAY AVENUE, SUITE 400                                                                  SANTA MONICA     CA      90404
6798449   CIT BANK, N.A.                                                ATTN: JAMES K. SIMONS AND DAISY STALL              2450 BROADWAY AVENUE, 4TH FLOOR                                                                  SANTA MONICA     CA      90404
6798448   CIT Bank, N.A.                                                c/o Loeb & Loeb LLP                                Attn: Susan Zuckerman Williams, Esq.   10100 Santa Monica Blvd., Suite                           Los Angeles      CA      90067
6485254   CIT Bank, N.A.                                                P.O. Box 7110                                                                                                                                       Pasadena         CA      91109
6491955   CIT BANK, N.A. AS AGENT                                       RE: CIT AND FIRST REPUBLIC BANK                    ATTN: JOSEPH WOOLF, MANAGING DIRECTOR CIT ENTERTAINMENT FINANCE          2450 BROADWAY AVENUE,   SANTA MONICA     CA      90404
6491957   CIT BANK, N.A. AS AGENT                                       RE: CIT, SUREFIRE ENT. CAPITAL, CITY NATIONAL      ATTN: JOSEPH WOOLF, MANAGING DIRECTOR CIT ENTERTAINMENT FINANCE          2450 BROADWAY AVENUE,   SANTA MONICA     CA      90404
6485274   CIT Technology Fin. Services, Inc.                            PO Box 100706                                                                                                                                       Pasadena         CA      91189
6478989   CITI LIGHTS                                                   1611 MONTEREY BLVD.                                                                                                                                 HERMOSA BEACH    CA      90254
6481495   CitiCam Film & Viedo Services                                 515 West 57th Street                                                                                                                                New York         NY      10019
6798450   CITIZEN SNOW FILM PRODUCTIONS INC.                            314- 1777 CARRIE- DERICK                                                                                                                            MONTREAL         QC      H3C 6G2       CANADA
6798440   CITIZEN SNOW FILM PRODUCTIONS INC.                            ATTN: JEFF WAXMAN                                  1777 CARRIE DERICK                     SUITE 314                                                 MONTREAL         QC      H3C 6G2       CANADA
6483411   Citizens of the World Charter Schools - Los Angeles           5620 De Longpre Ave.                                                                                                                                Los Angeles      CA      90028
6491513   CITRIX ONLINE, LLC                                            FILE 50264                                                                                                                                          LOS ANGELES      CA      90074
6481261   City Cinemas dba Paris Theatre                                189 Second Ave. Suite 2S                                                                                                                            New York         NY      10003
6798441   CITY CINEMAS READING                                          5995 Sepulveda Blvd Suite 300                                                                                                                       Culver City      CA      90230
6480279   CITY HALL                                                     1414 MISSION STREET                                                                                                                                 SOUTH PASADENA   CA      91030
6480305   CITY HALL                                                     170 SANTA MARIA AVENUE                                                                                                                              PACIFICA         CA      94044
6480278   CITY HALL                                                     232 W. SIERRA MADRE BLVD.                                                                                                                           SIERRA MADRE     CA      91024
6480287   CITY HALL                                                     303 EAST 'B' STREET                                                                                                                                 ONTARIO          CA      91764
6480290   CITY HALL                                                     635 S. HWY 101                                                                                                                                      SOLANA BEACH     CA      92075
6480297   CITY HALL                                                     799 MOORPARK AVE.                                                                                                                                   MOORPARK         CA      93021
6480217   CITY HALL                                                     OFFICE OF TAX COLLECTOR                            200 N. SPRING ST.                                                                                LOS ANGELES      CA      90012
6480285   CITY HALL / CIVIC ARTS PLAZA                                  2100 THOUSAND OAKS BOULEVARD                                                                                                                        THOUSAND OAKS    CA      91362
6480293   CITY HALL ADMINISTRATION                                      1 TOWN SQUARE                                                                                                                                       MURRIETA         CA      92562
6798445   CITY NATIONAL BANK                                            ATTN: STEVEN SHAPIRO, SVP                          ENTERTAINMENT DIVISION                 400 ROXBURY DRIVE                 3RD FLOOR               BEVERLY HILLS    CA      90210-5024
6468675   CITY NATIONAL BANK                                            CITY NATIONAL CORPORATION                          CITY NATIONAL PLAZA                    555 SOUTH FLOWER STREET                                   LOS ANGELES      CA      90071
6468687   CITY NATIONAL BANK                                            MS. SANDRA KAZANDJIAN                              400 NORTH ROXBURY DRIVE                                                                          BEVERLY HILLS    CA      90210
6486549   City National Bank                                            Sandra Kazandjian                                  400 North Roxbury Drive                                                                          Beverly Hills    CA      90210
6468688   CITY NATIONAL BANK                                            STEVEN SHAPIRO                                     400 NORTH ROXBURY DRIVE                                                                          BEVERLY HILLS    CA      90210
6486687   City National Bank Credit Card Processing Center              Attn: Sandra Kazandjian                            400 N. Roxbury Drive                                                                             Beverly Hills    CA      90210
6482462   City National Bank Visa                                       Credit Card Processing CenterPO Box 3052                                                                                                            Milwaukee        WI      53201
6485323   City of Agoura Hills                                          30001 Ladyface Ct                                                                                                                                   Agoura Hills     CA      91301
6475383   CITY OF ALBUQUERQUE                                           FIRE DEPARTMENT                                    724 SILVER STREET SW                                                                             ALBUQUERQUE      NM      87102
6478063   CITY OF ALBUQUERQUE                                           P.O. BOX 1293                                                                                                                                       ALBUQUERQUE      NM      87103
6475623   CITY OF ALBUQUERQUE -                                         AVIATION DEPARTMENT                                P.O. BOX 1293                                                                                    ALBUQUERQUE      NM      87103
6475626   CITY OF ALBUQUERQUE - TREASURY                                DIVISION                                           P.O. BOX 17                                                                                      ALBUQUERQUE      NM      87103
6477184   CITY OF ASHEVILLE                                             P.O. BOX 7148                                                                                                                                       ASHEVILLE        NC      28802
6480326   CITY OF AUSTELL TAX COLLECTOR                                 2716 BROAD STREET                                                                                                                                   AUSTELL          GA      30106
6484502   City of Beverly Hills                                         Customer Service Billing455 N. Rexford Dr.                                                                                                          Beverly Hills    CA      90210
6480236   CITY OF BEVERLY HILLS                                         ELLIOT M. FINKEL, CITY TREASURER                   455 NORTH REXFORD DRIVE                                                                          BEVERLY HILLS    CA      90210
6480329   CITY OF BUFORD TAX COLLECTOR                                  2300 BUFORD HIGHWAY                                                                                                                                 BUFORD           GA      30518
6479443   CITY OF BURBANK                                               275 E OLIVE AVE                                                                                                                                     BURBANK          CA      91502
6480238   CITY OF BURLINGAME                                            TREASURER'S OFFICE                                 501 PRIMROSE ROAD                                                                                BURLINGAME       CA      94010-3997
6480241   CITY OF CARSON                                                MONICA COOPER - CITY TREASURER                     701 E. CARSON STREET                                                                             CARSON           CA      90745
6477799   CITY OF COVINGTON                                             317 N JEFFERSON AVE                                                                                                                                 COVINGTON        LA      70433
6480251   CITY OF FRESNO BUSINESS TAX DIVISION                          2600 FRESNO STREET                                 ROOM 1098                                                                                        FRESNO           CA      93721
6480209   CITY OF FULTON MUNICIPAL BUILDING                             ATTN: MARY BETH JOHNSON, ASSESSOR                  141 S. FIRST ST.                                                                                 FULTON           NY      13069
6480213   CITY OF GARDENA                                               CITY TREASURER                                     1700 WEST 162ND STREET, ROOM 106                                                                 GARDENA          CA      90247
6475122   CITY OF GLENDALE                                              ATTN:SHERRI SERVILLO                               131 N ISABEL ST                                                                                  GLENDALE         CA      91206
6480207   CITY OF GLENDALE                                              OFFICE OF THE CITY TREASURER                       141 N. GLENDALE AVENUE, ROOM 438                                                                 GLENDALE         CA      91206
6476561   CITY OF GREENSBORO, NC                                        PO BOX 26120                                                                                                                                        GREENSBORO       NC      27402
6477503   CITY OF GRETNA                                                PO BOX 404                                                                                                                                          GRETNA           LA      70053
6483154   City of Hope                                                  1055 Wilshire Blvd., 12th Floor                                                                                                                     Los Angeles      CA      90017
6480190   CITY OF IRVINE                                                ADMINISTRATIVE SERVICES                            1 CIVIC CENTER PLAZA                                                                             IRVINE           CA      92606
6478504   CITY OF LAS VEGAS                                             1700 N. GRAND AVE.                                                                                                                                  LAS VEGAS        NM      87701
6478505   CITY OF LAS VEGAS FIRE DEPT                                   P.O. BOX 160                                                                                                                                        LAS VEGAS        NM      87701
6480247   CITY OF LONG BEACH                                            333 W. OCEAN BOULEVARD                             LOBBY LEVEL                                                                                      LONG BEACH       CA      90802
6480250   CITY OF LOS ANGELES                                           200 NORTH SPRING STREET                            ROOM 101                                                                                         LOS ANGELES      CA      90012




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                                                                                                                                                  Master Mailing List
                                                                                                                                                 Served First Class Mail

MMLID     NAME                                                          ADDRESS                                                             ADDRESS 2                      ADDRESS 3                         ADDRESS 4                   CITY                  STATE   POSTAL CODE COUNTRY
6475673   CITY OF LOS ANGELES                                           CITY OF LOS ANGELES TREASURER                                       PO BOX 845252                                                                                LOS ANGELES           CA      90084-5252
6480244   CITY OF LOS ANGELES                                           OFFICE OF FINANCE                                                   PO BOX 30716                                                                                 LOS ANGELES           CA      90030
6480314   CITY OF LOS ANGELES                                           OFFICE OF FINANCE - SPECIAL DESK UNIT                               200 NORTH SPRING STREET        ROOM 101                                                      LOS ANGELES           CA      90012
6478655   CITY OF LOS ANGELES                                           P.O. BOX 30420                                                                                                                                                   LOS ANGELES           CA      90030
6483490   City of Los Angeles                                           P.O. Box 30968                                                                                                                                                   Los Angeles           CA      90030
6478914   CITY OF LOS ANGELES TREASURER                                 PO BOX 845252                                                                                                                                                    LOS ANGELES           CA      90084-5252
6484036   City of Los Angeles, Office of Finance                        P.O. Box 513996                                                                                                                                                  Los Angeles           CA      90051
6483116   City of Los Angeles, Pershing Square Garage                   530 S. Olive St.                                                                                                                                                 Los Angeles           CA      90013
6483105   City of Lost Angeles Office of Finance                        200 North Spring St Rm 101                                                                                                                                       Los Angeles           CA      90012
6480270   CITY OF MALIBU                                                23825 STUART RANCH ROAD                                                                                                                                          MALIBU                CA      90265
6480225   CITY OF MALIBU                                                OFFICE OF TAX COLLECTOR                                             23825 STUART RANCH ROAD                                                                      MALIBU                CA      90265-4861
6480271   CITY OF MANHATTAN BEACH                                       1400 HIGHLAND AVENUE                                                                                                                                             MANHATTAN BEACH       CA      90266
6480206   CITY OF MANHATTAN BEACH                                       ACCOUNTING AND TAXES                                                1400 HIGHLAND AVE                                                                            MANHATTAN BEACH       CA      90266
6480311   CITY OF MARIETTA GEORGIA                                      CITY HALL                                                           TAX DIVISION                   205 LAWRENCE STREET                                           MARIETTA              GA      30060
6480274   CITY OF MARINA DEL RAY                                        13837 FIJI WAY                                                                                                                                                   MARINA DEL RAY        CA      90292
6480304   CITY OF MENLO PARK                                            701 LAUREL ST.                                                                                                                                                   MENLO PARK            CA      94025
6480277   CITY OF MONTEBELLO                                            1600 W. BEVERLY BLVD.                                                                                                                                            MONTEBELLO            CA      90640
6480286   CITY OF MONTEREY PARK                                         320 WEST NEWMARK AVE.                                                                                                                                            MONTEREY PARK         CA      91754
6475837   CITY OF NEW ORLEANS                                           1300 PERDIDO ST                                                     SUITE 4W07                                                                                   NEW ORLEANS           LA      70112
6480192   CITY OF NEWPORT BEACH                                         REVENUE DIVISION                                                    100 CIVIC CENTER DRIVE                                                                       NEWPORT BEACH         CA      92660
6480189   CITY OF OAKLAND                                               REVENUE SECTION                                                     150 FRANK H. OGAWA PLAZA       SUITE 5342                                                    OAKLAND               CA      94612
6480179   CITY OF PEEKSKILL                                             MICHELE JORDAN                                                      ASSESOR                        840 MAIN STREET                                               PEEKSKILL             NY      10566
6480273   CITY OF REDONDO BEACH                                         415 DIAMOND STREET                                                                                                                                               REDONDO BEACH         CA      90277
6475264   CITY OF RIO RANCHO                                            FINANCE DEPARTMENT                                                  3200 CIVIC CENTER CIRCLE NE                                                                  RIO RANCHO            NM      87144-4501
6480292   CITY OF RIVERSIDE                                             3900 MAIN ST.                                                                                                                                                    RIVERSIDE             CA      92522
6480182   CITY OF SACRAMENTO                                            REVENUE DIVISION                                                    CITY HALL (NEW BUILDING)       915 I STREET, 1ST FLOOR, ROOM                                 SACRAMENTO            CA      95814

6480295   CITY OF SAN JUAN CAPISTRANO                                   32400 PASEO ADELANTO                                                                                                                                             SAN JUAN CAPISTRANO   CA      92675
6480308   CITY OF SANTA CLARA                                           1500 WARBURTON AVE.                                                                                                                                              SANTA CLARA           CA      95050
6480226   CITY OF SANTA CLARITA                                         STEVENSON RANCH                                                     23920 VALENCIA BOULEVARD                                                                     SANTA CLARITA         CA      91355
6478349   CITY OF SANTA FE                                              P.O. BOX 909                                                                                                                                                     SANTA FE              NM      87504
6480275   CITY OF SANTA MONICA                                          1685 MAIN ST                                                                                                                                                     SANTA MONICA          CA      90401
6486358   City of Seattle Finance & Administrative Services, Facility   P.O. Box 94689                                                                                                                                                   Seattle               WA      98124
6480302   CITY OF SELMA FINANCE DEPARTMENT                              1710 TUCKER STREET                                                                                                                                               SELMA                 CA      93662
6480280   CITY OF SOUTH PASADENA                                        1414 MISSION STREET                                                                                                                                              S. PASADENA           CA      91030
6482053   City of Southport                                             201 E. Moore St.                                                                                                                                                 Southport             NC      28461
6480232   CITY OF TORRANCE                                              CITY HALL                                                           3031 TORRANCE BLVD                                                                           TORRANCE              CA      90503
6484322   City of West Hollywood                                        8300 Santa Monica Blvd                                                                                                                                           West Hollywood        CA      90069
6478834   CITY OF WEST HOLLYWOOD                                        P.O. BOX 51852                                                                                                                                                   LOS ANGELES           CA      90051
6480229   CITY OF WHITE PLAINS                                          FINANCE DEPARTMENT                                                  255 MAIN ST RM 102                                                                           WHITE PLAINS          NY      10601
6476480   CITY OF WINSTON-SALEM                                         100 E. FIRST STREET                                                                                                                                              WINSTON-SALEM         NC      27101
6484503   City Room Creative, LLC                                       c/o OLC, LLP 9301 Wilshire Blvd. #507                                                                                                                            Beverly Hills         CA      90210
6480231   CITY TREASURER                                                BURBANK CITY HALL                                                   275 EAST OLIVE AVENUE                                                                        BURBANK               CA      91502
6476558   CIVIL RIGHTS MUSEUM, LLC                                      134 S. ELM STREET                                                                                                                                                GREENSBORO            NC      27401
6484174   CIW, LLC fso James A. Wiatt                                   c/o Gelfand, Rennert, & Feldman1880 Century Park East, Suite 1600                                                                                                Los Angeles           CA      90067
6491437   CJ 4DPLEX AMERICAS, LLC                                       5700 WILSHIRE BLVD. SUITE 550                                                                                                                                    LOS ANGELES           CA      90036
6483084   CJ Matsumoto & Sons                                           1865 Cordova St.                                                                                                                                                 Los Angeles           CA      90007
6482350   CJ Star Buses, Inc.                                           c/o CJ Curtsinger202 Iron Wood Drive                                                                                                                             Nicholasville         KY      40356
6480615   Claiborne, Briana                                             Address on File
6478031   CLAIR\WILLIAM                                                 PO BOX 204                                                                                                                                                       PLACITAS              NM      87043      UNITED
6486460   Claire Wilson                                                 1st Floor Flat, 7 Arlington Road                                                                                                                                 London                        NW1 7ER    KINGDOM
                                                                                                                                                                                                                                                                                  UNITED
6468736   CLAIRE WILSON                                                 C/O CASAROTTO MANAGEMENT                                            ATTN: SOPHIE DOLAN             WAVERLY HOUSE                     7-12 NOEL STREET            LONDON                        W1F8GQ     KINGDOM
6468727   CLAIRE WILSON                                                 C/O GRAY KRAUSS STRATFORD SANDLER                                   DES ROCHERS LLP                ATTN: ANDRES DES ROCHERS, ESQ.    207 W. 25TH STREET, SUITE   NEW YORK              NY      10001
6482150   Claire's Boutiques, Inc.                                      3 SW 129th Ave.                                                                                                                                                  Hollywood             FL      33027
6475510   CLAIRMONT CAMERA                                              5650 UNIVERSITY BLVD. SE                                            BLDG A                                                                                       ALBUQUERQUE           NM      87106
6479548   CLAIRMONT CAMERA, INC.                                        4343 LANKERSHIM BLVD.                                                                                                                                            NORTH HOLLYWOOD       CA      91602
6476963   CLAIR'S ATTIC                                                 4701 SOUTHPORT/SUPPLY RD                                                                                                                                         SOUTHPORT             NC      28461
6481161   Clariss Morgan                                                264 Church St.                                                                                                                                                   Woodbridge            NJ      07095
6798439   CLARIUS ASIG, LLC                                             ATTN: WILLIAM SADLEIR                                               9100 WILSHIRE BLVD.                                                                          BEVERLY HILLS         CA      90212
6798431   CLARIUS BIGS, LLC                                             ATTN: GENERAL COUNSEL                                               9100 WILSHIRE BLVD.            SUITE 520E                                                    BEVERLY HILLS         CA      90212
6798432   CLARIUS BIGS, LLC                                             ATTN: WILLIAM SADLEIR                                               9100 WILSHIRE BLVD.            SUITE 520E                                                    BEVERLY HILLS         CA      90212
6798429   Clarius BIGS, LLC                                             c/o Loeb & Loeb LLP                                                 Attn: Nigel Pearson            10100 Santa Monica Blvd., Suite                               Los Angeles           CA      90067
6477114   CLARK & CO.LANDSCAPE SERVICES                                 P.O. BOX 1547                                                                                                                                                    FRANKLIN              NC      28744
6484268   Clark Navarro dba Clark Ivor                                  3400 Cahuenga Blvd. W. #108                                                                                                                                      Los Angeles           CA      90068
6479511   CLARK, DAVID S.                                               421 S GLENWOOD PLACE                                                                                                                                             BURBANK               CA      91506
6476864   CLARK, GLORIA                                                 P.O. BOX 16030                                                                                                                                                   WILMINGTON            NC      28408
6477142   CLARK\CHARLES DANIEL                                          873 BROWN AVE.                                                                                                                                                   WAYNESVILLE           NC      28786
6479484   CLARK\RONALD                                                  3310 W.BURBANK BLVD                                                                                                                                              BURBANK               CA      91505
6477758   CLARK\THOMAS LEE                                              121 CENAC ST                                                                                                                                                     HOUMA                 LA      70364
6486273   Clas Information Services Inc                                 2020 Hurley Way                                                                                                                                                  Sacramento            CA      95825




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MMLID     NAME                                                       ADDRESS                                                         ADDRESS 2                              ADDRESS 3                  ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6477224   CLASSIC EVENT RENTAL,INC.                                  537-A HAZEL MILL ROAD                                                                                                                         ASHEVILLE          NC      28806
6478954   CLASSIC IMAGES                                             469 SOUTH BEDFORD DRIVE                                                                                                                       BEVERLY HILLS      CA      90212
6483085   Classic Parking, Inc.                                      3208 Royal St.                                                                                                                                Los Angeles        CA      90007
6484827   Classic Party Rentals                                      2310 E. Imperial Hwy.                                                                                                                         El Segundo         CA      90245
6478219   CLASSIC PARTY RENTALS                                      8615 ALAMEDA PARK DRIVE NE                                                                                                                    ALBUQUERQUE        NM      87113
6472683   CLASSIC PARTY RENTALS, INC.                                2310 E. IMPERIAL HWY                                                                                                                          EL SEGUNDO         CA      90245
6476582   CLASSIC STORE FIXTURES, LLC                                405 B POMONA DR                                                                                                                               GREENSBORO         NC      27407
6485692   Classification & Rating Administration                     15503 Ventura Blvd                                                                                                                            Encino             CA      91436
6479390   CLASSIFICATION & RATINGS ADMIN                             15301 VENTURA BLVD, BLDG E                                                                                                                    SHERMAN OAKS       CA      91403
6475150   CLASSIFICATION AND RATING                                  ADMINISTRATION (CARA)                                           15301 VENTURA BLVD, BLDG E                                                    SHERMAN OAKS       CA      91403
6485576   Classification and Rating Administration                   15301 Ventura Blvd. Bldg E                                                                                                                    Sherman Oaks       CA      91403
6485417   Claudia Molina                                             11001 Oneida Avenue                                                                                                                           Pacoima            CA      91331
6479213   CLAUDIA'S STUDIO RENTALS                                   9306 HANNA AVE                                                                                                                                CHATSWORTH         CA      91311
6476016   CLAUDIO/SEBASTIAN                                          CALLE 6 G51, TINTILLO GARDENS                                                                                                                 GUAYNABO           PR      00966
6485611   Clay Lacy Aviation                                         7435 Valjean Ave.                                                                                                                             Van Nuys           CA      91406       UNITED
6486471   Clay Pasztor Ltd. fso Jim Clay                             c/o Sandra Marsh & Associates Client Trust Apt 8, 51 Drayton                                                                                  London                     SW10 9RX    KINGDOM
6483014   Clay Peres                                                 541 Agua Fria                                                                                                                                 Santa Fe           NM      87501
6477104   CLAYTON\CLAIRE                                             17 TROY HILL DR.                                                                                                                              FLETCHER           NC      28732
6486078   Clean Fun Promotional Marketing                            3187 Pullman St.                                                                                                                              Costa Mesa         CA      92626
6492434   CLEAN FUN PROMOTIONAL MARKETING                            ATTN: GREG WASHER, PRESIDENT                                    3187 PULLMAN ST.                                                              COSTA MESA         CA      92626
6479644   CLEAN SLATE RESTORATION, LLC                               PO BOX 3123                                                                                                                                   CITY OF INDUSTRY   CA      91744-9998
6489463   CLEAN YOUR HOMEFISH MUSIC                                  ATTN: ZACHARY D. SCHWARTZ                                       C/O ZEISLER ZEISLAR RAWSON & JOHNSON   901 A STREET, SUITE C                  SAN RAFAEL         CA      94901
6486234   Clean Your Homefish Music Attn: Zachary D. Schwartz        Attn: Zachary D. Schwartzc/o Zeisler Zeislar Rawson & Johnson                                                                                 San Rafael         CA      94901
6478651   CLEANING ALL STARS                                         P.O. BOX 291383                                                                                                                               LOS ANGELES        CA      90029
6476477   CLEANING CONCIERGE, LLC                                    P O BOX 8110                                                                                                                                  NEW ORLEANS        LA      27057-1064
6476259   CLEANING INNOVATIONS INC                                   3567 MOUNTAIN VIEW DR #127                                                                                                                    WEST MIFFLIN       PA      15122
6492727   CLEAR CHANNEL OUTDOOR                                      ATTN: DON OAKES, AR MANAGER                                     PO BOX 591790                                                                 SAN ANTONIO        TX      78259
6482725   Clear Channel Radio Digital                                12019 Collections Center Dr.                                                                                                                  Chicago            IL      60693
6481496   Clear Channel Radio Sales                                  125 West 55th St.                                                                                                                             New York           NY      10019
6482116   Clear Channel Spectacolor LLC                              P.O. Box 402379                                                                                                                               Atlanta            GA      30384
6484410   Clear Channel Worldwide                                    File #56543 (KIIS FM)                                                                                                                         Los Angeles        CA      90074
6479183   CLEARED BY ASHLEY, INC.                                    6049 LAKE LINDERO DRIVE                                                                                                                       AGOURA HILLS       CA      91301
6490487   CLEARED BY ASHLEY, INC.                                    F/S/O ASHLEY KRAVITZ                                            6049 LAKE LINDERO DRIVE                                                       AGOURA HILLS       CA      91301
6477253   CLEGG\JACOB                                                876 W. MADISON AVE                                                                                                                            CHARLSTON          SC      29412
6491296   CLEMENTS* JILL JANE                                        3014 BELAIRE CIRCLE                                                                                                                           ATLANTA            GA      30340
6476416   CLEVELAND BROTHERS EQUIPMENT                               4565 WILLIAM PENN HWY                                                                                                                         MURRYSVILLE        PA      15668
6482373   Cleveland Cinema Management Co. Ltd. dba Capitol Theatre   6200 Som Center Rd. C-20                                                                                                                      Solon              OH      44139
6476964   CLEWIS\GEORGE E.                                           1648 N.HOWE STREET                                                                                                                            SOUTHPORT          NC      28461
6468748   CLIFF DORFMAN, INC.                                        C/O MCKUIN FRANKEL WHITEHEAD LLP                                ATTN: JEFF FRANKEL                     141 EL CAMINO DRIVE        SUITE 100   BEVERLY HILLS      CA      90212-2717
6468761   CLIFF DORFMAN, INC. F/S/O CLIFF DORFMAN                    C/O ICM PARTNERS                                                ATTN: RICH GREEN                       10250 CONSTELLATION BLVD               LOS ANGELES        CA      90067
6468747   CLIFF DORMAN, INC.                                         C/O MCKUIN FRANKEL WHITEHEAD LLP                                ATTN: JEFF FRANKEL                     141 EL CAMINO DRIVE        SUITE 100   BEVERLY HILLS      CA      90212
6483512   Clifford Fong                                              1938 S. Crescent Heights Blvd.                                                                                                                Los Angeles        CA      90034
6482313   Cliffton Reid Long III dba Reid Long Productions           1700 Warfield Dr.                                                                                                                             Nashville          TN      37215
6480453   Close, Megan                                               Address on File
6484323   Cloud 9 Blueprint, Inc.                                    8721 W. Sunset Blvd. Suite 201                                                                                                                West Hollywood     CA      90069
6491430   CLOUTIER REMIX                                             2632 LA CIENEGA AVE.                                                                                                                          LOS ANGELES        CA      90034
6485031   CLOUTIER TALENT AGENCY                                     1026 Montana Avenue                                                                                                                           SANTA MONICA       CA      90403
6484677   Clover Entertainment, Inc                                  fso Stephanie Johnson, 120 S. Canon Drive #5                                                                                                  Beverly Hills      CA      90212
6478110   CLUBHOUSE INN AND SUITES                                   1315 MENAUL BLVD. NE                                                                                                                          ALBUQUERQUE        NM      87107
6486370   Clyde Theatre LLC The                                      PO Box 199                                                                                                                                    Langley            WA      98260
6477908   CMA TECHNOLOGY SYSTEMS                                     8180 YMCA PLAZA                                                                                                                               BATON ROUGE        LA      70810
6761920   CMG Atlanta TV                                             c/o Szabo Associates, Inc.                                      3355 Lenox Road NE, Suite 945                                                 Atlanta            GA      30326
6759759   CMG Orlando TV                                             c/o Szabo Associates, Inc.                                      3355 Lenox Road NE, Suite 945                                                 Atlanta            GA      30326
6759529   CMG Seattle TV                                             c/o Szabo Associates, Inc.                                      3355 Lenox Road NE, Suite 945                                                 Atlanta            GA      30326
6485502   CMJ Information Technology                                 23371 Mulholland Drive Ste. 200                                                                                                               Woodland Hills     CA      91364
6481222   CMJ Printing Corp                                          147 West 26th Street                                                                                                                          New York           NY      10001
6481984   C'mon Corp                                                 5701 Chilham Rd.                                                                                                                              Baltimore          MD      21209
6477335   CMR STUDIOS                                                442 94TH AVE. N                                                                                                                               ST PETERSBURG      FL      33702
6481608   CMSN, LLC, The                                             11 Park Place, Suite 1400                                                                                                                     New York           NY      10038
6486688   CNB                                                        Attn: Sandra Kazandjian                                         400 N. Roxbury Drive                                                          Beverly Hills      CA      90210
6475372   CNN AMERICA INC                                            ATTN:PETE JANOS                                                 6430 SUNSET BLVD STE 300                                                      LOS ANGELES        CA      90028
6476704   CNN IMAGESOURCE                                            PO BOX 532455                                                                                                                                 CHARLOTTE          NC      28290-2455
6477066   COACH AMERICA                                              408 CENTER STREET                                                                                                                             JACKSONVILLE       NC      28546
6483015   Coalition for Quality Children's Media                     112 West San Francisco St. Suite 305A                                                                                                         Santa Fe           NM      87501
6483051   Coast 2 Coast Productions, LLC dba Leslie Small            5190 Neil Rd. Suite 430                                                                                                                       Reno               NV      89502
6485612   Coastal Charter Services                                   7943 Woodley Ave.                                                                                                                             Van Nuys           CA      91406
6476770   COASTAL CLEARED ART LLC                                    321 E. RENOVAH CIRCLE                                                                                                                         WILMINGTON         NC      28403
6485995   Coastal Helicopters LLC                                    1395 Fairplex Drive, D4                                                                                                                       La Verne           CA      91750
6476965   COASTAL HOSPITALITY                                        1511 N. HOWE STREET                                                                                                                           SOUTHPORT          NC      28461
6476831   COASTAL LADIES CARTING,INC.                                311 JUDGES ROAD, 1G                                                                                                                           WILMINGTON         NC      28405




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                                                                                                                                          Master Mailing List
                                                                                                                                         Served First Class Mail

MMLID     NAME                                                 ADDRESS                                                            ADDRESS 2                          ADDRESS 3                       ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6485929   Coastal Printworks, Inc.                             7344 Hinds Ave.                                                                                                                                   North Hollywood   CA      91605
6476878   COASTAL ROOTS, LLC.                                  7509 MASON LANDING ROAD                                                                                                                           WILMINGTON        NC      28411
6477567   COATES\MEGAN                                         4853 MAGAZINE ST                                                                                                                                  NEW ORLEANS       LA      70115
6485606   Cobalt Blue, LLC                                     15115 Lemay St.                                                                                                                                   Van Nuys          CA      91405
6491285   COBB ELECTRIC MEMBERSHIP CORPORATION                 1000 EMC PARKWAY                                                                                                                                  MARIETTA          GA      30060
6482223   Cobb Theatres III LLC                                2000-B Southbridge Pkwy, Ste 100Attn: Sharon Sirmon                                                                                               Birmingham        AL      35209
6469115   COBB THEATRES III LLC                                ATTN: SHARON SIRMON                                                2000-B SOUTHBRIDGE PKWY, STE 100                                               BIRMINGHAM        AL      35209
6476125   COBBETT\AARON                                        171 COURT STREET #4                                                                                                                               BROOKLYN          NY      11201
6481763   Cobble Hill Cinemas                                  265 Court Street                                                                                                                                  Brooklyn          NY      11231
6478603   COCHRAN\ERIN                                         2132 VALENTINE STREET                                                                                                                             LOS ANGELES       CA      90026
6476583   COCKERHAM, ROBERT JULIAN                             5302 ROCKINGHAM ROAD EAST                                                                                                                         GREENSBORO        NC      27407
6486156   Coco Jones                                           3051 Hillside Dr.                                                                                                                                 Burlingame        CA      94010
6482190   Coconut Grove Cinema dba Paragron Grove 13           3984 W. Hillsboro Blvd                                                                                                                            Deerfield Beach   FL      33442
6484000   Code Maple LLC                                       555 S. Barrington Ave.Apt 520                                                                                                                     Los Angeles       CA      90049       UNITED
6479817   CODEX DIGITAL LTD                                    60 POLAND ST                                                                                                                                      LONDON                    WIF 7NT     KINGDOM
6475900   CODEX TECHNOLOGIES                                   3450 CAHUEGNA BLVD W                                               UNIT #103                                                                      LOS ANGELES       NC      90068
6475908   CODEX TECHNOLOGIES, INC.                             3450 CAHENGA BLVD WEST                                             UNIT 103                                                                       LOS ANGELES       CA      90068
6482543   Cody Ross                                            c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                  Northbrook        IL      60062
6485656   Cody W. Farwell                                      13840 Valley Vista                                                                                                                                Sherman Oaks      CA      91423
6478604   COE\THOMAS D.                                        922 MALTMAN AVE                                                                                                                                   LOS ANGELES       CA      90026
6478872   COFFEY SOUND                                         3325 CAHUENGA BLVD. WEST                                                                                                                          HOLLYWOOD         CA      90068
6478873   COFFEY SOUND, LLC                                    3325 CAHUENGA BLVD. WEST                                                                                                                          LOS ANGELES       CA      90068
6475061   COFFEY\GERRARD                                       316 CALIFORNIA AVE                                                 #835                                                                           RENO              NV      89509
6474763   COHEN*ERIC                                           Address on File
6480715   Cohen, Natalie                                       Address on File
6798414   COHN REZNICK                                         1301 Avenue of the Americas                                                                                                                       New York          NY      10019
6477626   COHN\TIM                                             3126 FORTIN ST                                                                                                                                    NEW ORELANS       LA      70119
6484175   CohnReznick, LLP                                     1900 Avenue of the Stars, 28th FL                                                                                                                 Los Angeles       CA      90067
6798415   Coinfish Publishing                                  c/o BMG Rights Management (US) LLC                                 1745 Broadway, 19th Floor                                                      New York          NY      10019
6475294   COLBECK CAPITAL MANAGEMENT                           Address on File
6492681   COLBECK CAPITAL MANAGEMENT, LLC                      Address on File
6476662   COLD BLOODED ENCOUNTERS, INC.                        100 W LINCOLN ST # 103                                                                                                                            TULLAHOMA         TN      37388-3530
6492068   COLD OPEN                                            ATTN: JOHN PEED                                                    1313 INNES PLACE                                                               VENICE            CA      90291
6477143   COLE LAWSON INC.                                     356 N MAIN STREET                                                                                                                                 WAYNESVILLE       NC      28786
6475465   COLE\BEVERLY                                         407 S.EVALINE ST                                                   APT 4                                                                          PITTSBURGH        PA      15224
6487873   COLEMAN*KIM                                          C/O ICM PARTNERS                                                   ATTN: CRAIG SHAPIRO                10250 CONSTELLATION BOULEVARD               LOS ANGELES       CA      90067
6479619   COLEMAN/CARLTON                                      11121 ERWIN ST.                                                                                                                                   NORTH HOLLYWOOD   CA      91606
6475064   COLEMAN\AMANDA R.                                    110 ALTENA ST                                                      #B                                                                             SAN RAFAEL        CA      94901
6485318   Colin Brady                                          1941 Colina Drive                                                                                                                                 Glendale          CA      91208        Channel
6486426   Colin Richard Cavill                                 14 Century BuildingsSt Heniver                                                                                                                    Sersey                    JE2 3AD      Islands
                                                                                                                                                                                                                                                        UNITED
6469677   COLIN RICHARD CAVILL                                 14 CENTURY BUILDINGS                                               ST HENIVER, SERSEY,                                                            CHANNEL ISLANDS           JE2 3AD      KINGDOM
6481109   Colin Walsh                                          15 Rosemary Lane                                                                                                                                  Jamestown         RI      02835
6798405   COLIN, JEZ                                           HI-FINESSE MUSIC AND SOUND LLC                                     2432 3RD STREET                    UNIT A                                      SANTA MONICA      CA      90405
6475939   COLLAZO\ROBERTO                                      BO. MARIANA BUZON 1113-E                                                                                                                          NAGUABO           PR      00718
6484629   Collective Digital Studios, LLC                      8383 Wilshire Blvd. #1050                                                                                                                         Beverly Hills     CA      90211
6484630   Collective LA, LLC                                   8820 Wilshire Blvd. Suite 305                                                                                                                     Beverly Hills     CA      90211
6484631   Collective Management Group LLC, The                 8383 Wilshire Blvd#1050                                                                                                                           Beverly Hills     CA      90211
6485657   Collider.com                                         13636 Ventura Blvd. #175                                                                                                                          Sherman Oaks      CA      91423
6482834   Collier Amusement Corp. dba Cinema 69                P.O. Box 1966                                                                                                                                     Mcalester         OK      74502
6478064   COLLIER\KATHLEEN                                     1509 PARK AVE SW                                                                                                                                  ALBUQUERQUE       NM      87104
6479743   COLLIER\KATHLEEN M.                                  1509 PARK AVENUE SW                                                                                                                               ALBUQUERQUE       NM      97104
6479134   COLLINS VISUAL MEDIA                                 10518 JOHANNA AVE.                                                                                                                                SHADOW HILLS      CA      91040
6491298   COLLINS, ANGELA                                      600 KISSINGBOWER ROAD                                                                                                                             VIDALIA           GA      30474
6479083   COLLINS/GREG                                         2222 5TH ST. SUITE 302                                                                                                                            SANTA MONICA      CA      90405
6479485   COLLINS\KEVIN                                        930 N AVON STREET                                                                                                                                 BURBANK           CA      91505
6479301   COLLINS\VALERIA                                      25323 VIA RAMON                                                                                                                                   VALENCIA          CA      91355
6479197   COLMER\WAYNE                                         5000 PARKWAY CALABASAS                                                                                                                            CALABASAS         CA      91302
6492677   COLODNE* JASON                                       DIRECTOR                                                           888 7TH AVENUE, 29TH FLOOR                                                     NEW YORK          NY      10106
6485577   Coloma Productions, Inc.                             4627 Tilden Ave. #2                                                                                                                               Sherman Oaks      CA      91403
6475560   COLON CRUZ\LUZ                                       URB. LOMAS DE SANTO TOMAS                                          D7 CALLE SAN GABRIEL                                                           NAGUABO           PR      00718
6475522   COLON NARVAEZ\MARIA                                  BARRIADA PLAYA HUCARES                                             BUZON 215 RR-2                                                                 NAGUABO           PR      00718-3045
6476001   COLON RODRIGUEZ\OMAR                                 PO BOX 31286                                                                                                                                      SAN JUAN          PR      00929
6474897   COLORADO DEPT OF PUBLIC HEALTH                       AND ENVIRONMENT                                                    4300 CHERRY CREEK DRIVE SOUTH                                                  DENVER            CO      80246-1530
6481203   Coloredge, Inc                                       Lockbox 826977312 W Route 38                                                                                                                      Moorestown        NJ      08057
6484063   Colornet Press                                       2216 Federal Avenue                                                                                                                               Los Angeles       CA      90064
6491633   COLORNET PRESS                                       6855 HAYVENHURST AVE                                                                                                                              VAN NUYS          CA      91406
6479983   COLORODO DEPT. OF LABOR AND EMPLOYMENT               EXECUTIVE DIRECTOR                                                 633 17TH ST., 2ND FL                                                           DENVER            CO      80202
6475077   COLUMBIA PICTURES INDUSTRIES,                        INC.                                                               10202 W. WASHINGTON BLVD.                                                      CULVER CITY       CA      90232
6798408   COLUMBIA PICTURES INDUSTRIES, INC.                   ATTENTION: ROGER TOLL                                              10202 WEST WASHING BLVD.                                                       CULVER CITY       CA      90232
6484779   Columbia Pictures Industries, Inc.                   c/o Sony Pictures Attn: Paul Friedman10202 West Washington Blvd.                                                                                  Culver City       CA      90232




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                                                                                                                                             Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                        ADDRESS 2                               ADDRESS 3                             ADDRESS 4   CITY            STATE   POSTAL CODE COUNTRY
6482104   Columbia Property Trust fso Columbia REIT - 315 Park Ave.   One Glenlake Parkway, Suite 1200                                                                                                                         Atlanta         GA      30328
6481994   Columbus IT Partners                                        351 Ballenger Center Dr.Suite 201                                                                                                                        Frederick       MD      21703
6484632   Comar Agency                                                8888 West Olympic Blvd., #203                                                                                                                            Beverly Hills   CA      90211
6492685   COMAR AGENCY LLC                                            ATTN: LESLIE COMAR, OWNER                                      8950 W. OLYMPIC BLVD., #606                                                               BEVERLY HILLS   CA      90212
6478019   COMBINED EFFORT, INC.                                       PO BOX 538                                                                                                                                               CERRILLOS       NM      87010
6474547   COMBS*LINDSAY                                               Address on File
6476435   COMCAST                                                     PO BOX 3002                                                                                                                                              SOUTHEASTERN    PA      19398-3002
6490703   COMCAST CABLE COMMUNICATIONS, LLC                           ATTN: MARY KANE, ESQ.                                          ONE COMCAST CENTER                                                                        PHILADELPHIA    PA      19103
6481907   Comcast Corporation                                         One Comcast Center, 36th Floor                                                                                                                           Philadelphia    PA      19103
6491268   COMCAST SPOTLIGHT                                           ONE COMCAST CENTER 36TH FL                                                                                                                               PHILADELPHIA    PA      19103
6489677   COMCAST SPOTLIGHT, LP                                       ATTN: KATHRYN KOLES                                            105 RAIDER BOULEVARD                                                                      HILLSBORO       NJ      08844
6486709   Comdata Network, Inc                                        5301 Maryland Way                                                                                                                                        Brentwood       TN      37027
6475305   COMEAUX FURNITURE & APPLIANCE                               COMPANY                                                        415 VETERANS MEMORIAL BLVD                                                                METAIRIE        LA      70005
6480957   Comeione, Matthew                                           Address on File
6491573   COMEN VFX                                                   1750 14TH STREET, SUITE B                                                                                                                                SANTA MONICA    CA      90404
6479070   COMEN VFX                                                   1750 14TH STREET, UNIT B                                                                                                                                 SANTA MONICA    CA      90404
6489475   COMEN VFX LLC                                               C/O CALLARI PARTNERS LLC                                       ATTN: CAROLLYN H.G. CALLARI/DEANNA D.   ONE ROCKEFELLER PLAZA, 10TH                       NEW YORK        NY      10020
6475872   COMEN VISUAL EFFECTS                                        1750 14TH STREET,                                              SUITE B                                                                                   SANTA MONICA    CA      90404
6477962   COMENITY CAPITAL BANK                                       PO BOX 659707                                                                                                                                            SAN ANTONIO     TX      78265-9707
6486712   Comerica                                                    2000 Avenue of the Stars                                                                                                                                 Los Angeles     CA      90067
6468670   COMERICA BANK                                               ADAM KORN                                                      2000 AVENUE OF THE STARS                #210                                              LOS ANGELES     CA      90067
6486557   COMERICA BANK                                               ATTN: DEREK RIEDEL                                             39200 6 MILE ROAD, MC 7578                                                                LIVONIA         MI      48152
6798399   COMERICA BANK                                               ATTN: JAIME RIGAL                                              2000 AVENUE OF THE STARS                SUITE 210                                         LOS ANGELES     CA      90067
6468672   COMERICA BANK                                               COMERICA CORPORATE HEADQUARTERS                                COMERICA BANK TOWER, MAIL CODE MC4765   1717 MAIN STREET                                  DALLAS          TX      75201
6468671   COMERICA BANK                                               MARIBETH GOMEZ                                                 2000 AVENUE OF THE STARS                #210                                              LOS ANGELES     CA      90067
6486550   Comerica Bank                                               Maribeth Gomez                                                 2000 Avenue of the Stars                                                                  Los Angeles     CA      90210
6798400   Comerica Entertainment Group                                c/o Akin Gump Strauss Hauer & Feld LLP                         Attn: P. John Burke, Esq.               1999 Avenue of the Stars, Suite 600               Los Angeles     CA      90067-6022
6477074   COMFORT DIRECT, LLC.                                        1260 N. BARKLEY RD.                                                                                                                                      STATESVILLE     NC      28677
6478461   COMFORT INN ESPANOLA                                        604-B SOUTH RIVERSIDE DRIVE                                                                                                                              ESPANOLA        NM      87532
6478506   COMFORT INN LAS VEGAS                                       2500 NORTH GRAND AVENUE                                                                                                                                  LAS VEGAS       NM      87701
6476966   COMFORT SUITES SOUTHPORT                                    4963 SOUTHPORT SUPPLY ROAD                                                                                                                               SOUTHPORT       NC      28461
6486018   Comic-Con International dba WonderCon                       8340 Allison Ave                                                                                                                                         La Mesa         CA      91941
6482994   CommerceTel, Inc. dba Mobivity                              101 N. Colorado St. #3116                                                                                                                                Chandler        AZ      85244
6475838   COMMERCIAL REALTY ADVISORS, LLC                             101 NORTH CHERRY STREET                                        SUITE 502                                                                                 WINSTON-SALEM   NC      27101
6475665   COMMISSIONER OF TAXATION & FIN                              NYS ASSESSMENT RECEIVABLES                                     PO BOX 4127                                                                               BINGHAMTON      NY      13902-4127
6481837   Commissioner of Taxation and Finance                        NYS Assessment ReveivablePO Box4127                                                                                                                      Binghamton      NY      13902
6490496   COMMON WALL MEDIA LLC                                       ATTN: CHUCKIE DUFF                                             6331 E MONTECITO AVE                                                                      SCOTTSDALE      AZ      85251-1906
6483001   Common Wall Media, LLC                                      1402 E. Caroline Lane                                                                                                                                    Tempe           AZ      85284
6476450   COMMONWEALTH BUILDING COMPANY,LLC                           150 GRANBY STREET                                                                                                                                        NORFOLK         VA      23451
6481880   Commonwealth of Pennsylvania                                Commonwealth Keystone Bldg400 North Street, 4th Floor                                                                                                    Harrisburg      PA      17120
6484176   Communities In Schools Los Angeles West                     c/o Creative Artists Agency2000 Avenue of the StarsSuite 803                                                                                             Los Angeles     CA      90067
6475420   COMMUNITY BOYS AND GIRLS CLUB                               BRUNSWICK COUNTY UNIT                                          901 NIXON STREET                                                                          WILMINGTON      NC      28401
6483155   Community Development Agency of the City of LA, The         1200 West Seventh St. Suite 200                                                                                                                          Los Angeles     CA      90017
6481406   Community NYC Inc                                           55 Bethune St                                                                                                                                            New York        NY      10014
6483359   Community Television of Southern CA                         4401 Sunset Blvd                                                                                                                                         Los Angeles     CA      90027
6475118   COMPANY 3                                                   218 W. 18TH STREET                                             12TH FLOOR                                                                                NEW YORK CITY   NY      10011
6484177   Company Films, LLC                                          1801 Century Park East #2160                                                                                                                             Los Angeles     CA      90067
6481158   Compass Moving & Storage                                    501 Winsor Dr.                                                                                                                                           Secaucus        NJ      07094
6475716   COMPASS REALTY, INC.                                        600 CENTRAL AVE SE                                             STE M                                                                                     ALBUQUERQUE     NM      87102
6484178   Compassionate Oncology Research Foundation                  2080 Century Park E. Suite 1005                                                                                                                          Los Angeles     CA      90067
6486340   Complete Casting                                            1415 Western Ave. Suite 503                                                                                                                              Seattle         WA      98101
6491582   COMPLETE OFFICE OF CALIFORNIA, INC.                         P.O. BOX 4318                                                                                                                                            CERRITOS        CA      90703
6477437   COMPLETE PHYSIQUES LLC                                      4215 DOWNS ST                                                                                                                                            METAIRIE        LA      70001
6483669   COMPOSITE IMAGE SYSTEMS INC.                                1144 N. Las Palmas Avenu                                                                                                                                 Hollywood       CA      90038
6482079   Comprehensive Film Booking, Inc.                            9800 Medlock Bridge Rd.                                                                                                                                  Johns Creek     GA      30097
6474363   COMPTON*MATT                                                Address on File
6480529   Compton, Matt                                               Address on File
6482924   Comptroller of Public Accounts                              P.O. Box 149348                                                                                                                                          Austin          TX      78714
6482886   CompuCom                                                    Po Box 951654                                                                                                                                            Dallas          TX      75395
6475361   COMPUTER NETWORK                                            CONSULTANTS, LLC                                               607 E BOSTON, STE 201                                                                     COVINGTON       LA      70433
6482726   comScore Inc                                                14140 Collection Center Dr                                                                                                                               Chicago         IL      60693
6485764   Comtel Pro Media LLC                                        2201 N. Hollywood Way                                                                                                                                    Burbank         CA      91505
6479508   COMTEL PRO MEDIA, LLC.                                      2201 N. HOLLYWOOD WAY                                                                                                                                    BURBANK         CA      91505-1113
6481646   Con Edison                                                  JAF StationP.O. Box 1702                                                                                                                                 New York        NY      10116
6477094   CONARD\JOHNNY                                               PO BOX 1360                                                                                                                                              CANDLER         NC      28715
6475794   CONCENTRIX MUSIC & SOUND INC                                3120 LATROBE DR                                                SUITE 190                                                                                 CHARLOTTE       NC      28211
6798394   CONCEPT ARTS                                                4201 Wilshire Blvd                                                                                                                                       LOS ANGELES     CA      90010
6483412   Concept Arts Studios, Inc.                                  6422 Selma Avenue                                                                                                                                        Los Angeles     CA      90028
6492809   CONCEPT ARTS, INC.                                          C/O CONCEPT ARTS, INC.                                         ATTN: AARON MICHAELSON, PRESIDENT       6422 SELMA AVENUE                                 HOLLYWOOD       CA      90028
6484504   Concord Music Group, Inc.                                   100 N. Crescent Dr., Garden Level                                                                                                                        Beverly Hills   CA      90210




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                                                                                                                                         Master Mailing List
                                                                                                                                        Served First Class Mail

MMLID     NAME                                                           ADDRESS                                                   ADDRESS 2                               ADDRESS 3                      ADDRESS 4   CITY            STATE   POSTAL CODE COUNTRY
6486337   Concur Technologies                                            18400 NE Union Hill Rd.                                                                                                                      Redmond         WA      98052
6475342   CONEXION ENTERTAINMENT GROUP                                   LLC                                                       5405 WILSHIRE BLVD. SUITE #361                                                     LOS ANGELES     CA      90036
6483413   Confidential Music, Inc.                                       c/o Brentwater Partners6464 W. Sunset Blvd., Suite 1070                                                                                      Los Angeles     CA      90028
6491809   CONFIRMED FREIGHT, LLC.                                        25 SHERMAN STREET                                                                                                                            STRATFORD       CT      06615
6480141   CONGRUENT CREDIT OPPORTUNITIES FUND II, LP                     ATTN: TRAVIS BALDWIN                                      3131 MCKINNEY AVE., SUITE 850                                                      DALLAS          TX      75204
6480142   CONGRUENT CREDIT OPPORTUNITIES FUND, LP                        ATTN: TRAVIS BALDWIN                                      3131 MCKINNEY AVE., SUITE 850                                                      DALLAS          TX      75204
6476411   CONLEY INN                                                     1004 E LINCOLN HIGHWAY                                                                                                                       IRWIN           PA      15642
6474899   CONNECTICUT                                                    DEPT. OF ENVIRONMENTAL PROTECTION                         79 ELM STREET                                                                      HARTFORD        CT      06106-5127
6479971   CONNECTICUT DEPARTMENT OF LABOR                                COMMISSIONER                                              200 FOLLY BROOK BLVD.                                                              WETHERSFIELD    CT      06109
6489476   CONNECTICUT OFFICE OF THE STATE TREASURER                      C/O UNCLAIMED PROPERTY DIVISION                           ATTN: MARIA M. GREENSLADE, ASST. DEP.   P.O. BOX 5065                              HARTFORD        CT      06102
6476771   CONNOLLY\MICHELLE                                              301 COLONIAL DRIVE                                                                                                                           WILMINGTON      NC      28403
6485288   Connor Barry                                                   400A Allen Ave.                                                                                                                              Glendale        CA      91201
6483086   Connor Callaghan                                               920 W. 28th Street                                                                                                                           Los Angeles     CA      90007
6480357   CONOR HEALY                                                    C/O JACKOWAY TYERMAN WERTHEIMER ET AL.                    ATTN: PETER SAMPLE                      1925 CENTURY PARK EAST #2200               LOS ANGELES     CA      90067
6475959   CONQUISTADOR RESORT\EL                                         1000 EL CONQUISTADOR AVE                                                                                                                     FAJARDO         PR      00738
6485117   ConradDigital                                                  210 Bicknell Avenue                                                                                                                          Santa Monica    CA      90405
6480721   Conroy, Austin                                                 Address on File
6475886   CONSOLIDATED ARTISTS PAYROLL                                   5880 W JEFFERSON BLVD                                     SUITE H                                                                            LOS ANGELES     CA      90016
6490335   CONSOLIDATED ENTERTAINMENT                                     ATTN: LINDA HOGARTY                                       189 SECOND AVE. SUITE 2S                                                           NEW YORK        NY      10003
6475412   CONSOLIDATED WATERWORKS                                        DISTRICT # NO 1                                           8814 MAIN ST                                                                       HOUMA           LA      70363
6486106   Construction Management Concepts                               4091 E. La Palma Suite A                                                                                                                     Anaheim         CA      92807        BRITISH
                                                                                                                                                                                                                                                           VIRGIN
6798387   CONSULTA FILMS LIMITED F/S/O PIERRE SPENGLER                   WICKHAM CAY                                                                                                                                  ROAD TOWN       TORTOLA              ISLANDS
6479758   CONTAINER SPECIALTIES OF ALASKA                                8150 PETERSBURG STREET                                                                                                                       ANCHORAGE       AK      99507
6480758   Conti, Maria Cecilia                                           Address on File
6478258   CONTIFILMS                                                     51 BISCAYNE WAY                                                                                                                              RIO RANCHO      NM      87124
6469441   CONTINENTAL ENTERTAINMENT CAPITAL LP -                         SALIBELLO & BORDER LLC                                    633 THIRD AVE 13TH FLOOR                                                           NEW YORK        NY      10017
6481452   Continental Entertainment Capital LP - Salibello & Border LL   633 Third Ave 13th Floor                                                                                                                     New York        NY      10017
6482465   Continental Pictures LP                                        5200 North Lake Drive                                                                                                                        Milwaukee       WI      53217
6481287   Continental Stock Transfer & Trust                             17 Battery Place                                                                                                                             New York        NY      10004
6485815   Continental Van Nuys LP                                        P.O. Box 10458                                                                                                                               Burbank         CA      91510
6798391   CONTROL RISKS GROUP, L.L.C.                                    ATTN: BRAD KOLACINSKI                                     601 SOUTH FIGUEROA STREET, SUITE 4200                                              LOS ANGELES     CA      90017
6485421   Convenient Draperies & Cleaners                                670 San Fernando Mission Blvd #A                                                                                                             San Fernando    CA      91340
6475185   CONVENTION SERVICES OF THE SW                                  INC.                                                      1921 BELLAMAH NW                                                                   ALBUQUERQUE     NM      87104
6478065   CONVENTION SERVICES SOUTHWEST                                  1921 BELLAMA NW                                                                                                                              ALBUQUERQUE     NM      87104
6481306   Convention Tours Unlimited Inc                                 303 Park Avenue S                                                                                                                            New York        NY      10010
6476474   CONVERGENT TECHNOLOGIES                                        PO BOX 513                                                                                                                                   PFAFFTOWN       NC      27040-0513
6478090   COOK\CHRISTOPHER                                               206 SYCAMORE ST, NE                                                                                                                          ALBUQUERQUE     NM      87106
6486181   Cooley LLP                                                     101 California Street5th Floor                                                                                                               San Francisco   CA      94111
6478232   COOMANS\PERRY                                                  5000 STONE MOUNTAIN RD                                                                                                                       ALBUQUERQUE     NM      87114
6475789   COONS, RUSSELL LOWELL                                          10880 WILSHIRE BLVD                                       SUITE 1220                                                                         LOS ANGELES     CA      90024
6478822   COOPER\SCOTT                                                   1855 KIMBERLY LANE                                                                                                                           LOS ANGELES     CA      90049
6476456   COOPER\TODD                                                    531 LAWRENCE AVENUE                                                                                                                          BRISTOL         VA      24201
6476292   COPIES AT CARSON, INC.                                         1315 EAST CARSON ST                                                                                                                          PITTSBURGH      PA      15203
6484269   Copious Management Inc                                         3450 Cahuenga Blvd WestSuite 401                                                                                                             Los Angeles     CA      90068
6478140   COPPER SPORTS CENTRE, LLC                                      5110 COPPER AVE NE                                                                                                                           ALBUQUERQUE     NM      87108
6483589   Copy Doctor, Inc.                                              5757 Wilshire Blvd., Suite 502                                                                                                               Los Angeles     CA      90036        UNITED
6490702   COPYRIGHT ADMINISTRATION SERVICES, LTD.                        (PAY BY WIRE)                                             OLD SCHOOL, 23 HIGH ST.                                                            PEWSEY                  SN9 5AF      KINGDOM
6486021   Corban Productions LLC                                         300 Carlsbad Village DrSte. 108a #108                                                                                                        Carlsbad        CA      92008
6479768   CORBETT, JOSHUA                                                PO BOX 772801                                                                                                                                EAGLE RIVER     AK      99577
6482727   Corbis Corporation                                             13159 Collections Center Dr                                                                                                                  Chicago         IL      60693
6798382   CORBIS CORPORATION                                             710 Second Avenue Suite 200                                                                                                                  Seattle         WA      98104
6492853   CORBIS CORPORATION                                             ATTN: KAY TOMLINSON, GLOBAL AR CREDITS/COLLEC             710 SECOND AVENUE, STE 200                                                         SEATTLE         WA      98104
6475450   CORCEGA\PEDRO                                                  7002 J.F.KENNEDY BLVD E                                   APT 10P                                                                            GUTTENBERG      NJ      07093
6479302   CORDOBES\RICHARD                                               23651 MESA CT                                                                                                                                VALENCIA        CA      91355
6481583   Corelli/Jacobs Recording, Inc. dba DeWolfe Music Library       25 West 45th St. Suite 401                                                                                                                   New York        NY      10036
6482154   Corey Brewer                                                   8012 Wiles Road                                                                                                                              Pompano Beach   FL      33067
6485411   Corey Soria                                                    8901 Oak Park Ave                                                                                                                            Northridge      CA      91325
6480635   Coria, Krystyna                                                Address on File
6481720   Corner Pocket Films fso Terry Stacey                           236 Washington Ave. #4                                                                                                                       Brooklyn        NY      11205
6475447   CORNER POCKET FILMS,INC.                                       236 WASHINGTON AVE                                        APT #4                                                                             BROOKLYN        NY      11205
6484455   Cor-O-Van                                                      Department 0778                                                                                                                              Los Angeles     CA      90084
6478912   COR-O-VAN MOVING & STORAGE                                     DEPT 0778                                                                                                                                    LOS ANGELES     CA      90084-0778
6482728   Corporate Executive Board                                      3393 Collections Center Drive                                                                                                                Chicago         IL      60693
6482035   Corporate Travel Management, Inc.                              5601 77 Center Dr., Suite 140                                                                                                                Charlotte       NC      28217
6481937   Corporation Service Company                                    2711 Centerville Rd, Suite 400Attn: Billing Dept.                                                                                            Wilmington      DE      19808
6491272   CORPORATION SERVICE COMPANY                                    2711 CENTERVILLE ROAD                                                                                                                        WILMINGTON      DE      19808
6469169   CORPORATION SERVICE COMPANY                                    ATTN: BILLING DEPT.                                       2711 CENTERVILLE RD, SUITE 400                                                     WILMINGTON      DE      19808
6475377   CORREA\MITCHELLE                                               73 PLACID COURT                                           6-C                                                                                SAN JUAN        PR      00907
6476584   CORRECT IMPROVEMENTS INC.                                      1903 THAYER CIRCLE                                                                                                                           GREENSBORO      NC      27407




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                                                                                                                                          Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                       ADDRESS 2                                 ADDRESS 3                      ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6475523   CORSINO\LUIS ARTURO                                         RUTA RURAL 3 PLAYA HUCARE                                     BUZON 75                                                                             NAGUABO           PR      00718
6475995   CORSINO\WILFREDO                                            C/CIRCEO N-33                                                                                                                                      SAN JUAN          PR      00926
6477974   CORT                                                        15845 EAST 32ND AVE, STE E                                                                                                                         AURORA            CO      80011
6490731   CORT                                                        CORT BUSINESS SERVICES CORP.                                  PO BOX 17401                                                                         BALTIMORE         MD      21297
6476446   CORT BUSINESS SERVICES CORP.                                P.O. BOX 17401                                                                                                                                     BALTIMORE         MD      21297-1401
6482036   Cort Business Services Corporation dba Cort Furniture       4744 South Blvd.                                                                                                                                   Charlotte         NC      28217
6475704   CORT FURNITURE RENTAL                                       15000CONFERENCE CENTER DR.                                    STE 440                                                                              CHANTILLY         VA      20151
6480058   CORTLAND CAPITAL MARKET SERVICES LLC                        AS COLLATERAL AGENT                                           225 W WASHINGTON STREET                 SUITE 2100                                   CHICAGO           IL      60606
6492199   CORTLAND CAPITAL MARKET SERVICES LLC                        AS COLLATERAL AGENT AND ADMINISTRATIVE AGENT                  ATTN: POLINA ARSENTYEVA, ASSOC. COUNSEL 225 W. WASHINGTON STREET, 21ST               CHICAGO           IL      60606
6486558   CORTLAND CAPITAL MARKET SERVICES LLC, AS COLLATERAL AGENT   225 W. WASHINGTON STREET, SUITE 1450                                                                                                               CHICAGO           IL      60606
6798368   CORTLAND CAPITAL MARKET SERVICES, LLC                       ATTN: ASLAM A. AZEEM                                          225 W. WASHINGTON ST.                                                                CHICAGO           IL      60606
6486692   Cortland Capital Marketing Services                         225 West Washington St                                        9th Fl                                                                               Chicago           IL      60606
6475920   COSAS DE AYER Y HOY                                         PAZ GRANELA 1777                                              URB SANTIAGO IGLESIAS                                                                RIO PIEDRAS       PR      00921
6479533   COSS\WILLIAM F.                                             11662 MCCORMICK ST                                                                                                                                 N HOLLYWOOD       CA      91601
6491579   COSTCO                                                      WHSE-822 BUENA PARK BD 6881                                                                                                                        BUENA PARK        CA      90620
6476497   COSTNER, VERYL C.                                           4351 JOSEPH SAMUELS DR.                                                                                                                            WINSTON-SALEM     NC      27105
6475977   COSTUME & EQUIP RENTAL OF PR                                VASALLO ST. #143                                                                                                                                   SAN JUAN          PR      00911
6479590   COSTUME RENTALS CORPORATION                                 11149 VANOWEN STREET                                                                                                                               NORTH HOLLYWOOD   CA      91605
6485889   Costumer Cleaners, Inc.                                     11275 Ventura Blvd.                                                                                                                                Studio City       CA      91604
6480950   Cotich, Kristin                                             Address on File
6491584   COTS INC. DBA FLEETWOOD LIMOUSINE, LTD.                     6242 CHERRY AVE.                                                                                                                                   LONG BEACH        CA      90805
6476024   COTTO\CARLOS                                                AVE PONTEZUELA J 654                                                                                                                               CAROLINA          PR      00983
6477712   COULON CASTING INC                                          2220 PRYTANIA STREET                                                                                                                               NEW ORLEANS       LA      70130
6485394   Country Market Catering, Inc. dba Contemporary Catering     16900 Burbank Blvd.                                                                                                                                Encino            CA      91316
6477185   COUNTY OF BUNCOMBE                                          P.O. BOX 7526                                                                                                                                      ASHEVILLE         NC      28802
6480228   COUNTY OF CONTRA COSTA                                      GUS KRAMER - COUNTY ASSESSOR                                  2530 ARNOLD DRIVE, SUITE 100                                                         MARTINEZ          CA      94553
6480185   COUNTY OF CONTRA COSTA                                      RUSSELL V. WATTS - TREASURER - TAX COLLECTOR                  625 COURT STREET, SUITE 100               FINANCE BUILDING                           MARTINEZ          CA      94553
6476562   COUNTY OF GUILFORD                                          PO BOX 3427                                                                                                                                        GREENSBORO        NC      27402
6468861   COUNTY OF LOS ANGELES                                       4700 RAMONA BLVD.                                                                                                                                  MONTEREY PARK     CA      91754
6481033   County of Los Angeles                                       Attn: Mary C. Wickham, Ruben Baeza, Jr., & Jessica C. Rivas   648 Kenneth Hahn Hall of Administration   500 West Temple Street                     Los Angeles       CA      90012-2713
6480375   COUNTY OF LOS ANGELES                                       C/O LOS ANGELES SHERIFF’S DEPARTMENT                          4700 RAMONA BOULEVARD                                                                MONTEREY PARK     CA      91754
6468795   COUNTY OF LOS ANGELES                                       C/O SKRZYNIARZ & MALLEAN                                      ATTN: TANYA MALLEAN                       9229 SUNSET BLVD., SUITE 525               LOS ANGELES       CA      90069
6475668   COUNTY OF LOS ANGELES                                       FIRE DEPARTMENT                                               PO BOX 54740                                                                         LOS ANGELES       CA      90054-0740
6480205   COUNTY OF LOS ANGELES                                       OFFICE OF THE ASSESSOR                                        13800 BALBOA BLVD                                                                    SYLMAR            CA      91342
6480188   COUNTY OF MARIN                                             DIVISION: TREASURER                                           3501 CIVIC CENTER DRIVE                   ROOM 209                                   SAN RAFAEL        CA      94903
6480183   COUNTY OF ORANGE                                            ATTN: TREASURER-TAX COLLECTOR                                 625 NORTH ROSS STREET                     BUILDING 11, ROOM G58                      SANTA ANA         CA      92701
6480194   COUNTY OF SANTA BARBARA                                     TREASURER - TAX COLLECTOR                                     105 E. ANAPAMU STREET, ROOM 109                                                      SANTA BARBARA     CA      93101
6480193   COUNTY OF STANISLAUS                                        DON H. GAEKLE, STANISLAUS COUNTY ASSESSOR                     1010 10TH STREET, SUITE 2400                                                         MODESTO           CA      95354-0863
6480265   COUNTY TREASURER/TAX COLLECTOR                              500 WEST TEMPLE ST                                                                                                                                 LOS ANGELES       CA      90012
6491681   COURANT, LLC                                                1142 S DIAMOND BAR BLVD, STE 134                                                                                                                   DIAMOND BAR       CA      91765
6483782   CourtCall LLC                                               6383 Arizona Circle                                                                                                                                Los Angeles       CA      90045
6476917   COURTER\CHRISTOPHER C.                                      4866 BLUEBERRY RD                                                                                                                                  CURRIE            NC      28435
6480803   Courtin, Angela                                             Address on File
6485832   Courtney J. Perkins                                         5131 Colfax Ave. #8                                                                                                                                North Hollywood   CA      91601
6482160   Courtney Lee                                                1521 Alton Rd. #538                                                                                                                                Miami             FL      33139
6482228   Courtney Tremaine Upshaw                                    571 Anderson Dr.                                                                                                                                   Eufaula           AL      36027
6474809   COURTRIGHT*JOHN                                             Address on File
6482090   Courtroom Television Network, LLC dba truTV                 One CNN Center, 14SW                                                                                                                               Atlanta           GA      30303
6478549   COUSIN\MARTHA                                               2022 BURNSIDE AVE                                                                                                                                  LOS ANGELES       CA      90016
6477492   COUSSOU\BRENT EDWARD                                        4934 KAYLEE LANE                                                                                                                                   BARATARIA         LA      70036        CHANNEL
6468677   COUTTS & CO.                                                C/O THE ROYAL BANK OF SCOTLAND INTL. LTD.                     23-25 BROAD STREET                        ST. HELIER                                 JERSEY                    JE4 8ND      ISLANDS
                                                                                                                                                                                                                                                                UNITED
6468695   COUTTS & CO.                                                440 STRAND,                                                                                                                                        LONDON                    WC2R 0QS     KINGDOM
6475664   COVAD COMMUNICATIONS                                        DEPT 33408                                                    PO BOX 39000                                                                         SAN FRANCISCO     CA      94139-0001
6477800   COVINGTON PRESBYTERIAN CHURCH                               222 S JEFFERSON ST                                                                                                                                 COVINGTON         LA      70433
6478305   COWGIRL BAR & GRILL                                         319 SOUTH GUADALUPE                                                                                                                                SANTA FE          NM      87501
6477736   COX COMMUNICATIONS LA LLC                                   P O BOX 61027                                                                                                                                      NEW ORLEANS       LA      70161
6474707   COX*RANDALL                                                 Address on File
6480987   Cox, Randall D                                              Address on File
6486118   Coxinvest LLC                                               1314 Sagamore Lane                                                                                                                                 Ventura           CA      93001
6476049   COYNE\CHRIS                                                 96 PARK AVENUE                                                                                                                                     WEST CALDWELL     NJ      07006
6481637   CP IV SPV, LLC                                              888 7th Ave., 40th Floor                                                                                                                           New York          NY      10106
6492675   CP IV SPV, LLC                                              Address on File                                                                                                                                                                           UNITED
6486492   CP Studio, Ltd.                                             13 Bateman St.                                                                                                                                     London                    W1D 2AF      KINGDOM
6485930   Crabtree Glass Company, Inc.                                13203 Sherman Way                                                                                                                                  North Hollywood   CA      91605
6492335   CRABTREE GLASS COMPANY, INC.                                ATTN: JERRY OTWORTH, CEO                                      13203 SHERMAN WAY                                                                    NORTH HOLLYWOOD   CA      91605
6477839   CRADDOCK\BEVERLY                                            64232 NELSON RD                                                                                                                                    PEARL RIVER       LA      70452
6477840   CRADDOCK\URBAN                                              64232 NELSON RD                                                                                                                                    PEARL RIVER       LA      70452
6483819   Craig Borden                                                7119 W. Sunset Blvd., #366                                                                                                                         Los Angeles       CA      90046
6798373   CRAIG G LASHLEY                                             108 SPYGLASS HILL RD                                                                                                                               CRESCO            PA      18326
6481296   Craig Grassi                                                90 Washington StreetApt 11K                                                                                                                        New York          NY      10006




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                                                                                                                                 Served First Class Mail

MMLID     NAME                                                    ADDRESS                                                   ADDRESS 2                       ADDRESS 3   ADDRESS 4   CITY               STATE   POSTAL CODE   COUNTRY
6486433   Craig Labaune                                           28 Trillium Ave                                                                                                   Stoney Creek       ON      L8E 5E1       CANADA
6484064   Craig Murray Productions, LLC                           2440 S. Sepulveda Blvd.Suite 150                                                                                  Los Angeles        CA      90064
6483820   Craig Scales                                            1242 N. Laurel Ave                                                                                                Los Angeles        CA      90046
6477332   CRAIG/MARK A                                            1615 ROWLAND DR.                                                                                                  ODESSA             FL      33556
6475483   CRAIG\WENDY                                             3662 BARHAM BLVD                                          APT M324                                                LOS ANGELES        CA      90068
6477885   CRAIG\WILLIAM                                           423 COLONIAL COURT                                                                                                MANDEVILLE         LA      70471
6483590   Cramerica Inc.                                          362 1/2 N. Genessee Avenue                                                                                        Los Angeles        CA      90036
6490484   CRAMPTON BOWL PUBLISHING                                ATTN: EDDIE SMITH III                                     602 MORELAND AVE. NE                                    ATLANTA            GA      30307
6482434   Cranberry Cinemas, LLC dba The Movies at Cranberry      6632 Telegraph Rd. #193                                                                                           Bloomfield Hills   MI      48301
6478073   CRANE SERVICE, INC.                                     505 MURRY ROAD SE                                                                                                 ALBUQUERQUE        NM      87105
6481407   Crash Kings Music, LLC                                  c/o Davis Shapiro & Lewit, LLP414 W. 14th St. 5th Floor                                                           New York           NY      10014
6483725   Crash Pad Music LLC                                     2243 India St                                                                                                     Los Angeles        CA      90039
6481497   Cravath, Swaine & Moore LLP                             825 Eighth Ave.                                                                                                   New York           NY      10019
6477292   CRAWFORD MEDIA SERVICES, INC.                           6 WEST DRUID HILLS DR                                                                                             ATLANTA            GA      30329
6478020   CRAWFORD, LYNDA                                         PO BOX 76                                                                                                         CERRILLOS          NM      87010
6478021   CRAWFORD\CELLI                                          PO BOX 76                                                                                                         CERRILLOS          NM      87010
6477931   CRAZY CROW TRADING POST                                 1801 AIRPORT RD                                                                                                   POTTSBORO          TX      75076
6476515   CREASON'S AUTO REPAIR                                   1815 RILLA ST.                                                                                                    ASHEBORO           NC      27205
6484780   Create Advertising Group                                6022 Washington Blvd.                                                                                             Culver City        CA      90232
6492628   CREATE ADVERTISING GROUP, LLC                           ATTN: DAVID STERN, CEO                                    6022 WASHINGTON BOULEVARD                               CULVER CITY        CA      90232         UNITED
6474068   CREATE ADVERTISING LIMITED                              33 CHARLOTTE ST.                                                                                                  LONDON                     W1T 1RR       KINGDOM
6486509   CreateIt Studio                                         Ha-Negev St 5                                                                                                     Tel Aviv-Yafo                            Israel
6468839   CREATIVE ARTISTS AGENCY                                 ATTN: ERIKA HALBOURG                                      2000 AVENUE OF THE STARS                                LOS ANGELES        CA      90067
6490345   CREATIVE ARTISTS AGENCY                                 ATTN: SCOTT GREENBERG ('AGENT')                           2000 AVENUE OF THE STARS                                LOS ANGELES        CA      90067
6486713   Creative Artists Agency Client Trust                    2000 Avenue of the Stars                                                                                          Los Angeles        CA      90067
6475572   CREATIVE ARTISTS AGENCY, LLC                            2000 AVENUE OF THE STARS                                  FSO JIM SHERIDAN                                        LOS ANGELES        CA      90067
6490352   CREATIVE ARTISTS AGENCY, LLC A/K/A CAA                  ATTN: ERIKA SPECTOR                                       2000 AVENUE OF THE STARS                                LOS ANGELES        CA      90067
6478862   CREATIVE ARTISTS AGENCY. INC                            2000 AVENUE OF THE STARS                                                                                          LOS ANGELES        CA      90067
6481127   Creative Cinemas 10                                     117 Sharon Road                                                                                                   Waterbury          CT      06705
6477343   CREATIVE FILM CONNECTIONS INC                           102 N BAILEY SPRINGS DR                                                                                           FLORENCE           AL      35634
6484411   Creative Group, The                                     PO Box 743295                                                                                                     Los Angeles        CA      90074
6479666   CREATIVE HOUSING GROUP                                  PO BOX 377                                                                                                        CRESTLINE          CA      92325
6485693   Creative Impact Agency LLC                              16000 Ventura Blvd. Suite 750Suite 410                                                                            Encino             CA      91436
6490311   CREATIVE IMPACT AGENCY LLC                              ATTN: GUSTAVO CASTILLO                                    16000 VENTURA BLVD. SUITE 750                           ENCINO             CA      91436
6479143   CREATIVE MAKE-UP EFFECTS                                6942 SAINT ESTABAN STREET                                                                                         TUJUNGA            CA      91042         UNITED
6486503   Creative Musical Arts Ltd.                              Imperial House, 8th Floor, 15-19 Kingsway                                                                         London                     WC2B 6UN      KINGDOM
6478568   CREATIVE OUTPUT                                         5460 EDGEWOOD PLACE                                                                                               LA                 CA      90019
6476641   CREATIVE SOLUTIONS SPECIAL EVENTS                       PO BOX 1236                                                                                                       BELMONT            NC      28012
6485578   Creative Sound & Vision, LLC                            4335 Van Nuys Blvd. #125                                                                                          Sherman Oaks       CA      91403
6491547   CREATIVE SOUNDSCAPES INC                                4257 BALDWIN AVE                                                                                                  CULVER CITY        CA      90232
6798358   CREATIVE SOUNDSCAPES INC                                ATTN: MR CATO KYVIK                                       1930 N MAIN STREET                                      LOS ANGELES        CA      90031
6492827   CREATIVE SOUNDSCAPES, INC.                              ATTN: CATO KYVIK, PRESIDENT/CEO                           1930 N. MAIN ST.                                        LOS ANGELES        CA      90031-3217
6485948   Creative Vision Graphics                                4804 Laurel Canyon Blvd. #213                                                                                     Valley Village     CA      91607
6474175   CREEDEN*CATHERINE                                       Address on File
6475697   CRESCENT CAPITAL GROUP LP                               11100 SANTA MONICA BLVD                                   STE 2000                                                LOS ANGELES        CA      90025
6477730   CRESCENT CITY CONSULTING, LLC                           28 SEAWARD COURT                                                                                                  NEW ORLEANS        LA      70131
6476414   CRESCENT MOON MOVIE CATERING                            131 BROAD STREET                                                                                                  JEANETTE           PA      15644
6477627   CRESENT CITY TECHNOLOGY                                 4228 CANAL ST                                                                                                     NEW ORLEANS        LA      70119
6477743   CRESENT FILM SERVICES LLC                               P O BOX 30292                                                                                                     NEW ORLEANS        LA      70190
6486266   Crest Theatre                                           1013 K St                                                                                                         Sacramento         CA      95814
6474747   CREUS CUSTODIO*SANDRA                                   Address on File
6481223   Crew 1 TV                                               147 West 35th St. #502                                                                                            New York           NY      10001
6469894   CREW 1 TV, INC                                          147 WEST 35TH STREET #502                                                                                         NEW YORK           NY      10001
6482955   Crew Connection, Inc.                                   24928 Genesee Trail Road #100                                                                                     Golden             CO      80401
6484456   Crew Creative Advertising                               Dept 8567                                                                                                         Los Angeles        CA      90084
6477144   CREWS\KATIE LAINE                                       41 MAXIMA LN.                                                                                                     WAYNESVILLE        NC      28786
6485694   Cristiada Productions, Inc.                             15821 Ventura Blvd. Suite 500                                                                                     Encino             CA      91436
6479328   CRISTO'S BURGERS CAFETERIA                              6219 DESOTO AVE                                                                                                   WOODLAND HILLS     CA      91367
6483670   Cristy Coors Beasley                                    ERE, 1040 Las Palmas, Bungalow CD                                                                                 Los Angeles        CA      90038
6477801   CROCKETT\MELVIN                                         70350 A STREET                                                                                                    COVINGTON          LA      70433
6476423   CROGNALE, GINO B.                                       132 KAUFMAN RUN BLVD                                                                                              MARS               PA      16046
6486237   Croner Company, The                                     1028 Sir Francis Drake Blvd.                                                                                      Kentfield          CA      94904
6491744   CROSBY CARTER MANAGEMENT, LLC                           16501 VENTURA BLVD. SUITE 510                                                                                     ENCINO             CA      91436-2070
6485695   Crosby Carter Management, LLC                           16830 Ventura Blvd. Suite 501                                                                                     Encino             CA      91436
6483821   Cross Culture Marketing Group                           8265 Sunset Blvd., Ste. 103                                                                                       Los Angeles        CA      90046
6475097   CROWDER\CHARLES                                         D/B/A CROWDER ANTIQUES                                    114 N RANGE AVE                                         DENHAM SPRINGS     LA      70726
6477599   CROWE JEWELRY                                           2431 CALHOUN ST                                                                                                   NEW ORLEANS        LA      70118
6479643   CROWE, MICHAEL                                          8944 CAMELLIA COURT                                                                                               ALTA LOMA          CA      91737
6479915   CRT Capital Group LLC                                   Address on File
6481681   CRT Film & Video LLC                                    PO Box 1414                                                                                                       Scarsdale          NY      10583




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                                                                                                                                                       Served First Class Mail

MMLID     NAME                                                          ADDRESS                                                                 ADDRESS 2                          ADDRESS 3                    ADDRESS 4                CITY              STATE   POSTAL CODE COUNTRY
6491551   CRUCIAL MUSIC CORPORATION                                     31748 BROAD BEACH RD.                                                                                                                                            MALIBU            CA      90265
6798351   CRUCIAL MUSIC CORPORATION OBO ASTONISHING MUSIC AND MUSIC     12031 Ventura Blvd, Ste. 2                                                                                                                                       Studio City       CA      91604
6480678   Crull, Stephanie                                              Address on File
6475705   CRUMPTON GROUP LLC                                            607 14TH ST NW                                                          STE 500                                                                                  WASHINGTON        DC      20005
6479671   CRUZ PRINTING SERVICES                                        27668 DOGWOOD ST                                                                                                                                                 MURRIETA          CA      92562
6475891   CRUZ\ALEXANDRA LEBRON                                         URB LAS CUMBRES #659                                                    TAFT                                                                                     SAN JUAN          PR      00926
6486428   Crypto Card                                                   340 March Road, Suite 600                                                                                                                                        Ottawa            ON      K2K 2E4      CANADA
6492646   CRYSTAL CUBES ICE DISTRIBUTORS                                ATTN: VISHAL PATEL, MANAGER                                             7040 MABLETON PARKWAY                                                                    MABLETON          GA      30126
6483783   Crystal Dragon Entertainment                                  6868 Arizona Ave.                                                                                                                                                Los Angeles       CA      90045
6476243   CRYSTAL GARDEN & LANSCAPE SPPL                                1795 BRODHEAD RD                                                                                                                                                 MOON TOWNSHIP     PA      15108
6491725   CRYSTAL SPRINGS                                               P.O. BOX 660579                                                                                                                                                  DALLAS            TX      75266-0579
6798354   CSC HOLDINGS, LLC                                             ATTN: SVP, PROGRAMMING ACQUISITION                                      1111 STEWART AVE                                                                         BETHPAGE          NY      11714
6484037   CSMC Emergency Dept Physicians                                P.O. Box 51258                                                                                                                                                   Los Angeles       CA      90051
6487894   CSRK MUSIC OBO OF SUGAR FREE MEDIA                            C/O EVOLUTION MUSIC PARTNERS,                                           ATTN: SETH KAPLAN                  1680 N. VINE ST. SUITE 500                            LOS ANGELES       CA      90028
6483414   CSRK Music obo of Sugar Free Media c/o Evolution Music Prtn   c/o Evolution Music Partners, Attn: Seth Kaplan1680 N. Vine St. Suite                                                                                            Los Angeles       CA      90028
6481991   CSS Studios dba Modern Music                                  PO Box 79783                                                                                                                                                     Baltimore         MD      21279
6475636   CSS STUDIOS LLC                                               DBA TODD-AO/SOUNDELUX                                                   P.O. BOX 79783                                                                           BALTIMORE         MD      21279-0783
6476445   CSS STUDIOS LLC                                               PO BOX 79783                                                                                                                                                     BALTIMORE         MD      21279-0783
6481992   CSS Studios LLC dba Todd AO                                   PO Box 79783                                                                                                                                                     Baltimore         MD      21279
6483156   CT Corporation                                                818 W. Seventh St - Team 1                                                                                                                                       Los Angeles       CA      90017
6482896   CT Lien Solution                                              2727 Allen Parkway #1000                                                                                                                                         Houston           TX      77019
6492439   CT LIEN SOLUTIONS                                             ATTN: PAM LEWIS                                                         330 N. BRAND BLVD., SUITE 700                                                            GLENDALE          CA      91203
6481965   CTAM MSO Marketing Corporation                                120 Waterfront St. Suite 200                                                                                                                                     National Harbor   MD      20745
6485834   Cue Tech Teleprompting Inc                                    5527 Satsuma Ave                                                                                                                                                 North Hollywood   CA      91601
6478550   CUEVAS\MARIA                                                  5640 W ADAMS BLVD                                                                                                                                                LOS ANGELES       CA      90016
6475197   CULBERTSON\ANN H                                              D/B/A AUDUBON ANTIQUES                                                  2025 MAGAZINE ST                                                                         NEW ORLEANS       LA      70130
6477886   CULINARY CONCEPTS, LLC                                        100 ACADIAN LANE                                                                                                                                                 MANDEVILLE        LA      70471
6476406   CULLEN\DAVID                                                  308 JACK STREET                                                                                                                                                  GREENSBURG        PA      15601
6475090   CULLIGAN BOTTLED WATER                                        OF ALBUQUERQUE                                                          1111 SAN MATEO NE                                                                        ALBUQUERQUE       NM      87110
6485118   Cullman Hedges                                                157 Hart Ave.                                                                                                                                                    Santa Monica      CA      90405
6477802   CULOTTA\STEPHEN                                               15 SPRUCE DR                                                                                                                                                     COVINGTON         LA      70433
6485220   Culture Brain                                                 2155 Verdugo Blvd, Ste. 505                                                                                                                                      Montrose          CA      91020
6485063   Culture Jam, Inc.                                             1337 18th St. #1                                                                                                                                                 Santa Monica      CA      90404
6485221   Culture-Brain, LLC                                            2155 Verdugo Blvd. Suite 505                                                                                                                                     Montrose          CA      91020
6478210   CUMMINGS\DAVID                                                10413 APACHE AVE NE                                                                                                                                              ALBUQUERQUE       NM      87112
6477438   CUMMINGS\MICHAEL                                              3711 BAUVAIS ST                                                                                                                                                  METAIRIE          LA      70001
                                                                                                                                                LAVIOLETTE, FELDMAN, SCHENKMAN &                                150 SOUTH RODEO DRIVE,
6468716   CUNNING HAND ('LENDER')                                       C/O BLOOM, HERGOTT, DIEMER, ROSENTHAL,                                  GOODMAN,LLP                        ATTN: MICHAEL SCHENKMAN      THIRD FLOOR              BEVERLY HILLS     CA      90212
6484123   Cunning Hand fso Jonathan Scott Spaihts                       3659 Ocean View Ave.                                                                                                                                             Los Angeles       CA      90066
6477237   CURBSIDE MANAGEMENT,INC.                                      P.O. BOX 18722                                                                                                                                                   ASHEVILLE         NC      28814
6474856   CURRAN*BRANDON                                                Address on File
6474439   CURRAN*BRANDON                                                Address on File
6480817   Curran, Brandon E.                                            Address on File
6480774   Curran, Jennifer                                              Address on File
6483117   Current Content Creation LLC                                  500 Molino StreetSte. 213                                                                                                                                        Los Angeles       CA      90013
6480609   Currie, Sydney                                                Address on File
6478523   CURRY\CARLA                                                   R1200 NATIONAL PARKS HIGHWAY                                                                                                                                     CARLSBAD          NM      88221
6478211   CURRY\KIMBERLY A.                                             8 LA VILLITA CT NE                                                                                                                                               ALBUQUERQUE       NM      87112
6478274   CURTAIN COWBOY                                                5005 KIM ROAD                                                                                                                                                    RIO RANCHO        NM      87144
6480799   Curtin, Therese                                               Address on File
6486311   Curtis Furumoto                                               1639 Haku St.                                                                                                                                                    Honolulu          HI      96819
6482926   Curtis Jerrells Jr.                                           3500 Wickham Ln.                                                                                                                                                 Austin            TX      78725
6474492   CURTIS*MOLLY                                                  Address on File
6476166   CURTIS\KEN                                                    1131 CONDOR ROAD                                                                                                                                                 BULGER            PA      15019
6478032   CUSACK\KATHLEEN                                               22 CANON ESCONDIDO                                                                                                                                               SANDIA PARK       NM      87047
6491733   CUSHING, SCOTT                                                Address on File
6475202   CUSSIN' REDNECK, INC.                                         FSO GORDON GODFREY                                                      20501 VENTURA BLVD., SUITE 325                                                           WOODLAND HILLS    CA      91364
6485503   Cussin' Redneck, Inc. fso Wyck Godfrey                        20501 Ventura Blvd. Suite 325                                                                                                                                    Woodland Hills    CA      91364
6475322   CUSTOM COLORS PAINT &                                         DECORATING                                                              4805 E SOUTHPORT SUPPLY RD                                                               SOUTHPORT         NC      28461
6485802   Custom Film Effects, Inc.                                     711 S. Main St                                                                                                                                                   Burbank           CA      91506
6476895   CUSTOM HOME FURNISHINGS LLC                                   3514 S. COLLEGE ROAD                                                                                                                                             WILMINGTON        NC      28412
6479773   CUSTOM MARINE SERVICES LLC                                    PO BOX 672                                                                                                                                                       WHITTIER          AK      99693
6485158   Custom Protective Services                                    1251 West Sepulveda Blvd. Suite 103                                                                                                                              Torrance          CA      90502
6483822   Custom TV Installs                                            1510 N. Laurel Avenue#11                                                                                                                                         Los Angeles       CA      90046
6489693   CUT NARRATIVE RECORDS, LLC,                                   825 E 4TH ST APT 209                                                                                                                                             LOS ANGELES       CA      90013-2601
6469002   CUT NARRATIVE RECORDS, LLC,                                   OBO CHOPOLOGIC MUSIC                                                    825 E 4TH ST APT 209                                                                     LOS ANGELES       CA      90013-2601
6483485   Cut Narrative Records, LLC, obo Chopologic Music              825 E 4TH ST APT 209                                                                                                                                             Los Angeles       CA      90013
6491235   CUT TIME CLEARANCE, LLC                                       280 RIVERSIDE DRIVE #9G                                                                                                                                          NEW YORK          NY      10025
6475764   CUT TIME CLEARANCE, LLC.                                      280 RIVERSIDE DRIVE,                                                    SUITE # 9-G                                                                              NEW YORK CITY     NY      10025
6476108   CUT TIME CLEARANCE, LLC.                                      698 WEST END AVENUE, 10 F                                                                                                                                        NEW YORK          NY      10025




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MMLID     NAME                                             ADDRESS                                       ADDRESS 2                        ADDRESS 3       ADDRESS 4   CITY               STATE   POSTAL CODE UNITED
                                                                                                                                                                                                             COUNTRY
6798348   CUTTING EDGE (MUSIC) HOLDINGS LIMITED            18 RODMARTON STREET                                                                                        LONDON                     W1U 8BJ     KINGDOM
6474802   CUZA*FERNANDO E                                  Address on File
6477500   CVD, LLC                                         317 NOTTAWAY DR                                                                                            DESTREHAN          LA      70047
6492669   CW NETWORK LLC* THE                              ATTN: LAWRENCE M JACOBSON                     8383 WILSHIRE BLVD., SUITE 341                               BEVERLY HILLS      CA      90211
6484324   CW3PR                                            901 Hancock Ave. #312                                                                                      West Hollywood     CA      90069
6483157   Cyberverse                                       600 West 7th Street, Suite 510                                                                             Los Angeles        CA      90017
6476967   CYCLE DYNAMICS, INC.                             4324 LONG BEACH RD                                                                                         SOUTHPORT          NC      28461
6486040   Cydio Group, The                                 591 Camino De La Reina, Suite 1150                                                                         San Diego          CA      92108
6491764   CYNTHIA ERIVO                                    Address on File
6482246   Cynthia K. Brasher                               409 Grove St.                                                                                              Greenbrier         TN      37073
6483220   Cynthia Rocker                                   10390 Wilshire Blvd. #1209                                                                                 Los Angeles        CA      90024
6477643   CYPRESS BAYOU ANTIQUES                           4407 JEFFERSON HWY                                                                                         JEFFERSON          LA      70121
6477312   CYPRESS ENTERTAINMENT GROUP IN                   5980 CHESAPEAKE PARK                                                                                       ORLANDO            FL      32819
6478855   CZYZEWSKI, MARK A.                               4234 KENYON AVE                                                                                            LOS ANGELES        CA      90066
6476163   D & G RENT-ALLS INC                              2551 7TH AVENUE                                                                                            BEAVER FALLS       PA      15010-3751
6475371   D & K MUSIC, INC.                                F/S/O/ DAVID NEWMAN                           6353 BUSCH DRIVE                                             MALIBU             CA      90265        UNITED
6486462   D & V Style Limited                              1 Lonsdale Rd.                                                                                             London                     NW6 6RA      KINGDOM
6483360   D Bassett & Associates Inc                       5433 Fernwood Ave                                                                                          Los Angeles        CA      90027
6476276   D D ENTERPRISE                                   400 2ND STREET                                                                                             PITCARIN           PA      15140
6798282   D FILMS CORPORATION                              2 ST. CLAIR AVENUE EAST                       SUITE 903                                                    Toronto            ON      M4T 2T5      CANADA
6798281   D FILMS CORPORATION                              33 BLOOR STREET EAST                          5TH FLOOR                                                    TORONTO            ON      M4W 3H1      CANADA
6481584   D&D Media Group                                  1 River Place, Suite 1814                                                                                  New York           NY      10036
6478179   D&M COMMUNICATION, INC.                          2125 SAN MATEO BLVD NE                                                                                     ALBUQUERQUE        NM      87110
6485988   D&R Office Works                                 9956 Baldwin Place                                                                                         El Monte           CA      91731
6483672   D. Alan Harris                                   6424 Santa Monica Blvd                                                                                     Los Angeles        CA      90038
6485064   D. Baron Media Relations, Inc.                   1411 Cloverfield Blvd.                                                                                     Santa Monica       CA      90404
6486368   D. Douglas McKenna, Ph.D.                        3866 Oceanside Drive                                                                                       Greenbank          WA      98253
6476772   D.BAXTER'S                                       4113-D OLEANDER DRIVE                                                                                      WILMINGTON         NC      28403
6483591   D.C. Berridge LLC dba Best Events                314 N Vista                                                                                                Los Angeles        CA      90036
6476716   D.H.GRIFFIN WRECKING CO., INC.                   2840 HWY 421 NORTH                                                                                         WILMINGTON         NC      28401
6474053   D.J. CARSON                                      465 PAPE AVENUE                                                                                            TORONTO            ON      ON M4K 3P6   CANADA
6481533   D.J. Carson                                      465 Pape Avenue                                                                                            New York           NY      10022
6483726   D2 Mastering                                     3015 Glendale Blvd. Suite 100                                                                              Los Angeles        CA      90039
6478158   D-3 PRODUCTIONS INC.                             8626 PLYMOUTH ROCK NE                                                                                      ALBUQUERQUE        NM      87109
6480504   Dahl, Brett M                                    Address on File
6478585   DAHL\BRETT                                       10992 ASHTON AVENUE, #109                                                                                  LOS ANGELES        CA      90024
6478874   DAHL\BRETT                                       3121 DERONDA DRIVE                                                                                         LOS ANGELES        CA      90068
6477759   DAIGLE\NICHOLAS J                                263 LAKELONG DR                                                                                            HOUMA              LA      70364
6482457   Daily Variety                                    P.O. Box 5702                                                                                              Harlan             IA      51593
6482458   Daily Variety-DO NOT USE/USE #V000326            P.O. Box 5702                                                                                              Harlan             IA      51593
6492813   DAIMLER TRUST                                    C/O BK SERVICING, LLC                         ATTN: ED GEZEL, AGENT            PO BOX 131265               ROSEVILLE          MN      55113-0011
6483916   Dak's                                            8899 Beverly Blvd.                                                                                         Los Angeles        CA      90048
6478180   DAL SANTO\PAULA                                  1200 WASHINGTON ST NE                                                                                      ALBUQUERQUE        NM      87110
6482163   Dale West Video Productions, Inc.                12225 NE 13th. Court                                                                                       Miami              FL      33161
6480652   Dalena, Brielle                                  Address on File
6476265   D'ALESSANDRO\JOHN                                3298 SNOWDEN ROAD                                                                                          SOUTH PARK         PA      15129
6482849   Dallas HD Films                                  1430 Dragon St. Suite 17                                                                                   Dallas             TX      75207
6476526   DALLAS PRIDGEN JEWELRY, INC.                     104 N. CHURTON STREET                                                                                      HILLSBOROUGH       NC      27278
6476476   DALTON, SAMUEL E.                                174 WOODSTONE DR                                                                                           STONEVILLE         NC      27048
6480952   Daly, Julian                                     Address on File
6477957   DAMAZIO FILM CREW LLC                            28807 ASHBROOK LN.                                                                                         MAGNOLIA           TX      77355
6477367   DAMAZIO, KAYLON                                  8200 BUTLER RD.                                                                                            MOSS POINT         MS      39562
6475866   DAMAZIO, RICKY                                   33175 TEMECULA PKWY                           SUITE A #308                                                 TEMECULA           CA      92592
6477954   DAMAZIO\ANTHONY                                  8912 WEST LN                                                                                               MAGNOLIA           TX      77354
6477955   DAMAZIO\ANTHONY S.                               8912 WEST LN                                                                                               MAGNOLIA           TX      77354
6477368   DAMAZIO\KAYLAN                                   8200 BUTLER RD.                                                                                            MASSPOINT          MS      39562
6477958   DAMAZIO\RICKY                                    28807 ASHBROOK LN                                                                                          MAGNOLIA           TX      77355
6477393   DAMAZIO\RICKY                                    408 S. JACKSON STREET                                                                                      FRANKFORT          IN      46041
6477396   DAMAZIO\RICKY                                    521 S 28TH STREET                                                                                          LAFAYETTE          IN      47904
6478775   DAMIEN LUBIAK PRODUCTIONS, INC                   861 N ALTA VISTA BLVD                                                                                      LOS ANGELES        CA      90046
6477339   DAMIEN\PAUL                                      21 N. DANCER DRIVE                                                                                         OCALA              FL      34482
6474310   DAMMANN*ALISON                                   Address on File
6485032   Damminger Productions                            1011 19th St.                                                                                              Santa Monica       CA      90403
6483514   Damon O'Steen                                    3321 Mentone Ave. 5                                                                                        Los Angeles        CA      90034
6483673   Dan Bruhl                                        1040 N. Las Palmas, Bldg 40                                                                                Los Angeles        CA      90038
6484782   Dan Chapman                                      4174 Jackson Ave                                                                                           Culver City        CA      90232
6484124   Dan Dobi                                         4018 Redwood Ave, Unit D                                                                                   Los Angeles        CA      90066
6484001   Dan Farah                                        11640 Mayfield AvenueSuite 208                                                                             Los Angeles        CA      90049
6485991   Dan Fraga                                        2401 S. Hacienda Blvd. #39                                                                                 Hacienda Heights   CA      91745
6485504   Dan Gordon, Inc.                                 21731 Ventura Blvd. #300                                                                                   Woodland Hills     CA      91364




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                                                                                                                                  Served First Class Mail

MMLID     NAME                                                       ADDRESS                                                 ADDRESS 2                        ADDRESS 3                     ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6481920   Dan Gorman                                                 900 PEACHTREE ST NE APT 407                                                                                                        ATLANTA             GA      30309-5905
6481921   Dan Gorman (expenses)                                      900 Peachtree St NE Apt 407                                                                                                        Atlanta             GA      30309-5905
6481428   Dan Klores Communications, LLC                             261 Fifth Ave., 2nd FloorAttn: A/R Client Code #3222                                                                               New York            NY      10016
6490376   DAN KLORES COMMUNICATIONS, LLC                             ATTN: A/R CLIENT CODE #3222                             261 FIFTH AVE., 2ND FLOOR                                                  NEW YORK            NY      10016
6482508   Dan Klusmann dba I.M.E.                                    638 Ferguson Ave                                                                                                                   Bozeman             MT      59718
6480211   DAN MCALLISTER                                             COUNTY OF SAN DIEGO TREASURER - TAX COLLECTOR           1600 PACIFIC HIGHWAY, ROOM 162                                             SAN DIEGO           CA      92101
6476475   DAN RIVER ANTIQUE MALL LLC                                 210 E. MURPHY ST                                                                                                                   MADISON             NC      27046
6482544   Dan Slania                                                 c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                  Northbrook          IL      60062
6481012   Dana Brunetti                                              Address on File
6482485   Dana R. Bolla                                              12279 82nd Avenue North                                                                                                            Osseo               MN      55369
6485803   Dana Weiss                                                 234 S. Brighton St.                                                                                                                Burbank             CA      91506
6474749   DANDY*EDWARD TORY                                          Address on File
6483325   Daniel Alarcon                                             2970 Bellevue Ave.                                                                                                                 Los Angeles         CA      90026
6798337   DANIEL ALTER PRODUCTIONS, INC.                             ATTN: GENERAL COUNSEL                                   16654 SOLEDAD CANYON RD., #242                                             CANYON COUNTRY      CA      91387
6484270   Daniel Auber                                               2428 Creston Way                                                                                                                   Los Angeles         CA      90068
6485890   Daniel Clark & Assoc.                                      12001 Ventura Place, Suite 405                                                                                                     Studio City         CA      91604
6483592   Daniel Diaz dba Anti-Hero                                  3712 Westwood Blvd. #210                                                                                                           Los Angeles         CA      90036
6491257   DANIEL E. GLUSZAK DBA BACKGROUND NOISES                    Address on File
6485313   Daniel Elhaj - use vdr# V001414                            712 Glenmore Blvd.                                                                                                                 Glendale            CA      91206
6483767   Daniel F. Osterman                                         1046 Rutland Ave.                                                                                                                  Los Angeles         CA      90042
6486034   Daniel Fegan                                               c/o Hamilton Tharp CPA323 N. Pacific Coast Hwy.                                                                                    Solana Beach        CA      92075
6482545   Daniel Fields                                              c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                  Northbrook          IL      60062
6483593   Daniel Hoff Agency                                         5455 Wilshire Blvd, Suite 110                                                                                                      Los Angeles         CA      90036
6482666   Daniel J. Hoffman                                          246 Circlegate Rd.                                                                                                                 New Lenox           IL      60451
6482546   Daniel J. Nava                                             c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                   Northbrook          IL      60062
6485338   Daniel Madsen                                              23679 Calabasas Rd                                                                                                                 Calabasas           CA      91302
6482161   Daniel Martoe                                              1602 Alton Rd. #617                                                                                                                Miami               FL      33139
6491684   DANIEL MORA AYALA                                          Address on File
6482264   Daniel Q. Auerbach                                         P.O. Box 340020                                                                                                                    Nashville           TN      37203
6485891   Daniel R. Jennings                                         4342 Gentry Ave #9                                                                                                                 Studio City         CA      91604
6483178   Daniel Rogers                                              1190 Longwood Avenue                                                                                                               Los Angeles         CA      90019
6483823   Daniel Villa (Expenses)                                    7917 Selma Ave #209                                                                                                                Los Angeles         CA      90046
6486287   Daniela Stevenson                                          PO Box 6304                                                                                                                        Kahului             HI      96733
6483917   Danielle Katz                                              8899 Beverly Blvd                                                                                                                  Los Angeles         CA      90048
6480617   Daniels, Nathan                                            Address on File
6491318   DANIELS/JONATHAN RYAN                                      Address on File
6482234   Dann Huff                                                  337 White Swans Crossing                                                                                                           Brentwood           TN      37027
6486301   Dannen M K Timbreza-Dano                                   87-394 Kulawae St.                                                                                                                 Waianae             HI      96792
6482547   Danny D Salazar Del Rosario                                c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                                 Northbrook          IL      60062
6482478   Danny DuChene                                              1723 Patricks Bay                                                                                                                  Faribault           MN      55021
6485314   Danny Elhaj                                                712 Glenmore Blvd.                                                                                                                 Glendale            CA      91206
6483824   Danny Villa                                                7917 Selma Ave #209                                                                                                                Los Angeles         CA      90046
6487881   DANONE WATERS OF AMERICA, INC.                             C/O LOWENSTEIN SANDLER LLP                              ATTN: MICHAEL S. ETKIN, ESQ.     1251 AVENUE OF THE AMERICAS               NEW YORK            NY      10020
6474311   DANSKA*JENNIFER                                            Address on File
6477119   DAPCO LTD                                                  P O BOX 947                                                                                                                        MNT HOME            NC      28758
6477750   DARDAR\ROSS M                                              250 RUE TETE ROUGE                                                                                                                 BOURG               LA      70343
6477919   DARFUS, DAWN                                               307 PERCY STREET                                                                                                                   NATCHITOCHES        LA      71457
6484505   Darius Slay                                                c/o Relativity Sports345 N. Maple Dr. #205                                                                                         Beverly Hills       CA      90210
6485579   Darrell Brown                                              15767 Castlewoods Dr.                                                                                                              Sherman Oaks        CA      91403
6485892   Darrell F Fielder                                          3826 Vineland Ave                                                                                                                  Studio City         CA      91604
6490700   DARREN PAUL EMERSON                                        Address on File
6473180   DARRYL WYATT DBA CREATIVE EFFECTS CONCEPT                  1200 N JUNE ST                                          APT 2006                                                                   LOS ANGELES         CA      90038-1163
6485427   Darryl Wyatt dba Creative Effects Concept                  1200 N JUNE ST APT 206                                                                                                             LOS ANGELES         CA      90038-1363
6477669   DASA ENTERPRISES                                           5701 PLAUCHE COURT                                                                                                                 NEW ORLEANS         LA      70123
6476502   DATA CHAMBERS, LLC                                         3310 LEXINGTON RD.                                                                                                                 WINSTON-SALEM       NC      27107
6484053   Datalok Co The                                             5512 Laurelton Ave                                                                                                                 Garden Grove        CA      92845-1540
6485255   Datasat Digital Entertainment Inc                          PO Box 8237                                                                                                                        Pasadena            CA      91109
6481552   Dattner Consulting, LLC                                    91 Central Park West, #12E                                                                                                         New York            NY      10023
6482008   Davante Gardner                                            400 Military Rd.                                                                                                                   Suffolk             VA      23434
6484179   Dave & Ron Productions, Inc.                               c/o Creative Artists Agency2000 Avenue of the Stars                                                                                Los Angeles         CA      90067
6483221   Dave and Ron Productions, Inc. f/s/o Dave Andron           c/o Felker Toczek Gellman Suddelson LLPAttn: Bruce D.                                                                              Los Angeles         CA      90024
6482484   Dave Galey                                                 2423 Sherwood Hills Rd                                                                                                             Hopkins             MN      55305
6482900   David A. Morales                                           7745 Cambridge                                                                                                                     Houston             TX      77054
6484633   David Alan Flooring                                        369 S Doheny Dr 516                                                                                                                Beverly Hills       CA      90211
6485485   David Alan Williams                                        30836 Overfall Drive                                                                                                               Thousand Oaks       CA      91362
6481898   David Allen                                                4308 Dover Dr.                                                                                                                     Morrisville         PA      19067
6486231   David and Janet Peoples                                    2899 Buena Vista Way                                                                                                               Berkeley            CA      94708
6484180   David Anthony Durham                                       10250 Constellation Blvd., 7th. Floor                                                                                              Los Angeles         CA      90067
6486094   David August                                               3140 Airway Ave.                                                                                                                   Costa Mesa          CA      92688
6484889   David Boyle, Esq.                                          16014 Miami Way                                                                                                                    Pacific Palisades   CA      90272




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                                                                                                                               Master Mailing List
                                                                                                                              Served First Class Mail

MMLID     NAME                                              ADDRESS                                                     ADDRESS 2                             ADDRESS 3                ADDRESS 4    CITY                STATE   POSTAL CODE COUNTRY
6481739   David Brenner                                     665 Carroll St. #4                                                                                                                      Brooklyn            NY      11215
6485804   David C. Garcia                                   127 S. Brighton St.                                                                                                                     Burbank             CA      91506
6483222   David Carde                                       1572 Ensley Avenue                                                                                                                      Los Angeles         CA      90024
6485207   David Collins                                     1999 Mar Vista                                                                                                                          Altadena            CA      91001
6483270   David Del Greco                                   1546 Amherst Ave. #301                                                                                                                  Los Angeles         CA      90025
6482461   David E Asma dba SpunkShine Productions           22310 85th Pl                                                                                                                           Salem               WI      53168
6484890   David Eric Boyle                                  16014 Miami Way#1400                                                                                                                    Pacific Palisades   CA      90272
6477169   DAVID H HUMPHREYS M.D.P.A                         5 LIVINGSTON STREET                                                                                                                     ASHEVILLE           NC      28801
6485835   David Hoffman                                     5834 Satsuma Ave.                                                                                                                       North Hollywood     CA      91601
6485339   David Holmes                                      c/o First Artists Management4764 Park Granada, Suite 210                                                                                Calabasas           CA      91302
6485340   David Holmes, Inc.                                c/o First Artists Management4764 Park Granada, Suite #210                                                                               Calabasas           CA      91302
6475498   DAVID J. BLOOMFIELD, ESQ.                         10202 WEST WASHINGTON BLVD                                  ASTAIRE BUILDING EAST, 3RD FL                                               CULVER CITY         CA      90232
6479004   DAVID KELSON SOUND, INC.                          17015 PACIFIC COAST HWY. #14                                                                                                            PACIFIC PALISADES   CA      90272
6483093   David Lassiter                                    2712 Ivan Hill Terrace                                                                                                                  Los Angeles         CA      90010
6485527   David M. Lewis Company                            21800 Oxnard St. Suite 980                                                                                                              Woodland Hills      CA      91367
6483133   David Magdael & Associates, Inc.                  600 West 9th StreetSuite #704                                                                                                           Los Angeles         CA      90015
6483022   David Manzanares                                  2442 Cerrillos Rd. # 325                                                                                                                Santa Fe            NM      87505
6485658   David Metzner                                     13952 Peach Grove Street                                                                                                                Sherman Oaks        CA      91423
6483825   David Nordlund, Inc.                              1326 North Hayworth #2                                                                                                                  Los Angeles         CA      90046
6482800   David P. Hebert                                   4125 Montrachet Drive                                                                                                                   Kenner              LA      70065
6491687   DAVID PATRICK PALMER DBA FYR MUSIC                401 N. VENTURA ST.                                                                                                                      OJAI                CA      93023
6483918   David Rodriguez                                   8899 Beverly Blvd. Ste#510                                                                                                              Los Angeles         CA      90048
6484325   David Rothley                                     8923 Keith Avenue                                                                                                                       West Hollywood      CA      90069
6483768   David Rourke Evans                                227 1/2 S. Ave 51                                                                                                                       Los Angeles         CA      90042
6482428   David S. Krieger                                  285 East Palmer                                                                                                                         Detroit             MI      48202
6798318   David Shane Strategies, LLC                       c/o Venable LLP                                             Attn: Richard Frey & Carlos Becerra   2049 Century Park East   Suite 2100   Los Angeles         CA      90067
6483919   David Spiegelman                                  8899 Beverly Blvd.Ste.510                                                                                                               Los Angeles         CA      90048
6483826   David Stump ASC                                   2146 Sunset Crest Drive                                                                                                                 Los Angeles         CA      90046
6798310   DAVID TWOHY                                       625 RESOLANO DR.                                                                                                                        PACIFIC PALISADES   CA      90272
6481558   David W. Nugent                                   609 Columbus Ave., Apt 10-O                                                                                                             New York            NY      10024
6485537   David Winstone                                    132 Park View Dr.                                                                                                                       Oak Park            CA      91377
6481740   David Yellen                                      450 3rd Street                                                                                                                          Brooklyn            NY      11215
6474826   DAVID*BRIAN A                                     Address on File
6478797   DAVID\ERIN                                        6221 LINDENHURST AVE                                                                                                                    LOS ANGELES         CA      90048
6474441   DAVIDGE*PAUL                                      Address on File
6480818   Davidge, Paul L                                   Address on File
6476879   DAVIDSON, RICHARD S.                              308 WHISPER PARK DR.                                                                                                                    WILMINGTON          NC      28411
6477514   DAVIDSON\NICK                                     752 GRINELL PLACE                                                                                                                       GRETNA              LA      70056
6476880   DAVIDSON\RICK                                     308 WHISPER PARK DRIVE                                                                                                                  WILMINGTON          NC      28411
6479829   DAVIES*WILLIAM KYLE                               C/O YUCAIPA FILM INVESTMENTS LLC                            888 SEVENTH AVENUE                    40TH FLOOR                            NEW YORK            NY      10106
6480931   Davies, Noah                                      Address on File
6480932   Davies, Oliver                                    Address on File
6480933   Davies, William                                   Address on File
6475895   DAVILA\WILMAR                                     COND. JARDINES METROPOLITANOS                               TORRE 2 APT 14E C/GALILEO #361                                              RIO PIEDRAS         PR      00927
6477225   DAVIS AUTOMOTIVE & TOWING LLC                     205 ODONALD RD.                                                                                                                         ASHEVILLE           NC      28806
6486341   Davis Wright Tremaine, LLP                        1201 Third Ave. Suite 2200                                                                                                              Seattle             WA      98101
6473969   DAVIS WRIGHT TREMAINE, LLP.                       1201 THIRD AVE , SUITE 2200                                                                                                             SEATTLE             WA      98101-3045
6491392   DAVIS* IECIA                                      Address on File
6474270   DAVIS*ALEXANDRA                                   Address on File
6474842   DAVIS*MATTHEW S                                   Address on File
6474798   DAVIS*SEAN                                        Address on File
6480499   Davis, Alexandra B                                Address on File
6478875   DAVIS, BRYAN                                      3285 DERONDA DR                                                                                                                         LOS ANGELES         CA      90068
6476541   DAVIS, TIFFANY                                    454 ROCK QUARRY RD                                                                                                                      PELHAM              NC      27311
6479303   DAVIS\DANIEL                                      25379 WAYNE MILLS PL #313                                                                                                               VALENCIA            CA      91355
6477581   DAVIS\JAMES TRENT                                 1110 HENRIETTE DELILLE ST                                                                                                               NEW ORLEANS         LA      70116
6479486   DAVIS\KEITH                                       1241 NORTH CALIFORNIA ST.                                                                                                               BURBANK             CA      91505
6475440   DAVIS\PAUL                                        15233 VENTURA BLVD                                          9TH FLOOR                                                                   SHERMAN OAKS        CA      91403
6478002   DAVIS\TOM E.                                      3828 E. FRONTAGE ROAD                                                                                                                   ALGODONES           NM      87001
6486438   Davisville Music Publishing, Inc.                 5650 Yonge St. Suite 600                                                                                                                Toronto             ON      M2M 4H5      CANADA
6492746   DAW* CHARITY                                      402 3/4 MICHELTORENA ST.                                                                                                                LOS ANGELES         CA      90026
6476369   DAWES\STEVE                                       1608 GREEN CREST DRIVE                                                                                                                  PITTSBURGH          PA      15226
6482820   Dawn Darfus                                       307 Percy Street                                                                                                                        Natchitoches        LA      71457
6481619   Dawn Miller                                       301 East 66th Street#15E                                                                                                                New York            NY      10065
6798312   DAWN OSTROFF                                      C/O SPOTIFY                                                 45 W. 18th Street 7th Floor                                                 NEW YORK            NY      10036
6478964   DAX, LLC                                          100 CORPORATE PLAZA, SUITE 300                                                                                                          CULVER CITY         CA      90230
6475750   DAX, LLC.                                         100 CORPORATE POINTE, STE 350                               SUITE # 350                                                                 CULVER CITY         CA      90230
6475074   DAX, LLC.                                         AKA SAMPLE DIGITAL HOLDINGS                                 100 CORPORATE POINTE, # 350                                                 CULVER CITY         CA      90230
6480621   Day, Peter                                        Address on File
6481377   Daylife, Inc.                                     444 Broadway 5th Floor                                                                                                                  New York            NY      10013




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                                                                                                                                                   Served First Class Mail

MMLID     NAME                                                          ADDRESS                                                             ADDRESS 2                              ADDRESS 3                        ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6478111   DAYS INN                                                      2120 MENUAL BLVD NE                                                                                                                                     ALBUQUERQUE      NM      87107
6478462   DAYS INN                                                      807 S. RIVERSIDE DR.                                                                                                                                    ESPANOLA         NM      87532
6478006   DAYS INN BERNALILLO                                           107 NORTH CAMINO DEL PUEBLO DR                                                                                                                          BERNALILLO       NM      87004
6479285   DAZIAN RENTAL WEST, LLC                                       10671 LORNE AVENUE                                                                                                                                      SUN VALLEY       VA      91352
6476167   DB FARMS LLC                                                  270 PURDY ROAD                                                                                                                                          PARIS            PA      15021
6476065   DBA DISTRIBUTION SERVICES, INC                                P.O. BOX 6090                                                                                                                                           SOMERSET         NJ      08875-6090
6478704   DBA: AVON RENT-A-CAR-TRUCK-VAN                                7080 SANTA MONICA BLVD                                                                                                                                  LA               CA      90038
6490500   DC SLEEPS LLC OBO DYING SONGS                                 C/O ZEITGEIST ARTIST MGMT LTD                                       660 YORK STREET, SUITE 205                                                          SAN FRANCISCO    CA      94110
6486179   DC Sleeps LLC obo Dying Songs c/o Zeitgeist Artist Mgmt Ltd   c/o Zeitgeist Artist Mgmt Ltd.660 York Street, Suite 205                                                                                                San Francisco    CA      94110
6489457   DC SLEEPS LLC OBO WHERE I'M CALLING                           FROM SONGS C/O ZEITGEIST                                            C/O ZEITGEIST ARTIST MGMT.             660 YORK STREET, SUITE 216                   SAN FRANCISCO    CA      94110
6479917   dcp, LLC                                                      Address on File
6485434   DCR Corporation                                               19425 Soledad Canyon Rd. Suite B431                                                                                                                     Canyon Country   CA      91351
6492371   DCR CORPORATION                                               ATTN: DANIEL RODRIGUEZ                                              19425 SOLEDAD CANYON RD., SUITE B431                                                CANYON COUNTRY   CA      91351
6483059   DD Media                                                      651 Wilcox Ave. #2A                                                                                                                                     Los Angeles      CA      90004        UNITED
6492370   DDA BLUEPRINT PUBLIC RELATIONS, LTD.                          ATTN: JOHN STANNARD, DIRECTOR                                       192-198 VAUXHALL BRIDGE ROAD                                                        LONDON                   SW1V 1DX     KINGDOM
6491508   DDA EVENT MANAGEMENT                                          8981 SUNSET BLVD. SUITE 201                                                                                                                             LOS ANGELES      CA      90069        UNITED
6486477   DDA Event Management LTD                                      192-198 Vauxhall Bridge Rd                                                                                                                              London                   SW1V 1DX     KINGDOM
                                                                                                                                                                                                                                                                      UNITED
6491759   DDA PUBLIC RELATIONS LTD                                      192-198 VAUXHALL BRIDGE ROAD                                                                                                                            LONDON                   SW1V 1DX     KINGDOM
                                                                                                                                                                                                                                                                      UNITED
6475249   DDA PUBLIC RELATIONS, LTD                                     192-198 VAUXHALL BRIDGE RD                                          2ND FL                                                                              LONDON                   SW1V 1DX     KINGDOM
                                                                                                                                                                                                                                                                      UNITED
6492201   DDA PUBLIC RELATIONS, LTD                                     ATTN: JOHN STANNARD, COO                                            192-198 VAUXHALL BRIDGE RD             2ND FL                                       LONDON                   SW1V 1DX     KINGDOM
6483727   De Annesley Agency                                            3507 La Clede Ave.                                                                                                                                      Los Angeles      CA      90039
6479404   DE LA BOUILLERIE\ALEX                                         7118 LASAINE AVENUE                                                                                                                                     LAKE BALBOA      CA      91406
6475474   DE MIGUEL\JOSE                                                ALMENDRO #5                                                         APT B-5                                                                             SAN JUAN         PR      00913
6484181   De Soto Productions, Inc.                                     c/o Creative Artist AgencyAttn:Brian Kend2000 Avenue of the Stars                                                                                       Los Angeles      CA      90067
6478435   DE WING\HERB                                                  34 DOMINGO RD                                                                                                                                           SANTA FE         NM      87508
6798296   DEAD OCEANS INC                                               1499 WEST 2ND ST.                                                                                                                                       BLOOMINGHTON     IN      47403
6798307   DEAD OCEANS INC.                                              1499 WEAAST 2ND ST.                                                                                                                                     BLOOMINGTON      IN      47403
6482407   Dead Oceans, Inc                                              1499 W. 2nd Street                                                                                                                                      Bloomington      IN      47403
6484678   Dead Vertical, Inc.                                           c/o United Talent Agency9560 Wilshire Blvd. #500                                                                                                        Beverly Hills    CA      90212
6482772   Deadpan Films                                                 1656 Washington St.                                                                                                                                     Kansas City      MO      64108
6478436   DEAL EXCAVATING                                               145 RANCHO ALEGRE ROAD                                                                                                                                  SANTA FE         NM      87508
6482069   Dean DeLongchamps                                             390 Parapet Court                                                                                                                                       Mount Pleasant   SC      29464
6479709   DEAN GOLDSMITH CAMERA CAR INC                                 PO BOX 237                                                                                                                                              ACTON            CA      93520
6483223   Dean Ollins                                                   10833 Wilshire Blvd, #128                                                                                                                               Los Angeles      CA      90024
6484679   Dean Ollins c/o United Talent Agency                          9560 Wilshire BlvdPH                                                                                                                                    Beverly Hills    CA      90212
6483179   Dean P. Patterson                                             4435 Victoria Park Dr.                                                                                                                                  Los Angeles      CA      90019
6484863   Dean Robinson                                                 20509 Big Rock Rd.                                                                                                                                      Malibu           CA      90265
6476832   DEAN\ROBIN M.                                                 561 GARDEN TERRACE DRIVE #102                                                                                                                           WILMINGTON       NC      28405
6484506   DeAndre Jordan                                                c/o Relativity Sports345 N. Maple Dr. #205                                                                                                              Beverly Hills    CA      90210
6484760   Deanna Newell                                                 4445 Commonwealth Ave.                                                                                                                                  Culver City      CA      90230
6482639   Debbie Fink dba DFL Management, LLC                           355 W. Dundee Rd., Suite 202                                                                                                                            Buffalo Grove    IL      60089
6491568   DEBMAR-MERCURY, LLC                                           225 SANTA MONICA BLVD. 8TH FLOOR                                                                                                                        SANTA MONICA     CA      90401
6485580   Debmerica, Inc.                                               c/o Kraft-Engel Management15233 Ventura Blvd. Suite 200                                                                                                 Sherman Oaks     CA      91403
6475146   DEBMERICA, INC.                                               F/S/O DEBORAH LURIE                                                 15233 VENTURA BLVD # 200                                                            SHERMAN OAKS     CA      91403
6479657   DEB'S DUALLYS                                                 3517 EUCALYPTUS STREET                                                                                                                                  WEST COVINA      CA      91792
6481923   Dechert, LLP                                                  P.O. Box 7247-6643                                                                                                                                      Philadelphia     PA      19170
6477777   DECLOUET\DEBORAH SKIPPER                                      1605 HICKORY ST                                                                                                                                         PATTERSON        LA      70392
6476025   DEDOTEC USA, INC.                                             48 SHEFFIELD BUSINESS PARK                                                                                                                              ASHLEY FALLS     MA      01222
6485893   Dee Dee Marcelli                                              12345 Hillslope St                                                                                                                                      Studio City      CA      91604
6490692   DEEP DARK WOODS, LLC, THE                                     C/O SIX SHOOTER MANAGEMENT                                          970 QUEEN STREET E., BOX 98038                                                      TORONTO          ON      M4M 1J0      CANADA
6475180   DEEP DARK WOODS, LLC\THE                                      C/O POLAY FINANCIAL MGMT                                            1888 EMERY ST, SUITE 111                                                            ATLANTA          GA      30318
6475301   DEEP SLEEP, INC.                                              C/O GORFAINE/SCHWARTZ                                               4111 W ALAMEDA AVE #509                                                             BURBANK          CA      91505
6468911   DEEP SLEEP, INC. FSO THOMAS NEWMAN                            C/O GORFAINE/SCHWARTZ AGENCY                                        ATTN: MICHAEL GORFAINE                 4111 W. ALAMEDA AVE. SUITE 509               BURBANK          CA      91505
6485765   Deep Sleep, Inc. fso Thomas Newman                            c/o Gorfaine/Schwartz Agency4111 W. Alameda Ave. Suite 509Attn:                                                                                         Burbank          CA      91505
6485766   Dees Creations, Inc.                                          3601 W. Olive Avenue #675                                                                                                                               Burbank          CA      91505
6484965   DeFranco Inc.                                                 13428 Maxella Ave,# 286                                                                                                                                 Marina Del Rey   CA      90292
6474416   DEGNAN*MARYELLEN                                              Address on File
6480582   Del Moral, Miguel                                             Address on File
6468817   DEL SHAW MOONVES TANAKA FINKELSTEIN & LEZCANO                 ATTN: BOBB GORDON                                                   2120 COLORADO AVE.                     SUITE 200                                    SANTA MONICA     CA      90404
6481901   DeLage Landen Financial Services                              PO Box 41602                                                                                                                                            Philadelphia     PA      19101
6486172   Delancey Street Foundation                                    600 Embarcadero                                                                                                                                         San Francisco    CA      94107
6476833   DELANEY\WITNEY RENE                                           5010 MC CLELLAND DRIVE #213                                                                                                                             WILMINGTON       NC      28405
6474900   DELAWARE DEPT. OF NATURAL RESOURCES AND                       ENVIRONMENTAL CONTROL                                               89 KINGS HIGHWAY                                                                    DOVER            DE      19901
6479976   DELAWARE SECRETARY OF LABOR                                   SECRETARY                                                           4425 N. MARKET ST., 4TH FL                                                          WILMINGTON       DE      19802
6469596   DELAWARE SECRETARY OF STATE                                   DIVISION OF CORPORATIONS                                            PO BOX 11728                                                                        NEWARK           NJ      07101
6481838   Delaware Secretary of State                                   Division of CorporationsPO Box 5509                                                                                                                     Binghamton       NY      13902
6475010   DELAWARY\ENAYAT                                               3049 MONTROSE AVENUE                                                # 71                                                                                LA CRESCENTA     CA      91214
6475441   DELGADO ARZON\AXEL                                            CARR 924 URB SAN ANTONIO                                            A-7                                                                                 HUMACAO          PR      00791
6476007   DELGADO\AHMED                                                 HW14 DOMINGO DELGADO ST                                                                                                                                 TOA BAJA         PR      00949
6475529   DELGADO\RAUL                                                  URB. SIERRA BAYAMON 51-13                                           CALE 49                                                                             BAYAMON          PR      00961-4422




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                                                                                                                                      Exhibit D
                                                                                                                                Master Mailing List
                                                                                                                               Served First Class Mail

MMLID     NAME                                                      ADDRESS                                              ADDRESS 2                        ADDRESS 3                      ADDRESS 4    CITY            STATE   POSTAL CODE COUNTRY
6475209   DELGADO\TRACEY                                            DBA TRACEY'S LANDSCAPING                             211 DAVIS AVENUE                                                             PITTSBURGH      PA      15223
6484271   Deliberate Marketing Services                             3122 Barbara Court                                                                                                                Los Angeles     CA      90068
6486123   Delicate Productions                                      874 Verdulera St.                                                                                                                 Camarillo       CA      93010
6485260   Dell Marketing LP                                         c/o Dell USA L.P.PO Box 910916                                                                                                    Pasadena        CA      91110
6475391   DELL\ALEX                                                 DBA DELL HAULING                                     77 ALAN STREET                                                               PITTSBURGH      PA      15210
6491377   DELOITTE FINANCIAL ADVISORY SERVICES, LLP                 PO BOX 840728                                                                                                                     DALLAS          TX      75284
6492150   DELOITTE TRANSACTIONS AND BUSINESS                        ANALYTICS LLP                                        ATTN: J.D. TENGBERG, PRINCIPAL   555 WEST 5TH STREET            SUITE 2700   LOS ANGELES     CA      90013-1010
6480649   DeLorenzo, James                                          Address on File
6475101   DELORES INC                                               DBA HIDY'S CAFE                                      115 WEST BRADDOCK AVENUE                                                     RANKIN          PA      15104
6481721   Delroy Fanus dba Adrian Fanus Grooming                    497 Dekalb Ave., 3rd Floor                                                                                                        Brooklyn        NY      11205
6477078   DELTA PROTECTION AGENCY, LLC                              201 ST. GERMAIN AVE SW                                                                                                            VALDESE         NC      28690
6477767   DELTART\GINA M                                            208 UNIVERSE ST                                                                                                                   MORGAN CITY     LA      70380
6469874   DELUXE 103, SL                                            C/O GUITARD, 13, BAJOS                                                                                                            BARCELONA               08014        SPAIN
6486510   Deluxe 103, SL                                            c/o Guitard, 13, Bajos08014                                                                                                       Barcelona                            Spain
6484412   Deluxe Advertising Services, LLC                          P.O. Box 749663                                                                                                                   Los Angeles     CA      90074
6484413   Deluxe Advertising, LLC dba Drissi Creative Studios       File#56477                                                                                                                        Los Angeles     CA      90074
6477390   DELUXE BUSINESS CHECKS AND SOLUTIONS                      P.O. BOX 742572                                                                                                                   CINCINNATI      OH      45274-2572
6482388   Deluxe Business System                                    PO Box 742572                                                                                                                     Cincinnati      OH      45274
6478907   DELUXE DIGIITAL MEDIA                                     FILE 56477                                                                                                                        LOS ANGELES     CA      90074-6477   UNITED
6486499   Deluxe Digital Cinema - EMEA                              20 Dering St.                                                                                                                     London                  W1S 1AJ      KINGDOM
6798294   Deluxe Digital Cinema, Inc.                               c/o Deluxe Entertainment Services Group              Attn: Access Letters             2400 W Empire Ave. Suite 200                Burbank         CA      91504
6475511   DELUXE DIGITAL MEDIA                                      15301 VENTURA BLVD                                   BLDG B, SUITE 200                                                            SHERMAN OAKS    CA      91403
6484415   Deluxe Digital Media Management dba MediaVu               File 56477                                                                                                                        Los Angeles     CA      90074
6470842   DELUXE FOR BUSINESS                                       PO BOX 742572                                                                                                                     CINCINNATI      OH      45274
6469761   DELUXE ITALIA LAB                                         VIA DELLE MOLETTE 261                                                                                                             FONTENUOVA              00013        ITALIA
6486511   Deluxe Italia Lab                                         Via Delle Molette 26100013                                                                                                        FontenuovaI                          Italy
6484416   Deluxe Laboratories Inc.                                  File 56479                                                                                                                        Los Angeles     CA      90074
6478628   DELUXE LABS                                               1377 NORTH SERRANO AVENUE                                                                                                         HOLLYWOOD       CA      90027-5623
6484417   Deluxe Media Creative Services dba Efilm                  File # 50080                                                                                                                      Los Angeles     CA      90074
6484418   Deluxe Media Creative Services, Inc. dba Company 3        P.O. Box 749663                                                                                                                   Los Angeles     CA      90074
6468852   DELUXE MEDIA INC.                                         2400 W EMPIRE AVE.                                   SUITE 200                                                                    BURBANK         CA      91504
6484419   Deluxe Media Management                                   File# 56477                                                                                                                       Los Angeles     CA      90074
6484420   Deluxe Media Services, LLC dba Filmcore Distribution      P.O. Box 749663                                                                                                                   Los Angeles     CA      90074
6479241   DELUXE MOTION PICTURE CATERING                            10953 SAN FERNANDO RD                                                                                                             PACOIMA         CA      91331
6482389   Deluxe Small Business Sales, Inc.                         PO Box 742572                                                                                                                     Cincinnati      OH      45274
6484422   Deluxe Toronto (Post)                                     File# 56474                                                                                                                       Los Angeles     CA      90074
6486449   Deluxe Toronto Ltd. dba Deluxe Postproduction             901 King St. West, Suite 700                                                                                                      Toronto         ON      M5V 3H5      CANADA
6486221   DeMarcus Cousins                                          1401 N. Broadway, #210                                                                                                            Walnut Creek    CA      94596
6480389   DEMAREST FILMS, LLC                                       11925 WILSHIRE BOULEVARD, SUITE 310                                                                                               LOS ANGELES     CA      90025
6483271   Demarest Films, LLC                                       Attn: Sam Englebardt11925 Wilshire Blvd. Suite 310                                                                                Los Angeles     CA      90025
6480724   DeMartino, Elizabeth                                      Address on File
6483920   Demetri Panayotopoulos                                    6409 W. 6th Street                                                                                                                Los Angeles     CA      90048
6483326   Demetrius Griffin                                         1400 Edgecliffe Drive                                                                                                             Los Angeles     CA      90026
6476932   DEMLING\LAURA HOPE                                        7398 RUBY STONE CT                                                                                                                LELAND          NC      28451
6480502   Denenberg, Jamie                                          Address on File
6480857   Dennerline, Daisy                                         Address on File
6477226   DENNEY\TOBIAS                                             22 AMERICAN WAY                                                                                                                   ASHEVILLE       NC      28806
6481682   Dennis Angel                                              1075 Central Park Ave, Suite 306                                                                                                  Scarsdale       NY      10583
6490532   DENNIS C. AND CARLA S. GEBERS                             DBA CREST THEATRE                                    841 IDAHO ST.                                                                SUPERIOR        NE      68978
6481188   Dennis Meagher                                            15 Wildflower Ct.                                                                                                                 Englishtown     NJ      07726
6485065   Dennis N. Cline dba Law Offices of Dennis N. Cline        1620 Broadway, Suite E                                                                                                            Santa Monica    CA      90404
6485894   Dennis O'Connor Film Marketing                            11454 Dona Dolores Place                                                                                                          Studio City     CA      91604
6483769   Dennis S. Greene                                          4950 Stratford Rd.                                                                                                                Los Angeles     CA      90042
6483089   Deon Boyce                                                2700 W. 43rd Place                                                                                                                Los Angeles     CA      90008
6476300   DEP TECHNOLOGIES, INC                                     15 NOBLE AVE                                                                                                                      PITTSBURGH      PA      15205
6477170   DEPAOLO,M.D.,P.A\CHARLES J.                               3B MCDOWELL STREET                                                                                                                ASHEVILLE       NC      28801
6481067   Departamento de Hacienda                                  Area de Rentas InternasP.O. Box 9022501                                                                                           San Juan        PR      00902
6475230   DEPARTMENT OF                                             HOMELAND SECURITY                                    2400 AVILA ROAD                                                              LAGUNA NIGUEL   CA      92677
6480298   DEPARTMENT OF ADMINISTRATIVE SERVICES                     2929 TAPO CANYON ROAD                                                                                                             SIMI VALLEY     CA      93063
6480176   DEPARTMENT OF ASSESSMENT                                  JAMES DAVIS                                          COUNTY ASSESSOR'S OFFICE         240 OLD COUNTRY ROAD                        MINELOA         NY      11501
6481877   Department of State                                       Corporation BureauP.O. Box 8722                                                                                                   Harrisburg      PA      17105
6475674   DEPARTMENT OF STATE                                       CORPORATIONS BUREAU                                  PO BOX 8722                                                                  HARRISBURG      PA      17105
6480180   DEPARTMENT OF TAXATION AND FINANCE                        ASSESSORS                                            ONE CENTRE STREET                22ND FLOOR                                  NEW YORK        NY      10007
6491223   DEPENDABLE DELIVERY INC                                   360 W 52ND ST                                                                                                                     NEW YORK        NY      10019
6475771   DEPONTE INVESTMENTS, INC.                                 7770 JEFFERSON STREET NE                             SUITE 100                                                                    ALBUQUERQUE     NM      87109
6476155   DEPREZ DESIGN                                             190 DUBOIS ROAD                                                                                                                   CATSKILL        NY      12414
6476440   DEPT OF HOMELAND SECURITY                                 245 MURRAY LANE SW                                                                                                                WASHINGTON      DC      20528-0075
6482548   Derek Fisher                                              c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                 Northbrook      IL      60062
6482013   Derek Joshua Barker                                       2215 Stonecuttter Dr.                                                                                                             Winston Salem   NC      27103
6468788   DEREK KOLSTAD ('WRITER')                                  C/O APA                                              ATTN: MIKE GOLDBERG ('AGENT')    405 SOUTH BEVERLY DRIVE                     BEVERLY HILLS   CA      90212




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                                                                                                                             Master Mailing List
                                                                                                                            Served First Class Mail

MMLID     NAME                                             ADDRESS                                                    ADDRESS 2                                ADDRESS 3                         ADDRESS 4          CITY              STATE   POSTAL CODE COUNTRY
6483361   Derek Royal Simonds                              3407 Rowena Ave.                                                                                                                                         Los Angeles       CA      90027
6483784   Derrick Caracter                                 8601 Lincoln Blvd. Apt I-301                                                                                                                             Los Angeles       CA      90045
6482482   Derrick Van Orden                                7310 Zanzibar Ln. N                                                                                                                                      Maple Grove       MN      55133
6479177   DESAFINADO PRODUCTIONS, INC.                     1249 MONCADO DR                                                                                                                                          GLENDALE          CA      91207
6476834   DESARNO\PATRICIA C.                              6721 MINTWOOD CT                                                                                                                                         WILMINGTON        NC      28405
6492186   DESERT DANCER PRODUCTIONS LTD.                   C/O CROSSDAY PRODUCTIONS LTD.                              ATTN: PHILIPPA CROSS, DIRECTOR           195, WARDOUR ST.                                     LONDON            UK      W1F 8Z9     ENGLAND
6475884   DESERT RAIN CREATIVE                             4411 MCLEOD ROAD NE                                        SUITE G                                                                                       ALBUQUERQUE       NM      87104
6485195   Designory Inc The                                211 E Ocean Blvd                                                                                                                                         Long Beach        CA      90802
6484065   Designs by David                                 2222 Federal Ave                                                                                                                                         Los Angeles       CA      90064
6484784   Designtown, USA                                  3615 Hayden Ave.                                                                                                                                         Culver City       CA      90232
6490409   DESIGNTOWN, USA                                  ATTN: SHIRLEY ASHFORD, BOOKKEEPER                          3615 HAYDEN AVE.                                                                              CULVER CITY       CA      90232
6482843   Desmond Bryant                                   901 Longmeadow                                                                                                                                           De Soto           TX      75115
6484507   Desmond Trufant                                  345 N. Maple Dr., Suite 205                                                                                                                              Beverly Hills     CA      90210
6479380   DESSERT-LAUTERIO, CAROLYN                        5431 HAZELTINE AVENUE                                                                                                                                    SHERMAN OAKS      CA      91401
6480423   Destino, Gianni                                  Address on File
6486051   DeTariso Productions, Inc.                       13276 Deer Canyon Pl                                                                                                                                     San Diego         CA      92129
6484929   Devastudios Inc                                  314 5th Ave                                                                                                                                              Venice            CA      90291
6479659   DEVER, JAMES D                                   4454 LA CANADA RD                                                                                                                                        FALLBROOK         CA      92028
                                                                                                                      C/O LICHTER, GROSSMAN, NICHOLS ADLER &
6798279   DEVIL'S COUNTRY, INC.                            F/S/O ANDREW LOBEL                                         FELDMAN                                  ATTN: STEPHEN CLARK               9200 SUNSET BLVD   WEST HOLLYWOOD    CA      90069
6486189   Devil's Country, Inc. fso Andrew Lobel           1201 6th Ave. #4                                                                                                                                         San Francisco     CA      94122
6484508   Devin Hester                                     c/o Relativity Sports345 N. Maple Dr. #205                                                                                                               Beverly Hills     CA      90210
6798280   DEVIN RATRAY                                     C/O BRYAN WALSH/DON BUCHWALD ASSOCIATES                    5900 Wilshere Blvd., 31st Floor                                                               LOS ANGELES       CA      90036
6475048   DEVLIN\LESLIE                                    23371 MULHOLLAND DR                                        #415                                                                                          WOODLAND HILLS    CA      91364
6483180   Devon Patterson                                  4435 Victoria Park Drive                                                                                                                                 Los Angeles       CA      90019
6486283   Devorah Singer dba Devi Singer                   51 Kahope Pl                                                                                                                                             Haiku             HI      96708
6485528   Dew Beauty Agency                                5734 Ostin Avenue                                                                                                                                        Woodland Hills    CA      91367
6480583   Dewart, Nicholas                                 Address on File
6481658   DeWitt Stern Group, Inc.                         420 Lexington Ave., Suite 2700                                                                                                                           New York          NY      10170
6482819   DeWitt Stern of Louisiana, Inc                   7656 Jefferson Highway, 2nd FL                                                                                                                           Baton Rouge       LA      70809
6480053   DFG DEUTSCHE FILMVERSICHERUN                     GSGEMEINSCHAFT                                             TROSTBRUKE                               CKE 1                                                HAMBURG                   20457        GERMANY
6486559   DFG DEUTSCHE FILMVERSICHERUNGSGEMEINSCHAFT       TROSTBRUKE 1                                                                                                                                             HAMBURG                   20457        GERMANY
6492834   DG ENTERTAINMENT MEDIA, INC.                     ATTN: ROBBIE DAVIS, PRESIDENT/CEO                          3280 CAHUENGA BLVD. WEST                                                                      LOS ANGELES       CA      90068
6482887   DG Fastchannel Inc                               PO Box 951392                                                                                                                                            Dallas            TX      75395
6480391   DGA                                              7920 SUNSET BOULEVARD                                                                                                                                    LOS ANGELES       CA      90046
6480390   DGA , PRODUCER PENSION & HEALTH                  5055 WILSHIRE BLVD, SUITE 600                                                                                                                            LOS ANGELES       CA      90036
6478687   DGA OF AMERICA. PROD. PENSION                    5055 WILSHIRE BLVD, STE 600                                                                                                                              LOS ANGELES       CA      90036
6491224   DGA SECURITY SYSTEMS, INC.                       429 WEST 53RD ST.                                                                                                                                        NEW YORK          NY      10019

6479875   DGA-PRODUCER PENSION AND HEALTH PLANS            ATTN: LEGAL DEPT.                                          5055 WILSHIRE BLVD, STE. 600                                                                  LOS ANGELES       CA      90036
6479048   DHANDWAR, TARSEM S.                              1299 OCEAN AVENUE                                                                                                                                        SANTA MONICA      CA      90401
6475117   DHANDWAR\AJIT SINGH                              C/O G&J                                                    1299 OCEAN AVE. #333                                                                          SANTA MONICA      CA      90401
6479049   DHANDWAR\TARSEM S.                               1299 OCEAN AVE. #333                                                                                                                                     SANTA MONICA      CA      90401
6482068   DHL Express                                      PO Box 632475935 Rivers Avenue Suite 102                                                                                                                 Charleston        SC      29419
6483272   DHTL Productions                                 1990 S. Bundy Dr. Suite 200                                                                                                                              Los Angeles       CA      90025
6485553   Dia Dibble Hayes                                 5801 Fulton Ave.                                                                                                                                         Van Nuys          CA      91401
6476481   DIACONESCU, IULIANA                              803 W. ACADEMY ST.                                                                                                                                       WINSTON-SALEM     NC      27101
6798273   DIAMOND FILM PRODUCTIONS                         C/O REDER & FEIG LLP                                       ATTN: GLENN FEIG                         10474 Santa Monica Blvd Ste 401                      Los Angeles       CA      90025-6932
6478043   DIAMOND VOGEL                                    1016 THIRD STREET N.W.                                                                                                                                   ALBUQUERQUE       NM      87102
6477979   DIAMOND VOGEL                                    P.O. BOX 16388                                                                                                                                           DENVER            CO      80216-0388
6483921   Dianna Mannheim                                  307 S. Clark Drive #5                                                                                                                                    Los Angeles       CA      90048
6475963   DIAZ\BENJAMIN F.                                 PO BOX 708                                                                                                                                               RIO BLANCO        PR      00744
6475953   DIAZ\JULIO                                       P.O. BOX 1661                                                                                                                                            CEIBA             PR      00735
6476257   DIAZ\KAREN L                                     316 CHERRY STREET                                                                                                                                        WEST HOMESTEAD    PA      15120-1111
6477890   DIAZ\KEN                                         5421 LENVALE AVE                                                                                                                                         WHITTIER          CA      70601
6475922   DIAZ\MILAGROS                                    CALLE 21 2C-13                                             URB. APRIL GARDEN                                                                             LAS PIEDRAS       PR      00771
6475921   DIAZ\WILDREDO                                    CALLE CRONES F-7                                           URB VILLAS SE BUENA VISTA                                                                     BAYAMON           PR      00956
6492762   DIBBLE (HAYES)* DIA                              Address on File
6475247   DICK CLARK MEDIA ARCHIVES INC.                   AKA DICK CLARK PRODUCTIONS INC                             2900 OLYMPIC BLVD, 2ND FLOOR                                                                  SANTA MONICA      CA      90404
6491574   DICK CLARK PRODUCTIONS INC                       2900 OLYMPIC BLVD., 2ND FLOOR                                                                                                                            SANTA MONICA      CA      90404
6478605   DICK\SOPHIE                                      1307 ALLESANDRO STREET                                                                                                                                   LOS ANGELES       CA      90026
6479563   DICKERSON\JUDITH A                               4518 CAMELLIA AVENUE                                                                                                                                     STUDIO CITY       CA      91602-1908
6478359   DICKEY\JENNIFER                                  3035 GOVERNOR LINDSEY                                                                                                                                    SANTA FE          NM      87505
6482789   Dickinson Theatres, Inc.                         6801 W. 107th St.                                                                                                                                        Shawnee Mission   KS      66212
6485341   Dickon Hinchliffe                                c/o First Artists Management4764 Park Granada, Suite 210                                                                                                 Calabasas         CA      91302
6491273   DICKSTEIN SHAPIRO, LLC                           1825 EYE STREET NW                                                                                                                                       WASHINGTON        DC      20006
6468811   DIEFFERENT STYLE FILMS                           ATTN: DANIELLE DIEFFERENTHALLER                            APT 17 SUNSET ON SEA APTS                PARIA AVE                                            SHORELANDS                             TRINIDAD
6491403   DIEGO FERRERA RUELAS                             Address on File
6479054   DIENER\JOANIE                                    414 9TH STREET                                                                                                                                           SANTA MONICA      CA      90402
6479184   DIENER\MARC                                      5911 CALMFIELD AVENUE                                                                                                                                    AGOURA HILLS      CA      91301




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                                                                                                                   Master Mailing List
                                                                                                                  Served First Class Mail

MMLID     NAME                                               ADDRESS                                         ADDRESS 2                              ADDRESS 3                        ADDRESS 4                       CITY             STATE   POSTAL CODE COUNTRY
6479185   DIENER\MARC S.                                     5911 CALMFIELD AVENUE                                                                                                                                   AGOURA HILLS     CA      91301
6477900   DIEZ\BRITTNEY                                      38192 BANTAM TRACKS                                                                                                                                     GONZALES         LA      70737
6483060   Different Drummer LLC                              651 Wilcox Ave. #2A                                                                                                                                     Los Angeles      CA      90004
6480646   DiFiore, Eli                                       Address on File
6491575   DIGIHEARIT DBA ENDLESS NOISE                       1825 STANFORD ST.                                                                                                                                 SANTA MONICA           CA      90404
6484182   Digital Cinema Distribution Coalition, LLC         1840 Century Park East, Suite 440                                                                                                                 Los Angeles            CA      90067
6798266   DIGITAL CINEMA IMPLEMATION PARTNERS LLC            ONE INTERNATIONAL BOULEVARD                     9TH FLOOR                                                                                         MAHWAH                 NJ      07495
6798267   DIGITAL CINEMA IMPLEMENTATION PARTNERS, LLC        100 Enterprise Drive                            Suite 505                                                                                         Rockaway               NJ      07866
6491901   DIGITAL CINEMA IMPLEMENTATION PARTNERS, LLC        A DELAWARE LIMITED LIABILITY COMPANY            AKA KASIMA, LLC                        C/O LOEB & LOEB LLP              10100 SANTA MONICA BLVD., LOS ANGELES            CA      90067-4120
6798268   DIGITAL CINEMA IMPLEMENTATION PARTNERS, LLC        C/O LOEB & LOEB                                 ATTN: GENERAL COUNSEL                  10100 SANTA MONICA BLVD.         SUITE 2200                LOS ANGELES            CA      90067
                                                                                                             3-TH KHOROO, PEACE AVENUE, PEACE
6798265   DIGITAL CONTENT LLC                                CHINGELTEI DISTRICT                             TOWER, RM 1408                                                                                          ULAANBAATAR                           MONGOLIA
6481224   Digital Data Depot, Inc.                           153 W. 27th St. Room 701                                                                                                                                New York         NY      10001
6490304   DIGITAL DATA DEPOT, INC.                           ATTN: MING SHUM, PRESIDENT                      153 W. 27TH ST., ROOM 701                                                                               NEW YORK         NY      10001
6485068   Digital Difference Inc The                         1201 Olympic Blvd                                                                                                                                       Santa Monica     CA      90404
6481199   Digital Dynasty, Inc.                              130 S 18TH ST UNIT 1402                                                                                                                                 Philadelphia     PA      19103-4928
                                                                                                             ATTN: KIMBERLY HOLLOWAY, SR
6492794   DIGITAL ENTERTAINMENT CONTENT ECOSYSTEM            (DECE) INC.                                     ACCOUNTING CLERK                       1807 SANTA RITA ROAD. STE D235                                   PLEASANTON       CA      94566
6481100   Digital Influence Group                            404 Wyman St. Suite 460                                                                                                                                 Waltham          MA      02451
6492265   DIGITAL MEDIA MANAGEMENT INC                       ATTN: LUIGI PICARAZZI, PRESIDENT                8444 WILSHIRE BOULEVARD                5TH FLOOR                                                        BEVERLY HILLS    CA      90211
6479444   DIGITAL MUSIC TECHNOLOGIES, IN                     273 W ALAMEDA AVE                                                                                                                                       BURBANK          CA      91502        UNITED
6486496   Digital Outlook Communications Limited             17-11 Lexington St.                                                                                                                                     London                   W1F 9AF      KINGDOM
6485734   Digital Point of View, Inc.                        3055 California St.                                                                                                                                     Burbank          CA      91504
6483674   Digital Post Services Inc.                         712 Seward St                                                                                                                                           Hollywood        CA      90038
6486260   Digital Symphony                                   811 Jonive Rd.                                                                                                                                          Sebastopol       CA      95472
6485768   Digital Videostream LLC                            2625 W Olive Ave                                                                                                                                        Burbank          CA      91505
6485769   Digital Videostream dba DVS Intelestream           2625 W Olive Ave                                                                                                                                        Burbank          CA      91505
6478220   DIGITECH                                           4310 PASEO DEL NORTE                                                                                                                                    ALBUQUERQUE      NM      87113
6478221   DIGITECH OFFICE EQUIPMENT                          4310 PASEO DEL NORTE NE #D                                                                                                                              ALBUQUERQUE      NM      87113
6481796   Dignified Security Services, Inc.                  4 Maiden Ln                                                                                                                                             Lynbrook         NY      11563
6480830   Dikih, Anya                                        Address on File
6478181   DILLARD STORE SERVICES, INC.                       2100 LOUISIANA BLVD.                                                                                                                                    ALBUQUERQUE      NM      87110
6477654   DILLARD UNIVERSITY                                 2601 GENTILLY BLVD                                                                                                                                      NEW ORLEANS      LA      70122
6477313   DILLARD'S                                          P.O. BOX 960012                                                                                                                                         ORLANDO          FL      32896-0012
6478437   DILLEN\LORI                                        # 68 BONANZA CREEK ROAD                                                                                                                                 SANTA FE         NM      87508
6476482   DIMOPOULOS, ALEXANDRA                              205 N SPRING ST. APT B                                                                                                                                  WINSTON-SALEM    NC      27101
6478823   DINA ART CO.                                       P.O. BOX 49855                                                                                                                                          LOS ANGELES      CA      90049
6491493   DI-NAMIC PRODUCTIONS                               1880 CENTURY PARK EAST, SUITE 1600                                                                                                                      LOS ANGELES      CA      90067
6476204   DININNO\ANTHONY B                                  1331 KIRKPATRICK STREET                                                                                                                                 NORTH BRADDOCK   PA      15104
6474312   DINKEL*ELIZABETH                                   Address on File
6480759   Dinkel, Laura                                      Address on File
6482993   Dion Jordan                                        1155 E WINCHESTER PL                                                                                                                                    Chandler         AZ      85286-1113
6491479   DIP PRODUCTIONS, LLC                               2401 BEVERY BLVD.                                                                                                                                       LOS ANGELES      CA      90057
6476334   DIPAOLO & RUSSO                                    1106 FIFTH AVENUE                                                                                                                                       PITTSBURGH       PA      15219
6476205   DIPCRAFT MANUFACTUING COMPANY                      111 W BRADDOCK AVENUE                                                                                                                                   BRADDOCK         PA      15104
6481844   Dipson Theatres Inc                                388 Evans St                                                                                                                                            Williamsville    NY      14221
6483182   Directfire Media                                   1716 S. Fairfax Ave.                                                                                                                                    Los Angeles      CA      90019
6798236   DIRECTORS GUILD OF AMERICA                         7920 SUNSET BLVD.                                                                                                                                       LOS ANGELES      CA      90046
6478798   DIRECTORS GUILD OF AMERICA                         8436 W 3RD ST SUITE 900                                                                                                                                 LOS ANGELES      CA      90048
6475396   DIRECTORS GUILD OF AMERICA                         ATTN: DIANA TITH                                7920 SUNSET BOULEVARD                                                                                   LOS ANGELES      CA      90046
6798238   DIRECTORS GUILD OF AMERICA                         ATTN: FINANCIAL ASSURANCES COUNSEL              7920 SUNSET BOULEVARD                                                                                   LOS ANGELES      CA      90046
6490527   DIRECTORS GUILD OF AMERICA                         ATTN: LEGAL DEPT.                               7920 SUNSET BOULEVARD                                                                                   LOS ANGELES      CA      90046
6478776   DIRECTORS GUILD OF AMERICA INC                     7920 WEST SUNSET BOULEVARD                                                                                                                              LOS ANGELES      CA      90046
6798230   DIRECTORS GUILD OF AMERICA, INC.                   ATTN: GENERAL COUNSEL                           8436 W. THIRD STREET, STE. 900                                                                          LOS ANGELES      CA      90048
6798234   DIRECTORS GUILD OF AMERICA, INC.                   ATTN: STEPHANIE LEE                             7920 SUNSET BOULEVARD                                                                                   LOS ANGELES      CA      90046
6488859   DIRECTORS GUILD OF AMERICA, INC.                   C/O BUSH GOTTLIEB ALC                           ATTN: JOSEPH A KOHANSKI/DAVID E AHDOOT 500 N. CENTRAL AVE., STE 800                                     GLENDALE         CA      91203
6488570   DIRECTORS GUILD OF AMERICA, INC.                   C/O BUSH GOTTLIEB ALC                           ATTN: JOSEPH A KOHANSKI/DAVID E AHDOOT 801 N BRAND BLVD SUTE 950                                        GLENDALE         CA      91203-1260
6798239   Directors Guild of America, Inc.                   c/o Guild Counsel                               Attn: Joseph A. Kohanski               Bush Gottlieb                    500 North Central Ave., Suite   Glendale         CA      91203
                                                                                                                                                    ATTN: JOSEPH A. KOHANSKI AND
6487094   DIRECTORS GUILD OF AMERICA-PRODUCER PENSION        AND HEALTH PLANS                                C/O BUSH GOTTLIEB ALC                  DAVID E. ADHOOT                  500 N. CENTRAL AVE., STE 800 GLENDALE            CA      91203
                                                                                                                                                    ATTN: JOSEPH A. KOHANSKI AND
6487027   DIRECTORS GUILD OF AMERICA-PRODUCER PENSION        AND HEALTH PLANS                                C/O BUSH GOTTLIEB ALC                  DAVID E. ADHOOT                  801 N BRAND BLVD STE 950        GLENDALE         CA      91203-1260
6472175   DIRECTV                                            P.O. BOX 60036                                                                                                                                          LOS ANGELES      CA      90060
6482111   DIRECTV                                            PO Box 105249                                                                                                                                           Atlanta          GA      30348
6485244   Disc Marketing, LLC dba 5 Alarm Music              35 W. Dayton St.                                                                                                                                        Pasadena         CA      91105
6491738   DISC MARKETING, LLC DBA 5 ALARM MUSIC              44 W GREEN STREET                                                                                                                                       PASADENA         CA      91105-2008
6482825   Disconnect, LLC                                    14301 Caliber Dr., Suite 300                                                                                                                            Oklahoma City    OK      73134
6478405   DISCOUNT CARPET                                    3008 CIELO CT                                                                                                                                           SANTA FE         NM      87507
6491652   DISCOUNT MEDIA PRODUCTS, LLC                       4518 W. VANOWEN ST                                                                                                                                      BURBANK          CA      91505
6486923   DISCOVERY COMMUNICATIONS, LLC                      C/O GREENBERG GLUSKER FIELDS & CLAMAN &         MACHTINGER LLP                         ATTN: JEFFREY A. KRIEGER         1900 AVENUE OF THE STARS,       LOS ANGELES      CA      90067




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MMLID     NAME                                                     ADDRESS                                                            ADDRESS 2                       ADDRESS 3   ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6479929   Discovery Communications, LLC                            Address on File
6491352   DISH NETWORK LLC                                         13155 COLLECTIONS CENTER DRIVE                                                                                             CHICAGO            IL      60693
6482683   Distillery, The                                          210 North Racine, Suite 2N                                                                                                 Chicago            IL      60607
6490725   DISTORTION PARTNERSHIP                                   DBA DISTORTION MUSIC AND SOUND DESIGN                              P.O. BOX 937                                            BEVERLY HILLS      CA      90213
6798223   DISTORTION PARTNERSHIP LLC                               9171 WILSHIRE BLVD                                                                                                         BEVERLY HILLS      CA      90210
6483922   Distortion Partnership, LLC                              8391 Beverly Blvd                                                                                                          Los Angeles        CA      90048
6479742   DISTRIBUTION BY AIR, INC.                                930 C. MAPUNAPUNA STREET                                                                                                   HONOLULU           HI      96819
6474902   DISTRICT DEPT OF THE ENVIRONMENT                         51 N STREET, NE                                                    6TH FLOOR                                               WASHINGTON         DC      20002
6484326   District Music, LLC                                      8439 Sunset Blvd. 2nd Floor                                                                                                West Hollywood     CA      90069
6475226   DISTRICT MUSIC, LLC.                                     44 WALL STREET,                                                    23RD FLOOR                                              NEW YORK CITY      NY      10005
6479997   DISTRICT OF COLUMBIA EMPLOYMENT SERVICES DEPT            64 NEW YORK AVE., NE, SUITE 3000                                                                                           WASHINGTON         DC      20002
6475773   DIVA LIMOUSINE, LTD                                      11132 VENTURA BLVD                                                 SUITE 100                                               STUDIO CITY        CA      91604
6486281   Dive Urgency Multimedia, LLC                             1925 White Oak Dr                                                                                                          Yuba City          CA      95991
6486151   Dixie D. Walker                                          1241 Knollwood Drive PMB 1715                                                                                              Cambria            CA      93428        UNITED
6475930   DIXIECHASSAY                                             BASELINE STUDIOS                                                   WHITCHURCH ROAD                                         LONDON                     W11 4AT      KINGDOM
6476717   DIXON PRIMARY CARE,PA.                                   720 MARKET STREET                                                                                                          WILMINGTON         NC      28401
6474365   DIXON*NATASHA                                            Address on File
6480426   Dixon, Natasha M                                         Address on File
6478933   DIXON, PAM                                               1256 BEVERLY VIEW DR.                                                                                                      BEVERLY HILLS      CA      90210
6475330   DJ PRODUCTIONS, LLC.                                     F/S/O DON JOHNSON                                                  501 S. BEVERLY DR. 3RD FLOOR                            BEVERLY HILLS      CA      90212
6475702   DJINN ENTERTAINMENT, INC.                                2101 ROSECRANS AVE                                                 STE 3270                                                EL SEGUNDO         CA      90245
6479348   DJS FILM COURIER                                         24576 SAGECREST CIRCLE                                                                                                     STEVENSON RANCH    CA      91381
6485538   DJS Film Courier Service                                 24576 Sagecrest Circle                                                                                                     Stevenson Ranch    CA      91381
6477670   DKI OFFICE SOLUTIONS                                     5530 JEFFERSON HWY                                                                                                         HARAHAN            LA      70123
6481989   DLA Piper LLP                                            P.O. Box 64029                                                                                                             Baltimore          MD      21264
6481620   DLMWORKS, LLC/Dawn Miller                                301 East 66th Street                                                                                                       New York           NY      10065
6477331   DM RECORDS, INC.                                         265 SOUTH FEDERAL HWY #352                                                                                                 DEERFIELD BEACH    FL      33441
6477922   DMRB PROPERTIES, LLC                                     4725 LAKE VILLA DR                                                                                                         METAIRIE           LA      72150-6311
6481378   DMS, LLC                                                 485 Broadway, 3rd Floor                                                                                                    New York           NY      10013
6486206   DMV Renewal                                              P.O. Box 942897                                                                                                            Sacramento         CA      94297
6473844   DMV RENEWAL                                              P.O. BOX 942897                                                                                                            SACRAMENTO         CA      94297-0897
6484184   Do not use                                               c/o Creative Artists AgencyAttn:Spencer Baumgarten2000 Avenue of                                                           Los Angeles        CA      90067
6478141   DOBBS\JIM                                                204 GROVE NE                                                                                                               ALBUQUERQUE        NM      87108
6480760   Dobinski, Robert                                         Address on File
6479178   DOBINSKI, ROBERT J.                                      1734 ROYAL BLVD                                                                                                            GLENDALE           CA      91207
6479469   DOCHERTY\STEVEN                                          2329 N REESE PL                                                                                                            BURBANK            CA      91504
6477860   DOCK SLIDELL, INC\THE                                    118 HARBOR VIEW COURT                                                                                                      SLIDELL            LA      70458
6475875   DOCTOR ON CALL, LLC                                      10700 MENAUL NE                                                    SUITE C                                                 ALBUQUERQUE        NM      87112
6475646   DOCUMENT COMPANY                                         AC BUSINESS SOLUTIONS, INC                                         PMB 848;138 WINSTON CHURCHILL                           SAN JUAN           PR      00926        UNITED
6486389   Document Records Ltd. - Wire                             Unit 2C, Creek Rd, Bladnoch Bridge Estate Bladnoch, Wigtown                                                                Newton Stewart             DG8 9AB      KINGDOM
6476279   DOCUMENT SOLUTIONS INC                                   500 GARDEN CITY DRIVE                                                                                                      MONROEVILLE        PA      15146
6484390   Document Technologies, LLC                               350 S. Figueroa Street, Ste. 750                                                                                           Los Angeles        CA      90071
6476835   DODSON, T. LYNN                                          704 SPRINGBRANCH RD.                                                                                                       WILMINGTON         NC      28405
6480993   Doempke, Geoffrey                                        Address on File
6478615   DOG AND PONY, INC.                                       2261 RONDA VISTA DR.                                                                                                       LA                 CA      90027
6479512   DOGGICAM, INC.                                           1500 WEST VERDUGO AVENUE                                                                                                   BURBANK            CA      91506
6476773   DOLAN\THOMAS C.                                          4836 COLLEGE ACRES DRIVE                                                                                                   WILMINGTON         NC      28403
6479723   DOLBY LABORATORIES                                       100 POTERO AVE                                                                                                             SAN FRANCISCO      CA      94103
6478919   DOLBY LABORATORIES, INC                                  DEPT. 8879                                                                                                                 LOS ANGELES        CA      90084-8879
6479509   DOLBY LABORATORIES, INC.                                 3601 WEST ALAMEDA AVENUE                                                                                                   BURBANK            CA      91505-5300
6474094   DOLFI*MARTIN JAMES                                       Address on File
6474132   DOLFI*MATTHEW                                            Address on File
6482833   Dollar Thrifty Automotive Group                          Subrogation Dept. #927                                                                                                     Tulsa              OK      74182
6481843   Domain Registry of America                               2316 Delaware Ave. Suite 266                                                                                               Buffalo            NY      14216
6481166   Dominic Cheek                                            11-15 Lexington Ave. #1-H                                                                                                  Jersey City        NJ      07304
6483923   Dominick Oddo                                            518 North San Vicente                                                                                                      Los Angeles        CA      90048
6484509   Domino Bluff Productions, Inc. fso Todd Richard Jones    Attn: Jon Meigs, Esq450 N. Roxbury Drive, 8th Floor                                                                        Beverly Hills      CA      90210
6481709   Domino Publishing Company of America Inc                 55 Washington St. Suite 458                                                                                                Brooklyn           NY      11201
6481710   Domino Recording Company                                 55 Washington St                                                                                                           Brooklyn           NY      11201
6482988   Domonick Giorgianni                                      2619 E. Glenrose                                                                                                           Phoenix            AZ      85016
6798556   DON BUCHWALD & ASSOCIATE                                 5900 Wilshire Blvd. 31st Floor                                                                                             LOS ANGELES        CA      90036
6474738   DONAGHEY*MAEVE K                                         Address on File
6485474   Donahue Production                                       4410 Henly Ct                                                                                                              Westlake Village   CA      91361
6798209   DONALD KEITH                                             ATTN: GENERAL COUNSEL                                              40 RED STICK ROAD                                       PELHAM             AL      35124
6482222   Donald Wayne Keith                                       40 Red Stick Road                                                                                                          Pelham             AL      35124
6477254   DONALDSON, LEE                                           463 LINDBERG ST.                                                                                                           CHARLESTON         SC      29412
6478536   DON-A-MATRIX TRAINING LLC                                505 NORTH FIGUEROA ST. #415                                                                                                LOS ANGELES        CA      90012
6479055   DONDON, INC.                                             27 LATIMER RD                                                                                                              SANTA MONICA       CA      90402
6480917   Donis, Briss Adriana                                     Address on File
6490287   DONKEYS, THE                                             C/O GRANT MANSHIP AT DEAD OCEANS, INC.                             1499 WEST 2ND STREET                                    BLOOMINGTON        IN      47403




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                                                                                                                                       Master Mailing List
                                                                                                                                      Served First Class Mail

MMLID     NAME                                                           ADDRESS                                              ADDRESS 2                         ADDRESS 3                     ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6482361   Donna McCollister dba Andover Showplace                        150 W. Main                                                                                                                                    Andover           OH      44003
6481688   Donna Telyczka                                                 151 Ramsey Ave.                                                                                                                                Yonkers           NY      10701
6474604   DONNER*SARAH                                                   Address on File
6480918   Donner, Sarah M.                                               Address on File
6478044   DON'S WINDOWS & DOORS INC.                                     1130 1ST NW                                                                                                                                    ALBUQUERQUE       NM      87102
6475506   DOP ANTIQUES & ARCHITECTURALS                                  300 JEFFERSON HWY                                    BLDG 1                                                                                    NEW ORLEANS       LA      70121
6482103   Doppler Studios, Inc.                                          1922 Piedmont Circle, NE                                                                                                                       Atlanta           GA      30324
6479513   DOREMI                                                         1020 CHESTNUT STREET                                                                                                                           BURBANK           CA      91506
6477583   DORIAN M BENNETT, INC.                                         2340 DAUPHINE ST                                                                                                                               NEW ORLEANS       LA      70117
6486029   Doris Lew-Jensen dba Making Up                                 1630 Crespo Dr.                                                                                                                                La Jolla          CA      92037
6478360   DORN\DAVID                                                     2215 RANCHO SIRINGO # 8                                                                                                                        SANTA FE          NM      87505
6485554   Dorothea Sargent & Co.                                         6509 Murietta Ave.                                                                                                                             Van Nuys          CA      91401
6490440   DOROTHY NARVAEZ- WOODS & ESTATE OF                             TYRONE WOODS                                         2826 LINDEN LN                                                                            FALLS CHURCH      VA      22042-2312
6470496   DOROTHY NARVAEZ-WOODS                                          2826 LINDEN LN                                                                                                                                 FALLS CHURCH      VA      22042-2312
6481973   Dorothy Narvaez-Woods                                          4215 McCain Court                                                                                                                              Kensington        MD      20895
6798203   DOROTHY OF OZ, LLC                                             2600 WEST OLIVE AVE.                                 SUITE 500                                                                                 BURBANK           CA      91505
6491669   DOROTHY WOOD                                                   Address on File
6476316   DORRANCE\MATTHEW C                                             231 SPRUCEWOOD STREET                                                                                                                          PITTSBURGH        PA      15210
6482549   Dorssys Paulino                                                c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                              Northbrook        IL      60062
6492425   DOS BRAINS, INC.                                               ATTN: WILLIAM STOLIER, CEO/CO-OWNER                  2707 HIGHLAND AVE.                                                                        SANTA MONICA      CA      90405
6480895   Dossett, Kathy                                                 Address on File
6479271   DOUBLE B STUDIO INC                                            21813 PARVIN DR                                                                                                                                SANTA CLARITA     CA      91350
6481924   DoubleClick TechSolutions                                      P.O. Box 7247-7366                                                                                                                             Philadelphia      PA      19170
6477286   DOUBLETREE                                                     300 MARIETTA SE NW SUITE 304                                                                                                                   ATLANTA           GA      30313
6485034   Doubleyou, Inc.                                                1010 10th Street, Apt#6                                                                                                                        Santa Monica      CA      90403
                                                                                                                              LAVIOLETTE/FELDMAN SCHENKMAN &    ATTN: CARLOS GOODMAN & GREG   150 S. RODEO DR., THIRD
6468709   DOUBLEYOU, INC.                                                C/O BLOOM HERGOTT DIEMER ROSENTHAL                   GOODMAN LLP                       SLEWETT                       FLOOR                     BEVERLY HILLS     CA      90212
6468762   DOUG J. SWANSON                                                C/O ICM PARTNERS                                     ATTN: RICH GREEN                  10250 CONSTELLATION BLVD                                LOS ANGELES       CA      90067
6484930   Doug Krintzman                                                 43 23rd Avenue#4                                                                                                                               Venice            CA      90291
6479314   DOUG REILLY CUSTOM PROP DESIGN                                 772 WOODLAWN DR.                                                                                                                               THOUSAND OAKS     CA      91360
6483675   Doug Veith                                                     2601 Rutherford Drive                                                                                                                          Los Angeles       CA      90038
6475507   DOUGHERTY/JOEL                                                 4000 WARNER BL                                       BLDG 123 RM 72                                                                            BURBANK           CA      91522
6480831   Doughty, Allison                                               Address on File
6484273   Douglas C. Schneider                                           3227 Velma Drive                                                                                                                               Los Angeles       CA      90068
6483594   Douglas Justin Dezzani                                         625 N. Gardner St.                                                                                                                             Los Angeles       CA      90036
6484099   Douglas M. Dresser                                             4800 Cleland Ave.                                                                                                                              Los Angeles       CA      90065
6482510   Dougs Towing and Auto Inc. dba Rex Theatre                     P.O. Box 1403                                                                                                                                  Thompson Falls    MT      59873
6475711   DOUTHIT, IRENE                                                 5700 OLD SEWARD HWY                                  STE B                                                                                     ANCHORAGE         AK      99518
6482449   Dove Foundation, The                                           535 E. Fulton St. Suite 1S                                                                                                                     Grand Rapids      MI      49503
6476968   DOVEL\ARLENE                                                   5109 BENT OAK LANE                                                                                                                             SOUTHPORT         NC      28461
6481629   Dow Jones co. Inc.                                             PO Box 30994                                                                                                                                   New York          NY      10087
6486031   Dow Theory Letters, Inc                                        PO Box 1759                                                                                                                                    La Jolla          CA      92038
6482174   Downtown Cinemas Inc - Sunrise Cinemas at Las Olas Riverfron   PO Box 268208                                                                                                                                  Fort Lauderdale   FL      33326
6481379   Downtown Copyright Management, LLC                             485 Broadway, 3rd Floor                                                                                                                        New York          NY      10013
6481357   Downtown Events, LLC                                           568 Broadway, Suite 705                                                                                                                        New York          NY      10012
6491398   DOWNTOWN INDEPENDENT CINEMA, LLC                               251 S. MAIN ST.                                                                                                                                LOS ANGELES       CA      90012
6488560   DOWNTOWN MUSIC PUBLISHING                                      OBO COBRA KAI PUBLISHING                             FSO DOWNTOWN DLJ SONGS            485 BROADWAY, 3RD FLOOR                                 NEW YORK          NY      10013
6475283   DOWNTOWN MUSIC PUBLISHING LLC                                  485 BROADWAY,                                        3RD FLOOR                                                                                 NEW YORK CITY     NY      10013
6490458   DOWNTOWN MUSIC PUBLISHING OBO BAYOU PSALMS                     FSO DOWNTOWN DLJ SONGS                               485 BROADWAY, 3RD FLOOR                                                                   NEW YORK          NY      10013
6481383   Downtown Music Publishing obo Downtown DMP Songs               485 Broadway, 3rd Floor                                                                                                                        New York          NY      10013
6491843   DOWNTOWN MUSIC PUBLISHING, LLC DBA DMS, LLC                    485 BROADWAY 3RD FLOOR                                                                                                                         NEW YORK          NY      10013
6475337   DOWNTOWN NEIGHBORHOODS                                         ASSOCIATION                                          516 11TH STREET NW                                                                        ALBUQUERQUE       NM      87102
6798191   DOWNTOWN RECORDS LLC                                           30 IRVING PL FL 6                                                                                                                              NEW YORK          NY      10003-2303
6491839   DOWNTOWN RECORDS LLC                                           568 BROADWAY, 7TH FLOOR                                                                                                                        NEW YORK          NY      10012
6481408   Downtown Restaurant Group dba Griffin                          50 Gansevoort Street                                                                                                                           New York          NY      10014
6484785   Dozar Company, The                                             9937 W. Jefferson Blvd                                                                                                                         Culver City       CA      90232
6484003   DP Music Production                                            814 S. Westgate Ave. Suite 119                                                                                                                 Los Angeles       CA      90049
6492761   DPS, INC.                                                      12950 PIERCE STREET                                                                                                                            PACOIMA           CA      91331
6477713   DR LOCK INC                                                    709 TCHOUPITOULAS ST                                                                                                                           NEW ORLEANS       LA      70130
6476563   DR PRODUCTIONS, LLC                                            2275 VANSTORY ST. STE 102                                                                                                                      GREENSBORO        NC      27403
6478361   DR. GABRIEL ROYBAL                                             444 ST. MICHAELS DRIVE                                                                                                                         SANTA FE          NM      87505
6476869   DRAGAN LIMOCAB TRANSPORTATION                                  5517 MYRTLE GROVE ROAD                                                                                                                         WILMINGTON        NC      28409
6477171   DRAKE\HILARY BAEKELAND                                         144 CUMBERLAND AVE.                                                                                                                            ASHEVILLE         NC      28801
6476585   DRAPER, TRESSA C.                                              4015 SEDGEGROVE RD                                                                                                                             GREENSBORO        NC      27407
6478025   DRAPER\DON                                                     5000 STONE MT RD NW                                                                                                                            ALBUQUERQUE       NM      87014
6477671   DRAPERIES BY LEILA                                             8909 JEFFERSON HIGHWAY                                                                                                                         RIVER RIDGE       LA      70123        UNITED
6475599   DRAVEN PRODUCTIONS LTD                                         MITRE HOUSE                                          NORTH PARK ROAD                                                                           HARROGATE                 HG1 5RX      KINGDOM
                                                                                                                                                                                                                                                               UNITED
6486695   Draven Productions, LTD                                        c/o Mitre House                                      North Park Road                                                                           Harrogate                 HG1 5RX      KINGDOM
                                                                                                                                                                                                                                                               UNITED
6798184   DRAVEN PRODUCTIONS, LTD.                                       ATTN: GENERAL COUNSEL                                MITRE HOUSE                       NORTH PARK ROAD                                         HARROGATE                 HG1 5RX      KINGDOM
6483595   Dream Chaser Pictures, Inc.                                    429 N. Martel Ave.                                                                                                                             Los Angeles       CA      90036




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MMLID     NAME                                                   ADDRESS                                                  ADDRESS 2                         ADDRESS 3              ADDRESS 4   CITY                 STATE   POSTAL CODE COUNTRY
6485505   Dream Fish Inc.                                        22647 Ventura Blvd. Suite #537                                                                                                Woodland Hills       CA      91364
6483828   Dream Tank Productions, Inc                            f/s/o Krysia Plonka, 2180 Stanley Hills Drive                                                                                 Los Angeles          CA      90046
6490017   DREAMWORKS ANIMATION L.L.C.                            ATTN: PAUL IANNICELLI                                    1000 FLOWER ST.                                                      GLENDALE             CA      91201
6492349   DREAMWORKS ANIMATION, L.L.C.                           ATTN: JOYCE KWAN, CREDIT MANAGER                         1000 FLOWER STREET                                                   GLENDALE             CA      91201
6798177   DREAMWORKS ANIMATION, LLC                              1000 FLOWER STREET                                                                                                            GLENDALE             CA      91201
6482091   Dreamy Fresh Entertainment                             c/o TSG Financial Mgmt LLC133 Peachtree St NE Ste 4070                                                                        Atlanta              GA      30303
6475123   DREAMY FRESH ENTERTAINMENT LLC                         C/O TSG FINANCIAL MANAGEMENT                             133 PEACHTREE ST NE SUITE 4070                                       ATLANTA              GA      30303
6477189   DREHER\MATT                                            12 LONDON RD.                                                                                                                 ASHEVILLE            NC      28803
6472503   DREIER STEIN KAHAN BROWNE WOODS GEORGE                 450 N ROXBURY DRIVE, 7TH FLOOR                                                                                                BEVERLY HILLS        CA      90210
6484511   Dreier Stein Kahan Browne Woods George                 450 N Roxbury Drive, 7th Floor                                                                                                Los Angeles          CA      90210
6478850   DRESSER\DOUGLAS                                        4800 CLELAND AVENUE                                                                                                           LOS ANGELES          CA      90065
6481811   Drew Brookman Protection Services, Inc.                75 w22nd St.                                                                                                                  Huntington Station   NY      11746
6474784   DREYFUSS*GREGORY                                       Address on File
6479424   DRIER, MOOSIE                                          3501 CAMINO DE LA CUMBRE                                                                                                      SHERMAN OAKS         CA      91423
6481909   Drinker Biddle & Reath LLP                             One Logan Square, Suite 2000                                                                                                  Philadelphia         PA      19103
6492203   DRINKWATER* TREVOR                                     C/O ARC ENTERTAINMENT                                    ATTN: CLARK MCCUTCHEN, ATTORNEY   3212 NEBRASKA AVENUE               SANTA MONICA         CA      90404
6474982   DRISCOLL ANTIQUES RESTORATION                          & DESIGN                                                 8500 OAK ST                                                          NEW ORLEANS          LA      70118
6492852   DRISSI ADVERTISING, INC.                               ATTN: ACCOUNTING                                         6721 ROMAINE STREET                                                  LOS ANGELES          CA      90038
6483676   Drissi Advertising, Inc. dba Tomy Advertising, Inc.    6721 Romaine St.                                                                                                              Los Angeles          CA      90038
6484185   Drive-In Movie, Inc                                    c/o Creative Artists Agency, 2000 Avenue of the Stars                                                                         Los Angeles          CA      90067
6477042   DRIVER\LAURIE                                          507 W. OAK ISLAND DRIVE                                                                                                       OAK ISLAND           NC      28465
6798179   DROMMELKIND, LLC                                       9000 W Sunset Blvd Ste 600                                                                                                    West Hollywood       CA      90069
6481151   Dropcards                                              77 East Halsey Rd.                                                                                                            Parsippany           NJ      07054
6481225   Dropkick Murphys Partnership dba Born & Bred Records   c/o Padell Business Mgmt213 West 35th St. Suite 802A                                                                          New York             NY      10001
6472373   DRUCKER*ADAM                                           801 N FAIRFAX AVE UNIT 313                                                                                                    LOS ANGELES          CA      90046-7293
6474443   DRUCKER*ADAM                                           Address on File
6482243   Drum Paradise Nashville, Inc.                          4201 Warren Rd.                                                                                                               Franklin             TN      37067
6486076   Drybar Holdings, LLC                                   49 Discovery, Suite 150                                                                                                       Irvine               CA      92618
6474989   DS SERVICES OF AMERICA, INC                            DBA: KENTWOOD SPRINGS                                    P.O BOX 660579                                                       DALLAS               TX      75266-0579
6477510   D'S SILK INTERIORS & FLORIST                           PO BOX 1059                                                                                                                   GRETNA               LA      70054
6485159   DSG International                                      4302 Spencer Street                                                                                                           Torrance             CA      90503
6485613   DSI Entertainment Systems                              6955 Hayvenhurst Ave                                                                                                          Van Nuys             CA      91406
6482758   DSS Amusements Inc                                     103 E Main St                                                                                                                 Belleville           IL      62220
6478350   DSW SERVICES SANTA FE                                  P.O. BOX 280                                                                                                                  SANTA FE             NM      87504
6478182   DTC STAGE & STUDIO SUPPLY                              2517 QUINCY NE                                                                                                                ALBUQUERQUE          NM      87110
6482515   DtecNet                                                c/o MarkMonitorDept. CH 17399                                                                                                 Palatine             IL      60055
6477928   DTG OPERATIONS, INC.                                   DEPT 927                                                                                                                      TULSA                OK      74182
6481910   Duane Morris LLP                                       30 S. 17th St.                                                                                                                Philadelphia         PA      19103
6482550   Duane Underwood                                        c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                             Northbrook           IL      60062
6492653   DUARTE DESIGN                                          ATTN: MARK DUARTE, CFO                                   755 N. MARY AVE.                                                     SUNNYVALE            CA      94085
6486162   Duarte, Inc.                                           755 N. Mary Ave.                                                                                                              Sunnyvale            CA      94085
6492654   DUARTE, INC.                                           ATTN: MARK DUARTE, CHIEF FINANCIAL OFFICER               755 N. MARY AVE.                                                     SUNNYVALE            CA      94085
6484931   DubArts fso Glen Wilson                                737 Broadway                                                                                                                  Venice               CA      90291
6490516   DUBARTS FSO GLEN WILSON                                ATTN: GLEN WILSON, DIRECTOR                              737 BROADWAY                                                         VENICE               CA      90291
6479025   DUBARTS INC.                                           737 BROADWAY                                                                                                                  VENICE               CA      90291
6490517   DUBARTS INC.                                           ATTN: GLEN WILSON, DIRECTOR                              737 BROADWAY                                                         VENICE               CA      90291
6475736   DUDEDUARDO CORP.                                       2017 LOMITA BOULEVARD,                                   SUITE # 2062                                                         LOMITA               CA      90717
6477970   DUDLEY\MARGARET                                        16904 GOLDENWOOD WAY                                                                                                          AUSTIN               TX      78737
6485119   Due North Productions INC                              2204 Euclid St                                                                                                                Santa Monica         CA      90405
6482731   Duff & Phelps, LLC                                     12595 Collection Center Drive                                                                                                 Chicago              IL      60693
6479186   DUFF\LISA NIELSEN                                      28902 DARGAN ST                                                                                                               AGOURA HILLS         CA      91301
6480832   Duffy, Kathryn                                         Address on File
6479000   DUFFY, ROBERT                                          540 5TH STREET                                                                                                                MANHATTAN BEACH      CA      90266
6476317   DUFFY\BERNARD C                                        616 MCLAIN ST                                                                                                                 PITTSBURGH           PA      15210
6481307   Duggal Visual Solutions, Inc.                          10W 24th Street                                                                                                               New York             NY      10010
6475803   DUKE CITY FUELING                                      3615 NMSR 528                                            SUITE 200-B                                                          ALBUQUERQUE          NM      87114
6478406   DUKE CITY GOURMET, LLC                                 121 AVIATION DR #6                                                                                                            SANTA FE             NM      87507
6478407   DUKE CITY GOURMET, LLC                                 121 AVIATION DRIVE                                                                                                            SANTA FE             NM      87507
6478074   DUKE CITY SWEEPING, LLC                                4205 SHELDON STREET SE                                                                                                        ABUQUERQUE           NM      87105
6475561   DUKE ENERGY CAROLINAS, LLC                             550 S.TRYON STREET                                       DEC41A                                                               CHARLOTTE            NC      28202
6476664   DUKE ENERGY PROGRESS, INC.                             PO BOX 1003                                                                                                                   CHARLOTTE            NC      28201-1003
6477548   DUKE\DOUGLAS                                           401 FOURTH STREET                                                                                                             WESTWEGO             LA      70094
6483728   Duly Noted, Inc.                                       c/o Effie T. Brown2065 Cerro Gordo St.                                                                                        Los Angeles          CA      90039
6476034   DUMAS, LAURIE                                          26 WEST WARWICK AVE                                                                                                           WEST WARWICK         RI      02893
6476033   DUMB LUCK LIGHTING,INC.                                25 WASHINGTON STREET                                                                                                          HANOVER              MA      02339
6479549   DUNCAN-JOINER, KELLY                                   11115 ACAMA ST. #307                                                                                                          STUDIO CITY          CA      91602
6477115   DUNCANS GARBAGE SERVICE                                P.O. BOX 1141                                                                                                                 MARION               NC      28752
6480105   DUNE CAPITAL PARTNERS IV LLC                           Address on File                                                                                                                                                         UNITED
6475687   DUNLEAVY\EMMA                                          8 WALPOLE MEWS                                           ST. JOHNS WOOD                                                       LONDON                                    KINGDOM
6474948   DUNN AND SONNIER ANTIQUES                              & FLOWERS LLC                                            2138 MAGAZINE ST                                                     NEW ORLEANS          LA      70130




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MMLID     NAME                                                 ADDRESS                                                            ADDRESS 2                        ADDRESS 3                        ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6479061   DUNN\STEPHEN P.                                      1112 MONTANA AVENUE #418                                                                                                                         SANTA MONICA      CA      90403
6478112   DUNN-EDWARDS CORP                                    225 MENAUL N.W.                                                                                                                                  ALBUQUERQUE       NM      87107
6478746   DUNN-EDWARDS CORP                                    PO BOX 30389                                                                                                                                     LOS ANGELES       CA      90040-2884
6477760   DUPRE JR\BILLY                                       210 E SOUTHLAND CIRCLE                                                                                                                           HOUMA             LA      70364
6475658   DUQUESNE LIGHT CO                                    411 SEVENTH AVE                                                    PO BOX 1920                                                                   PITTSBURGH        PA      15230-1920
6478488   DURAN SAND & GRAVEL, INC.                            P.O. BOX 246                                                                                                                                     PECOS             NM      87552
6491344   DUST INDEX, LLC                                      2348 S. MARSHALL BLVD.                                                                                                                           CHICAGO           IL      60623
6482409   Dust Index, LLC                                      c/o Secretly Group1499 W. 2nd Street                                                                                                             Bloomington       IN      47403
6482916   Dustin Keller                                        101 Colorado St. #702                                                                                                                            Austin            TX      78701
6484100   Dustin O'Halloran                                    681 Quail Dr.                                                                                                                                    Los Angeles       CA      90065
6798169   Dustin O'Halloran                                    c/o Mark Music & Media Law, P.C.                                   Attn: David Ferreria, Esq.       120 El Camino Drive, Suite 104   Suite 10    Beverly Hills     CA      90212
6798161   DUSTIN O'HALLORAN                                    C/O REDBIRD MANAGEMENT                                             ATTN: TIM HUSON                  1314 Ordway St                               Berkeley          CA      94702
6798159   Dustin O'Halloran c/o Redbird Management             c/o Rosen Law Group, PC                                            Attn: W. Beau Stapleton          1046 Princeton Drive, #119                   Venice            CA      90292
6483118   Dusty L. Gabay dba Paragon Lighting Design           510 S. Hewitt St. #407                                                                                                                           Los Angeles       CA      90013
6485931   Dutel Telemcommunications, Inc.                      1611 N Lincoln St                                                                                                                                Burbank           CA      91506-1011
6481585   DV8 Productions, Inc                                 1 River PlaceSuite 1814                                                                                                                          New York          NY      10036
6485555   DW Interiors Inc.                                    6205 Van Nuys Blvd                                                                                                                               Van Nuys          CA      91401
6482466   Dwight Buycks                                        5017 N. 83rd St.                                                                                                                                 Milwaukee         WI      53218
6476263   DYER\WILLIAM J                                       703 ROUTE 30                                                                                                                                     IMPERIAL          PA      15126
6480565   Dykhne, Irina                                        Address on File
6483829   Dylan Wilcox                                         8254 Norton Ave.                                                                                                                                 Los Angeles       CA      90046
6483362   Dylancat Productions, Inc.                           1944 N. Berendo Street                                                                                                                           Los Angeles       CA      90027
6476586   DYNAMIC QUEST                                        4821 KOGER BLVD                                                                                                                                  GREENSBORO        NC      27407
6482018   Dynamic Sports Group                                 P.O. Box 4                                                                                                                                       Apex              NC      27502
6476969   DZUBAK\BOB                                           319 WILLIS DRIVE                                                                                                                                 SOUTHPORT         NC      28461
6484327   E. Nicholas Mariani                                  8970 Cynthia Street, Apt 307                                                                                                                     West Hollywood    CA      90069
6479591   E.C. PROP RENTALS, INC                               11846 SHERMAN WAY                                                                                                                                N. HOLLYWOOD      CA      91605        UNITED
6475237   E.M.I. RECORDS LTD.                                  AKA ABBEY ROAD STUDIOS                                             27 WRIGHTS LANE                                                               LONDON                    W8 5SW       KINGDOM
6483327   E.Z.M. Enterprises                                   C/O Eric Meyer712 Micheltorena St.                                                                                                               Los Angeles       CA      90026
6481699   E1 Entertainment US                                  22 Harbor Park Drive                                                                                                                             Port Washington   NY      11050
6480146   E2E EQUITY, LLC                                      C/O CLAREN ROAD ASSET MANAGEMENT                                   51 ASTOR PLACE, 12TH FLOOR                                                    NEW YORK          NY      10003
6479849   E2E EQUITY, LLC                                      C/O CLAREN ROAD ASSET MANAGEMENT                                   900 THIRD AVENUE, 29TH FLOOR                                                  NEW YORK          NY      10022
6486091   E3 Media Group                                       30100 Town Center#O-103                                                                                                                          Laguna Niguel     CA      92677
6479679   E3 MEDIA GROUP INC                                   30100 TOWN CENTER                                                                                                                                LAGUNA NIGEL      CA      92677
6479680   E3 MEDIA GROUP, INC.                                 30100 TOWN CENTER, UNIT #0-103                                                                                                                   LAGUNA BEACH      CA      92677
6476718   EAGLE ISLAND PRODUCE                                 2500 US HIGHWAY 421 NORTH                                                                                                                        WILMINGTON        NC      28401
6480218   EAGLE ROCK CITY HALL                                 C/O LOS ANGELES CITY HALL                                          200 N. SPRING ST.                                                             LOS ANGELES       CA      90012        UNITED
6486475   Eagle Rock Entertainment, Ltd. (WIRE)                Eagle House, 22 Armoury WayWandsworth                                                                                                            London                    SW18 1EZ     KINGDOM
                                                                                                                                                                                                                                                       UNITED
6486476   Eagle-I Music, Ltd.                                  Eagle House, 22 Armoury Way                                                                                                                      London                    SW18 1EZ     KINGDOM
6491270   EAN COSMO STRAUSS                                    Address on File
6492304   EAN HOLDINGS, LLC                                    ATTN: AMIT PATEL, ASSISTANT CONTROLLER                             4943 S HULEN ST                                                               FORT WORTH        TX      76132
6474919   EAN HOLDINGS, LLC                                    DBA: ENTERPRISE RENT A CAR                                         3545 N. 1-10 SERVICE ROAD        SUITE 101                                    METAIRIE          LA      70002
6483596   Ear Tonic Music Inc                                  339 S Sycamore Ave                                                                                                                               Los Angeles       CA      90036
6475610   EARL J DOESCHER CO INC                               305 MEHLE AVE                                                      P O BOX 8                                                                     ARABI             LA      70032
6476288   EARL SCHEIB AUTO PAINTING                            8120 OHIO RIVER BLVD                                                                                                                             EMSWORTH          PA      15202
6479346   EARL\DON                                             14 LOCUST AVENUE                                                                                                                                 OAK PARK          CA      91377
6484186   Earle-Tones Music, Inc fso Mark Isham                c/o Gelfand, Rennert & Feldman, LLP1880 Century Park East, Suite                                                                                 Los Angeles       CA      90067
6475179   EARLE-TONES MUSIC, INC.                              F/S/O MARK ISHAM                                                   1880 CENTURY PARK EAST, # 1600                                                LOS ANGELES       CA      90067
6478280   EARTH DAY RECYCLING CO.                              P.O. BOX 50268                                                                                                                                   ALBUQUERQUE       NM      87181
6798146   EASE ENTERTAINMENT SERVICE LLC                       2950 North Hollywood Way                                                                                                                         Burbank           CA      91505
6491536   EASE SERVICES LP                                     8383 WILSHIRE BLVD. SUITE 100                                                                                                                    BEVERLEY HILLS    CA      90211
6484635   Ease Services, LP                                    8383 Wilshire Blvd. Suite 100                                                                                                                    Beverly Hills     CA      90211
6474990   EAST COAST DRAIN CLEANING                            & PLUMBING SERVICES, INC.                                          P.O. BOX 1142                                                                 LELAND            NC      28451
6481576   East Harlem Tutorial Program                         2050 Second Avenue                                                                                                                               New York          NY      10029
6491328   EASTBURN* MIRANDA                                    428 PEBBLE BEACH DRIVE                                                                                                                           OWATONNA          MN      55060
6476695   EASTERBROOK, IAN                                     7540 SURREYWOOD PL                                                                                                                               CHARLOTTE         NC      28270
6479593   EASTERN COSTUME                                      7243 COLDWATER CANYON AVENUE                                                                                                                     NORTH HOLLYWOOD   CA      91605
6479594   EASTERN COSTUME COMPANY                              7243 COLDWATER CANYON AVENUE                                                                                                                     NORTH HOLLYWOOD   CA      91605
6479595   EASTERN COSTUMES                                     7243 COLDWATER CANYON AVENUE                                                                                                                     NORTH HOLLYWOOD   CA      91605
6477419   EASTMAN KODAK                                        1767 SOLUTIONS CENTER                                                                                                                            CHICAGO           IL      60677-1007
6476396   EASTMAN KODAK CO                                     PO BOX 642180                                                                                                                                    PITTSBURGH        PA      15264-2180
6485681   Easy Way, The                                        P.O. Box 260844                                                                                                                                  Encino            CA      91426
6479534   ECKERT, ALLISON                                      5121 KLUMP AVE. #313                                                                                                                             NORTH HOLLYWOOD   CA      91601
6476719   ECLECTIC,LLC.\THE                                    617 CASTLE STREET                                                                                                                                WILMINGTON        NC      28401
6491650   ECLIPSE ADVERTISING INC                              2255 N ONTARIO ST SUITE 230                                                                                                                      BURBANK           CA      91504
6491817   ECLIPSE MARKETING SERVICES                           240 CEDAR KNOLLS ROAD                                                                                                                            CEDAR KNOLLS      NJ      07927
6481196   Eclipse Marketing Services                           490 Headquarters Plaza, North Tower, 10th Floor                                                                                                  Morristown        NJ      07960
6485379   Econation                                            20400 Praire StreetUnit A                                                                                                                        Chatsworth        CA      91311
6481966   EcoNet Ventures, LLC dba Latinum Network             2 Bethesda Metro Center, Suite 300                                                                                                               Bethesda          MD      20814
6480552   Economides, Nicholas                                 Address on File




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                                                                                                                         Master Mailing List
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MMLID     NAME                                             ADDRESS                                               ADDRESS 2                        ADDRESS 3                 ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6483000   ECsuite                                          2353 West UniversityDr.                                                                                                      Tempe              AZ      85281
6478362   ED MEENAN AUDIO VIDEO                            617 KATHRYN ST                                                                                                               SANTA FE           NM      87505
6477628   ED. SMITH'S STENCIL WORKS, LTD                   4315 BIENVILLE ST                                                                                                            NEW ORLEANS        LA      70119
6483545   Eddie C. Devall Jr.                              1023 S. Alfred St.                                                                                                           Los Angeles        CA      90035
6486124   Eddie Money                                      3362 Rivermore St.                                                                                                           Camarillo          CA      93010
6484328   Eddie Vedder dba Innocent Bystander              9111Sunset Blvd. Attn: K. Pals                                                                                               West Hollywood     CA      90069
6469486   EDDIE VEDDER DBA INNOCENT BYSTANDER              ATTN: K. PALS                                         9111SUNSET BLVD.                                                       WEST HOLLYWOOD     CA      90069
6492690   EDDIE VEDDER DBA INNOCENT BYSTANDER              ATTN: K. PALS, PARALEGAL                              9111 SUNSET BLVD.                                                      WEST HOLLYWOOD     CA      90069
6477543   EDDIES ACE HARDWARE, INC                         4401 DOWNMAN RD                                                                                                              NEW ORLEANS        LA      70087
6478363   EDDY HOUSE ANTIQUES                              832 EL CAMINITO ST                                                                                                           SANTA FE           NM      87505
6480523   Edelstein, Jordan                                Address on File
6491317   EDGETHEORY, LLC                                  750 WOODLANDS PKWY. SUITE 104                                                                                                RIDGELAND          MS      39157
6486115   Edgewise Media Services Inc                      602 N Cypress St                                                                                                             Orange             CA      92867
6798150   EDIT FUEL INC.                                   ATTN: PAULA WILLIAMS                                  LION GATE FILMS, INC.            8306 WILSHIRE BOULEVARD   #544        BEVERLY HILLS      CA      90211
6484636   Edit Fuel, Inc.                                  8306 Wilshire Blvd. #544                                                                                                     Beverly Hills      CA      90211
6479223   EDITING SYSTEMS RENTALS                          17217 OTSEGO ST                                                                                                              ENCINO             CA      91316
6479622   EDMONDS\ANNIE                                    12305 HARTSOCK ST                                                                                                            VALLEY VILLAGE     CA      91607
6492747   EDMONDSON* JOSH                                  402 3/4 MICHELTORENA ST                                                                                                      LOS ANGELES        CA      90026
6482551   Eduardo Nunez                                    SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                 Northbrook         IL      60062
6482552   Eduardo Rodriguez                                c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                            Northbrook         IL      60062        UNITED
6474069   EDWARD BRET                                      12 CONDUIT MEWS                                                                                                              LONDON                     W2 3RE       KINGDOM
6482247   Edward E. Lamberg II                             109 Paradise Dr.                                                                                                             Hendersonville     TN      37075
6486108   Edward J Alvarez                                 1345 N Placentia Avenue                                                                                                      Brea               CA      92821
6481988   Edward Keith Harris                              3310 Beverly Rd.                                                                                                             Baltimore          MD      21214
6483924   Edward Ma                                        6310 San Vicente BlvdSte. 501                                                                                                Los Angeles        CA      90048
6492313   EDWARD MYERS & ASSOCIATES, INC.                  ATTN: EDWARD MYERS, PRESIDENT/CEO                     11271 VENTURA BLVD , SUITE 415                                         STUDIO CITY        CA      91604
6485896   Edward Myers and Associates                      11271 Ventura Boulevard Suite 415                                                                                            Studio City        CA      91604
6798144   EDWARD ST. GEORGE                                EXCLUSIVE ARTISTS MANAGEMENT                          7700 W SUNSET BOULEVARD          SUITE 205                             LOS ANGELES        CA      90046
6480804   Edwards, Brian                                   Address on File
6475050   EDWARDS, KIMBERLY                                6520 PLATT AVE. #504                                  #504                                                                   WEST HILLS         CA      91307
6480440   Edwards, Megan                                   Address on File
6477116   EDWARDS\GREGORY MARC                             499 CROSS CREEK DR                                                                                                           MARION             NC      28752
6475470   EDWARDS\KATE                                     365 WEST 20TH ST                                      APT 7B                                                                 NEW YORK           NY      10011
6476078   EDWARDS\SARAH                                    325 W. 19TH ST                                                                                                               NEW YORK           NY      10011
6476881   EDWIN BOWDEN TRANSPORTATION                      6929 RUNNINGBROOK TERRACE                                                                                                    WILMINGTON         NC      28411
6483901   Edwin Clark                                      8957 La Salle Ave.                                                                                                           Los Angeles        CA      90047
6482553   Edwin Diaz                                       c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                            Northbrook         IL      60062
6478900   EFILM, LLC                                       FILE 50080                                                                                                                   LOS ANGELES        CA      90074-0080
6478705   E-FILM, LLC.                                     1144 NORTH LAS PALMAS AVENUE                                                                                                 HOLLYWOOD          CA      90038
6482474   Eflex                                            2740 Ski Lane                                                                                                                Madison            WI      53713
6475839   EFS ENTERTAINMENT, INC.                          16027 VENTURA BLVD                                    SUITE 506                                                              ENCINO             CA      91436
6475840   EFS ENTERTAINMENT, INC.                          16027 VENTURE BLVD.                                   SUITE 506                                                              ENCINO             CA      91436
6474922   EFS ENTERTAINMENT, INC.                          DBA: EMPIRE FILMS, INC.                               15910 VENTURA BLVD.              SUITE 720                             ENCINO             CA      91436
6479435   EFS INC                                          16027 VENTURA BLVD SUITE 506                                                                                                 ENCINO             CA      91436
6478467   EGAN\RANDY                                       328 ASPEN                                                                                                                    GLORIETA           NM      87535
6486329   Eggchair Music fso Robert Medici                 P.O. Box 25                                                                                                                  Sisters            OR      97759
6486513   Egon Endrenyi                                    1113 Takabs Menyhert U 32                                                                                                    Budapest                                Hungary
6492741   EHRLICH* KAREN M.                                Address on File
6477672   EHS CORPORATION                                  1501 RIVER OAKS RD W                                                                                                         HARAHAN            LA      70123
6475471   EICHHOLZ\MARK                                    5741 OSUNA RD                                         APT 804                                                                ALBUQUERQUE        NM      87109
6481501   Eiko Ishioka                                     146 West 57th Street, Suite 70B                                                                                              New York           NY      10019
6482911   Eileen Canosa Teves                              9022 Los Sonoma Rio                                                                                                          Helotes            TX      78023
6474540   EILERS*JO                                        Address on File
6480461   Eilers, Jo A                                     Address on File
6480805   Eisenpresser, Lisa                               Address on File
6480500   Eismann, Christopher                             Address on File
6479102   EISNER\GLEN                                      13927 WILLIAMS WAY                                                                                                           WHITTIER           CA      90602
6475648   EL CENCERRO BED & BREAKFAST                      447 COUNTY ROAD # 155                                 PO BOX 1031                                                            ABIQUIU            NM      87510
6484187   El Miedo Films, Inc.                             c/o Creative Artists Agency2000 Avenue of the Stars                                                                          Los Angeles        CA      90067
6479106   EL MONTE RENTALS                                 12818 FIRESTONE BLVD.                                                                                                        SANTA FE SPRINGS   CA      90670
6478306   EL PARADERO BED AND BREAKFAST                    220 W MANHATTAN                                                                                                              SANTA FE           NM      87501
6478594   EL PASO IMPORT CO.                               2008 S SEPULVEDA BLVD                                                                                                        LOS ANGELES        CA      90025
6478091   EL PASO IMPORTS                                  3500 CENTRAL AVENUE NE                                                                                                       ALBUQUERQUE        NM      87106
6478307   EL PASO IMPORTS                                  419 SANDOVAL STREET                                                                                                          SANTA FE           NM      87501
6482937   El Paso Premiere Cinema, LP                      109 W. 4th St.                                                                                                               Big Spring         TX      79720
6478455   EL SUENO DEL CORAZON                             PO BOX 759                                                                                                                   ABIQUIU            NM      87510
6481263   Elaine Caswell                                   40 East 9th St. Apt 10A                                                                                                      New York           NY      10003
6483273   Elaine Mongeon                                   1431 1/2 S. Westgate Ave                                                                                                     Los Angeles        CA      90025
6483363   Elana Brooks                                     4028 Los Feliz Blvd. #7                                                                                                      Los Angeles        CA      90027
6482947   Elana Sulzer                                     7848 E. Severn Dr.                                                                                                           Denver             CO      80230




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                                                                                                                                        Served First Class Mail

MMLID     NAME                                                  ADDRESS                                                         ADDRESS 2                         ADDRESS 3                   ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6485897   Electric Picture Solutions, Inc.                      3753 Cahuenga Blvd. West                                                                                                                  Studio City      CA      91604
6477420   ELECTRO RENT CORPORATION                              6018 SOLUTIONS CENTER                                                                                                                     CHICAGO          IL      60677-6000
6481787   Elegant Transportation Services Inc                   103-21 100 St                                                                                                                             Ozone Park       NY      11417
6483677   Element Media                                         1258 N Highland Ave                                                                                                                       Hollywood        CA      90038
6485237   Elements Food Group LLC The                           25 S El Molino Ave                                                                                                                        Pasadena         CA      91101
6485229   Elements, A Creative Event Agency                     1234 El Cerrito Circle                                                                                                                    South Pasadena   CA      91030
6481974   Elevate Sports LLC                                    4902 Druid Drive                                                                                                                          Kensington       MD      20895
6485614   Elevee Custom Clothing                                6930 Valjean Ave.                                                                                                                         Van Nuys         CA      91406
6481586   Eleven NYC LLC                                        500 W 43rd St, Ste. 5G                                                                                                                    New York         NY      10036
6489708   ELEVEN THREE PRODUCTIONS, INC.                        FSO LANA MCKISSACK MOORE                                        14358 COHASSET ST.                                                        VAN NUYS         CA      91405
6482117   Eleventh Hour                                         PO Box 100895                                                                                                                             Atlanta          GA      30384
6492598   ELEVENTH HOUR ENTERTAINMENT                           ATTN: JEFFREY GANTER, PRESIDENT                                 4120 DEL REY AVE                                                          MARINA DEL REY   CA      90292
6485342   Elgonix, LLC fso Michael P. Andrews                   c/o First Artist Management4764 Park Granada, Suite 210                                                                                   Calabasas        CA      91302
6474588   ELHAJ*DANIEL                                          Address on File
6480904   Elhaj, Daniel M                                       Address on File
6485529   Eli Fishman dba Oren Lock & Key                       23908 Mariano St.                                                                                                                         Woodland Hills   CA      91367
6474923   ELINA PRODUCTIONS, INC                                FSO: MARTIN CAMPBELL                                            16000 VENTURA BLVD                SUITE 900                               ENCINO           CA      91436
6468892   ELINA PRODUCTIONS, INC. FSO MARTIN CAMPBELL           C/O CREATIVE ARTISTS AGENCY                                     ATTN: JOHN CAMPISI                2000 AVENUE OF THE STARS                LOS ANGELES      CA      90067
6484188   Elina Productions, Inc. fso Martin Campbell           c/o Creative Artists Agency2000 Avenue of the StarsAttn: John                                                                             Los Angeles      CA      90067
6485581   Elisa Delson                                          15260 Ventura Blvd #2100                                                                                                                  Sherman Oaks     CA      91403
6468764   ELISA DELSON                                          C/O JCM PARTNERS                                                ATTN: MELISSA ORTON, AGENT        10250 CONSTELLATION BLVD.               LOS ANGELES      CA      90067
6468771   ELISA DELSON                                          C/O ZIFFREN BRITTENHAM LLP                                      ATTN: PJ SHAPIRO                  1801 CENTURY PARK WEST                  LOS ANGELES      CA      90067
6492782   ELITE BUILDING MAINTENANCE, LLC                       50 BROADWAY, FLOOR 23                                                                                                                     NEW YORK         NY      10004
6476941   ELITE CONSTRUCTION AND GRADING                        P.O. BOX 99                                                                                                                               ROCKY POINT      NC      28457      SWITZERLA
6798132   ELITE FILM AG                                         ATTN: GREG SHAMO                                                BADENERSTRASSE 156                                                        ZURICH CH                8026       ND
                                                                                                                                                                                                                                              SWITZERLA
6798123   ELITE FILM AG                                         ATTN: MR. STEPHAN GIGER                                         BADENERSTRASSE 156                                                        ZURICH CH                8026       ND
                                                                                                                                                                                                                                              SWITZERLA
6798117   ELITE FILM AG                                         ATTN: RALPH DIETRICH                                            BADENERSTRASSE 256                                                        ZURICH CH                8026       ND
                                                                                                                                                                                                                                              SWITZERLA
6798130   ELITE FILM AG                                         BADENERSTRASSE 156                                                                                                                        ZURICH CH                8026       ND
                                                                                                                                                                                                                                              SWITZERLA
6798131   ELITE FILM AG                                         FLORIAN LEUPIN                                                  BADENERTRASSE 156                                                         ZURICH CH                8026       ND
                                                                                                                                                                                                                                              SWITZERLA
6798116   ELITE FILM AG                                         RALPH DIETRICH                                                  BADENERSTRASSE 156                                                        ZURICH CH                8026       ND
6481226   Elite Investigations Ltd                              538 W 29th St                                                                                                                             New York         NY      10001
6482208   Elite Star Events, LLC fso Alissa Edwards             P.O. Box 07033                                                                                                                            Fort Myers       FL      33919
6476609   ELIZABETH DEWEY MD                                    5704 MIDDLEBURY PL                                                                                                                        GREENSBORO       NC      27410
6482168   Elizabeth Ferradas                                    15849 SW 62 Terr.                                                                                                                         Miami            FL      33193
6481264   Elizabeth Paige Harris                                15th Ave. #17E                                                                                                                            New York         NY      10003
6483729   Elizabeth Porter Hogan                                2833 Angus Street                                                                                                                         Los Angeles      CA      90039
6483328   Elizabeth Regan                                       1641 Grafton St.                                                                                                                          Los Angeles      CA      90026
6483364   Elizabeth Ross dba Liz Ross Graphic Design            4352 Ambrose Ave.                                                                                                                         Los Angeles      CA      90027
6476085   ELIZABETH STREET GALLERY                              209 ELIZABETH STREET                                                                                                                      NEW YORK         NY      10012
6480733   Elkins, Hillel                                        Address on File
6479353   ELKIS/BORIS                                           30338 AMHERST DRIVE                                                                                                                       CASTAIC          CA      91384
6798120   ELLA JONES                                            2629 ST. MARY'S STREET                                                                                                                    RALEIGH          NC      27609
6485898   Ella Linnea Wahlestedt                                10945 Bluffside Dr. #437                                                                                                                  Studio City      CA      91604
6481661   Ella Robinson                                         521 5th AvenueSuite 1900                                                                                                                  New York         NY      10175
6477967   ELLEN LAMPL PHOTO DESIGN                              P.O. BOX 163210                                                                                                                           AUSTIN           TX      78716
6483678   Ellen Rakieten                                        1040 N. Las Palmas AveBungalow C/D                                                                                                        Los Angeles      CA      90038
6474883   ELLER*DREW                                            Address on File
6480791   Ellin, Alec                                           Address on File
6478075   ELLIOTT LOCATION EQUIPMENT                            3120 BLAKE ROAD S.W.                                                                                                                      ALBUQUERQUE      NM      87105
6486704   Elliott Management                                    40 West 57th Street                                                                                                                       New York         NY      10019
6484932   Elliott Watson                                        1686 Electric Ave.                                                                                                                        Venice           CA      90291
6476642   ELLIOTT, JASON                                        1512 ROY SUGGS PLACE NW                                                                                                                   CONCORD          NC      28027
6476158   ELLIOTT\ALEX                                          91 PLEASANT AVE.                                                                                                                          HAMBURG          NY      14075
6475422   ELLIS\MARY ELIZABETH                                  C/O GRANT,TANI,BARASH& ALTIMAN                                  9100 WILSHIRE BLVD.#1000 W                                                BEVERLY HILLS    CA      90212
6475068   ELLISON, KAREN                                        75-5919 ALI'I DR.                                               #G22                                                                      KAILUA-KONA      HI      96740
6476123   ELLISON\ROBERT                                        2824 36TH ST. APT. B                                                                                                                      ASTORIA          NY      11103
6477989   ELMER\ERICA K.                                        2236 S. 2200 E.                                                                                                                           SALT LAKE CITY   UT      84109
6481359   Elton John AIDS Foundation, Inc.                      584 Broadway Rm. 906                                                                                                                      New York         NY      10012
6475481   ELTZ\SETH M.                                          813 PARK RIDGE LANE                                             APT I                                                                     ROSWELL          GA      30076
6481058   Elysees Biarritz                                      22-24 rue Qutentin Bauchart                                                                                                               Paris                    75008      France
6482422   Emagine Novi                                          P.O. Box 841                                                                                                                              Troy             MI      48099
6481587   eMarketer, Inc.                                       11 Times Square, 14th Floor                                                                                                               New York         NY      10036
6492308   EMARKETER, INC.                                       ATTN: JAMES NAJARIAN, CFO                                       11 TIMES SQUARE, 14TH FLOOR                                               NEW YORK         NY      10036
6481308   Embassy Music Corporation                             257 Park Ave. South, 20th Floor                                                                                                           New York         NY      10010
6478045   EMBASSY SUITES, ALBUQUERQUE                           1000 WOODWARD PL NE                                                                                                                       ALBUQUERQUE      NM      87102
6475453   EMBELLISH ANTIQUES                                    1513 E FRANKLIN ST.                                             APT 126 F                                                                 CHAPEL HILL      NC      27514
6479012   EMBROID ME                                            234 S PACIFIC COAST HWY#107                                                                                                               REDONDO BEACH    CA      90277
6478364   EMBROIDERY IMPRESSIONS, INC.                          2000 ST. MICHAEL'S DRIVE                                                                                                                  SANTA FE         NM      87505
6476293   EMERALD ART GLASS INC                                 2300 JOSEPHINE STREET                                                                                                                     PITTSBURGH       PA      15203
6482331   Emerald Youth Foundation                              1718 N Central St                                                                                                                         Knoxville        TN      37917




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                                                                                                                                        Served First Class Mail

MMLID     NAME                                                   ADDRESS                                                           ADDRESS 2                              ADDRESS 3                        ADDRESS 4                  CITY                STATE   POSTAL CODE COUNTRY
6491509   EMERSON'S LOCKSMITH CO., INC.                          8930 SANTA MONICA BLVD.                                                                                                                                              WEST HOLLYWOOD      CA      90069
6485860   Emery Bates                                            10627 Moorpark Street#3                                                                                                                                              North Hollywood     CA      91602
6480995   Emery, Robert                                          Address on File
6481329   EMI April Music                                        Attn: David Bander75 Ninth Ave, 4th flr                                                                                                                              New York            NY      10011
6481330   EMI Blackwood Music                                    Attn: David Bander75 Ninth Ave, 4th flr                                                                                                                              New York            NY      10011
6491232   EMI ENTERTAINMENT WORLD                                555 MADISON AVE. 9TH FLOOR                                                                                                                                           NEW YORK            NY      10022
6798110   EMI ENTERTAINMENT WORLD INC                            245 5TH AVENUE                                                    SUITE 101                                                                                          NEW YORK            NY      10016
6477363   EMI ENTERTAINMENT WORLD, INC                           MSC 410820, PO BOX 41500                                                                                                                                             NASHVILLE           TN      37241-0820
6798113   EMI ENTERTAINMENT WORLD, INC.                          245 5th Avenue Suite 1101                                                                                                                                            NEW YORK            NY      10016
6475439   EMI ENTERTAINMENT WORLD, INC.                          555 MADISON AVENUE,                                               9TH FLOOR                                                                                          NEW YORK CITY       NY      10022
6476079   EMI ENTERTAINMENT WORLD, INC.                          75 9TH AVE 4TH FL                                                                                                                                                    NEW YORK            NY      10011
6492256   EMI ENTERTAINMENT WORLD, INC.                          C/O SONY CORPORATION OF AMERICA                                   ATTN: DAVID J. PRZYGODA, ESQ.          550 MADISON AVENUE, 27TH FLOOR                              NEW YORK            NY      10022-3211
6478630   EMI FILM & TELEVISION MUSIC                            1750 NORHT VINE STREET                                                                                                                                               HOLLYWOOD           CA      90028
6483416   EMI Film & Television Music                            1750 North Vine Street                                                                                                                                               Los Angeles         CA      90028
6483417   EMI Film and Television Music/EMI Music Norway         c/o Virgin Records CM Holdings1750 N. Vine St.                                                                                                                       Los Angeles         CA      90028
6798102   EMI MUSIC MARKETING                                    1750 NORTH VINE STREET                                                                                                                                               HOLLYWOOD           CA      90028
6798093   EMI MUSIC PUBLISHING                                   75 NINTH AVENUE                                                   4TH FLOOR                                                                                          NEW YORK            NY      10011
6475588   EMI MUSIC PUBLISHING                                   EMI ENTERTAINMENT WORLD INC.                                      MSC 410820, PO BOX 415000                                                                          NASHVILLE           TN      37241-0820
6482326   EMI Music Publishing dba EMI Entertainment World       MSC 410814P.O. Box 415000                                                                                                                                            Nashville           TN      37241
6469667   EMI MUSIC PUBLISHING LTD                               MSC 410814                                                        P.O. BOX 415000                                                                                    NASHVILLE           TN      37241
6483418   EMI NA Holdings, Inc.                                  C/O Capitol Records1750 N. Vine St.                                                                                                                                  Los Angeles         CA      90028
6483597   Emily Hardin                                           627 N. Spaulding Ave. #10                                                                                                                                            Los Angeles         CA      90036
6484125   Emily Reed dba Real Princess Parties                   2133 Walgrove Ave.                                                                                                                                                   Los Angeles         CA      90066
6486213   Emily Rose Mendoza Reyes                               1807 Michigan St.                                                                                                                                                    Fairfield           CA      94533
6485183   Emily Wilson                                           4155 Annapolis Rd.                                                                                                                                                   Lakewood            CA      90712
6492119   EMILYCO, INC., F/S/O JOHN GOLDWYN                      C/O HANSEN JACOBSON TELLER HOBERMAN NEWMAN                        WARREN RICHMAN RUSH & KALLER, L.L.P.   ATTN: DONALD W. STEELE, ESQ.     450 NORTH ROXBURY DRIVE,   BEVERLY HILLS       CA      90210
6798096   EMJAG PRODUCTIONS, INC.                                ATTN: ALEXANDRA MILCHAN                                           9200 WEST SUNSET BLVD., STE 550                                                                    WEST HOLLYWOOD      CA      90069
6468746   EMJAG PRODUCTIONS, INC.                                F/S/O ALEXANDRA MILCHAN                                           ATTN: ALEXANDRA MILCHAN                9200 WEST SUNSET BLVD.           STE. 550                   WEST HOLLYWOOD      CA      90069
6484891   Emma Coleman                                           13515 Romany Dr.                                                                                                                                                     Pacific Palisades   CA      90272
6481309   Emma Fernberger                                        4 Peter Cooper RoadApt.7C                                                                                                                                            New York            NY      10010
6484330   Emma Fletcher                                          2129 REDCLIFF ST                                                                                                                                                     LOS ANGELES         CA      90039-3028
6491349   EMMA, INC.                                             75 REMITTANCE DRIVE, STE. 6222                                                                                                                                       CHICAGO             IL      60675
6483274   Emmy Chang                                             1546 Amherst Ave. #301                                                                                                                                               Los Angeles         CA      90025
6481686   EMP Media Partners, LLC                                65 Stonewall Circle                                                                                                                                                  West Harrison       NY      10604
6798087   EMP MEDIA PARTNERS, LLC                                ATTN: GENERAL COUNSEL                                             582 MARKET STREET, SUITE 300                                                                       SAN FRANCISCO       CA      94104
6485696   Empire Films, Inc                                      15910 Ventura Blvd, Ste 720                                                                                                                                          Encino              CA      91436
6475841   EMPIRE FILMS, INC.                                     16027 VENTURA BLVD                                                SUITE 506                                                                                          ENCINO              CA      91436
6481159   Empire International, Ltd.                             225 Meadowlands Parkway                                                                                                                                              Secaucus            NJ      07094
6481453   Empire Offices                                         295 Madison Ave. 12th Floor                                                                                                                                          New York            NY      10017
6484933   Empirical Reality, LLC                                 344 Indiana Avenue#B                                                                                                                                                 Venice              CA      90291
6486265   Employment Development Department                      P.O. Box 989061                                                                                                                                                      West Sacramento     CA      95798
6480103   EMPLOYMENT DEVELOPMENT DEPT.                           P.O. BOX 826880                                                                                                                                                      SACRAMENTO          CA      94280
6479436   EMS,INC.                                               16027 VENTURA BLVD STE 506                                                                                                                                           ENCINO              CA      91436
6476258   EMSWILLER\JAMES M                                      4886 MAPLE DALE STREET                                                                                                                                               PITTSBURGH          PA      15120-2979
6486270   Emtrain Inc                                            2018 19th Street                                                                                                                                                     Sacramento          CA      95818
6478237   ENCHANTMENT HELICOPTERS, INC.                          7401 PASEO DEL VOLCAN NW                                                                                                                                             ALBUQUERQUE         NM      87120
6484786   Encino Little League                                   c/o Corii David BergSony Pictures Television10202 W. Washington                                                                                                      Culver City         CA      90232
6483036   Encore Productions Inc                                 3655 Las Vegas Blvd South                                                                                                                                            Las Vegas           NV      89109
6478262   ENDEAN SIGN COMPANY                                    1315 B 2ND STREET NW                                                                                                                                                 ALBUQUERQUE         NM      87125
6478263   ENDEAN SIGN COMPANY                                    P.O. BOX 25101                                                                                                                                                       ALBUQUERQUE         NM      87125
6484515   endeavor                                               9601 Wilshire Blvd., 3rd Floor                                                                                                                                       Beverly Hills       CA      90210
6489469   ENDEAVOR AGENCY LLC* THE                               C/O WILLIAM MORRIS ENDEAVOR, LLC                                  ATTN: COURTNEY BRAUN                   9601 WILSHIRE BLVD., 3RD FLOOR                              BEVERLY HILLS       CA      90210
6478934   ENDEAVOR AGENCY LLC/THE                                9601 WILSHIRE BLVD., 3RD FLOOR                                                                                                                                       BEVERLY HILLS       CA      90210
6491754   ENDGAME VFX                                            4533 BOYER                                                                                                                                                           MONTREAL            QC      H2J 3E5      CANADA
6479784   ENDGAME VFX INC                                        4533 RUE BOYER                                                                                                                                                       MONTREAL            QC      H2J 3E5      CANADA
6484828   Endless Pursuit dba 1-800-GOT-JUNK?                    212 Euclayptus Drive, Suite A                                                                                                                                        El Segundo          CA      90245
6476970   ENDRES, INC.                                           104 WEST MOORE STREET                                                                                                                                                SOUTHPORT           NC      28461
6475130   ENERGY ENTERTAINMENT INC                               C/O MCKUIN FRANKEL WHITEHEAD                                      141 EL CAMINO DRIVE, SUITE 100                                                                     BEVERLY HILLS       CA      90212
6477309   ENFINGER, NEIL                                         3331 EAGLEWOODS TRAIL                                                                                                                                                SANFORD             FL      32773
6475571   ENGEL\UWE                                              MIXWERK                                                           FRIESENSTR.60A                                                                                     BERLIN                                   GERMANY
6481310   Engelman & Co.                                         156 5th Ave. Suite 711                                                                                                                                               New York            NY      10010
6485069   Engine                                                 C/o Anne McCarthy1531 14th st                                                                                                                                        Santa Monica        CA      90404
6475151   ENGINE                                                 ENGINE MEDIA GROUP, LLC,                                          1531 14TH ST.                                                                                      SANTA MONICA        CA      90404
6484934   Engine Media Group                                     c/o Anne McCarthy824 Palms Blvd                                                                                                                                      Venice              CA      90291
6483679   Engine Room Studios                                    1258 N. Highland Ave, Suite 207                                                                                                                                      Los Angeles         CA      90038
6478777   ENGLENDER, SAMANTHA                                    1201 N. ORANGE GROVE #304                                                                                                                                            WEST HOLLYWOOD      CA      90046
6480775   English, Hannah                                        Address on File
6475784   ENT INDUSTRY PHYSICIANS                                7080 HOLLYWOOD BLVD                                               SUITE 1101                                                                                         HOLLYWOOD           CA      90028
6477912   ENTERGY LOUISIANA LLC                                  P O BOX 8108                                                                                                                                                         BATON ROUGE         LA      70891-8108
6481684   Entermarket                                            8 Madison Avenue                                                                                                                                                     Valhalla            NY      10595




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MMLID     NAME                                                          ADDRESS                                                          ADDRESS 2                          ADDRESS 3                     ADDRESS 4                CITY                 STATE   POSTAL CODE   COUNTRY
6482118   Enterprise Holdings, Inc.                                     P.O. Box 402383                                                                                                                                            Atlanta              GA      30384
6492623   ENTERPRISE LEASING CO. OF GEORGIA, LLC                        ATTN: BOB BINCK, BUSINESS MANAGER                                5909 PEACHTREE DUNWOODY RD.                                                               ATLANTA              GA      30328
6475776   ENTERPRISE RENT A CAR                                         3545 N. I-10 SERVICE RD                                          SUITE 101                                                                                 METAIRIE             LA      70002
6491719   ENTERPRISE RENT A CAR                                         3700 W WENDOVER AVE                                                                                                                                        GREENSBORO           NC      27407-1510
6492340   ENTERPRISE RENT A CAR                                         ATTN: MARY THOMAS-BUSHYHEAD, CREDIT ANALYST                      14002 E 21ST STREET                                                                       TULSA                OK      74134
6475313   ENTERPRISE RENT A CAR CO                                      ATTN: ACCTS RECEIVABLE                                           4489 CAMPBELLS RUN RD                                                                     PITTSBURGH           PA      15205-1311
6483158   Enterprise Rent-A-Car                                         1201 W. 5th St. Suite F20                                                                                                                                  Los Angeles          CA      90017
6478563   ENTERPRISE RENT-A-CAR                                         1201 W. 5TH STREET, SUITE T200                                                                                                                             LOS ANGELES          CA      90017
6475615   ENTERPRISE RENT-A-CAR                                         DAMAGE RECOVERY UNIT                                             P. O. BOX 842442                                                                          DALLAS               TX      75284-2442
6474940   ENTERPRISE RENT-A-CAR                                         ENTERTAINMENT DIV-NIKKI LURIE                                    1201 WEST 5TH ST, STE # F20                                                               LOS ANGELES          CA      90017
6476023   ENTERPRISE-PR                                                 2484 MARGINAL CELESTIAL                                                                                                                                    CAROLINA             PR      00979
6479116   ENTERTAINMENT CLEARANCES, INC.                                535 PANAMA AVENUIE                                                                                                                                         LONG BEACH           CA      90814
6798079   ENTERTAINMENT IN MOTION, INC                                  5455 CENTINELA AVENUE                                            2ND FLOOR                                                                                 LOS ANGELES          CA      90066
6798070   ENTERTAINMENT IN MOTION, INC                                  ATTN: WILLIAM GRANT                                              5455 CENTINELA AVENUE              2ND FLOOR                                              LOS ANGELES          CA      90066
6478631   ENTERTAINMENT IND PHYSICIANS                                  7080 HOLLYWOOD BLVD #1101                                                                                                                                  HOLLYWOOD            CA      90028
6478842   ENTERTAINMENT INDUSTRY BENEFIT                                P.O. BOX 60669                                                                                                                                             LOS ANGELES          CA      90060-0669
6478632   ENTERTAINMENT INDUSTRY PHYSICI                                7080 HOLLYWOOD BOULEVARD                                                                                                                                   LOS ANGELES          CA      90028
6478634   ENTERTAINMENT INDUSTRY PHYSICIANS                             7080 HOLLYWOOD BLVD., STE 1101                                                                                                                             HOLLYWOOD            CA      90028
6483419   Entertainment Industry Physicians                             7080 Hollywood Blvd., Suite 1101                                                                                                                           Los Angeles          CA      90028
6482460   Entertainment Marketing, Inc. dba Geneva Convention           W168 N8936 Appleton Avenue                                                                                                                                 Menomonee Falls      WI      53051
6475783   ENTERTAINMENT MEDIA SPECIALIST                                6000 INDIAN SCHOOL ROAD                                          SUITE 110                                                                                 ALBUQUERQUE          NM      87110
6798063   ENTERTAINMENT ONE                                             134 Peter St Suite 700                                                                                                                                     TORONTO              ON      M5V 2H2       CANADA
                                                                                                                                                                                                                                                                              THE
6490697   ENTERTAINMENT ONE BENELUX BV                                  ATTN: JAN KOUWENHOVEN                                            BERGWEG 46                                                                                HILVERSUM                    1217 SC       NETHERLA
                                                                                                                                                                                                                                                                              THE
6798056   ENTERTAINMENT ONE BENELUX BV                                  BERGWEG 46                                                                                                                                                 HILVERSUM                    1217 SC       NETHERLA
6487888   ENTERTAINMENT ONE FILMS CANADA INC. (AS                       SUCCESSOR-IN-INTEREST TO ALLIANCE FILMS INC.)                    ATTN: RICHARD RAPKOWSKI            134 PETER STREET, SUITE 700                            TORONTO              ON      M5V 2H2       CANADA
6479907   Entertainment One Ltd.                                        Address on File
6481700   Entertainment One U.S. LP                                     22 Harbor Park Drive                                                                                                                                       Port Washington      NY      11050
6485736   Entertainment Partners                                        2835 N Naomi St, 2nd Floor                                                                                                                                 Burbank              CA      91504
6485737   Entertainment Partners Service Group GE ALT LLC               2835 N Naoi St 2nd Floor                                                                                                                                   Burbank              CA      91504
6482902   Entertainment Printing Enterprises LTD                        1400 Crestdale                                                                                                                                             Houston              TX      77080
6481227   Entertainment Research & Marketing LLC                        5 Penn Plaza21st Floor                                                                                                                                     New York             NY      10001
6484637   Entertainment Television Services, Inc dba CelebrityFootage   320 South Almont Dr.                                                                                                                                       Beverly Hills        CA      90211
6482201   Entertainment Weekly                                          PO Box 60001                                                                                                                                               Tampa                FL      33660
6486355   Entertonement                                                 1620 Broadway, Suite 209                                                                                                                                   Seattle              WA      98122
6468778   ENTHEOS INC.                                                  C/O WALK THE WALK ENTERTAINMENT, INC.                            ATTN: STEVE HUTENSKY               2320 GLYNDON AVE.                                      VENICE               CA      90291
6485120   Entheos, Inc.                                                 2629 33rd St.                                                                                                                                              Santa Monica         CA      90405
6490530   ENTRAVISION COMMUNICATIONS CORPORATION                        ATTN: LIZZY KIDD, SR. BUSINESS OPS. MGR.                         801 N. JACKSON ROAD                                                                       MCALLEN              TX      78501
6476836   ENVIRONMENTAL CHEMISTS, INC                                   6602 WINDMILL WAY                                                                                                                                          WILMINGTON           NC      28405
6479757   ENVIRONMENTAL MANAGEMENT INC                                  206 EAST FIREWEED LANE SUITE 201                                                                                                                           ANCHORAGE            AK      99503
6474906   ENVIRONMENTAL PROTECTION AGENCY                               75 HAWTHORNE STREET                                                                                                                                        SAN FRANCISCO        CA      94105
6485412   Enzo Caserta Landscaping, Inc.                                17333 Chase St.                                                                                                                                            Northridge           CA      91325
6468807   EPIC LEVEL ENTERTAINMENT, LLC                                 ATTN: JOHN FRANK ROSENBLUM - PRESIDENT                           7095 HOLYWOOD BLVD.                #688                                                   HOLLYWOOD            CA      90028
6483420   Epic Level Entertainment, Ltd                                 7095 Hollywood Blvd #688                                                                                                                                   Los Angeles          CA      90028
6481208   Epicentre Productions, LLC                                    17 Harvest Bend Rd.                                                                                                                                        Trenton              NJ      08691
6483785   Epilepsy Foundation GLA/C&C Benefit                           5777 West Century Blvd. Ste 880                                                                                                                            Los Angeles          CA      90045
6485251   Epiphany Artist Group Inc                                     405 N Daisy Ave                                                                                                                                            Pasadena             CA      91107
6481429   Epiphany Media, LLC                                           200 Madison Ave. 2nd Floor                                                                                                                                 New York             NY      10016
6483329   Epitaph, a California Corporation                             2798 Sunset Blvd.                                                                                                                                          Los Angeles          CA      90026
6475969   EPPR SERVICES, LLC                                            1250 PONCE DE LEON SUITE 602                                                                                                                               SAN JUAN             PR      00907
6474992   EPPS PURCHASING, INC                                          DBA: AIRWAVES WIRELESS                                           P.O. BOX 7837 MC 0200                                                                     BURBANK              CA      91510
6479413   EPPS\ALBERT M                                                 15114 HAMLIN ST                                                                                                                                            VAN NUYS             CA      91411
6482516   ePrize, LLC                                                   Dept. CH 17698                                                                                                                                             Palatine             IL      60055
6479573   EPS-CINEWORKS                                                 3753 CAHUENGA BLVD WEST                                                                                                                                    STUDIO CITY          CA      91604
6490708   EQUINOX HOLDINGS INC.                                         DBA EQUINOX FITNESS CLUBS                                        P.O. BOX 1774                                                                             NEW YORK             NY      10156
6477558   EQUIPCO LLC                                                   1793 JULIA ST                                                                                                                                              NEW ORLEANS          LA      70113
6485380   Equipment Brokers Unlimited                                   9043 Lurine Ave.Chatsworth, CA 91311                                                                                                                       Chatsworth           CA      91311
6481074   Equipo Creativo Inc.                                          Street A #8Mansiones Santa Paula                                                                                                                           Guaynabo             PR      00969
6485899   Eric Ancker                                                   C/O Arlene Thornton & Associates12711 Ventura Boulevard, Suite                                                                                             Studio City          CA      91604
6483830   Eric Anthony Carr                                             1533 N. Vista St.                                                                                                                                          Los Angeles          CA      90046
6486019   Eric Blehm                                                    2033 San Elijo Ave. #482                                                                                                                                   Cardiff By The Sea   CA      92007
6486020   Eric Blehm c/o Lichter Grossman Nichols Adler & Feldman       2033 San Elijo Ave. #482                                                                                                                                   Cardiff By The Sea   CA      92007
6484274   Eric C. McCans                                                1944 Whitley Avenue#307                                                                                                                                    Los Angeles          CA      90068
6704530   Eric Charbonneau DBA Le Studio Photography                    26520 Royal Vista Court                                                                                                                                    Santa Clarita        CA      91351
6481624   Eric Gurian                                                   404 E. 55th St. 105                                                                                                                                        New York             NY      10072
6483183   Eric Kaizen Ho dba Zen-PC                                     1119 Keniston Ave.                                                                                                                                         Los Angeles          CA      90019
6482353   Eric Lichtenfeld                                              7789 Kelly Dr.                                                                                                                                             Dublin               OH      43016
6482909   Eric Moreland                                                 3935 Teal Run Meadows #10                                                                                                                                  Fresno               TX      77545
                                                                                                                                         LAVIOLETTE, FELDMAN, SCHENKMAN &                                 150 SOUTH RODEO DRIVE,
6468715   ERIC PFEFFINGER ('WRITER')                                    C/O BLOOM, HERGOTT, DIEMER, ROSENTHAL,                           GOODMAN,LLP                        ATTN: GREG SLEWETT            THIRD FLOOR              BEVERLY HILLS        CA      90212
6485165   Eric R. Johnson                                               4251 Tujunga Ave #6                                                                                                                                        Whittier             CA      90604




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                                                                                                                                              Served First Class Mail

MMLID     NAME                                                           ADDRESS                                                         ADDRESS 2                                 ADDRESS 3                   ADDRESS 4   CITY                 STATE   POSTAL CODE COUNTRY
6483421   Eric S. Colvin                                                 1617 Cosmo St. Suite 110                                                                                                                          Los Angeles          CA      90028
6486345   Eric Samdahl dba Filmjabber                                    121 N. 46th St. #301                                                                                                                              Seattle              WA      98103
6481621   Eric V. Hachikian                                              310 East 65th Street#14C                                                                                                                          New York             NY      10065
6481782   Eric Walkuski                                                  227-18 67th Ave.                                                                                                                                  Oakland Gardens      NY      11364
6475352   ERIC WINTERLING, INC.                                          20 WEST 20TH STREET,5TH FLR.                                    5TH FLOOR                                                                         NEW YORK             NY      10011
6798052   ERICKSON, EDDY                                                 PO BOX 670712                                                                                                                                     DALLAS               TX      75230
6480526   Erickson, Kelly                                                Address on File
6477190   ERICKSON\W.RUSS                                                542 SHORT MCDOWELL                                                                                                                                ASHEVILLE            NC      28803
6483330   Erik Clabeaux                                                  1750 Redcliff Street                                                                                                                              Los Angeles          CA      90026
6481056   Erik Daniel Persson                                            Trumslagarensgata 4                                                                                                                               Karlstad                     65348      Sweden
6483598   Erin Bunch                                                     649 S. Burnside Ave #205                                                                                                                          Los Angeles          CA      90036
6483275   Erin E. Chancellor                                             1627 Camden Avenue #207                                                                                                                           Los Angeles          CA      90025
6486190   Erin Fusco                                                     3636 Broderick Street#9                                                                                                                           San Francisco        CA      94123
6485861   Erin Hamilton                                                  10640 Woodbridge St, #201                                                                                                                         North Hollywood      CA      91602
6484004   Erin Louise Sprinkel                                           12124 Goshen Ave. #102                                                                                                                            Los Angeles          CA      90049
6486367   Erin Mayovsky Swanson                                          4551 West Raye St.                                                                                                                                Seattle              WA      98199
6485486   Erin Williams                                                  3117 Rikkard Dr                                                                                                                                   Thousand Oaks        CA      91362
6476088   ERNEST SEWN                                                    71 GANSEVOORT STREET                                                                                                                              NEW YORK             NY      10014
6491519   ERNST & YOUNG                                                  PO BOX 846793                                                                                                                                     LOS ANGELES          CA      90084
6484680   ERPFC Releasing, Inc.                                          c/o Bloom Hergott Diemer Rosenthal LaViolette & Feldman150 S.                                                                                     Beverly Hills        CA      90212
6475469   ESCOBAR\JULIO                                                  1803 MARTIN LUTHER KING BLVD                                    APT 737                                                                           HOUMA                LA      70360
6481618   eScribers, LLC                                                 700 W. 192nd St, Ste 607                                                                                                                          New York             NY      10040
6476696   ESGROW, ZACHARY                                                819 RIVERWOOD RD                                                                                                                                  CHARLOTTE            NC      28270
6476500   ESHLEMAN, WILLIAM C.                                           1530 WEST 1ST ST                                                                                                                                  WINSTON-SALEM        NC      27106
6477874   ESKEW\CALVIN                                                   2424 PELICAN ST                                                                                                                                   SLIDELL              LA      70460
6474755   ESPINOSA*ROGELIO                                               Address on File
6475442   ESPINOSA\FAUSTINO                                              URB. TOA ALTA HEIGHTS                                           AA-49 CALLE 27                                                                    TOA ALTA             PR      00953
6477439   ESPINOZA MD\LUIS M                                             5 SAVANNAH RIDGE LANE                                                                                                                             METAIRIE             LA      70001
6491364   ESPLANADE THEATRES, LLC                                        305 BARONNE ST. SUITE 900                                                                                                                         NEW ORLEANS          LA      70112
                                                                                                                                         ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492237   ESPN ENTERPRISES                                               C/O THE WALT DISNEY COMPANY                                     MGR                                       500 S. BUENA VISTA STREET               BURBANK              CA      91521
                                                                                                                                         ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492238   ESPN INC. AD SALES                                             C/O THE WALT DISNEY COMPANY                                     MGR                                       500 S. BUENA VISTA STREET               BURBANK              CA      91521
6482381   Esquire Theatre                                                125 E. Court St. Suite 1000                                                                                                                       Cincinnati           OH      45202
6481525   Essence Communications, Inc dba Essence Festival Productions   135 W. 50th St. 4th Floor                                                                                                                         New York             NY      10020
6474368   ESSOYAN*PENELOPE                                               Address on File
6480776   Essoyan, Penelope T                                            Address on File
6481813   EST 19XX Films, LLC                                            5510 Merrick Rd.                                                                                                                                  Massapequa           NY      11758
6486025   Estate of Glen Doherty                                         165 Rodney Ave.                                                                                                                                   Encinitas            CA      92024
6475924   ESTRELLA RIVERA\LUIS R.                                        1821 SAN DIEGO STREET                                           URB. SAN IGNACIO                                                                  SAN JUAN             PR      00927
6475919   ESTRELLA\LUIS RIVERA                                           CALLE SAN DIEGO 1821                                            URB SAN IGNACIO                                                                   SAN JUAN             PR      00927
6484423   ETS Inc dba Deluxe Film Services                               File 57538                                                                                                                                        Los Angeles          CA      90074
6475281   ET'S WIG SHOP, INC.                                            C/O NFW & ASSOCIATES                                            39 BROADWAY, SUITE # 750                                                          NEW YORK CITY        NY      10006
6476837   EUE SCREEN GEMS STUDIOS                                        1223 NORTH 23RD STREET                                                                                                                            WILMINGTON           NC      28405
6483031   Eugene Dela Cruz                                               1298 Corent St.                                                                                                                                   Henderson            NV      89052
6481060   Eurl Cocoon                                                    6 Rue Du Faubourg Poissuniere                                                                                                                     Paris                        75010      France
6798024   EURO TV                                                        24 RUE DE TEHERAN                                                                                                                                 PARIS                        75008      FRANCE
6798014   EURO TV SARL                                                   24 RUE DE TEHERAN                                                                                                                                 PARIS                        75008      FRANCE
6798042   EUROFILM & MEDIA LTD                                           ATTN: HELGE SASSE                                               BALLYCUGGERAN                             KILLALOE CO. CLARC                                                              IRELAND
6798043   EUROFILM & MEDIA LTD                                           MR.HELGE SASSE                                                  BALLYCUGGERAN                             KILLALOE CO. CLARC                                                              IRELAND
6798040   EUROFILM & MEDIA LTD.                                          ATTN: GENERAL COUNSEL                                           SHANNON AIRPORT HOUSE                     SHANNON FREE ZONE                       SHANNON                                 IRELAND
6798035   EUROFILM & MEDIA LTD./SENATOR                                  ATTN: MILADA KOLBERG                                            BALLYCUGGERAN                             KILLALOE CO. CLARC                                                              IRELAND
6798034   EUROFILM & MEDIA LTD./SENATOR                                  BALLYCUGGERAN                                                   KILLALOE CO. CLARC                                                                                                        IRELAND
6798049   EUROFILM AND MEDIA LTD.                                        BALLYCUGGERAN                                                   KILLALOE CO. CLARC                                                                                                        IRELAND
6482672   Euromarket Designs DBA Crate and Barrel                        1860 West Jefferson Avenue                                                                                                                        Naperville           IL      60540
6798027   EUROPA CORP                                                    CHRISTOPHE LAMBERT                                              137, RUE DU FAUBOURG SAINT HONORE                                                 PARIS                        75008      FRANCE
6468808   EUROPACORP                                                     Address on File
6480382   EUROPACORP                                                     345 NORTH MAPLE DRIVE                                           SUITE 103                                                                         BEVERLY HILLS        CA      90210
6489498   EUROPACORP FILMS USA, INC.                                     Address on File
6487928   EUROPACORP S.A.                                                LA CITE DU CINEMA                                               ATTN: CHRISTOPHE LAMBERT                  20 RUE AMPERE                           SAINT DENIS CEDEX            93200      FRANCE
6798021   EUROPACORP SA                                                  137 RUE DU FAUBOURG                                             SAINT HONORE                                                                      PARIS                        75008      FRANCE
6481064   Europacorp SA                                                  20 Rue Ampere                                                                                                                                     Saint Denis                  93200      France
6481228   European American Music Distributors LLC                       254 W 31st St                                                                                                                                     New York             NY      10001
6480090   EUROPEAN FILM BONDS A/S                                        KNABOSTRAEDE 30                                                                                                                                   COPENHAGEN                   1210       DENMARK
6486561   EUROPEAN FILM BONDS A/S                                        KNABROSTRÆDE 30                                                                                                                                   1210 COPENHANGEN K                      DENMARK
6484908   European Specialty Corp                                        100 S. Guadalupe Ave. #202                                                                                                                        Redondo Beach        CA      90277
6481975   EuroScout                                                      4902 Druid Dr.                                                                                                                                    Kensington           MD      20895
6483076   Eva Quiroz (expenses)                                          850 5th Avenue                                                                                                                                    Los Angeles          CA      90005
6483680   Eva Valett                                                     838 Wilcox Ave.                                                                                                                                   Los Angeles          CA      90038
6483831   Evan Gatica                                                    1322 N. Alta Vista                                                                                                                                Los Angeles          CA      90046




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                                                                                                                                          Master Mailing List
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MMLID     NAME                                                     ADDRESS                                                         ADDRESS 2                            ADDRESS 3                ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6483119   Evan Jones                                               548 S. Spring StreetSuite 813                                                                                                             Los Angeles       CA      90013
6486061   Evan Mirzai                                              14243 Martin Place                                                                                                                        Riverside         CA      92503       UNITED
6490291   EVANDINE PRODUCTIONS LIMITED                             ATTN: TED CAWREY                                                15 GARDEN SQUARE                                                          LONDON                    W1F 9JG     KINGDOM
6480628   Evangelista, Jamie Lee                                   Address on File
6485035   Evans Foden Design Inc.                                  c/o The Skouras Agency1149 3rd Street 3rd Floor                                                                                           Santa Monica      CA      90403
6480819   Evans, David                                             Address on File
6480707   Evans, Lucas                                             Address on File
6477870   EVANS\DWIGHT                                             PO BOX 2983                                                                                                                               SLIDELL           LA      70459
6477504   EVENT RENTAL                                             505 AMELIA ST                                                                                                                             GRETNA            LA      70053
6477511   EVENT RESTROOM                                           P O BOX 30                                                                                                                                GRETNA            LA      70054
6482950   EverBank Commercial Finance, Inc.                        Dept. #1608                                                                                                                               Denver            CO      80291
6482399   Everett Dawkins                                          6435 W. Jefferson Blvd. #197                                                                                                              Fort Wayne        IN      46804
6480592   Everhart, Nicholas                                       Address on File
6486225   EvoDC, LLC dba Evocative                                 1400 65th Street, Ste. 150                                                                                                                Emeryville        CA      94608
6485582   Evolution L.A.                                           4219 Van Nuys Blvd                                                                                                                        Sherman Oaks      CA      91403
6485583   Evolution Management Group, Inc.                         4219 Van Nuys Blvd.                                                                                                                       Sherman Oaks      CA      91403
6474242   EWART*ALLISON                                            Address on File
6480424   Ewart, Allison Karen                                     Address on File
6485413   Excalibur Van Lines, LLC                                 8622 Darby Ave.                                                                                                                           Northridge        CA      91325
6478308   EXCHANGE COMMUNICATIONS CORP                             223 N GUADALUPE #290                                                                                                                      SANTA FE          NM      87501
6798008   EXCLUSIVE ARTISTS MANAGEMENT                             7700 SUNSET BOULEVARD                                           SUITE 205                                                                 LOS ANGELES       CA      90046
6479596   EXCLUSIVE LIVERY SERVICE INC                             12580 SATICOY ST #C                                                                                                                       NORTH HOLLYWOOD   CA      91605
6484966   Exclusive Logistics Management                           27 Ironside, Unit A                                                                                                                       Marina Del Rey    CA      90292
6468812   EXCLUSIVE MEDIA GROUP                                    1416 N LA BREA AVE                                                                                                                        LOS ANGELES       CA      90028
6479597   EXCLUSIVE SEDAN SERVICE                                  12580 SATICOY ST                                                                                                                          NORTH HOLLYWOOD   CA      91605
6485697   Executive Advisory, LLC, The                             16830 Ventura Blvd. Suite 210                                                                                                             Encino            CA      91436
6482151   Executive Air Services, LLC                              14900 NW 43nd Avenue, Suite 108                                                                                                           Opa Locka         FL      33054
6479487   EXECUTIVE OUTHOUSES, LLC                                 2710 W. BURBANK BLVD                                                                                                                      BURBANK           CA      91505
6475240   EXECUTIVE OUTHOUSES, LLC                                 C/O E.P. BRODSKY, CPA                                           2710 W BURBANK BLVD.                                                      BURBANK           CA      91505
6479272   EXECUTIVE STUDIO RENTALS                                 PMB 114, SUITE C                                                                                                                          SANTA CLARITA     CA      91350
6798012   EXHIBITOR CO-OP                                          2342 Merrill Ave                                                                                                                          BULLHEAD CITY     AZ      86442
6483833   EX-L, LLC fso Edward Lukas                               7435 Palo Vista Dr.                                                                                                                       Los Angeles       CA      90046
6491625   EXOPS INTERNATIONAL INC                                  19197 GOLDEN VALLEY RD, 202                                                                                                               SANTA CLARITA     CA      91387
6481852   Exotic Design Group                                      2400 Oxford Drive #301                                                                                                                    Bethel Park       PA      15102
6485615   Experience Records, LLC                                  16134 Runnymede St.                                                                                                                       Van Nuys          CA      91406
6476971   EXPERIMENTAL AIRCRAFT ASSOC.                             3661 HERON CIRCLE S.E.                                                                                                                    SOUTHPORT         NC      28461
6481265   Exploring the Arts, Inc                                  c/o Inez Weinstein Speical Events215 Park Avenue S., Ste 2014                                                                             New York          NY      10003
6482925   Explosions in the Sky Music                              c/o Chris Hrasky4008 Cherrywood Road                                                                                                      Austin            TX      78722
6475222   EXTENDED STAY AMERICA                                    ALBUQUERQUE AIRPORT                                             2321 INTERNATIONAL AVE. SE                                                ALBUQUERQUE       NM      87106
6479248   EXTENSIONS PLUS, INC.                                    17738 SHERMAN WAY                                                                                                                         RESEDA            CA      91335
6476587   EXTRA SPACE MANAGEMENT INC.                              4514 HIGH POINT RD.                                                                                                                       GREENSBORO        NC      27407
6482226   Extreme Production Music c/o Extreme Group Holding LLC   Dept 1520                                                                                                                                 Birmingham        AL      35246
6492650   EXTREME REACH, INC.                                      ATTN: CHRISTINE GLOWA, COLLECTIONS SPEC.                        75 SECOND AVE., SUITE 720                                                 NEEDHAM           MA      02494
6482092   Eyewonder                                                229 Peachtree Street NE                                                                                                                   Atlanta           GA      30303
6481174   E-Z Ryder Limousine                                      P.O. Box 272                                                                                                                              Leonia            NJ      07605
6485530   Ezee Studios                                             21550 Oxnard St., Ste.990                                                                                                                 Woodland Hills    CA      91367
6476206   F&D CONSTRUCTION CO                                      312 RIDGEVIEW DR                                                                                                                          N BRADDOCK        PA      15104
6484517   F. Javier Gutierrez                                      c/o Scott Henderson Paradigm360 N. Crescent Drive                                                                                         Beverly Hills     CA      90210
6483212   Fabian Debora                                            617 S. Lorena St. C201                                                                                                                    Los Angeles       CA      90023
6481311   Fabiola B. Productions, Inc. dba Planted Productions     315 Park Ave. South, 2nd Floor                                                                                                            New York          NY      10010
6475538   FABREGAS\ANTONIO                                         URB. HUYKE                                                      CALLE JOSE PADIN 162                                                      SAN JUAN          PR      00936
6492357   FACEBOOK, INC.                                           ATTN: CREDIT AND COLLECTIONS MANAGER                            1601 WILLOW ROAD                                                          MENLO PARK        CA      94025
6483207   Facerocker                                               2458 Hunter St. Suite 3                                                                                                                   Los Angeles       CA      90021
6469493   FADE TO BLACK                                            C/O SHAPIRO & COMPANY, CPA                                      10990 WILSHIRE BLVD FL 8                                                  LOS ANGELES       CA      90024-3918
6484331   Fade to Black                                            c/o Shapiro & Company, CPA9229 Sunset Blvd. Suite 607                                                                                     West Hollywood    CA      90069
6798004   FADE TO BLACK PRODUCTIONS, INC                           10990 WILSHIRE BLVD FL 8                                                                                                                  Los Angeles       CA      90024
6492183   FADE TO BLACK PRODUCTIONS, INC                           C/O ZIFFREN BRITTENHAM, LLP                                     ATTN: DAVID NOCHIMSON, ESQ.          1801 CENTURY PARK WEST               LOS ANGELES       CA      90067-6406
6478660   FAIRBAIRN/ELIZABETH                                      517 E AVENUE 39                                                                                                                           LOS ANGELES       CA      90031
6492363   FAIRBOURN* ZOE                                           C/O LAW OFFICES OF DAVID W. MEADOWS                             1801 CENTURY PARK EAST, SUITE 1235                                        LOS ANGELES       CA      90067
6480868   Fairbourn, Zoe                                           Address on File
6486342   Fairmont Olympic Hotel                                   411 University St.                                                                                                                        Seattle           WA      98101
6486444   Fairmont Royal York Hotel, The                           100 Front Street West                                                                                                                     Toronto           ON      M5J 1E3      CANADA
6475415   FAIRY DUST, INC.                                         200 PARK AVENUE SOUTH                                           8TH FLOOR                                                                 NEW YORK          NY      10003
6476545   FAITH ROCK MINISTRIES, INC.                              PO BOX 1289                                                                                                                               RAMSEUR           NC      27316
6475640   FAJARDO INN S.E.                                         BO.SARDINERA                                                    PARCELAS BELTRAN                                                          PUERTO REAL       PR      00740
6491849   FALCO INK CORPORATION                                    475 PARK AVENUE SOUTH, 15TH FLOOR                                                                                                         NEW YORK          NY      10016
6486685   Falcon Investment Advisors, LLC                          600 Lexington Ave                                               35th Fl                                                                   New York          NY      10022
6490483   FALCON STRATEGIC PARTNERS III, LP                        Address on File
6474987   FALLEN LEAF PRODUCTIONS                                  F/S/O DANA STEVENS                                              C/O UTA 9336 CIVIC CENTER DR                                              BEVERLY HILLS     CA      90210
6484189   Fallen Leaf Productions, Inc. f/s/o Dana Stevens         c/o Ziffren Brittenham LLPAttn: Sam Fisher and Wendy Kirk1801                                                                             Los Angeles       CA      90067




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MMLID     NAME                                                      ADDRESS                                                          ADDRESS 2                                  ADDRESS 3             ADDRESS 4             CITY                 STATE   POSTAL CODE COUNTRY
6491541   FAME FLYNET, INC.                                         9903 SANTA MONICA BLVD. SUITE 1021                                                                                                                      BEVERLY HILLS        CA      90212
6479426   FAMEN FORTUNE INC.                                        3380 CAMINO DE LA CUMBRE                                                                                                                                SHERMAN OAKS         CA      91423
6483107   Family Industries, LLC                                    1700 N. Spring St.                                                                                                                                      Los Angeles          CA      90012
6484761   Famous Frames                                             5839 Green Valley Circle, Suite 104                                                                                                                     Culver City          CA      90230
6484997   Fan Appz, Inc.                                            409 Santa Monica Blvd., Suite 2B                                                                                                                        Santa Monica         CA      90401
6481639   Fancy Music, Inc.                                         c/o ML Management Associates, Inc. 250 W. 57th St., 26th Floor                                                                                          New York             NY      10107
6484066   Fandango Loyalty Solutions, LLC                           12200 W. Olympic Blvd. Suite 40                                                                                                                         Los Angeles          CA      90064
6482732   Fandango, LLC                                             62305 Collections Center Dr.                                                                                                                            Chicago              IL      60693
6478201   FANG\ELSA                                                 3506 LA SALA DEDONDA NE                                                                                                                                 ALBUQUERQUE          NM      87111
6481502   Fangoria                                                  250 West 49th St. Suite 304                                                                                                                             New York             NY      10019
6485644   FanManager Marketing & Promotions                         P.O. Box 5881                                                                                                                                           Sherman Oaks         CA      91413
6478606   FANNING\ANTHONY                                           1520 ANGELUS AVE                                                                                                                                        LOS ANGELES          CA      90026
6797997   FANOLOGY                                                  5855 Green Valley Circle #202                                                                                                                           Culver City          CA      90230
6864259   Fanology LLC                                              5855 Green Valley Circle Suite #202                                                                                                                     Culver City          CA      90230
6797999   FANOLOGY SOCIAL                                           600 CORPORATE POINTE                                             #210                                                                                   CULVER CITY          CA      90230
6490481   FANOLOGY SOCIAL                                           ATTN: AMY JANES, CEO                                             600 CORPORATE POINTE, #210                                                             CULVER CITY          CA      90230
6484762   Fanology, LLC                                             600 Corporate Pointe #210                                                                                                                               Culver City          CA      90230
6492627   FANOLOGY, LLC                                             ATTN: AMY JANES, CEO                                             600 CORPORATE POINTE, #210                                                             CULVER CITY          CA      90230
6481755   Farchitecture BB, LLC dba Coolhaus                        219 India St.                                                                                                                                           Brooklyn             NY      11222
6480566   Farmer, Michael                                           Address on File
6480611   Farrar, Stratton                                          Address on File
6480495   Fass, Jonathan                                            Address on File
6480910   Fassberg, Jamie                                           Address on File
6483925   Fast Frame                                                8109 Beverly Blvd                                                                                                                                       Los Angeles          CA      90048
6492665   FAST FRAME                                                ATTN: PAMELA SUNDERLAND, OWNER                                   8109 BEVERLY BLVD                                                                      LOS ANGELES          CA      90048
6477408   FASTENAL COMPANY                                          P O BOX 978                                                                                                                                             WINONA               MN      55987
6477644   FASTENERS INC                                             800 DAKIN ST                                                                                                                                            JEFFERSON            LA      70121
6476328   FASTSIGNS                                                 3021 BANKSVILLE ROAD                                                                                                                                    PITTSBURGH           PA      15216
6476774   FASTSIGNS                                                 894-4 SOUTH KERR AVENUE                                                                                                                                 WILMINGTON           NC      28403
6476626   FATHER & SON ANTIQUES                                     107 W. HARGETT ST                                                                                                                                       RALEIGH              NC      27606
6480574   Fatone, Mike                                              Address on File
6474161   FAUCHER*CAITLYN                                           Address on File
6477776   FAULKNER\KENNETH                                          PO BOX 1988                                                                                                                                             MORGAN CITY          LA      70381
6485531   Favian Wigs Inc.                                          23547 Hatteras Street                                                                                                                                   Woodland Hills       CA      91367
6479329   FAVIAN WIGS, INC.                                         5819 CAPISTRANO AVENUE                                                                                                                                  WOODLAND HILLS       CA      91367
6477043   FAYAK\STEPHANIE RUTH                                      215 NE 61ST STREET                                                                                                                                      OAK ISLAND           NC      28465
6477330   FAYSASH\GREGORY                                           7750 SOLIMAR CIRCLE                                                                                                                                     BOCA RATON           FL      33433
6484275   FCLA, Inc.                                                2301 Castilian Dr.                                                                                                                                      Los Angeles          CA      90068
6481701   FD Property Holding, Inc. dba Fresh Direct, LLC           23-30 Borden Ave.                                                                                                                                       Long Island City     NY      11101
6481711   FDNY Foundation                                           9 Metrotech Ctr. Rm 5E-9                                                                                                                                Brooklyn             NY      11201
6475734   FEARLESS RECORDS                                          16400 PACIFIC COAST HIGHWAY,                                     SUITE # 203                                                                            HUNTINGTON BEACH     CA      92649
6485949   Feat Productions, Inc.                                    11856 Hartsook Street                                                                                                                                   Valley Village       CA      91607
6479445   FEATURE THIS!                                             314 NORTH VICTORY BLVD.                                                                                                                                 BURBANK              CA      91502
6491590   FEDERAL EXPRESS                                           PO BOX 7221                                                                                                                                             PASADENA             CA      91185
6475613   FEDERAL EXPRESS CORPORATION                               3788-0195-8                                                      P. O. BOX 7221                                                                         PASADENA             CA      91109-7321
6479895   FEDERAL INSURANCE CO.                                     ALAN RESNICK                                                     202 HALLS MILL ROAD, PO BOX 1600                                                       WHITEHOUSE STATION   NJ      08889-1600
6486678   Federal Insurance Company                                 251 North Illinois                                               Capital Center                             Suite 1100                                  Indianapolis         IN      46204-1927
6479894   FEDERAL INSURANCE COMPANY                                 ATTN: LEGAL DEPARTMENT                                           15 MOUNTAINVIEW ROAD                                                                   WARREN               NJ      07059
6477293   FEDERAL PROTECTIVE SERVICES                               180 SPRING STREET                                                                                                                                       ATLANTA              GA      30330
6481945   Federal Research                                          1023 15th Street, NW, Suite 401                                                                                                                         Washington           DC      20005
6475614   FEDEX                                                     3984-7593-3                                                      P. O. BOX 7221                                                                         PASADENA             CA      91109-7321
6491742   FEDEX                                                     P.O. BOX# 7221                                                                                                                                          PASADENA             CA      91109-7321
6477937   FEDEX                                                     PO BOX 660481                                                                                                                                           DALLAS               TX      75266-0481
6476393   FEDEX (US)                                                PO BOX 371461                                                                                                                                           PITTSBURGH           PA      15250-7461
6485266   FedEx Freight                                             Dept. LAP.O. Box 21415                                                                                                                                  Pasadena             CA      91185
6479730   FEDEX FREIGHT WEST, INC.                                  6411 GUADALUPE MINES RD                                                                                                                                 SAN JOSE             CA      95120-5000
6482863   FedEx Office and Print Services                           PO Box 672085                                                                                                                                           Dallas               TX      75267
6798001   FEDEX OFFICE AND PRINT SERVICES, INC.                     AIMEE DICICCO                                                    VICE PRESIDENT, SALES                      7900 LEGACY DRIVE                           PLANO                TX      75024
                                                                                                                                     AS ASSIGNEE OF: FEDERAL EXPRESS CORP. ET   ATTN: REVENUE         3965 AIRWAYS BLVD.,
6492113   FEDEX TECHCONNECT, INC./FEDERAL EXPRESS CORP.             FEDEX GROUND PACKAGE SYSTEMS, INC./ET AL.                        AL                                         RECOVERY/BANKRUPTCY   MODULE G, 3RD FLOOR   MEMPHIS              TN      38116
6481564   Fedora Hat Ltd                                            250 Riverside DriveApt. 86B                                                                                                                             New York             NY      10025
6479330   FEENER\ALYSSA                                             22612 CLARENDON STREET                                                                                                                                  WOODLAND HILLS       CA      91367
6483546   Feerst Media                                              1231 S ORLANDO AVE                                                                                                                                      Los Angeles          CA      90035-2513
6471733   FEERST MEDIA                                              1231 S ORLANDO AVE                                                                                                                                      LOS ANGELES          CA      90035
6474293   FEFFER*JASON                                              Address on File
6474879   FEGAN*DANIEL                                              Address on File
6481092   FEI Theatres                                              55 Davis Square                                                                                                                                         Somerville           MA      02144
6474750   FEINSTEIN*JEFF H                                          Address on File
6480449   Feldman, Dana                                             Address on File
6484787   Feldon System LLC                                         10811 Washington Blvd#400                                                                                                                               Culver City          CA      90232




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MMLID     NAME                                              ADDRESS                                         ADDRESS 2                                      ADDRESS 3                      ADDRESS 4                  CITY              STATE   POSTAL CODE COUNTRY
6475923   FELICIANO\HOLVIN                                  CALLE 19, ST. A                                 URB. EL ROSARIO                                                                                          VEGA BAJA         PR      00763
6481409   Felix Andrew                                      41 Greenwich Avenue, #1                                                                                                                                  New York          NY      10014
6486424   Felix Lariviere                                   821 Francois Grave                                                                                                                                       Boucherville      QC      J4B 8L1     CANADA
6476249   FELMLEY\GREG                                      139 ROSSMORE AVE                                                                                                                                         EAST PITTSBURGH   PA      15112
6477151   FENDER TIRE & WHEEL, INC                          2 GILL RD                                                                                                                                                WEAVERVILLE NC    NC      28787
6485213   Fenner Construction Inc.                          511 S. First Ave., Suite 350                                                                                                                             Arcadia           CA      91006
6475473   FENNIDY\JOSEPH                                    1032 MAGNOLIA DR                                APT B                                                                                                    WESTWEGO          LA      70094
6476128   FERENCZ\CELINA                                    546 UNION ST #2                                                                                                                                          BROOKLYN          NY      11215
6480542   Fernandez, Jennifer                               Address on File
6477768   FERNANDEZ\BRANDON                                 3028 DIANE ST                                                                                                                                            MORGAN CITY       LA      70380
6476019   FERNANDEZ\JORGE                                   P.O. BOX 2325                                                                                                                                            GUAYNABO          PR      00970
6477980   FERRELLGAS LP                                     PO BOX 173940                                                                                                                                            DENVER            CO      80217
6480627   Ferrigno, Kaytlin                                 Address on File
6476972   FERRIS\RJ                                         406 W. WEST STREET                                                                                                                                       SOUTHPORT         NC      28461
6476429   FETTERMAN\BEN                                     816 OAK RIDGE RD                                                                                                                                         BRYN MAR          PA      19010
6483365   Feverpitch                                        1801 N. Pommonwerth Ave.                                                                                                                                 Los Angeles       CA      90027
6490332   FHW MUSIC                                         C/O GELFAND, RENNERT, FELDMAN LLC               1880 CENTURY PARK EAST, SUITE 1600                                                                       LOS ANGELES       CA      90067
6479103   FIEGER\GABE MARTIN                                7365 EL TOMASO WAY                                                                                                                                       BUENA PARK        CA      90620
6475065   FIEGER\STEPHANIE JO                               11728 WILSHIRE BLVD                             #B807                                                                                                    LOS ANGELES       CA      90025
6476236   FIELDCREST STEEL CORPORATION                      785 ARCH STREET                                                                                                                                          CARNEGIE          PA      15106
6480624   Fields, Adam                                      Address on File
6685289   Fields, Adam                                      Address on File
6477535   FIELDS\MAYNARD                                    5573 AVERY DR                                                                                                                                            MARRERO           LA      70072
6474840   FIEN*MARCUS LOUIS                                 Address on File
6475574   FIGUEROA\RAMON                                    VIA CAMPINA                                     HACIENDA SAN JOSE                                                                                        CAGUAS            PR      00727
6476068   FIGUEROA\SANDI                                    13 STANTON ST. APT.2A                                                                                                                                    NEW YORK          NY      10002
6484424   Filemaker Inc.                                    File #53588                                                                                                                                              Los Angeles       CA      90074
6797981   FILLMORE WEST ENTERTAINMENT, INC.                 C/O HIRSCH WALLERSTEIN HAYUM MATLOF & FISHMAN   ATTN: BARRY HIRSCH                             10100 SANTA MONICA BOULEVARD   SUITE 1700                 LOS ANGELES       CA      90067      UNITED
6797909   FILM & TV HOUSE LIMITED                           80 MORTIMER STREET                                                                                                                                       LONDON                    W1W 7SD    KINGDOM
                                                                                                                                                                                                                                                          UNITED
6488376   FILM & TV HOUSE LIMITED                           ATTN: GAVIN JAMES                               14 NEWBURGH STREET                             2ND FLOOR                                                 LONDON                    WIF7RT     KINGDOM
                                                                                                                                                                                                                                                          UNITED
6797903   FILM & TV HOUSE LIMITED                           ATTN: GAVIN JAMES                               33 NEWMAN STREET                                                                                         LONDON                    WIT 1PY    KINGDOM
                                                                                                                                                                                                                                                          UNITED
6797910   FILM & TV HOUSE LIMITED                           GAVIN JAMES                                     36-38 WESTBOURNE GROVE                         NEWTON ROAD                                               LONDON                    W2 5SH     KINGDOM
6797972   FILM DISTRICT PICTURES, LLC                       (under Focus Features)                          100 Universal City Plaza Bldg 2160, Suite 7C                                                             Los Angeles       CA      91608
6475647   FILM FLEET OF LOUISIANA LLC                       2008 AIRLINE DRIVE SUITE 300                    PMB127                                                                                                   BOSSIER CITY      LA      71111
6479446   FILM FLIES                                        145 S.GLENOAKS BLVD #435                                                                                                                                 BURBANK           CA      91502
6797975   FILM FRESH INC.                                   6464 SUNSET BLVD.                               SUITE 910                                                                                                LOS ANGELES       CA      90028
6483547   Film Independent - Development Dept               9911 W Pico Blvd, 11th Floor                                                                                                                             Los Angeles       CA      90035
6492634   FILM L.A., INC.                                   ATTN: PAUL AUDLEY, PRESIDENT                    6255 W. SUNSET BLVD., 12TH FLOOR                                                                         LOS ANGELES       CA      90028
6491875   FILM MUSICIANS SECONDARY MARKETS FUND             ATTN: JAMES R. COPE, DIRECTOR                   CONTACT COMPLIANCE                             LEGAL DEPT.                    15910 VENTURA BLVD., 9TH   ENCINO            CA      91436

6479868   FILM MUSICIANS SECONDARY MARKETS FUND             ATTN: LEGAL DEPT.                               15910 VENTURA BLVD., 9TH FLOOR                                                                           ENCINO            CA      91436
6797956   FILM NATION INTERNATIONAL LLC                     150 WEST 22 ST. 9 FLOOR                                                                                                                                  NEW YORK          NY      10011
6484005   Film Payment Services, Inc.                       500 S. Sepulveda Blvd.                                                                                                                                   Los Angeles       CA      90049
6492830   FILM PERMITS UNLIMITED INC                        ATTN: DENISE WHEELER, PRESIDENT                 22025 VENTURE BLVD, #101                                                                                 WOODLAND HILLS    CA      91364
6482773   Film Row LLC                                      1656 Washington                                                                                                                                          Kansas City       MO      64108
6481553   FILM SOCIETY OF LINCOLN CENTER INC, THE           70 Lincoln Center Plaza                                                                                                                                  New York          NY      10023
6475591   FILM SOLUTIONS                                    441 N. VARNEY STREET                            NO. 101                                                                                                  BURBANK           CA      91502
6475693   FILM TEK LLC                                      265-329 EASTCHESTER DR                          STE 133                                                                                                  HIGH POINT        NC      27262
6484829   Film This Production Services, Inc.               214 Main St. #287                                                                                                                                        El Segundo        CA      90245
6477256   FILM TRUCKS LLC                                   1701 WELLFORD STREET                                                                                                                                     MT. PLEASANT      SC      29464
6476882   FILM TRUCKS LLC                                   7201 OYSTER LANE                                                                                                                                         WILMINGTON        NC      28411      UNITED
6797917   FILM&TV HOUSE LIMITED                             33 NEWMAN STREET                                                                                                                                         LONDON                    W1T 1PY    KINGDOM
6481229   FilmAid International, Inc.                       37 West 28th St., 8th Floor                                                                                                                              New York          NY      10001
6481331   FilmAnnex.com                                     20 West 20th St, Suite 1003                                                                                                                              New York          NY      10011
6491343   FILMGEAR INC                                      333 N WESTERN AVE                                                                                                                                        CHICAGO           IL      60612
6489701   FILML.A.INC                                       6255 W SUNSET BLVD,                             12TH FLOOR                                                                                               LOS ANGELES       CA      90028
6484425   Filmmaker Production Services, LLC                File #749076                                                                                                                                             Los Angeles       CA      90074
6475873   FILMMAKER PRODUCTION SRVC CO.                     2731 BROADWAY NE                                SUITE C                                                                                                  ALBUQUERQUE       NM      87107
6797951   FILMNATION INTERNATIONAL, LLC                     AS AGENT FOR 21 AND OVER PRODUCTIONS, LLC       150 WEST 22ND STREET                           9TH FLOOR                                                 NEW YORK          NY      10011
6797949   FILMNATION INTERNATIONAL, LLC                     ATTN: ALISON COHEN                              150 WEST 22ND STREET                           9TH FLOOR                                                 NEW YORK          NY      10011
6492267   FILMNATION INTERNATIONAL, LLC                     C/O AKERMAN LLC                                 ATTN: SUSAN F. BALASCHAK                       666 FIFTH AVENUE, 20TH FLOOR                              NEW YORK          NY      10103
6483108   Filmnext Corporation                              256 S. Grand Ave. Suite 2505                                                                                                                             Los Angeles       CA      90012
6484332   Filmraiser, Inc. fso Jacob Medjuck                847 N. Sweetzer Ave.                                                                                                                                     West Hollywood    CA      90069
6490508   FILMTEKNIK INC -                                  THE LAKE STREET SCREENING ROOM                  70 E LAKE ST SUITE 1604                                                                                  CHICAGO           IL      60601
6479514   FILMTOOLS                                         1400 W. BURBANK BLVD.                                                                                                                                    BURBANK           CA      91506
6485900   Filmtrack Software                                11846 Ventura Blvd. #101                                                                                                                                 Studio City       CA      91604
6492318   FILMTRACK, INC.                                   ATTN: ROBERT SHAW, CFO                          12001 VENTURA PLACE, SUITE 500                                                                           STUDIO CITY       CA      91604
6476838   FILMWERKS INTERNATIONAL                           P.O. BOX 12348                                                                                                                                           WILMINGTON        NC      28405
6483599   Filter Music Media Marketing, LLC                 5810 W. 3rd St.                                                                                                                                          Los Angeles       CA      90036
6797895   FILTER U.S. RECORDINGS                            5908 BARTON                                                                                                                                              LOS ANGELES       CA      90038




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                                                                                                                             Master Mailing List
                                                                                                                            Served First Class Mail

MMLID     NAME                                                       ADDRESS                                           ADDRESS 2                      ADDRESS 3                      ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6475163   FIMUR EHF                                                  LINDARBRAUT 19                                    170                                                                       SELTJARNARESI                        ICELAND
6485343   Final Draft, Inc.                                          26707 W. Agoura Rd., Suite 205                                                                                              Calabasas        CA      91302
6480309   FINANCE DEPARTMENT                                         200 E. SANTA CLARA ST                                                                                                       SAN JOSE         CA      95113
6476720   FINCANNON & ASSOCIATES, INC.                               1560 POINT HARBOR RD.                                                                                                       WILMINGTON       NC      28401
6476721   FINCANNON & ASSOCIATES,INC.                                1560 HARBOR POINT ROAD                                                                                                      WILMINGTON       NC      28401
6474875   FINDER*ZACHARY                                             Address on File
6475913   FINDING FABYOULOUS                                         1515 S PRAIRIE AVE                                UNIT 916                                                                  CHICAGO          IL      60605
6475676   FINDLAY TOWNSHIP                                           1271 ROUTE 30                                     PO BOX W                                                                  CLINTON          PA      15026
6483276   Fine Brothers Properties, Inc.                             c/o Bemel & Ross, LLP11601 Wilshire Blvd. #2150                                                                             Los Angeles      CA      90025
6475836   FINE GOLD MUSIC LLC                                        41 UNION SQUARE WEST                              SUITE 416                                                                 NEW YORK         NY      10003-3233
6485901   Fine Tooth Comb Productions, Inc.                          4122 Tujunga Ave. Apt#102                                                                                                   Studio City      CA      91604
6474817   FINE*STEVEN D                                              Address on File
6484067   FineTune Music, LLC                                        11620 Exposition Blvd                                                                                                       Los Angeles      CA      90064
6478955   FINISH LINE POST                                           211 S. SPALDING # 102 NORTH                                                                                                 BEVERLY HILLS    CA      90212
6479019   FINN\JOHN                                                  21173 HILLSIDE DR.                                                                                                          TOPANGA          CA      90290
6476301   FINNELL\JOHN                                               67 OREGON AVE                                                                                                               PITTSBURGH       PA      15205        THE
6491100   FINTAGE AUDIOVISUAL RIGHTS B.V.                            ATTN: MARCEL HOOGENBERK                           STATIONSWEG 32                                                            LEIDEN                   2312 AV      NETHERLA
6486702   Fintage CAM                                                Terez Krt. 46/3rd Fl                                                                                                        Budapest                 H-1066       Hungary
                                                                                                                                                                                                                                       THE
6797889   FINTAGE COLLECTION ACCOUNT MANAGEMENT B.V.                 ATTN: GENERAL COUNSEL                             STATIONSWEG 32                                                            LEIDEN                   2312 AV      NETHERLA
                                                                                                                                                                                                                                       THE
6491788   FINTAGE COLLECTION ACCOUNT MANAGEMENT B.V.                 ATTN: LARS PLUKKER                                STATIONSWEG 32                                                            LEIDEN                   2312 AV      NETHERLA
                                                                                                                                                                                                                                       THE
6797882   FINTAGE COLLECTION ACCOUNT MANAGEMENT, B.V.                STATIONSWEG 32                                                                                                              AV LEIDEN                2312         NETHERLA
                                                                                                                                                                                                                                       THE
6797885   FINTAGE COLLECTION ACCOUNT MANAGMENT B.V.                  STATIONSWEG 32                                                                                                              AV LEIDEN                2312         NETHERLA
                                                                                                                                                                                                                                       THE
6476448   FINTAGE PUBLISHING B.V.                                    STATIONSWEG 32                                                                                                              LEIDEN                   2312 AV      NETHERLA
                                                                                                                                                                                                                                       THE
6469715   FINTAGE PUBLISHING B.V. - WIRE                             STATIONSWEG 32                                                                                                              LEIDEN                   2312 AV      NETHERLA
                                                                                                                                                                                                                                       The
6481043   Fintage Publishing B.V. - Wire                             Stationsweg 32                                                                                                              Leiden           AV      2312         Netherlands
6475395   FIRE FIGHTER SALES &                                       SERVICE COMPANY                                   791 COMMONWEALTH DRIVE                                                    WARRENDALE       PA      15086
6483277   Firefly Pictures, Inc.                                     c/o RBZ 11766 Wilshire Blvd. 9th Floor                                                                                      Los Angeles      CA      90025
6486730   Fireman’s Fund Insurance Company                           33 W Monroe St #1200                                                                                                        Chicago          IL      60603
6480079   FIREMAN'S FUND INSURANCE COMPANY                           10 UNIVERSAL CITY PLAZA                           SUITE 2800                                                                UNIVERSAL CITY   CA      91608
6479902   FIREMAN'S FUND INSURANCE COMPANY                           ATTN: LEGAL DEPARTMENT                            777 SAN MARIN DRIVE                                                       NOVATO           CA      94998
6797880   FIREMAN'S FUND INSURANCE COMPANY                           c/o Allianz                                       P.O. Box 72045                                                            Richmond         VA      23255
6480072   FIREMAN'S FUND INSURANCE COMPANY                           GENERAL COUNSEL'S OFFICE                          225 W. WASHINGTON STREET       18TH FLOOR                                 CHICAGO          IL      60606
6484518   Firework Shop, Inc., The                                   9560 Wilshire Blvd. #500                                                                                                    Beverly Hills    CA      90210
6476722   FIRST BANK                                                 201 MARKET ST                                                                                                               WILMINGTON       NC      28401
6475326   FIRST BAPTIST CHURCH OF                                    ASHEVILLE                                         5 OAK STREET                                                              ASHEVILLE        NC      28801
6477133   FIRST BAPTIST CHURCH SWANNANOA                             503 PARK AVE.                                                                                                               SWANNANOA        NC      28778
6475338   FIRST BAPTIST MISSIONARY                                   CHURCH                                            520 NORTH FIFTH AVENUE                                                    WILMINGTON       NC      28401
6485232   First Calling Messengers LLC                               10416 Leolang Ave                                                                                                           Sunland          CA      91040
6476207   FIRST CHURCH OF GOD IN CHRIST                              700 TALBOT AVENUE                                                                                                           BRADDOCK         PA      15104
6485659   First Class Talent Agency fso Cynthia Barry                13440 Ventura Blvd., 2nd Floor                                                                                              Sherman Oaks     CA      91423
6478365   FIRST COMMUNITY BANK                                       600 W. SAN MATEO                                                                                                            SANTA FE         NM      87505
6482654   First Insurance Funding Corp.                              PO Box 7000                                                                                                                 Carol Stream     IL      60197
6486676   First Insurance of California Funding (Wintrust Company)   450 Skokie Blvd, Ste 1000                                                                                                   Northbrook       IL      60062-7917
6474964   FIRST J. PRODUCTIONS                                       FSO: JOSHUA MANDEL                                4962 KELVIN AVE                                                           WOODLAND HILLS   CA      91364
6484101   First Light Trading Co, Inc, The                           559 Crane Blvd.                                                                                                             Los Angeles      CA      90065
6468680   FIRST NATIONAL BANK ALASKA                                 BILL KALTSCHNEE                                   201 W 36TH AVE.                                                           ANCHORAGE        AK      99503-0628
6468693   FIRST NATIONAL BANK ALASKA                                 MARIA ROBERTS                                     P.O. BOX 100720                                                           ANCHORAGE        AK      99501
6468681   FIRST NATIONAL BANK ALASKA                                 MICHELE SCHUH                                     201 W 36TH AVE.                                                           ANCHORAGE        AK      99503-0628
6479759   FIRST NATIONAL BANK OF ALASKA                              PO BOX 101925                                                                                                               ANCHORAGE        AK      99510
6475170   FIRST PRESBYTERIAN CHURCH                                  OF HOLLYWOOD                                      1760 N. GOWER STREET                                                      HOLLYWOOD        CA      90028
6486182   First Republic Bank                                        101 Pine Street                                                                                                             San Francisco    CA      94111
6475874   FIRST SECURITY SYSTEMS                                     3600 4TH STREET N.W.                              SUITE C                                                                   ALBUQUERQUE      NM      87107
6484333   First Shot Productions, LLC                                8581 Santa Monica Blvd. #460                                                                                                West Hollywood   CA      90069
6485660   First Showing, LLC                                         13952 Moorpark St. #1                                                                                                       Sherman Oaks     CA      91423
6481949   First Star, Inc.                                           1666 K Street NW, Suite 300                                                                                                 Washington       DC      20006
6479448   FIRST UNITED METHODIST CHURCH                              700 NORTH GLENOAKS BLVD                                                                                                     BURBANK          CA      91502
6478092   FIRSTCALL STUDIO EQUIPMENT IN                              5650 UNIVERSITY BLVD. SE                                                                                                    ALBUQUERQUE      NM      87106
6492189   FIRSTCOM MUSIC                                             ATTN: DANIA DAVIS, ASSOCIATE DIRECTOR/BILLING     & CREDIT                       2110 COLORADO AVE, SUITE 110               SANTA MONICA     CA      90404
6474243   FISCHER*JOHN                                               Address on File
6480730   Fischer, John W                                            Address on File
6477369   FISCHER\SCOTT                                              2302 ARNOLD PALMER BLVD                                                                                                     LOUISVILLE       KY      40245
6483730   Fish Head Productions LLC                                  9348 Civic Center Drive                                                                                                     Los Angeles      CA      90039
6483834   Fishbowl, LLC                                              751 Fairfax Ave.                                                                                                            Los Angeles      CA      90046
6492651   FISHBOWL, LLC                                              ATTN: JAMES W. HALE, OWNER                        751 FAIRFAX AVENUE                                                        LOS ANGELES      CA      90046
6477496   FISHER\BARRY R                                             2501 BLANCHARD DR                                                                                                           CHALMETTE        LA      70043
6478366   FISHER\RAY                                                 2886 G TRADES WEST ROAD                                                                                                     SANTA FE         NM      87505
6476038   FISICHELLA\ROBIN                                           P.O. BOX 71                                                                                                                 BASS HARBOR      ME      04653
6480877   Fitzgerald, Kyle                                           Address on File
6478438   FITZGERALD\DAN                                             84 MONTE ALTO ROAD                                                                                                          SANTA FE         NM      87508
6479470   FITZGIBBONS, JENNY                                         928 N. SAN FERNANDO RD #J629                                                                                                BURBANK          CA      91504




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                                                                                                                                     Master Mailing List
                                                                                                                                    Served First Class Mail

MMLID     NAME                                                           ADDRESS                                               ADDRESS 2                      ADDRESS 3                        ADDRESS 4   CITY                 STATE   POSTAL CODE COUNTRY
6475715   FITZGIBBONS\JENNY                                              928 N. SAN FERNANDO BLVD                              STE J #629                                                                  BURBANK              CA      91504
6480662   Fitzpatrick, Tara                                              Address on File
6476839   FIVE OAKS NURSERY                                              2120 OLD WINTER PARK ROAD                                                                                                         WILMINGTON           NC      28405
6484682   Five Star Information Technologies, Inc.                       121 S. Canon Dr. #301                                                                                                             Beverly Hills        CA      90212
6483366   Five Star Theatres Inc                                         1822 N Vermont Ave                                                                                                                Los Angeles          CA      90027
6483422   Five Star Video/1555 TV                                        1555 Cassil Place                                                                                                                 Los Angeles          CA      90028
6482392   Fizziology, LLC                                                342 E. St. Joseph St.                                                                                                             Indianapolis         IN      46202
6470845   FIZZIOLOGY, LLC                                                6161 HILLSIDE AVE FL 2                                                                                                            INDIANAPOLIS         IN      46220-2597
6797866   FIZZIOLOGY, LLC                                                6161 N. Hillside Ave.                                                                                                             INDIANAPOLIS         IN      46220
6474932   FJ&J CORPORATION                                               6938 SHADYGROVE ST                                                                                                                TULUNGA              CA      91042-1144
6477206   FLACK\JASON                                                    148 LOOKOUT RD.                                                                                                                   ASHEVILLE            NC      28804
6477923   FLAG AND BANNER                                                800 WEST 9TH STREET                                                                                                               LITTLE ROCK          AR      72201
6477741   FLAGSHIP LIMOUSINE LTD.                                        PO BOX 24074                                                                                                                      NEW ORLEANS          LA      70184
6483125   Flagship Theatre Corporation dba University Village 3 Theatr   626 S. Spring St. #604                                                                                                            Los Angeles          CA      90014
6470811   FLAGSTONE AB                                                   GOTABERGSGATAN 2                                                                                                                  GOTEBERG                     41134        SWEDEN
6486514   Flagstone AB                                                   Gotabergsgatan 241134                                                                                                             Goteberg                                  Sweden

6477327   FLAHERTY\BILL                                                  6330 SW 186 WAY                                                                                                                   SOUTH WEST RANCHES   FL      33332
6478183   FLEA MART                                                      5015 LOMAS NE                                                                                                                     ALBUQUERQUE          NM      87110
6475650   FLEET EQUIPMENT INC                                            107 BEENO ROAD                                        PO BOX 110                                                                  DARRAGH              PA      15625
6479115   FLEETWOOD LIMOUSINE LTD                                        5800 HANNUM AVE                                       STE A270                                                                    CULVER CITY          CA      90230-6566
6478965   FLEETWOOD LIMOUSINE, LTD.                                      5839 GREEN VALLEY CIRCLE, SUITE #102                                                                                              CULVER CITY          CA      90230
6478935   FLEISCHER STUDIOS, INC.                                        10160 CIELO DRIVE                                                                                                                 BEVERLY HILLS        CA      90210
6479331   FLEISCHMANN, ROLF P.                                           24101 PHILIPRIMM STREET                                                                                                           WOODLAND HILLS       CA      91367
6477841   FLEMING, SHELDON                                               PO BOX 1318                                                                                                                       PEARL RIVER          LA      70452
6478238   FLEMING\CARRIE                                                 8019 LYNDSI AVENUE NW                                                                                                             ALBUQUERQUE          NM      87120
6477289   FLETCHER\DAVID                                                 1513 WHITCHEAD BLUFF CIRCLE                                                                                                       ATLANTA              GA      30318
6478244   FLETCHER\TYLER                                                 935 BLACKBIRD SW                                                                                                                  ALBUQUERQUE          NM      87121
6485837   Flex Home Theater Installations                                Erik Johnson5811 Satsoma Avenue                                                                                                   North Hollywood      CA      91601
6477673   FLEXION MATERIAL HANDLING                                      1100 EDWARDS AVE SUITE C                                                                                                          HARAHAN              LA      70123
6474655   FLICK*FELICIA                                                  Address on File
6482445   Flint Cultural Center Corporation                              1310 E Kearsley St                                                                                                                Flint                MI      48503
6481754   Floating Camera, LLC                                           403 Ave. C #2B                                                                                                                    Brooklyn             NY      11218
6474918   FLOATING FLOWER PRODUCTIONS, INC.                              FSO: TRICIA WOOD                                      8383 WILSHIRE BLVD             SUITE 1000                                   BEVERLY HILLS        CA      90211
6483926   Floodgate Entertainment                                        c/o Creative Artists Agency2000 Avenue of the Stars                                                                               Los Angeles          CA      90048
6475303   FLOOR COVERING INTERIORS OF                                    NEW MEXICO, INC.                                      4120 CUTLER AVENUE NE                                                       ALBUQUERQUE          NM      87110
6478408   FLOOR MART-SANTA FE                                            2911 CERRILLOS ROAD                                                                                                               SANTA FE             NM      87507
6476775   FLOORS OF WILMINGTON                                           5321 OLEANDER DRIVE                                                                                                               WILMINGTON           NC      28403
6484068   Flora Aura                                                     10918 West Pico Blvd                                                                                                              Los Angeles          CA      90064
6484935   Floral Art                                                     1338 Abbot Kinney Blvd                                                                                                            Venice               CA      90291
6481312   Floren-Shieh Productions, LLC                                  20 W. 22nd St., Suite 415                                                                                                         New York             NY      10010
6475951   FLORES TORRES\FERNANDO                                         76 URB LAKEVIEW EST                                                                                                               CAGUAS               PR      00725-3320
6480719   Flores, David                                                  Address on File
6480561   Flores, Victoria                                               Address on File
6479144   FLORES\ELSA Y                                                  10104 FERNGLEN AVE.                                                                                                               TUJUNGA              CA      91042
6475536   FLORES\ZORYMAR                                                 URB. LOS LIRIOS                                       CALLE ALELI #106                                                            JUNCOS               PR      00777-3912
6479945   FLORIDA AGENCY FOR WORKFORCE INNOVATION                        DIRECTOR                                              THE CALDWELL BUILDING          107 EAST MADISON ST. SUITE 100               TALLAHASSEE          FL      32399
6797869   FLORIN/CREATIVE FILM SVC                                       125 NORTH MAIN STREET                                 STE 201                                                                     PORT CHESTER         NY      10573
6474316   FLORINO III*RICHARD                                            Address on File
6480558   Florino III, Richard J.                                        Address on File
6474865   FLOWERS*RICHMOND M                                             Address on File
6477191   FLUHARTY JR.\WARREN                                            6 FAIRVIEW RD.                                                                                                                    ASHEVILLE            NC      28803
6483835   Flyer Entertainment                                            7119 Sunset Blvd. #456                                                                                                            Los Angeles          CA      90046
6474801   FLYNN*SEAN                                                     Address on File
6476776   FLYNN\CHARLES                                                  5823 MICHELLE DRIVE                                                                                                               WILMINGTON           NC      28403
6797861   FOCUS FEATURES                                                 100 UNIVERSAL CITY PLAZA                                                                                                          UNIVERSAL CITY       CA      91608
6481360   Focus Features International                                   65 Bleecker Street4th Floor                                                                                                       New York             NY      10012
6478528   FOLEY, JENNIFER C.                                             621 N JUNE STREET                                                                                                                 LOS ANGELES          CA      90004
6480727   Fong, Stacey                                                   Address on File
6477875   FONTE\DANIEL M                                                 32771 C.C. RD                                                                                                                     SLIDELL              LA      70460
6478652   FOO\JANEL                                                      826 HYPERION AVENUE APT 4                                                                                                         LOS ANGELES          CA      90029
6491664   FOOD FETISH, INC.                                              10650 BURBANK BOULEVARD                                                                                                           NORTH HOLLYWOOD      CA      91601
6471428   FOODLINK CATERING INC.                                         1105 SOUTH LA BREA AVE.                                                                                                           LOS ANGELES          CA      90019
6483184   Foodlink Catering Inc.                                         1515 S DUNSMUIR AVE                                                                                                               Los Angeles          CA      90019-4033
6491500   FOOL'S GOLD TOURING                                            2623 CANYON DR.                                                                                                                   LOS ANGELES          CA      90068
6475738   FOOTAGE BANK                                                   13470 WASHINGTON BLVD,                                SUITE # 210                                                                 MARINA DEL REY       CA      90292
6486155   Footage Search                                                 243 El Dorado St. Suite 300                                                                                                       Monterey             CA      93940
6479107   FOR STARS CATERING, INC.                                       13124 FIRESTONE BLVD                                                                                                              SANTA FE SPRINGS     CA      90670
6484006   Force Residuals, Inc.                                          500 S. Sepulveda Blvd., 4th Floor                                                                                                 Los Angeles          CA      90049
6477440   FORD\JONATHAN                                                  48 METAIRIE CT                                                                                                                    METAIRIE             LA      70001




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                                                                                                                            Master Mailing List
                                                                                                                           Served First Class Mail

MMLID     NAME                                                    ADDRESS                                            ADDRESS 2                          ADDRESS 3                          ADDRESS 4             CITY              STATE   POSTAL CODE COUNTRY
6477600   FORD\MATTHEW                                            4138 BAUDIN ST                                                                                                                                 NEW ORLEANS       LA      70118       UNITED
6486464   Foresight Music Limited                                 51 Clarkegrove Rd.                                                                                                                             Sheffield                 S10 2NH     KINGDOM
6482365   Forest City Commercial Management                       50 Public Square, 1100 Terminal Tower                                                                                                          Cleveland         OH      44113
6476335   FOREST CITY COMMERCIAL MGMT                             125 WEST STATION SQ DR                                                                                                                         PITTSBURGH        PA      15219
6477192   FOREST DERMATOLOGY PA                                   1119 HENDERSONVILLE RD.STE 200                                                                                                                 ASHEVILLE         NC      28803
6477601   FORET\BRUCE                                             1131 CAMBRONNE ST                                                                                                                              NEW ORLEANS       LA      70118
6478159   FOREVER LAWN NEW MEXICO                                 4500 BOGAN AVE NE                                                                                                                              ALBUQUERQUE       NM      87109
6482093   Forlinger Cinema Services, Inc dba Plaza Theatre        1049 Ponce De Leon Ave. NE                                                                                                                     Atlanta           GA      30306
6477960   FORM CONSULTANTS INC                                    P O BOX 791515                                                                                                                                 SAN ANTONIO       TX      78246-9998
6477963   FORM CONSULTANTS, INC.                                  P.O. BOX 791515                                                                                                                                SAN ANTONIO       TX      78279-1515
6797854   FORMAN PRODUCTIONS, INC.                                3992 Prospect Ave Unit C-2                                                                                                                     Naples            FL      34104
6484069   Forman Productions, Inc.                                c/o LA Rosa Mgmt11835 W. Olympic Blvd.Suite 705E                                                                                               Los Angeles       CA      90064
6487931   FORMAN* THOMAS                                          C/O VENABLE LLP                                    ATTN: JENNIFER L. NASSIRI, ESQ.    2049 CENTURY PARK EAST, SUITE                            LOS ANGELES       CA      90067
6474429   FORMAN*TOM                                              Address on File
6478706   FORMOSA GROUP, LLC                                      1132 NORTH VINE STREET                                                                                                                         HOLLYWOOD         CA      90038
6480325   FORSTH COUNTY TAX COLLECTOR OFFICE                      110 EAST MAIN STREET                                                                                                                           CUMMINGS          GA      30040
6480833   Forston, Greg                                           Address on File
6797856   FORTE PIANO MUSIC                                       159 W Route 4                                                                                                                                  PARAMUS           NJ      07652        HONG
6475173   FORTUNE STAR ENTERTAINMENT                              8TH FLOOR, ONE HARBOURFRONT                        18 TAK FUNG STREET                                                                          HUNGHOM KOWLOON                        KONG
6477655   FORTUNE\PHYLLIS                                         204 WARRINGTON DRIVE                                                                                                                           NEW ORLEANS       LA      70122
6491535   FORWARD ARTISTS, LLC                                    9278 CIVIC CENTER DR.                                                                                                                          BEVERLY HILLS     CA      90210
6484007   Forward Processing CA, Inc.                             500 S. Sepulveda Blvd.4th Floor                                                                                                                Los Angeles       CA      90049
6481021   Foss, Michelle                                          Address on File
6477462   FOSTER\ROBERT                                           6404 MORTON ST                                                                                                                                 METAIRIE          LA      70003
6492715   FOTO KEM INDUSTRIES, INC.                               ATTN: DONNA COTTONE, DIRECTOR OF CORP CREDIT       P.O. BOX 7755                                                                               BURBANK           CA      91510-7755
6485816   Fotokem                                                 PO Box 7755                                                                                                                                    Burbank           CA      91510
6479488   FOTOKEM DIGITAL FILM SERVICES                           2800 W. OLIVE AVENUE                                                                                                                           BURBANK           CA      91505
6479525   FOTO-KEM INDUSTRIES INC                                 P. O. BOX 7755                                                                                                                                 BURBANK           CA      91510-7755
6468841   FOTO-KEM INDUSTRIES, INC.                               ATTN: DEBORAH ZAMISKA                              2801 W. ALAMEDA AVENUE                                                                      BURBANK           CA      91505
6468703   FOUNDATION FOR NATIONAL PROGRESS                        D/B/A 'MOTHER JONES' ('OWNER')                     ATTN: MADELEINE BUCKINGHAM         222 SUTTER STREET                  #600                  SAN FRANCISCO     CA      94108
6486177   Foundation For National Progress dba Mother Jones       222 Sutter St. #600                                                                                                                            San Francisco     CA      94108
6483037   Foundry MediaWorks, Inc.                                101 Convention Center Dr. Suite 700                                                                                                            Las Vegas         NV      89109
6479931   Fountainhead Pictures                                   Address on File
6477172   FOUR POINTS BY SHERATON                                 22 WOODFIN STREET                                                                                                                              ASHEVILLE         NC      28801
6477463   FOUR POINTS BY SHERATON                                 6401 VETERANS BLVD.                                                                                                                            METAIRIE          LA      70003
6483927   Four Seasons Hotel Los Angeles                          300 S Doheny Dr                                                                                                                                Los Angeles       CA      90048
6489465   FOURTH WALL ENTERTAINMENT, INC.                         FSO PAUL TAMASY                                    C/O THE GOTHAM GROUP               9255 SUNSET BLVD, SUITE 515                              WEST HOLLYWOOD    CA      90069
6484334   Fourth Wall Entertainment, Inc. fso Paul Tamasy         9255 Sunset Blvd, Suite 515c/o The Gotham Group                                                                                                West Hollywood    CA      90069
6704589   Fox Broadcasting Company                                Alston & Bird LLP                                  Leib M. Lerner                     333 S. Hope Street, 16th Floor                           Los Angeles       CA      90071
6484102   Fox Broadcasting Company                                Attn: File 52624                                                                                                                               Los Angeles       CA      90065
6492206   FOX BROADCASTING COMPANY                                C/O ALSTON & BIRD LLP                              ATTN: LEIB M. LERNER               333 S. HOPE STREET, 16TH FLOOR                           LOS ANGELES       CA      90071
6491544   FOX BROADCASTING COMPANY                                PO BOX 900                                                                                                                                     BEVERLY HILLS     CA      90213
6475513   FOX ENTERTAINMENT                                       10201 WEST PICO BOULEVARD,                         BLDG. # 2121, ROOM # 6038                                                                   LOS ANGELES       CA      90064
6484191   Fox Rothschild LLP                                      1800 Century Park East, Ste 300                                                                                                                Los Angeles       CA      90067
6469588   FOX SEARCHLIGHT PICTURES, INC.                          ATTN: TAX DEPT.                                    P.O. BOX 900                                                                                BEVERLY HILLS     CA      90213
6484751   Fox Searchlight Pictures, Inc.                          P.O. Box 900Attn: Tax Dept.                                                                                                                    Beverly Hills     CA      90213
6491929   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION KICU                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491930   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION KRIV                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491931   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION KTTV                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491932   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION KTVU                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491933   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION WFLD                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491934   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION WNYW                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491935   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION WPWR                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491936   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION WTTG                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491937   FOX TELEVISION STATIONS, LLC, ON BEHALF OF              ITS TELEVISION STATION WTXF                        C/O FOX TELEVISION STATIONS, LLC   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6492799   FOX TELEVISION, INC. DBA KSAZ TELEVISION                C/O SZABO ASSOCIATES, INC.                         ATTN: SANDI G. HENDERSON, AGENT    3355 LENOX ROAD NE, SUITE 945                            ATLANTA           GA      30326
6492800   FOX TELEVISION, INC. DBA KUTP TELEVISION                C/O SZABO ASSOCIATES, INC.                         ATTN: SANDI G. HENDERSON, AGENT    3355 LENOX ROAD NE., SUITE 945                           ATLANTA           GA      30326
6474317   FOX*STEFANIE                                            Address on File
6480418   Fox, Elizabeth                                          Address on File
6491938   FOX/UTV HOLDINGS, INC., ON BEHALF OF ITS                TELEVISION STATION KMSP                            C/O FOX/UTV HOLDINGS, INC.         ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491939   FOX/UTV HOLDINGS, INC., ON BEHALF OF ITS                TELEVISION STATION KUTP                            C/O FOX/UTV HOLDINGS, INC.         ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6491940   FOX/UTV HOLDINGS, INC., ON BEHALF OF ITS                TELEVISION STATION WFTC                            C/O FOX/UTV HOLDINGS, INC.         ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES       CA      90025
6478635   FOX\RICHARD                                             1547 CASSIL PLACE                                                                                                                              HOLLYWOOD         CA      90028
6479381   FOX\RICHARD L.                                          13343 FRIAR STREET                                                                                                                             VALLEY GLEN       CA      91401
6476208   FOYLE\LAWANDA M                                         1216 KIRKPATRICK AVE                                                                                                                           BRADDOCK          PA      15104
6483278   FP Ventures LLC                                         11150 Santa Monica Blvd.Suite 450                                                                                                              Los Angeles       CA      90025
6482124   FPS Show, LLC, The                                      857 Rue Fluer De Lis                                                                                                                           Lavonia           GA      30553
6481675   FPWorks, LLC                                            275 Harriman Road                                                                                                                              Irvington         NY      10533
6476777   FRAME OUTLET\THE                                        1038 SOUTH KERR                                                                                                                                WILMINGTON        NC      28403
6484788   Framework Studio LLC                                    3535 Hayden Ave                                                                                                                                Culver City       CA      90232




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                                                                                                                             Master Mailing List
                                                                                                                            Served First Class Mail

MMLID     NAME                                                  ADDRESS                                               ADDRESS 2                       ADDRESS 3                          ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6476778   FRANCE FILMS                                          5413 CLEAR RUN DR                                                                                                                    WILMINGTON         NC      28403
6476779   FRANCE\JOHN                                           5413 CLEAR RUN DR                                                                                                                    WILMINGTON         NC      28403
6491693   FRANCHISE TAX BOARD                                   P. O. BOX 942857                                                                                                                     SACRAMENTO         CA      94257
6485435   Francine L. Valdivia                                  27536 Eveningshade Ave.                                                                                                              Canyon Country     CA      91351
6481676   Francine Picudella                                    275 Harriman Road                                                                                                                    Irvington          NY      10533
6481677   Francine Picudella (expenses)                         275 Harriman Road                                                                                                                    Irvington          NY      10533
6478884   FRANCIS\JESSIE                                        1230 HORN AVE. #516                                                                                                                  WEST HOLLYWOOD     CA      90069
6483025   Francisca Vega                                        P.O. Box 536                                                                                                                         Arroyo Seco        NM      87514
6482554   Francisco Mejia                                       c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                                   Northbrook         IL      60062
6483836   Frank Ellison                                         1716 N. Gardner Street                                                                                                               Los Angeles        CA      90046
6484683   Frank Ewen Flowers Jr                                 269 South Beverly Dr., #116                                                                                                          Beverly Hills      CA      90212
6486146   Frank F. Banyai                                       6050 Suellen Ct                                                                                                                      Goleta             CA      93117
6482302   Frank Liddell Productions, Inc.                       c/o Haber Corporation1920 Adelicia St. Suite 300                                                                                     Nashville          TN      37212
6475468   FRANK MCGOUGH, LLC                                    1016 BAILES RIDGE AVE.                                APT 6-201                                                                      FORT MILL          SC      29707
6481610   Frank PR, Inc.                                        15 Maiden Lane, Suite 608                                                                                                            New York           NY      10038
6484936   Frank Reps                                            1608 Pacific Ave. Suite #206                                                                                                         Venice             CA      90291
6481756   Frank Robert Haines                                   180 Norman Ave. #3L                                                                                                                  Brooklyn           NY      11222
6474754   FRANK*DANIEL W                                        Address on File
6480792   Frank, Adam                                           Address on File
6478520   FRANK\BILLY ''BUTCH''                                 HC31 207                                                                                                                             WILLIAMSBURG       NM      87942
6476883   FRANKIES BOYS INC-STATION 21                          7914 CUMBERLAND PLACE                                                                                                                WILMINGTON         NC      28411
6477107   FRANKLIN CEMETERY ASSOCIATION                         61 EAST MAIN STREET                                                                                                                  FRANKLIN           NC      28734
6468660   FRANKLIN CHURCH OF GOD                                P.O. BOX 717                                                                                                                         FRANKLIN           NC      28744
6475796   FRANKLIN DOCK ENTERPRISES, LLC                        350 NORTH FRANKLIN STREET                             SUITE 2                                                                        JUNEAU             AK      99801
6476655   FRANKLIN SIGNS AND GRAPHICS                           105 HENDERSON ST                                                                                                                     LOWELL             NC      28098
6482205   Franklin Templeton Investments Inc                    100 Fountain Parkway                                                                                                                 Saint Petersburg   FL      33716
6481611   Frankly Speaking, LLC                                 15 Maiden Lane, Suite 608                                                                                                            New York           NY      10038
6484520   Fraudville Films                                      c/o Endeavor Agency9601 Wilshire Blvd. 3rd Floor                                                                                     Beverly Hills      CA      90210
6483486   Freak Franco Designs                                  912 Hyperion Ave.                                                                                                                    Los Angeles        CA      90029
6475914   FREAKSHOW HD, LLC                                     6934 TUJUNGA AVENUE                                   UNIT A                                                                         NORTH HOLLYWOOD    CA      91605
6477880   FRECHETTE\JUSTIN THOMAS                               229 N MILITARY RD                                                                                                                    SLIDELL            LA      70461
6477602   FRECHETTE\RANDY                                       8319 OAK ST                                                                                                                          NEW ORLEANS        LA      70118
6491365   FREDDIE ROSS, JR. DBA QUEEN DIVA MUSIC, LLC           6045 WARRINGTON DR.                                                                                                                  NEW ORLEANS        LA      70112
6484763   Frederic M. Cassidy                                   12217 Culver Dr.                                                                                                                     Culver City        CA      90230
6483837   Frederick Imbert                                      8383 Utica Drive                                                                                                                     Los Angeles        CA      90046
6483928   Fredrik Carl Lidskog                                  8250 Blackburn Ave. #5                                                                                                               Los Angeles        CA      90048
6477473   FRED'S BUS SERVICE                                    700 ORION AVE                                                                                                                        METAIRIE           LA      70005
6478439   FREE\CHARLES SMALL BEAR                               12 PASILLO CHICO                                                                                                                     SANTA FE           NM      87508
6484008   FreeCar Media dba TrashTalkFCM                        11990 San Vicente Blvd. Suite 350                                                                                                    Los Angeles        CA      90049
6483279   Freedman Sports Public Relations                      1833 Comstock Ave.                                                                                                                   Los Angeles        CA      90025
6480820   Freedman, Alexander                                   Address on File
6481101   Freedom of Mind Resource Center, Inc.                 716 Beacon St. #590443                                                                                                               Newton             MA      02459
6477087   FREELAND STUDIOS, INC.                                58 GREAT ASPEN WAY                                                                                                                   BLACK MOUNTAIN     NC      28711
6480671   Freeling, Zachary                                     Address on File
6482858   Freeman Decorating Services Inc                       PO Box 650036                                                                                                                        Dallas             TX      75265
6480826   Freeman, Noelle                                       Address on File
6486723   Freeway Entertainment Kft                             Andrassy ut 12                                                                                                                       Budapest                   H-1061       Hungary
6797814   FREEWAY ENTERTAINMENT KFT.                            ANDRASSY UT 12                                                                                                                       BUDAPEST                   1061         HUNGARY
6797806   FREEWAY ENTERTAINMENT KFT.                            ATTN: CECILE HUBERTS                                  ANDRASSY UT 12.                                                                BUDAPEST                   1061         HUNGARY
6487869   FREEWAY ENTERTAINMENT, KFT                            C/O LEVENE NEALE BENDER YOO & BRILL, L.L.P.           ATTN: J.P. FRITZ, ESQ.          10250 CONSTELLATION BLVD., SUITE               LOS ANGELES        CA      90067
6484521   Freida Pinto                                          9171 Wilshire Blvd. Suite 300                                                                                                        Beverly Hills      CA      90210
6477505   FREITAS JR\PAULO E                                    401 LAFAYETTE ST                                                                                                                     GRETNA             LA      70053
6477981   FREMONT INDUSTRIAL SUPPLY                             P.O. BOX 267                                                                                                                         FLORENCE           CO      81226
6478778   FRENCH, LEIGH L.                                      1850 NORTH VISTA STREET                                                                                                              LOS ANGELES        CA      90046
6468983   FRENCH/WEST/VAUGHAN                                   ATTN: RICK FRENCH                                     112 E. HARGETT STREET                                                          RALEIGH            NC      27601
6477455   FRENCH\CHARLES E                                      4712 LAKEWOOD DR                                                                                                                     METAIRIE           LA      70002
6478779   FRENCH-MYERSON, DARCY                                 1850 N. VISTA STREET                                                                                                                 LOS ANGELES        CA      90046
6477803   FRENCHY'S CATERING LLC                                20339 HWY 36                                                                                                                         COVINGTON          LA      70433
6479623   FRENDS                                                5270 LAUREL CANYON BLVD                                                                                                              VALLEY VILLAGE     CA      91607
6479624   FRENDS BEAUTY SUPPLY, INC.                            5270 LAUREL CANYON BLVD.                                                                                                             NORTH HOLLYWOOD    CA      91607
6475308   FRESH AND CLEAN PORTABLE                              RESTROOMS, INC.                                       4202 BROADWAY BLVD., SE                                                        ALBUQUERQUE        NM      87105
6475778   FRESHCOAT PAINTERS OF GREENSBORO                      2618-A BATTLEGROUND AVE.                              SUITE 104                                                                      GREENSBORO         NC      27408
6478212   FRESMAN\BRAD                                          12513 APACHE PL. NE                                                                                                                  ALBUQUERQUE        NM      87112
6484335   Friedman Personnel Agency                             9000 Sunset Blvd., Suite 705                                                                                                         West Hollywood     CA      90069
6471511   FRIEDMAN*JORDAN                                       11950 IDAHO AVE APT 222                                                                                                              LOS ANGELES        CA      90025-5797
6474208   FRIEDMAN*JORDAN                                       Address on File
6479645   FRIEDMAN\GUY                                          2095 ALAMO DRIVE                                                                                                                     MONTEREY PARK      CA      91754
6484789   Frieman Group, Inc                                    P.O Box 1363                                                                                                                         Culver City        CA      90232
6476923   FRIENDS OF FORT FISHER                                1610 FORT FISHER BLVD. SOUTH                                                                                                         KURE BEACH         NC      28449
6475256   FRIENDS OF RACCOON CREEK                              STATE PARK                                            3006 STATE ROUTE 18                                                            HOOKSTOWN          PA      15050




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MMLID     NAME                                                       ADDRESS                                                    ADDRESS 2                            ADDRESS 3                        ADDRESS 4   CITY              STATE    POSTAL CODE COUNTRY
6480539   Friscia, Ryan                                              Address on File
6795722   Friske, Tammy & Bruno                                      99 Woodvalley Drive                                                                                                                          Fayetteville      GA       30215-4848
6477769   FROMENTHAL\DUSTIN                                          3005 CATHERINE ST                                                                                                                            MORGAN CITY       LA       70380
6475265   FROSTY KNICKERS CLOTHING                                   MANUFACTURE, LLC.                                          324 MARINA VIEW DRIVE                                                             SOUTHPORT         NC       28461
6478466   FRYE\COLLEEN                                               P.O. BOX 3859                                                                                                                                ESPANOLA          NM       87533
6476973   FRYING PAN                                                 107 N. ATLANTIC AVENUE                                                                                                                       SOUTHPORT         NC       28461
6480150   FSP III RELATIVITY HOLDINGS, INC.                          ATTN: RAFAEL FOGEL                                         600 LEXINGTON AVE., 35TH FLOOR                                                    NEW YORK          NY       10022
6480137   FSP III RELATIVITY HOLDINGS, INC.                          ATTN: MATTHEW HURLEY, CFO                                  21 CUSTOM HOUSE STREET, 10TH FLOOR                                                BOSTON            MA       02110
6480138   FSP III RELATIVITY HOLDINGS, INC.                          ATTN: WILLIAM J. KENNEDY, JR.                              21 CUSTOM HOUSE STREET, 10TH FLOOR                                                BOSTON            MA       02110
6481385   FT Publications, Inc.                                      330 Hudson St. 8th Floor                                                                                                                     New York          NY       10013
6486698   FTI Consulting, Inc.                                       1840 Century Park East                                     Ste 400                                                                           Los Angeles       CA       90067
6473219   FTS COURIER, INC.                                          1534 N. MOORPARK RD. #274                                                                                                                    THOUSAND OAKS     CA       91360-5129
6485470   FTS Courier, Inc.                                          1534 N. Moorpark Rd.#274                                                                                                                     Thousand Oaks     CA       91360
6475544   FUENTES\CARMEN                                             URB. EL PARAISO                                            CALLE RHIN 1519 SE                                                                SAN JUAN          PR       00926
6484684   Fulfillment Fund                                           c/o Levy, Pazanti & Assoc.9701 Wilshire Blvd., Ste. 1000                                                                                     Beverly Hills     CA       90212
6491601   FULL THROTTLE FILMS, INC.                                  912 RUBERTA AVENUE                                                                                                                           GLENDALE          CA       91201
6485290   Full Throttle Films, Inc. dba Video Equipment Rentals      912 Ruberta Avenue                                                                                                                           Glendale          CA       91201
6484126   FullCourtPress, LLC                                        3101 Colby Ave.                                                                                                                              Los Angeles       CA       90066
6480953   Fullmer, Allison                                           Address on File
6478801   FUNCTIONS                                                  8601 BEVERLY BLVD.                                                                                                                           LOS ANGELES       CA       90048
6478802   FUNDING > APG PR, LLC                                      8899 BEVERLY BLVD                                                                                                                            WEST HOLLYWOOD    CA       90048
6475058   FUNK, JOHN                                                 866 WESTMOUNT DR APT 209                                                                                                                     W HOLLYWOOD       NC       90069-4638
6478309   FUNK\ROBERT R.                                             343 EAST PALACE AVENUE                                                                                                                       SANTA FE          NM       87501
6479026   FUNSTEN\MARY                                               819 SUPERBA AVE.                                                                                                                             VENICE            CA       90291
6475456   FURMAN, HOLLY VICTORIA                                     1300 W 7TH AVE                                             APT 204                                                                           ANCHORAGE         AK       99501
6475826   FURNISHED QUARTERS LLC                                     501 KINGS HWY EAST                                         SUITE 303                                                                         FAIRFIELD         CT       06825
6476616   FURNISHINGS 411, LLC                                       668 W WARD AVE                                                                                                                               HIGH POINT        NC       27455
6478113   FURNITURE ON CONSIGNMENT                                   701 CANDELARIA NE                                                                                                                            ALBUQUERQUE       NM       87107
6481009   Furumoto, Curtis                                           Address on File                                                                                                                                                                      UNITED
6486397   Future Games of London, Ltd.                               Exmouth House 3-11 Pine St.                                                                                                                  London                     EC1R 0LP     KINGDOM
                                                                                                                                                                                                                                    HERTFORD              UNITED
6800635   FUTURESOURCE CONSULTING LTD                                4 BEACONSFIELD ROAD                                                                                                                          ST ALBANS         SHIRE    AL1 3RD      KINGDOM
                                                                                                                                                                                                                                                          UNITED
6486434   Futuresource Consulting, Ltd.                              200-204 High Street                                                                                                                          South Dunstable            LU6 3HS      KINGDOM
                                                                                                                                                                                                                                                          UNITED
6492604   FUTURESOURCE CONSULTING, LTD.                              ATTN: ANDREW SNOAD, DIRECTOR                               45, GROSVENOR ROAD                                                                ST. ALBANS        Herts    AL1 3AW      KINGDOM
6492209   FX NETWORKS LLC                                            C/O ALSTON & BIRD LLP                                      ATTN: LEIB M. LERNER                 333 S. HOPE STREET, 16TH FLOOR               LOS ANGELES       CA       90071
6475341   G. DEGRAW MUSIC, INC.                                      C/O CITRIN COOPERMAN                                       529 FIFTH AVENUE                                                                  NEW YORK CITY     NY       10017
6481454   G. Degraw Music, Inc.                                      c/o Citrin Cooperman529 Fifth Ave.                                                                                                           New York          NY       10017
6485838   G2 Graphic Service                                         5510 Cleon Ave.                                                                                                                              North Hollywood   CA       91601
6797803   G4 MEDIA, LLC                                              NBC Universal                                              G4 Media LLC                         5750 Wilshire Blvd                           Los Angeles       CA       90036
6480720   Gabal, Peter                                               Address on File
6485902   Gabriel / Declan, Inc.                                     3627 Woodhill Canyon Rd.                                                                                                                     Studio City       CA       91604
6485940   Gabriel Quinterro                                          6140 Whitsett AvenueApt 4                                                                                                                    North Hollywood   CA       91606
6484127   Gabrielle Donnelly                                         12511 Caswell Ave.                                                                                                                           Los Angeles       CA       90066
6479550   GABRIELLI, ELISA                                           4537 KRAFT AVE.                                                                                                                              STUDIO CITY       CA       91602
6477464   GADEA\CLINSTON                                             3916 BISSONET DR                                                                                                                             METAIRIE          LA       70003
6474746   GAFFIELD*JILLIAN                                           Address on File
6478761   GAFFNEY\MAIREAD M.                                         5844 W. 75TH STREET                                                                                                                          LOS ANGELES       CA       90045
6471513   GAIL CATHERINE HEANEY                                      1733 BROCKTON AVE. #3                                                                                                                        LOS ANGELES       CA       90025
6481173   Gail Fitzgibbons                                           251 Summit Ave                                                                                                                               Hackensack        NJ       07601
6480557   Gaines, Ebersole                                           Address on File
6474762   GALANO*JULIAN D                                            Address on File
6480954   Galano, Camela                                             Address on File
6480863   Galano, Laurette                                           Address on File
6476353   GALARDI'S CLEANERS                                         119 FORBES AVENUE                                                                                                                            PITTSBUGH         PA       15222
6492216   GALAVISION                                                 C/O SZABO ASSOCIATES, INC.                                 ATTN: SANDI G. HENDERSON, AGENT      3355 LENOX ROAD NE., SUITE 945               ATLANTA           GA       30326
6797786   GALAXY STUDIO JSC                                          MS. DINH THANH HUONG                                       16B NGO VAN SO STREET                HOAN KIEM DISTRICT                           HANOI                                   VIETNAM
6485584   Galaxy Theatres, LLC                                       15060 Ventura Blvd#350                                                                                                                       Sherman Oaks      CA       91403
6475032   GALITZ, WHITNEY                                            4221 LOS FELIZ BLVD                                        #21                                                                               LOS ANGELES       CA       90027
6477738   GALLAGHER, PATRICK                                         PO BOX 792582                                                                                                                                NEW ORLEANS       LA       70179
6483423   Gallantyne Pictures, Inc.                                  c/o Brand Rose Agency6671 Sunset Blvd. #1584B                                                                                                Los Angeles       CA       90028
6476532   GALLARDO'S                                                 11 THE BOULEVARD                                                                                                                             EDEN              NC       27288
6477656   GALLE III\LAWRENCE                                         6218 EADS ST                                                                                                                                 NEW ORLEANS       LA       70122
6478507   GALLEGOS\CHRIS                                             511 6TH STREET                                                                                                                               LAS VEGAS         NM       87701
6482765   Galleria 6 Cinemas, LLC                                    30 Saint Louis Galleria                                                                                                                      Saint Louis       MO       63117
6476780   GALLERY OF ORIENTAL RUGS                                   4101 OLEANDER DR.                                                                                                                            WILMINGTON        NC       28403
6483145   Gallery Service                                            5200 Jefferson Blvd.                                                                                                                         Los Angeles       CA       90016
6478310   GALLI\JANE                                                 100 DEL RIO DR                                                                                                                               SANTA FE          NM       87501
6476781   GALLICHET\PHILIPPE                                         701 WOODLAND FORT CT                                                                                                                         WILMINGTON        NC       28403
6475171   GALPIN MOTORS, INC.                                        DBA GALPIN STUDIO RENTALS                                  1763 N. IVAR AVENUE                                                               HOLLYWOOD         CA       90028
6478636   GALPIN STUDIO RENTALS                                      1763 N IVAR AVE.                                                                                                                             HOLLYWOOD         CA       90028




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MMLID     NAME                                                   ADDRESS                                             ADDRESS 2                       ADDRESS 3          ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6482284   Galt Line Music Inc. fso Marshall Altman               520 E Iris Dr.                                                                                                     Nashville           TN      37204
6491314   GALT LINE MUSIC, INC.                                  P.O. BOX 128287                                                                                                    NASHVILLE           TN      37212
6479027   GALVIN CINEMATOGRAPHY                                  2314 STRONGS DRIVE                                                                                                 VENICE              CA      90291
6479028   GALVIN, BRENDAN                                        2314 STRONGS DRIVE                                                                                                 VENICE              CA      90291
6477737   GALVIN\CHRISTIAN                                       P O BOX 750489                                                                                                     NEW ORLEANS         LA      70175
6468835   GANG, TYRE, RAMER & BROWN, INC.                        ATTN: TARA S. KOLE                                  132 SOUTH RODEO DRIVE                                          BEVERLY HILLS       CA      90212
6492837   GANO, INC                                              ATTN: CINDY GANOE, PRESIDENT                        3715 NORTHCREST RD., SUITE 16                                  ATLANTA             GA      30340
6479427   GANZ\SCOTT ROBERT                                      4231 STERN AVE                                                                                                     SHERMAN OAKS        CA      91423
6797788   GARALD MCRANEY                                         MUCH AND HOUSE PUBLIC RELATIONS                     11022 Santa Monica Blvd. #350                                  LOS ANGELES         CA      90025
6475678   GARCIA HERNANDEZ\ANGEL                                 PO BOX 4223                                         PUERTO REAL                                                    FAJARDO             PR      00740
6475940   GARCIA MERCADO\ELVIS IVAN                              P.O. BOX 97                                                                                                        NAGUABO             PR      00718
6474152   GARCIA*YASMINE                                         Address on File
6491241   GARCIA/WILMINGTON ELIEL                                Address on File
6479598   GARCIA\DAVID                                           7721 MELITA AVENUE                                                                                                 NORTH HOLLYWOOD     CA      91605
6479176   GARCIA\ERIKA                                           1545 E GLENOAKS BLVD                                                                                               GLENDALE            CA      91206
6475489   GARCIA\EVELYN                                          COND. SKY TOWER III                                 APT. 11-F                                                      SAN JUAN            PR      00926
6478497   GARCIA\LUIS R.                                         PO BOX 1060                                                                                                        SANTA CRUZ          NM      87567
6475763   GARCIA\MARIO                                           150 S. GLENOAKS BOULEVARD,                          SUITE # 9207                                                   BURBANK             CA      91502
6475577   GARCIA\MARLA                                           CALLE ORION FL 15                                   IRLANDA HEIGHTS                                                BAYAMON             PR      00956
6475531   GARCIA\WANDA                                           URB LA PROVIDENCIA 2C28                             CALLE 14                                                       TOA ALTA            PR      00953
6478046   GARCIA'S TENTS & EVENTS                                303 ARVADA NW                                                                                                      ALBUQUERQUE         NM      87102
6483424   Gardner Gould                                          6520 De Longpre Ave. #220                                                                                          Los Angeles         CA      90028
6477277   GARDNER, JEFF                                          921 SUGAR CREEK DR                                                                                                 CONYERS             GA      30094
6481000   Gardner, Ryan                                          Address on File
6480937   Garelik, Matthew                                       Address on File
6482555   Gareth Morgan                                          c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                  Northbrook          IL      60062
6469261   GARETH MORGAN                                          C/O SFX BASEBALL GROUP                              400 SKOKIE BLVD. SUITE 280                                     NORTHBROOK          IL      60062
6477978   GARFIELD, SCOTT                                        3031 E. 8TH AVE                                                                                                    DENVER              CO      80206
6478780   GARGI PRODUCTIONS INC                                  751 N. SPAULDING AVE.                                                                                              WEST HOLLYWOOD      CA      90046
6483838   Gargi Productions, Inc.                                751 N. Spaulding Ave.                                                                                              Los Angeles         CA      90046
6474318   GARGOTTA*THOMAS                                        Address on File
6477040   GARLAND'S FRESH SEAFOOD, INC.                          3191 GAL-VAR RD SW                                                                                                 SUPPLY              NC      28462
6477714   GARRETT III\HILTON C                                   1621 FIRST ST                                                                                                      NEW ORLEANS         LA      70130
6482556   Garrett Jones                                          c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                   Northbrook          IL      60062
6491670   GARRETT WHOOSH, LLC                                    4233 FARMDALE AVE.                                                                                                 STUDIO CITY         CA      91604
6477842   GARROTT\SUE                                            64274 NELSON RD                                                                                                    PEARL RIVER         LA      70452
6477992   GARTNER, ANDREW                                        2019 E FLYNN LANE                                                                                                  PHOENIX             AZ      85016
6479005   GARVER\LLOYD C.                                        712 N. TOYOPA DR                                                                                                   PACIFIC PALISADES   CA      90272
6485556   Gary M. Stevenson                                      5910 Murietta Ave. Unit C                                                                                          Van Nuys            CA      91401
6483061   Gary Mantoosh                                          515 N. Windsor Blvd.                                                                                               Los Angeles         CA      90004
6486321   Gary Raksis                                            123 NW 12th Ave. Apt #1626                                                                                         Portland            OR      97209
6482557   Gary Sanchez                                           c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                   Northbrook          IL      60062
6486000   Gas Company, The                                       PO Box C                                                                                                           Monterey Park       CA      91756
6477821   GAS PROPERTIES, LLC                                    1051 RONALD REAGAN HIGHWAY                                                                                         COVINGTON           LA      70435
6477657   GASLIGHT FX LLC                                        4441 SPAIN ST                                                                                                      NEW ORLEANS         LA      70122
6481011   Gasparich, Matthew                                     Address on File
6484685   Gate 34 Productions, Inc.                              c/o William Morris Agency151 El Camino Drive                                                                       Beverly Hills       CA      90212
6482212   Gates of Brandenton                                    4515 26th St. W                                                                                                    Bradenton           FL      34207
6476442   GATES, JAMES I.                                        723 RESERVOIR ST.                                                                                                  BALTIMORE           MD      21217
6481117   Gateway Mastering Studios Inc.                         428 Cumberland Avenue                                                                                              Portland            ME      04101
6487893   GATEWAY THEATER, LLC                                   DBA THE GATEWAY FILM CENTER                         ATTN: ABBY SKOWRONEK            1550 N. HIGH ST.               COLUMBUS            OH      43201
6482354   Gateway Theater, LLC dba The Gateway Film Center       1550 N. High St.                                                                                                   Columbus            OH      43201
6482170   Gateway Theatre, LLC                                   1820 E. Sunrise Blvd.                                                                                              Fort Lauderdale     FL      33304
6492366   GATEWAY THEATRE, LLC                                   ATTN: GEORGE KASPRISKE, GENERAL MANAGER             1820 E. SUNRISE BLVD.                                          FORT LAUDERDALE     FL      33304
6480838   Gaulding, Shannon                                      Address on File
6485904   Gavin de Becker and Associates                         11684 Ventura Blvd                                                                                                 Studio City         CA      91604
6478311   GAWRON\LYN                                             1270 VALLECITA DR                                                                                                  SANTA FE            NM      87501
6476399   GAYDOS MONUMENT CO                                     407 OAK SPRING ROAD                                                                                                CANONSBURG          PA      15317
6485450   Gazoozle, Inc.                                         Attn: J.J. List28721 Industry Dr.                                                                                  Valencia            CA      91355
6477916   GBUR\JOSEPH                                            905 DALZELL ST                                                                                                     SHREVEPORT          LA      71104
6492823   GDC DIGITAL CINEMA NETWORK (USA), LLC                  ATTN: KEN HWANG, ASSOCIATE GENERAL COUNSEL          1016 - 1020 W. MAGNOLIA BLVD.                                  BURBANK             CA      91506
6485805   GDC Digital Cinema Network USA                         1016 West Magnolia Blvd.Attn: Jason Shin                                                                           Burbank             CA      91506
6468961   GDC DIGITAL CINEMA NETWORK USA                         ATTN: JASON SHIN                                    1016 WEST MAGNOLIA BLVD.                                       BURBANK             CA      91506
6491634   GDI INFORMATION TECHNOLOGY CONSULTING                  6917 WOODLEY AVE.                                                                                                  VAN NUYS            CA      91406
6485261   GE Capital                                             PO Box 31001-0273                                                                                                  Pasadena            CA      91110
6479489   GEARE\BRANDI                                           835 NORTH CATALINA STREET                                                                                          BURBANK             CA      91505
6478863   GEARE\TAYLOR GRACE                                     1875 CENTURY PARK EAST                                                                                             LOS ANGELES         CA      90067
6480608   Geerdink, Frederik                                     Address on File
6482387   Geiger Bros dba Geiger                                 PO Box 712144                                                                                                      Cincinnati          OH      45271
6483425   Geiger Post, Inc                                       5815 W.Sunset Blvd., Suite 101                                                                                     Los Angeles         CA      90028




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                                                                                                                                   Served First Class Mail

MMLID     NAME                                                           ADDRESS                                             ADDRESS 2                         ADDRESS 3                    ADDRESS 4                 CITY                  STATE   POSTAL CODE   COUNTRY
6491424   GEIGER POST, INC.                                              5815 SUNSET BLVD., SUITE 101                                                                                                                 LOS ANGELES           CA      90028
6481741   Geissbuhler Associates, LLC fso Christopher Luke Geissbuhler   288 5th Ave. #1R                                                                                                                             Brooklyn              NY      11215
6475808   GEIST\JACK                                                     2017 LOMITA BLVD.                                   SUITE 2062                                                                               LOMITA                CA      90717
6478661   GELERT\LINN                                                    326 E AVENUE 33                                                                                                                              LA                    CA      90031
6475011   GELLER\JOSEPH                                                  1225 NORTH MANSFIELD AVENUE                         #8                                                                                       LOS ANGELES           CA      90038
6797780   GEM ENTERAINMENT KFT                                           TEREZ KRT. 46                                                                                                                                BUDAPEST                      1066          HUNGARY
6797781   GEM ENTERTAINMENT KFT                                          3RD FLOOR TEREZ KRT. 46                                                                                                                      BUDAPEST                      1066          HUNGARY
6797777   GEM ENTERTAINMENT KFT                                          ATTN: SAID BOUDARGA                                 TEREZ KFT 46                      3RD FLOOR                                              BUDAPEST                      H-1066        HUNGARY
6797758   GEM ENTERTAINMENT KFT                                          TER`EZ KRT 46                                                                                                                                BUDAPEST                      1066          HUNGARY
6797761   GEM ENTERTAINMENT KFT                                          TEREZ KRT.                                          43/3RD FLOOR                                                                             BUDAPEST                      H-1066        HUNGARY
6797759   GEM ENTERTAINMENT KFT                                          TEREZ KRT. 43/3RD FLOOR                             43/3RD FLOOR                                                                             BUDAPEST                      H-1066        HUNGARY
6797701   GEM ENTERTAINMENT KFT                                          TEREZ KRT. 46,                                                                                                                               BUDAPEST                      H-1066        HUNGARY
6490007   GEM ENTERTAINMENT KFT.                                         (FKA FINTAGE MAGYAR KFT.)                           ATTN:SAID BOUDARGA                TEREZ KRT. 46/3RD FLOOR                                BUDAPEST                      1066          HUNGARY
6797775   GEM ENTERTAINMENT KFT.                                         ATTN: GENERAL COUNSEL                               TERÉZ KRT. 46,                                                                           BUDAPEST                      1066          HUNGARY
6797766   GEM ENTERTAINMENT KFT.                                         SAID BOUDARGA                                       TEREZ KRT. 46                                                                            BUDAPEST                      H-1066        HUNGARY
6797753   GEM ENTERTAINMENT KFT.                                         TEREZKRT. 46/3RD FLOOR                                                                                                                       BUDAPEST                      H-1066        HUNGARY
6797690   GEM ENTERTAINMENT, KFT                                         TEREZ KRT.                                          46 H=1066                                                                                BUDAPEST                      H-1066        HUNGARY
6476470   GEM-DANDY ACCESSORIES                                          200 WEST ACADEMY ST.                                                                                                                         MADISON               NC      27025
6485239   Gemma Debra LaMana                                             2239 Paloma Street                                                                                                                           Pasadena              CA      91104
6479793   GENCO MARINE LIMITED                                           350 QUEEN'S QUAY WEST, UNIT 108                                                                                                              ONTARIO               ON      M5V-3A7       CANADA
6491743   GENERAL AMERICAN GROUP, INC                                    PO BOX 10266                                                                                                                                 CANOGA PARK           CA      91309-1266
6486306   General Fund of the State of Hawaii                            P.O. Box 616                                                                                                                                 Honolulu              HI      96809
6475684   GENERAL SERVICES ADMIN.                                        819 TAYLOR STREET                                   ROOM 5B13                                                                                FORT WORTH            TX      76102
6479883   GENERAL STAR NATIONAL INSURANCE CO.                            C/O JAMES KLEIN INSURANCE SERVICES, INC.            PAM DAVIS                         200 EAST SANDPOINTE AVENUE   SUITE 310                 SANTA ANA             CA      92707
6486726   General Star National Insurance Company                        120 Long Ridge Road                                                                                                                          Stamford              CT      06902
6479017   GENERAL VENEER MANUFACTURING                                   8652 OTIS STREET                                                                                                                             SOUTH GATE            CA      90280
6474193   GENIS*CAROL                                                    Address on File
6480824   Genis, Carol                                                   Address on File
6478753   GENTILE\JENNIFER M.                                            338 MARIE AVE.                                                                                                                               LOS ANGELES           CA      90042
6863271   Gentle Giant Moving Co                                         13020 Yukon Avenue                                  Suite Q                                                                                  Hawthorne             CA      90250
6479705   GENTLE JUNGLE, INC.                                            PO BOX 832                                                                                                                                   LEBEC                 CA      93243
6485950   Geoff Regan dba GSR                                            4804 Laurel Canyon Blvd. #216                                                                                                                Valley Village        CA      91607
6484009   Geoffrey Ammer                                                 348 N. Rockingham Ave                                                                                                                        Los Angeles           CA      90049
6484854   Geoffrey Doempke                                               1625 Manhattan Avenue                                                                                                                        Hermosa Beach         CA      90254
6481779   Geoffrey Strasser                                              315 Berry Street, Apt#104                                                                                                                    Brooklyn              NY      11249
6797687   GEORGE WALLACE                                                 6581 BRADDOCK ROAD                                                                                                                           ALEXANDRIA            VA      22312
6797678   GEORGE WALLACE                                                 ATTN: GENERAL COUNSEL                               6581 BRADDOCK ROAD                                                                       ALEXANDRIA            VA      22312
6491485   GEORGE* J.J.                                                   11406 VICTORIA AVE                                                                                                                           LOS ANGELES           CA      90066
6491486   GEORGE* JAMES J.                                               11406 VICTORIA AVE.                                                                                                                          LOS ANGELES           CA      90066
6481535   Georges Borchardt, Inc.                                        Attn: Anne Borchardt136 East 57th St.                                                                                                        New York              NY      10022
6482265   Georgetown Masters Audio, LLC                                  33 Music Square W, Suite 108B                                                                                                                Nashville             TN      37203
                                                                                                                                                               148 ANDREW YOUNG
6479947   GEORGIA DEPARTMENT OF LABOR                                    COMMISSIONER                                        SUSSEX PLACE, ROOM 600,           INTERNATIONAL BLVD., NE                                ATLANTA               GA      30303
6480328   GEORGIA DEPARTMENT OF REVENUE N.E.                             1800 CENTURY CENTER BOULEVARD                                                                                                                ATLANTA               GA      30345
6486708   Georgia Film Caterer                                           PO Box 3622                                                                                                                                  Peachtree City        GA      30269
6492860   GEORGIA FILM CATERERS, LLC                                     ATTN: EMILY WINKLE, BUSINESS MANAGER                PO BOX 3622                                                                              PEACHTREE CITY        GA      30269
6482128   Georgia Theatre Company                                        50 Cinema Lane                                                                                                                               Saint Simons Island   GA      31522
6491286   GEORGIA WASTE SYSTEMS, INC.                                    1850 PARKWAY PLACE, SUITE 600                                                                                                                MARIETTA              GA      30067
6484937   Gerald Edwards                                                 2724 Abbott Kinney Blvd. #308                                                                                                                Venice                CA      90291
6482558   Gerardo E. Parra Leon                                          c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                            Northbrook            IL      60062
6474765   GERINGER*COLEMAN B                                             Address on File
6480610   Germain, Caroline                                              Address on File
6479006   GERRIOR\DAWN                                                   16055A TEMECULA STREET                                                                                                                       PACIFIC PALISADES     CA      90272
6491636   GERRITT KINKEL PRODUCTIONS, LLC                                5242 KESTER AVE. #4                                                                                                                          VAN NUYS              CA      91411
6485698   Gerry Rich                                                     15821 Ventura Blvd. #500                                                                                                                     Encino                CA      91436
6484686   Gersh Agency f/s/o Sixteen String Jack Prod., The              9465 Wilshire Blvd., Ste. 600                                                                                                                Beverly Hills         CA      90212
6474794   GERSHENBAUM*SCOTT                                              Address on File
6481623   GershonMedia, Inc.                                             322 W 57th St Apt 39F                                                                                                                        New York              NY      10019-3725
6479702   GESELL/RYAN                                                    2346 MEDINA AVE.                                                                                                                             SIMI VALLEY           CA      93065
6483929   Getty Images                                                   6300 Wilshire Blvd, 16th FloorAttn: Josh Norton                                                                                              Los Angeles           CA      90048
6492728   GETTY IMAGES                                                   ATTN: MARSHALL LEWIS, COLLECTIONS SUPERVISOR        PO BOX 953604                                                                            SAINT LOUIS           MO      63195
6471066   GETTY IMAGES                                                   PO BOX 953604                                                                                                                                SAINT LOUIS           MO      63195
6797672   GETTY IMAGES (US), INC.                                        P.O. BOX 953604                                                                                                                              ST. LOUIS             MO      63195-3604
6483600   GFM LLC dba The Grove                                          101 The Grove Dr                                                                                                                             Los Angeles           CA      90036
6485462   GG Filmz                                                       5028 Vanalden Ave.                                                                                                                           Tarzana               CA      91356
6477320   GHANT\DAVID                                                    9211 103RD STREET                                                                                                                            JACKSONVILLE          FL      33210
6481672   Ghetto Film School Inc.                                        PO Box 1580 Boulevard Station                                                                                                                Bronx                 NY      10459
6491264   GHN MANAGEMENT, LLC                                            4075 LINGLESTOWN RD. #376                                                                                                                    HARRISBURG            PA      17112
6475186   GHOST LIGHT INC                                                FSO COOPER/SCOTT                                    1925 CENTURY PARK EAST 22ND FL                                                           LOS ANGELES           CA      90067
6486939   GHOST LIGHT, INC.                                              C/O JACKOWAY TYERMAN, WERTHEIMER,                   AUSTEN, MANDELBAUM & MORRIS, PC   ATTN: DARREN TRATTNER        1925 CENTURY PARK EAST,   LOS ANGELES           CA      90067




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MMLID     NAME                                                        ADDRESS                                                             ADDRESS 2                        ADDRESS 3                    ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6484010   Ghost Light, Inc. fso Scott Cooper                          808 Broom Way                                                                                                                                 Los Angeles      CA      90049
6483202   Ghost Town Media, LLC                                       430 S. Westmoreland Ave.                                                                                                                      Los Angeles      CA      90020
6482688   Ghost Town, Inc.                                            2617 W. Cortez St. #3                                                                                                                         Chicago          IL      60622
6475284   GHOST TOWN, INC.                                            2617 WEST CORTEZ,                                                   3RD FLOOR                                                                 CHICAGO          IL      60622
6479250   GHOSTLIST INDUSTRIES, INC.                                  11174 FLEETWOOD ST                                                                                                                            SUN VALLEY       CA      91352-2710
6492263   GHOSTPOST, LLC                                              D/B/A BURNISH CREATIVE                                              ATTN: OREN CASTRO, MEMBER        5757 WILSHIRE BLVD., # 504               LOS ANGELES      CA      90036
6481712   Giancarlo Vulcano                                           121 Pacific St. Apt. P1C                                                                                                                      Brooklyn         NY      11201
6477341   GIANNESCHI IV\LAWRENCE                                      1602 WHITEFRIAR DRIVE                                                                                                                         OCOEE            FL      34761
6478213   GIANOPOULOS\ALEX                                            11013 PHOENIX N.E.                                                                                                                            ALBUQUERQUE      NM      87112
6481361   Giaronomo Productions                                       665 BroadwaySuite 1000                                                                                                                        New York         NY      10012
6479471   GIBBONS LTD.                                                2911 WINONA AVENUE                                                                                                                            BURBANK          CA      91504
6474567   GIBO*STACIE                                                 Address on File
6476782   GIBSON AVENUE BAPTIST CHURCH                                2037 WRIGHTSVILLE AVENUE                                                                                                                      WILMINGTON       NC      28403
6476058   GIBSON\ANITA                                                378 LANTANA AVENUE                                                                                                                            ENGLEWOOD        NJ      07631
6478851   GIBSON\STEPHEN                                              924 ELYRIA DRIVE                                                                                                                              LOS ANGELES      CA      90065
6478825   GIDDENS/EDWARD E                                            11693 SAN VICENTE BLVD., #469                                                                                                                 LOS ANGELES      CA      90049
6797185   GIDDINGS, LEX D                                             Address on File
6480468   Gieber, Meghan                                              Address on File
6476063   GIERINGER\RAYMOND                                           377 BLANKET FLOWER LN                                                                                                                         WEST WINDSOR     NJ      08550
6475323   GIESBRECHT\DAVID                                            11150 76 RD                                                         4F                                                                        FOREST HILLS     NY      11375
6484011   Gila Processing Services, Inc.                              500 S Sepulveda Blvd., 4th Fl                                                                                                                 Los Angeles      CA      90049
6475096   GILBERT & SACKMAN CLIENT TRUST                              C/O MANATT PHELPS                                                   11355 W OLYMPIC BLVD                                                      LOS ANGELES      CA      90064
6486334   Gilbert D. Brokaw                                           720-14th Place West                                                                                                                           Kirkland         WA      98033
6476974   GILES\EMILY BROOKE                                          308 HERRING DRIVE                                                                                                                             SOUTHPORT        NC      28461        UNITED
                                                                                                                                                                                                                                                          ARAB
6797673   GILF FILM LLC                                               701 CAYAN BUSINESS CENTER                                           BARSHA HEIGHTS, AL BARSHA        P.O. BOX 81956                           DUBAI                                 EMIRATES
6477861   GILLEY\STEVEN EDWARD                                        2112 SGT. ALFRED DR                                                                                                                           SLIDELL          LA      70458
6476525   GILLILAND\SUSAN F.                                          112 LOST TREE LANE                                                                                                                            HIGH POINT       NC      27265
6479670   GILLIS/LEANDRA                                              41004 SEA FOAM CIRCLE                                                                                                                         LAKE ELSINORE    CA      92532
6476209   GILLIS\CAROLYN F                                            1309 BELL AVENUE                                                                                                                              NORTH BRADDOCK   PA      15104
6475021   GILMORE, ISAAC                                              415 LAUREL ST                                                       #104                                                                      SAN DIEGO        CA      92101
6483516   Gilson Baston                                               3317 Mentone Avenue#8                                                                                                                         Los Angeles      CA      90034
6481431   Gilt Groupe, Inc                                            2 Park Avenue4th Floor                                                                                                                        New York         NY      10016
6478876   GIMME PROPS INC.                                            3495 W. CAHUENGA BLVD, STE A                                                                                                                  HOLLYWOOD        CA      90068
6475864   GIMME PROPS, INC.                                           3495 W. CAHUENGA BLVD. STE A                                        SUITE A                                                                   HOLLYWOOD        CA      90068
6475709   GIMMIE PROPS INC                                            3495 W CAHUENGA BLVD                                                STE A                                                                     HOLLYWOOD        CA      90068
6487827   GINA MAHAN                                                  MATHIAS CIVIL JUSTICE PLLC                                          C/O DAMON MATHIAS                3809 PARRY AVENUE            SUITE 106   DALLAS           TX      75226
6487828   GINA MAHAN                                                  MATHIAS CIVIL JUSTICE PLLC                                          C/O DAMON MATHIAS                6621 CLEARHAVEN CIR                      DALLAS           TX      75248-4019
6484336   Gina Wade Creative                                          990 Palm Ave. Suite #8                                                                                                                        West Hollywood   CA      90069
6482467   Gino Salomone                                               10215 W. Sunset Ave.                                                                                                                          Milwaukee        WI      53222
6483224   Ginsberg Daniels LLP                                        c/o Altman Greenfield Et Al10960 Wilshire Blvd. #1900                                                                                         Los Angeles      CA      90024
6490685   GINSBERG LIBBY LLC                                          C/O BINDER AND COMPANY                                              9000 SUNSET BLVD. STE. 1250                                               WEST HOLLYWOOD   CA      90069
6468848   GINSBURG DANIELS, LLP                                       ATTN: GRACE KALLIS AND LEV GINSBURG                                 9300 WILSHIRE BOULEVARD                                                   BEVERLY HILLS    CA      90212
6474843   GINSBURG*AARON BENJAMIN                                     Address on File
6475452   GIORDANI\MICHAEL                                            520 N KINGS RD                                                      APT 118                                                                   W HOLLYWOOD      CA      90048
6485189   Giovanni C. Funiciello                                      226 N. Wycliff Ave.                                                                                                                           San Pedro        CA      90732
6484192   Gipson Hoffman & Pancione                                   1901 Avenue of the Stars, Suite 1100                                                                                                          Los Angeles      CA      90067
6476840   GIRAFFE CRANE                                               1901-H BLUE CLAY ROAD                                                                                                                         WILMINGTON       NC      28405
6481362   Giraonomo Productions, Inc.                                 665 Broadway, 10th Floor                                                                                                                      New York         NY      10012
6483159   Girl Scouts of Greater Los Angeles                          801 S. Grand Ave., Suite 300                                                                                                                  Los Angeles      CA      90017
6485395   Girlilla Marketing, LLC                                     17530 Ventura Blvd. Suite 201                                                                                                                 Encino           CA      91316
6481291   Girls, Inc.                                                 120 Wall St. 3rd Floor                                                                                                                        New York         NY      10005
6484193   Glaser Weil                                                 10250 Constellation BoulevardNinteenth Floor                                                                                                  Los Angeles      CA      90067
6483930   Glass Air Records, LLC                                      6310 San Vicente Blvd.Suite 501                                                                                                               Los Angeles      CA      90048
6490344   GLASS BEAD MUSIC, INC.                                      C/O DL ENTERTAINMENT BUSINESS MANAGEMENT                            200 W. 57TH ST. SUITE 1101                                                NEW YORK         NY      10013
6480648   Glass, Austin                                               Address on File
6475392   GLASSNOTE ENTERTAINMENT GROUP                               LLC                                                                 770 LEXINGTON AVE., 12TH FLOOR                                            NEW YORK CITY    NY      10065
6484687   Gleaming Enterprises, Inc. fso Les Bohem                    c/o United Talent AgencyAttn: Charlie Ferraro & Howie Sanders9560                                                                             Beverly Hills    CA      90212
6469549   GLEISS LUTZ HOOTZ HIRSH PARTNERSCHAFT                       VON RECHTSANWAELTEN                                                 MAYBACHSTRASSE 6                                                          STUTTGART                70469        GERMANY
6486515   Gleiss Lutz Hootz Hirsh Partnerschaft von Rechtsanwaelten   Maybachstrasse 670469                                                                                                                         Stuttgart                             Germany
6482559   Glen Perkins                                                c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                              Northbrook       IL      60062
6480240   GLENDALE CITY HALL                                          OFFICE OF TAX COLLECTOR                                             613 E. BROADWAY                                                           GLENDALE         CA      91206
6483225   Glendon Concepts, LLC                                       1071 Glendon Ave.                                                                                                                             Los Angeles      CA      90024
6484938   Glenn Williams                                              2416 Pacific Ave.                                                                                                                             Venice           CA      90291
6479029   GLENN\PATRICIA B.                                           920 VENEZIA AVE                                                                                                                               VENICE           CA      90291
6476666   GLICK, LINDSAY                                              2514 ROLAND ST.                                                                                                                               CHARLOTTE        NC      28205
6476723   GLICK\ELLIOTT                                               211 POLVOGT ALLEY                                                                                                                             WILMINGTON       NC      28401
6485636   Global Entertainment                                        5833 Willis Ave.                                                                                                                              Van Nuys         CA      91411
6485487   Global Entertainment Partners                               3625 E. Thousand Oaks Blvd. Suite 206                                                                                                         Thousand Oaks    CA      91362
6473231   GLOBAL ENTERTAINMENT SECURITY INC                           3625 E. THOUSAND OAKS BLVD SUITE 202                                                                                                          THOUSAND OAKS    CA      91362




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MMLID     NAME                                                  ADDRESS                                        ADDRESS 2                                ADDRESS 3                         ADDRESS 4             CITY                  STATE   POSTAL CODE   COUNTRY
6492445   GLOBAL ENTERTAINMENT SECURITY INC                     ATTN: JOANNE MCCLELLAN, VP OPERATIONS          3625 E. THOUSAND OAKS BLVD., SUITE 202                                                           THOUSAND OAKS         CA      91362
6482733   Global Experience Specialists, Inc                    Bank of America96174 Collection Center Drive                                                                                                    Chicago               IL      60693
6479796   GLOBAL INCENTIVES INC.                                400-119 SPADINA AVENUE                                                                                                                          TORONTO               ON      MV5 2L1       CANADA
6486454   Global Incentives, Inc.                               497 King St. East, 3rd Floor                                                                                                                    Toronto               ON      MSA 1L9       CANADA
6475289   GLOBAL INCENTIVES, INC.                               497 KING STREET,                               3RD FLOOR                                                                                        TORONTO               ON      M5A 1L9       CANADA
6486682   Global Incorporation Centre (HK) Limited              Unit 402                                       4th Fl                                   Fairmont House                    No.8 Cotton Tree Dr   Admiralty                                   Hong Kong
6478160   GLOBAL POWER SYSTEMS                                  7200 MONTGOMERY NE STE B9 #353                                                                                                                  ALBUQUERQUE           NM      87109
6477138   GLOBAL POWER SYSTEMS,INC.                             980 ARLYS LANE                                                                                                                                  TRYON                 NC      28782
6475985   GLOBAL STORE FIXTURE, INC.                            1318 AVE JESUS T. PINERO                                                                                                                        SAN JUAN              PR      00921
6475877   GLORIOSO CASTING, LLC                                 1523 CONSTANCE ST.                             SUITE D                                                                                          NEW ORLEANS           LA      70130
6476783   GLOVER\LUCY C.                                        121 BROOKWOOD AVENUE                                                                                                                            WILMINGTON            NC      28403
6485585   Glow Cap Industries                                   4648 Lemona Ave.                                                                                                                                Sherman Oaks          CA      91403
6483517   GMI Marketing, Inc. dba FLIPTURN                      9215 Beverlywood St. 1st Floor                                                                                                                  Los Angeles           CA      90034
6490689   GMI MARKETING, INC. DBA FLIPTURN                      ATTN: FEDERICO ROBINO, PRES.                   9215 BEVERLYWOOD ST. 1ST FLOOR                                                                   LOS ANGELES           CA      90034
6485637   GN Media, LLC                                         14749 Calvert St.                                                                                                                               Van Nuys              CA      91411
6475055   GNOFFO\JOEY                                           501 W.WHITING AVE                              #6                                                                                               FULLERTON             CA      92832
6486697   Godaddy.com                                           14455 North Hayden Rd                          Ste 219                                                                                          Scottsdale            AZ      85260
6478688   GODFREY\JOSH                                          400 N.GARDNER ST                                                                                                                                LOS ANGELES           CA      90036
6478473   GOELLER\ROY                                           174 CHAMISA STREET                                                                                                                              LOS ALAMOS            NM      87544
6476841   GOERTZ, BRANDON                                       2410 SHIRLEY RD.                                                                                                                                WILMINGTON            NC      28405
6476842   GOERTZ\BRANDON L.                                     4514 SPRING VIEW DRIVE                                                                                                                          WILMINGTON            NC      28405
6481943   Goethe-Institut Washington                            812 7th St. NW                                                                                                                                  Washington            DC      20001
6484905   Goff Law Corporation                                  2784 Vista Mesa Dr.                                                                                                                             Rancho Palos Verdes   CA      90275
6492114   GOLAN* ROSI                                           C/O SERLING ROOKS HUNTER MCKOY & WOROB, LLP    ATTN: JEFFREY A. WOROB, ESQ.             119 FIFTH AVENUE                  3RD FLOOR             NEW YORK              NY      10003
6478222   GOLD CUP GYMNASTICS INC.                              6009 CARMEL NE                                                                                                                                  ALBUQUERQUE           NM      87113
6483426   Gold Derby, Inc. fso Tom O'Neil                       6520 DeLongpre Ave. #119                                                                                                                        Los Angeles           CA      90028
6484338   Gold Meets Golden                                     901 Hancock Ave., Ste. 312                                                                                                                      West Hollywood        CA      90069
6492689   GOLD MEETS GOLDEN                                     ATTN: CHARLES WALTERS, CEO                     901 HANCOCK AVE., STE. 312                                                                       WEST HOLLYWOOD        CA      90069
6475747   GOLD PICTURES, INC.                                   10153 RIVERSIDE DR.                            SUITE # 300                                                                                      TOLUCA LAKE           CA      91602
6475748   GOLD PICTURES, INC.                                   10153 RIVERSIDE DR.                            SUITE # 307                                                                                      TOLUCA LAKE           CA      91602
6479397   GOLD PICTURES, INC.                                   6860 COSTELLO AVENUE                                                                                                                            VAN NUYS              CA      91405
6491668   GOLD PICTURES, INC. FSO JEFFREY P. MAYNARD            10153 RIVERSIDE DR. SUITE 307                                                                                                                   NORTH HOLLYWOOD       CA      91602
6477376   GOLD SHEILD CAR SERVICE                               P.O. BOX 2145                                                                                                                                   LEXINGTON             KY      40588
6487851   GOLD STAR FILMS, LLC                                  C/O LOEB & LOEB LLP                            ATTN: LANCE N. JURICH, ESQ.              10100 SANTA MONICA BLVD., SUITE                         LOS ANGELES           CA      90067-4120
6478508   GOLD\KENNETH                                          4 EAST WASHINGTON ST                                                                                                                            LAS VEGAS             NM      87701
6474740   GOLDBERG*KFIR                                         Address on File
6474370   GOLDBERG*LAUREN                                       Address on File
6480940   Goldberg, Brandon                                     Address on File
6480417   Goldberg, Lauren R                                    Address on File
6476089   GOLDCREST POST PRODUCTION                             799 WASHINGTON ST                                                                                                                               NEW YORK              NY      10014
6479280   GOLDEN OAK RANCH                                      19802 PLACERITA CANYON RD                                                                                                                       NEWHALL               CA      91351
6475381   GOLDEN SR\JOHN T                                      DBA GOLDEN TREASURES                           709 BRADDOCK AVENUE                                                                              BRADDOCK              PA      15104
6797667   GOLDEN VILLAGE PICTURE PTE. LTD                       68 ORCHARD ROAD                                #B-1-10 PLAZA                                                                                    SINGAPORE                     238839        MALAYSIA
6797668   GOLDEN VILLAGE PICTURE PTE. LTD.,                     68 ORCHARD ROAD                                #B-1-10 PLAZA, SINGAPURA                                                                         SINGAPORE                     238839        MALAYSIA
                                                                                                                                                                                                                                                            SINGAPOR
6797669   GOLDEN VILLAGE PICTURE PTE. LTD.,                     ATTN: KURT RIEDER, CEO                         68 ORCHARD ROAD, #B-1-10 PLAZA                                                                   SINGAPURA                     238839        E
6797670   GOLDEN VILLAGE PICTURES PTD. LTD.                     68 ORCHARD ROAD                                #B-1-10 PLAZA                                                                                    SINGAPORE                     238839        MALAYSIA
                                                                                                                                                                                                                                                            SINGAPOR
6797671   GOLDEN VILLAGE PICTURES PTE, LTD.                     3 TEMASEK BLVD #03-373                         SUNTEK CITY MALL                                                                                 SINGAPORE                     038983        E
6797648   GOLDEN VILLAGE PICTURES PTE. LTD.                     68 ORCHARD ROAD                                #B-1-10 PLAZA                                                                                    SINGAPORE                     238839        MALAYSIA
6797663   GOLDEN VILLAGE PICTURES PTE. LTD.                     68 ORCHARD ROAD, #07-10/14 PLAZA SINGAPURA                                                                                                      SINGAPORE                     238839        MALAYSIA
6797649   GOLDEN VILLAGE PICTURES PTE. LTD.,                    68 ORCHARD ROAD, #B-1-10 PLAZA SINGAPURA                                                                                                        SINGAPORE                     238839        MALAYSIA
6797650   GOLDEN VILLAGE PICTURES PTE., LTD                     68 ORCHARD ROAD #B1-10                                                                                                                          SINGAPORE                     238839        MALAYSIA
6485863   Goldenboyz, Inc., The                                 4528 Camellia Ave.                                                                                                                              North Hollywood       CA      91602
6492152   GOLDMAN PICTURES, INC. F/S/O MELISA WALLACK           C/O BEHR ABRAMSON LEVY, LLP                    ATTN: HOWARD ABRAMSON                    9701 WILSHIRE BLVD.               SUITE 800             BEVERLY HILLS         CA      90212
6490326   GOLDMAN* COLIN S.                                     C/O SOUKUP & SCHIFF, LLP                       1801 CENTUY PART EAST, SUITE 470                                                                 LOS ANGELES           CA      90067
6480946   Goldman, Colin                                        Address on File
6484688   Goldmann Pictures                                     9460 Wilshire Blvd. Suite 600                                                                                                                   Beverly Hills         CA      90212
6483203   Goldmann Pictures f/s/o Melisa Wallack                335 S. Rossmore AveAttn:Ms Melisa Wallack                                                                                                       Los Angeles           CA      90020
6469200   GOLDMANN PICTURES F/S/O MELISA WALLACK                ATTN:MS MELISA WALLACK                         335 S. ROSSMORE AVE                                                                              LOS ANGELES           CA      90020
6492346   GOLDMANN PICTURES, INC.                               ATTN: BERNIE GOLDMANN                          9701 WILSHIRE BLVD.                      SUITE 800                                               BEVERLY HILLS         CA      90212
6475437   GOLDMANN PICTURES, INC.                               C/O BEHR & ABRHAMSON LLC                       9701 WILSHIRE BLVD, STE 800                                                                      BEVERLY HILLS         CA      90048
6478579   GOLDMANN/BERNHARD                                     335 SOUTH ROSSMORE AVE                                                                                                                          LOS ANGELES           CA      90020
6478569   GOLDSMITH/LAURA                                       1241 S. BURNSIDE AVE.                                                                                                                           LOS ANGELES           CA      90019
6474753   GOLDSTEIN*BRIAN                                       Address on File
6480457   Goldstein, Brian R.                                   Address on File
6480941   Goldstein, James                                      Address on File
6475911   GOLF CART OUTLET #3                                   5030 SOUTHPORT SUPPLY RD                       UNIT 3                                                                                           SOUTHPORT             NC      28461
6485325   Golin Theatres, Inc.                                  26901 Agoura Rd. Suite 260                                                                                                                      Agoura Hills          CA      91301
6492732   GOMEZ* LUIS                                           Address on File
6474698   GOMEZ*ROBERT                                          Address on File
6486279   Gonzales Enterprises, Inc.                            495 Ryan Ave.                                                                                                                                   Chico                 CA      95973




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                                                                                                                      Master Mailing List
                                                                                                                     Served First Class Mail

MMLID     NAME                                              ADDRESS                                             ADDRESS 2                      ADDRESS 3               ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6478689   GONZALES\BERNADETTE                               649 S COCHRAN AVE #3                                                                                                   LOS ANGELES         CA      90036
6478489   GONZALES\JOE                                      8C74                                                                                                                   PECOS               NM      87552
6479147   GONZALEZ & HARRIS                                 35 NORTH LAKE AVE., SUITE 71                                                                                           PASADENA            CA      91101
6475555   GONZALEZ\ANGEL M.                                 CALLE 2A-B8                                         COLINAS DE CUPEY                                                   SAN JUAN            PR      00926
6475527   GONZALEZ\DAVID                                    URB LA ALAMEDA                                      C/TOPACIO 797                                                      SAN JUAN            PR      00926
6478248   GONZALEZ\MARIO                                    8900 ASTON LOOP NE                                                                                                     ALBUQUERQUE         NM      87122
6481896   Good Old Touring, Inc.                            17 Concord Place                                                                                                       Langhorne           PA      19047
6476430   GOOD OLD TOURNING, INC.                           208 ORCHARD LANE                                                                                                       LANGHORNE           PA      19047
6490334   GOOD THINGS BAD PEOPLE MUSIC                      OBO THE CHURCH OF THE GOOD THIEF PUBLISHING         1888 EMERY ST., SUITE 111                                          ATLANTA             GA      30318
6480728   Gooden, Morgan                                    Address on File
6475649   GOODLOE PICTURES, INC.                            F/S/O J. MILLS GOODLOE                              PO BOX 1080                                                        SIMI VALLEY         CA      93062
6486132   Goodloe Pictures, Inc.                            P.O. Box 1080                                                                                                          Simi Valley         CA      93062
6478580   GOODMAN\JEREMY                                    452 S. WILTON PLACE                                                                                                    LOS ANGELES         CA      90020
6476684   GOODMAN\RACHEL M.                                 6816 HOLLOW OAK DRIVE.                                                                                                 CHARLOTTE           NC      28227
6482450   Goodrich Quality Theaters                         4417 Broadmoor SE                                                                                                      Kentwood            MI      49512
6492601   GOODRICH QUALITY THEATERS                         ATTN: TOM MCCALL, ACCOUNTING MANAGER                4417 BROADMOOR S.E.                                                KENTWOOD            MI      49512
6476040   GOODSPEED MUSICAL COSTUME RTL                     P.O. BOX 333                                                                                                           CHESTER             CT      06412-0507
6797646   GOOGLE INC.                                       ATTN: LEGAL DEPARTMENT                              1600 AMPHITHEATRE PARKWAY                                          MOUNTAIN VIEW       CA      94043
6490507   GOOGLE INC.                                       ATTN: STEVEN E. OSTROW                              7 TIMES SQUARE, SUITE 2900                                         NEW YORK            NY      10119
6811801   Google LLC f/k/a Google Inc.                      Attn: David Curtin                                  1600 Amphitheatre Pkwy                                             Mountain View       CA      94043
6811801   Google LLC f/k/a Google Inc.                      White and Williams LLP                              c/o Amy E. Vulpio, Esq.        1650 Market St, Fl 18               Philadelphia        PA      19103
6486195   Google, Inc.                                      Department 33654,P.O. Box 39000                                                                                        San Francisco       CA      94139
6482560   Gordan Beckham                                    c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                      Northbrook          IL      60062
6481846   Gordon D. Gronkowski                              1415 New Road                                                                                                          Buffalo             NY      14228
6486141   Gordon VFX LLC                                    1051 Cheltenham Road                                                                                                   Santa Barbara       CA      93105
6480691   Gordon, Joshua                                    Address on File
6477274   GORELICK, ROBERT                                  4214 BURNS HERITAGE TRAIL NE                                                                                           ROSWELL             GA      30075
6476975   GORMAN\BRENDA J.                                  406 BRUNSWICK STREET                                                                                                   SOUTHPORT           NC      28461
6476432   GORMAN\DAN                                        900 PEACHTREE ST NE                                 APT 407                                                            ATLANTA             GA      30309-5905
6481230   Gorno Music                                       c/o Epstein Levinsohn237 W. 35th St. 4th Floor                                                                         New York            NY      10001
6477337   GORRELL\KEN                                       478 TALAMONE DR.                                                                                                       WINTER HAVEN        FL      33884
6484830   GotchaMedia Group, Inc.                           C/O MS Media400 Continental Blvd., 6th Floor                                                                           El Segundo          CA      90245
6480460   Gotcher, Keir                                     Address on File
6481713   Gotham Awards Submissions                         IFP68 Jay St. #425                                                                                                     Brooklyn            NY      11201
6484339   Gotham Group, LLC, The                            9255 Sunset Blvd. Suite 515                                                                                            West Hollywood      CA      90069
6479344   GOTO GROUP\THE                                    PO BOX 8493                                                                                                            CALABASAS           CA      91372-8493
6480625   Goulet, Andrew                                    Address on File
6483007   Grabriel Elder                                    3921 Anderson Ave SE                                                                                                   Albuquerque         NM      87108
6485951   Grace Hill Media                                  12211 Huston St.                                                                                                       Valley Village      CA      91607
6477456   GRACE KING HIGH SCHOOL                            4301 GRACE KING PLACE                                                                                                  METAIRIE            LA      70002
6478142   GRADO, INC.                                       5221 CENTRAL AVENUE NE                                                                                                 ALBUQUERQUE         NM      87108
6477365   GRADY KERR MOTORS                                 PO BOX 12322                                                                                                           KNOXVILLE           TN      37912-0322
6475200   GRAFE\JOHN                                        D/B/A APPARTIQUE                                    2032 MAGAZINE ST                                                   NEW ORLEANS         LA      70130
6479449   GRAHAM OWEN GALLERY                               145 S. GLENOAKS BLVD. #435                                                                                             BURBANK             CA      91502
6486322   Grailsongs LLC                                    5246 NE 32nd Place                                                                                                     Portland            OR      97211
6478161   GRAINGER                                          3901 OSUNA DRIVE N.E.                                                                                                  ALBUQUERQUE         NM      87109
6476784   GRAINGER                                          505 COVIL AVE.                                                                                                         WILMINGTON          NC      28403
6477411   GRAINGER                                          DEPT 883847501                                                                                                         PALATINE            IL      60038-0001
6475607   GRAINGER INDUSTRIAL SUPPLY                        DEPT 885919254                                      P O BOX 419267                                                     KANSAS CITY         MO      64141-6267
6480429   Gramer, Brooke                                    Address on File
6797636   GRAMERCY FILMS LLC                                ATTN: BUSINESS AFFAIRS                              100 UNIVERSAL CITY PLAZA                                           UNIVERSAL CITY      CA      91608
6480171   GRANADA HILLS CITY HALL                           C/O SAN FERNANDO VALLEY CITY HALL                   VAN NUYS CIVIC CENTER          14410 SYLVAN STREET                 VAN NUYS            CA      91401
6477193   GRAND BOHEMIAN HOTEL ASHEVILLE                    11 BOSTON WAY                                                                                                          ASHEVILLE           NC      28803
6491327   GRAND CINEMA ENTERTAINMENT, LLC                   845 WEBE AVE. S. PO BOX A                                                                                              HINCKLEY            MN      55037
6476606   GRAND RENTAL STATION                              214 STAGE COACH TRAIL                                                                                                  GREENSBORO          NC      27409
6485532   Grand Slam Music Inc.                             6174 Debs Avenue                                                                                                       Woodland Hills      CA      91367
6492849   GRAND SLAM MUSIC INC.                             ATTN: LISA WASIAK CORBETT                           6174 DEBS AVENUE                                                   WOODLAND HILLS      CA      91367
6492633   GRAND SLAM MUSIC INC.                             ATTN: MS. LISA CORBETT, OWNER                       6174 DEBS AVENUE                                                   WOODLAND HILLS      CA      91367
6482806   Grand Theatre Operating Company, The              305 Baronne St. Suite 900                                                                                              New Orleans         LA      70112
6475622   GRANDFATHER MOUNTAIN                              STEWARDSHIP FOUNDATION, INC.                        P.O. BOX 129                                                       LINVILLE            NC      28646
6483601   Grant Heath                                       943 Genesee Ave.                                                                                                       Los Angeles         CA      90036
6483281   Grant Pierce Myers                                1235 Brockton Ave. #304                                                                                                Los Angeles         CA      90025
6481313   GrapeStory, LLC                                   315 Park Avenue South, 16th Floor                                                                                      New York            NY      10010
6484689   Grapevine Agency, The                             269 S. Beverly Dr. #438                                                                                                Beverly Hills       CA      90212
6485186   Graphic Trends, Inc.                              7301 Adams St.                                                                                                         Paramount           CA      90723
6473454   GRAPHIC VISIONS INC                               1231 S ORLANDO AVE                                                                                                     Los Angeles         CA      90035-2513
6476976   GRASS WACKERS LAWNCARE                            2314 FRINK LAKE DRIVE                                                                                                  SOUTHPORT           NC      28461
6480481   Grassi, Craig                                     Address on File
6480602   Grateke, Ryan                                     Address on File
6480135   GRATIOT REVOCABLE TRUST                           ATTN: JOSEPH NICHOLAS                               17001 COLLINS AVE, #4305                                           SUNNY ISLES BEACH   FL      33160




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                                                                                                                                               Master Mailing List
                                                                                                                                              Served First Class Mail

MMLID     NAME                                                     ADDRESS                                                              ADDRESS 2                                 ADDRESS 3                   ADDRESS 4   CITY                   STATE   POSTAL CODE COUNTRY
6483126   Gravelpit Music fso Stacee Coleman                       215 W. 6th St., #1204                                                                                                                                  Los Angeles            CA      90014
6477441   GRAVES\JOHN                                              719 PHLOX AVE                                                                                                                                          METAIRIE               LA      70001
6486068   Gray Matter                                              65 Palatine, Ste. 410                                                                                                                                  Irvine                 CA      92612
6797639   GRAY MATTER LLC                                          GLEN BARBER                                                          65 PALATINE                               SUITE 410                               IRVINE                 CA      92612
6484103   Grayson Marshall                                         3714 Fletcher Dr.                                                                                                                                      Los Angeles            CA      90065
6476041   GRAZIA, ANTHONY                                          3 JERICHO RD.                                                                                                                                          S. SHERMAN             CT      06784
6481231   Great City Productions, LLC                              122 West 26th St. Room903                                                                                                                              New York               NY      10001
6797641   GREAT EASTERN THEATRES                                   3361 Executive Parkway                                               Suite 300                                                                         Toledo                 OH      43606
6482405   Great Escape Theater                                     300 Professional Ct. Suite 200                                                                                                                         New Albany             IN      47150
6475001   GREAT FRASER FIR COMPANY/THE                             FSO: JOHN S. HENLEY                                                  PO BOX 912                                                                        LINVILLE               NC      28646
6478367   GREAT FX                                                 1704B LLANO STREET #340                                                                                                                                SANTA FE               NM      87505
6470912   GREAT NORTHERN ENTERTAINMENT INC                         1627 N 34TH ST                                                                                                                                         SUPERIOR               MI      54880
6482477   Great Northern Entertainment Inc                         1627 N 34th St                                                                                                                                         Superior               WI      54880
6475774   GREAT PACIFIC SEAFOODS, INC                              650 S ORCAS                                                          SUITE 100                                                                         SEATTLE                WA      98108
6481387   Great Performances Artists As Waitresses, Inc.           304 Hudson St.                                                                                                                                         New York               NY      10013
6486052   Great Promo Items                                        3830 Valley Centre Dr. Suite 705 #362                                                                                                                  San Diego              CA      92130
6475363   GREATER ASHEVILLE REGIONAL                               AIRPORT AUTHORITY                                                    61 TERMINAL DRIVE,STE 1                                                           FLETCHER               NC      28732
6475604   GREATER WILMINGTON CHAMBER                               OF COMMERCE, INC.                                                    ONE ESTELL LEE PLACE                                                              WILMINGTON             NC      28401
6486228   GreatSchools, Inc.                                       1999 Harrison St. Suite 1100                                                                                                                           Oakland                CA      94612
6477745   GREEN ACRES NURSERY                                      731 CARDINAL DRIVE                                                                                                                                     THIBODAUX              LA      70301
6486443   Green and Spiegel, LLP                                   390 Bay St. #2800                                                                                                                                      Toronto                ON      M5H 2Y2     CANADA
6474947   GREEN ENTERTAINMENT                                      RESOURCE LLC                                                         19626 GREEN MOUNTAIN RD                                                           SANTA CLARITA          CA      91321
6474946   GREEN ENTERTAINMENT                                      TECHNOLOGIES, INC.                                                   19626 GREEN MOUNTAIN DRIVE                                                        SANTA CLARITA          CA      91321
6479229   GREEN ENTERTAINMENT LLC                                  19626 GREEN MOUNTAIN DRIVE                                                                                                                             SANTA CLARITA          CA      91321
6485405   Green Entertainment Resources                            19626 Green Mountain Dr.                                                                                                                               Santa Clarita          CA      91321
6479231   GREEN ENTERTAINMENT TECH., INC                           19626 GREEN MOUNTAIN DRIVE                                                                                                                             SANTA CLARITA          CA      91321
6479232   GREEN ENTERTAINMNET PARTNERS                             19626 GREEN MOUNTAIN DRIVE                                                                                                                             SANTA CLARITA          CA      91321
6477219   GREEN HOME CLEANING, INC.                                312 BEAUCATCHER ROAD                                                                                                                                   ASHEVILLE              NC      28805
6484690   Green Light Go, LLC dba Caulfields                       9360 Wilshire Blvd.                                                                                                                                    Beverly Hills          CA      90212
6485381   Green Screen Digital Entertainment, The                  9520 Owensmouth Ave. Unit #2                                                                                                                           Chatsworth             CA      91311
6479599   GREEN SET, INC                                           11617 DEHOUGNE ST.                                                                                                                                     NORTH HOLLYWOOD        CA      91605
6474936   GREEN SET, INC.                                          MOTION PICTURE PLANT RENTALS,                                        11617 DEHOUGNE ST.                                                                NORTH HOLLYWOOD        CA      91605
6480124   GREEN SPHINX C CO                                        ATTN: NORRIS NISSIM                                                  1114 AVENUE OF THE AMERICAS, 29TH FLOOR                                           NEW YORK               NY      10036
6480125   GREEN SPHINX C CO                                        ATTN: OMAR KHAWAJA                                                   1114 AVENUE OF THE AMERICAS, 29TH FLOOR                                           NEW YORK               NY      10036
6480126   GREEN SPHINX LLC                                         ATTN: NORRIS NISSIM                                                  1114 AVENUE OF THE AMERICAS, 29TH FLOOR                                           NEW YORK               NY      10036
6480127   GREEN SPHINX LLC                                         ATTN: OMAR KHAWAJA                                                   1114 AVENUE OF THE AMERICAS, 29TH FLOOR                                           NEW YORK               NY      10036
6476527   GREEN SPIRIT, THE                                        104 BUCKEYE RD                                                                                                                                         JAMESTOWN              NC      27282
6484104   Green With Glamour                                       3133 Verdugo Place                                                                                                                                     Los Angeles            CA      90065
6478637   GREEN\CARISSA                                            1523 N LA BREA                                                                                                                                         LOS ANGELES            CA      90028
6478877   GREEN\GRAHAM HOAG                                        2119 ALCYONA                                                                                                                                           LOS ANGELES            CA      90068
6479551   GREEN\RICHARD L.                                         10061 RIVERSIDE DR, #103                                                                                                                               TOLUCA LAKE            CA      91602
6484194   Greenberg Glusker                                        1900 Avenue of the Stars, Suite 2100                                                                                                                   Los Angeles            CA      90067
6478966   GREENBERG, NEIL E.                                       10913 PICKFORD WAY                                                                                                                                     CULVER CITY            CA      90230
6492748   GREENE*SHARON BIANCA                                     Address on File
6476724   GREENE\LEWIS C.                                          405 CAMPBELL STREET                                                                                                                                    WILMINGTON             NC      28401
6484790   Greenhaus Gfx                                            1000 Venice Blvd.                                                                                                                                      Culver City            CA      90232
6476608   GREENSBORO HOMEWOOD                                      201 CENTREPORT DRIVE                                                                                                                                   GREENSBORO             NC      27409-9783
6480761   Greenwald, Nathaniel                                     Address on File
6481891   Greer Lange Talent Agency, Inc.                          3 Bala Plaza West, Suite 201                                                                                                                           Bala Cynwyd            PA      19004
6481742   Greg David Holden                                        438 6th St.                                                                                                                                            Brooklyn               NY      11215
6797635   GREG DOHERTY                                             2 HIGHLAND BLVD.                                                                                                                                       KENSINGTON             CA      94707
6484691   Greg Forston                                             216 S. Oakhurst Dr                                                                                                                                     Beverly Hills          CA      90212
6491283   GREG MAYS                                                Address on File
6797627   GREG RUSSO                                               C/O ICM PARTNERS                                                     ATTN: KATHLEEN REMINGTON                  10250 CONSTELLATION BLVD.               LOS ANGELES            CA      90067
6484195   Greg Russo                                               c/o ICM Partners10250 Constellation Blvd. Attn: Kathleen Remington                                                                                     Los Angeles            CA      90067
6476535   GREGG, BILLY R.                                          884 BYERLY RD                                                                                                                                          LEXINGTON              NC      27295
6482052   Gregor Wilson                                            6721 Falcon Pointe                                                                                                                                     Wilmington             NC      28411
6483331   Gregory B. Pritikin                                      1417 Lemoyne St.                                                                                                                                       Los Angeles            CA      90026
6484939   Gregory Christian Smith                                  2457 Glyndon Ave.                                                                                                                                      Venice                 CA      90291
6485905   Gregory Jacobs                                           3627 Woodhill Canyon Rd.                                                                                                                               Studio City            CA      91604
6484524   Gregory Jennings Jr., LLC                                c/o Relativity Sports345 N. Maple Dr. #205                                                                                                             Beverly Hills          CA      90210
6484525   Gregory L. Sucherman                                     9814 Yoakum Dr.                                                                                                                                        Beverly Hills          CA      90210
6485771   Gregory L. Zekowski                                      727 N. Lima St.                                                                                                                                        Burbank                CA      91505
6484012   Gregory Longstreet                                       11840 Gorham Ave. #14                                                                                                                                  Los Angeles            CA      90049
6483931   Gregory Maloney                                          8899 Beverly Blvd                                                                                                                                      Los Angeles            CA      90048
6481177   Gregory Polin                                            276 Lydecker St.                                                                                                                                       Englewood              NJ      07631
6485217   Gregory Shamo                                            830 Greenridge Dr.                                                                                                                                     La Canada Flintridge   CA      91011
6485315   Grenadier Films                                          1128 Cordova Ave.                                                                                                                                      Glendale               CA      91207
6482011   Gretna Theatre, LLC                                      P.O. Box 658                                                                                                                                           Gretna                 VA      24557
6483035   Grey Security Group                                      848 N. Rainbow #327                                                                                                                                    Las Vegas              NV      89107




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                                                                                                                          Master Mailing List
                                                                                                                         Served First Class Mail

MMLID     NAME                                              ADDRESS                                                 ADDRESS 2                             ADDRESS 3                          ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6477933   GREYHOUND CHARTER SALES                           15110 NORTH DALLAS PARKWAY                                                                                                                   DALLAS            TX      75248
6480402   GREYSTONE POWER                                   4040 BANKHEAD HIGHWAY                                                                                                                        DOUGLASVILLE      GA      30134
6492733   GREYSTONE POWER CORP.                             4040 BANKHEAD HIGHWAY                                                                                                                        DOUGLASVILLE      GA      30134
6484196   Grid Agency, Inc.                                 1901 Avenue of the Stars, Ste 1050                                                                                                           Los Angeles       CA      90067
6476313   GRIFFIN\STEVE                                     418 S LANG                                                                                                                                   PITTSBURGH        PA      15208
6477080   GRIFFIS\JAMES A.                                  440 LAKE JULIAN EXT.                                                                                                                         ARDEN             NC      28704
6476977   GRIFFITH II\ROBERT SUMTER                         210 EAST BROWN STREET                                                                                                                        SOUTHPORT         NC      28461       UNITED
6479780   GRIGG\SIAN                                        9, CWRT Y VIL ROAD                                                                                                                           PENARTT                   CF64311N    KINGDOM
6477999   GRIGSBY\MICHAEL                                   4820 W PLACITA DEL QUETZAL                                                                                                                   TUCSON            AZ      85745
6474122   GRIMMELMANN*LAURA                                 Address on File
6477603   GRIP SMART INTERNATIONAL INC                      1324 FERN ST                                                                                                                                 NEW ORLEANS       LA      70118
6479332   GRIPS                                             23908 CALIFA STREET                                                                                                                          WOODLAND HILLS    CA      91367
6477474   GRIS GREEN REMEDIATION                            302 ARIS AVE                                                                                                                                 METAIRIE          LA      70005
6472825   GROOVE ADDICTS INC                                1200 CHICKORY LN                                                                                                                             LOS ANGELES       CA      90049-1403
6484998   Groove Addicts Inc                                1420 2nd St                                                                                                                                  Santa Monica      CA      90401
6474079   GROSSBACH*MITCHELL                                Address on File
6480506   Grossman, Megan                                   Address on File
6491487   GROSSMYTH COMPANY, INC., THE                      5301 BEETHOVEN ST. #220                                                                                                                      LOS ANGELES       CA      90066
6477323   GROSSO\GIA                                        3233 NE 34TH ST #1020                                                                                                                        FORT LAUDERDALE   FL      33308
6479015   GROTHE/STEVEN                                     1906 BATAAN RD. #4                                                                                                                           REDONDO BEACH     CA      90278
6486150   Ground Control Systems, Inc.                      3100 El Camino Real                                                                                                                          Atascadero        CA      93422
6485906   Grounded Music, Inc.                              c/o PEN Music Group, Inc. 12456 Ventura Blvd. Suite 3                                                                                        Studio City       CA      91604
6486346   Groundspeak, Inc.                                 837 N. 34th St., Suite 300                                                                                                                   Seattle           WA      98103
6492667   GROUP M WORLDWIDE INC. D/B/A MODI MEDIA           ATTN: RALPH PEPINO                                      825 7TH AVE.                                                                         NEW YORK          NY      10019
6797621   GROUPM                                            62594 COLLECTION CENTER DRIVE                                                                                                                CHICAGO           IL      60693
6491354   GROUPM WORLDWIDE, INC. DBA MODI MEDIA             62594 COLLECTION CENTER DRIVE                                                                                                                CHICAGO           IL      60693
6482697   Groupon, Inc.                                     600 West Chicago Ave. Suite 400                                                                                                              Chicago           IL      60654
6476643   GROUSE INDUSTRIES                                 990 BISCAYNE DR.                                                                                                                             CONCORD           NC      28027
6480640   Grove, Camilla                                    Address on File
6476310   GROW PITTSBURGH                                   6587 HAMILTON AVENUE #2W                                                                                                                     PITTSBURGH        PA      15206
6478736   GRUMPY BEARD PRODUCTIONS, INC.                    2841 1/2 AVENEL STREET                                                                                                                       LOS ANGELES       CA      90039
6474766   GRUSKIN*MATTHEW                                   Address on File
6481469   GRX Electric, Corp.                               83 Robert St                                                                                                                                 Freeport          NY      11520-6224
6482360   GS1 US, Inc.                                      PO Box 71-3034                                                                                                                               Columbus          OH      43271
6481951   GSS LLC T/A Irelands Four Fields                  3412 Connecticut Ave NW                                                                                                                      Washington        DC      20008
6480896   Gu, Hao                                           Address on File
6485993   Guang Ming Song dba Le Neon, LLC                  15136 Valley Blvd. Suite A                                                                                                                   La Puente         CA      91746
6482864   Guardian                                          PO Box 677458                                                                                                                                Dallas            TX      75267
6475735   GUDWIN MUSIC GROUP, INC.                          1338 N. SIERRA BONITA,                                  SUITE # 204                                                                          WEST HOLLYWOOD    CA      90046
6477761   GUERCIO\CARROLL                                   415 HARDING DR                                                                                                                               HOUMA             LA      70364
6474736   GUERRA*ABEL                                       Address on File
6479625   GUERRERO\MARIA C.                                 11704 LA MAIDA STREET                                                                                                                        VALLEY VILLAGE    CA      91607
6479552   GUEST, NICHOLAS H.                                10831 ACAMA STREET                                                                                                                           NORTH HOLLYWOOD   CA      91602
6797612   GUILD COUNSEL                                     C/O BUSH GOTTLIEB                                       ATTN: JOSEPH A. KOHANSKI              500 NORTH CENTRAL AVE. SUITE 800               GLENDALE          CA      91203
6476600   GUILFORD BUILDERS SUPPLY                          1621 BATTLEGROUND AVE                                                                                                                        GREENSBORO        NC      27408
6480963   Guilianti, Anthony                                Address on File
6481574   Guillaume Doubet                                  1596 2nd Ave. #3N                                                                                                                            New York          NY      10028
6476124   GUINAN\SAMANTHA                                   23-32 26TH STREET                                                                                                                            ASTORIA           NY      11105
6481588   Guinness World Records, North America             45 West 45th St. Suite 902                                                                                                                   New York          NY      10036
6482266   Guitar Monkey Entertainment, Inc.                 P.O. Box 340020                                                                                                                              Nashville         TN      37203
6477854   GULF COAST POWER & LIGHT, LLC                     64080 HIGHWAY 1090                                                                                                                           PEARL RIVER       LA      70452-3265
6476921   GULFSTREAM STEEL & SUPPLY, INC                    P. O. BOX 38                                                                                                                                 HOLLY RIDGE       NC      28445
6478288   GULFSTREAM WORLDWIDE LTD.                         P.O. BOX 81200                                                                                                                               ALBUQUERQUE       NM      87198
6480580   Gumbert, Alex                                     Address on File
6475164   GUMPHER INC                                       DBA GUMPHER ELECTRICAL SERVICE                          1701 WILSON ST                                                                       BRADDOCK          PA      15104
6492745   GUND* JEFFREY                                     Address on File
6485121   Gunnell Properties, ACLP                          3100 Donald Douglas Loop North                                                                                                               Santa Monica      CA      90405
6477584   GUNNOE\DALE                                       2480 DAUPHINE ST                                                                                                                             NEW ORLEANS       LA      70117
6485222   Gus Rentals, LLC                                  703 Manzanita Ave                                                                                                                            Sierra Madre      CA      91024
6476090   GUSKIN LTD                                        64-A JANE ST                                                                                                                                 NEW YORK          NY      10014
6484451   Gustavo A Garcia aka Chamanvision                 P.O. Box 3434                                                                                                                                Los Angeles       CA      90078
6486080   Gutierrez & Anderson                              22772 Centre Dr., Suite 200                                                                                                                  Lake Forest       CA      92630
6479735   GUTIERREZ\RICHARD                                 5243 DAMON AVENUE                                                                                                                            SACRAMENTO        CA      95841
6478804   GUTTAG\ANDREA                                     447 N HAYWORTH AVE                                                                                                                           LOS ANGELES       CA      90048
6478762   GUY ENTERPRISES, LLC                              8064 COWAN AVENUE                                                                                                                            LOS ANGELES       CA      90045        UNITED
6475548   GUY, TOM                                          70 BEDA ROAD                                            CANTON                                                                               CARDIFF                   CF5 1LY      KINGDOM
6480536   Guzman, Roberto                                   Address on File
6797599   GVN RELEASING, LLC                                ATTN: GENERAL COUNSEL                                   4400 COLDWATER CANYON AVE., STE 315                                                  STUDIO CITY       CA      91604
6485739   Gypsy Betch, Inc. fso Rosi Golan                  2311 W. Empire Ave.                                                                                                                          Burbank           CA      91504
6476884   GYPSY GRIPS, INC.                                 1523 PORTSMOUTH PLACE                                                                                                                        WILMINGTON        NC      28411




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                                                                                                                                       Served First Class Mail

MMLID     NAME                                                    ADDRESS                                                         ADDRESS 2                              ADDRESS 3                        ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6475635   H & H INDUSTRIES, INC.                                  110 W. MAIN                                                     P.O. BOX 735                                                                        ELMWOOD          IL      61529
6476667   H & S LUMBER                                            4115 MONROE RD                                                                                                                                      CHARLOTTE        NC      28205
6484340   H&M Communications Group                                8639 Holloway Plaza Dr                                                                                                                              West Hollywood   CA      90069
6478669   H.D. BUTTERCUP                                          3225 HELMS AVENUE                                                                                                                                   LOS ANGELES      CA      90034
6477804   H.J. SMITH'S SON                                        308 N COLUMBIA ST                                                                                                                                   COVINGTON        LA      70433
6476143   HABELOW, JASON                                          1562 1ST AVE FRNT                                                                                                                                   NEW YORK         NY      10028-4004
6476027   HABELOW\JASON                                           5 LANTERN RD.                                                                                                                                       FRAMINGHAM       MA      01702
6482429   Haberman Productions Inc                                22920 Woodward Ave                                                                                                                                  Ferndale         MI      48220
6484842   Habitat for Humanity of Greater LA                      17700 S. Figueroa Street                                                                                                                            Gardena          CA      90248
6492673   HABITAT FOR HUMANITY OF GREATER LA, INC.                ATTN: ERIN RANK, PRESIDENT/CEO                                  8739 ARTESIA BLVD.                                                                  BELLFLOWER       CA      90706-6330
6481333   Hacate Entertainment Group, LLC                         245 Eighth Ave. #869                                                                                                                                New York         NY      10011
6481085   Hachette Book Group                                     3 Center Plaza                                                                                                                                      Boston           MA      02108
6478984   HACIENDA HOTEL                                          525 N SEPULVEDA BLVD                                                                                                                                LOS ANGELES      CA      90245
6484197   Hacker, Douglas & Company, LLP                          1900 Avenue of the Stars, Suite 1850                                                                                                                Los Angeles      CA      90067
6476381   HADDAD'S INC.                                           221 CURRY HOLLOW ROAD                                                                                                                               PITTSBURGH       PA      15236
6479084   HAECKER\NANCY                                           2341 28TH STREET                                                                                                                                    SANTA MONICA     CA      90405
6479398   HAGAN\WES                                               6925 TOBIAS AVENUE                                                                                                                                  VAN NUYS         CA      91405
6476599   HAJOCA CORPORATION                                      902 NORWALK STREET                                                                                                                                  GREENSBORO       NC      27407-2027
6483062   Hal Randall Isaacson                                    557 N Windsor Blvd                                                                                                                                  Los Angeles      CA      90004
6484526   Haleeka Entertainment, Inc. fso Doug Atchison           c/o United Talent AgencyAttn: Jon Huddle9336 Civic Center Dr.                                                                                       Beverly Hills    CA      90210
6479771   HALES, EDDIE                                            PO BOX 875475                                                                                                                                       WASILLA          AK      99687-5475
6485196   Haley A. Jackson                                        279 Campo Drive                                                                                                                                     Long Beach       CA      90803
6483518   Haley Sweet                                             9112 Beverlywood St.                                                                                                                                Los Angeles      CA      90034
6478275   HALEY\RON                                               PO BOX 53164                                                                                                                                        ALBUQUERQUE      NM      87153
6476536   HALL JR, DONALD LEE                                     1212 HORSESHOENECK RD.                                                                                                                              LEXINGTON        NC      27295
6478885   HALL, SUSAN C.                                          1310 NORTH SWEETZER AVE #603                                                                                                                        WEST HOLLYWOOD   CA      90069
6477629   HALL\DEREK                                              857 WILSON DR                                                                                                                                       NEW ORLEANS      LA      70119
6477442   HALL\PATRICK                                            500 MELODY DRIVE                                                                                                                                    METAIRIE         LA      70001
6475056   HALL\SUSAN KOWARSH                                      1310 N. SWEETZER AVE                                            #603                                                                                WEST HOLLYWOOD   CA      90006
6492169   HALLMARK CHANNEL                                        C/O CROWN MEDIA UNITED STATES, LLC                              ATTN: LESLIE PARK                      12700 VENTURA BLVD., SUITE 200               STUDIO CITY      CA      91604
6483185   Halm Solutions, Inc.                                    4566 Lomita St.                                                                                                                                     Los Angeles      CA      90019
6482716   Halo Branded Solutions                                  3182 Momentum Place                                                                                                                                 Chicago          IL      60689
6481698   Halo Digital Solutions, LLC                             2 Hawthorne LaneAttn: Frank Pellegrino                                                                                                              Manhasset        NY      11030
6490343   HALO DIGITAL SOLUTIONS, LLC                             ATTN: FRANK PELLEGRINO                                          2 HAWTHORNE LANE                                                                    MANHASSET        NY      11030
6485907   Halon One Design, Inc.                                  11900 Sunshine Terrace                                                                                                                              Studio City      CA      91604
6474479   HALSBAND*KENNETH                                        Address on File
6475019   HALSBAND, KENNETH                                       211 SOUTH SPALDING DRIVE                                        #102N                                                                               BEVERLY HILLS    CA      90212
6480834   Halsband, Kenneth L                                     Address on File
6478616   HALSBAND/KEN                                            1954 N. KENMORE AVENUE, APT 4                                                                                                                       LOS ANGELES      CA      90027
6478617   HALSBAND\KEN                                            1954 N. KENMORE #4                                                                                                                                  LOS ANGELES      CA      90027
6478956   HALSBAND\KEN                                            211 S. SPALDING DRIVE, #102N                                                                                                                        BEVERLY HILLS    CA      90212
6475842   HALSBAND\KEN                                            8899 BEVERLY BLVD.                                              SUITE 510                                                                           LOS ANGELES      CA      90048
6492271   HAMBURGER HOME INC.                                     C/O AVIVA CENTER                                                ATTN: REGINA BETTE, CEO                7120 FRANKLIN AVENUE                         LOS ANGELES      CA      90046
6475482   HAMED\SHANNON                                           5 RIVER OAKS DRIVE                                              APT J                                                                               GREENSBORO       NC      27409
6481266   Hamid Amil Laarouchi                                    808 Broadway #5R                                                                                                                                    New York         NY      10003      UNITED
6486461   Hamilton Hodell Ltd Clients Account                     117 Chevening Road                                                                                                                                  London                   NW6 6DU    KINGDOM
6480890   Hamilton, Matthew                                       Address on File
6476588   HAMILTON, SHELVEY                                       2005 THAYER CIRCLE                                                                                                                                  GREENSBORO       NC      27407
6480476   Hammen, Ashley                                          Address on File                                                                                                                                                                         UNITED
6797589   HAMMER FILM PRODUCTIONS LIMITED                         52 Haymarket                                                                                                                                        LONDON                   SW1Y 4RP   KINGDOM
                                                                                                                                                                                                                                                          UNITED
6468842   HAMMER FILMS PRODUCTION LTD.                            ATTN: SIMON OAKES                                               NORTHCLIFFE HOUSE                      4TH FLOOR                        YOUNG ST    LONDON                   W85EH      KINGDOM
6479179   HAMMERHEAD SOUND, INC.                                  1440 EL RITO AVE                                                                                                                                    GLENDALE         CA      91208
6491560   HAMMERLAND MUSIC                                        255 MARKET ST.                                                                                                                                      VENICE           CA      90291
6492442   HAMMERLAND MUSIC                                        ATTN: ADRIAN KAYS, PRESIDENT                                    3585 S. VERMONT AVE., #7367                                                         LOS ANGELES      CA      90007
6478474   HAMPTON INN & SUITES                                    124 STATE RD 4                                                                                                                                      LOS ALAMOS       NM      87544
6476785   HAMPTON INN & SUITES                                    1989 EASTWOOD RD.                                                                                                                                   WILMINGTON       NC      28403
6477770   HAMPTON INN & SUITES                                    6365 HWY 182 E                                                                                                                                      MORGAN CITY      LA      70380
6477257   HAMPTON, JASON                                          1474 VILLAGE SQUARE                                                                                                                                 MOUNT PLEASANT   SC      29464
6477258   HAMPTON, JASON BASS                                     1474 VILLAGE SQUARE                                                                                                                                 MOUNT PLEASANT   SC      29464
6477259   HAMPTON\JASON                                           1474 VILLAGE SQUARE                                                                                                                                 MT. PLEASANT     SC      29464
6477260   HAMPTON\JASON BASCOM                                    1474 VILLAGE SQUARE                                                                                                                                 MOUNT PLEASANT   SC      29464
6477246   HAMRICK'S INC.                                          742 PEACHOID ROAD                                                                                                                                   GAFFNEY          SC      29341
6489474   HAN KUN LAW OFFICES, LTD                                ATTN: CHADYING LI, PARTNER                                      SUITE 906, OFFICE TOWER C1, ORIENTAL   NO. 1 EAST CHAN AN AVE                       BEIJING                  100738     P.R. CHINA
6486069   Hana Caption LLC                                        12 Misty Meadows                                                                                                                                    Irvine           CA      92612
6477805   HANBY\DANA                                              312 E 3RD AVE                                                                                                                                       COVINGTON        LA      70433
6492664   HAND BALDACHIN & AMBURGEY LLP                           ATTN: MICHAEL E. NORTON, COUNSEL                                8 WEST 40TH ST., 12TH FLOOR                                                         NEW YORK         NY      10018
6477914   HAND PROP ROOM LOUISIANA, LLC                           610 COMMERCE ST                                                                                                                                     SHREVEPORT       LA      71101
6478570   HAND PROP ROOM LP                                       5700 VENICE BLVD                                                                                                                                    LOS ANGELES      CA      90019
6478571   HAND PROP ROOM, L.P.\THE                                5700 VENICE BLVD.                                                                                                                                   LOS ANGELES      CA      90019
6478572   HAND PROP ROOM\THE                                      5700 VENICE BLVD.                                                                                                                                   LOS ANGELES      CA      90019




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MMLID     NAME                                                          ADDRESS                                         ADDRESS 2                                  ADDRESS 3                      ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6477304   HAND, MARIAN                                                  13205 RIVERSIDE DRIVE #204                                                                                                            SHERMAN OAKS      CA      31423
6478433   HANDS ENGINEERING, LLC                                        1216 PARKWAY DRIVE                                                                                                                    SANTA FE          NM      87507-7256
6485230   Hands On Painting                                             PO Box 3383                                                                                                                           South Pasadena    CA      91030
6483427   handsomecharlie films                                         1720 1/2 Whitney Avenue                                                                                                               Los Angeles       CA      90028
6474113   HANEY*LEIGH ANN                                               Address on File
6480490   Haney, Kelly                                                  Address on File
6475915   HANKINSON\DONNA & HAL                                         1005 E. ALAMEDA                                 UNIT B                                                                                SANTA FE          NM      57501
6476280   HANLEY\WILLIAM D                                              1312 DEERFIELD DRIVE                                                                                                                  MONROEVILLE       PA      15146
6480806   Hanna, Steven                                                 Address on File
6478368   HANNA\IAN                                                     2075 CAMINO LADO                                                                                                                      SANTA FE          NM      87505
6476786   HANOVER IRON WORKS SHEET METAL INC.                           1861 DAWSON ST                                                                                                                        WILMINGTON        NC      28403
6478062   HANRAHAN\MIKE                                                 5316 GABLE STREET NW                                                                                                                  ALBUQUERQUE       NM      87102-4439
6478341   HANSEN LUMBER COMPANY, INC.                                   1113 CALLE LARGO                                                                                                                      SANTA FE          NM      87501-1023
6492735   HANSEN* KEVIN                                                 Address on File
6474153   HANSEN*GALE                                                   Address on File
6480695   Hansen, Gale L                                                Address on File
6468738   HANSEN, JACOBSON, HANSEN, JACOBSON, TELLER,                   HOBERMAN, NEWMAN, WARREN, RICHMAN,              RUSH & KALLER, L.L.P., ATTN: ADAM KALLER   450 N. ROXBURY DRIVE           8TH FLOOR   BEVERLY HILLS     CA      90210
6469377   HANSEN, JACOBSON, TELLER, HOBERMAN,                           NEWMAN, WARREN, & RICHMAN, LLP                  450 N. ROXBURY DRIVE, 8TH FLOOR                                                       BEVERLY HILLS     CA      90210-4222
6468737   HANSEN, JACOBSON, TELLER, HOBERMAN, NEWMAN,                   WARREN, RICHMAN, RUSH & KALLER LLP              ATTN: ADAM KALLER                          450 N. ROXBURY DR.             8TH FLOOR   BEVERLY HILLS     CA      90210
6484527   Hansen,Jacobson, Teller, Hoberman, Newman, Warren &Richman,   450 North Roxbury Drive8th Floor                                                                                                      Beverly Hills     CA      90210
6478093   HANSEN\MARK                                                   420 RICHMOND SE                                                                                                                       ALBUQUERQUE       NM      87106
6482561   Hanser J. Alberto                                             c/o Relativity Baseball 400 Skokie Blvd. #280                                                                                         Northbrook        IL      60062
6480462   Hanson, Chad                                                  Address on File
6478162   HANSON\KIM                                                    9016 FREEDOM WAY                                                                                                                      ALBUQUERQUE       NM      87109
6484791   Happy Hour Creative, LLC                                      9469 Jefferson Blvd, Suite 114                                                                                                        Culver City       CA      90232
6486307   Happy Shirts                                                  1320 Liona St.                                                                                                                        Honolulu          HI      96814
6484864   Happy Walters                                                 5957 Cavalleri Road                                                                                                                   Malibu            CA      90265
6489460   HAPPY WALTERS                                                 C/O QUINN EMANUEL URQUHART & SULLIVAN LLP       ATTN: ERIC D. WINSTON, ESQ.                865 S. FIGUEROA STREET, 10TH               LOS ANGELES       CA      90017
6479646   HARA\TRENTON                                                  920 SOUTH GARFIELD                                                                                                                    MONTEREY PARK     CA      91754
6485070   Hard Lines, Inc.                                              2800 Olympic Blvd. 2nd Floor                                                                                                          Santa Monica      CA      90404
6480545   Hardaker, Megan                                               Address on File
6474273   HARDIN*EMILY                                                  Address on File
6476865   HARDISON, KEVIN                                               P.O. BOX 16030                                                                                                                        WILMINGTON        NC      28408
6480942   Hardison, Shari                                               Address on File                                                                                                                                                              UNITED
6475554   HARDY, CORIN                                                  LAUREL HOUSE                                    CHIDDINGLY, NR LEWES                                                                  E SUSSEX                  BN8 6HT      KINGDOM
6480505   Harenburg, Loretta                                            Address on File
6478618   HARJES/BLAKE                                                  1800 N. NEW HAMPSHIRE AVE. #315                                                                                                       LOS ANGELES       CA      90027
6492652   HARKINS REEL DEALS, LLC                                       ATTN: RICHARD LUSTIGER, ESQ.                    7511 E. MCDONALD DRIVE                                                                SCOTTSDALE        AZ      85250
6477088   HARKINS\MACY LYNN                                             602 EIGHTH STREET                                                                                                                     BLACK MOUNTAIN    NC      28711
6479047   HARLOW\DANA                                                   P.O. BOX 2844                                                                                                                         VENICE            CA      90294
6481873   Harman Agency, Inc. dba Wilhemina PA, The                     4902 Carlisle Pike #228                                                                                                               McChanicsburg     PA      17050
6491673   HARMAN PRESS INC, THE                                         6840 VINELAND AVENUE                                                                                                                  NORTH HOLLYWOOD   CA      91605
6475091   HARMON AUTOGLASS-GLASS DOCTOR                                 OF GREATER NEW ORLEANS                          1117 NORTH AL DAVIS RD                                                                JEFFERSON         LA      70123
6483839   Harmony Gold USA Inc                                          7655 Sunset Blvd                                                                                                                      Los Angeles       CA      90046
6477895   HARMONY MASSAGE LLC                                           2617 KELLI DR APT 3                                                                                                                   DENHAM SPRINGS    LA      70726
6474420   HARMSEN*INDIA                                                 Address on File
6480807   Harmsen, India                                                Address on File
6478566   HAROLD & BELLE'S RESTAURANT                                   2920 W JEFFERSON BLVD                                                                                                                 LOS ANGELES       CA      90018
6478114   HAROLD'S BODY REPAIRS                                         3811 EDITH NE                                                                                                                         ALBUQUERQUE       NM      87107
6477585   HAROLDS INDOOR/OUTDOOR PLANTS                                 1135 PRESS ST                                                                                                                         NEW ORLEANS       LA      70117
6476978   HARPER III\JAMES M.                                           3534 AIRPORT ROAD                                                                                                                     SOUTHPORT         NC      28461
6476395   HARPERCOLLINS PUBLISHERS LLC                                  PO BOX 360846                                                                                                                         PITTSBURGH        PA      15251-6846
6479309   HARPER-SMITH\MICHAEL                                          5375 TAMPA AVE                                                                                                                        TARZANA           CA      91356
6479692   HARRINGTON\CHUCK                                              1678 PASEO CASTILLE                                                                                                                   CAMARILLO         CA      93010
6483602   Harris & Ruble                                                5455 Wilshire Blvd., Suite 1800                                                                                                       Los Angeles       CA      90036
6484277   Harris Fishman dba RJC Productions, LLC                       2718 Westshire Dr.                                                                                                                    Los Angeles       CA      90068
6478163   HARRIS\KAREN                                                  9620 DE VARGAS LP NE                                                                                                                  ALBUQUERQUE       NM      87109
6479706   HARRISON & HARRISON OPTICAL ENGINEERS, INC.                   1835 THUNDERBOLT DR., UNIT E                                                                                                          PORTERVILLE       CA      93257
6485122   Harrison Ford LKM Inc. DBA Harrison Ford Productions          2401 Main Street                                                                                                                      Santa Monica      CA      90405
6477915   HARRISON PAINT CO                                             1526 FAIRFIELD AVE                                                                                                                    SHREVEPORT        LA      71101
6474748   HARRISON*DANIEL C                                             Address on File
6480754   Harrison, Jamiree                                             Address on File
6479405   HARRISON\MELISSA                                              7401 GENESTA AVENUE                                                                                                                   LAKE BALBOA       CA      91406
6490427   HARRY FOX AGENCY, INC, THE (PAY BY WIRE)                      ATTN: EVELYN CORREA                             40 WALL ST., 6TH FLOOR                                                                NEW YORK          NY      10005
6483519   Harry Frishberg                                               3328 Oakhurst Avenue, #302                                                                                                            Los Angeles       CA      90034
6474322   HART*CATHERINE                                                Address on File
6480445   Hart, Catherine                                               Address on File
6477788   HART\WILLIAM D                                                118 ABITA OAKS LOOP                                                                                                                   ABITA SPRINGS     LA      70420
6481121   Hartford, The                                                 P.O. Box 2024                                                                                                                         Hartford          CT      06145
6479553   HARTLEY\CLAYTON                                               4660 TALOFA AVE                                                                                                                       TOLUCA LAKE       CA      91602




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                                                                                                                                      Master Mailing List
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MMLID     NAME                                                     ADDRESS                                                      ADDRESS 2                            ADDRESS 3             ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6479554   HARTLEY\CLAYTON R                                        4660 TALOFA AVE.                                                                                                                    TOLUCA LAKE        CA      91602
6479555   HARTLEY\HARRISON                                         4660 TALOFA AVE.                                                                                                                    TOLUCA LAKE        CA      91602
6477407   HARTLEY\JULIE                                            615 SE 7TH STREET                                                                                                                   MINNEAPOLIS        MN      55414
6477771   HARTLEY\RICKY                                            1011 3RD STREET                                                                                                                     MORGAN CITY        LA      70380
6486516   Harvestway (China) Limited                               Unit 2, 10/F., Kingsford Industrial Centre13 Wang Hoi Road                                                                          Kowloon Bay                            Hong Kong
6479372   HASTIGAN/ROBERT                                          22007 CRESTLINE TRAIL                                                                                                               SAUGUS             CA      91390
6479373   HASTIGAN/ROBERT M                                        22007 CRESTLINE TRAIL                                                                                                               SAUGUS             CA      91390
6477283   HASTON\THIRL                                             3588 HWY 138 E                                                                                                                      STOCKBRIDGE        GA      30281
6486192   Hatch Design LLC                                         353 Broadway Street                                                                                                                 San Francisco      CA      94133
6480955   Hatcher, Kathleen                                        Address on File
6797585   HATES, LLC                                               150 WEST 22ND STREET                                                                                                                NEW YORK           NY      10019
6481334   HATES, LLC.                                              C/O Filmnation Features150 West 22nd St.                                                                                            New York           NY      10011
6476336   HAUGHT\MELISSA                                           1709 LOCUST ST.                                                                                                                     PITTSBURGH         PA      15219
6478003   HAUL OF FAME STUDIO EQUIPM                               328 EAST FRONTAGE ROAD                                                                                                              ALGODONES          NM      87001
6478004   HAUL OF FAME STUDIO EQUIPMENT                            328 EAST FRONTAGE ROAD                                                                                                              ALGODONES          NM      87001
6476492   HAUSER RENTAL SERVICE, INC                               1511 S. STRATFORD ROAD                                                                                                              WINSTON-SALEM      NC      27103
6485200   Haven Creative, Inc.                                     1641 E. Amelia Dr.                                                                                                                  Long Beach         CA      90807
6479987   HAWAII DEPT. OF LABOR & INDUSTRIAL RELATIONS             DIRECTOR                                                     830 PUNCHBOWL STREET                                                   HONOLULU           HI      96813
6486305   Hawaii State Tax Collector                               P.O. Box 3225                                                                                                                       Honolulu           HI      96801
6478500   HAWKINS\AMY S.                                           3 BRIMHALL WASH                                                                                                                     SANTA FE           NM      87580
6477227   HAY\MARY                                                 118 NORTH LANE                                                                                                                      SWANNANOA          NC      28778
6483681   Hayden Boal                                              1040 N. Las Palmas Ave., Bldg 40                                                                                                    Los Angeles        CA      90038
6477381   HAYDEN\JAMES                                             12745 CEDAR RD                                                                                                                      CLEVELAND HTS      OH      44106
6479791   HAYES\KERRY                                              318 WILLOW AVE                                                                                                                      TORONTO            ON      M4E 3K7    CANADA
6483732   Haylee Vance                                             3134 Scotland St.                                                                                                                   Los Angeles        CA      90039
6484129   Hayley Lozitsky                                          4241 Redwood Ave., Apt. 2307                                                                                                        Los Angeles        CA      90066
6481690   Haymarket Media Inc                                      PO Box 223                                                                                                                          Congers            NY      10920
6475476   HAYNES\KANDEN                                            4250 WILLIAMS BLVD                                           APT C322                                                               KENNER             LA      70068
6477475   HAYS\ERIC FOX                                            143 LAKE AVE                                                                                                                        METAIRIE           LA      70005
6475112   HAYWOOD COUNTY CONSOLIDATED                              SCHOOLS                                                      1230 NORTH MAIN STREET                                                 WAYNESVILLE        NC      28786
6491471   HAZMAT MEDIA, INC.                                       120 N. ROBERTSON BLVD.                                                                                                              LOS ANGELES        CA      90048
6483282   HCS Executive Town Car Service,LLC                       11901 Santa Monica BlvdSuite 646                                                                                                    Los Angeles        CA      90025
6486096   HD Music Now, Inc.                                       22636 Demasia                                                                                                                       Mission Viejo      CA      92691
6478312   HDNM ENTERTAINMENT, LLC                                  439 W SAN FRANCISCO ST                                                                                                              SANTA FE           NM      87501
6481968   HDO Productions LP                                       11910 Parklawn Dr                                                                                                                   Rockville          MD      20852
6485506   HDRIV, Inc.                                              22718 Flamingo                                                                                                                      Woodland Hills     CA      91364
6481335   Headlight                                                136 W. 21st Street                                                                                                                  New York           NY      10011
6481178   Headquarters Enterprises, LLC fso Johnny Castellanos     P.O. Box 11                                                                                                                         Englewood          NJ      07631
6483280   Heaney, Gail Catherine                                   Address on File
6475212   HEARST ENTERTAINMENT                                     ATTN:GROUP ACCT HEARST TOWER                                 214 N.TRYON ST, 30TH FLOOR                                             CHARLOTTE          NC      282002
6481887   HEARST MAGAZINES                                         PO Box 25883                                                                                                                        Lehigh Valley      PA      18002
6485475   Heart Foundation The                                     32107 Lindero Canyon Rd                                                                                                             Westlake Village   CA      91361
6491578   HEART UNITED, LLC DBA DOG FOR DOG                        3000 31ST ST. SUITE C                                                                                                               SANTA MONICA       CA      90405
6476421   HEASLEY'S NURSERIES INC                                  247 FREEPORT ROAD                                                                                                                   BUTLER             PA      16002
6480738   Heath, Grant                                             Address on File
6486207   Heather Carrie Designs                                   1325 Bryon Street                                                                                                                   Palo Alto          CA      94301
6482059   Heather Neeld                                            1625 Kensington Rd.                                                                                                                 Hendersonville     NC      28791
6481388   Heather Newgen                                           529 Broome St. #24                                                                                                                  New York           NY      10013
6482416   Heather Pelkey                                           9442 Stone Rd.                                                                                                                      Agonac             MI      48021
6479828   HEATHERDEN SECURITIES CORP.                              ATTN: JESSE A. COHN                                          712 FIFTH AVENUE                     35TH FLOOR                        NEW YORK           NY      10019
6490433   HEATHERDEN SECURITIES LLC                                ATTN: DAVID MILLER                                           40 WEST 57TH STREET, 30TH FLOOR                                        NEW YORK           NY      10019
6480112   HEATHERDEN SECURITIES LLC                                C/O ELLIOTT MANAGEMENT CORPORATION                           ATTENTION : DAVID MILLER             40 WEST 57TH ST.                  NEW YORK           NY      10019
6486563   HEATHERDEN SECURITIES LLC, AS COLLATERAL AGENT           11444 W. OLYMPIC BLVD., 11TH FLOOR                                                                                                  LOS ANGELES        CA      90064
6486705   Heatherden Securities, LLC                               40 W. 57th St.                                                                                                                      New York           NY      10019
6478967   HEAVEN OR LAS VEGAS                                      11814 JEFFERSON BLVD                                                                                                                CULVER CITY        CA      90230
6483733   Heavy Water Productions                                  2835 Avenel St.                                                                                                                     Los Angeles        CA      90039
6492287   HEAVY YOUNG HEATHENS                                     C/O TWELVESIXTY, LLC                                         ATTN: ROBERT MARDEROSIAN             P.O. BOX 6470                     MALIBU             CA      90264
6492780   HECTOR GLUCK GMBH                                        ATTN: JUDITH TOSSELL, MANAGING DIRECTOR                      WALLSTR. 15A                                                           BERLIN                     10179      GERMANY
6476906   HEDGEPETH\ALBERT WILLIAM                                 1200 ST JOSEPH ST. #68                                                                                                              CAROLINA BEACH     NC      28428
6479085   HEDGES\CULLMAN                                           157 HAST AVE.                                                                                                                       SANTA MONICA       CA      90405
6477586   HEDLUND\CLAIRE                                           522 MONTEGUT ST #116                                                                                                                NEW ORLEANS        LA      70117
6477630   HEDRICK\CHERYL                                           1627 PAUL MORHY ST                                                                                                                  NEW ORLEANS        LA      70119
6486412   Heenan Blaikie LLP                                       1250 Rene-Levesque Blvd., West Suite 2500                                                                                           Montreal           QC      H3B 4Y1    CANADA
6480363   HEIDI DURROW                                             C/O WILLIAM MORRIS ENDEAVOR ENTERTAINMENT                    ATTN: ALICIA GORDON & MARY HARDING   9601 WILSHIRE BLVD.               BEVERLY HILLS      CA      90210
6481589   Heidrick & Struggles                                     1114 Avenue of the Americas, 24th Floor                                                                                             New York           NY      10036
6478143   HEIGHTS KEY LOCK & SAFE INC.                             920 SAN MATEO NE                                                                                                                    ALBUQUERQUE        NM      87108
6480849   Heimpel, Jennifer A.                                     Address on File
6477843   HEINRICH III\STANLEY                                     39470 WILLIS ALLEY                                                                                                                  PEARL RIVER        LA      70452
6483682   Held & Associates, LLC                                   742 N. Sycamore Ave.                                                                                                                Los Angeles        CA      90038
6482514   Helen Stergiou                                           17235 West Cunningham Ct                                                                                                            Libertyville       IL      60048




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MMLID     NAME                                              ADDRESS                                                              ADDRESS 2                             ADDRESS 3               ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6486191   Helene T. Roos, Inc. dba HDA Consulting           4059 26th St.                                                                                                                                  San Francisco     CA      94131
6485996   Helicopter Specialized Services                   1395 Fairplex Dr. #4                                                                                                                           La Verne          CA      91750
6481162   HeliFliteShares, LLC                              15 Brewster Road North                                                                                                                         Newark            NJ      07114
6476644   HELIVISION, LLC                                   9000 AVIATION BLVD, SUITE 219                                                                                                                  CONCORD           NC      28027
6481455   Helix Workspace 295, LLC                          295 Madison Ave. 12th Floor                                                                                                                    New York          NY      10017
6480990   Hellman, Cady                                     Address on File
6482420   HelloWorld, Inc.                                  One ePrize Dr.                                                                                                                                 Pleasant Ridge    MI      48069
6477604   HELM PAINT & SUPPLY INC                           8180 EARHART BLVD                                                                                                                              NEW ORLEANS       LA      70118
6485036   Help Company, The                                 1821 Wilshire Blvd., No 646                                                                                                                    Santa Monica      CA      90403
6476557   HELP, INCORPORATED: CENTER AGAINST VIOLENCE       PO BOX 16                                                                                                                                      WENTWORTH         NC      27375
6474850   HELTZER*MAXWELL                                   Address on File
6484529   Hemingway Media Group Inc The                     321 N Palm Dr                                                                                                                                  Beverly Hills     CA      90210
6475169   HEMSWORTH/CHRISTOPHER                             C/O: ERIC FULTON                                                     17530 VENTURA BLVD. STE 201                                               ENCINO            CA      91316
6477523   HENDERSON CONSTRUCTION                            2317 TYLER STREET                                                                                                                              KENNER            LA      70062
6474855   HENDERSON*CHRISTOPHER                             Address on File
6476725   HENDERSON, JR.\CHESTER LEE                        2137 ADAMS STREET                                                                                                                              WILMINGTON        NC      28401
6477605   HENDERSON\DOROTHY                                 8411 OAK ST                                                                                                                                    NEW ORLEANS       LA      70118
6477101   HENDERSONVILLE TENT INC.                          P.O. BOX 34                                                                                                                                    EAST FLAT ROCK    NC      28726
6474884   HENDRICKSON*DOUGLAS                               Address on File
6478313   HENDRICKSON\INGA                                  1541 CORTE DE LA CANADA                                                                                                                        SANTA FE          NM      87501
6477917   HENERY\JERRY                                      2331 FAIRFIELD AVE                                                                                                                             SHREVEPORT        LA      71104
6479112   HENLEY\DARRYL                                     P.O. BOX 5081                                                                                                                                  CARSON            CA      90749
6480762   Hennessy, Paul                                    Address on File
6483367   Henry Edward Bedford                              2916 St. George Street#102                                                                                                                     Los Angeles       CA      90027
6482562   Henry Urrutia                                     c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                              Northbrook        IL      60062
6476326   HENRY\MIA TARDUCCI                                312 BRILLIANT AVENUE                                                                                                                           PITTSBURGH        PA      15215
6478886   HENRY\ROBERT OWEN                                 1236 N FLORES ST #105                                                                                                                          WEST HOLLYWOOD    CA      90069
6477089   HENSON BUILDING MATERIALS                         139 BROADWAY ST                                                                                                                                BLACK MOUNTAIN    NC      28711
6481569   Hercost, Inc. fso Sandra Hernandez                327 St. Nicholas Ave. Suite 5M                                                                                                                 New York          NY      10027
6482377   Heritage Associates, Inc.                         P.O. Box 92                                                                                                                                    Salem             OH      44460
6476787   HERITAGE FURNITURE RESTORATION                    5813 OLEANDER DRIVE                                                                                                                            WILMINGTON        NC      28403
6477896   HERITAGE HOUSE ANTIQUES                           208 N RANGE AVE                                                                                                                                DENHAM SPRINGS    LA      70726
6477428   HERITAGE-CRYSTAL CLEAN LLC                        13621 COLLECTIONS CENTER DR                                                                                                                    CHICAGO           IL      60693-0136
6479148   HERMAN/LESLIE                                     266 MADISON AVE. #104                                                                                                                          PASADENA          CA      91101
6477844   HERMANN\PETER                                     543 5TH ST                                                                                                                                     PEARL RIVER       LA      70452
6475941   HERNANDEZ MARTINEZ\MERALDO                        PLAYA HUCARES BDA 125                                                                                                                          NAGUABO           PR      00718
6474828   HERNANDEZ*LUIS                                    Address on File
6491617   HERNANDEZ/RAFAEL                                  Address on File
6475543   HERNANDEZ\ANTONIO                                 MANSIONES PLAYA HUCARES 20                                           CALLE PACIFICO                                                            NAGUABO           PR      00718
6475467   HERNANDEZ\SANDRA                                  327 ST. NICHOLAS AVENUE                                              APT 5M                                                                    NEW YORK          NY      10027
6475493   HERNANDEZ\TEOFILO                                 COND. TORRES DE CERVANTES                                            APTO. 1016-B                                                              SAN JUAN          PR      00924
6468818   HEROES & VILLIANS ENTERTAINMENT                   ATTN: MIKHAIL NAYFELD                                                1041 N. FORMOSA AVE., FORMOSA BLDG.   SUITE 202                           LOS ANGELES       CA      90046
6476115   HERON\NYE                                         43 MAJOR LOCKWOOD LANE                                                                                                                         POUND RIDGE       NY      10506
6478245   HERRERA COACHES, INC.                             10605 CENTRAL AVE NW                                                                                                                           ALBUQUERQUE       NM      87121
6478144   HERRERA\HANK                                      316 HERMOSA DR NE                                                                                                                              ALBUQUERQUE       NM      87108
6476979   HERRING JR.\DAVIS C.                              823 ROBERT RUARK DR                                                                                                                            SOUTHPORT         NC      28461
6474371   HERRINGTON*COLTON                                 Address on File
6480488   Herscovici, Rita                                  Address on File
6480451   Herther, Daniel                                   Address on File
6475606   HERTZ CORPORATION                                 DEPT 1190                                                            P O BOX 121190                                                            DALLAS            TX      753-1190
6477942   HERTZ CORPORATION                                 P.O. BOX 121124                                                                                                                                DALLAS            TX      75312-1124
6491729   HERTZ CORPORATION                                 PO BOX 121190, DEPT 1190                                                                                                                       DALLAS            TX      75312-1190
6479490   HERTZ ENTERTAINMENT SERVICES                      3111 N KENWOOD ST                                                                                                                              BURBANK           CA      91505
6482859   Hertz Entertainment Services Corp                 PO Box 650280                                                                                                                                  Dallas            TX      75265
6477524   HERTZ EQUIPMENT RENTAL                            141 W. AIRLINE HWY.                                                                                                                            KENNER            LA      70062
6482860   Hertz Equipment Rental                            P.O. Box 650280                                                                                                                                Dallas            TX      75265
6477935   HERTZ EQUIPMENT RENTAL CORPORATION                P.O. BOX 650280                                                                                                                                DALLAS            TX      75265-0280
6485864   Herzog & Company                                  4640 Lankershim BlvdSuite 400                                                                                                                  North Hollywood   CA      91602
6492609   HERZOG & COMPANY                                  ATTN: JANET SHEPARD, CFO                                             4640 LANKERSHIM BLVD., SUITE 400                                          NORTH HOLLYWOOD   CA      91602
6865945   He's A Rebel Productions                          c/o Lewis Brisbois BIsgaard & Smith LLP                              Suite 4000, 633 W. Fifth Street                                           Los Angeles       CA      90071
6485037   He's A Rebel Productions, Inc.                    9769 APRICOT LN                                                                                                                                BEVERLY HILLS     CA      90210-1501
6468926   HESS FILMS, LLC FSO JARED HESS                    C/O UNITED TALENT AGENCY                                             ATTN: KEYA KHAYATIAN                  9336 CIVIC CENTER DR.               BEVERLY HILLS     CA      90210
6484530   Hess Films, LLC fso Jared Hess                    c/o United Talent Agency9336 Civic Center Dr. Attn: Keya Khayatian                                                                             Beverly Hills     CA      90210
6478285   HESS\RICHARD                                      P.O. BOX 4084                                                                                                                                  ALBUQUERQUE       NM      87196
6476650   HESSE\MERNA J.                                    13324 MAYES ROAD                                                                                                                               HUNTERVILLE       NC      28078
6478619   HESTER\BABETTE ALIX                               1625 LYMAN PLACE                                                                                                                               LA                CA      90027
6478440   HEWETT\GREG                                       13 ESPIRA RD                                                                                                                                   SANTA FE          NM      87508
6482680   HFR Group LLC                                     10 South Riverside Plaza, Ste. 1450                                                                                                            Chicago           IL      60606
6475280   HI ROLLERS MOTION PICTURE                         EQUIPMENT RENTAL LLC                                                 3840 BRITTANY LANE                                                        LA CRESCENTA      CA      91214
6479461   HI TECH COMPUTER RENTAL                           172 W VERDUGO AVE                                                                                                                              BURBANK           CA      91502-2132




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MMLID     NAME                                                 ADDRESS                                                               ADDRESS 2                             ADDRESS 3                     ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6477207   HI TECH INTEGRATED SYSTEMS                           9 OLD BURNSVILLE RD SUITE 6                                                                                                                                         ASHEVILLE         NC      28804
6479695   HIBARGER\JASON                                       3137 WAUKEGAN AVE.                                                                                                                                                  SIMI VALLEY       CA      93063
6475435   HIBON\BEN                                            C/O WILLIAM MORRIS ENDEAVOR                                           9601 WILSHIRE BOULEVARD, 3RD F                                                                BEVERLY HILLS     CA      90210
6476904   HICKS III\DONALD M.                                  1707 NEW SAVANNAH DRIVE                                                                                                                                             BURGAW            NC      28425
6492148   HICKS* MO'NIQUE                                      C/O ANDERSON & SMITH P.C.                                             ATTN: RICKY ANDERSON, ESQ.            7322 SOUTHWEST FREEWAY        SUITE 2010                HOUSTON           TX      77074       UNITED
6486479   Hiddleston Trade Marks                               Brockborne House 77 Mount EphraimTunbridge Wells                                                                                                                    Kent                      TN4 8BS     KINGDOM
6797574   HI-FINESSE MUSIC AND SOUND LLC                       ATTN: JEZ COLIN                                                       1102 GRANT AVENUE                                                                             VENICE            CA      90291
6797569   HI-FINESSE MUSIC AND SOUND LLC                       ATTN: MR. JEZ COLIN                                                   1102 GRANT AVENUE                                                                             VENICE            CA      90291
6484941   Hi-Finesse Music and Sound, LLC                      1102 Grant Ave.                                                                                                                                                     Venice            CA      90291
6492816   HI-FINESSE MUSIC AND SOUND, LLC                      ATTN: JEZ COLIN, PRESIDENT                                            1102 GRANT AVE.                                                                               VENICE            CA      90291
6484198   High Concept Development, LLC                        Attn: Darren Trattner1925 Century Park East, 22nd Floor                                                                                                             Los Angeles       CA      90067
                                                                                                                                                                           AUSTEN MANDELEBAUM MORRIS &   DARREN TRATTNER,1925
6468743   HIGH CONCEPT DEVLOPMENT , LLC &                      HIGH CONCEPT PRODUCTION LLC                                           C/O JACKOWAY TYERMAN WERTHERIMER      KLEIN                         CENTURY PARK EAST, 22FL   LOS ANGELES       CA      90067
6476519   HIGH POINT ART & DESIGN CENTER                       641 W. WARD AVE.                                                                                                                                                    HIGH POINT        NC      27260
6476520   HIGH POINT FURNITURE FINDS                           1300 N MAIN ST                                                                                                                                                      HIGH POINT        NC      27260
6484638   High Star Parking Service, Inc                       264 S. La Cienga BlvdSte #1049                                                                                                                                      Beverly Hills     CA      90211
6475316   HIGHLAND BUSINESS &                                  NEIGHBORHOOD ASSOCIATION                                              465 JEFFERSON NE                                                                              ALBUQUERQUE       NM      87108
6474963   HIGHLAND PARKING                                     & TRANSPORTATION                                                      4804 LAUREL CANYON BLVD #112                                                                  VALLEY VILLAGE    CA      91607
6477909   HIGHTOWER\TERRY                                      565 STARING LN                                                                                                                                                      BATON ROUGE       LA      70810
6478223   HIGHWAY SUPPLY LLC                                   6221 CHAPPELL RD NE                                                                                                                                                 ALBUQUERQUE       NM      87113
6476843   HILBURN, JR, ALAN                                    120 COVENTRY RD                                                                                                                                                     WILMINGTON        NC      28405
6478184   HILIFE FURNITURE INC.                                3821 MENAUL BLVD NE                                                                                                                                                 ALBUQUERQUE       NM      87110
6474568   HILL*DWIGHT                                          Address on File
6482125   Hillary Brown                                        329 Lyndon Avenue                                                                                                                                                   Athens            GA      30601
6481155   Hillman Consulting, LLC                              1600 Route 22 East                                                                                                                                                  Union             NJ      07083
6468782   HILLMAN GRAD PRODUCTIONS INC.                        C/O PARADIGM                                                          ATTN: ZAC SIMMONS                     360 NORTH CRESCENT DRIVE                                BEVERLY HILLS     CA      90210
6468783   HILLMAN GRAD PRODUCTIONS INC.                        F/S/O LENA WAITHE                                                     C/O PARADIGM                          360 NORTH CRESCENT DRIVE                                BEVERLY HILLS     CA      90210
6483016   Hilton Clay Peres                                    541 Agua Fria                                                                                                                                                       Santa Fe          NM      87501
6476726   HILTON WILMINGTON RIVERSIDE                          301 N. WATER STREET                                                                                                                                                 WILMINGTON        NC      28401
6477645   HILTON\STEPHANIE                                     520 JEFFERSON ST                                                                                                                                                    JEFFERSON         LA      70121
6481432   Hiltzik Strategies                                   381 Park Ave. South, #1201                                                                                                                                          New York          NY      10016
6487845   HILTZIK STRATEGIES, LLC                              ATTN: RONI J. GROSS, COO                                              381 PARK AVENUE SOUTH                 #1201                                                   NEW YORK          NY      10016        UNITED
6475320   HINCHLIFFE\DICKON                                    C/O FIRST ARTISTS MANAGEMENT                                          4764 PARK GRANADA, SUITE # 210                                                                CALABASAS         CA      91302        KINGDOM
6480800   Hindle, Erika                                        Address on File
6492730   HINES* SCOTT                                         Address on File
6480428   Hinojosa, Ernesto                                    Address on File
6476658   HINSON\MICHAEL D.                                    114 E RED CROSS RD.                                                                                                                                                 OAKBORO           NC      28129
6474449   HINTERMEIER*BETH                                     Address on File
6480712   Hintermeier, Beth                                    Address on File
6476370   HINTON\CHRIS                                         2424 BEAUFORT AVE                                                                                                                                                   PITTSBURGH        PA      15226
6486335   hipcricket                                           11241 Slater Ave NE, Ste 201                                                                                                                                        Kirkland          WA      98033
6475031   HI-PER PRODUCTIONS                                   18401 BURBANK BLVD                                                    #208                                                                                          TARZANA           CA      91356
6797560   HIRAM GARCIA                                         C/O GANG TYRE, RAMNER & BROWN INC.                                    ATTN: HAROLD BROWN AND BIANCA LEVIN   132 SOUTH RODEO DRIVE                                   BEVERLY HILLS     CA      90212
6475769   HIRAM INVESTMENTS, LLC                               1080 OLD SPANISH TRAIL                                                SUITE 10                                                                                      SLIDELL           LA      70458
6474786   HIRSCHHORN*MATTHEW                                   Address on File
6479899   HISCOX INSURANCE CO., INC.                           DAVID HART                                                            601 S. FIGUEROA ST., SUITE 2650                                                               LOS ANGELES       CA      90017
6479900   HISCOX INSURANCE CO., INC.                           NEPHERTITI PLUNKETT                                                   601 S. FIGUEROA ST., SUITE 2650                                                               LOS ANGELES       CA      90017
6486731   Hiscox Insurance Company                             104 South Michigan Avenue, Suite 600                                                                                                                                Chicago           IL      60603
6479889   HISCOX INSURANCE COMPANY                             ATTN: LEGAL DEPARTMENT                                                520 MADISON AVENUE                    32ND FLOOR                                              NEW YORK          NY      10022
6797561   Hiscox Insurance Company, Inc.                       c/o Arthur J. Gallagher & Co. Insurance Brokers of California, Inc.   Attn: General Counsel                 505 N Brand Blvd Ste 600                                Glendale          CA      91203-3944
6480463   Hiss, Ryan                                           Address on File
6477075   HISTORIC ASSOCIATES,LLC.                             306 VALLEY STREAM RD                                                                                                                                                STATESVILLE       NC      28677
6479600   HIT AND RUN SOUND                                    12215 CREWE ST                                                                                                                                                      NORTH HOLLYWOOD   CA      91605
6479450   HI-TECH COMPUTER RENTAL                              172 VERDUGO AVENUE                                                                                                                                                  BURBANK           CA      91502
6469605   HITRECORD.ORG LLC                                    ATTN: ABIGAIL LAKE                                                    PO BOX 250841                                                                                 GLENDALE          CA      91225
6485321   hitRECord.org LLC                                    PO Box 250841Attn: Abigail Lake                                                                                                                                     Glendale          CA      91225
6477674   HJM MACHINE SHOP INC                                 304 TIME SAVER AVE                                                                                                                                                  HARAHAN           LA      70123
6481083   HLB Palace Cinemas dba Palace 9                      23 Greystone Rd.                                                                                                                                                    Nahant            MA      01908
6481536   HLT NT Waldorf LLC dba Waldorf Astoria               301 Park Ave                                                                                                                                                        New York          NY      10022
6478887   HO\VICTOR                                            8581 SANTA MONICA BLVD #189                                                                                                                                         WEST HOLLYWOOD    CA      90069
6476788   HOBBS JR.\WILLIAM K.                                 2234 METTS AVENUE                                                                                                                                                   WILMINGTON        NC      28403
6478202   HOBBY LOBBY                                          700 JUAN TABO NE                                                                                                                                                    ALBUQUERQUE       NM      87111
6477194   HOBER\JEFF                                           41 PEDER AVE.                                                                                                                                                       ASHEVILLE         NC      28803
6479677   HOCHEIMER\JASON                                      23281 CAMINITO MARCIAL                                                                                                                                              LAGUNA HILLS      CA      92653
6484639   Hoday Management, Inc. dba Exacta Services           8909 W. Olympic Blvd. Suite 100                                                                                                                                     Beverly Hills     CA      90211
6476933   HODGE\LLOYD                                          1700 LINCOLN ROAD                                                                                                                                                   LELAND            NC      28451
6480579   Hoerner, Daniel                                      Address on File
6479792   HOFFERT/MYRON                                        205 A MUTUAL ST.                                                                                                                                                    TORONTO           ON      M5B-2B4      CANADA
6474162   HOFFINGER*DYLAN                                      Address on File
6477987   HOFFMAN\MICHEAL LYNN                                 2396 N. HEIGHTS DR                                                                                                                                                  BOISE             ID      83712




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                                                                                                                                               Master Mailing List
                                                                                                                                              Served First Class Mail

MMLID     NAME                                                     ADDRESS                                                               ADDRESS 2                                 ADDRESS 3                     ADDRESS 4                 CITY                 STATE   POSTAL CODE COUNTRY
6480926   Hofmeister, Raymond                                      Address on File
6469719   HOGAN LOVELLS INTERNATIONAL LLP                          ATLANTIC HOUSE, HOLBORN VIADUCT                                                                                                                                         LONDON                       EC1A 2FG     GERMANY
                                                                                                                                                                                                                                                                                     UNITED
6486395   Hogan Lovells International LLP                          Atlantic House, Holborn Viaduct                                                                                                                                         London                       EC1A 2FG     KINGDOM
6474296   HOGAN*ELIZABETH PORTER                                   Address on File
6475871   HOGIE'S THEATRICAL SUPPLIES                              3225 RICHARDS LANE                                                    SUITE B                                                                                           SANTA FE             NM      87507-2984
6476980   HOLDEN\CAROL K.                                          219 N. LORD STREET                                                                                                                                                      SOUTHPORT            NC      28461
6476934   HOLDENS BACKHOE SERVICE                                  3189 M. MISERY RD.                                                                                                                                                      LELAND               NC      28451
6478185   HOLIDAY BOWL, INC.                                       7515 LOMAS BLVD NE                                                                                                                                                      ALBUQUERQUE          NM      87110
6478369   HOLIDAY INN                                              4048 CERRILLOS ROAD                                                                                                                                                     SANTA FE             NM      87505
6478007   HOLIDAY INN EXPRESS                                      119 BELL LANE                                                                                                                                                           BERNALILLO           NM      87004
6474920   HOLIDAY INN EXPRESS & SUITES                             NEW ORLEANS SOUTH                                                     566 W LAKE ST STE 320                                                                             CHICAGO              IL      60661-1414
6478475   HOLIDAY INN EXPRESS HOTEL & SU                           2455 TRINITY DRIVE                                                                                                                                                      LOS ALAMOS           NM      87544
6477060   HOLIDAY INN RESORT                                       1706 N. LUMINA AVE.                                                                                                                                                     WRIGHTSVILLE BEACH   NC      28480
6481969   Holiday Productions, Inc. dba Kentlands Stadium 10       11300 Rockville Pike Suite 607                                                                                                                                          Rockville            MD      20852
6476210   HOLLIDAY MEMORIAL ZION CHURCH                            600 TALBOT AVENUE                                                                                                                                                       BRADDOCK             PA      15104
6481795   Holly Rymon dba Rymon Reason Productions                 151 School Lane                                                                                                                                                         Long Beach           NY      11561
6482670   Hollywood Blvd. Cinema, LLC                              1001 W. 75th St. Suite 153                                                                                                                                              Woodridge            IL      60517
6483428   Hollywood Bowl Storage                                   1847 N. Argyle Ave                                                                                                                                                      Los Angeles          CA      90028
6483683   Hollywood Center Studios                                 1040 North Las Palmas                                                                                                                                                   Los Angeles          CA      90038
6479601   HOLLYWOOD CINEMA ARTS INC                                8110 WEBB AVE                                                                                                                                                           NORTH HOLLYWOOD      CA      91605
6482801   Hollywood Cinemas 9 LLC                                  1401 W Esplanade                                                                                                                                                        Kenner               LA      70065
6480219   HOLLYWOOD CITY HALL                                      C/O LOS ANGELES CITY HALL                                             200 N. SPRING ST.                                                                                 LOS ANGELES          CA      90012
6491244   HOLLYWOOD ELSEWHERE                                      90 HART STREET, APT #3B                                                                                                                                                 BROOKLYN             NY      11206
6484341   Hollywood Foreign Press Association                      646 N. Robertson Blvd                                                                                                                                                   West Hollywood       CA      90069
6483684   Hollywood Forever, Inc.                                  6000 Santa Monica Blvd.                                                                                                                                                 Los Angeles          CA      90038
6484692   Hollywood Gang Productions, LLC                          9916 Santa Monica Blvd. 1st Floor                                                                                                                                       Beverly Hills        CA      90212
6483429   Hollywood Historic Trust                                 7020 Hollywood Blvd.                                                                                                                                                    Los Angeles          CA      90028
6475714   HOLLYWOOD LOCATION COMPANY INC                           1201 WEST 5TH ST                                                      STE F-170                                                                                         LOS ANGELES          CA      90017
6484531   Hollywood Network, Inc                                   433 N. Camden Drive, Suite 600                                                                                                                                          Beverly Hills        CA      90210
6471852   HOLLYWOOD PRODUCTION CENTER                              1149 NORTH GOWER ST.                                                                                                                                                    LOS ANGELES          CA      90038
6483685   Hollywood Production Center, LLC                         1149 N Gower Street                                                                                                                                                     Los Angeles          CA      90038
6485818   Hollywood Records                                        500 South Buena Vista St.                                                                                                                                               Burbank              CA      91521
                                                                                                                                         ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492806   HOLLYWOOD RECORDS, INC.                                  C/O THE WALT DISNEY COMPANY                                           MGR                                       500 SOUTH BUENA VISTA ST.                               BURBANK              CA      91521-9750
6479252   HOLLYWOOD RENTALS,LLC                                    5300 MELROSE AVE                                                                                                                                                        LOS ANGELES          CA      90018-5111
6491438   HOLLYWOOD REPORTER THE                                   5055 WILSHIRE BLVD                                                                                                                                                      LOS ANGELES          CA      90036
6482636   Hollywood Reporter, The                                  PO Box 3595                                                                                                                                                             Northbrook           IL      60065
6479169   HOLLYWOOD SCRIPT RESEARCH                                448 WEST MAPLE STREET                                                                                                                                                   GLENDALE             CA      91204
6473269   HOLLYWOOD SOFTWARE, INC.                                 5550 TOPANGA CANYON BLVD,STE300                                                                                                                                         WOODLAND HILLS       CA      91367
6484426   Hollywood Software, Inc.                                 PO Box 740916                                                                                                                                                           Los Angeles          CA      90074
6485908   Hollywood Stars Limousine, LLC dba Royal Elite           3940 Laurel Canyon Blvd. #462                                                                                                                                           Studio City          CA      91604
6478707   HOLLYWOOD STUDIO GALLERY                                 1035 CAHUENGA BLVD                                                                                                                                                      HOLLYWOOD            CA      90038
6478708   HOLLYWOOD STUDIO GALLERY                                 1035 N CAHUENGA BLVD                                                                                                                                                    HOLLYWOOD            CA      90038
6486317   Hollywood Theater Holdings, Inc.                         919 SW Taylor St. Suite 800                                                                                                                                             Portland             OR      97205
6477907   HOLLYWOOD TRUCKS, LLC                                    10000 CELTIC DRIVE SUITE 400                                                                                                                                            BATON ROUGE          LA      70809
6478567   HOLMAN UNITED METHODIST CHURCH                           3320 W ADAMS BLVD                                                                                                                                                       LOS ANGELES          CA      90018
6478203   HOLSTEAD\KYNDALL                                         12508 SNOWMASS WAY NE                                                                                                                                                   ALBUQUERQUE          NM      87111
6478204   HOLT\DANIEL                                              6940 CHERRY HILLS LP NE                                                                                                                                                 ALBUQUERQUE          NM      87111
6473071   HOLTHOUSE CARLIN & VAN TRIGT LLP                         1801 W. OLYMPIC BLV,FILE 1404                                                                                                                                           PASADENA             CA      91199
6485283   Holthouse Carlin & Van Trigt LLP                         1801 W. Olympic BlvdFile 1404                                                                                                                                           Pasadena             CA      91199
6490479   HOLTHOUSE CARLIN & VAN TRIGT LLP                         350 W. COLORADO BLVD.                                                 5TH FLOOR                                                                                         PASADENA             CA      91105
6476528   HOLTZMAN MARKET RENTALS                                  203 EDWARDS LANE                                                                                                                                                        JAMESTOWN            NC      27282
6474326   HOLUPKA*BERNADETTE                                       Address on File
6478047   HOLYOKE\MARY                                             713 EDITH BLVD, SE                                                                                                                                                      ALBUQUERQUE          NM      87102
6797556   HOME BOX OFFICE                                          1100 AVENUE OF THE AMERICAS                                                                                                                                             NEW YORK             NY      10036
6481293   Home Box Office Inc                                      1 Chase Manhattan Plaza                                                                                                                                                 New York             NY      10005
6797548   HOME BOX OFFICE INC                                      ATTN: SENIOR VICE PRESIDENT BUSINESS AFFAIRS, FILM                    1100 AVENUE OF THE AMERICAS                                                                       NEW YORK             NY      10036
6489683   HOME BOX OFFICE, INC.                                    Address on File
6485772   Home Brew                                                2550 Hollywood Way, Ste.600                                                                                                                                                Burbank           CA      91505
6483109   Homeboy Industries dba Homegirl Cafe                     130 W. Bruno St.                                                                                                                                                           Los Angeles       CA      90012
6483226   Homegrown Pictures, Inc.                                 10960 Wilshire Blvd., 5th Floor                                                                                                                                            Los Angeles       CA      90024
6480060   HOMELAND INSURANCE COMPANY OF NEW YORK                   ATTN: P. WILLIAMS                                                     1100 GLENDON AVENUE                       SUITE 900                                                  LOS ANGELES       CA      90024
6797545   HOMELAND INSURANCE COMPANY OF NEW YORK                   C/O ONEBEACON ENTERTAINMENT                                           1100 GLENDON AVENUE, SUITE 900                                                                       LOS ANGELES       CA      90024
6797534   HOMELAND INSURANCE COMPANY OF NEW YORK                   C/O ONEBEACON ENTERTAINMENT                                           ATTN: JOSEPH FITZGERALD                   11-- GLENDON AVE, SUITE 900                                LOS ANGELES       CA      90024
6797535   Homeland Insurance Company of New York                   c/o Unifi Completion Guaranty Insurance Solutions, Inc. d/b/a UniFi   Attn: Steven Leib                         Completion Guarantors         22287 Mulholland Drive, #367 Calabasas         CA      91302
6485382   HomePro Inspections                                      9909 Topanga Canyon Blvd, Suite 154                                                                                                                                        Chatsworth        CA      91311
6473143   HOMEPRO INSPECTIONS, INC.                                9909 TOPANGA CANYON BLVD. SUITE 154                                                                                                                                        CHATSWORTH        CA      91311
6478186   HOMEWOOD SUITES BY HILTON                                7101 ARVADA AVE NE                                                                                                                                                         ALBUQUERQUE       NM      87110
6475608   HONAKER FUNERAL HOMES                                    AND CEMETERIES INC                                                    P O BOX 6087                                                                                         SLIDELL           LA      70469
6481047   Hoodlum Active Pty Ltd                                   PO Box 38 Paddington                                                                                                                                                       Queensland                4064         AUSTRALIA




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                                                                                                                              Served First Class Mail

MMLID     NAME                                                       ADDRESS                                             ADDRESS 2                              ADDRESS 3                      ADDRESS 4                   CITY               STATE   POSTAL CODE COUNTRY
6481232   Hooek Produktion, Inc. dba Produktion, Inc.                147 West 26th St., 6th Floor                                                                                                                          New York           NY      10001
6484199   Hoosick Falls Productions f/s/o George Verschoor           c/o CAA Attn: Alan Braun2000 Ave of the Stars                                                                                                         Los Angeles        CA      90067
6478264   HOPE LUMBER AND SUPPLY CO.                                 PO BOX 26777                                                                                                                                          ALBUQUERQUE        NM      87125
6481983   Horizon Cinemas Inc dba Rotunda Cinemas                    1200 C Angora Drive                                                                                                                                   Pikesville         MD      21208
6475806   HORNE-RIVER RIDGE II,LP                                    412 NORTH CEDAR BLUFF RD                            SUITE 205                                                                                         KNOXVILLE          TN      37923-3609
6797536   HORROR ENTERTAINMENT                                       C/O Comcast                                         One Comcast Center                                                                                Philadelphia       PA      19103
6480982   Horsley, Carlyn                                            Address on File
6492365   HORVATH*SEAN                                               Address on File
6480763   Horvath, Sean                                              Address on File
6483430   Hospitality Temps Corporation of CA., Inc.                 1680 N. Vine St. Suite 814                                                                                                                            Los Angeles        CA      90028
6478259   HOST FILM PRODUCTION, LLC                                  4403 LOS REYES ROAD SE                                                                                                                                RIO RANCHO         NM      87124
6483227   Hot Plastic Productions                                    10960 Wilshire Blvd. Suite 1900                                                                                                                       Los Angeles        CA      90024
                                                                                                                         C/O HANSEN JACOBSON TELLER HOBERMAN,                                  450 NORTH ROXBURY DRIVE,
6492115   HOT PLASTIC PRODUCTIONS, INC. F/S/O PETER                  CRAIG                                               ET AL                                  ATTN: DONALD W. STEELE, ESQ.   8TH FLOOR                   BEVERLY HILLS      CA      90210
6479770   HOTEL ALYESKA, THE                                         PO BOX 249                                                                                                                                            GIRDWOOD           AK      99587
6477174   HOTEL INDIGO                                               151 HAYWOOD STREET                                                                                                                                    ASHEVILLE          NC      28801
6478315   HOTEL SANTA FE                                             1501 PASEO DE PERALTA                                                                                                                                 SANTA FE           NM      87501
6475268   HOTTE\BAILEE MADISON                                       C/O COAST TO COAST                                  3350 BARHAM BLVD.                                                                                 LOS ANGELES        CA      90068
6476372   HOUSE AND BUILDING ENGINEERING                             132 OAKWOOD AVE                                                                                                                                       PITTSBURGH         PA      15229
6485507   House of Adjustments                                       21243 Ventura Blvd. #141                                                                                                                              Woodland Hills     CA      91364
6484342   House of Blues                                             8430 Sunset Blvd.                                                                                                                                     West Hollywood     CA      90069
6480876   Householder, Richard                                       Address on File
6475297   HOUSING AUTHORITY OF                                       NEW ORLEANS                                         4100 TOURO ST                                                                                     NEW ORLEANS        LA      70122
6482897   Houston Flyers                                             3322 Yellowstone Blvd.Unit 1905                                                                                                                       Houston            TX      77021
6484693   Howard A. Krom A Professinal Corp                          9401 Wilshire Blvd, Ste 1250                                                                                                                          Beverly Hills      CA      90212
6483160   Howard Building Corporation                                707 Wilshire BlvdSuite 3750                                                                                                                           Los Angeles        CA      90017
6484694   Howard Cummings Productions                                c/o United Talent Agency, 9560 Wilshire Blvd                                                                                                          Beverly Hills      CA      90212
6480492   Howard, Harry                                              Address on File
6483840   Howie Weinberg Mastering, Inc.                             8331 Lookout Mountain Ave.                                                                                                                            Los Angeles        CA      90046
6482847   HP Village Theater, LLC                                    32 Highland Park Village                                                                                                                              Dallas             TX      75205
6491303   HR DIRECT                                                  P.O. BOX 451179                                                                                                                                       FORT LAUDERDALE    FL      33345
6482655   HSBC Business Solutions                                    PO Box 5219                                                                                                                                           Carol Stream       IL      60197
6480901   Hu, Yang Hua                                               Address on File
6477881   HUBBARD, MADISON                                           1023 BRECKENRIDGE DR                                                                                                                                  SLIDELL            LA      70461
6491421   HUBBEL A. PALMER                                           Address on File
6480593   Huber, Jennifer                                            Address on File
6476727   HUBER\FRITZI BABETTE                                       2120 HARRISON ST.                                                                                                                                     WILMINGTON         NC      28401
6481433   Huddled Masses, LLC                                        79 Madison Ave., 2nd Floor                                                                                                                            New York           NY      10016
6490526   HUDDLED MASSES, LLC                                        ATTN: MARK PACI, COO                                79 MADISON AVE., 2ND FLOOR                                                                        NEW YORK           NY      10016
6490400   HUDMAR PUBLISHING CO, INC.                                 C/O FITZGERALD HARTLEY CO.                          34 N. PALM, SUITE 100                                                                             VENTURA            CA      93001
6477549   HUFF JR\ROBERT LEE                                         153 URSULA DRIVE                                                                                                                                      AVONDALE           LA      70094        HONG
6468704   HUGE GRAND INVESTMENTS LIMITED                             ATTN: TERRY WONG                                    ATTN: MR. QIANG ZHANG, CEO             26/F TOWER ONE, TIMES SQUARE   1 MATHESON STREET,          HONG KONG                               KONG
6477361   HUGHES\JEDD                                                2306 DEMARIUS DRIVE                                                                                                                                   NASHVILLE          TN      37216
6478409   HUGHES\KIRK                                                6317 MAPLE STREET                                                                                                                                     SANTA FE           NM      87507
6476981   HUGHES\SAMANTHA                                            324 MARINA VIEW DRIVE                                                                                                                                 SOUTHPORT          NC      28461
6477901   HUGHSPLACE INC                                             6732 US HWY 190 WEST                                                                                                                                  PORT ALLEN         LA      70767
6478936   HUGO BOSS, INC.                                            414 N. RODEO DR.                                                                                                                                      BEVERLY HILLS      CA      90210
6797522   HUGO SHONG                                                 2350 VILLA HEIGHTS ROAD                                                                                                                               PASADENA           CA      91107
6475563   HULA MEDIA SERVICES, LLC.                                  AKA HULA POST PRODUCTION                            DEPT LA 24248                                                                                     PASADENA           CA      91185-4248
6479451   HULA POST PRODUCTION                                       1111 S. VICTORY BOULEVARD                                                                                                                             BURBANK            CA      91502
6490010   HULETT*HUNTER                                              Address on File
6491928   HULU, LLC                                                  C/O GREENBERG GLUSKER FIELDS CLAMAN &               MACHTINGER LLP                         ATTN: JEFFREY A. KRIEGER       1900 AVENUE OF THE STARS,   LOS ANGELES        CA      90067
6482735   Humanscale Corporation                                     15815 Collections Center Dr                                                                                                                           Chicago            IL      60693
6479738   HUNADI/SHAWN                                               4555 PUUWAI RD.                                                                                                                                       KALAHEO            HI      96741
6474093   HUNT*MATTHEW LESLIE                                        Address on File
6476589   HUNT, KIMBERLY                                             3907 GASTON ROAD                                                                                                                                      GREENSBORO         NC      27407
6478316   HUNT\HELEN LAKELLY                                         460 ST. MICHAELS DRIVE                                                                                                                                SANTA FE           NM      87501
6482267   Hunter Hayes                                               2300 Charlotte Ave. Suite 103                                                                                                                         Nashville          TN      37203
6485508   Hunter Hulett                                              20058 Ventura Blvd. #151                                                                                                                              Woodland Hills     CA      91364
6477544   HUNTER KILLER LA PRODUCTIONS, LLC                          10289 AIRLINE HWY                                                                                                                                     ST. ROSE           LA      70087
6478187   HUNTER LUMBER COMPANY                                      7301 MENUAL BLVD. NE                                                                                                                                  ALBUQUERQUE        NM      87110
6478188   HUNTER LUMBER CORPORATION                                  7301 MENAUL BLVD NE                                                                                                                                   ALBUQUERQUE        NM      87110
6476660   HUNTER\GARREN                                              539 STARVIEW DR                                                                                                                                       RUTHERFORDTON      NC      28139
6480858   Hursh, Casey                                               Address on File
6492614   HURWITZ ENTERTAINMENT COMPANY, INC.* THE                   ATTN: BECKY ROOT                                    5344 VINELAND AVENUE                                                                              NORTH HOLLYWOOD    CA      91601
6477228   HUTCHISON\LAYNE                                            16 CENTRAL AVE WEST                                                                                                                                   ASHEVILLE          NC      28806
6474526   HUTENSKY*STEVEN                                            Address on File
6480869   Hutensky, Steven D                                         Address on File
6480551   Hwang, Jennifer                                            Address on File
6478008   HYATT REGENCY TAMAYA                                       1300 TUYUNA TRAIL                                                                                                                                     SANTA ANA PUEBLO   NM      87004




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MMLID     NAME                                                        ADDRESS                                                 ADDRESS 2                              ADDRESS 3                      ADDRESS 4                   CITY               STATE   POSTAL CODE COUNTRY
6474942   HYATT REGENCY TAMAYA RESORT                                 & SPA                                                   1300 TUYUNA TRAIL                                                                                 SANTA ANA PUEBLO   NM      87004
6492855   HYBRID STUDIO INC.                                          ATTN: JEFF LIN                                          7505 W. 80TH ST.                                                                                  LOS ANGELES        CA      90045
6482184   Hyde International Marketing, LLC fso Carlos Hyde           3839 NW Boca Raton Blvd. Suite 100                                                                                                                        Boca Raton         FL      33431
6477195   HYDE\KEVIN ANDREW                                           160 PORTER ROAD                                                                                                                                           ASHEVILLE          NC      28803
6477208   HYDER\VANDEE                                                140 LOCKOUT RD.                                                                                                                                           ASHEVILLE          NC      28804
6478294   HYDRA-CRATE, INC.                                           P.O. BOX 90035                                                                                                                                            ALBUQUERQUE        NM      87199-0035
6478986   HYDROFLEX, INC.                                             301 E. EL SEGUNDO BLVD                                                                                                                                    EL SEGUNDO         CA      90245-3855
6484855   HYFN, Inc.                                                  12777 W JEFFERSON BLVD STE 100                                                                                                                            LOS ANGELES        CA      90066-7034
6479725   HYLDRETH\DAMON                                              1439 21ST AVE                                                                                                                                             SAN FRANCISCO      CA      94122
6480881   Hyman, Alex                                                 Address on File
6475082   HYMAN\ROBERT                                                DBA DENGA MUSIC                                         1058 BROADMOOR ROAD                                                                               BRYN MAWR          PA      19010
6477525   HYMEL\STEVEN                                                1101 MASSACHUSETTS AVE                                                                                                                                    KENNER             LA      70062
6477876   HYNEMAN\SAMUEL                                              306 MORGAN DR                                                                                                                                             SLIDELL            LA      70460
6479286   I COMMUNICATIONS, INC.                                      7648 SAN FERNANDO ROAD                                                                                                                                    SUN VALLEY         CA      91352
6483431   I O Film                                                    1415 Cahuenga Blvd.                                                                                                                                       Los Angeles        CA      90028
6471735   IAN BROUCEK                                                 1005 S. ORLANDO AVE.                                                                                                                                      LOS ANGELES        CA      90035
6483548   Ian Broucek                                                 1660 S. Crescent Heights Blvd.                                                                                                                            Los Angeles        CA      90035
6482563   Ian Krol                                                    c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                         Northbrook         IL      60062
6485806   Ian Sefchick                                                903 N. Orchard Dr.                                                                                                                                        Burbank            CA      91506
6480092   IATM LLC                                                    3115 SOUTH LA CIENAGA BLVD.                                                                                                                               LOS ANGELES        CA      90016
6483146   IATM LLC                                                    3233 S. La Cienega Blvd.                                                                                                                                  Los Angeles        CA      90016
6487911   IATM, LLC                                                   C/O FREEMAN FREEMAN & SMILEY, LLC                       ATTN: THEODORE B. STOLMAN/CAROL CHOW 1888 CENTURY PARK EAST, SUITE                                LOS ANGELES        CA      90067
6480355   IATM, LLC AND BANDITO BROTHERS LLC                          C/O BLOOM HERGOTT DIEMER ROSENTHAL ET AL.               ATTN: STUART ROSENTHAL               150 SOUTH RODEO DRIVE 3RD                                    BEVERLY HILLS      CA      90212
6797519   IATM, LLC.                                                  C/O BLOOM HERGOTT DIEMER ROSENTHAL LAVIOLETTE FELDMAN   150 S Rodeo Dr                       3rd Floor                                                    Beverly Hills      CA      90212
6485865   IATSE                                                       10045 Riverside Drive, 2nd FL                                                                                                                             North Hollywood    CA      91602
6476093   IATSE ANNUITY FUND                                          417 5TH ST 3RD FLOOR                                                                                                                                      NEW YORK           NY      10016
6492178   IATSE ANNUITY FUND                                          C/O SPIVAK LIPTON LLP                                   ATTN: DANIEL FLAHERTY                  1700 BROADWAY, SUITE 2100                                  NEW YORK           NY      10019
6474927   IATSE ENTERTAINMENT AND EXHIBITION                          INDUSTRIES TRAINING TRUST FUND                          10045 RIVERSIDE DRIVE                                                                             TOLUCA LAKE        CA      91602
6478346   IATSE LOCAL 480                                             P.O. BOX 5351                                                                                                                                             SANTA FE           NM      87502-5351
6476094   IATSE NATIONAL H&W FUND                                     417 5TH AVE 3RD FL                                                                                                                                        NEW YORK           NY      10016
6492180   IATSE NATIONAL HEALTH AND WELFARE FUND                      C/O SPIVAK LIPTON LLP                                   ATTN: DANIEL FLAHERTY                  1700 BROADWAY, SUITE 2100                                  NEW YORK           NY      10019
6476095   IATSE NATIONAL PENSION FUND                                 417 5TH AVE 3RD FL                                                                                                                                        NEW YORK           NY      10016
6492182   IATSE NATIONAL PENSION FUND                                 C/O SPIVAK LIPTON LLP                                   ATTN: DANIEL FLAHERTY                  1700 BROADWAY, SUITE 2100                                  NEW YORK           NY      10019
6483933   IB Squared, Inc dba InSync Bemis Balkind                    6135 Wilshire Blvd.                                                                                                                                       Los Angeles        CA      90048
6492631   IB SQUARED, INC DBA INSYNC BEMISBALKIND                     ATTN: VICTORIA ORTMAN, CONTROLLER                       6135 WILSHIRE BLVD.                                                                               LOS ANGELES        CA      90048
6477324   IBC AIRWAYS, INC.                                           1535 PERIMETER RD., HANGAR 36A                                                                                                                            FT LAUDERDALE      FL      33309
6468694   IBERIA BANK                                                 200 WEST CONGRESS STREET                                12TH FLOOR                                                                                        LAFAYETTE          LA      70501
6468685   IBERIA BANK                                                 LEIGH SEAGO                                             3412 ST. CHARLES AVE.                                                                             NEW ORLEANS        LA      70115
6468686   IBERIA BANK                                                 RENEE RODNEY                                            3412 ST. CHARLES AVE.                                                                             NEW ORLEANS        LA      70115
6478076   IBVADO SWEEPING LLC                                         4205 SHELDON ST SE                                                                                                                                        ALBUQUERQUE        NM      87105
6479927   Icahn Associates Holding LLC                                Address on File
6482690   ICE Development, LLC                                        3330 West Roosevelt Rd.                                                                                                                                   Chicago            IL      60624
6477951   ICE EXPRESS                                                 8257 GULF FREEWAY                                                                                                                                         HOUSTIN            TX      77017-4503
6481363   Iced Media                                                  415 W Broadway                                                                                                                                            New York           NY      10012
6478864   ICM                                                         10250 CONSTELLATION BLVD., 7TH FLOOR                                                                                                                      LOS ANGELES        CA      90067
6468846   ICM PARTNERS                                                ATTN: HEATHER BUSHONG                                   730 FIFTH AVENUE                                                                                  NEW YORK           NY      10019
6468827   ICM PARTNERS                                                ATTN: RICH GREEN                                        10250 CONSTELLATION BLVD                                                                          LOS ANGELES        CA      90067
6486105   Icon Signs                                                  3196 E. La Palma Ave.                                                                                                                                     Anaheim            CA      92806
6468824   ICONISUS L&Y                                                ATTN: STEPHAN LAPP - PRESIDENT                          10000 VENICE BLVD                                                                                 CULVER CITY        CA      90232
6484793   Iconisus, Inc.                                              10000 Venice Blvd.                                                                                                                                        Culver City        CA      90232
6492350   ICONISUS, INC.                                              ATTN: EMRAH YUCEI, PRESIDENT                            10000 VENICE BLVD.                                                                                CULVER CITY        CA      90232
6483433   ID Public Relations-DO NOT USE                              7060 Hollywood Blvd. 8th Floor                                                                                                                            Los Angeles        CA      90028
6479975   IDAHO DEPARTMENT OF LABOR                                   DIRECTOR                                                317 W. MAIN STREET                                                                                BOISE              ID      83735
6481970   Idan Ravin                                                  11113 Broadgreen Dr.                                                                                                                                      Potomac            MD      20854
6481900   Idea Den, LLC                                               150 North Radnor Chester Rd. Suite F-200                                                                                                                  Wayne              PA      19087
6797505   IDEA DEN, LLC                                               624 GRASSMERE PARK                                      SUITE 16                                                                                          NASHVILLE          TN      37211
6479099   IDEA ENGINE, INC.                                           17619 Cohasset St                                                                                                                                         Lake Balboa        CA      91406-2318
6485909   Ideal Talent Agency, LLC                                    10806 Ventura Blvd. #2                                                                                                                                    Studio City        CA      91604
6797506   Identical Production Company, LLC                           c/o City National Bank                                  Attn: Jerry Dasti, Esq.                Sloss Eckhouse Law Co LLP      55 W. 25th St., 4th Floor   New York           NY      10001
6487822   IDENTICAL PRODUCTION COMPANY, LLC                           C/O KAITLIN WALSH, ATTORNEY                             MINTZ, LEVIN, COHN, FERRIS, GLOVSKY    AND POPEO, P.C.                666 THIRD AVENUE            NEW YORK           NY      10017
6485773   ideocentric, LLC                                            931 N. Kenwood Street                                                                                                                                     Burbank            CA      91505
6482760   IDFPR                                                       320 West Washington St.                                                                                                                                   Springfield        IL      62786
6797487   IDG + SAIF                                                  501 2nd street                                          Suite 600                                                                                         Suite 600          CA      94107
6797493   IDG CHINA MEDIA FUND II. L.P.                               ATTN: HUGO SHONG/MI ZHOU                                AETNA TOWER                            NO. 107 ZUNYI ROAD             ROOM 1105                   SHANGHAI                   20051        CHINA
                                                                                                                                                                                                                                                                        HONG
6492142   IDG CHINA MEDIA FUND, II LP                                 C/O IDG CAPITAL MANAGEMENT (HK) LTD.                    ATTN: CHI SING HO                      UNIT 5505, 55/F, THE CENTRE    99 QUEEN'S ROAD             CENTRAL                                 KONG
                                                                                                                                                                                                                                                                        HONG
6480107   IDG CHINA MEDIA FUND, II LP                                 C/O IDG CAPITAL MANAGEMENT (HK) LTD.                    ATTN: CHI SING HO                      UNIT 5505, 55/F, THE CENTRE,   99 QUEEN’S ROAD             CENTRAL                                 KONG
6479823   IDG CHINA MEDIA FUND, II LP/IDG-ACCEL FUNDS                 ATTN: HUGO SHONG/MI ZHOU                                AETNA TOWER                            NO. 107 ZUNYI ROAD             ROOM 1105                   SHANGHAI                   20051        CHINA
6797496   IDG CHINA MEDIA FUNDS II L.P.                               IDG-ACCEL FUNDS                                         AETNA TOWER                            NO. 107 ZUNYI ROAD             ROOM 1105                   SHANGHAI                   20051        CHINA
6797486   IDG MEDIA                                                   ATTN: HUGO SHONG/MI ZHOU                                AETNA TOWER                            NO. 107 ZUNYI ROAD             ROOM 1105                   SHANGHAI                   20051        CHINA
6484200   iDiscover, LLC                                              2049 Century Park East, Suite 4370                                                                                                                        Los Angeles        CA      90067




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                                                                                                                                   Served First Class Mail

MMLID     NAME                                                  ADDRESS                                                      ADDRESS 2                             ADDRESS 3                        ADDRESS 4                   CITY                  STATE   POSTAL CODE   COUNTRY
6481764   Idolmaker Films, Inc.                                 271 Columbia St. Suite #1                                                                                                                                       Brooklyn              NY      11231
6482698   IEG, LLC                                              350 N. Orleans, Suite 1200                                                                                                                                      Chicago               IL      60654
6481963   IEP LLC dba Innovative Event Production               9590 Lynn Buff Ct                                                                                                                                               Laurel                MD      20723
6476601   IF IT'S BASKETS                                       2401 LAWNDALE DR.                                                                                                                                               GREENSBORO            NC      27408
6481233   IFC Theatres LLC                                      11 Penn Plaza                                                                                                                                                   New York              NY      10001
6476144   IFS AIR CARGO, INC.                                   147-22 FARMERS BLVD., 2ND FLOOR                                                                                                                                 JAMAICA               NY      11434
6483228   IFTA                                                  10850 Wilshire Blvd. 9th Floor                                                                                                                                  Los Angeles           CA      90024
6480388   IFWT PRODUCTIONS, LLC                                 4631 S. IDLEWILD ROAD                                                                                                                                           SALT LAKE CITY        UT      84124
6479556   IGNITE CREATIVE, LLC                                  11146 VALLEY SPRING LANE                                                                                                                                        STUDIO CITY           CA      91602
6797480   IGNITION CREATIVE                                     12959 CORAL TREE PLACE                                                                                                                                          LOS ANGELES           CA      90066
6468834   IGNITION CREATIVE                                     ATTN: CREATIVE DIRECTOR, EVP AV                              12959 CORAL TREE PLACE                                                                             LOS ANGELES           CA      90066
6484130   Ignition Creative LLC                                 12959 Coral Tree Place                                                                                                                                          Los Angeles           CA      90066
6492326   IGNITION CREATIVE LLC                                 ATTN: LYNDA COX, CFO                                         12959 CORAL TREE PLACE                                                                             LOS ANGELES           CA      90066
6485071   Ignition Interactive                                  3211 Olympic Blvd.                                                                                                                                              Santa Monica          CA      90404
6492327   IGNITION PRINT                                        ATTN: LYNDA COX, CFO                                         12959 CORAL TREE PLACE                                                                             LOS ANGELES           CA      90066
6492380   IHEART MEDIA, INC.                                    20880 STONE OAK PARKWAY                                                                                                                                         SAN ANTONIO           TX      78258
6475967   IKAKOS BAR                                            URB SUNRISE CALLE STARFIRE A12                                                                                                                                  HUMACOO               PR      00791
6478852   IKEMEFUNA\OBI                                         3979 CAZADOR                                                                                                                                                    LOS ANGELES           CA      90065
6492708   IL- DEPARTMENT OF REVENUE                             C/O BANKRUPTCY SECTION                                       P.O. BOX 64338                                                                                     CHICAGO               IL      60664-0338
6806571   IL Dept of Revenue Bankruptcy Section                 PO Box 19035                                                                                                                                                    Springfield           IL      62794-9035
6482661   Ilan Greenberg                                        2426 Hartzell St.                                                                                                                                               Evanston              IL      60201
6797476   I'LL SLEEP WHEN I'M DEAD LLC                          ATTN: GENERAL COUNSEL                                        400 S. BEVERLY DRIVE                  SUITE 400                                                    BEVERLY HILLS         CA      90212
6487840   I'LL SLEEPWHENI'MDEAD, LLC                            C/O DONALDSON & CALLIF, LLP                                  ATTN: LISA CALLIF                     400 S. BEVERLY DRIVE             SUITE 400                   BEVERLY HILLS         CA      90212
6479946   ILLINOIS DEPARTMENT OF LABOR                          DIRECTOR                                                     160 N. LASALLE STREET                 13TH FLOOR SUITEC-1300                                       CHICAGO               IL      60601
6797484   ILLSLEEP WHENIMDEAD LLC                               C/O DREAM CHASER PICTURES, INC.                              D/B/A MEDIA WEAVER                    ATTN: MATT WEAVER                345 N MAPLE, SUITE 281      BEVERLY HILLS         CA      90210
6797477   ILLSLEEPWHENIMDEA, LLC                                C/O DREAM CHASER PICTURES, INC.                              D/B/A MEDIAWEAVER                     ATTN: MATT WEAVER                345 N. MAPLE DRIVE, SUITE   BEVERLY HILLS         CA      90210
6489695   ILLSLEEPWHENIMDEAD, LLC                               C/O DREAM CHASER PICTURES, INC.                              1230 N FAIRFAX AVENUE                                                                              W HOLLYWOOD           CA      90046-5206
6480341   ILLSLEEPWHENIMDEAD, LLC                               C/O DREAM CHASER PICTURES, INC.                              D/B/A MEDIAWEAVER                     345 N. MAPLE DRIVE, SUITE 281    ATTN: MATT WEAVER           BEVERLY HILLS         CA      90210
6484532   ILLSLEEPWHENIMDEAD, LLC                               c/o Dream Chaser Pictures, Inc. 345 N. Maple Dr. Suite 281                                                                                                      Beverly Hills         CA      90210
6480358   ILLSLEEPWHENIMDEAD, LLC                               C/O SANDLER DES ROCHERS LLP                                  GRAY KRAUSS STRATFORD                 400 SOUTH BEVERLY DRIVE, SUITE                               BEVERLY HILLS         CA      90212
6479638   ILLUMINATE/HTV, INC.                                  PO BOX 80023                                                                                                                                                    CITY OF INDUSTRY      CA      91716-8023
6476682   ILLUMINATION DYNAMICS INC                             3823 BARRINGER DR                                                                                                                                               CHARLOTTE             NC      28217
6482256   Illusionati, Inc. fso Mark David Cohn                 819 Powder Horn Drive                                                                                                                                           Smyrna                TN      37167
6485718   Ilona Herman                                          711 Roselli Street                                                                                                                                              Burbank               CA      91501
6482826   ILYPM, LLC                                            14301 Caliber Dr., Suite 300                                                                                                                                    Oklahoma City         OK      73134
6797464   IM GLOBAL ,LLC                                        ROW SALES AGENT                                              2049 CENTURY PARK EAST                4TH FLOOR                                                    LOS ANGELES           CA      90067
6468821   IM GLOBAL FILM FUND, LLC                              ATTN: STUART FORD                                            8322 BEVERLY BLVD                     SUITE 300                                                    LOS ANGELES           CA      90048
6797463   IM GLOBAL, LLC                                        ATTN: GENERAL COUNSEL                                        2049 CENTURY PARK EAST                4TH FLOOR                                                    LOS ANGELES           CA      90067
6483934   IM Global, LLC dba IM Global Film Fund, LLC           2049 Century Park East                                       4th Floor                                                                                          Los Angeles           CA      90067
6797473   IM GLOBAL, LLC,                                       2049 CENTURY PARK EAST                                       4TH FLOOR                                                                                          LOS ANGELES           CA      90067
6476789   IMAGE DISPLAYSIMAGE DISPLAYS                          4900 VINTNER CT                                                                                                                                                 WILMINGTON            NC      28409-3617
6486483   Image Engine Design, Inc.                             15 W. 5th Ave.                                                                                                                                                  Vancouver             BC      V5Y 1H4       CANADA
6485383   Image Entertainment, Inc.                             20525 Nordhoff Street, Suite 200                                                                                                                                Chatsworth            CA      91311         UNITED
6486383   Image Impact, Ltd.                                    The Old Rectory, Wood LaneClapton-In-Gordano                                                                                                                    Bristol                       B520 7RQ      KINGDOM
6475760   IMAGE LOCATIONS, INC.                                 2404 WILSHIRE BOULEVARD,                                     SUITE # 7-A                                                                                        LOS ANGELES           CA      90057
6475907   IMAGE MONSTER                                         4724 NEW CENTRE DRIVE                                        UNIT 1 & 2                                                                                         WILMINGTON            NC      28405
6485509   Image Resources                                       5325 Topanga Canyon Blvd                                                                                                                                        Woodland Hills        CA      91364
6481185   Image Stream Productions                              21 Berkeley Court                                                                                                                                               Washington Township   NJ      07676
6475315   IMAGE SYSTEMS                                         AKA DV SALES & SUPPORT, INC.                                 4605 LANKERSHIM BLVD # 700                                                                         NORTH HOLLYWOOD       CA      91602
6476067   IMAGEM HOLDING CORP                                   229 W 28TH ST, 11TH FLOOR                                                                                                                                       NEW YORK              NY      10001
6481234   Imagem Holding Corp. dba Imagem Music, LLC            229 West 28th St. 11th Floor                                                                                                                                    New York              NY      10001
6485740   Imagic                                                2810 North Lima St                                                                                                                                              Burbank               CA      91504
6476870   IMAGINEER BUILDING CO. LLC                            2600 COULTER PLACE                                                                                                                                              WILMINGTON            NC      28409
6482770   ImaJAN Media dba FilmCrave                            3549 NE Austin Dr.                                                                                                                                              Lees Summit           MO      64064
6486359   IMDb                                                  P.O. Box 84065                                                                                                                                                  Seattle               WA      98124
6482214   IMG Basketball Academy                                Attn: Dan Barto5500 34th Street West                                                                                                                            Bradenton             FL      34210
6481235   IMG dba Art + Commerce                                531 West 25th St., 4th Floor, 4 East                                                                                                                            New York              NY      10001
6491830   IMG MODELS, LLC FKA IMG MODELS, INC.                  304 PARK AVENUE SOUTH - PENTHOUSE NORTH                                                                                                                         NEW YORK              NY      10010
6478476   IMMACULATE HEART OF MARY                              3700 CANYON ROAD                                                                                                                                                LOS ALAMOS            NM      87544
6482144   Immediate Mode Interactive, LLC                       1 Purlieu PlaceSuite 130                                                                                                                                        Winter Park           FL      32792
6491569   IMMEDIATE MUSIC LLC                                   1540 7TH ST                                                                                                                                                     SANTA MONICA          CA      90401
6485124   Immediate Music LLC                                   2801 Ocean Park Blvd., PMB415                                                                                                                                   Santa Monica          CA      90405
6492426   IMMEDIATE MUSIC LLC                                   ATTN: YOAV GOREN, PRESIDENT                                  2801 OCEAN PARK BOULEVARD, PMB #415                                                                SANTA MONICA          CA      90405
6483044   Impact Basketball                                     121 E. Sunset Rd.                                                                                                                                               Las Vegas             NV      89119
6480255   IMPERIAL COUNTY TREASURER’S OFFICE                    40 WEST MAIN STREET                                          SUITE 105                                                                                          EL CENTRO             CA      92243
6484458   Imperial Credit Corporation                           PO Box 847615                                                                                                                                                   Los Angeles           CA      90084
6477340   IMPERIAL RESTROOMS,INC.                               5534 WRAY WAY                                                                                                                                                   HOLIDAY               FL      34690
6484391   IMS International                                     688 West 5th St., 28th Floor                                                                                                                                    Los Angeles           CA      90071
6484695   IMS Security Consultants, Inc.                        269 S. Beverly Dr. #987                                                                                                                                         Beverly Hills         CA      90212
6478291   IMSCO DIV THE MINE SUPPLY CO.                         PO BOX 90400                                                                                                                                                    ALBUQUERQUE           NM      87199




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                                                                                                                                                 Served First Class Mail

MMLID     NAME                                                                  ADDRESS                                                   ADDRESS 2                             ADDRESS 3                        ADDRESS 4   CITY               STATE   POSTAL CODE   COUNTRY
6484201   In A Tree, Inc.                                                       10100 Santa Monica Blvd. Suite 1050Attn: RS Brenner                                                                                          Los Angeles        CA      90067
6490023   IN A TREE, INC.                                                       ATTN: RS BRENNER                                          10100 SANTA MONICA BLVD. SUITE 1050                                                LOS ANGELES        CA      90067
6484696   In Character Inc c/o United Talent Agency                             3940 Laurel Canyon Blvd ste.136                                                                                                              Beverly Hills      CA      90212
6797458   IN DEMAND LLC                                                         ATTN: EMILIS NUMEZ                                        345 HUDSON STREET                     17TH FLOOR                                   NEW YORK           NY      10014
6797459   IN DEMAND LLC                                                         ATTN: EXECUTIVE VICE PRESIDENT, PROGRAMMING AND GENERAL   345 HUDSON STREET, 17TH FLOOR                                                      NEW YORK           NY      10014
6481470   In Record Time, Inc.                                                  505 8th Ave. Suite 601                                                                                                                       New York           NY      10018-4556
6470095   IN RECORD TIME, INC.                                                  575 8TH AVE. SUITE 1900                                                                                                                      NEW YORK           NY      10018
6483935   In Sync Advertising (USE V005380)                                     6135 Wilshire Blvd                                                                                                                           Los Angeles        CA      90048
6483936   In Sync Graphics                                                      6135 Wilshire Blvd                                                                                                                           Los Angeles        CA      90048
6485125   Inappropriate Laughter, Inc. fso Kathy Griffin                        2850 Ocean Park Blvd. Suite 300                                                                                                              Santa Monica       CA      90405
6485699   Inconceivable, Inc.                                                   3446 Clairton Pl.                                                                                                                            Encino             CA      91436
6480191   INCORPORATED VILLAGE OF LYNBROOK                                      LISA KENNY                                                1 COLUMBUS DRIVE                                                                   LYNBROOK           NY      11563
6475340   INDEPENDENCE TOWNSHIP                                                 CODE SYS                                                  525 LAWRENCE AVENUE                                                                ELLWOOD CITY       PA      16117
6491243   INDEPENDENT FEATURE PROJECT INC                                       68 JAY ST                                                                                                                                    BROOKLYN           NY      11201
6483787   Independent Logistics                                                 PO Box 45646                                                                                                                                 Los Angeles        CA      90045
6484999   Independent Public Relations                                          1299 Ocean Ave. Suite 333                                                                                                                    Santa Monica       CA      90401
6479135   INDEPENDENT STUDIO SERVICES                                           9545 WENTWORTH ST.                                                                                                                           SUNLAND            CA      91040         UNITED
6479813   INDEPENDENT TALENT GROUP LTD                                          40 WHITFIELD STREET                                                                                                                          LONDON                     W1T 2RH       KINGDOM
6480397   INDEPENDENT TELEVISION SERVICE, INC.                                  651 BRANNAN STREET, SUITE 410                                                                                                                SAN FRANCISCO      CA      94107
6483604   Indian Film Festival of Los Angeles                                   5225 Wilshire Blvd. Suite 417                                                                                                                Los Angeles        CA      90036
6476844   INDIAN SPRING WATER CO.                                               PO BOX 12332                                                                                                                                 WILMINGTON         NC      28405
6479959   INDIANA DEPARTMENT OF LABOR                                           COMMISSIONER                                              402 WEST WASHINGTON STREET            ROOM W195                                    INDIANAPOLIS       IN      46204
6484794   Indie-Pop Publishing, LLC                                             8564 W. Washington Blvd.                                                                                                                     Culver City        CA      90232
6483127   Indie-Pop, LLC                                                        817 S. Los Angeles St., Suite 4A                                                                                                             Los Angeles        CA      90014
6478048   INDUSTRY ONE / HTA PARTNERSHIP                                        C/O 600 CENTRAL SE, STE M                                                                                                                    ALBUQUERQUE        NM      87102
6483078   inEntertainment, Inc.                                                 c/o Paine & Co. 4078 W. 7th St.                                                                                                              Los Angeles        CA      90005         UNITED
6480371   INFILTRATOR FILMS LIMITED                                             ATTN: MIRIAM SEGAL                                        195 WARDOUR STREET                                                                 LONDON                     WIF 8ZG       KINGDOM
6480352   INFILTRATOR FILMS LIMITED                                             C/O BLOOM HERGOTT DIEMER ROSENTHAL ET AL.                 ATTN: RICHARD THOMPSON                150 S. RODEO DR.                             BEVERLY HILLS      CA      90212
6483841   Infinity Locksmith                                                    1215 N Hayworth Ave #101                                                                                                                     Los Angeles        CA      90046
6484533   Infinity Sports Management Corp. fso Chance Warmack                   c/o Relativity Sports345 N. Maple Dr. #205                                                                                                   Beverly Hills      CA      90210
6476036   INFORMATION UNLIMITED                                                 P.O. BOX 716                                                                                                                                 AMHERST            NH      03031
6492772   INGBER* RICHARD                                                       Address on File                                                                                                                                                                       UNITED
6490293   INGENIOUS PROJECT FINANCE LIMITED                                     ATTN: TED CAWREY                                          15 GARDEN SQUARE                                                                   LONDON                     W1F 9JG       KINGDOM
6476346   INGHRAM\KEITH J                                                       504 SHELBOURNE AVENUE                                                                                                                        PITTSBURGH         PA      15221
6484013   Ingle Group dba Ingle Dodd Publishing, The                            11661 San Vicente Blvd. Suite 709                                                                                                            Los Angeles        CA      90049
6480243   INGLEWOOD CITY HALL                                                   OFFICE OF TAX COLLECTOR                                   ONE MANCHESTER BLVD.                                                               INGLEWOOD          CA      90301
6477822   INGRAM\LIONEL                                                         78233 KOOGIE RD                                                                                                                              COVINGTON          LA      70435
6478317   INN OF THE ANASAZI                                                    113 WASHINGTON AVENUE                                                                                                                        SANTA FE           NM      87501
6477196   INN ON BILTMORE ESTATE                                                ONE APPROACH ROAD                                                                                                                            ASHEVILLE          NC      28803
6478509   INN ON THE SANTA FE TRAIL                                             1133 NORTH GRAND AVENUE                                                                                                                      LAS VEGAS          NM      87701
6485072   Inner-City Filmmakers                                                 3000 W Olympic Blvd                                                                                                                          Santa Monica       CA      90404
6483734   Innovative Leisure, Inc.                                              2658 Griffith Park Blvd. Unit 324                                                                                                            Los Angeles        CA      90039
6475290   INNOVATIVE STRUCTURAL                                                 ENGINEERING, INC.                                         40 SHERIDAN ROAD                                                                   ASHEVILLE          NC      28803
6482435   InsideOut Design and Development                                      4870 Dover RD                                                                                                                                Bloomfield Hills   MI      48304
6484795   Insight Creative Media Inc                                            4006 Higuera St                                                                                                                              Culver City        CA      90232
6482421   Insight Screening Room LLC                                            24300 Southfield Rd                                                                                                                          Southfield         MI      48075
6475246   INSOMNIAC HOLDINGS LLC                                                C/O PROVIDENT FINANCIAL MGMT                              2850 OCEAN PARK BLVD STE 300                                                       SANTA MONICA       CA      90405
6486134   Insurance West Corporation                                            2450 Tapo St.                                                                                                                                Simi Valley        CA      93063
6486081   Integrated Access Solutions, Inc.                                     23 Spectrum Pointe Drive, Suite 207                                                                                                          Lake Forest        CA      92630
6477457   INTEGRITY BUSINESS                                                    3924 PEOPLES ST                                                                                                                              METAIRIE           LA      70002
6468862   INTEL CORPORATION                                                     2200 MISSION COLLEGE BLVD., SUITE 300                                                                                                        BEVERLY HILLS      CA      95054
6484202   Intelligence Group c/o Creative Artists Agency, The                   2000 Avenue of the Stars                                                                                                                     Los Angeles        CA      90067
6482147   Intelligent Engineering & Media Corp.                                 125 E. Merritt Island Cswy. #209-402                                                                                                         Merritt Island     FL      32952
6492219   INTERACTIVE ONE, LLC                                                  C/O SZABO ASSOCIATES, INC.                                ATTN: SANDI G. HENDERSON, AGENT       3355 LENOX ROAD NE., SUITE 945               ATLANTA            GA      30326
                                                                                                                                                                                                                             KWAI CHUNG NEW                           HONG
6797446   INTERCONTINENTAL FILM DISTRIBUTORS (H.K.) LTD.                        ATTN: MICHAEL WONG                                        UNIT 1, 27/F, WYLER CENTRE            PHASE 2, 200 TAI LIN PAI ROAD                TERRITORIES                              KONG
6481364   Interference Inc                                                      611 Broadway                                                                                                                                 New York           NY      10012
6483842   Interior Plantscapes                                                  7308 Willoughby Ave.                                                                                                                         Los Angeles        CA      90046
6482238   Interline                                                             5307 Lacpera Creek Rd.                                                                                                                       Franklin           TN      37064
6475036   INTERMOUNTAIN MOTION PICTURES                                         1112 SAN PEDRO, NE                                        #234                                                                               ALBUQUERQUE        NM      87110
6480323   INTERNAL REVENUE SERVICE                                              1111 CONSTITUTION AVE., NW                                                                                                                   WASHINGTON         DC      20224
6482981   Internal Revenue Service                                              Department of the Treasury                                                                                                                   Ogden              UT      84201
          INTERNATIONAL ALLIANCE OF THEATRICAL STAGE EMPLOYEES, MOVING
6797434   PICTURE TECHNICIANS, ARTISTS AND ALLIED CRAFTS OF THE UNITED STATES   207 W. 25TH ST.                                           4TH FL                                                                             NEW YORK           NY      10001
6797438   INTERNATIONAL ALLIANCE OF THEATRICAL STAGE EMPLOYEES, MOVING          IATSE                                                     ATTN: DANIEL MAHONEY                  207 W. 25TH ST.                  4TH FL      NEW YORK           NY      10001

6479869   INTERNATIONAL BROTHERHOOD OF TEAMSTERS                                ATTN: LEGAL DEPT.                                         25 LOUISIANA AVENUE N.W.                                                           WASHINGTON         DC      20001
6481692   International Business Company Formation, Inc.                        101 Main Street, Suite One                                                                                                                   Tappan             NY      10983
6483843   International Cinematographer Guild                                   7755 W Sunset Blvd                                                                                                                           Los Angeles        CA      90046
6484204   International Creative Management, LLC dba ICM Partners               10250 Constellation Blvd.                                                                                                                    Los Angeles        CA      90067




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                                                                                                                                    Served First Class Mail

MMLID     NAME                                                   ADDRESS                                                       ADDRESS 2                                ADDRESS 3                       ADDRESS 4                   CITY              STATE   POSTAL CODE COUNTRY
6797427   INTERNATIONAL CREATIVE MANAGEMENT,INC                  10250 CONSTELLATION BLVD                                                                                                                                           LOS ANGELES       CA      90067
6483161   International Documentary Association                  1201 W 5th St                                                                                                                                                      Los Angeles       CA      90017
6797429   INTERNATIONAL FAMILY ENTERTAINMENT INC.                ATTN: SENIOR VICE PRESIDENT, BUSINESS AFFAIRSENERAL COUNSEL   3800 W. ALAMEDA AVENUE                                                                               BURBANK           CA      91505
6480075   INTERNATIONAL FILM GUARANTORS LLC                      2828 DONALD DOUGLAS LOOP NORTH                                SECOND FLOOR                                                                                         SANTA MONICA      CA      90405
6797430   INTERNATIONAL FILM GUARANTORS, LLC                     777 San Marin Drive                                                                                                                                                Novato            CA      94998
6477975   INTERNATIONAL JET AVIATION                             8511 AVIATOR LANE                                                                                                                                                  CENTENIAL         CO      80112
6475617   INTERNATIONAL LONGSHOREMEN'S                           ASSOCIATION LU1838                                            P.O. BOX 10007                                                                                       SOUTHPORT         NC      28461
6484697   International Passport & Visa Inc.                     204 South Beverly Drive Suite 115                                                                                                                                  Beverly Hills     CA      90212
6474995   INTERNATIONAL PETROLEUM MUSEUM                         & EXPOSITION, INC                                             PO BOX 1988                                                                                          MORGAN CITY       LA      70381
6481743   International Rescue Artists Development               524 17th St . 3rd Fl                                                                                                                                               Brooklyn          NY      11215
6478805   INTERNATIONAL SILKS & WOOLENS                          8347 BEVERLY BLVD                                                                                                                                                  LOS ANGELES       CA      90048
6476098   INTERNAT'L ALLIANCE OF THEATRI                         1430 BROADWAY                                                                                                                                                      NEW YORK          NY      10018
6484831   Internet Brands                                        909 N. Sepulveda Blvd. 11th Floor                                                                                                                                  El Segundo        CA      90245
6481205   Internet Crimes Group                                  P.O. Box 3599                                                                                                                                                      Princeton         NJ      08543
6481201   Internet Video Archive                                 207 White Horse Pike                                                                                                                                               Haddon Heights    NJ      08035
6475218   INTERSCOPE, GEFFEN,                                    A & M RECORDS, INC                                            2220 COLORADO AVE 4TH FLR                                                                            SANTA MONICA      CA      90404
6483229   Intersection Ventures, LLC                             10900 Wilshire Blvd. #1400                                                                                                                                         Los Angeles       CA      90024
6479524   INTERVIDEO                                             P.O. BOX 10277                                                                                                                                                     BURBANK           CA      91510-0277
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND
6479860   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 514 - LEGAL DEPT.   4530 RUE MOLSON             MONTREAL          QC      H1Y 0A3      CANADA
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND
6479856   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 617 - LEGAL DEPT.   229 WALLACE AVENUE          TORONTO           ON      M6H 1V5      CANADA
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND
6479857   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 667 - LEGAL DEPT.   229 WALLACE AVENUE          TORONTO           ON      M6H 1V5      CANADA
                                                                                                                               ALLIED CRAFTS OF THE U.S., TERRIS AND
6479855   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LEGAL DEPT.               207 W. 25TH ST., 4TH FL.    NEW YORK          NY      10001
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND
6479861   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 161 - LEGAL DEPT.   630 9TH AVE, STE. 1103      NEW YORK          NY      10036
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND                                   10 TOWER OFFICE PARK, SUITE
6479853   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 481 - LEGAL DEPT.   218                         WOBURN            MA      01801
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND
6479859   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 52 - LEGAL DEPT.    326 WEST 48TH STREET        NEW YORK          NY      10036
                                                                                                                               ALLIED CRAFTS OF THE U.S.,& TERRIS AND
6479858   INTL. ALLIANCE OF THEATRICAL STAGE EMPLOYEES           MOVING PICTURE TECHNICIANS, ARTISTS AND                       CANADA                                   ATTN: LOCAL 829 - LEGAL DEPT.   31 WEST 34TH STREET #7013   NEW YORK          NY      10001

6479881   INTL. BROTHERHOOD OF TEAMSTERS, LOCAL 249              ATTN: LEGAL DEPT.                                             P. O. BOX 40128                                                                                      PITTSBURGH        PA      15201

6479876   INTL. BROTHERHOOD OF TEAMSTERS, LOCAL 25               ATTN: LEGAL DEPT.                                             544 MAIN STREET                                                                                      BOSTON            MA      02129

6479882   INTL. BROTHERHOOD OF TEAMSTERS, LOCAL 399              ATTN: LEGAL DEPT.                                             P. O. BOX 6017                                                                                       NORTH HOLLYWOOD   CA      91603

6479879   INTL. BROTHERHOOD OF TEAMSTERS, LOCAL 817              ATTN: LEGAL DEPT.                                             817 OLD CUTTERMILL RD                                                                                GREAT NECK        NY      11021
6476790   INTRACOASTAL REALTY CORP                               1902 EASTWOOD RD                                                                                                                                                   WILMINGTON        NC      28403
6483937   Intralink Limited                                      155 N La Peer Drive                                                                                                                                                Los Angeles       CA      90048
6481590   Intrepid Museum Foundation                             One Intrepid Square, 12th Ave & 46th St.                                                                                                                           New York          NY      10036
6486774   INTREPID PICTURES, LLC                                 DBA INTREPID PICTURES MUSIC, LLC                              C/O SINGER LEWAK                         ATTN: CHELSEY MILES             10960 WILSHIRE BLVD. 7TH    LOS ANGELES       CA      90024
6479934   Investcorp International, Inc.                         Address on File
6492811   ION MEDIA NETWORKS, INC.                               ATTN: ALICIA C. SUAREZ, DIRECTOR OF CORPORATE                 CREDIT & COLLECTIONS                     810 7TH AVE., 31ST FL                                       NEW YORK          NY      10019
6475044   IOVINO, PETER                                          7095 HOLLYWOOD BLVD.                                          #365                                                                                                 LOS ANGELES       CA      90028
6479964   IOWA WORKFORCE DEVELOPMENT                             DIRECTOR                                                      1000 EAST GRAND AVENUE                                                                               DES MOINES        IA      50319
6491488   IOWA, LLC DBA WIREDRIVE                                5340 ALLA RD. SUITE 109                                                                                                                                            LOS ANGELES       CA      90066
6481112   IP21 Studio                                            435 Wayland Ave.                                                                                                                                                   Providence        RI      02906
6485275   IPFS Corporation                                       P.O. Box 100391                                                                                                                                                    Pasadena          CA      91189
6797420   IPIC ENTERTAINMENT                                     433 Plaza Real Suite 335                                      SUITE #203                                                                                           BOCA RATON        FL      33432-3945
6490442   IPIC GOLD CLASS ENTERTAINMENT, LLC                     DBA IPIC THEATERS                                             433 PLAZA REAL, SUITE 335                                                                            BOCA RATON        FL      33432
6483605   iPost, LLC                                             5757 Wilshire Blvd. Suite 401                                                                                                                                      Los Angeles       CA      90036
6485073   iPromptLA                                              1220 24th Street, Suite 6                                                                                                                                          Santa Monica      CA      90404
6476161   IPSCO KOPPEL TUBULARS LLC                              6403 6TH AVE                                                                                                                                                       KOPPEL            PA      15003
6482517   Ipsos OTX Corporation                                  DEPT CH 16684                                                                                                                                                      Palatine          IL      60055
6481456   IQPC                                                   535 5th Ave., 8th Floor                                                                                                                                            New York          NY      10017
6475429   IRELAND\MICHAEL                                        APPIAN WAY                                                    9255 SUNSET BLVD #615                                                                                WEST HOLLYWOOD    CA      90069
6485156   Irina Chirkova                                         1523 Torrance Blvd., Apt. D                                                                                                                                        Torrance          CA      90501
6481236   Irish America                                          875 Avenue of the Americas, Ste 201                                                                                                                                New York          NY      10001
6476384   IRON CITY GRIPS LLC                                    121 VENANGO PLACE                                                                                                                                                  PITTSBURGH        PA      15237
6485396   Iron Horse Entertainment                               17530 Ventura Blvd. #201                                                                                                                                           Encino            CA      91316
6468826   IRON MOUNTAIN                                          ATTN: GABRIEL SEGOVIA                                         1025 NORTH HIGHLAND AVE                                                                              HOLLYWOOD         CA      90038
6491716   IRON MOUNTAIN INFORMATION MANAGEMENT LLC               P.O. BOX 27128                                                                                                                                                     NEW YORK          NY      10087-7128
6476111   IRON MOUNTAIN MANAGEMENT, INC.                         P.O. BOX 27128                                                                                                                                                     NEW YORK          NY      10087-7128
6478246   IRON MOUNTAIN RECORDS MANAGEME                         555 GALLATIN PLACE NW                                                                                                                                              ALBUQUERQUE       NM      87121
6486212   Irondelta Inc                                          1301 South B Street#2                                                                                                                                              San Mateo         CA      94402




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                                                                                                                               Master Mailing List
                                                                                                                              Served First Class Mail

MMLID     NAME                                                ADDRESS                                                    ADDRESS 2                            ADDRESS 3   ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6475267   IRONLIGHT                                           AKA BOOTSTRAP LLC.                                         3344 BONNIE HILL DRIVE                                       LOS ANGELES         CA      90068
6480324   IRS (INTERNAL REVENUE SERVICE)                      10TH ST AND PENNSYLVANIA AVE, NW                                                                                        WASHINGTON          DC      20530
6492712   IRS- DEPARTMENT OF THE TREASURY                     C/O INTERNAL REVENUE SERVICE                               P.O. BOX 7346                                                PHILADELPHIA        PA      19101-7346
6480091   IRS/OHIO                                            P.O. BOX 145595                                                                                                         CINCINNATI          OH      45250
6482102   Isaac Hayes III dba Chartcontrol, LLC               1964 Sterling Oaks Cir.                                                                                                 Atlanta             GA      30319
6477631   ISHEIM\KATHERINE                                    1661 PAUL MORPHY                                                                                                        NEW ORLEANS         LA      70119
6475855   ISHIOKA\EIKO                                        146 WEST 57TH STREET                                       SUITE 70B                                                    NEW YORK            NY      10019
6478573   ISIS HAIR SALON                                     5774 RODEO RD                                                                                                           LOS ANGELES         CA      90016-5040
6476982   ISLAND CONTRACTING                                  1008 CAPTAIN ADKINS DR.                                                                                                 SOUTHPORT           NC      28461
6480968   Islas, Carlos                                       Address on File
6485700   Isolation Network Inc.                              dba INgrooves Music Group15821 Ventura Blvd., Ste. 420                                                                  Encino              CA      91436
6486331   ISPOTTV INC                                         15831 NE 8th Street, Suite 100                                                                                          Bellevue            WA      98008
6483550   IsraFest Foundation Inc                             c/o Levy, Pazanti & Associates9911 W. Pico Blvd, Ste 510                                                                Los Angeles         CA      90035
6477675   ISS - LOUISIANA, LLC                                5605 SALMEN STREET                                                                                                      JEFFFERSON PARISH   LA      70123
6479136   ISS-LOUISIANA, LLC                                  9545 WENTWORTH ST                                                                                                       SUNLAND             CA      91040
6482876   iStockphoto LP                                      C/O Dept 2587PO Box 122587                                                                                              Dallas              TX      75312
6490489   IT IS DONE COMMUNICATIONS                           FSO LINDA J. STEWART                                       616 RED LANE RD. SUITE B3-5                                  BIRMINGHAM          AL      35215
6474778   ITALIANO*LUCAS                                      Address on File
6491820   ITEAM TECHNOLOGY ASSOCIATES, LLC                    147 WEST 26TH ST. 2ND FLOOR                                                                                             NEW YORK            NY      10001
6492354   ITEAM TECHNOLOGY ASSOCIATES, LLC                    ATTN: SID EDELSTEIN, PRESIDENT & CEO                       147 WEST 26TH STREET, 2ND FLOOR                              NEW YORK            NY      10001
6483844   ITM Productions, Inc.                               Montana Artists Agency7715 W Sunset Blvd 3rd Floor                                                                      Los Angeles         CA      90046
6486327   ITV-Illusion Television Productions, Inc.           4864 Donald Street                                                                                                      Eugene              OR      97405
6479515   IVEY SLATES                                         340 N. BRIGHTON STREET                                                                                                  BURBANK             CA      91506
6480756   Ivie, Laura                                         Address on File
6492781   IVINS* MICHAEL JAMES                                Address on File
6476918   IVY COTTAGE,LLC\THE                                 3030 MARKET STREET                                                                                                      WILMINGTON          NC      28435
6491494   IVY LEVAN                                           Address on File
6478845   IZACAPA\DANIEL                                      11305 GRAHAM PLAZA #4                                                                                                   WEST LOS ANGELES    CA      90064
6477108   J & B DISPOSAL INC.                                 2076 HIGHLANDS RD.                                                                                                      FRANKLIN            NC      28734
6477239   J & J CAB SERVICE                                   P O BOX 6954                                                                                                            ASHEVILLE           NC      28816
6479137   J & J STUDIO RENTALS                                9850 SHAWDOW ISLAND DR                                                                                                  SHADOW HILLS        CA      91040
6491662   J & R FILM COMPANY                                  1400 W. BURANK BLVD                                                                                                     BURBANK             CA      91506
6479491   J & R PRODUCTIONS                                   201 N. HOLLYWOOD WAY #102                                                                                               BURBANK             CA      91505
6485952   J Carey Loomis                                      12614 Morrison St.                                                                                                      Valley Village      CA      91607
6477512   J J GRETNA LLC                                      P O BOX 1370                                                                                                            GRETNA              LA      70054
6477145   J M TEAQUE ENGINEERING PLLC                         525 N MAIN ST                                                                                                           WAYNESVILLE         NC      28786
6797326   J TRAX LLC                                          ATTN: MR. JAMIE ANDERSON                                   2408 ROSCOMARE ROAD                                          LOS ANGELES         CA      90077
6492768   J TRAX, LLC                                         228 HAMPDEN TERRACE                                                                                                     ALHAMBRA            CA      91801
6484449   J Trax, LLC                                         2408 Roscomare Rd.                                                                                                      Los Angeles         CA      90077
6476728   J&E CARRIERS,INC.                                   7211 WALKING HORSE CT                                                                                                   WILMINGTON          NC      28401
6479516   J&M RACKS, INC.                                     1013 BRIGHTON STREET                                                                                                    BURBANK             CA      91506
6491445   J&R FILM COMPANY DBA MOVIOLA DIGITAL                1015 N HOLLYWOOD WAY                                                                                                    BURBANK             CA      91505-2526
6483686   J&R Film dba Moviola                                1015 N HOLLYWOOD WAY                                                                                                    BURBANK             CA      91505-2526
6476514   J&S WHOLESALE & RENTALS LLC                         PO BOX 1104                                                                                                             ASHEBORO            NC      27204
6483520   J. Andre Chaintreuil                                3530 Clarington Ave.                                                                                                    Los Angeles         CA      90034
6483845   J. Artist Mgmt                                      8033 Sunset Blvd.                                                                                                       Los Angeles         CA      90046
6478975   J.C. BACKINGS                                       PO BOX 1337                                                                                                             CULVER CITY         CA      90232
6479517   J.L. FISHER, INC.                                   1000 W. ISABEL ST.                                                                                                      BURBANK             CA      91506
6479318   J.MICHAEL, INC.                                     31300 VIA COLINAS #108                                                                                                  WESTLAKE VILLAGE    CA      91362
6483687   J.O.B. Productions, Ltd. fso John O'Brien           Attn: Tierney O'Brien1247 Seward Street                                                                                 Los Angeles         CA      90038
6481630   J.P. Morgan Chase Bank, N.A.                        WSS Global Fee BillingPO Box 26040                                                                                      New York            NY      10087
6476706   J.Q. ENTERPRISES, INC.                              12041 CYPRESS DRIVE                                                                                                     LAURINBURG          NC      28352
6479253   J.W. CUSTOM WOOD WORK                               12627 FOOTHILL BLVD.                                                                                                    SYLMAR              CA      91342
6483434   j2 Global, Inc                                      6922 Hollywood Blvd                                                                                                     Los Angeles         CA      90028
6485233   JAAM Messengers                                     10416 Leolang Ave.                                                                                                      Sunland             CA      91040
6477606   JABALEY\JOHN                                        7600 JEANNETTE ST                                                                                                       NEW ORLEANS         LA      70118
6475094   JACARANDA FILMS, INC                                ATTN: LAWRENCE JORDAN                                      11217 OSTEGA STREET                                          ENCINO              CA      91316
6482564   Jace Peterson                                       c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                       Northbrook          IL      60062
6483054   Jack Cannon                                         10885 Dancing Aspen Dr.                                                                                                 Reno                NV      89521
6478878   JACK LIETZKE STUDIO RTLS INC                        6420 INNSDALE DR                                                                                                        LA                  CA      90068
6477518   JACK STUMPF & ASSOCIATES, INC                       1700 CENTRAL BLVD                                                                                                       HARVEY              LA      70058
6486016   Jack Tsou                                           1420 S. 5th Street, #C                                                                                                  Alhambra            CA      91803
6478009   JACKALOPE INTERNATIONAL                             834 WEST HIGHWAY 550                                                                                                    BERNALILLO          NM      87004
6478410   JACKALOPE, INC.                                     2820 CERRILLOS ROAD                                                                                                     SANTA FE            NM      87507
6475071   JACKIE AND JJ PRODUCTIONS                           FSO JACKIE CHAN                                            1 WILLIAM MORRIS PL                                          BEVERLY HILLS       CA      90212
6490341   JACKOWAY TYERMAN WERTHEIMER AUSTEN                  MANDELBAUM MORRIS & KLEIN                                  1925 CENTURY PARK EAST, 22ND FLOOR                           LOS ANGELES         CA      90067
6483173   Jackson Catering & Events                           3515 W. Washington Blvd.                                                                                                Los Angeles         CA      90018
6476184   JACKSON III\CHARLES J                               118 LANGHAM DRIVE                                                                                                       HOOKSTOWN           PA      15050
6481685   Jackson Lewis, LLP                                  One North Broadway, 15th Floor                                                                                          White Plains        NY      10601
6479602   JACKSON SHRUB SUPPLY, INC.                          11505 VANOWEN ST.                                                                                                       NORTH HOLLYWOOD     CA      91605




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MMLID     NAME                                              ADDRESS                                                               ADDRESS 2                                    ADDRESS 3                        ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6477157   JACKSON STEEL                                     P O BOX 1718                                                                                                                                                    HANDERSONVILLE      NC      28793
6476337   JACKSON WELDING                                   1421 W CARSON ST                                                                                                                                                PITTSBURGH          PA      15219
6477882   JACKSON\BARBARA                                   228 LAKE VILLAGE BLVD                                                                                                                                           SLIDELL             LA      70461
6479557   JACKSON\PAT                                       11136 ACAMA ST #310                                                                                                                                             N HOLLYWOOD         CA      91602
6485291   Jacob Charney                                     1648 Riverside Dr.                                                                                                                                              Glendale            CA      91201
6482899   Jacob Edward Hamilton                             9800 Pagewood Ln. #2503                                                                                                                                         Houston             TX      77042
6482565   Jacob L. Scavuzzo                                 c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                                Northbrook          IL      60062
6476135   JACOB\JENNIFER                                    991 PRESIDENT ST APT 3F                                                                                                                                         BROOKLYN            NY      11225
6476729   JACOBI-LEWIS COMPANY                              622 S. FRONT STREET                                                                                                                                             WILMINGTON          NC      28401
6480549   Jacobs, Steven                                    Address on File
6478620   JACOBS\CHERI                                      4238 FRANKLIN AVENUE                                                                                                                                            LOS ANGELES         CA      90027
6478370   JACOBS\DALE                                       746 BACA STREET                                                                                                                                                 SANTA FE            NM      87505
6478835   JACOVES\STEPHEN                                   6033 S. HALM AVENUE                                                                                                                                             LOS ANGELES         CA      90056
6482943   Jacqueline Kane                                   1830 E. Arapahoe St.                                                                                                                                            Denver              CO      80202
6474953   JADEE DESIGNS                                     DBA: ORGANIC BEAN COFFEE TRUCK                                        311 GUERRANT ST                                                                           GREENSBORO          NC      27401
6479056   JAFFE, TOBIAS                                     217 16TH STREET                                                                                                                                                 SANTA MONICA        CA      90402
6484207   Jaime Primak-Sullivan                             c/o ICM Partners10250 Constellation Blvd.                                                                                                                       Los Angeles         CA      90067
6484967   Jaime Rigal                                       3662 Via Dolce                                                                                                                                                  Marina Del Rey      CA      90292
6484534   Jairus Byrd                                       c/o Relativity Sports345 N. Maple Dr. #205                                                                                                                      Beverly Hills       CA      90210
6482141   Jaiya Hawkins                                     1213 Norvel Avenue                                                                                                                                              Altamonte Springs   FL      32716
6479414   JAJ ENTERPRISES, INC.                             15040 CALVERT STREET                                                                                                                                            VAN NUYS            CA      91411
6482400   JaJuan Harley                                     6435 W. Jefferson Blvd. #197                                                                                                                                    Fort Wayne          IN      46804
6482566   Jake Hager                                        c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                                Northbrook          IL      60062
6797417   JAKE JONES                                        JAKEJONESPRODUCTIONS                                                  ATLANTIC RECORDS                             1635 N CAHUENGA BLVD                         LOS ANGELES         CA      90028
6474988   JAM JAM PRODUCTIONS, INC.                         F/S/O CAITLIN MCKENNA                                                 P. O. BOX 3155                                                                            PASADENA            CA      91031
6479132   JAM JAM PRODUCTIONS, INC.                         P. O. BOX 3155                                                                                                                                                  SOUTH PASADENA      CA      91031
6482285   JAM Productions, Inc.                             2806 Azalea Place                                                                                                                                               Nashville           TN      37204
6475243   JAM PRODUCTIONS, INC.                             BLACKBIRD STUDIO-AUDIO RENTALS                                        2806 AZALEA PLACE                                                                         NASHVILLE           TN      37204
6482096   James Anthony Rotella                             343 Marietta St. NW #404                                                                                                                                        Atlanta             GA      30313
6483006   James E. Ferguson                                 4525 Quartz Hill                                                                                                                                                Tucson              AZ      85750
6486737   James E. Harris                                   c/o L+G, LLP                                                          Attn: Robert Rosenthal, David Balch, Nevin   318 Cayuga Street                            Salinas             CA      93901
6479518   JAMES E. PERRY CO., INC.                          1924 WEST OLIVE AVENUE                                                                                                                                          BURBANK             CA      91506
6483030   James E. Smith                                    3026 Tara Murphy Dr.                                                                                                                                            Henderson           NV      89044
6486325   James E. Svoboda Estate                           24391 Columbine Dr.                                                                                                                                             Philomath           OR      97370
6482519   James Evens                                       207 Catino Ct.                                                                                                                                                  Mount Prospect      IL      60056
6482520   James Evens obo Helen Stellar                     207 Catino Court                                                                                                                                                Mount Prospect      IL      60056
6491335   JAMES EVENS OBO POPRIS PUBLISHING                 207 N. CATINO CT.                                                                                                                                               MOUNT PROSPECT      IL      60056
6485428   James G Nord dba Nord Light and Sound             16710 Pineridge Dr                                                                                                                                              Granada Hills       CA      91344
6484892   James H. Ellis                                    17589 Camino de Yatasto                                                                                                                                         Pacific Palisades   CA      90272
6483369   James H. Melkonian                                4531 Finley Ave.                                                                                                                                                Los Angeles         CA      90027
6485234   James H. Spencer                                  10634 Art St.                                                                                                                                                   Sunland             CA      91040
6485953   James Jule                                        4959 Whitsett Ave.                                                                                                                                              Valley Village      CA      91607
6485546   James K. Sartain                                  18141 American Beauty Dr. #144                                                                                                                                  Canyon Country      CA      91387
6797411   JAMES LAVELLE                                     LULLABIES AND WAR CRIES SONGS                                         C/O RED LIGHT MANAGEMENT                     PO BOX 1467                                  CHARLOTTESVILLE     VA      22902
6491277   JAMES LAVELLE OBO CRIES SONGS                     321 E. MAIN STREET, SUITE 500                                                                                                                                   CHARLOTTESVILLE     VA      22902
6483370   James Lewis                                       1928 N. Serrano Avenue                                                                                                                                          Los Angeles         CA      90027
6483846   James Martin                                      8607 Wonderland Ave                                                                                                                                             Los Angeles         CA      90046
6485219   James Murray                                      215 East Chestnut Ave. Unit L                                                                                                                                   Monrovia            CA      91016
6481149   James Percelay DBA Thinkmodo                      99 Cooper Avenue                                                                                                                                                Montclair           NJ      07043
6491382   JAMES R. HUDSON DBA MEMORIAL-MAYA MUSIC           Address on File
6483231   James Reifenberg                                  1396 Veteran Avenue                                                                                                                                             Los Angeles         CA      90024
6797402   JAMES ROBERSON                                    12736 CASWELL AVE                                                     # 103                                                                                     LOS ANGELES         CA      90066
6481889   James Rocco Bognet                                1345 Woodlawn Dr.                                                                                                                                               Hazleton            PA      18202
6484133   James Rucche                                      12311 Vash Pl. Unit D                                                                                                                                           Los Angeles         CA      90066
6485208   James Tamborello                                  1230 Sunny Oaks Circle                                                                                                                                          Altadena            CA      91001
6484909   James Towns                                       5858 S. Pacific Coast Hwy#8                                                                                                                                     Redondo Beach       CA      90277
6481911   James Watkins and Simon Rosen Esq.                2019 Walnut StreetRittenhouse Square                                                                                                                            Philadelphia        PA      19103
6482050   James William Bridges, II                         P.O. Box 7601                                                                                                                                                   Wilmington          NC      28406
6475583   JAMES, NICOLA                                     61 BISHOPS WALK                                                       LLANDAFF                                                                                  CARDIFF             AL      GL50 3WG   WALES
6475445   JAMES\MATTHEW W.                                  138 GREISON TRAIL                                                     APT #2201                                                                                 NEWNAN              GA      30263
6479744   JAMES\YELLENA                                     5029 NE 73RD AVE.                                                                                                                                               PORTLAND            OR      97218
6492600   JAMESTOWN PRODUCTIONS                             ATTN: DAVID JAMES, CEO/PRES.                                          4223 GLENCOE AVENUE, SUITE A223                                                           MARINA DEL REY      CA      90292
6485344   Jamie Fassberg                                    23270 W. Bluebird Drive                                                                                                                                         Calabasas           CA      91302
6483938   Jamie Feld                                        467 Arnaz Drive, Apt. # 307                                                                                                                                     Los Angeles         CA      90048
6480367   JAMIE LINDEN AND JASON SPIRE                      C/O STONE MEYER GENOW SMELKINSON ET AL.                               ATTN: STUART ROSENTHAL                       9665 WILSHIRE BLVD., 5TH FLOOR               BEVERLY HILLS       CA      90212
6484969   Jamie Marshall                                    578 Washinton Blvd. #121                                                                                                                                        Marina Del Rey      CA      90292
6485557   Jamie Richmond                                    13341 Burbank Blvd                                                                                                                                              Van Nuys            CA      91401
6482473   Jamil Wilson                                      1415 Carlisle Ave.                                                                                                                                              Racine              WI      53404
6484208   JAMS ADR                                          Attn: Britani N. NaisbittBusiness Manager1925 Century Park E., Ste.                                                                                             Los Angeles         CA      90067
6484459   JAMS, Inc.                                        PO Box 845402                                                                                                                                                   Los Angeles         CA      90084




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MMLID     NAME                                                      ADDRESS                                                             ADDRESS 2                          ADDRESS 3                  ADDRESS 4                CITY                STATE   POSTAL CODE COUNTRY
6471289   JAN RUDOLPH                                               1025 CAMINO DE CHELLY                                                                                                                                      SANTA FE            NM      87505
6486423   Jan Thijs                                                 77 Oakland                                                                                                                                                 Hudson Heights      QC      J0P 1J0     CANADA
6478022   JANDREAU-HEIL\ALLISON LEAH                                PO BOX 834                                                                                                                                                 CERRILLOS           NM      87010
6468822   JANE GOT A GUN PRODUCTIONS, LLC                           ATTN: AMY HABIE                                                     2200 CORPORATE BOULEVARD, NW       SUITE 400                                           BOCA RATON          FL      33431
6474450   JANECEK*JOSEPH                                            Address on File
6480821   Janecek, Joseph W                                         Address on File
6491709   JANET WAINWRIGHT PUBLIC RELATIONS INC                     4001 SW CLOVERDALE                                                                                                                                         SEATTLE             WA      98136
6481212   Janice L. Fechtman                                        397 Pursel St.                                                                                                                                             Phillipsburg        NJ      08865
6486099   Janney & Janney attorney service, inc.                    840 N Birch St.                                                                                                                                            Santa Ana           CA      92701
6492742   JAN-PRO OF THE WEST                                       3540 WILSHIRE BLVD. #807                                                                                                                                   LOS ANGELES         CA      90010
6483094   Jan-Pro of the West                                       3550 Wilshire Blvd., Ste. 510                                                                                                                              Los Angeles         CA      90010
6485173   Jan's Electrical Services Inc. fso Janice Mabie           13421 Curtis and King Rd.                                                                                                                                  Norwalk             CA      90650
6481750   Jantzer Consulting                                        403 Bergen Street, #1                                                                                                                                      Brooklyn            NY      11217
6482016   Janus Theatres of Burlington, Inc. dba Carousel Cinemas   1305 Battleground Ave.                                                                                                                                     Greensboro          NC      27408
6476026   JANUSEK\JOHN                                              27209 BLUERIDGE DRIVE                                                                                                                                      VALENCIA            CA      01354-1933
6478441   JARAMILLO\JOHN R.                                         24 PINE EAST                                                                                                                                               SANTA FE            NM      87508
6484536   Jared Odrick                                              c/o Relativity Sports345 N. Maple Dr. #205                                                                                                                 Beverly Hills       CA      90210
6483232   Jared Rosenberg                                           10434 Lindbrook Dr.                                                                                                                                        Los Angeles         CA      90024        UNITED
6479816   JARMAN\DUNCAN                                             82 BRIGHTWELL ROAD                                                                                                                                         WATFORD             Herts   WD18 0SH     KINGDOM
6482761   Jarod Roberts                                             211 Prarie Road                                                                                                                                            Carterville         IL      62918
6483551   Jasmine Kimble                                            6115 Horner St.                                                                                                                                            Los Angeles         CA      90035
6481336   Jason Andrew Wald                                         907 7TH ST APT 1                                                                                                                                           SANTA MONICA        CA      90403-2747
6482251   Jason B. Campbell                                         3208 Monmouth Dr.                                                                                                                                          La Vergne           TN      37086
6485586   Jason Best Staffing                                       15303 Ventura Blvd, 9th Floor                                                                                                                              Sherman Oaks        CA      91403
6482567   Jason Brewster Hursh                                      c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                          Northbrook          IL      60062
6481410   Jason Byers                                               332 Bleecker St. #K46                                                                                                                                      New York            NY      10014
6485182   Jason Chu dba Blue 8 Productions                          9818 Rosecrans Ave.                                                                                                                                        Bellflower          CA      90706
6484893   Jason Clark                                               941 Kagawa St.                                                                                                                                             Pacific Palisades   CA      90272
6483939   Jason Eksuzian                                            8899 Beverly Blvd. Ste. #510                                                                                                                               Los Angeles         CA      90048
6485476   Jason Geffen                                              32514 Carrie Place                                                                                                                                         Westlake Village    CA      91361
6485661   Jason Horton                                              4445 Colbath Ave. 104                                                                                                                                      Sherman Oaks        CA      91423
                                                                                                                                        LAVIOLETTE, FELDMAN, SCHENKMAN &   ATTN: CARLOS GOODMAN AND   150 SOUTH RODEO DRIVE,
6468714   JASON KELLER                                              C/O BLOOM, HERGOTT, DIEMER, ROSENTHAL,                              GOODMAN,LLP                        GREGORY SLEWETT            THIRD FLOOR              BEVERLY HILLS       CA      90212
6483521   Jason Konschak dba Wilder Konschak                        3725 S. Canfield Ave. #201                                                                                                                                 Los Angeles         CA      90034
6484278   Jason M. Resnick                                          2810 Sunday Trail                                                                                                                                          Los Angeles         CA      90068
6485326   Jason Markey                                              26824 Cactus Trail                                                                                                                                         Agoura Hills        CA      91301
6482568   Jason Michael Castro                                      c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                          Northbrook          IL      60062
6486008   Jason Pantages                                            970 Pebble Creek Ln.                                                                                                                                       Walnut              CA      91789
6481200   Jason Pinardo                                             49 Oriole Place                                                                                                                                            Clementon           NJ      08021
6482255   Jason Rogan                                               524 North Harris Rd                                                                                                                                        Portland            TN      37148
6485617   Jason Sweers                                              PO Box 8311                                                                                                                                                Van Nuys            CA      91406
6486215   Jason Verrett                                             4917 Couples Court                                                                                                                                         Fairfield           CA      94544
6484970   Jason Ziemianski                                          13900 Tahiti Way #210                                                                                                                                      Marina Del Rey      CA      90292
6479273   JAVADI, GISOO                                             22003 KLEISTIN LN                                                                                                                                          SANTA CLARITA       CA      91350
6491638   JAY & TONY SHOW, INC./THE                                 14331 ROBLAR PL                                                                                                                                            SHERMAN OAKS        CA      91423
6484538   Jay and Tony Show, The                                    Attn: Joe Labracio9336 Civic Center Dr.                                                                                                                    Beverly Hills       CA      90210
6485463   Jay Cohen                                                 19061 Ginger Place                                                                                                                                         Tarzana             CA      91356
6486408   Jay Randall                                               4533 Rue Boyer                                                                                                                                             Montreal            QC      H2J 3ES      CANADA
6484344   Jaylynn Bailey                                            9229 Sunset Blvd., Suite 700                                                                                                                               West Hollywood      CA      90069
6797401   JAYLYNN BAILEY                                            C/O HOHMAN-MAYBANK-LIEB                                             ATTN: BAYARD MAYBANK               9465 WILSHIRE BOULEVARD    6TH FLOOR                BEVERLY HILLS       CA      90212
6483606   Jayme Phillips                                            416 1/4 N. Gardner St.                                                                                                                                     Los Angeles         CA      90036
6478371   JAYNES\RONALD                                             832 EL CAMINITO ST                                                                                                                                         SANTA FE            NM      87505
6475271   JBBM INC                                                  1090 3RD ST                                                         STE C                                                                                  N VERSAILLES        PA      15137-2068
6485438   JC Entertainment Lighting Services                        11440 Sheldon St                                                                                                                                           Sun Valley          CA      91352
6484209   JCB Music, Inc.                                           10100 Santa Monica Blvd. #1050                                                                                                                             Los Angeles         CA      90067
6478583   JCL BARRICADE                                             2334 EAST EIGHTH STREET                                                                                                                                    LOS ANGELES         CA      90021-1746
6478584   JCL BARRICADE COMPANY                                     2334 EAST 8TH STREET                                                                                                                                       LOS ANGELES         CA      90021-1746
6482780   JCR Hotel Inc - Truman Hotel and Conference Center        1510 Jefferson Street                                                                                                                                      Jefferson City      MO      65109
6482781   JCR Hotel, Inc. dba Ramada 4 Theatres                     1510 Jefferson St.                                                                                                                                         Jefferson City      MO      65109
6484698   JD Payne & Patrick McKay                                  c/o United Talent Agency9560 Wilshire Blvd. 5th Flr                                                                                                        Beverly Hills       CA      90212
6476845   JDC WILMINGTON CAMERA SVC INC                             905 N. 23RD STREET                                                                                                                                         WILMINGTON          NC      28405
6479207   JDS STUDIO RENTALS, INC.                                  P.O. BOX 4572                                                                                                                                              WEST HILLS          CA      91307
6486425   Jean Frenette                                             790 Des Bois Francs                                                                                                                                        Boucherville        QC      J4B 8P9      CANADA
6482935   Jean Pierre Targete                                       5518 SW 50th Ave.                                                                                                                                          Amarillo            TX      79109
6475682   JEAN\SILENISE                                             SECTOR PLAYA HUCARES                                                ROAD #3 BUZON A-86                                                                     NAGUABO             PR      00718
6483552   Jean-Baptiste LeConte                                     1441 S. Wooster St. #2                                                                                                                                     Los Angeles         CA      90035
6486147   Jeanette Leal                                             831 N. Orange Ave.                                                                                                                                         Lindsay             CA      93247
6483522   Jeanne Kowalski                                           1972 Preuss Rd                                                                                                                                             Los Angeles         CA      90034
6483847   Jeanne Manos, CPA                                         1636 N. Vista St.                                                                                                                                          Los Angeles         CA      90046
6484539   Jedburgh Group, The                                       f/s/o Kurt JohnstadWME, Attn:Mike Esola9601 Wilshire Blvd, 3rd FL                                                                                          Beverly Hills       CA      90210




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                                                                                                                        Master Mailing List
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MMLID     NAME                                               ADDRESS                                              ADDRESS 2                      ADDRESS 3   ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6485840   Jef Leinenkugel                                    5751 Camellia Ave., Apt. #216                                                                               North Hollywood   CA      91601
6484279   Jeff Davis Productions                             6166 Mulholland Highway                                                                                     Los Angeles       CA      90068
6485866   Jeff Jones                                         10153-1/2 Riverside Dr.                                                                                     North Hollywood   CA      91602
6485841   Jeff Leinenkugel                                   5751 Camellian Ave, Apt #216                                                                                North Hollywood   CA      91601
6476057   JEFF MUHLSTOCK, INC                                524 JEMCO PLACE                                                                                             RIDGEWOOD         NJ      07450
6481640   Jeff Richmond                                      250 57th Street                                                                                             New York          NY      10107
6484280   Jeff Sobel                                         2039 N. Las Palmas AvenueApt.315                                                                            Los Angeles       CA      90068
6481819   Jeff Waxman                                        24 Bluebird Lane                                                                                            Plainview         NY      11803
6480798   Jeffcoat, Allison                                  Address on File
6475329   JEFFERSON PARISH PUBLIC                            SCHOOL SYSTEM                                        501 MANHATTAN BLVD                                     HARVEY            LA      70058
6477519   JEFFERSON PARISH SHERIFF'S OFC                     1233 WESTBANK EXPRESSWAY                                                                                    HARVEY            LA      70058
6477443   JEFFERSON TROPHIES & AWARDS                        3820 AIRLINE DR                                                                                             METAIRIE          LA      70001
6477526   JEFFERSON WHOLESALE, LLC                           2020 WILLIAMS BLVD                                                                                          KENNER            LA      70062
6474799   JEFFERSON*REGINALD J                               Address on File
6483940   Jeffrey A. Friedman                                153 S. Hayworth Ave. #308                                                                                   Los Angeles       CA      90048
6485406   Jeffrey Alan Levitt                                24241 Bella Ct.                                                                                             Newhall           CA      91321
6483848   Jeffrey B Walker, Inc.                             P.O. Box 46494                                                                                              Los Angeles       CA      90046
6483607   Jeffrey Mark Stewart                               432 S. Detroit St., Apt.6                                                                                   Los Angeles       CA      90036
6481210   Jeffrey Marvin                                     47 Morgan Place                                                                                             East Brunswick    NJ      08816
6483204   Jeffrey Wachs                                      320 S. Ardmore Ave. # 204                                                                                   Los Angeles       CA      90020
6483849   Jefrey B Walker DO NOT USE                         PO Box 46494                                                                                                Los Angeles       CA      90046
6482396   Jelena Grozdanich                                  9450 Walnut Dr.                                                                                             Munster           IN      46321
6481504   JellyNYC LLC c/o PSBM                              140 W. 57th Street Ste.2A                                                                                   New York          NY      10019
6481933   Jen Groover                                        100 Four Falls. Suite 101                                                                                   Conshohocken      PA      19428
6484764   Jenelle Riley                                      11211 Greenlawn Ave                                                                                         Culver City       CA      90230
6479620   JENETIC AUDIO, INC.                                11499 BESSEMER ST.                                                                                          NORTH HOLLYWOOD   CA      91606
6478754   JENIFER NASH/ARROYO VIEW MUSIC                     1046 RUTLAND AVENUE                                                                                         LOS ANGELES       CA      90042
6477791   JENKINS FARM AND NURSERY LLC                       62188 DUMMYLINE RD                                                                                          AMITE             LA      70422
6477906   JENKINS\GARIC                                      4112 CHATFIELD AVE                                                                                          BATON ROUGE       LA      70808
6483608   Jenna Marion Nelson                                465 N. Curson Ave. #104                                                                                     Los Angeles       CA      90036
6482217   Jennette Properties                                129 N. Pineapple Ave.                                                                                       Sarasota          FL      34238
6482087   Jennifer A. Santiago                               138 Braelinn Ct.                                                                                            Peachtree City    GA      30269
6482569   Jennifer Bautista                                  400 Skokie Blvd. Suite 280                                                                                  Northbrook        IL      60062
6485074   Jennifer Berry (expenses)                          1630 12th Street                                                                                            Santa Monica      CA      90404
6491798   JENNIFER BLOCK                                     333 43RD ST.                                         UPSTAIRS APT.                                          BROOKLYN          NY      11232
6481751   Jennifer Egan                                      43 S. Portland Ave                                                                                          Brooklyn          NY      11217
6483941   Jennifer Faison                                    654 S Sweetzer Ave                                                                                          Los Angeles       CA      90048
6481752   Jennifer Holiner                                   22 Lincoln Place, #1R                                                                                       Brooklyn          NY      11217
6483332   Jennifer Hwang                                     1730 Silver Lake Blvd.                                                                                      Los Angeles       CA      90026
6483942   Jennifer Katherine Alden                           6227 W. 5th St.                                                                                             Los Angeles       CA      90048
6486113   Jennifer L. Ygual dba Steady Jenny                 5927 E. Creekside Ave. #10                                                                                  Orange            CA      92860
6483487   Jennifer Lanchart dba Syncalicious Music           1825 N. Vermont Ave. #292421                                                                                Los Angeles       CA      90029
6797383   JENNIFER LEIGH MANN                                314 OLD SALEM ROAD                                                                                          ROXBORO           NC      27573
6489687   JENNIFER NETTLES                                   Address on File
6484699   Jennifer Rettig                                    149 Roxbury DriveApt. 201                                                                                   Beverly Hills     CA      90212
6481204   Jennifer Robyn Madeloff                            27 Huber Court                                                                                              Hightstown        NJ      08520
6477090   JENNINGS BUILDERS SUPPLY LLC                       2196 ASHEVILLE HWY                                                                                          BREVARD           NC      28712
6486316   Jenny Fitzgibbons                                  1109 Stanfield Rd                                                                                           Woodburn          OR      97071
6481411   Jenny Karakaya                                     123 Bank St. #290                                                                                           New York          NY      10014
6486518   Jens Peter Johannsen                               Transvaalstrasse 3D-13351                                                                                   Berlin                               Germany
6479086   JENSCH, ERIC                                       1033 GRANT STREET                                                                                           SANTA MONICA      CA      90405
6478493   JENSEN\LISA                                        125 CR 58                                                                                                   SI GUIQUE         NM      87566
6481831   Jensen's Sound Generations LLC                     31 Alexander Blvd                                                                                           Poughkeepsie      NY      12603
6482570   Jerad Eickhoff                                     c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                           Northbrook        IL      60062
6477695   JERAD PRODUCTIONS INC                              6221 S CLAIBORNE AVE #593                                                                                   NEW ORLEANS       LA      70125
6483371   Jeremiah Chad Sosenko                              4316 Russell Ave.                                                                                           Los Angeles       CA      90027
6483435   Jeremy Edwards                                     7035 Lanewood Ave # 105                                                                                     Los Angeles       CA      90028
6482322   Jeremy Hunter                                      1716 Shackleford Rd.                                                                                        Nashville         TN      37221
6481726   Jeremy Lawson                                      64 Stagg St. #2                                                                                             Brooklyn          NY      11206
6484541   Jeremy Passmore                                    360 N. Crescent Drive, North Building                                                                       Beverly Hills     CA      90210
6483850   Jericho Entertainment                              8504 Brier Dr.                                                                                              Los Angeles       CA      90046
6482571   Jesse Crain                                        c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                            Northbrook        IL      60062
6491278   JESSE HARPER DBA JAYHARP                           300 NORTH HIGH ST.                                                                                          GORDONSVILLE      VA      22942
6483788   Jesse Kerns                                        6748 W. 87th St.                                                                                            Los Angeles       CA      90045
6484014   Jesse Wang                                         11116 Montana Ave.                                                                                          Los Angeles       CA      90049
6491677   JESSE-BEAN INC.                                    4843 BEN AVE.                                                                                               VALLEY VILLAGE    CA      91607
6485954   Jesse-Bean, Inc.                                   4843 Bea Ave.                                                                                               Valley Village    CA      91607
6477862   JESSES JEEPS LLC                                   1600 WEST LINDBERG                                                                                          SLIDELL           LA      70458
6484281   Jessica Biddle                                     2001 N. Gramercy Pl.                                                                                        Los Angeles       CA      90068
6485075   Jessica Courter                                    1227 Franklin StreetApt A                                                                                   Santa Monica      CA      90404




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                                                                                                                          Served First Class Mail

MMLID     NAME                                                   ADDRESS                                             ADDRESS 2                              ADDRESS 3                 ADDRESS 4                   CITY              STATE   POSTAL CODE COUNTRY
6485662   Jessica Liparoto                                       4321 Matilija Ave #21                                                                                                                            Sherman Oaks      CA      91423
6483186   Jessica Nguyen                                         1333 1/2 S. Cloverdale Ave.                                                                                                                      Los Angeles       CA      90019
6483233   Jessica Rhoades                                        10960 Wilshire Blvd. 5th Floor                                                                                                                   Los Angeles       CA      90024
6482410   Jessie Gulati c/o Dead Oceans                          1499 West 2nd Street                                                                                                                             Bloomington       IN      47403
6477493   JESUIT BEND HELICOPTERS                                12216 HWY 23                                                                                                                                     BELLE CHASE       LA      70037
6476211   JESUS DWELLING PLACE                                   408 LOBINGER ST                                                                                                                                  NORTH BRADDOCK    PA      15104
6486519   Jet Aviation Business Jets AG                          Aeschengraben 26CH-4051                                                                                                                          Basel                                 Switzerland
6475851   JET MANAGEMENT ASSOCIATES, LLC                         8101 BISCAYNE BLVD.                                 SUITE 609                                                                                    MIAMI             FL      33138
6482159   Jet Management Associates, LLC                         8101 Biscayne Blvd.                                                                                                                              Miami             FL      33138
6490368   JET PRODUCTIONS, INC                                   Address on File
6479227   JETS & PROPS AIRCRAFT MOCK-UPS                         3599 CORDOVA CT.                                                                                                                                 NEWBURY           CA      91320
6484071   Jetset Studios Inc                                     2211 Corinth Ave                                                                                                                                 Los Angeles       CA      90064
6484971   Jewel Box Platinum, Inc.                               4049 Lincoln Blvd.                                                                                                                               Marina Del Rey    CA      90292
6477646   JEWELL JR\DANIEL J                                     309 BROOKLYN AVE                                                                                                                                 JEFFERSON         LA      70121
6797369   JGJ EQUITY HOLDINGS, LLC                               ATTN: GENERAL COUNSEL                               160 GREENTREE DR.                      SUITE. 101                                            DOVER             DE      19904
6478224   J-H SUPPLY CO.                                         2132 OSUNA RD NE                                                                                                                                 ALBUQUERQUE       NM      87113
6482314   JHDWTS, Inc.                                           1920 Adelicia St. #300                                                                                                                           Nashville         TN      37215
6475184   JHDWTS, INC. FSO J. HOUGH                              C/O HABER CORP - CPA                                1920 ADELICIA ST. #300                                                                       NASHVILLE         TN      37212
6483372   Jhizet Panosian                                        2046 Hillhurst Ave. #42                                                                                                                          Los Angeles       CA      90027
6476509   JHS MASTER CAPITAL, LLC                                1947 N. FAYETTVILLE ST.                                                                                                                          ASHBORO           NC      27203
6481471   JHud Productions, Inc.                                 1430 Broadway, 17th Floor                                                                                                                        New York          NY      10018
6484542   Jiachen Zong                                           345 N. Maple Dr. Ste.Ste 205 #214A                                                                                                               Beverly Hills     CA      90210
6481591   Jill Kaplan                                            130 W. 42nd St. #614                                                                                                                             New York          NY      10036
6485000   Jill Meyers                                            1460 4th St, Ste.302                                                                                                                             Santa Monica      CA      90401
6797361   JILL MEYERS MUSIC CONSULTANTS                          ATTN: TRAVIS WILLIAMS                               1460 4TH STREET                        SUITE 302                                             SANTA MONICA      CA      90401
6481192   Jill V. Mangino dba Circle 3 Media                     30 Johnson Rd.                                                                                                                                   Hackettstown      NJ      07840
6486011   Jim Champagne                                          2327 East Mardina St                                                                                                                             West Covina       CA      91791
6484880   Jim Fredrick Motion Picture Marketing                  636 31st St.                                                                                                                                     Manhattan Beach   CA      90266        UNITED
6474066   JIM HAJICOSTA                                          124 CHESTERTON RD,                                                                                                                               LONDON                    W10 6EP      KINGDOM
6481895   Jim Hajicosta                                          124 Chesterton Rd,                                                                                                                               Fairless Hills    PA      19030
6476189   JIM MEYERS PLUMBING & HEATING                          1561 OAKDALE RD                                                                                                                                  OAKDALE           PA      15071
6480130   JIM MUELLER                                            C/O SHOUTZ, INC.                                    11181 OVERBROOK RD.                                                                          LEAWOOD           KS      66211
6468789   JIM SHEPARD                                            C/O HOTCKISS & ASSOCIATES                           ATTN: JODY HOTCKISS, ESQ.              611 BROADWAY, SUITE 741                               NEW YORK          NY      10012
6477911   JIM STONE CO OF LA LLC                                 P O BOX 41016                                                                                                                                    BATON ROUGE       LA      70835
6475565   JIMENEZ MORALES\VASHTI                                 RES VILLA FAJARDO 1 APT 92                          EDIF G                                                                                       FAJARDO           PR      00738
6478521   JIMENEZ\SANTINO                                        4341 S. HWY 28                                                                                                                                   LAS CRUCES        NM      88005
6486116   Jimmy Calloway Jr. dba BJC Consulting                  6815 Red Cardinal Ct.                                                                                                                            Corona            CA      92880
6475553   JINGLE JUNGLE AG                                       RIEDTLISTRASSE 15A                                  CH-8006                                                                                      ZURICH                                 GERMANY
6491829   JINGLE PUNKS MUSIC LLC                                 11 PARK PLACE , SUITE 1400                                                                                                                       NEW YORK          NY      10007
6475214   JINX PROPS                                             AKA THOMAS E. SPENCE                                21757 S. WESTERN AVE, UNIT B                                                                 TORRANCE          CA      90501
6484543   JJ Barea                                               c/o Relativity Sports345 N. Maple Dr. #205                                                                                                       Beverly Hills     CA      90210
6478279   JLS SECURITY                                           P.O. BOX 36497                                                                                                                                   ALBUQUERQUE       NM      87176
6478277   J-MAR & ASSOCIATES, INC.                               P.O. BOX 21941                                                                                                                                   ALBUQUERQUE       NM      87154
6485741   JMOATL, LLC                                            2835 N. Naomi St., 2nd Floor                                                                                                                     Burbank           CA      91504        UNITED
6486457   JMS Group, The                                         Hethersett Norwich                                                                                                                               Norfolk                   NR9 3DL      KINGDOM
6483851   Joan Cohen                                             1555 N Gardner St                                                                                                                                Los Angeles       CA      90046
6483852   Joanna Bush                                            8039 Hemet Place                                                                                                                                 Los Angeles       CA      90046
6483373   Joanna Colbert Casting LLC                             4470 W Sunset Blvd Suite 600                                                                                                                     Los Angeles       CA      90027
6483147   Joanne Thomas                                          2841 S. Sycamore Ave., #1                                                                                                                        Los Angeles       CA      90016
6481722   Joaquin Diego Prange                                   275 Park Ave #4N                                                                                                                                 Brooklyn          NY      11205
6481728   Joaquin Enrique Tomas dba Jack Tomas                   145 72nd St. #C10                                                                                                                                Brooklyn          NY      11209
6484134   Jody Spilkoman                                         12773 Brooklake Street                                                                                                                           Los Angeles       CA      90066
6480337   JODY WILLIAMS, A VIEWER OF (8 MINUTES)                 SEX WORKERS ANONYMOUS                               (FKA PROSTITUTES ANONYMOUS)            JODY WILLIAMS, DIRECTOR   6311 VAN NUYS BLVD. # 108   VAN NUYS          CA      91401
6482572   Joe Alexander Jiminez                                  c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                Northbrook        IL      60062
6482961   Joe Bereta                                             606 Stillwell Dr.                                                                                                                                Eagle             ID      83616
6485587   Joe Cappelletti                                        4648 Lemona Ave.                                                                                                                                 Sherman Oaks      CA      91403
6475755   JOE D'AMBROSIO MANAGEMENT, INC                         875 MAMARONECK AVENUE,                              SUITE # 403                                                                                  MAMARONECK        NY      10543-1976
6475043   JOE DUGAN STUDIO RENTALS, INC.                         19425 SOLEDAD CANYON ROAD                           #305                                                                                         CANYON COUNTRY    CA      91351
6481662   Joe Kern                                               521 5th ave. ste.1900                                                                                                                            New York          NY      10175
6475830   JOE L. RUIZ, M.D. INC.                                 9615 BRIGHTON WAY                                   SUITE 332                                                                                    BEVERLY HILLS     CA      90210
6482573   Joe Mantiply                                           c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                Northbrook        IL      60062
6797355   JOE NICHOLAS                                           ATTN: GENERAL COUNSEL                               17001 COLLINS AVE. #4305                                                                     SUNNY ISLES       FL      33160
6480793   Joe, Michael J                                         Address on File
6492123   JOE'S PRODUCTIONS, INC. F/S/O JOE STILLMAN             C/O HANSEN JACOBSON TELLER HOBERMAN NEWMAN          WARREN RICHMAN RUSH & KALLER, L.L.P.   ATTN: KEN RICHMAN, ESQ.   450 NORTH ROXBURY DRIVE,    BEVERLY HILLS     CA      90210
6483943   Joe's Productions, Inc. fso Joe Stillman               6239 1/2 Orange St.                                                                                                                              Los Angeles       CA      90048
6482664   Joey Domaracki Production Services                     23742 Plum Valley Dr                                                                                                                             Crete             IL      60417
6482268   Joey M. Feek                                           3310 West End AvenueSuite 400                                                                                                                    Nashville         TN      37203
6484016   Johanna Byer                                           11640 Gorham Ave #5                                                                                                                              Los Angeles       CA      90049
6476758   JOHN BANKSON PERS. PROP. INC.                          BOX 1251                                                                                                                                         WILMINGTON        NC      28402
6482045   John Bankson Personal Property Appraisal Co.           P.O. Box 1251                                                                                                                                    Wilmington        NC      28402




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                                                                                                                                                 Exhibit D
                                                                                                                                             Master Mailing List
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MMLID     NAME                                                    ADDRESS                                                              ADDRESS 2                              ADDRESS 3                       ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6475824   JOHN BLAKE'S WIGS/FACIAL HAIR                           949 N CROFT AVE.                                                     SUITE 301                                                                          WEST HOLLYWOOD   CA      90069
6481080   John Brien Jr.                                          11 Broad Street                                                                                                                                         Groveland        MA      01834
6475408   JOHN C. WILLIAMS                                        ARCHITECTS, LLC                                                      824 BARONNE ST                                                                     NEW ORLEANS      LA      70113
6482948   John Christophe Pareite                                 2915 Emporia St.                                                                                                                                        Denver           CO      80230
6484282   John Cunningham                                         1944 Whitley Ave, Apt 16                                                                                                                                Los Angeles      CA      90068
6486070   John D. Wenger dba AC Cabling                           4521 Campus Dr. #210                                                                                                                                    Irvine           CA      92612
6485638   John F. Bray                                            14810 Delano St.                                                                                                                                        Van Nuys         CA      91411
6473367   JOHN F. BRAY                                            23721 GREYSTONE CT                                                                                                                                      VALENCIA         CA      91354-1405
6476483   JOHN F. WARREN & ASSOCIATES, PA                         840 W. 4TH ST                                                                                                                                           WINSTON-SALEM    NC      27101
6473079   JOHN GARDINER                                           13147 BASSETT ST                                                                                                                                        N HOLLYWOOD      CA      91605-4726
6485245   John Horn                                               261 San Miguel Rd.                                                                                                                                      Pasadena         CA      91105
6469828   JOHN J. MOLSON                                          1 SOUTH AVE. E APT #304                                                                                                                                 CRANFORD         NJ      07016
6481143   John J. Molson                                          2 South Avenue West, Apt #205                                                                                                                           Cranford         NJ      07016
6482889   John Jacob Stilson                                      242 F, 2253                                                                                                                                             Texarkana        TX      75503
6483523   John Joseph Anthony, III                                3106 Bagley AvenueApt. #2                                                                                                                               Los Angeles      CA      90034
6485955   John Karl Holladay                                      11710 Otsego Street, Apt 5                                                                                                                              Valley Village   CA      91607
6484700   John Kolvenbach                                         c/o United Talent Agency9560 Wilshire Blvd, Suite 500                                                                                                   Beverly Hills    CA      90212
6483553   John Mark Cacavas                                       6551 Olympic Place                                                                                                                                      Los Angeles      CA      90035
6480131   JOHN MUELLER                                            C/O SHOUTZ, INC.                                                     11181 OVERBROOK RD.                                                                LEAWOOD          KS      66211
6469272   JOHN NICHOLAS MARONDE                                   C/O SFX BASEBALL GROUP                                               400 SKOKIE BLVD. SUITE 280                                                         NORTHBROOK       IL      60062
6482574   John Nicholas Maronde                                   c/o SFX Baseball Group400 Skokie Blvd, Ste.280                                                                                                          Northbrook       IL      60062
6483234   John Nicolas Martin                                     1001 Tiverton AveApt 3109                                                                                                                               Los Angeles      CA      90024
6483018   John P. Meade                                           P. O. Box 22002                                                                                                                                         Santa Fe         NM      87502
6480149   JOHN PAYNE                                              C/O MONSTER VISION, LLC                                              555 SOUTH LAKE DESTINY DRIVE                                                       ORLANDO          FL      32810
                                                                                                                                                                              360 N. CRESCENT HEIGHTS DR.
6468908   JOHN PLANTE                                             C/O PARADIGM AGENCY                                                  ATTN: DAVID BOXERBAUM                  NORTH BUILDING                              BEVERLY HILLS    CA      90210
6484544   John Plante                                             c/o Paradigm Agency360 N. Crescent Heights Dr. North BuildingAttn:                                                                                      Beverly Hills    CA      90210
6484701   John Primac                                             476 S. Roxbury Dr.                                                                                                                                      Beverly Hills    CA      90212
6481872   John R. Mitchell                                        17 Lash Trailer Court Rd.                                                                                                                               Curwensville     PA      16833
6480110   JOHN RADZIWILL                                          C/O ND CAPITAL GROUP, LLC                                            ATTN: PHILIP RADZIWILL/BRIAN ROSSING   10 E 53RD STREET, 29TH FLOOR                NEW YORK         NY      10022
6471854   JOHN RASH                                               748 N. VINE STREET                                                                                                                                      LOS ANGELES      CA      90038
6483688   John Rash                                               748 N. Vine Street #410                                                                                                                                 Los Angeles      CA      90038
6482452   John Robert Williams Commercial Photo                   227 E State St                                                                                                                                          Traverse City    MI      49684
6482575   John Ryan Murphy                                        c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                       Northbrook       IL      60062
6485397   John Sinayi                                             17962 Tiara St.                                                                                                                                         Encino           CA      91316
6484702   John Solomon                                            c/o United Talent Agency9560 Wilshire Boulevard, 5th Floor                                                                                              Beverly Hills    CA      90212
6482456   John T Busbee Jr                                        1347 NW 104th St                                                                                                                                        Clive            IA      50325
6485038   John Teed                                               1704 Washington Ave.                                                                                                                                    Santa Monica     CA      90403
6481126   John Wergeles                                           14 Flat Rock Rd.                                                                                                                                        Easton           CT      06612
6477076   JOHN WOODIE ENTERPRISES INC                             1836 SHELTON AVE                                                                                                                                        STATESVILLE      NC      28677
6481695   John Z. Shahinian                                       1 Sussex Rd.                                                                                                                                            Great Neck       NY      11020
6484283   Johnny Knight dba Johnny Knight Entertainment           2318 Canyon Dr.                                                                                                                                         Los Angeles      CA      90068
6476983   JOHN'S PLUMBING CO.                                     PO BOX 10275                                                                                                                                            SOUTHPORT        NC      28461
6484545   Johnson & Johnson, LLP                                  439 N. Canon Drive, Suite 200                                                                                                                           Beverly Hills    CA      90210
6482883   Johnson Controls                                        PO Box 730068                                                                                                                                           Dallas           TX      75373
6488545   JOHNSON* CLAUDIA FORSTERLING                            C/O MATHIAS CIVIL JUSTICE PLLC                                       ATTN: DAMON MATHIAS                    3809 PARRY AVENUE, SUITE 106                DALLAS           TX      75226
6488546   JOHNSON* CLAUDIA FORSTERLING                            C/O MATHIAS CIVIL JUSTICE PLLC                                       ATTN: DAMON MATHIAS                    6621 CLEARHAVEN CIRCLE                      DALLAS           TX      75248-4019
6475457   JOHNSON, CALEB                                          1315 S JEFFERSON DAVIS PKWY                                          APT 206                                                                            NEW ORLEANS      LA      70125
6480622   Johnson, Charity                                        Address on File
6480586   Johnson, Eric                                           Address on File
6476675   JOHNSON, JASON                                          2208 WINTHROP CHASE DR                                                                                                                                  CHARLOTTE        NC      28212
6477550   JOHNSON\DANIEL P                                        1329 CHIPLEY ST                                                                                                                                         WESTWEGO         LA      70094
6476212   JOHNSON\DARA L                                          507 VERONA STREET                                                                                                                                       NORTH BRADDOCK   PA      15104
6478806   JOHNSON\JEFFON AVIN                                     P.O. BOX 480911                                                                                                                                         LOS ANGELES      CA      90048
6475006   JOHNSON\MAGGIE                                          1704 B LLANO ST #340                                                 # 340                                                                              SANTA FE         NM      87505
6487903   JOHNSTON* BRET ANTHONY                                  C/O FREEMAN FREEMAN & SMILEY LLP                                     ATTN: THEODORE B STOLMAN/CAROL CHOW    1888 CENTURY PARK EAST, SUITE               LOS ANGELES      CA      90067
6477607   JOHNSTON\JANICE EMILY                                   8338 OAK ST                                                                                                                                             NEW ORLEANS      LA      70118
6483609   Joleen Garnett dba Get Dressed Up LLC                   5115 Wilshire Blvd                                                                                                                                      Los Angeles      CA      90036
6480828   Jolton, Cassandra                                       Address on File
6482390   Jon Paul Michael Buran                                  10280 Tournon Dr                                                                                                                                        Fishers          IN      46038
6486079   Jon Seck                                                19401 Hillsboro Circle                                                                                                                                  Costa Mesa       CA      92627
6483079   Jonah M. Johnson                                        621 S. Gramercy Pl. #401                                                                                                                                Los Angeles      CA      90005
6483610   Jonathan Abrams                                         c/o Underground Films, 447 S. Highland Ave                                                                                                              Los Angeles      CA      90036
6485039   Jonathan Bourne                                         1158 26the Street#375                                                                                                                                   Santa Monica     CA      90403
6485126   Jonathan Erlichman                                      1127 Ozone Ave.                                                                                                                                         Santa Monica     CA      90405
6481765   Jonathan Givony                                         91st Street                                                                                                                                             Brooklyn         NY      11231
6490316   JONATHAN GOLDSMITH                                      Address on File
6491422   JONATHAN KARSH                                          Address on File
6485209   Jonathan McGarry                                        The Silverlake Project4003 Canyon Dell Drive                                                                                                            Altadena         CA      91001        UNITED
6486463   Jonathan Mills                                          46 Westlands Way Oxted                                                                                                                                  Surrey                   RH8 0ND      KINGDOM




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MMLID     NAME                                               ADDRESS                                                         ADDRESS 2                         ADDRESS 3                  ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6485040   Jonathan Schwartz                                  948 19th Street, Unit 4                                                                                                                  Santa Monica        CA      90403
6468776   JONATHAN SPAIGHTS ('WRITER')                       C/O CREATIVE ARTIST AGENCY                                      ATTN: TREVOR ASTBURY ('AGENT')    2000 AVENUE OF THE STARS               LOS ANGELES         CA      90067
6483611   Jonathan Tapp                                      143 S. Highland Ave.                                                                                                                     Los Angeles         CA      90036
6483333   Jonathan Temkin Walker                             3408 W. Sunset Blvd. #205                                                                                                                Los Angeles         CA      90026       UNITED
6486455   Jonathon Crocker                                   5 Lancaster Rd.                                                                                                                          London                      N4 4PJ      KINGDOM
6483612   Jonathon Plescher                                  607 North Martel Avenue                                                                                                                  Los Angeles         CA      90036
6482576   Jonathon Schoop                                    c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                         Northbrook          IL      60062
6481757   Jonathon Sheflin                                   44 Driggs Ave. #1R                                                                                                                       Brooklyn            NY      11222
6483334   Jonathon Temkin                                    3408 W. Sunset Blvd. #205                                                                                                                Los Angeles         CA      90026
6797343   JONES DAY                                          ATTN: GENERAL COUNSEL                                           250 VESEY STREET                                                         NEW YORK            NY      10281-1047
6484392   Jones Day Client Trust Account                     555 South Flower Street, 15th Fl                                                                                                         Los Angeles         CA      90071
6474711   JONES*ANN                                          Address on File
6480882   Jones, Alyson                                      Address on File
6480989   Jones, Ann Courtney                                Address on File
6480859   Jones, Elizabeth                                   Address on File
6476701   JONES, HERITA R.                                   14306 PINTAIL LN                                                                                                                         CHARLOTTE           NC      28278
6476630   JONES, KELLY D.                                    2629 ST MARY'S STREET                                                                                                                    RALEIGH             NC      27609
6476329   JONES\ALEX R                                       3068 TEXAS AVENUE                                                                                                                        PITTSBURGH          PA      15216
6477536   JONES\DARREN                                       1129 MARTIN DR                                                                                                                           MARRERO             LA      70072
6476984   JONES\EDWARD                                       P.O. BOX 11211                                                                                                                           SOUTHPORT           NC      28461        UNITED
6479809   JONES\GERALDINE                                    5 FOLIOT ST.                                                                                                                             E ACTON -LONDON             W12 OBQ      KINGDOM
6476165   JONES\GREGORY                                      21 SELDOM SEEN RD.                                                                                                                       BRADFORD WOODS      PA      15015
6478442   JONES\JACK                                         19 SOUTHERN EXPOSURE ROAD                                                                                                                SANTA FE            NM      87508
6478443   JONES\STEVE B.                                     #19 SOUTHERN EXPOSURE                                                                                                                    SANTA FE            NM      87508
6476791   JONKHEER\MITZY                                     4410 WRIGHTSVILLE AVENUE                                                                                                                 WILMINGTON          NC      28403        THE
6470257   JOOST VAN BELLEN                                   SWAMMERDAMSTRAAT 28                                                                                                                      RV AMSTERDAM                1091         NETHERLA
                                                                                                                                                                                                                                               The
6486520   Joost Van Bellen                                   Swammerdamstraat 281091                                                                                                                  Amsterdam           RV                   Netherlands
6486361   Jordan Butcher                                     525 N. 101st Street                                                                                                                      Seattle             WA      98133
6471592   JORDAN CASSIDY LIGHT                               701 S ADAMS ST                                                                                                                           HUGOTON             KS      64951-2711
6483375   Jordan Cassidy Light                               701 S ADAMS ST                                                                                                                           HUGOTON             KS      67951-2711
6483187   Jordan DeSaulnier                                  3748 W. 9th StreetApt. #404                                                                                                              Los Angeles         CA      90019
6483524   Jordan Edelstein                                   10735 Francis Place, Apt 5                                                                                                               Los Angeles         CA      90034
6485910   Jordan Horowitz                                    4330 Irvine Ave                                                                                                                          Studio City         CA      91604
6482218   Jordan Klein, Jr. dba Jordan Klein, Inc.           10197 S.E. 144th Place                                                                                                                   Summerfield         FL      34491
6476546   JORDAN MEMORIAL UNITED METHODIST CHURCH            PO BOX 848                                                                                                                               RAMSEUR             NC      27316
6485990   Jordan Rojas                                       841 E. Virginia Ave.                                                                                                                     Glendora            CA      91741
6482577   Jordan Schafer                                     c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                        Northbrook          IL      60062
6485197   Jordanah, Inc.                                     5318 E. 2nd St. #361                                                                                                                     Long Beach          CA      90803
6485206   Jorge Andrade                                      2249 Euclid Ave.                                                                                                                         Long Beach          CA      90815
6485231   Jorge Carreon Jr.                                  1825 Wayne Ave.                                                                                                                          South Pasadena      CA      91030
6482578   Jorge Mario Alfaro                                 c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                        Northbrook          IL      60062
6482579   Jorge Polanco                                      400 Skokie Blvd. Suite 280                                                                                                               Northbrook          IL      60062
6491640   JORGENSEN/ODESSA ROSE                              Address on File
6485451   JorgensenHR                                        28494 Westinghouse Place, #212                                                                                                           Valencia            CA      91355
6476150   JORISCH\BERT                                       366 N BOWY SUITE 410                                                                                                                     JERICHO             NY      11753
6484546   Jorma Taccone                                      c/o United Talent Agency9560 Wilshire Boulevard, 5th Floor                                                                               Beverly Hills       CA      90210
6475968   JOSE G FLORES,INC.                                 PO BOX 9022695                                                                                                                           SAN JUAN            PR      00902-2695
6484052   Jose Hernandez                                     726 1/2 S. Carondelet Street                                                                                                             Los Angeles         CA      90057
6469275   JOSE IGLESIAS                                      C/O SFX BASEBALL GROUP                                          400 SKOKIE BLVD. SUITE 280                                               NORTHBROOK          IL      60062
6482580   Jose Iglesias                                      c/o SFX Baseball Group400 Skokie Blvd, Ste.280                                                                                           Northbrook          IL      60062
6486284   Jose Louis Angelini                                P.O. Box 970                                                                                                                             Hana                HI      96713
6482581   Jose Peraza                                        c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                         Northbrook          IL      60062
6484942   Joseph A Lisanti                                   906 Marco Place                                                                                                                          Venice              CA      90291
6481184   Joseph A. Favorito                                 723 Beechcrest Dr.                                                                                                                       Westwood            NJ      07675
6485248   Joseph Amplo                                       987 E. Del Mar Ave #18                                                                                                                   Pasadena            CA      91106
6485398   Joseph Anderson dba JoeNationTV                    5533 Edward E. Horton Lane #10                                                                                                           Encino              CA      91316
6485842   Joseph Anderton                                    11255 Huston St. Apt #206                                                                                                                North Hollywood     CA      91601
6485663   Joseph Bereta                                      14333 Addision St #105                                                                                                                   Sherman Oaks        CA      91423
6485477   Joseph C. Foley                                    3506 Twin Lake Ridge                                                                                                                     Westlake Village    CA      91361
6485076   Joseph Cali Systems Design, Inc.                   1744 Berkely Street                                                                                                                      Santa Monica        CA      90404
6483188   Joseph D. Matukewicz                               5110 Packard St.                                                                                                                         Los Angeles         CA      90019
6485701   Joseph F. Pizzula                                  5006 Noeline Ave.                                                                                                                        Encino              CA      91436
6485742   Joseph Glen Hedge                                  2033 North Parish Place                                                                                                                  Burbank             CA      91504
6486135   Joseph Haag                                        4130 Helene St.                                                                                                                          Simi Valley         CA      93063
6484017   Joseph Matthew Pistoresi                           11669 Chenault St. #10                                                                                                                   Los Angeles         CA      90049
6479819   JOSEPH NICHOLAS                                    17001 COLLINS AVE                                               #4305                                                                    SUNNY ISLES BEACH   FL      33160
6483853   Joseph Smithey                                     7939 Hillsdale Ave.                                                                                                                      Los Angeles         CA      90046
6483613   Josh Godfrey                                       400 N. Gardner St.                                                                                                                       Los Angeles         CA      90036
6484703   Josh Hamilton                                      c/o Law Offices of Matthew Saver269 S. Beverly Dr., Suite 330                                                                            Beverly Hills       CA      90212
6486230   Josh Lebowitz                                      1049 Key Route Blvd.                                                                                                                     Albany              CA      94706




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MMLID     NAME                                                    ADDRESS                                                           ADDRESS 2                            ADDRESS 3                ADDRESS 4                   CITY              STATE   POSTAL CODE COUNTRY
6485911   Josh Orenstein                                          12938 Bloomfield St                                                                                                                                         Studio City       CA      91604
6484018   Josh Surkin                                             550 S. Barrington Ave. Apt #2103                                                                                                                            Los Angeles       CA      90049
6484704   Josh Weiner                                             c/o Principato-Young Entertainment9465 Wilshire Blvd. Suite 900                                                                                             Beverly Hills     CA      90212
6482309   Joshua Black Wilkins                                    508 Davidson St. Loft 208                                                                                                                                   Nashville         TN      37213
6483063   Joshua Gordon                                           523 N. Mariposa Avenue                                                                                                                                      Los Angeles       CA      90004
6485843   Joshua Hale Fialkov dba Hoarse & Buggy Productions      11510 Collins Street Ste.1                                                                                                                                  North Hollywood   CA      91601
6486222   Joshua Hamilton                                         1401 N. Broadway, Suite 210                                                                                                                                 Walnut Creek      CA      94596
6481239   Joshua Homme                                            213 W. 35th St. #802A                                                                                                                                       New York          NY      10001
6483760   Joshua Jared Stallings                                  5240 Hermosa Ave.                                                                                                                                           Los Angeles       CA      90041
6484865   Joshua Pollack                                          3639 Oceanhill Way                                                                                                                                          Malibu            CA      90265
6484284   Joshua Reinhold                                         2449 N Beachwood Dr                                                                                                                                         Los Angeles       CA      90068
6481727   Joshua Samataro                                         315 Seigel St Apt #217                                                                                                                                      Brooklyn          NY      11206
6481758   Joshua Tucker                                           523 Graham Ave. #2R                                                                                                                                         Brooklyn          NY      11222
6481068   Josias Tapia Benjamin                                   817 Fernandez Juncos Ave. #4                                                                                                                                San Juan          PR      00907
6482582   Josmil Pinto                                            c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                           Northbrook        IL      60062
6480777   Jovanovic, Natasa                                       Address on File
6478947   JOVOVICH/MILLA                                          8383 WILSHIRE BLVD. #500                                                                                                                                    BEVERLY HILLS     CA      90211
6484796   Joy Fehily                                              9696 Culver Blvd. Suite 102                                                                                                                                 Culver City       CA      90232
6468831   JOY NICHOLSON                                           C/O KAREN CRONER                                                  1131 MAPLE STREET                                                                         SANTA MONICA      CA      90405
6483026   Joy Nicholson                                           P.O. Box 825                                                                                                                                                Chimayo           NM      87522
6482446   Joyce Anita Thomas dba Very Special Cons                1333 San Juan Dr                                                                                                                                            Flint             MI      48504
6476471   JOYCE, JIMMY                                            4883 HWY 704                                                                                                                                                MADISON           NC      27025
6477264   JOYE III\CARL W.                                        1503 PARIS AVENUE                                                                                                                                           PORT ROYAL        SC      29935
6478836   JOYNES\ROBIN EMERSON                                    6014 S. HALM AVENUE                                                                                                                                         LOS ANGELES       CA      90056
6484943   JP Pettinato                                            116 Rose Ave. #11                                                                                                                                           Venice            CA      90291
6482188   JPP Enterprises, LLC fso Jason Pierre-Paul              1801 S. Federal Hwy., 2nd Floor                                                                                                                             Boca Raton        FL      33432
6477647   J-R EQUIPMENT RENTAL CORP                               2812 JEFFERSON HWY                                                                                                                                          JEFFERSON         LA      70121
6492687   JR LIGHTING, INC.                                       ATTN: JAMES REID, PRESIDENT                                       9 BROOKS AVE.                                                                             NORTH LAS VEGAS   NV      89030
6491618   JR MEDIA SERVICES, INC.                                 8837 LANKERSHIM BLVD.                                                                                                                                       SUN VALLEY        CA      91352
6485365   JRD Enterprises, Inc.                                   7523 Jordan Ave                                                                                                                                             Canoga Park       CA      91303
6485210   JS Horny Design Inc                                     1369 Skywood Circle                                                                                                                                         Altadena          CA      91001        UNITED
6797324   JSP RECORDS                                             P.O. BOX 1584                                                                                                                                               LONDON                    N3 3NW       KINGDOM
                                                                                                                                                                                                                                                                     UNITED
6486521   JSP Records - Wire                                      P.O. Box 1584                                                                                                                                               London                    N3 3NW       KINGDOM
                                                                                                                                                                                                                                                                     UNITED
6469726   JSP RECORDS - WIRE                                      P.O. BOX 1584                                                                                                                                               LONDON                                 KINGDOM
6484548   JT Petty, Inc.                                          c/o The Gersh Agency232 N. Canon Drive                                                                                                                      Beverly Hills     CA      90210
6481365   Judy Casey, Inc.                                        491 Broadway, 2nd Floor                                                                                                                                     New York          NY      10012
6485664   Judy Moody Prods                                        4439 Tyrone Ave.                                                                                                                                            Sherman Oaks      CA      91423
6485384   Judy Yonemoto                                           20110 Lassen St.                                                                                                                                            Chatsworth        CA      91311
6486440   Judy, Inc.                                              21 Isabella St.                                                                                                                                             Toronto           ON      M47 1M7      CANADA
6478857   JULIA MICHELS MUSIC, INC.                               3852 COOLIGE AVENUE                                                                                                                                         LOS ANGELES       CA      90066
6485807   Julia R. Hapney                                         925 1/2 West Angeleno Ave.                                                                                                                                  Burbank           CA      91506
6483854   Julia Trainor                                           815 N. Stanley Ave.                                                                                                                                         Los Angeles       CA      90046        UNITED
6474003   JULIAN CALDOW                                           12 VALLEY WALK SHIRLEY                                                                                                                                      CROYDON                   CR0 8SR      KINGDOM
                                                                                                                                                                                                                                                                     UNITED
6486522   Julian Caldow                                           12 Valley Walk Shirley                                                                                                                                      Croydon                   CRO 8SR      KINGDOM
6485956   Julian Ramsey Mellette III                              5651 Corteen Place                                                                                                                                          Valley Village    CA      91607
6483944   Julian Smith                                            7921 Oakwood Ave.                                                                                                                                           Los Angeles       CA      90048
6477658   JULIAN\LARRON                                           5721 VERMILLION BLVD                                                                                                                                        NEW ORLEANS       LA      70122
6486420   Julie Amyot                                             1511 Ave Lapalme                                                                                                                                            Laval             QC      H7V 3C7      CANADA
6484019   Julie Anderson                                          12022 Coyne St                                                                                                                                              Los Angeles       CA      90049
6468851   JULIE ANN HARTLEY                                       1230 HORN AVE.                                                    #516                                                                                      LOS ANGELES       CA      90069
6482493   Julie Ann Hartley                                       615 7th St. SE                                                                                                                                              Minneapolis       MN      55414
6483945   Julie Geer                                              340 N. Hayworth Ave. #203                                                                                                                                   Los Angeles       CA      90048
6471739   JULIE GOLER                                             1030 S ALFRED ST                                                                                                                                            LOS ANGELES       CA      90035-2502
6483689   Julie Link                                              1040 N. Las Palmas AvenueBldg 40                                                                                                                            Los Angeles       CA      90038
6482583   Julio Alberto Teheran                                   400 Skokie Blvd. Suite 280                                                                                                                                  Northbrook        IL      60062
6482584   Julio Morban                                            c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                            Northbrook        IL      60062
6797393   JUNCTION FILMS, INC.                                    9615 BRIGHTON WAY                                                                                                                                           BEVERLY HILLS     CA      90210
6797329   JUNEBUG & DIANE PRODUCTIONS INC                         13929A VICTORY BLVD                                               STE 349                                                                                   NORTH HOLLYWOOD   CA      91606
6492155   JUNGER* SEBASTIAN                                       C/O STUART KRICHEVSKY LITERARY AGENCY INC.                        ATTN: STUART KRICHEVSKY              381 PARK AVENUE SOUTH    SUITE 914                   NEW YORK          NY      10016
6485774   Juniper Post, Inc                                       932 N. Ford St.                                                                                                                                             Burbank           CA      91505
6481674   Junket Productions Inc                                  5 Old Farm Lane                                                                                                                                             Hartsdale         NY      10530
6491990   JUNKET PRODUCTIONS INC                                  C/O JPI                                                           ATTN: DOMINICK AZZARO                5 OLD FARM LANE                                      HARTSDALE         NY      10530        UNITED
6475248   JUST CASTING                                            20TH CENTURY THEATRE                                              291 WESTBOURNE GROVE                                                                      LONDON                    W11 2QA      KINGDOM
6478551   JUSTICE RAY REALTY                                      5738 3/4 W ADAMS BLVD                                                                                                                                       LOS ANGELES       CA      90016
6468735   JUSTIN ADLER ('WRITER')                                 C/O HANSEN JACOBSON TELLER HOBERMAN                               NEWMAN WARREN RICHMAN RUSH & KALLER ATTN: KEN RICHMAN, ESQ.   450 N. ROXBURY DRIVE, 8TH   BEVERLY HILLS     CA      90210
6483855   Justin Berns                                            1233 N. Crescent Heights #1                                                                                                                                 Los Angeles       CA      90046
6482334   Justin Fox                                              421 Lost Tree Lane                                                                                                                                          Knoxville         TN      37934
6484550   Justin Hamilton                                         335 N. Maple                                                                                                                                                Beverly Hills     CA      90210
6483095   Justin J. Shrenger, A Professional Corporation          3440 Wilshire Blvd. Suite 810                                                                                                                               Los Angeles       CA      90010
6485371   Justin Jacaruso                                         8356 Sausalito Ave                                                                                                                                          Canoga Park       CA      91304




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                                                                                                                                            Master Mailing List
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MMLID     NAME                                                    ADDRESS                                                             ADDRESS 2                                 ADDRESS 3                     ADDRESS 4                  CITY               STATE   POSTAL CODE COUNTRY
6482148   Justin L. Jackson                                       993 Pineland Dr.                                                                                                                                                       Rockledge          FL      32955
6484551   Justin Lee Tuck                                         345 N. Maple Dr., Suite 205                                                                                                                                            Beverly Hills      CA      90210
6484105   Justin Meldal-Johnsen                                   3640 Roderick Road                                                                                                                                                     Los Angeles        CA      90065
6482235   Justin Niebank                                          205 Tarrington Ct.                                                                                                                                                     Brentwood          TN      37027
6489678   JUSTIN PAUL VALLESTEROS                                 Address on File
6486309   Justin Powers                                           1511 Nuuana Ave 104                                                                                                                                                    Honolulu           HI      96817
6485558   Justin Smith                                            13749 Sylvan St. #5                                                                                                                                                    Van Nuys           CA      91401
6470767   JUSTIN WEAVER                                           4008 WESTLAWN DR                                                                                                                                                       NASHVILLE          TN      37209-4916
6482296   Justin Weaver                                           520 Eastbend Dr.                                                                                                                                                       Nashville          TN      37209
6483856   Justine Winkler                                         1301 Havenhurst Dr. #1301                                                                                                                                              Los Angeles        CA      90046
6482585   Justis Logan Morrison                                   c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                                      Northbrook         IL      60062
6483110   JUSTLIKEIT, LLC                                         253 South BroadwayLoft 201                                                                                                                                             Los Angeles        CA      90012
6485957   Justyn Moro                                             5324 Whitsett Ave                                                                                                                                                      Valley Village     CA      91607
6482332   Juvenile Diabetes Research Foundation                   355 Trane Dr.                                                                                                                                                          Knoxville          TN      37919
6481106   Juvenile Diabetes Research Foundation                   60 Walnut Street                                                                                                                                                       Wellesley Hills    MA      02481
6486223   JWA11, Inc. fso John Wall                               1401 N. Broadway, #210                                                                                                                                                 Walnut Creek       CA      94596
6491292   K & L ASSOCIATES, LLC                                   1266 WEST PACES FERRY ROAD #693                                                                                                                                        ATLANTA            GA      30327
6491791   K & L GATES, LLP.                                       70 WEST MADISON STREET                                              SUITE # 3100                                                                                       CHICAGO            IL      60602-4207
6479747   K&L GATES LLP                                           925 FOURTH AVENUE, STE 2900                                                                                                                                            SEATTLE            WA      98104-1158
6469497   K&L GATES LLP                                           ATTN: CHRIS MORGAN                                                  925 FOURTH AVE., STE.2900                                                                          SEATTLE            WA      98104
6474914   K&L GATES LLP                                           ATTN: RCAC                                                          925 FOURTH AVENUE, STE 2900               925 FOURTH AVENUE, STE 2900                              SEATTLE            WA      98104
6486348   K&L Gates LLP                                           RCAC                                 925 Fourth Ave., Suite 2900                                                                                                       Seattle            WA      98104
6481823   K.C. Bailey                                             P.O. Box 476                                                                                                                                                           Shelter Island     NY      11964
6485994   K-1 Packaging Group                                     17989 E. Arenth Ave.                                                                                                                                                   City of Industry   CA      91748
6484345   k2PM                                                    8491 Sunset Blvd #874                                                                                                                                                  West Hollywood     CA      90069
6480636   Kaan, Anthony                                           Address on File
                                                                                                                                      ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492239   KABC                                                    C/O THE WALT DISNEY COMPANY                                         MGR                                       500 S. BUENA VISTA STREET                                BURBANK            CA      91521
6478049   KABLE PRODUCTIONS LLC                                   320 GOLD AVENUE SW                                                                                                                                                     ALBUQUERQUE        NM      87102
6483087   Kacie Lehner                                            3030 Shrine Place #4                                                                                                                                                   Los Angeles        CA      90007
6479296   KAHN\CHRIS                                              23143 NAPA DR                                                                                                                                                          VALENCIA           CA      91354
6480873   Kaier, Thomas                                           Address on File
6468666   Kaier, Tommy                                            Address on File
6478318   KAKAWA CHOCOLATE HOUSE                                  1050 PASEO DE PERALTA                                                                                                                                                  SANTA FE           NM      87501
6485077   Kaktis Productions Inc                                  2808 Arizona Ave, #1                                                                                                                                                   Santa Monica       CA      90404
6475160   KALDORF\BRIAN                                           DBA BRIAN KALDORF PHOTOGRAPHY                                       163 CLEARVIEW AVENUE                                                                               PITTSBURGH         PA      15229
6469279   KALEB BRYANT COWART                                     C/O SFX BASEBALL GROUP                                              400 SKOKIE BLVD. SUITE 280                                                                         NORTHBROOK         IL      60062
6482586   Kaleb Bryant Cowart                                     c/o SFX Baseball Group400 Skokie Blvd, Ste.280                                                                                                                         Northbrook         IL      60062
6474876   KALT*HARRISON                                           Address on File
6486026   kamelbreath corporation                                 1122 larksong lane                                                                                                                                                     Encinitas          CA      92024
6483857   Kandice Billingsley                                     8523 Brier Dr.                                                                                                                                                         Los Angeles        CA      90046
6479950   KANSAS DEPARTMENT OF HUMAN RESOURCES                    SECRETARY                                                           109 SW 9TH STREET                         4TH FLOOR                                                TOPEKA             KS      66612
6482791   Kansas Secretary of State                               Memorial Hall, 1st Floor120 S.W. 10th Ave.                                                                                                                             Topeka             KS      66612
6481892   Kanye West                                              1 Presidential Blvd. Suite 320                                                                                                                                         Bala Cynwyd        PA      19004
6484211   Kanzeon Corporation f/s/o David O. Russell              Creative Artists AgencyAttn: John Campisi2000 Avenue of the Stars                                                                                                      Los Angeles        CA      90067
6485588   Kaplan, Klein, Rogen, A Law Corporation                 15233 Ventura Blvd. Suite 1010                                                                                                                                         Sherman Oaks       CA      91403
6475698   KAPLAN, SHERMAN                                         4299 MACARTHUR BLVD                                                 STE 202                                                                                            NEWPORT BEACH      CA      92660
6475310   KAPLAN\SHERMAN I.                                       ROSE CARSON KAPLAN CHOI & WHIT                                      4299 MACARTHUR BLVD., STE 202                                                                      NEWPORT BEACH      CA      92660
6474848   KARATZ*HEATHER                                          Address on File
6480778   Karatz, Heather                                         Address on File
6759472   KARE Television                                         8811 Olson Memorial Highway                                                                                                                                            Minneapolis        MN      55427
6759472   KARE Television                                         c/o Szabo Associates, Inc.                                          3355 Lenox Road NE, Suite 945                                                                      Atlanta            GA      30326
6488530   KARE TELEVISION                                         C/O SZABO ASSOCIATES, INC.                                          ATTN: SANDI G HENDERSON                   3355 LENOX RD NE STE 945                                 ATLANTA            GA      30326
6484346   Karen Christine Fee Levitan                             1128 N. Sweetzer AvenueApt B                                                                                                                                           West Hollywood     CA      90069
6481250   Karen Gehres                                            78 Ridge St. #4H                                                                                                                                                       New York           NY      10002
6484972   Karen Goulekas                                          4 Lighthouse St #4                                                                                                                                                     Marina Del Rey     CA      90292
6481854   Karen Lynne Lovell                                      3400 Harrisburg St.                                                                                                                                                    Pittsburgh         PA      15204
6486451   Karen Tyrell                                            #36 - 59 Roncesvalles Ave.                                                                                                                                             Toronto            ON      M6R 2K5      CANADA
6484797   Karie Lynn Bible dba FilmRadar.com                      3937 Tilden Ave. #B                                                                                                                                                    Culver City        CA      90232
6474523   KARLSSON*MIKAEL                                         Address on File
6480867   Karlsson, Mikael                                        Address on File
6797321   Karma Film, Inc.                                        c/o Verve Talent and Literary Agency                                Attn: Adam Levine                         6310 San Vicente Boulevard    Suite 100                  Los Angeles        CA      90048
6484798   Karma Film, Inc. f/s/o Siavash Farahani                 c/o Verve Talent & Literary AgencyAttn: Adam Levine9696 Culver                                                                                                         Culver City        CA      90232
6479322   KARP\BENAY                                              4776 NOMAD DRIVE                                                                                                                                                       WOODLAND HILLS     CA      91364
6485399   Karsh TV, Inc.                                          6345 Balboa BlvdBldg 4 Suite 375                                                                                                                                       Encino             CA      91316
6474072   KARSH*JONATHAN                                          Address on File
6491899   KASIMA, LLC, A DELAWARE LIMITED LIABILITY CO.           AKA DIGITAL CINEMA IMPLEMENTATION PARTNERS LL                       C/O LOEB & LOEB LLP                       ATTN: KARL BLOCK, ESQ.        10100 SANTA MONICA BLVD., LOS ANGELES         CA      90067-4120
6486706   Kasowitz, Benson, Torres & Friedman LLP                 1633 Broadway                                                                                                                                                         New York            NY      10019
6484973   Kassem G. Inc.                                          929 Howard St.                                                                                                                                                        Marina Del Rey      CA      90292
6491610   KAT MEOW ASSOCIATES, INC.                               21201 VICTORY BLVD. SUITE 225                                                                                                                                         CANOGA PARK         CA      91303




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MMLID     NAME                                                     ADDRESS                                                     ADDRESS 2                               ADDRESS 3                          ADDRESS 4              CITY                STATE   POSTAL CODE COUNTRY
6484894   Katalyst Group, Inc.                                     1037 Iliff St.                                                                                                                                                Pacific Palisades   CA      90272
6490026   KATALYST GROUP, INC.                                     ATTN: JIM LATHAM, CFO                                       1037 ILIFF ST.                                                                                    PACIFIC PALISADES   CA      90272
6490025   KATALYST GROUP, INC.                                     ATTN: JIM LATHAM, CFO                                       77 BUCKSKIN RD                                                                                    BELL CANYON         CA      91307-1121
6477156   KATANICH\SAM                                             56 WISTONIA PLACE                                                                                                                                             HENDERSONVILLE      NC      28792
6797314   KATE BECKINSALE                                          CREATIVE ARTIST AGENCY (CAA)                                2000 AVENUE OF THE STARS                                                                          LOS ANGELES         CA      90067
6484640   Kate Duffy                                               133 N. Gale Drive Apt#5                                                                                                                                       Beverly Hills       CA      90211
6481337   Kate Edwards                                             365 W. 20th St., Apt 713                                                                                                                                      New York            NY      10011
6485639   Kate Hart                                                15057 Burbank Blvd, Apt 10                                                                                                                                    Van Nuys            CA      91411
6481780   Kate Lanphear                                            424 Bedford Ave. #14B                                                                                                                                         Brooklyn            NY      11249
6485550   Kater Litho, Inc.                                        PO Box 33547                                                                                                                                                  Granada Hills       CA      91394
6486114   Katerina Tavoularis dba Tavoularis Projects              1537 E. Riverview Ave.                                                                                                                                        Orange              CA      92865
6483189   Katherine Palardy                                        5436 Edgewood Place                                                                                                                                           Los Angeles         CA      90019
6483789   Katherine S. Arendain                                    5651 W. 78th St.                                                                                                                                              Los Angeles         CA      90045
6481663   Katherine Webb                                           521 5th AvenueSuite 1900                                                                                                                                      New York            NY      10175
6485510   Katheryne M Candlish                                     21300 Dumetz Rd. #A                                                                                                                                           Woodland Hills      CA      91364
6484347   Kathi Sharpe-Ross                                        8687 Melrose Ave., 8th Floor                                                                                                                                  Los Angeles         CA      90069
6472389   KATHI SHARPE-ROSS                                        8687 MELROSE AVE., 8TH FLOOR                                                                                                                                  WEST HOLLYWOOD      CA      90069
6481267   Kathleen Chopin                                          170 Second Ave. #14B                                                                                                                                          New York            NY      10003
6469932   KATHLEEN CHOPIN                                          66 MADISON AVE #P                                                                                                                                             NEW YORK            NY      10016-8729
6481389   Kathleen Julia Ryan, LLC                                 333 Hudson St. #1002                                                                                                                                          New York            NY      10013
6797307   KATHLEEN QUIGLEY                                         27 MOHAWK RD                                                                                                                                                  MARBLEHEAD          MA      01945
6483690   Kathryn Vaughan                                          1232 North June St.                                                                                                                                           Los Angeles         CA      90038
6483614   Kathy Nelson, Inc                                        c/o Jess Morgan & Co, Inc5900 Wilshire Blvd.Suite 2300                                                                                                        Los Angeles         CA      90036
6485822   Katja Motion Picture Company                             4000 Warner Blvd                                                                                                                                              Burbank             CA      91522
6492144   KATJA MOTION PICTURE CORPORATION                         A SUBSIDIARY OF NEW LINE CINEMA LLC                         ATTN: WAYNE M . SMITH, SR. VICE PRESIDENT 4000 WARNER BLVD.                BLDG. 156, ROOM 5120   BURBANK             CA      91522
6478537   KATO'S                                                   604 EAST 1ST STREET                                                                                                                                           LOS ANGELES         CA      90012
6485078   Katrina Love                                             3117 Colorado Ave. #E                                                                                                                                         Santa Monica        CA      90404
6484641   Katrina Wan PR                                           8383 Wilshire Blvd., Suite 202                                                                                                                                Beverly Hills       CA      90211
6491495   KATTEN MUCHIN ROSENMAN                                   Address on File
6476080   KATZ ,MD\LOUIS                                           20 5TH AVE.                                                                                                                                                   NEW YORK            NY      10011
6481505   Katz Communications, Inc. dba Katz Advantage             125 West 55th St.                                                                                                                                             New York            NY      10019
6482736   Katz Communications, Inc. dba Katz Radio Group Network   12022 Collections Centre Dr.                                                                                                                                  Chicago             IL      60693
6476081   KATZ MD\LOUIS A                                          20 FIFTH AVENUE                                                                                                                                               NEW YORK            NY      10011
6491355   KATZ MEDIA GROUP                                         12022 COLLECTION CENTER DR.                                                                                                                                   CHICAGO             IL      60693
6474376   KATZ*DANIELLE                                            Address on File
6480964   Katz, Benjamin                                           Address on File
6480522   Katz, Danielle J.                                        Address on File
6475768   KATZ, MD, LOUIS                                          20 5TH AVENUE                                               SUITE 1 A                                                                                         NEW YORK            NY      10011
6481315   Katzner Pictures fso Oren Moverman                       5 East 22nd St. #16C                                                                                                                                          New York            NY      10010
6468758   KATZNER PICTURES, INC. F/S/O OREN MOVERMAN               C/O WME ENTERTAINMENT                                       ATTN: DAVID KARP                        9601 WILSHIRE BLVD.                THIRD FLOOR            BEVERLY HILLS       CA      90210
6479740   KAUAI POLICE DEPT.                                       3990 KAANA ST., SUITE #200                                                                                                                                    LIHUE               HI      96766
6481537   Kauff McGuire & Margolis, LLP                            950 Third Avenue 14th Flr                                                                                                                                     New York            NY      10022
6483162   Kaufman Legal Group, A Professional Corporation          777 S. Figueroa St. Suite 4050                                                                                                                                Los Angeles         CA      90017
6476091   KAUFMAN\AVY                                              180 VARICK STREET                                                                                                                                             NEW YORK            NY      10014
6479374   KAUTZ\SHAUN                                              35149 PENMAN RD                                                                                                                                               AGUA DULCE          CA      91390
6483858   Kauveh Khozein                                           7236 Fountain Ave. #1                                                                                                                                         Los Angeles         CA      90046
6484866   Kava Productions                                         20826 Big Rock Drive                                                                                                                                          Malibu              CA      90265
6474071   KAVANAUGH*RYAN                                           Address on File
6480616   Kavanaugh, Nicole                                        Address on File
6475026   KAYANAN\RAFAEL                                           244 E.77TH ST.                                              #19                                                                                               NEW YORK            NY      10075
6482678   Kaye Scholer, LLP                                        Three First National Plaza70 West Madison St. Suite 4200                                                                                                      Chicago             IL      60602
6484705   Kazanjoglous Corp                                        c/o United Talent Agency9560 Wilshire Blvd, 4th Floor                                                                                                         Beverly Hills       CA      90212
6490443   KAZT LLC                                                 ATTN: BRION NEELEY, ASSISTANT CONTROLLER                    4343 E. CAMELBACK ROAD, SUITE 400                                                                 PHOENIX             AZ      85018
6484554   KB Productions, Inc.                                     c/o Sloane, Offer, Weber and Dern9601 Wilshire Blvd, #500                                                                                                     Beverly Hills       CA      90210
6487897   KB PUBLISHING                                            C/O BMG RUBY SONGS                                          BMG CHRYSALIS                           1745 BROADWAY, 19TH FLOOR                                 NEW YORK            NY      10019
6488229   KBWB INC.                                                DBA KOFY TV                                                 ATTN: S. KEMP NICHOL                    2500 MARIN STREET                                         SAN FRANCISCO       CA      94124
6491941   KCOP TELEVISION, INC., ON BEHALF OF ITS                  TELEVISION STATION KCOP                                     C/O KCOP TELEVISION, INC.               ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE    LOS ANGELES         CA      90025
6483285   KCOP-TV dba KCOP Television, Inc                         1999 South Bundy Drive                                                                                                                                        Los Angeles         CA      90025
6490329   KCPQ/KZJO-TV                                             ATTN: VICKI MORIN, CREDIT MANAGER                           1813 WESTLAKE AVE. N.                                                                             SEATTLE             WA      98109
6485262   KCRW Foundation Inc The                                  PO Box 31001-1704                                                                                                                                             Pasadena            CA      91110
6490491   KDOC-TV LOS ANGELES                                      ATTN: ABIGAIL MEDINA                                        625 N GRAND AVENUE                                                                                SANTA ANA           CA      92701
6490015   KDVR                                                     ATTN: CHRIS DOHERTY, CREDIT MANAGER                         100 E. SPEER BLVD.                                                                                DENVER              CO      80203
6481884   Keabro Ltd. dba Lily's On Main                           124 East Main St. P.O. Box 637                                                                                                                                Ephrata             PA      17522
6480679   Kealey, Olivia                                           Address on File
6480641   Keanu, Alicia                                            Address on File
6484706   Keats McFarland & Wilson LLP                             9720 Wilshire BoulevardPenthouse Suite                                                                                                                        Beverly Hills       CA      90212
6485975   KEDA Enterprises, Inc. dba Gearworks Pro Audio           P.O. Box 2661                                                                                                                                                 Toluca Lake         CA      91610
6480814   Keen, Adam                                               Address on File
6474134   KEENAN*JOSEPH                                            Address on File
6480681   Keenan, Joe                                              Address on File




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MMLID     NAME                                               ADDRESS                                                             ADDRESS 2                           ADDRESS 3                            ADDRESS 4   CITY                     STATE   POSTAL CODE COUNTRY
6476676   KEENAN, TIFFANY APPLE                              4808 BUTTERWICK LANE                                                                                                                                     CHARLOTTE                NC      28212
6477608   KEENAN\PEPPER                                      1110 CAMBRONNE ST                                                                                                                                        NEW ORLEANS              LA      70118
6481845   Keith Buckley                                      505 Norwood Ave.                                                                                                                                         Buffalo                  NY      14222
6482033   Keith Gabriel                                      7347 Daerwood Pl.                                                                                                                                        Charlotte                NC      28215
6481961   Keith Tyrell Thomas                                8685 Seasons Way                                                                                                                                         Lanham                   MD      20706
6484020   Keith Yokomoto                                     657 N. Saltair Ave.                                                                                                                                      Los Angeles              CA      90049
6491309   KEITH* DONALD                                      Address on File
6474249   KEITHLEY*CATHERINE                                 Address on File
6485425   Keiunta Dixon                                      8744 Burnet Avenue, Unit 12                                                                                                                              North Hills              CA      91343
6482070   Kelcy Fitzgerald Quarles                           4619 Cokesbury Rd.                                                                                                                                       Hodges                   SC      29653
6474871   KELFER*JAKE                                        Address on File
6475411   KELLER WILLIAMS REALTY                             NEW ORLEANS                                                         8601 LEAKE AVE                                                                       NEW ORLEANS              LA      70118
6478621   KELLER/ADAM                                        3232 ROWENA AVE                                                                                                                                          LOS ANGELES              CA      90027
6484920   Kellerhouse, Inc.                                  2737 Vista Del Mar Rd.                                                                                                                                   Topanga                  CA      90290
6476213   KELLER-WRIGHT\SHERRIE                              1316 KIRKPATRICK AVENUE                                                                                                                                  NORTH BRADDOCK           PA      15104
6491452   KELLEY LOGSDON OBO KOOOL G MURDER MUSIC            4851 BUCHANAN STREET                                                                                                                                     LOS ANGELES              CA      90042
6486023   Kelli Richardson                                   1702 Fairland Ave.                                                                                                                                       Carlsbad                 CA      92011
6483859   Kellie Gesell                                      801 N. Fairfax Ave#318                                                                                                                                   Los Angeles              CA      90046
6797301   KELLY BROWN                                        198 VALLEY RIDGE CIRCLE                                                                                                                                  HOT SPRINGS              AR      71913        UNITED
6797296   KELLY JONES                                        STYLUS RECORDS / STEREOPHONICS.COM                                  44 CHISWICK LANE                                                                     LONDON                           W4 2JQ       KINGDOM
6491682   KELLY PAPER COMPANY                                288 BREA CANYON RD                                                                                                                                       CITY OF INDUSTRY         CA      91789
6474549   KELLY*MAURA                                        Address on File
6480668   Kelly, Brendan                                     Address on File
6480455   Kelly, Maura B.                                    Address on File
6476294   KELLY\DANIEL M                                     2518 E CARSON STREET                                                                                                                                     PITTSBURGH               PA      15203
6478622   KELLY\KATHLEEN                                     4437 CAMERO AVE.                                                                                                                                         LA                       CA      90027
6475025   KELLY\MICHAEL                                      4311 ALCOVE AVE                                                     #14                                                                                  STUDIO CITY              CA      91604
6476375   KELLY\TOM                                          3111 MCROBERTS RD                                                                                                                                        CASTIC SHANNON           PA      15234
6477863   KELLY\WILLIE                                       PO BOX 2694                                                                                                                                              SLIDELL                  LA      70458
6479266   KELMAN, JAMIE                                      16343 LOS ALIMOS ST                                                                                                                                      GRANADA HILLS            CA      91344
6486017   Kelsey Kaixin Wong                                 1216 1/2 S. Ethel Ave.                                                                                                                                   Alhambra                 CA      91803
6476648   KELSO, AMOS P.                                     328 E. BUSH ST.                                                                                                                                          GASTONIA                 NC      28056
6491248   KEMADO RECORDS                                     87 GUERNSEY STREET                                                                                                                                       BROOKLYN                 NY      11222
6474706   KENDRICK*KATHERINE SARA                            Address on File
6476633   KENNEDY OFFICE SUPPLY CO INC                       P.O. BOX 58630                                                                                                                                           RALEIGH                  NC      27658
6476792   KENNEDY\SAMUEL A.                                  218 BROOKWOOD AVENUE                                                                                                                                     WILMINGTON               NC      28403
6491366   KENNER THEATRES, LLC                               305 BARONNE STREET SUITE 900                                                                                                                             NEW ORLEANS              LA      70112
6480327   KENNESAW COUNTY TAX COLLECTOR OFFICE               2529 J O STEPHENSON AVENUE                                                                                                                               KENNESAW                 GA      30144
6788396   Kenneth Edward Lynch                               c/o Shaver, Korff & Castronovo LLP                                  Attn: Thomas W. Shaver              16255 Ventura Boulevard, Suite 850               Encino                   CA      91436
6482034   Kenneth Gabriel                                    7347 Daerwood Place                                                                                                                                      Charlotte                NC      28215
6484707   Kenneth Halsband                                   211 South Spalding DriveUnit 102N                                                                                                                        Beverly Hills            CA      90212
6484708   Kenneth Halsband (expenses)                        211 South Spalding DriveUnit 102N                                                                                                                        Beverly Hills            CA      90212
6485372   Kenneth Lynch                                      8001 Crothers Court                                                                                                                                      Canoga Park              CA      91304
6483615   Kenneth McBroom                                    404 N. Curson Ave., Unit 3                                                                                                                               Los Angeles              CA      90036
6481211   Kenneth R. Lewis                                   11 Semel Ave.                                                                                                                                            Iselin                   NJ      08830
                                                                                                                                                                                                                                                                    SOUTH
6469656   KENNETH RAH DBA FURST PLUSH DESIGN, INC.           SK TECHNO-PARK, 190-1, SANGDAEWON-DONG,                             JUNGWON-GU,                                                                          SUNGNAM-SI GYEONGGI-DO                        KOREA
6486734   Kenneth Rah dba Furst Plush Design, Inc.           Suite 1005-6, Mega Center, SK Techno-Park, 190-1                    Sangdaewon-Dong, Jungwon-Gu         Sungnam-Si, Gyeonggi-Do                                                                        South Korea
6485170   Kenneth Todd Gilbert                               13334 Fonseca Ave                                                                                                                                        La Mirada                CA      90638
6480584   Kenney, William                                    Address on File
6482798   Kenny Stills                                       5800 Airline Dr.                                                                                                                                         Metairie                 LA      70003
6488535   KENS TELEVISION                                    5400 FREDERICKSBURG RD.                                                                                                                                  SAN ANTONIO              TX      78229
6488535   KENS TELEVISION                                    C/O SZABO ASSOCIATES, INC.                                          ATTN: SANDI HENDERSON               3355 LENOX RD NE, SUITE 945                      ATLANTA                  GA      30326
6474275   KENT*SEASON                                        Address on File
6480739   Kent, Season C                                     Address on File
6479966   KENTUCKY LABOR CABINET                             SECRETARY                                                           1047 U.S. HWY. 127 SOUTH, SUITE 4                                                    FRANKFORT                KY      40601
6477938   KENTWOOD SPRINGS                                   P O BOX 660579                                                                                                                                           DALLAS                   TX      75266-0579
6481914   Kenya Anderson                                     3900 Walnut St. MB 74                                                                                                                                    Philadelphia             PA      19104
6482702   Kerasotes Showplace Theatres LLC                   641 W Lake St., Ste. 305                                                                                                                                 Chicago                  IL      60661
6477245   KERLAGON\STEVEN                                    6339 SATCHELFORD RD                                                                                                                                      COLUMBIA                 SC      29206
6484709   Kermit Presentations fso Scott Alexander           c/o United Talent AgencyAttn: Accounting Dept.9560 Wilshire Blvd.                                                                                        Beverly Hills            CA      90212
6479760   KERN, GREGORY                                      PO BOX 111345                                                                                                                                            ANCHORAGE                AK      99511
6480436   Kern, Joe                                          Address on File
6474657   KERNS*JESSE                                        Address on File
6475210   KERR\TINA                                          ON LOCATION CASTING                                                 2132A CENTRAL AVE SE #295                                                            ALBUQUERQUE              NM      87106
6486441   Kerry Hayes                                        318 Willow Ave.                                                                                                                                          Toronto                  ON      M4E 3K7      CANADA
6468786   KETOR INC.                                         C/O AGENCY OF THE PERFORMING ARTS                                   ATTN: ADAM PERRY                    405 S. BEVERLY DRIVE                             BEVERLY HILLS            CA      90212
6468791   KETOR INC.                                         C/O MILOKNAY WEINER LLP                                             ATTN: PAUL MILOKNAY, ESQ.           7162 BEVERLY BLVD., SUITE 345                    LOS ANGELES              CA      90036        UNITED
6486401   Kevan Van Thompson                                 11 Heythorp CloseWoking                                                                                                                                  Surrey                           GU21 3Ql     KINGDOM
6485912   Kevin Bellonte                                     12016 Moorpark Dr. #3                                                                                                                                    Studio City              CA      91604




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                                                                                                                            Master Mailing List
                                                                                                                           Served First Class Mail

MMLID     NAME                                                   ADDRESS                                              ADDRESS 2                                 ADDRESS 3                         ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6482062   Kevin Brett Suarez                                     119 Belmont Ave.                                                                                                                                           Asheville         NC      28806
6484285   Kevin C. Bivona                                        6064 Scenic Ave.                                                                                                                                           Los Angeles       CA      90068
6482587   Kevin Chapman                                          c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                          Northbrook        IL      60062
6485775   Kevin Collins                                          930 N. Avo St.                                                                                                                                             Burbank           CA      91505
6486772   KEVIN COSTNER, TIG FILMS AND BLACKWHITE, LLC           C/O HIRSCH WALLERSTEIN HAYUM MATLOF                  & FISHMAN, LLP.                           ATTN: RYAN W.M. NORD              10100 SANTA MONICA BLVD., LOS ANGELES       CA      90067
6485719   Kevin Estrada                                          1034 E. Valencia Ave.                                                                                                                                      Burbank           CA      91501
6486297   Kevin Hoke                                             391 Lauie Dr.                                                                                                                                              Kula              HI      96790
6485022   Kevin Lynch Inc                                        301 Amalfi Dr                                                                                                                                              Santa Monica      CA      90402
6484348   Kevin McKeon                                           924 Hancock Ave #7                                                                                                                                         West Hollywood    CA      90069
6483946   Kevin Monroe                                           8899 Beverly Blvd.                                                                                                                                         Los Angeles       CA      90048
6482588   Kevin Siegrist                                         c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                          Northbrook        IL      60062
6484556   Kevin Teasley                                          9663 Santa Monica Blvd                                                                                                                                     Beverly Hills     CA      90210
6483736   Kevin Thibault                                         3114 Glenmanor Place                                                                                                                                       Los Angeles       CA      90039
6483860   Kevin Tod Haug                                         7923 1/2 Norton Avenue                                                                                                                                     Los Angeles       CA      90046
6491304   KEVIN WILLIAMS                                         Address on File
6482908   KevJumba Productions, Inc.                             73 Ambleside Crescent Dr.                                                                                                                                  Sugar Land        TX      77479
6479452   KEY CODE MEDIA, INC.                                   270 SOUTH FLOWER STREET                                                                                                                                    BURBANK           CA      91502
6475828   KEY OF NOLA                                            700 CAMP ST                                          SUITE 316                                                                                             NEW ORLEANS       LA      70130
6485079   Keystrokes                                             2121 Cloverfield Blvd. Suite 114                                                                                                                           Santa Monica      CA      90404
6482589   Keyvius Sampson                                        c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                          Northbrook        IL      60062
6490523   KFMB TV                                                ATTN: KAREN JOHNSON, CREDIT MANAGER                  7677 ENGINEER ROAD                                                                                    SAN DIEGO         CA      92111
                                                                                                                      ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492240   KFSN                                                   C/O THE WALT DISNEY COMPANY                          MGR                                       500 S. BUENA VISTA STREET                                   BURBANK           CA      91521
                                                                                                                      ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492241   KGO                                                    C/O THE WALT DISNEY COMPANY                          MGR                                       500 S. BUENA VISTA STREET                                   BURBANK           CA      91521
6484557   KGWE, LLC                                              9663 Santa Monica Blvd., #884                                                                                                                              Beverly Hills     CA      90210
6476516   KHAN, MOHAMMED ASIM                                    4890 LEGACY DR.                                                                                                                                            COLFAX            NC      27235
6475053   KHARUF, RUBA                                           327 CULVER BLVD                                      #6                                                                                                    PLAYA DEL REY     CA      90293
6474451   KHORRAM*KRISTINA                                       Address on File
6480511   Khorram, Kristina                                      Address on File
6488536   KHOU TELEVISION                                        1945 ALLEN PKWY                                                                                                                                            HOUSTON           TX      44019
6488536   KHOU TELEVISION                                        C/O SZABO ASSOCIATES, INC.                           ATTN: SANDI HENDERSON                     3355 LENOX RD NE, SUITE 945                                 ATLANTA           GA      30326
6488536   KHOU TELEVISION                                        Dept. 730044                                         PO Box 660919                                                                                         Dallas            TX      75266-0919
6477959   KHOURY ALTERNATIVE CLAIMS MGT                          140 HEIMER RD. #740                                                                                                                                        SAN ANTONIO       TX      78232
6481472   KickApps Corporation                                   29 Wst 38th Street, 5th Floor                                                                                                                              New York          NY      10018
6492280   KICKSTART PRODUCTIONS, INC.                            C/O BEHR ABRAMSON LEVY, LLP                          ATTN: HOWARD ABRAMSON, ESQ.               9701 WILSHIRE BLVD., SUITE 800                              BEVERLY HILLS     CA      90212
6476564   KIDD, JERRY LEE                                        1700 TROGDON ST.                                                                                                                                           GREENSBORO        NC      27403
6492278   KIDLIGHTNIN CORP., FSO PETER GILES                     C/O ABRAMS ARTISTS AGENCY                            ATTN: MICHAEL PIZZALATO, BUSINESS         9200 SUNSET BLVD., 11TH FLOOR                               LOS ANGELES       CA      90069
6468858   KIDNAP HOLDINGS, LLC                                   1875 CENTURY PARK E                                                                                                                                        LOS ANGELES       CA      90067
6492160   KIDNAP HOLDINGS, LLC                                   C/O LOEB & LOEB LLP                                  ATTN: LANCE N. JURICH, ESQ.               10100 SANTA MONICA BLVD., SUITE                             LOS ANGELES       CA      90067-4120
6482802   Kidnap Movie Production, LLC                           1208 Bert Street                                                                                                                                           La Place          LA      70068
6477476   KIEFFER\MICHAEL                                        909 HESPER AVE                                                                                                                                             METAIRIE          LA      70005
6484710   Kilkenny Productions, Inc.                             9100 Wilshire Blvd. #1000W                                                                                                                                 Beverly Hills     CA      90212
6479153   KILLERFX, INC.                                         88 GRACE TERRACE                                                                                                                                           PASADENA          CA      91105
6481612   Kim Bui                                                33 Gold St. #312                                                                                                                                           New York          NY      10038
6475782   KIMAGING                                               4801 LANG AVENUE NE                                  SUITE 110                                                                                             ALBUQUERQUE       NM      87109
6485429   KIMAGING Inc                                           12011 Bambi Pl                                                                                                                                             Granada Hills     CA      91344
6474142   KIMBALL*AUGUSTUS                                       Address on File
6480687   Kimball, Augustus                                      Address on File
6477416   KIMBALL\ROSS                                           2354 KEIM RD.                                                                                                                                              NAPPERVILLE       IL      60565
6485867   Kimberly Allen                                         11022 Aquavista #18                                                                                                                                        North Hollywood   CA      91602
6485374   Kimberly Edwards                                       6520 Platt Avenue #504                                                                                                                                     West Hills        CA      91307
6481390   Kimberly Ovitz                                         45 White St. #1C                                                                                                                                           New York          NY      10013
6483616   Kimble Hair Studio                                     513 South Fairfax Avenue                                                                                                                                   Los Angeles       CA      90036
6478678   KIMBLE\JASMINE                                         6115 HORNER STREET                                                                                                                                         LOS ANGELES       CA      90035
6485511   Kimsaprincess, Inc.                                    21731 Ventura Blvd.Suite 300                                                                                                                               Woodland Hills    CA      91364
6478050   KINDRED HOSPITAL                                       700 HIGH STREET NE                                                                                                                                         ALBUQUERQUE       NM      87102        UNITED
6474950   KINETIC PICTURES LTD                                   FSO: GABBY LE RASLE                                  27 BIRKBECK GROVE                                                                                     LONDON                    W3 7QD       KINGDOM
6482145   King Global Sports Academies                           7512 Dr. Phillips BlvdSuite 50 #939                                                                                                                        Orlando           FL      32819
6476985   KING III\PHILIP                                        520 WEST BRUNSWICK STREET                                                                                                                                  SOUTHPORT         NC      28461
6474854   KING JR*LAWRENCE TRAVIS                                Address on File
6485702   King Soundworks                                        16426 Moorpark St.                                                                                                                                         Encino            CA      91436
6482336   King Taylor Enterprises, LLC                           1771 Cypress Springs Ln.                                                                                                                                   Collierville      TN      38017
6488531   KING TELEVISION                                        1501 FIRST AVENUE SOUTH, SUITE 300                                                                                                                         SEATTLE           WA      98134
6488531   KING TELEVISION                                        C/O SZABO ASSOCIATES, INC.                           ATTN: SANDI G HENDERSON                   3355 LENOX RD NE STE 945                                    ATLANTA           GA      30326
6492261   KING THEATRE CIRCUIT LLC                               C/O KING THEATRE CIRCUIT LLC/GHN MANAGEMENT          ATTN: GINA DISANTO, VP                    5644 IRISH PAT MURPHY DR.                                   PARKER            CO      80134
6476935   KING, BILL                                             8629 ORCHARD LOOP ROAD, NE                                                                                                                                 LELAND            NC      28451
6480722   King, Sarah                                            Address on File
6480842   King, Tanner                                           Address on File
6483737   Kingdom of Zembla                                      3646 Revere Ave.                                                                                                                                           Los Angeles       CA      90039




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MMLID     NAME                                                           ADDRESS                                                            ADDRESS 2                            ADDRESS 3                        ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6471900   KINGDOM OF ZEMBLA, INC.                                        3646 REVERE AVE.                                                                                                                                     LOS ANGELES      CA      90039
6484832   Kings Care Foundation, The                                     555 North Nash Street                                                                                                                                El Segundo       CA      90245
6480257   KINGS COUNTY                                                   66 JOHN STREET                                                                                                                                       NEW YORK         NY      10008
6476046   KINGS LANE FILMS, LLC                                          274 ROWAYTON AVE                                                                                                                                     ROWAYTON         CT      06853
6481134   Kings Lane Films, LLC fso John M. Bennett                      274 Rowayton Ave.                                                                                                                                    Norwalk          CT      06853
6491386   KINGS THEATRE CIRCUIT LLC                                      5644 IRISH PAT MURPHY DR                                                                                                                             PARKER           CO      80134
6485001   Kinsella Weitzman Iser Kump & Aldisert LLP Client Trust Acct   808 Wilshire Blvd. 3rd Floor                                                                                                                         Santa Monica     CA      90401
6484981   Kip Blackshire                                                 7009 Rindge Ave.                                                                                                                                     Playa Del Rey    CA      90293
6476907   KIRK\DR. KAREN S.                                              163 OLDE MARINERS WAY                                                                                                                                CAROLINA BEACH   NC      28428
6476632   KIRKLAND\GINA                                                  125 BLENHEIM DRIVE                                                                                                                                   RALEIGH          NC      27612
6480599   Kirlew, Anthony                                                Address on File
6492801   KIRO TELEVISION                                                C/O SZABO ASSOCIATES, INC.                                         ATTN: SANDI G. HENDERSON, AGENT      3355 LENOX ROAD NE., SUITE 945               ATLANTA          GA      30326
6483947   Kirpi Uimonen Ballesteros                                      100 N. Clark Dr. #406                                                                                                                                Los Angeles      CA      90048
6484558   Kirsten Elms                                                   c/o Hansen Jacobson et alAttn: Dan Fox4510 N. Roxbury Drive, 8th                                                                                     Beverly Hills    CA      90210
6486333   Kirsten Johnson                                                4244 182nd Ave. SE                                                                                                                                   Issaquah         WA      98027
6478010   KIRWIN\ARMANDO                                                 1019 CAMINO DEL PUEBLO                                                                                                                               BERNALILLO       NM      87004
6482084   Kiss My Grass Lawn Care                                        P.O Box 1250                                                                                                                                         Mableton         GA      30126
6477477   KISSEL\PETER                                                   355 WOODVINE AVE                                                                                                                                     METAIRIE         LA      70005
6481076   Kitchen & Hansen Agency, LLC                                   62 Sand Hill Road                                                                                                                                    Shutesbury       MA      01072
6483691   Kitchen 24                                                     6650 Romaine St.                                                                                                                                     Los Angeles      CA      90038
6478968   KITCHEN STORE\THE                                              6322 W SLAUSON AVE                                                                                                                                   CULVER CITY      CA      90230
6475262   KITTLE\THOMAS                                                  PMB 213                                                            3101 S.W. 34TH AVE #905                                                           OCALA            FL      34474
6481953   Kitty Susan Lansdale dba Lansdale Assoc                        1211 Connecticut Ave NW                                                                                                                              Washington       DC      20016
6482286   Kiva Studios of Nashville dba House of Blues Studios           518 East Iris Dr.                                                                                                                                    Nashville        TN      37204
6484136   KiYaKids Inc                                                   3677 Barry Avenue                                                                                                                                    Los Angeles      CA      90066
6486073   K-Jam Productions, Inc.                                        34 Executive Park #210                                                                                                                               Irvine           CA      92614
6479923   KKR Credit Advisors (US) LLC                                   Address on File
6479062   KLAWONN, PATRICIA                                              2118 WILSHIRE BLVD #1133                                                                                                                             SANTA MONICA     CA      90403
6476171   KLEER JR\JOHN                                                  355 ROUTE 30 LOT 82                                                                                                                                  CLINTON          PA      15026
6476398   KLEER\COLIN                                                    1035 SILVER LANE                                                                                                                                     MCKEES ROCKS     PA      15316
6480740   Klein, Rebecca                                                 Address on File
6475111   KLIESCH MUSIC, INC.                                            F/S/O KEVIN KLIESCH                                                123 NORTH GRIFFITH PARK DRIVE                                                     BURBANK          CA      91506
6480516   Kline, Ashley                                                  Address on File
6486173   Klout, Inc.                                                    77 Stillman St.                                                                                                                                      San Francisco    CA      94107
6477275   KLUTTZ\JEFFREY RAY                                             175 INVERNESS APPROACH                                                                                                                               ROSWELL          GA      30075
6492221   KLVE-FM                                                        C/O SZABO ASSOCIATES, INC.                                         ATTN: SANDI G. HENDERSON, AGENT      3355 LENOX ROAD NE., SUITE 945               ATLANTA          GA      30326
6485776   KM Musiq, Inc.                                                 c/o Gorfaine/Schwartz Agency Inc. 4111 W. Alameda Ave. Suite 509                                                                                     Burbank          CA      91505
6476590   K-MART                                                         1302 BIDFORD PKWY                                                                                                                                    GREENSBORO       NC      27407
6475737   KMG NC                                                         1200 NORTH 23RD STREET,                                            SUITE # 207                                                                       WILMINGTON       NC      28405
6475707   KNAD'S EQUIPMENT RENTALS                                       5225 CANYON CREST DR                                               STE 71-259                                                                        RIVERSIDE        CA      92507
6476885   KNAUF\ROY                                                      7323 BRIGHT LEAF ROAD                                                                                                                                WILMINGTON       NC      28411
6479214   KNB EFX GROUP, INC                                             9300 ELTON AVE                                                                                                                                       CHATSWORTH       CA      91311
6485385   KNB EFX Group, Inc.                                            9300 Eton Ave.                                                                                                                                       Chatsworth       CA      91311
6480713   Knell, Dwight                                                  Address on File
6476302   KNICKERBOCKER RUSSELL CO INC                                   4759 CAMPELLS RUN ROAD                                                                                                                               PITTSBURGH       PA      15205
6490389   KNIGHT GLOBAL, LLC                                             ATTN: AMANDA HENDY, VP BUSINESS/LEGAL AFFAIRS                      3000 31ST STREET, SUITE D                                                         SANTA MONICA     CA      90405
6480139   KNIGHT GLOBAL, LLC                                             ATTN: CHIEF EXECUTIVE OFFICER                                      3000 31ST STREET, SUITE D                                                         SANTA MONICA     CA      90405
6477366   KNIGHT\EDWARD                                                  7722 LAIE PL                                                                                                                                         DIAMONDHEAD      MS      39525
6477560   KNIGHTEN SANTANA-CASSANO, AVA K                                435 PACIFIC AVE                                                                                                                                      NEW ORLEANS      LA      70114
6475244   KNITTING FACTORY RECORDS INC                                   C/O ABOVEANDBIOND                                                  281 N. 7TH ST, SUITE # 2                                                          BROOKLYN         NY      11211
6476333   KNK ELECTRIC                                                   PO BOX 8415                                                                                                                                          PITTSBURGH       PA      15218
6484711   Knock Out Creative, Inc                                        9300 Wilshire BlvdSuite 400                                                                                                                          Beverly Hills    CA      90212
6481152   Knott Reel, Inc.                                               24 William Penn Road                                                                                                                                 Warren           NJ      07059
6486703   Knott Reel, Inc. (expenses)                                    24 William Penn Road                                                                                                                                 Warren           NJ      07059
6480645   Knott, Brandon                                                 Address on File
6480984   Knott, Laurence                                                Address on File
6478837   KNOX PRESBYTERIAN CHURCH                                       5840 LA TIJERA BLVD                                                                                                                                  LOS ANGELES      CA      90056
6492315   KNUCKLE SANDWICH, INC.                                         ATTN: JOHN RIGNEY, ASST. SECRETARY                                 11812 SAN VICENTE BLVD., 4TH FLOOR                                                LOS ANGELES      CA      90049
6475190   KNUCLE SANDWICH INC                                            FSO: DANNY MCBRIDE                                                 2000 AVE OF THE STARS                                                             LOS ANGELES      CA      90067
6474951   KNUTE ENTERPRISES, INC.                                        FSO: TREVOR MACY                                                   301 AMALFI DRIVE                                                                  SANTA MONICA     CA      90402
6484910   KO & Martin - Chinese Language Division                        620 The Village, #116                                                                                                                                Redondo Beach    CA      90277        THE
6486523   Kobalt Music Netherlands BV                                    c/o Tessa Van VeluwPrins Bernhardplein 200 1097 JB                                                                                                   Amsterdam                             NETHERLA
6475813   KOBALT MUSIC PUB AMERICA INC                                   317 MADISON AVE                                                    SUITE 2310                                                                        NEW YORK         NY      10017
6491713   KOBALT MUSIC PUBLISHING                                        220 W 42ND ST., #11                                                                                                                                  NEW YORK         NY      10036-7200
6475263   KOBALT MUSIC PUBLISHING                                        AMERICA, INC.                                                      317 MADISON AVE., SUITE # 2310                                                    NEW YORK CITY    NY      10017
6475814   KOBALT MUSIC PUBLISHING AMERIC                                 317 MADISON AVENUE                                                 SUITE 2310                                                                        NEW YORK         NY      10117
6490361   KOBALT MUSIC PUBLISHING AMERICA                                OBO BADLY DRAWN BOY (WIRE)                                         220 W 42ND ST #11                                                                 NEW YORK         NY      10036-7200
6469190   KOBALT MUSIC PUBLISHING AMERICA                                OBO BADLY DRAWN BOY (WIRE)                                         317 MADISON AVE. #2310                                                            NEW YORK         NY      10017
6469037   KOBALT MUSIC PUBLISHING AMERICA                                OBO KOSMOS MUSIC (WIRE)                                            1501 BROADWAY, 27TH FLOOR                                                         NEW YORK         NY      10036
6797266   Kobalt Music Publishing America Inc                            2 Gansevoort St                                                    6th Floor                                                                         New York         NY      10036




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MMLID     NAME                                                           ADDRESS                                             ADDRESS 2                         ADDRESS 3                        ADDRESS 4                  CITY              STATE   POSTAL CODE COUNTRY
6481592   Kobalt Music Publishing America obo Badly Drawn Boy (WIRE)     220 W. 42nd St., 11th Floor                                                                                                                       New York          NY      10036
6481593   Kobalt Music Publishing America obo Kosmos Music (WIRE)        220 W. 42nd St., 11th Floor                                                                                                                       New York          NY      10036
6797268   KOBALT MUSIC PUBLISHING AMERICA, INC                           220 W. 42ND STREET                                  11TH FLOOR                                                                                    NEW YORK          NY      10036
6469191   KOBALT MUSIC PUBLISHING AMERICA, INC                           OBO 41GP MUSIC (WIRE)                               317 MADISON AVE. #2310                                                                        NEW YORK          NY      10017
6469192   KOBALT MUSIC PUBLISHING AMERICA, INC                           OBO KOSHER KANDY (WIRE)                             317 MADISON AVE. #2310                                                                        NEW YORK          NY      10017
6481594   Kobalt Music Publishing America, Inc obo 41GP Music (WIRE)     220 W. 42nd St., 11th Floor                                                                                                                       New York          NY      10036
6481595   Kobalt Music Publishing America, Inc obo Kosher Kandy (WIRE)   220 W. 42nd St., 11th Floor                                                                                                                       New York          NY      10036
6797255   KOBALT MUSIC PUBLISHING AMERICA, INC.                          317 MADISON AVENUE                                  SUITE 2310                                                                                    NEW YORK          NY      10017
6797256   KOBALT MUSIC PUBLSISHING AMERICA,INC.                          317 MADISON AVENUE                                  SUITE 2310                                                                                    NEW YORK          NY      10017
6490365   KOBALT MUSIC PUBLSISHING AMERICA,INC.                          ATTN: RYAN KOFMAN, MANAGER                          220 W. 42ND ST., 11TH FL                                                                      NEW YORK          NY      10036-7200
6491714   KOBALT SONGS MUSIC PUBLISHING (PAY BY WIRE)                    220 W 42ND ST., #11                                                                                                                               NEW YORK          NY      10036-7200
6481597   Kobalt Songs Music Publishing (PAY BY WIRE)                    220 W. 42nd St., 11th Floor                                                                                                                       New York          NY      10036
6470088   KOBALT SONGS MUSIC PUBLISHING (PAY BY WIRE)                    317 MADISON AVE. #2310                                                                                                                            NEW YORK          NY      10017
6477806   KOFF\MICHAEL                                                   123 LITTLE CREEK LANE                                                                                                                             COVINGTON         LA      70433
6478260   KOHN\DAVID                                                     1715 PEGASUS AVE                                                                                                                                  RIO RANCHO        NM      87124
6478261   KOHN\DAVID                                                     1715 PEGASUS AVE. SE                                                                                                                              RIO RANCHO        NM      87124
6482590   Koji Uehara                                                    c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                  Northbrook        IL      60062
6478319   KOKOPELLI PROPERTY MANAGEMENT                                  607 OLD SANTA FE TRAIL                                                                                                                            SANTA FE          NM      87501
6477845   KOLARSKY\LISA                                                  64019 NELSON RD                                                                                                                                   PEARL RIVER       LA      70452
6797257   KOLBAT MUSIC PUBLISHING AMERICA, INC                           220 WEST 42ND STREET                                                                                                                              NEW YORK          NY      10036
6476069   KOLODNY\GABE                                                   13 DIVISION STREET, APT. 4                                                                                                                        NEW YORK          NY      10002
6479050   KOLOFF/KEVIN                                                   1299 OCEAN AVENUE                                                                                                                                 SANTA MONICA      CA      90401
6475116   KOLOFF\KEVIN                                                   LAW OFFICES OF KEVIN KOLOFF                         1299 OCEAN AVE, STE 306                                                                       SANTA MONICA      CA      90401
6479087   KOLSANOFF, PAUL P.                                             2419 OAK STREET                                                                                                                                   SANTA MONICA      CA      90405
6484559   Kolton Pancake, Inc. fso Steven Rogers                         450 N. Roxbury Dr. 8th Floor                                                                                                                      Beverly Hills     CA      90210
6485238   Komura & Ho, LLP                                               155 N. Lake Ave., 8th Floor                                                                                                                       Pasadena          CA      91101
6484856   Kona Cutting Inc                                               535 Hollowell Ave                                                                                                                                 Hermosa Beach     CA      90254
6476054   KONICA MINOLTA BUSINESS SOLUTIONS USA, INC.                    100 WILLIAMS DRIVE                                                                                                                                RAMSEY            NJ      07446
6480741   Kono, Skylar                                                   Address on File
6478574   KOPACZ, MICHELLE A.                                            1250 S. RIMPAU BLVD                                                                                                                               LOS ANGELES       CA      90019
6475775   KOPP\LIONEL                                                    24 MONTROYAL OUEST                                  SUITE 1009                                                                                    MONTREAL          QC      H2T 2S2      CANADA
6480897   Kopperud, Andrew                                               Address on File
6482501   Korn Ferry International                                       P.O. Box 1450                                                                                                                                     Minneapolis       MN      55485
                                                                                                                                                               ATTN: KAREN L. OPP, DEPUTY       33 SOUTH SIXTH STREET, SUITE
6492111   KORN/FERRY INTERNATIONAL                                       C/O KORN FERRY LEADERSHIP AND TALENT                CONSULTING                        GENERAL COUNSEL                  4900                         MINNEAPOLIS     MN      55402
6492779   KOSARIN* MICHAEL                                               Address on File
6477379   KOSEK\STEVEN                                                   56841 WEJER RD                                                                                                                                    SHADYSIDE         OH      43947
6479682   KOSTER/STEVEN J                                                26881 GOYA CIRCLE                                                                                                                                 MISSION VIEJO     CA      92691
6479683   KOSTER\STEVEN                                                  26881 GOYA CIRCLE                                                                                                                                 MISSION VIEJO     CA      92691
6477903   KOSTUCH\CLAIRE                                                 6872 LASALLE AVENUE                                                                                                                               BATON ROUGE       LA      70806
6482015   Koury Corporation                                              2275 Vanstory St., Suite 200                                                                                                                      Greensboro        NC      27403
6479354   KOWALSKI/MANDY                                                 31727 RIDGE ROUTE RD. #215                                                                                                                        CASTAIC           CA      91384
6476120   KOZMA\DONALD                                                   138 PINE ISLAND                                                                                                                                   WARWICK NY        NY      10990
6480674   Kozuch, Lisa                                                   Address on File
6488537   KPNX TELEVISION                                                200 EAST VAN BUREN STREET                                                                                                                         PHOENIX           AZ      85004
6488537   KPNX TELEVISION                                                C/O SZABO ASSOCIATES, INC.                          ATTN: SANDI HENDERSON             3355 LENOX RD NE, STE 945                                   ATLANTA           GA      30326
6492666   KPRC-TV                                                        ATTN: EDDY K FISHER, CREDIT/COLLECTIONS CLERK       8181 SOUTHWEST FRWY                                                                           HOUSTON           TX      77074
6480510   Krant, Chelsea                                                 Address on File
6476151   KRANTZ INDUSTRIAL PARK, INC.                                   500 MIDDLE COUNTRY RD.                                                                                                                            ST.JAMES          NY      11780
6479151   KRATTIGER\ROBERT                                               1785 PALOMA ST                                                                                                                                    PASADENA          CA      91104
6480975   Kratzer, Shelly                                                Address on File
6478781   KRAUS\OLIVER                                                   8530 BRIER DRIVE                                                                                                                                  LOS ANGELES       CA      90046
6478444   KREINBRINK\JUSTIN                                              75 RANCHO ALEGRE                                                                                                                                  SANTA FE          NM      87508
6480623   Kremer, Christina                                              Address on File
6485430   Kremin Electric DO NOT USE                                     11024 Balboa Blvd., #770,                                                                                                                         Granada Hills     CA      91344
6478372   KRIEPS\RICHARD                                                 PO BOX 22608                                                                                                                                      SANTA FE          NM      87502-2608
6477242   KRISH, RICHARD                                                 316 W. HAMPTON AVE.                                                                                                                               SUMTER            SC      29150
6476886   KRISH\ANDY                                                     106 WEST BEDFORD RD                                                                                                                               WILMINGTON        NC      28411
6484765   Kristen Cole                                                   6174 Buckingham Pkwy. #109                                                                                                                        Culver City       CA      90230
6485844   Kristie Kershaw                                                5433 Clybourn Ave.                                                                                                                                North Hollywood   CA      91601
6485640   Kristin Cotich                                                 5428 Salona Ave.                                                                                                                                  Sherman Oaks      CA      91411
6486140   Kristin Davies                                                 435 East Pedregosa                                                                                                                                Santa Barbara     CA      93103
6483948   Kristin Sivesind                                               8391 Beverly Blvd. #278                                                                                                                           Los Angeles       CA      90048
6483949   Kristina Chang                                                 125 N. Doheny Drive#205                                                                                                                           Los Angeles       CA      90048
6485249   Kristina M. Leslie                                             1565 San Pasqual St.                                                                                                                              Pasadena          CA      91106
6486328   Kristina Soderquiest                                           19929 Hollygrape Street                                                                                                                           Bend              OR      97702
6485311   Kristopher Tapley                                              1521 Dixon St.                                                                                                                                    Glendale          CA      91205
6492802   KRIV TELEVISION                                                C/O SZABO ASSOCIATES, INC.                          ATTN: SANDI G. HENDERSON, AGENT   3355 LENOX ROAD NE., SUITE 945                              ATLANTA           GA      30326
6482871   Kroll Associates, Inc.                                         P.O. Box 847509                                                                                                                                   Dallas            TX      75284
6481240   Kroma Printing Industries Corp                                 875 Avenue of the Americas, Ste.1702                                                                                                              New York          NY      10001




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                                                                                                                                    Master Mailing List
                                                                                                                                   Served First Class Mail

MMLID     NAME                                                      ADDRESS                                                   ADDRESS 2                                 ADDRESS 3                        ADDRESS 4                 CITY             STATE   POSTAL CODE COUNTRY
6480779   Krstajic, Lisa                                            Address on File
6476793   KRUG\MARJORIE                                             217 BROOKWOOD AVENUE                                                                                                                                           WILMINGTON       NC      28403
6479933   KSM GmbH                                                  Address on File
6491301   KSVP MEDIA AND EVENTS, INC.                               927 LINCOLN ROAD, SUITE 200                                                                                                                                    MIAMI            FL      33139
                                                                                                                              ATTN: ALICE NUNBERG, CREDIT/COLLECTION
6492264   KSWB, LLC                                                 C/O KTLA, LLC                                             MGR                                       5800 SUNSET BLVD.                                          HOLLYWOOD        CA      90028
6475241   KTA PRODUCTIONS, INC.                                     F/S/O KEVIN GLOBERMAN                                     2748 KELTON AVENUE                                                                                   LOS ANGELES      CA      90064
6482941   KTC, LLC dba Pearl @ Ave N.                               5644 Irish Pat Murphy Dr.                                                                                                                                      Parker           CO      80134
6483437   KTLA Television Inc                                       5800 Sunset Blvd                                                                                                                                               Los Angeles      CA      90028
6492621   KTLA, LLC                                                 ATTN: ALICE NUNBERG, CREDIT/COLLECTION MGR                5800 SUNSET BLVD.                                                                                    HOLLYWOOD        CA      90028
6759806   KTNQ-AM/KLVE/KRCD/KRCV/KSCA-FM Radio                      c/o Szabo Associates, Inc.                                3355 Lenox Road NE, Suite 945                                                                        Atlanta          GA      30326
                                                                                                                              ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492242   KTRK                                                      C/O THE WALT DISNEY COMPANY                               MGR                                       500 S. BUENA VISTA STREET                                  BURBANK          CA      91521
6483286   KTTV-TV dba Fox Television Stations Inc                   1999 South Bundy Drive                                                                                                                                         Los Angeles      CA      90025
6488532   KTVD TELEVISION                                           500 SPEER BLVD.                                                                                                                                                DENVER           CO      80203
6488532   KTVD TELEVISION                                           C/O SZABO ASSOCIATES, INC.                                ATTN: SANDI G HENDERSON                   3355 LENOX RD NE, SUITE 945                                ATLANTA          GA      30326
6492803   KTXH TELEVISION                                           C/O SZABO ASSOCIATES, INC.                                ATTN: SANDI G. HENDERSON, AGENT           3355 LENOX ROAD NE., SUITE 945                             ATLANTA          GA      30326
6491701   KTXL-TV                                                   4655 FRUITRIDGE RD.                                                                                                                                            SACRAMENTO       CA      95820
6489502   KUBE 57                                                   ATTN: VIRGINIA MCMINN                                     2401 FOUNTAIN VIEW DRIVE                  SUITE 300                                                  HOUSTON          TX      77057
6797240   KUBIER ENTERTAINMENT, INC.                                ATTN: ALAN WERTHEIMER, ESQ.                               JACKOWAY TYERMAN WERTHEIMER AUSTEN        1925 CENTURY PARK EAST - 22ND                              LOS ANGELES      CA      90067
                                                                                                                                                                        ATTN: ALAN WERTHEIMER &          1925 CENTURY PARK EAST,
6468719   KUBIER ENTERTAINMENT, INC.                                C/O JACKOWAY TYERMAN WERTHEIMER                           MANDELBAUM MORRIS & KLEIN                 ANDREW HOWARD                    22ND FLOOR                LOS ANGELES      CA      90067
6468720   KUBIER ENTERTAINMENT, INC.                                C/O JACKOWAY TYERMAN WERTHEIMER                           MANDELBAUM MORRIS & KLEIN                 ATTN: ALAN WERTHEIMER, ESQ.      1925 CENTURY PARK EAST,   LOS ANGELES      CA      90067
6485127   Kubier Entertainment, Inc. fso Karen Croner               1131 Maple St.                                                                                                                                                 Santa Monica     CA      90405
6476323   KUBINZE\JOSH                                              805 SOUTHERN AVE                                                                                                                                               PITTSBURGH       PA      15211
6474330   KUCHAN*CHRISTINA                                          Address on File
6479361   KULIKOWSKI, CHRISTOPHER                                   17251 SUMMER MAPLE WAY                                                                                                                                         SANTA CLARITA    CA      91387
6479362   KULIKOWSKI\CHRIS                                          17251 SUMMER MAPLE WAY                                                                                                                                         SANTA CLARITA    CA      91387
6479363   KULIKOWSKI\CHRISTOPHER                                    17251 W. SUMMER MAPLE WAY                                                                                                                                      SANTA CLARITA    CA      91387
6479364   KULIKOWSKI\CHRISTOPHER                                    17521 SUMMER MAPLE WAY                                                                                                                                         SANTA CLARITA    CA      91387
6479187   KUPETSKY, ALLEN                                           6228 WATERTREE CT                                                                                                                                              AGOURA HILLS     CA      91301
6479127   KUPRESAN\DANIEL                                           226 WESTERN AVENUE                                                                                                                                             GLENDALE         CA      91021
6478398   KURK, CHERYL                                              53 ARROYO CALABASAS                                                                                                                                            SANTA FE         NM      87506
6481753   Kurt & Bart, Inc.                                         432 Pacific St.                                                                                                                                                Brooklyn         NY      11217
6488538   KUSA TELEVISION                                           500 SPEER BLVD.                                                                                                                                                DENVER           CO      90203
6488538   KUSA TELEVISION                                           C/O SZABO ASSOCIATES, INC.                                ATTN: SANDI HENDERSON                     3355 LENOX RD NE, SUITE 945                                ATLANTA          GA      30326
6475517   KUTNER\DANIEL MORRIS                                      5482 WILSHIRE BLVD                                        BOX#332                                                                                              LOS ANGELES      CA      90036
6478373   KWAL PAINT                                                1607 ST. MICHAELS DRIVE                                                                                                                                        SANTA FE         NM      87505
6490016   KWGN                                                      ATTN: CHRIS DOHERTY, CREDIT MANAGER                       100 E. SPEER BLVD.                                                                                   DENVER           CO      80203
6479349   KWONG, T SANO                                             25538 VIA VENTANA                                                                                                                                              VALENCIA         CA      91381
6488533   KXTV TELEVISION                                           C/O SZABO ASSOCIATES, INC.                                ATTN: SANDI G HENDERSON                   3355 LENOX RD NE, SUITE 945                                ATLANTA          GA      30326
6488533   KXTV TELEVISION                                           PO BOX 637364                                                                                                                                                  CINCINNATI       OH      45263-7364
6486107   Kyan Behnood                                              6473 East Camino Grande                                                                                                                                        Anaheim          CA      92807
6482591   Kyle Drabek                                               c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                               Northbrook       IL      60062
6481119   Kyle Fitzgerald                                           166 Pond Brook Road                                                                                                                                            Colchester       VT      05446
6486144   Kyle O'Gorman                                             1050 N. Kellogg Ave.                                                                                                                                           Santa Barbara    CA      93111
6481528   Kyle Rosenberg                                            3 E 69th St., #11B                                                                                                                                             New York         NY      10021
6482592   Kyle Zimmer                                               c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                              Northbrook       IL      60062
6476794   L & L TENT & PARTY RENTALS,LLC                            3703 WRIGHTSVILLE AVE.                                                                                                                                         WILMINGTON       NC      28403
6478411   L & L WASTE & PORTABLE TOILETS                            3951 AGUA FRIA SE                                                                                                                                              SANTA FE         NM      87507
6478510   L & M PAWN & TITLE LOAN                                   511 6TH STREET                                                                                                                                                 LAS VEGAS        NM      87701
6478265   L & P BUILDING SUPPLY                                     101 INDUSTRIAL AVENUE N.E.                                                                                                                                     ALBUQUERQUE      NM      87125
6476908   L&B MONOGRAMS PLUS                                        509 HAMLET AVENUE                                                                                                                                              CAROLINA BEACH   NC      28428
6485223   L.A. Aloe, LLC                                            80 W. Sierra Madre Blvd. #364                                                                                                                                  Sierra Madre     CA      91024
6485224   L.A. Libations, LLC                                       80 W. Sierra Madre Blvd., Suite 364                                                                                                                            Sierra Madre     CA      91024
6490529   L.A. LIBATIONS, LLC                                       ATTN: DINO SARTI                                          80 W. SIERRA MADRE BLVD., SUITE 364                                                                  SIERRA MADRE     CA      91024
6483134   L.A. Live Theatre, LLC dba Nokia Theatre                  777 Chick Hearn Ct.                                                                                                                                            Los Angeles      CA      90015
6484349   L.A. Office, The                                          8981 Sunset Blvd. Suite 501                                                                                                                                    West Hollywood   CA      90069
6483617   L.A. Press Printing, Inc.                                 5476 Wilshire Blvd                                                                                                                                             Los Angeles      CA      90036
6475584   L.A. RIGING & STUNTS                                      PMB 753 1353 AVE.                                         LUIS VIGOREAUX                                                                                       GUAYNABO         PR      00966
6485375   L.A. Webmaster, Inc. dba Simplicit Technologies           23705 Vanowen St. PMB 161                                                                                                                                      West Hills       CA      91307
6483190   LA Artista                                                5036 W. Pico Blvd                                                                                                                                              Los Angeles      CA      90019
6472392   LA BLOOMS FSO LAUREN FINKELSTEIN                          503 N Maple Dr                                                                                                                                                 Beverly Hills    CA      90210
6484350   LA Blooms fso Lauren Finkelstein                          8623 Franklin Ave                                                                                                                                              West Hollywood   CA      90069
6485489   LA Car Connection, Inc                                    31283 Via Colinas                                                                                                                                              Thousand Oaks    CA      91362
6478888   LA CIENEGA 1 HOUR DRY CLEANERS, INC.                      900 N LA CIENEGA BLVD                                                                                                                                          LOS ANGELES      CA      90069
6478889   LA CIENEGA 1-HOUR DRY CLEANING                            900 N LA CIENEGA BL                                                                                                                                            LOS ANGELES      CA      90069
6478890   LA CIENEGA STUDIO CLEANERS INC                            900 N LA CIENEGA BLVD                                                                                                                                          LA               CA      90069
6486022   La Costa Limousine                                        2770 Loker Ave. West                                                                                                                                           Carlsbad         CA      92010
6484213   La Costa Productions                                      c/o Gelfand, Rennert, and Feldmen1880 Century Park East                                                                                                        Los Angeles      CA      90067




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                                                                                                                                   Master Mailing List
                                                                                                                                  Served First Class Mail

MMLID     NAME                                                 ADDRESS                                                       ADDRESS 2                               ADDRESS 3                    ADDRESS 4                 CITY               STATE   POSTAL CODE COUNTRY
6492864   LA- COUNTY TREASURER & TAX COLLECTOR                 ATTN: OSCAR ESTRADA, TAX SERVICES SPECIALIST                  PO BOX 54110                                                                                   LOS ANGELES        CA      90054-0110
6491472   LA COURIER SERVICE CORP.                             430 1/2 N. LA CIENEGA BLVD                                                                                                                                   LOS ANGELES        CA      90048
6485986   LA Daily News Publishing dba Daily News              PO Box 6150                                                                                                                                                  Covina             CA      91722
6490715   LA- DEPARTMENT OF REVENUE                            ATTN: DEMARCO WINFREY, REVENUE TAX SPECIALIST                 P.O. BOX 66658                                                                                 BATON ROUGE        LA      70896
6475221   LA FEMME NIKIELE PRODUCTIONS, INC.                   C/O THE GERSH AGENCY                                          232 N. CANON DR.                                                                               BEVERLY HILLS      CA      90210
6485319   LA Jazz Bands                                        3404 Buena Vista Ave.                                                                                                                                        Glendale           CA      91208
6483135   LA Live Properties                                   800 West Olympic Blvd. Suite 220                                                                                                                             Los Angeles        CA      90015
6475433   LA MAISON MAGNOLIA                                   RECEPTION HALL                                                950 1ST STREET                                                                                 NORCO              LA      70079
6485566   LA Party Rents                                       13520 Saticoy St.                                                                                                                                            Van Nuys           CA      91402
6483376   LA Photo Party, Inc.                                 4042 Cumberland Ave.                                                                                                                                         Los Angeles        CA      90027
6478320   LA POSADA RESORT AND SPA                             330 EAST PALACE AVENUE                                                                                                                                       SANTA FE           NM      87501
6484642   LA Print and Copy Center                             437 S Robertson Blvd                                                                                                                                         Beverly Hills      CA      90211
6483163   LA Studios Operating Company LLC                     1201 W 5th Street Suite T-100                                                                                                                                Los Angeles        CA      90017
6478225   LA STUNTS TRAINING CENTER                            7928 RANCHITOS LOOP NE                                                                                                                                       ALBUQUERQUE        NM      87113
6483128   LAAC Corp., The                                      431 West 7th St.                                                                                                                                             Los Angeles        CA      90014
6478027   LAARK ENTERPRISES, INC.                              244 D FROST ROAD                                                                                                                                             EDGEWOOD           NM      87015
6485539   Labdog Productions                                   25703 Azalia Trail Ct.                                                                                                                                       Stevenson Ranch    CA      91381
6477864   LABICHE\WILLIAM                                      225 MOONRAKER DR                                                                                                                                             SLIDELL            LA      70458
6474211   LABONTE*EVELYN                                       Address on File
6482448   Labor Law Poster Service                             5859 Saginaw Hwy. #343                                                                                                                                       Lansing            MI      48917
6491720   LABOR READY SOUTHEAST, INC                           P.O. BOX 740435                                                                                                                                              ATLANTA            GA      30374-0435
6475660   LABORATORY CORPORATION OF                            AMERICA                                                       PO BOX 2270                                                                                    BURLINGTON         NC      27216

6479880   LABORERS' INTERNATIONAL UNION OF N. AMERICA          ATTN: LEGAL DEPT.                                             905 16TH STREET N.W.                                                                           WASHINGTON         DC      20006

6479865   LABORERS' INTL. UNION OF NORTH AMERICA               ATTN: LOCAL 724                                               ATTN: LEGAL DEPT.                       6700 MELROSE AVENUE                                    HOLLYWOOD          CA      90038
6474885   LABOY JR*CLIFF                                       Address on File
6475532   LABOY\LUIS                                           URB. APRIL GARDEN                                             CALLE 21, 2C13                                                                                 LAS PIEDRAS        PR      00771
6492740   LABRANCHE* NICOLE                                    8840 27TH ST                                                                                                                                                 METAIRIE           LA      70003
6477209   LABRECQUE, ROBERT                                    8 PINECROFT RD                                                                                                                                               ASHEVILLE          NC      28804
6483164   LACBA                                                Fee Arbitration Dept.1055 West 7th Street, 27th FL                                                                                                           Los Angeles        CA      90017
6485174   LACC                                                 Business and Filing Authentication12400 Imperial Hwy. #2001                                                                                                  Norwalk            CA      90650
6481251   Lacombe, Inc.                                        7 Essex St. #1B                                                                                                                                              New York           NY      10002
6475793   LACOPTERCAM, LLC                                     2117 VETERANS MEMORIAL BLVD                                   SUITE 182                                                                                      METAIRIE           LA      70002
6797235   LACROSSE THEATRES                                    PO BOX 628485                                                                                                                                                MIDDLETON          WI      53562-8485
6478662   LACY ST PRODUCTION CENTER LLC                        2630 LACY ST.                                                                                                                                                LA                 CA      90031
6478838   LADERA HEIGHTS CIVIC ASSOC.                          5301 LADERA CREST DR                                                                                                                                         LOS ANGELES        CA      90056
6492286   LADY A ENTERTAINMENT, LLC                            C/O FBMM                                                      ATTN: JULIE M. BOOS, BUSINESS MANAGER   P.O. BOX 340020                                        NASHVILLE          TN      37203
6482269   Lady A'd Productions, Inc.                           c/o FBMMP.O. Box 340020                                                                                                                                      Nashville          TN      37203
6483287   Laemmle Theatres                                     11523 Santa Monica Blvd                                                                                                                                      West Los Angeles   CA      90025
6483288   Laemmle Theatres Charitable Foundation               c/o Gregory S. Laemmle11523 Santa Monica Blvd.                                                                                                               Los Angeles        CA      90025
6477418   LAFARGE SOUTHWEST, INC.                              22252 NETWORK PLACE                                                                                                                                          CHICAGO            IL      60673-1222
6477433   LAFATA, MARK                                         24A RTE. DE STE. MARIE AUX MINES                                                                                                                             RIBEAUVILLE                68150        FRANCE
6481807   Lafayette Theatre Corp.                              1950 Jericho Turnpike                                                                                                                                        East Northport     NY      11731
6476274   LAFFERTY\JOSEPH                                      1600 ROSEDALE ST #229                                                                                                                                        NORTH VERSAILLES   PA      15137
6475669   LAFOURCHE PARISH SHERIFF'S                           OFFICE                                                        PO BOX 5608                                                                                    THIBODAUX          LA      70302
6485327   Lagniappe, Inc.                                      28902 Hollow Brook Ave.                                                                                                                                      Agoura Hills       CA      91301
6485777   LAgraphico                                           3800 W. Vanowen St.                                                                                                                                          Burbank            CA      91505
6478029   LAGUNA BREW                                          3901 HWY 314 NW                                                                                                                                              LOS LUNAS          NM      87031
6476182   LAIRD PLASTICS INC                                   4384 GIBSONIA ROAD                                                                                                                                           GIBSONIA           PA      15044
6480603   Laird, Heather                                       Address on File
6480155   LAKE SHORE CONSULTING, INC.                          19501 W. COUNTRY CLUB DRIVE, APT. 2403                                                                                                                       ADVENTURA          FL      33180
6478937   LAKESHORE ENTERTAINMENT GROUP                        9268 WEST 3RD STREET                                                                                                                                         BEVERLY HILLS      CA      90210
6484560   Lakeshore Records LLC Attn:Stephanie Mente           9268 W. Third Street                                                                                                                                         Beverly Hills      CA      90210
6477105   LALOR, MD\ALLEN                                      18 WALDROP TRACE                                                                                                                                             FLETCHER           NC      28732
6479123   LAMANA\GEMMA                                         5245 BUBBLING WELL LANE                                                                                                                                      LA CANADA          CA      91011
6484561   Lamarr Woodley                                       345 N. Maple Dr., Suite 205                                                                                                                                  Beverly Hills      CA      90210
6480669   Lamb, Dallaslyn                                      Address on File
6491919   LAMBDA LAMBDA SIGMA, LLC                             DBA NATIONAL PROMOTIONS & ADVERTISING, INC.                   C/O LANDAU GOTTFRIED & BERGER           ATTN: MICHAEL I. GOTTFRIED   1801 CENTURY PARK EAST,   LOS ANGELES        CA      90067
6797230   LAMF LLC                                             8840 WILSHIRE BLVD                                            3RD FLOOR                                                                                      BEVERLY HILLS      CA      90211
6797231   LAMF LLC                                             ATTN: GENERAL COUNSEL                                         9255 SUNSET BOULEVARD, SUITE 515                                                               WEST HOLLYWOOD     CA      90069
6490535   LAMF LLC                                             ATTN: SIMON HORSMAN                                           8840 WILSHIRE BLVD, 3RD FLOOR                                                                  BEVERLY HILLS      CA      90211
6480742   Lamothe, Matthew                                     Address on File
6485969   Lamp Community                                       Attn: Cindy Gardner100 Universal City Plaza 1280/14                                                                                                          Universal City     CA      91608
6477968   LAMPL\ELLEN                                          P.O. BOX 163210                                                                                                                                              AUSTIN             TX      78716
6478286   LANCIONE REAL ESTATE                                 P.O. BOX 40364                                                                                                                                               ALBUQUERQUE        NM      87196
6491324   LAND OF FUN, INC. DBA BONESVILLE MUSIC               1525 E. 9 MILE RD.                                                                                                                                           FERNDALE           MI      48220
6478807   LAND OF THE FREE, L.P.                               640 SAN VINCENTE BLVD.                                                                                                                                       LOS ANGELES        CA      90048
6478826   LANDAU, SETH J.                                      1151 AMHERST AVE # 12                                                                                                                                        LOS ANGELES        CA      90049
6480688   Landay, David                                        Address on File




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MMLID     NAME                                                       ADDRESS                                                         ADDRESS 2                              ADDRESS 3                         ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6479057   LANDECKER, AMY L.                                          540 SAN VICENTE #16                                                                                                                                  SANTA MONICA       CA      90402
6482370   Landerbrook Screening Room                                 1413 Golden Gate Blvd. Suite 205                                                                                                                     Mayfield Heights   OH      44124
6475846   LANDFLIGHT EXPRESS LLC                                     801 SUMMIT AVE.                                                 SUITE 6                                                                              GREENSBORO         NC      27405
6481554   Landmark on the Park                                       160 Central Park West                                                                                                                                New York           NY      10023
6478477   LANDSCAPING & MORE                                         2126 B 34TH STREET                                                                                                                                   LOS ALAMOS         NM      87544
6485490   Lang Talent                                                621 Via Colinas                                                                                                                                      Westlake Village   CA      91362
6474846   LANGER*JOSH                                                Address on File
6478670   LANGUREN\RUBEN                                             3316 S. DURANGO AVE. #7                                                                                                                              LA                 CA      90034
6476912   LANIER\STEPHEN H.                                          132 WHITMAN AVENUE                                                                                                                                   CASTLE HAYNE       NC      28429
6476986   LANTANA'S GALLERY & FINE GIFTS                             113 S. HOWE STREET                                                                                                                                   SOUTHPORT          NC      28461
6480467   Lanthier, Michelle                                         Address on File
6479051   LAPIDUS, ROOT & SACHAROW, LLP                              1299 CEAN AVENUE, SUITE 306                                                                                                                          SANTA MONICA       CA      90401
6492333   LAPIDUS, ROOT & SACHAROW, LLP                              ATTN: GREG LAPIDUS, ESQ.                                        1299 OCEAN AVENUE, SUITE 306                                                         SANTA MONICA       CA      90401
6491570   LAPIDUS, ROOT, FRANKLIN & SACHAROW                         Address on File
6477551   LAPORTE\RONELL                                             401 4TH STREET                                                                                                                                       WESTWEGO           LA      70094
6478653   LARA\DIANA                                                 P.O. BOX 292145                                                                                                                                      LOS ANGELES        CA      90029
6485512   Larger Manthing Music, Inc                                 5030 Calderon Rd                                                                                                                                     Woodland Hills     CA      91364
6477095   LARMON\JOHN R                                              21 KYLIE GRACE LN.                                                                                                                                   CANDLER            NC      28715
6475307   LARRABEE SOUND STUDIO                                      AKA BUSS 46, INC.                                               4162 LANKERSHIM BOULEVARD                                                            NORTH HOLLYWOOD    CA      91602
6483438   Larry Blum                                                 1310 N. Cherokee Ave.                                                                                                                                Los Angeles        CA      90028
6481268   Larry Griffin Jr dba VohnDee's Soul                        c/o Simon, Eisenberg&Baum, LLP24 Union Square East5th Fl                                                                                             New York           NY      10003
6482287   Larry M. Furkins                                           P.O. Box 40108                                                                                                                                       Nashville          TN      37204
6491380   LARRY OLIVER DBA LARRY OLIVER, LLC                         1211 JEROME ST. #101                                                                                                                                 FORT WORTH         TX      76110
6484214   Larry Ramin                                                c/o International Creative Management10250 Constellation Ave.                                                                                        Los Angeles        CA      90067
6480174   LARRY WALKER                                               AUDITOR-CONTROLLER                                              TREASURER/TAX COLLECTOR                222 WEST HOSPITALITY LANE                     SAN BERNARDINO     CA      92415
6486244   Larry Warner                                               46 Oxford Ave.                                                                                                                                       Mill Valley        CA      94941
6486245   Larry Warner Productions, Inc.                             46 Oxford Ave.                                                                                                                                       Mill Valley        CA      94941        UNITED
6480153   LARS WINDHORST                                             FLAT 6                                                          21 CHESHAM PLACE                                                                     LONDON                     SW1X 8HG     KINGDOM
6477345   LARSEN, BRUCE                                              18830 HIGHLAND DR                                                                                                                                    FAIRHOPE           AL      36532
6478665   LARSEN, NIC R.                                             2033 BARNETT ROAD                                                                                                                                    LOS ANGELES        CA      90032
6475009   LAS FLORES ICE PLANT                                       SECTOR LAS FLORES                                               # 55 CALLE PIMENTEL                                                                  RIO GRANDE         PR      00745
6483289   Las Olas Project Management & Design                       1865 Greenfield Avenue#106                                                                                                                           Los Angeles        CA      90025
6478321   LAS PALOMAS                                                460 WEST SAN FRANCISCO STREET                                                                                                                        SANTA FE           NM      87501
6483136   LA's Promise                                               1035 S. Grand Ave. 2nd Floor                                                                                                                         Los Angeles        CA      90015
6478511   LAS VEGAS OPTIC                                            720 UNIVERSITY AVE                                                                                                                                   LAS VEGAS          NM      87701-4250
6478512   LAS VEGAS POLICE DEPARTMENT                                318 MORENO STREET                                                                                                                                    LAS VEGAS          NM      87701
6476612   LASER CONSULTANTS                                          PO BOX 16470                                                                                                                                         GREENSBORO         NC      27416
6492250   LASH FILM, INC.                                            C/O FRANCIS NACHSHON SADIKOFF & BETHENCOURT                     ATTN: SHIRA NACHSHON C.P.A., PARTNER   501 S. BEVERLY DRIVE, 3RD FLOOR               BEVERLY HILLS      CA      90212
6797226   LASH FILMS, INC                                            FSO: LASSE HALLSTROM                                            501 S. BEVERLY DRIVE 3RD FLOOR                                                       BEVERLY HILLS      CA      90212
6484712   Lash Films, Inc. fso Lasse Hallstrom                       c/o Francis and Associates501 S. Beverly Dr. 3rd Floor                                                                                               Beverly Hills      CA      90212
6478205   LASH\LIZ                                                   11125 DOUBLE EAGLE NE                                                                                                                                ALBUQUERQUE        NM      87111
6474259   LASHER*BONNIE                                              Address on File
6476730   LASHLEY\DONALD                                             20 WRIGHTS ALLEY                                                                                                                                     WILMINGTON         NC      28401
6797216   LASSE HALLSTROM                                            C/O UNITED TALENT AGENCY                                        888 Seventh Avenue Seventh Floor                                                     New York           NY      10106
6483738   Lasser Productions, LLC                                    c/o Rice Gorton Pictures 2870 Los Feliz Pl. #301                                                                                                     Los Angeles        CA      90039
6797220   LASSER PRODUCTIONS, LLC                                    TREVOR MACY AND MARC D. EVANS                                   10323 SANTA MONICA BOULEVARD           SUITE 111                                     LOS ANGELES        CA      90024
6484215   Lasso Productions, Inc.                                    c/o International Creative Management10250 Constellation Ave.                                                                                        Los Angeles        CA      90067
6474943   LAST EXIT PRODUCTIONS, INC.                                FSO: DEBORAH AQUILA                                             13956 MCCORMICK ST.                                                                  SHERMAN OAKS       CA      91423
6475788   LAST LOOKS MAKEUP AND HAIR                                 3223 METAIRIE RD                                                                                                                                     METAIRIE           LA      70001
6484286   Latania Wood                                               7276 Woodrow Wilson Dr                                                                                                                               Los Angeles        CA      90068
6481538   Latham & Watkins, LLP                                      885 Third Ave.                                                                                                                                       New York           NY      10022
6490399   LATINO BUGGERVEIL MUSIC                                    C/O JAN DEMETRI, CPA                                            3355 BEE CAVE RD. #612                                                               AUSTIN             TX      78746
6482393   Latoya Ammons                                              3511 Scarlet Oak Ct.                                                                                                                                 Indianapolis       IN      46222
6476214   LATSKO\SHIRLEY                                             1229 KIRKPATRICK AVE                                                                                                                                 NORTH BRADDOCK     PA      15104
6477632   LATTER\LISA                                                3929 DELGADO DRIVE                                                                                                                                   NEW ORLEANS        LA      70119
6484881   Latus Advisors, LLC                                        3309 N. Poinsettia Avenue                                                                                                                            Manhattan Beach    CA      90266
6483739   Laura Flores                                               2373 Cove Ave.                                                                                                                                       Los Angeles        CA      90039
6483790   Laura Ivie                                                 8026 Alverstone Avenue                                                                                                                               Los Angeles        CA      90045
6483771   Laura Nealy Glenn                                          4806 Malta Street                                                                                                                                    Los Angeles        CA      90042
6481773   Laura Nemesi                                               639 Grand Avenue #2B                                                                                                                                 Brooklyn           NY      11238
6482960   Laura Price                                                221 Mariposa Rd                                                                                                                                      Hailey             ID      83333
6481664   Laura Sok                                                  521 5th AvenueSuite 1900                                                                                                                             New York           NY      10175
6481366   Laurel B. Corp dba The Magnet Agency                       270 Lafayette Street, Ste.901                                                                                                                        New York           NY      10012
6483951   Laurel of California, Inc. dba The Magnet Agency           6363 Wilshire Blvd. Suite 650                                                                                                                        Los Angeles        CA      90048
6482874   Laurelle Charne                                            4923 Cape Coral Dr.                                                                                                                                  Dallas             TX      75287
6482044   Lauren E. Mallard                                          516 Grace St. Apt B                                                                                                                                  Wilmington         NC      28401
6484351   Lauren Hozempa                                             817 1/2 Westmount Dr.                                                                                                                                West Hollywood     CA      90069
6485204   Lauren Marie Dragicevich                                   331 Roswell Ave.                                                                                                                                     Long Beach         CA      90814
6485618   Lauren Reel                                                7427 Caldus Ave.                                                                                                                                     Van Nuys           CA      91406
6485345   Lauren Wilson                                              24900 Paseo del Rancho                                                                                                                               Calabasas          CA      91302




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                                                                                                                        Master Mailing List
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MMLID     NAME                                                    ADDRESS                                        ADDRESS 2                          ADDRESS 3                    ADDRESS 4         CITY             STATE   POSTAL CODE COUNTRY
6485041   Laurence Sherman                                        829 14th St., Unit 1                                                                                                             Santa Monica     CA      90403
6482380   Laurie A. Dodsworth dba Dodsworth Financial Services    2080 Harlan Rd.                                                                                                                  Waynesville      OH      45068
6481111   Laurie Dumas                                            26 West Warwick Ave.                                                                                                             West Warwick     RI      02893
6482644   Laurus Foundation                                       1222 Hamilton Parkway                                                                                                            Itasca           IL      60143
6797215   LAVA FILMS LLC                                          MAHATMY GANDHIEGO 7/30                         91-012 LODZ                                                                                                            POLAND
6480753   Lavalle, Michael                                        Address on File
6484216   Lavely & Singer Professional Corporation                2049 Century Park East, Suite 2400                                                                                               Los Angeles      CA      90067
6486411   Lavery, De Billy, LLP                                   1 Place Ville-Marie, #4000                                                                                                       Montreal         QC      H3B 4M4      CANADA
6476266   LAVEZOLI\JEFFREY                                        1728 KINGS COURT                                                                                                                 SOUTH PARK       PA      15129
6477444   LAVIN\HOWARD                                            1100 SEVERN AVE                                                                                                                  METAIRIE         LA      70001
6480475   Lavis, Eric                                             Address on File
6482665   Law Office of Ernest B. Fenton                          935 W. 175th St. Suite 1 South                                                                                                   Homewood         IL      60430
6485003   Law office of Kevin Koloff                              1299 Ocean Ave #306                                                                                                              Santa Monica     CA      90401
6485004   Law Office of Kevin Koloff, The                         1299 Ocean Ave., Suite 306                                                                                                       Santa Monica     CA      90401
6485005   Law Office of Leah Antonio-Ketcham, Esq.                520 Broadway, Suite 350                                                                                                          Santa Monica     CA      90401
6481070   Law Offices of Antonio J. Sifre                         Union Plaza, Suite 311416 Ave. Ponce de Leon                                                                                     San Juan         PR      00918
6485703   Law Offices of Kate L. Raynor & Associates              16133 Ventura Blvd. Suite 120                                                                                                    Encino           CA      91436
6484021   Law Offices of Louis Jacobs                             11693 San Vicente Blvd., #318                                                                                                    Los Angeles      CA      90049
6483165   Law Offices of Richard M. Steingard                     800 Wilshire Blvd., Suite 1050                                                                                                   Los Angeles      CA      90017
6475272   LAW OFFICES-JUSTIN J. SHRENGER                          A PROFESSIONAL CORPORATION                     3440 WILSHIRE BLVD, SUITE #810                                                    LOS ANGELES      CA      90010-2101
6479100   LAWRENCE CABLE SERVICE, INC.                            20705 S. WESTERN AVE, STE 104                                                                                                    TORRANCE         CA      90501
6482339   Lawrence T. King                                        8856 Bristol Park Dr. #201                                                                                                       Bartlett         TN      38133
6482340   Lawrence T. King (expenses)                             8856 Bristol Park Dr. #201                                                                                                       Memphis          TN      38133
6474851   LAWRENCE*RYAN                                           Address on File
6476987   LAWRENCE\GARY                                           111 E. BAY STREET                                                                                                                SOUTHPORT        NC      28461
6480743   Lawton, Rosalind                                        Address on File
6478445   LAX\BRIAN                                               5 BASKETMAKER CT.                                                                                                                SANTA FE         NM      87508
6479663   LAZ PARKING CALIFORNIA LLC                              PO BOX 928543                                                                                                                    SAN DIEGO        CA      92192
6476795   LA-Z-BOY FURNITURE GALLERIES                            4116 OLEANDER DRIVE                                                                                                              WILMINGTON       NC      28403
6478249   LB LIMITED PARTNERSHIP                                  10901 HOLLY AVE NE                                                                                                               ALBUQUERQUE      NM      87122
6477676   LBS MANUFACTURING                                       1108 DISTRIBUTORS ROW                                                                                                            NEW ORLEANS      LA      70123
6797198   LD ENTERTAINMENT LLC                                    ATTN:BRIAN WOOLDAND                            14301 Caliber Drive, Suite 300                                                    Oklahoma City    OK      73134
6486943   LD ENTERTAINMENT LLC                                    C/O MCAFEE & TAFT A PROFESSIONAL CORPORATION   ATTN: BEAUCHAMP M. PATTERSON       10TH FLOOR, TWO LEADERSHIP   211 N. ROBINSON   OKLAHOMA CITY    OK      73102
6482827   LD Entertainment, LLC                                   14301 Caliber Dr. Suite 200                                                                                                      Oklahoma City    OK      73134
6797209   LD ENTERTAINMENT,LLC                                    14201 CALIBER DRIVE                            SUITE 120                                                                         OKLAHOMA CITY    OK      73134
6483290   Le Foole, Inc.                                          1990 S. Bundy Dr. Suite 200                                                                                                      Los Angeles      CA      90025
6477715   LE MERIDIEN                                             333 POYDRAS ST                                                                                                                   NEW ORLEANS      LA      70130
6481059   Le Royal Monceau                                        37 Avenue Hoche                                                                                                                  Paris                    75008        France
6481744   Leah Winkler                                            267 LINCOLN PL APT 3D                                                                                                            Brooklyn         NY      11238
6482019   Leah Zipkin                                             259 Sweet Bay Pl.                                                                                                                Carrboro         NC      27510
6480548   Leal, Jeanette                                          Address on File
6797193   LEAP OF FAITH BROADWAY COMPANY, LP                      C/O FRANKEL GREEN THEATRICAL MANAGEMENT LLC    254 West 54th Street, 10th Floor                                                  NEW YORK         NY      10019
6477568   LEARY\LUCY                                              2835 MILAN ST                                                                                                                    NEW ORLEANS      LA      70115
6475986   LEASEWAY OF PUERTO RICO                                 P.O. BOX 11311                                                                                                                   SAN JUAN         PR      00922
6477689   LEBLANC\STEPHEN                                         137 40TH ST                                                                                                                      NEW ORLEANS      LA      70124
6481028   LeClair Ryan                                            Attn: Janis Grubin                             885 Third Avenue                   Sixteenth Floor                                New York         NY      10022
6482007   LeClairRyan                                             PO Box 2499                                                                                                                      Richmond         VA      23218
6475726   LEDERMAN\AMY                                            1732 VENTURA BOULEVARD,                        SUITE # 141                                                                       ENCINO           CA      91316
6477762   LEDET\ALBERT J                                          371 F MONARCH DR                                                                                                                 HOUMA            LA      70364
6477756   LEDET\WAYLON                                            10264 E PARK AVE                                                                                                                 HOUMA            LA      70363
6477109   LEDFORD GRADING AND TRUCKING                            192 TIMBER CREEK DRIVE                                                                                                           FRANKLIN         NC      28734
6479375   LEE BOGGS/TONY                                          11414 MERRITT HILL DRIVE                                                                                                         AGUA DULCE       CA      91390
6480315   LEE COUNTY TAX ASSESSORS                                TAX DEPARTMENT                                 109 LESLIE HWY                                                                    LEESBURG         GA      31763
6477537   LEE JR\GERALD                                           1012 DIMARCO DR                                                                                                                  MARRERO          LA      70072
6474452   LEE*JACKIE                                              Address on File
6480764   Lee, Jackie B.                                          Address on File
6475488   LEE\DON L.                                              5929 WHITSETT AVENUE                           APT. 110                                                                          VALLEY VILLAGE   CA      91607
6479535   LEE\ERNIE                                               5665 WHITNALL HWY SUITE #1                                                                                                       N HOLLYWOOD      CA      91601
6476215   LEE\PAMELA                                              1309 KIRKPATRICK AVE                                                                                                             N BRADDOCK       PA      15104
6477458   LEFEVRE\NICOLE REED                                     4709 SOUTHSHORE DRIVE                                                                                                            METARIE          LA      70002
6797194   LEFONT THEATRES, INC.                                   5920 ROSWELL RD                                C-103                                                                             ATLANTA          GA      30328
6797195   LEFT BEHIND INVESTMENTS, INC.                           ATTN: MICHAEL WALKER                           1 ST. PAUL STREET, SUITE 701                                                      ST. CATHARINES   ON      L2R 7L4      CANADA
6797197   LEFT BEHIND INVESTMENTS, LLC                            1 ST. PAUL STREET                              SUITE 701                                                                         ST. CATHERINES   ON      L2R 7L4      CANADA
6797186   LEFT BEHIND INVESTMENTS, LLC                            ATTN: MICHAEL WALKER                           1 ST. PAUL STREET, SUITE 701                                                      ST. CATHARINES   ON      L2R 7L4      CANADA
6478608   LEFT HAND POST, LLC                                     1307 ALLESANDRO ST                                                                                                               LOS ANGELES      CA      90026
6478115   LEGACY ANTIQUES                                         7809 4TH STREET NW                                                                                                               ALBUQUERQUE      NM      87107
6486313   Legal Express Messenger Service                         PO Box 37247                                                                                                                     Honolulu         HI      96837
6476731   LEGION PROD. SERVICES, LLC.                             111 ANN STREET                                                                                                                   WILMINGTON       NC      28401
6477383   LEHMAN'S                                                289 KURZEN RD N                                                                                                                  DALTON           OH      44618
6480520   Lehner, Kacie                                           Address on File




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MMLID     NAME                                             ADDRESS                                               ADDRESS 2                            ADDRESS 3                         ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6478737   LEHTOLA\GERALD                                   2870 LOS FELIZ PLACE, #94                                                                                                                LOS ANGELES       CA      90039
6477229   LEICESTER CARPET SALES,INC.                      119 NEW LEICESTER HIGHWAY                                                                                                                ASHEVILLE         NC      28806
6483148   Leisha Mack (expenses)                           4920 West 20th St                                                                                                                        Los Angeles       CA      90016
6469392   LEISHA MACK (EXPENSES)                           C/O CREATIVE ARTISTS AGENCY                           4920 WEST 20TH ST                                                                  LOS ANGELES       CA      90016
6472290   LEM DOBBS                                        2000 AVENUE OF THE STARS                                                                                                                 LOS ANGELES       CA      90067
6484217   Lem Dobbs                                        c/o Creative Artists Agency2000 Avenue of the Stars                                                                                      Los Angeles       CA      90067
6480978   Lemos, Christopher                               Address on File
6468784   LENA WAITHE                                      HILLMAN GRAD PRODUCTIONS INC.                         C/O PARADIGM                         360 NORTH CRESCENT DRIVE                      BEVERLY HILLS     CA      90210
6474837   LENARSKY*ADAM                                    Address on File
6479472   LENNIE MARVIN ENTERPRISES, INC.                  3110 WINONA AVENUE                                                                                                                       BURBANK           CA      91504
6485619   Leomark Studios, LLC fso Erik Lundmark           7113 Bianca Ave.                                                                                                                         Van Nuys          CA      91406
6492647   LEOMARK STUDIOS, LLC FSO ERIK LUNDMARK           ATTN: ERIK LUNDMARK, CEO                              7113 BIANCA AVE.                                                                   VAN NUYS          CA      91406
6492776   LEON* GLADYS STACY                               Address on File
6484106   Leonard Shields                                  3542 West Ave. 42                                                                                                                        Los Angeles       CA      90065
6478077   LEONETTI COMPANY                                 5100 BROADWAY BLVD. SE                                                                                                                   ALBUQUERQUE       NM      87105
6479242   LEONETTI COMPANY                                 6938 SHADYGROVE ST                                                                                                                       TULUNGA           CA      91043-3144
6491284   LEONG/ERIC ANTHONY                               Address on File
6482992   Leonid Leonov                                    2118 S. Extension Rd.                                                                                                                    Mesa              AZ      85210
6484218   Leopold, Petrich & Smith                         2049 Century Park East, Suite 3110                                                                                                       Los Angeles       CA      90067
6492373   LEOPOLD, PETRICH & SMITH, P.C.                   ATTN: LOUIS P. PETRICH, PRESIDENT                     2049 CENTURY PARK EAST, SUITE 3110                                                 LOS ANGELES       CA      90067
6481008   Leota, Tuli                                      Address on File
6484916   Leslie Dilley                                    232 N. Canon Drive                                                                                                                       South Gate        CA      90280
6480696   Leslie, Matthew                                  Address on File
6478530   LESLIE\MATT                                      765 S PLYMOUTH BLVD                                                                                                                      LOS ANGELES       CA      90005
6478189   LESMEN'S MUSIC                                   5413 LOMAS NE                                                                                                                            ALBUQUERQUE       NM      87110
6480899   Leufroy, Dana                                    Address on File
6479188   LEVANT\BRIAN                                     28725 WAGON RD                                                                                                                           AGOURA            CA      91301
6479189   LEVANT\ROBERT                                    28725 WAGON ROAD                                                                                                                         AGOURA HILLS      CA      91301
6475205   LEVEL 13 SECURITY INTERNAT'L                     C/O GUY FRIEDMAN                                      2095 ALAMO DRIVE                                                                   MONTEREY PARK     CA      91754
6482951   Level 3 Financing Inc.                           PO Box 910182                                                                                                                            Denver            CO      80291
6477484   LEVEQUE, MELANIE R.                              3801 HARVARD AVE.                                                                                                                        METAIRIE          LA      70006
6476846   LEVERETT\ELIZABETH LEIGH                         118 BERNARD DRIVE                                                                                                                        WILMINGTON        NC      28405
6475807   LEVIN LAW CORP                                   8060 MELROSE AVENUE                                   SUITE 205                                                                          LOS ANGELES       CA      90046
6478948   LEVIN LAW CORP                                   8844 W. OLYMPIC BLVD., SUITE 200                                                                                                         BEVERLY HILLS     CA      90211
6475730   LEVIN LAW CORP.                                  8844 WEST OLYMPIC BLVD.STE 200                        SUITE # 200                                                                        BEVERLY HILLS     CA      90211
6480965   Levin, Andrew                                    Address on File
6481023   Levin, Andy                                      Address on File
6480915   Levinson, Jennifer                               Address on File
6476424   LEVINSON\DREW                                    157 GRISTMILL LANE                                                                                                                       ZELIENOFLE        PA      16063
6480919   Levitt, Jeff                                     Address on File
6478691   LEVY MUSIC PUBLISHING, LLC                       432 S. ORANGE DRIVE                                                                                                                      LOS ANGELES       CA      90036
6483555   Levy Pazanti & Associates                        9911 W. Pico Blvd. #510                                                                                                                  Los Angeles       CA      90035
6475069   LEVY\ABRAHAM                                     642 ROSEDALE AVENUE                                   #P.H.                                                                              BRONX             NY      10473
6478858   LEVY\AVI                                         12601 MATTESON AVE #9                                                                                                                    LOS ANGELES       CA      90066
6474147   LEW*KELSEY                                       Address on File
6482593   Lewis Brinson                                    c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                        Northbrook        IL      60062
6722729   Lewis Brisbois Bisgaard & Smith LLP              MARISOL JARAMILLO                                     COLLECTION ADMINISTRATOR             633 West 5th Street, Suite 4000               Los Angeles       CA      90071
6484867   Lewis F. Weakland                                3927 Las Flores Canyon Road                                                                                                              Malibu            CA      90265
6477071   LEWIS, DAN                                       109 S. 2ND AVE                                                                                                                           MAIDEN            NC      28650
6479750   LEWIS/NATHON S                                   319 W. OLYMPIC PL #205                                                                                                                   SEATTLE           WA      98119
6483618   Lexington Entertainment, Inc.                    942 S Stanley Avenue                                                                                                                     Los Angeles       CA      90036
6492778   LEXISNEXIS                                       P.O. BOX 894166                                                                                                                          LOS ANGELES       CA      90189-4166
6477465   LEXUS OF NEW ORLEANS                             8811 VETERANS MEMORIAL BLVD                                                                                                              METAIRIE          LA      70003
6474779   LI*JOYCE H                                       Address on File                                                                                                                                                                 UNITED
6486390   Liam Goodwin                                     14 Chepstow Gardens, CusworthDoncaster                                                                                                   South Yorkshire           DN5 8LR      KINGDOM
6483120   Liana Bandziulis                                 440 Seaton StreetFloor 3                                                                                                                 Los Angeles       CA      90013
6481959   Library of Congress                              101 Independance Ave SE                                                                                                                  Washington        DC      20559        UNITED
6474915   LIBUM LTD                                        FSO: DERYN STAFFORD                                   AUCUBA, ST. NICOLAS CLOSE            CRANLEIGH                                     SURREY                    GU6 7AH      KINGDOM
6492871   LICHTENFELD* ERIC                                Address on File
6468806   LICHTER GROSSMAN ET AL                           ATTN: MELISSA ROGAL                                   9200 SUNSET BLVD,                    #1200                                         WEST HOLLYWOOD    CA      90069
6469728   LIE TENG                                         KUTISARI INDAH UTARA 2 NO 31 SURABAYA,                                                                                                   JAWA TIMUR                60291        INDIA
6481055   Lie Teng                                         Kutisari Indah Utara 2 no 31                                                                                                             Surabaya          Jawa    60291        Indonesia
6481859   Life and Favor, LLC fso Kelvin Beachum           616 Arbor Ct.                                                                                                                            Pittsburgh        PA      15238
6483028   Life In Red                                      P.O. Box 28387                                                                                                                           Santa Fe          NM      87592
6478468   LIFEWAY GLORIETA CONFERENCE CE                   11 STATE RD 50                                                                                                                           GLORIETA          NM      87535
6486255   Lifework Institute The                           2925 Murphys Grand Rd                                                                                                                    Angels Camp       CA      95222
6477677   LIGHT BULB DEPOT                                 5900 JEFFERSON HIGHWAY                                                                                                                   JEFFERSON         LA      70123
6491879   LIGHT IRON DIGITAL                               6381 DELONGPRE AVE.                                                                                                                      LOS ANGELES       CA      90028
6486432   Light Year Media                                 295 Robinson St.                                                                                                                         Oakville          ON      L6J 1G7      CANADA
6486125   LightGabler LLP                                  760 Paseo Camarillo, Suite 400                                                                                                           Camarillo         CA      93010




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MMLID     NAME                                              ADDRESS                                                         ADDRESS 2                                 ADDRESS 3        ADDRESS 4               CITY                STATE   POSTAL CODE COUNTRY
6475657   LIGHTHOUSE NOTARY SERVICES                        A PROFESSIONAL NOTARY CORP                                      PO BOX 1796                                                                        HARVEY              LA      70058-1796
6483440   Lighting Media                                    1413 Cole Place                                                                                                                                    Los Angeles         CA      90028
6483149   Lightiron Digital LLC                             5805 W Jefferson Blvd                                                                                                                              Los Angeles         CA      90016
6477269   LIGHTNIN PRODUCTION RENTALS, INC                  2555 UNIVERSITY PARKWAY                                                                                                                            LAAWRENCEVILLE      GA      30043
6483441   Lightning Media Hollywood                         1413 Cole Place                                                                                                                                    Los Angeles         CA      90028
6476338   LIGHTSPEED GRIP & LIGHTING LLC                    315 GIST ST                                                                                                                                        PITTSBURGH          PA      15219
6491429   LIGHTYEAR DIGITAL ENTERTAINMENT LLC               PO BOX 32158                                                                                                                                       LOS ANGELES         CA      90032
6471693   LIGHTYEAR DIGITAL ENTERTAINMENT LLC               PO BOX 50432                                                                                                                                       LOS ANGELES         CA      90050-0204
6475725   LIGHTYEAR DIGITAL ENTERTAINMNT                    150 S. RODEO DRIVE,                                             SUITE # 140                                                                        BEVERLY HILLS       CA      90212
6474453   LIGONIS*NICK                                      Address on File
6480443   Ligonis, Nick S                                   Address on File
6483442   Like Minded Entertainment                         1626 Wilcox Ave. #404                                                                                                                              Los Angeles         CA      90028
6485665   Lil Jon 00017, Inc.                               13701 Riverside Dr., 8th Floor                                                                                                                     Sherman Oaks        CA      91423
6484944   Lila Yacoub                                       511 Rialto Avenue, Unit 8                                                                                                                          Venice              CA      90291
6479007   LILLI\JOSEPH                                      16100 WEST SUNSET BLVD, #108                                                                                                                       PACIFIC PALISADES   CA      90272
6485128   Lilly Ngo                                         2090 10th St #1                                                                                                                                    Santa Monica        CA      90405
6481719   Lilly Ryden                                       2028 Bay Ridge AvenueApt.#2                                                                                                                        Brooklyn            NY      11204
6480512   Lim, Lik Chuang                                   Address on File
6475479   LIM\ALISHA MEI                                    4048 TUJUNGA AVE                                                APT F                                                                              STUDIO CITY         CA      91604
6481473   Liman Video Rental Co                             341 W 38th St                                                                                                                                      New York            NY      10018
6480601   Limbaugh, Courtney                                Address on File
6479254   LIMELIGHT CATERING, INC.                          12301 GLADSTONE AVENUE                                                                                                                             SYLMAR              CA      91342
6481902   LINA                                              P.O. Box 13701                                                                                                                                     Philadelphia        PA      19101
6477081   LINAMAR NORTH CAROLINA, INC.                      2169 HENDERSONVILLE RD                                                                                                                             ARDEN               NC      28704
6486235   Lincoln Square Cinemas, LLC                       999 Fifth Ave. Suite 340                                                                                                                           San Rafael          CA      94901
6481952   Lincoln Theatre                                   1215 U St NW                                                                                                                                       Washington          DC      20009
6480983   Lind, Chase                                       Address on File
6485346   Linda Abelson                                     4265-2 Las Virgenese Road                                                                                                                          Calabasas           CA      91302
6485666   Linda Benjamin                                    4115 Weslin Ave                                                                                                                                    Sherman Oaks        CA      91423
6481529   Linda Orhun                                       188 East 75th St. #2D                                                                                                                              New York            NY      10021
6476003   LINDE GAS PUERTO RICO                             PO BOX 363868                                                                                                                                      SAN JAUN            PR      00936
6474764   LINDELL*RUSSELL                                   Address on File
6486261   Linden & Company Salon & Spa                      1222 5th St.                                                                                                                                       Eureka              CA      95501
6483861   Lindsay Bonsall                                   744 N. Sierra Bonita Ave.                                                                                                                          Los Angeles         CA      90046
6482138   Lindsay Young                                     2 Ranger Lane                                                                                                                                      Gainesville         FL      32601
6490331   LINDSEY BUCKINGHAM DBA NOW SOUNDS MUSIC           C/O GELFAND RENNERT & FELDMAN                                   1880 CENTURY PARK E. SUITE 1600                                                    LOS ANGELES         CA      90067
6482810   Lindsey L. Fredieu                                1084 Petty Rd                                                                                                                                      Many                LA      71449-7139
6471105   LINDSEY L. FREDIEU                                5024 MAGAZINE ST. APT A                                                                                                                            NEW ORLEANS         LA      70115
6480533   Lindsley, Troy                                    Address on File
6479088   LINDSTROM\KARA                                    3435 OCEAN PARK BLVD #107                                                                                                                          SANTA MONICA        CA      90405
6484713   Lineage Interactive                               Attn: Anthony Rodriguez269 South Beverly Drive#953                                                                                                 Beverly Hills       CA      90212
6484564   Lineage Management                                269 South Beverly Beverly Dr.Ste. #953Attn: Anthony Rodriguez                                                                                      Beverly Hills       CA      90210
6469167   LINEAGE MANAGEMENT                                ATTN: ANTHONY RODRIGUEZ                                         269 SOUTH BEVERLY BEVERLY DR. STE. #953                                            BEVERLY HILLS       CA      90210
6479492   LINEAR OPTICS INC                                 1465 N ROSE ST                                                                                                                                     BURBANK             CA      91505
6478250   LINEHAN COMMUNICATONS, INC.                       10551 PINO AVENUE NE                                                                                                                               ALBUQUERQUE         NM      87122
6483235   Liner Grode Stein Yankelevitz                     1100 Glendon Ave, 14th Floor                                                                                                                       Los Angeles         CA      90024
6480061   LINER LLP                                         JOSHUA B. GRODE                                                 110 GLENDON AVE., 14TH FLOOR                                                       LOS ANGELES         CA      90024
6480062   LINER LLP                                         PAUL D. SWANSON                                                 1100 GLENDON AVE., 14TH FLOOR                                                      LOS ANGELES         CA      90024
6483236   Liner Yankelevitz                                 1100 Glendon Avenue, 14th Floor                                                                                                                    Los Angeles         CA      90024
6477749   LINER\SHAUN                                       PO BOX 392                                                                                                                                         BERWICK             LA      70342
6478996   LINEWEAVER\STEPHEN                                18071 COASTLINE DR #14                                                                                                                             MALIBU              CA      90265
6476847   LINE-X OF WILMINGTON                              P.O. BOX 12454                                                                                                                                     WILMINGTON          NC      28405
6474137   LINK STEFFENS*JULIE                               Address on File
6474825   LINNE*KEVIN                                       Address on File
6478654   LINOLEUM CITY, INC.                               4849 SANTA MONICA BLVD                                                                                                                             LOS ANGELES         CA      90029
6478374   LINSON'S DESIGN SOURCE                            1305 CERRILLOS RD                                                                                                                                  SANTA FE            NM      87505
6484022   Lion Security Locksmith                           P.O. Box 491515                                                                                                                                    Los Angeles         CA      90049
6474997   LION SECURITY LOCKSMITH                           YARIO M. SHOCHAT                                                PO BOX 491515                                                                      LOS ANGELES         CA      90049-8889
6485080   Lion Share Productions, Inc.                      C/O Del, Shaw, Moonves, Tanaka, Finkelstein & Lezcano2120                                                                                          Santa Monica        CA      90404
6477846   LIONNET JR\LESTER                                 64063 NELSON RD                                                                                                                                    PEARL RIVER         LA      70452
6485081   Lions Gate Entertainment Inc                      2700 Colorado Ave                                                                                                                                  Santa Monica        CA      90404
6486946   LIONS GATE FILMS INC                              ATTN: EXECUTIVE VICE-PRESIDENT BUSINESS &                       LEGAL AFFAIRS, ACQUISITIONS AND           CO-PRODUCTIONS   2700 COLORADO AVENUE    SANTA MONICA        CA      90404
6797173   LIONS GATE FILMS INC.                             ATTN: BUSINESS & LEGAL AFFAIRS                                  2700 COLORADO AVENUE                      SUITE 200                                SANTA MONICA        CA      90404
6797179   LIONS GATE FILMS, INC.                            2700 COLORADO AVENUE                                            SUITE 200                                                                          SANTA MONICA        CA      90404
6797160   LIONS GATE INTERNATIONAL SALES, INC.              ATTN: BUSINESS & LEGAL AFFAIRS                                  2700 COLORADO AVENUE                      SUITE 200                                SANTA MONICA        CA      90404
6797153   LIONS GATE INTERNATIONAL SALES, LLC               ATTN: BUSINESS & LEGAL AFFAIRS                                  2700 COLORADO AVENUE, SUITE 200                                                    SANTA MONICA        CA      90404
                                                                                                                            ATTN: B. JAMES GLADSTONE, EVP,                             2700 COLORADO AVENUE,
6491962   LIONS GATES FILM,INC.                             C/O LIONS GATE ENTERTAINMENT CORPORATION                        BUSINESS/LEGAL                            AFFAIRS          SUITE 5000              SANTA MONICA        CA      90404
6480383   LIONSGATE                                         2700 COLORADO AVENUE                                            SUITE 200                                                                          SANTA MONICA        CA      90404
6481778   Lionsgate Entertainment                           JP Morgan Chase Bank, Lockbox Processing4 Chase Metrotech                                                                                          Brooklyn            NY      11245




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MMLID     NAME                                                        ADDRESS                                              ADDRESS 2                        ADDRESS 3                        ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6483740   Lip Sync Music                                              2658 Griffith Park Blvd, #336                                                                                                      Los Angeles       CA      90039
6471902   LIP SYNC MUSIC INC                                          2658 GRIFFITH PARK BLVD, #336                                                                                                      LOS ANGELES       CA      90039
6478908   LIPA/TALI                                                   15267 MULHOLLAND DRIVE                                                                                                             LOS ANGELES       CA      90077
6474678   LIPPERT*ALYSON                                              Address on File
6483952   Lippin Group Inc., The                                      6100 Wilshire Blvd. Suite 400                                                                                                      Los Angeles       CA      90048
6474662   LIPPMAN*MICHAEL                                             Address on File
6480960   Lippman, Michael S                                          Address on File
6479323   LIPSCHULTZ, ANDREW                                          4701 ABBEYVILLE AVE                                                                                                                WOODLAND HILLS    CA      91364
6478116   LIPSON-ZAMBELLO\EMILY                                       601 NOBLE PLACE N.E.                                                                                                               ALBUQUERQUE       NM      87107
6475810   LIQUID MUSIC, INC.                                          12711 VENTURA BOULEVARD                              SUITE 220                                                                     STUDIO CITY       CA      91604
6485491   Liquid Partyworks, Inc. dba Liquid Catering                 10100 Topanga Canyon Blvd.                                                                                                         Thousand Oaks     CA      91362
6482099   Liquid Soul Media, LLC                                      1024 Hemphill Ave. Suite B                                                                                                         Atlanta           GA      30318
6484565   Lisa C. Rogell                                              9963 Westwanda Drive                                                                                                               Beverly Hills     CA      90210
6484352   Lisa D. McMann                                              c/o The Gotham Group9255 Sunset Blvd #515                                                                                          West Hollywood    CA      90069
6482989   Lisa Fuller-Magee                                           4402 E. Grandview                                                                                                                  Phoenix           AZ      85032
6477633   LISA LATTER LOCATIONS, LLC                                  3929 DELGADO DRIVE                                                                                                                 NEW ORLEANS       LA      70119
6485129   Lisa Taback Consulting, Inc.                                2210 Main Street, Ste. 301                                                                                                         Santa Monica      CA      90405
6479030   LISANTI, JOSEPH                                             2204 PROSPECT AVENUE                                                                                                               VENICE            CA      90291
6484714   LisMar Productions, Inc. fso Vina Saffian                   450 S. Maple Dr. Suite 103                                                                                                         Beverly Hills     CA      90212
6492387   LISTEN FIRST MEDIA, LLC                                     ATTN: CHRISTIAN ANTHONY, CO-CEO                      24 CALHOUN DRIVE                                                              GREENWICH         CT      06831
6481133   ListenFirst Media, LLC                                      24 Calhoun Dr.                                                                                                                     Greenwich         CT      06831
6477244   LISTER, BRIAN S.                                            9321 WILSON BLVD.                                                                                                                  COLUMBIA          SC      29203      UNITED
6475261   LISTON, NAOMI                                               OTTERBURN TROUT FARM                                 31 CADDY ROAD, RANDALSTOWN                                                    CO. ANTRIM                BT41 3DL   KINGDOM
6479493   LITEGEAR, INC.                                              4406 VANOWEN STREET                                                                                                                BURBANK           CA      91505
6484566   Little Edie Productions, Inc. fso Lea Michele               c/o WME Entertainment9601 Wilshire Blvd, 3rd Floor                                                                                 Beverly Hills     CA      90210
6478478   LITTLE FOREST PLAYSCHOOL, INC.                              3880 VILLA STREET                                                                                                                  LOS ALAMOS        NM      87544
6485667   Little Jonathon, Inc.                                       13701 Riverside Dr., 8th Floor                                                                                                     Sherman Oaks      CA      91423
6476848   LITTLE POND CATERERS, INC.                                  2016 PRINCESS PLACE DRIVE                                                                                                          WILMINGTON        NC      28405
6477569   LITTLE RABBIT INC                                           3110 MAGAZINE ST # 338                                                                                                             NEW ORLEANS       LA      70115
6482811   Little Rabbit, Inc. fso Anne Morgan                         3110 Magazine St. #338                                                                                                             New Orleans       LA      70115
6474834   LITTLE*TOM                                                  Address on File
6480825   Litvack, Harrison L.                                        Address on File
6484644   Live Scan & More                                            8685 Wilshire Blvd. #13                                                                                                            Beverly Hills     CA      90211
6491704   LIVING ROOM THEATERS OREGON                                 921 SW WASHINGTON ST. SUITE 220                                                                                                    PORTLAND          OR      97205
6475183   LIVING WORD CHURCH                                          OF HOUMA, INC                                        1916 HWY 311                                                                  SCHRIEVER         LA      70395
6478638   LIZZIE SCHECK JEWELRY                                       7095 HOLLYWOOD BLVD #567                                                                                                           LOS ANGELES       CA      90028
6484911   LJR & Associates, Inc.                                      P.O. Box 4203                                                                                                                      Redondo Beach     CA      90277
6475178   LLF PRODUCTIONS. INC.                                       F/S/O LEIGH FRENCH                                   1850 NORTH VISTA STREET                                                       LOS ANGELES       CA      90046
6485042   Llorente Inc f/s/o Paul Hudson                              1127 9th Street#104                                                                                                                Santa Monica      CA      90403
6481759   Lloyd Austin                                                348 Maple StreetApt. 5C                                                                                                            Brooklyn          NY      11225
6482046   Lloyd Robert Pfeffer                                        1027 Birch Creek Dr.                                                                                                               Wilmington        NC      28403      UNITED
6486680   Lloyd’s Syndicate #3624/ (Hiscox Syndicates 100%)           One Lime Street                                                                                                                    London                    EC3M 7HA   KINGDOM
6486732   Lloyd’s Syndicate #3624/ (Hiscox Syndicates 100%)           104 South Michigan Avenue, Suite 600                                                                                               Chicago           IL      60603      ISLE OF
6797148   LMB HOLDINGS LIMITED                                        ATTN: ATHENE CRONSHAW                                MILLENIUM HOUSE, VICTORIA ROAD   FIRST FLOOR                                  DOUGLAS                   1M2 4RW    MAN
                                                                                                                                                                                                                                              UNITED
6490008   LMB HOLDINGS LIMITED                                        ATTN: CHRIS EATON, DIRECTOR                          FIRST FLOOR, MILLENNIUM HOUSE    VICTORIA ROAD, DOUGLAS                       ISLE OF MAN               IM2 4RW    KINGDOM
6484868   LMGCO, LLC dba Lescher Group                                24955 Pacific Coast Hwy. #A191                                                                                                     Malibu            CA      90265
6478412   LOBATO\BEN                                                  6367 CALLE KRYSHANA                                                                                                                SANTA FE          NM      87507
6472893   LOCAL HERO POST                                             1201 OLYMPIC BLVD.                                                                                                                 SANTA MONICA      CA      90404
6485082   Local Hero Post                                             1631 16th Street                                                                                                                   Santa Monica      CA      90404
6479558   LOCATION SOUND CORPORATION                                  10639 RIVERSIDE DRIVE                                                                                                              NORTH HOLLYWOOD   CA      91602
6479603   LOCATION SOUND CORPORATION                                  10639 RIVERSIDE DRIVE                                                                                                              NORTH HOLLYWOOD   CA      91605
6477807   LOCATIONS SOLUTIONS, LLC                                    312 EAST 3RD AVENUE                                                                                                                COVINGTON         LA      70433
6482910   Lock N Load Music, LLC                                      9332 Loading Dock Rd.                                                                                                              Silsbee           TX      77656
6479494   LOCKE TRANSPORTATION, LLC                                   2920 W. OAK ST.                                                                                                                    BURBANK           CA      91505
6483488   Lodger Films Inc                                            865 N Virgil Ave                                                                                                                   Los Angeles       CA      90029
6484220   Loeb & Loeb, LLP                                            10100 Santa Monica Blvd., Ste. 2200                                                                                                Los Angeles       CA      90067
6492158   LOEB & LOEB, LLP                                            ATTN: LANCE N. JURICH, ESQ.                          P. GREGORY SCHWED, ESQ.          10100 SANTA MONICA BLVD., STE.               LOS ANGELES       CA      90067
6482451   Loeks Theaters, Inc.                                        2121 Celebration Dr.                                                                                                               Grand Rapids      MI      49525
6478639   LOEWS HOLLYWOOD HOTEL                                       1755 HIGHLAND AVE                                                                                                                  HOLLYWOOD         CA      90028
6482363   Loft Media Group, LLC                                       15518 Trinter Road                                                                                                                 Vermilion         OH      44089
6474582   LOFTUS*THOMAS                                               Address on File
6480900   Loftus, Thomas J                                            Address on File
6478542   LOGAN\JONATHAN A.                                           818 SOUTH BROADWAY, SUITE 801                                                                                                      LOS ANGELES       CA      90014
6475593   LOGO SHOP\THE                                               4533 VAN NUYS BLVD.                                  NO. 202                                                                       SHERMAN OAKS      CA      91403
6485743   Loin T. Loin, Inc.                                          3442 Wedgewood Lane                                                                                                                Burbank           CA      91504
6477961   LOMAS/GREGORY                                               26326 TIMBERLINE DRIVE                                                                                                             SAN ANTONIO       TX      78260
6477266   LOMAX\NOAH                                                  353 ASHLEIGH WALK PARKWAY                                                                                                          SUWANEE           GA      30024
6477267   LOMAX\YADIRA MICHELLE                                       353 ASHLEIGH WALK PKWY                                                                                                             SUWANEE           GA      30024
6477731   LOMBARD\CHRISTOPHER                                         3801 MIMOSA DR                                                                                                                     NEW ORLEANS       LA      70131
6476283   LOMBARDO\MERISSA                                            3612 MINTWOOD ST                                                                                                                   PITTSBURGH        PA      15201




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6480248   LOMITA CITY HALL                                           24300 NARBONNE AVE.                       P.O. BOX 339                                                                       LOMITA            CA      90717
6485845   Lon Cohen Studio Rentals, Inc.                             5428 Cleon Ave.                                                                                                              North Hollywood   CA      91601
6484974   London Alley Entertainment, Inc.                           1046 Princeton Dr. #111                                                                                                      Marina Del Rey    CA      90292
6482507   Lone Peak Cinema, LLC                                      50 Ousel Falls Rd.                                                                                                           Big Sky           MT      59716
6477634   LONG LEAF CANTEEN, INC                                     730 SOUTH PIERCE STREET                                                                                                      NEW ORLEANS       LA      70119
6478239   LONG\DAVID                                                 3609 ESCARPA DR NW                                                                                                           ALBUQUERQUE       NM      87120
6478491   LONG\JOHNNY                                                PO BOX 2921                                                                                                                  RANCHOS DE TAOS   NM      87557
6477696   LONG\KIMAREE                                               321 AUDUBON BLVD                                                                                                             NEW ORLEANS       LA      70125
6476988   LONG\MARIANNE                                              4172 BROOKFIELD WAY                                                                                                          SOUTHPORT         NC      28461
6491256   LONGO MAKE-UP ARTISTS, INTL.                               5 WORCESTER DR.                                                                                                              NORTHPORT         NY      11768
6476318   LONGO\DANIEL                                               114 TARRAGONNA STREET                                                                                                        PITTSBURGH        PA      15210
6482857   LOOK Cinemas I, LP                                         5495 Belt Line Rd., Suite 300                                                                                                Dallas            TX      75254
6481730   Look Effects Inc                                           104 N. 7th Street                                                                                                            Brooklyn          NY      11211
6476438   LOOK\BRADLEY                                               4406 CAHUENGA BLVD 109                                                                                                       TOLUCA LAKE       CA      91602
6475092   LOOP EASE                                                  SANDY HOLT                                1117 S LAPEER DR                                                                   LOS ANGELES       CA      90035
6479732   LOOP FILMS, INC.                                           5791 VOLKERTS RD                                                                                                             SEBASTOPOL        CA      95472
6474967   LOOP FILMS, INC.                                           FSO: JONAH LOOP,                          5791 VOLKERTS RD.                                                                  SEBASTOPOL        CA      95472
6483556   Loop-Ease                                                  1117 S. La Peer Drive                                                                                                        Los Angeles       CA      90035
6479462   LOOPING GROUP\THE                                          P. O. BOX 846                                                                                                                BURBANK           CA      91503
6477533   LOOSEMORE, DANIELLE                                        407 COUNTRY COTTAGE BLVD                                                                                                     MONTZ             LA      70068
6469137   LOOSESHOULDER ENTERTAINMENT                                FSO MARK A. PARKER                        908 Sutton Hill Rd                                                                 NASHVILLE         TN      37204-3024
6482288   LooseShoulder Entertainment fso Mark A. Parker             2203 Lindell Ave.                                                                                                            Nashville         TN      37204
6476011   LOPEZ FRANCO\FRANCISCO                                     RR-4 BOX 27155                                                                                                               TOA ALTA          PR      00953
6474607   LOPEZ*JAMISON                                              Address on File
6474213   LOPEZ*MARYCARMEN                                           Address on File
6480921   Lopez, Jamison                                             Address on File
6475680   LOPEZ\ANGEL L.                                             7 STREET F-19                             RIVERSIDE PARK                                                                     MAYAMON           PR      00961
6478117   LOPEZ\BELARMINO                                            1900 CAMINO DE COMPANIA NW                                                                                                   ALBUQUERQUE       NM      87107
6477847   LOPEZ\MARCO                                                39470 WILLIS ALLEY                                                                                                           PEARL RIVER       LA      70452
6475514   LOPEZ\MIGUEL                                               PMB 301 #35 CALLE JUAN C.                 BORBON SUITE 67                                                                    GUAYNABO          PR      00969
6478922   LOPEZ\TYLER M                                              401 4TH STREET                                                                                                               WESTWEGO          LA      90094
6797137   LORD SECURITIES CORPORATION                                ATTN: STEVEN NOVAK                        48 WALL ST.                           #27                                          NEW YORK          NY      10005
6476887   LORD, GARRET                                               2703 VALOR DR                                                                                                                WILMINGTON        NC      28411
6483443   Loren Schiller                                             1323 N. BronsonAvenue #11                                                                                                    Los Angeles       CA      90028
6476732   LORENZ\CARL F.                                             1868 WEST LAKE SHORE DRIVE                                                                                                   WILMINGTON        NC      28401
6481391   Lori Hamlin                                                136 Baxter St. #PH-A                                                                                                         New York          NY      10013
6483525   Lori Harenburg                                             10746 Francis Place #302                                                                                                     Los Angeles       CA      90034
6476989   LORISH JR\ALAN C.                                          6205 NAVIGATOR WAY                                                                                                           SOUTHPORT         NC      28461
6797131   LORNE MICHAELS AND EMILYCO                                 2000 AVENUE OF THE STAR                                                                                                      LOS ANGELES       CA      90067
6475639   LOS ALAMOS COUNTY                                          ACCOUNTS RECEIVABLE                       P.O. BOX 99                                                                        LOS ALAMOS        NM      87544
6480303   LOS ALTOS CITY HALL                                        1 NORTH SAN ANTONIO ROAD                                                                                                     LOS ALTOS         CA      94022
6483166   Los Angeles Center Studios                                 1201 W. 5th Street, Suite T100                                                                                               Los Angeles       CA      90017
6480266   LOS ANGELES CITY HALL                                      200 NORTH SPRING STREET                                                                                                      LOS ANGELES       CA      90012
6481298   Los Angeles Confidential Media, LLC                        100 Church St. 7th Floor                                                                                                     New York          NY      10007
6480181   LOS ANGELES COUNTY                                         OFFICE OF THE ASSESSOR                    KENNETH HAHN HALL OF ADMINISTRATION   500 W. TEMPLE STREET, ROOM 225               LOS ANGELES       CA      90012-2770
6483619   Los Angeles County Museum of Art                           5905 Wilshire Blvd                                                                                                           Los Angeles       CA      90036
6484476   Los Angeles County Sheriff's Department                    PO Box 843580                                                                                                                Los Angeles       CA      90094
6480252   LOS ANGELES COUNTY TAX COLLECTOR                           225 NORTH HILL STREET                     ROOM 122                                                                           LOS ANGELES       CA      90012
6484038   Los Angeles County Tax Collector                           P.O. Box 514818                                                                                                              Los Angeles       CA      90051
6472169   LOS ANGELES COUNTY TAX COLLECTOR                           P.O. BOX 54027                                                                                                               LOS ANGELES       CA      90054-0027
6480223   LOS ANGELES COUNTY TREASURER-                              TAX COLLECTOR'S OFFICE                    225 N HILL ST                                                                      LOS ANGELES       CA      90012
6480332   LOS ANGELES COUNTY TREASURER & TAX COLLECTOR               225 N. HILL STREET                                                                                                           LOS ANGELES       CA      90012
6480224   LOS ANGELES COUNTY TREASURER AND                           TAX COLLECTOR                             225 N. HILL STREET #1                                                              LOS ANGELES       CA      90012
6690385   Los Angeles County Treasurer and Tax Collector             PO Box 54110                                                                                                                 Los Angeles       CA      90054
6485808   Los Angeles Duplication & Broadcasting                     2107 W. Alameda Ave                                                                                                          Burbank           CA      91506
6478657   LOS ANGELES DWP                                            PO BOX 30808                                                                                                                 LOS ANGELES       CA      90030-0808
6475683   LOS ANGELES FIRE DEPT                                      200 NORTH MAIN ST                         ROOM 1620                                                                          LA                CA      90012
6479564   LOS ANGELES FX                                             PO BOX 827                                                                                                                   NORTH HOLLYWOOD   CA      91603
6483444   Los Angeles Gay & Lesbian Community Services Center, The   1625 N. Schrader Blvd.                                                                                                       Los Angeles       CA      90028
6470628   LOS ANGELES MAGAZINE                                       PO BOX 421929                                                                                                                PALM COAST        FL      32142-1929
6482134   Los Angeles Magazine                                       PO Box 421930                                                                                                                Palm Coast        FL      32142
6484394   Los Angeles Police Foundation                              515 S. Flower St. Suite 1680                                                                                                 Los Angeles       CA      90071
6483377   Los Angeles Press Club                                     4773 Hollywood Blvd.                                                                                                         Los Angeles       CA      90027
6479453   LOS ANGELES RAG HOUSE, INC.                                100 EAST SANTA ANITA AVE.                                                                                                    BURBANK           CA      91502
6478538   LOS ANGELES SUPERIOR COURT                                 111 N. HILL STREET                                                                                                           LOS ANGELES       CA      90012
6483129   Los Angeles Theatre                                        608 S. Hill St. Suite 1010                                                                                                   Los Angeles       CA      90014
6491514   LOS ANGELES TIMES                                          FILE 54221                                                                                                                   LOS ANGELES       CA      90074
6475384   LOS ANGELES WORLD AIRPORTS-LAX                             AIRFIELD OPERATIONS-FILM OFC              7333 WORLD WAY WEST                                                                LOS ANGELES       CA      90045
                                                                                                                                                                                                  LOS RANCHOS DE
6478118   LOS POBLANOS INN AND CULTURAL CENTER                       4803 RIO GRANDE BLVD., NW                                                                                                    ALBUQUERQUE       NM      87107        MEXICO




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MMLID     NAME                                              ADDRESS                                                    ADDRESS 2                               ADDRESS 3                ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6478456   LOS TRUJILLOS STORE                               P.O. BOX 406                                                                                                                            ABIQUIU           NM      87510
6479741   LOST PRODUCTIONS                                  510 18TH AVENUE                                                                                                                         HONOLULU          HI      96816
6475041   LOTHRIDGE\WILLIAM SAMUEL                          1335 ARABELLA ST                                           #3                                                                           NEW ORLEANS       LA      70115
6475152   LOTUS POST                                        I WEST MEDIA, LLC.                                         1533 26TH STREET                                                             SANTA MONICA      CA      90404
6480972   Lou, Carl                                         Address on File
6485130   Loud Is Allowed, Inc.                             2850 Ocean Park Blvd. Suite 300                                                                                                         Santa Monica      CA      90405
6485846   Louder Productions LLC                            5925 Troost Avenue                                                                                                                      North Hollywood   CA      91601
6476082   LOUIS A. KATZ, M.D.                               20 FIFTH AVENUE                                                                                                                         NEW YORK          NY      10011
6479686   LOUIS AND COMPANY                                 P.O. BOX 2253                                                                                                                           BREA              CA      92822
6485704   Louis Freese dba Reefer King                      16000 Ventura Blvd. Suite 600                                                                                                           Encino            CA      91436
6485386   Louis M. Phillips                                 10910 Delco Ave                                                                                                                         Chatsworth        CA      91311
6479995   LOUISIANA DEPARTMENT OF LABOR                     SECRETARY                                                  P.O. BOX 94094                                                               BATON ROUGE       LA      70804
6477678   LOUISIANA OFFICE PRODUCTS                         210 EDWARDS AVE                                                                                                                         HARAHAN           LA      70123
6477897   LOUISIANA PURCHASES, INC                          239 N RANGE AVE                                                                                                                         DENHAM SPRINGS    LA      70726
6474378   LOUREIRO*BRANDON                                  Address on File
6480752   Loureiro, Brandon                                 Address on File
6491258   LOVE LARRY MEDIA, INC.                            8 15TH ST.                                                                                                                              EAST HAMPTON      NY      11937
6480801   Love, Katrina                                     Address on File
6477044   LOVE\ANDREW P.                                    120 NW 3RD STREET                                                                                                                       OAK ISLAND        NC      28465
6477096   LOVELACE\GARY                                     P O BOX 711                                                                                                                             CANDLER           NC      28715
6476298   LOVELL\KAREN                                      3400 HARRISBURG STREET                                                                                                                  PIEETSBURGH       PA      15204
6479708   LOVGREN/TREVOR BOBBY                              PO BOX 1014                                                                                                                             ACTON             CA      93510
6481932   Low Dweller Productions, Inc., The                1507 Canterbury Loan                                                                                                                    Berwyn            PA      19312
6475135   LOW DWELLER PRODUCTIONS\THE                       F/S/O BRADLEY INGELSBY                                     149 PATHWAY                                                                  IRVINE            CA      92618
6482835   Low-bow Athletics                                 775 Rockefeller Lane                                                                                                                    Allen             TX      75002
6476415   LOWERY\JEFF                                       16 CUYLER AVENUE                                                                                                                        JEANNETTTE        PA      15644
6478375   LOWE'S                                            3458 ZAFARANO DR                                                                                                                        SANTA FE          NM      87505
6483862   Loyalty Locksmith                                 1220 N. Ogden Dr. #2                                                                                                                    Los Angeles       CA      90046
6474531   LOZITSKY*HAYLEY                                   Address on File
6468358   LOZOYAJUAN                                        46 RIDGE LINE ROAD                                                                                                                      SANTA FE          NM      87505
6484567   LS8, LLC fso Larry Sanders                        c/o Relativity Sports345 N. Maple Dr. #205                                                                                              Beverly Hills     CA      90210
6492812   LSQ FUNDING GROUP, L.C.                           C/O FRIEDMAN PERSONNEL AGENCY                              ATTN: JULIUS YANOFSKY, PRESIDENT/OWNER 9000 SUNSET BLVD., #705               LOS ANGELES       CA      90069
6482119   LSQ Funding Group, LLC                            PO Box 404322                                                                                                                           Atlanta           GA      30384
6484645   Luber Roklin Entertainment, Inc.                  8530 Wilshire Blvd., Suite 550                                                                                                          Beverly Hills     CA      90211
6478782   LUBIAK, DAMIEN                                    861 N. ALTA VISTA BLVD                                                                                                                  LOS ANGELES       CA      90046
6478783   LUBIAK\DAMIEN J                                   861 N. ALTA VISTA BLVD.                                                                                                                 LOS ANGELES       CA      90046
6478923   LUBOLD, CHRISTOPHER                               5710 CRESCENT PARK E #226                                                                                                               PLAYA VISTA       CA      90094
6491496   LUCAS BANKER                                      Address on File
6486246   Lucas Digital Ltd. LLC                            5858 Lucas Valley Road                                                                                                                  Nicasio           CA      94946
6484287   Lucas Evans                                       2030 Paramount Dr                                                                                                                       Los Angeles       CA      90068
6486238   Lucas Holdings II Ltd LLC                         PO Box 10877                                                                                                                            San Rafael        CA      94912
6483692   Lucas Seidman                                     1248 Cahuenga Blvd.                                                                                                                     Los Angeles       CA      90038
6486239   Lucasfilm Ltd dba Skywalker Sound                 PO Box 3000                                                                                                                             San Rafael        CA      94912
6478609   LUCE\MIKE                                         1529 LIBERTY STREET, #1                                                                                                                 LOS ANGELES       CA      90026
6480886   Lucio, Gerardo                                    Address on File
6480969   Lucio, Marc                                       Address on File
6476260   LUCKO\LAURA                                       814 CURRY HOLLOW ROAD                                                                                                                   WEST MIFFLIN      PA      15122
6485668   Lucky 13 Music                                    4346 Matilija Ave. #101                                                                                                                 Sherman Oaks      CA      91423        UNITED
6486478   Lucky Busker Limited                              Ground floor, 9 Heathmans Road                                                                                                          London                    SW6 4TJ      KINGDOM
6485347   Ludovic Bource                                    c/o First Artists Management4764 Park Granada, Suite 210                                                                                Calabasas         CA      91302
6477991   LUFKIN\GEORGE                                     3160 E MAIN ST LOT 48                                                                                                                   MESA              AZ      85213-9526
6482175   Luis Lugo                                         1725 Main St., Suite 211                                                                                                                Westin            FL      33326
6482594   Luis Mendoza                                      c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                       Northbrook        IL      60062
6483620   Luke Barats                                       756 S. Ridgeley Drive #106                                                                                                              Los Angeles       CA      90036
6483621   Luke E. LaBeau                                    318 S. Detroit St. #404                                                                                                                 Los Angeles       CA      90036
6482595   Luke Farrell                                      c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                                      Northbrook        IL      60062
6485669   Luke George Evans, Inc.                           13701 Riverside Dr. #500                                                                                                                Sherman Oaks      CA      91423
6479215   LUKES OF LONDON, INC.                             10207 HILLVIEW AVENUE                                                                                                                   CHATWORTH         CA      91311
6478266   LUMBER INC.                                       P.O. BOX 26777                                                                                                                          ALBUQUERQUE       NM      87125
6476591   LUMBER LIQUIDATORS, INC.                          3402 W. WENDOVER AVE.                                                                                                                   GREENSBORO        NC      27407
6478709   LUMINYS SYSTEMS CORP                              6601 SANTA MONICA BLVD                                                                                                                  HOLLYWOOD         CA      90038
6477346   LUMPKIN, DANIEL SCOTT                             17198 STILLWOOD LANE                                                                                                                    FAIRHOPE          AL      36532
6477270   LUMPKIN\CHRIS                                     555 HAMPTON STREET                                                                                                                      MARIETTA          GA      30064
6477271   LUMPKIN\CHRIS                                     841 NOB RIDGE DR                                                                                                                        MARIETTA          GA      30064
6477349   LUMPKIN\DANIEL SCOTT                              16901 SWEENEY RD                                                                                                                        SUMMERDALE        AL      36580
6474945   LUMPKIN\DANIEL SCOTT                              SCOTT LUMPKIN LLC                                          16901 SWEENEY RD                                                             SUMMERDALE        AL      36580
6477350   LUMPKIN\SCOTT                                     16901 SWEENEY RD                                                                                                                        SUMMERDALE        AL      36580
6479388   LUNCH BOX TRANSPORTATION, LLC.                    13631 SATICOY ST.                                                                                                                       PANORAMA CITY     CA      91402-6301
6468772   LUO YAN                                           SURPIN & MAYERSOHN                                         ATTN: PAUL MAYERSOHN                    1880 CENTURY PARK WEST               LOS ANGELES       CA      90067
6475133   LUPO CENTER FOR AESTHETIC AND                     GENERAL DERMATOLOGY                                        145 ROBERT E LEE BLVD STE 302                                                NEW ORLEANS       LA      70124




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                                                                                                                                 Master Mailing List
                                                                                                                                Served First Class Mail

MMLID     NAME                                                              ADDRESS                                        ADDRESS 2                               ADDRESS 3                      ADDRESS 4              CITY                STATE   POSTAL CODE   COUNTRY
6483863   Lurssen Mastering                                                 7510 Sunset Blvd. #1130                                                                                                                      Los Angeles         CA      90046
6477139   LU'S SPECIALTIES FOODS LLC.                                       68 HOWELL STREET                                                                                                                             WAYNESVILLE         NC      28782
6478322   LUTES\JONATHAN                                                    2030 PLACITAS DE QUEDO                                                                                                                       SANTA FE            NM      87501         UNITED
6479812   LUX ARTISTS LTD                                                   12 STEPHEN MEWS                                                                                                                              LONDON                      W1T 1AH       KINGDOM
6479008   LUX LIGHTING LLC                                                  1167 FISKE ST                                                                                                                                PACIFIC PALISADES   CA      90272
6483693   Luxe dba OPUS Beauty                                              6442 Santa Monica Blvd. #200-B                                                                                                               Los Angeles         CA      90038
6480128   LUXOR CAPITAL PARTNERS, LP                                        1114 AVENUE OF THE AMERICAS #28                                                                                                              NEW YORK            NY      10036-7703
6488548   LYCAN* LACI                                                       C/O MATHIAS CIVIL JUSTICE PLLC                 ATTN: DAMON MATHIAS                     3809 PARRY AVENUE, SUITE 106                          DALLAS              TX      75226
6488547   LYCAN* LACI                                                       C/O MATHIAS CIVIL JUSTICE PLLC                 ATTN: DAMON MATHIAS                     6621 CLEARHAVEN CIRCLE                                DALLAS              TX      75248-4019    UNITED
6486458   Lydia Goldblatt                                                   201A Royal College St.                                                                                                                       London                      NW1 0SG       KINGDOM
6485293   Lyleworks Productions Inc.                                        1324 Irving Ave.                                                                                                                             Glendale            CA      91201
6797114   LYLEWORKS PRODUCTIONS, INC                                        C/O FIRST ARTISTS MANAGEMENT                   4764 PARK GRANADA                       SUITE 210                                             CALABASAS           CA      91302
6476683   LYMBERIS\CHRISTOPHER                                              6307 MANHEIM CT.                                                                                                                             CHARLOTTE           NC      28226
6474598   LYNCH*KENNETH                                                     Address on File
6474454   LYNCH*TYLER                                                       Address on File
6850113   Lynch, Kenneth E                                                  Address on File
6481019   Lynch, Kenny                                                      Address on File
6475898   LYNCH\DAVID                                                       619 DON FELIX                                  UNIT # B                                                                                      SANTA FE            NM      87501
6476796   LYNCH\THOMAS S.                                                   5719 PARK AVENUE                                                                                                                             WILMINGTON          NC      28403
6481434   Lynda Eichner                                                     156 East 37th St. #3B                                                                                                                        New York            NY      10016
6486419   Lyne Lapiana                                                      10 Place Vivaldi                                                                                                                             Laval               QC      H7E 1ME       CANADA
6486417   Lynn Beaudin                                                      2607 rue Centre                                                                                                                              Montreal            QC      H3K 1K2       CANADA
6480913   Lyon, Prudens                                                     Address on File
6477877   LYONS JR\ROBERT ALEXANDER                                         1242 HAMPTON COURT                                                                                                                           SLIDELL             LA      70460
6481457   Lyons, Benenson & Company Inc.                                    777 Third Avenue, 33rd Floor                                                                                                                 New York            NY      10017
6475257   M MALLINGER COMPANY\THE                                           TBC ENTERPRISES LLC                            301 BRUSHTON AVENUE                                                                           PITTSBURGH          PA      15221
6476505   M&M ENGRAVING AND GRAPHICS                                        2116 S. MAIN STREET                                                                                                                          WINSTON-SALEM       NC      27127
6484107   M. Checkowski Unlimited                                           2053 Rome Dr.                                                                                                                                Los Angeles         CA      90065
6491473   M1503B INC                                                        PO BOX 480142                                                                                                                                LOS ANGELES         CA      90048
6485778   M3 Creative                                                       4111 W Alameda Ave #101                                                                                                                      Burbank             CA      91505
6492840   M3 CREATIVE                                                       ATTN: ANDREW MEYERS, PRESIDENT                 4111 WEST ALAMEDA AVE., #101                                                                  BURBANK             CA      91505
6485779   M3 Television                                                     4111 W Alameda Ave                                                                                                                           Burbank             CA      91505
6479365   MA-AMOR STUDIO SERVICES                                           28383 PATRICIA HILL DRIVE                                                                                                                    CANYON COUNTRY      CA      91387
6476428   MAC OUTFITTERS                                                    739 N EASTON RD SUITE 200                                                                                                                    DOYLESTOWN          PA      18902
6477082   MAC PAPERS INC.                                                   130 VISTA BLVD.                                                                                                                              ARDEN               NC      28704
6477308   MAC PAPERS, INC.                                                  PO BOX 5369                                                                                                                                  JACKSONVILLE        FL      32247-5369
6491363   MACBRANDON INDUSTRIES, LLC                                        10018 RIVER ROAD                                                                                                                             ST. ROSE            LA      70087
6479428   MACDONALD, TOMMY L.                                               14110 VALLEY VISTA BLVD                                                                                                                      SHERMAN OAKS        CA      91423
6478846   MACENTHUSIASTS, INC.                                              10600 PICO BLVD.                                                                                                                             LOS ANGELES         CA      90064
6479648   MACFARLANE GROUP                                                  1550 CHAMPAGNE AVE                                                                                                                           ONTARIO             CA      91761
6482701   MacHero                                                           1307 W. Hollywood Ave.                                                                                                                       Chicago             IL      60660
6480087   MACHESTER SECURITIES CORP.                                        40 WEST 57TH STREET                                                                                                                          NEW YORK            NY      10019
6485589   Machine Shop Marketing                                            15260 Ventura Blvd. Suite 200                                                                                                                Sherman Oaks        CA      91403
6474176   MACK*LEISHA                                                       Address on File
6480702   Mack, Leisha N                                                    Address on File
6484833   MacKenzie Shea Lee                                                505 W. Grand Avenue                                                                                                                          El Segundo          CA      90245
6474620   MACMILLAN*MEGAN                                                   Address on File
6480934   MacMillan, Megan Y                                                Address on File
6474709   MACPHEE*MICHAEL                                                   Address on File                                                                                                                                                                        UNITED
6479787   MACPHERSON, ROBERT                                                86A BROOKE ROAD                                                                                                                              LONDON                      H3C 6G2       KINGDOM
6478051   MACPHERSON\HANNAH                                                 1107 1/2 OS TOMASES NW                                                                                                                       ALBUQUERQUE         NM      87102
6480132   MACQUARIE BANK LIMITED                                            ATTN: ARVIND ADMAL, DAVID ANEKSTEIN            125 WEST 55TH STREET, 19TH FL.                                                                NEW YORK            NY      10019
6486780   MACQUARIE US TRADING LLC, AS ADMINISTRATIVE                       AGENT                                          ATTN: ANITA CHIU, ASSOCIATE DIRECTOR   MACQUARIE GROUP LIMITED         125 WEST 55TH STREET   NEW YORK            NY      10019
6491913   MACQUARIE US TRADING LLC, AS AGENT FOR                            MACQUARIE INVESTMENTS US INC.                  C/O MACQUARIE GROUP LIMITED            ATTN: ANITA CHIU, ASSOCIATE     125 WEST 55TH STREET   NEW YORK            NY      10019
6486565   MACQUARIE US TRADING LLC, AS AGENT FOR THE POST-RELEASE LENDERS   C/O CCMS, LLC                                  225 WEST WASHINGTON STREET, 21ST FLOOR                                                        CHICAGO             IL      60606
6486566   MACQUARIE US TRADING LLC, AS AGENT FOR THE PRE-RELEASE LENDERS    125 WEST 55TH STREET                                                                                                                         New York            NY      10019
6486693   Macquarie US Trading, LLC                                         225 West Washington St                         9th Fl                                                                                        Chicago             IL      60606
6480063   MACQUARIES US TRADING LLC                                         AS AGENT                                       125 WEST 55TH STREET                                                                          NEW YORK            NY      10019
6492626   MAD DESIGN PARTNERS, LLC (DBA "MAD CREATIVE")                     ATTN: DAVID PEARSON, MEMBER                    60 BROADWAY, 9L                                                                               BROOKLYN            NY      11211
6479429   MAD4MUSIC                                                         13636 VENTURA BLVD., #409                                                                                                                    SHERMAN OAKS        CA      91423
6476064   MADELOFF, JENNIFER                                                377 BLANKETFLOWER LANE                                                                                                                       WEST WINDSOR        NJ      08550
6476062   MADELOFF\JENNIFER                                                 27 HUBER COURT                                                                                                                               HIGHTSTOWN          NJ      08520
6483777   Madelyn Smith                                                     4017 W. 62nd St.                                                                                                                             Los Angeles         CA      90043
6475987   MADERAS 3C,INC.                                                   BOX 11279                                                                                                                                    SAN JUAN            PR      00922
6482641   MadeULook LLC                                                     1621 Stone Ridge Ln                                                                                                                          Algonquin           IL      60102
6468814   MADHOUSE ENTERTAINMENT                                            ATTN: ROBYN MEISINGER                          10390 SANTA MONICA BLVD.                SUITE 110                                             LOS ANGELES         CA      90025
6475373   MADIMAK PRODUCTIONS, INC.                                         FSO KIMBERLEY EDWARDS                          6520 PLATT AVENUE #504                                                                        WEST HILLS          CA      91307
6476592   MADISON AT ADAMS FARM/THE                                         5202 FOX HUNT DRIVE                                                                                                                          GREENSBORO          NC      27407
6481458   Madison Group Graphics Center, The                                285 Madison Ave. 11th Floor                                                                                                                  New York            NY      10017
6479694   MADISON, DOUGLAS                                                  368 HIGHLAND DR                                                                                                                              OXNARD              CA      93035




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MMLID     NAME                                               ADDRESS                                                               ADDRESS 2                                 ADDRESS 3                     ADDRESS 4             CITY             STATE   POSTAL CODE COUNTRY
6479118   MADSEN, MARILYN J.                                 2942 N. LAKE AVENUE                                                                                                                                                 ALTADENA         CA      91001
6479119   MADSEN\MARILYN                                     2942 NORTH LAKE AVENUE                                                                                                                                              ALTADENA         CA      91001
6491345   MAEDA, CARLOS                                      Address on File
6481832   Magazines from Abe Greenberg Inc                   348 State Route 11PO Box 3603                                                                                                                                       Champlain        NY      12919
6484945   Magdalena O'Carroll                                1380 Rose Ave.                                                                                                                                                      Venice           CA      90291
6479519   MAGED AYAD, M.D.                                   2031 W. ALAMEDA AVE #340                                                                                                                                            BURBANK          CA      91506
6475220   MAGEE\IRENE                                        D/B/A KORNER SHOPPE ANTIQUES                                          230 N RANGE AVE                                                                               DENHAM SPRINGS   LA      70726
6479324   MAGEE\JOSEPH                                       4747 GALENDO ST                                                                                                                                                     WOODLAND HILLS   CA      91364
6475017   MAGES\HEATHER                                      2684 LACY ST                                                          #101                                                                                          LOS ANGELES      CA      91406
6483791   Maggie Thomas                                      7501 W. 90th St                                                                                                                                                     Los Angeles      CA      90045
6489709   MAGIC BULLET RECORDS, LLC                          OBO DARK OPERATIVE PUBLISHING                                         1450 PINE RIDGE RD.                                                                           OCEANSIDE        CA      92056
6479661   MAGIC BULLET RECORDS, LLC.                         1450 PINE RIDGE ROAD                                                                                                                                                OCEANSIDE        CA      92056
6483741   Magic Garden Mastering, Inc.                       3256 Casitas Ave.                                                                                                                                                   Los Angeles      CA      90039
6485809   Magnasync-Moviola Corp. dba Filmtools              1400 W. Burbank Blvd.                                                                                                                                               Burbank          CA      91506
6483954   Magnet LA                                          6363 Wilshire Blvd, Suite 650                                                                                                                                       Los Angeles      CA      90048
6486296   Magnolia Frances Ceria Centeno                     1600 Wilikina Dr. B305                                                                                                                                              Wahiawa          HI      96786
6482337   Magnolia Square Partners LLC                       Southaven Cinema                                                                                                                                                    Collierville     TN      38017
6475134   MAGNUM OPUS INC                                    DBA AFX STUDIO                                                        14734 ARMINTA STREET                                                                          VAN NUYS         CA      91402
6475425   MAGUIRE FAMILY CO                                  C/O MANAGEMENT 360 -E.KRANZLER                                        9111 WILSHIRE BLVD                                                                            BEVERLY HILLS    CA      90210
6475254   MAGUIRE PROPERTIES                                 LANTANA CENTER                                                        3000 OLYPIC BLVD                                                                              SANTA MONICA     CA      90404
6476385   MAHATHEY\JAMES                                     138 WOODHAVEN LANE                                                                                                                                                  PITTSBURGH       PA      15237
6475463   MAHER, CHRISTIAN ROWAN                             1409 N. ALTA VISTA BLVD                                               APT 310                                                                                       LOS ANGELES      CA      90046
6477772   MAHFOUZ\TIMOTHY                                    2812 HIGHWAY 182 E                                                                                                                                                  MORGAN CITY      LA      70380
6476354   MAHLA & CO. ANTIQUES                               1700 SMALLMAN STREET                                                                                                                                                PITTSBURGH       PA      15222
6476386   MAHONEY\TERENCE W                                  159 SEWICKLEY OAKMONT ROAD                                                                                                                                          PITTSBURGH       PA      15237
6491824   MAIL MEDIA, INC.                                   51 ASTOR PLACE 9TH FLOOR                                                                                                                                            NEW YORK         NY      10003
6476547   MAIN STREET HAIR CO                                1534 MAIN STREET                                                                                                                                                    RAMSEUR          NC      27316
6477261   MAIN\CHRIS                                         360 MERKEL ACRES LANE                                                                                                                                               RIDGEVILLE       SC      29472
6478990   MAIN\SHERYL                                        1618 PALM DRIVE                                                                                                                                                     HERMOSA BEACH    CA      90254
6484108   Mainartists Management fso Prisca Wille-Faith      4669 Cleland Ave.                                                                                                                                                   Los Angeles      CA      90065
6492610   MAINARTISTS MANAGEMENT FSO PRISCA WILLE-FAITH      ATTN: PRISCA WILLE-FAITH, OWNER                                       4669 CLELAND AVE.                                                                             LOS ANGELES      CA      90065
6479991   MAINE DEPARTMENT OF LABOR                          COMMISSIONER                                                          P.O. BOX 259                                                                                  AUGUSTA          ME      04332
6479355   MAINL\DOMINIK                                      27635 MOONLIGHT PLACE                                                                                                                                               CASTAIC          CA      91384
6478066   MAIORANO\ANDREW                                    2620 MARBLE AVENUE NW                                                                                                                                               ALBUQUERQUE      NM      87104
6491850   MAJOR LEAGUE GAMING                                3 PARK AVE. , FLOOR 32                                                                                                                                              NEW YORK         NY      10016
6797105   MAJOR LEAGUE GAMING                                INC                                                                   ATTN: MIKE SEPSO                          3 PARK AVENUE                                       NEW YORK         NY      10007
6797104   MAJOR LEAGUE GAMING INC.                           250 HUDSON ST FL 6                                                                                                                                                  NEW YORK         NY      10013
6490385   MAJOR LEAGUE GAMING INC.                           Address on File
6797103   MAJOR LEAGUE GAMING, INC.                          GREG CHISHOLM, CFO                                                    250 HUDSON ST                             6TH FLOOR                                           NEW YORK         NY      10013-1439
6478479   MAJORS\HEATHER                                     3880 VILLA STREET                                                                                                                                                   LOS ALAMOS       NM      87544
6491611   MAKE IT RAIN, LLC DBA NINJA TRACKS                 5762 ANDASOL AVE.                                                                                                                                                   ENCINO           CA      91316
6797107   MAKE IT RAIN,LLC D/B/A NINJA TRACKS                C/O WOLF, RIFKIN, SHAPIRO, SCHULMAN & RABKIN, LLP                     11400 W. OLYMPIC BOULEVARD, 9TH FLOOR                                                         LOS ANGELES      CA      90064
                                                                                                                                   ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492243   MAKER STUDIOS                                      C/O THE WALT DISNEY COMPANY                                           MGR                                       500 S. BUENA VISTA STREET                           BURBANK          CA      91521
6484975   Maker Studios Inc.                                 13428 Maxella Ave. #525                                                                                                                                             Marina Del Rey   CA      90292
6482074   Makeup By Dionne, LLC.                             4619 Idlewood Park                                                                                                                                                  Lithonia         GA      30038
6478323   MAKEUP YOUR MIND, INC.                             1114 NORTH LUNA CIRCLE                                                                                                                                              SANTA FE         NM      87501
6484715   Making a Living Productions, Inc.                  f/s/o Louise Rosnerc/o United Talent Agency9560 Wilshire Blvd., 5th                                                                                                 Beverly Hills    CA      90212
6797091   MAL PRODUCTIONS INC. F/S/O                         MICHAEL A.M. LERNER                                                   C/O INTERNATIONAL CREATIVE                ATTN: NICOLE CLEMENS/HARLEY   10250 CONSTELLATION   LOS ANGELES      CA      90067
6486148   MAL Productions, Inc.                              2424 McKinley Ave.                                                                                                                                                  Visalia          CA      93291
6484222   Malabar Films, Inc (scouting)                      10250 Constellation Blvd.                                                                                                                                           Los Angeles      CA      90067
6484223   Malabar Films, Inc f/s/o Michael Polaire           10250 Constellation Blvd.                                                                                                                                           Los Angeles      CA      90067
6797099   MALAPROP MUSIC (ASCAP)                             MEURER                                                                14625 MAGNOLIA BLVD APT 30                                                                    SHERMAN OAKS     CA      91405-1455
6477786   MALBROUGH\RICKY                                    10114 GREENS LANE                                                                                                                                                   HAMMOND          LA      70403
6478233   MALCOM\MELISSA                                     5803 IRVING NW                                                                                                                                                      ALBUQUERQUE      NM      87114
6475585   MALDONADO\CHRISTIAN                                HC 03 BOX 6218                                                        MAMBICHE                                                                                      HUMACAO          PR      00791
6478270   MALEKO GRIP & RIG                                  PO BOX 27723                                                                                                                                                        ALBUQUERQUE      NM      87125-7723
6478271   MALEKO GRIP & RIGGING                              P.O. BOX 27723                                                                                                                                                      ALBUQUERQUE      NM      87127-7723
6484859   Malibu Foundation for Youth and Families           P.O. Box 6768                                                                                                                                                       Malibu           CA      90264
6475713   MALIBU LOCATIONS                                   29575 PACIFIC COAST HWY                                               STE E                                                                                         MALIBU           CA      90265
6480491   Malkis, Samara                                     Address on File
6479109   MALLOY, BRENNA LUCY                                2962 EDGELEY PLACE                                                                                                                                                  ROSSMOOR         CA      90720
6476733   MALLOY\MATT                                        2037 JACKSON STREET                                                                                                                                                 WILMINGTON       NC      28401
6477988   MALMBORG, JOHN                                     3581 S ALTA VISTA                                                                                                                                                   SALT LAKE CITY   UT      84106
6477926   MALOOF\EDWARD                                      5612 N.W. STREET                                                                                                                                                    EDMOND           OK      73013
6478119   MALOY MOBILE STORAGE                               535 COMANCHE RD., NE                                                                                                                                                ALBUQUERQUE      NM      87107
6481270   Mammoth Advertising LLC                            36 East 20th Street, 7th Floor                                                                                                                                      New York         NY      10003
6492443   MAMMOTH ADVERTISING LLC                            ATTN: ROBERT NUELL                                                    36 EAST 20TH STREET, 7TH FLOOR                                                                NEW YORK         NY      10003
6479208   MAN IN THE BOX VIDEO                               6900 SHOUP AVENUE                                                                                                                                                   WEST HILLS       CA      91307
6478352   MANAGEMENT GROUP\THE                               PO BOX 907                                                                                                                                                          SANTA FE         NM      87504-0907




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MMLID     NAME                                                   ADDRESS                                            ADDRESS 2                              ADDRESS 3                          ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6484072   Manatt, Phelps & Phillips, LLP                         11355 W. Olympic Blvd.Fourth Floor West                                                                                                                Los Angeles       CA      90064
6478849   MANATT-PHELPS-PHILLIPS                                 11355 WEST OLYMPIC BLVD.                                                                                                                               LOS ANGELES       CA      90064-1614
6488523   MANCHESTER LIBRARY COMPANY, LLC                        ATTN: DAVID MILLER                                 40 WEST 57TH STREET                    30TH FLOOR                                                   NEW YORK          NY      10019
6481507   Manchester Library Company, LLC                        Attn: David Miller40 West 57th Street                                                                                                                  New York          NY      10019
6482100   Manchester Orchestra Music, Inc.                       1888 Emery St. NW, Suite 111                                                                                                                           Atlanta           GA      30318
6492590   MANCHESTER SECURITIES CORP                             Address on File
6486568   MANCHESTER SECURITIES CORP.                            40 WEST 57TH ST.                                                                                                                                       NEW YORK          NY      10019
6486569   MANCHESTER SECURITIES CORP.                            712 5TH AVE #36                                                                                                                                        NEW YORK          NY      10019
6479788   MANCINI\FRANCESCA                                      108-100 RUE FRANCOIS                                                                                                                                   VERDUN            QC      H3E 1G2      CANADA
6476367   MANCUSO\LAURI                                          4640 FRIENDSHIP AVE                                                                                                                                    PITTSBURGH        PA      15224
6485819   Mandeville Films, Inc.                                 500 S. Buena Vista St.Animation Building 269                                                                                                           Burbank           CA      91521
6478809   MANDZUKA\MAJA                                          141 S. CLARK DRIVE, #411                                                                                                                               WEST HOLLYWOOD    CA      90048
6480469   Mangialardi, Jeffrey                                   Address on File
6476797   MANGO FURNITURE                                        3405 MARKET STREET                                                                                                                                     WILMINGTON        NC      28403
6475952   MANGUAL\CARLOS                                         PO BOX 1485                                                                                                                                            CANOVANAS         PR      00729
6481474   Manhattan Construction Group                           8 W. 38th St. Suite 805                                                                                                                                New York          NY      10018
6481271   Manhead, LLC fso Christopher Cornell                   58 E. 11th St. 3rd Floor                                                                                                                               New York          NY      10003
6475978   MANJARREZ/BERENICE                                     104 TAFT ST.                                                                                                                                           SAN JUAN          PR      00911
6477298   MANLEY III\EMORY VAN                                   239 CARTER DERMAN RD SE                                                                                                                                EATONTON          GA      31024
6478710   MANN BROTHERS                                          757 NORTH LA BREA                                                                                                                                      HOLLYWOOD         CA      90038
6482496   Mann Theaters Inc                                      900 E 80th St                                                                                                                                          Bloomington       MN      55420
6797095   MANN THEATRES                                          900 East 80th Street                                                                                                                                   Bloomington       MN      55420
6477659   MANN\KISHA                                             5543 PARIS AVE                                                                                                                                         NEW ORLEANS       LA      70122
6480661   Manna, Christine                                       Address on File
6478145   MANNICK\OTIS                                           5700 COPPER AVENUE #33-C                                                                                                                               ALBUQUERQUE       NM      87108
6477197   MANNING\DAVID                                          308 WOODFIELD DR.                                                                                                                                      ASHEVILLE         NC      28803
6477175   MANNINO\SAM                                            20 SPEARS AVE.                                                                                                                                         ASHEVILLE         NC      28801
6483378   Manny Barrios                                          1808 N. Harvard Blvd., # 7                                                                                                                             Los Angeles       CA      90027
6481853   Manor Theatre                                          94 S 13th St                                                                                                                                           Pittsburgh        PA      15203
6476990   MANSFIELD BROS HTG & A/C INC                           4510 LONG BEACH RD. SE                                                                                                                                 SOUTHPORT         NC      28461
6481834   Mansfield Cinema Corporation dba Mansfield Movieplex   5181 Brockway Lane                                                                                                                                     Fayetteville      NY      13066
6485868   Manson Design, Inc.                                    4225 Fair Avenu                                                                                                                                        North Hollywood   CA      91602
6482596   Manuel Banuelos                                        400 Skokie Blvd. Suite 280                                                                                                                             Northbrook        IL      60062
6486272   Manuel Julian Soto                                     8080 Torrente Way                                                                                                                                      Sacramento        CA      95823
6487937   MANY RIVERS PRODUCTIONS, INC.                          C/O VENABLE LLP                                    ATTN: KEITH C. OWENS, ESQ.             2049 CENTURY PARK EAST, SUITE                                LOS ANGELES       CA      90067
6478499   MANZANARES, DANIEL                                     P.O. BOX #459                                                                                                                                          TESUQUE           NM      87574
6478324   MANZANARES\DAVID                                       118 VALLEY DRIVE                                                                                                                                       SANTA FE          NM      87501
6478480   MANZANARES\HERMAN                                      51 ROVER BLVD.                                                                                                                                         LOS ALAMOS        NM      87544
6487921   MAPLE PLAZA, L.P.                                      C/O ALLEN MATKINS LECK GAMBLE MALLORY &            NATSIS LLP                             1900 MAIN STREET, FIFTH FLOOR                                IRVINE            CA      92614-7321
6480000   MAPLE PLAZA, L.P.                                      C/O TISHMAN SPEYER PROPERTIES, L.P.                ATTN: PROPERTY MANAGER                 345 NORTH MAPLE DRIVE, SUITE 201                             BEVERLY HILLS     CA      90210
6482972   Mapthisout, Inc.                                       6893 W. Long Ridge Dr.                                                                                                                                 Herriman          UT      84096
6479441   MAPTHISOUT.COM                                         881 COUNTRY CLUB DRIVE                                                                                                                                 BURBANK           CA      91501
6474983   MAPTHISOUT.COM                                         AKA BRENDA L. CLARK                                881 COUNTRY CLUB DRIVE                                                                              BURBANK           CA      91501
6483622   Mara Capozzi Design, Inc.                              600 S. Curson Ave. #546                                                                                                                                Los Angeles       CA      90036
6480666   Maraldo, Ellen                                         Address on File
6475386   MARASCO\ALEXANDER                                      THE FLAT                                           750 GARLAND AVENUE #609                                                                             LOS ANGELES       CA      90017
6479216   MARATHON COPIER SERVICE, INC.                          9259 ETON AVENUE                                                                                                                                       CHATSWORTH        CA      91311
6485387   Marathon Services                                      9259 Eton Ave                                                                                                                                          Chatsworth        CA      91311
6483526   Marc Ambrose                                           3151 Hutchinson Ave.                                                                                                                                   Los Angeles       CA      90034
6483379   Marc Jackson dba MoonLab Music, LLC                    3950 Los Feliz Blvd. #105                                                                                                                              Los Angeles       CA      90027
6468722   MARC KLEIN                                             C/O JACKOWAY TYERMAN WERTHEIMER AUSTERN            MANDELBAUM MORRIS & KLEIN, PC          ATTN: KARL AUSTEN                  1925 CENTURY PARK EAST,   LOS ANGELES       CA      90067
6468754   MARC KLEIN                                             C/O UNITED TALENT AGENCY                           ATTN: JEREMY BARBER AND KEYA KHAYATIAN 9560 WILSHIRE BLVD.                SUITE 500                 BEVERLY HILLS     CA      90212-2401
6480336   MARC KLEIN/BIRDY NUM NUM PRODUCTIONS                   C/O JACKOWAY TYERMAN WERTHEIMER ET AL.             ATTN: KARL AUSTEN                      1925 CENTURY PARK EAST             22ND FLOOR                LOS ANGELES       CA      90067
6483955   Marc Selwyn Fine Art                                   6222 Wilshire Boulevard Suite 101                                                                                                                      Los Angeles       CA      90048
6483335   Marc V. Jozefowicz                                     1345 Allesandro St.                                                                                                                                    Los Angeles       CA      90026
6484288   Marc William Andreyko                                  6345 Primrose Ave                                                                                                                                      Los Angeles       CA      90068
6478748   MARC\JONATHAN                                          500Y COLLEGE VIEW                                                                                                                                      LOS ANGELES       CA      90041
6474792   MARCANO*GUSTAVO E                                      Address on File
6475503   MARCANO\VICTOR                                         HC 22 BOX 9404                                     BARRIO LIRIOS 4 CALLES                                                                              JUNCOS            PR      00777
6477697   MARCHAND\LEONARD                                       7911 S CLAIBORNE AVE                                                                                                                                   NEW ORLEANS       LA      70125
6481723   Marche Noir Group Inc                                  295 Clinton Ave                                                                                                                                        Brooklyn          NY      11205
6474294   MARCHINA*RYAN                                          Address on File
6483864   Marci Levine                                           2120 Ridgemont Dr.                                                                                                                                     Los Angeles       CA      90046
6485023   Marcie Gold                                            201 Ocean Ave. #P1103                                                                                                                                  Santa Monica      CA      90402
6478120   MARCO STEEL & ALUMINUM INC.                            7100 2ND ST NW                                                                                                                                         ALBUQUERQUE       NM      87107
6476275   MARCONI\DAVID                                          1612 LINCOLN HWY                                                                                                                                       N VERSAILLES      PA      15137
6482463   Marcus Theatres Corporation                            100 E Wisconsin Ave, Ste.2000Attn: Theatre Acct.                                                                                                       Milwaukee         WI      53202
6490014   MARCUS THEATRES CORPORATION                            ATTN: THEATRE ACCT.                                100 E WISCONSIN AVE, STE.2000                                                                       MILWAUKEE         WI      53202
6474401   MARCUS*ANDREW                                          Address on File
6480794   Marcus, Andrew B                                       Address on File




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                                                                                                                      Master Mailing List
                                                                                                                     Served First Class Mail

MMLID     NAME                                             ADDRESS                                              ADDRESS 2                          ADDRESS 3                  ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6483742   Marcussen Mastering LLC                          2605 Ivanhoe Drive                                                                                                             Los Angeles      CA      90039
6485211   Marcy Froehlich                                  3060 El Nido Dr.                                                                                                               Altadena         CA      91001
6480525   Marcyes, Sophia                                  Address on File
6483865   Mardana Montana Mayginnes                        1227 N FAIRFAX AVE                                                                                                             W HOLLYWOOD      CA      90046-5205
6492288   MARDEROSIAN* ARON                                C/O TWELVESIXTY, LLC                                 ATTN: ROBERT MARDEROSIAN           P.O. BOX 6470                          MALIBU           CA      90264
6479751   MARDINE DAVIS ART CCONSULTING                    615 22ND AVE.                                                                                                                  SEATTLE          WA      98122
6477318   MARENGO/DEREK                                    821 NE 144TH ST.                                                                                                               NORTH MIAMI      FL      33161
6484353   Margaret Maldonado Agency                        8436 Melrose Place                                                                                                             West Hollywood   CA      90069
6482167   Margaret Porter Berns                            2450 NE. 135 St. #812                                                                                                          Miami            FL      33181
6477045   MARGARET RUDD & ASSOCIATES INC                   210 COUNTRY CLUB DRIVE                                                                                                         OAK ISLAND       NC      28465
6480538   Margolis, Shayna                                 Address on File
6482930   Margus Hunt                                      1701 Directors Blvd. Suite 370                                                                                                 Austin           TX      78744
6485620   Maria A. Collis                                  7113 Bianca Ave.                                                                                                               Van Nuys         CA      91406
6484766   Maria Angelica Del Toro                          10940 Westwood Blvd                                                                                                            Culver City      CA      90230
6484800   Maria Herrera                                    9696 Culver Blvd. Suite 102                                                                                                    Culver City      CA      90232
6483336   Maria Honrado                                    1525 Griffith Park Blvd. #407                                                                                                  Los Angeles      CA      90026
6482165   Maria I. Salas                                   9021 SW. 62nd Terrace                                                                                                          Miami            FL      33173
6485621   Maria Luisa Mispireta                            6931 Langdon Avenue                                                                                                            Van Nuys         CA      91406
6483337   Maria Schicker                                   1740 Lucretia Avenue                                                                                                           Los Angeles      CA      90026
6481539   Maria Torffield                                  350 East 52nd Street#15H                                                                                                       New York         NY      10022
6485414   Marichu Walker                                   17901 Chase St.                                                                                                                Northridge       CA      91325
6483237   Marie Scampini                                   530 Veteran Ave. # 104A                                                                                                        Los Angeles      CA      90024
6483008   Marie-Jeanne Orona (expenses)                    421 Jefferson Street NE                                                                                                        Albuquerque      NM      87108
6478252   MARIE'S CERAMICS                                 11911 SKYLINE ROAD NE                                                                                                          ALBUQUERQUE      NM      87123
6486058   Marin Hubbell                                    P.O. Box 535                                                                                                                   Wrightwood       CA      92397
6484848   Marina Graphic Center, Inc.                      12901 Cerise Ave.                                                                                                              Hawthorne        CA      90250
6492325   MARINA GRAPHIC CENTER, INC.                      ATTN: EDWARD CHERNOFF, PRESIDENT                     12901 CERISE AVE.                                                         HAWTHORNE        CA      90250
6485670   Marina Gravani                                   4179 Nagle Avenue#8                                                                                                            Sherman Oaks     CA      91423
6475954   MARINE CARGO & SALVAGE CO.                       PO BOX 1432                                                                                                                    CEIBA            PR      00735
6485006   Marine Terrace, LP                               100 Wilshire Blvd. Suite 2050                                                                                                  Santa Monica     CA      90401
6480703   Marino, Kevin                                    Address on File
6479058   MARINO/CHRISTINE                                 618 SAN VICENTE BLVD. #F                                                                                                       SANTA MONICA     CA      90402
6478226   MARIO'S CATERING                                 8100 M-4 WYOMING BLVD.                                                                                                         ALBUQUERQUE      NM      87113
6480310   MARIPOSA COUNTY, CA                              5100 BULLION ST.                                                                                                               MARIPOSA         CA      95338
6485083   Mariposa Lane Music                              2225 BroadwaySuite A                                                                                                           Santa Monica     CA      90404
6481935   Marisa Murphy                                    206 Hunter Lane                                                                                                                North Wales      PA      19454
6468760   MARISSA JO CERAR ('WRITER')                      C/O ICM PARTNERS                                     ATTN: CULLEN CONLEY ('AGENT')      10250 CONSTELLATION BLVD               LOS ANGELES      CA      90067
6483121   Marjorie Chodorov                                417 S. Hill St. #1201                                                                                                          Los Angeles      CA      90013
6484224   Mark Canton                                      2170 Century Park East, Ste. 1006                                                                                              Los Angeles      CA      90067
6471798   MARK CANTON (EXPENSES)                           5670 WILSHIRE BLVD SUITE 450                                                                                                   LOS ANGELES      CA      90036
6483956   Mark D. Cappelletty                              100 South Wetherly Dr. #2                                                                                                      Los Angeles      CA      90048
6486030   Mark Fabiani LLC                                 939 Coast Blvd                                                                                                                 La Jolla         CA      92037
6477792   MARK JENKINS NURSERY                             301 HICKORY STREET                                                                                                             AMITE            LA      70422
6481146   Mark Kamine                                      9 Claridge Court                                                                                                               Montclair        NJ      07042
6481147   Mark Kamine (PC advance/Expenses)                9 Claridge Court                                                                                                               Montclair        NJ      07042
6481148   Mark Karmine                                     9 Claridge Court                                                                                                               Montclair        NJ      07042
6484912   Mark Kubr                                        261 Via Buena Vertusa                                                                                                          Redondo Beach    CA      90277
6491683   MARK LANE                                        Address on File
6797082   MARK LANE                                        927 GUY STREET                                                                                                                 SAN DIEGO        CA      92103
6482597   Mark Melancon                                    c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                              Northbrook       IL      60062
6484982   Mark Phillips                                    8300 Manitoba St. #207                                                                                                         Playa Del Rey    CA      90293
6483238   Mark S. Temple                                   10880 Wilshire Blvd, Ste 2070                                                                                                  Los Angeles      CA      90024
6485559   Mark Soper                                       13459 Debby Street                                                                                                             Van Nuys         CA      91401
6483380   Mark Sovel                                       1971 Rodney Dr. #306                                                                                                           Los Angeles      CA      90027
6481102   Mark Wahlberg Youth Foundation, Inc, The         P.O.Box 610287                                                                                                                 Newton           MA      02461
6481801   Mark Weber dba Mark Weber Advisory Group, LLC    663 Golf Dr.                                                                                                                   Valley Stream    NY      11581
6492639   MARK WEBER DBA MARK WEBER ADVISORY GROUP, LLC    ATTN: MARK WEBER, CEO                                663 GOLF DR.                                                              VALLEY STREAM    NY      11581
6485131   Mark Woollen & Associates LP                     207 Ashland Ave                                                                                                                Santa Monica     CA      90405
6477698   MARKEL LUMBER CO                                 1411 SOUTH RENDON ST                                                                                                           NEW ORLEANS      LA      70125
6491376   MARKET FORCE INFORMATION INC ATTN: CMS AR        P.O. BOX 671156                                                                                                                DALLAS           TX      75267
6492845   MARKETCAST, LLC                                  ATTN: JOHN PIETROLUNGO                               5900 WILSHIRE BLVD., 27TH FLOOR                                           LOS ANGELES      CA      90036
6485284   MarketCast, LLC                                  FILE 14341801 W Olympic Blvd                                                                                                   Pasadena         CA      91199
6491293   MARKETING MATTERS, LLC                           1266 WEST PACES FERRY ROAD NW #677                                                                                             ATLANTA          GA      30327
6480907   Markey, Jason                                    Address on File
6482821   Markham Group LLC The                            1000 W 3rd St                                                                                                                  Little Rock      AR      72201
6492446   MARKMONITOR INC.                                 ATTN: DAVID HAENEL, CORPORATE COUNSEL                391 N. ANCESTOR PLACE, SUITE 150                                          BOISE            ID      83704
6797083   MARKMONITOR, INC.                                ATTN: LEGAL                                          3540 E. Longwing Ln.               Suite 300                              Meridian         ID      83646
6486524   Marks & Clerk                                    Level 9 Cyberport 1, 100 Cyberport Rd.                                                                                         Pok Fu Lam                            Hong Kong
6481981   Marley Station Movies, Inc.                      7900 Ritchie Hwy.                                                                                                              Glen Burnie      MD      21061
6481903   Marlin Leasing Corp                              PO Box 13604                                                                                                                   Philadelphia     PA      19101




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MMLID     NAME                                                     ADDRESS                                        ADDRESS 2                            ADDRESS 3                    ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6470438   MARLIN LEASING, CORP.                                    P.O. BOX 13604                                                                                                               PHILADELPHIA     PA      19101-3604
6491831   MARQUART & SMALL, LLP                                    110 EAST 25TH ST.                                                                                                            NEW YORK         NY      10010
6484569   MarQueis Grey                                            c/o Relativity Sports345 N. Maple Dr. #205                                                                                   Beverly Hills    CA      90210
6477972   MARQUIS, ESTHER                                          6001 SHOALWOOD AVE.                                                                                                          AUSTIN           TX      78757
6486446   Marr Morgan                                              63 Chaplin Crescent                                                                                                          Toronto          ON      M5P 1A2     CANADA
6484137   Marsden Films, Inc.                                      4081 Redwood Ave.                                                                                                            Los Angeles      CA      90066
6477468   MARSE WELDING SUPPLIES                                   PO BOX 323                                                                                                                   METAIRIE         LA      70004-0323
6478146   MARSH\AMY                                                7220 CENTRAL SE                                                                                                              ALBQUUERQUE      NM      87108
6475459   MARSH\AMY                                                7220 CENTRAL, SE                               APT 2154                                                                      ALBUQUERQUE      NM      87108
6475157   MARSH\STEPHEN                                            AKA STEPHEN MARSH MASTERING                    1617 COSMO ST. LOFT # 106                                                     HOLLYWOOD        CA      90028
6481678   Marshall Fine                                            2 Mancuso Dr.                                                                                                                Ossining         NY      10562
6485590   Marshall Mathers                                         15260 Ventura Blvd. #2100                                                                                                    Sherman Oaks     CA      91403
6491275   MARSHALL STRICKLAND                                      Address on File
6478749   MARSICAL\DIEGO                                           1922 CAMPUS RD                                                                                                               LOS ANGELES      CA      90041
6477808   MARSOLAN FEED & SEED STORE INC                           316 E GIBSON ST                                                                                                              COVINGTON        LA      70433
6483866   Marsupial Productions                                    2120 Ridgemont Drive                                                                                                         Los Angeles      CA      90046
6485084   Marta Fischer                                            1317 Princeton St. #1                                                                                                        Santa Monica     CA      90404
6490353   MARTELL SOUND INC                                        C/O STEVEN R PINES CPA                         2001 WILSHIRE BLVD. #250                                                      SANTA MONICA     CA      90403
6482270   Martin Frederiksen dba Poppy Music Productions           1510 Demonbreun St. #1012                                                                                                    Nashville        TN      37203
6477198   MARTIN MONUMENTS                                         104 CHARLOTTE HIGHWAY                                                                                                        ASHEVILLE        NC      28803
6471450   MARTIN SCHAEDLER                                         1855 INDUSTRIAL STREET, APT 714                                                                                              LOS ANGELES      CA      90021
6483208   Martin Schaedler                                         2101 N ALVARADO ST                                                                                                           Los Angeles      CA      90039
6474769   MARTIN*JOHN N                                            Address on File
6474708   Martin, John                                             Address on File
6480543   Martin, John                                             Address on File
6478711   MARTIN\ANTHONY                                           5621 MELROSE AVENUE                                                                                                          LOS ANGELES      CA      90038
6478446   MARTIN\CHRISTOPHER T.                                    19 COUGAR CANYON RD                                                                                                          SANTA FE         NM      87508
6475350   MARTIN\JASON                                             232 LAKE MARINA AVE                            5B                                                                            NEW ORLEANS      LA      70124
6478610   MARTIN\MAGGIE                                            1536 N OCCIDENTAL BLVD.                                                                                                      LA               CA      90026
6476110   MARTINEZ RIVERA\MELVIN                                   HC 45 BOX 10079                                                                                                              CAYEY            PR      10079
6475970   MARTINEZ\NATALIA                                         122 C/ BARCELONA                                                                                                             SAN JUAN         PR      00907
6478351   MARTINIZING DRY CLEANING                                 P.O. BOX 876                                                                                                                 SANTA FE         NM      87504-0876
6480466   Martorana, Arielle                                       Address on File
6478376   MARTY CHERRIX PRODUCTION SERVI                           2501 WEST ZIA ROAD                                                                                                           SANTA FE         NM      87505
6482980   Marty Metcalf, Inc.                                      2646 West 3695 South                                                                                                         Salt Lake City   UT      84119
6484570   Marvin Jones, Jr.                                        345 N. Maple Dr. Suite 205                                                                                                   Beverly Hills    CA      90210
6484571   Marvin Kendricks                                         345 N. Maple Dr., Suite 205                                                                                                  Beverly Hills    CA      90210
6480654   Marvin, Jeffrey                                          Address on File
6486001   Mary Alice Gonzalez                                      1575 Brookside St.                                                                                                           Ontario          CA      91761
6482998   Mary Grace Richardson                                    20505 N. 94th Pl.                                                                                                            Scottsdale       AZ      85255
6483445   Mary Lukasiewicz                                         7011 Fountain Ave.                                                                                                           Los Angeles      CA      90028
6483527   Mary M Koetting                                          8910 David Ave                                                                                                               Los Angeles      CA      90034
6481670   Mary Navarra                                             592 Ramona Avenue                                                                                                            Staten Island    NY      10309
6481141   Mary Peterson                                            574 St. Paul Ave.                                                                                                            Cliffside Park   NJ      07010
6491450   MARYANNIS MUSIC, INC.                                    2384 PANORAMA TERRACE                                                                                                        LOS ANGELES      CA      90039
6479979   MARYLAND DEPARTMENT OF LABOR                             LICENSING AND REGULATION                       500 N. CALVERT STREET, SUITE 401                                              BALTIMORE        MD      21202
6476572   MARY'S ANTIQUES INC.                                     608 HOBBS RD                                                                                                                 GREENSBORO       NC      27403-1070
6471948   MASERGY CLOUD COMUNICATIONS, INC.                        5757 WEST CENTURY BLVD. SUITE 575                                                                                            LOS ANGELES      CA      90045
6492617   MASERGY CLOUD COMUNICATIONS, INC.                        ATTN: SAHAR BAGHAEI, DIRECTOR/FINANCE, UCAAS   5757 WEST CENTURY BLVD., SUITE 575                                            LOS ANGELES      CA      90045
6480405   MASERGY COMMUNICATIONS, INC.                             5757 W. CENTURY BLVD. #575                                                                                                   LOS ANGELES      CA      90045
6474770   MASI*DANIEL                                              Address on File
6477552   MASON\GRADY R                                            854 AVE C                                                                                                                    WESTWEGO         LA      70094
6482917   Mass Relevance, Inc.                                     800 Brazos St. Suite 340                                                                                                     Austin           TX      78701
6491281   MASS SERVICES INC-COMFORT ZONE PORTABLES                 5655 SHIRLEE INDUSTRIAL WAY                                                                                                  ALPHARETTA       GA      30004
6481086   Massachusetts Corporations Division                      One Ashburton Place, Room 1717                                                                                               Boston           MA      02108
6479943   MASSACHUSETTS DEPT. OF LABOR &                           WORK FORCE DEVELOPMENT                         DIRECTOR                             1 ASHBURTON PLACE, RM 2112               BOSTON           MA      02108
6475398   MASSARO\RYAN ANTHONY                                     5757 WILSHIRE BOULEVARD,                       7TH FLOOR                                                                     LOS ANGELES      CA      90036
6476991   MASSENGILL\ALAN                                          4398 FISH FACTORY RD.                                                                                                        OAK ISLAND       NC      28461
6481120   MassMutual Financial Group                               PO Box 1583Retirement Services                                                                                               Hartford         CT      06144
6490730   MASSMUTUAL FINANCIAL GROUP                               RETIREMENT SERVICES                            PO BOX 1583                                                                   HARTFORD         CT      06144
6483694   Masterimage 3D, Inc.                                     5358 Melrose Ave. 4th Floor                                                                                                  Los Angeles      CA      90038
6492824   MASTERIMAGE 3D, INC.                                     ATTN: JENNIFER CHUNG, ACCOUNTING               15260 VENTURA BLVD., SUITE 1220                                               SHERMAN OAKS     CA      91403
6481570   Mastering Palace, Ltd., The                              307 W. 121st St. #1                                                                                                          New York         NY      10027
6486028   Mastermind IP Law P.C.                                   421 A- Santa Marina Court                                                                                                    Escondido        CA      92029
6485328   MasterSource Music Catalog                               28030 Dorothy Drive, Suite 201                                                                                               Agoura Hills     CA      91301
6478190   MASTERTECK AUTOMOTIVE                                    2408 MORNINGSIDE N.E.                                                                                                        ALBUQUERQUE      NM      87110
6476339   MASTRO ICE INC                                           835 HERRON AVENUE                                                                                                            PITTSBURGH       PA      15219
6491844   MATADOR RECORDINGS, LLC                                  304 HUDSON STREET , 7TH FLOOR                                                                                                NEW YORK         NY      10013
6490390   MATADOR RECORDINGS,LLC D/B/A TRUE PANTHER                ATTN: PATRICK AMORY, PRESIDENT                 304 HUDSON STREET, #703                                                       NEW YORK         NY      10013
6479739   MATAELE\STAN                                             55-620 JOSEPH ST                                                                                                             LAIE             HI      96762




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MMLID     NAME                                                        ADDRESS                                              ADDRESS 2                      ADDRESS 3                        ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6475515   MATEO\JESUS                                                 BO. LILIOS DORADO HC-02                              BOX 9802                                                                    JUNCOS              PR      00777
6476355   MATERIAL HANDLING SPECIALTIES                               2210 PENN AVE                                                                                                                    PITTSBURGH          PA      15222
6479536   MATES, INC.                                                 5412 CLEON AVENUE                                                                                                                NORTH HOLLYWOOD     CA      91601
6477375   MATHEWS/DR. JAMES W                                         1401 HARRODSBURG ROAD, STE. B290                                                                                                 LEXINGTON           KY      40504-3746
6474664   MATHEY*SKYLAR                                               Address on File
6480633   Mathey, Skylar                                              Address on File
6483167   Mato Petee Associates, Inc.                                 655 S. Flower St. #348                                                                                                           Los Angeles         CA      90017
6475567   MATOS\ANA                                                   CALLE ACOSTA                                         ESQUINA BETANCES 26                                                         NAGUABO             PR      00718
6486280   Matrix Logic Corporation                                    1380 East AvenueSuite 124-240                                                                                                    Chico               CA      95973
6479690   MATRIX VISUAL SOLUTIONS                                     1748 W BUSINESS CENTER DR                                                                                                        ORANGE              CA      92867
6479463   MATSUOKA\KENT                                               PO BOX 4296                                                                                                                      BURBANK             CA      91503
6482598   Matt Barnes                                                 c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                Northbrook          IL      60062
6484225   Matt Brown, Inc.                                            2000 Avenue of the Stars                                                                                                         Los Angeles         CA      90067
6482599   Matt Den Dekker                                             c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                Northbrook          IL      60062
6483381   Matt Farkash                                                4637 Melbourne Ave. #23                                                                                                          Los Angeles         CA      90027
6483528   Matt Fuller                                                 3346 Canfield Ave. #205                                                                                                          Los Angeles         CA      90034
6486431   Matt Joseph                                                 16 Langtry Place                                                                                                                 Thornhill           ON      L4J 8K8      CANADA
6483623   Matt Lamothe                                                5780 1/2 Lindenhurst Ave.                                                                                                        Los Angeles         CA      90036
6483446   Matt Mazzant                                                1330 N. Orange Drive#309                                                                                                         Los Angeles         CA      90028
6486282   Matt Molgaard                                               846 Chestnut St.                                                                                                                 Yuba City           CA      95991
6483291   Matt Payne                                                  12424 Texas Ave. Apt 7                                                                                                           Los Angeles         CA      90025
6484467   Matt Prisk                                                  P.O. Box 862172                                                                                                                  Los Angeles         CA      90086
6483624   Matt Smith                                                  435 S. Detroit Street Apt 101                                                                                                    Los Angeles         CA      90036
6484226   Matt Sorum                                                  1880 Century Park East #1600                                                                                                     Los Angeles         CA      90067
6481598   Matt Zaller                                                 534 W. 47th Street#4E                                                                                                            New York            NY      10036
6482676   Matter, Inc.                                                200 East Randolph Dr. Suite 6300                                                                                                 Chicago             IL      60601
6480360   MATTHEW ALTMAN                                              C/O AGENCY OF THE PERFORMING ARTS                    ATTN: CHRIS RIDENHOUR          405 SOUTH BEVERLY DRIVE                      BEVERLY HILLS       CA      90212
6480351   MATTHEW ALTMAN                                              C/O PARALLAX TALENT MANAGEMENT                       ATTN: JIM WEDAA                14542 VENTURA BOULEVARD, SUITE               SHERMAN OAKS        CA      91403
6481925   Matthew Bender & Co. dba LexisNexis                         P.O. Box 7247-0178                                                                                                               Philadelphia        PA      19170
6483867   Matthew Brodlie                                             8547 Appian Way                                                                                                                  Los Angeles         CA      90046
6486256   Matthew Byrne dba BUR Promotions                            637 First St                                                                                                                     Santa Rosa          CA      95404
6481392   Matthew Cohen Creative LLC                                  101 Avenue of the Americas, Suite 1201                                                                                           New York            NY      10013
6484895   Matthew Compton                                             17311 Castellammare Dr. #2E                                                                                                      Pacific Palisades   CA      90272
6483761   Matthew Compton                                             1761 College View Place                                                                                                          Los Angeles         CA      90041
6485225   Matthew David Hurwitz                                       148 W. Highland Ave.                                                                                                             Sierra Madre        CA      91024
6485492   Matthew Garelik                                             3198 Medicine Bow Ct.                                                                                                            Thousand Oaks       CA      91362
6484572   Matthew Gasparich                                           9290 Civic Center Drive                                                                                                          Beverly Hills       CA      90210
6481302   Matthew Gelb                                                415 E. 9th St. #4                                                                                                                New York            NY      10009
6483695   Matthew Hamilton                                            6210 Santa Monica Blvd.#A                                                                                                        Los Angeles         CA      90038
6483696   Matthew Johnston                                            1117 N. Orange Dr, 405                                                                                                           Los Angeles         CA      90038
6486092   Matthew Kress                                               31152 Oakmont Place                                                                                                              Laguna Niguel       CA      92677
6485780   Matthew L. Comeione                                         931 N. Kenwood St.                                                                                                               Burbank             CA      91505
6491756   MATTHEW MARSTON                                             Address on File
6483868   Matthew Portenoy                                            733 N. Formosa Ave.                                                                                                              Los Angeles         CA      90046
6484483   Matthew Rolston Photographer, Inc.                          325 N. Maple Dr. #15458                                                                                                          Beverly Hills       CA      90209
6483869   Matthew Tracy Ralston                                       1400 N. Hayworth Ave. #19                                                                                                        Los Angeles         CA      90046
6482369   Matthew W. Kamalsky                                         22500 South Woodland Rd.                                                                                                         Beachwood           OH      44122
6480850   Matthews, Andrew                                            Address on File
6477927   MATTHEWS, WILLIAM                                           2612 E. 5TH PLACE                                                                                                                TULSA               OK      74104
6478413   MATTRESS FIRM\THE                                           3517 ZAFARANO DRIVE                                                                                                              SANTA FE            NM      87507
6491282   MATTYB, LLC                                                 4865 KETTLE RIVER PT                                                                                                             SUWANEE             GA      30024
6480708   Matukewicz, Joseph                                          Address on File
6474497   MATUSKIEWICS*GREGORY                                        Address on File
6480844   Matuskiewics, Gregory D                                     Address on File
6480725   Mauceri, Joseph                                             Address on File
6486293   Maui Film Festival                                          P.O. Box 790669                                                                                                                  Paia                HI      96779
6476610   MAUL, MICHAEL JOYCE                                         1000 LAMP POST LANE                                                                                                              GREENSBORO          NC      27410
6476467   MAURER\JENNIFER                                             91 FOX RUN RD                                                                                                                    NEW CUMBERLAND      WV      26047
6478206   MAURETTE\MARKUS                                             332 NARA VISA                                                                                                                    ALBUQUERQUE         NM      87111
6481788   Maurice Harkless                                            104-20 164 St.                                                                                                                   Jamaica             NY      11433
6481197   Max & Leo Productions dba NY Film Critics National Series   6 Ellsworth Ave.                                                                                                                 Morristown          NJ      07960
6483625   Max Daly                                                    527 N Spaulding Avenue                                                                                                           Los Angeles         CA      90036
6483529   Max Frishberg                                               3328 Oakhurst Avenue, #302                                                                                                       Los Angeles         CA      90034
6482109   Maxim Clavier                                               1405 Bayrose Circle                                                                                                              Atlanta             GA      30344
6475311   MAXIM CRANE WORKS LP                                        #774389                                              4389 SOLUTIONS CENTER                                                       CHICAGO             IL      60677-4003   UNITED
6486491   Maxim Fashion Agents Limited                                Unit 1, 222 Kensal Rd.                                                                                                           London                      W10 5BN      KINGDOM
6481998   Maximilian Orion Evry                                       2880 Cedar Crest Ct.                                                                                                             Woodbridge          VA      22192
6476992   MAXIMUM BUILDING SERVICES, INC                              1525 GRANDIFLORA DRIVE                                                                                                           LELAND              NC      28461
6476458   MAXWELL\GRAYSON                                             15 HAMILTON AVE                                                                                                                  WHEELING            WV      26003
6479433   MAXWELL\GREG                                                4115 WELSEN AVE                                                                                                                  SHERMAN OAKS        CA      91427




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                                                                                                                      Master Mailing List
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MMLID     NAME                                             ADDRESS                                           ADDRESS 2                              ADDRESS 3                     ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6477888   MAY\BILLY                                        1733 PRAIRIE RD CIRCLE                                                                                                             FRANKLIN         LA      70538
6478738   MAYEN\EDUARDO                                    2451 SILVWELAKE BLVD                                                                                                               LOS ANGELES      CA      90039
6484227   Mayer and Associates                             2170 Century Park East, Suite 702                                                                                                  Los Angeles      CA      90067
6477570   MAYNARD\DENNIS                                   1937 BORDEAUX ST                                                                                                                   NEW ORLEANS      LA      70115
6478611   MAZUER\LORI                                      1417 WATERLOO STREET                                                                                                               LOS ANGELES      CA      90026
6797043   MB INVESTMENT MANAGEMENT, LLC                    6111 N River Rd                                                                                                                    Rosemont         IL      60018
6478052   MBR STUDIO EQUIPMENT RENTAL                      801 LOCUST PLACE NE 2154S                                                                                                          ALBUQUERQUE      NM      87102
6479274   MC STUDIO RENTALS                                26893 BOUQUET CANYON                                                                                                               SANTA CLARITA    CA      91350
6478750   MCAUSLAND, REBECCA                               4528 VERDUGO RD                                                                                                                    LOS ANGELES      CA      90065-4932
6472662   MCBEARD MEDIA, INC.                              12180 MILLENNIUM STE 100                                                                                                           PLAYA VISTA      CA      90094
6484801   McBeard Media, Inc.                              12180 Millennium Ste 100                                                                                                           Playa Vista      CA      90094-2951
6480597   McBee, Meredith                                  Address on File
6476160   MCBRIDE\DANIEL                                   1206 BOUNDRY STREET                                                                                                                ALIQUIPPA        PA      15001
6476129   MCBRIDE\STEPHEN                                  770 ST. MARKS AVE. APT 5G                                                                                                          BROOKLYN         NY      11216
6492750   MCBROOM* KENNETH                                 Address on File
6478712   MCCADDENSPACE STUDIO                             1041 N. MCCADDEN PLACE                                                                                                             LOS ANGELES      CA      90038
6485671   McCafferty & Co. Productions                     PO BOX                                                                                                                             Culver City      CA      90231-2836
6473395   MCCAFFERTY & CO. PRODUCTIONS                     PO BOX 2836                                                                                                                        CULVER CITY      CA      90231-2836
6479089   MCCALL, KELLY S.                                 171 PIER AVE #301                                                                                                                  SANTA MONICA     CA      90405
6492234   MCCARTAN* RYAN                                   C/O NANCY KREMER MGMT                             ATTN: NANCY KREMER, PERSONAL MANAGER 4545 MORSE AVE                              STUDIO CITY      CA      91604
6475815   MCCARTHY\JEANNE                                  12340 SANTA MONICA BLVD                           SUITE 233                                                                        LOS ANGELES      CA      90025
6480541   McCarver, Michael                                Address on File
6474789   MCCASKILL*STEPHEN W                              Address on File
6479275   MCCLAIN\WALTER                                   27607 N KEVIN PL                                                                                                                   SANTA CLARITA    CA      91350
6476256   MCCLAREN JR\JOHN                                 1200 RIVER ROAD                                                                                                                    WHITAKER         PA      15120
6474815   MCCLELLAND*COLE ALEXANDER                        Address on File
6475982   MCCLOSKEY\DAVID                                  P.O. BOX 195361                                                                                                                    SAN JUAN         PR      00919-5361
6480571   McClung, Daniel                                  Address on File
6478481   MCCLUSKEY\CRAIG                                  153 CHAMISA STREET                                                                                                                 LOS ALAMOS       NM      87544
6476551   MCCOLLOM, JENNIFER                               104 OAK LANE                                                                                                                       RANDLEMAN        NC      27317
6479228   MCCOMAS\TANIA                                    1624 GLIDER COURT                                                                                                                  THOUSAND OAKS    CA      91320
6487912   MCCOY* MOUSE                                     C/O FREEMAN FREEMAN & SMILEY, LLP                 ATTN: THEODORE B. STOLMAN/CAROL CHOW 1888 CENTURY PARK EAST, SUITE               LOS ANGELES      CA      90067
6475423   MCCREADY\MIKE                                    DBA JUMPIN' CAT MUSIC                             9111 SUNSET BLVD. ATTN: K PALS                                                   LOS ANGELES      CA      90069
6476251   MCCUE\THOMAS                                     1551 BUTLER PLANK RD.                                                                                                              GLENSHAW         PA      15116
6479333   MCCULLOUGH, GREG R.                              22665 CALIFA STREET                                                                                                                WOODLAND HILLS   CA      91367
6474550   MCCURDY*ASHLEY                                   Address on File
6482711   McDermott, Will & Emery, LLP                     P.O. Box 6043                                                                                                                      Chicago          IL      60680
6474551   MCDONOUGH*CANDICE                                Address on File
6477117   MCDOWELL COUNTY PUBLIC SCHOOLS                   334 S. MAIN STREET                                                                                                                 MARION           NC      28752
6475475   MCELROY\NILES                                    3023 4TH ST                                       APT C                                                                            SANTA MONICA     CA      90405
6476705   MCFARLANE, JANELLE                               1508 DOVE TAIL DRIVE                                                                                                               FAYETTEVILLE     NC      28314
6477186   MCGRAYNE\CHRISTOPHER STUART                      PO BOX 872                                                                                                                         ASHEVILLE        NC      28802
6477288   MCHALE\BRENDAN                                   2108 DELANO DRIVE                                                                                                                  ATLANTA          GA      30317
6477561   MCINTYRE\RONEY                                   1041 CASA CALVO ST                                                                                                                 NEW ORLEANS      LA      70114
6477609   MCKEE\SHAWN H                                    802 PINE ST                                                                                                                        NEW ORLEANS      LA      70118
6476268   MCKEESPORT\CITY OF                               500 FIFTH AVE                                                                                                                      MCKEESPORT       PA      15132
6476734   MCKENZIE\MICHAEL SCOTT                           220 CASTLE STREET                                                                                                                  WILMINGTON       NC      28401
6476942   MCKENZIE\VICTORIA                                15890 HWY 210W                                                                                                                     ROCKY POINT      NC      28457
6474456   MCKEON*KEVIN                                     Address on File
6480780   McKeon, Kevin J.                                 Address on File
6475852   MCKINNEY HILL CO.\THE                            16255 VENTURA BL                                  SUITE 625                                                                        ENCINO           CA      91436
6492608   MCKINNON BROADCASTING DBA KUSI-TV                ATTN: JAYNE BEAT, ASSISTANT CONTROLLER            4575 VIEWRIDGE AVE                                                               SAN DIEGO        CA      92123
6468813   MCKUIN FRANKEL WHITEHEAD LLP                     ATTN: JEFF FRANKEL                                141 EL CAMINO DRIVE                    SUITE 100                                 BEVERLY HILLS    CA      90212-2717
6479125   MCLAUGHLIN\WILLIAM                               2547 HERMOSA AVENUE                                                                                                                MONTROSE         CA      91020
6478227   MCMAHAN\MICHAEL                                  8100 M4 #137 WYOMING                                                                                                               ALBUQUERQUE      NM      87113
6476673   MCMANUS, MARK C.                                 4721 ASPEN CT.                                                                                                                     CHARLOTTE        NC      28210
6477421   MCMASTER-CARR                                    P O BOX 7690                                                                                                                       CHICAGO          IL      60680
6482712   McMaster-Carr Supply Company                     PO Box 7690                                                                                                                        Chicago          IL      60680
6487830   MCMOORE MCLESST PUBLISING                        C/O WIXEN MUSIC PUBLISHING, INC.                  ATTN: DALE MELIDOSIAN, GENERAL COUNS & 24025 PARK SORRENTO           SUITE 130   CALABASAS        CA      91302
6480682   McMullen, Sarah                                  Address on File
6479190   MCNABB\GLENN                                     29394 HILLRISE DR                                                                                                                  AGOURA HILLS     CA      91301
6479198   MCNAMERA, NAN J.                                 510 ARCH PLACE                                                                                                                     CALABASAS        CA      91302
6474714   MCNULTY*NIGEL                                    Address on File
6480992   McNulty, Nigel                                   Address on File
6479754   MCPHEE'S ART SERVICES                            20998 NORDY DRIVE NW                                                                                                               POULSBO          WA      98370
6479755   MCPHEE'S ART SERVICES, INC.                      20998 NORDBY DRIVE N.W.                                                                                                            POULSBO          WA      98370
6476324   MCQUILLAN GROUP LLC\THE                          127 ANDERSON STREET SUITE 201                                                                                                      PITTSBURGH       PA      15212
6492720   MCSPARIN, MARK/NEW ERA                           C/O LIST CENTURY CINEMAS, INC.                    PO BOX 378                                                                       CHARLESTON       IL      61920
6797046   MCSPARIN, MARK/NEW ERA                           PO BOX 378                                                                                                                         CHARLESTON       SC      61920
6469762   MDI MARGUTTA DIGITAL INTERNATIONAL SRL           VIA MARGUTTA, 53A                                                                                                                  ROMA                     00187        ITALY




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MMLID     NAME                                                     ADDRESS                                             ADDRESS 2                        ADDRESS 3   ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6486525   MDI Margutta Digital International SRL                   Via Margutta, 53a00187                                                                                       Roma                                   Italy
6475224   ME & THE MCP, INC.                                       C/O AFSG                                            23622 CALABASAS ROAD, STE 101                            CALABASAS          CA      91302
6485348   Me Too Peanut, Inc. dba Schneider Entertainment Agency   22287 Mulholland Hwy. #210                                                                                   Calabasas          CA      91302
6485184   Me3 Productions                                          P.O. Box 2978                                                                                                Los Alamitos       CA      90720
6476347   MEADE PRODUCTS INC                                       335 MEADE STREET                                                                                             PITTSBURGH         PA      15221
6477176   MEADOR\SHANE                                             63 ORA ST.                                                                                                   ASHEVILLE          CA      28801
6483292   Meagan Herrera                                           1255 Grainville Ave. #5                                                                                      Los Angeles        CA      90025
6480651   Meagher, Dennis                                          Address on File
6475018   MEDEIROS\JOHN                                            13052 MOORPARK ST                                   #102                                                     STUDIO CITY        CA      91604
6477123   MEDFORD\JOHN MICHAEL                                     2574 CATAWBA RIVER RD.                                                                                       OLD FORT           NC      28762
6491306   MEDIA BY NUMBERS LLC                                     2255 GLADES RD STE. 221A                                                                                     BOCA RATON         FL      33431
6481971   Media Central                                            11609 Brandy Hall Lane                                                                                       Gaithersburg       MD      20878
6479627   MEDIA DISTRIBUTORS                                       10960 VENTURA BLVD                                                                                           STUDIO CITY        CA      91607
6492671   MEDIA DISTRIBUTORS, INC.                                 ATTN: B. MCBILL                                     845 N. CHURCH COURT                                      ELMHURST           IL      60126
6485913   Media Distrubutors                                       10960 Ventura Blvd.                                                                                          Studio City        CA      91604        UNITED
6475126   MEDIA INSURANCE BROKERS LTD                              7TH FLOOR, PALLADIUM HOUSE                          1-4 ARGYLL STREET                                        LONDON                     W1F 7TA      KINGDOM
6484354   Media Link, LLC                                          8687 Melrose Ave - 8th flr                                                                                   West Hollywood     CA      90069
6482684   Media Process Group                                      1327 W. Washington #103                                                                                      Chicago            IL      60607
6485869   Media Savvy                                              10434 Bloomfield St.                                                                                         Toluca Lake        CA      91602
6484023   Media Services Production Accounting, Inc                520 S. Sepulveda Blvd., Suite 407                                                                            Los Angeles        CA      90049
6476303   MEDIA STOP\THE                                           2250 NOBLESTOWN ROAD                                                                                         PITTSBURGH         PA      15205
6484802   Media Temple Inc                                         8520 National Blvd                                                                                           Culver City        CA      90232
6481508   Mediabistro Holdings LLC                                 825 8th Ave. 29th FL                                                                                         New York           NY      10019
6484803   Mediadefender, INC                                       9046 Lindblade Street                                                                                        Culver City        CA      90232
6483338   MediaHorse                                               3247 Descansa Dr.                                                                                            Los Angeles        CA      90026
6797038   Medianavico LLC                                          3534 Hayden Avenue                                                                                           Culver City        CA      91502-1212
6491604   MEDICAL CLINIC FOR IMMUNIZATION, INC.                    660 WEST BROADWAY STREET                                                                                     GLENDALE           CA      91204
6475624   MEDICAL EMERGENCY AMBULANCE                              TRANSPORT,INC.                                      P.O. BOX 1427                                            SKYLAND            NC      28776
6477952   MEDICAL SUPPLIES & EQUIPMENT C                           6009 RICHMOND AVENUE                                                                                         HOUSTON            TX      77057
6476331   MEDICO CONSULTING                                        5500 NORTHUMBERLAND ST                                                                                       PITTSBURGH         PA      15217
6477177   MEDITERRANEAN RESTAURANT                                 57 COLLEGE STREET                                                                                            ASHEVILLE          NC      28801
6480692   Meehan, Wesley                                           Address on File
6486048   Meeting Services                                         9220 Activity Rd.                                                                                            San Diego          CA      92126
6479537   MEFFORD\MATT                                             5302 CAHUENGA BLVD #202                                                                                      NORTH HOLLYWOOD    CA      91601
6479575   MEGALITH MEDIA, LLC                                      12938 BLOOMFIELD STREET                                                                                      STUDIO CITY        CA      91604
6481679   Megan E. Brophy                                          270 Buttonwood Ave.                                                                                          Cortlandt Manor    NY      10567
6483239   Megan Grossman                                           516 Glenrock Ave. #303                                                                                       Los Angeles        CA      90024
6486326   Megan Kateland Bauer                                     2150 W. 16th Way                                                                                             Eugene             OR      97402
6485478   Megan Macmillan (Expenses)                               1608 Vista Oaks WY                                                                                           Westlake Village   CA      91361
6484073   Megan Moss                                               2526 S. Westgate Ave.                                                                                        Los Angeles        CA      90064
6485933   Megatrax Production Music, Inc.                          7629 Fulton Ave                                                                                              North Hollywood    CA      91605
6485044   Meghan Gieber                                            1122 9th St. #19242 Beverly Blvd.Ste.200                                                                     Santa Monica       CA      90403
6478325   MEHRER\KATHERINE                                         107 MOORE STREET                                                                                             SANTA FE           NM      87501
6477828   MEINERS-MOLINARD\ANNA                                    PO BOX 1494                                                                                                  LACOMBE            LA      70445
6479128   MEJIA\VICTOR                                             21 W HIGHLAND AVE #B                                                                                         SIERRE MADRE       CA      91024
6479255   MEL UNDERWOOD WATER TRUCKS INC                           13201 FOOTHILL BLVD.                                                                                         SYLMAR             CA      91342
6482166   Mela Therapeutics                                        20754 W Dixie Highway                                                                                        Miami              FL      33180
6483626   Melanie Bauer                                            409 S. Cloverdale Avenue#104                                                                                 Los Angeles        CA      90036
6483744   Melanie Ben-shumuel dba Melanie Benz                     3013 Acresite St.                                                                                            Los Angeles        CA      90039
6477527   MELCO STEEL INC                                          109 3RD ST                                                                                                   KENNER             LA      70062
6475521   MELENDEZ SANTIAGO\JOE                                    BARRIO DUQUE                                        BUZON 1938                                               NAGUABO            PR      00718
6478033   MELHORN\DAVID                                            PO BOX 547                                                                                                   SANDIA PARK        NM      87047
6485813   Melissa Pryor                                            716 S. 5th St. #E                                                                                            Burbank            CA      91507
6482323   Melissa Spillman                                         8559 Lewis Rd.                                                                                               Nashville          TN      37221
6485132   Melissa Walsh                                            2102 1/2 6th St.                                                                                             Santa Monica       CA      90405
6478147   MELITO\DAVID                                             408 ALISO DR, NE                                                                                             ALBUQUERQUE        NM      87108
6474718   MELKONIAN*KATHERINE                                      Address on File
6477334   MELLO\ROBERT                                             9408 N MULBERRY ST                                                                                           TAMPA              FL      33612
6479576   MELON CRUSHER INC                                        12142 VIEWCREST RD                                                                                           STUDIO CITY        CA      91604
6474975   MELROSE MAC                                              AKA MELROSE TEC                                     6614 MELROSE AVENUE                                      LOS ANGELES        CA      90038
6478713   MELROSE MAC - HOLLYWOOD                                  6614 MELROSE AVENUE                                                                                          LOS ANGELES        CA      90038
6478714   MELROSE MAC INC.                                         6614 MELROSE AVENUE                                                                                          HOLLYWOOD          CA      90038
6483697   MelroseMAC, Inc.                                         6614 Melrose Ave.                                                                                            Los Angeles        CA      90038
6492638   MELROSEMAC, INC.                                         ATTN: JENNY LIN, CONTROLLER                         6614 MELROSE AVE.                                        LOS ANGELES        CA      90038
6477610   MELTON\JOHN                                              8413 OAK ST                                                                                                  NEW ORLEANS        LA      70118
6477773   MENARD\QUENTIN MATTHEW                                   135 MOFFETT CT                                                                                               MORGAN CITY        LA      70380
6475541   MENDEZ\LOYDA                                             URB. JARDIN DEL ESTE                                CALLE OLIVO C35                                          NAGUABO            PR      00718
6479204   MENDEZ\MANUEL                                            7644 ATRON AVE.                                                                                              WEST HILLS         CA      91304
6485914   Mendocino Farms                                          13103 Ventura Blvd., Ste. 100                                                                                Studio City        CA      91604
6474692   MENDOZA*JAZMIN                                           Address on File




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MMLID     NAME                                                     ADDRESS                                                           ADDRESS 2                          ADDRESS 3            ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6475979   MENDOZA\MARIE J.                                         170 AVE. ARTERIAL HOSTOS B1                                                                                                           SAN JUAN            PR      00918
6480573   Menichino, Gina                                          Address on File
6475108   MENKEN\ALAN                                              C/O J. H. COHN LLP.                                               1212 SIXTH AVE, 14TH FLR                                            NEW YORK CITY       NY      10036
6478191   MEN'S WAREHOUSE                                          6307 MENAUL BLVD. N.E.                                                                                                                ALBUQUERQUE         NM      87110
6478716   MENTO\RICHARD                                            1203 WILCOX AVE. APT #6                                                                                                               LOS ANGELES         CA      90038
6476454   MENTZER, THOMAS C                                        1110 OAKWOOD DR                                                                                                                       COLONIAL HEIGHTS    VA      23834
6482656   Mercedes-Benz Financial Services                         PO Box 5209                                                                                                                           Carol Stream        IL      60197
6484573   Mercedes-Benz of Beverly Hills                           Attn: Bruce Schulman9250 Beverly Blvd.                                                                                                Beverly Hills       CA      90210
6482681   Merchants Credit Guide Co.                               223 W. Jackson Blvd#400                                                                                                               Chicago             IL      60606
6482432   Mercury Promotions & Fulfillment Inc                     Dept 77867                                                                                                                            Detroit             MI      48277
6482319   Mercury Records a div. of UMG Recordings, Inc.           401 Commerce St. Suite 1100                                                                                                           Nashville           TN      37219
6485915   Meredith Zamsky                                          4013 Goodland Place                                                                                                                   Studio City         CA      91604
6477268   MERIDETH\JESSICA                                         510 COVENTRY ROAD #1A                                                                                                                 DECATUR             GA      30030
6481736   Merkaz Stam Religious Articles                           309 Kingston Ave.                                                                                                                     Brooklyn            NY      11213
6492701   MERRILL COMMUNICATIONS, LLC                              ATTN; NICOLE IMHOLTE, CLAIMS ADMINISTRATOR                        ONE MERRILL CIRCLE                                                  ST. PAUL            MN      55108
6482483   Merrill Communications, LLC                              CM-9638                                                                                                                               Saint Paul          MN      55170
6474651   MERRILL*DAVID                                            Address on File
6481024   Merrill, David                                           Address on File
6475795   MERRY MAIDS                                              3201 RANDALL PKWY                                                 SUITE 2                                                             WILMINGTON          NC      28403
6480655   Merry, Wendy                                             Address on File
6478377   MERSEREAU\CAINER                                         1617 CAMINO DEL CANADA                                                                                                                SANTA FE            NM      87505
6486689   MESA Securities, Inc.                                    85 Fifth Ave                                                      6th Fl                                                              New York            NY      10003
6478053   MESA TOWING                                              150 WOODWARD RD SE                                                                                                                    ALBUQUERQUE         NM      87102
6481997   Mesk Travel                                              1307 Dolley Madison Blvd. #203                                                                                                        Mc Lean             VA      22101
6474625   MESMER*ALEXANDRA                                         Address on File
6478575   MESSAM, ANTOINETTE                                       5454 PACKARD ST                                                                                                                       LOS ANGELES         CA      90019
6468810   MET BALL INVESTORS, LLC                                  C/O PLANTED PROJECTS, INC.                                        888 SEVENTH AVENUE                 29TH FLOOR                       NEW YORK            NY      10106
6481599   Met Photo Inc.                                           1500 Broadway Level C2                                                                                                                New York            NY      10036
6475253   METAIRIE PARK COUNTRY                                    DAY SCHOOL                                                        300 PARK RD                                                         METAIRIE            LA      70005
6478414   METAL MOGUL CORPORATION                                  2889 TRADES WEST ROAD                                                                                                                 SANTA FE            NM      87507
6478164   METAL SUPERMARKETS                                       5620-D SAN FRANCISCO RD NE                                                                                                            ALBUQUERQUE         NM      87109
6476172   METALIK\DRAKE W                                          10 CLINTON PARK DRIVE                                                                                                                 CLINTON             PA      15026
6491453   METHODIC DOUBT MUSIC                                     8928 RAYFORD DR.                                                                                                                      LOS ANGELES         CA      90045
6492684   METHODIC DOUBT MUSIC , LLC                               ATTN: EUGENE AHN                                                  8928 RAYFORD DRIVE                                                  LOS ANGELES         CA      90045
6492850   METHODIC DOUBT MUSIC LLC                                 ATTN: DANE SHORT, PRESIDENT                                       6427 WEST 87TH STREET                                               LOS ANGELES         CA      90045
6483793   Methodic Pictures, LLC                                   8928 Rayford Dr                                                                                                                       Los Angeles         CA      90045
6476013   METRO PLUMBING                                           PO BOX 607071 PMB 123                                                                                                                 BAYAMON             PR      00960
6475629   METRO SPECIAL POLICE &                                   SECURITY SERVICES, INC.                                           P.O. BOX 221207                                                     CHARLOTTE           NC      28222
6481962   Metro Technical Services Inc                             8659 Cherry Lane                                                                                                                      Laurel              MD      20707
6482066   Metro Tool & Supply, Inc                                 2695 Industrial Ave.                                                                                                                  Charleston          SC      29405
6476149   METRO WEATHER SERVICE INC                                132 FRANKLIN PLACE #385                                                                                                               WOODMERE            NY      11598
6484574   Metro-Goldwyn-Mayer Pictures, Inc.                       245 N. Beverly Dr.                                                                                                                    Beverly Hills       CA      90210
6797018   METRO-GOLDWYN-MAYER PICTURES, INC.                       ATTN: BUSINESS AFFAIRS                                            245 N. BEVERLY DRIVE                                                BEVERLY HILLS       CA      90210
6797020   METRO-GOLDWYN-MAYER PICTURES, INC.                       ATTN: GENERAL COUNSEL                                             10250 CONSTELLATION BOULEVARD                                       LOS ANGELES         CA      90067
6797022   METRO-GOLDWYN-MAYER PICTURES, INC.                       ATTN: GENERAL COUNSEL                                             245 N. BEVERLY DRIVE                                                BEVERLY HILLS       CA      90210
6479914   Metro-Goldwyn-Mayer Studios Inc.                         Address on File
6484228   Metro-Goldwyn-Mayer, Inc.                                10250 Constellation Blvd                                                                                                              Los Angeles         CA      90067
6485162   Metroplex Theatres, LLC dba Pico Rivera Village Walk     2275 W. 190th St., Suite 201                                                                                                          Torrance            CA      90504
6481509   Metropolitan Cleaning, LLC                               142 W. 57th St.                                                                                                                       New York            NY      10019
6489707   METROPOLITAN CLEANING, LLC                               ATTN: JULIANNE VOLL, VICE PRESIDENT                               142 W. 57TH ST.                                                     NEW YORK            NY      10019
6797011   METROPOLITAN FILMEXPORT                                  29, RUE GALILEE                                                                                                                       PARIS               TX      75116
6481575   Metropolitan Museum of Art                               1000 Fifth Ave.                                                                                                                       New York            NY      10028
6483957   Metropolitan Theatres                                    8727 W. Third St.                                                                                                                     Los Angeles         CA      90048
6491413   METROPOLITAN WEST, INC.                                  11901 SANTA MONICA BLVD. #360                                                                                                         LOS ANGELES         CA      90025
6480134   METZ 2012 DESCENDANTS TRUST                              ATTN: JOHN NELSON, TRUSTEE                                        17 HICKORY SHADOWS DR.                                              SUGARLAND           TX      77479
6480684   Metz, Morrison Cole                                      Address on File
6479756   METZGER, JAMES E                                         1135 W 8TH AVE #3                                                                                                                     ANCHORAGE           AK      99501
6479577   MEYER, CARLA                                             12126 IREDELL ST.                                                                                                                     STUDIO CITY         CA      91604
6491319   MEYER/JONATHON FRANKLIN                                  Address on File
6479276   MEYERS-BALLARD, BRENDA                                   21813 PARVIN DRIVE                                                                                                                    SANTA CLARITA       CA      91350
6481272   Meyerson Associates, Inc.                                200 Park Ave S, Suite 1205                                                                                                            New York            NY      10003
6475285   MG SP, LLC                                               1231 PRYTANIA ST                                                  3RD FLOOR                                                           NEW ORLEANS         LA      70130
6486715   MGM & UA Services Co.                                    245 N Beverly Dr                                                                                                                      Beverly Hills       CA      90210
6484229   MGM Pictures, Inc.                                       10250 Constellation Blvd                                                                                                              Los Angeles         CA      90067
6796981   MGN FILMS,INC                                            2064 BUCKINGHAM PLACE                                                                                                                 GLENDALE            CA      91206
6485007   MHB Productions, Inc.                                    530 Wilshire Blvd. Suite 308                                                                                                          Santa Monica        CA      90401
6468939   MHG TOWER, LLC                                           ATTN: BASCOM HAMPTON                                              BB&T BUILDING, SUITE 1600          1 WEST PACK SQUARE               ASHEVILLE           NC      28801
6482060   MHG Tower, LLC                                           BB&T Building, Suite 16001 West Pack SquareAttn: Bascom Hampton                                                                       Asheville           NC      28801
6477178   MHG-TOWER, LLC                                           ONE WEST PACK SQUARE                                                                                                                  ASHEVILLE           NC      28801
6484896   Mia Ammer                                                684 South Bienveneda Ave.                                                                                                             Pacific Palisades   CA      90272




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                                                                                                                                        Served First Class Mail

MMLID     NAME                                                   ADDRESS                                                          ADDRESS 2                            ADDRESS 3                       ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6482415   MICA Fund 1, LP                                        251 Merrill, Suite 202                                                                                                                            Birmingham         MI      48009
6490337   MICA FUND I, L.P.                                      ATTN: ROBERT STEINBERG                                           1901 AVENUE OF THE STARS, STE 1100                                               LOS ANGELES        CA      90067
6480387   MICA FUND I, LP                                        251 MERRILL SUITE 202                                                                                                                             BURMINGHAM         MI      48009
6480575   Micelli, Alexandra                                     Address on File
6483447   Michael Airington                                      7045 Hawthorn Ave. #307                                                                                                                           Los Angeles        CA      90028
6796958   MICHAEL AIRINGTON                                      C/O VLADIMIR RADOVANOV, ESQ                                      6565 SUNSET BLVD                     #311                                        HOLLYWOOD          CA      90028
6483870   Michael Altieri                                        8537 Ridpath Dr                                                                                                                                   Los Angeles        CA      90046
6485296   Michael Andrews d/b/a Elginox LLC                      1146 N. Central Ave. #280                                                                                                                         Glendale           CA      91202
6486006   Michael Bailey                                         1202 W. 19th Street                                                                                                                               Upland             CA      91784
6483627   Michael Beaumont                                       907 S Spaulding Avenue                                                                                                                            Los Angeles        CA      90036
6485513   Michael Bolkin                                         23220 Cass Avenue                                                                                                                                 Woodland Hills     CA      91364
6481113   Michael Boulerice                                      140B Cass St.                                                                                                                                     Portsmouth         NH      03801
6468915   MICHAEL BROOK                                          C/O FIRST ARTISTS MANAGEMENT                                     ATTN: ROBERT MESSINGER               4764 PARK GRANADA, SUITE 2010               CALABASAS          CA      91302
6485349   Michael Brook                                          c/o First Artists Management4764 Park Granada, Suite 2010Attn:                                                                                    Calabasas          CA      91302
6481123   Michael Buckley                                        35 Lambert Avenue                                                                                                                                 Meriden            CT      06451
6485672   Michael Burke                                          12925 Riverside Dr., 4th Floor                                                                                                                    Sherman Oaks       CA      91423
6486082   Michael Caissie                                        6700 Warner Ave. #10H                                                                                                                             Huntington Beach   CA      92647
6483557   Michael Connolly dba Mad Hatter Entertainment, LLC     1050 S. Crescent Heights Blvd.                                                                                                                    Los Angeles        CA      90035
6484575   Michael Crabtree                                       c/o Relativity Sports345 N. Maple Dr. #205                                                                                                        Beverly Hills      CA      90210
6478867   MICHAEL DELUCA PRODUCTIONS, IN                         2000 AVENUE OF THE STARS                                                                                                                          LOS ANGELES        CA      90067
6483958   Michael Farmer                                         310 S. Almont Dr. #202                                                                                                                            Los Angeles        CA      90048
6478378   MICHAEL FORGIE-BUCCIONI                                46 MOUNTAINTOP-BUCCIONI                                                                                                                           SANTA FE           NM      87505
6484976   Michael Gallagher                                      13902 Fiji Way, #321                                                                                                                              Marina Del Rey     CA      90292
6481671   Michael Geiser                                         412 Wainwright Ave.                                                                                                                               Staten Island      NY      10312
6482047   Michael Guess Jefferson                                549 Wayne Dr.                                                                                                                                     Wilmington         NC      28403
6491641   MICHAEL J. CHRISTODOL                                  Address on File
6481600   Michael J. Linowes, LLC                                1140 Avenue of the Americas9th Floor                                                                                                              New York           NY      10036
6481093   Michael James Ivins                                    12 Albion Place                                                                                                                                   Somerville         MA      02144
6796952   MICHAEL JANSEN                                         DBA THE GREATER GOODS CO.                                        3266 Ingledale Ter                                                               LOS ANGELES        CA      90039-1722   UNITED
6796953   MICHAEL JOHN LISTER                                    6 NEW ZEALAND GARDENS, WING                                                                                                                       LEIGHTON BUZZARD           LU7 OPQ      KINGDOM
6482324   Michael K. Knox                                        7816 Haydenberry Cove                                                                                                                             Nashville          TN      37221
6482600   Michael Kickham                                        c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                 Northbrook         IL      60062
6483772   Michael Lavalle                                        4908 Buchanan Street                                                                                                                              Los Angeles        CA      90042
6478544   MICHAEL LEVINE, INC.                                   920 S MAPLE AVE                                                                                                                                   LOS ANGELES        CA      90015
6484858   Michael Mastrangelo                                    407 11th Street                                                                                                                                   Hermosa Beach      CA      90254
6484289   Michael McGuire                                        2042 N Beachwood Dr #15                                                                                                                           Los Angeles        CA      90068
6476735   MICHAEL MOORE ANTIQUES                                 539 CASTLE STREET                                                                                                                                 WILMINGTON         NC      28401
6482817   Michael P. Arata                                       1100 Poydras St. Suite 2810                                                                                                                       New Orleans        LA      70163
6485085   Michael Patrevito                                      1646 Berkeley St. #3                                                                                                                              Santa Monica       CA      90404
6486044   Michael Romano                                         4040 Porte La Paz#77                                                                                                                              San Diego          CA      92122
6482239   Michael S. Moser dba Cactus Moser                      5463 Pinewood Rd.                                                                                                                                 Franklin           TN      37064
6485560   Michael Schwartz                                       14242 Burbank Blvd. #304                                                                                                                          Van Nuys           CA      91401
6481956   Michael Sheehan Associates, Inc.                       1150 17th St. NW, Suite 604                                                                                                                       Washington         DC      20036
6479199   MICHAEL STERN PRODUCTIONS, LLC                         5510 RUTHWOOD DR                                                                                                                                  CALABASIS          CA      91302
6483096   Michael Tucker                                         3350 Wilshire Blvd. Suite 1225                                                                                                                    Los Angeles        CA      90010
6476390   MICHAEL'S AUTO TRIM                                    3400 LEECHBURG ROAD                                                                                                                               PITTSBURGH         PA      15239
6474954   MICHEL LECLER                                          DBA: COPY COPY LLC                                               3221 25TH ST                                                                     METAIRIE           LA      70002
6477538   MICHEL\DAVID F                                         428 ALLO ST                                                                                                                                       MARRERO            LA      70072
6485641   Michele A Leal dba DesignQuorum                        15500 Erwin St                                                                                                                                    Van Nuys           CA      91411
6483628   Michele Barnwell                                       656 S. Ridgeley Dr. #302                                                                                                                          Los Angeles        CA      90036
6486085   Michele Susan Dorris                                   26160 Laguna St. #119                                                                                                                             Laguna Hills       CA      92656
6481985   Michele Ziegler                                        5701 Chilham Road                                                                                                                                 Baltimore          MD      21209
6484355   Michelle Ceglia                                        906 N KINGS RD APT 5                                                                                                                              W Hollywood        CA      90069-4389
6472396   MICHELLE CEGLIA                                        930 WESTBOURNE DR. #202                                                                                                                           WEST HOLLYWOOD     CA      90069
6483130   Michelle Jonas Designs                                 719 S. Los Angeles, Suite 915                                                                                                                     Los Angeles        CA      90014
6484646   Michelle Leigh Porter (expenses)                       238 N La Peer Drive                                                                                                                               Beverly Hills      CA      90211
6485153   Michelle Martini dba Tini, Inc.                        P.O. Box 7367                                                                                                                                     Santa Monica       CA      90406
6485133   Michelle Rydberg                                       1125 Pico Blvd, Apt. 209                                                                                                                          Santa Monica       CA      90405
6485591   Michelle Swanson dba Mikela Swanson                    4616 Willis Ave. #308                                                                                                                             Sherman Oaks       CA      91403
6492281   MICHIGAN BELL TELEPHONE COMPANY                        C/O AT&T SERVICES, INC.                                          ATTN: KAREN A CAVAGNARO, LEAD        ONE AT&T WAY, ROOM 3A104                    BEDMINSTER         NJ      07921
6479956   MICHIGAN DEPT. OF ENERGY,                              LABOR & ECONOMIC GROWTH                                          611 WEST OTTAWA                      P.O. BOX 30004                              LANSING            MI      48909
6482423   Michigan Theater / Art House Convergence               603 E Liberty St                                                                                                                                  Ann Arbor          MI      48104
6482424   Michigan Theater Foundation                            603 East Liberty St.                                                                                                                              Ann Arbor          MI      48104
6483294   Mickable Doyle Productions, Inc.                       c/o Weiss, Block, Karp & Caskey1640 S. Sepulveda Blvd. #515                                                                                       Los Angeles        CA      90025
6482601   Micker Adolfo Zapata                                   400 Skokie Blvd. Suite 280                                                                                                                        Northbrook         IL      60062
6481081   Mickey Ward                                            132 Upham Street                                                                                                                                  Lowell             MA      01851
6479376   MICR WRITE TECHNOLOGIES, INC.                          28625 PLACERVIEW TRAIL                                                                                                                            SANTA CLARITA      CA      91390
6796957   MICROSOFT CORPORATION                                  ATTN: MARTIN SACCHI, GM                                          ONE MICROSOFT WAY                                                                REDMOND            CA      98052-6399
6796946   MICROSOFT CORPORATION                                  ATTN: MR. BLAIR WESTLAKE & MR. ROSS HONEY                        ONE MICROSOFT WAY                                                                REDMOND            CA      98052
6796947   MICROSOFT CORPORATION                                  ONE MICROSOFT WAY                                                                                                                                 REDMOND            CA      98052




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MMLID     NAME                                               ADDRESS                                                           ADDRESS 2                        ADDRESS 3                ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6491897   MICROSOFT CORPORATION AND MICROSOFT LICENSING      GP, A SUBSIDIARY OF MICROSOFT CORP.                               C/O RIDDELL WILLIAMS P.S.        ATTN: TRAVIS D. DAILEY   1001 FOURTH AVENUE, SUITE SEATTLE           WA      98154
6491378   MICROSOFT CORPORATION DBA MICROSOFT SERVICES       P.O. BOX 844510                                                                                                                                       DALLAS            TX      75284
6483052   Microsoft Licensing, GP                            6100 Neil Rd.                                                                                                                                         Reno              NV      89511
6483053   Microsoft Online, Inc.                             6100 Neil Rd.                                                                                                                                         Reno              NV      89511
6482038   Microspace Communications Corp.                    P.O. Box 60971                                                                                                                                        Charlotte         NC      28260
6481967   MidCap Financial Services, LLC                     7255 Woodmont Avenue, Ste 200                                                                                                                         Bethesda          MD      20814
6483745   Middletown News                                    2110 Moreno Dr.                                                                                                                                       Los Angeles       CA      90039
6796950   MIDDLETOWN NEWS F/S/O ROBERT FISHER                2110 MORENO DR.                                                                                                                                       LOS ANGELES       CA      90039
6482131   Midnight Morning Inc                               36 S. College St. Suite A                                                                                                                             Macclenny         FL      32063
6485781   Midnight Oil Creative                              3800 W. Vanowen St.                                                                                                                                   Burbank           CA      91505
6491678   MIDNIGHT VULTURE PRODUCTIONS, INC.                 12439 MAGNOLIA BLVD. #194                                                                                                                             NORTH HOLLYWOOD   CA      91607
6478918   MIDNITE AIR CORP.                                  DEPT. 8255                                                                                                                                            LOS ANGELES       CA      90084-8255
6484460   Midnite Express                                    Midnite Air CorpDept. 8255                                                                                                                            Los Angeles       CA      90084
6486257   Midstate Cinemas LLC                               917 College Ave                                                                                                                                       Santa Rosa        CA      95404
6475318   MIDTOWN SHOPPING CENTER                            ASSOCIATES, LP                                                    4725 W. VENICE BLVD, 2ND FLOOR                                                      LOS ANGELES       CA      90019
6478535   MIDWAY CAR RENTAL                                  2950 WILSHIRE BLVD.                                                                                                                                   LA                CA      90010
6796951   MIDWAY ENTERPRISES                                 MIDWAY SHOPPING CENTER                                            280 N. RAND ROAD                                                                    LAKE ZURICH       IL      60047
6483097   Midway HFC                                         4751 Wilshire Blvd. Suite 120                                                                                                                         Los Angeles       CA      90010
6483098   Midway Rent A Car, Inc. dba Midway Fleet Leasing   4751 Wilshire Blvd. Suite 120                                                                                                                         Los Angeles       CA      90010
6483099   Midway Rent A Car, Inc. dba Wilshire Limousine     2950 Wilshire Blvd.                                                                                                                                   Los Angeles       CA      90010
6476261   MIFFLIN\BOROUGH WEST                               3000 LEBANON CHURCH RD                                                                                                                                WEST MIFFLIN      PA      15122
6482176   Miguel Cabrera                                     1725 Main St. Suite 211                                                                                                                               Fort Lauderdale   FL      33326
6482602   Miguel Emilio Almonte Pichardo                     c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                                                    Northbrook        IL      60062
6476387   MIHM RENTAL & A PARTY PLACE                        2326 BABCOCK BLVD                                                                                                                                     PITTSBURGH        PA      15237
6484921   Mikael Karlsson                                    19780 Vision Trail                                                                                                                                    Topanga           CA      90290
6479761   MIKALAUSKAS, ARUNAS                                Address on File
6481186   Mike Altino                                        321 Buchanan Blvd                                                                                                                                   Red Bank            NJ      07701
6481114   Mike Boulerice                                     140 Cass St, Unit B                                                                                                                                 Portsmouth          NH      03801
6491390   MIKE FILM & TV                                     2360 CORPORATE CIRCLE, SUITE 400                                                                                                                    HENDERSON           NV      89074
6482236   Mike Griffith                                      205 Tarrington Ct.                                                                                                                                  Brentwood           TN      37027
6483005   Mike Losik                                         7100 W. Grandview Rd. # 2087                                                                                                                        Peoria              AZ      85382
6483530   Mike McCarver                                      3217 Overland Ave.#9110                                                                                                                             Los Angeles         CA      90034
6484356   Mike McCready dba Jumpin' Cat Music                9111Sunset Blvd. Attn: K. Pals                                                                                                                      West Hollywood      CA      90069
6469487   MIKE MCCREADY DBA JUMPIN' CAT MUSIC                ATTN: K. PALS                                                     9111SUNSET BLVD.                                                                  WEST HOLLYWOOD      CA      90069
6492274   MIKE MCCREADY DBA JUMPIN' CAT MUSIC                C/O CGG, LLP                                                      ATTN: KAREN PALS                 9111 SUNSET BLVD.                                LOS ANGELES         CA      90069
6484577   Mike Neal                                          c/o Relativity Sports345 N. Maple Dr. #205                                                                                                          Beverly Hills       CA      90210
6485447   Mike Penberthy                                     27059 Riverbridge Way                                                                                                                               Valencia            CA      91354
6486188   Mike Relm Inc.                                     c/o Bennett Management482 16th Ave.                                                                                                                 San Francisco       CA      94118
6485350   Mike Shipley Productions, Inc.                     c/o Network Producer Mgmt.23679 Calabasas Rd. #385                                                                                                  Calabasas           CA      91302
6484074   Mike Zainer                                        P.O. Box 641038                                                                                                                                     Los Angeles         CA      90064
6491498   MIKEL JOLLET DBA LITTLE TOKYO                      1880 CENTURY PARK EAST, SUITE 1600                                                                                                                  LOS ANGELES         CA      90067
6477774   MIKESKA JR\JAMES LEE                               2411 PECAN ST                                                                                                                                       MORGAN CITY         LA      70380
6479672   MIKI\GEORGE                                        60 ROYAL VICTORIA                                                                                                                                   IRVINE              CA      92606
6486448   Mikkel Zall                                        60 Bathurst St. #814                                                                                                                                Toronto             ON      M5V 2P4    CANADA
6481062   Mikros Image                                       120 Rue Danton                                                                                                                                      Levallois-Perret            92300      France
6482344   Milan Ritz, LLC                                    4871 Shelia Dr.                                                                                                                                     Milan               TN      38358
6480632   Milano, Jon                                        Address on File
6483168   Milbank, Tweed, Hadley & McCloy, LLP               601 South Figueroa St. 30th Floor                                                                                                                   Los Angeles         CA      90017
6478612   MILBOURN, ELIOT C.                                 1525 GRIFFITH PARK BLVD # 201                                                                                                                       LOS ANGELES         CA      90026
6481118   Milbridge Audio-Visual & Theatre, Inc.             P.O. Box 187                                                                                                                                        Milbridge           ME      04658
6474803   MILCHIN*MICHAEL W                                  Address on File
6479387   MILELLA/MICHAEL                                    9647 CEDROS AVE.                                                                                                                                    VAN NUYS            CA      91402
6475667   MILES\RONALD R                                     355 ROUTE 30 LOT 89                                               PO BOX 44                                                                         CLINTON             PA      15026
6481273   Milestone Entertainment Inc.                       140 East 9th Street                                                                                                                                 New York            NY      10003
6478379   MILESTONE INC.                                     1000 CORDOVA PL                                                                                                                                     SANTA FE            NM      87505
6485134   Milestones Incorporated                            2827 Main Street                                                                                                                                    Santa Monica        CA      90405
6477445   MILEY\AMELIA CHEN                                  9 RICHLAND COURT                                                                                                                                    METAIRIE            LA      70001
6481144   Milholi Special Services Corp                      1 Bridge Plaza North, Suite 275                                                                                                                     Fort Lee            NJ      07024
6485008   Milken Institute, The (FasterCures)                1250 Fourth Street, 2nd Floor                                                                                                                       Santa Monica        CA      90401
6482828   Millbridge, LLC                                    Black Rock                         14301 Caliber Dr., Suite 300                                                                                     Oklahoma City       OK      73134
6479763   MILLENIUM ALASKAN HOTEL                            4800 SPENARD ROAD                                                                                                                                   ANCHORAGE           AK      99517
6796945   MILLENNIUM FILMS, INC.                             ATTN: GENERAL COUNSEL                                             6423 WILSHIRE BLVD.                                                               LOS ANGELES         CA      90048
6478380   MILLENNIUM TURQUOISE MINES, IN                     905 EARLY STREET                                                                                                                                    SANTA FE            NM      87505
6481274   Miller Advertising Agency, Inc.                    71 Fifth Avenue                                                                                                                                     New York            NY      10003
6474819   MILLER*JACOB                                       Address on File
6476503   MILLER, BERNICE                                    1404 E. SEDGEFIELD DR.                                                                                                                              WINSTON-SALEM       NC      27107
6480485   Miller, Dawn                                       Address on File
6480556   Miller, Kyle                                       Address on File
6476173   MILLER\JEANEEN L                                   113 FOBES DRIVE                                                                                                                                     CLINTON             PA      15026
6477069   MILLER'S CAMPING                                   33 CAMPGROUND ROAD                                                                                                                                  LAUREL SPRINGS      NC      28644




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MMLID     NAME                                                   ADDRESS                                                          ADDRESS 2                            ADDRESS 3                          ADDRESS 4      CITY                STATE   POSTAL CODE COUNTRY
6475106   MILLS RIVER VOLUNTEER FIRE                             AND RESCUE DEPT.INC.                                             121 SCHOOL HOUSE RD.                                                                   MILLS RIVER         NC      28759
6480474   Mills, McLean                                          Address on File
6479495   MILLS\MICHAEL                                          711 N EVERGREEN ST                                                                                                                                      BURBANK             CA      91505
6475530   MILLS\ONIX                                             URB. RIO BLANCO HEIGHTS                                          CALLE 1 M-21                                                                           NAGUABO             PR      00718
6479090   MILNER/MEGAN                                           2610 23RD ST.                                                                                                                                           SANTA MONICA        CA      90405
6481317   Milo Kleinberg Design Associates, Inc.                 902 Broadway, 17th Floor                                                                                                                                New York            NY      10010        UNITED
6486393   Milton Agency Limited                                  Studio 7, The Hangar, Perserverence Works, Kingsland Rd                                                                                                 London                      E2 8DD       KINGDOM
6475374   MILTON AGENCY,INC.\THE                                 F/S/O B KRETSCHMER                                               6715 HOLLYWOOD BLVD.STE 206                                                            LOS ANGELES         CA      90028
6485192   Milton C Ramsey                                        1448 Abila St                                                                                                                                           Carson              CA      90745
6492754   MINCHEFF*ROGER                                         Address on File
6486012   Mindo Silalahi                                         200 N. Marengo #D                                                                                                                                       Alhambra            CA      91801
6482489   Minneapolis Foundation dba Larry Fitzgerald, The       800 IDS Center, 80 South Eighth St.                                                                                                                     Minneapolis         MN      55402
6479977   MINNESOTA DEPARTMENT OF LABOR AND INDUSTRY             COMMISSIONER                                                     443 LAFAYETTE ROAD N.                                                                  ST. PAUL            MN      55155
6474811   MINOR*KRISTIE A                                        Address on File
6476659   MINT CONDITION OF THE CAROLINAS                        PO BOX 638                                                                                                                                              PINEVILLE           NC      28134
6484075   Mint Sports & Entertainment Group, Inc.                11301 W. Olympic Blvd. Suite 352                                                                                                                        Los Angeles         CA      90064
6482078   Minter & Associates, LLC                               5398 E. Mountain St.                                                                                                                                    Stone Mountain      GA      30083
6481436   Mintz & Gold, LLP                                      600 Third Avenue, 25th Floor                                                                                                                            New York            NY      10016
6486053   Mintz, Levin, Cohn, Ferris, Glovsky                    3580 Carmel Mountain Road, Suite 300                                                                                                                    San Diego           CA      92130
6485205   Minute Drill Prods. fso Alex Tse                       380 Newport Ave.                                                                                                                                        Long Beach          CA      90814
6476142   MINUTE MEN FLEET RADIO DISPATCH CORP                   P.O. BOX 770729                                                                                                                                         WOODSIDE            NY      11377
6476295   MINUTEMAN PRESS                                        1730 EAST CARSON STREET                                                                                                                                 PITTSBURGH          PA      15203
6486696   Miramax Film Corp.                                     1901 Avenue of the Stars                                         Ste 200                                                                                Los Angeles         CA      90067
6796935   MIRAMAX FILM NY, LLC                                   1601 Cloverfield Boulevard Suite 2000                                                                                                                   SANTA MONICA        CA      90404
6475153   MIRAMAX FILMS CORP.                                    161 AVE. OF THE AMERICAS                                         15TH FLOOR                                                                             NEW YORK            NY      10013
6478839   MIRANDA/SHERRI                                         5800 S. CHARITON AVE.                                                                                                                                   LOS ANGELES         CA      90056
6480744   Mirfarsi, Tina                                         Address on File
6486074   Mirion Technologies (GDS) Inc. dba Quantum Products    2652 McGaw Ave.                                                                                                                                         Irvine              CA      92614
6480980   Mirzai, Shea K                                         Address on File
6482512   Mischief Committee, The                                289 Edgeware Rd.                                                                                                                                        Elk Grove Village   IL      60007
6483746   Miserable Beast Music                                  2658 Griffith Park Blvd. #504                                                                                                                           Los Angeles         CA      90039
6483240   Misher Films, Inc.                                     10960 Wilshire Blvd. Suite 1900                                                                                                                         Los Angeles         CA      90024
6475085   MISHER FILMS, INC.                                     ALTMAN, GREENFIELD & SELVAGGI                                    10960 WILSHIRE BLVD, STE 1900                                                          LOS ANGELES         CA      90024
6796928   MISHER FILMS, INC. F/S/O KEVIN MISHER                  9601 WILSHIRE BLVD                                               SUITE500                                                                               BEVERLY HILLS       CA      90210
6482027   Mission Valley Cinema LLC Attn:Doug Cooper             1620 Glenwood Ave.                                                                                                                                      Raleigh             NC      27608
6479954   MISSISSIPPI EMPLOYMENT SECURITY COMMISSION             EXECUTIVE DIRECTOR                                               1235 ECHLON PARKWAY                  P.O. BOX 1699                                     JACKSON             MS      39215-1699
6479942   MISSOURI LABOR AND INDUSTRIAL                          RELATIONS COMMISSION                                             CHAIRMAN                             3315 WEST TRUMAN BLVD, ROOM        P.O. BOX 599   JEFFERSON CITY      MO      65102-0599
6469631   MISTER PANTS, INC. F/S/O BERT ROYAL                    ATTN:TREVOR ASTBRY                                               360 N. CRESCENT DRIVE                                                                  BEVERLY HILLS       CA      90210
6484578   Mister Pants, Inc. f/s/o Bert Royal                    Mister Pants, Inc. f/s/o Bert Royalc/o Paradigm360 N. Crescent                                                                                          Beverly Hills       CA      90210
6477865   MISTRETTA\NICKY                                        2112 3RD ST                                                                                                                                             SLIDELL             LA      70458
6485592   Mitch Schneider Organization, Inc                      c/o GSO Business Management, 15260 Ventura Blvd, Suite 2100                                                                                             Sherman Oaks        CA      91403
6482603   Mitchell Nay                                           c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                       Northbrook          IL      60062
6484076   Mitchell Silberberg & Knupp, LLP                       11377 W. Olympic Blvd.                                                                                                                                  Los Angeles         CA      90064
6481578   Mitchell Travers                                       620 W. 143rd St. #7D                                                                                                                                    New York            NY      10031
6474646   MITCHELL*BRENDAN                                       Address on File
6480489   Mitchell, Brendan                                      Address on File
6476216   MITCHELL\ANITA                                         1307 KIRKPATRICK AVE                                                                                                                                    N BRADDOCK          PA      15104
6476348   MITCHELL\JOHN J                                        524 S TRENTON AVENUE                                                                                                                                    PITTSBURGH          PA      15221
6475849   MITTLEMAN M.D.\STEVEN A.                               9808 VENICE BLVD                                                 SUITE 603                                                                              CULVER CITY         CA      90232
6483383   Mitzvah Films                                          Allison Grossman4341 Kingswell Avenue                                                                                                                   Los Angeles         CA      90027
6483191   Mixtape Music, LTD                                     1654 5th Avenue                                                                                                                                         Los Angeles         CA      90019
6472100   MIXTAPE MUSIC, LTD                                     P.O. BOX 480590                                                                                                                                         LOS ANGELES         CA      90048
6470880   MJR GROUP, LLC                                         41000 WOODWARD AVE. STE. 135 EAST                                                                                                                       BLOOMFIELD HILLS    MI      48304
6492596   MJR GROUP, LLC                                         ATTN: CANDICE MIHALICH, OFFICE MANAGER                           41000 WOODWARD AVE., STE. 135 EAST                                                     BLOOMFIELD HILLS    MI      48304
6484357   MMA                                                    8436 Melrose Place                                                                                                                                      West Hollywood      CA      90069
6488561   MME OURS LLC                                           C/O FRANKFURT KUMIT KLEIN & SELZ, PC                             ATTN: MICHAEL R. WILLIAMS, ESQ.      488 MADISON AVE.                                  NEW YORK            NY      10022
6482129   mmmBlockin Productions, Inc. fso Shannon Bowen         P.O. Box 2347                                                                                                                                           Tifton              GA      31794
6482498   MN Cinema, Inc. dba Brookdale 8 Cinemas                5810 Shingle Creek Parkway                                                                                                                              Minneapolis         MN      55430
6491537   MOB SCENE LLC                                          8447 WILSHIRE BLVD 3RD FLOOR                                                                                                                            BEVERLY HILLS       CA      90211
6475401   MOB SCENE, LLC                                         421 SOUTH BEVERLY DRIVE                                          7TH FLOOR                                                                              BEVERLY HILLS       CA      90212
6796924   MOB SCENE, LLC                                         5750 Wilshire Boulevard                                          Suite 530                                                                              Los Angeles         CA      90036
6492229   MOB SCENE, LLC                                         ATTN: MICHELLE HOLT, CONTROLLER                                  8447 WILSHRIE BLVD.                  3RD FLOOR                                         BEVERLY HILLS       CA      90211
6476888   MOBILE EVENT RESTROOM INC                              1433 STONEHAVEN CT                                                                                                                                      WILMINGTON          NC      28411
6478415   MOBILE GLASS & MIRROR                                  2350 FOX ROAD                                                                                                                                           SANTA FE            NM      87507
6477389   MOBILE MINI INC.                                       P.O. BOX 740773                                                                                                                                         CINCINNATI          OH      45274-0773
6478121   MOBILE MINI, INC.                                      5328 EDITH BOULEVARD NE                                                                                                                                 ALBUQUERQUE         NM      87107
6491480   MOCEAN PICTURES LLC                                    2440 S SEPULVEDA BLVD STE.150                                                                                                                           LOS ANGELES         CA      90064
6492166   MOCEAN PICTURES LLC                                    C/O LEVENE NEALE BENDER YOO & BRILL, LLP                         ATTN: J.P. FRITZ, ESQ.               10250 CONSTELLATION BLVD., SUITE                  LOS ANGELES         CA      90067
6484047   mOcean Pictures, LLC dba C/Major                       2440 S. Sepulveda Blvd. Suite 152                                                                                                                       Los Angeles         CA      90054
6483871   Mocha Kiss Coffee                                      920 N. Formosa AvenueSuite A                                                                                                                            Los Angeles         CA      90046




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                                                                                                                         Master Mailing List
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MMLID     NAME                                              ADDRESS                                               ADDRESS 2                        ADDRESS 3   ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6475601   MOCK & ASSOCIATES, LLC                            10000 CELTIC DR                                       O'CONNOR BLDG SUITE 203                                  BATON ROUGE       LA      70809
6481475   Model Service, LLC dba MSA Models                 570 7th Ave. Suite 1000                                                                                        New York          NY      10018
6478640   MODERN MUSIC                                      7080 HOLLYWOOD BLVD # 600                                                                                      HOLLYWOOD         CA      90028
6478641   MODERN MUSIC                                      7080 HOLLYWOOD BLVD # 600                                                                                      LOS ANGELES       CA      90028
6474977   MODERN MUSIC                                      AKA TODD-SOUNDELUX, LLC.                              7080 HOLLYWOOD BLVD # 600                                HOLLYWOOD         CA      90028
6478552   MODERN PROPS, INC.                                972 GRISWOLD AVE                                                                                               SAN FERNANDO      CA      91340-1454
6485744   Modern VideoFilm, Inc.                            2300 W. Empire Ave. Suite 200                                                                                  Burbank           CA      91504
6477809   MODERN WOMEN FASHION, LLC                         236 N COLUMBIA ST                                                                                              COVINGTON         LA      70433
6478739   MODERNICA INC.                                    2805 GILROY ST,                                                                                                LA                CA      90039
6477426   MODSPACE                                          12603 COLLECTIONS CENTER DR                                                                                    CHICAGO           IL      60693
6476434   MODULAR SPACE CORPORATION                         1200 SWEDESFORD ROAD                                                                                           BERYWN            PA      19312
6475971   MOGIL ECHANDI\INES                                1362 CALLE ETSRELLA                                                                                            SAN JUAN          PR      00907
6481631   Moishes Moving Systems                            PO Box 28721                                                                                                   New York          NY      10087
6483629   Mojo LLC                                          5750 Wilshire Blvd                                                                                             Los Angeles       CA      90036
6485493   MOKU iMedia                                       3625 E. Thousand Oaks Blvd. Suite 202                                                                          Thousand Oaks     CA      91362
6476708   MOLDSTOPPERS, LLC.                                P.O. BOX 2268                                                                                                  SOUTHERN PINES    NC      28388
6479647   MOLINA, JOHNNY                                    137 W OAKMONT DR                                                                                               MONTERELLO        CA      90640-2651
6475499   MOLINA\ANGEL                                      URB. BRISAS DEL VALLE CALLE 3                         B10                                                      NAGUABO           PR      00773       UNITED
6486494   Molinare TV & Film, Ltd.                          34 Fouberts Place                                                                                              London                    W1F 7PX     KINGDOM
6479217   MOLINARI\ANTHONY                                  9217 JOHNELL ROAD                                                                                              CHATSWORTH        CA      91311
6482999   Mollen Immunization Clinics II, LLC               8324 East Hartford Drive                                                                                       Scottsdale        AZ      85255
6481657   Molly Sims Productions, Inc.                      c/o Lebenthal Family Office230 Park Ave. 32nd Floor                                                            New York          NY      10169
6474078   MOLSON*JOHN                                       Address on File
6484804   Momentum Films                                    3557 Helms Ave                                                                                                 Culver City       CA      90232
6796916   Momentum Pictures                                 134 Peter Street                                                                                               Toronto           ON      M5V 2H2      CANADA
6481613   Mommy Poppins                                     145 Nassau St. 2D                                                                                              New York          NY      10038
6484138   MomsLA                                            3930 Keeshen Dr.                                                                                               Los Angeles       CA      90066
6479129   MONAGHAN\HELEN                                    195 SANTA ANITA COURT                                                                                          SIERRA MADRE      CA      91024
6482271   Monarch Publicity                                 600 12th Ave. Suite 1408                                                                                       Nashville         TN      37203
6482921   Mondo Tees                                        1120 S. Lamar                                                                                                  Austin            TX      78704
6483295   Money and Pain Productions Inc.                   12424 Wilshire Blvd #1150                                                                                      Los Angeles       CA      90025
6490713   MONEY GO GETTA ENTERTAINMENT                      C/O DONYEL JACKSON                                    P.O. BOX 56264                                           NEW ORLEANS       LA      70156
6475972   MONGIL/INES                                       1362 CALLE ESTRELLA                                                                                            SAN JUAN          PR      00907
6485593   Monique Schenk Architect, In.c                    4156 Crisp Canyon Road                                                                                         Sherman Oaks      CA      91403
6484579   Monkey Brothers Inc.                              c/o Lucy Stille360 North Crescent Drive                                                                        Beverly Hills     CA      90210
6490454   MONKEY DEUX, INC.                                 ATTN: ALAN GRISWOLD, PRESIDENT/CEO                    4601 WILSHIRE BLVD., SUITE 250                           LOS ANGELES       CA      90010
6481510   Monkeyhouse Media, Inc.                           100 West 57th St #20E                                                                                          New York          NY      10019
6485870   Monkeyhouse Media, Inc.                           10609 Bloomfield StreetUnit 302                                                                                North Hollywood   CA      91602
6476233   MONONGAHELA CEMETERY CO                           1111 FOURTH STREET                                                                                             NORTH BRADDOCK    PA      15104-2145
6490309   MONOTONE MUSIC PUBLISHING, LLC                    C/O DAVID WEISE AND ASSOCIATES, INC.                  16000 VENTURA BLVD. #600                                 ENCINO            CA      91436
6480493   Monroe, Kevin                                     Address on File
6478891   MONROE\ROBERT CASEY                               8550 FRANKLIN AVENUE                                                                                           LOS ANGELES       CA      90069
6491825   MONSCAR, INC F/S/O OSCAR ISAAC                    200 PARK AVENUE SOUTH 8TH FLOOR                                                                                NEW YORK          NY      10003
6475892   MONSERRATE\MONICA                                 #145 AVE.HOSTOS MONTESUR                              TH G-508                                                 SAN JUAN          PR      00918
6484429   Monster Worldwide                                 File 70104                                                                                                     Los Angeles       CA      90074
6486084   Montage Laguna Beach                              30801 South Coast Hwy.                                                                                         Laguna Beach      CA      92651
6491552   MONTAGE MUSIC LLC                                 20485 ROCA CHICA DRIVE                                                                                         MALIBU            CA      90265
6483872   Montage Photographic, Inc.                        1011 N Fuller Avenue Suite F                                                                                   Los Angeles       CA      90046
6475936   MONTANEZ\JOE WILFREDO                             P.O. BOX 3687                                                                                                  VEGA ALTA         PR      00692
6474282   MONTANTE*CHARLENE                                 Address on File
6480745   Montante, Charlene B.                             Address on File
6482957   Monte Vista Hospitality, LLC                      2830 US Hwy 160 W                                                                                              Monte Vista       CO      81144
6480264   MONTGOMERY COUNTY TREASURER                       451 W 3RD ST.                                                                                                  DAYTON            NY      45422
6480802   Monti, Christian                                  Address on File
6479031   MONTIEL\CECILIA                                   756 INDIANA AVENUE                                                                                             VENICE            CA      90291
6477210   MONTOYA\CAMILLE                                   215 NEW STOCK RD.                                                                                              ASHEVILLE         NC      28804
6478122   MONTOYA\CHARLES C.                                5911 4TH ST NW                                                                                                 ALBUQUERQUE       NM      87107
6478463   MONTOYA\RICKY J.                                  520 SOUTH RIVERSIDE                                                                                            ESPANOLA          NM      87532
6491753   MONTREAL STARS MUSIC, INC.                        5037 MENTANA                                                                                                   MONTREAL          QC      H2J 3C2      CANADA
6476410   MONZO JR\THOMAS V                                 109 RED OAK DRIVE                                                                                              HARRISON CITY     PA      15636
6492716   MOO CREATIVE MEDIA, INC.                          C/O ALICE KELLY, CFO                                  P.O. BOX 90322                                           NASHVILLE         TN      37209-0322
6482297   Moo Creative Media, Inc.                          c/o Alice KellyP.O. Box 90322                                                                                  Nashville         TN      37209
6482244   Moon and Musky Music                              PO Box 681633                                                                                                  Franklin          TN      37068
6475655   MOON RUN VOLUNTEER FIRE DEPT                      5624 STEUBENVILLE PIKE                                PO BOX 15502                                             PITTSBURGH        PA      15244
6483296   Mooncalf Productions, Inc.                        12121 Wilshire Blvd. Suite 207                                                                                 Los Angeles       CA      90025
6481051   Moonlighting Films Ltd.                           337 Lower Main RoadObservatory, 7925                                                                           Cape Town                 8000         South Africa
6477611   MOONSHINE NETTIE                                  8313 OAK ST                                                                                                    NEW ORLEANS       LA      70118
6480531   Mooradian, Stacey                                 Address on File
6476993   MOORE STREET MARKET                               130 EAST MOORE STREET                                                                                          SOUTHPORT         NC      28461
6474334   MOORE*TARA                                        Address on File




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                                                                                                                    Master Mailing List
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MMLID     NAME                                                ADDRESS                                        ADDRESS 2                       ADDRESS 3                      ADDRESS 4            CITY                STATE   POSTAL CODE COUNTRY
6480521   Moore, Michele                                      Address on File
6478957   MOORE, NICK R.                                      9465 WHILSHIRE BLVD.                                                                                                               LOS ANGELES         CA      90212
6480618   Moore, Tara E                                       Address on File
6477716   MOORE\DANIEL                                        2336 LAUREL ST                                                                                                                     NEW ORLEANS         LA      70130
6478892   MOORE\JAMES                                         8575 HOLLOWAY DRIVE                                                                                                                NORTH HOLLYWOOD     CA      90069
6475597   MOORE\RANDY                                         1704-B LLANO ST                                NO. 340                                                                             SANTA FE            NM      87505
6478381   MOORE\RANDY                                         1704-B LLANO ST                                                                                                                    SANTA FE            NM      87505
6478035   MOQUINO\DENNIS                                      135 CAPITOL SQUARE DR                                                                                                              ZIA PUEBLO          NM      87053
6491310   MORAINE RECORDS, LLC                                P.O. BOX 1442                                                                                                                      FRANKLIN            TN      37065
6482077   Morale Entertainment Foundation                     2280 Old Orchard Dr.                                                                                                               Marietta            GA      30068
6475245   MORAN\TOMMY                                         D/B/A CLAYTON MOTORSPORTS, LLC                 284 E HOWZE BEACH RD                                                                SLIDELL             LA      70461
6478023   MORAVEC\CEE                                         P.O. BOX 538                                                                                                                       CERRILLOS           NM      87010
6482990   More Fancy LLC                                      18250 N. 32nd StreetUnit 1076                                                                                                      Phoenix             AZ      85032
6477924   MORE THAN TRANSPORTATION INC.                       2646 RIVER ROCK CIRCLE                                                                                                             FAYETTEVILLE        AR      72703
6480519   Moreno, Sasha                                       Address on File
6475729   MORGAN CREEK PRODUCTIONS INC.                       10351 SANTA MONICA BOULEVARD,                  SUITE # 200                                                                         LOS ANGELES         CA      90025
6483959   Morgan Russo                                        8391 Beverly Blvd. #426                                                                                                            Los Angeles         CA      90048
6477152   MORGAN SEPTIC & PUMPING                             P.O. BOX 32                                                                                                                        WEBSTER             NC      28788
6474283   MORGAN*CHRIS                                        Address on File
6480746   Morgan, Christopher                                 Address on File
6481912   Morgan, Lewis & Bockius, LLP                        1701 Market St.                                                                                                                    Philadelphia        PA      19103
6477571   MORGAN\ANNE                                         3110 MAGAZINE ST # 338                                                                                                             NEW ORLEANS         LA      70115
6476052   MORGAN\CLARISS                                      264 CHURCH STREET                                                                                                                  WOODBRIDGE          NJ      07095
6475917   MORGAN\KATHERINE R.                                 232 IRVINE STREET                              UNIT# 1                                                                             SANTA FE            NM      87501
6480527   Morkus, Melissa                                     Address on File
6478148   MORNINGSIDE ANTIQUES                                4001 CENTRAL AVE NE                                                                                                                ALBUQUERQUE         NM      87108
6491374   MOROCH PARTNERS LP                                  3625 N. HALL ST. #1100                                                                                                             DALLAS              TX      75219
6480747   Morris Garcia, Natalia                              Address on File
6481939   Morris James, LLP                                   P.O. Box 2306                                                                                                                      Wilmington          DE      19899
6483169   Morris Polich & Purdy LLP                           1055 West Seventh St., 24th Floor                                                                                                  Los Angeles         CA      90017
6468759   MORRIS YORN BARNES LEVINE KRINTZMAN                 RUBENSTEIN KOHNER & GELLMAN                    ATTN: GREG GELLMAN, ESQ.        2000 AVENUE OF THE STARS       THIRD FLOOR, NORTH   LOS ANGELES         CA      90067
6480891   Morris, Katrina                                     Address on File
6481940   Morris, Nichols, Arsht & Tunnell, LLP               1201 North Market St.                                                                                                              Wilmington          DE      19899
6475628   MORRIS/PAUL A                                       MORRIS AERIAL CONSULTANTS                      P.O. BOX 1915                                                                       KEALAKEKUA          HI      96750-1915
6479310   MORRIS\JOHN J.                                      4986 PALO DRIVE                                                                                                                    TARZANA             CA      91356
6479604   MORRIS\STACEY                                       7855 FULTON AVE                                                                                                                    NORTH HOLLYWOOD     CA      91605
6477248   MORRIS\THOMAS                                       59 WARREN STREET                                                                                                                   CHARLSTON           SC      29403
6476391   MORRISON\JON                                        2012 WORCHESTER DRIVE                                                                                                              PITTSBURGH          PA      15243
6469203   MORTEN ABEL                                         REKTOR ERICHSENS GT                            34,4022 STAVANGER                                                                   STAVANGER                   4022         NORWAY
6481046   Morten Abel                                         Rektor Erichsens GT34                                                                                                              Stavanger                   4022         Norway
6474823   MORTON*KIMBERLY                                     Address on File
6480676   Morton, Kelly                                       Address on File
6484358   Mosaic Media Group                                  9200 Sunset Blvd. 10th flr                                                                                                         West Hollywood      CA      90069
6488549   MOSBY* JEANNE                                       C/O MATHIAS CIVIL JUSTICE PLLC                 ATTN: DAMON MATHIAS             3809 PARRY AVENUE, SUITE 106                        DALLAS              TX      75226
6488550   MOSBY* JEANNE                                       C/O MATHIAS CIVIL JUSTICE PLLC                 ATTN: DAMON MATHIAS             6621 CLEARHAVEN CIRCLE                              DALLAS              TX      75248-4019
6484580   Moscatel & Associates                               8306 Wilshire Blvd. Suite 773                                                                                                      Beverly Hills       CA      90210
6474552   MOSER*CARA                                          Address on File
6479236   MOSER\TED                                           8400 RESEDA BLVD                                                                                                                   NORTHRIDGE          CA      91324
6480613   Mosher, Robert                                      Address on File
6481899   Moshi Moshi Productions, LLC                        523 Berwyn Rd.                                                                                                                     Morrisville         PA      19067
6480534   Moskowitz, Ariela                                   Address on File
6480473   Mosley, Cary                                        Address on File
6477056   MOSLEY\TED                                          2169 FISHER DRIVE                                                                                                                  WINNABOW            NC      28479
6483034   MOSO Enterprises fso Momir Stojnovic                4525 Dean Martin Dr. 1505                                                                                                          Las Vegas           NV      89103
6484946   Moss Landing                                        563 Westminister AvenueSuite 3                                                                                                     Venice              CA      90291
6796915   MOSS LANDING                                        583 WESTMINSTER AVENUE                         SUITE 3                                                                             VENICE              CA      90291
6492843   MOSS LANDING, LLC                                   Address on File
6478464   MOTEL 6                                             811 S. RIVERSIDE                                                                                                                   ESPANOLA            NM      87532
6796887   MOTHERSHIP FILMS, INC.                              609 GREENWICH STREET                           6TH FLOOR                                                                           NEW YORK            NY      10014
6486526   Mothership Films, Inc.                              City National Bank                             400 Park Avenue, 7th Floor                                                          New York            NY      10022
6484897   Motion Maven, Inc.                                  15332 Antioch St. #217                                                                                                             Pacific Palisades   CA      90272
6484231   Motion Media Services, LLC                          1901 Avenue of the Stars, Suite 840                                                                                                Los Angeles         CA      90067
6475512   MOTION PIC. ASSOC. OF AMERICA                       15301 VENTURA BLVD,                            BLDG E                                                                              SHERMAN OAKS        CA      91403
6484039   Motion Picture & TV Fund Foundation                 PO Box 51150                                                                                                                       Los Angeles         CA      90051
6475149   MOTION PICTURE ASSOCIATION                          15301 VENTURA BLVD, BLDG E                     15301 VENTURA BLVD BLDG E                                                           SHERMAN OAKS        CA      91403
6485594   Motion Picture Association of America Inc           15301 Ventura Blvd, Building E                                                                                                     Sherman Oaks        CA      91403
6481666   Motion Picture Club Foundation The                  PO Box 970                                                                                                                         New York            NY      10185
6475128   MOTION PICTURE COMPLIANCE                           SOLUTIONS, INC.                                14002 BALBOA BLVD                                                                   SYLMAR              CA      91342
6479496   MOTION PICTURE COSTUME CO.                          3811 VALHALLA DR                                                                                                                   BURBANK             CA      91505
6479497   MOTION PICTURE COSTUME CO.                          3811 W. VALHALLA DRIVE                                                                                                             BURBANK             CA      91505




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MMLID     NAME                                               ADDRESS                                        ADDRESS 2                                  ADDRESS 3                      ADDRESS 4                   CITY             STATE   POSTAL CODE COUNTRY
6481683   Motion Picture Enterprises, Inc                    PO Box 276                                                                                                                                           Tarrytown        NY      10591
6479218   MOTION PICTURE GLASS                               9607 CANOGA AVENUE                                                                                                                                   CHATSWORTH       CA      91311

6479866   MOTION PICTURE INDUSTRY                            PENSION & HEALTH PLANS                         ATTN: LEGAL DEPT.                          PO BOX 1999                                                STUDIO CITY      CA      91614-0999
6479635   MOTION PICTURE INDUSTRY HEALTH PLANS               P O BOX 1999                                                                                                                                         STUDIO CITY      CA      91614-0999
6485976   Motion Picture Industry Pen&Health Plan            PO Box 1999                                                                                                                                          Studio City      CA      91614
                                                                                                                                                       ATTN: JOSEPH A. KOHANSKI AND
6487820   MOTION PICTURE INDUSTRY PENSION AND                HEALTH PLANS                                   C/O BUSH GOTTLEIB ALC                      DAVIED E. ADHOOT               500 N. CENTRAL AVE., STE. 800 GLENDALE       CA      91203
                                                                                                                                                       ATTN: JOSEPH A. KOHANSKI AND
6487679   MOTION PICTURE INDUSTRY PENSION AND                HEALTH PLANS                                   C/O BUSH GOTTLEIB ALC                      DAVIED E. ADHOOT               801 N BRAND BLVD STE 950    GLENDALE         CA      91203-1260
6796877   MOTION PICTURE INDUSTRY PENSION AND HEALTH PLANS   ATTN: GENERAL COUNSEL                          PO BOX 1999                                                                                           STUDIO CITY      CA      91614-0999
6479498   MOTION PICTURE MAGIC                               3605 W. PACIFIC AVENUE                                                                                                                               BURBANK          CA      91505
6483064   Motion Picture Mailing, Inc.                       4566 Rosewood Ave.                                                                                                                                   Los Angeles      CA      90004
6492607   MOTION PICTURE MAILING, INC.                       ATTN: ROBERT M. LEWIS, OWNER                   4566 ROSEWOOD AVE.                                                                                    LOS ANGELES      CA      90004
6479032   MOTION PICTURE MARINE, INC.                        616 VENICE BLVD.                                                                                                                                     MARINA DEL REY   CA      90291
6796878   MOTION PICTURES STUDIO MECHANICS LOCAL 52          19-02 Steinway St.                                                                                                                                   Astoria          NY      11105
6476849   MOTIONEERING,INC.                                  6505 WINDMILL WAY                                                                                                                                    WILMINGTON       NC      28405
6796879   MOTIVE CREATIVE                                    755 SEWARD ST                                                                                                                                        HOLLYWOOD        CA      90038
6483698   Motive Creative LLC                                1023 N Orange Dr                                                                                                                                     Los Angeles      CA      90038
6476994   MOTLEY\MICHAEL                                     1011 E. MOORE STREET                                                                                                                                 SOUTHPORT        NC      28461
6479249   MOTOR CAR SERVICES                                 19005 INGOMAR STREET                                                                                                                                 RESEDA           CA      91335
6475632   MOTOR VEHICLE DIVISION                             COMMERICAL VEHICLES BUREAU                     P.O. BOX 5188                                                                                         SANTA FE         NM      87502
6480765   Mott, Robert                                       Address on File
6485135   Moulton, Moore LLP                                 2431 Main Street, ste C                                                                                                                             Santa Monica      CA      90405
6476462   MOUNDSVILLE ECONOMIC DEV COUNC                     818 JEFFERSON AVE                                                                                                                                   MOUNDSVILLE       WV      26041
6476463   MOUNDSVILLE MIDDLE SCHOOL                          223 TOMLINSON AVE                                                                                                                                   MOUNDSVILLE       WV      26041
6476464   MOUNDSVILLE\CITY OF                                PO BOX 950                                                                                                                                          MOUNDSVILLE       WV      26041
6475847   MOUNTAIN MECHANICAL                                26007 HUNTINGTON LANE                          SUITE 6                                                                                              VALENCIA          CA      91366
6477199   MOUNTAIN PAINT AND DECORATING                      76 SWEETEN CREEK RD                                                                                                                                 ASHEVILLE         NC      28803
6476484   MOUNTAIN PARK SPRING WATER, INC.                   2835 LOWERY ST.                                                                                                                                     WINSTON-SALEM     NC      27101
6477238   MOUNTAIN VALLEY SPRING WATER                       P.O. BOX 8182                                                                                                                                       ASHEVILLE         NC      28814
6478416   MOUNTAINAIR FILMS INC.                             1273 CALLE DE COMERCIO STE B                                                                                                                        SANTA FE          NM      87507
6478344   MOUNTAINAIR FILMS INC.                             PO BOX 4097                                                                                                                                         SANTA FE          NM      87502
6484755   Mover Services Inc.                                721 E Compton Blvd                                                                                                                                  Compton           CA      90220
6486059   Movers R Us, Inc                                   3561 N. Stoddard Avenue                                                                                                                             San Bernardino    CA      92405
6476896   MOVIE CARZ PLUS, LLC.                              3600 S. COLLEGE RD. SUITE 146                                                                                                                       WILMINGTON        NC      28412
6482853   Movie Grill Concepts II Ltd                        11300 N Central Expwy #200                                                                                                                          Dallas            TX      75243
6492273   MOVIE GRILL CONCEPTS LLC                           DBA: STUDIO MOVIE GRILL                        ATTN: KAREN HOUSE, CONTROLLER              8350 N. CENTRAL EXPRESSWAY,                               DALLAS            TX      75206
6491255   MOVIE LOFT, THE                                    P.O. BOX 5023                                                                                                                                       WEST BABYLON      NY      11707
6478784   MOVIE MOVERS                                       1011 N FULLER AVE                                                                                                                                   WEST HOLLYWOOD    CA      90046
6476553   MOVIE MOVERS                                       48-E HIGH TECH BLVD                                                                                                                                 THOMASVILLE       NC      27360
6479287   MOVIE MOVERS, INC.                                 11473 PENROSE STREET                                                                                                                                SUN VALLEY        CA      91352
6479696   MOVIEGLAS INC.                                     P.O. BOX 1929                                                                                                                                       SIMI VALLEY       CA      93063
6482777   Movieline International                            801 W. 47th St. Suite 400                                                                                                                           Kansas City       MO      64112
6482194   Movies of Lakeworth                                7380 Lakeworth Road                                                                                                                                 Lake Worth        FL      33467
6479281   MOVIN ON LIVESTOCK RENTAL CO                       20527 SOLEDAD ST                                                                                                                                    CANYON COUNTRY    CA      91351
6484290   Moving Image Studio, Inc                           1951 N. Beachwood Dr.#207                                                                                                                           Los Angeles       CA      90068
6478283   MOVING SOLUTIONS, INC.                             PO BOX 12726                                                                                                                                        ALBUQUERQUE       NM      87195
6475129   MPCS                                               MOTION PICT COMP SOLUTIONS INC                 14002 BALBOA BLVD                                                                                    SYLMAR            CA      91342
6485285   MPG Worldwide, LLC                                 File 15881801 W. Olympic Blvd                                                                                                                       Pasadena          CA      91199
6483630   MPRM LLC                                           5055 Wilshire Blvd. #840                                                                                                                            Los Angeles       CA      90036
6491902   MPTF FOUNDATION, A DIVISION OF THE MOTION          PICTURE AND TELEVISION FUND                    C/O LEVENE NEALE BENDER YOO & BRILL, LLP ATTN: J.P. FRITZ, ESQ.           10250 CONSTELLATION BLVD., LOS ANGELES       CA      90067        UNITED
6486495   Mr Young's Preview Theatre Ltd                     14 D'Arblay Street                                                                                                                                  London                    W1F 8DY      KINGDOM
6480378   MR. CHARLIE AKA JOHN DOE                           C/O CHARLES TRAHAN                             741 NW 53RD STREET                                                                                   MIAMI             FL      33127
6476271   MR. JOHN                                           1220 MCKEE STREET                                                                                                                                   MCKEES ROCKS      PA      15136
6483755   Mr. Move dba Load Rock n Roll                      6021 Bandini Blvd.                                                                                                                                  Los Angeles       CA      90040
6476995   MR.ELECTRIC                                        4765 W.TRACE DRIVE                                                                                                                                  SOUTHPORT         NC      28461
6484716   MRC II Distribution Company                        9665 Wilshire Blvd. 2nd Floor                                                                                                                       Beverly Hills     CA      90212
6484232   MRC Independent Music                              1800 Century Park East, 10th Floor                                                                                                                  Los Angeles       CA      90067
6477478   MS LIGHTING LLC                                    104 PAPWORTH UNIT C                                                                                                                                 METAIRIE          LA      70005
6484078   MSEG                                               11301 West Olympic Blvd., Suite 352                                                                                                                 Los Angeles       CA      90064
6477866   MT OLIVE AME CHURCH                                2457 SECOND ST                                                                                                                                      SLIDELL           LA      70458
6491274   MT ROYAL BAND, LLC                                 425 FAWCETT ST.                                                                                                                                     BALTIMORE         MD      21211
6476035   MTI FILM, LLC                                      PO BOX 2476                                                                                                                                         PROVIDENCE        RI      02906-0476
6481338   MTI USA Inc.                                       20 West 20th St., Ste. 1003                                                                                                                         New York          NY      10011
6481163   MTV Networks - Ancillary Sales                     PO Box 13801                                                                                                                                        Newark            NJ      07188
6472399   MTWO, LLC                                          8000 W SUNSET BLVD                             SUITE A201                                                                                           LOS ANGELES       CA      90046-2450
6484359   MTwo, LLC                                          8438 Melrose Place, 2nd Floor                                                                                                                       West Hollywood    CA      90069
6474155   MUELLER*BRYAN                                      Address on File
6480697   Mueller, Bryan D                                   Address on File




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                                                                                                                                               Exhibit D
                                                                                                                                           Master Mailing List
                                                                                                                                          Served First Class Mail

MMLID     NAME                                                       ADDRESS                                                        ADDRESS 2                       ADDRESS 3                   ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6476131   MUELLER\BART                                               432 PACIFIC STREET                                                                                                                                   BROOKLYN          NY      11217
6476325   MUELLER'S HARDWARE INC                                     526 EAST OHIO STREET                                                                                                                                 PITTSBURGH        PA      15212
6796860   MUFG UNION BANK, N.A.                                      1251 Avenue of the Americas                                                                                                                          New York          NY      10020
6475942   MULERO\FERNANDO                                            CARR #3 KM 66                                                                                                                                        NAGUABO           PR      00718
6479043   MULGREW, TRICIA L.                                         578 WASHINGTON BLVD #134                                                                                                                             MARINA DEL REY    CA      90292
6478382   MULLEN\STEPHEN                                             124 WEST BOOTH STREET                                                                                                                                SANTA FE          NM      87505
6492374   MULLER FAMILY THEATRES OF EAST BETHEL, INC.                ATTN: DALE HAIDER, DIRECTOR OF OPERATIONS                      20653 KEUKUK AVE.                                                                     LAKEVILLE         MN      55044
6492375   MULLER FAMILY THEATRES OF LAKEVILLE                        ATTN: DALE HAIDER, DIRECTOR OF OPERATIONS                      20653 KEUKUK AVE.                                                                     LAKEVILLE         MN      55044
6492376   MULLER FAMILY THEATRES OF MONTICELLO THEATRE               ATTN: DALE HAIDER, DIRECTOR OF OPERATIONS                      20653 KEUKUK AVE.                                                                     LAKEVILLE         MN      55044
6492377   MULLER FAMILY THEATRES OF ROGERS LLC                       ATTN: DALE HAIDER, DIRECTOR OF OPERATIONS                      20653 KEUKUK AVE.                                                                     LAKEVILLE         MN      55044
6492378   MULLER FAMILY THEATRES OF WHITE BEAR TOWNSHIP              ATTN: DALE HAIDER, DIRECTOR OF OPERATIONS                      20653 KEUKUK AVE.                                                                     LAKEVILLE         MN      55044
6492379   MULLER FAMILY THEATRES OF WILLOW CREEK                     ATTN: DALE HAIDER, DIRECTOR OF OPERATIONS                      20653 KEUKUK AVE.                                                                     LAKEVILLE         MN      55044
6478214   MULLER OPTICAL, INC.                                       9000 MENAUL NE                                                                                                                                       ALBUQUERQUE       NM      87112
6477787   MULLER\WHARTON N                                           306 BRIGHTON LN                                                                                                                                      SLIDELL           LA      70408
6475193   MULLIGAN\CAREY                                             C/O CHRIS ANDREWS                                              2000 AVENUE OF THE STARS                                                              LOS ANGELES       CA      90067
6491679   MULLINS JR./ALBERT G.                                      Address on File
6476621   MULLINS, MARY CARTER                                       1216 DELHAM RD                                                                                                                                       KNIGHTDALE        NC      27545
6475641   MULLINS/PARRIS                                             7133 HAWTHORN AVE                                              PH2                                                                                   LOS ANGELES       CA      90046
6477364   MULLINS/ROBIN                                              332 BILL JENKINS LANE                                                                                                                                SHADY VALLEY      TN      37688
6485881   Munawar Hosain                                             P.O. Box 836                                                                                                                                         North Hollywood   CA      91603
6478553   MUNROE/WILLIAM                                             5434 BLACKWELDER ST.                                                                                                                                 LOS ANGELES       CA      90016
6481241   Murphy PR LLC                                              333 7th Ave                                                                                                                                          New York          NY      10001
6477284   MURPHY, DANIEL                                             469 OAKDALE RD NE #4A                                                                                                                                ATLANTA           GA      30307
6480594   Murphy, Lindsay                                            Address on File
6476436   MURPHY\MARISA                                              206 HUNTER LANE                                                                                                                                      NORTH WALES       PA      19454
6486112   Murray Studios                                             1600 Beechwood Avenue                                                                                                                                Fullerton         CA      92835
6468837   MURRAY STUDIOS                                             ATTENTION: BRIAN MURRAY                                        1600 BEECHWOOD AVE                                                                    FULLERTON         CA      92835
6479687   MURRAY, BRIAN                                              1600 BEECHWOOD AVE                                                                                                                                   FULLERTON         CA      92835
6479688   MURRAY/BRIAN P                                             1600 BEECHWOOD AV.                                                                                                                                   FULLERTON         CA      92835
6475098   MURRAY\ADAM                                                DBA ADAM MURRAY DESIGN                                         1144 GREENFIELD AVENUE                                                                PITTSBURGH        PA      15217
6476237   MURRAY\CAIT                                                2133 CROGHAN DRIVE                                                                                                                                   CARNAGIE          PA      15106
6476459   MURRAY\JEFFREY A                                           9130 FORK RIDGE RD                                                                                                                                   GLEN EASTON       WV      26039
6479538   MURRAY\SHANNON                                             5143 CARTWRIGHT AVE                                                                                                                                  NORTH HOLLYWOOD   CA      91601
6476179   MUSCANTE\FALCO A                                           79 COURSIN ROAD                                                                                                                                      ELIZABETH         PA      15037
6478526   MUSCATINE, DAVID                                           6917 CLEWISTON AVE.                                                                                                                                  LAS VEGAS         NV      89131
6479726   MUSCATINE/DAVID                                            2410 SODA CANYON RD.                                                                                                                                 NAPA              CA      94558
6481087   Museum of Fine Arts                                        465 Huntington Ave                                                                                                                                   Boston            MA      02115
6491226   MUSEUM OF MODERN ART, THE                                  11 WEST 53RD ST.                                                                                                                                     NEW YORK          NY      10019
6492826   MUSIC ALTERNATIVES, LLC                                    ATTN: JESSICA HOBBS, VP/LICENSING                              1855 INDUSTRIAL STREET, #604                                                          LOS ANGELES       CA      90021
6491406   MUSIC ALTERNATIVES, LLC FSO SCOTT CRESTO                   1855 INDUSTRIAL ST. #604                                                                                                                             LOS ANGELES       CA      90021
6491642   MUSIC ASSET MANAGEMENT, INC.                               16130 VENTURA BLVD. SUITE 560                                                                                                                        ENCINO            CA      91436
6491732   MUSIC BEYOND LLC                                           6100 WILSHIRE BLVD, STE 1600                                                                                                                         LOS ANGELES       CA      90048-5165
6483449   Music Beyond, LLC                                          1545 Wilcox Ave., Suite 101                                                                                                                          Los Angeles       CA      90028
6482703   Music Dealers, LLC                                         328 S. Jefferson St., Suite 260                                                                                                                      Chicago           IL      60661
6491712   MUSIC EXPRESS CORPORATION INC                              P.O. BOX 11988                                                                                                                                       NEWARK            NJ      07101-4993
6491814   MUSIC EXPRESS EAST INC                                     475 BOULEVARD                                                                                                                                        ELMWOOD PARK      NJ      07407
6486940   MUSIC FOR THE PEOPLE DBA CLOSEST TO THE                    HOLE PRODUCTIONS                                               C/O VENABLE LLP                 ATTN: JENNIFER L. NASSIRI   2049 CENTURY PARK EAST,   LOS ANGELES       CA      90067
6481103   Music For The People dba Closest to the Hole Productions   c/o CBMP.O. Box 610287                                                                                                                               Newton            MA      02461
6481105   Music For The People, Inc. f/s/o Mark Wahlberg             c/o CBM Inc.Attn: Rose L. Cortina233 Needham StreetSuite 300                                                                                         Newton            MA      02464
6483137   Music Junkies Inc                                          1111 S Grand Ave                                                                                                                                     Los Angeles       CA      90015
6483339   Music Plugger, Inc                                         3036 PALMER DR                                                                                                                                       Los Angeles       CA      90065-4921
6479260   MUSIC1ON1 INC.                                             8749 AQUEDUCT AVE                                                                                                                                    NORTH HILLS       CA      91343
6485136   Music1on1, Inc.                                            Gerald White3019 Pico Blvd, Suite 3E                                                                                                                 Santa Monica      CA      90405
6481476   Musical Comedy Productions, Inc.                           266 West 37th St. 16th Floor                                                                                                                         New York          NY      10018
6483450   Musikvergnuegen dba Beyond Music                           1545 North Wilcox Ave. Suite 101                                                                                                                     Los Angeles       CA      90028
6476217   MUSKELLY\VERONICA CRUMPTON                                 1212 KIRKPATRICK AVENUE                                                                                                                              NORTH BRADDOCK    PA      15104
6482171   Muvico Theaters Inc                                        3101 N Federal Highway6th Floor                                                                                                                      Fort Lauderdale   FL      33306
6482272   MVP Creative, LLC dba Storyville Post                      8 Cannery Row, 2nd Floor                                                                                                                             Nashville         TN      37203
6484430   MWB Copy Products dba MWB Business Sys.                    File 50897                                                                                                                                           Los Angeles       CA      90074
6468751   MY DAMN CHANNEL, INC                                       D/B/A OMNIVISION ENTERTAINMENT                                 ATTN: WARREN CHAO, PRESIDENT    3605 LONG BEACH BLVD        SUITE 300B                LONG BEACH        CA      90807
6485201   My Damn Channel, Inc.                                      3605 Long Beach Blvd., Suite 300-B                                                                                                                   Long Beach        CA      90807
6476418   MYAL\CHRISITINA                                            251 WALTZ MILL RD.                                                                                                                                   RUFFS DALE        PA      15679
6474760   MYERS*AMANDA                                               Address on File
6468749   MYMAN GREENSPAN FINEMAN                                    FOX ROSENBERG LIGHT LLP                                        ATTN: KIM STENTON               11601 WILSHIRE BLVD         SUITE 2200                LOS ANGELES       CA      90025
6478740   MYRAND\DALE                                                2028 REDCLIFF ST                                                                                                                                     LA                CA      90039
6484291   Myrna Lieberman dba Myrna Lieberman Management             3001 Hollyridge Dr.                                                                                                                                  Los Angeles       CA      90068
6485810   Mystic Art Pictures                                        1918 W. Magnolia Blvd. #206                                                                                                                          Burbank           CA      91506
6480379   MYTHODIC FILMS, INC.                                       C/O ADAM DAVIDS & ASSOCIATES, PLLC                             799 BROADWAY, SUITE 527                                                               NEW YORK          NY      10003
6468792   MYTHODIC FILMS, INC.                                       C/O ADAM DAVIDS & ASSOCIATES, PLLC                             ATTN: ADAM DAVIDS, ESQ.         799 BROADWAY, SUITE 527                               NEW YORK          NY      10003
6485941   Mythos Entertainment, Inc. fso Steven Stone                6228 Whitsett Ave. #5                                                                                                                                North Hollywood   CA      91606




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                                                                                                                                        Exhibit D
                                                                                                                                    Master Mailing List
                                                                                                                                   Served First Class Mail

MMLID     NAME                                                             ADDRESS                                            ADDRESS 2                         ADDRESS 3                           ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6476402   MYZAK HYDRAULICS                                                 101 W PIKE ST                                                                                                                        HOUSTON          PA      15342
6796736   N STAR ENTERTAINMENT                                             5070 Parkside Avenue                               Suite 3500D                                                                       Philadelphia     PA      19131
6480198   N. HOLLYWOOD CITY HALL                                           C/O SAN FERNANDO VALLEY                            117 MACNEIL STREET                                                                SAN FERNANDO     CA      91340
6481839   N.Y.S. Unemployment-DO NOT USE/USE #V000917                      P.O. Box 4301                                                                                                                        Binghamton       NY      13902
6484849   N8 VFX                                                           Attn: Nathan Hurlburt5314 West 126th Street                                                                                          Hawthorne        CA      90250
6483101   NAACP IMAGE AWARDS                                               4929 Wilshire Blvd. Ste.310                                                                                                          Los Angeles      CA      90010
6492755   NADIA BRONSON AND ASSOCIATES, INC.                               8721 SUNSET BLVD. PENTHOUSE 9                                                                                                        WEST HOLLYWOOD   CA      90069
6486312   Nadine Gillespie                                                 1540 Magazines St. #B1                                                                                                               Honolulu         HI      96822
6481339   Nadine Johnson & Associates, Inc.                                436 West 18th St., 2nd Floor                                                                                                         New York         NY      10011
6479138   NAGASAWA, TIM H.                                                 9942 SUNLAND BLVD.                                                                                                                   SUNLAND          CA      91040
6479628   NAIMIE'S BEAUTY CENTER                                           12640 RIVERSIDE DRIVE                                                                                                                VALLEY VILLAGE   CA      91607
6474064   NAKED IN A SNOWSUIT PUBLISHING                                   1527 AMELIA ST.                                                                                                                      VICTORIA BC      BC      V8W 2K1     CANADA
6491762   NAKED IN A SNOWSUIT PUBLISHING                                   1527 AMELIA ST.                                                                                                                      VICTORIA         BC      V8W 2K1     CANADA
6484079   Namevents                                                        12016 Clarkson Rd.                                                                                                                   Los Angeles      CA      90064
6475406   NAMI\DAVID                                                       D/B/A NAMIFX                                       812 NEW YORK AVE                                                                  METAIRIE         LA      70003
6492369   NANCE* BRITT M.                                                  Address on File
6478037   NANCE\BRITT                                                      Address on File
6483241   Nancy B. Meyer                                                   10579 Ashton Ave. #A                                                                                                                 Los Angeles      CA      90024
6483065   Nancy Banks Studio, Inc.                                         224 North Van Ness Ave.                                                                                                              Los Angeles      CA      90004
6482875   Nancy J. Malosky                                                 5337 Gatesworth Ln.                                                                                                                  Dallas           TX      75287
6486157   Nancy Marie St. John                                             4 Pinehurst Lane                                                                                                                     Half Moon Bay    CA      94019
6475278   NANCY MOSSER CASTING                                             BLACKBIRD STUDIOS                                  3583 BUTLER STREET                                                                PITTSBURGH       PA      15209
6483242   Nancy Nayor dba Crispy Twig Production                           10750 Wilshire Blvd. #805                                                                                                            Los Angeles      CA      90024
6485440   Nanotechniq                                                      8471 Ouland View Drive                                                                                                               Sun Valley       CA      91352
6479288   NANOTECHNIQ                                                      8471 OUTLAND VIEW DRIVE                                                                                                              SUN VALLEY       CA      91352
6474981   NANOTECHNIQ                                                      FSO ROBERT HAUSSMANN                               8471 OUTLAND VIEW DRIVE                                                           SUN VALLEY       CA      91352
6482224   Naos Birmingham, LLC                                             7001 Crestwood Blvd. Suite 1100                                                                                                      Birmingham       AL      35210
6490403   NAPERVILLE THEATRE, LLC                                          DBA HOLLYWOOD PALMS CINEMA                         352 S. ROUTE 59                                                                   NAPERVILLE       IL      60540
6479289   NAPOLITANO\JUDY MARIE                                            10831 ROYCROFT STREET, #55                                                                                                           SUN VALLEY       CA      91352
6478531   NAQVI\ALI                                                        7295 BRONSON                                                                                                                         LOS ANGELES      CA      90005
6480507   Nardilla, Caroline                                               Address on File
6475319   NARRIKA S. L.                                                    C/O FIRST ARTISTS MANAGEMENT                       4764 PARK GRANADA SUITE 210                                                       CALABASAS        CA      91302
6482320   NASBA                                                            P.O. Box 198709                                                                                                                      Nashville        TN      37219
6477660   NASH\DAVID                                                       4441 SPAIN ST                                                                                                                        NEW ORLEANS      LA      70122
6480175   NASSAU COUNTY                                                    JAMES E. DAVIS                                     ACTING COUNTY ASSESSOR            240 OLD COUNTRY ROAD                            MINEOLA          NY      11501
6480262   NASSAU COUNTY ASSESSMENT DEPT.                                   240 OLD COUNTRY RD.                                                                                                                  MINEOLA          NY      11501
6483960   Natasa Jovanovic                                                 114 Doheny Dr. #307                                                                                                                  Los Angeles      CA      90048
6485086   Natasha Lee                                                      1220 24th St.                                                                                                                        Santa Monica     CA      90404
6483873   Nate Greenwald                                                   7520 Hollywood Blvd.Apt 6                                                                                                            Los Angeles      CA      90046
6484834   Nathan Anderson                                                  141 Arena St.                                                                                                                        El Segundo       CA      90245
6481789   Nathan Blue                                                      104-20 164 Street                                                                                                                    Jamaica          NY      11433
6484233   Nathan Furst dba Drastic Measures, Inc.                          c/o ICM 10250 Constellation Blvd.                                                                                                    Los Angeles      CA      90067
6485959   Nathan Hay                                                       5324 Whitsett Ave.                                                                                                                   Valley Village   CA      91607
6481766   Nathan Heller                                                    393 Degraw St.                                                                                                                       Brooklyn         NY      11231
6796847   NATHAN JOHNSON                                                   825 E 4TH ST APT 209                                                                                                                 LOS ANGELES      CA      90013-2601
6482273   Nathan P. Chapman                                                P.O. Box 340020                                                                                                                      Nashville        TN      37203
6483874   Nathanial Greenwald                                              7250 Hollywood Blvd.Apt.6                                                                                                            Los Angeles      CA      90046
6472024   NATHANIAL GREENWALD                                              7520 HOLLYWOOD BLVD.,APT 6                                                                                                           LOS ANGELES      CA      90046
6483699   Nathanial West                                                   5842 Waring Ave #6                                                                                                                   Los Angeles      CA      90038
6484983   Nathon Brown                                                     8163 Redlands Street, #30                                                                                                            Playa Del Rey    CA      90293
6796839   NATIONAL BANK OF CANADA                                          ATTN: GENERAL COUNSEL                              600 DE LA GAUCHETIERE WEST        GROUND FLOOR                                    MONTREAL         QC      H3B 4L2      CANADA
6489464   NATIONAL CINEMEDIA, LLC                                          ATTN: GENE HARDY                                   EXEC. VP AND GENERAL COUNSEL      9110 E. NICHOLS AVENUE, SUITE 200               CENTENNIAL       CO      80112
6482945   National CineMedia, LLC                                          P.O. Box 17491                                                                                                                       Denver           CO      80217
6481437   National Corprate Research, Ltd.                                 10 East 40th Street, 10th Floor                                                                                                      New York         NY      10016
6484752   National Geographic Partners LLC                                 PO Box 900                                                                                                                           Beverly Hills    CA      90213
6484080   National Multiple Sclerosis Society                              2440 S. Sepulveda Blvd.Ste.115                                                                                                       Los Angeles      CA      90064
6477200   NATIONAL PARK SERVICE                                            199 HEMPHILL KNOB ROAD                                                                                                               ASHEVILLE        NC      28803
6476996   NATIONAL PETLAND                                                 806 N. HOWE STREET                                                                                                                   SOUTHPORT        NC      28461
6481206   National Registered Agent, Inc.                                  P.O. Box 927                                                                                                                         West Windsor     NJ      08550
6483451   National Research Group, Inc dba NRG                             6255 Sunset Blvd., 19th Floor                                                                                                        Los Angeles      CA      90028
6482375   National Software Escrow                                         8225 Brecksville Rd. Bldg 3, Suite 105                                                                                               Brecksville      OH      44141
6486733   National Surety Corporation (Fireman's Fund Insurance Company)   777 San Marin Drive                                                                                                                  Novato           IL      60603        CANADA
6479901   NATIONAL UNION FIRE INS. CO. OF PITTSBURGH PA                    ALYSSA DUBASH                                      777 S. FIGUEROA ST., 18TH FLOOR                                                   LOS ANGELES      CA      90017
6479885   NATIONAL UNION FIRE INSURANCE COMPANY                            Address on File
6478165   NATIVO LODGE                                                     6000 PAN AMERICAN WAY NE                                                                                                             ALBUQUERQUE      NM      87109
6475654   NATURE STATION WASTE                                             SERVICES, LLC                                      PO BOX 1318                                                                       PEARL RIVER      LA      70452
6478251   NAUMBERG\PETER                                                   10901 HOLLY AVE NE                                                                                                                   ALBUQUERQUE      NM      87122-3142
6485087   Nautvision Entertainment, Inc.                                   3000 Olympic Blvd. Suite 2378                                                                                                        Santa Monica     CA      90404
6468819   NAUTVISION ENTERTAINMENT, INC.                                   ATTN: DOMAGOJ MAZURAN-PRESIDENT                    3000 OLYMPIC BOULEVARD            SUITE 2378                                      SANTA MONICA     CA      90404
6468820   NAUTVISION ENTERTAINMENT, INC.                                   ATTN: ERIC ASHENBERG                               3000 OLYMPIC BOULEVARD            SUITE 2378                                      SANTA MONICA     CA      90404




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                                                                                                                                Master Mailing List
                                                                                                                               Served First Class Mail

MMLID     NAME                                                      ADDRESS                                               ADDRESS 2                      ADDRESS 3                ADDRESS 4                 CITY              STATE   POSTAL CODE COUNTRY
6796833   NAUTVISION ENTERTAINMENT, INC.                            F/S/O DOMAGOJ MAZURAN                                 ATTN: ERIC ASHENBERG           3000 OLYMPIC BOULEVARD   SUITE 2378                SANTA MONICA      CA      90404
6480657   Navarra, Mary                                             Address on File
6482009   Navy SEAL Foundation                                      1619 D Street, Bldg. 5326                                                                                                               Virginia Beach    VA      23459
6475559   NAZARIO\LUIS                                              URB. VILLA DEL ROSARIO                                D-15 CALLE 3                                                                      NAGUABO           PR      00718
6485825   NBC Studios, LLC                                          Attn: Barbera Libis3000 West Alameda Ave. Studio 11                                                                                     Burbank           CA      91523
6481643   NBC Universal, Inc. f/k/a National Broadcasting Corp.     30 Rockefeller Plaza                                                                                                                    New York          NY      10112
6490386   NBCUNIVERSAL MEDIA LLC                                    ATTN: MARY MCKENNA, CUSTOMER FINANCIAL SVCS.          30 RODKEFELLER PLAZA                                                              NEW YORK          NY      10112
6485970   NBCUniversal, LLC dba Focus Features International, LLC   100 Universal City Plaza                                                                                                                Universal City    CA      91608
6491229   NBCUNIVERSAL, LLC DBA NBCUNIVERSAL MEDIA, LLC             30 ROCKEFELLER PLAZA                                                                                                                    NEW YORK          NY      10020
6481644   NBCUniversal, LLC dba USA Network                         30 Rockefeller Plaza                                                                                                                    New York          NY      10112
6473604   NBJ VIDEO PRODUCTIONS                                     11611 EL CERRO LANE                                                                                                                     STUDIO CITY       CA      91604
6482028   NC Department of the Secretary of State                   P.O. Box 29622                                                                                                                          Raleigh           NC      27626
6475145   NC DEPT OF TRANSPORTATION                                 FISCAL SECTION-A/R UNIT                               1514 MAIL SERVICE CENTER                                                          RALEIGH           NC      27699-1514
6490810   NC- MECKLENBURG COUNTY TAX COLLECTOR                      ATTN: NEAL DIXON, TAX COLLECTOR                       PO BOX 31637                                                                      CHARLOTTE         NC      28231
6483452   Nclusive, Inc.                                            6565 Sunset Blvd. #501                                                                                                                  Los Angeles       CA      90028
6485464   NCS Creative, Inc. fso John Blas                          18981 Ventura Blvd. #300                                                                                                                Tarzana           CA      91356
6492368   NCS CREATIVE, INC. FSO JOHN BLAS                          ATTN: JOHN BLAS, OWNER                                18981 VENTURA BLVD. #300                                                          TARZANA           CA      91356
6485595   Neal Avron                                                c/o BK Entertainment15300 Ventura Blvd, #203                                                                                            Sherman Oaks      CA      91403
6481566   Neal Coomer                                               185 Lenox Ave, Apt 3                                                                                                                    New York          NY      10026
6491903   NEAL H. MORITZ, INC. DBA NEAL MORITZ DBA                  TOBY JAFFE                                            C/O BEHR ABRAMSON LEVY, LLP    ATTN: NICK REDER, ESQ.   11466 SAN VINCENTE BLVD   LOS ANGELES       CA      90049
6489689   NEAL H. MORITZ, INC. DBA ORIGINAL FILM                    ATTN: NEAL H. MORITZ, PRESIDENT                       11466 SAN VINCENTE BLVD.                                                          LOS ANGELES       CA      90049
6796828   NEAL H. MORITZ/NEAL H. MORITZ, INC                        ATTN: GENERAL COUNSEL                                 11466 SAN VICENTE BLVD.                                                           LOS ANGELES       CA      90049
6480925   Neal, Kori                                                Address on File
6479951   NEBRASKA DEPARTMENT OF LABOR                              COMMISSIONER                                          550 SOUTH 16TH STREET          ADMINISTRATIVE OFFICE                              LINCOLN           NE      68509
6475887   NEBTEK, INCORPORATED                                      3007 S. WEST TEMPLE,                                  SUITE K                                                                           SALT LAKE CITY    UT      84115
6477153   NEELD, HEATHER                                            212 CLAIRMONT DRIVE                                                                                                                     HENDERSONVILLE    NC      28791
6477154   NEELD\HEATHER                                             1625 KENSINGTON RD                                                                                                                      HENDERSONVILLE    NC      28791
6477355   NEENER\ROBERT E.                                          716 ROLLING ACRES RD.                                                                                                                   SMITHVILLE        TN      37166
6796829   NEFF, LLC                                                  6740 Cobra Way, Suite 100                                                                                                              San Diego         CA      92121
6475943   NEGRON ORTIZ\JOSE                                         PO BOX 1127                                                                                                                             NAGUABO           PR      00718
6483243   Neil Cunningham                                           1650 Veteran AveAPT 207                                                                                                                 Los Angeles       CA      90024
6485916   Neil Goetz                                                3353 Canton Lane                                                                                                                        Studio City       CA      91604
6485351   Neil Young dba Silver Fiddle Music                        24025 Park Sorrento, Suite 130                                                                                                          Calabasas         CA      91302
6478828   NEIL-FISHER, DEBRA C.                                     840 NORWAY LANE                                                                                                                         LOS ANGELES       CA      90049
6473065   NEILSEN NRG, INC. - DO NOT USE                            PO BOX 601112                                                                                                                           PASADENA          CA      91189
6482753   Neilsen Videoscan/EMS                                     PO Box 88022, Expedite Way                                                                                                              Chicago           IL      60695
6475436   NEIMAN MARCUS                                             STUDIO SERVICES                                       9700 WILSHIRE BLVD                                                                BEVERLY HILLS     CA      90212
6475816   NEIMAN MARCUS GROUP LTD, LLC                              1201 ELM STREET                                       SUITE 2900                                                                        DALLAS            TX      75270
6476736   NEIMEYER\VANESSA                                          314 ANN STREET                                                                                                                          WILMINGTON        NC      28401
6478554   NELSON\JEWEL                                              5754 W ADAMS BLVD                                                                                                                       LOS ANGELES       CA      90016
6477506   NELSON\JULIA                                              401 20TH ST APT 6                                                                                                                       GRETNA            LA      70053
6477612   NELSON\MEGAN                                              1576 HENRY CLAY AVE                                                                                                                     NEW ORLEANS       LA      70118
6478067   NEMAT GALLERIES                                           419 SAN FELIPE ST NW                                                                                                                    ALBUQUERQUE       NM      87104
6479224   NEMEC III/JOSEPH                                          5452 LINDLEY AVE #110                                                                                                                   ENCINO            CA      91316
6479225   NEMEC/MARIA ''DOLLY''                                     5452 LIDLEY AVE., APT 110                                                                                                               ENCINO            CA      91316
6477702   NEO FABRIC INC                                            5650 HAYNE BLVD                                                                                                                         NEW ORLEANS       LA      70126
6482317   Neon Cross, LLC                                           P.O. Box 160886                                                                                                                         Nashville         TN      37216
6476382   NEON DOCTOR LLC\THE                                       5134 CLAIRTON BLVD                                                                                                                      PITTSBURGH        PA      15236
6485137   Neptune's Walk, LLC dba Hotel Casa Del Mar                1910 Ocean Way                                                                                                                          Santa Monica      CA      90405
6478094   NES                                                       5650 UNIVERSITY BLVD SE                                                                                                                 ALBURQUERQUE      NM      87106
6475799   NES EQUIPMENT SERVICES CORP                               8420 W BRYN MAWR AVE #310                             SUITE 200                                                                         CHICAGO           IL      60630
6476433   NES RENTALS                                               PO BOX 8500-1226                                                                                                                        PHILADELPHIA      PA      19178-1226
6477134   NESBITT RACING ENTERPRISES INC                            7 HILDRIETH LANE                                                                                                                        SWANNANOA         NC      28778
6479605   NEST STUDIO RENTALS                                       7007 LANKERSHIM BLVD                                                                                                                    NORTH HOLLYWOOD   CA      91605
6477370   NESTLE PURE LIFE                                          PO BOX 856158                                                                                                                           LOUISVILLE        KY      40258
6490723   NESTLE PURE LIFE DIRECT                                   A DIVISION OF NESTLE WATERS NA, INC.                  P.O. BOX 856158                                                                   LOUISVILLE        KY      40285-6158
6477372   NESTLE PURE LIFE DIRECT                                   P.O. BOX 856158                                                                                                                         LOUISVILLE        KY      40285-6158
6484081   Net Results Strategic Partners LLC                        2628 Barry Avenue                                                                                                                       Los Angeles       CA      90064
6796821   NETFLIX                                                   ATTN: GENERAL COUNSEL                                 C/O MCNUTT LAW GROUP, LLP      ATT: SCOTT H. MCNUTT     219 9TH STREET            SAN FRANCISCO     CA      94103
6796815   NETFLIX, INC.                                             100 WINCHESTER CIRCLE                                                                                                                   LOS GATOS         CA      95032
6682740   Netflix, Inc.                                             5800 Sunset Boulevard                                                                                                                   Los Angeles       CA      95032
6796810   NETFLIX, INC.                                             ATTN: GENERAL COUNSEL                                 100 WINCHESTER CIRCLE                                                             LOS GATOS         CA      95032
6487945   NETFLIX, INC.                                             C/O MCNUTT LAW GROUP LLP                              ATTN: SCOTT H. MCNUTT          219 9TH STREET                                     SAN FRANCISCO     CA      94103
6796809   NETFLIX, INC.                                             C/O MCNUTT LAW GROUP LP                               ATTN: SCOTT H. MCNUTT          219 9TH STREET                                     SAN FRANCISCO     CA      94103
6476020   NETTALI NIEVES\LUIS                                       HC-01 BOC 6426                                                                                                                          GUAYNABO          PR      00971
6865165   Nettwerk Music Group Inc.                                 500-575 West 8th Ave.                                                                                                                   Vancouver         BC      V5Z 0C4      CANADA
6491760   NETTWERK ONE MUSIC (CANADA) LTD                           500-575-WEST 8TH AVE                                                                                                                    VANCOUVER         BC      V5Z0C4       CANADA
6796813   NETTWERK ONE MUSIC (CANADA) LTD.                          575 West 8th Ave., 5th Floor                                                                                                            VANCOUVER         BC      V5Z 0C4      CANADA
6474061   NETTWERK ONE MUSIC LTD.                                   1650 W. 2ND AVE.                                                                                                                        VANCOUVER BC      BC      V6J4E3       CANADA
6486484   Nettwerk One Music Ltd.                                   1650 W. 2nd Ave.                                                                                                                        Vancouver         BC      V6J 4R3      CANADA




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MMLID     NAME                                                 ADDRESS                                                  ADDRESS 2                              ADDRESS 3                          ADDRESS 4             CITY               STATE   POSTAL CODE   COUNTRY
6474060   NETTWERK PRODUCTIONS                                 1650 W. 2ND AVE.                                                                                                                                         VANCOUVER BC       BC      V6J 4R3       CANADA
6486485   Nettwerk Productions                                 1650 W. 2nd Ave.                                                                                                                                         Vancouver          BC      V6J 4R3       CANADA
6796803   NETTWERK PRODUCTIONS LTD                             575 West 8th Ave., 5th Floor                                                                                                                             VANCOUVER          BC      V5Z 0C4       CANADA
6481181   Network Doctor NJ, LLC                               600 Sylvan Ave., Suite 212                                                                                                                               Englewood Cliffs   NJ      07632
6482867   Network Global Logistics LLC                         PO Box 671531                                                                                                                                            Dallas             TX      75267
6482699   Networked Insight, Inc.                              350 N. Orleans St. Suite 850                                                                                                                             Chicago            IL      60654
6796804   NETWORKED INSIGHTS, INC.                             ATTN: JOSH DAMON, CFO                                    222 West Washington                    Suite 230                                                MADISON            WI      53703
6474505   NEUHAUSER*ALICE                                      Address on File
6480851   Neuhauser, Alice P                                   Address on File
6479981   NEVADA OFFICE OF THE LABOR COMMISSIONER              3300 W SAHARA AVE STE 225                                                                                                                                LAS VEGAS          NV      89102-3320
6482694   New 400 LLC The                                      6740 N Sheridan Rd                                                                                                                                       Chicago            IL      60626
6484234   New Act Travel                                       1900 Avenue of hte Stars, Suite 1550                                                                                                                     Los Angeles        CA      90067
6476139   NEW AGE EMBROIDERY CORP                              6315 MILL LANE                                                                                                                                           BROOKLYN           NC      11234
6476140   NEW AGE EMBROIDERY CORP                              6315 MILL LANE                                                                                                                                           BROOKLYN           NY      11234
6484717   New Beginnings Enterprises                           280 S. Beverly Dr. Suite 205                                                                                                                             Beverly Hills      CA      90212
6476449   NEW DOMINION PICTURES                                1000 FILM WAY                                                                                                                                            SUFFOLK            VA      23434
6476737   NEW ELEMENTS GALLERY                                 271 N FRONT ST                                                                                                                                           WILMINGTON         NC      28401-3907

6479862   NEW ENGLAND TEAMSTERS &                              TRUCKING INDUSTRY PENSION FUND                           ATTN: LEGAL DEPT.                      1 WALL STREET                                            BURLINGTON         MA      01803-4768
6796798   NEW GAMES PRODUCTION, INC                            1515 BROADWAY                                                                                                                                            NEW YORK           NY      10036
6475282   NEW HANOVER COUNTY                                   SHERIFF'S OFFICE                                         3950 JUVENILE CENTER ROAD                                                                       CASTLE HAYNE       NC      28429
6475080   NEW JERSEY                                           DEPARTMENT OF TRANSPORTATION                             1035 PARKWAY AVE PO BOX 604                                                                     TRENTON            NJ      08625-0600
6479953   NEW JERSEY DEPT. OF LABOR                            COMMISSIONER                                             1 JOHN FITCH PLAZA                     P.O. BOX 110                                             TRENTON            NJ      08625-0110
6475603   NEW JERSEY MEADOWLANDS                               COMMISSION                                               ONE DEKORTE PARK PLAZA                                                                          LYNDHURST          NJ      07071
6478555   NEW LIFE CHRISTIAN CENTER                            2600 S LA BREA AVE                                                                                                                                       LOS ANGELES        CA      90016
6486720   New Line Cinema                                      4000 Warner Blvd                                                                                                                                         Burbank            CA      91522
6478417   NEW MEXICAN\THE                                      202 E MARCY AVE                                                                                                                                          SANTA FE           NM      87507
6479955   NEW MEXICO DEPARTMENT OF LABOR                       SECRETARY                                                401 BROADWAY NE                        P.O. BOX 1928                                            ALBUQUERQUE        NM      87102
6478901   NEW MEXICO LIGHTING & GRIP CO.                       FILE# 50846                                                                                                                                              LOS ANGELES        CA      90074-0846
6478078   NEW MEXICO LIGHTING GRIP CO.                         5650 UNIVERSITY BLVD. SE                                                                                                                                 ALBUQUERQUE        NM      87105
6478418   NEW MEXICO MEDWORKS                                  2801 RODEO ROAD                                                                                                                                          SANTA FE           NM      87507
6475296   NEW MEXICO PLASTER &                                 SUPPLY INC.                                              4100 4TH ST NW                                                                                  ALBUQUERQUE        NM      87107
6478326   NEW MEXICO REAL ESTATE                               300 PASEO DE PERALTA                                                                                                                                     SANTA FE           NM      87501
6475637   NEW MEXICO STATE FAIR                                EXPO NEW MEXICO                                          P.O. BOX 8546                                                                                   ALBUQUERQUE        NM      87198
6483019   New Mexico Taxation & Revenue Department             PO Box 25127                                                                                                                                             Santa Fe           NM      87504
6480331   NEW MEXICO TAXATION AND REVENUE DEPARTMENT           PO BOX 25127                                                                                                                                             SANTA FE           NM      87504-5127
6480318   NEW MEXICO TAXN. & REVENUE DEPT.                     1100 SOUTH ST. FRANCIS DRIVE                             LEGAL SERVICES BUREAU                                                                           SANTA FE           NM      87504-0630
6477459   NEW ORLEANS MARRIOTT METAIRIE                        3838 N CAUSEWAY BLVD                                                                                                                                     METAIRIE           LA      70002
6477717   NEW ORLEANS URGENT CARE                              900 MAGAZINE ST                                                                                                                                          NEW ORLEANS        LA      70130
6475916   NEW ORLEANS VIDEO ASSIST LLC                         3701 TCHOUPITOULAS ST                                    UNIT F                                                                                          NEW ORLEANS        LA      70115
6483558   New Regency Productions, Inc.                        Oper. Acct-Attn Treas Dept10201 W Pico Blvd. Bldg. 12                                                                                                    Los Angeles        CA      90035
6480178   NEW ROCHELLE                                         DAN WHITTEMORE                                           ASSESOR                                515 NORTH AVE.                                           NEW ROCHELLE       NY      10801
6484581   New Rounder                                          100 N. Crescent Heights Dr., Garden Level                                                                                                                Beverly Hills      CA      90210
6492791   NEW VIDEO CHANNEL AMERICAN, LLC D/B/A BBC            AMERICA                                                  ATTN: E. LENNER                        11 PENN PLAZA                                            NEW YORK           NY      10001
6485782   New Wave Entertainment                               2660 West Olive Ave.                                                                                                                                     Burbank            CA      91505
6492793   NEW WORLD COMMUNICATIONS OF ATLANTA INC./            WAGA-TV                                                  ATTN: JUANITA PEARCE, CREDIT MANAGER   1551 BRIARCLIFF ROAD NE                                  ATLANTA            GA      30306
                                                                                                                        C/O NEW WORLD COMMUNICATIONS OF        ATTN: LISA R. RAFFERTY, VP/LEGAL
6491942   NEW WORLD COMMUNICATIONS OF DETROIT, INC.            ON BEHALF OF ITS TELEVISION STATION WJBK                 DETROIT, INC.                          AFFAIRS                            1999 S. BUNDY DRIVE   LOS ANGELES        CA      90025
                                                                                                                        C/O NEW WORLD COMMUNICATIONS OF        ATTN: LISA R. RAFFERTY, VP/LEGAL
6491943   NEW WORLD COMMUNICATIONS OF TAMPA, INC., ON          BEHALF OF ITS TELEVISION STATION WTVT                    TAMPA, INC.                            AFFAIRS                            1999 S. BUNDY DRIVE   LOS ANGELES        CA      90025
6481160   New World Group Inc                                  500 County Avenue                                                                                                                                        Secaucus           NJ      07094
6481802   New York Catering, LLC                               225 Beach 136th St.                                                                                                                                      Rockaway Park      NY      11694
6480258   NEW YORK CITY DEPT. OF FINANCE                       66 JOHN STREET, ROOM 104                                                                                                                                 NEW YORK           NY      10038
6481653   New York City Police Foundation, Inc.                345 Park Ave.                                                                                                                                            New York           NY      10154
6479996   NEW YORK DEPARTMENT OF LABOR                         COMMISSIONER                                             STATE CAMPUS, BUILDING 12, ROOM 500                                                             ALBANY             NY      12240
6480321   NEW YORK DEPT OF TAX'N & FINANCE                     BANKRUPTCY SECTION                                       P.O. BOX 5300                                                                                   ALBANY             NY      12205-0300
6482738   New York Institute of Finance                        c/o Bank of America, N.A.12562 Collection Center Drive                                                                                                   Chicago            IL      60693
6481318   New York Observer The                                915 Broadway                                                                                                                                             New York           NY      10010
6480401   NEW YORK STATE COMPTROLLER                           OFFICE OF UNCLAIMED FUNDS                                110 STATE STREET                                                                                ALBANY             NY      12236
6850838   New York State Department of Labor                   W. Averell Harriman                                      State Office Building Campus                                                                    Albany             NY      12240-0001
6722754   New York State Department of Taxation and Finance    Bankruptcy Section                                       PO Box 5300                                                                                     Albany             NY      12205-0300
6481825   New York State Department of Taxation and Finance    PO Box 5300Bankruptcy Section                                                                                                                            Albany             NY      12205
6474898   NEW YORK STATE DEPT. OF                              ENVIRONMENTAL CONSERVATION                               625 BROADWAY                                                                                    ALBANY             NY      12233-0001
6481835   New York State Insurance Fund                        Workers' CompensationPO Box 4788                                                                                                                         Syracuse           NY      13221
6481840   New York State Unemployment Insurance                P.O. Box 4301                                                                                                                                            Binghamton         NY      13902
6488526   NEW YORK STATE WORKERS COMPENSATION BOARD            C/O JUDGMENT UNIT                                        ATTN: JAMES R. MCGINN, ASSOCIATE       328 STATE STREET                                         SCHENECTADY        NY      12305-2318
6481601   New Yorker, The                                      4 Times Square                                                                                                                                           New York           NY      10036
6476103   NEWEL, LLC                                           425 EAST 53RD STREET                                                                                                                                     NEW YORK           NY      10022
6479233   NEWHALL PAINT STORE INC                              24401 MAIN ST                                                                                                                                            NEWHALL            CA      91321
6481049   Newland Films, S.A. DE C.V.                          AV Santa Fe 505 704 Cuajimalpa                                                                                                                           Mexico             CP      5349          Mexico




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MMLID     NAME                                                   ADDRESS                                                                ADDRESS 2                         ADDRESS 3                      ADDRESS 4              CITY                      STATE   POSTAL CODE COUNTRY

6469809   NEWLAND FILMS, S.A. DE C.V.                            AV SANTA FE 505 704 UAJIMALPA,                                                                                                                                 MEXICO DISTRITO FEDERAL   CP      05349        MEXICO
6491432   NEWMAN* RODNEY                                         Address on File
6476465   NEWMAN\JARED S                                         2170 GRANDVIEW RD                                                                                                                                              MOUNDSVILLE               WV      26041
6484235   Newmark Knight Frank                                   1875 Century Park East, Suite 1380                                                                                                                             Los Angeles               CA      90067
6478011   NEWMEXI TOUR                                           118 WEST CALLE MONTOYA RD                                                                                                                                      BERNALILLO                NM      87004
6486087   Newport Beach Intl Film Festival                       4540 Campus Dr                                                                                                                                                 Newport Beach             CA      92660
6481319   NewsCred, Inc.                                         27 W. 24th St. Suite 202                                                                                                                                       New York                  NY      10010
6478000   NEWTON\AARON                                           1235 NORTH SOLAR HEIGHTS DRIVE                                                                                                                                 PRESCOTT                  AZ      86303-6385
6479652   NEXCOM SOLUTIONS, INC.                                 442 TERRELL PLACE                                                                                                                                              POMONA                    CA      91767
6492385   NEXSTAR BROADCASTING                                   ATTN: EDDIE LYNN FUNK                                                  2175 WEST 1700 S0UTH                                                                    SALT LAKE CITY            UT      84104
6489860   NEXSTAR BROADCASTING, INC.                             C/O GOGI MALIK                                                         545 E. JOHN CARPENTER FREEWAY     SUITE 700                                             IRVING                    TX      75062
6481512   Next Decade Entertainment Inc                          65 W 55th St Suite 4F                                                                                                                                          New York                  NY      10019
6491227   NEXT DECADE ENTERTAINMENT OBO GAUCHO MUSIC             65 WEST 55TH ST. SUITE 4F                                                                                                                                      NEW YORK                  NY      10019
6481775   NFGTV Inc                                              345 Clinton Ave 15D                                                                                                                                            Brooklyn                  NY      11238
6481957   NGHT, LLC                                              1145 17th St. NW                                                                                                                                               Washington                DC      20036
6476192   NGR INC                                                3050 LENTO BLVD                                                                                                                                                BETHEL PARK               PA      15102
6476444   NGS IMAGES SALES                                       PO BOX 630352                                                                                                                                                  BALTIMORE                 MD      21263-0352
6481776   NGTV Inc.                                              345 Clinton Ave. 15D                                                                                                                                           Brooklyn                  NY      11238
6474187   NGUYEN*JESSICA                                         Address on File
6480709   Nguyen, Jessica M                                      Address on File
6485942   Nic Thorson                                            11339 Oxnard Street Apt C                                                                                                                                      North Hollywood           CA      91606
6485138   Nice Guys                                              3400 Airport Ave. Suite 81                                                                                                                                     Santa Monica              CA      90405
6479091   NICE GUYS/JDC LIMO                                     3100 AIRPORT AVENUE, SUITE C                                                                                                                                   SANTA MONICA              CA      90405
6475389   NICE JEWISH BOY MOVING                                 AND STORAGE                                                            7635 HASKELL AVENUE                                                                     VAN NUYS                  CA      91406
6485240   Nice Management & Consulting                           2109 Cooley Place                                                                                                                                              Pasadena                  CA      91104
6483961   Nicholas Alexander Maybury                             339 Croft Ave.                                                                                                                                                 Los Angeles               CA      90048
6483700   Nicholas Economides                                    6153 Lexington Ave. #1                                                                                                                                         Los Angeles               CA      90038
6476218   NICHOLAS ELECTRIC CO INC                               525 DUQUESNE STREET                                                                                                                                            RANKIN                    PA      15104
6479846   NICHOLAS FAMILY IRREVOCABLE TRUST                      ATTN: GEORGE NICHOLAS                                                  5531 BOCA RATON DRIVE                                                                   DALLAS                    TX      75230
6796794   Nicholas Schuyler                                      c/o Ginsburg Daniels, LLP                                              Attn: Lev Ginsburg                9300 Wilshire Boulevard                               Beverly Hills             CA      90212
6485198   Nicholas Soultanakis                                   3821 East Broadway                                                                                                                                             Long Beach                CA      90803
6477067   NICHOLAS SPARKS PRODUCTION LLC                         4907 TRENT WOODS DR                                                                                                                                            TRENT WOODS               NC      28562
6796786   NICHOLAS SPARKS PRODUCTION, INC.                       PMK-BNC / PUBLICIST                                                    8687 Melrose Avenue, 8th Floor                                                          LOS ANGELES               CA      90069
6492140   NICHOLAS SPARKS PRODUCTIONS LLC                        F/S/O NICHOLAS SPARKS                                                  C/O UNITED TALENT AGENCY          ATTN: HOWIE SANDERS AND KEYA   9336 CIVIC CENTER DR   BEVERLY HILLS             CA      90210-3604
6482055   Nicholas Sparks Productions, LLC                       4907 Trent Woods Dr.                                                                                                                                           New Bern                  NC      28562
6482140   Nicholas W. Calathes                                   c/o 1221 Rolling Lane                                                                                                                                          Casselberry               FL      32707
6474682   NICHOLSON*KATHERINE                                    Address on File
6483340   Nick Ligonis                                           1525 Griffith Park Blvd. #407                                                                                                                                  Los Angeles               CA      90026
6482022   Nick Schuyler                                          c/o French/West/Vaughan        Attn:Rick French112 E. Hargett Street                                                                                           Raleigh                   NC      27601
6486056   Nick Summers                                           2462 Via Sonoma - Apt E                                                                                                                                        Palm Springs              CA      92264
6484870   Nick Turner                                            20677 Rockpoint Way                                                                                                                                            Malibu                    CA      90265
6482291   Nick Zager                                             420 Elmington Ave., # 904                                                                                                                                      Nashville                 TN      37205
6490381   NICO VEGA PRODUCTIONS, LTD.                            C/O GLASS JACOBSON MALEK, LLP                                          2850 OCEAN PARK BLVD. SUITE 300                                                         SANTA MONICA              CA      90405
6481745   Nicola Parish                                          458 1st Street1R                                                                                                                                               Brooklyn                  NY      11215
6485871   Nicole Artmont                                         4319 Mariota Ave.                                                                                                                                              North Hollywood           CA      91602
6484947   Nicole Howard-Bloom                                    1421 Venice Blvd. #4                                                                                                                                           Venice                    CA      90291
6491586   NICOLE VETTRAINO                                       Address on File
6485235   Nicole Vettraino                                       2672 METATE DR                                                                                                                                                 KINGMAN                   AZ      86401
6481768   Nicole Wodowski                                        956 Hancock St. Apt #1R                                                                                                                                        Brooklyn                  NY      11233
6482754   Nielsen Business Media, Inc.                           PO Box 88915                                                                                                                                                   Chicago                   IL      60695
6490299   NIELSEN COMPANY (US) LLC*THE                           ATTN: JULIE MULLER                                                     150 N. MARTINGALE ROAD                                                                  SCHAUMBURG                IL      60173
6485278   Nielsen EDI                                            PO Box 601101                                                                                                                                                  Pasadena                  CA      91189
6482706   Nielsen IAG Inc                                        24592 Network Place                                                                                                                                            Chicago                   IL      60673
6478642   NIELSEN NRG, INC.                                      6255 SUNSET BLVD.                                                                                                                                              HOLLYWOOD                 CA      90028
6491594   NIELSEN NRG, INC.                                      PO BOX 601112                                                                                                                                                  PASADENA                  CA      91189
6482755   Nielsen Videosan/EMS                                   PO Box 88022Expedite Way                                                                                                                                       Chicago                   IL      60695
6474858   NIEROB*JOSHUA                                          Address on File
6480537   Nieto, Melissa                                         Address on File
6479539   NIGEL BEAUTY EMORIUM                                   11252 MAGNOLIA BLVD                                                                                                                                            NORTH HOLLYWOOD           CA      91601
6479540   NIGEL BEAUTY EMPORIUM                                  11252 MAGNOLIA BLVD.                                                                                                                                           NORTH HOLLYWOOD           CA      91601
6485193   Nikki Kealalio                                         401 W. 220th St. Apt#589242 Beverly BlvdSte 200                                                                                                                Carson                    CA      90745
6481555   Niko Bolas                                             c/o M-Squared Mgmt201 West 72nd St. 12G                                                                                                                        New York                  NY      10023
6481039   Nikola Mirotic Stajovic dba Durmitor Siglo XXI Slu     San Vicente De Paul, 7 Bajo Vitoria                                                                                                                            Alava                             1001         Spain
6477613   NINJA NO 2 INC                                         8433 OAK ST                                                                                                                                                    NEW ORLEANS               LA      70118        UNITED
6486466   Ninja Tune - Wire                                      90 Kennington Lane                                                                                                                                             London                            SE11 4XD     KINGDOM
6486045   Nirvanix, Inc.                                         9191 Towne Centre Dr. Suite 510                                                                                                                                San Diego                 CA      92122
6479724   NISHIKAWA\M. MICHELLE                                  242 A CARL ST                                                                                                                                                  SAN FRANCISCO             CA      94117
6491694   NISHITH DESAI                                          Address on File
6484805   Nitecap Music                                          9469 Jefferson Blvd. Suite 102                                                                                                                                 Culver City               CA      90232




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MMLID     NAME                                                          ADDRESS                                              ADDRESS 2                              ADDRESS 3                ADDRESS 4   CITY               STATE   POSTAL CODE   COUNTRY
6475060   NIXON\EDWINA                                                  3960 GIBRALTAR AVE                                   #8                                                                          LOS ANGELES        CA      90008
6492703   NJ- DIVISION OF TAXATION                                      BANKRUPTCY SECTION                                   P.O. BOX 245                                                                TRENTON            NJ      08695-0245
6478513   NMHU                                                          PO BOX 9000                                                                                                                      LAS VEGAS          NV      87701
6476510   NO DEALS, INC.                                                529 N FAYETTEVILLE ST                                                                                                            ASHEBORO           NC      27203
6478785   NO PROBLEM INC./TRAFFIC                                       920 N. FORMOSA AVENUE                                                                                                            LOS ANGELES        CA      90046
6483747   No Spies, LLC                                                 c/o Rice Gorton Pictures2870 Los Feliz Pl. #301                                                                                  Los Angeles        CA      90039
6485745   No Static Pro Audio                                           3083 N. California St.                                                                                                           Burbank            CA      91504
6484024   Noah Sorota                                                   505 S. Barrington ave. #15                                                                                                       Los Angeles        CA      90049
6481815   Noble - NY Inc.                                               PO Box 377                                                                                                                       Northport          NY      11768
6481816   Noble Entertainment Security West                             P.O. Box 377                                                                                                                     Northport          NY      11768
6485418   Noble Tech Services, Inc.                                     13003 Van Nuys Blvd, Unit K                                                                                                      Pacoima            CA      91331
6477661   NOBLES\JOSHUA                                                 3622 ALLPOINT DR                                                                                                                 MARIETTA           GA      30062-6901
6477553   NOCITO\MICHAEL A                                              609 CHIPLEY ST                                                                                                                   WESTWEGO           LA      70094
6479033   NOE\DOUGLAS                                                   2421 FRE Y AVE                                                                                                                   VENICE             CA      90291
6485494   Noetic Security Services, Inc.                                4035 E. Thousand Oaks Blvd. Suite 230                                                                                            Thousand Oaks      CA      91362
6491474   NOISE COMPANY                                                 6230 WILSHIRE BLVD. #1201                                                                                                        LOS ANGELES        CA      90048
6485596   Noisy Neighbors Productions                                   15047 Rayneta Dr.                                                                                                                Sherman Oaks       CA      91403
6477614   NOLA BOX SUPPLY COMPANY                                       8501 EARHART BLVD                                                                                                                NEW ORLEANS        LA      70118
6477487   NOLA FILM LOGISTICS LLC                                       P O BOX 8788                                                                                                                     METAIRIE           LA      70011
6477488   NOLA FILM SERVICES                                            P O BOX 8788                                                                                                                     METAIRIE           LA      70011
6477662   NOLA PAINT AND SUPPLIES LLC                                   2900 ELYSIAN FIELDS                                                                                                              NEW ORLEANS        LA      70122
6477479   NOLA PEST CONTOL, LLC                                         828 ORION AVE                                                                                                                    METAIRIE           LA      70005
6477706   NOLA PROPS, LLC                                               4471 MICHOUD BLVD                                                                                                                NEW ORLEANS        LA      70129
6477489   NOLA PROTECTION GROUP, LLC                                    P O BOX 8788                                                                                                                     METAIRIE           LA      70011
6477615   NOLASPORT, LLC                                                9700 PALM ST                                                                                                                     NEW ORLEANS        LA      70118
6491316   NOM GROUP LLC, THE                                            9245 POPLAR AVE. SUITE 5 #164                                                                                                    GERMANTOWN         TN      38138
6482604   Nomar Mazara                                                  c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                               Northbrook         IL      60062
6481079   Nomist Realty/Boott/Lowell LLC                                Compass Realty Associates20 Mall Road, #325                                                                                      Burlington         MA      01803
6482973   Non Stop Music Library LLC                                    915 W 100 South                                                                                                                  Salt Lake City     UT      84104
6796773   NON-STOP MUSIC LIBRARY, LC                                    C.O WARNER/CHAPPELL PRODUCTION MUSIC, INC.           ATTN: DEBORAH KEEGAN, VICE PRESIDENT   1030 16TH AVENUE SOUTH               NASHVILLE          TN      37212
6796772   NON-STOP MUSIC LIBRARY, LC                                    C/O WARNER/CHAPPELL PRODUCTION MUSIC, INC.           1030 16TH AVE. SOUTH                                                        NASHVILLE          TN      37212
6485140   Nonstop Riot                                                  2909 10th St #1                                                                                                                  Santa Monica       CA      90405
6479356   NORDBY\CURTIS                                                 30516 GIBRALTAR PLACE                                                                                                            CASTAIC            CA      91384
6796777   NORDISK FILM A/S                                              MOSEDALVEJ 14                                                                                                                    VALBY                      2500          DENMARK
6796770   NORDISK FILM VALBY A/S                                        A DANISH LIMITED LIABILITY COMPANY                   MOSEDALVEJ 14                                                               VALBY                      2500          DENMARK
6796758   NORDISK FILM VALBY A/S                                        MOSEDALVEJ 14                                                                                                                    VALBY                      2500          DENMARK
6477997   NORDSTROM INC.                                                P.O. BOX 13569                                                                                                                   SCOTTSDALE         AZ      85267
6477995   NORDSTROM, INC.                                               PO BOX 79139                                                                                                                     PHOENIX            AZ      85062
6479748   NORDSTROM, INC.                                               PO BOX 91000                                                                                                                     SEATTLE            WA      98111
6476639   NORFLEET, CARRIE                                              763 FISHERMANS COURT                                                                                                             COROLLA            NC      27927
6476455   NORFOLK SOUTHERN CORPORATION                                  110 FRANKLIN ROAD, S.E.                                                                                                          ROANOKE            VA      24042-0028
6476670   NORKETT STORE FIXTURES,INC.                                   125 W 24TH STREET                                                                                                                CHARLOTTE          NC      28206
6479290   NORM MARSHALL & ASSOCIATES, INC.                              11059 SHERMAN WAY                                                                                                                SUN VALLEY         CA      91352
6482274   Norman Gillis and Associates, Inc.                            11 Music Circle South, Suite 104                                                                                                 Nashville          TN      37203
6486286   Norman Shapiro                                                P.O. Box 655                                                                                                                     Kaaawa             HI      96730
6474880   NORMAN*GLORY                                                  Address on File
6485479   Norstar Media Entertainment, Inc.                             2619 Country Lane                                                                                                                Westlake Village   CA      91361
6475661   NORTH AMERICAN CLEANING                                       CREW, LLC                                            PO BOX 263                                                                  METAIRIE           LA      70004
6476219   NORTH BRADDOCK BOROUGH                                        600 ANDERSON STREET                                                                                                              NORTH BRADDOCK     PA      15104
6475418   NORTH CAROLINA AQUARIUM                                       AT FORT FISHER                                       900 LOGGERHEAD ROAD                                                         KURE BEACH         NC      28449
6475631   NORTH CAROLINA DEPARTMENT                                     OF TRANSPORTATION                                    P.O. BOX 29615                                                              RALEIGH            NC      27626-0615
6479967   NORTH CAROLINA DEPARTMENT OF LABOR                            COMMISSIONER                                         1101 MAIL SERVICE CENTER                                                    RALEIGH            NC      27699-1101
6470541   NORTH CAROLINA DEPARTMENT OF REVENUE                          PO BOX 25000                                                                                                                     RALEIGH            NC      27640-0520
6475625   NORTH CAROLINA GLOBAL                                         TRANSPARK AUTHORITY                                  P.O. BOX 1476                                                               KINSTON            NC      28503
6480199   NORTH HILLS CITH HALL                                         C/O SAN FERNANDO VALLEY                              117 MACNEIL STREET                                                          SAN FERNANDO       CA      91340
6484361   North of Sunset dba ECI                                       9200 W. Sunst Blvd. Suite 434                                                                                                    West Hollywood     CA      90069
6485257   North Shore Agency, Inc                                       PO Box 7221                                                                                                                      Pasadena           CA      91109
6476850   NORTH STAR POST & SOUND, INC.                                 1223 N. 23RD STREET                                                                                                              WILMINGTON         NC      28405
6486229   North Venture Partners                                        1729 Telegraph Avenue                                                                                                            Oakland            CA      94612
6477480   NORTH\MONICA                                                  146 LAKE AVENUE                                                                                                                  METAIRIE           LA      70005
6796753   NORTHEAST CINEMAS                                             221 East Main Street 203                                                                                                         Milford            MA      01757
6475634   NORTHERN NM BOTTLING CO., INC.                                DBA THE WATER MAN                                    P.O. BOX 6464                                                               SANTA FE           NM      87502-6464
6485141   Northfield Properties, Inc.                                   3100 Donald Douglas Loop North                                                                                                   Santa Monica       CA      90405
6476997   NORTHROP ANTIQUES MALL                                        111 EAST MOORE STREET                                                                                                            SOUTHPORT          NC      28461
6475165   NORTHSHORE TECHNICAL COMMUNITY                                COLLEGE                                              1710 SULLIVAN DR                                                            BOGALUSA           LA      70427
6477810   NORTHSHORE TRAILER & EQUIPMENT                                1900 N. COLLINS BLVD.                                                                                                            COVINGTON          LA      70433
6485388   NorthStar Moving                                              9120 Mason Ave                                                                                                                   Chatsworth         CA      91311
6482437   Northstar Theater Partners, LLC dba Emagine Rochester Hills   200 Barclay Circle                                                                                                               Rochester          MI      48307
6479606   NORTON SALES INC                                              7429 LAUREL CANYON BLVD                                                                                                          NORTH HOLLYWOOD    CA      91605
6492773   NORTON* CELINDA                                               Address on File




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MMLID     NAME                                               ADDRESS                                                            ADDRESS 2                              ADDRESS 3                          ADDRESS 4                 CITY               STATE   POSTAL CODE COUNTRY
6492870   NORTON* MICHAEL ANTHONY                            11770 BAYFIELD CT.                                                                                                                                                     RESTON             VA      20194
6477507   NORTON\SAMUEL                                      3245 HERO DRIVE                                                                                                                                                        GRETNA             LA      70053
6468894   NOTA BENE FILMS, INC.                              C/O CREATIVE ARTISTS AGENCY                                        ATTN: SPENCER BAUMGARTEN               2000 AVENUE OF THE STARS                                     LOS ANGELES        CA      90067
6484236   Nota Bene Films, Inc.                              c/o Creative Artists Agency2000 Avenue of the StarsAttn: Spencer                                                                                                       Los Angeles        CA      90067
6476187   NOVAK AUTO PARTS INC                               1640 ROUTE 68                                                                                                                                                          NEW BRIGHTON       PA      15066
6479753   NOVAK, RONALD                                      2609 NE 195TH ST. APT. A307                                                                                                                                            LAKE FOREST PARK   WA      98155
6475944   NOVARRETO\JUSTIN                                   PO BOX 127                                                                                                                                                             NAGUABO            PR      00718
6479794   NOWLAN\SEAN                                        42 PARAGON RD                                                                                                                                                          TORONTO            ON      M9R 1J8     CANADA
6479795   NOWLAN\SEAN                                        42 PARAGON RD                                                                                                                                                          TORONTO            ON      M9R IJ8     CANADA
6483244   NowLive, LLC                                       1107 Glendon Ave.                                                                                                                                                      Los Angeles        CA      90024
6477755   NRG WINDOW & SCREEN, LLC                           518 MAGNOLIA ST                                                                                                                                                        HOUMA              LA      70360
6796738   NSTAR ENTERTAINMENT, LLC                           5070 PARKSIDE AVE SUITE 5300D                                                                                                                                          PHILADELPHIA       PA      19131
6479072   NT AUDIO                                           1833 CENTINELA BOULEVARD                                                                                                                                               SANTA MONICA       CA      90404
6479097   NT AUDIO FILM LABS                                 PO BOX 1766                                                                                                                                                            SANTA MONICA       CA      90406
6485154   NT Audio Video Film Labs                           PO Box 1766                                                                                                                                                            Santa Monica       CA      90406
6482275   NTS Pro Media, Inc.                                44 Music Square E.                                                                                                                                                     Nashville          TN      37203
6485917   Nu Color Printing Inc.                             3962 Laurel Canyon Blvd                                                                                                                                                Studio City        CA      91604
6479912   NUF Enterprises, LLC                               Address on File                                                                                                                                                                                               New
6486527   Nukuhau Productions Ltd.                           P.O. Box 467 Kumeu                                                                                                                                                     Auckland                               Zealand
6483341   Numbers and Spaces, Inc.                           1044 W. Edgeware Rd.                                                                                                                                                   Los Angeles        CA      90026
6474285   NURRE*BRIAN                                        Address on File
6480513   Nurre, Brian M                                     Address on File
6491944   NW COMMUNICATIONS OF PHOENIX, INC., ON             BEHALF OF ITS STATION KSAZ                                         C/O NW COMMUNICATIONS OF PHOENIX,      ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE       LOS ANGELES        CA      90025
6491945   NW COMMUNICATIONS OF TEXAS, INC. ON BEHALF         OF ITS STATION KDFW                                                C/O NW COMMUNICATIONS OF TEXAS, INC.   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE       LOS ANGELES        CA      90025
6491946   NW COMMUNICATIONS OF TEXAS, INC., ON BEHALF        OF ITS STATION KDFI                                                C/O NW COMMUNICATIONS OF TEXAS, INC.   ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE       LOS ANGELES        CA      90025
6488544   NY- DEPARTMENT OF FINANCE                          C/O BANKRUPTCY AND ASSIGNMENT UNIT                                 ATTN: YEHUDA MILLER, BANKRUPTCY UNIT   345 ADAMS STREET, 10TH FLOOR                                 BROOKLYN           NY      11201
                                                                                                                                                                       GOV W AVERELL HARRIMAN STATE       STATE CAMPUS, BUILDING 12,
6492790   NY- DEPARTMENT OF LABOR                            C/O UNEMPLOYMENT INSURANCE DIVISION                                ATTN: DEBBIE ANZIANO                   OFFC BLDG                          ROOM 256                   ALBANY            NY      12240
6492725   NY- DEPARTMENT OF TAXATION                         C/O BANKRUPTCY SECTION                                             PO BOX 5300                                                                                          ALBANY            NY      12205-0300
6481841   NY State Unemployment Insurance Fund               PO Box 4301                                                                                                                                                             Binghamton        NY      13902
6796735   NYBLOM, JACK                                       PO BOX 720728                                                                                                                                                           SAN JOSE          CA      95172-0728
6481514   NYC Mayors Off. of Film Theatre & Broadc           1697 Broadway                                                                                                                                                           New York          NY      10019
6478494   NYE, JR.\BEN                                       PO BOX 869                                                                                                                                                              SAN JUAN PUEBLO   NM      87566
6480196   NYS DEPARTMENT OF TAXATION AND FINANCE             DIVISION OF TREASURY                                               110 STATE STREET, FLOOR 2                                                                            ALBANY            NY      12207
6480317   NYS DEPARTMENT OF TAXATION AND FINANCE             STATE PROCESSING CENTER                                            PO BOX 4148                                                                                          BINGHAMTON        NY      13902-4148
6865934   NYT Digital Corprate Subscriptions                 c/o Law Office of William J. McDermott, LLP                        190 East Jericho Turnpike, Suite 204                                                                 Mineola           NY      11501
6485918   O & H Designers' Delivery Services                 4312 Camellia Ave                                                                                                                                                       Studio City       CA      91604
6475818   O. HENRY HOTEL                                     324 W. WENDOVER AVE                                                SUITE 300                                                                                            GREENSBORO        NC      27408
6796724   OAK INVESTMENT PARTNERS                            ATTN: EDWARD F. GLASSMEYER                                         THREE PICKWICK PLAZA                   SUITE 302                                                     GREENWICH         CT      06830
6477046   OAK ISLAND ACCOMMODATIONS INC                      8901 EAST OAK ISLAND DRIVE                                                                                                                                              OAK ISLAND        NC      28465
6477047   OAK ISLAND\TOWN OF                                 4601 EAST OAK ISLAND DRIVE                                                                                                                                              OAK ISLAND        NC      28465
6476691   OAKDALE GREENHOUSES, LLC                           PO BOX 481444                                                                                                                                                           CHARLOTTE         NC      28269
6483454   Oasis Imagery                                      6500 Sunset Blvd                                                                                                                                                        Los Angeles       CA      90028
6476668   OATES, TIMOTHY                                     2438 BAY ST.                                                                                                                                                            CHARLOTTE         NC      28205
6469193   OBALT MUSIC PUBLISHING AMERICA, INC.               (PAY BY WIRE)                                                      317 MADISON AVE. #2310                                                                               NEW YORK          NY      10017
6474337   O'BRIEN*JENNIFER                                   Address on File
6476998   O'BRYAN\CONNIE A.                                  108 EAST MOORE STREET                                                                                                                                                  SOUTHPORT          NC      28461
6492704   OCEAN AVENUE ENTERTAINMENT, INC.                   ATTN: CHRIS BUENO                                                  P.O. BOX 5458                                                                                       CARMEL             CA      93921
6475722   OCEAN AVENUE SCREENING ROOM                        1401 OCEAN AVENUE,                                                 SUITE # 110                                                                                         SANTA MONICA       CA      90401
6478859   OCEAN FRONT EDITORIAL, INC.                        11406 KINGSLAND ST                                                                                                                                                     LOS ANGELES        CA      90066
6476999   OCEAN OUTFITTERS                                   121 E. MOORE STREET                                                                                                                                                    SOUTHPORT          NC      28461
6485009   Ocean Screening Room                               1401 Ocean AvenueSuite 110                                                                                                                                             Santa Monica       CA      90401
6479807   OCEAN TIDES PRODUCTIONS LTD                        4705 STRATHCONA RD                                                                                                                                                     NORTH VANCOUVER    BC      V7G 1G9      CANADA
6484806   Oceana Inc                                         10536 Culver Blvd                                                                                                                                                      Culver City        CA      90232
6476031   OCEANAIR INC.                                      186 A LEE BURBANK HIGHWAY                                                                                                                                              REVERE             MA      02151
6483631   Oceanfront Pictures, Inc.                          c/o BenderSpink Management110 S. Fairfax Ave #350                                                                                                                      Los Angeles        CA      90036
6486369   Oceanside Institute, The                           3855 Oceanside Dr.                                                                                                                                                     Greenbank          WA      98253
6474196   O'CONNOR*ANDREW                                    Address on File
6477446   O'CONNOR\PAT                                       2209 METAIRIE CT                                                                                                                                                       METAIRIE           LA      70001
6482418   Octane Design, Inc.                                108 South Main St. Suite A                                                                                                                                             Royal Oak          MI      48067
6481276   Octane Films, Inc.                                 1 Union Sq. West Suire 613                                                                                                                                             New York           NY      10003
6471120   ODD BOX 2, LLC                                     14301 CALIBER DR. SUITE 200                                                                                                                                            OKLAHOMA CITY      OK      73134
6480781   Oddo, Dominick                                     Address on File
6483066   Odin Wadleigh                                      245 S. Berendo St. #204                                                                                                                                                Los Angeles        CA      90004
6477587   ODOMS\QUINTIN                                      1701 INDEPENDENCE                                                                                                                                                      NEW ORLEANS        LA      70117
6484237   Oedipus Productions, Inc                           c/o Creative Artists Agency2000 Avenue of the Stars                                                                                                                    Los Angeles        CA      90067
6796728   OEDIPUS PRODUCTIONS, INC.                          C/O CREATIVE ARTISTS AGENCY                                        ATTN: SCOTT GREENBERG                  2000 AVENUE OF THE STARS                                     LOS ANGELES        CA      90067
6485010   Oedipus, Inc.                                      1299 Ocean Ave. #333                                                                                                                                                   Santa Monica       CA      90401
6477679   OFFESET PRINTING COMPANY, INC                      5516 PEPSI STREET                                                                                                                                                      HARAHAN            LA      70123
6492851   OFFICE DEPOT                                       ATTN: DAVID PLOURDE                                                6600 N. MILITARY TRAIL - S413G                                                                      BOCA RATON         FL      33496




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6484431   Office Depot                                                  P.O. Box 70025                                                                                                                 Los Angeles       CA      90074
6491734   OFFICE DEPOT                                                  PO BOX 70025                                                                                                                   LOS ANGELES       CA      90074-0025
6478899   OFFICE DEPOT                                                  PO BOX 70049                                                                                                                   LOS ANGELES       CA      90074-0049
6476798   OFFICE FURNITURE SALVAGE                                      2705 MARKET STREET                                                                                                             WILMINGTON        NC      28403
6477742   OFFICE MACHINE RENTAL LLC                                     PO BOX 26563                                                                                                                   NEW ORLEANS       LA      70186
6478123   OFFICE MAX                                                    3301 MENAUL BLVD. NE                                                                                                           ALBUQUERQUE       NM      87107
6490811   OFFICE OF FINANCE, CITY OF LOS ANGELES                        ATTN: SONIA C.                               PO BOX 53234                                                                      LOS ANGELES       CA      90053
6484045   Office of Finance, City of Los Angeles                        PO Box 53234Attn: Sonia C.                                                                                                     Los Angeles       CA      90053
6468667   OFFICE OF THE ATTORNEY GENERAL                                STATE OF CALIFORNIA                          KAMALA D. HARRIS                 1300 I STREET           SUITE 1740               SACRAMENTO        CA      95814
6468668   OFFICE OF THE ATTORNEY GENERAL                                STATE OF NEW YORK                            ERIC T. SCHNEIDERMAN             DEPT. OF LAW            THE CAPITOL, 2ND FLOOR   ALBANY            NY      12224-0341
6480249   OFFICE OF THE CITY TREASURER                                  275 EAST OLIVE AVENUE                        P.O. BOX 7145                                                                     BURBANK           CA      91510-7145
6480259   OFFICE OF THE RICHMOND COUNTY CLERK                           130 STUYVESANT PLACE - 2ND FLOOR                                                                                               STATEN ISLAND     NY      10301
6480184   OFFICE OF THE TAX COLLECTOR                                   GEORGE W. PUTRIS, TAX COLLECTOR              70 WEST JEDDING STREET           EAST WING, 6TH FLOOR                             SAN JOSE          CA      95110
6480254   OFFICE OF THE TREASURER                                       1200 THIRD AVE                               SUITE 100                                                                         SAN DIEGO         CA      92101
6480246   OFFICE OF THE TREASURER & TAX COLLECTOR                       1 DR. CARLTON B. GOODLETT PLACE              CITY HALL - ROOM 140                                                              SAN FRANCISCO     CA      94102
6478282   OFFICE SYSTEMS INSTALLATION                                   P.O. BOX 67376                                                                                                                 ALBUQUERQUE       NM      87193-7376
6484432   Office Team                                                   PO Box 743295                                                                                                                  Los Angeles       CA      90074
6477680   OFFSET PRINTING COMPANY, INC.                                 5616 PEPSI STREET                                                                                                              HARAHAN           LA      70123
6482378   Ohio Athletic Commission                                      242 Federal Plaza West, Suite 405                                                                                              Youngstown        OH      44503
6479985   OHIO DEPARTMENT OF COMMERCE                                   DIRECTOR                                     77 SOUTH HIGH ST., 23RD FLOOR                                                     COLUMBUS          OH      43215-6123
6478495   OHKAY CASINO-RESORT-HOTEL                                     P.O. BOX 1270                                                                                                                  SAN JUAN PUEBLO   NM      87566
6491288   O'KELLEY & SOROHAN, ATTORNEYS AT LAW, LLC                     2170 SATELLITE BLVD., SUITE 375                                                                                                DULUTH            GA      30097
6479961   OKLAHOMA DEPARTMENT OF LABOR                                  COMMISSIONER                                 3017 N. STILES                   SUITE 100                                        OKLAHOMA CITY     OK      73105
6477910   OLANO\DALE                                                    9020 S CHOCTAW DR                                                                                                              BATON ROUGE       LA      70815
6477000   OLD AMERICAN FISH, INC.                                       107 N. ATLANTIC AVENUE                                                                                                         SOUTHPORT         NC      28461
6476738   OLD BOOKS ON FRONT ST. CO.                                    249 NORTH FRONT STREET                                                                                                         WILMINGTON        NC      28401
6477001   OLD ELEGANCE ANTIQUES                                         120 E. MOORE ST.                                                                                                               SOUTHPORT         NC      28461
6479154   OLD FOCALS                                                    45 2.GREEN ST                                                                                                                  PASADENA          CA      91105
6478149   OLD OAK TREE ANTIQUE MALL                                     111 CARDENAS NE                                                                                                                ALBUQUERQUE       NM      87108
6479916   OLE Media Management L.P.                                     Address on File
6486447   Ole Media Management, LP                                      266 King St. West, Suite 500                                                                                                   Toronto           ON      M5V 1H8      CANADA
6492423   OLE MEDIA MANAGEMENT, LP                                      ATTN: DENIS DINSMORE, VP/FINANCE             266 KING ST. WEST, SUITE 500                                                      TORONTO           ON      M5V 1H8      CANADA
6485645   Olga Karavaeva                                                P.O. Box 17782                                                                                                                 Encino            CA      91416
6481394   Oliver Cheng Catering and Events, LLC                         12-16 Vestry St.                                                                                                               New York          NY      10013
6483875   Oliver Kraus                                                  8530 Brier Dr.                                                                                                                 Los Angeles       CA      90046
6477949   OLIVER/LARRY                                                  3708 EL CAMPO AVENUE                                                                                                           FORT WORTH        TX      76107
6479278   OLIVER\KYLE                                                   20524 CHARLIE CT                                                                                                               SANTA CLARITA     CA      91350
6476466   OLIVER\STEPHEN MARC                                           110 POPLAR AVE                                                                                                                 MOUNDSVILLE       WV      26041
6492173   OLLAWOOD PRODUCTIONS, LLC AND LEFT BEHIND                     INVESTMENTS, LLC                             ATTN: MR. BILL A. BUSBICE, JR.   135 HUCKULBERRY DRIVE                            JACKSON HOLE      WY      83001
6759523   Ollawood Productions, LLC, and Left Behind Investments, LLC   Bill A. Busbice, Jr.                         135 Huckleberry Drive                                                             Jackson Hole      WY      83001
6759523   Ollawood Productions, LLC, and Left Behind Investments, LLC   Mitchel H. Perkiel                           875 Third Avenue                                                                  New York          NY      10022
6480484   Ollins, Dean                                                  Address on File
6492821   OLSON VISUAL, INC.                                            ATTN: RICHARD OLSON, PRESIDENT               13000 WEBER WAY                                                                   HAWTHORNE         CA      90250
6476289   OLSON\LESTER C                                                17 CAMBRIDGE ROAD                                                                                                              PITTSBURGH        PA      15202        UNITED
6474070   OLSWANG                                                       90 HIGH HOLBORN                                                                                                                GREATER LONDON            WC1V 6XX     KINGDOM
                                                                                                                                                                                                                                              UNITED
6486502   Olswang                                                       90 High Holborn                                                                                                                London                    WC1V 6LJ     KINGDOM
6483455   Olugbemiga Idowu                                              1540 N. Bronson Ave. #5                                                                                                        Los Angeles       CA      90028
6475023   OLVERA\BARBARA                                                1730 S. FEDERAL HWY                          #110                                                                              DELRAY BEACH      FL      33483
6481198   Olympus Pictures Publishing, LLC                              67 Park PI E                                                                                                                   Morristown        NJ      07960
6478267   O'MALLEY GLASS                                                531 HAINES AVE. NW                                                                                                             ALBUQUERQUE       NM      87125
6483701   Omega Cinema Props, Inc                                       5857 Santa Monica Blvd.                                                                                                        Los Angeles       CA      90038
6492710   OMEGA CONSTRUCTION COMPANY, INC.                              ATTN: MARINA SAROUKOS, PRESIDENT             P.O. BOX 7038                                                                     NORTHRIDGE        CA      91327
6485416   Omega Construction Company, Inc.                              P.O. Box 7038                                                                                                                  Northridge        CA      91327
6476349   OMEGA SECURITY SERVICES, INC                                  103 YOST BLVD                                                                                                                  PITTSBURGH        PA      15221
6474830   OMELL*KEVIN J                                                 Address on File
6484480   O'Melveny & Myers, LLP                                        P.O. Box 894436                                                                                                                Los Angeles       CA      90189
6796716   OMNIA MEDIA, INC                                              300 CORPORATE POINTE STE 550                                                                                                   CULVER CITY       CA      90230-7617
6796707   OMNILAB MEDIA GROUP                                           1/4-16 YURONG ST                                                                                                               EAST SYDNEY       NSW     2010         AUSTRALIA
6796710   OMNILAB PTY. LTD.                                             1/4-16 YURONG ST                                                                                                               EAST SYDNEY       NSW     2010         AUSTRALIA
6482895   Omri Casspi                                                   5927 Almeda Rd. #2-1717                                                                                                        Houston           TX      77004
6485376   On Call Medical                                               23209 Runnymede Street                                                                                                         West Hills        CA      91307
6475994   ON LOCATION CUISINE                                           5 CALLE SALDANA                                                                                                                SAN JUAN          PR      00925
6476002   ON WHEEL SERVICES CORP                                        PO BOX 31286                                                                                                                   SAN JUAN          PR      00929
6483702   OnDisplay Creative Corp.                                      1015 N. Orange Dr.                                                                                                             Los Angeles       CA      90038
6481946   One Campaign, The                                             1400 Eye St. NW, Suite 600                                                                                                     Washington        DC      20005
6485872   One October Entertainment                                     10153 1/2 Riverside Dr. Suite 680                                                                                              North Hollywood   CA      91602
6475834   ONE PRIVATE LIBRARY                                           7321 BEVERLY BLVD                            SUITE 4                                                                           LOS ANGELES       CA      90036
6479650   ONE STOP LEASING INC.                                         4517 MONTE VERDE ST.                                                                                                           MONTCLAIR         CA      91763
6796702   ONE THREE MEDIA                                               300 OLYMPIC BLVD.                            BLDG.1, SUITE 2520                                                                SANTA MONICA      CA      90404
6796694   ONE THREE TELEVISION, LLC                                     300 OLYMPIC BLVD.                            BLDG.1, SUITE 2520                                                                SANTA MONICA      CA      90404




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MMLID     NAME                                                    ADDRESS                                               ADDRESS 2                       ADDRESS 3                          ADDRESS 4                    CITY              STATE   POSTAL CODE COUNTRY
6796690   ONE THREE TELEVISION, LLC                               D/B/A ONE THREE MEDIA                                 300 OLYMPIC BLVD., BUILDING 1   SUITE 2520                                                      SANTA MONICA      CA      90404
6468669   ONE WEST BANK                                           ONE WEST BANK N.A.                                    LEGAL DEPARTMENT                888 EAST WALNUT STREET                                          PASADENA          CA      91101
6479016   O'NEILL\BRIAN                                           1511 MACKAY LANE                                                                                                                                      REDONDO BEACH     CA      90278
6482605   Onelki Garcia                                           c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                     Northbrook        IL      60062
6480065   ONEWEST BANK                                            AS ULTIMATES AGENT                                    888 E WALNUT STREET                                                                             PASADENA          CA      91101
6468682   ONEWEST BANK                                            JOE WOOLF                                             2450 BROADWAY AVENUE #400                                                                       SANTA MONICA      CA      90404
6468683   ONEWEST BANK                                            MS. DAISY STALL                                       2450 BROADWAY AVENUE #400                                                                       SANTA MONICA      CA      90404
6486551   OneWest Bank (a division of CIT Bank)                   Daisy Stall                                           888 East Walnut Street                                                                          Pasadena          CA      91101
6480066   ONEWEST BANK N.A.                                       AS ADMINISTRATIVE AGENT                               888 E WALNUT STREET                                                                             PASADENA          CA      91101
6796669   ONEWEST BANK N.A.,                                      2450 BROADWAY AVENUE                                  SUITE 400                                                                                       SANTA MONICA      CA      90404
6486572   ONEWEST BANK N.A., AS AGENT                             2450 BROADWAY AVENUE, SUITE 400                                                                                                                       SANTA MONICA      CA      90404
6796675   ONEWEST BANK, FSB                                       ATTN: JOSEPH WOOLF                                    2450 BROADWAY AVENUE            SUITE 400                                                       SANTA MONICA      CA      90404
6480067   ONEWEST BANK, FSB N.A.                                  AS ADMIN. AGENT                                       888 E WALNUT STREET                                                                             PASADENA          CA      91101
6480059   ONEWEST BANK, FSB N.A.                                  AS AGENT                                              2450 BROADWAY                   SUITE 400                                                       SANTA MONICA      CA      90404
6486573   ONEWEST BANK, FSB, AS ADMINISTRATIVE AGENT              2450 BROADWAY AVENUE, SUITE 400                                                                                                                       SANTA MONICA      CA      90404
6486574   ONEWEST BANK, FSB, N.A., AS ADMINISTRATIVE AGENT        888 E. WALNUT STREET                                                                                                                                  Pasadena          CA      91101
6492348   ONLY AGENCY, INC.* THE                                  ATTN: KENT BELDEN, PRESIDENT                          100 11TH AVENUE, #3E                                                                            NEW YORK          NY      10011
6492705   ONYX TRANSPORTATION                                     ATTN: STEVE JOHNSON, PRESIDENT                        P.O. BOX 55353                                                                                  VALENCIA          CA      91385
6492429   OPEN ROAD ENTERTAINMENT                                 ATTN: JEFF SMITH, CEO                                 3003 WEST OLIVE AVE., SUITE 1                                                                   BURBANK           CA      91505
6491433   OPEN ROAD ENTERTAINMENT LLC                             9570 W PICO BLVD. SUITE 200                                                                                                                           LOS ANGELES       CA      90035
                                                                                                                                                                                           13245 RIVERSIDE DRIVE, STE
6479854   OPERATIVE PLASTERERS' AND                               CEMENT MASONS' INTERNATIONAL ASSOC.                   ATTN: LOCAL 755                 ATTN: LEGAL DEPT.                  350                          SHERMAN OAKS      CA      91423

6479863   OPERATIVE PLASTERERS' AND                               CEMENT MASONS' INTERNATIONAL ASSOCIATION              ATTN: LEGAL DEPT.               11720 BELTSVILLE DRIVE, STE. 700                                BELTSVILLE        MD      20705
6478482   OPSAHL\RICHARD B.                                       141 CHAMISA STREET                                                                                                                                    LOS ALAMOS        NM      87544
6484468   Opticus, Inc.                                           P.O. Box 86631                                                                                                                                        Los Angeles       CA      90086        UNITED
6796663   OPTIMUM RELEASING LIMITED                               50 MARSHALL STREET                                                                                                                                    LONDON                    W1F 9BQ      KINGDOM
6485536   Options For Life Foundation                             P.O. Box 8476                                                                                                                                         Calabasas         CA      91372
6478596   OPTOMETRIX                                              11701 WILSHIRE BLVD STE 10                                                                                                                            LOS ANGELES       CA      90025
6469187   OPTOMIZED COMPUTER SOLUTIONS, INC.                      DBA TECH ALLIANCE                                     314 5TH AVE., 5TH FLOOR                                                                         NEW YORK          NY      10001
6481459   Optomized Computer Solutions, Inc. dba Tech Alliance    211 E. 43rd Street, 7th Floor                                                                                                                         New York          NY      10017
6485919   Opus 1 Production Music Library, LLC                    c/o AECG, LLC12711 Ventura Blvd. Suite 110                                                                                                            Studio City       CA      91604
6759497   Orange Barrel Media                                     250 N. Hartford Ave.                                                                                                                                  Columbus          OH      43222
6759497   Orange Barrel Media                                     c/o Szabo Associates, Inc.                            3355 Lenox Road NE, Suite 945                                                                   Atlanta           GA      30326
6480195   ORANGE COUNTY TREASURER-                                TAX COLLECTOR'S OFFICE                                11 CIVIC CENTER PLZ                                                                             SANTA ANA         CA      92701
6483963   Orange Street Productions, Inc.                         6200 Orange Street #1                                                                                                                                 Los Angeles       CA      90048
6484882   Orbit Satellite Service                                 313 21st Street                                                                                                                                       Manhattan Beach   CA      90266
6479962   OREGON BUREAU OF LABOR AND INDUSTRIES                   COMMISSIONER                                          800 NE OREGON STREET            SUITE 1045                                                      PORTLAND          OR      97232
6480334   OREGON DEPARTMENT OF REVENUE                            955 CENTER ST NE                                                                                                                                      SALEM             OR      97310-2555
6486324   Oregon Department of Revenue                            PO Box 14260                                                                                                                                          Salem             OR      97309
6473953   OREGON DEPARTMENT OF REVENUE                            PO BOX 14260                                                                                                                                          SALEM             OR      97309-5060
6480334   OREGON DEPARTMENT OF REVENUE                            PO BOX 14725                                                                                                                                          SALEM             OR      97309-5018
6486319   Oregon Historical Society                               1200 S. W. Park Avenue                                                                                                                                Portland          OR      97205
6491947   OREGON TELEVISION, INC., ON BEHALF OF ITS               TELEVISION STATION WOFL                               C/O OREGON TELEVISION, INC.     ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE          LOS ANGELES       CA      90025
6484362   Oriane Gay dba Crossborder Films, Inc.                  999 N. Doheny Dr.                                                                                                                                     West Hollywood    CA      90069
6481477   Origin LLC                                              264 West 40th Street, Ste. 601                                                                                                                        New York          NY      10018
6483111   Original Concepts, Inc.                                 215 S. Santa Fe Ave. #12                                                                                                                              Los Angeles       CA      90012
6476799   ORKIN PEST CONTROL CO.                                  98 LULLWATER DRIVE                                                                                                                                    WILMINGTON        NC      28403
6482120   Orlando World Center Marriott Resort                    Po Box 402751                                                                                                                                         Atlanta           GA      30384
6480766   Ornelas, Julianna                                       Address on File
6478150   ORONA\MAIRE-JEANNE                                      421 JEFFERSON ST, NE                                                                                                                                  ALBUQUERQUE       NM      87108
6478763   ORRISS\BRUCE                                            8033 EMERSON AVENUE                                                                                                                                   LOS ANGELES       CA      90045
6476739   ORSAK\REBECCA                                           129 S. 8TH STREET                                                                                                                                     WILMINGTON        NC      28401
6479629   ORTEGA, ROD                                             12021 BURBANK BLVD #204                                                                                                                               VALLEY VILLAGE    CA      91607
6478079   ORTEGA\RANDY                                            1519 SUNSET FARM RD SW                                                                                                                                ALBUQUERQUE       NM      87105
6478383   ORTEGA\RANDY                                            2535 LAZO CONTE                                                                                                                                       SANTA FE          NM      87505
6479063   ORTEGA-MIRO, RICHARD                                    2118 WILSHIRE BLVD. #595                                                                                                                              SANTA MONICA      CA      90403
6476602   ORTIZ, BARTOLO JOHN                                     901 BROOKSIDE DR.                                                                                                                                     GREENSBORO        NC      27408
6475109   ORTIZ\BENJAMIN                                          DBA EL CORA PRODUCTOS                                 1214 E. OLYMPIC BLVD.                                                                           LOS ANGELES       CA      90021
6479120   OSBORNE\AARON                                           3314 NORTH MOUNT CURVE AVENUE                                                                                                                         ALTADENA          CA      91001
6476400   OSELLA\MICHAEL                                          403 FRANKLIN AVENUE                                                                                                                                   CANONSBURG        PA      15317
6480619   Osherow, Alex                                           Address on File
6480614   Osika, Tyler                                            Address on File
6480524   O'Steen, Damon                                          Address on File
6480494   Oster, James                                            Address on File
6480947   Osuna, Melissa                                          Address on File
6478718   OTTO NEMENZ                                             870 N VINE ST                                                                                                                                         HOLLYWOOD         CA      90038
6474751   OTTO*REBECCA                                            Address on File
6479925   Our Alchemy, LLC                                        Address on File
6477867   OUR LADY OF LOURDES CHURCH                              3924 BERKLEY ST                                                                                                                                       SLIDELL           LA      70458




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MMLID     NAME                                                     ADDRESS                                            ADDRESS 2                        ADDRESS 3                        ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6483245   Out of the Box Productions fso Dwight Howard             10960 Wilshire Blvd., 5th Floor                                                                                                  Los Angeles       CA      90024
6485252   Outdoor Sales                                            2161 Adair St.                                                                                                                   San Marino        CA      91108
6477377   OUTDOOR VENTURE CORP.                                    2280 HWY 1651 SOUTH                                                                                                              STEARNS           KY      42647
6483102   Outfest                                                  3470 Wilshire Blvd                                                                                                               Los Angeles       CA      90010
6491813   OUTFRONT MEDIA, INC.                                     P.O. BOX 33074                                                                                                                   NEWARK            NJ      07188
6796656   OUTLAND CREATIVE WORKS                                   MATT DAVID                                         1925 CENTURY PARK EAST           SUITE 1255                                   LOS ANGELES       CA      90067
6491434   OUTLAND CREATIVE WORKS, INC.                             1531 LIVONIA AVE.                                                                                                                LOS ANGELES       CA      90035
6482156   Outpost Audio, Inc.                                      2150 S. Dixie Hwy. Suite 203                                                                                                     Miami             FL      33133
6796646   OUTSOURCE MEDIA GROUP                                    111 2ND AVE NE                                                                                                                   ST. PETERSBURG    FL      33701
6478268   OVER THE RAINBOW CLEANING, LLC                           P.O. BOX 25092                                                                                                                   ALBUQUERQUE       NM      87125
6490445   OVERALLS, INC A/K/A STEPHEN ZAHN                         ATTN: J. FRANK STEWART                             446 1/2 LANDFAIR AVENUE                                                       LOS ANGELES       CA      90024
6489468   OVERALLS, INC.                                           C/O THE ENDEAVOR AGENCY                            ATTENTION: LEE STOLLMAN          9601 WILSHIRE BLVD., 3RD FLOOR               BEVERLY HILLS     CA      90212
6475276   OVERALLS, INC.                                           F/S/O STEVE ZAHN - C/O MICHAEL SHEDLER             350 5TH AVE. STE #3505                                                        NEW YORK          NY      10118-0019
6482695   Overcoat Records                                         6060 N. Nickerson                                                                                                                Chicago           IL      60631
6483210   Overcrank Media, LLC                                     2458 Hunter StreetSte.3                                                                                                          Los Angeles       CA      90021
6478643   OVERFIELD, JEFF                                          1726 GARFIELD PL. #8                                                                                                             LOS ANGELES       CA      90028
6485024   Overflow Studio                                          263 Entrada Dr.                                                                                                                  Santa Monica      CA      90402
6483502   Oversight Roadshows, LLC                                 P.O. Box 32158                                                                                                                   Los Angeles       CA      90032
6469155   OVERTURE                                                 JP MORGAN CHASE LOCKBOX 24182                      24182 NETWORK PLACE                                                           CHICAGO           IL      60673-1241
6486528   Overture                                                 JP Morgan Chase lockbox 2418224182 Network Place                                                                                 Chicago           IL
6485708   OVGuide.com                                              16255 Ventura Blvd. Suite 500                                                                                                    Encino            CA      91436
6476378   OVINGTON\CHRISTOPHER R                                   138 UNIVERSAL ROAD                                                                                                               PITTSBURGH        PA      15235
6474470   OVITZ*KIMBERLY                                           Address on File
6482691   Ow Myeye Productions                                     2311 W. Berwyn                                                                                                                   Chicago           IL      60625
6796644   OWEN WILSON                                              C/O UNITED TALENT AGENCY                           ATTN: JIM BERKUS                 9336 CIVIC CENTER DR                         BEVERLY HILLS     CA      90210
6477785   OWEN\DANIEL                                              11503 RABBIT RUN                                                                                                                 HAMMOND           LA      70401
6477718   OWEN\JESSE                                               1401 SAINT ANDREW ST APT 230                                                                                                     NEW ORLEANS       LA      70130
6482796   Oxford Granada Theatre Board, Inc.                       409 Ogden St.                                                                                                                    Oxford            NE      68967
6483876   OZLA Pictures, Inc.                                      1800 Camino Palmero St.                                                                                                          Los Angeles       CA      90046
6478879   P.O.V. FILMSERVICES, INC.                                2137 WHITLEY AVENUE                                                                                                              LOS ANGELES       CA      90068
6484292   P.O.V. Filmservices, Inc.                                FSO Steve Beeson2137 Whitley Avenue                                                                                              Los Angeles       CA      90068
6481881   PA Department of Revenue                                 P.O. Box 280427                                                                                                                  Harrisburg        PA      17128
6481882   PA Department of State                                   P.O. Box 280427                                                                                                                  Harrisburg        PA      17128
6480841   Pablik, Karita                                           Address on File
6483877   Pablo Films, Inc.                                        862 S. Gretna Green Way                                                                                                          Los Angeles       CA      90046
6480823   Pabon, Letitia                                           Address on File
6492283   PACIFIC BELL TELEPHONE COMPANY                           C/O AT&T SERVICES, INC.                            ATTN: KAREN A. CAVAGNARO, LEAD   ONE AT&T WAY, ROOM 3A104                     BEDMINSTER        NJ      07921
6486077   Pacific Business Capital Corporation - MediaDefender     PO Box 19067                                                                                                                     Irvine            CA      92623
6479678   PACIFIC CORRUGATED PIPE                                  P.O. BOX 2450                                                                                                                    NEWPORT BEACH     CA      92658-8972
6491233   PACIFIC DESIGN CENTER 1, LLC                             750 LEXINGTON AVE. 28TH FLOOR                                                                                                    NEW YORK          NY      10022
6478745   PACIFIC INSULATION CO.                                   2741 S. YATES AVE.                                                                                                               LOS ANGELES       CA      90040
6480398   PACIFIC ISLANDERS IN COMMUNICATIONS                      615 PIIKOI STREET, SUITE 1504                                                                                                    HONOLULU          HI      96814
6485960   Pacific Lighting & Electrical Inc.                       4804 Laurel Cyn. Blvd., #182                                                                                                     Valley Village    CA      91607
6485215   Pacific National Group                                   2392 S Bateman Ave                                                                                                               Irwindale         CA      91010
6475700   PACIFIC PET TRANSFPORT, LLC                              811 N.CATALINA AVE                                 STE 2100                                                                      REDONDO BEACH     CA      90277
6475005   PACIFIC POST RENTALS INC                                 10061 RIVERSIDE DR #215                            # 215                                                                         TOLUCA LAKE       CA      91602
6485873   Pacific Post Rentals, Inc                                10061 Riverside Dr, Ste.215                                                                                                      North Hollywood   CA      91602
6492322   PACIFIC POST RENTALS, INC.                               ATTN: E. GRANT HARDACRE, ESQ.                      12100 WILSHIRE BLVD., STE. 905                                                LOS ANGELES       CA      90025
6478666   PACIFIC PRODUCTION SERVICES, INC.                        1481 E. 4TH STREET                                                                                                               LOS ANGELES       CA      90033
6492792   PACIFIC THEATRE EXHIBITION CORP DBA PACIFIC              THEATRE/ARCLIGHT CINEMAS                           ATTN: DAVID BENT, VP/THEATRE     120 N. ROBERTSON BLVD., 3RD                  LOS ANGELES       CA      90048
6483964   Pacific Theatres                                         120 N Robertson Blvd                                                                                                             Los Angeles       CA      90048
6483965   Pacific Theatres Exhibition dba Arclight                 120 N Robertson Blvd                                                                                                             Los Angeles       CA      90048
6478719   PACIFIC TITLE                                            6350 SANTA MONICA BLVD                                                                                                           HOLLYWOOD         CA      90038
6483878   Pacific Title                                            7215 Santa Monica Blvd.                                                                                                          West Hollywood    CA      90046
6478720   PACIFIC TITLE & ART STUDIO                               6350 SANTA MONICA BLVD                                                                                                           HOLLYWOOD         CA      90038
6492706   PACIFICOOL, LLC. DBA COOLRIDE                            ATTN: STEVE JOHNSON, PRESIDENT                     P.O. BOX 55353                                                                VALENCIA          CA      91385-0353
6477179   PACK SQUARE INVESTORS II,LLC                             9 SW PACK SQUARE,SUITE 204                                                                                                       ASHEVILLE         NC      28801
6478764   PACKAIR AIRFREIGHT INC.                                  5510 W 104TH ST                                                                                                                  LOS ANGELES       CA      90045
6474965   PACKAIR AIRFREIGHT, INC                                  DBA: PACKAIR AIRFREIGHT, INC                       5510 W 104TH STREET                                                           LOS ANGELES       CA      90045
6478765   PACKAIR CUSTOMS BROKERS INC.                             5510 WEST 104TH STREET                                                                                                           LOS ANGELES       CA      90045
6476607   PACKHEISER, JOSEPH ROBERT                                607 SHELBY DRIVE                                                                                                                 GREENSBORO        NC      27409
6475535   PACO BLUE LINE, INC                                      URB LOS MAESTROS                                   CALLE A #9                                                                    RIO GRANDE        PR      00745
6477357   PACZOSA\GARY L.                                          1129 GLENWOOD AVENUE                                                                                                             NASHVILLE         TN      37204
6481848   Paetec                                                   PO Box 1283                                                                                                                      Buffalo           NY      14240
6475579   PAGAN\EDUARDO                                            BARRIO ILIMA SANTIAGO CARR. 3                      KM 5.0                                                                        NAGUABO           PR      00907
6475644   PAGAN\RATAEL                                             LA PLAYA LIQUOR STORE                              PLAYA HUCARES CARR #3                                                         NAQUABO           PR      00718
6486214   Page Frakes                                              281 G St.                                                                                                                        Fremont           CA      94536
6486285   Paige M. Krest                                           5527 Weke Rd. Box 1600                                                                                                           Hanalei           HI      96714
6482276   Pain in the Art Productions fso Nathan P. Chapman        P.O. Box 340020                                                                                                                  Nashville         TN      37203
6477690   PAINT DYNAMICS LLC                                       400 POLK AVE                                                                                                                     NEW ORLEANS       LA      70124




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MMLID     NAME                                                           ADDRESS                                                              ADDRESS 2                            ADDRESS 3                       ADDRESS 4                 CITY                   STATE   POSTAL CODE COUNTRY
6477002   PAINTED MERMAID\THE                                            1208 N. HOWE STREET                                                                                                                                                 SOUTHPORT              NC      28461
6482793   Palace Community Theatre, Inc.                                 220 Center Ave.                                                                                                                                                     Oakley                 KS      67748
6478786   PALACE COSTUME & PROP CO.                                      835 N. FAIRFAX AVE                                                                                                                                                  LOS ANGELES            CA      90046
6480914   Palacol, Jose Julio                                            Address on File
6474777   PALERMO*DANIEL                                                 Address on File
6485088   Palisades Mediagroup                                           1620 26th StSuite 200 S                                                                                                                                             Santa Monica           CA      90404
6482149   Palm Bay Theaters, LLC                                         1553 Palm Bay Road NE                                                                                                                                               Rockledge              FL      32955
6475686   PALM TREE PLAYGROUND, LLC                                      3011 N INTERSTATE 10                                                 SERVICE RD, EAST                                                                               METAIRIE               LA      70002
6477065   PALMATIER\BILLY R.                                             P. O. BOX 442                                                                                                                                                       LELAND                 NC      28541
6478623   PALMER\HUBBEL A                                                4107 LOS FELIZ BLVD.                                                                                                                                                LA                     CA      90027
6477146   PALMER\JOHN S.                                                 222 WELCH STREET                                                                                                                                                    WAYNESVILLE            NC      28786
6477528   PALMETTO PRODUCTION EQUIPMENT                                  1200 EDWARDS AVE                                                                                                                                                    ELMWOOD                LA      70123-2230
6477317   PALOMA\ROSA                                                    1250 WEST AVE #14B                                                                                                                                                  MIAMI BEACH            FL      33139
6478829   PALOMAR ENTERTAINMENT, LLC                                     155 NORTH ANITA AVENUE                                                                                                                                              LOS ANGELES            CA      90049
6481004   Palomino, Lacy                                                 Address on File
6468833   PAM DIXON ('ARTIST')                                           C/O TREBOR PRODUCTIONS, INC.                                         1256 BEVERLY VIEW DRIVE                                                                        BEVERLY HILLS          CA      90210
6485089   Pamela Burton & Co.                                            1430 Olympic Blvd.                                                                                                                                                  Santa Monica           CA      90404
6484139   Pamela Rodi dba Rodi Marketing                                 4251 Tivoli Ave.                                                                                                                                                    Los Angeles            CA      90066
6483342   Pan Hard Left                                                  1525 Griffith Park Bvld #407                                                                                                                                        Los Angeles            CA      90026
6479334   PANASTORE                                                      6219 DESOTO AVENUE                                                                                                                                                  WOODLAND HILLS         CA      91367
6479335   PANAVISION INC.                                                6101 VARIEL AVE.                                                                                                                                                    WOODLAND HILLS         CA      91367
6479336   PANAVISION INTERNATIONAL, L.P.                                 6219 DESOTO AVENUE                                                                                                                                                  WOODLAND HILLS         CA      91367
6479327   PANAVISION NEW ORLEANS                                         P O BOX 4360                                                                                                                                                        WOODLAND HILLS         CA      91365-4360
6479337   PANAVISION NEW YORK                                            6219 DESOTO AVENUE                                                                                                                                                  WOODLAND HILLS         CA      91367
6479338   PANAVISION WOODLAND HILLS                                      6219 DE SOTO AVENUE                                                                                                                                                 WOODLAND HILLS         CA      91367
6468730   PANAY FILMS F/S/O ANDREW PANAY                                 C/O JACKOWAY TYERMAN WERTHERIMER                                     ATTN: KARL AUSTEN AND RYAN LEVINE    1925 CENTURY PARK EAST          22ND FL.                  LOS ANGELES            CA      90067
6486935   PANAY FILMS, INC                                               C/O JACKOWAY TYERMAN WERTHEIMER AUSTEN                               MANDELBAUM MORRIS & KLEIN, PC        ATTN: KARL AUSTEN AND RYAN      1925 CENTURY PARK EAST    LOS ANGELES            CA      90067
6484238   Panay Films, Inc.                                              c/o BFW2029 Century Park East, Suite 1500                                                                                                                           Los Angeles            CA      90067
6468723   PANAY FILMS, INC.                                              C/O JACKOWAY TYERMAN WERTHEIMER AUSTERN                              MANDELBAUM MORRIS & KLEIN, PC        ATTN: KARL AUSTEN AND RYAN      1925 CENTURY PARK EAST,   LOS ANGELES            CA      90067
6475198   PANAY FILMS, INC.                                              C/O MGO                                                              2029 CENTURY PARK EAST, SUITE 1500                                                             LA                     CA      90067
6487939   PANAY FILMS, INC.                                              C/O VENABLE LLP                                                      ATTN: KEITH C. OWENS, ESQ.           2049 CENTURY PARK EAST, SUITE                             LOS ANGELES            CA      90067
6468724   PANAY FILMS, INC.F/S/O ANDREW PANAY                            C/O JACKOWAY TYERMAN WERTHEIMER AUSTERN                              MANDELBAUM MORRIS & KLEIN, PC        ATTN: KARL AUSTEN AND RYAN      1925 CENTURY PARK EAST,   LOS ANGELES            CA      90067
6485218   Pandemic Marketing Corp                                        1447 El vago Street                                                                                                                                                 La Canada Flintridge   CA      91011
6484363   Pandemic Pictures Inc.                                         c/o Avalon Management8332 Melrose Ave., 2nd Floor                                                                                                                   West Hollywood         CA      90069
6476051   PANEPINTO\STACEY                                               564 GREGORY AVE A6                                                                                                                                                  WEEHAWKEN              NJ      07086
6479044   PANGEA PICTURE CORPORATION                                     4223 GLENCOE AVENUE, SUITE A210                                                                                                                                     MARINA DEL REY         CA      90292
6481542   Pansy Pictures Inc. fso Amanda Seyfried                        c/o Frankfurt, Kurnit, Klein & SelzAttn: Michael Williams, Esq.488                                                                                                  New York               NY      10022
6477616   PAOLUCCI\JOE                                                   8013 GREEN ST                                                                                                                                                       NEW ORLEANS            LA      70118
6483879   Paper Chase Printing                                           7176 Sunset Blvd.                                                                                                                                                   Los Angeles            CA      90046
6478384   PAPER TIGER                                                    1248 SAN FELIPE AVENUE                                                                                                                                              SANTA FE               NM      87505
6485025   Papertown Productions Inc.                                     745 18th Street                                                                                                                                                     Santa Monica           CA      90402
6476168   PAPPAS\MICHAEL                                                 1320 MAIN ST                                                                                                                                                        BURGETTSTOWN           PA      15021
6478054   PAR IV SPECIALTY EQUIPMENT                                     120 WOODWARD RD SW                                                                                                                                                  ALBUQUERQUE            NM      87102
6479734   PARACORP INC                                                   PO BOX 160568                                                                                                                                                       SACRAMENTO             CA      95816-0568
6486268   Paracorp Inc dba Parasec-DO NOT USE                            PO Box 160568                                                                                                                                                       Sacramento             CA      95816
6475611   PARACORP, INC.                                                 DBA PARASEC                                                          P. O. BOX 160568                                                                               SACRAMENTO             CA      95816-0568
6484584   Paradigm Talent Agency                                         360 N. Crescent Drive, North Building                                                                                                                               Beverly Hills          CA      90210
6475835   PARADISE SHOPS,LLC\THE                                         2849 PACES FERRY RD.OVERLOOK                                         SUITE 400                                                                                      ATLANTA                GA      30339
6482157   Paragon Grove 13                                               3015 Grand Ave. Suite 322                                                                                                                                           Miami                  FL      33133
6475752   PARAGON STUDIOS, LLC.                                          109 WESTPARK DRIVE,                                                  SUITE # 400                                                                                    BRENTWOOD              TN      37027
6483966   Parallax Productions f/s/o Stephen Susco                       c.o Creative Artists Agency2000 Avenue of theStars                                                                                                                  Los Angeles            CA      90048
6478721   PARAMOUNT                                                      5555 MELROSE AVE                                                                                                                                                    HOLLYWOOD              CA      90038
6492859   PARAMOUNT COURIER INC.                                         ATTN: BART SALANT, PRESIDENT                                         P.O. BOX 2522                                                                                  NEW YORK               NY      10108
6481642   Paramount Courier Inc.                                         P.O. Box 2522                                                                                                                                                       New York               NY      10108
6476096   PARAMOUNT COURIER, INC.                                        14 EAST 39TH STREET                                                                                                                                                 NEW YORK               NY      10016
6475758   PARAMOUNT COURIER, INC.                                        300 WEST 43RD STREET,                                                SUITE # 600                                                                                    NEW YORK CITY          NY      10036
6478722   PARAMOUNT DIGITAL ENTERT.                                      5555 MELROSE AVENUE                                                                                                                                                 LOS ANGELES            CA      90038
6483703   Paramount Home Entertainment                                   5555 Melrose Ave.                                                                                                                                                   Hollywood              CA      90038
6479162   PARAMOUNT PICTURES                                             P.O. BOX 100585                                                                                                                                                     PASADENA               CA      91189-0585
6478733   PARAMOUNT PICTURES CORP                                        5555 MELROSE AVE                                                                                                                                                    LOS ANGELES            CA      90038-3197
6490471   PARAMOUNT PICTURES CORP                                        ATTN: OFFICE OF GENERAL COUNSEL                                      5555 MELROSE AVE                                                                               LOS ANGELES            CA      90038-3197
6483704   Paramount Pictures Corp - Paramount Vantage Attn:Ryan Namdar   5555 Melrose Ave                                                                                                                                                    Los Angeles            CA      90038
6491446   PARAMOUNT PICTURES CORPORATION                                 5555 MELROSE AVENUE                                                                                                                                                 HOLLYWOOD              CA      90038
6489453   PARAMOUNT PICTURES CORPORATION                                 ATTN: CHRISTA A. D'ALIMONTE, ESQ., SENIOR                            VICE PRESIDENT/ASSISTANT SECRETARY   5555 MELROSE AVENUE                                       LOS ANGELES            CA      90038-3197
6796617   PARAMOUNT PICTURES CORPORATION                                 ATTN: EXECUTIVE VICE PRESIDENT, BUSINESS                             AND LEGAL AFFAIRS, MOTION PICTURE    555 MELROSE AVENUE                                        LOS ANGELES            CA      90038-3197
6796620   PARAMOUNT PICTURES CORPORATION                                 ATTN: GENERAL COUNSEL                                                5555 MELROSE AVENUE                                                                            LOS ANGELES            CA      90038
6796604   PARAMOUNT PICTURES CORPORATION                                 ATTN: LEGAL AFFAIRS                                                  5555 MELROSE AVENUE                                                                            HOLLYWOOD              CA      90038
6796606   PARAMOUNT PICTURES CORPORATION                                 ATTN: MOTION PICTURE GROUP, LEGAL                                    5555 MELROSE AVENUE                                                                            HOLLYWOOD              CA      90038
6796608   PARAMOUNT PICTURES CORPORATION                                 ATTN: MUSIC BUSINESS AND LEGAL AFFAIRS                               5555 MELROSE AVENUE                                                                            LOS ANGELES            CA      90038
6479163   PARAMOUNT PRODUCTION SUPPORT                                   PO BOX 100585                                                                                                                                                       PASADENA               CA      91189-0585




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                                                                                                                                        Master Mailing List
                                                                                                                                       Served First Class Mail

MMLID     NAME                                                     ADDRESS                                                        ADDRESS 2                      ADDRESS 3                        ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6478724   PARAMOUNT RECORDING STUDIOS                              6245 SANTA MONICA BLVD                                                                                                                     LOS ANGELES       CA      90038
6479101   PARANHOS\MARIO                                           23428 ANZA AVE #D                                                                                                                          TORRANCE          CA      90505
6481041   Paranoia Films Australia Pty Ltd                         Bldg 19 FSA 38 Driver Ave.                                                                                                                 Moore Park        NSW     2021        Australia
6480097   PARANOIA PRODUCTIONS LLC                                 7955 WEST THIRD STREET                                                                                                                     LOS ANGELES       CA      90048
6481904   Paranoia Productions, LLC                                30 South 15th St. 11th Floor                                                                                                               Philadelphia      PA      19102
6491700   PARASEC                                                  P. O. BOX 160568                                                                                                                           SACRAMENTO        CA      95816
6485304   Parero Design Group Inc                                  114 N Brand Blvd                                                                                                                           Glendale          CA      91203
6476685   PARILLO\RITA                                             7845 ELWOOD DR                                                                                                                             CHARLOTTE         NC      28227
6483456   Paris Libby                                              6543 Franklin Ave. #408                                                                                                                    Los Angeles       CA      90028
6481063   Parisi Laurent                                           70 Sentier Des Allains                                                                                                                     Meudon                    92790       France
6482965   Park City School District - Sundance Parking             Attn: Kevin Orgill1750 Kearn Blvd.                                                                                                         Park City         UT      84060
6478419   PARK INN & SUITES                                        2907 CERILLOS ROAD                                                                                                                         SANTA FE          NM      87507
6476759   PARK SELECT                                              P.O. BOX                                                                                                                                   WILMINGTON        NC      28402
6474560   PARK*JOHN                                                Address on File
6480883   Park, John U                                             Address on File
6479655   PARK\THOMAS                                              1327 FAIRLANCE DR.                                                                                                                         DIAMOND BAR       CA      91789
6475394   PARKER HOSIERY CO.INC.                                   P.O.BOX 1799                                                   78 S.CATAWBA AVE.                                                           OLD FORT          NC      28762
6474808   PARKER*EUGENE E                                          Address on File
6480710   Parker, Thomas                                           Address on File
6477130   PARKER\JAMES                                             92 CHIPMUNK LANE                                                                                                                           OTTO              NC      28763
6477635   PARKER\SEAN                                              2217 A P TUREAUD AVE                                                                                                                       NEW ORLEANS       LA      70119
6477719   PARKER\SHANNON                                           2332 LAUREL                                                                                                                                NEW ORLEANS       LA      70130
6483457   Parking Concepts Inc                                     1400 Ivar Avenue                                                                                                                           Los Angeles       CA      90028        HONG
6796567   PARKWAY MANAGEMENT LTD.                                  32/F, BLOCK 2, VIGOR INDUSTRIAL BUILDING 49-53 TA CHUEN PING   852 KWAI CHUNG, N.T.                                                        KOWLOON                                KONG
6478997   PARRA\GEORGE                                             7161 FERNHILL DR                                                                                                                           MALIBU            CA      90265
6478345   PARRAIN\ RA ARANCIO                                      P.O. BOX 4001                                                                                                                              SANTA FE          NM      87502
6476889   PARRIS\THOMAS G.                                         2315 SAPLING CIRCLE                                                                                                                        WILMINGTON        NC      28411
6482795   Parrott Theatre                                          P.O. Box 344                                                                                                                               Alma              NE      68920
6475040   PARROTT\CATHERINE                                        63 E. 117TH ST                                                 #3                                                                          NEW YORK          NY      10035
6481395   Party of 2, LLC dba Pop2Life                             247 Centre St., 6th Floor                                                                                                                  New York          NY      10013
6476862   PARTY SUPPLIERS & RENTALS,INC.                           P.O. BOX 4247                                                                                                                              WILMINGTON        NC      28406
6477003   PARTY TIME, INC.                                         1658 N. HOWE STREET                                                                                                                        SOUTHPORT         NC      28461
6480281   PASADENA CITY HALL                                       100 N. GARFIELD AVE.                                                                                                                       PASADENA          CA      91109
6485142   Pascal Vaguelsy                                          2221 10th Street - Apt A                                                                                                                   Santa Monica      CA      90405
6479243   PASKAL LIGHTING INC                                      12685 VAN NUYS BLVD.                                                                                                                       PACOIMA           CA      91331
6474092   PASQUARELLI*ZACK                                         Address on File
6477262   PASSANANTE, JOHN J.                                      411 WAIGHT ST                                                                                                                              BEAUFORT          SC      29902
6480570   Pastewka, Daniel                                         Address on File
6485241   Pastilla Studio, Inc. fso Rudy Manning                   87 East Green St. #309                                                                                                                     Pasadena          CA      91104
6479693   PAT CHEM LLC                                             1824 1ST ST                                                                                                                                SAN FERNANDO      CA      91340-2643
6482010   Pat Jarret                                               302 N. Madison St. #2                                                                                                                      Staunton          VA      24401
6485847   Patch Bay Studio/Michael Warren                          11440 N. Chandler Blvd. #100                                                                                                               North Hollywood   CA      91601
6480437   Patrevito, Michael                                       Address on File
6483032   Patricia Ellis                                           2346 Villandry Ct.                                                                                                                         Henderson         NV      89074
6477588   PATRICIA GORMON DESIGNS, LLC                             3614 BURGUNDY ST                                                                                                                           NEW ORLEANS       LA      70117
6484140   Patricia S. Blair dba First Note Music Service           3765 Wade St.                                                                                                                              Los Angeles       CA      90066
6491703   PATRICK BENJAMIN KIRSCHNER                               Address on File
6482606   Patrick Corbin                                           c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                          Northbrook        IL      60062
6482506   Patrick Dombrovski                                       P.O. Box 617                                                                                                                               Foley             MN      56329
6481870   Patrick H. Holmes dba The Post                           403 Joliette Ave.                                                                                                                          Erie              PA      16511
6482997   Patrick Igleski                                          4925 E. Desert Cove #209                                                                                                                   Scottsdale        AZ      85254
6482277   Patrick J. Carney                                        P.O. Box 340020                                                                                                                            Nashville         TN      37203
6484977   Patrick J. Don Vito                                      20 Catamaran St. #204                                                                                                                      Marina Del Rey    CA      90292
6482394   Patrick J. McAfee                                        11055 E. 75th St.                                                                                                                          Indianapolis      IN      46236
6485533   Patrick J. Peach                                         22665 Califa St.                                                                                                                           Woodland Hills    CA      91367
6480366   PATRICK KOPKA                                            C/O STONE MEYER GENOW SMELKINSON ET AL.                        ATTN: MITCH SMELKINSON         9665 WILSHIRE BLVD., 5TH FLOOR               BEVERLY HILLS     CA      90212
6485352   Patrick Lugo dba SHOUT! Marketing                        5305 Parkmor Rd. #9                                                                                                                        Calabasas         CA      91302
6481412   Patrick McMullan Company, Inc.                           321 West 14th St. #B                                                                                                                       New York          NY      10014
6482209   Patrick Timothy Nolan                                    9840 Cypress Lake Dr.                                                                                                                      Fort Myers        FL      33919
6480001   PATRICK WHITE                                            PO BOX 44507                                                                                                                               LOS ANGELES       CA      90044-0507
6474790   PATRICK*CHRIS                                            Address on File
6481367   Patriot USA                                              611 Broadway, Room 311                                                                                                                     New York          NY      10012
6478080   PAT'S DOORS INC.                                         3611 2ND ST SW                                                                                                                             ALBUQUERQUE       NM      87105
6478576   PATTERSON\DEVON                                          4435 VICTORIA PARK DRIVE                                                                                                                   LOS ANGELES       CA      90019
6476936   PATTERSON\GEORGE H.                                      1626 GRAND FLORA DRIVE                                                                                                                     LELAND            NC      28451
6483192   Patty Long                                               1809 S. Orange Grove Ave                                                                                                                   Los Angeles       CA      90019
6491396   PAUL A. ROEMEN                                           Address on File
6485874   Paul B. Jamieson                                         4513 Kraft Ave.                                                                                                                            North Hollywood   CA      91602
6486486   Paul Barry                                               1230 Orloums Place                                                                                                                         North Vancouver   BC      V7G 2K3      CANADA
6486174   Paul Burt dba Occasional Film Services                   404 Texas St                                                                                                                               San Francisco     CA      94107




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                                                                                                                      Master Mailing List
                                                                                                                     Served First Class Mail

MMLID     NAME                                             ADDRESS                                              ADDRESS 2                      ADDRESS 3             ADDRESS 4        CITY             STATE   POSTAL CODE COUNTRY
6484718   Paul D. Supnik                                   9401 Wilshire Blvd, Suite 1250                                                                                             Beverly Hills    CA      90212
6483384   Paul Davidge                                     3949 Los Feliz Blvd., # 208                                                                                                Los Angeles      CA      90027
6481543   Paul Epstein                                     315 East 54th Street Apt 4C                                                                                                New York         NY      10022
6476368   PAUL LUMBER & SUPPLY CO.                         PO BOX 9280                                                                                                                PITTSBURGH       PA      15224-0280
6486362   Paul Maurice                                     3909 W. Bertona St.                                                                                                        Seattle          WA      98134
6484364   Paul Norton                                      960 N. Alfred Street #103                                                                                                  West Hollywood   CA      90069
6483385   Paul Rizzo                                       1516 Rosalia Rd. #8                                                                                                        Los Angeles      CA      90027
6468857   PAUL ROEMEN                                      715 S. ST. ANDREW'S PLACE, # 207                                                                                           LOS ANGELES      CA      90005
6468744   PAUL RUEHL AND LESTER LEWIS                      C/O PARADIGM TALENT AGENCY                           ATTN: DAVID BOXERBAUM          360 N. CRESCENT DR.   NORTH BUILDING   BEVERLY HILLS    CA      90210
6485783   Paul S. Powers                                   4710 West Magnolia Blvd.                                                                                                   Burbank          CA      91505
6491228   PAUL SIMON MUSIC                                 1619 BROADWAY, SUITE 500                                                                                                   NEW YORK         NY      10019
6483632   Paul Todisco                                     465 S. Detroit Street#105                                                                                                  Los Angeles      CA      90036
6483748   Paula A. Kelly                                   4323 Perlita Ave. #2                                                                                                       Los Angeles      CA      90039
6476099   PAULIN\DAVID                                     414 W 36TH STREET #5C                                                                                                      NEW YORK         NY      10018
6479454   PAV FILM SERVICES, INC                           300 E. MAGNOLIA SUITE 600                                                                                                  BURBANK          CA      91502
6479455   PAX FILM SERVICES, INC                           300 E. MAGNOLIA SUITE 600                                                                                                  BURBANK          CA      91502
6486122   Paychex                                          5280 Valentine Road # 120PO Box 3317                                                                                       Ventura          CA      93006
6481341   Payday Records, Inc                              235 West 23rd Street6th Floor                                                                                              New York         NY      10011
6475869   PAYEES ENTERTAINMENT LP                          1530 MAGAZINE ST.                                    SUITE B                                                               NEW ORLEANS      LA      70130
6491538   PAYEES, LLC                                      8383 WILSHIRE BLVD. #90                                                                                                    BEVERLY HILLS    CA      90211
6478327   PAYNTER\RHONDA                                   369 MONTEZUMA #384                                                                                                         SANTA FE         NM      87501
6491251   PAZ MEDIA AND ENTERTAINMENT                      207 SAINT JAMES PL. #2R                                                                                                    BROOKLYN         NY      11238
6475983   PC & MAC SOLUTIONS                               548 ESCORIAL AVE                                                                                                           SAN JUAN         PR      00920
6478985   PC MALL                                          1940 EAST MARIPOSA AVENUE                                                                                                  EL SEGUNDO       CA      90245
6484433   PC MALL INC                                      FILE 55327                                                                                                                 LOS ANGELES      CA      90074
6482966   PCHS Sundance Parking                            ATTN: Kevin Orgill1750 Kearnes Boulevard                                                                                   Park City        UT      84060
6481095   Peace First, Inc.                                280 Summer St.                                                                                                             Boston           MA      02210       UNITED
6486498   Peacefrog Holdings Ltd.                          123 Westbourne Studios242 Acklam Rd.                                                                                       London                   W1O 5JJ     KINGDOM
6478880   PEACH, PATRICK                                   6902 LOS TILOS RD.                                                                                                         LOS ANGELES      CA      90068
6479339   PEACH\PATRICK                                    22665 CALIFA STREET                                                                                                        WOODLAND HILLS   CA      91367
6479340   PEACH\PATRICK J.                                 22665 CALIFA STREET                                                                                                        WOODLAND HILLS   CA      91367
6478192   PEAK MEDIA INC.                                  1113 RHODE ISLAND NE                                                                                                       ALBUQUERQUE      NM      87110
6476350   PEAK SECURITY INC                                103 YOST BOULEVARD SUITE 100                                                                                               PITTSBURGH       PA      15221
6476568   PEARCE, EUGENE                                   5301 ECKERSON RD                                                                                                           GREENSBORO       NC      27405
6477531   PEARSE JR\FREDERICK STANLEY                      4129 MONTRACHET DR                                                                                                         KENNER           LA      70065
6474758   PEARSON*SCOTT C                                  Address on File
6480870   Pearson, Arthur                                  Address on File
6476127   PEBLER\MATTHEW                                   350 MANHATTAN AVE #104                                                                                                     BROOKLYN         NY      11211
6475526   PECAS CINE CORP                                  UNIVERSITY GARDENS                                   C/LA SORBONA #267                                                     SAN JUAN         PR      00927
6477998   PECK\DAVID J.                                    P.O. BOX 8                                                                                                                 SUPERIOR         AZ      85273
6482607   Pedro J. Martinez                                c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                          Northbrook       IL      60062
6482386   Peer 1 Hosting                                   P.O. Box 643607                                                                                                            Cincinnati       OH      45264
6475761   PEER INTERNATIONAL CORPORATION                   250 WEST 57TH STREET,                                SUITE # 820                                                           NEW YORK CITY    NY      10107
6484807   Peer Media Technologies, Inc.                    9046 Lindblade Street                                                                                                      Culver City      CA      90232
6476379   PEERLESS WALL & WINDOW                           3490 WILLIAM PENN HIGHWAY                                                                                                  PITTSBURGH       PA      15235
6491404   PEEVISH PRODUCTIONS INC.                         1076 S ORANGE GROVE AVENUE #17                                                                                             LOS ANGELES      CA      90019
6475142   PEEVISH PRODUCTIONS, INC.                        F/S/O JONATHAN BERNSTEIN                             151 EL CAMINO DRIVE                                                   BEVERLY HILLS    CA      90212
6478328   PEGASUS ANTIQUES LLC                             1592 CERRO CORDO RD                                                                                                        SANTA FE         NM      87501
6479926   Pegasus Capital Management, LLC                  Address on File
6485622   Pegasus Elite Aviation, Inc                      7943 Woodley Avenue                                                                                                        Van Nuys         CA      91406
6476613   PEGRAM-WEST, INC.                                PO BOX 20025                                                                                                               GREENSBORO       NC      27420
6484239   Peitzman, Weg & Kempinsky LLP                    2029 Century Park East Suite 3100                                                                                          Los Angeles      CA      90067
6477508   PELICAN PUBLISHING COMPANY                       1000 BURMASTER ST                                                                                                          GRETNA           LA      70053
6477681   PELICAN STATE OUTPATIENT CTR                     1525 DICKORY AVE                                                                                                           HARAHAN          LA      70123
6477848   PELLEGRIN\BRADLEY                                64068 NELSON RD                                                                                                            PEARL RIVER      LA      70452
6491646   PENALTY BOX MUSIC                                528 E. SAN JOSE AVE. #110                                                                                                  BURBANK          CA      91501
6480626   Pence, Michael                                   Address on File
6477636   PENDERGRASS\JARED                                838 IDA ST                                                                                                                 NEW ORLEANS      LA      70119
6482739   Penguin Group (USA)                              4920 Collections Center Dr.                                                                                                Chicago          IL      60693
6478353   PENITENTIARY OF NEW MEXICO                       P.O. BOX 1059                                                                                                              SANTA FE         NM      87504-1059
6481990   Penn Schoen & Berland Associates, LLC            P.O. Box 758827                                                                                                            Baltimore        MD      21275
6476362   PENN FIXTURE & SUPPLY CO INC                     2800 PENN AVENUE                                                                                                           PITTSBURGH       PA      15222-4786
6491359   PENN STREET SIGNS                                1205 SOUTH 11TH STREET                                                                                                     SAINT JOSEPH     MO      64503
6474103   PENN*EDMOND                                      Address on File
6479957   PENNSYLVANIA DEPARTMENT OF LABOR AND INDUSTRY    SECRETARY                                            651 BOAS STREET                ROOM 1700                              HARRISBURG       PA      17121
6481883   Pennsylvania Dept of Revenue                     Bureau of Corp TaxesP.O. Box 280427                                                                                        Harrisburg       PA      17128
6475255   PENNSYLVANIA\COMMONWEALTH OF                     RACOON CREEK STATE PARK                              3000 STATE ROUTE 18                                                   HOOKSTOWN        PA      15050
6476351   PENNWOOD PAINT & SUPPLY                          724 WOOD STREET                                                                                                            PITTSBURGH       PA      15221
6492817   PENSKE BUSINESS MEDIA, LLC                       ATTN: SAGE WHEELER, JR. ACCOUNTANT                   11175 SANTA MONICA BLVD.                                              LOS ANGELES      CA      90025
6483297   Penske Business Media, LLC dba Variety Media     11175 Santa Monica Blvd.                                                                                                   Los Angeles      CA      90025




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                                                                                                                                      Master Mailing List
                                                                                                                                     Served First Class Mail

MMLID     NAME                                               ADDRESS                                                           ADDRESS 2                             ADDRESS 3                       ADDRESS 4         CITY                STATE   POSTAL CODE COUNTRY
6478124   PENSKE TRUCK LEASING                               1400 CANDELARIA RD NE                                                                                                                                     ALBUQUERQUE         NM      87107
6476671   PENSKE TRUCK LEASING CO LP                         1326 W. CRAIGHEAD ROAD                                                                                                                                    CHARLOTTE           NC      28206
6477401   PENSKE TRUCK LEASING CO LP                         P O BOX 532658                                                                                                                                            ATLANTA             GA      50353-2658
6477295   PENSKE TRUCK LEASING CO LP                         P.O. BOX 532658                                                                                                                                           ATLANTA             GA      30353-2658
6491271   PENSKE TRUCK LEASING CO., L.P.                     2675 MORGANTOWN ROAD, PO BOX 1321                                                                                                                         READING             PA      19603
6492289   PENSKE TRUCK LEASING CO., L.P.                     ATTN: GAYE E. KAUWELL, EXEC. ASST. TO                             DIRECTOR - CREDIT/COLLECTIONS         PO BOX 563                                        READING             PA      19603-0563
6482105   People Helping People Today Inc                    2499 Old Orchard Ct                                                                                                                                       Atlanta             GA      30338
6482202   People Magazine                                    PO Box 60354                                                                                                                                              Tampa               FL      33660       UNITED
6480344   PEOPLEARETHINGS (BAND)                             C/O WRIGHT HASSALL LLP                                            STUART SOUTHHALL                      OLYMPUS AVENUE                  LEAMINGTON SPA    WARWICKSHIRE                CV34 6BF    KINGDOM
6476050   PEOPLE'S DP, INC.\THE                              P. O. BOX 8097                                                                                                                                            GLEN RIDGE          NJ      07028
6480685   Pepper, Stephanie                                  Address on File
6475219   PEPSICO, INC.                                      C/O DAVID BROWN ENTERTAINMENT,                                    2225 SOUTH CARMELINA AVENUE                                                             LOS ANGELES         CA      90064
6475945   PERALTA COLON\MORAIMA                              PLAYA HUCARES BUZON 204                                                                                                                                   NAGUABO             PR      00718
6483503   Perception Technologies                            P.O. Box 32158                                                                                                                                            Los Angeles         CA      90032
6480349   PEREGUS COMPANY                                    F/S/O MARCO PEREGO AND GEORGE AGUSTO                              C/O GANG, TYRE, RAMER & BROWN, INC.   132 SOUTH RODEO DRIVE                             BEVERLY HILLS       CA      90212
6475679   PEREIRA\WILLIAM                                    URB RIO GRAND ESTATE                                              REINA VICTORIA 11301                                                                    RIO GRANDE          PR      00745
6475996   PEREZ ALVAREZ\XIOMARA                              PMB 572 #267 SIERRA MORENA ST.                                                                                                                            SAN JUAN            PR      00926
6477086   PEREZ, GREGG                                       462 POVERTY BRANCH RD                                                                                                                                     BARNARDSVILLE       NC      28709
6476012   PEREZ/ALBERTO                                      CARRETERA 861 STE #2                                                                                                                                      BAYAMON             PR      00959
6473370   PERFECT COPY PRODUCTS, INC.                        2413 W EMPIRE AVE                                                                                                                                         BURBANK             CA      91504-3301
6485642   Perfect Copy Products, Inc.                        5914 Kester Ave.                                                                                                                                          Van Nuys            CA      91411
6492624   PERFECT COPY PRODUCTS, INC.                        ATTN: C. PEREZ, GENERAL MANAGER                                   2413 W EMPIRE AVE                                                                       BURBANK             CA      91504-3301
6482030   Perfection by Patricia                             4111 Panther Creek Pkwy.                                                                                                                                  Durham              NC      27704
6484719   Perhaps You've Heard of My Work, Inc.              c/o Bloom Hergott Diemer Rosenthal LaViol150 South Rodeo Drive,                                                                                           Beverly Hills       CA      90212
6474910   PERHAPS YOU'VE HEARD OF MY WORK, INC.              F/S/O TIM OLYPHANT -                                              C/O ALTMAN, GREENFIELD, LLC           200 PARK AVE. SOUTH 8TH FLOOR                     NEW YORK            NY      10003
6491958   PERNOD RICARD USA, LLC AND THE ABSOLUT             COMPANY AB                                                        ATTN: JEFFREY A. MORAN, VP/PUBLIC     EVENTS AND SPONSORSHIP          250 PARK AVENUE   NEW YORK            NY      10177
6481999   Perpetual Capital, LLC dba Politico, LLC           1000 Wilson Blvd. 8th Floor                                                                                                                               Arlington           VA      22209
6490019   PERPETUAL CAPITAL, LLC DBA POLITICO, LLC           ATTN: WINNIE YU, CONTROLLER                                       1000 WILSON BLVD. 8TH FLOOR                                                             ARLINGTON           VA      22209
6481798   Perri Nemiroff                                     63 Arbor Lane                                                                                                                                             Roslyn Heights      NY      11577
6478385   PERRIN\BRYCE                                       1012B DON DIEGO AVE                                                                                                                                       SANTA FE            NM      87505
6484948   Perro Bravo Films, Inc.                            2417 Frey Ave.                                                                                                                                            Venice              CA      90291
6476800   PERRY\ALAN                                         2304 METTS AVENUE                                                                                                                                         WILMINGTON          NC      28403
6477539   PERRY\DORIS D                                      2708 OAK FOREST BLVD                                                                                                                                      MARRERO             LA      70072
6478234   PERSONALIZED CRAFT SERVICE LLC                     5000 STONE MOUNTAIN RD NW                                                                                                                                 ALBUQUERQUE         NM      87114
6483794   Perusset Delivery Service Inc.                     5256 West 111th Street                                                                                                                                    Los Angeles         CA      90045
6475903   PES GLOBAL INC.                                    12431 OXNARD STREET                                               UNIT #5                                                                                 NORTH HOLLYWOOD     CA      91606
6481010   Peschka, Brian                                     Address on File
6480835   Peschka, Jeremy                                    Address on File
6476559   PEST MANAGEMENT SYSTEMS                            424 PRESCOTT ST                                                                                                                                           GREENSBORO          NC      27401
6484883   Pete Hammond Entertainment                         304 N. Poinsettia Ave.                                                                                                                                    Manhattan Beach     CA      90266
6468850   PETE WATERMAN                                      7038 DE CELIS DR.                                                 #30                                                                                     LAKE BALBOA         CA      91406
6485353   Peter Adee                                         5386 Jed Smith Rd.                                                                                                                                        Calabasas           CA      91302
6486351   Peter Allen Locations                              7707 - 1st Ave. NW                                                                                                                                        Seattle             WA      98117
6483458   Peter Bumgarner                                    1720 Taft Ave. #204                                                                                                                                       Los Angeles         CA      90028
6484365   Peter Day                                          8328 Fountain Ave., Unit A                                                                                                                                West Hollywood      CA      90069
6481136   Peter F.M. Stewart Jr.                             9 Sylvan Drive                                                                                                                                            Ridgefield          CT      06877
6483298   Peter Gabal                                        1326 S. Centinela                                                                                                                                         Los Angeles         CA      90025
6483459   Peter Goldfinger                                   c/o Corner of the Sky1635 North Cahuenga Blvd.                                                                                                            Los Angeles         CA      90028
6483194   Peter Halm                                         4566 Lomita St.                                                                                                                                           Los Angeles         CA      90019
6482318   Peter King                                         P.O. Box 160620                                                                                                                                           Nashville           TN      37216
6483195   Peter Kunellis                                     1054 S. Cloverdale Avenue#2                                                                                                                               Los Angeles         CA      90019
6483343   Peter M. Thomas                                    1730 Lucile Ave.                                                                                                                                          Los Angeles         CA      90026
6483122   Peter Tangen Photographic Services                 912 East 3rd St. #303                                                                                                                                     Los Angeles         CA      90013
6485452   Peter W. Kneser                                    24012 Bridgeport Lane Unit 11                                                                                                                             Valencia            CA      91355
6485534   Peter Wanat                                        5746 Fairhaven Avenue                                                                                                                                     Woodland Hills      CA      91367
6480822   Peters, Caleigh                                    Address on File
6477703   PETERS\RODNEY                                      6931 MORRISON RD                                                                                                                                          NEW ORLEANS         LA      70126
6478751   PETERSON/ERIC                                      2403 HILL DRIVE                                                                                                                                           LOS ANGELES         CA      90041
6476220   PETERSON\FLOYD                                     1306 KIRKPATRICK AVENUE                                                                                                                                   NORTH BRADDOCK      PA      15104
6478028   PETERSON\MARILYN                                   36 SADDLESPUR TR                                                                                                                                          EDGEWOOD            NM      87015
6485726   Petrol Advertising Inc                             443 N Varney St                                                                                                                                           Burbank             CA      91502
6476221   PETRORIC\THOMAS J                                  40 WOOD ST                                                                                                                                                BRADDOCK            PA      15104
6479064   PETROSKY\MATHEW A.                                 1158 26TH STREET#737                                                                                                                                      SANTA MONICA        CA      90403
6477004   PETTY CASH CUSTODIAN                               1456 N. HOWE STREET                                                                                                                                       SOUTHPORT           NC      28461
6492767   PETTY* DOUGLAS G.                                  Address on File
6485971   PFAFF Protective Group Inc                         10 Universal City Plaza                                                                                                                                   Universal City      CA      91608
6478343   PFAU\WILHELM                                       369 MONTEZUMA AVENUE #389                                                                                                                                 SANTA FE            NM      87501-2626
6476801   PFEFFER\LLOYD ROBERT                               1027 BIRCH CREEK DR                                                                                                                                       WILMINGTON          NC      28403
6491555   PFEIFER BROZ MUSIC INC                             557 VIA DE LA PAZ                                                                                                                                         PACIFIC PALISADES   CA      90272
6483246   Pfeiffer Consulting, LLC                           10960 Wilshire Blvd. Suite 1900                                                                                                                           Los Angeles         CA      90024




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                                                                                                                                          Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                      ADDRESS 2                             ADDRESS 3                       ADDRESS 4              CITY              STATE   POSTAL CODE COUNTRY
6477118   PFIRRMANN, ELLEN                                            522 W. PAYNE RD.                                                                                                                                          MARION            NC      28752
6476174   PFLUM\DAVID P                                               355 ROUTE 30 30 LOT 74                                                                                                                                    CLINTON           PA      15026
6491752   PG & E                                                      BOX 997300                                                                                                                                                SACREMENTO        CA      95899-7300
6480102   PG TELEVISION                                               100 UNIVERSAL CITY PLAZA                                                                                                                                  UNIVERSAL CITY    CA      91608
6485090   PGM Media, LLC dba GeekChicDaily                            2917 Santa Monica Blvd                                                                                                                                    Santa Monica      CA      90404
6477005   PHARMACY\THE                                                110 EAST MOORE STREET                                                                                                                                     SOUTHPORT         NC      28461
6481460   PHD Media LLC                                               220 E 42nd St                                                                                                                                             New York          NY      10017
6477617   PHELPS\TRAVIS R                                             1131 CAMBRONNE ST                                                                                                                                         NEW ORLEANS       LA      70118
6474958   PHF METAIRIE LLC                                            DBA: MARRIOTT METAIRIE AT LAKEWAY                            3838 N CAUSEWAY BLVD                                                                         METAIRIE          LA      70002
6468767   PHIL JOANOU                                                 C/O GANG TYRE RAMER & BROWN INC.                             ATTN: HAROLD BROWN                    132 S. RODEO DRIVE                                     BEVERLY HILLS     CA      90212
6468781   PHIL JOANOU                                                 C/O PARADIGM TALENT AGENCY                                   ATTN: RAND HOLSTON, AGENT             360 N. CRESCENT DRIVE, NORTH                           BEVERLY HILLS     CA      90210
6481915   Philadelphia Film Society                                   600 Chestnut St                                                                                                                                           Philadelphia      PA      19106
6481927   Philadelphia Insurance Companies                            PO Box 70251                                                                                                                                              Philadelphia      PA      19176
6474174   PHILBRICK*BENJAMIN                                          Address on File
6480966   Philbrick, Benjamin                                         Address on File
6483067   Philicia Endelman                                           422 N. Irving Blvd.                                                                                                                                       Los Angeles       CA      90004
6485465   Philip Alan Mendelson                                       1536 AUGUSTA DR                                                                                                                                           UPLAND            CA      91786-2433
6485709   Philip Andrew Mickey Rourke                                 16830 Ventura Blvd, Suite 300                                                                                                                             Encino            CA      91436
6485045   Philip Waley                                                Santa Monica Bay Towers, Suite 1204101 California Avenue                                                                                                  Santa Monica      CA      90403
6474775   PHILIPIAN*MELISSA                                           Address on File
6480716   Philipian, Melissa                                          Address on File
6484293   Phillip Guye                                                3480 Barham Blvd. #322                                                                                                                                    Los Angeles       CA      90068
6796575   PHILLIP L. ROSEN                                            ROSEN LAW GROUP                                              1046 Princeton Drive #119                                                                    Marina Del Rey    CA      90292
6474091   PHILLIPS*LAURA                                              Address on File
6480427   Phillips, Jordan                                            Address on File
6480675   Phillips, Laura                                             Address on File
6479774   PHILLIPS, SHAWN                                             PO BOX 1096                                                                                                                                               KOTZEBUE          AK      99752
6475034   PHILLIPS\TAYLOR                                             7705 HAMPTON AVENUE                                          #214                                                                                         WEST HOLLYWOOD    CA      90046
6484720   Phineas Gage Productions, Ltd. f/s/o Darren Aronofsky       c/o Bloom, Hergott, Diemer, Rosenthal, LLPAttn:Carlos                                                                                                     Beverly Hills     CA      90212
6482333   Phoenix Adlabs Theatre Mgmt LLC                             9111 Cross Park Dr                                                                                                                                        Knoxville         TN      37923
6475879   PHOTO STOP                                                  8201 GOLF COURSE ROAD, NW                                    SUITE D-3 #237                                                                               ALBUQUERQUE       NM      87120
6478447   PHOTOGRAPHY STUDIO\THE                                      34 VERAN0 LOOP                                                                                                                                            SANTA FE          NM      87508
6482975   Pia Anderson Dorius Reynard & Moss                          299 South Main Street                                                                                                                                     Salt Lake City    UT      84111
6483247   Pianella Music Inc. fso Marco Beltrami                      c/o Savitsky, Satin & Bacon10880 Wilshire Blvd. Suite 2100                                                                                                Los Angeles       CA      90024        UNITED
6474054   PIAS UK LIMITED                                             1 BEVINGTON PATH                                                                                                                                          LONDON                    SE1 3PW      KINGDOM
6483705   PIC                                                         812 N. Highland Ave.                                                                                                                                      Los Angeles       CA      90038
6476661   PICKETT\MARSHALL KEITH                                      517 ORCHID CT                                                                                                                                             STANLEY           NC      28164
6479406   PICTORVISION, INC.                                          7701 HASKELL AVE, UNIT B                                                                                                                                  VAN NUYS          CA      91406
6479237   PICTURE CAR WAREHOUSE, INC.                                 8400 RESEDA BLVD.                                                                                                                                         NORTHRIDGE        CA      91324
6483706   Picture Head LLC                                            1132 N Vine St                                                                                                                                            Hollywood         CA      90038
6475853   PICTURE PERFECT TRAILERS                                    29160 HEATHERCLIFF                                           SUITE 6613                                                                                   MALIBU            CA      90265
6483633   Picture Production Company                                  5757 Wilshire Blvd., Suite 473                                                                                                                            Los Angeles       CA      90036
6492618   PICTURE PRODUCTION COMPANY                                  ATTN: MARIA SULLIVAN, PRESIDENT OF FINANCE                   5757 WILSHIRE BLVD., SUITE 473                                                               LOS ANGELES       CA      90036
6481242   Picture This Publications dba Hamburg Kennedy Photographs   514 West 25th St. 3rd Floor                                                                                                                               New York          NY      10001
6480660   Picudella, Francine                                         Address on File
6491914   PIEDMONT MUSIC COMPANY                                      O/B/O J. ALBERT & SON PTY.LTD                                C/O CARLIN AMERICA, INC               ATTN: THEODORA MICHAELS, ESQ.   126 EAST 38TH STREET   NEW YORK          NY      10016
6477939   PIEDMONT NATURAL GAS                                        PO BOX 660920                                                                                                                                             DALLAS            TX      75266-0920
6476702   PIEDMONT PLASTICS                                           P O BOX 890216                                                                                                                                            CHARLOTTE         NC      28289-0216
6476622   PIEDMONT PLASTICS, INC                                      324-B PARK KNOLL DR                                                                                                                                       MORRISVILLE       NC      27560
6474816   PIEPER*MARK E                                               Address on File
6477849   PIERCE\STEVEN                                               39470 WILLIS ALLEY                                                                                                                                        PEARL RIVER       LA      70452
6483967   Pigfactory USA, LLC                                         8075 W. 3rd St. Suite 540                                                                                                                                 Los Angeles       CA      90048
6477432   PIGG\ARRON                                                  318 SIBLEY RD                                                                                                                                             ORRICK            MO      64077
6486343   Pike Place Market PDA                                       85 Pike Street, Room 500                                                                                                                                  Seattle           WA      98101
6476447   PILKINTON\GARY                                              P.O. BOX 335                                                                                                                                              GRIMSTEAD         VA      23064
6476573   PINECROFT SEDGEFIELD FIRE DISTRICT, INC                     2239 BISHOP RD                                                                                                                                            GREENSBORO        NC      27406
6486529   Pinewood Sound                                              555 Brooksbank Ave. Bldg 5                                                                                                                                North Vancouver   BC      V7J 3S5      CANADA
6482216   Pink Diamond, LLC                                           1800 Alta Vista St.                                                                                                                                       Sarasota          FL      34236
6475754   PINTARD\BRYSON                                              11920 GOSHEN AVENUE,                                         SUITE # 401                                                                                  LOS ANGELES       CA      90049
6468768   PIONEER PICTURES LLC                                        C/O ZIFFREN BRITTENHAM LLP                                   ATTN: BRYAN WOLF & BENJAMIN RUBINFELD 1801 CENTURY PARK WEST                                 LOS ANGELES       CA      90067
6484835   Pioneer Pictures, LLC                                       2101 Rosecrans Ave., Suite 3270                                                                                                                           El Segundo        CA      90245
6476851   PIPKIN, RICHARD                                             706 HINCHEY HOLLOW RD                                                                                                                                     NEW MARKET        TN      37820-4619
6479630   PIPKIN\SHAWN                                                11945 MAGNOLIA BLVD., #313                                                                                                                                VALLEY VILLAGE    CA      91607
6478793   PIRINELLI\DAVID                                             7244 HILLSIDE AVENUE                                                                                                                                      LOS ANGELES       CA      90046-2348
6481559   Piro, Inc.                                                  247 West 87th StreetSuite 17G                                                                                                                             New York          NY      10024
6477097   PISANO\SANDRA                                               58 LIBERTY ROAD                                                                                                                                           CANDLER           NC      28715
6477098   PISGAH TIRE                                                 21 NEW CLYDE RD.                                                                                                                                          CLANTON           NC      28716
6484978   Pitch Hammer Music, LLC                                     578 Washington Blvd. Suite 721                                                                                                                            Marina Del Rey    CA      90292
6492620   PITCH HAMMER MUSIC, LLC                                     ATTN: BRIAN BRASHER, PRESIDENT/OWNER                         578 WASHINGTON BLVD. SUITE 721                                                               MARINA DEL REY    CA      90292
6796563   PITCH HAMMER MUSIC,LLC                                      ATTN: MR. BRIAN BRASHER                                      578 WASHINGTON BLVD. SUITE 721                                                               MARINA DEL RAY    CA      90291




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6491262   PITNEY BOWES PURCHASE POWER                                   P.O. BOX 371894                                                                                                                                  PITTSBURGH             PA      15250
6482368   Pittsburgh Cinemas Management Co LLC-SouthSide Works Cinema   2163 Lee Road, Suite 107                                                                                                                         Cleveland              OH      44118
6476356   PITTSBURGH CUT FLOWER COMPANY                                 1901 LIBERTY AVENUE                                                                                                                              PITTSBURGH             PA      15222
6476360   PITTSBURGH PARKING COURT                                      232 BOULEVARD OF THE ALLIES                                                                                                                      PITTSBURGH             PA      15222-1616
6476388   PIVIROTTO\RALPH                                               137 GENE DRIVE                                                                                                                                   OHIO TOWNSHIP          PA      15237
6479559   PIVOTAL POST LLC                                              4142 LANKERSHIM BLVD                                                                                                                             NORTH HOLLYWOOD        CA      91602
6475402   PIVOTAL POST, LLC                                             2901 ALAMEDA BLVD                                               7TH FLR                                                                          BURBANK                CA      91505
6486166   PIX System LLC                                                221 Pine St                                                                                                                                      San Francisco          CA      94104
6475252   PIX SYSTEM, LLC                                               221 PINE ST                                                     2ND FLOOR                                                                        SAN FRANCISCO          CA      94104
6478644   PIXEL LIBERATION FRONT, INC.                                  1800 N. VINE STREET                                                                                                                              HOLLYWOOD              CA      90028
6483707   Pixels Digital Imaging                                        6907 1/2 Melrose Ave                                                                                                                             Los Angeles            CA      90038
6485329   Pixwel, LLC                                                   5340 Cangas Dr.                                                                                                                                  Agoura Hills           CA      91301
6476014   PJ GAFFERS AND FILMS INC                                      P O BOX 384                                                                                                                                      BAYAMON                PR      00960
6481461   PJT Partners LP                                               280 Park Avenue                                                                                                                                  New York               NY      10017
6477135   PLACE FELLOWSHIP CHURCH\THE                                   306 WHITSON AVE.                                                                                                                                 SWANNANOA              NC      28778
6484395   PLACEHOLDER                                                   350 S. Figueroa Street, Ste. 750                                                                                                                 Los Angeles            CA      90071
6492314   PLACEIQ, INC.                                                 ATTN: LAUREN DOTY                                               115 E. 23RD ST., 7TH FLOOR                                                       NEW YORK               NY      10010
6482984   Plaid, LLC                                                    3305 North University Ave. #275                                                                                                                  Provo                  UT      84604
6491689   PLAIN VANILLACORP                                             169 11TH ST.                                                                                                                                     SAN FRANCISCO          CA      94103
6484836   Planet Answers dba Haz Away Today                             212 Euclayptus Drive, Suite A                                                                                                                    El Segundo             CA      90245
6478228   PLANT WORLD, INC.                                             250 EL PUEBLO ROAD NE                                                                                                                            ALBUQUERQUE            NM      87113
6476284   PLANTSCAPE INC                                                3101 LIBERTY AVENUE                                                                                                                              PITTSBURGH             PA      15201
6478125   PLASTIC SUPPLY, INC.                                          2109 CANDELARIA, NE                                                                                                                              ALBUQUERQUE            NM      87107
6491388   PLATEPASS LLC                                                 7681 EAST GRAY ROAD                                                                                                                              SCOTTSDALE             AZ      85260
6483040   Platinum Entourage                                            6670 South Tenaya Way, Suite 200                                                                                                                 Las Vegas              NV      89113
6481516   Platitude Music fso Friedrich Myers                           365 W. 52nd St. 3H                                                                                                                               New York               NY      10019
6476008   PLAVICA                                                       PO BOX 51529                                                                                                                                     SAN JUAN               PR      00950
6482278   PLAY Productions, Inc.                                        P.O. Box 340020                                                                                                                                  Nashville              TN      37203
6480220   PLAYA DEL RAY CITY HALL                                       C/O CITY OF LOS ANGELES                                         200 N. SPRING STREET                                                             LOS ANGELES            CA      90012
6484984   Playa Del Rey Florist                                         307 Culver Blvd.                                                                                                                                 Playa Del Rey          CA      90293
6492433   PLAYA DEL REY FLORIST, INC.                                   ATTN: LANCE WILLIAMS, PRESIDENT                                 307 CULVER BLVD.                                                                 PLAYA DEL REY          CA      90293
6480216   PLAYA VISTA CITY HALL                                         C/O CITY OF LOS ANGELES                                         200 N SPRING ST                                                                  LOS ANGELES            CA      90012       THE
6481040   PlayArte International C.V.                                   WTC Amsterdam, Tower C-11                                                                                                                        Strawinskylaan                 1143        NETHERLA
6475158   PLAYGROUND SCREENING ROOM, INC                                DBA THE BROADWAY SCREENING RM                                   1619 BROADWAY, 5TH FLOOR                                                         NEW YORK CITY          NY      10019
6482362   Plaza Movie Theatre                                           Attn: Saundra McCroskeyP.O. Box 306                                                                                                              Kingsville             OH      44048
                                                                                                                                                                                                                                                                    UNITED
6474023   PLD COMMUNICATIONS                                            BURCHER COURT, TITLEY                                                                                                                            KINGTON HERFORDSHIRE           HR5 3RS     KINGDOM
                                                                                                                                                                                                                                                                    UNITED
6486422   PLD Communications                                            Burcher Court, Titley                                                                                                                            Kington                        HR5 3RS     KINGDOM
6480260   PLEASANTVILLE ASSESSOR                                        80 WHEELER AVE.                                                                                                                                  PLEASANTVIEW           NY      10570
6480748   Plescher, Jonathan                                            Address on File
6475038   PLUMMER\MEGHANN JUDITH                                        467 KEAP ST                                                     #2A                                                                              BROOKLYN               NY      11211
6485934   Plummers                                                      12240 Sherman Way                                                                                                                                North Hollywood        CA      91605
6484240   Plutarch Associates, Inc.                                     c/o Matthew Snyder, Creative Artists Agency2000 Avenue of the                                                                                    Los Angeles            CA      90067
6484990   PMC dba Mail.com Media Corporation                            9800 La Cienega Blvd1st Floor                                                                                                                    Inglewood              CA      90301
6482643   PMK/HBH Inc                                                   PO Box 3157                                                                                                                                      Carol Stream           IL      60132
6484366   PMK-BNC, Inc.                                                 8687 Melrose Ave. 8th Floor                                                                                                                      West Hollywood         CA      90069
6468676   PNC BANK                                                      BANKRUPTCY DEPARTMENT                                           249 FIFTH AVENUE                       ONE PNC PLAZA                             PITTSBURGH             PA      15222
6468678   PNC BANK                                                      CHUCK RIKER                                                     1404 COMMONWEALTH DRIVE                SUITE 200                                 WILMINGTON             NC      28403
6468692   PNC BANK                                                      DOUGLAS STACHURA                                                8 OHENRY AVE.                                                                    ASHEVILLE              NC      28801
6475605   PNC BANK NATIONAL ASSOCIATION                                 249 FIFTH AVENUE                                                ONE PNC PLAZA                                                                    PITTSBURGH             PA      15222
6485597   POD Productions, Inc.                                         15233 Ventura Blvd., 9th Floor                                                                                                                   Sherman Oaks           CA      91403
6478830   POD PRODUCTIONS, INC.                                         330 S. BARRINGTON AVENUE                                                                                                                         LOS ANGELES            CA      90049
6476285   PODGORSKI\EDWARD                                              257 44TH STREET                                                                                                                                  PITTSBURGH             PA      15201
6479238   PODGURSKI\JEFF                                                19360 RINALDI ST #264                                                                                                                            NORTHRIDGE             CA      91326
6483968   Pogos Rchtouni dba Classical and Modern Art Tailoring         8612 W. 3rd St.                                                                                                                                  Los Angeles            CA      90048
6484721   Point Media, The                                              350 S. Beverly DriveSuite 170                                                                                                                    Beverly Hills          CA      90212
6485267   Point.360                                                     Dept. LA 24001                                                                                                                                   Pasadena               CA      91185
6484109   Point.360 & Subsidiary                                        2701 Media Center Dr.                                                                                                                            Los Angeles            CA      90065
6481934   Pointroll                                                     951 East Hector Street                                                                                                                           Conshohocken           PA      19428
6483299   Poko Event Production                                         10683 Santa Moniva Blvd.                                                                                                                         Los Angeles            CA      90025
6475525   POL FLORES\RAUL                                               URB. EL ALAMO                                                   C 9 C\MONTERREY                                                                  GUAYNABO               PR      00969
6474877   POLANCO*CELINA C                                              Address on File
6490503   POLARITY POST PRODUCTION INC                                  ATTN: PAT EDILLO, ACCOUNTING ASSOCIATE                          69 GREEN STREET                                                                  SAN FRANCISCO          CA      94111
6480845   Pollack, Joshua                                               Address on File
6487913   POLLAK* JAY                                                   C/O FREEMAN FREEMAN & SMILEY, LLP                               ATTN: THEODORE B. STOLMAN/CAROL CHOW 1888 CENTURY PARK EAST, SUITE               LOS ANGELES            CA      90067
6476511   POLLARD, CAROL                                                1001 PARKVIEW ST                                                                                                                                 ASHEBORO               NC      27203
6480860   Pollard, Tracy                                                Address on File
6492717   POLSON THEATRES                                               ATTN: REBECCA DUPUIS, CEO                                       P.O. BOX 999                                                                     POLSON                 MT      59860
6480099   POLYGRAM TELEVISION LLC                                       9333 WILSHIRE BLVD.                                                                                                                              BEVERLY HILLS          CA      90210
6477855   PONCHATOULA ANTIQUES                                          400 S W RAILROAD AVE                                                                                                                             PONCHATOULA            LA      70454




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                                                                                                                         Served First Class Mail

MMLID     NAME                                                   ADDRESS                                            ADDRESS 2                                ADDRESS 3                        ADDRESS 4                  CITY               STATE   POSTAL CODE COUNTRY
6477811   POOLE INVESTMENT CLUB, LLC                             413 S JAHNKE AVE                                                                                                                                        COVINGTON          LA      70433
6481936   Pop Culture Madness                                    12 Commonweath Ave                                                                                                                                      Claymont           DE      19703
6479052   POP SOUND                                              625 ARIZONA AVENUE                                                                                                                                      SANTA MONICA       CA      90401
6478916   POP SOUND                                              DEPT #8250                                                                                                                                              LOS ANGELES        CA      90084-8250
6485263   POP Sound, LLC                                         P.O. Box 31001-2010                                                                                                                                     Pasadena           CA      91110
6481396   Pop2Life                                               247 Centre St. 6th Floor                                                                                                                                New York           NY      10013
6475902   POPE\TIM                                               2523 CUSTMARY LANE                                 UNIT #5                                                                                              WILMINGTON         NC      28412
6483211   Popkiller dba Elites Screen Printing                   2146 Sacaramento St.                                                                                                                                    Los Angeles        CA      90021
6474227   POPPEL*BENJAMIN                                        Address on File
6480726   Poppel, Benjamin M                                     Address on File
6483969   Poppie Harris                                          537 Norwich Drive                                                                                                                                       Los Angeles        CA      90048
6475984   POPULAR AUTO                                           1901 AVE. JESUS T. PINERO                                                                                                                               SAN JUAN           PR      00920
                                                                                                                    C/O LICHTER, GROSSMAN, NICHOLS ADLER &                                    9200 SUNSET BOULEVARD,
6796560   POPULIST PICTURES, INC.                                A VIRGINIA CORPORATION                             FELDMAN                                  ATTN: MICHAEL ADLER              SUITE 1200                 LOS ANGELES        CA      90069
                                                                                                                    C/O LICHTER, GROSSMAN, NICHOLS ADLER &                                    9200 SUNSET BLVD., SUITE
6796550   POPULIST PICTURES, INC.                                STEVEN SODERBERGH, DIRECTOR                        FELDMAN                                  ATTN: MICHAEL ADLER, ESQ.        1200                       LOS ANGELES        CA      90069-3507
6485920   Populus Brands, LLC                                    11684 Ventura Blvd., Suite 361                                                                                                                          Studio City        CA      91604
6484587   Porcupine Wash Ltd.                                    c/o Endeavor9601 Wilshire Blvd., 3rd Floor                                                                                                              Beverly Hills      CA      90210
6796544   PORCUPINE WASH LTD. AND MIDDLETOWN NEWS                C/O WILLIAM MORRIS ENDEAVOR                        ATTN: JASON SPITZ                        9601 WILSHIRE BLVD., 3RD FLOOR                              BEVERLY HILLS      CA      90210
6796553   PORCUPINE WASH LTD. F/S/O DAVID HEMINGSON              C/O WILLIAM MORRIS ENDEAVOR                        ATTN: JASON SPITZ                        9601 WILSHIRE BLVD., 3RD FLOOR                              BEVERLY HILLS      CA      90210
6479578   POROPAT\YOLANDA                                        12351 VALLEYHEART DRIVE                                                                                                                                 STUDIO CITY        CA      91604
6476740   PORT CITY GUEST HOUSE                                  1511 MARKET STREET                                                                                                                                      WILMINGTON         NC      28401
6476802   PORT CITY SIGNS & GRAPHICS                             4011 OLEANDER DRIVE                                                                                                                                     WILMINGTON         NC      28403
6476071   PORTABLE ATELIER LLC                                   102 E 7TH STREET #6                                                                                                                                     NEW YORK           NY      10009
6480200   PORTER RANCH CITY HALL                                 C/O SAN FERNANDO CITY HALL                         117 MACNEIL STREET                                                                                   SAN FERNANDO       CA      91340
6474554   PORTER*NICOLE                                          Address on File
6486289   Portia Fontes                                          984 Kahili St.                                                                                                                                          Kailua             HI      96734
6491801   PORTLOCK/ADAM                                          Address on File
6476022   PORTOSAN INC.                                          PO BOX 1175                                                                                                                                             TRUJILLO ALTO      PR      00977
6475203   PORTS OF CALL,INC.                                     C/O PFOHL                                          207 YAUPON DRIVE                                                                                     SOUTHPORT          NC      28461
6485811   Position Music, Inc                                    702 N. Mariposa St.                                                                                                                                     Burbank            CA      91506
6492644   POSITION MUSIC, INC                                    ATTN: LAUREN MENDOZA, CONTROLLER                   702 N. MARIPOSA ST.                                                                                  BURBANK            CA      91506
6796547   Position Music, Inc.                                   ATTN: Emily Weber                                  702 N Mariposa St                                                                                    Burbank            CA      91506
6483460   Post Logic                                             1800 North Vine St., Suite 100                                                                                                                          Los Angeles        CA      90028
6486065   Post Modern Edit LLC                                   2941 Alton Parkway                                                                                                                                      Irvine             CA      92606
6486066   Post Modern Edit, Inc. dba Post Modern Group           2941 Alton Parkway                                                                                                                                      Irvine             CA      92606
6475766   POST TECH                                              4223 GLENCOE AVE                                   SUITE #A210                                                                                          MARINA DEL REY     CA      90292
6476092   POST WORKS L.A.                                        110 LEROY STREET                                                                                                                                        NEW YORK CITY      NY      10014
6474980   POSTAL INSTANT PRESS OF ALASKA, INC                    DBA: PIP PRINTING                                  833 EAST 4TH AVENUE                                                                                  ANCHORAGE          AK      99501
6475181   POSTER BOY INC.                                        C/O KING,HOLMES,PATERNO & BERL                     1900 AVE OF THE STARS, 25TH FL                                                                       LA                 CA      90067
6492185   POSTERBOY, INC.                                        C/O KING, HOLMES, PATERNO & SORIANO, LLP           ATTN: LAURIE SORIANO, ESQ.               1900 AVENUE OF THE STARS, 25TH                              LOS ANGELES        CA      90067
6491461   POSTHASTE MUSIC LIBRARY                                842 N. FAIRFAX AVE.                                                                                                                                     LOS ANGELES        CA      90046
6481805   Postware                                               22 South Ocean Ave.                                                                                                                                     Bayport            NY      11705
6475351   POSTWARE, INC.                                         18 WEST 21ST STREET,                               5TH FLOOR                                                                                            NEW YORK CITY      NY      10010
6477306   POTTER SR.\ROBERT A.                                   609 HWY 466 484-1007                                                                                                                                    LADY LAKE          FL      32159
6480948   Potter, Richard                                        Address on File
6476922   POTTER\GREGORY H.                                      16126 NC 53 E                                                                                                                                           KELLY              NC      28448
6478012   POTTER\KEITH                                           1223 SAN MIGUEL ST                                                                                                                                      BERNALILLO         NM      87004
6477006   POTTER\ROYCE L.                                        P.O. BOX 10215                                                                                                                                          SOUTHPORT          NC      28461
6485848   POV Pictures, LLC                                      11622 Otsego Street                                                                                                                                     North Hollywood    CA      91601
6479541   POV PICTURES, LLC.                                     11622 OTSEGO STREET                                                                                                                                     VALLEY VILLAGE     CA      91601
6479382   POV PICTURES, LLC.                                     14359 EMELITA ST                                                                                                                                        VALLEY VILLAGE     CA      91401
6479383   POV PICTURES, LLC.                                     14359 EMELITA ST                                                                                                                                        VAN NUYS           CA      91401
6479384   POV PICTURES, LLC.                                     5249 VENTURA CNY AVE                                                                                                                                    SHERMAN OAKS       CA      91401
6474937   POV PICTURES, LLC.                                     AKA NANCY BESWICK                                  11622 OTSEGO STREET                                                                                  VALLEY VILLAGE     CA      91601
6474944   POV PICTURES, LLC.                                     AKA NANCY BESWICK                                  14359 EMELITA ST                                                                                     VAN NUYS           CA      91401
6474938   POV PICTURES, LLC.                                     C/O NANCY BESWICK                                  11622 OTSEGO STREET                                                                                  VALLEY VILLAGE     CA      91601
6479121   POVINELLI\MARK                                         1008 MARDHETA ST                                                                                                                                        ALTADENA           CA      91001
6480450   Powell, Jenni                                          Address on File
6486136   Power In Motion                                        2290 Rohner Ct.                                                                                                                                         Simi Valley        CA      93063
6470449   POWER PLANT PRODUCTIONS LP                             230 N 2ND ST                                                                                                                                            PHILADELPHIA       CA      19106
6481916   Power Plant Productions LP                             230 N 2nd St                                                                                                                                            Philadelphia       PA      19106
6478961   POWER TRIP RENTALS LLC                                 2950 E HARCOURT ST                                                                                                                                      RANCHO DOMINGUEZ   CA      90221
6484837   Powerhouse Music Productions, LLC                      150 Sierra St.                                                                                                                                          El Segundo         CA      90245
6482963   Powers Livestock & Entertainment dba Take One Cinema   P.O. Box 338                                                                                                                                            Mountain Home      ID      83647
6474482   POWLEY*CONNOR                                          Address on File
6480620   Powley, Connor                                         Address on File                                                                                                                                                                                 UNITED
6486530   Powster Ltd                                            2 Netil Lane, Netil House, 1 Westgate Street                                                                                                            London                     E8 3RL       KINGDOM
6484082   Powwow Group Inc                                       10557 Dunleer Dr                                                                                                                                        Los Angeles        CA      90064
6492719   POYNER SPRUILL LLP                                     ATTN: JILL C. WALTERS                              PO BOX 1801                                                                                          RALEIGH            NC      27602-1801




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6850099   Poyner Spruill LLP                                           c/o Dan Cahill                                              P. O. Box 1801                                                                                        Raliegh                  NC      27602
6476623   POYNER SPRUILL LLP                                           PO BOX 1801                                                                                                                                                       RALEIGH                  NC      27602-1801
6482023   Poyner Spruill, LLP                                          301 S. Fayetteville St., Ste.1900                                                                                                                                 Raleigh                  NC      27601
6475890   POYNER SPRUILL,LLP.                                          301 FAYETTERVILLE STREET                                    SUTE #1900                                                                                            RALEIGH                  NC      27601
6475973   PR CAST AND CREW PAYROLL                                     1250 PONCE DE LEON STE 602                                                                                                                                        SAN JUAN                 PR      00907
6481632   PR Newswire Association LLC                                  PO Box 5897                                                                                                                                                       New York                 NY      10087
6481342   Pragmatic Pictures, Inc. fso Macrland Hawkins, Jr.           76 9th Avenue #30241                                                                                                                                              New York                 NY      10011
6483170   Pratima Schmidt                                              1234 Wilshire Blvd #316                                                                                                                                           Los Angeles              CA      90017
6480528   Precious, Dana                                               Address on File
6491295   PRECISION TRANSPORTATION SERVICE,LLC                         4822 FULTON INDUSTRIAL BLVD                                                                                                                                       ATLANTA                  GA      30336
6481833   Precision Weather Service                                    8787 Riverwatch                                                                                                                                                   Baldwinsville            NY      13027
6484241   Predawn Productions, Inc. f/s/o Ronald Bass                  c/o ICMAttn: Harley Copen10250 Constellation Blvd, 9th Fl                                                                                                         Los Angeles              CA      90067

6486095   Predictive Technologies, Inc                                 30211 Avenida de las BanderasSte 200                                                                                                                              Rancho Santa Margarita   CA      92688
6481792   Preferred Security & Investigations                          585 Stewart Ave., Ste.LL24                                                                                                                                        Garden City              NY      11530
6492838   PREMIER LUXURY SUITES, INC                                   ATTN: KENNETH G. COHEN, PRESIDENT                           400 SKOKIE BLVD , SUITE 235                                                                           NORTHBROOK               IL      60062        UNITED
6486480   Premier Plus Ltd                                             First Floor, 7-8 St. Stephen's Mews                                                                                                                               London                           U12 5QZ      KINGDOM
6796542   PREMIERE FILMS, INC.                                         ATTN: ISMAEL D. NIEVES "DANNY"                              P.O. BOX 13550                                                                                        SAN JUAN                 PR      00908-3550
6492381   PREMIERE NETWORKS, INC.                                      ATTN: COREY WOODS                                           20880 STONE OAK PKWY                                                                                  SAN ANTONIO              TX      78258
6484434   Premiere Radio Networks                                      File #54522                                                                                                                                                       Los Angeles              CA      90074
6483248   Press Start, Inc. fso Seth Goolnik                           10880 Wilshire Blvd. Suite 2100                                                                                                                                   Los Angeles              CA      90024
6478831   PRESSER, JENNIFER                                            11738 MAYFIELD AVE #111                                                                                                                                           LOS ANGELES              CA      90049
6476141   PRESSGROVE\CRAIG                                             63 N. 3RD STREET #212                                                                                                                                             BROOKLYN                 NY      11249
6477648   PRESTIGE FLOORING INC                                        1000 JEFFERSON HWY                                                                                                                                                JEFFERSON                LA      70121
6482608   Preston Michael Tucker                                       c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                                 Northbrook               IL      60062
6475399   PRETTYMAN\TRISTAN                                            5757 WILSHIRE BOULEVARD,                                    7TH FLOOR                                                                                             LOS ANGELES              CA      90036
6482382   Preview Theatre Joint Venture II                             636 Northland Blvd                                                                                                                                                Cincinnati               OH      45240
6480569   Price, Anne                                                  Address on File
6475211   PRICE\ERIC J                                                 3400 NORTH ARNOULT RD                                       214                                                                                                   METAIRIE                 LA      70002
6478448   PRICE\STEVEN                                                 15 BONANZA CREEK LANE                                                                                                                                             SANTA FE                 NM      87508
6478514   PRICES FURNITURE                                             607 DOUGLAS                                                                                                                                                       LAS VEGAS                NM      87701
6485264   PricewaterhouseCoopers                                       PO Box 31001-0068                                                                                                                                                 Pasadena                 CA      91110
                                                                                                                                                                                                             1600 ROSECRANS AVE, MEDIA
6796534   PRIMA CINEMA, INC.                                           ATTN: DAVID M. MITTLEMAN                                    VICE PRESIDENT, BUSINESS & LEGAL AFFAIRS   MANHATTAN BEACH STUDIOS        CENTER, 4TH FLOOR         MANHATTAN BEACH            CA      90266
6468753   PRIMALUX, LLC F/S/O DAVID TATTERSALL                         C/O GRANT, SAVIC, KOPALOFF AND ASSOCIATES                   ATTN: SUSAN GRANT                          6399 WILSHIRE BLVD.            SUITE 415                 LOS ANGELES                CA      90048
6479802   PRIME FOCUS CREATIVE SVC CAN                                 1205 MELVILLE ST.                                                                                                                                               VANCOUVER                  BC      V6E 0A6      CANADA
6475105   PRIME FOCUS CREATIVE SERVICES                                CANADA, INC.                                                1205 MELVILLE STREET                                                                                VANCOUVER                  BC      V6E 0A6      CANADA
6468863   PRIME FOCUS CREATIVE SERVICES CANADA, INC                    1205 MLVILLE STREET                                                                                                                                             VANCOUVER                  BC      V6E 0A6      CANADA
                                                                                                                                                                                                                                                                                       UNITED
6486504   Prime Focus International Services UK Limited                2-H Bucknall St.                                                                                                                                                London                             WC2H 8LA     KINGDOM
6485268   Prime Focus North America, Inc.                              Dept LA 23567                                                                                                                                                   Pasadena                   CA      91185
6475831   PRIME FOCUS TECHNOLOGIES                                     100 CORPORATE POINTE                                        SUITE 350                                                                                           CULVER CITY                CA      90230
6483461   Prime Focus VFX USA, Inc.                                    1800 N Vine Street                                                                                                                                              Los Angeles                CA      90028
6484367   Prime Public Relations, Inc.                                 c/o Binder and Company 4000 Sunset Blvd. #1015                                                                                                                  West Hollywood             CA      90069
6491373   PRIME TIME ENTERPRISES, INC.                                 2314 SUNSET RIDGE CIRCLE                                                                                                                                        CEDAR HILL                 TX      75104
6796536   PRIME UNIVERSE PRODUCTIONS                                   ATTN: GENERAL COUNSEL                                       612 SANTA MONICA BLVD.                                                                              SANTA MONICA               CA      90401
6478556   PRINCESS PARTY SUPPLY\THE                                    5652 W ADAMS BLVD                                                                                                                                               LOS ANGELES                CA      90016
6478193   PRINT STOP, L.L.C.\THE                                       5401 LOMAS NE                                                                                                                                                   ALBUQUERQUE                NM      87110
6485623   Printing Connection, The                                     7242 Valjean Ave.                                                                                                                                               Van Nuys                   CA      91406
6491234   PRINTING HOUSE PRODUCTIONS, LLC                              339 PARK AVE.                                                                                                                                                   NEW YORK                   NY      10022
6476178   PRIORITY ONE MEDICAL TRANSPORT                               1119 BROADWAY ST                                                                                                                                                E MCKEESPORT               PA      15035
6482922   Priscilla Patterson                                          2529 Rio Grande St. #9                                                                                                                                          Austin                     TX      78705
6477850   PRITCHARD\KELLY                                              39470 WILLIS ALLEY                                                                                                                                              PEARL RIVER                LA      70452
6481115   Private Jet Services Group, Inc                              5 Batchelder Road                                                                                                                                               Seabrook                   NH      03874
6476340   PRO KNITWEAR                                                 42 TERMINAL WAY                                                                                                                                                 PITTSBURGH                 PA      15219
6491649   PRO POWER PRODUCTS                                           912 S. GLENOAKS BLVD.                                                                                                                                           BURBANK                    CA      91502
6485997   ProAct                                                       924 W. Palomares Ave                                                                                                                                            La Verne                   CA      91750
6485403   ProBinding                                                   2192 A Anchor Court                                                                                                                                             Newbury Park               CA      91320
6478269   PRO-BUILD SOUTH LLC                                          PO BOX 26777                                                                                                                                                    ALBUQUERQUE                NM      87125
6479219   PRO-CAM NORTH CAROLINA INC                                   9660 LURLINE AVE                                                                                                                                                CHATSWORTH                 CA      91311
6475066   PRO-CAM RENTALS INC.                                         21122 NORDHOFF STREET                                       #F                                                                                                  CHATSWORTH                 CA      91311
6479220   PRO-CAM RENTALS, INC.                                        9660 LURLINE AVE,                                                                                                                                               CHATSWORTH                 CA      91311
6484025   Processing Payroll CA, Inc.                                  500 S. Sepulveda Blvd. 4th Floor                                                                                                                                Los Angeles                CA      90049
6485812   ProChordNation fso Cynthia Peters                            225 N. Beachwood Dr.                                                                                                                                            Burbank                    CA      91506
6484110   Procope Consulting, LLC                                      859 Mt. Washington Drive                                                                                                                                        Los Angeles                CA      90065
6485143   Prodigy Public Relations, LLC dba Prodigy PR                 2601 Ocean Park Blvd.                                       Suite 300                                                                                           Santa Monica               CA      90405-5274
6472945   PRODIGY PUBLIC RELATIONS, LLC DBA PRODIGY PR                 2601 OCEAN PARK BLVD. SUITE 110                                                                                                                                 SANTA MONICA               CA      90405
6484649   Producers Guild of America                                   8530 Wilshire Blvd, Ste 400                                                                                                                                     Beverly Hills              CA      90211
6485784   Producer-WGA Pension Plan                                    1015 N Hollywood Way                                                                                                                                            Burbank                    CA      91505
                                                                                                                                                                              ATTN: JOSEPH A. KOHANSKI AND
6487674   PRODUCER-WRITERS GUILD OF AMERICA PENSION                    AND HEALTH PLANS                                            C/O OF BUSH GOTTLIEB ALC                   DAVID E. ADHOOT                500 N. CENTRAL AVE., STE. 800 GLENDALE               CA      91203




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                                                                                                                                                  ATTN: JOSEPH A. KOHANSKI AND
6487643   PRODUCER-WRITERS GUILD OF AMERICA PENSION           AND HEALTH PLANS                             C/O OF BUSH GOTTLIEB ALC               DAVID E. ADHOOT                801 N BRAND BLVD STE 950   GLENDALE           CA      91203-1260

6479873   PRODUCER-WRITERS GUILD OF AMERICA PENSION PL.       ATTN: LEGAL DEPT.                            2900 W. ALAMEDA AVE., STE 1100                                                                   BURBANK            CA      91505-4220
6485785   Producer-Writers Guild of America Pension Plan      1015 N Hollywood Way                                                                                                                          Burbank            CA      91505
6474962   PRODUCTION ADVISORY SERVICES OF                     PUERTO RICO, INC.                            416 AVENUE PONCE DE LEON, SUITE 311                                                              SAN JUAN           PR      00918-3430
6479698   PRODUCTION MANAGEMENT SUPPLY                        5507 SENECA PLACE                                                                                                                             SIMI VALLEY        CA      93063
6479699   PRODUCTION MGMT SUPPLY CORP                         5507 SENECA PLACE                                                                                                                             SIMI VALLEY        CA      93063
6478194   PRODUCTION OUTFITTERS, INC.                         1833 SAN MATEO BLVD. NE                                                                                                                       ALBUQUERQUE        NM      87110
6484026   Production Processing                               500 S. Sepulveda Blvd                                                                                                                         Los Angeles        CA      90049
6478832   PRODUCTION PROCESSING, INC.                         500 S. SEPULVEDA BLVD.                                                                                                                        LOS ANGELES        CA      90049
6476741   PRODUCTION SOURCE\THE                               27 NORTH FRONT STREET STE# 200                                                                                                                WILMIINGTON        NC      28401
6476742   PRODUCTION SOURCE\THE                               27 NORTH FRONT STREET STE# 200                                                                                                                WILMINGTON         NC      28401
6476852   PRODUCTION SOURCE\THE                               27 NORTH FRONT STREET STE# 200                                                                                                                WILMINGTON         NC      28405
6476924   PRODUCTION SOURCE\THE                               411 ANCHOR WAY                                                                                                                                KURE BEACH         NC      28449
6485294   Production Truck, The                               711 Ruberta Ave.                                                                                                                              Glendale           CA      91201
6486409   Productions 7E vague                                5309, rue Saint-Urbain                                                                                                                        Montreal           QC      H2T 2W8      CANADA
6492822   PRODUKTION, INC.                                    ATTN: JOSEPH PNMIANO, PRESIDENT              147 WEST 26TH ST., 6TH FLOOR                                                                     NEW YORK           NY      10001
6491605   PROFESSIONAL BINDING PRODUCTS, INC                  5330 DERRY AVE. SUITE 1                                                                                                                       AGOURA HILLS       CA      91301
6477589   PROFESSIONAL FUNERAL SERVICES                       1620 ELYSIAN FIELDS AVE                                                                                                                       NEW ORLEANS        LA      70117
6476853   PROFESSIONAL OFFICE SYSTEMS,IN                      6709-B NETHERLANDS DRIVE                                                                                                                      WILMINGTON         NC      28405
6482958   Professional Property Management, LLC               2510 Warren Avenue                                                                                                                            Cheyenne           WY      82001
6476657   PROFESSIONAL SECURITY SOLUTIONS, LLC.               276 BLUME RD                                                                                                                                  MOORESVILLE        NC      28117
6475382   PROFESSIONAL SERVICE                                INDUSTRIES INC                               7192 SOLUTION CENTER                                                                             CHICAGO            IL      60677-7001
6477699   PROFESSIONAL SOUND SERVICES                         1515 S SALCEDO STE #130                                                                                                                       NEW ORLEANS        LA      70125
6475791   PROFESSIONAL SOUND SERVICES                         1515 SOUTH SALCEDO ST                        SUITE 130                                                                                        NEW ORLEANS        LA      70125
6481694   Professional Sports Publications Inc                570 Elmont Rd                                                                                                                                 Elmont             NY      11003
6484949   Programmers Dev LLC                                 1511 Abbot Kinney Blvd.                                                                                                                       Venice             CA      90291
6479357   PROGRESSIVE EQUIP LEASING, INC                      PO BOX 55187                                                                                                                                  VALENCIA           CA      91385
6477883   PROGRESSIVE WASTE SOLUTIONS                         310 HOWZE BEACH LN                                                                                                                            SLIDELL            LA      70461
6482914   Projectc.net                                        21505 Serendipity Pl.                                                                                                                         Spicewood          TX      78669
6481659   Prometheus Global Media, LLC                        340 Madison Avenue, 6th FL                                                                                                                    New York           NY      10173
6491826   PROMETHEUS GLOBAL MEDIA, LLC                        770 BROADWAY, 15TH FLOOR                                                                                                                      NEW YORK           NY      10003
6491490   PROMOSHOP INC                                       5420 MCCONNELL AVENUE                                                                                                                         LOS ANGELES        CA      90066
6484950   Promotions Group West                               1511 Abbot Kinney Blvd,                                                                                                                       Venice             CA      90291        THE
6486531   Promotone B.V.                                      Herengracht 566                                                                                                                               Amsterdam                               NETHERLA
6483344   Proof                                               1670 Beverly Blvd. STE 1                                                                                                                      Los Angeles        CA      90026
6479607   PROP SERVICES WEST                                  7040 LAUREL CANYON BLVD                                                                                                                       NORTH HOLLYWOOD    CA      91605
6479430   PROPGRAPHICS, INC.                                  4319 DIXIE CANYON AVE #6                                                                                                                      SHERMAN OAKS       CA      91423
6474939   PROPLOLOGY FX INC                                   DBA: SET MASTERS                             11650 HART ST                                                                                    N. HOLLYWOOD       CA      91605
6474926   PROPPARAZZI, LLC                                    DBA: PROPPARAZZI, LLC                        10018 RIVER ROAD                                                                                 ST. ROSE           LA      70087
6480051   PROSIGHT SYNDICATE 1110 AT                          LLOYD'S OF LONDON                            101 N. BRAND BLVD.                     #1200                                                     GLENDALE           CA      91203
6474935   PROTEA-IPS, INC                                     FSO: ROGIER STOFFERS                         11328 MAGNOLIA BLVD. #1                                                                          N. HOLLYWOOD       CA      91601
6476427   PROTECTION SERVICES INC                             635 LUCKNOW RD                                                                                                                                HARRISBURG         PA      17110
6485746   Pro-Tek Media Preservation Services                 3110 N San Fernando Blvd                                                                                                                      Burbank            CA      91504
6485624   Protocol Telecommunications Inc                     16844 Saticoy St                                                                                                                              Van Nuys           CA      91406
6479775   PROTZMAN, MATTHEW                                   PO BOX 669                                                                                                                                    WHITTIER           AK      99693
6479935   Providence Equity Partners L.L.C.                   Address on File
6475819   PROXIMITY HOTEL                                     324 W. WENDOVER AVE                          SUITE 300                                                                                        GREENSBORO         NC      27408
6482162   Prudential Aviation                                 1900 Meridian Avenue, Ste. 505                                                                                                                Miami              FL      33139
6796531   PRYOR CASHMAN LLP                                   JAMES A. JANOWITZ, ESQ.                      7 TIMES SQUARE                         3RD FLOOR                                                 NEW YORK           NY      10036
6482645   PSAV Presentation Services                          1700 E. Golf Rd. Suite 400                                                                                                                    Schaumburg         IL      60173
6475798   PSGOSO                                              27 N. FRONT ST.                              SUITE 200                                                                                        WILMINGTON         NC      28401
6484722   PSI Records, Inc                                    269 S. Beverly Drive#303                                                                                                                      Beverly Hills      CA      90212
6481614   PT Entertainment Inc.                               Pamela Thur-Weir15 Park Row, #11L                                                                                                             New York           NY      10038
6796518   PT PRIMA CINEMA MULTIMEDIA                          JALAN K.H. MOH MANSYUR11                     KOMPLEX JEMBARAN LIMA PERMAI BLOK B-                                                             JAKARTA                    10140        INDONESIA
6485091   PTV Music, Inc.                                     2800 Olympic Blvd. 2nd Floor                                                                                                                  Santa Monica       CA      90404        UNITED
6486470   Public Eye Communications                           Suite 313, Plaza, 535 Kings Rd.                                                                                                               London                     SW10 052     KINGDOM
6485977   Publishers Weekly                                   PO Box 16957                                                                                                                                  North Hollywood    CA      91615
6477354   PUCKETT\JILL                                        100 ENGLISH CT                                                                                                                                HENDERSONVILLE     TN      37075
6478496   PUEBLO OF SAN JUAN                                  P.O. BOX 1119                                                                                                                                 OHKAY OWINGEH      NM      87566
6478013   PUEBLO OF SANTA ANA                                 02 DOVE ROAD                                                                                                                                  SANTA ANA PUEBLO   NM      87004
6478036   PUEBLO OF ZIA                                       135 CAPITOL SQUARE DRIVE                                                                                                                      ZIA PUEBLO         NM      87053
6475491   PUENTE\JESSE                                        1150 SUNVUE PLACE                            APT. 2                                                                                           LOS ANGELES        CA      90012
6480322   PUERTO RICO DEPT. DE HACIENDA                       P.O. BOX 9024140                                                                                                                              SAN JUAN           PR      00902
6476006   PUERTO RICO FILM COMMISSION                         PO BOX 362350                                                                                                                                 SAN JUAN           PR      00936-2350
6481413   Pull (A Music Co.) Inc.                             68 King St.                                                                                                                                   New York           NY      10014
6491643   PULSE PUBLISHING ADMINISTRATION, LLC                16130 VENTURA BLVD. SUITE 560                                                                                                                 ENCINO             CA      91436
6478166   PULTE HOMES OF NEW MEXICO INC.                      7445 PAN AMERICAN FWY NE                                                                                                                      ALBUQUERQUE        NM      87109
6474140   PULVER*AMANDA                                       Address on File




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                                                                                                                               Served First Class Mail

MMLID     NAME                                                      ADDRESS                                              ADDRESS 2                             ADDRESS 3                          ADDRESS 4    CITY              STATE   POSTAL CODE COUNTRY
6477590   PUMILIA\RAYMOND                                           4023 ROYAL ST                                                                                                                              NEW ORLEANS       LA      70117
6477250   PUNDT, JOHN                                               506 WAPPOO ROAD                                                                                                                            CHARLESTON        SC      29407
6491263   PURCHASE POWER                                            PO BOX 371874                                                                                                                              PITTSBURGH        PA      15250
6796510   Pure Flix Entertainment, LLC                              Attn: CFO                                            18940 N. Pima Road Suite 110                                                          Scottsdale        AZ      85255
6796507   PURE FLIX ENTERTAINMENT, LLC                              ATTN: GENERAL COUNSEL                                18940 N PIMA ROAD, SUITE # 100                                                        SCOTTSDALE        AZ      85255
6490429   PUREBRANDS, LLC                                           C/O HALPERIN BATTAGLIA BENZIJA, LLP                  40 WALL STREET, 37TH FLOOR                                                            NEW YORK          NY      10005
6485466   Purge                                                     5821 Shirley Ave.                                                                                                                          Tarzana           CA      91356
6477447   PURPLE GUMBEAUX, LLC                                      505 METAIRIE LAWN DR                                                                                                                       METAIRIE          LA      70001       UNITED
6486439   Push Entertainment                                        The Old School House, George Leigh St.                                                                                                     Manchester                M4 6AF      KINGDOM
6483749   Pusher LLC                                                2658 Griffith Park Blvd.#120                                                                                                               Los Angeles       CA      90039
6481885   Putnam Leasing Company, LLC                               P.O. Box 296                                                                                                                               Lititz            PA      17543
6477007   PYTHAGORUS LODGE #249                                     P.O BOX 11184                                                                                                                              SOUTHPORT         NC      28461
6482907   Q Social Media LTD                                        22136 Westheimer Parkway #224                                                                                                              Katy              TX      77450
6475431   Q SOCIAL MEDIA LTD                                        C/O UNITED TALENT AGENCY/KEYA                        9336 CIVIC CENTER DR                                                                  BEVERLY HILLS     CA      90210
6482927   Q1 Media                                                  12708 Riata Vista Cir B106                                                                                                                 Austin            TX      78727
6479903   QBE INSURANCE CORP.                                       CHRISTOPHER COPER                                    88 PINE STREET                                                                        NEW YORK          NY      10005
6479897   QBE INSURANCE CORP.                                       ROBERT BYERLY                                        30 W. MONROE, WUITE 1050                                                              CHICAGO           IL      60603
6479890   QBE INSURANCE CORPORATION                                 ATTN: LEGAL DEPARTMENT                               WALL STREET PLAZA                     88 PINE STREET                                  NEW YORK          NY      10005
6491623   QBI, LLC                                                  21031 VENTURA BLVD., 12TH FL                                                                                                               WOODLAND HILLS    CA      91364
6484027   QNO, LLC                                                  11401 Chalon Rd.                                                                                                                           Los Angeles       CA      90049
6490339   QNO, LLC                                                  ATTN: ROBERT STEINBERG                               1901 AVENUE OF THE STARS, STE 1100                                                    LOS ANGELES       CA      90067
6480370   QNO, LLC                                                  C/O DEMAREST FILMS                                   11925 WILSHIRE BLVD.                  SUITE 310                                       LOS ANGELES       CA      90025
6480335   QNO, LLC                                                  C/O GLASSER WEIL FINK HOWARD ET AL.                  ATTN: JONATHAN BLINDERMAN             10250 CONSTELLATION BLVD.          19TH FLOOR   LOS ANGELES       CA      90067
6480368   QNO, LLC                                                  C/O RASKIN ANDERSON LAW                              9336 W. WASHINGTON BLVD               BUILDING C                                      CULVER CITY       CA      90232
6796499   QNO, LLC                                                  c/o Robert H. Steinberg, Gipson Hoffman & Pancione   1901 Avenue of the Stars              Suite 1100                                      Los Angeles       CA      90067
6483762   QOS Server LLC                                            4422 Lincoln Ave.                                                                                                                          Los Angeles       CA      90041
6477812   QUAID\ALBERT                                              204 E 6TH AVE                                                                                                                              COVINGTON         LA      70433
6478014   QUALITY INN & SUITES                                      210 N. HILL RD.                                                                                                                            BERNALILLO        NM      87004
6477083   QUALITY INN & SUITES BILTMORE                             1 SKYLAND INN DRIVE                                                                                                                        ARDEN             NC      28704
6479437   QUALITY PARKING SERVICE, INC.                             16101 VENTURA BLVD., SUITE 315                                                                                                             ENCINO            CA      91436
6485987   Quality Sign and Marquee LLC                              1665 W. Industrial Park Street                                                                                                             Covina            CA      91722
6492359   QUALITY SIGN AND MARQUEE LLC                              ATTN: WILLIAM CHOWAIKI, OFFICE MANAGER               1665 W. INDUSTRIAL PARK STREET                                                        COVINA            CA      91722
6482985   Qualtrics, LLC                                            2250 N. University Pkwy #48-C                                                                                                              Provo             UT      84604
6486210   QuantiFind, Inc.                                          2470 El Camino Real, Suite 210                                                                                                             Palo Alto         CA      94306
6483050   Quantum Loyalty Solutions                                 926 Incline Way, Suite 200                                                                                                                 Incline Village   NV      89451
6479913   Quantum Merchant Capital                                  Address on File
6482419   Que Chevere Music                                         404 Walnut Ave.                                                                                                                            Royal Oak         MI      48067
6482808   Queen Diva Music LLC                                      6045 Warrington Drive                                                                                                                      New Orleans       LA      70112
6474636   QUEZADA*TROY                                              Address on File
6479105   QUEZADA\LUCIA                                             11305 ALONDRA BLVD. SUITE A                                                                                                                NORWALK           CA      90650
6478126   QUICKBEAM SYSTEMS INC.                                    4201 YALE BLVD NE, STE A                                                                                                                   ALBUQUERQUE       NM      87107
6491834   QUIK TRAK                                                 267 W 17TH STREET 3RD FLOOR                                                                                                                NEW YORK          NY      10011
6479631   QUILTY/MICHYL-SHANNON                                     11922 WEDDINGTON ST. #108                                                                                                                  VALLEY VILLAGE    CA      91607
6478386   QUINN TIRE INC.                                           1005 CORDOVA PLACE                                                                                                                         SANTA FE          NM      87505
6475946   QUINONES\LILIA                                            MUNOZ RIVERA #9 ALTOS                                                                                                                      NAGUABO           PR      00718
6475960   QUINONES\WALESKA                                          REC. VILL A FAJARDO I APT. 100                                                                                                             FAJARDO           PR      00738
6475961   QUINONEZ\MYRTA PULIZA                                     PO BOX 1164                                                                                                                                FAJARDO           PR      00738
6474156   QUIROZ*EVANGELINE                                         Address on File
6480698   Quiroz, Evangeline D                                      Address on File
6474157   QUIROZ-HANSEN*JASPER                                      Address on File
6480699   Quiroz-Hansen, Jasper G                                   Address on File
6478787   QUIXOTE                                                   7336 SANTA MONICA BLVD #20                                                                                                                 WEST HOLLYWOOD    CA      90046
6490024   QUIXOTE MM, LLC                                           DBA: MOVIE MOVERS                                    10289 AIRLINE HWY                                                                     ST ROSE           LA      70087
6492352   QUIXOTE MM,LLC                                            ATTN: MICHAEL SUNDSTROM, CONTROLLER                  1011 N. FULLER AVE.                                                                   WEST HOLLYWOOD    CA      90046
6483881   Quixote Studios LLC                                       7336 Santa Monica Blvd., #20                                                                                                               Los Angeles       CA      90046
6478725   QUIXOTE STUDIOS, LLC                                      1000 N. CAHUENGA BLVD.                                                                                                                     HOLLYWOOD         CA      90038
6478788   QUIXOTE STUDIOS, LLC                                      1011 N. FULLER AVE                                                                                                                         WEST HOLLYWOOD    CA      90046
6477546   QUIXOTE STUDIOS, LLC                                      10289 AIRLINE HIGHWAY                                                                                                                      ST ROSE           LA      70087
6492162   QUIXOTE STUDIOS, LLC                                      C/O QUIXOTE MM, LLC                                  ATTN: MICHAEL SUNDSTROM, CONTROLLER   1011 N. FULLER AVENUE                           WEST HOLLYWOOD    CA      90046
6478726   QUIXOTE STUDIOS, LLC.                                     1000 N. CAHUENGA BOULEVARD                                                                                                                 LOS ANGELES       CA      90038
6477994   QWEST                                                     P.O. BOX 29040                                                                                                                             PHOENIX           AZ      85038-9040
6477993   QWEST                                                     PO BOX 29039                                                                                                                               PHOENIX           AZ      85038-9039
6484650   R & M Parnassi, Inc. dba World of Video & Audio           8717 Wilshire Blvd.                                                                                                                        Beverly Hills     CA      90211
6483027   R Lynn Strauss DBA Brown Dogs PR                          989 Capulin Rd.                                                                                                                            Los Alamos        NM      87544
6796326   R&J RELEASING, LTD                                        3625 N. HALL STREET                                  SUITE 610                                                                             DALLAS            TX      75219-5121
6492167   R&J RELEASING, LTD.                                       C/O LEVENE NEALE BENDER YOO & BRILL LLP              ATTN: J.P. FRITZ, ESQ.                10250 CONSTELLATION BLVD., SUITE                LOS ANGELES       CA      90087
6478055   R&R TRIM SUPPLY INC.                                      1110 1ST NW                                                                                                                                ALBUQUERQUE       NM      87102
6478056   R&R TRIM SUPPLY, INC.                                     1110 1ST ST NW                                                                                                                             ALBUQUERQUE       NM      87102
6483386   R. Bradley Davis                                          3913 Cumberland Avenue                                                                                                                     Los Angeles       CA      90027
6476943   R.D. WHITE & SONS, INC.                                   P.O. BOX 40                                                                                                                                SHALLOTTE         NC      28459




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MMLID     NAME                                                    ADDRESS                                                ADDRESS 2                      ADDRESS 3                  ADDRESS 4                  CITY                  STATE   POSTAL CODE COUNTRY
6477211   R.P.F. CONSTRUCTION , INC.                              205 ELK PARK DRIVE.                                                                                                                         ASHEVILLE             NC      28804
6475859   RA THOMAS ELECTRIC                                      20 BATTERY PARK AVE.                                   SUITE 900                                                                            ASHEVILLE             NC      28801
6474744   RAAB*BRIAN                                              Address on File
6474338   RAABE*STEPHANIE                                         Address on File
6483970   Rabbit Season Inc.                                      8 Parkway Terrace                                                                                                                           Los Angeles           CA      90048
6477008   RABON\WILLIAM P.                                        308 WEST MOORE STREET                                                                                                                       SOUTHPORT             NC      28461
6477009   RABON\WILLIAM P.                                        404 W. BRUNSWICK STREET                                                                                                                     SOUTHPORT             NC      28461
6478420   RABY COMPANIES, INC.\THE                                2911 CERRILLOS RD                                                                                                                           SANTA FE              NM      87507
6485144   Rachel Ami Witenstein Bruno                             2004 Oak St.                                                                                                                                Santa Monica          CA      90405
6483300   Rachel Cadden                                           2101 Selby Ave                                                                                                                              Los Angeles           CA      90025
6486274   Rachel Mobley                                           8885 Salmon Falls Dr. Unit B                                                                                                                Sacramento            CA      95826
6471809   RACHEL SCHWARTZ                                         510 BURNSIDE AVE. APT 1D                                                                                                                    LOS ANGELES           CA      90036
6484368   Rachel Schwartz                                         837 N. West Knoll Dr., Apt 116                                                                                                              West Hollywood        CA      90069
6476897   RACKLEY\NICHOLAS A.                                     8210 YELLOW DAISY DRIVE                                                                                                                     WILMINGTON            NC      28412
6482325   Rack-N-Roll Audio, Inc.                                 2838 Polo Club Rd.                                                                                                                          Nashville             TN      37221
6483301   Rada Roberts                                            1851 Holmby Ave., #201                                                                                                                      Los Angeles           CA      90025
6482443   Radiant Event Technology, LLC                           2605-D Oakley Park Rd.                                                                                                                      Commerce Township     MI      48390
6477941   RADIANT GLOBAL LOGISTICS                                P.O. BOX 844722                                                                                                                             DALLAS                TX      75284-4722
6482873   Radiant Global Logistics Inc. dba Adcom Worldwide       P.O. Box 844722                                                                                                                             Dallas                TX      75284
6478557   RADIANT IMAGES, INC.                                    4125 W. JEFFERSON BOULEVARD                                                                                                                 LOS ANGELES           CA      90016
6485354   Radiant Media Ventures fso Eric Doctorow                22287 Mulholland HighwayBox #1693                                                                                                           Calabasas             CA      91302
6482846   Radiant Outdoor, LLC                                    2811 McKinney Ave., Suite 230                                                                                                               Dallas                TX      75204
6796485   RADICAL PICTURES INC.                                   10 E. Islay St.                                                                                                                             Santa Barbara         CA      93101
6796484   RADICAL PICTURES, INC.                                  7421 BEVERLY BOULEVARD                                                                                                                      LOS ANGELES           CA      90036
6483634   Radical Publishing, Inc                                 7421 Beverly Blvd                                                                                                                           Los Angeles           CA      90036
6481183   Radikal Records Inc. dba OK! Good Records               1119 N. Wilson Ave.                                                                                                                         Teaneck               NJ      07666
6475093   RADIKAL RECORDS, INC.                                   OK! GOOD RECORDS A DIV OF                              1119 N. WILSON AVENUE                                                                TEANECK               NJ      07666
6482964   Radio Pictures, Inc.                                    c/o Ted Bonnitt1698 West Navajo Rd.                                                                                                         Wanship               UT      84017
6485367   Radstone & Thomas                                       22208 Wyandotte St.                                                                                                                         Canoga Park           CA      91303
6481625   Rafael Kayanan                                          244 E. 77th St. #19                                                                                                                         New York              NY      10075
6484651   Rafael Moscatel                                         8306 Wilshire Boulevard, #773                                                                                                               Beverly Hills         CA      90211
6479818   RAFE FOGEL                                              FALCON INVESTMENTS                                     600 LEXINGTON AVE.             35TH FLOOR                                            NEW YORK              NY      10022
6481626   Rafel Kayanan                                           244 E. 77th Street#19                                                                                                                       New York              NY      10075
6477572   RAFFENSPERGER\CHRIS                                     1312 LOUISIANA AVE                                                                                                                          NEW ORLEANS           LA      70115
6478449   RAFTER\WILLIAM M.                                       9-A OLD DOG RUN                                                                                                                             SANTA FE              NM      87508
6475176   RAG & BONE SHOP PRODUCTIONS                             C/O ZIFFREN BRITTENHAM LLP                             1801 CNETURY PARK WEST                                                               LOS ANGELES           CA      90067
                                                                                                                         C/O WIILIAM MORRIS ENDEAVOR                               9601 WILSHIRE BLVD THIRD
6468742   RAG AND BONE SHOP PRODUCTIONS, INC./                    CASEY AFFLECK (WRITER)                                 ENTERTAINMENT                  ATTN: SIMON FABER, AGENT   FLOOR                      BEVERLY HILLS         CA      90210        UNITED
6486400   Rage Music Limited f/s/o Paul Leonard Morgan - Wire     63 Woodside Terrace Lane                                                                                                                    Glasgow                       G3 7YW       KINGDOM
6476117   RAGNARSSON\MAGNUS                                       ALFALAND 2                                                                                                                                  REYKJAVIK                     108          ICELAND
6476898   RAGS SIGNS & GRAPHICS, LLC                              102 PORTWATCH WAY                                                                                                                           WILMINGTON            NC      28412
6479251   RAGTIME RENTALS INC.                                    11970 BORDEN AVENUE                                                                                                                         SAN FERNANDO          CA      91340
6480454   Ragusa, Alessandra                                      Address on File
6481747   Rah Productions, LLC                                    338 Gates Ave. 2nd Floor                                                                                                                    Brooklyn              NY      11216
6485961   Rahsan Ekedal                                           5228 Hermitage Ave                                                                                                                          Valley Village        CA      91607        UNITED
6479799   RAIDO, MELI JOAQUIN                                     29-33 CAMBERWELL CHURCH ST                                                                                                                  LONDON                        SE5 8TR      KINGDOM
6485875   Rainbow Digital Srvc dba Pivotal Post                   4142 Lankershim Blvd                                                                                                                        North Hollywood       CA      91602
6798054   RAINBOW HIGH ENTERTAINMENT                              5828 LEMP AVENUE                                                                                                                            NORTH HOLLYWOOD       CA      91601
6482215   Rainer Noess                                            6471 Seagull Drive, Apt 256                                                                                                                 Bradenton             FL      34210
6472613   RAINES FELDMAN LLP                                      1800 AVENUE OF THE STARS STE 1200                                                                                                           LOS ANGELES           CA      90067
6484723   Raines Feldman LLP                                      1800 AVENUE OF THE STARS STE 1200                                                                                                           LOS ANGELES           CA      90067-4200
6482609   Rajai Davis                                             c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                                          Northbrook            IL      60062
6478663   RALBOVSKY\NICK                                          3720 ROBERTA STREEET                                                                                                                        LOS ANGELES           CA      90031
6483708   Raleigh Film & Television LLC                           5300 Melrose Ave                                                                                                                            Hollywood             CA      90038
6476185   RALLY SPECIALIST INC                                    7600 NOBLESTOWN ROAD                                                                                                                        MCDONALD              PA      15057
6484242   Ralph Ehrenpreis                                        1800 Century Park East, Suite 550                                                                                                           Los Angeles           CA      90067
6484243   Ralph Ehrenpreis                                        1880 Century Park East, Suite 550                                                                                                           Los Angeles           CA      90067
6492873   RALSTON* MATTHEW                                        Address on File
6479350   RAMA\JAMES C.                                           27175 CEDAR RIDGE PLACE                                                                                                                     VALENCIA              CA      91381
6477347   RAMBO\FREDDIE JACKSON                                   210 N INGLESIDE ST.                                                                                                                         FAIRHOPE              AL      36532
6475589   RAMIREZ\ALEX                                            ACERINA #23                                            MUNOZ RIVERA                                                                         GUAYNABO              PR      00969
6475966   RAMOS RODEIGUEZ\JERRY                                   CALLE BALDORIOTY #64 OESTE                                                                                                                  GUAYAMA               PR      00784
6478057   RAMOS\JESSICA                                           708 BORELAS CT SW                                                                                                                           ALBUQUERQUE           NM      87102
6476548   RAMSEUR CHAMBER OF COMMERCE                             PO BOX 1053                                                                                                                                 RAMSEUR               NC      27316
6485673   Ramsey Avery Design, Inc                                6514 LANGDON AVE                                                                                                                            VAN NUYS              CA      91406-6307
6473397   RAMSEY AVERY DESIGN, INC                                6514 Langdon Ave                                                                                                                            Van Nuys              CA      91406
6476055   RAMSEY\BOROUGH OF                                       33 NORTH CENTRAL AVENUE                                                                                                                     RAMSEY                NJ      07446

6480272   RANCHO PALOS VERDES CITY HALL                           30940 HAWTHORNE BOULEVARD                                                                                                                   RANCHO PALOS VERDES   CA      90275
6482610   Randal Grichuk                                          c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                           Northbrook            IL      60062




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MMLID     NAME                                                         ADDRESS                                               ADDRESS 2                         ADDRESS 3                        ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6482611   Randall Delgado                                              c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                     Northbrook         IL      60062
6483773   Randolph Voorhies                                            4844 Lynn St                                                                                                                         Los Angeles        CA      90042
6492154   RANDOM FACTION PRODUCTIONS                                   C/O BEHR ABRAMSON LEVY, LLP                           ATTN: JENNIFER LEVY               9701 WILSHIRE BOULEVARD          SUITE 800   BEVERLY HILLS      CA      90212
6468756   RANDOM FACTION PRODUCTIONS ('LENDER')                        C/O BEHR ABRAMSON LEVY, LLP                           ATTN: JENNIFER LEVY, ESQ.         9701 WILSHIRE BOULEVARD          SUITE 800   BEVERLY HILLS      CA      90212
6482877   Random House                                                 Dept 0919P.O. Box 120001                                                                                                             Dallas             TX      75312
6482740   Randstad Professionals                                       32462 Collection Center Drive                                                                                                        Chicago            IL      60693
6482822   Randy Harris dba Silver Screens Theaters                     18927 Thunder Ridge                                                                                                                  Norman             OK      73072
6476222   RANKIN\BOROUGH OF                                            320 HAWKINS AVE                                                                                                                      RANKIN             PA      15104
6476156   RAPER\KEVIN, L                                               43 AUGUSTINE RD                                                                                                                      SAUGERTIES         NY      12477
6484724   Raphel Wizman                                                233 S. Cannon                                                                                                                        Beverly Hills      CA      90212
6474933   RAPI INC & AFFILIATES                                        DBA: WESTERN COSTUME                                  11041 VANOWEN STREET                                                           N HOLLYWOOD        CA      91605
6476452   RAPID RESCUE PRODUCTS, INC.                                  5717 SELLGER DRIVE                                                                                                                   NORFOLK            VA      23502
6486290   Rar Productions                                              531 Keolu Dr Unit G                                                                                                                  Kailua             HI      96734
6478727   RASH, JOHN                                                   748 N. VINE STREET                                                                                                                   LOS ANGELES        CA      90038
6478728   RASH, JOHN L.                                                748 NORTH VINE STREET #410                                                                                                           LOS ANGELES        CA      90038
6475047   RASH\JOHN                                                    748 N. VINE STREET #410                               #410                                                                           LOS ANGELES        CA      90038
6492279   RASKIN ANDERSON LAW                                          ATTN: GARY S. RASKIN, MANAGING PARTNER                THE CULVER STUDIOS                9336 W. WASHINGTON BLVD., BLDG               CULVER CITY        CA      90232
6484808   Raskin Law, LLP dba Raskin | Anderson Law                    9336 W. Washington Blvd. Bldg. C                                                                                                     Culver City        CA      90232
6478789   RASMUSSEN\ROBBY                                              1412 1/2 N SIERRA BONITA AVE                                                                                                         LOS ANGELES        CA      90046
6475191   RAT ENTERTAINMENT, INC.                                      C/O SHELLY SROLOFF, CAA                               2000 AVE OF THE STARS                                                          LOS ANGELES        CA      90067
6487918   RAT ENTERTAINMENT, INC. AND BRETT RATNER                     C/O GREENBERG GLUSKER FIELDS CLAMAN, ET AL            ATTN: JEFFREY A KRIEGER           1900 AVENUE OF THE STARS, 21ST               LOS ANGELES        CA      90067
6485711   Rat Entertainment, Inc. f/s/o Brett Ratner                   16030 Ventura Blvd., Ste. 380                                                                                                        Encino             CA      91436
6474785   RATNER*MICHAEL                                               Address on File
6475443   RATTIGAN\SUZANNE                                             3012 WEST RIVERSIDE DRIVE                             APARTMENT C                                                                    BURBANK            CA      91505
6482844   Rave Cinemas                                                 2101 Cedar Springs Rd. Suite 800                                                                                                     Dallas             TX      75201
6482845   Rave Motion Pictures Attn: Joyce Carrell                     2101 Cedar Springs Rd. Suite#800                                                                                                     Dallas             TX      75201
6484588   Rawley St. Productions, Inc. fso Earl Richey Jones           Attn: Jon Meigs, Esq450 N. Roxbury Drive, 8th Floor                                                                                  Beverly Hills      CA      90210
6477851   RAWLS\KEVIN                                                  39470 WILLIS ALLEY                                                                                                                   PEARL RIVER        LA      70452
6476654   RAY BIVINS EFFECTS                                           638 WARLICK ROAD                                                                                                                     LAWNDALE           NC      28090
6476542   RAY, DWIGHT M.                                               3727 FIELDVIEW RD.                                                                                                                   PLEASANT GARDEN    NC      27313
6484244   Raymond Legal, P.C.                                          2029 Century Park East, Suite 400                                                                                                    Los Angeles        CA      90067
6483971   Raymond Ricord                                               8233 W. 1st St. #2                                                                                                                   Los Angeles        CA      90048
6479783   RAYNAULT VFX, INC.                                           1453 GILFORD                                                                                                                         MONTREAL           QC      H2J 1S1    CANADA
6480887   Raynor, Brooke                                               Address on File
6484991   Ray's Glass                                                  10421 Burin Avenue                                                                                                                   Inglewood          CA      90304
6480880   Razen, Jernej                                                Address on File
6796472   RAZOR & TIE DIRECT LLC                                       214 SULLIVAN STREET                                   SUITE 4S                                                                       NEW YORK           NY      10012
6475325   RAZOR & TIE DIRECT, LLC.                                     214 SULLIVAN STREET,                                  4TH FLOOR                                                                      NEW YORK CITY      NY      10012
6490357   RAZOR & TIE MUSIC PUBLISHING LLC                             OBO SONGS OF THE GALT LINE                            214 SULLIVAN STREET STE 4A                                                     NEW YORK           NY      10012
6481369   Razor & Tie Music Publishing, LLC dba Songs of Razor & Tie   obo Falling Art Music214 Sullivan St., 5th Floor                                                                                     New York           NY      10012
6484083   Razorbird Films                                              11301 W. Olympic Blvd. Suite 121                                                                                                     Los Angeles        CA      90064
6481243   RB Pro of New York, Inc.                                     601 W. 26th St., Suite 1310                                                                                                          New York           NY      10001
6479108   RB PRODUCTION RENTALS LLC                                    14050 FREEWAY DR                                                                                                                     SANTA FE SPRINGS   CA      90670
6483882   RBrand, Inc.                                                 8033 W. Sunset Blvd. #615                                                                                                            Los Angeles        CA      90046
6486430   RBRO Solutions, Inc.                                         1101 Kingston Rd. Suite 230                                                                                                          Pickering          ON      L1V 1B5    CANADA
6477120   RBS RVS                                                      P.O. BOX 277                                                                                                                         NAPLES             NC      28760
6476403   RC ENTERPRISES INC                                           380 OLD NATIONAL PIKE                                                                                                                BROWNSVILLE        PA      15417
6479608   RC VINTAGE                                                   7100 TUIUNGA AVE                                                                                                                     N. HOLLYWOOD       CA      91605
6485145   RCL Red Carpet Limosine Service Inc.                         3200 Airport Ave, Suite #8                                                                                                           Santa Monica       CA      90405
6485146   RCL Red Carpet Limousine Servce Inc.                         3200 Airport Ave, Suite #8                                                                                                           Santa Monica       CA      90405
6482771   RCM Media, Inc.                                              303 Marshall Rd. Suite 1                                                                                                             Platte City        MO      64079
6796466   RCR DISTRIBUTION LLC                                         ATTN: ELLIAD JOSEPHSON                                1169 LOMA LINDA DRIVE                                                          BEVERLY HILLS      CA      90210
6472539   RCR DISTRIBUTION, LLC                                        1189 LOMA LINDA DR.                                                                                                                  BEVERLY HILLS      CA      90210
6484725   RCR Distribution, LLC                                        421 South Beverly Dr., 8th Floor                                                                                                     Beverly Hills      CA      90212
6796477   RCR DISTRIBUTION, LLC                                        ATTN: ELIAD JOSEPHSON                                 421 S. BEVERLY DRIVE              8TH FLOOR                                    BEVERLY HILLS      CA      90212
6759743   Reach Media Inc.                                             c/o Szabo Associates, Inc.                            3355 Lenox Road NE, Suite 945                                                  Atlanta            GA      30326
6492212   REACH MEDIA, INC.                                            C/O SZABO ASSOCIATES, INC.                            ATTN: SANDI G. HENDERSON, AGENT   3355 LENOX ROAD NE, SUITE 945                ATLANTA            GA      30326
6491654   REACH MUSIC PUBLISHING, INC.                                 321 NORTH PASS AVE. SUITE 500                                                                                                        BURBANK            CA      91505
6492736   READ* ROBERT                                                 1328 BRENTWOOD TRAIL                                                                                                                 BOLINGBROOK        IL      60490
6481277   Reading International                                        189 Second Ave                                                                                                                       New York           NY      10003
6483756   Reading Theaters                                             500 Citadel Dr. Suite 300                                                                                                            Los Angeles        CA      90040
6475393   READY SET GO! CONTENT LLC.                                   AKA DANIEL RYAN KOHLER                                7726 HOLLYWOOD BOULEVARD                                                       LOS ANGELES        CA      90046
6483883   Ready Set Go! Content, LLC fso Daniel Ryan Kohler            7726 Hollywood Blvd.                                                                                                                 Los Angeles        CA      90046
6491792   REALD INC.                                                   100 N. CRESENT DR                                     SUITE 120                                                                      BEVERLY HILLS      CA      90210
6487898   REALD, INC.                                                  ATTN: SHAWN GREEN, FINANCE MGR.                       FILE 1321                         1801 W. OLYMPIC BLVD.                        PASADENA           CA      91199
6485286   RealD, Inc.                                                  File 13211801 W. Olympic Blvd.                                                                                                       Pasadena           CA      91199
6492599   REALITY SHRINK, INC.                                         ATTN: BARRY GOLDSTEIN                                 4214 ELENDA STREET                                                             CULVER CITY        CA      90230
6479152   REALLY FAKE DIGITAL LLC                                      1060 E. ELIZABETH STREET                                                                                                             PASADENA           CA      91104      UNITED
6796437   REALLY SLOW MOTION LTD.                                      ATTN: MR. AGUS GONZALEZ-LANCHARRO                     7 GROSVENOR GARDENS                                                            LONDON                     SW1W0AF    KINGDOM
6485722   Rebecca Deherrera                                            554 S. Cypress St. Unit A                                                                                                            Burbank            CA      91501




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                                                                                                                                  Master Mailing List
                                                                                                                                 Served First Class Mail

MMLID     NAME                                                       ADDRESS                                                ADDRESS 2                            ADDRESS 3                         ADDRESS 4   CITY                 STATE   POSTAL CODE COUNTRY
6485046   Rebecca Rosichan                                           933 21st Street #7                                                                                                                        Santa Monica         CA      90403
6483010   Rebecca Stair                                              6212 Sedona Dr NE                                                                                                                         Albuquerque          NM      87111
6485431   Rebecca T. Fearing                                         10315 Woodley Ave. #211                                                                                                                   Granada Hills        CA      91344
6481790   Rebecca Theodore                                           90-24 139th St.                                                                                                                           Jamaica              NY      11435
6476743   REBECCA'S FABRICATIONS                                     416 N. HOWE STREET                                                                                                                        SOUTHPORT            NC      28401
6475582   REBELLA\VIVIAN                                             UNIVERSITY GARDENS #267                                LA SOBORNA ST                                                                      SAN JUAN             PR      00927
6484028   Reboot Networks                                            P.O Box 491059                                                                                                                            Los Angeles          CA      90049
6481804   Reclaim Recovery Group, Inc.                               512 Sunrise Hwy.                                                                                                                          West Babylon         NY      11704
6476899   RECOLLECTIONS ANTIQUE VILLAGE                              5935 CAROLINA BEACH RD.                                                                                                                   WILMINGTON           NC      28412
6477562   RECORD MAX NEW ORLEANS                                     901 THAYER ST                                                                                                                             NEW ORLEANS          LA      70114
6484245   Red 5 Comics                                               C/O Creative Artists Agency2000 Avenue of the Stars                                                                                       Los Angeles          CA      90067
6485092   Red Arc Music Group                                        1411 Cloverfield Blvd. Suite B                                                                                                            Santa Monica         CA      90404
6479932   Red Arrow Entertainment Group GmbH                         Address on File
6491576   RED BULL MEDIA HOUSE NORTH AMERICA, INC.                   1740 STEWART ST.                                                                                                                          SANTA MONICA         CA      90404
6485094   Red Bull Records, Inc.                                     1740 Stewart St.                                                                                                                          Santa Monica         CA      90404
6486131   Red Carpet Photo Shoot fso Iris B. Ilao                    754 Isela St.                                                                                                                             Oxnard               CA      93030
6483302   Red Cloud, LLC                                             1600 Sawtelle Blvd., Ste.108                                                                                                              Los Angeles          CA      90025
6476603   RED COLLECTION/THE                                         1411 MILL ST.                                                                                                                             GREENSBORO           NC      27408
6479675   RED DIGITAL CINEMA                                         20291 VALENCIA CIRCLE                                                                                                                     LAKE FOREST          CA      92630
6482939   Red Door Print Solutions, Inc.                             9031 Cody Circle                                                                                                                          Broomfield           CO      80021
6483009   Red Footed Booby Company                                   5010 Cutler Avenue NE# 179                                                                                                                Albuquerque          NM      87110
6480082   RED GRANITE PICTURES, INC.                                 9255 SUNSET BLVD.                                      SUITE 710                                                                          LOS ANGELES          CA      90069
6492161   RED GRANITE PICTURES, INC.                                 C/O LOEB & LOEB LLP                                    ATTN: LANCE N. JURICH, ESQ.          10100 SANTA MONICA BLVD., SUITE               LOS ANGELES          CA      90067-4120
6484652   Red Om Films                                               8383 Wilshire Blvd. Suite 500                                                                                                             Beverly Hills        CA      90211
6478207   RED RIVER STUDIO RENTALS                                   9633 ROSA NE                                                                                                                              ALBUQUERQUE          NM      87111
6484294   Red Ruby Designs                                           3239 Primera Ave                                                                                                                          Los Angeles          CA      90068
6484084   Red Spot Rentals fso Manny Marroquin                       11845 W. Olympic Blvd. #1125W                                                                                                             Los Angeles          CA      90064
6479542   REDBACK ONE LTD                                            11662 MCCORMICK ST                                                                                                                        N. HOLLYWOOD         CA      91601
6486137   RedCello Productions                                       2251 B Ward Ave.                                                                                                                          Simi Valley          CA      93065
6491880   REDCOLA                                                    5653 1/2 HOLLYWOOD BLVD, SUITE 8                                                                                                          LOS ANGELES          CA      90028
6492612   REDCOLA LLC                                                ATTN: DAMIR PRICE, OWNER                               525 VENEZIA AVENUE                                                                 VENICE               CA      90291
6796439   REDCOLA LLC                                                ATTN: MARK BURGOYNE                                    525 VENEZIA AVENUE                                                                 VENICE               CA      90291
6796440   REDCOLA, LLC.                                              ATTN: MARK BURGOYNE                                    669 N. BERENDO STREET                                                              L:OS ANGELES         CA      90004
6476699   REDDER\ANDREA CHRISTINE                                    9771 STONEYHILL LANE                                                                                                                      CHARLOTTE            NC      28277
6485026   Reddi Chick                                                225 26th Street                                                                                                                           Santa Monica         CA      90402
6476422   REDDI-GREEN TURF FARMS                                     111 OLD ROUTE 68                                                                                                                          EVANS CITY           PA      16033
6477945   REDDY ICE                                                  P O BOX 730505                                                                                                                            DALLAS               TX      75373-0505
6477061   REDIX,INC.                                                 120 CAUSEWAY DRIVE                                                                                                                        WRIGHTSVILLE BEACH   NC      28480
6491542   REECE RITCHIE DBA STRYNG, INC.                             9250 WILSHIRE BLVD. SUITE 100                                                                                                             BEVERLY HILLS        CA      90212
6477944   REECE SUPPLY CO OF LOUISIANA                               PO BOX 565545                                                                                                                             DALLAS               TX      75356
6481926   Reed Business Information                                  P.O. Box 7247-7026                                                                                                                        Philadelphia         PA      19170        UNITED
6486398   Reed Smith, LLP                                            The Broadgate Tower20 Primrose St.                                                                                                        London                       EC2A 2RS     KINGDOM
6478450   REEL CHEFS CATERING                                        53 CALLE ALEXIA                                                                                                                           SANTA FE             NM      87508
6491266   REEL CINEMAS, INC. DBA NARBERTH THEATRE                    1104 SANDRINGHAM RD.                                                                                                                      BALA CYNWYD          PA      19004
6480140   REEL FX FILM HOLDINGS, LLC                                 ATTN: STEVE O’BRIEN                                    301 N. CROWDUS ST.                                                                 DALLAS               TX      75226
6482851   Reel FX, Inc.                                              301 N. Crowdus St                                                                                                                         Dallas               TX      75226
6796433   REEL FX, INC.                                              C/O BUCK MCDONALD PRODUCTIONS, LLC                     ATTN: STEVE O'BRIEN AND DAVID ROSS   1129 STATE ST STE 3                           SANTA BARBRA         CA      93101
6491565   REEL MUSIC FSO JAMES J. FARRIS                             7013 RINDGE AVE.                                                                                                                          PLAYA DEL REY        CA      90293
6479394   REEL SECRUITY CORP.                                        15303 VENTURA BLVD, SUITE 1080                                                                                                            SHERMAN OAKS         CA      91403
6475781   REEL SECURITY CORP.                                        15303 VENTURA BLVD                                     SUITE 1080                                                                         SHERMAN OAKS         CA      91403
6486374   Reel Theaters LLC dba Lee Theater                          12948 Rebecca Ct                                                                                                                          Ephrata              WA      98823
6479366   REEL WASTE & RECYCLING, LLC                                29007 FLOWERPARK DR.                                                                                                                      CANYON COUNTRY       CA      91387
6479201   REELISTIC F/X, INC.                                        21318 HART ST                                                                                                                             CANOGA PARK          CA      91303
6476118   REELS ON WHEELS LLC                                        P.O. BOX 100                                                                                                                              NEW ROCHELLE         NY      10804
6485540   Reese C. Hartwig                                           26838 Cottonwood Ct.                                                                                                                      Stevenson Ranch      CA      91381
6485674   Refinery AV, LLC, The                                      14455 Ventura Blvd.                                                                                                                       Sherman Oaks         CA      91423
6477521   REFUGE\ERIC                                                P O BOX 3267                                                                                                                              HARVEY               LA      70059
6476169   REGAL AMUSEMENT CORPORATION                                102 FAWN DRIVE                                                                                                                            CLAIRTON             PA      15025
6492648   REGAL CINEMAS                                              ATTN: ROBERT ENGEL, SR., VP FILM FINANCE               7132 REGAL LANE                                                                    KNOXVILLE            TN      37918
6483138   Regal Cinemas L.A. LIVE                                    Attn: Antonella Haring714 W. Olympic Blvd. Suite 303                                                                                      Los Angeles          CA      90015
6490721   REGAL ENTERTAINMENT GROUP -                                ATTN: FILM DIVISION                                    P.O. BOX 844360                                                                    LOS ANGELES          CA      90084
6478247   REGAL PIEDMONT PLASTICS                                    3455 PRINCETON NE                                                                                                                         ALBUQUERQUE          NM      87121
6474222   REGAN*ELIZABETH                                            Address on File
6476374   REGENCY TRANSPORTATION GROUP                               1411 BEAVER AVENUE                                                                                                                        PITTSBURGH           PA      15233
6482790   Regent Imaging Supplies, Inc.                              22052 W. 66th St. #147                                                                                                                    Shawnee Mission      KS      66226
6485147   Reggie Films, Inc.                                         2850 Ocean Park Blvd. #300                                                                                                                Santa Monica         CA      90405
6481857   Regional Industrial Development Corp. of SW Pennsylvania   210 Sixth Ave. Suite 3620                                                                                                                 Pittsburgh           PA      15222
6475663   REGIONAL INDUSTRIAL DEVELOPMNT                             CORP OF SOUTHWESTERN PA                                PO BOX 3830                                                                        PITTSBURGH           PA      15230-3830
6490022   REGISTER OF COPYRIGHTS                                     LIBRARY OF CONGRESS                                    101 INDEPENDENCE AVE SE                                                            WASHINGTON           DC      20559
6475812   REGISTERED AGENT SOLUTIONS INC                             515 CONGRESS AVE                                       SUITE 2300                                                                         AUSTIN               TX      78701




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                                                                                                                     Master Mailing List
                                                                                                                    Served First Class Mail

MMLID     NAME                                                  ADDRESS                                        ADDRESS 2                       ADDRESS 3                     ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6475904   REHDER JR.\GEORGE STANLEY                             600 N. HOWE STREET                             UNIT #D                                                                   SOUTHPORT           NC      28461
6474776   REICH*ALEXANDER                                       Address on File
6474813   REID*JAMES                                            Address on File
6479009   REIKER\TAMI                                           1042 EMBURY STREET                                                                                                       PACIFIC PALISADES   CA      90272
6474223   REINER*MARLAINE                                       Address on File
6480723   Reiner, Marlaine J                                    Address on File
6481913   Reinhard, Inc.                                        2021 Arch St. Suite 400                                                                                                  Philadelphia        PA      19103
6480419   Reinhold, Joshua                                      Address on File
6480643   Reiss, Erica                                          Address on File
6481704   Reiva Cruze                                           37-11 Broadway Suite 3D                                                                                                  Astoria             NY      11103
6490430   RELATIVITY EDUCATION, LLC                             C/O HALPERIN BATTAGLIA BENZIJA, LLP            40 WALL STREET, 37TH FLOOR                                                NEW YORK            NY      10005
6480133   RELATIVITY EQUITY HOLDINGS, INC.                      ATTN: RODGER STOUT                             1300 POST OAK BLVD, SUITE 800                                             HOUSTON             TX      77056
6480111   RELATIVITY FUNDING, LLC                               C/O BLUE MOUNTAIN CAPITAL MANAGEMENT           ATTN: MICHAEL KASS              280 PARK AVENUE, 12TH FLOOR               NEW YORK            NY      10017
6486577   RELATIVITY SECURED LENDER, LLC                        17001 COLLINS AVE., SUITE 4305                                                                                           NORTH MIAMI         FL      33160
6796380   RELATIVITY SPORTS MANAGEMENT, LLC                     345 MAPLE                                      SUITE 205                                                                 BEVERLY HILLS       CA      90210
6796376   RELATIVITY SPORTS, LLC                                ATTN: HEATHER KARATZ                           345 MAPLE                       SUITE 205                                 BEVERLY HILLS       CA      90210
6485167   Relax the Back Corp.                                  6 Centerpointe Dr. #35                                                                                                   La Palma            CA      90623
6477996   RELIABLE CARRIERS, INC.                               220 S. 54TH ST.                                                                                                          CHANDLER            AZ      85224
6485747   Reliance MediaWorks VFX                               2777 N. Ontario St. Suite 201                                                                                            Burbank             CA      91504
6478287   RELIANCE STEEL COMPANY                                PO BOX 6218                                                                                                              ALBUQUERQUE         NM      87197
6469746   RELIGION MUSIC                                        GLANMORE HALL                                                                                                            ASHFORD WICKLOW                          IRELAND
6475067   REMES III\JUSTIN A                                    3400 KENT AVE                                  #G-101                                                                    METAIRIE            LA      70006
6485095   Remote Control Productions, Inc.                      1547 14th St.                                                                                                            Santa Monica        CA      90404
6486533   Remstar Films, Inc.                                   85 rue St-Paul Ouest, suite 290                                                                                          Montreal            QC      H2Y 3V4      CANADA
6484040   RemX                                                  PO Box 512007                                                                                                            Los Angeles         CA      90051
6477180   RENAISSANCE ASHEVILLE HOTEL                           31 WOODFIN STREET                                                                                                        ASHEVILLE           NC      28801
6477904   RENAISSANCE IMAGING, LLC                              2031 GOVERNMENT ST                                                                                                       BATON ROUGE         LA      70806
6477460   RENAISSANCE INTERIORS, LLC                            2727 EDENBORN AVE                                                                                                        METAIRIE            LA      70002
6476357   RENAISSANCE PITTSBURGH HOTEL                          107 6TH STREET                                                                                                           PITTSBURGH          PA      15222
6476506   RENCHER, BURTON                                       612 W. BANNER AVE.                                                                                                       WINSTON-SALEM       NC      27127
6476909   RENDERED COMMUNICATIONS                               1200 ST JOSEPH ST #68                                                                                                    CAROLINA BEACH      NC      28428
6476501   RENDLEMAN, RYAN MICHAEL                               2200 FAIRSTONE COURT                                                                                                     WINSTON-SALEM       NC      27106
6483750   Rene Sekula                                           2115 1/2 Duane St                                                                                                        Los Angeles         CA      90039
6483174   Renee Claire, Inc.                                    3641 10th Ave.                                                                                                           Los Angeles         CA      90018
6483709   Ren-Mar Studios                                       846 N. Cahuenga Blvd                                                                                                     Los Angeles         CA      90038
6476803   RENSHAW\JENNIFER ALICIA KING                          216 BROOKWOOD AVENUE                                                                                                     WILMINGTON          NC      28403
6474934   RENT A CAN TOILET CO, INC.                            DBA: OVER THE TOP TENTS AND EVENTS             11119 MAUSEL STREET                                                       EAGLE RIVER         AK      99577
6476537   RENT ME, LLC.                                         1212 HORSESHOE NECK RD.                                                                                                  LEXINGTON           NC      27295
6478387   RENT-A-CENTER                                         510 W. CORDOVA RD.                                                                                                       SANTA FE            NM      87505
6476866   RENT-A-JOHN                                           P.O. BOX 15549                                                                                                           WILMINGTON          NC      28408
6477212   RENTAL ME THIS INC.                                   535 MERRIMON AVE. SUITE B                                                                                                ASHEVILLE           NC      28804
6491259   RENT-A-PC, INC.                                       P.O. BOX 289                                                                                                             LAUREL              NY      11948
6796374   RENTRAK CORPORATION                                   ATTN: DAVID PAIKO                              7700 NE AMBASSADOR PLACE                                                  PORTLAND            OR      97220
6490701   RENTRAK CORPORATION                                   PO BOX 1450                                    NW 6135                                                                   MINNEAPOLIS         MN      55485
6485187   Renzwear                                              490 West 6th St.                                                                                                         San Pedro           CA      90731
6479124   REPEAT PERFORMANCE EQUIPMENT                          344 GEORGIAN ROAD                                                                                                        LA CANADA           CA      91011
6796375   Represent Holdings, LLC                               1880 Century Park East                         Suite 200                                                                 Los Angeles         CA      90067
6796364   REPUBLIC RECORDS                                      A DIVISION OF UMG RECORDINGS, INC.             ATTN: STEVE GAWLEY, ESQ.        1755 BROADWAY                             NEW YORK            NY      10019
6477374   REPUBLIC SERVICES,INC.                                P O BOX 9001099                                                                                                          LOUISVILLE          KY      40290-1099
6486161   Reputation.com Inc.                                   2688 Middlefield Rd. Building C                                                                                          Redwood City        CA      94063
6477213   RERYCH\STEPHANIE                                      114 WATSON RD.                                                                                                           ARDEN               NC      28804
6482741   Research In Motion Corporation                        12432 Collections Center Drive                                                                                           Chicago             IL      60693
6481415   Resevoir Media Management, Inc.                       225 Varick St. 6th Floor                                                                                                 New York            NY      10014
6478388   RESIDENCE INN SANTA FE                                1698 GALISTEO STREET                                                                                                     SANTA FE            NM      87505
6485148   Resilient Productions, Inc. fso Howie Young           1629 Wellesley Dr.                                                                                                       Santa Monica        CA      90405
6468809   RESOLUTION                                            ATTN: RICH GREEN                               1801 CENTURY PARK EAST          23RD FLOOR                                LOS ANGELES         CA      90067
6475863   RESOLUTION GRAPHICS                                   4380 ALEXANDER BLVD NE                         SUITE A                                                                   ALBUQUERQUE         NM      87107
6478127   RESOLUTION GRAPHICS INC                               4380 ALEXANDER BLVD NE                                                                                                   ALBUQUERQUE         NM      87107
6482967   Resorts West LLC                                      1795 Sidewinder Dr. Suite 100                                                                                            Park City           UT      84060
6492360   RESOURCES GLOBAL PROFESSIONALS                        ATTN: ERIN HARTSHORN, VP/FINANCE, ACCOUNTING   17101 ARMSTRONG AVENUE                                                    IRVINE              CA      92614
6484435   Resources Global Professionals                        File 55221                                                                                                               Los Angeles         CA      90074
6486487   Rethink VFX, INC                                      2-252 East 19th Street                                                                                                   North Vancouver     BC      V7L 2Z2      CANADA
6479786   RETHINK VFX, INC                                      5153 DROLET                                                                                                              MONTREAL            QC      H2T 2H3      CANADA
6479803   RETHINK VFX, INC.                                     1189 FORGE WALK                                                                                                          VANCOUVER           BC      V6H 3R1      CANADA
6478741   RETHINKVFX LA                                         4321 EDENHURST AVENUE                                                                                                    LOS ANGELES         CA      90039
6479294   RETRA RENTALS LLC                                     PO BOX 1895                                                                                                              SUN VALLEY          CA      91353
6474483   RETTIG*JENNIFER                                       Address on File
6483531   Rev Creative, LLC                                     2649 S. Bedford St.                                                                                                      Los Angeles         CA      90034
6490378   REV CREATIVE, LLC                                     ATTNL: DEAN SONA, SVP/PARTNER                  2649 S. BEDFORD ST.                                                       LOS ANGELES         CA      90034
6796368   REVEK ENTERTAINMENT                                   ATTN: GABRIELA REVILLA LUGO                    1215 S BEDFORD ST APT 403                                                 LOS ANGELES         CA      90035-2299




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MMLID     NAME                                              ADDRESS                                                             ADDRESS 2                           ADDRESS 3                       ADDRESS 4   CITY              STATE     POSTAL CODE COUNTRY
6475484   REVEK ENTERTINMENT, LLC                           1215 S BEDFORD ST APT 403                                                                                                                           LOS ANGELES       CA        90035-2299
6480245   REVENUE DIVISION                                  CITY HALL ANNEX, 1ST FLOOR                                          90 SANTA ROSA AVENUE                                                            SANTA ROSA        CA        95404
6485787   Revgear Sports Co.                                446 Vanowen St.                                                                                                                                     Burbank           CA        91505
6486175   Revision3 Corporation                             2415 3rd StreetSte. 232                                                                                                                             San Francisco     CA        94107
6482692   Revolution 9, Inc.                                5043 N. Lawndale                                                                                                                                    Chicago           IL        60625
6485355   Revolution Consulting Services                    5479 Wellesley Drive                                                                                                                                Calabasas         CA        91302       UNITED
6479782   REVOLUTION FILMS, LTD                             9A DALLINGTON STREET                                                                                                                                LONDON                      EC1V OBQ    KINGDOM
6482289   Revolution Pictures, Inc.                         2613 Westwood Dr.                                                                                                                                   Nashville         TN        37204
6479918   Revolution Studios Holding Company, LLC           Address on File
6480356   REWRITZE LLC F/S/O GEORGE OLSON                   C/O BLOOM, HERGOTT, DIEMER, ROSENTHAL ET AL.                        ATTN: STUART ROSENTHAL              150 SOUTH RODEO DRIVE, THIRD                BEVERLY HILLS     CA        90212
6478517   R-EXCEL                                           HCR 63 BOX 390                                                                                                                                      RATON             NM        87740
6475999   REYES ALVARADO\JULIAN                             CORNELL ST 209                                                                                                                                      SAN JUAN          PR        00927
6474697   REYES*ELENA                                       Address on File
6480981   Reyes, Elena N                                    Address on File
6475989   REYES/LARA                                        VALENCIA PLAZA, #408                                                                                                                                SAN JUAN          PR        00923
6476000   REYES\JULIAN                                      CORNELL ST #209                                                                                                                                     SAN JUAN          PR        00927
6478058   REYNOLDS AUTO SERVICE                             120 WOODWARD ROAD SW                                                                                                                                ALBUQUERQUE       NM        87102
6476493   REYNOLDS, CAITLIN JODY                            154 DENSMORE ST.                                                                                                                                    WINSTON-SALEM     NC        27103
6476804   REYNOLDS, JR.\FRANK R.                            1801 SOUTH LIVE OAK PARKWAY                                                                                                                         WILMINGTON        NC        28403
6483710   RFX, Inc.                                         748 Seward St.                                                                                                                                      Los Angeles       CA        90038
6483635   RGear Worldwide                                   5900 Wilshire Blvd., Ste 2250                                                                                                                       Los Angeles       CA        90036
6473493   RHINO ENTERTAINMENT                               3400 W OLIVE AVE                                                                                                                                    BURBANK           CA        91505
6491655   RHINO ENTERTAINMENT                               3400 W OLIVE AVE, P-1-8                                                                                                                             BURBANK           CA        91505
6796352   RHINO ENTERTAINMENT COMPANY                       3400 WEST OLIVE AVENUE                                                                                                                              BURBANK           CA        91505-4614
6796345   RHINO ENTERTAINMENT COMPANY                       WARNER MUSIC GROUP CO                                               3400 WEST OLIVE AVENUE                                                          BURBANK           CA        91505
                                                                                                                                ATTN: EVAN SCHAFFERMAN, ASSOCIATE
6492228   RHINO ENTERTAINMENT COMPANY, A WARNER             MUSIC GROUP COMPANY                                                 DIRECTOR                            3400 WEST OLIVE AVENUE                      BURBANK           CA        91505
6796351   RHINO ENTERTAINMENT COMPANY, A WARNER MUSIC       GROUP COMPANY                                                       3400 WEST OLIVE AVENUE                                                          BURBANK           CA        91505-4614
6476485   RHINO SPORTS & ENTERTAINMENT SERVICES, LLC        926 BROOKSTOWN AVENUE                                                                                                                               WINSTON-SALEM     NC        27101
6796335   RHL MANAGEMENT, LLC                               ATTN: GENERAL COUNSEL                                               510 LAGUARDIA PLACE                 5TH FLOOR                                   NEW YORK          NY        10012
6479969   RHODE ISLAND DEPARTMENT OF LABOR AND TRAINING     DIRECTOR                                                            1511 PONTIAC AVENUE                                                             CRANSTON          RI        02920
6474073   RHODES*KENDALL                                    Address on File
6480629   Rhodes, Kendall                                   Address on File
6481783   Rhyan J. Woods                                    94-40 57th Ave. #3K                                                                                                                                 Corona            NY        11368
6491252   RHYAN J. WOODS                                    APT 3K                                                                                                                                              CORONA            NY        11368
6476805   RHYNE\MELANIE N.                                  213 BROOKWOOD AVENUE                                                                                                                                WILMINGTON        NC        28403
6485331   RIA Films Inc.                                    6119 Heritage Drive                                                                                                                                 Agoura Hills      CA        91301
6482240   Ribbow Media                                      8204 Penn Way Ct.                                                                                                                                   Franklin          TN        37064
6478253   RIBONI\DAN                                        186 E HWY 66                                                                                                                                        ALBUQUERQUE       NM        87123
6484913   Ricard Rubio Vives                                108 N. Helberta Ave. #6                                                                                                                             Redondo Beach     CA        90277        ARGENTIN
6468949   RICARDO TALARICO                                  GREGORIA PEREZ 3545                                                 (1425) CAPITAL FEDERAL                                                          CAPITAL FEDERAL             1425         A
6486534   Ricardo Talarico                                  Gregoria Perez 3545(1425)                                                                                                                           Capital Federal                          Argentina
6491799   RICCARDO TISCI S.R.L.                             ATTN: RICCARDO TISCI, PRESIDENT                                     VIA DURINI N. 27                                                                MILANO                      20122        ITALY
6485149   Ricebunny, Inc.                                   2114 Pico Blvd.                                                                                                                                     Santa Monica      CA        90405
6485980   Rich City Productions                             3836 Cosbey Street                                                                                                                                  Baldwin Park      CA        91706
6468906   RICH DELIA                                        C/O UNTITLED ENTERTAINMENT                                          ATTN: TODD DIENER                   350 S. BEVERLY DR., SUITE 200               BEVERLY HILLS     CA        90212
6484727   Rich Delia                                        c/o Untitled Entertainment350 S. Beverly Dr., Suite 200Attn: Todd                                                                                   Beverly Hills     CA        90212
6485415   Rich Greene                                       17645 Nordhoff St.                                                                                                                                  Northridge        CA        91325
6485598   Rich Harrison                                     14926 Otsego St.                                                                                                                                    Sherman Oaks      CA        91403
6475595   RICH WISEMAN, LLC                                 7 AVENIDA VISTA GRANDE                                              NO. 250                                                                         SANTA FE          NM        87508
6491644   RICH* GERRY                                       Address on File
6481082   Richard A. Eklund                                 271 Wilder Street                                                                                                                                   Lowell            MA        01851        UNITED
6486459   Richard Ashcroft - Wire                           c/o Big Life Management67-69 Chalton St.                                                                                                            London                      NW1 1HY      KINGDOM
6482315   Richard B. Powell                                 4203 Stammer Pl.                                                                                                                                    Nashville         TN        37215        UNITED
6490370   RICHARD FILE                                      C/O METAWAY STUDIOS                                                 24 WALPOLE TERRACE                                                              BRIGHTON          BN2 0ED                KINGDOM
6483463   Richard Fox                                       1547 Cassil Place                                                                                                                                   Los Angeles       CA        90028
6481530   Richard Geller                                    190 East 72nd St. Apt 31D                                                                                                                           New York          NY        10021
6485356   Richard Ingber                                    4411 Park Aurora                                                                                                                                    Calabasas         CA        91302
6486057   Richard J. Hill                                   1700 S. Araby Dr. #92G                                                                                                                              Palm Springs      CA        92264
6485675   Richard John Ryan V                               4445 Colbath Ave. #104                                                                                                                              Sherman Oaks      CA        91423
6485921   Richard King                                      11271 Ventura Blvd. #224                                                                                                                            Studio City       CA        91604
6481556   Richard Mancuso                                   303 West 66th Street Apt 11ee                                                                                                                       New York          NY        10023
6481706   Richard Marshall                                  30-18 Broadway #2A                                                                                                                                  Astoria           NY        11106
6483711   Richard Mento                                     1203 Wilcox Avenue, Apt 6                                                                                                                           Los Angeles       CA        90038
6485608   Richard Potter                                    13953 Cantlay Street                                                                                                                                Van Nuys          CA        91405
6484871   Richard Reynolds                                  31540 Dolphin View Drive                                                                                                                            Malibu            CA        90265
6485471   Richard Rossignol Consulting                      3462 Robin Hill Street                                                                                                                              Thousand Oaks     CA        91360
6485332   Richard Skot Bright                               28902 Hollow Brook Ave.                                                                                                                             Agoura Hills      CA        91301
6485419   Richard Weinman                                   6856 Etiwanda Ave.                                                                                                                                  Reseda            CA        91335
6483464   Richard Woods                                     6057 Selma Ave                                                                                                                                      Los Angeles       CA        90028




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MMLID     NAME                                             ADDRESS                                                           ADDRESS 2                              ADDRESS 3   ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6477775   RICHARD\JIMMY LOUIS                              703 HILDA ST                                                                                                                     MORGAN CITY       LA      70380
6482612   Richie Shaffer                                   SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                     Northbrook        IL      60062
6481868   Richland Cinemas                                 420 Theatre Dr.                                                                                                                  Johnstown         PA      15904
6481793   Richman & Levine, P.C.                           666 Old Country Road, Suite 101                                                                                                  Garden City       NY      11530
6491751   RICK ENTERPRISES, INC.                           PO BOX 1707                                                                                                                      BURBANK           CA      91507-1707
6483712   Rick Florino                                     1200 N. Mansfield Ave. #216                                                                                                      Los Angeles       CA      90038
6476238   RICK JOHN, INC                                   717 REAMER DR                                                                                                                    CARNEGIE          PA      15106
6485441   Rickey Smith dba Urban Green LLC                 8922 Norris Ave                                                                                                                  Sun Valley        CA      91352
6479560   RICK'S HARDWARE COMPANY, INC                     4382 LANKERSHIM BLVD.                                                                                                            NORTH HOLLYWOOD   CA      91602
6477010   RICKY EVANS GALLERY                              211 N. HOWE STREET                                                                                                               SOUTHPORT         NC      28461
6483387   Ricky Fosheim                                    2633 N. Commonwealth Ave.                                                                                                        Los Angeles       CA      90027
6482657   Ricoh Americas Corporation                       3920 ARKWRIGHT RD                                                 STE 400                                                        MACON             GA      31210
6470975   RICOH AMERICAS CORPORATION                       3920 ARKWRIGHT RD STE 400                                                                                                        MACON             GA      31210-1748
6476549   RIDDLE, CATHERINE W.                             PO BOX 1057                                                                                                                      RAMSEUR           NC      27316
6491302   RIDGE CINEMA, INC.                               9200 STATE ROAD #84                                                                                                              FORT LAUDERDALE   FL      33324
6492829   RIDGE CINEMA, INC.                               ATTN: KEN STULTS                                                  2155 ALOMA AVE.                                                WINTER PARK       FL      32792
6474996   RIDGWAY'S, LLC                                   DBA: ARC - LA GULF COAST                                          PO BOX 203890                                                  DALLAS            TX      75320-3890
6477481   RIESS\MICHAEL R.C.                               1001 FALCON RD                                                                                                                   METAIRIE          LA      70005
6480839   Rifkin, Cara                                     Address on File
6474561   RIGAL*JAIME                                      Address on File
6480874   Rigal, Jaime E.                                  Address on File
6476806   RIGBY\BEN T.                                     215 BROOKWOOD AVENUE                                                                                                             WILMINGTON        NC      28403
6485676   Right Hook Music, Inc.                           13701 Riverside Dr., 8th Floor                                                                                                   Sherman Oaks      CA      91423
6476157   RIGHT TO THE MOON ALICE                          301 COOKS FALLS ROAD                                                                                                             ROSCOE            NY      12776
6480749   Riley, Christine                                 Address on File
6478483   RIM INDUSTRIES                                   P.O. BOX 1352                                                                                                                    LOS ALAMOS        NM      87544
6478128   RINCHEM COMPANY, INC.                            5131 Masthead St NE                                                                                                              Albuquerque       NM      87109-4367
6477921   RINECO CHEMICAL IND INC                          819 VULCAN RD-HASKELL                                                                                                            BENTON            AZ      72015
6476296   RINEHART\CARMON                                  134 S 17TH STREET                                                                                                                PITTSBURGH        PA      15203
6478958   RINGLER\CARRIE L.                                140 S. MAPLE DRIVE #102                                                                                                          BEVERLY HILLS     CA      90212
6477891   RINGS\CHRISTINE                                  148 VANESSA AVE                                                                                                                  LAKE CHARLES      LA      70605
6491491   RIPTIDE MUSIC, INC.                              4121 REDWOOD AVE. #202                                                                                                           LOS ANGELES       CA      90066
6485047   Rita Herscovici                                  938 2nd St. #201                                                                                                                 Santa Monica      CA      90403
6475062   RITZI, INC                                       810 EUTERPE ST                                                    #9318                                                          NEW ORLEANS       LA      70130
6477333   RITZI\STEVEN T.                                  4622 W BEACH PARK DR.                                                                                                            TAMPA             FL      33609
6477011   RIVENBARK\KATHRYN                                112 E. MOORE STREET                                                                                                              SOUTHPORT         NC      28461
6477740   RIVER PARISH DISPOSAL, LLC                       PO BOX 10482                                                                                                                     NEW ORLEANS       LA      70181-0482
6477201   RIVER RIDGE BUSINESS CENTER                      4 BALLANTREE RD.                                                                                                                 ASHEVILLE         NC      28803
6475390   RIVERA MARTINEZ\RICARDO                          URB. VILLA CAROLINA                                               76-64 CALLE 24                                                 CAROLINA          PR      00985
6476015   RIVERA VAZQUEZ\WILLIAM                           PO BOX 1323                                                                                                                      CATANO            PR      00963
6480977   Rivera, Anthony                                  Address on File
6475950   RIVERA\BENJAMIN                                  HC 04 BOX 44374 MSC 1401                                                                                                         CAGUES            PR      00725
6478465   RIVERA\ERIC                                      P.O. BOX 2                                                                                                                       ESPANOLA          NM      87532
6475926   RIVERA\ZAID                                      CALLE FLAMBOYAN G-5                                               VILLA TURABO                                                   CAGUAS            PR      00725
6485357   Rivers Cuomo dba E.O. Smith                      c/o Wixen Music Publishing, Inc. 24025 Park Sorrento, Suite 130                                                                  Calabasas         CA      91302
6475366   RIVERS OF STEEL CORP                             THE BOST BUILDING                                                 623 E 8TH AVE                                                  HOMESTEAD         PA      15120-1985
6480291   RIVERSIDE COUNTY TAX ASSESSOR'S OFFICE           PO BOX 12005                                                                                                                     RIVERSIDE         CA      92502
6477704   RIVERSIDE LUMBER                                 5451 MORRISON RD                                                                                                                 NEW ORLEANS       LA      70126
6477012   RIVERSIDE MOTEL, INC.                            103 WEST BAY STREET                                                                                                              SOUTHPORT         NC      28461
6476282   RIVERVIEW CARPET & FLOORING                      516 JONES STREET                                                                                                                 VERONA            PA      15147
6484728   Rizza Schramm                                    133 S. Peck Dr. #103                                                                                                             Beverly Hills     CA      90212
6481294   RJ Worldwide Music Publishing                    40 Wall Street28th Floor                                                                                                         New York          NY      10005
6477813   RJB SERVICES LLC                                 103 ANN ST                                                                                                                       COVINGTON         LA      70433
6485163   RJT Compuquest, Inc.                             23440 Hawthorne Blvd., Suite 210                                                                                                 Torrance          CA      90505
6492662   RKA FILM FINANCING, LLC                          ATTN: TEJPREET ARORA, PRESIDENT                                   767 THIRD AVENUE, 6TH FLOOR                                    NEW YORK          NY      10017
6482455   RL Fridley Theatres                              1321 Walnut St.                                                                                                                  Des Moines        IA      50309
6486579   RM BIDDER, LLC                                   601 S Figueroa St                                                                                                                LOS ANGELES       CA      90017
6490284   RM BIDDER, LLC                                   ATTN: ROBERT SCOTT SOLOMON, INTERIM SR. OFF.                      1040 N. LAS PALMAS AVE., BUILDING 40                           LOS ANGELES       CA      90038
6479718   RM STUDIO RENTALS                                9057 NORTHSIDE DRIVE                                                                                                             LEONA VALLEY      CA      93551
6468854   RMI FILMS PR, LLC                                416 PONCE DE LEON AVE.                                            SUITE 311                                                      SAN JUAN          PR      00918-3430
6796232   RML ECHO FILMS, LLC                              9224 BEVERLY BLVD                                                 SUITE 300                                                      BEVERLY HILLS     CA      90210
6796222   RML FILMS PR, LLC                                416 PONCE DE LEON AVE.                                            SUITE 311                                                      SAN JUAN          PR      00918-3430
6796224   RML FILMS PR, LLC                                UNION PLAZA 416 PONCE DE LEON AVE                                 THIRD FLOOR                                                    SAN JUAN          PR      00918-3430
6482172   RMM International, LLC                           3430 Galt Ocean Drive, #911                                                                                                      Fort Lauderdale   FL      33308
6486226   RMM Media                                        5765 Lowell St.                                                                                                                  Emeryville        CA      94608
6479367   RNG HARRIS ENTERPRISES INC.                      26318 SAND CANYON RD                                                                                                             SANTA CLARITA     CA      91387-4019
6476029   ROACHE/JILLIAN                                   38 GROVE ST                                                                                                                      NORFOLK           MA      02056
6481462   Road Dog Touring Company, Inc.                   c/o Citrin Cooperman529 Fifth Ave.                                                                                               New York          NY      10017
6478015   ROAD RUNNER WASTE SERVICE, INC                   P.O. BOX 5550                                                                                                                    BERNALILLO        NM      87004
6475854   ROAD WRANGLER, LLC                               8550 PLAZA UNITED BLVD                                            SUITE 702-N                                                    BATON ROUGE       LA      70809




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MMLID     NAME                                                       ADDRESS                                               ADDRESS 2                             ADDRESS 3              ADDRESS 4                CITY                STATE   POSTAL CODE   COUNTRY
6476822   ROADBUILDERS, INC.                                         P.O. BOX 10575                                                                                                                              WILMINGTON          NC      28404
6796455   ROADSHOW FILMS PTY LTD.                                    1 GARDEN STREET                                                                                                                             SOUTH YARRA         VIC     3141          AUSTRALIA
6796453   ROADSHOW FILMS PTY LTD.                                    ATTN: MR. JOEL PEARLMAN                               THE JAM FACTORY. 1 GARDEN STREET                                                      SOUTH YARRA         VIC     3141          AUSTRALIA
6796442   ROADSHOW FILMS PTY LTD.                                    ATTN: STEVE BERTRAM                                   1 GARDEN STREET                                                                       SOUTH YARRA         VIC     3141          AUSTRALIA
6796452   ROADSHOW FILMS PTY LTD.                                    JOEL PEARLMAN                                         THE JAM FACTORY, 1 GARDEN STREET                                                      SOUTH YARRA         VIC     3141          AUSTRALIA
6474587   ROAN*BIBIAN                                                Address on File
6480885   Roan, Bibian                                               Address on File
6478692   ROBAINA\JC                                                 613 SYCAMORE AVE.                                                                                                                           LOS ANGELES         CA      90036
6483017   Robb Wilson King                                           518 Calle Corvo Street                                                                                                                      Santa Fe            NM      87501
6484029   Robbie Brenner                                             243 Tilden Ave.                                                                                                                             Los Angeles         CA      90049
6478814   ROBBIE BRENNER PRODUCTIONS, INC.                           337 NORTH ALFRED STREET                                                                                                                     LOS ANGELES         CA      90048
6478860   ROBERSON\JAMES                                             Address on File
6482928   Robert "Van" Redin dba Van Redin Photography               13050 Nutty Brown Rd.                                                                                                                       Austin              TX      78737
6481693   Robert A. Fattorini                                        95-11 226th St.                                                                                                                             Floral Park         NY      11001
6481278   Robert Allen Moulton                                       328 E. 15th St. #4                                                                                                                          New York            NY      10003
6484653   Robert Bauer dba Youspeak, LLC                             269 South Swall Dr.                                                                                                                         Beverly Hills       CA      90211
6482663   Robert Bernacchi                                           1126 Home Ave.                                                                                                                              Oak Park            IL      60304
6484144   Robert Broadfoot                                           12504 Venice Blvd.Apt #101                                                                                                                  Los Angeles         CA      90066
6485515   Robert C. Weber dba The Weber Group                        21421 Ibanez Ave.                                                                                                                           Woodland Hills      CA      91364
6486102   Robert C. Westal                                           1291 S. Masters Lane                                                                                                                        Anaheim             CA      92804
6482642   Robert Covington                                           316 Englewood Ave.                                                                                                                          Bellwood            IL      60104
6485407   Robert Darius Giordano, Jr.                                19116-B Ave of the Oaks                                                                                                                     Newhall             CA      91321
6484767   Robert Etoll Productions Inc                               11560 Barman Ave                                                                                                                            Culver City         CA      90230
6796212   ROBERT ETOLL PRODUCTIONS, INC.                             ATTN: PETER ISELIN, ACCOUNTS MANAGER                  11560 BARMAN AVENUE                                                                   CULVER CITY         CA      90230
6482206   Robert Gleason                                             15908 49th St. N.                                                                                                                           Clearwater          FL      33762
6484436   Robert Half Technology                                     P.O. Box 743295                                                                                                                             Los Angeles         CA      90074
6484048   Robert Herron                                              6106 Condon Ave.                                                                                                                            Los Angeles         CA      90056
6491267   ROBERT HYMAN DBA DENGA MUSIC                               1058 BROADMOOR RD.                                                                                                                          BRYN MAWR           PA      19010
6484900   Robert Kors dba Castellammare Advisors, LLC                232 Quadro Vecchio Drive                                                                                                                    Pacific Palisades   CA      90272
6485541   Robert M. Rifkin dba Rifkin Security Consultants           25672 Moore Ln.                                                                                                                             Stevenson Ranch     CA      91381
6481847   Robert Mayers                                              38 Partridge Run                                                                                                                            Amherst             NY      14228
6483489   Robert Mendoza                                             926 1/2 N. Serrano Ave.                                                                                                                     Los Angeles         CA      90029
6491671   ROBERT MEURER DBA MALAPROP MUSIC                           12831 MOORPARK ST. #14                                                                                                                      STUDIO CITY         CA      91604
6485922   Robert Meurer dba Malaprop Music                           14625 MAGNOLIA BLVD APT 30                                                                                                                  SHERMAN OAKS        CA      91403-1453
6491556   ROBERT P. SWAINE DBA SWAINE STUDIO                         2002 DUFOUR AVE.                                                                                                                            REDONDO BEACH       CA      90278
6475107   ROBERT PUFF MUSIC/RPM SEATTLE                              AKA ROBERT W. PUFF                                    12112 NE 162ND PLACE                                                                  BOTHELL             WA      98011-4145
6483751   Robert Russell                                             2331 Cove Ave.                                                                                                                              Los Angeles         CA      90039
6475155   ROBERT SIMONDS COMPANY\THE                                 C/O PBSM, LLP                                         16030 VENTURA BLVD, SUITE 380                                                         ENCINO              CA      91436
6486009   Robert Springer                                            340 S. Lemon Ave. #18759242 Beverly Blvd, Suite 200                                                                                         Walnut              CA      91789
6485849   Robert Taylor Carp                                         11143 Emelita Avenue                                                                                                                        North Hollywood     CA      91601
6481977   Robert Tyson                                               2715 University Blvd. West, #330                                                                                                            Silver Spring       MD      20902
6485962   Roberta Scardon                                            11554 La Maida Street                                                                                                                       Valley Village      CA      91607
6482974   Roberto M. Lopez                                           c/o Kidz Academy Childcare4716 South 200 West                                                                                               Salt Lake City      UT      84107
6482968   Roberto M. Lopez                                           P.O. Box 1612                                                                                                                               Park City           UT      84060
6483636   Roberts & Tilton                                           5225 Wilshire Blvd, Suite 310                                                                                                               Los Angeles         CA      90036
                                                                                                                           C/O HIRSCH WALLERSTEIN HAYUM MATLOF &                        10100 SANTA MONICA BLVD.,
6486767   ROBERTS*JULIA                                              SABAJKA PRODUCTIONS II, INC.                          FISHMAN                               ATTN: RYAN W.M. NORD   STE. 1700                 LOS ANGELES        CA      90067
6479182   ROBERTS, JEFF R.                                           5427 PINERIDGE DRIVE                                                                                                                         LA CRESCENTA       CA      91214
6477342   ROBERTS\JAMES L.                                           9126 SEIDEL ROAD                                                                                                                             WINTER GARDEN      FL      34787
6477878   ROBERTS\JEFFREY D                                          103 LEFLEUR DR                                                                                                                               SLIDELL            LA      70460
6475410   ROBERTS\JEREMY                                             TSBC LLC                                              8282 GOODWOOD BLVD                                                                     BATON ROUGE        LA      70806
6477618   ROBERTS\MOLLIE                                             625 WEBSTER ST                                                                                                                               NEW ORLEANS        LA      70118
6475592   ROBERTS\WILLIAM                                            5716 WHITSETT AVENUE                                  NO. 12                                                                                 VALLEY VILLAGE     CA      91607
6486399   Robic, LLP                                                 2828 Laurier Blvd. Tower 1 Ste 925                                                                                                           Quebec             QC      G1V 0B9       CANADA
6477751   ROBICHAUX\LAUREN                                           5201 BEVERLY ST                                                                                                                              CHAUVIN            LA      70344
6482049   Robin M. Dean                                              561 Garden Terrace Dr. #102                                                                                                                  Wilmington         NC      28405
6485923   Robin M. Warner                                            12400 Ventura Blvd, Ste #109                                                                                                                 Studio City        CA      91604         UNITED
6486396   Robin Tucker Limited fso Robin Francis Tucker              29-31 Saffron Hill, Third Floor                                                                                                              London                     EC1N 8SW      KINGDOM
6485358   Robin Urdang Reel Music                                    3690 Eddingham Ave.                                                                                                                          Calabasas          CA      91302
6476304   ROBINSON TOWNSHIP POLICE DEPT                              10000 CHURCH HILL RD                                                                                                                         PITTSBURGH         PA      15205
6480487   Robinson, Alison                                           Address on File
6480480   Robinson, Ella                                             Address on File
6476494   ROBINSON, LAURA THOMPSON                                   338 MILLER STREET                                                                                                                           WINSTON-SALEM       NC      27103
6476290   ROBINSON\TOWNSHIP OF                                       1000 CHURCH HILL RD                                                                                                                         PITTSBURGH          PA      15202
6478558   ROBLES\FRANCISCO                                           2026 BRUNSIDE AVE                                                                                                                           LOS ANGELES         CA      90016
6491313   ROBOT LEMON, INC.                                          P.O. BOX 23108                                                                                                                              NASHVILLE           TN      37202
6486183   RobotsApps.com, Inc dba RobotsLAB US, Inc.                 75 Broadway St. Suite 202                                                                                                                   San Francisco       CA      94111
6483303   Robyn J. Leff                                              1818 Kelton Ave. #202                                                                                                                       Los Angeles         CA      90025
6486013   Robyn K. Owen Silvestri                                    928 Arroyo Terrace                                                                                                                          Alhambra            CA      91801
6474382   ROCA*PETER                                                 Address on File




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MMLID     NAME                                                    ADDRESS                                                         ADDRESS 2                         ADDRESS 3                 ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6480701   Rocco, John                                             Address on File
6485212   Roccopy                                                 1241 Sonoma Drive                                                                                                                       Altadena          CA      91001
6483532   Rocio Anica                                             3615 Veteran Ave. #1                                                                                                                    Los Angeles       CA      90034
6478586   ROCK BOTTOM RENTALS                                     1310 WESTWOOD BLVD.                                                                                                                     LOS ANGELES       CA      90024
6475777   ROCK PAPER SCISSOR SALON SPA                            301 NORTH GUADALUPE                                             SUITE 102                                                               SANTA FE          NM      87501
6485096   Rock Paper Scissors                                     2308 Broadway                                                                                                                           Santa Monica      CA      90404
6482300   Rock Solid Security, Inc.                               548 Rosedale Ave.                                                                                                                       Nashville         TN      37211
6475359   ROCK WRITE INC.                                         F/S/O SAM HOLLANDER                                             600-C LAKE STREET                                                       RAMSEY            NJ      07446
6481169   Rock Write, Inc                                         f/s/o Sam Hollanderc/o Richman Business Mgmt600C Lake Street                                                                            Ramsey            NJ      07446
6478587   ROCKBOTTOM RENTALS                                      1310 WESTWOOD BLVD.                                                                                                                     LA                CA      90024
6485712   Rocket Launcher                                         c/o Summit Business Management16255 Ventura Blvd. Suite 625                                                                             Encino            CA      91436
6484809   Rocketship Nation Films, Inc. f/s/o Anthony Jaswinski   c/o Circle of ConfusionAttn: Ashley Berns8548 Washington Blvd                                                                           Culver City       CA      90232
6796206   ROCKETSHIP NATIONFILMS, INC. F/S/O ANTHONY JASWINSKI    C/O CIRCLE OF CONFUSION                                         ATTN: ASHLEY BERNS                8931 ELLIS AVE                        LOS ANGELES       CA      90034
6483046   RocknRollBus                                            528 Painted Cloud Place                                                                                                                 Las Vegas         NV      89144
6476133   ROCKS & JEANS INC                                       240 HURON STREET                                                                                                                        BROOKLYN          NY      11222
6484729   Rockstreamstudios, LLC                                  9560 Wilshire Blvd.                                                                                                                     Beverly Hills     CA      90212
6482946   Rocky Mountain Recorders, Inc.                          1250 W. Cedar Ave.                                                                                                                      Denver            CO      80223
6479664   ROCLAR COMPANY                                          PO BOX 1750                                                                                                                             LA QUINTA         CA      92253
6486414   Rodeo Visual Effects Company                            736 Wellington, Suite 100                                                                                                               Montreal          QC      H3C 1T4      CANADA
6482347   Rodney Hood                                             5192 Cedar St.                                                                                                                          Meridian          MS      39307
6482499   Rodney K. Simons dba Rodmedia Communication, LLC        5545 Trenton Lane. N.                                                                                                                   Minneapolis       MN      55442
6482080   Rodney Mills Productions fso John Rodney Mills          7260 Bell Rd.                                                                                                                           Duluth            GA      30097
6796190   RODNEY NEWMAN                                           9018 GIBSON STREET                                                                                                                      LOS ANGELES       CA      90034
6475990   RODRIGUEZ NAZARIO\VICTOR                                CALLE LINCE 836 2 PINOS                                                                                                                 SAN JUAN          PR      00923
6475949   RODRIGUEZ TOLEDO\PEDRO                                  HC-1 BOX 4390-1                                                                                                                         NAGUABO           PR      00721
6474836   RODRIGUEZ*GIOVANNI R                                    Address on File
6480927   Rodriguez, Sandy                                        Address on File
6478095   RODRIGUEZ, SAUL                                         1334 GIRARD, NE                                                                                                                         ALBUQUERQUE       NM      87106
6480630   Rodriguez, Yvette                                       Address on File
6477889   RODRIGUEZ\BRAD                                          163 RODRIGUEZ LANE                                                                                                                      FRANKLIN          LA      70538
6478679   RODRIGUEZ\DAVID                                         1537 S. OAKHURST DRIVE                                                                                                                  LOS ANGELES       CA      90035
6475956   RODRIGUEZ\HECTOR                                        JARDINES DE BUENA VISTA 15                                                                                                              CAYEY             PR      00736
6475590   RODRIGUEZ\RICARDO                                       URB. VICTOR ROJAS 2.                                            N-144 CALLE 1                                                           ARECIBO           PR      00612
6475075   ROEBUCK GROUP\THE                                       F/S/O DANIEL ROEBUCK                                            1007 MAYBROOK DRIVE                                                     BEVERLY HILLS     CA      90210
6477202   ROEDER ORTHODONTICS                                     22 MEDICAL PARK DR.STE C                                                                                                                ASHEVILLE         NC      28803
6482613   Roenis Elias                                            c/o Relativity Baseball400 Skokie Blvd., Suite 280                                                                                      Northbrook        IL      60062
6479416   ROGER GEORGE RENTALS                                    14525 BESSEMER STREET                                                                                                                   VAN NUYS          CA      91411
6490285   ROGER WILLIAM NEILL                                     Address on File
6476807   ROGERS APPLIANCE, INC.                                  4715 OLEANDER DRIVE                                                                                                                     WILMINGTON        NC      28403
6474339   ROGERS*SARNI                                            Address on File
6476645   ROGERS, ANDREW                                          10204 CONISTAN PLACE                                                                                                                    CORNELIUS         NC      28031
6481016   Rogers, Reid                                            Address on File
6480864   Rogers, Reid                                            Address on File
6476744   ROGERS\CRAIG M.                                         137 NORTHERN BLVD                                                                                                                       WILMINGTON        NC      28401
6477515   ROGERS\ZACKERY                                          311 BIENVILLE DR                                                                                                                        GRETNA            LA      70056-7310
6475029   ROGUE OCTOPUS LLC                                       1121 39TH AVE E                                                                                                                         SEATTLE           WA      98107
6480971   Rojas, Jordan                                           Address on File
6483139   RoK Events                                              1130 S. Flower St. Unit 101                                                                                                             Los Angeles       CA      90015
6476180   ROLAND\PATRICK                                          104 KAREN DRIVE                                                                                                                         ELIZABETH         PA      15037
6475997   ROLDAN TOWING SERVICE                                   9801 RUTA 6 BUZON 9801                                                                                                                  RIO PIEDRAS       PR      00926
6475125   ROLLIN POWER                                            473 S. RIVER ROAD                                               1-358                                                                   ST. GEORGE        UT      84790
6476854   ROLLING CREDITS, LLC.                                   6327 STRAWFIELD DRIVE                                                                                                                   WILMINGTON        NC      28405
6482348   Romero D. Osby                                          2454 Knox Rd.                                                                                                                           Toomsuba          MS      39364
6483042   Romin Inc dba Cinemascore                               8812 Rainbow Ridge Dr                                                                                                                   Las Vegas         NV      89117
6481954   Romney Makle                                            922 45th Pl. NE                                                                                                                         Washington        DC      20019
6483388   Romolo J. Russo                                         1866 Rodney Dr. #7                                                                                                                      Los Angeles       CA      90027
6484246   Ron Chernow                                             c/o Creative Artists Agency2000 Avenue of the Starsq                                                                                    Los Angeles       CA      90067
6468790   RON HANSEN & JIM SHEPARD                                C/O HOTCKISS & ASSOCIATES                                       ATTN: JODY HOTCKISS, ESQ.         611 BROADWAY, SUITE 741               NEW YORK          NY      10012
6482978   Ron Hill Imagery, Inc.                                  2994 S. Richards Street                                                                                                                 Salt Lake City    UT      84115
6484884   Ron Hohauser                                            3309 Poinesttia Avenue                                                                                                                  Manhattan Beach   CA      90266
6485599   Ronald W. Rinker dba Ear Conundrum                      15528 Royal Ridge Rd.                                                                                                                   Sherman Oaks      CA      91403
6480396   RONDOR MUSIC INTERNATIONAL, INC.                        2110 COLORADO AVENUE, SUITE 100                                                                                                         SANTA MONICA      CA      90404
6483083   Ronnie Aguilar                                          2745 W. 14th St.                                                                                                                        Los Angeles       CA      90006
6484593   Ronnie Hillman                                          c/o Relativity Sports345 N. Maple Dr. #205                                                                                              Beverly Hills     CA      90210
6796184   RON'S FILM BOOKING                                      4700 S 900 E                                                    #41H                                                                    SALT LAKE CITY    UT      84117
6476638   ROOFING TOOLS & EQUIPMENT INC                           P.O. BOX 126                                                                                                                            WILSON            NC      27894
6481746   Rooftop Films Inc                                       232 Third St                                                                                                                            Brooklyn          NY      11215
6477013   ROOM SERVICE, INC.                                      P.O. BOX 3001                                                                                                                           BALDHEAD ISLAND   NC      28461
6480581   Roon, Scott                                             Address on File
6474810   ROONEY*PATRICK E                                        Address on File




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                                                                                                                         Master Mailing List
                                                                                                                        Served First Class Mail

MMLID     NAME                                                 ADDRESS                                             ADDRESS 2                             ADDRESS 3                       ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6483465   ROOSEVELT HOTEL LLC                                  7000 Hollywood Blvd                                                                                                                   Hollywood           CA      90028
6480795   Roque, Danielle                                      Address on File
6484002   Roque, Danielle Aimee                                3619 Vinton Ave Apt 7                                                                                                                 Los Angeles         CA      90034
6483637   Rory Will                                            545.5 N. Orange Dr.                                                                                                                   Los Angeles         CA      90036
6475539   ROSADO\LUIS                                          URB. COUNTRY CLUB                                   CALLE MADEIRA 780                                                                 SAN JUAN            PR      00924
6483972   Rosalind Lawton                                      8899 Beverly Blvd.Ste.510                                                                                                             Los Angeles         CA      90048
6481567   Roscoe Biggers                                       369-73 West 116th St, Apt 4H                                                                                                          New York            NY      10026
6481568   Roscoe Biggers (Expenses)                            369-73 West 116th St, Apt 4H                                                                                                          New York            NY      10026
6476808   ROSE BROTHERS FURNITURE                              421 SOUTH COLLEGE ROAD                                                                                                                WILMINGTON          NC      28403
6476439   ROSE ICE & COAL CO.                                  1202 MARKET STREET                                                                                                                    WILMINGTON          NC      20401
6481171   Rose Marie LittleJohn                                199 Carroll St                                                                                                                        Paterson            NJ      07501
6476560   ROSE REPROGRAPHICS INC.                              511 SIMPSON STREET                                                                                                                    GREENSBORO          NC      27401
6477720   ROSE\RHONDA                                          616 CHARTRES ST                                                                                                                       NEW ORLEANS         LA      70130
6482464   Rosebud Entertainment                                6823 W. North Ave.                                                                                                                    Milwaukee           WI      53213
6484810   Rosegroup, The                                       9925 Jefferson Blvd., 2nd Floor                                                                                                       Culver City         CA      90232
6482614   Rosell Herrera                                       400 Skokie Blvd., Suite 280                                                                                                           Northbrook          IL      60062
6487906   ROSENBERG* JACOB                                     C/O FREEMAN FREEMAN & SMILEY, LLP                   ATTN: THEODORE B STOLMAN/CAROL CHOW   1888 CENTURY PARK EAST, SUITE               LOS ANGELES         CA      90067
6480634   Rosenberg, Jared                                     Address on File
6480644   Rosenberger, Keegan                                  Address on File
6478893   ROSENBLOOM\DAVID                                     PO BOX 69551                                                                                                                          WEST HOLLYWOOD      CA      90069
6491289   ROSENQUIST* BRADLEY                                  226 MOONLIT TRAIL                                                                                                                     DALLAS              GA      30132
6481732   Rosi Golan                                           493 SADDLE DR                                                                                                                         NASHVILLE           TN      37221-1903
6474543   ROSICHAN*REBECCA                                     Address on File
6480782   Rosner, Michael                                      Address on File
6484851   Ross Fisher-Davis                                    3622 W. 132nd Place                                                                                                                   Hawthorne           CA      90250
6796189   ROSS KIMBALL                                         FRED HASHAGEN/ UNITED TALENT AGENCY                 9339 CIVIC CENTER DR                                                              BEVERLY HILLS       CA      90210
6479010   ROSS LACY CASTING INC                                15332 ANTIOCH ST, #720                                                                                                                PACIFIC PALISADES   CA      90272
6486375   Ross Printing Company                                1611 E. Sprague Ave                                                                                                                   Spokane             WA      99202
6474853   ROSS*AIMEE                                           Address on File
6480731   Ross, Aimee R                                        Address on File
6479065   ROSS\JERRY                                           1028 21ST ST                                                                                                                          SANTA MONICA        CA      90403
6477573   ROSSI\WESLEY                                         4925 CONSTANCE ST                                                                                                                     NEW ORLEANS         LA      70115
6480929   Rossignol, Emily                                     Address on File
6481128   Rossomano Pictures Inc                               22 Route 37 Center                                                                                                                    Sherman             CT      06784
6479325   ROTHELL\KERRI                                        4776 NOMAD DRIVE                                                                                                                      WOODLAND HILLS      CA      91364
6481321   Rothenberg, P.C                                      350 East 21st St, 3rd                                                                                                                 New York            NY      10010
6480767   Rothley, David                                       Address on File
6480700   Rothman, Chad                                        Address on File
6796178   ROUGE ARTISTS                                        13428 MAXELLA AVE #514                                                                                                                MARINA DEL REY      CA      90292
6484145   Rouge Artists, Inc.                                  4133 Redwood Ave. #2014                                                                                                               Los Angeles         CA      90066
6478515   ROUGH RIDER ANTIQUES                                 158 BRIDGE STREET                                                                                                                     LAS VEGAS           NM      87701
6482615   Rougned R. Odor                                      c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                      Northbrook          IL      60062
6479407   ROULLET DE LA BOUILLERIE\ALEX                        7118 LASAINE AVENUE                                                                                                                   LAKE BALBOA         CA      91406
6479311   ROULLET\ALEX                                         19316 MIRANDA ST                                                                                                                      TARZANA             CA      91356
6481463   Round Hill Music LP                                  650 5th Ave                                         Ste 1420                                                                          New York            NY      10019-6168
6470091   ROUND HILL MUSIC LP                                  650 5th Ave Ste 1420                                                                                                                  NEW YORK            NY      10019
6477014   ROUSE\JOHN G.                                        4661 WEST TRACE DRIVE                                                                                                                 SOUTHPORT           NC      28461
6477574   ROUSSEL\STEVE                                        738 MILAN ST APT. 5                                                                                                                   NEW ORLEANS         LA      70115
6478059   ROUTE 66 DRY CLEANERS                                308 CENTRAL AVENUE                                                                                                                    ALBUQUERQUE         NM      87102
6468663   ROUTE 66 PAINT & BODY                                6127 ZUNI ROAD SE                                                                                                                     ALBUQUERQUE         NM      87108
6477448   ROUX INDUSTRIES, LLC                                 1000 CENTRAL AVE                                                                                                                      METAIRIE            LA      70001
6491379   ROVI CORPORATION                                     PO BOX 202624                                                                                                                         DALLAS              TX      75320
6490514   ROVI GUIDES INC.                                     ATTN: CASEY THORNTON                                7140 S. LEWIS AVE                                                                 TULSA               OK      74133
6482880   Rovie Data Solutions, Inc.                           P.O. Box 202624                                                                                                                       Dallas              TX      75320
6480607   Rowe, Paul                                           Address on File
6486164   Roxie Theater                                        3125 16th St                                                                                                                          San Francisco       CA      94103
6481132   Roy J Latham dba Latham Media Supply                 451 Wellington Dr.                                                                                                                    Fairfield           CT      06824
6485442   Royal Percussion Services, Inc.                      9007 Norris Ave.                                                                                                                      Sun Valley          CA      91352
6476692   ROYAL RESTROOM OF THE CAROLINA                       5201 NORTH GRAHAM ST                                                                                                                  CHARLOTTE           NC      28269
6486445   Royal Work Hotel                                     100 Front Street W.                                                                                                                   Toronto             ON      M5J 1E3      CANADA
6477015   ROYAL\LOU A.                                         308 N. DRY STREET                                                                                                                     SOUTHPORT           NC      28461
6477971   ROYAL\MICHAEL E.                                     8825 WHITE WORTH LOOP                                                                                                                 AUSTIN              TX      78749
6491821   ROYALTY NETWORK, INC., THE                           224 WEST 30TH ST., SUITE 1007                                                                                                         NEW YORK            NY      10001
6482031   RPAC Racing, LLC                                     7065 Zephyr Place                                                                                                                     Concord             NC      28027
6476018   RR GROUP, P.S.C.                                     PMB 146, 405 ESMERALDA AVE.                                                                                                           GUAYNABO            PR      00969
6485408   RRCB Media Assets                                    24262 Cross St.                                                                                                                       Newhall             CA      91321
6485409   RRCB Media Assets, Inc. dba Cabin 21 Sound           24262 Cross St.                                                                                                                       Newhall             CA      91321
6485480   RRKidz, Inc.                                         Attn: Andy Smith650 Hampshire Road, Suite 100                                                                                         Westlake Village    CA      91361
6478240   RSC EQUIPMENT RENTAL                                 9170 COORS NW                                                                                                                         ALBUQUERQUE         NM      87120
6481602   RSM US LLP                                           1185 Avenue of the Americas                                                                                                           New York            NY      10036




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                                                                                                                                  Master Mailing List
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MMLID     NAME                                              ADDRESS                                                         ADDRESS 2                      ADDRESS 3                        ADDRESS 4                   CITY               STATE   POSTAL CODE COUNTRY
6485472   RTR Consulting                                    3462 Robin Hill St                                                                                                                                          Thousand Oaks      CA      91360
6478516   RUBEN'S SEPTIC SERVICE                            P.O. BOX 3191                                                                                                                                               LAS VEGAS          NM      87701
6475546   RUBLO\JEAN P.                                     URB MIRAFLORES #31065                                           CALLE VIOLETA                                                                               DORADO             PR      00646
6476663   RUBOTTOM, KELLY                                   8912 WHITTINGHAM DR.                                                                                                                                        WAXHAW             NC      28173
6481781   Rubrio Pictures                                   60 Broadway, 8C                                                                                                                                             Brooklyn           NY      11249
6483973   Ruby Fashion Library, LLC, The                    104 S. Crescent Heights Blvd.                                                                                                                               Los Angeles        CA      90048
6479145   RUBY RENTS STUDIO EQUIPMENT                       PO BOX 257                                                                                                                                                  VERDUGO CITY       CA      91046-0257
6483561   Ruddy Morgan Management                           1180 South Beverly rive                                                                                                                                     Los Angeles        CA      90035
6468796   RUDE SHNAY, INC.                                  C/O GINSBURG DANIELS LLP                                        ATTN: LEV GINSBURG, ESQ.       9300 WILSHIRE BLVD., PENTHOUSE                               BEVERLY HILLS      CA      90212
6468928   RUDE SHNAY, INC.                                  C/O UNITED TALENT AGENCY                                        ATTN: MICHAEL SHERESKY         9336 CIVIC CENTER DRIVE                                      BEVERLY HILLS      CA      90210
6484594   Rude Shnay, Inc.                                  c/o United Talent Agency9336 Civic Center Drive Attn: Michael                                                                                               Beverly Hills      CA      90210
6474130   RUDOLPH*CHASE                                     Address on File
6480677   Rudolph, Chase W                                  Address on File
6483023   Rudolph, Jan                                      Address on File
6478389   RUDOLPH\JANICE                                    1025 CAMINO DE CHELLY                                                                                                                                       SANTA FE           NM      87505
6475089   RUDY'S WHOLESALE FURNITURE                        WAREHOUSE, INC.                                                 1100 W CHAPEL ROAD, STE 70                                                                  ASHEVILLE          NC      28803
6475121   RUE\ROBERT KILE                                   D/B/A SAROUK SHIP                                               1304 ST. CHARLES AVE                                                                        NEW ORLEANS        LA      70130
6475215   RUEL\CHARLES                                      D/B/A CHANDLIER'S ANTIQUES                                      218 RANGE RD                                                                                DENHAM SPRINGS     LA      70726
6484595   Rufus-Isaacs, Acland & Grantham                   232 N. Canon Drive                                                                                                                                          Beverly Hills      CA      90210
6468664   RUGETTI\MATT                                      19528 VENTURA BLVD., #437                                                                                                                                   TARZANA            CA      91356
6477124   RUSHING\DAVID WAYNE                               381 COMMERCE ST.                                                                                                                                            OLD FORT           NC      28762
6482207   Russell G. Brannan                                421 Hammerstone Ave.                                                                                                                                        Haines City        FL      33844
6482783   Russell Lee Simmons                               5922 W. 62nd Ter                                                                                                                                            Shawnee Mission    KS      66202
6484596   Russell Productions, Inc.                         C/O Paradigm360 orth Crescent Drive                                                                                                                         Beverly Hills      CA      90210
6480884   Russell, Chad                                     Address on File
6479001   RUSSELL\ROBERT                                    325 17TH PLACE                                                                                                                                              MANHATTAN BEACH    CA      90266
6477449   RUSSELLS CLEANING SERVICES INC                    3704 ROBERTSON ST                                                                                                                                           METAIRIE           LA      70001
6474832   RUSSO*KYLE                                        Address on File
6474384   RUSSO*MORGAN                                      Address on File
6480783   Russo, Morgan S                                   Address on File
6477721   RUSTY NAIL\THE                                    1102 CONSTANCE ST                                                                                                                                           NEW ORLEANS        LA      70130
6478693   RUTH COSTUME DESIGN INC                           808 S BURNSIDE AVE                                                                                                                                          LOS ANGELES        CA      90036
6491242   RUTH FERNANDEZ                                    Address on File
6468741   RUTHANNE HOPPER                                   ('RH', TOGETHER WITH CG, 'WRITER')                              C/O THREE SIX ZERO GROUP       ATTN: DAVID UNGER ('AGENT')      9348 CIVIC CENTER DRIVE 2ND BEVERLY HILLS      CA      90210
6476223   RUYECHAN\EDWARD M                                 413 N HOLLAND AVENUE                                                                                                                                        RANKIN             PA      15104
6483068   Ryan Hastings                                     555 North Rossmore Ave. #207                                                                                                                                Los Angeles        CA      90004
6481771   Ryan Heck                                         345 Eldert Street #107                                                                                                                                      Brooklyn           NY      11237
6485992   Ryan Holloway                                     Creative Flooring, Inc.16970 Flower Vale LN                                                                                                                 Hacienda Heights   CA      91745
6482616   Ryan Joseph Borucki                               c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                           Northbrook         IL      60062
6482617   Ryan Joseph Gennett                               c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                           Northbrook         IL      60062
6482618   Ryan Kalish                                       c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                            Northbrook         IL      60062
6486714   Ryan Kavanagh                                     Address on File
6483713   Ryan Marchina                                     2133 Gordon Street, #1                                                                                                                                      Los Angeles        CA      90038
6483638   Ryan McNeil                                       122 North Masfield Ave                                                                                                                                      Los Angeles        CA      90036
6491253   RYAN MICHAEL BEVANS                               Address on File
6485924   Ryan William Donahue                              4041 Radford #209                                                                                                                                           Studio City        CA      91604
6474216   RYAN*JESSICA                                      Address on File
6480568   Ryan, Jessica                                     Address on File
6476244   RYAN\BRANDEN                                      1204 VANCE AVE                                                                                                                                              CORAOPOLIS         PA      15108
6480653   Rydberg, Michelle                                 Address on File
6486104   Ryne Strom                                        735 S. Kroeger St.                                                                                                                                          Anaheim            CA      92805
6485609   S & W Communications, Inc.                        14714 Lull Street, Suite A                                                                                                                                  Van Nuys           CA      91405
6468665   S&S PORTABLE SERVICES, INC.                       PO BOX 367                                                                                                                                                  GLENDORA           CA      91740
6485935   S&T Inc dba Media Distributors                    13333 Sherman Way                                                                                                                                           North Hollywood    CA      91605
6486292   S&T Productions                                   3274 South Kihei Road                                                                                                                                       Kihei              HI      96753
6478680   S.A.M. TRANSATIONS                                1649 S. HOLT AVENUE                                                                                                                                         LOS ANGELES        CA      90035
6485401   S2 Productions, Inc.                              C/O Singer Burke & Co.6345 Balboa Blvd. #375                                                                                                                Encino             CA      91316
6484085   S3 Music + Sound                                  11681 Gateway Blvd.                                                                                                                                         Los Angeles        CA      90064
6483466   SA Ent, LLC                                       7095 Hollywood Blvd. #766                                                                                                                                   Los Angeles        CA      90028
6483467   SA Studios Agency, LLC                            7095 Hollywood Blvd., Suite 766                                                                                                                             Los Angeles        CA      90028
6468662   SAATHOFF\STEWART                                  7 PROFESSIONAL DR                                                                                                                                           HOUMA              LA      70360
6475076   SABAJKA PRODUCTIONS, II, INC.                     C/O HIRSCH WALLERSTEIN HAYM                                     10100 SANTA MONICA BLVD                                                                     LOS ANGELES        CA      90067
6484951   Sabertooth Interactive LLC                        2017 Pacific Avenue                                                                                                                                         Venice             CA      90291
6477214   SABLE & GRAY PAPER CO.                            10 WESTMINSTER DRIVE                                                                                                                                        ASHEVILLE          NC      28804
6486418   Sabrine Canuel                                    1678 Grand Trunk                                                                                                                                            Montreal           QC      H3K 1L7    CANADA
6475733   SABRON, INC.                                      29395 AGOURA ROAD,                                              SUITE # 202                                                                                 AGOURA HILLS       CA      91301
6486717   Sacker Consultants, Inc.                          2200 Colorado Ave.                                                                                                                                          Santa Monica       CA      90404
6477829   SACRED HEART CHURCH                               28088 MAIN ST                                                                                                                                               LACOMBE            LA      70445      New
6486535   Sad Flutes Limited                                Wellington Business Banking Branch                                                                                                                          Wellington                            Zealand
6484146   Saeed Adyani                                      12519 Indianapolis St.                                                                                                                                      Los Angeles        CA      90066




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MMLID     NAME                                                    ADDRESS                                                    ADDRESS 2                            ADDRESS 3                     ADDRESS 4              CITY                 STATE   POSTAL CODE COUNTRY
6484396   Safarian Choi & Bolstad LLP                             555 S Flower Street, Suite 650                                                                                                                       Los Angeles          CA      90071
6480852   Safarik, Colleen                                        Address on File
6475627   SAFELIGHT PROGRAM                                       CITY OF WILMINGTON                                         P.O. BOX 1810                                                                             WILMINGTON           NC      28402
6476278   SAFELITE AUTO GLASS                                     205 OVERLOOK DRIVE                                                                                                                                   SEWICKLEY            PA      15143
6476315   SAFETYGUARD STEEL FABRICATING                           113 LINCOLN AVE                                                                                                                                      MILLVALE             PA      15209
6485011   SafetyPark                                              1460 4th StreetSuite 212                                                                                                                             Santa Monica         CA      90401
6477403   SAFWAY SERVICES LLC                                     N19 W24200 RIVERWOOD DRIVE                                                                                                                           WAUKESHA             WI      53188
6481029   SAG AFTRA                                               Business Representative; Stunts & Safety                   Attn: Sherika Randle                 5757 Wilshire Blvd            7th Floor              Los Angeles          CA      90036
6796159   SAG-AFTRA                                               5757 WILSHIRE BLVD                                         7TH FLOOR                                                                                 LOS ANGELES          CA      90036-3600
6796151   SAG-AFTRA ONE UNION                                     5757 WILSHIRE BOULEVARD                                    7TH FLOOR                                                                                 LOS ANGELES          CA      90036

6479874   SAG-PRODUCERS PENSION AND HEALTH PLANS                  ATTN: LEGAL DEPT.                                          3601 WEST OLIVE AVENUE, STE. 200                                                          BURBANK              CA      91505
6796139   SAHAMONGKOL FILM INTERNATIONAL CO., LTD                 ATTN: GILBERT LIM                                          388 PAHOLOYOTHIN ROAD                FLOOR 9B, S.P. BUILDING                              BANGKOK                      10400        THAILAND
6796141   SAHAMONGKOL FILM INTERNATIONAL CO., LTD.                ATTN: GILBERT LIM                                          388 PAHOLOYOTHIN ROAD, FLOOR 9B      S.P. BUILDING                                        BANKOK                       10400        THAILAND
6491730   SAIA MOTOR FREIGHT LINE                                 P.O. BOX 730532                                                                                                                                      DALLAS               TX      75373-0532
6796133   SAIF                                                    ATTN: ANDY YAN                                             VILLA - 16                           SHANGHAI HONG QIAO STATE GUEST 1591 HONG QIAO ROAD   SHANGHAI                     20036        CHINA
6475993   SAINT JUST AUTO CENTER                                  PO BOX 31286                                                                                                                                         SAN JUAN             PR      00924
6483639   Saizen Media, LLC                                       5550 Wilshire Blvd, Unit 518                                                                                                                         Los Angeles          CA      90036
6479442   SAKAMOTO\YOICHI ART                                     606 SOUTH SIXTH STREET                                                                                                                               BURBANK              CA      91501
6480840   Sakano, Midori                                          Address on File
6477722   SAKS FIFTH AVE                                          301 CANAL STREET                                                                                                                                     NEW ORLEANS          LA      70130
6479637   SAKS FIFTH AVENUE                                       PO BOX 60504                                                                                                                                         CITY OF INDUSTRY     CA      91716-0504
6477415   SAKS INC.                                               PO BOX 5224                                                                                                                                          CAROL STREAM         IL      60197-5224
6475174   SALAKO, INC                                             C/O ZIFFREN BRITENHAM LLP                                  1801 CENTURY PARK WEST                                                                    LOS ANGELES          CA      90067
6475501   SALCEDO\CECILIO                                         URB BRISA DEL VALE                                         B3 CALLE                                                                                  NAGUABO              PR      00718
6476305   SALDIN\GRYPHON                                          324 SCOTIA ST                                                                                                                                        PITTSBURGH           PA      15205
6482837   Salem Radio Representatives                             6400 N. Beltline Rd. Suite 210                                                                                                                       Irving               TX      75063
6492763   SALILI* PARISA                                          Address on File
6481439   Sally Harlor                                            271 Madison Ave                                                                                                                                      New York             NY      10016
6482976   Salt Lake Film Society                                  300 S. 111 E. Ste. 99                                                                                                                                Salt Lake City       UT      84111
6484247   Salter Group, The                                       1840 Century Park East, #400                                                                                                                         Los Angeles          CA      90067
6478848   SALTZMAN\STEVEN                                         2211 KERWOOD AVE.                                                                                                                                    LA                   CA      90064
6485012   Salvador Alvarez                                        1218 12th St. Apt# 23                                                                                                                                Santa Monica         CA      90401
6475328   SALVADOR'S CAR WASH                                     ATTN:BARBARA MONTIEL                                       5005 AXTELL ST #1                                                                         LOS ANGELES          CA      90032
6491731   SALVATORE BOSSIO DBA SALVATORE BOSSIO MUSIC             Address on File
6481810   Salvatore Bossio dba Salvatore Bossio Music             230 West Neck Rd.                                                                                                                                    Huntington           NY      11743
6481784   Salvatore Ceravolo, CPA, P.C.                           105-14 Metropolitan Ave.                                                                                                                             Forest Hills         NY      11375
6475030   SALZMAN\JASON                                           2069 ARGYLE AVE.                                           #205                                                                                      LA                   CA      90068
6475712   SAM C. PAVLAKOS TRUST                                   2270 WYOMING BLVD NE                                       STE D154                                                                                  ALBUQUERQUE          NM      87112
6483468   Sam Rosenthal                                           1321 N. Las Palmas #208                                                                                                                              Los Angeles          CA      90028
6491405   SAM SCHNEIDER                                           Address on File
6482411   Sam Sprague c/o Dead Oceans                             1499 West 2nd Street                                                                                                                                 Bloomington          IN      47403
6483534   Samantha Abrahmsohn                                     1939 S. Sherbourne Drive # 15                                                                                                                        Los Angeles          CA      90034
6483885   Samantha Hill                                           1201 N. Orange Grove Ave. #106                                                                                                                       Los Angeles          CA      90046
6474881   SAMBITO*JOSEPH                                          Address on File
6477637   SAMERDICK/ROBERT                                        228 N.MURAT                                                                                                                                          NEW ORLEANS          LA      70119
6477125   SAMIR ENTERPRISES ,LLC.                                 342 EAST MAIN STREET                                                                                                                                 OLD FORT             NC      28762
6482401   Sammy Watkins, LLC                                      6435 W. Jefferson Blvd. #197                                                                                                                         Fort Wayne           IN      46804
6476809   SAM'S CLUB #8129                                        412 S.COLLEGE ROAD                                                                                                                                   WILMINGTON           NC      28403
6477735   SAMSON, ALBERT                                          PO BOX 57327                                                                                                                                         NEW ORLEANS          LA      70157
6478588   SAMSON\ANDREW DALE                                      10983 WELLWORTH AVE #406                                                                                                                             LOS ANGELES          CA      90024
6484295   SAMSYD, Inc.                                            3510 N. Knoll Drive                                                                                                                                  Los Angeles          CA      90068
6482667   Samuel C. Lindley dba The Legendary Traxster, Inc.      17400 Westminster Ave.                                                                                                                               Country Club Hills   IL      60478
6483562   Samuel Goldwyn Films, LLC                               9570 W. Pico BlvdSuite 400                                                                                                                           Los Angeles          CA      90035
6483345   Samuel Stewart                                          1830 Lake Shore Avenue                                                                                                                               Los Angeles          CA      90026
6485713   Samuel Stewart obo Frank Lawless Entertainment          c/o Trish Field Haber Corp.16830 Ventura Blvd. Suite 501                                                                                             Encino               CA      91436
6482152   Samuel Tedesco                                          3203 Norfolk St.                                                                                                                                     Pompano Beach        FL      33062
6481172   Samuel White                                            199 Carroll Street#2C                                                                                                                                Paterson             NJ      07501
6492358   SAMUELS ADVERTISING LLC                                 ATTN: DAVID SAMUELS, PRESIDENT                             1638 WILCOX AVE.                                                                          LOS ANGELES          CA      90028
6483469   Samuels Advertising, LLC fso David Samuels              1638 Wilcox Ave.                                                                                                                                     Los Angeles          CA      90028
6475918   SAMUELS\JEREMIAH                                        328 SOUTH ELM DRIVE                                        UNIT# 2                                                                                   BEVERLY HILLS        CA      90212
6484147   Samy's DV and Edit                                      12636 Beatrice St                                                                                                                                    Los Angeles          CA      90066
6480214   SAN BERNARDINO COUNTY                                   AUDITOR-CONTOLLER/TREASURER/TAX COLLECTOR                  172 WEST THIRD STREET, FIRST FLOOR                                                        SAN BERNARDINO       CA      92415-0360
6480222   SAN BERNARDINO COUNTY TREASURER-                        TAX COLLECTOR'S OFFICE                                     222 W HOSPITALITY LN                                                                      SAN BERNARDINO       CA      92415
6480294   SAN CLEMENTE CITY HALL                                  100 AVENIDA PRESIDIO                                                                                                                                 SAN CLEMENTE         CA      92672
6480283   SAN FERNANDO CITY HALL                                  117 MACNEIL STREET                                                                                                                                   SAN FERNANDO         CA      91340
6480210   SAN FERNANDO VALLEY CITY HALL                           VAN NUYS CIVIC CENTER                                      14410 SYLVAN STREET                                                                       VAN NUYS             CA      91401
6480306   SAN FRANCISCO CITY HALL                                 1 DR. CARLTON B. GOODLETT PLACE                                                                                                                      SAN FRANCISCO        CA      94102
6480288   SAN GABRIEL CITY HALL                                   425 S. MISSION DRIVE                                                                                                                                 SAN GABRIEL          CA      91776
6480234   SAN JOAQUIN COUNTY TREASURER-                           TAX COLLECTOR'S OFFICE                                     44 N SAN JOAQUIN ST STE 150                                                               STOCKTON             CA      95202




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                                                                                                                         Master Mailing List
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MMLID     NAME                                                 ADDRESS                                            ADDRESS 2                       ADDRESS 3   ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6480215   SAN MATEO COUNTY TREASURER-                          TAX COLLECTOR'S OFFICE                             1ST FLOOR 555 COUNTY CENTER                             REDWOOD CITY      CA      94063
6480256   SAN PEDRO MUNICIPAL BUILDING                         638 SOUTH BEACON STREET                            SUITE 301                                               SAN PEDRO         CA      90731
6475568   SANCHEZ HERNANDEZ\MIGSE                              URB. MOUNTAIN VIEW                                 FF-11 CALLE 4A                                          CAROLINA          PR      00987-8088
6475551   SANCHEZ VARGAS\ANGEL MANUEL                          BO. PLAYA HUCARES                                  CARR. #3 69.5                                           NAGUABO           PR      00718
6474863   SANCHEZ*CESAR                                        Address on File
6474822   SANCHEZ*MARILYN                                      Address on File
6475007   SANCHEZ\CASSIDY                                      304 WEST FIR STREET                                #4                                                      PORTALES          NM      88130
6476053   SANCHEZ\DEVIN D.                                     18 ERIE STREET APT 1                                                                                       JERSEY CITY       NJ      07302
6479651   SANCHEZ\JOHN                                         1750 ROCKVIEW WAY                                                                                          POMONA            CA      91766
6478005   SANCHEZ\MARK                                         BOX 828                                                                                                    ALGODONES         NM      87001
6477983   SANCHEZ\MICHAEL                                      98 CR, 103 A                                                                                               HESPERUS          CO      81326
6796123   SANCTUM INTERNATIONAL, LLC                           375 HUDSON ST.                                     12TH FLOOR                                              NEW YORK          NY      90014
6492339   SANDAIR CORP D/B/A CAL FREIGHT                       ATTN: SAL COSTILLA, DIR LOGISTICS                  1390 WILLOW PASS RD., #1060                             CONCORD           CA      94520
6491698   SANDAIR, INC                                         251 E. FOURTH ST                                                                                           RIPON             CA      95366
6485789   Sandbox Technologies, Inc.                           4111 W. Alameda Ave., Suite 605                                                                            Burbank           CA      91505
6479579   SANDEEP KAPOOR, MD INC.                              12311 VENTURA BLVD.                                                                                        STUDIO CITY       CA      91604
6474288   SANDERMAN*REBECCA                                    Address on File
6480477   Sanderman, Rebecca L                                 Address on File
6475291   SANDERS\RONALD                                       D/B/A SANDERS DEVELOPMENT, LLC                     400 BESSIE ST                                           PATTERSON         LA      70392
6477126   SANDERS\WILLIAM JOSEPH                               BOX 974                                                                                                    OLDS FORT         NC      28762
6478016   SANDOVAL COUNTY GOVERNMENT                           P.O. BOX 40                                                                                                BERNALILLO        NM      87004
6478151   SANDOVAL\DAVID                                       225 SAN PALBO RD NE                                                                                        ALBUQUERQUE       NM      87108
6481252   Sandra Figueroa                                      13 Stanton St. #2A                                                                                         New York          NY      10002
6481571   Sandra Hernandez                                     327 St. Nicholas AveApt# 5M                                                                                New York          NY      10027
6484730   Sandra Marsh & Associates                            9150 Wilshire Blvd, Ste.220                                                                                Beverly Hills     CA      90212
6483389   Sandra Martinez dba Cleaning All Star                1841 N. New Hampshire Ave                                                                                  Los Angeles       CA      90027
6486481   Sandra Matossi                                       1320 Noons Creek Drive                                                                                     Port Moody        BC      V3H 4C2      CANADA
6485963   Sandra Murray                                        11945 Magnolia Blvd. PH 12                                                                                 Valley Village    CA      91607
6478060   SANDRIN\CLAIRE                                       708 GRANITE AVE NW                                                                                         ALBUQUERQUE       NM      87102
6475974   SANJURJO LOPEZ\ZORAIDA                               518 CALLE RIERA PH                                                                                         SAN JUAN          PR      00907
6480284   SANTA CLARITA CITY HALL                              23920 VALENCIA BOULEVARD                                                                                   SANTA CLARITA     CA      91355
6480227   SANTA CLARITA CITY HALL                              OFFICE OF TAX COLLECTOR                            23920 VALENCIA BOULEVARD                                SANTA CLARITA     CA      91355
6479304   SANTA CLARITA STUDIOS CORP.                          25135 ANZA DRIVE                                                                                           SANTA CLARITA     CA      91355
6485453   Santa Clarita Valley Rubber Stamp Mfg. Co.           28220 Avenue CrockerSte. 407                                                                               Valencia          CA      91355
6475718   SANTA CLARITA\CITY OF                                23920 VALENCIA BOULEVARD,                          SUITE # 100                                             SANTA CLARITA     CA      91355-2196
6478152   SANTA FE CENTER STUDIOS                              933 SAN PEDRO SE                                                                                           ALBUQUERQUE       NM      87108
6478347   SANTA FE IMAGING LLC                                 P.O. BOX 5375                                                                                              SANTA FE          NM      87502-5375
6478432   SANTA FE MEDICAL GROUP                               2801 RODEO ROAD STE B-13                                                                                   SANTA FE          NM      87507-6503
6478329   SANTA FE NATIONAL CEMETERY                           501 NORTH GUADALUPE STREET                                                                                 SANTA FE          NM      87501
6475404   SANTA FE PICACHO HOTEL                               MANAGEMENT CORPORATION                             800 RIO GRANDE BLVD N.W.                                ALBUQUERQUE       NM      87104
6478421   SANTA FE SCREENPRINTERS                              1364 RUFINA CIRCLE #7                                                                                      SANTA FE          NM      87507
6480276   SANTA MONICA CITY HALL                               1685 MAIN ST.                                                                                              SANTA MONICA      CA      90401
6480212   SANTA MONICA CITY HALL                               OFFICE OF TAX COLLECTOR                            1685 MAIN ST.                                           SANTA MONICA      CA      90401
6491737   SANTA MONICA VIDEO, INC.                             1102 BROADWAY                                                                                              SANTA MONICA      CA      90401-3008
6484397   Santa Monicans for Voter Choice                      515 S. Figueroa St. Suite 1110                                                                             Los Angeles       CA      90071
6476021   SANTIAGO\CARLOS                                      BO. SAINT JUST CALLE 7 17D                                                                                 TRUJILLO ALTO     PR      00976
6475998   SANTIAGO\JAN                                         1804 SANTA EULALIA                                                                                         SAN JUAN          PR      00926
6471193   SANTIKOS THEATRES                                    4630 N LOOP 1604                                   SUITE 501                                               SAN ANTONIO       TX      78249
6491383   SANTIKOS THEATRES                                    4630 N Loop 1604 W SUITE 501                                                                               SAN ANTONIO       TX      78249-1374
6482913   Santikos Theatres                                    4630 N Loop 1604 WestSuite 501                                                                             San Antonio       TX      78249
6796112   SANTIKOS THEATRES LTD                                4630 N LOOP 1604 W STE 501                                                                                 SAN ANTONIO       TX      78249-1374
6478422   SANTO NINO HOLDINGS, LLC                             3056 AGUA FRIA                                                                                             SANTA FE          NM      87507
6475027   SANTONI\SARAH                                        364 COURVILLE DR                                   #1A                                                     PITTSBURGH        PA      15220
6481931   SAP America, Inc.                                    PO Box 7780-824024                                                                                         Philadelphia      PA      19182
6796114   SAPINDA DEUTSCHLAND GMBH                             FRIEDRICHSTRABE 95                                                                                         BERLIN                    10117        GERMANY
6476745   SAPONA GREEN BUILDING CENTER                         716 SOUTH 17TH STREET                                                                                      WILMINGTON        NC      28401
6483004   Sapphire Enterprises, Inc.                           7765 W. Redfield Rd.                                                                                       Peoria            AZ      85381
6481322   Sara Planco                                          27 E. 22nd St. #10A                                                                                        New York          NY      10010
6479502   SARACENO\SEBASTIAN                                   C/O 3310 W.BURBANK BLVD                                                                                    BURBANK           CA      91505
6482404   Sarah Barbien                                        8861 Lark Lane                                                                                             Fort Wayne        IN      46815
6481517   Sarah Knowles                                        125 West 56th Street #6A                                                                                   New York          NY      10019
6483069   Sarah Lorenz                                         4852 Oakwood Ave. Apt #6                                                                                   Los Angeles       CA      90004
6483070   Sarah Lorenz (PC Float)                              4852 Oakwood Ave. Apt #6                                                                                   Los Angeles       CA      90004
6483886   Sarah Reeves                                         1320 N. Sierra Bonita Ave#109                                                                              Los Angeles       CA      90046
6475250   SARAH SOBEL CONSULTING, PC                           9 WHITE STREET                                     2ND FLOOR                                               NEW YORK          NY      10013
6481464   Sard Verbinnen & Co., LLC                            630 Third Avenue                                                                                           New York          NY      10017
6474818   SARDO*CLAUDIA                                        Address on File
6476361   SARGENT ELECTRIC COMPANY                             2767 LIBERTY AVENUE                                                                                        PITTSBURGH        PA      15222-4703   UNITED
6475643   SARGENT-DISC LTD                                     PINEWOOD STUDIOS                                   PINEWOOD ROAD                                           BUCKINGHAMSHIRE           SL0 0NH      KINGDOM
                                                                                                                                                                                                                 UNITED
6486467   Sargent-Disc Ltd.                                    Pinewood Studios Pinewood Road,Iver Heath, Iver                                                            Buckinghamshire           SL0 0NH      KINGDOM




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MMLID     NAME                                                   ADDRESS                                                 ADDRESS 2                         ADDRESS 3   ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6481518   Sargoy, Stein, Rosen & Shapiro                         1790 Broadway, 14th Floor                                                                                         New York          NY      10019
6490322   SARGOY, STEIN, ROSEN & SHAPIRO                         ATTN: HARVEY SHAPIRO, ESQ.                              1790 BROADWAY, 14TH FLOOR                                 NEW YORK          NY      10019
6480564   Sarhaddi, Solmaz                                       Address on File
6483887   Sari Stewart                                           1246 N. Laurel Ave., Apt C                                                                                        Los Angeles       CA      90046
6472113   SARI STEWART                                           8899 BEVERLY BLVD                                                                                                 LOS ANGELES       CA      90048
6491361   SAROJINI DEVI ENTERPRISES, LLC                         5814 AERO ST.                                                                                                     METAIRIE          LA      70003        UNITED
6475677   SARONY, PAUL                                           17 CHURCH ST                                            POOLE                                                     DORSET                    BH15 1JP     KINGDOM
6480894   Sarti, Aldino                                          Address on File
6483304   Sasha Monic Moreno                                     1518 Federal Ave. #416                                                                                            Los Angeles       CA      90025
6491332   SATELLITE SHELTERS, INC                                2530 XENIUM LANE N                                                                                                PLYMOUTH          MN      55441
6476105   SAUCIER\AARON                                          15 W 64TH STREET #4C                                                                                              NEW YORK          NY      10023
6479200   SAUNDERS\JOHN                                          5374 WELLESLEY DR                                                                                                 CALABASAS         CA      91302
6476810   SAUNDERS\MEMORY                                        222 BROOKWOOD AVENUE                                                                                              WILMINGTON        NC      28403
6477966   SAWHILL\STEVE                                          1906 FRAZIER AVE                                                                                                  AUSTIN            TX      78704
6491691   SAY MEDIA, INC.                                        180 TOWNSEND ST. FIRST FLOOR                                                                                      SAN FRANCISCO     CA      94107
6476460   SAYMAN\DOUGLAS R                                       341 SAWMILL LN                                                                                                    GLEN EASTON       WV      26039
6481545   SB Entertainment Media LLC                             345 E. 5614G                                                                                                      New York          NY      10022
6483038   SBEEG Holdings, LLC dba 7080 HW La Brea, LLC           2535 Las Vegas Blvd. South                                                                                        Las Vegas         NV      89109
6476224   SBORAY\BARBARA M                                       1219 KIRKPATRICK AVENUE                                                                                           NORTH BRADDOCK    PA      15104
6479662   SC DESIGN                                              P.O. BOX 5000 PMB 551                                                                                             RANCHO SANTA FE   CA      92067-5000
6478624   SC ENTERTAINMENT, INC.                                 4964 HOLLYWOOD BLVD.                                                                                              HOLLYWOOD         CA      90027
6479713   SC FUELS                                               P.O. BOX 7003                                                                                                     LANCASTER         CA      93539
6479689   SC FUELS                                               PO BOX 14014                                                                                                      ORANGE            CA      92863
6486344   SC/APJ Education Fund                                  c/o Global Philanthropy Group1500 4th AvenueSuite 600                                                             Seattle           WA      98101
6474342   SCALES*CRAIG                                           Address on File
6480768   Scales, Craig F.                                       Address on File
6477485   SCALLAN\RANDY                                          3420 LEMON ST                                                                                                     METAIRIE          LA      70006
6475862   SCANDINAVIA, INC                                       1100 EDWARDS AVE                                        SUITE A                                                   HARAHAN           LA      70123
6484148   ScanlineVFX LA, Inc.                                   12910 Culver Blvd. Suite C                                                                                        Los Angeles       CA      90066
6480604   Scannell, Andrew                                       Address on File
6479473   SCARBOROUGH\SEAN                                       1010 N. GLENOAKS BOULEVARD                                                                                        BURBANK           CA      91504
6482440   Scate Technologies                                     4553 SEDONA DR                                                                                                    CLARKSTON         MI      48348-2268
6476855   SCENIC ASYLUM                                          3224 N. COLLEGE RD.                                                                                               WILMINGTON        NC      28405
6477319   SCENIC WORKSHOP                                        821 NE 144TH ST.                                                                                                  NORTH MIAMI       FL      33161
6475458   SCHAD\LAUREN                                           107 HAVENMEYER STREET                                   APT 207                                                   LOS ANGELES       CA      90027
6476269   SCHADE\SAMUEL J                                        425 PETERSON STREET                                                                                               MCKEESPORT        PA      15132
6475002   SCHAERMOTION INC.                                      FSO: MARTIN SCHAER                                      PO BOX 9359                                               MARINA DEL REY    CA      90295
6475188   SCHAFER\MATT                                           2249 MCMONAGLE AVE                                      1ST FLOOR                                                 PITTSBURGH        PA      15216
6476495   SCHANES KWIATKOWSKI, CHRISTAL                          1540 SHARON ROAD                                                                                                  WINSTON-SALEM     NC      27103
6475480   SCHELER, WALTER KENT                                   729 K ST.                                               APT F                                                     ANCHORAGE         AK      99501
6476235   SCHELLMAN JR\CHARLES W                                 1322 KIRKPATRICK AVE                                                                                              N BRADDOCK        PA      15104-2616
6476746   SCHEPERS\MARY JANE                                     418 S. 3RD STREET, APT A                                                                                          WILMINGTON        NC      28401
6481073   Scherrer Hernandez & CO                                PO Box 363436                                                                                                     San Juan          PR      00936
6477575   SCHERSCHEL, MICHAEL                                    4006 ANNUNCIATION ST.                                                                                             NEW ORLEANS       LA      70115
6477576   SCHERSCHEL\MIKE                                        4006 ANNUNCIATION STREET                                                                                          NEW ORLEANS       LA      70115
6475586   SCHEVING\MAGNUS                                        C/O LAZYTOWN ENTERTAINMENT                              MIDHRAUN 4                                                GARDABAER                 210          ICELAND
6477905   SCHEXNAYDER\CLAIRE                                     2270 WISTERIA ST                                                                                                  BATON ROUGE       LA      70806
6478681   SCHIFF-ABRAMS\ZACH                                     1203 SOUTH CRESCENT HEIGHTS BL                                                                                    LOS ANGELES       CA      90035
6477450   SCHLUMBRECHT AUTO                                      3811 ROBERTSON ST                                                                                                 METAIRIE          LA      70001
6478976   SCHMIDLI BACKDROPS                                     5830 WEST ADAMS BOULEVARD                                                                                         CULVER CITY       CA      90232
6480808   Schmitz, Ina                                           Address on File
6491370   SCHNEIDER & MILLER, P.C                                300 N. COIT RD., SUITE 1125                                                                                       RICHARDSON        TX      75080
6485359   Schneider Entertainment                                22287 Mulholland Hwy #210                                                                                         Calabasas         CA      91302
6476593   SCHNEIDER, CHARLES                                     1100 HICKORY TRACE DR                                                                                             GREENSBORO        NC      27407
6475003   SCHNEIDER\WOLF                                         2500 SAWMILL ROAD                                       # 1022                                                    SANTA FE          NM      87505
6478330   SCHOEL\LOREN                                           963 ALTO STREET                                                                                                   SANTA FE          NM      87501
6478645   SCHOEN, M.D., PAULA J.                                 7080 HOLLYWOOD BLVD #1101                                                                                         HOLLYWOOD         CA      90028
6481096   Scholastic, Inc.                                       P.O. Box 416851                                                                                                   Boston            MA      02241
6479543   SCHOUTEN, MARK                                         11582 HUSTON ST.                                                                                                  VALLEY VILLAGE    CA      91601
6474781   SCHROEDER*JOHN H                                       Address on File
6481546   Schulte Roth & Zabel LLP                               919 Third Ave                                                                                                     New York          NY      10022
6479122   SCHULTZ\ERICH                                          797 NEW YORK DRIVE                                                                                                ALTADENA          CA      91001
6485150   Schuyler Telleen                                       239 Pacific St #N                                                                                                 Santa Monica      CA      90405
6474461   SCHWARTZ*RACHEL                                        Address on File
6491539   SCHWARTZ*SCOTT                                         Address on File
6480656   Schwartz, Alexandra                                    Address on File
6480944   Schwartz, Michael                                      Address on File
6480997   Schwartz, Rachel O                                     Address on File
6480892   Schwartz, Russell                                      Address on File
6479395   SCHWIETZER\PETER                                       4617 WILLIS AVE #4                                                                                                SHERMAN OAKS      CA      91403




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                                                                                                                                                    Served First Class Mail

MMLID     NAME                                                                        ADDRESS                                                 ADDRESS 2                             ADDRESS 3                         ADDRESS 4                       CITY             STATE   POSTAL CODE COUNTRY
6470103   SCION FOUR MUSIC, LLC                                                       240 W 37TH ST RM 504                                                                                                                                            NEW YORK         NY      10018-5772
6491854   SCION FOUR MUSIC, LLC                                                       501 SEVENTH AVE. SUITE 512                                                                                                                                      NEW YORK         NY      10018
6481479   Scion Three Music LLC obo Jareese Music                                     240 W 37TH ST RM 504                                                                                                                                            New York         NY      10018-5772
6796103   Scion Three Music LLC OBO Jareese Music                                     240 W 37th St.                                          Ste. 504                                                                                                New York         NY      10018
6491855   SCION THREE MUSIC LLC OBO JAREESE MUSIC                                     501 SEVENTH AVENUE STE 512                                                                                                                                      NEW YORK         NY      10018
6486372   Scott A. Crichton                                                           5920 100th St. SW #25                                                                                                                                           Lakewood         WA      98498
6482619   Scott Blewett                                                               c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                               Northbrook       IL      60062
6484731   Scott Burn                                                                  c/o Agency for the performing Arts405 S Beverly Drive                                                                                                           Beverly Hills    CA      90212
6483390   Scott Einziger                                                              202 N Alexandria Ave                                                                                                                                            Los Angeles      CA      90027
6475675   SCOTT ELECTRIC                                                              1000 S MAIN STREET                                      PO BOX S                                                                                                GREENSBURG       PA      15601
6481125   Scott Feinberg                                                              26 Westward Rd.                                                                                                                                                 Woodbridge       CT      06525
6475370   SCOTT FREE INC                                                              FSO COSTIGAN/MICHAEL                                    634 N LA PEER DRIVE                                                                                     LOS ANGELES      CA      90069
6478894   SCOTT FREE PRODUCTIONS                                                      614 NORTH LA PEER DRIVE                                                                                                                                         WEST HOLLYWOOD   CA      90069
6484597   Scott Lambert                                                               9875 Gloucester Drive                                                                                                                                           Beverly Hills    CA      90210
6482232   Scott Lumpkin, LLC                                                          16901 Sweeney Road                                                                                                                                              Summerdale       AL      36580
6475811   SCOTT M. LEEDS, MD, A MEDICAL CORPORATION                                   415 N. CRESCENT DRIVE                                   SUITE 225                                                                                               BEVERLY HILLS    CA      90210
6484369   Scott Mantz                                                                 1222 N. Kings Road #9                                                                                                                                           West Hollywood   CA      90069
6482304   Scott Mele dba Editorial Services                                           2104 West Linden Ave.                                                                                                                                           Nashville        TN      37212
                                                                                                                                                                                    360 NORTH CRESCENT DRIVE, NORTH
6468785   SCOTT MILAM ('WRITER')                                                      C/O PARADIGM AGENCY                                     ATTN: SCOTT HENDERSON ('AGENT')       BUILDING                                                          BEVERLY HILLS    CA      90210
6483888   Scott Perlman                                                               7231 Franklin Ave. #9                                                                                                                                           Los Angeles      CA      90046
6796098   SCOTT SIRE                                                                  20521 CHARWOOD LANE                                                                                                                                             LOS ANGELES      CA      92646-5920
6796090   SCOTT SIRE                                                                  20821 CHARWOOD LANE                                                                                                                                             LOS ANGELES      CA      92646-5920
6482986   Scott Wiley                                                                 1383 East 400 North                                                                                                                                             Provo            UT      84606
6480589   Scott, Nicole                                                               Address on File
6478484   SCOTT\BRIAN                                                                 150 CHAMISA STREET                                                                                                                                              LOS ALAMOS       NM      87544
6478895   SCOTT\JESSIE D.                                                             930 PALM AVE #141                                                                                                                                               WEST HOLLYWOOD   CA      90069
6476389   SCOTT\KATIE                                                                 127 RADLIFF DRIVE                                                                                                                                               PITTSBURGH       PA      15237
6486110   Scotti & Associates                                                         2266 North State College Blvd.                                                                                                                                  Fullerton        CA      92831
6796105   SCOTTIE SIRE                                                                20821 CHARWOOD LANE                                                                                                                                             LOS ANGELES      CA      92646-5920
6486914   SCRABBLE VENTURES LLC                                                       C/O GREENBERG GLUSKER FIELDS CLAMAN &                   MACHTINGER LLP                        ATTN: JEFFREY A. KRIEGER          1900 AVENUE 0F THE STARS,       LOS ANGELES      CA      90067
6483029   Screaming Images LLC                                                        1484 Rancho Ridge Dr                                                                                                                                            Henderson        NV      89012
6796077   SCREEN ACTORS GUILD                                                         360 MADISON AVE 12TH FLOOR                                                                                                                                      NEW YORK         NY      10017
6796085   SCREEN ACTORS GUILD                                                         3601 WEST OLIVE AVENUE                                  PO BOX 7830                                                                                             BURBANK          CA      91510-7830
6796070   SCREEN ACTORS GUILD                                                         5757 WILSHIRE BOULEVARD                                 7TH FLOOR                                                                                               LOS ANGELES      CA      90036
                                                                                                                                              ATTN: NATIONAL DIRECTOR OF FINACIAL
6796035   SCREEN ACTORS GUILD                                                         ATTN: GENERAL COUNSEL                                   ASSURANCES                            5757 WILSHIRE BLVD, 7TH FL                                        LOS ANGELES      CA      90036-3600
6474966   SCREEN ACTORS GUILD                                                         C/O MARISA LEAL                                         5757 WILSHIRE BLVD                                                                                      LOS ANGELES      CA      90036
6796037   SCREEN ACTORS GUILD                                                         SAG                                                     ATTN: FERN WAKNEEN, DIRECTOR          360 MADISON AVE                   12TH FLOOR                      NEW YORK         NY      10017
6796055   SCREEN ACTORS GUILD - AMERICAN FEDERATION OF TELEVISION AND                 ATTN: GENERAL COUNSEL                                   5757 WILSHIRE BLVD., 7TH FLOOR                                                                          LOS ANGELES      CA      90036-3600
6796046   SCREEN ACTORS GUILD - AMERICAN FEDERATION OF TELEVISION AND                 ATTN: GENERAL COUNSEL                                   5757 WILSHIRE BOULEVARD                                                                                 LOS ANGELES      CA      90036
6796067   Screen Actors Guild - American Federation of Television and Radio Artists   c/o Guild Counsel                                       Attn: Joseph A. Kohanski              Bush Gottlieb                     500 North Central Ave., Suite   Glendale         CA      91203
6491441   SCREEN ACTORS GUILD AWARDS LLC                                              5757 WILSHIRE BLVD                                                                                                                                              LOS ANGELES      CA      90036
6491442   SCREEN ACTORS GUILD DBA SAG-AFTRA                                           5757 WILSHIRE BLVD. 7TH FLOOR                                                                                                                                   LOS ANGELES      CA      90036
6480093   SCREEN ACTORS GUILD, INC.                                                   5757 WILSHIRE BOULEVARD                                 7TH FLOOR                                                                                               LOS ANGELES      CA      90036
6480050   SCREEN ACTORS GUILD, INC.                                                   AMERICAN FEDERATION OF                                  TELEVISIONS AND RADIO ARTISTS         5757 WILSHIRE BLVD.               7TH FLOOR                       LOS ANGELES      CA      90036

6479864   SCREEN ACTORS GUILD-AMERICAN                                                FEDERATION OF TELEVISION AND RADIO ARTISTS              ATTN: LEGAL DEPT.                     5757 WILSHIRE BOULEVARD, 7TH FL.                               LOS ANGELES         CA      90036
                                                                                                                                                                                    ATTN: JOSPEH A. KOHANSKI AND
6487384   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF                                  TELEVISION AND RADIO ARTIST (SAG-AFTRA)                 C/O BUSH GOTTLIEB ALC                 DAVID E. ADHOOT                  500 N. CENTRAL AVE., STE 800 GLENDALE             CA      91203
                                                                                                                                                                                    ATTN: JOSPEH A. KOHANSKI AND
6487153   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF                                  TELEVISION AND RADIO ARTIST (SAG-AFTRA)                 C/O BUSH GOTTLIEB ALC                 DAVID E. ADHOOT                  801 N BRAND BLVD STE 950      GLENDALE            CA      91203-1260
6468844   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF                                  TELEVISION AND RADIO ARTISTS (SAG-AFTRA)                5757 WILSHIRE BOULEVARD                                                                              LOS ANGELES         CA      90036
6486583   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND ADIO              5757 Wilshire Blvd.                                     7th Floor                                                                                            Los Angeles         CA      90036
6796073   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND RADIO             5757 WILSHIRE BOULEVARD                                 7TH FLOOR                                                                                            LOS ANGELES         CA      90036
6796066   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND RADIO             5757 WILSHIRE BLVD.                                     7TH FLOOR                                                                                            LOS ANGELES         CA      90036
                                                                                                                                                                                    ATTN: JOSEPH A. KOHANSKI AND
6487529   SCREEN ACTORS GUILD-PRODUCER PENSION AND                                    HEALTH PLANS                                            C/O BUSH GOTTLIEB ALC                 DAVID E. ADHOOT                  500 N. CENTRAL AVE., STE. 800 GLENDALE            CA      91203
                                                                                                                                                                                    ATTN: JOSEPH A. KOHANSKI AND
6487390   SCREEN ACTORS GUILD-PRODUCER PENSION AND                                    HEALTH PLANS                                            C/O BUSH GOTTLIEB ALC                 DAVID E. ADHOOT                  801 N BRAND SUITE 950         GLENDALE            CA      91203-1260
6491414   SCREEN ENGINE, LLC                                                          10635 SANTA MONICA BLVD SUITE 125                                                                                                                            LOS ANGELES         CA      90025
6479729   SCREEN ENGINE, LLC                                                          6910 SANTA TERESA                                                                                                                                            SAN JOSE            CA      95119
6483306   Screen Engine, LLC dba Engine Room                                          10635 Santa Monica Blvd, Suite 125                                                                                                                           Los Angeles         CA      90025
6484732   Screen International Security Services                                      9300 Wilshite Blvd. Suite 450                                                                                                                                Beverly Hills       CA      90212
6482983   Screen Rant, LLC                                                            1172 E. Benchview Dr.                                                                                                                                        Ogden               UT      84404
6484654   Screening Services Group LLC                                                8670 Wilshire Blvd. Suite 112                                                                                                                                Beverly Hills       CA      90211
6492672   SCREENING SERVICES GROUP LLC                                                ATTN: ADAM EPPENSTEIN. OFFICE MANAGER                   8670 WILSHIRE BLVD., SUITE 112                                                                       BEVERLY HILLS       CA      90211
6481480   Screenvision Cinema Network LLC                                             1411 Broadway 33rd Floor                                                                                                                                     New York            NY      10018
6479305   SCREWBALL RENTALS                                                           25611 DORADO DRIVE                                                                                                                                           VALENCIA            CA      91355
6755610   Scripps Networks Interactive, Inc.                                          c/o Wyatt, Tarrant & Combs, LLP                         Attn: Mary L. Fullington              250 West Main Street, Suite 1600                               Lexington           KY      40507




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                                                                                                                     Master Mailing List
                                                                                                                    Served First Class Mail

MMLID     NAME                                                  ADDRESS                                        ADDRESS 2                        ADDRESS 3                      ADDRESS 4                   CITY               STATE   POSTAL CODE COUNTRY
6492788   SCRIPPS NETWORKS INTERACTIVE, INC. F/K/A              SCRIPPS NETWORKS, LLC D/B/A HOME & GARDEN TV   C/O WYATT TARRANT & COMBS, LLP   ATTN: MARY FULLINGTON          250 WEST MAIN STREET, SUITE LEXINGTON          KY      40507-1746
6485097   SCS, Inc.                                             2120 Colorado Ave., Suite 150                                                                                                              Santa Monica       CA      90404
6476017   SCUBA DOGS                                            BUEN SAMARITANO D-13, URB GARDENVILLE                                                                                                      GUAYNABO           PR      00966
6477281   SCURRY\MATTHEW                                        138 GREISON TRAIL #2201                                                                                                                    NEWNAN             GA      30263
6477016   SEABREEZE RENTALS & SALES LLC                         P.O. BOX 3068                                                                                                                              BALD HEAD ISLAND   NC      28461
6486046   SEAL - NSW Family Foundation                          4320 La Jolla Village Dr., Suite 250                                                                                                       San Diego          CA      92122
6481851   Sean Davis                                            2417 Meadowcrest Ct.                                                                                                                       Wexford            PA      15090
6482198   Sean Davis (expenses)                                 2021 N Lemans BlvdAPt#7409                                                                                                                 Tampa              FL      33607
6483974   Sean Knight                                           6230 Wilshire Blvd. #131                                                                                                                   Los Angeles        CA      90048
6796033   SEAN LAKE AND THE ESTATE OF GLEN DOHERTY              C/O SKRZYNIARZ & MALLEAN                       9000 Sunset Blvd Ste 709 W                                                                  Hollywood          CA      90069
6481733   Sean Mikel Hare                                       205 N. 9th, #6D                                                                                                                            Brooklyn           NY      11211
6486452   Sean Nowlan                                           42 Paragon Road                                                                                                                            Etobicoke          ON      M9R 1J7     CANADA
6482032   Sean O'Connell                                        6124 Patrick Place                                                                                                                         Charlotte          NC      28210
6482237   Sean Patrick Neff dba Spin Productions, LLC           400 Loudon Place                                                                                                                           Brentwood          TN      37027
6486027   Sean Peter Lake                                       165 Rodney Ave.                                                                                                                            Encinitas          CA      92024
6481718   Sean Rhoden dba MeLo-X                                209 East 38th St,                                                                                                                          Brooklyn           NY      11203
6485360   Search + Rescue, LLC                                  26500 Agoura Rd. Suite 102-464                                                                                                             Calabasas          CA      91302
6478390   SEARS\RANDALL                                         23 CAMINO NEVOSO                                                                                                                           SANTA FE           NM      87505
6486294   Seashore Properties                                   P.O. Box 790100                                                                                                                            Paia               HI      96779
6476811   SEASIDE SILKSCREENING CO INC                          1710 DAWSON ST.                                                                                                                            WILMINGTON         NC      28403
6483643   Season Kent                                           921 Alandele Ave.                                                                                                                          Los Angeles        CA      90036
6475259   SEATTLE INT'L FILM FESTIVAL                           C/O SIFF FILM CENTER                           305 HARRISON STREET                                                                         SEATTLE            WA      98109
6479749   SEATTLEMUSIC, INC.                                    7215 30TH AVENUE NW                                                                                                                        SEATTLE            WA      98117
6474878   SEAU*SYDNEY                                           Address on File                                                                                                                                                                   ARGENTIN
6796017   SEBASTIAN ESCOFET                                     JUNCAL 4559 2-D-CP 1425                        CAPITAL DEFERAL                                                                              BUENOS AIRES                          A
6481560   Sebastian Junger                                      120 West 86th StreetApt. 8D                                                                                                                 New York          NY      10024
6796020   SEBASTIAN JUNGER                                      C/O UNITED TALENT AGENCY                       ATTN: HOWARD SANDERS             9336 CIVIC CENTER DR.                                       BEVERLY HILLS     CA      90210
6485410   Sebastian Systems                                     Sebastian Lutges24721 Harby Drive                                                                                                           Newhall           CA      91321
6480446   Sebring, Alexis                                       Address on File
6475645   SEC STUDIO RENTALS                                    603-B UNIVERSITY DR                            PMB #338                                                                                     CARSON            CA      90746
6484030   Second Street Framing                                 11708 Barrington Crt                                                                                                                        Los Angeles       CA      90049
6491501   SECRET ROAD MUSIC SERVICES INC                        5850 FOOTHILL DRIVE                                                                                                                         LOS ANGELES       CA      90068
6484296   Secret Road Music Services, Inc.                      2640 N. Beachwood Dr. #101                                                                                                                  Los Angeles       CA      90068
6480343   SECRET ROAD PUBLISHING, LLC                           C/O DAVIS SHAPIRO LEWIT GRABEL LEVEN           GRANDERSON & BLAKE LLP           414 W. 14TH STREET             FIFTH FLOOR                  NEW YORK          NY      10014
6480022   SECRETARY OF COMMONWEALTH                             STATE OF MASSACHUSETTS                         WILLIAM FRANCIS GALVIN           ONE ASHBURTON PLACE            ROOM 1611                    BOSTON            MA      02108-1512
6486200   Secretary of State                                    1500 11th Street, 3rd FloorP.O. Box 944230                                                                                                  Sacramento        CA      94244
6480026   SECRETARY OF STATE                                    DISTRICT OF COLUMBIA                           CYNTHIA BROCK-SMITH              1350 PENNSYLVANIA AVENUE, NW   ROOM 419                     WASHINGTON        DC      20004
6480042   SECRETARY OF STATE                                    STATE OF ALABAMA                               JOHN H. MERRILL                  P.O. BOX 5616                                               MONTGOMERY        AL      36103-5616
6480046   SECRETARY OF STATE                                    STATE OF ALASKA                                ALASKA STATE CAPITOL BUILDING    P.O. BOX 110001                                             JUNEAU            AK      99811-0001
6480019   SECRETARY OF STATE                                    STATE OF ARIZONA                               MICHELLE REAGAN                  1700 W. WASHINGTON ST.         F17                          PHOENIX           AZ      85007-2888
6480024   SECRETARY OF STATE                                    STATE OF ARKANSAS                              MARK MARTIN                      STATE CAPITOL                  ROOM 256                     LITTLE ROCK       AR      72201
6480033   SECRETARY OF STATE                                    STATE OF CALIFORNIA                            ALEX PADILLA                     1500 11TH STREET                                            SACRAMENTO        CA      95814
6480029   SECRETARY OF STATE                                    STATE OF COLORADO                              WAYNE W. WILLIAMS                1700 BROADWAY                  SUITE 200                    DENVER            CO      80290
6480038   SECRETARY OF STATE                                    STATE OF CONNECTICUT                           DENISE MERRILL                   30 TRINITY STREET                                           HARTFORD          CT      06106
6480030   SECRETARY OF STATE                                    STATE OF DELAWARE                              JEFFREY W. BULLOCK               401 FEDERAL STREET             SUITE 3                      DOVER             DE      19901
6480014   SECRETARY OF STATE                                    STATE OF FLORIDA                               KEN DETZNER                      R.A. GRAY BUILDING             500 SOUTH BRONOUGH           TALLAHASSEE       FL      32399-0250
6480036   SECRETARY OF STATE                                    STATE OF GEORGIA                               BRIAN P. KEMP                    214 STATE CAPITOL                                           ATLANTA           GA      30334
6480025   SECRETARY OF STATE                                    STATE OF HAWAII                                SHAN S. TSUTSUI                  STATE CAPITOL                  ROOM 415                     HONOLULU          HI      96813
6480044   SECRETARY OF STATE                                    STATE OF IDAHO                                 BEN YSURSA                       P.O. BOX 83720                                              BOISE             ID      83720-0080
6480035   SECRETARY OF STATE                                    STATE OF ILLINOIS                              JESSE WHITE                      213 STATE CAPITOL                                           SPRINGFIELD       IL      62756
6480023   SECRETARY OF STATE                                    STATE OF INDIANA                               CONNIE LAWSON                    200 W. WASHINGTON STREET       ROOM 201                     INDIANAPOLIS      IN      46204
6480010   SECRETARY OF STATE                                    STATE OF IOWA                                  PAUL D. PATE                     FIRST FLOOR, LUCAS BUILDING    321 E. 12TH STREET           DES MOINES        IA      50319
6480005   SECRETARY OF STATE                                    STATE OF KANSAS                                KRIS W. KOBACH                   MEMORIAL HALL, 1ST FLOOR       120 SW 10TH AVENUE           TOPEKA            KS      66612-1594
6480016   SECRETARY OF STATE                                    STATE OF KENTUCKY                              ALISON LUNDERGAN GRIMES          LAND OFFICE BRANCH             700 CAPITAL AVE., SUITE 80   FRANKFORT         KY      40601
6480032   SECRETARY OF STATE                                    STATE OF MAINE                                 MATTHEW DUNLAP                   148 STATE HOUSE STATION                                     AUGUSTA           ME      00433-0148
6480007   SECRETARY OF STATE                                    STATE OF MARYLAND                              JOHN C. WOBENSMITH               FRED L. WINELAND BUILDING      16 FRANCIS ST.               ANNAPOLIS         MD      21401
6480041   SECRETARY OF STATE                                    STATE OF MICHIGAN                              RUTH JOHNSON                     MICHIGAN DEPARTMENT OF STATE                                LANSING           MI      48919
6480015   SECRETARY OF STATE                                    STATE OF MINNESOTA                             STEVE SIMON                      RETIREMENT SYSTEMS OF          60 EMPIRE DR., SUITE 100     ST. PAUL          MN      55103
6480039   SECRETARY OF STATE                                    STATE OF MISSISSIPPI                           DELBERT HORSEMANN                401 MISSISSIPPI STREET                                      JACKSON           MS      39201
6480040   SECRETARY OF STATE                                    STATE OF MISSOURI                              JASON KANDER                     600 WEST MAIN STREET                                        JEFFERSON CITY    MO      65101
6480045   SECRETARY OF STATE                                    STATE OF NEBRASKA                              JOHN A. GALE                     P.O. BOX 94608                                              LINCOLN           NE      68509-4608
6480003   SECRETARY OF STATE                                    STATE OF NEVADA                                ROSS MILLER                      NEVADA STATE CAPITOL BLDG.     101 N. CARSON ST., STE 3     CARSON CITY       NV      89701
6480020   SECRETARY OF STATE                                    STATE OF NEW JERSEY                            KIM GUADAGNO                     225 W. STATE STREET            P.O. BOX 300                 TRENTON           NJ      08625-0300
6480011   SECRETARY OF STATE                                    STATE OF NEW MEXICO                            DIANNA J. DURAN                  NEW MEXICO STATE CAPITOL       325 DON GASPAR, STE. 300     SANTA FE          NM      87503
6480018   SECRETARY OF STATE                                    STATE OF NEW YORK                              CESAR A. PERALES                 ONE COMMERCE PLAZA             99 WASHINGTON AVE.           ALBANY            NY      12231-0001
6480034   SECRETARY OF STATE                                    STATE OF NORTH CAROLINA                        ELAINE F. MARSHALL               2 SOUTH SALISBURY STREET                                    RALEIGH           NC      27626-0622
6480008   SECRETARY OF STATE                                    STATE OF OHIO                                  JON HUSTED                       180 EAST BROAD STREET          16TH FLOOR                   COLUMBUS          OH      43215
6480028   SECRETARY OF STATE                                    STATE OF OKLAHOMA                              CHRIS BENGE                      2300 N. LINCOLN BOULEVARD      STE. 101                     OKLAHOMA CITY     OK      73105-4897
6480031   SECRETARY OF STATE                                    STATE OF OREGON                                JEANNE P. ATKINS                 136 STATE CAPITOL                                           SALEM             OR      97301
6480027   SECRETARY OF STATE                                    STATE OF RHODE ISLAND                          NELLIE M. GORBEA                 82 SMITH STREET                STATE HOUSE, ROOM 217        PROVIDENCE        RI      02903




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                                                                                                                                              Master Mailing List
                                                                                                                                             Served First Class Mail

MMLID     NAME                                                      ADDRESS                                                             ADDRESS 2                        ADDRESS 3                   ADDRESS 4                      CITY                STATE   POSTAL CODE COUNTRY
6480006   SECRETARY OF STATE                                        STATE OF SOUTH CAROLINA                                             MARK HAMMOND                     EDGAR BROWN BLDG.           1205 PENDELTON ST., STE 525    COLUMBIA            SC      29201
6480013   SECRETARY OF STATE                                        STATE OF SOUTH DAKOTA                                               SHANTEL KREBS                    CAPITOL BUILDING            500 E. CAPITOL AVE., STE 204   PIERRE              SD      57501-5070
6480017   SECRETARY OF STATE                                        STATE OF TENNESSEE                                                  TRE HARGETT                      312 ROSA L. PARKS AVENUE    8TH FLOOR, SNODGRASS           NASHVILLE           TN      37243-1102
6480004   SECRETARY OF STATE                                        STATE OF TEXAS                                                      CARLOS H. CASCOS                 JAMES E. RUDDER BUUILDING   1019 BRAZOS                    AUSTIN              TX      78701
6480047   SECRETARY OF STATE                                        STATE OF UTAH                                                       350 STATE CAPITOL BUILDING       SUITE E220                                                 SALT LAKE CITY      UT      84114
6480037   SECRETARY OF STATE                                        STATE OF VERMONT                                                    JIM CONDOS                       26 TERREACE STREET                                         MONTPELIER          VT      05609-1101
6480012   SECRETARY OF STATE                                        STATE OF VIRGINIA                                                   LEVAR STONEY                     1111 EAST BROAD STREET      4TH FLOOR                      RICHMOND            VA      23219
6480021   SECRETARY OF STATE                                        STATE OF WASHINGTON                                                 KIM WYMAN                        LEGISLATEIVE BUILDING       P.O. BOX 40220                 OLYMPIA             WA      98504-0220
6480009   SECRETARY OF STATE                                        STATE OF WEST VIRGINIA                                              NATALIE E. TENNANT               BLDG. 1, SUITE 157-K        1900 KANAWHA BLVD. EAST        CHARLESTON          WV      25305-0770
6480043   SECRETARY OF STATE                                        STATE OF WISCONSIN                                                  DOUG LAFOLLETTE                  P.O. BOX 7848                                              MADISON             WI      53707-7848
6481941   Secretary of State (DE)                                   Division of Corporations401 Federal Street, #4                                                                                                                  Dover               DE      19901
6482351   Secretary of State Kentucky                               P.O. Box 1360                                                                                                                                                   Frankfort           KY      40602
6482329   Secretary of State Tennessee                              Elections Division312 Rosa L. Parks Ave. 9th FloorSnodgrass Tower                                                                                               Nashville           TN      37243
6486436   Securitas Canada Ltd.                                     265 Yorkland Blvd. Suite 500                                                                                                                                    North York          ON      M2J 1S5     CANADA
6491612   SECURITECH                                                19212 CANTARA ST.                                                                                                                                               RESEDA              CA      91335
6478950   SECURITY 20/20 INC.                                       264 SOUTH LA CIENEGA BLVD.                                                                                                                                      BEVERLY HILLS       CA      90211
6477017   SECURITY SAVINGS BANK,SSB.                                P.O. BOX 10069                                                                                                                                                  SOUTHPORT           NC      28461
6478229   SECURITY SOURCE                                           7910 LORRAINE CT.                                                                                                                                               ALBUQUERQUE         NM      87113
6476529   SEDGEFIELD LAWN & GARDEN, INC.                            5111 MACKAY ROAD                                                                                                                                                JAMESTOWN           NC      27282
6481245   See Management Inc                                        307 Seventh AveSuite 1607                                                                                                                                       New York            NY      10001
6492832   SEE MANAGEMENT INC                                        ATTN: MICHELLE ROSA, FINANCIAL CONTROL MGR                          307 SEVENTH AVENUE, SUITE 1607                                                              NEW YORK            NY      10001
6481557   See Spot Run Productions, Inc.                            f/s/o Joan Altman344 W. 72 Street #11S                                                                                                                          New York            NY      10023
6485250   Seed of Thought Productions, Inc.                         311 EastGlenarm St unit 8                                                                                                                                       Pasadena            CA      91106
6481849   SEEDS - Sports for Educational and Economic Development   25 Framingham Ln.                                                                                                                                               Pittsford           NY      14534
6476116   SEEING EYE FILMS, INC.                                    43 PINE ROAD                                                                                                                                                    BRIARCLIFF MANOR    NY      10510
6481603   See-No-Evil Filmworks, Inc.                               1501 Broadway Suite 1510                                                                                                                                        New York            NY      10036
6492758   SEGAL* DANIEL                                             PO BOX 885                                                                                                                                                      PACIFIC PALISADES   CA      90272
6474119   SEGAL*BRITTNEY                                            Address on File
6478742   SEGAL, ALEXANDER                                          2463 LAKE VIEW AVE.                                                                                                                                             LA                  CA      90039
6480667   Segal, Brittney N                                         Address on File
6476636   SEINFELD\BARBARA                                          4220 TROTTER RIDGE ROAD                                                                                                                                         DURHAM              NC      27707
6483714   Seismic Productions                                       7010 Santa Monica Blvd.                                                                                                                                         Los Angeles         CA      90038
6492751   SEISMIC PRODUCTIONS, LLC                                  7010 SANTA MONICA BLVD.                                                                                                                                         LOS ANGELES         CA      90038
6796012   SELECT MUSIC LLC                                          30 IRVING PL FL 6                                                                                                                                               NEW YORK            NY      10003
6491475   SELECTRACKS, INC.                                         6100 WILSHIRE BLVD. SUITE 1600                                                                                                                                  LOS ANGELES         CA      90048
6492302   SELECTRACKS, INC.                                         ATTN: DARREL SHIRK, DIRECTOR OF OPERATIONS                          6100 WILSHIRE BOULEVARD          SUITE 1600                                                 LOS ANGELES         CA      90048
6485297   Sencit Music                                              1205 Alma Street                                                                                                                                                Glendale            CA      91202
6796006   SENCIT MUSIC, LLC                                         ATTN: JOHNNY GEORGE, BUSINESS MANAGER                               1205 ALMA STREET                                                                            GLENDALE            CA      91202
6481604   Sendroff & Baruch, LLP                                    1500 Broadway, Ste.2201                                                                                                                                         New York            NY      10036
6480560   Seneker, Ethan                                            Address on File
6484811   Senior Moments Trust                                      International Business Management9696 Culver Blvd., Suite 203                                                                                                   Culver City         CA      90232
6481094   Sentient Jet Charter                                      97 Libbey Parkway, 4th Floor                                                                                                                                    Weymouth            MA      02189
6477018   SENTRY SELF STORAGE                                       4711 SOUTHPORT-SUPPLY RD                                                                                                                                        SOUTHPORT           NC      28461
6475965   SEPULVEDA DELGADO\VICTOR                                  P.O. BOX 1985                                                                                                                                                   JUNCOS              PR      00777
6477898   SERENDIPITY IN THE VILLAGE                                215 N RANGE AVE                                                                                                                                                 DENHAM SPRINGS      LA      70726
6477541   SERIGNE JR\KIMMIE J                                       2909 GINA DR                                                                                                                                                    ST. BERNARD         LA      70085
6478423   SERIOUS GRIPPAGE & LIGHT CO.                              2350 FOX ROAD                                                                                                                                                   SANTA FE            NM      87507
6478424   SERIOUS GRIPPAGE & LIGHT CO.                              2350 FOX ROAD, SUITE 100                                                                                                                                        SANTA FE            NM      87507
6479520   SERJ COSTUMES & TAILORING LLC                             1707 W MAGNOLIA BLVD                                                                                                                                            BURBANK             CA      91506
6481279   Serling Rooks Ferrara McKoy & Worob LLP                   119 Fifth Avenue, 3rd Floor                                                                                                                                     New York            NY      10003
6474806   SERMERSHEIM*TODD M                                        Address on File
6474648   SERRATO*JAN MARIE                                         Address on File
6480554   Serrato, Jan Marie G.                                     Address on File
6486251   ServiceNow, Inc.                                          3260 Jay St.                                                                                                                                                    Santa Clara         CA      95054
6478331   SERVOSS\DAVID                                             1270 UPPER CANYON ROAD                                                                                                                                          SANTA FE            NM      87501
6482298   Session Services Unlimited                                141 Lyle Lane                                                                                                                                                   Nashville           TN      37210
6485936   Set Decorators Society of America                         7100 Tujunga Ave. Suite A                                                                                                                                       North Hollywood     CA      91605
6479146   SET MASTERS                                               11650 HART STREET                                                                                                                                               NORTH HOLLYWOOD     CA      91065
6479261   SET POWER INC.                                            15858 MAYALL ST                                                                                                                                                 NORTH HILLS         CA      91343
6479262   SET POWER INC.                                            58 MAYALL ST.                                                                                                                                                   NORTH HILLS         CA      91343
6486489   Set Tone Music Inc.                                       1320 Burleith Crescent                                                                                                                                          Victoria            BC      V9A 4B4      CANADA
6475881   SET UP AND GO, LLC                                        3720 CAROLINA BEACH RD.                                             SUITE E                                                                                     WILMINGTON          NC      28412
6796007   SETH MENACHEM                                             3533 Laurelvalle Dr                                                                                                                                             Studio City         CA      91604-4137
6482249   Seth OJ Morton                                            51 DRAKES DR                                                                                                                                                    LEBANON             TN      37087-7625
6491561   SEVEN ARTIST MANAGEMENT, LLC                              49 PALOMA AVE. STUDIO B                                                                                                                                         VENICE              CA      90291
6491356   SEYFARTH SHAW, LLP                                        3807 COLLECTIONS CENTER DR.                                                                                                                                     CHICAGO             IL      60693
6481689   SFC Fine Arts, Inc                                        50 Montrose Road                                                                                                                                                Yonkers             NY      10710
6483071   Shadany Arcos                                             424 N Normandie Ave.                                                                                                                                            Los Angeles         CA      90004
6485098   Shade VFX, LLC                                            2415 Michigan Ave. Building H, Suite D                                                                                                                          Santa Monica        CA      90404
6491300   SHADOW WEST, INC                                          1117 SERISSA COURT                                                                                                                                              ORLANDO             FL      32818




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                                                                                                                                  Master Mailing List
                                                                                                                                 Served First Class Mail

MMLID     NAME                                             ADDRESS                                                         ADDRESS 2                            ADDRESS 3                       ADDRESS 4        CITY              STATE   POSTAL CODE COUNTRY
6486126   Shadowfax Audio Systems                          841 Barton Ave.                                                                                                                                       Camarillo         CA      93010
6475703   SHADOWPLAY, INC                                  23975 PARK SORRENTO                                             STE 365                                                                               CALABASAS         CA      91302
6476524   SHADOWS AND LIGHT INC.                           131 POPLAR KNOLL DR.                                                                                                                                  HIGH POINT        NC      27262
6477782   SHAFFER JR\M.L.                                  706 HWY 311                                                                                                                                           SHRIEVER          LA      70395
6477783   SHAFFER\MARGARET MINOR                           2678 HIGHWAY 311                                                                                                                                      SCHRIEVER         LA      70395
6480612   Shafi, Tamoor                                    Address on File
6480663   Shahinian, John                                  Address on File
6485925   Shaken Not Stirred                               10862 Fruitland Dr.                                                                                                                                   Studio City       CA      91604
6482374   Shaker Square Cinemas, LLC                       6200 SOM Center Rd. C-20                                                                                                                              Solon             OH      44139
6477068   SHAKERHEAD, LLC                                  516 DOGWOOD ROAD                                                                                                                                      BOONE             NC      28607
6482057   ShakerHead, LLC fso Jason Bascom-Sean Hampton    516 Dogwood Rd.                                                                                                                                       Boone             NC      28607
6482241   Shalacy C. Griffin                               1101 Down Blvd. #F-106                                                                                                                                Franklin          TN      37064
6476944   SHALLOTTE ELECTRIC STORES                        P.O. BOX 2267                                                                                                                                         SHALLOTTE         NC      28459
6474576   SHAMO*GREGORY                                    Address on File
6480893   Shamo, Gregory M                                 Address on File
6479905   Shamrock Capital Advisors, LLC                   Address on File
6476614   SHAMROCK SHREDDING LLC                           PO BOX 39297                                                                                                                                          GREENSBORO        NC      27438
6468707   SHAN SERAFIN                                     C/O HERTZ LICHTENSTEIN & YOUNG, LLP                             ATTN: JAMES FINNEY, ATTORNEY         1800 CENTURY PARLK EAST         10TH FLOOR       LOS ANGELES       CA      90067
6485790   Shane Camp                                       c/o The Polygon Group, Inc. 4119 W. Burbank Blvd. Suite 33                                                                                            Burbank           CA      91505
6485850   Shane Dawson TV Inc.                             5235 Biloxi Avenue                                                                                                                                    North Hollywood   CA      91601
6484370   Shane Strategies LLC                             1232 N. Kings RoadApt. 205                                                                                                                            West Hollywood    CA      90069
6487933   SHANE* DAVID                                     C/O VENABLE LLP                                                 ATTN: JENNIFER L. NASSIRI, ESQ.      2049 CENTURY PARK EAST, SUITE                    LOS ANGELES       CA      90067
6480572   Shane, David                                     Address on File
6484812   Shannen Doherty                                  International Business Management9696 Culver Blvd., Suite 203                                                                                         Culver City       CA      90232
6484813   Shannon Gaulding                                 4418 Jasmine Ave                                                                                                                                      Culver City       CA      90232
6483151   Shannon Lee Brown                                5886 Bowcroft St. Unit #3                                                                                                                             Los Angeles       CA      90016
6485851   Shannon Murray                                   5143 Cartwright Avenue                                                                                                                                North Hollywood   CA      91601
6475905   SHANTIMARG PICTURES, INC.                        3138 S BARRINGTON AVE.                                          UNIT #G                                                                               LA                CA      90066
6476225   SHAPERA\FRANCINE                                 1213 KRIKPATRICK AVENUE                                                                                                                               NORTH BRADDOCK    PA      15104
6481547   Shapiro, Bernstein & Co., Inc.                   488 Madison Ave. 12th Floor                                                                                                                           New York          NY      10022
6475119   SHAPIRO, BERNSTEIN & CO., INC.                   488 MADISON AVENUE,                                             12TH FLOOR                                                                            NEW YORK CITY     NY      10022-5718
6490459   SHAPIRO, BERNSTEIN & CO., INC.                   OBO PAINTED DESERT MUSIC CORP                                   488 MADISON AVE. 12TH FLOOR                                                           NEW YORK          NY      10022
6477482   SHAPIRO\HOWARD                                   320 CUDDIHY DR                                                                                                                                        METAIRIE          LA      70005
6482024   Sharefile, LLC                                   120 S. West Street                                                                                                                                    Raleigh           NC      27603
6489477   SHAREHOLDER.COM                                  C/O WELLS FARGO BANK                                            LOCKBOX 30200                        P.O. BOX 8500                                    PHILADELPHIA      PA      19178
6482385   Sharepoint Innovations, LLC                      6000 Creek Rd.                                                                                                                                        Cincinnati        OH      45242
6473275   SHARI HARDISON                                   1059 N. WINDWILL LANE                                                                                                                                 OAK PARK          CA      91377
6486330   Sharon B. Lemanquais dba Florence Cinemas        255 W. Wyoming Ave.                                                                                                                                   Irrigon           OR      97844
6483346   Sharon Bianca Greene                             1885 Lemoyne St.                                                                                                                                      Los Angeles       CA      90026
6468745   SHARP END PRODUCTIONS INC. F/S/O MATTHEW SAND    C/O PARADIGM                                                    ATTN: ROBERT BOOKMAN                 360 NORTH CRESCENT DRIVE        NORTH BUILDING   BEVERLY HILLS     CA      90210
6484599   Sharp End Productions, Inc. fso Matthew Sand     c/o Paradigm360 N. Crescent Dr. North Building                                                                                                        Beverly Hills     CA      90210
6490497   SHARP END PRODUCTIONS, INC. FSO MATTHEW SAND     C/O SINGER BURKE ZIMMER & BUTLER                                6345 BALBOA BLVD., BLDG 4, STE 375                                                    ENCINO            CA      91316
6476193   SHARP5                                           4940 LIBRARY ROAD                                                                                                                                     BETHEL PARK       PA      15102
6484655   Sharpe Alliance, The                             8444 Wilshire Blvd., 6th floor                                                                                                                        Beverly Hills     CA      90211
6484297   Shauna Thomas                                    5920 Chula Vista Way                                                                                                                                  Los Angeles       CA      90068
6482620   Shawn Armstrong                                  c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                      Northbrook        IL      60062
6482774   Shawn Edwards                                    3030 Summit                                                                                                                                           Kansas City       MO      64108
6486310   Shawn Felipe dba Happy Elephant                  1255 Nuuanu Ave e2505                                                                                                                                 Honolulu          HI      96817
6482852   Shawn Marion                                     4512 Isabella Lane                                                                                                                                    Dallas            TX      75229
6485561   Shawn Panahandeh                                 13909 Sylvan Street                                                                                                                                   Van Nuys          CA      91401
6486302   Shayla Ader                                      86-218 Leipupu Pl.                                                                                                                                    Waianae           HI      96792
6484953   Shea Kammer                                      608 Santa Clara Ave. , APT 2                                                                                                                          Venice            CA      90291
6477723   SHEA\CONNIE                                      1010 THIRD ST #3                                                                                                                                      NEW ORLEANS       LA      70130
6477649   SHEA\JANET B                                     201 RIO VISTA AVE                                                                                                                                     JEFFERSON         LA      70121
6477405   SHEELEY\KATE                                     11730 88TH AVE NORTH                                                                                                                                  MAPLE GROVE       MN      55369
6475485   SHEETS\MARK R.                                   1518 LUISA STREET                                               APT. # 12                                                                             SANTA FE          NM      87505
6480562   Sheflin, Jonathan                                Address on File
6796002   SHELDON TURNER                                   C/O CREATIVE ARTISTS AGENCY                                     ATTN: DAVID FOX                      2000 AVENUE OF THE STARS                         LOS ANGELES       CA      90025
6480809   Sheldon, George William                          Address on File
6476059   SHELLEY BAY MUSIC LLC                            423 MOUNTAINVIEW ROAD                                                                                                                                 ENGLEWOOD         NJ      07631
6481179   Shelly Bay Music, LLC                            423 Mountainview Rd.                                                                                                                                  Englewood         NJ      07631
6482979   Shelly Burke                                     Epicure2006 Arbor Lane                                                                                                                                Salt Lake City    UT      84117
6486002   Shelly Kratzer                                   1002 E. Cottonwood Court                                                                                                                              Ontario           CA      91761
6476042   SHEMIN NURSERIES INC                             42 OLD RIDGEBURY ROAD                                                                                                                                 DANBURY           CT      06810
6478235   SHEPARD\SANDRA                                   812 RANCHITOS, NW                                                                                                                                     ALBUQUERQUE       NM      87114
6479279   SHEPHARD\GARY                                    23890 COPPERHILL DR #399                                                                                                                              VALENCIA          CA      91350
6477925   SHEPHARD\LARRY                                   2646 RIVER ROCK CIRCLE                                                                                                                                FAYETTEVILLE      AR      72703-9519
6482468   Shepherd GH2 Ltd                                 3600 South Lake Drive                                                                                                                                 Saint Francis     WI      53235
6484398   Sheppard Mullin Righter & Hampton, LLP           333 South Hope Street43rd Floor                                                                                                                       Los Angeles       CA      90071
6478898   SHEPPARD, MULLIN, RICHTER, & HAMPTON LLP         333 S. HOPE STREET, 43RD FLOOR                                                                                                                        LOS ANGELES       CA      90071-1448




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                                                                                                                                                Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                            ADDRESS 2                           ADDRESS 3                   ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6485600   Sher, Sherr, Gelb & Co.                                     15060 Ventura Blvd.,# 300                                                                                                                      Sherman Oaks       CA      91403
6476594   SHERATON GREENSBORO HOTEL                                   3121 HIGH POINT ROAD                                                                                                                           GREENSBORO         NC      27407
6476341   SHERATON STATION SQUARE HOTEL                               300 WEST STATION SQUARE DRIVE                                                                                                                  PITTSBURGH         PA      15219
6485998   Sheriff's Youth Foundation                                  4700 Ramona Blvd., 4th. Floor                                                                                                                  Monterey Park      CA      91754
6475804   SHERMAN KAPLAN                                              4299 MACARTHUR BLVD                                                SUITE 202                                                                   NEWPORT BEACH      CA      92660
6486088   Sherman Kaplan                                              Rose Carson Kaplan Choi& White4299 MacArthur Blvd Suite 202                                                                                    Newport Beach      CA      92660
6480201   SHERMAN OAKS CITY HALL                                      C/O SAN FERNANDO VALLEY CITY HALL                                  117 MACNEIL STREET                                                          SAN FERNANDO       CA      91340
6480172   SHERMAN OAKS CITY HALL                                      C/O SAN FERNANDO VALLEY CITY HALL                                  VAN NUYS CIVIC CENTER               14410 SYLVAN STREET                     VAN NUYS           CA      91401
6476747   SHERRILL\JOANNE                                             1640 COWPEN LANDING RD.                                                                                                                        WILMINGTON         NC      28401
6477577   SHERWIN WILLIAMS                                            4139 MAGAZINE ST                                                                                                                               NEW ORLEANS        LA      70115
6477380   SHERWIN WILLIAMS                                            P O BOX 6027                                                                                                                                   CLEVELAND          OH      44101
6476358   SHERWIN WILLIAMS CO\THE                                     2701 SMALLMAN STREET                                                                                                                           PITTSBURGH         PA      15222
6476595   SHERWIN-WILLIAMS CO/THE                                     4210 B HIGH POINT RD                                                                                                                           GREENSBORO         NC      27407
6484149   Sheryl Nields Photography Inc.                              3541 Rosewood Avenue                                                                                                                           Los Angeles        CA      90066
6480547   Shim, Hyun                                                  Address on File
6478682   SHIM, IRIS                                                  1060 S SHERBOURNE DR #308                                                                                                                      LOS ANGELES        CA      90035
6475194   SHIN\CHRISTOPHER HYUN-KYOON                                 DBA VOODOO LOUNGE TATTOO                                           20145 SERRANO ROAD                                                          APPLE VALLEY       CA      92307
6474849   SHINE*TIFFANY                                               Address on File
6475024   SHINE\JOHN                                                  2554 LINCOLN BLVD                                                  #117                                                                        VENICE             CA      90291
6477964   SHIREY\PHIL                                                 2900 STAGECOACH RANCH                                                                                                                          DRIPPING SPRINGS   TX      78620
6477048   SHIRKEY\ROBERT L.                                           130 CASWELL BEACH ROAD                                                                                                                         OAK ISLAND         NC      28465
6484768   Shlemmer Algaze Associates Interiors & Architecture, Inc.   6083 Bristol Parkway                                                                                                                           Culver City        CA      90230
6475336   SHMAY FILMS                                                 F/S/O DAVID ROSENBLOOM                                             513 NORTH ORANGE DRIVE                                                      LOS ANGELES        CA      90036
6477814   SHOEFFLE LLC                                                222 N COLUMBIA ST                                                                                                                              COVINGTON          LA      70433
6484600   Shona Films, Inc. fso Mark Tonderai                         c/o William Morris Endeavor9601 Wilshire Blvd. 3rd Floor                                                                                       Beverly Hills      CA      90210
6468766   SHONA FILMS, INC./MARK TONDERAI                             C/O GANG, TYRE, RAMER & BROWN                                      ATTN: BIANCA LEVIN & HAROLD BROWN   132 S. RODEO DRIVE                      BEVERLY HILLS      CA      90212
6468734   SHONA FILMS, INC./MARK TONDERAI                             C/O WIILIAM MORRIS ENDEAVOR ENTERTAINMENT                          ATTN: CHRIS DONNELY- AGENT          960 WILSHIRE BLVD           3RD FLOOR   BEVERLY HILLS      CA      90210
6481053   Shook Lin & Bok LLP                                         1 Robinson Rd, #1800 AIA Tower                                                                                                                 Singapore                  48542        Singapore
6476812   SHOP OF SEAGATE\THE                                         5809 OLEANDER DRIVE                                                                                                                            WILMINGTON         NC      28403
6476596   SHOPPES ON PATTERSON                                        2804 PATTERSON ST.                                                                                                                             GREENSBORO         NC      27407
6477724   SHOPS AT 2011\THE                                           2011 MAGAZINE ST                                                                                                                               NEW ORLEANS        LA      70130
6484954   Short Bus Productions fso David Parker                      2329 Frey Ave.                                                                                                                                 Venice             CA      90291
6483563   Shoshana Rubin                                              2810 CASTLE HEIGHTS AVE                                                                                                                        Los Angeles        CA      90034-1837
6491484   SHOT CALLER FILM, LLC                                       3700 EAGLE ROCK BLVD. SUITE 200                                                                                                                LOS ANGELES        CA      90065
6795996   SHOT CALLER FILM, LLC                                       BOLD FILMS                                                         6555 BARTON AVE                                                             LOS ANGELES        CA      90038-2589
6479609   SHOTMAKER                                                   10909 VAN OWEN STREET                                                                                                                          NORTH HOLLYWOOD    CA      91605
6487844   SHOUTZ INC.                                                 Address on File
6482788   Shoutz, Inc.                                                11181 Overbrook Road, Suite 200                                                                                                                Shawnee Mission    KS      66211
6492810   SHOUTZ, INC.                                                C/O STRASBURGER & PRICE, LLP                                       ATTN: STEPHEN A. ROBERTS            720 BRAZOS, SUITE 700                   AUSTIN             TX      78701
6482395   Show of Zeus, Inc.                                          12225 Kennedy St.                                                                                                                              Cedar Lake         IN      46303
6475504   SHOW RIG NEW ORLEANS INC                                    13800 OLD GENTILLY RD                                              BLDG #325                                                                   NEW ORLEANS        LA      70129
6482756   ShowEast                                                    PO Box 88945                                                                                                                                   Chicago            IL      60695
6482126   Showorks, Inc.                                              P.O. Box 942000                                                                                                                                Atlanta            GA      31141        HONG
6475136   SHOWREEL FILM FACILITIES                                    FLAT C,D,3/F                                                       15 YUK YAT ST.,TO KWA WAN,                                                  KOWLOON                                 KONG
6475057   SHOWS JR\CRAIG S                                            3560 OAK HARBOR BLVD                                               #634                                                                        SLIDELL            LA      70461
6476004   SHRED IT PUERTO RICO                                        PO BOX 361387                                                                                                                                  SAN JUAN           PR      00936
6476453   SHRED-IT                                                    P.O. BOX 3805                                                                                                                                  HAMPTON            VA      23663
6795987   SHRED-IT NORTH LOS ANGELES                                  18120 S CENTRAL AVE                                                                                                                            CARSON             CA      90746
6491595   SHRED-IT NORTH LOS ANGELES INC.                             P.O. BOX 101007                                                                                                                                PASADENA           CA      91189
6475770   SHRED-IT US JV LLC                                          11101 FRANKLIN AVENUE                                              SUITE 100                                                                   FRANKLIN PARK      IL      60131
6491620   SHRED-IT USA                                                8600 TAMARACK AVE                                                                                                                              SUN VALLEY         CA      91352
6476112   SHRED-IT USA-PITTSBURGH                                     PO BOX 29873                                                                                                                                   NEW YORK           NY      10087-9873
6477230   SHROYER\WHITNEY                                             85 OLNEY RD.                                                                                                                                   ASHEVILLE          NC      28806
6476625   SHULER, WATRICIA                                            625 WASHINGTON AVE. APT E                                                                                                                      RALEIGH            NC      27605
6485714   Shuman Productions Inc.                                     16456 Marbro Drive                                                                                                                             Encino             CA      91436
6479439   SHUMAN\IRA                                                  16456 MARBRO DRIVE                                                                                                                             ENCINO             CA      91436
6478951   SHUMAN\SAMANTHA                                             217A N. SWALL DRIVE                                                                                                                            BEVERLY HILLS      CA      90211
6487892   SHUMP SHUMP ENTERPRISES                                     C/O G. COLLINS & COMPANY, LLC                                      ATTN: NOAH SHEER                    1410 BROADWAY, SUITE 1905               NEW YORK           NY      10018
6481481   Shump Shump Enterprises                                     c/o G. Collins & Company, LLC1410 Broadway, Suite 1905Attn: Noah                                                                               New York           NY      10018
6475362   SHUTTER ANGLE FILMS                                         ATTN:MYRON PARRAN                                                  607 N BRONSON AVE                                                           LOS ANGELES        CA      90004
6490358   SHUTTERSTOCK, INC                                           350 FIFTH AVENUE                                                   21ST FLOOR                                                                  NEW YORK           NY      10118
6479790   SHUTTLE FREIGHT LOGISTICS INC                               5647 MCADAM RD                                                                                                                                 MISSISSAUGA        ON      L4Z 1N9      CANADA
6486047   Sibilance Sound                                             7619 Teebird Ln.                                                                                                                               San Diego          CA      92123
6475430   SIC LIGHTING INC                                            C/O OGULNICK LEVENTHAL & CAJKA                                     9301 WILSHIRE BLVD STE 507                                                  BEVERLY HILLS      CA      90210-6150
6485964   Side Action Sound, LLC                                      4804 Laurel Canyon Blvd. #1035                                                                                                                 Valley Village     CA      91607
6479205   SIDE SHOW #2                                                20747 LONDELIUS ST                                                                                                                             WINNETKA           CA      91306
6484086   SideChain EQ, Inc.                                          11845 W. Olympic Blvd. #1125W                                                                                                                  Los Angeles        CA      90064
6477451   SIDER\CHAD A                                                3236 METAIRIE RD                                                                                                                               METAIRIE           LA      70001
6482717   Sidley Austin LLP                                           PO Box 0642                                                                                                                                    Chicago            IL      60690
6474725   SIEBENEICHER*CHRISTINA                                      Address on File




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MMLID     NAME                                                  ADDRESS                                                      ADDRESS 2                            ADDRESS 3                 ADDRESS 4                   CITY               STATE   POSTAL CODE COUNTRY
6481003   Siebeneicher, Christina R                             Address on File
6486278   Sierra Cinemas Inc                                    840-C East Main Street                                                                                                                                  Grass Valley       CA      95945
6477400   SIEVE\KEVIN L                                         1380 NE 134TH AVE.                                                                                                                                      ALLEMAN            IA      50007
6486349   SIFF                                                  305 Harrion Street                                                                                                                                      Seattle            WA      98109
6484601   SIFI Company, The                                     c/o United Talent Agency9560 Wilshire Boulevard, 5th Floor                                                                                              Beverly Hills      CA      90210
6478153   SIGN DESIGN                                           204 GROVE N.E.E                                                                                                                                         ALBUQUERQUE        NM      87108
6478154   SIGN DESIGN                                           204 GROVE NE APT. B                                                                                                                                     ALBUQUERQUE        NM      87108
6479126   SIGN SET, INC.                                        2171 CRESCENT AVENUE                                                                                                                                    MONTROSE           CA      91020
6477203   SIGNARAMA OF ASHEVILLE                                1216 HENDERSONVILLE RD.                                                                                                                                 ASHEVILLE          NC      28803
6483889   Signature Creative, Inc.                              1519 N. Gardner St.                                                                                                                                     Los Angeles        CA      90046        UNITED
6795988   SIGNATURE ENTERTAINMENT                               CHARLOTTE STREET STUDIOS                                     76-78 CHARLOTTE STREET                                                                     LONDON                     W1T 4QS      KINGDOM
6475260   SIGNATURE MUSIC, LTD.                                 F/S/O TOM CARLSON                                            30765 PACIFIC COAST HWY # 333                                                              MALIBU             CA      90265
6477466   SIGNWORX, LLC                                         2512 HICKORY AVE                                                                                                                                        METAIRIE           LA      70003
6483976   Silas Print, Inc.                                     557 Norwich Dr.                                                                                                                                         Los Angeles        CA      90048
6475037   SILBERMANN\PETER                                      205 WEST END AVE                                             #27-L                                                                                      NEW YORK           NY      10023
6476106   SILBERMANN\PETER J                                    205 WEST END AVE.27-L                                                                                                                                   NEW YORK           NY      10023
6478952   SILENT BAY ENTERTAINMENT, INC                         203 S. DOHENY DRIVE                                                                                                                                     BEVERLY HILLS      CA      90211
6475199   SILENT BAY ENTERTAINMENT, INC.                        C/O GINA AMADOR                                              203 S.DOHENY DRIVE                                                                         BEVERLY HILLS      CA      90211
6484602   Silent Island Inc.                                    c/o WME Entertainment9601 Wilshire 3rd Floor                                                                                                            Beverly Hills      CA      90210
6476890   SILER\RUSSELL SCOTT                                   7201 OYSTER LANE                                                                                                                                        WILMINGTON         NC      28411
6484603   Silfonix Consulting                                   155 N. Crescent Dr. #409                                                                                                                                Beverly Hills      CA      90210
6486332   Silicon Mechanics, Inc.                               22029 23rd Dr SE                                                                                                                                        Bothell            WA      98021
6486684   Sill Cummis & Gross, P.C. Trust Acct                  101 Park Ave                                                 28th Fl                                                                                    New York           NY      10178
6483249   Sills & Gentille                                      10990 Wilshire Blvd.16th Floor                                                                                                                          Los Angeles        CA      90024
6485943   Silly Monkey, Inc.                                    12018 Tiara Street                                                                                                                                      North Hollywood    CA      91606
6483890   Silva Music Publishing, LLC dba Silva Tone Music      8225 Santa Monica Blvd.                                                                                                                                 Los Angeles        CA      90046        UNITED
6795990   SILVA SCREEN RECORDS                                  3 PROWSE PLACE                                                                                                                                          LONDON                     NW1 9PH      KINGDOM
                                                                                                                                                                                                                                                                UNITED
6795982   SILVA SCREEN RECORDS LTD.                             3 PROWSE PLACE                                                                                                                                          LONDON                     NW1 9PH      KINGDOM
6490531   SILVA TONE MUSIC                                      ATTN: VINCE SCHULTZ                                          8225 SANTA MONICA BLVD                                                                     WEST HOLLYWOOD     CA      90046
6477052   SILVER COAST WINE CO.                                 6680 BARBEQUE ROAD                                                                                                                                      OCEAN ISLE BEACH   NC      28469
6477053   SILVER COAST WINERY                                   6680 BARBEQUE ROAD                                                                                                                                      OCEAN ISLE         NC      28469
6468725   SILVER DREAM PRODUCTIONS, INC.                        C/O GREENBERG TRAURIG LLP                                    ATTN: MATHEW ROSENGART               1840 CENTURY PARK EAST    19TH FLOOR                  LOS ANGELES        CA      90067
6468773   SILVER DREAM PRODUCTIONS, INC.                        SURPIN & MAYERSOHN                                           ATTN: PAUL MAYERSOHN                 1880 CENTURY PARK WEST                                LOS ANGELES        CA      90067
6486916   SILVER REEL ENTERTAINMENT MEZZANINE FUND, LP          FOR ITSELF AND ON BEHALF OF SUPERSENSORY LLC                 C/O GREENBERG GLUSKER FIELDS ET AL   ATTN: BRIAN L. DAVIDOFF   1900 AVENUE OF THE STARS,   LOS ANGELES        CA      90067        UNITED
6486694   Silver Reel Partners, LLP                             9 Queensmill Road                                            Fulham                                                                                     London                     SW6 6JS      KINGDOM
6476538   SILVER SCREEN CATERING, LLC                           4655 GILES RD.                                                                                                                                          LEXINGTON          NC      27295
6475883   SILVER SCREEN SUPPLY LLC                              819 CENTRAL AVE                                              SUITE E                                                                                    JEFFERSON          LA      70121
6475728   SILVER STAR STUDIO RENTALS                            827 HOLLYWOOD WAY,                                           SUITE # 171                                                                                BURBANK            CA      91505
6477204   SILVER\CLAUDETTE M                                    426 APPELDOORN CIR                                                                                                                                      ASHEVILLE          NC      28803
6484604   Silverback Pictures Inc.                              c/o Lucy Stille360 North Crescent Drive                                                                                                                 Beverly Hills      CA      90210
6491448   SILVERCO ENTERPRISES, INC.                            7080 SANTA MONICA BLVD.                                                                                                                                 LOS ANGELES        CA      90038
6474089   SILVERMAN*PHILIPPA                                    Address on File
6483715   Sim Video Los Angeles, Inc.                           738 N. Cahuenga Blvd.                                                                                                                                   Los Angeles        CA      90038
6480299   SIMI VALLEY CITY HALL                                 2929 TAPO CANYON ROAD                                                                                                                                   SIMI VALLEY        CA      93063
6476905   SIMMONS\TYCINDA MARIE                                 103 BRANTHAM RD                                                                                                                                         BURGAW             NC      28425-2917
6483564   Simon Wiesenthal Center                               1399 South Roxbury Drive                                                                                                                                Los Angeles        CA      90035
6474087   SIMON*KENDAL                                          Address on File
6475496   SIMONDS\ROBERT                                        10202 W. WASHINGTON BLVD.                                    ASTAIRE BLDG., SUITE 2110                                                                  CULVER CITY        CA      90232
6475375   SIMONE/THE ESTATE OF NINA                             SAN PASQUAL FIDUCIARY TRUST CO                               69 GRAND VIEW AVENUE                                                                       SAN FRANCISCO      CA      94114-2741
6483778   Simply Flowers                                        4601 S. Crenshaw Blvd                                                                                                                                   Los Angeles        CA      90043
6476574   SIMPSON, JAMES A.                                     112 W. LEWIS ST                                                                                                                                         GREENSBORO         NC      27406
6477579   SIMPSON\LOIS A                                        3523 CONSTANCE ST                                                                                                                                       NEW ORLEANS        LA      70115-2513
6478492   SIMPSON\ROSS                                          235 FRONTAGE RD                                                                                                                                         ROWE               NM      87562
6476517   SIMS POTTERY INC                                      563 WEST MOORE STREET                                                                                                                                   GRAHAM             NC      27253
6478646   SIMS, GARY                                            1848 IVAR AVENUE                                                                                                                                        HOLLYWOOD          CA      90028
6477385   SIMS, GARY                                            4123 MARBURG AVE.                                                                                                                                       CINCINNATI         OH      45209
6480916   Sinayi, John                                          Address on File
6489680   SINCLAIR BROADCAST GROUP                              ATTN: BRANDY THOMAS, SR. CORPORATE MANAGER                   10706 BEAVER DAM RD.                                                                       COCKEYSVILLE       MD      21030
6485535   Singer Lewak LLP                                      21550 Oxnard Street #1000                                                                                                                               Woodland Hills     CA      91367
6476138   SINGER\ASHLEY E                                       136 COFFEY STREET                                                                                                                                       BROOKLYN           NY      11231
6476813   SINGLETARY\ELIZABETH V.                               2921 PARK AVENUE                                                                                                                                        WILMINGTON         NC      28403
6477147   SINGLETON'S TIRE & SERVICE                            706 HAZELWOOD AVE.                                                                                                                                      WAYNESVILLE        NC      28786
6485467   Singularity Pictures, Inc                             4029 Ellenita Ave                                                                                                                                       Tarzana            CA      91356
6478731   SIREN STUDIOS LLC                                     6063 W SUNSET BLVD                                                                                                                                      LOS ANGELES        CA      90038
6492323   SIRIUS XM RADIO INC.                                  ATTN: DENISE FLEMM, DIRECTOR/LEGAL AFFAIRS                   1221 AVENUE OF THE AMERICAS                                                                NEW YORK           NY      10020
6474761   SIRNER*ARI J                                          Address on File
6483250   Sisyphus Touring, Inc.                                10990 Wilshire Blvd. 8th Floor                                                                                                                          Los Angeles        CA      90024
6492729   SIWICKI* EDWARD                                       Address on File
6482903   Six Foot LLC                                          2415 W Alabama                                                                                                                                          Houston            TX      77098
6476048   SIX WIVES, LLC                                        76 PROGRESS DRIVE                                                                                                                                       STAMFORD           CT      06902




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                                                                                                                                    Master Mailing List
                                                                                                                                   Served First Class Mail

MMLID     NAME                                               ADDRESS                                                          ADDRESS 2                           ADDRESS 3                        ADDRESS 4                   CITY                STATE   POSTAL CODE COUNTRY
6490457   SIX8 FSO PIERCE AUSTIN                             C/O CRITERION                                                    4842 SYLMAN AVE.                                                                                 SHERMAN OAKS        CA      91423
6476102   SIXTEEN 19                                         1619 BROADWAY, 7TH FLOOR                                                                                                                                          NEW YORK CITY       NY      10019
6476101   SIXTEEN 19                                         1619 BROADWAY, 7TH FLOOR                                                                                                                                          NEW YORK            NY      10019
6475084   SIXTH PLANET INC                                   DBA SATURN SOUND                                                 10960 WILSHIRE BLVD 5TH FLOOR                                                                    LOS ANGELES         CA      90024
6475545   SJ ACTORS STUDIO &                                 WORKSHOP, INC.                                                   CALLE RIERA 518, PH-6                                                                            SAN JUAN            PR      00909
6476412   SKALKA\GERALD                                      11440 JOSEPH STREET                                                                                                                                               NORTH HUNTINGTON    PA      15642
6484371   Skam Artist Inc                                    851 N San Vicente                                                                                                                                                 West Hollywood      CA      90069
6479660   SKARULIS\SUZANNE                                   436 BONAIR ST.                                                                                                                                                    LA JOLLA            CA      92037
6477852   SKF PROPERTIES, LLC                                61461 HWY 1090                                                                                                                                                    PEARL RIVER         LA      70452
6482662   Ski Scape, LLC                                     Final Finish Properties, Inc.830 N. Blvd Suite 2                                                                                                                  Oak Park            IL      60301
6476262   SKIFF/JAMES E                                      750 CURRY HOLLOW ROAD                                                                                                                                             WEST MIFFLIN        PA      15122
6476188   SKILES\ALBERT                                      51 MANSELLS TRAILER COURT                                                                                                                                         NEW BRIGHTON        PA      15066
6490314   SKINNERS HILL MUSIC                                C/O LOUIS THOMAS, SONIC                                          1674 HOLLIS ST.                                                                                  HALIFAX             NS      B3J 1V7     CANADA
6795968   SKINNER'S HILL MUSIC                               15 INTERNATIONAL PLACE                                           SUITE 300                                                                                        ST JOHN'S           NL      A1A 0L4     CANADA
6482071   Skip Brand Video, Inc.                             730 Copper Creek Circle                                                                                                                                           Alpharetta          GA      30004
6480958   Skjelset, Carter                                   Address on File
6481791   SKO Brenner                                        PO Box 9320                                                                                                                                                       Baldwin             NY      11510      BRITISH
                                                                                                                                                                                                                                                                      VIRGIN
6795956   SKY LAND                                           OFFSHORE INCORPORATIONS CENTRE                                   ROAD TOWN, TORTOLA                                                                                                                      ISLANDS
                                                                                                                                                                                                                                                                      BRITISH
                                                                                                                                                                                                                                                                      VIRGIN
6795970   SKY LAND ENTERTAINMENT CO., LTD.                   P.O. BOX 957                                                     OFFSHORE INCORPORATIONS CENTRE                                                                   ROAD TOWN TORTOLA                      ISLANDS
                                                                                                                                                                                                                                                                      BRITISH
                                                                                                                                                                  OFFSHORE INCORPORATIONS                                                                             VIRGIN
6795971   SKY LAND ENTERTAINMENT LIMITED                     ATTN: HUGO SHONG, DIRECTOR                                       P.O. BOX 957                        CENTRE                                                       ROAD TOWN TORTOLA                      ISLANDS
                                                                                                                                                                                                                                                                      BRITISH
                                                                                                                                                                                                                                                                      VIRGIN
6795962   SKY LAND ENTERTAINMENT LIMITED                     P.O. BOX 957                                                     OFFSHORE INCORPORATIONS CENTRE                                                                   ROAD TOWN TORTOLA                      ISLANDS
                                                                                                                                                                                                                                                                      BRITISH
                                                                                                                                                                                                                                                                      VIRGIN
6795964   SKY LAND ENTERTAINMENT LTD                         P.O. BOX 957                                                     OFFSHORE INCORPORATIONS CENTRE                                                                   ROAD TOWN TORTOLA                      ISLANDS
                                                                                                                                                                                                                                                                      BRITISH
                                                                                                                                                                                                                                                                      VIRGIN
6795967   SKY LAND FILM-TELEVISION CULTURE DEVELOPMENT LTD   P.O. BOX 957                                                     OFFSHORE INCORPORATIONS CENTRE                                                                ROAD TOWN TORTOLA                         ISLANDS
                                                                                                                                                                                                   SHANGHAI HONG QIAO STATE
6480109   SKY MAP INC.                                       C/O SAIF PARTNERS IV L.P.                                        ATTN: ANDY YAN                      1591 HONG QIAO ROAD, VILLA -16   GUEST HOTEL              SHANGHAI                       20036      CHINA
                                                                                                                                                                                                                                                                      UNITED
6475642   SKY MEDIA TRAVEL                                   PINEWOOD STUDIOS                                                 PINEWOOD RD                                                                                   IVER                           SL0 0NH    KINGDOM
6479939   Sky UK Limited                                     Address on File
6485748   Skye Island Entertainment, LLC                     928 N. San Fernando Blvd. #J629                                                                                                                                   Burbank             CA      91504
6479456   SKYE RENTALS INC                                   164 W PROVIDENCIA AVE                                                                                                                                             BURBANK             CA      91502      BRITISH
                                                                                                                                                                  OFFSHORE INCORPORATIONS                                                                             VIRGIN
6795969   SKYLAND (BEIJING) FILM-TELEVISION                  CULTURE DEVELOPMENT LTD                                          P.O. BOX 957                        CENTRE                                                       ROAD TOWN TORTOLA                      ISLANDS
                                                                                                                                                                                                                                                                      BRITISH
                                                                                                                                                                                                                                                                      VIRGIN
6795966   SKYLAND ENTERTAINMENT                              P.O. BOX 957                                                     OFFSHORE INCORPORATIONS CENTRE                                                                   ROAD TOWN TORTOLA                      ISLANDS
6491279   SKYNOTE LLC                                        P.O. BOX 460                                                                                                                                                      KESWICK             VA      22947
6484605   SkyTag Inc.                                        1300 Summit Dr.                                                                                                                                                   Beverly Hills       CA      90210
6486421   Skyway International Freight Forwarders            9230 Cote-De-Liesse Rd.                                                                                                                                           Lachine             QC      H8T 1A1    CANADA
6468726   SLACK JAW INC.                                     C/O MORRIS YORN BARNES LEVINE                                    KRINTZMAN RUBENSTEIN & KOHNER       ATTN: CORRINE FARLEY, ESQ.       2000 AVENUE OF THE STARS,   LOS ANGELES         CA      90067
6468802   SLACK JAW INC.                                     C/O WILLIAM MORRIS ENDEAVOR ENTERTAINMENT                        ATTN: KIMBERLY BIALEK               9601 WILSHIRE BLVD.,                                         BEVERLY HILLS       CA      90210
6468934   SLACK JAW, INC.                                    C/O WILLIAM MORRIS ENDEAVOR                                      ATTN: KIMBERELY BIALEK              9601 WILSHIRE BLVD.                                          BEVERLY HILLS       CA      90210
6484606   Slack Jaw, Inc.                                    c/o William Morris Endeavor9601 Wilshire Blvd. Attn: Kimberely                                                                                                    Beverly Hills       CA      90210
6477815   SLADE\JIMMIE                                       200 E KIRKLAND ST                                                                                                                                                 COVINGTON           LA      70433
6492343   SLATE GROUP, LLC* THE                              ATTN: FINANCE                                                    1350 CONNECTICUT AVE., N.W.         SUITE 401                                                    WASHINGTON          DC      20036
6484462   Slate Media Group                                  PO Box 844355                                                                                                                                                     Los Angeles         CA      90084
6481397   Slate PR, LLC                                      170 Varick St., 2nd Floor                                                                                                                                         New York            NY      10013
6475063   SLATES, NOLA                                       1836 BARONNE ST                                                  #A                                                                                               NEW ORLEANS         LA      70113
6477307   SLATTERY/DIANE                                     412 SHOREWOOD LANE                                                                                                                                                NEW SMYRNA BEACH    FL      32168
6478451   SLAUGHTER\RICHARD                                  3570 STATE ROAD 14                                                                                                                                                SANTA FE            NM      87508
6485443   Sloan Bella                                        10831 Roycroft St. #37                                                                                                                                            Sun Valley          CA      91352
6479580   SLOAN, MICHAEL R.                                  12400 VENTURA BLVD.                                                                                                                                               STUDIO CITY         CA      91604
6492344   SLS MUSIC, LLC                                     ATTN: MR. JASON ALTSHULER                                        2901 WEST ALAMEDA AVENUE            SUITE 500                                                    BURBANK             CA      91505
6485791   SLS Music, LLC dba Zoomania Music                  2901 West Alameda Ave. Suite 500                                                                                                                                  Burbank             CA      91505
6492427   SLS MUSIC, LLC DBA ZOOMANIA MUSIC                  ATTN: JASON ALTSHULER                                            2901 WEST ALAMEDA AVE., SUITE 500                                                                BURBANK             CA      91505
6487874   SMA MEDIA CONSULTING INC                           OF THE PARENT CO AVS CONSULTING, DBA STONE,                      MCELROY & ASSOCIATES, (AVS)         1040 N LAS PALMAS AVE                                        LOS ANGELES         CA      90038
6486158   Small Pond Productions                             4 Pinehurst Lane                                                                                                                                                  Half Moon Bay       CA      94019
6478208   SMART\JESSI                                        3904 PARSIFAL ST NE                                                                                                                                               ALBUQUERQUE         NM      87111
6479020   SMATHERS/ROBERT                                    22810 PORTAGE CIRLCE DR                                                                                                                                           TOPANGA             CA      90290
6476376   SMERECKY\JAMES                                     3700 GRANT STREET                                                                                                                                                 PITTSBURGH          PA      15234
6478332   SMILEY/LUELLEN                                     343 E. PALACE AVE                                                                                                                                                 SANTA FE            NM      87501
6479074   SMIRKE\JULIAN                                      1228 EUCLID STREET #9                                                                                                                                             SANTA MONICA        CA      90404
6474864   SMITH BECKER*ASHLEY                                Address on File
6476512   SMITH GLASS, LLC                                   721 N. FAYETTEVILLE ST.                                                                                                                                           ASHEBORO            NC      27203
6479636   SMITH SEATING CO INC                               772 N LOREN AVE                                                                                                                                                   AZUSA               CA      91702
6474385   SMITH*LAUREN                                       Address on File
6474820   SMITH*PETER F                                      Address on File




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                                                                                                                                 Served First Class Mail

MMLID     NAME                                                      ADDRESS                                                ADDRESS 2                       ADDRESS 3               ADDRESS 4      CITY              STATE    POSTAL CODE COUNTRY
6478881   SMITH, BRIAN M.                                           3654 BARLA BLVD                                                                                                               LOS ANGELES       CA       90068
6480595   Smith, Corece                                             Address on File
6475012   SMITH, DAVID G.                                           1670 WOODS RD                                          #Q                                                                     WINSTON-SALEM     NC       27106
6480755   Smith, Madelyn                                            Address on File
6480508   Smith, Marissa                                            Address on File
6480550   Smith, Ryan                                               Address on File
6479319   SMITH/CHRISTINA                                           2824 BAYHAM CIRCLE                                                                                                            THOUSAND OAKS     CA       91362
6478625   SMITH\BRETT P.                                            5419 HOLLYWOOD BLVD. STE C398                                                                                                 HOLLYWOOD         CA       90027
6475008   SMITH\BRIAN                                               1051 NORTH SIERRA BONITA                               #4                                                                     LOS ANGELES       CA       90046
6475014   SMITH\DAVID                                               839 LARRABELE ST                                       #10                                                                    WEST HOLLYWOOD    CA       90069
6476352   SMITH\JESSE A                                             405 S TRENTON #1                                                                                                              PITTSBURGH        PA       15221
6477051   SMITH\MARY S.                                             518 WAMPEE ST. N.W.                                                                                                           CALABASH          NC       28467
6477019   SMITH\ROBERT EDWARD                                       322 W. BRUNSWICK ST.                                                                                                          SOUTHPORT         NC       28461
6476913   SMITH\SAMANTHA                                            136 WHITMAN AVE.                                                                                                              CASTLE HAYNE      NC       28429
6476162   SMITHCO\THOMAS P.                                         755 SPANG ROAD                                                                                                                BADEN             PA       15005
6480769   Smithey, Joseph                                           Address on File
6475797   SMITHFIELD MEDICAL PC                                     309 SMITHFIELD STREET                                  SUITE 200                                                              PITTSBURGH        PA       15222
6476513   SMOOT JR., ALVAS PHILLIP                                  1811 PORTAGE PARKWAY                                                                                                          ASHEBORO          NC       27203
6476891   SMOOTH'S TRAFFIC CONTROL, LLC.                            6010 NORTHSHORE DRIVE                                                                                                         WILMINGTON        NC       28411
6491657   SMV BURBANK, LLC                                          4000 W. ALAMEDA AVE                                                                                                           BURBANK           CA       91505
6485013   SMV Complete Media                                        1505 11th St.                                                                                                                 Santa Monica      CA       90401
6481440   Sneak Attack Media, Inc.                                  118 E. 28th Street, Suite 301                                                                                                 New York          NY       10016
6477055   SNEDDON\SUE ANN                                           3845 BILL HOLDEN RD.                                                                                                          SHALLOTTE         NC       28470
6478215   SNEESBY\JOHN                                              1753 BLUME N.E.                                                                                                               ALBUQUERQUE       NM       87112
6479202   SNOW BUSINESS HOLLYWOOD                                   21318 HART ST                                                                                                                 CANOGA PARK       CA       91303
6480956   Snowden, Edina                                            Address on File
6476693   SNYDER\DARNELL                                            4412 TRILLIUM FIELDS DR                                                                                                       CHARLOTTE         NC       28269
6485160   So Cal Production Source                                  2808 Oregon Court, Suite L-9                                                                                                  Torrance          CA       90503
6484607   So It Goes Productions                                    c/o Paradigm360 N. Crescent Drive, North Building                                                                             Beverly Hills     CA       90210
6474985   SO IT GOES PRODUCTIONS, INC.                              F/S/O JAMIE LINDEN                                     C/O 360 N. CRESCENT DR-NORTH                                           BEVERLY HILLS     CA       90210
6485852   SO White Carpet Cleaning, LLC                             4821 Lankershim Blvd. #F253                                                                                                   North Hollywood   CA       91601
6475906   SOBCHACK\NICOLE M.                                        11946 AVON WAY                                         UNIT 1                                                                 LOS ANGELES       CA       90066
6480605   Sobel, Jeffrey                                            Address on File
6795933   SOCAL OFFICE TECHNOLOGIES                                 5700 WARLAND DRIVE                                                                                                            CYPRESS           CA       90630
6484437   SoCal Office Technologies Inc.                            File 50897                                                                                                                    Los Angeles       CA       90074
6491581   SOCAL OFFICE TECHNOLOGIES, INC                            5700 WARLAND DRIVE                                                                                                            CYPRESS           CA       90630
6472458   SOCAL OFFICE TECHNOLOGIES, INC.                           FILE 50897                                                                                                                    LOS ANGELES       CA       90074-0897
6473465   SOCAL PRODUCTION SERVICE, LLC                             1855 N. VICTORY PL.                                                                                                           BURBANK           CA       91504
6485749   SoCal Production Services                                 1855 N Victory Pl                                                                                                             Burbank           CA       91504
6486538   Social Homie                                              49 Hamptonbrook Drv                                                                                                           Toronto           ON       M9P 1A2      CANADA
6481987   SocialToaster, Inc.                                       2031 Clipper Park Dr. #105                                                                                                    Baltimore         MD       21211
6795926   SOCIETE GENERAL, NEW YORK BRANCH                          245 Park Avenue                                                                                                               NEW YORK          NY       10167
6482621   Socrates Brito                                            400 Skokie Blvd. Suite 280                                                                                                    Northbrook        IL       60062
6491418   SODA ENTERTAINMENT, INC. DBA SODA CREATIVE                1517 ELEVADO ST.                                                                                                              LOS ANGELES       CA       90026
6479561   SOERGEL\TIMOTHY                                           10406 CAMARILLO ST                                                                                                            TOLUCA LAKE       CA       91602
6478815   SOFITEL LA                                                8555 BEVERLY BLVD                                                                                                             LOS ANGELES       CA       90048
6483470   SoFlo Media, Inc.                                         1600 Vine St. Apt 634                                                                                                         Los Angeles       CA       90028
6492361   SOFTCHOICE                                                ATTN: CHRISTINE FISHER, CREDIT MANAGER                 173 DUFFERIN STREET                                                    TORONTO           ON       M6K 3H7      CANADA
6491342   SOFTCHOICE CORPORATION                                    314 W. SUPERIOR ST. SUITE 402                                                                                                 CHICAGO           IL       60610
6484372   Soho House West Hollywood                                 9200 Sunset Blvd. Suite 817                                                                                                   West Hollywood    CA       90069
6475732   SOHO HOUSE WEST HOLLYWOOD                                 9200 WEST SUNSET BOULEVARD,                            SUITE # 202                                                            WEST HOLLYWOOD    CA       90069-3502
6486450   Soho Metropolitan Hotel                                   318 Wellington St. West                                                                                                       Toronto           ON       M5V 3T4      CANADA
6478038   SOILUTIONS, INC.                                          P.O. BOX 1479                                                                                                                 TIJERAS           NM       87059
6480647   Sok, Laura                                                Address on File                                                                                                                                                       CAYMAN
6795922   SOLACE ACQUISITION, LTD.                                  ATTN: FLORIAN DARGEL                                   C/O SILVER REEL                 PO BOX 309              UGLAND HOUSE   GRAND CAYMAN      KY1-1104              ISLANDS
6795930   Solace Acquisition, Ltd.                                  c/o Greenberg Glusker Fields Claman & Machtinger LLP   Attn: Brian L. Davidoff         1900 Ave of the Stars   21st Floor     Los Angeles       CA       90067        UNITED
6795920   SOLACE ACQUISITION, LTD. C/O SILVER REEL                  ATTN: GENERAL COUNSEL                                  4TH FLOOR                       18 BROADWICK STREET                    LONDON                     W1F 8HS      KINGDOM
6795931   Solace Acquisition, Ltd. c/o Silver Reel                  c/o Greenberg Glusker Fields Claman & Machtinger LLP   Attn: Brian L. Davidoff         1900 Ave of the Stars   21st Floor     Los Angeles       CA       90067
6475975   SOLESMES CO, INC.                                         PO BOX 13052                                                                                                                  SAN JUAN          PR       00908
6472953   SOLMAZ SARHADDI                                           2002 4TH ST. APT 201                                                                                                          SANTA MONICA      CA       90405
6484885   Solmaz Sarhaddi                                           881 8th St.                                                                                                                   Manhattan Beach   CA       90266
6483535   Solo Artists                                              2251 Guthrie Cir                                                                                                              Los Angeles       CA       90034
6474114   SOLOMON*JESSICA                                           Address on File
6490374   SOMA EEL SONGS, LLC                                       C/O RZO, LLC                                           250 WEST 57TH ST. SUITE 1101                                           NEW YORK          NY       10107
6475232   SOMA EEL SONGS, LLC.                                      C/O RZO, LLC.                                          250 W. 57TH ST. SUITE # 1101                                           NEW YORK CITY     NY       10107
6478167   SOMBRA COSMETICS INC                                      5951 OFFICE BLVD NE                                                                                                           ALBUQUERQUE       NM       87109
6483644   Something Kreative                                        5225 Wilshire Blvd, Suite 718-B                                                                                               Los Angeles       CA       90036
6492759   SOMETHING, LLC                                            3030 OLD RANCH PARKWAY, SUITE 110                                                                                             SEAL BEACH        CA       90740
6481482   Somethingdigital.com, LLC dba Something Digital           58 West 40th St. 7th Floor                                                                                                    New York          NY       10018
6475888   SOMNYO FILMS, LLC                                         121 W. LEXINGTON DR.                                   SUITE L103F                                                            GLENDALE          CA       91203




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MMLID     NAME                                                      ADDRESS                                            ADDRESS 2                         ADDRESS 3                        ADDRESS 4    CITY              STATE   POSTAL CODE COUNTRY
6491822   SONGS MUSIC PUBLISHING LLC                                307 7TH AVE, RM 2104                                                                                                               NEW YORK          NY      10001
6481246   Songs Music Publishing LLC                                307 7th St. Suite 2104                                                                                                             New York          NY      10001
6492430   SONGS MUSIC PUBLISHING, LLC                               ATTN: FRANK HANDY, SR. LICENSING/COPYRIGHT         307 7TH AVENUE, SUITE 2104                                                      NEW YORK          NY      10001
6482743   Songs of Universal, Inc.                                  99440 Collections Center Dr.                                                                                                       Chicago           IL      60693
6491624   SONGS TO YOUR EYES LTD.                                   22817 VENTURA BLVD. #839                                                                                                           WOODLAND HILLS    CA      91364
6482679   Sonia M. Patino dba Nina Chantele                         1211 S. Prairie Ave. #3305                                                                                                         Chicago           IL      60605
6486007   Sonic Librarian, Inc.                                     1263 Kendra Lane                                                                                                                   Upland            CA      91784
6484814   Sonic Magic Studios                                       8522 National Blvd                                                                                                                 Culver City       CA      90232
6795919   SONIC SOLUTIONS LLC                                       C/O ROVI CORPORATION                               ATTN: GENERAL COUNSEL             2160 GOLD STREET                              SAN JOSE          CA      95002
6484733   Sonic Symphony Productions                                324 S. Beverly Dr. Suite 703                                                                                                       Beverly Hills     CA      90212
6491881   SONIC SYMPHONY PRODUCTIONS                                6767 SUNSET BLVD. SUITE 8480                                                                                                       LOS ANGELES       CA      90028
6492345   SONIC SYMPHONY PRODUCTIONS                                ATTN: MANU KHOSIA, CO-OWNER                        324 S. BEVERLY DRIVE              SUITE 703                                     BEVERLY HILLS     CA      90212
6486258   Sonoma Coast Cinemas                                      917 College Ave.                                                                                                                   Santa Rosa        CA      95404
6795913   SONORA ENTERTAINMENT GRP                                  777 Peoria Street                                                                                                                  Aurora            CO      80011
6491723   SONY ATV\MUSIC PUBLISHING LLC                             PO BOX 415000                                                                                                                      NASHVILLE         TN      37241-0768
6485280   Sony Cinema Products Corporation                          PO Box 100172                                                                                                                      Pasadena          CA      91189
6492760   SONY ELECTRONICS INC                                      PO BOX 100172                                                                                                                      PASADENA          CA      91189
6485099   SONY MUSIC                                                2100 Colorado Blvd                                                                                                                 Santa Monica      CA      90404
6795905   SONY MUSIC ENTERTAIMENT                                   500 MADISON AVENUE                                 Room 2316                                                                       NEW YORK          NY      10022
6795867   SONY MUSIC ENTERTAINMENT                                  550 MADISON                                        Room 2316                                                                       NEW YORK          NY      10022-3211
6476104   SONY MUSIC ENTERTAINMENT                                  550 MADISON AVENUE                                                                                                                 NEW YORK CITY     NY      10022
6795907   SONY MUSIC ENTERTAINMENT                                  550 Madison Avenue Room 2316                                                                                                       NEW YORK          NY      10022-3211
6481549   Sony Music Entertainment                                  550 Madison AvenueATTN: Music Licensing                                                                                            New York          NY      10022
6490469   SONY MUSIC ENTERTAINMENT                                  ATTN: MUSIC LICENSING                              550 MADISON AVENUE                                                              NEW YORK          NY      10022
6795861   SONY MUSIC ENTERTAINMENT                                  ATTN: GENERAL COUNSEL                              550 MADISON AVENUE                                                              NEW YORK          NY      10022-3211
6795864   Sony Music Entertainment                                  Attn: General Counsel                              9830 Wilshire Boulevard                                                         Beverly Hills     CA      90212
6492694   SONY MUSIC ENTERTAINMENT                                  ATTN: JANET CHOWSANGRAT                            9830 WILSHIRE BLVD.                                                             BEVERLY HILLS     CA      90212
6487890   SONY MUSIC ENTERTAINMENT                                  DBA SONY MUSIC NASHVILLE                           ATTN: LEGAL & BUSINESS AFFAIRS    1400 18TH AVENUE SOUTH                        NASHVILLE         TN      37212
6482305   Sony Music Entertainment dba Sony Music Nashville         1400 18th Ave. SAttn: Legal & Business Affairs                                                                                     Nashville         TN      37212
6475344   SONY MUSIC HOLDINGS INC.                                  SONY MUSIC ENTERTAINMENT                           550 MADISON AVE                                                                 NEW YORK          NY      10022
6478904   SONY PICTURES ENTERTAINMENT                               FILE#54715                                                                                                                         LOS ANGELES       CA      90074-4715
6484815   Sony Pictures Entertainment Inc                           10202 West Washington Blvd.                                                                                                        Culver City       CA      90232
6484816   Sony Pictures Home Entertainment Inc.                     10202 West Washington Blvd                                                                                                         Culver City       CA      90232
6475569   SONY PICTURES STUDIO GROUP                                SONY PICTURES ENTERTAINMENT CO                     FILE # 54715                                                                    LOS ANGELES       CA      90074-4715
6475578   SONY PICTURES STUDIOS                                     10202 W. WASHINGTON BLVD.,                         KEATON # 217                                                                    CULVER CITY       CA      90232
6478978   SONY PICTURES STUDIOS INC                                 10202 W. WASHINGTON BLVD                                                                                                           CULVER CITY       CA      90232
6484439   Sony Pictures Studios Inc                                 File 54715                                                                                                                         Los Angeles       CA      90074
6492353   SONY PICTURES TELEVISION AD SALES                         ATTN: KATHLEEN HALLINAN, ESQ.                      10202 WEST WASHINGTON BOULEVARD                                                 CULVER CITY       CA      90232
6480395   SONY PICTURES WORLDWIDE ACQUISITIONS INC.                 10202 WEST WASHINGTON BOULEVARD                                                                                                    CULVER CITY       CA      90232
6468825   SONY PICTURES WORLDWIDE ACQUISITIONS INC.                 ATTN: JOHN FUKUNAGA, ASSISTANT SECRETARY           10202 WEST WASHINGTON BOULEVARD                                                 CULVER CITY       CA      90232
6795856   Sony Pictures Worldwide Acquisitions Inc.                 c/o Buchalter Nemer                                Attn: Pamela Webster, Esq.        1000 Wilshire Blvd.              Suite 1500   Los Angeles       CA      90017-1730
6487832   SONY PICTURES WORLDWIDE ACQUISITIONS INC.                 C/O BUCHALTER NEMER, A PROFESSIONAL CORP.          ATTN: PAMELA K. WEBSTER           1000 WILSHIRE BLVD               SUITE 1500   LOS ANGELES       CA      90017
6477362   SONY/ ATV MUSIC PUBLISHING LLC.                           MSC 410768, P.O. BOX 415000                                                                                                        NASHVILLE         TN      37241-0768
6482227   Sony/ATV Music dba Extreme Group Holding                  Dept #1520                                                                                                                         Birmingham        AL      35246
6492259   SONY/ATV MUSIC PUBLISHING LLC                             C/O SONY CORPORATION OF AMERICA                    ATTN: DAVID J. PRZYGODA, ESQ.     550 MADISON AVENUE, 27TH FLOOR                NEW YORK          NY      10022-3211
6482327   Sony/ATV Music Publishing LLC                             MSC 410768P.O. Box 415000                                                                                                          Nashville         TN      37241
6482279   Sony/ATV Songs LLC                                        8 Music Square W                                                                                                                   Nashville         TN      37203
6482328   SonyATV pka EMI Music Publishing Ltd                      MSC 410814P.O. Box 415000                                                                                                          Nashville         TN      37241
6476937   SOPONIS\JUSTIN                                            9566 BLAKE CIRCLE                                                                                                                  LELAND            NC      28451
6476226   SORBEK SR\ROBERT C                                        1228 KIRKPATRICK AVENUE                                                                                                            NORTH BRADDOCK    PA      15104
6472154   SOROTA, NOAH                                              Address on File
6490340   SOS SECURITY LLC                                          ATTN: KENNETH M. FISHER                            1915 ROUTE 46 EAST                                                              PARSIPPANY        NJ      07054
6474827   SOTO*EFRAIN E                                             Address on File
6481812   Sotocolor Graphics Inc                                    38 Blackbird Lane                                                                                                                  Levittown         NY      11756
6485965   Soul City Records, Inc                                    4804 Laurel Canyon Boulevard, Suite 806                                                                                            Valley Village    CA      91607
6475856   SOUL CITY RECORDS, INC.                                   1804 LAUREL CANYON BLVD.                           SUITE 806                                                                       VALLEY VILLAGE    CA      91607
6482101   Soulbird Songs, LLC dba Guitar Girl Music Publishing      1888 Emery St. NW Suite 111                                                                                                        Atlanta           GA      30318
6479113   SOULTANAKIS/NICHOLAS                                      3821 EAST BROADWAY                                                                                                                 LONG BEACH        CA      90803
6489472   SOUND CELLAR LLC                                          3939 BALLINA DR                                                                                                                    ENCINO            CA      91436-3622
6795859   SOUND CELLAR LLC                                          3939 BALLINA DR                                                                                                                    ENCINO            CA      91436
6482306   Sound Emporium                                            3100 Belmont Blvd                                                                                                                  Nashville         TN      37212
6477384   SOUND IMAGES                                              602 MAIN STREET                                                                                                                    CINCINNATI        OH      45202
6475416   SOUND ONE                                                 1619 BROADWAY                                      8TH FLOOR                                                                       NEW YORK          NY      10019
6475672   SOUND PACKAGE                                             ATTN: WILLIE BURTON                                PO BOX 69-1340                                                                  LOS ANGELES       CA      90069
6795840   SOUND SPACE INTERNATIONAL,LTD.                            KOMPLEX PERKANTORAN ROXY MAS                       BLOK C2 NO.27-34                  JLKM HASYIM ASHARI KAV           125 B        JAKARTA                   10150        INDONESIA
6477276   SOUNDBYTE, INC                                            11830 HIGHLAND COLONY DRIVE                                                                                                        ROSWELL           GA      30075
6482295   Soundcheck, LLC                                           750 Cowan St.                                                                                                                      Nashville         TN      37207
6478647   SOUNDELUX                                                 7080 HOLLYWOOD BLVD., SUITE 1100                                                                                                   LOS ANGELES       CA      90028
6481044   Soundfirm Pty, Ltd.                                       P.O. Box 585                                                                                                                       Port Melbourne    VIC     3207         Australia
6479610   SOUNDLINE, INC.                                           11166 GAULT STREET                                                                                                                 NORTH HOLLYWOOD   CA      91605




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MMLID     NAME                                             ADDRESS                                            ADDRESS 2                      ADDRESS 3                       ADDRESS 4               CITY                 STATE   POSTAL CODE COUNTRY
6483308   Sounds Right                                     2045 Beloit Ave. #303                                                                                                                     Los Angeles          CA      90025
6795850   SOUNDSCAPES PUBLISHING INC                       244 MADISON AVENUE                                 SUITE 314                                                                              NEW YORK             NY      10016       UNITED
                                                                                                                                                                                                                                              ARAB
6795842   SOUNDSPACE INTERNATIONAL LIMITED                 375 AJMAN E.O.C.E                                                                                                                                                                  EMIRATES
                                                                                                                                                                                                                                              UNITED
                                                                                                                                                                                                                                              ARAB
6795843   SOUNDSPACE INTERNATIONAL LIMITED                 ATTENTION: HARRY MIRPURI                           375 AJMAN FREEZONE             E.O.C.E                                                                                          EMIRATES
                                                                                                                                                                                                                                              UNITED
                                                                                                                                                                                                                                              ARAB
6795845   SOUNDSPACE INTERNATIONAL LIMITED                 ATTN: HARRY MIRPURI                                375 AJMAN FREEZONE, E.O.C.E.                                                                                                    EMIRATES
6485727   SoundSpeed                                       280 West Tujunga AvenueUnit Q                                                                                                             Burbank              CA      91502
6476030   SOUNDTRACK BOSTON                                162 COLUMBUS AVE.                                                                                                                         BOSTON               MA      02116
6476074   SOUNDTRACK NEW YORK                              936 BROADWAY                                                                                                                              NEW YORK CITY        NY      10010
6476075   SOUNDTRACK NEW YORK LLC                          936 BROADWAY                                                                                                                              NEW YORK             NY      10010
6475432   SOUNDTRACK NEW YORK, LLC.                        AKA CAV TRUST                                      936 BROADWAY                                                                           NEW YORK CITY        NY      10010
6476076   SOUNDTRACK NY                                    936 BROADWAY 4TH FLOOR                                                                                                                    NEW YORK             NY      10010-8102
6476856   SOUNDTRONICS                                     5715 MARKET STREET                                                                                                                        WILMINGTON           NC      28405
6475910   SOURCEMAKER SOUTH, INC.                          5220 CAROLINA BEACH ROAD                           UNIT 14                                                                                WILMINGTON           NC      28412
6476119   SOURCEMAKER, INC.                                37 ROCKLAND PARK AVE                                                                                                                      TAPPAN               NY      10983
6477982   SOURS\TRACY                                      P.O. BOX 3072                                                                                                                             DURANGO              CO      81302
6475242   SOUTH BRUNSWICK HIGH SCHOOL                      BAND BOOSTERS CLUB                                 280 COUGAR DRIVE                                                                       SOUTHPORT            NC      28461
6482064   South Carolina Dept. of Consumer Affairs         P.O. Box 5757                                                                                                                             Columbia             SC      29250
6479941   SOUTH CAROLINA DEPT. OF LABOR,                   LICENSING & REGULATIONS                            DIRECTOR                       SYNERGY BUSINESS PARK, KINGSTREE 110 CENTERVIEW DRIVE   COLUMBIA             SC      29210
6475528   SOUTH COAST HELICOPTERS                          2950 AIRWAY                                        C-1                                                                                    COSTA MESA           CA      92626
6479984   SOUTH DAKOTA DEPARTMENT OF LABOR                 SECRETARY                                          700 GOVERNORS DRIVE                                                                    PIERRE               SD      57501
6476330   SOUTH HILLS SURPLUS                              PO BOX 79031                                                                                                                              PITTSBURGH           PA      15216
6485151   South Music & Sound Design                       2114 Pico Blvd.                                                                                                                           Santa Monica         CA      90405
6470550   SOUTHEAST CINEMA DBA CAROLINE MALL CINEMAS       11917 SAM ROPER DRIVE SUITE 200                                                                                                           CHARLOTTE            NC      28269
6492637   SOUTHEAST COSTUME COMPANY                        ATTN: CAROLINE DIETER, OWNER                       650 HAMILTON AVE., SUITE M                                                             ATLANTA              GA      30312
6476871   SOUTHEAST PROPS                                  3502 TALL PINE CT.                                                                                                                        WILMINGTON           NC      28409
6479777   SOUTHEAST STEVEDORING CORP                       PO BOX 8080                                                                                                                               KETCIKAN             AK      99901
6476619   SOUTHEASTERN CAMERA & SUPPLY                     2410 ATLANTIC AVENUE                                                                                                                      RALEIGH              NC      27539
6477243   SOUTHEASTERN FREIGHT LINES                       P.O. BOX 100104                                                                                                                           COLUMBIA             SC      29202-3104
6476620   SOUTHEASTERN SIGN SUPPLY                         2435 RELIANCE AVE                                                                                                                         APEX                 NC      27539
6486005   Southern California Edison                       P.O. Box 600                                                                                                                              Rosemead             CA      91771
6475573   SOUTHERN CALIFORNIA EDISON CO.                   2131 WALNUT GROVE AVENUE                           GO #3 - 2ND FLOOR                                                                      ROSEMEAD             CA      91770
6483348   Southern California Foster Family Agency         c/o Sylvia Fogelman155 Occidental Blvd.                                                                                                   Los Angeles          CA      90026
6484817   Southern California Graphics                     8432 Steller Dr.                                                                                                                          Culver City          CA      90232
6477559   SOUTHERN COSTUME                                 951 LAFAYETTE ST                                                                                                                          NEW ORLEANS          LA      70113
6477054   SOUTHERN EXCURSIONS, LLC                         P.O. BOX 6886                                                                                                                             OCEAN ISLE BEACH     NC      28469
6477529   SOUTHERN LIGHTS MOTION PIC EQP                   151 W PALLISADE ST                                                                                                                        KENNER               LA      70062
6476597   SOUTHERN RUBBER COMPANY INC.                     2209 PATTERSON ST                                                                                                                         GREENSBORO           NC      27407
6476570   SOUTHERN SAFES & VAULTS, INC                     1106 N. O'HENRY BLVD                                                                                                                      GREENSBORO           NC      27405
6477682   SOUTHERN SAW & CUTTER INC                        5808 PLAUCHE ST                                                                                                                           HARAHAN              LA      70123
6475103   SOUTHERN STYLE                                   CONSTRUCTION, INC                                  118 W GENIE ST                                                                         CHALMETTE            LA      70043
6476760   SOUTHLAND AMUSEMENTS & VENDING                   P. O. BOX 2889                                                                                                                            WILMINGTON           NC      28402
6477753   SOUTHLAND TRUCK LEASING                          PO BOX 1450                                                                                                                               GRAY                 LA      70359
6491571   SOUTHPAW ENTERTAINMENT                           1250 6TH ST. SUITE 305                                                                                                                    SANTA MONICA         CA      90401
6477020   SOUTHPORT ANTIQUES                               105 E. MOORE STREET                                                                                                                       SOUTHPORT            NC      28461
6477650   SOUTHPORT HALL                                   200 MONTICELLO AVE                                                                                                                        JEFFERSON            LA      70121
6477021   SOUTHPORT MARINA, INC                            606 W. WEST ST                                                                                                                            SOUTHPORT            NC      28461
6482054   Southport Realty, Inc.                           114 S. Howe St.                                                                                                                           Southport            NC      28461
6475621   SOUTHPORT UTILITIES                              CITY HALL                                          P.O. BOX 10939                                                                         SOUTHPORT            NC      28461
6475618   SOUTHPORT VILLAGE                                BOAT & RV STORAGE                                  P.O. BOX 10341                                                                         SOUTHPORT            NC      28461
6477023   SOUTHPORT\CITY OF                                201 E. MOORE STREET                                                                                                                       SOUTHPORT            NC      28461
6477382   SOUTHSIDE WORKS CINEMA                           6200 SOM CENTER ROAD C-20                                                                                                                 SOLON                OH      44139
6479130   SOUTHWELL, THOMAS J                              750 ALTA VISTA DR                                                                                                                         SIERRA MADRE         CA      91024
6477947   SOUTHWEST CARGO                                  PO BOX 97390                                                                                                                              DALLAS               TX      75397
6475364   SOUTHWEST MULTIMEDIA                             EDUCATION COLLABORATIVE                            6116 RIO HONDO NE                                                                      ALBUQUERQUE          NM      87109
6478254   SOUTHWEST STUDIO SERVICES                        608 GENERAL CHENNAULT ST. SE                                                                                                              ALBUQUERQUE          NM      87123
6476272   SPA 54                                           553 CLEVER RD                                                                                                                             ROBINSON TWP         PA      15136
6479320   SPACECAM SYSTEMS, INC.                           31111 VIA COLINAS, SUITE 201                                                                                                              WESTLAKE VILLAGE     CA      91362
6484248   Spanky's Clothing, Inc.                          1880 Century Park East #200                                                                                                               Los Angeles          CA      90067
6491726   SPARKLETTS                                       P.O. BOX 660579                                                                                                                           DALLAS               TX      75266-0579
6482861   Sparkletts                                       PO Box 660579                                                                                                                             Dallas               TX      75266
6478333   SPARROW ANTIQUES                                 418 CERRILLOS RD                                                                                                                          SANTA FE             NM      87501
6485517   Special Event Management                         22704 Ventura BlvdSuite 409                                                                                                               Woodland Hills       CA      91364
6485203   Special Olympics Sounther California Inc         6730 E Carson St                                                                                                                          Long Beach           CA      90808
6481280   Special Ops Media LLC                            235 Park Avenue S                                                                                                                         New York             NY      10003       UNITED
6486497   Special Treats Productions                       Grafton House 2+3Golden Square                                                                                                            Golden Square                W1F 9HR     KINGDOM
                                                                                                                                                                                                                                              UNITED
6474067   SPECIAL TREATS PRODUCTIONS                       GRAFTON HOUSE, 2-3 GOLDEN SQUARE                                                                                                          GOLDEN SQUARE SOHO           W1F 9HR     KINGDOM




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                                                                                                                                         Served First Class Mail

MMLID     NAME                                                         ADDRESS                                                      ADDRESS 2                        ADDRESS 3                        ADDRESS 4   CITY                STATE   POSTAL CODE COUNTRY
6481660   Spectacular Spectacular Productions, Inc. fso Jon Hartmere   c/o Creative Artists Agency405 Lexington Ave, 19th Fl                                                                                      New York            NY      10174
6481827   Spectrum Cinema Corp                                         290 Deleware Ave                                                                                                                           Albany              NY      12209
6477683   SPECTRUM OF NOLA INC                                         103 DONELON DR                                                                                                                             HARAHAN             LA      70123
6481767   Speechboy, Inc.                                              505 Courst #8D                                                                                                                             Brooklyn            NY      11231
6470285   SPEECHBOY, INC.                                              970 KENT AVE. #510                                                                                                                         BROOKLYN            NY      11205
6484955   Speedway Production Services, Inc.                           608 Santa Clara Ave. Unit 2                                                                                                                Venice              CA      90291
6477231   SPEEDY LUBE                                                  18 NEW LEICESTER HWY                                                                                                                       ASHEVILLE           NC      28806
6479764   SPENARD BUILDING SUPPLY                                      4412 LOIS DR                                                                                                                               ANCHORAGE           AK      99517
6479014   SPENCE\THOMAS                                                225 AVENUE E                                                                                                                               REDONDO BEACH       CA      90277
6483645   Spencer Averick                                              112 N. Mansfield Ave.                                                                                                                      Los Angeles         CA      90036
6474741   SPENCER*SEAN                                                 Address on File
6479139   SPENCER, JAMES                                               10634 ART ST                                                                                                                               SUNLAND             CA      91040
6477398   SPENCER\JAY                                                  P. O. BOX 118                                                                                                                              MILFORD             MI      48381
6479226   SPENCER\JORDAN                                               17217 OSTEGO STREET                                                                                                                        ENCINO              CA      91316
6477024   SPENCER\SANDRA R.                                            410 WEST BRUNSWICK STREET                                                                                                                  SOUTHPORT           NC      28461
6486097   Spenser Bishop dba Mix One Sound                             26345 Avenida Deseo                                                                                                                        Mission Viejo       CA      92691
6486035   Spice of Life, Inc.                                          1219 Linda Vista Dr.                                                                                                                       San Marcos          CA      92078
6480448   Spiegelman, David                                            Address on File
6480717   Spiewak, Aaron                                               Address on File
6483977   Spilled Inc. f/s/o Jon Lucas                                 419 N. Flores St.                                                                                                                          Los Angeles         CA      90048
6483309   SpinandStir Media LLC                                        c/o Kendall Morgan-Rhodes1640 S. Sepulveda Blvd, Suite 515                                                                                 Los Angeles         CA      90025
6478096   SPIRIT FILM PRODUCTIONS, LLC                                 5650 UNIVERSITY BLVD SE                                                                                                                    ALBUQUERQUE         NM      87106
6795824   SPIRIT MUSIC GROUP                                           235 WEST 23RD STREET                                         4TH FLOOR                                                                     NEW YORK            NY      10011
6491835   SPIRIT ONE MUSIC                                             235 W 23RD STREET 4TH FLOOR                                                                                                                NEW YORK            NY      10011
6481346   Spirit One Music obo Crack Addict Music                      235 W. 23rd St. 4th Floor                                                                                                                  New York            NY      10011
6481347   Spirit Two Music                                             235 W. 23rd St. 4th Floor                                                                                                                  New York            NY      10011
6475324   SPIRIT TWO MUSIC, INC.                                       235 W 23RD ST.                                               4TH FLOOR                                                                     NEW YORK CITY       NY      10011
6491836   SPIRIT TWO MUSIC, INC.                                       235 W. 23RD ST, 4TH FLOOR                                                                                                                  NEW YORK            NY      10011
6476531   SPIVEY NURSERY INC.                                          1998-A BEESON RD                                                                                                                           KERNERSVILLE        NC      27284
6468853   SPJGAG, LLC                                                  8560 W. SUNSET BLVD.                                         SUITE 210                                                                     WEST HOLLYWOOD      CA      90069
6468823   SPJGAG, LLC                                                  ATTN: AMY HABIE                                              2200 CORPORATE BOULEVARD, NW     SUITE 400                                    BOCA RATON          FL      33431
6482048   Spoondigger, Inc.                                            1027 Birch Creek Dr.                                                                                                                       Wilmington          NC      28403
6474929   SPOONDIGGER, INC.                                            FSO: ROBERT PFEFFER                                          1027 BIRCH CREEK DR                                                           WILMINGTON          NC      28403
6482106   Sports & Entertainment Financial Group LLC                   1117 Perimeter Center WestSuite E107                                                                                                       Atlanta             GA      30338
6481850   Spotlight of Warsaw, LLC                                     23 S. Main St.                                                                                                                             Warsaw              NY      14569
6476060   SPOT-ON WEATHER, LLC.                                        31 HERON DRIVE                                                                                                                             MALBORO             NJ      07746
6478216   SPOTS & PROPS UNLIMITED                                      12440 PLACID NE                                                                                                                            ALBUQUERQUE         NM      87112
6479269   SPOWEHN, WAYNE                                               10828 BURNET AVENUE                                                                                                                        MISSION HILLS       CA      91345
6479034   SPRAGUE\MATT                                                 711-1/2 6TH AVENUE                                                                                                                         VENICE              CA      90291
6479035   SPRAGUE\MATTHEW                                              711 1/2 6TH AVENUE                                                                                                                         VENICE              CA      90291
6491384   SPREDFAST, INC.                                              200 W. CESAR CHAVEZ, SUITE 600                                                                                                             AUSTIN              TX      78701
6482682   Sprehe Media                                                 201 W. Lake Street, Suite 275                                                                                                              Chicago             IL      60606
6474595   SPRINGER*KAREN                                               Address on File
6480908   Springer, Robert                                             Address on File
6485333   Springernet Consulting Inc                                   30118 Diana Court                                                                                                                          Agoura Hills        CA      91301
6477220   SPRINGHILL SUITES ASHEVILLE                                  2 BUCKSTONE PLACE                                                                                                                          ASHEVILLE           NC      28805
6482658   Sprint                                                       P.O. Box 4181                                                                                                                              Carol Stream        IL      60197
6482659   Sprint - DO NOT USE                                          P.O. Box 4181                                                                                                                              Carol Stream        IL      60197
6486376   SprocketHeads, LLC                                           2907 Iris Dr.                                                                                                                              Anchorage           AK      99517
6479377   SPROULE\SCOTT                                                33216 ELDROW ROAD                                                                                                                          AGUA DULCE          CA      91390
6486298   Spry Helicopters LLC                                         PO Box 1053                                                                                                                                Kula                HI      96790
6478993   SQUARE DEAL PLUMBING                                         2302 E. FLORENCE AVE.                                                                                                                      HUNTINGTON PARK     CT      09255
6795823   SQUAREONE ENTERTAINMENT GMBH & CO KG,                        EMIL RIEDEL STREET 18                                                                                                                      MUNICH                      80538        GERMANY
6483978   SRC Entertainment                                            8000 Beverly Blvd.                                                                                                                         Los Angeles         CA      90048
6492174   SS KS, LLC DBA SUNSHINE SACHS &                              ASSOCIATES WEST                                              ATTN: TIFFONA STEWART, SENIOR    136 MADISON AVENUE, 17TH FLOOR               NEW YORK            NY      10016
6481442   SS KS, LLC dba Sunshine Sachs & Associates West              136 Madison Avenue, 17th Floor                                                                                                             New York            NY      10016
6491464   SSI ADVANCED POST SERVICES                                   7165 W SUNSET BLVD                                                                                                                         LOS ANGELES         CA      90046
6482977   SSPA, LLC                                                    299 South Main Street, Suite 2200                                                                                                          Salt Lake City      UT      84111
6475187   ST IVES PRODUCTIONS INC                                      FSO:KEVIN MESSICK                                            1925 CENTURY PARK EAST 22ND FL                                                LOS ANGELES         CA      90067
6487923   ST. IVES PRODUCTIONS, INC.                                   C/O JACKOWAY TYERMAN ET AL.,                                 ATTN: KARL AUSTEN                1925 CENTURY PARK EAST, 22ND                 LOS ANGELES         CA      90067
6477816   ST. JOHN'S COFFEE HOUSE, LLC                                 535 E BOSTON ST                                                                                                                            COVINGTON           LA      70433
6484901   St. Matthew's Parish School                                  1031 Bienvenida Ave.                                                                                                                       Pacific Palisades   CA      90272
6477817   ST. PETER CATHOLIC CHURCH                                    125 E 19TH AVE                                                                                                                             COVINGTON           LA      70433
6479267   ST. VAL INC.                                                 10810 GERALD AVE                                                                                                                           GRANADA HILLS       CA      91344
6478355   ST. VINCENT HOSPITAL                                         PO BOX 12000                                                                                                                               SANTA FE            NM      87504-7000
6485937   Stacey Morris                                                7855 Fulton Ave.                                                                                                                           North Hollywood     CA      91605
6481156   Stacey Panepinto                                             564 Gregory Ave. #A6                                                                                                                       Weehawken           NJ      07086
6491567   STACEY WINGET COCHRANE                                       Address on File
6481918   Staci Hagenbaugh                                             900 S. 48th Street                                                                                                                         Philadelphia        PA      19143
6485966   Staci Nguyen                                                 5261 Whitsett Ave. #1                                                                                                                      Valley Village      CA      91607




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                                                                                                                                               Master Mailing List
                                                                                                                                              Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                            ADDRESS 2                      ADDRESS 3                           ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6485188   Staci Wilson                                                848 W. 24th St. #3                                                                                                                                San Pedro        CA      90731
6485171   Stacie Sanae Gibo                                           801 San Angelo Ave.                                                                                                                               Montebello       CA      90640
6474386   STACK*MURPHY                                                Address on File
6483752   Stacy F. Spitzenberger                                      2288 Edendale Pl.                                                                                                                                 Los Angeles      CA      90039
6480796   Stacy, Caitlin                                              Address on File                                                                                                                                                                         UNITED
6475928   STAFFORD, DERYN                                             C/O PINEWOOD STUDIOS WALES                                         WENTLOOG AVE                                                                   CARDIFF                  CF3 2GH      KINGDOM
6479326   STAFFORD\JUSTIN                                             4840 BRUGES AVENUE                                                                                                                                WOODLAND HILLS   CA      91364
6478155   STAFFORD-CHANEY\JO ANN                                      1116 CALIFORNIA ST SE                                                                                                                             ALBUQUERQUE      NM      87108
6479221   STAGE RIGHT FABRICATIONS                                    9306 HANNA AVE                                                                                                                                    CHATSWORTH       CA      91311
6490320   STAGE THREE MUSIC INC                                       C/O BMG PLATINUM SONGS US                                          1745 BROADWAY, 19TH FLOOR                                                      NEW YORK         NY      10019
6478209   STAIR\REBECCA                                               6212 SEDONA DR, NE                                                                                                                                ALBUQUERQUE      NM      87111-8147
6481938   Stamoulis & Weinblatt, LLC                                  Two Fox Point Centre6 Denny Road, Suite 307                                                                                                       Wilmington       DE      19809
6491790   STAMPEDE MUSIC PUBLISHING LLC.                              17530 VENTURA BOULEVARD                                            SUITE # 201                                                                    ENCINO           CA      91316
6484150   Stampede Music Publishing, LLC                              12530 Beatrice St.                                                                                                                                Los Angeles      CA      90066
6483716   Stampede Post Productions, Inc.                             816 North Highland Ave.                                                                                                                           Los Angeles      CA      90038
6477853   STAMPER TRUCKING                                            64077 NELSON RD                                                                                                                                   PEARL RIVER      LA      70452
6478391   STANARD\TRISHA                                              1890 CAMINO DE                                                                                                                                    PABILO           NM      87505
6481077   Stand, Inc.                                                 90 Fourth St.                                                                                                                                     Worcester        MA      01602
6477700   STANDARD GLASS & MIRROR WORKS                               1128 S LOPEZ ST                                                                                                                                   NEW ORLEANS      LA      70125
6484298   Standard Parking                                            3575 Cahuenga Blvd                                                                                                                                Los Angeles      CA      90068
6483471   Standard Parking                                            7080 Hollywood Blvd                                                                                                                               Los Angeles      CA      90028
6491402   STANDARD PARKING CORPORATION                                1055 WEST 7TH STREET, SUITE 1500                                                                                                                  LOS ANGELES      CA      90017
6475694   STANDARD PARKING CORPORATION                                2850 OCEAN PARK BLVD                                               STE 140-B                                                                      SANTA MONICA     CA      90405
6478129   STANDARD RESTAURANT EQUIPMENT                               2405 CANDELARIA NE                                                                                                                                ALBUQUERQUE      NM      87107
6485979   Stanley Steemer of L.A. County, Inc.                        841 W. Foothill Blvd.                                                                                                                             Azusa            CA      91702
6492770   STANLEY* EMILY ANNE                                         Address on File
6479924   Staple Street Capital Group, LLC                            Address on File
6491358   STAPLES                                                     DEPT. LA P.O. BOX 83689                                                                                                                           CHICAGO          IL      60696
6483310   Staples'                                                    10830 Santa Monica Blvd.                                                                                                                          Los Angeles      CA      90025
6483140   Staples Center                                              Attn: Brian Watson714 W Olympic Blvd Suite 303                                                                                                    Los Angeles      CA      90015
6475666   STAPLES CONTRACT &                                          DEPT ROC                                                           PO BOX 415256                                                                  BOSTON           MA      02241-5256
6482357   Staples Corporate Accounts                                  P.O. Box 183174                                                                                                                                   Columbus         OH      43218
6492831   STAPLES, INC.                                               ATTN: DANEEN KASTANEK, CREDIT RISK LEAD                            300 ARBOR LAKE DRIVE                                                           COLUMBIA         SC      29223
6478168   STAR SALES DISTRIBUTING                                     5322 PAN AMERICAN NE                                                                                                                              ALBUQUERQUE      NM      87109
6470106   STAR TRAX                                                   32 W 39TH ST , 14TH FLOOR                                                                                                                         NEW YORK         NY      10018
6481483   Star Trax, Inc.                                             32 West 39th St. 14th Floor                                                                                                                       New York         NY      10018
6491613   STAR WAGGONS                                                13334 RALSTON AVENUE                                                                                                                              SYLMAR           CA      91342
6478097   STAR WAGGONS                                                5650 UNIERSITY BLVD., SE                                                                                                                          ALBUQUERQUE      NM      87106
6482469   Stark GH2, LLC                                              3600 South Lake Drive                                                                                                                             Saint Francis    WI      53235
6470906   STARK GH2, LLC                                              735 N WATER ST                                                     SUITE 790                                                                      MILWAUKEE        WI      53202-4103
6482470   Stark Invest. Structured Fin.Onshore Fun                    3600 South Lake Drive                                                                                                                             Saint Francis    WI      53235
6470907   STARK INVEST. STRUCTURED FIN.ONSHORE FUN                    735 N WATER ST                                                     SUITE 790                                                                      MILWAUKEE        WI      53202-4103
6486089   Starlight Education                                         5001 Birch                                                                                                                                        Newport Beach    CA      92660
6474569   STARNES*GREGORY                                             Address on File
6480888   Starnes, Gregory R.                                         Address on File
6481167   StarPix                                                     4 Beacon Way, Suite 1811                                                                                                                          Jersey City      NJ      07304
6482856   Starplex Operating, LLC                                     12400 Coit Rd. #800                                                                                                                               Dallas           TX      75251
6478755   STASKAUSKAS\SARAH                                           6317 LOMITAS DRIVE                                                                                                                                LOS ANGELES      CA      90042
6484463   State Bar of California, The                                P.O. Box 2142                                                                                                                                     Los Angeles      CA      90084
6486205   State Board of Equalization                                 Board of Equalization, Enviromental Fees DivisionP.O. Box 942879                                                                                  Sacramento       CA      94279
6481299   State Insurance Fund                                        c/o New York State Insurance199 Church Street                                                                                                     New York         NY      10007
6481300   State Insurance Fund, The                                   199 Church Steet                                                                                                                                  New York         NY      10007
6482229   State of Alabama - Office of Secretary of State             P.O. Box 5616                                                                                                                                     Montgomery       AL      36103
6474993   STATE OF ALASKA                                             DBA: DEPARTMENT OF TRANSPORTATION                                  PO BOX 112500                                                                  JUNEAU           AK      99811
6486377   State of Alaska                                             Dept. of Transportation & Public FacilitiesPO Box 196960                                                                                          Anchorage        AK      99519
6486379   State of Alaska, Department of Administration               P.O. Box 110204                                                                                                                                   Juneau           AK      99811
6486202   State of California                                         Franchise Tax BoardPO Box 942867                                                                                                                  Sacramento       CA      94267
6788308   State of California, Department of Transportation           Attn: Razmig Khayalian                                             Deputy Attorney                100 South Main Street, Suite 1300               Los Angeles      CA      90012-3702
6486267   State of California, Dept of Parks & Rec                    1416 9th St., Rm 1040                                                                                                                             Sacramento       CA      95814
6483472   State Of California, The                                    7080 Hollywood Blvd, Ste 900                                                                                                                      Los Angeles      CA      90028
6481942   State of Delaware, The                                      PO Box 898                                                                                                                                        Dover            DE      19903
6474952   STATE OF HAWAII                                             DEPT OF LAND AND NATURAL RESOURCES,                                3060 EIWA ST. ROOM #306                                                        LIHUE KAUAI      HI      96766
6480049   STATE OF LOUISIANA                                          TOM SCHEDLER                                                       P.O. BOX 94125                                                                 BATON ROUGE      LA      70804-9125
6482447   State of Michigan, The                                      Michigan Film Office300 N. Washington Square                                                                                                      Lansing          MI      48913
6481207   State of New Jersey                                         Div. of Employer AccountsPO Box 929                                                                                                               Trenton          NJ      08646
6738779   State of New Jersey - Division of Taxation                  P.O. Box 245                                                                                                                                      Trenton          NJ      08695-0245
6481826   State of New York WCB                                       Accounts - DB Penalty, Room 30120 Park Street                                                                                                     Albany           NY      12207
6480048   STATE OF PENNSYLVANIA                                       PEDRO A. CORTES                                                    302 NORTH OFFICE BUILDING                                                      HARRISBURG       PA      17120
6481871   State Theatre                                               130 W. College Ave.                                                                                                                               State College    PA      16801
6485100   Static Music Inc                                            3028 Nebraska Ave                                                                                                                                 Santa Monica     CA      90404




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MMLID     NAME                                                     ADDRESS                                             ADDRESS 2                       ADDRESS 3                      ADDRESS 4                    CITY                STATE   POSTAL CODE COUNTRY
6475132   STEADFAST FILMS, LLC.                                    AKA TYLER NELSON                                    1440 PRINCETON ST. # 1                                                                      SANTA MONICA        CA      90404
6485562   Steamin' Garage fso Michael Rotman                       13340 BURBANK BLVD APT 16                                                                                                                       SHERMAN OAKS        CA      91401-5365
6473299   STEAMIN' GARAGE FSO MICHAEL ROTMAN                       6020 GREENBUSH AVE.                                                                                                                             VAN NUYS            CA      91401
6478425   STEEL MAGNOLIAS                                          1115 OCATE ROAD                                                                                                                                 SANTA FE            NM      87507
6479358   STEEL STUDIO RENTALS                                     P.O. BOX 55601                                                                                                                                  VALENCIA            CA      91385
6481348   Steel Synch                                              133 W. 17th St. #4C                                                                                                                             New York            NY      10011
6476252   STEFANICK\RICHARD E                                      1481 BUTLER PLANK ROAD                                                                                                                          GLENSHAW            PA      15116
6477984   STEINBERG\JOSHUA M.                                      PO BOX 36                                                                                                                                       TAOS SKI VALLEY     NM      82525
6478648   STEINHAUER, RONALD A.                                    5944 1/2 CARLTON WAY                                                                                                                            LOS ANGELES         CA      90028
6478195   STEINIG\MARK                                             4811 MESCALERO NE                                                                                                                               ALBUQUERQUE         NM      87110
6478081   STEINIG\RICHARD                                          741 57TH ST NW                                                                                                                                  ALBUQUERQUE         NM      87105
6481042   Stellar Studios                                          52-60 Francis St.                                                                                                                               Glebe               NSW     2037        Australia
6484734   Stellie Productions Inc. fso Kristen Wig                 9560 Wilshire Blvd. 5th FloorATTN: Josh Katz                                                                                                    Beverly Hills       CA      90212
6469517   STELLIE PRODUCTIONS INC. FSO KRISTEN WIG                 ATTN: JOSH KATZ                                     9560 WILSHIRE BLVD. 5TH FLOOR                                                               BEVERLY HILLS       CA      90212
6475172   STELLIE PRODUCTIONS, INC.                                1430 BROADWAY                                       17TH FLOOR                                                                                  NEW YORK            NY      10018
6487925   STELLIE PRODUCTIONS, INC.                                C/O JACKOWAY TYERMAN ET AL.                         ATTN: KRISTEN WIIG, PRESIDENT   1925 CENTURY PARK EAST, 22ND                                LOS ANGELES         CA      90067
6476227   STEM\LESLIE JULIAN                                       832 KIRKPATRICK AVENUE                                                                                                                          NORTH BRADDOCK      PA      15104
6480585   Stepanov, Anna                                           Address on File
6478334   STEPBRIDGE STUDIOS                                       528 JOSE STREET                                                                                                                                 SANTA FE            NM      87501
6485152   Stephanie Allen                                          2107 Navy St.                                                                                                                                   Santa Monica        CA      90405
6485298   Stephanie Chan                                           1600 Highland Ave.                                                                                                                              Glendale            CA      91202
6482441   Stephanie Crull                                          157 Great Pines Drive                                                                                                                           Oxford              MI      48371
6471914   STEPHANIE CRULL                                          4023 GARDEN AVE.                                                                                                                                LOS ANGELES         CA      90039
6483979   Stephanie Kubaik                                         625 N. Flores Street                                                                                                                            Los Angeles         CA      90048
6485454   Stephen Christensen                                      24709 Sand Wedge Lane                                                                                                                           Valencia            CA      91355
6485876   Stephen Desmond                                          10621 Valley Spring Lane, Apt 307                                                                                                               North Hollywood     CA      91602
6482083   Stephen Fred Adams                                       218 Country Lane                                                                                                                                Carrollton          GA      30117
6485563   Stephen Greene                                           14435 Tiara St. #4                                                                                                                              Van Nuys            CA      91401
6483774   Stephen Hauser                                           4806 Malta Street                                                                                                                               Los Angeles         CA      90042
6484872   Stephen Lineweaver Productions Inc.                      18071 Coastline Drive #14                                                                                                                       Malibu              CA      90265
6491465   STEPHEN MARSH MASTERING                                  2770 LA CASTANA DR.                                                                                                                             LOS ANGELES         CA      90046
6484608   Stephen Norrington                                       c/o Endeavor9601 Wilshire Blvd., 3rd Floor                                                                                                      Beverly Hills       CA      90210
6485048   Stephen P. Dunn                                          1112 Montana Ave. #418                                                                                                                          Santa Monica        CA      90403
6481323   Stephen Schaefer                                         320 East 23rd St. #14C                                                                                                                          New York            NY      10010
6483251   Stephen Snavely                                          10600 Eastborne Ave, #3                                                                                                                         Los Angeles         CA      90024
6491245   STEPHEN SOUDER DBA MASSIVE NOISE MACHINE                 75 ROEBLING ST. #1D                                                                                                                             BROOKLYN            NY      11211
6492836   STEPHEN SOUDER DBA MASSIVE NOISE MACHINE                 ATTN: STEPHEN SOUDER                                36 BEVERLY RD                                                                               MADISON             NJ      07940
6478426   STEPHEN'S A CONSIGNMENT GALLER                           2701 CERRILLOS RD                                                                                                                               SANTA FE            NM      87507
6477752   STEPHENS WELDING SVC LLC                                 126 AZALEA DR                                                                                                                                   DONNER              LA      70352
6480693   Stephens, Elizabeth                                      Address on File
6476649   STEPHENS\ROBERT                                          3020 RIVER RIDGE DR.                                                                                                                            GASTONIA            NC      28056
6481715   Stephenson Productions, Inc. fso Mary Alice Stephenson   169 Warren St.                                                                                                                                  Brooklyn            NY      11201
6492875   STEPPER* DANNY                                           Address on File
6480853   Stepper, Daniel                                          Address on File
6482892   Steprik, Inc. dba The Panhandle House                    313 N. Locust St.                                                                                                                               Denton              TX      76201
6478758   STEPTOE\BAIRD B                                          5671 MARBURN AVE.                                                                                                                               LA                  CA      90043
6482133   Stereofame, Inc.                                         814 A1A N. #300                                                                                                                                 Ponte Vedra Beach   FL      32082
6491407   STEREOTYPES MUSIC PUBLISHING, LLC                        10960 WILSHIRE BLVD. 5TH FLOOR                                                                                                                  LOS ANGELES         CA      90024
6485625   Sterling Computer Products                               16135 Covello Street                                                                                                                            Van Nuys            CA      91406
6481349   Sterling Sound                                           88 Tenth Ave, FI 6W                                                                                                                             New York            NY      10011
6484656   Sterling Venue Ventures, LLC dba Saban Theatre           8440 Wilshire Blvd.                                                                                                                             Beverly Hills       CA      90211
6474650   STERN*JAMIE                                              Address on File
6480770   Stern, Nick                                              Address on File
6485236   Steve Gaub                                               7669 Airlie Drive                                                                                                                               Tujunga             CA      91042
6481842   Steve Johnson Jr.                                        One Bills Dr.                                                                                                                                   Orchard Park        NY      14127
6483311   Steve Lackenby                                           1872 Midvale Ave, #207                                                                                                                          Los Angeles         CA      90025
6481976   Steve McCaskill                                          2913 Gold Mine Rd                                                                                                                               Brookeville         MD      20833-2608
6470499   STEVE MCCASKILL                                          2913 GOLD MINE RD                                                                                                                               BROOKVILLE          MD      20833-2608
6483123   Steve Payne                                              440 Seaton StreetFloor 3                                                                                                                        Los Angeles         CA      90013
6476342   STEVE SCHWARTZ ASSOCIATES INC                            1700 FORBES AVENUE                                                                                                                              PITTSBURGH          PA      15219
6491915   STEVE WINOGRADSKY WINCO GLOBAL MUSIC                     C/O WINCO GLOBAL MUSIC O/B/O DISTORTION             PARTNERSHIP LLC                 ATTN: STEVE WINOGRADSKY,       12650 RIVERSIDE DRIVE, STE   STUDIO CITY         CA      91607        SWITZERLA
6471228   STEVEN HARGITAY                                          ZIEGELSTR 6                                                                                                                                     ZURICH                      8038         ND
6486539   Steven Hargitay                                          Ziegelstr 68038                                                                                                                                 Zurich                                   Switzerland
6483980   Steven Jacobs                                            8899 Beverly BlvdSte. 510                                                                                                                       Los Angeles         CA      90048
6485101   Steven Joseph Bozzo Jr.                                  2810 Exposition Blvd. Apt D                                                                                                                     Santa Monica        CA      90404
6475115   STEVEN M KALB, A PROF LAW CORP                           TRIDENT CENTER                                      12401 WILSHIRE BLVD., 2ND FLR                                                               LOS ANGELES         CA      90025
6491362   STEVEN M. HARDY                                          Address on File
6483312   Steven M. Kalb, a Professional Law Corp.                 Trident Center12401 Wilshire Blvd, Second Floor                                                                                                 Los Angeles         CA      90025
6475114   STEVEN M. KALB, A PROFFESIONAL                           LAW CORPORATION                                     12401 WILSHIRE BL 2ND FLOOR                                                                 LOS ANGELES         CA      90025
6478979   STEVEN N. WITLIN M.D. INC                                9808 VENICE BLVD.                                                                                                                               CULVER CITY         CA      90232




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                                                                                                                              Served First Class Mail

MMLID     NAME                                                      ADDRESS                                              ADDRESS 2                             ADDRESS 3                           ADDRESS 4           CITY                 STATE   POSTAL CODE COUNTRY
6475850   STEVEN N. WITLIN M.D., INC.                               9808 VENICE BLVD.                                    SUITE 603                                                                                     CULVER CITY          CA      90232
6482063   Steven Petrovic                                           1041 Marion Street                                                                                                                                 Columbia             SC      29201
6484249   Steven Quale Productions, Inc. fso Steven Quale           c/o Resolution1801 Century Park East, 23rd Floor                                                                                                   Los Angeles          CA      90067
6483313   Steven R. Murray                                          11728 Wilshire Blvd. #B114                                                                                                                         Los Angeles          CA      90025
6483647   Steven Taylor                                             430 S. Fuller #6D                                                                                                                                  Los Angeles          CA      90036
6483047   Steven Victor Bach dba Bach to Bach Music                 1131 E MEADOWLARK ST                                                                                                                               SPRINGFIELD          MO      65810-2961
6491391   STEVEN VICTOR BACH DBA BACH TO BACH MUSIC                 917 SIENA HILLS LANE                                                                                                                               LAS VEGAS            NV      89144
6477232   STEVE'S ROAD SERVICE PARTNERS                             208 BENT CREEK RANCH RD.                                                                                                                           ASHEVILLE            NC      28806
6477025   STEWART ENTERPRISES                                       259 NORTH HILLS DRIVE                                                                                                                              SOUTHPORT            NC      28461
6484299   Stewart Schill                                            3707 Fredonia Dr.                                                                                                                                  Los Angeles          CA      90068
6480544   Stewart, Sari                                             Address on File
6478790   STEWART\RAGE                                              1538 N HAYWORTH AVE.                                                                                                                               LOS ANGELES          CA      90046
6483072   STI Holding, LLC                                          137 North Larchmont Blvd. Suite 469                                                                                                                Los Angeles          CA      90004
6486724   Stichting Freeway Custody                                 Herikerbergweg                                                                                                                                     Amsterdam-Zuidoost   CM      1101         Netherlands
6491291   STICKLAND'S FABRICATION SERVICES                          253 EAST HWY 5                                                                                                                                     ROOPVILLE            GA      30170
6474925   STICKLEY, AUDI & CO.                                      DBA: STICKLEY FURNITURE                              1 STICKLEY DR                                                                                 MANLIUS              NY      13104
6479180   STILL\ROGER                                               2846 INVALE DR.                                                                                                                                    GLENDALE             CA      91208
6484373   Stillking Films                                           c/o Lichter Grossman9200 Sunset Blvd. #1200                                                                                                        West Hollywood       CA      90069
6482042   Stingray Music USA, Inc.                                  6420-A1 Rea Road, Suite 161                                                                                                                        Charlotte            NC      28277
6480106   STM CAPITAL LLC                                           (ON BEHALF OF STEVEN MNUCHIN)                        C/O BRADSHAW, SMITH ENTERTAINMENT     SERVICES, ATTN: NATALIE MARSHALL 5851 WEST CHARLESTON   LAS VEGAS            NV      89146
6478130   STOCK BUILDING SUPPLY                                     5815 EDITH BLVD NE                                                                                                                                 ALBUQUERQUE          NM      87107
6474574   STOCKHAMMER*CYNTHIA                                       Address on File
6481281   Stockland Martel Inc.                                     343 East 18th St. Lower Level                                                                                                                      New York             NY      10003
6477965   STOFFERS, ROGIER                                          515 CIRCLE DRIVE                                                                                                                                   WIMBERLEY            TX      78676
6477784   STOKES\PEGGY                                              233 HWY 20                                                                                                                                         SCHRIEVER            LA      70395
6476627   STOLTE\BEN                                                8721 SANTA MONICA BLVD # 206                                                                                                                       W HOLLYWOOD          CA      90069-4507
6476628   STOLTE\BENJAMIN R.                                        3917 LAKE POINT CIR                                                                                                                                RALEIGH              NC      27606
6478131   STONE AGE CLIMBING GYM, INC.                              4201 YALE AVE NE, SUITE I                                                                                                                          ALBUQUERQUE          NM      87107
6479396   STONE FREE PRODUCTIONS, INC.                              15233 VENTURA BLVD.                                                                                                                                SHERMAN OAKS         CA      91403
6477111   STONE HAVEN FARMS ESTATE LLC                              P.O. BOX 456                                                                                                                                       HAZELWOOD            NC      28738
6484735   Stone Management                                          9903 Santa Monica Blvd., #1109                                                                                                                     Beverly Hills        CA      90212
6468849   STONE MANAGEMENT INC                                      ATTN: ADAM STONE, CFO                                9903 SANTA MONICA BLVD., SUITE 1109                                                           BEVERLY HILLS        CA      90212
6479658   STONE MANAGEMENT, INC.                                    2394 OUTLOOK COURT                                                                                                                                 CARLSBAD             CA      92010
6475692   STONE MANAGEMENT, INC.                                    Address on File
6485468   Stone Tables Productions, Inc.                            P.O. Box 571690                                                                                                                                    Tarzana              CA      91357
6474508   STONE*STEVEN                                              Address on File
6480478   Stone, Charles                                            Address on File
6476672   STONE\ADAM                                                334 VIBURNUM WAY COURT                                                                                                                             CHARLOTTE            NC      28208
6479297   STONE\RANDALL                                             27435 COLDWATER DR                                                                                                                                 VALENCIA             CA      91354
6476407   STONEWOOD FAMILY PARTNERSHIP                              116 EAST PITTSBURGH STREET                                                                                                                         GREENSBURG           PA      15601
6477233   STONICA\MATTHEW RAY                                       800 BREVARD RD.                                                                                                                                    ASHEVILLE            NC      28806
6477830   STORM\MARK B                                              59861 FIRST ST                                                                                                                                     LACOMBE              LA      70445
6483349   Story Engine Inc f/s/o Scott Moore                        1307 Coronado Terr                                                                                                                                 Los Angeles          CA      90026
6491553   STORY PICTURES, LLC                                       5738 CALPINE DRIVCE                                                                                                                                MALIBU               CA      90265
6477651   STORY TELLER EFFECTS GROUP LLC                            333 RIVER ROAD                                                                                                                                     JEFFERSON            LA      70121
6476540   STORY\NANCY P.                                            P.O. BOX 91                                                                                                                                        MT. FILEAD           NC      27306
6479341   STOTTS\SHEILA                                             23030 HATTERS ST                                                                                                                                   WOODLAND HILLS       CA      91367
6488525   STOUDEMIRE* AMAR'E                                        C/O SHAW FISHMAN                                     ATTN: BRIAN L. SHAW                   321 NORTH CLARK STREET, SUITE 800                       CHICAGO              IL      60654
6492312   STRADELLA ROAD, LLC                                       ATTN: GORDON PADDISON, CEO                           1110 STRADELLA RD.                                                                            LOS ANGELES          CA      90077
6484838   Straight Up Technologies                                  145 Sheldon St.                                                                                                                                    El Segundo           CA      90245
6477823   STRAIN JR\WILLIAM P                                       79160 HWY 1082                                                                                                                                     COVINGTON            LA      70435
6480810   Straky, Kay                                               Address on File
6477789   STRANCO SOLID WASTE MANAGEMENT CO., LLC                   70459 HWY 59                                                                                                                                       ABITA SPRINGS        LA      70420
6474167   STRAUSE*MARY                                              Address on File
6486186   Streefland Consulting Group                               182 Noe St.                                                                                                                                        San Francisco        CA      94114
6478335   STREET\EILEEN                                             772 CALLE ALTAMIRA                                                                                                                                 SANTA FE             NM      87501
6484374   StreetWise Concepts & Culture                             9014 Melrose Ave.                                                                                                                                  West Hollywood       CA      90069
6476748   STRICKLAND'S WINDOW COVERINGS                             2817 NORTH 23RD STREET                                                                                                                             WILMINGTON           NC      28401
6485518   Striker Entertainment                                     23371 Mulholland Dr. #289                                                                                                                          Woodland Hills       CA      91364
6477638   STRIP EASE OF NEW ORLEANS, INC                            3301 LAFITTE ST                                                                                                                                    NEW ORLEANS          LA      70119
6480734   Strobin, Alexis                                           Address on File
6479544   STRONG ARM INC.                                           5337 CAHUENGA BLVD.                                                                                                                                NORTH HOLLYWOOD      CA      91601
6478853   STRONG\STEVEN                                             1217 EL PASO DRIVE                                                                                                                                 LOS ANGELES          CA      90065
6484839   StrongProject, Inc.                                       123 Richmond St.                                                                                                                                   El Segundo           CA      90245
6478868   STROOK & STROOK & LAVAN, LLP                              2029 CENTURY PARK EAST, SUITE 1800                                                                                                                 LOS ANGELES          CA      90067-3086
6484874   Stuart Halperin                                           2878 Searidge St.                                                                                                                                  Malibu               CA      90265
6468757   STUART KRICHEVSKY                                         LITERARY AGENCY                                      ATTN: DAVID PATTERSON                 381 PARK AVENUE SOUTH               SUITE 914           NEW YORK             NY      10016
6484956   Stuart Levy                                               38 South Venice Blvd.                                                                                                                              Venice               CA      90291
6478581   STUART\KELLY                                              3585 GRAMERCY PLACE, #301                                                                                                                          LOS ANGELES          CA      90020
6480431   Stuart-Fry, Lukas                                         Address on File




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                                                                                                                                Master Mailing List
                                                                                                                               Served First Class Mail

MMLID     NAME                                                    ADDRESS                                                ADDRESS 2                            ADDRESS 3                     ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6477834   STUCKE SR.\CHRISTIAN M                                  1554 GIROD ST                                                                                                                         MANDEVILLE         LA      70448-3730
6478082   STUCKMAN ENTERPRISES                                    3020 DRAXTON AVE. SW                                                                                                                  ALBUQUERQUE        NM      87105
6483497   Studio 34 Inc                                           141 W. Ave 34                                                                                                                         Los Angeles        CA      90031
6490012   STUDIO AIR CONDITIONING INC                             5171 N DOUGLAS FIR RD #6                               #6                                                                             CALABASAS          CA      91302
6479140   STUDIO ART AND TECHNOLOGY                               9545 WENTWORTH ST.                                                                                                                    SUNLAND            CA      91040
6479170   STUDIO ART METAL SHOP                                   1625 CENTRAL AVE                                                                                                                      GLENDALE           CA      91204
6476451   STUDIO CENTER PRODUCTIONS                               161 BUSINESS PARK DRIVE                                                                                                               VIRGINIA BEACH     VA      23462
6482139   Studio Circle Square, Inc. fso Alexis G. Dold           1927 NE 7th St.                                                                                                                       Gainesville        FL      32609
6483011   Studio Concierge                                        P.O. Box 21519                                                                                                                        Albuquerque        NM      87154
6486127   Studio DG, LLC                                          550 Beverly Dr.                                                                                                                       Camarillo          CA      93010
6479141   STUDIO GRAPHICS ,LLC                                    9545 WENTWORTH ST.                                                                                                                    SUNLAND            CA      91040
6482848   Studio Movie Grill                                      8350 N. Central Expressway, Suite 400                                                                                                 Dallas             TX      75206
6475696   STUDIO OFFICE SERVICES                                  6565 AMERICAS PARKWAY NE                               STE 200                                                                        ALBUQUERQUE        NM      87110
6478196   STUDIO OFFICE SERVICES                                  6565 AMERICAS PARKWAY NE                                                                                                              ALBUQUERQUE        NM      87110
6482164   Studio One Six                                          6956 Northwest 51 St.                                                                                                                 Miami              FL      33166
6483717   Studio Photo Imaging Inc                                6920 Melrose Ave                                                                                                                      Hollywood          CA      90038
6479292   STUDIO PICTURES VEHICLES INC                            7502 WHEATLAND AVE                                                                                                                    SUN VALLEY         CA      91352
6485423   Studio Services                                         14002 Balboa Blvd.                                                                                                                    Sylmar             CA      91342
6479258   STUDIO SERVICES, INC.                                   14002 BALBOA BLVD                                                                                                                     SYLMAR             CA      91342
6795783   STUDIO SOLUTIONS GROUP, INC.                            9311 CHEROKEE LN                                                                                                                      BEVERLY HILLS      CA      90210
6479611   STUDIO SUPPLY & RECYCLING, INC                          7305 ETHEL AVE                                                                                                                        NORTH HOLLYWOOD    CA      91605
6795779   STUDIO TRANPORTATION DRIVERS LOCAL 399, INTERNATIONAL   4747 VINELAND AVE                                                                                                                     NORTH HOLLYWOOD    CA      91603
6491705   STUDIO317, LLC FSO ELIZABETH LEMAY                      815 SE GRANT ST.                                                                                                                      PORTLAND           OR      97214
6795791   STUDIOCANAL                                             POSTFACH 02 1119                                                                                                                      BERLIN                     D10122      GERMANY
6475033   STUMPF, MARYSSA                                         1515 S. MELROSE DR.                                    #21                                                                            VISTA              CA      92081
6479342   STUNT RIGS INC.                                         P.O. BOX 2040                                                                                                                         AGOURA HILLS       CA      91367
6477818   STURCKEN\ROBERT                                         210 N COLUMBIA ST                                                                                                                     COVINGTON          LA      70433
6477038   STURDEVANT\RICHARD                                      3482 HASKELL LANE SE                                                                                                                  SOUTHPORT          NC      28461-9130
6492347   STW & PARTNERS                                          ATTN: HAJIME WATANABE, PARTNER                         6F HIBIYA DAIBIRU BUILDING 1-2-2     UCHISAIWAI-CHO , CHIYODA-KU               TOKYO                      100-0011    JAPAN
6795773   STX FILMDEV, LLC                                        ATTN: BUSINESS & LEGAL AFFAIRS                         3900 WEST ALAMEDA AVE.               32ND FLOOR                                BURBANK            CA      91505
6795775   STX FILMDEV, LLC                                        ATTN: GENERAL COUNSEL                                  3900 WEST ALAMEDA AVE., 32ND FLOOR                                             BURBANK            CA      91505
6475558   SUAREZ\WILNELIA                                         URB. VILLA DEL ROSARIO                                 D15 CALLE 3                                                                    NAGUABO            PR      00718
6795767   SUB POP RECORDS                                         2013 FOURTH AVENUE                                     3RD FLOOR                                                                      SEATTLE            WA      98121
6491692   SUBATOMIC SYSTEMS, INC. DBA STORIED                     415 JACKSON ST.                                                                                                                       SAN FRANCISCO      CA      94111
6491451   SUBS ARE SNEAKY, INC.                                   5241 MT. HELENA AVE.                                                                                                                  LOS ANGELES        CA      90041
6478132   SUBURBAN HOTEL                                          2401 WELLESLEY DR NE                                                                                                                  ALBUQUERQUE        NM      87107
6475073   SUCCESSOR OF STELLA                                     HAYES KUEBEL                                           100 CHRISTWOOD BLVD APT 228                                                    COVINGTON          LA      70433
6474264   SUCHER*AMY                                              Address on File
6480735   Sucher, Amy E.                                          Address on File
6474704   SUCHIN*BENJAMIN                                         Address on File
6480750   Suchin, Benjamin                                        Address on File
6490315   SUGAR FREE MEDIA FSO ABEL KORZENIOWSKI                  C/O EVOLUTION MUSIC PARTNERS                           1680 N. VINE ST.                                                               LOS ANGELES        CA      90028
6476749   SUGAR ON FRONT ST., LLC.                                249 N. FRONT STREET                                                                                                                   WILMINGTON         NC      28401
6484609   Sugaree Productions, Inc. fso Craig Borten              c/o UTA, Attn: Keya Khayatian9336 Civic Center Drive                                                                                  Beverly Hills      CA      90210
6480736   Sugarman, Ashley                                        Address on File
6484818   Sugaroo! LLC                                            3650 Helms Ave.                                                                                                                       Culver City        CA      90232
6483391   Sugarwig, Inc. fso Jesse Wigutow                        3353 Rowena Ave.                                                                                                                      Los Angeles        CA      90027
6482475   Suick Theatres of Florida Naples                        P.O. Box 532                                                                                                                          Antigo             WI      54409
6482476   Suick Theatres of WI. Ashland, Inc.                     P.O. Box 532                                                                                                                          Westboro           WI      54490
6474670   SUITS*SARAH                                             Address on File
6480563   Sullivan, Kristina                                      Address on File
6476872   SULLIVAN\MATTHEW                                        3502 TALL PINE CT                                                                                                                     WILMINGTON         NC      28409
6484399   Sulmeyer Kupetz, APC                                    333 S. Hope Stree, 35th Floor                                                                                                         Los Angeles        CA      90071
6480686   Sulzer, Elana                                           Address on File
6485678   Summerfield Music Inc                                   14024 Roblar Rd                                                                                                                       Sherman Oaks       CA      91423
6482962   Summit Digital Films                                    Attn: Kevin Hutchison2194 Sage Springs Ct                                                                                             Meridian           ID      83646
6478133   SUMMIT ELECTRIC SUPPLY CO INC                           2900 STANFORD DR NE                                                                                                                   ALBUQUERQUE        NM      87107
6485102   Summit Entertainment                                    1630 Stewart St. Suite 120                                                                                                            Santa Monica       CA      90404
6475269   SUMMIT PARK NEIGHBORHOOD                                ASSOCIATION                                            3401 CALLE DEL RANCHERO NE                                                     ALBUQUERQUE        NM      87106
6479906   Sun Capital Partners Group VI, LLC                      Address on File
6477725   SUN RAY GRILL, LLC                                      1051 ANNUNCIATION ST                                                                                                                  NEW ORLEANS        LA      70130
6468684   SUN TRUST BANK                                          BANKRUPTCY DEPARTMENT                                  303 PEACHTREE STREET NORTHEAST                                                 ATLANTA            GA      30301
6485015   Sun Valley Writers Conference, Inc.                     501 Santa Monica Blvd. Suite 701                                                                                                      Santa Monica       CA      90401
6482221   Suncoast Auto Transport                                 8286 Business Park Drive                                                                                                              Port Saint Lucie   FL      34952
6485481   Sundance Cinemas LLC                                    32998 Denver Springs Dr                                                                                                               Westlake Village   CA      91361
6482969   Sundance Institute for Film & Television                PO Box 684429                                                                                                                         Park City          UT      84068
6481605   Sunday Productions                                      1501 Broadway - Suite 1305                                                                                                            New York           NY      10036
6475139   SUNDAY PRODUCTIONS                                      DIV NORTH STREET MUSIC PRODS                           1501 BROADWAY, SUITE # 1305                                                    NEW YORK CITY      NY      10036
6795761   SUNDAY PRODUCTIONS, INC. D/B/A COLERAIN MUSIC (BMI)     1501 BROADWAY                                          Suite 1305                                                                     NEW YORK           NY      10036
6477100   SUNDOG REAL ESTATE INC.                                 6925 HWY 107                                                                                                                          CULLOWHEE          NC      28723




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                                                                                                                      Master Mailing List
                                                                                                                     Served First Class Mail

MMLID     NAME                                                   ADDRESS                                        ADDRESS 2                      ADDRESS 3              ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6483314   Sung Chae                                              1914 Selby Avenue, #402                                                                                          Los Angeles       CA      90025
6481282   Sung Rae Cho                                           c/o Ron Morales7 East 14th St. #726                                                                              New York          NY      10003
6479075   SUNGA\MICHAEL                                          2920 BROADWAY, #B                                                                                                SANTA MONICA      CA      90404
6476028   SUNNEX                                                 3 HURON DRIVE                                                                                                    NATICK            MA      01760
6482881   Sunny Boy Entertainment, LLC                           P.O. Box 203823                                                                                                  Dallas            TX      75320
6482177   Sunrise Cinemas at Tntracostal Mall                    PO Box 268208                                                                                                    Fort Lauderdale   FL      33326
6475233   SUNRISE TO SUNSET                                      FOOD SERVICE, INC.                             2518 W. MAGNOLIA BLVD                                             BUBRANK           CA      91505
6479503   SUNRISE TO SUNSET FOOD SVC INC                         2518 WEST MAGNOLIA BLVD.                                                                                         BURBANK           CA      91505
6482987   Suns Legacy Partners, LLC dba Phoenix Suns             PO Box 1369                                                                                                      Phoenix           AZ      85001
6484375   Sunset Screening Rooms                                 8730 Sunset Blvd                                                                                                 West Hollywood    CA      90069
6484610   Sunset Strip Inc                                       1300 Summit Drive                                                                                                Beverly Hills     CA      90210
6484376   Sunset Strip Music Festival                            9040 Sunset Blvd., Suite 212                                                                                     West Hollywood    CA      90069
6483253   Sunsetpeak Films                                       1733 Malcolm Ave. Suite 6                                                                                        Los Angeles       CA      90024
6479737   SUNSHINE HELICOPTERS, INC.                             1 KAHULUI AIRPORT RD., HANGAR #107                                                                               KAHULUI           HI      96732
6478017   SUPER 8 MOTEL                                          265 EAST HWY 550                                                                                                 BERNALILLO        NM      87004
6477497   SUPER CRAFTY LLC                                       2421 CORINNE DR                                                                                                  CHALMETTE         LA      70043
6486043   Superfrog                                              717 Alameda Blvd.                                                                                                Coronado          CA      92118
6476707   SUPERIOR CRANES, INC.                                  P.O. BOX 2371                                                                                                    ROCKINGHAM        NC      28380
6491287   SUPERIOR DOCUMENT SOLUTIONS                            P.O. BOX 957027                                                                                                  DULUTH            GA      30095
6477452   SUPERIOR ENVIRONMENTAL SVC                             1408 HARING RD                                                                                                   MERAIRIE          LA      70001
6482442   Supernal Entertainment                                 P.O. Box 118                                                                                                     Milford           MI      48381       SWITZERLA
6480380   SUPERSENSORY, LLC                                      C/O SILVER REEL PARTNERS AG                    TALSTRASSE 39                                                     ZURICH                    8001        ND
6480350   SUPERSENSORY, LLC                                      C/O EDEN ROCK MEDIA                            HENSON-CHAPLIN LOT             1416 N. LA BREA AVE.               HOLLYWOOD         CA      90028
6476417   SUPREME LINEN SERVICES LLC                             3104 TREELINE DRIVE                                                                                              MURRYSVILLE       PA      15668
6479746   SUR LA TABLE                                           5701 6TH AVE S.                                                                                                  SEATTLE           WA      98101
6480056   SUREFIRE ENTERTAINMENT, LLC                            ANDREW ROBINSON                                8949 W. SUNSET BLVD.           SUITE 202                          WEST HOLLYWOOD    CA      90069
6480057   SUREFIRE ENTERTAINMENT, LLC                            JARED UNDERWOOD                                8949 W. SUNSET BLVD.           SUITE 202                          WEST HOLLYWOOD    CA      90069
6486090   Surfrider Foundation                                   Attn: Steve BlankP.O. Box 6010                                                                                   San Clemente      CA      92674
6480576   Surkin, Joshua                                         Address on File
6478255   SURPLUS CITY                                           10805 CENTRAL NE                                                                                                 ALBUQUERQUE       NM      87123
6477279   SURRATT/CARCEL                                         211 SILVER FOX TRAIL                                                                                             DALLAS            GA      30157
6485049   Susan Amanda Bennett                                   953 5th Street Apt. 1                                                                                            Santa Monica      CA      90403
6484377   Susan E. Weisner                                       9113 Sunset Blvd.                                                                                                West Hollywood    CA      90069
6486154   Susan Hall                                             24712 Cabrillo St.                                                                                               Carmel            CA      93923
6492795   SUSQUEHANNA HAT CO. D/B/A * THE                        WEST COAST MARKETING                           ATTN: CLIFF LUCAS, PRESIDENT   PO BOX 9142                        CALABASAS         CA      91372-9142
6476175   SUTEY\VICTOR J                                         801 PARK ROAD                                                                                                    CLINTON           PA      15026
6474621   SUTMAN*WILLIAM                                         Address on File
6480935   Sutman, William A                                      Address on File
6481416   Sutoc Operating Company dba Venue @ 409                413 West 14 St. #301                                                                                             New York          NY      10014
6480530   Sutton, Nikki                                          Address on File
6479142   SUTTON-DOLL\LINDA L.                                   9811 CRAIG MITCHELL LANE                                                                                         SHADOW HILLS      CA      91040
6477026   SWAIN\JERAD WILSON                                     110 FRINK DRIVE                                                                                                  SOUTHPORT         NC      28461
6482762   Swank Audio Visuals                                    639E Gravois Bluffs Blvd.                                                                                        Fenton            MO      63026
6795749   SWANK MOTION PICTURES, INC.                            10795 WATSON ROAD                                                                                                ST. LOUIS         MO      63127-1012
6795743   SWANK MOTION PICTURES, INC.                            ATTN: BARBARA J. NELSON                        10795 WATSON ROAD                                                 ST. LOUIS         MO      63127
6795744   SWANK MOTION PICTURES, INC.                            ATTN: GENERAL COUNSEL                          10795 WATSON ROAD                                                 ST. LOUIS         MO      63127-1012
6477868   SWANN\KEVIN                                            2112 SGT. ALFRED RD                                                                                              SLIDELL           LA      70458
6477136   SWANNANOA FIRE DEPARTMENT                              103 SOUTH AVE.                                                                                                   SWANNANOA         NC      28778
6476132   SWANSON\KURT                                           432 PACIFIC STREET                                                                                               BROOKLYN          NY      11217
6474859   SWARTZ*JOSH                                            Address on File
6479521   SWEAT\MATT                                             1300 N. SPARKS STREET                                                                                            BURBANK           CA      91506
6477746   SWEATMAN\DEBORAH                                       819 WEST 1ST STREET                                                                                              THIBODAUX         LA      70301
6477663   SWEET LIFE, LLC\THE                                    6268 VICKSBURG ST                                                                                                NEW ORLEANS       LA      70122
6482097   sweet mochi, inc.                                      1310 Jandras Lane                                                                                                Atlanta           GA      30316
6475314   SWEET SPOT SOUND, INC.                                 F/S/O JOSHUA MINYARD                           4540 HAZELTINE AVENUE # 6                                         SHERMAN OAKS      CA      91423
6483474   Sweet! Candy Shop, LLC                                 6801 Hollywood Blvd. Suite 201                                                                                   Los Angeles       CA      90028
6478672   SWEET/HALEY                                            9112 BEVERLYWOOD ST.                                                                                             LOS ANGELES       CA      90034
6478816   SWEET\HALEY                                            9112 BEVERLYWOOD STREET                                                                                          LOS ANGELES       CA      90048
6479347   SWEETERMAN\WALLY                                       22024 Providencia St                                                                                             Wooland HLS       CA      91364
6479131   SWEETMAN, DANIEL J.                                    418 STURTEVANT DR.                                                                                               SIERRA MADRE      CA      91024
6477726   SWELLTONE LABS                                         400 LAFAYETTE ST, # 120                                                                                          NEW ORLEANS       LA      70130
6474959   SWELLTONE LABS                                         LARRY BLAKE DBA                                400 LAFAYETTE ST, # 120                                           NEW ORLEANS       LA      70130-3206
6483039   Swift Media - Jonas Productions                        2620 S Maryland Pkwy                                                                                             Las Vegas         NV      89109
6480659   Swift, Jireh                                           Address on File
6478909   SWIM FIT LA                                            15500 STEPHEN S WISE DR                                                                                          LOS ANGELES       CA      90077
6484452   Swing House Rehearsal & Recording, Inc.                P.O. Box 1105                                                                                                    Los Angeles       CA      90078
6481716   Swissmiss Shop, LLC dba Tattly                         10 Jay St. Suite 610                                                                                             Brooklyn          NY      11201
6483124   Switch Creative Group                                  1046 PRINCETON DR UNIT 101                                                                                       VENICE            CA      90292-5462
6491511   SWITCH CREATIVE GROUP                                  9157 SUNSET BLVD. SUITE 300                                                                                      WEST HOLLYWOOD    CA      90069
6484979   Switlyck Consulting & Investigative Services           578 Washington Blvd. #441                                                                                        Marina Del Rey    CA      90292




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                                                                                                                  Master Mailing List
                                                                                                                 Served First Class Mail

MMLID     NAME                                              ADDRESS                                         ADDRESS 2                              ADDRESS 3    ADDRESS 4               CITY               STATE   POSTAL CODE   COUNTRY
6475717   SY DEVORE, INC.                                   12930 VENTURA BLVD                              STORE #124                                                                  STUDIO CITY        CA      91604
6478336   SYCAMORE COMMUNICATIONS                           233 NORTH GUADAUPE ROAD                                                                                                     SANTA FE           NM      87501
6477639   SYD'S GREEN CLEAN, LLC                            2230 URSULINES AVE                                                                                                          NEW ORLEANS        LA      70119
6480202   SYLMAR CITY HALL                                  C/O SAN FERNANDO VALLEY CITY HALL               117 MACNEIL STREET                                                          SAN FERNANDO       CA      91340
6485631   Sylvester Jordan                                  P.O. Box 7728                                                                                                               Van Nuys           CA      91409
6483565   Sylvia Barth                                      1467 S. Sherbourne Drive Apt# 3                                                                                             Los Angeles        CA      90035         UNITED
6479811   SYLVIA YOUNG LTD                                  1 NUTFORD PLACE                                                                                                             LONDON                     W1H 5YZ       KINGDOM
6483475   Synchronic                                        6922 Hollywood Blvd, Suite 1200                                                                                             Los Angeles        CA      90028
6795738   SYNCHRONIC LLC                                    ATTN: BRANDON BURNSIDE                          6922 HOLLYWOOD BOULEVARD               SUITE 1200                           HOLLYWOOD          CA      90028
6492643   SYNCHRONIC LLC                                    ATTN: STEPHEN ORTIZ, VP/FINANCE                 6922 HOLLYWOOD BLVD, SUITE 1200                                             LOS ANGELES        CA      90028
6485016   Syndicate, The                                    1207 4th Street, Suie 200                                                                                                   Santa Monica       CA      90401
6477255   SYPHER\IAN                                        113 MARY ROAD                                                                                                               DORCHESTER         NC      29437
6484041   T Mobile                                          PO BOX 790047                                                                                                               SAINT LOUIS        MO      63179-0047
6475378   T. SALVATION PRODUCTIONS, LLC                     8455 BEVERLY BL                                 6TH FLOOR                                                                   LOS ANGELES        CA      90048
6481950   T.H.E. Artist Agency Inc                          1207 Potomac St NW                                                                                                          Georgetown         DC      20007
6485877   T.S. Nowlin                                       11638 Riverside Dr. #5                                                                                                      North Hollywood    CA      91602
6483893   T/Q Music, Inc                                    7750 Sunset Blvd                                                                                                            Los Angeles        CA      90046
6482775   T-2                                               1906 Wyandotte Street                                                                                                       Kansas City        MO      64108
6475848   T3 MEDIA, INC.                                    1530 16TH ST.                                   SUITE 600                                                                   DENVER             CO      80202
6477127   TAG CONTRACTING INC.                              P.O. BOX 2188                                                                                                               OLD FORT           NC      28762         UNITED
6479808   TAG GLOBAL CORPORATE TRAVEL                       253 KILBURN LANE                                                                                                            LONDON                     W10 4BQ       KINGDOM
6479293   TAHOE MOTION PICTURE RENTALS                      PO BOX 725                                                                                                                  SUN VALLEY         CA      91352
6481350   Taillight Pictures                                155 West 15th St. Suite 1E                                                                                                  New York           NY      10011
6474564   TAIRA*ROBERT                                      Address on File
6481017   Taira, Robert                                     Address on File
6475695   TAIS                                              1 WEST PACK SQUARE                              STE 1700                                                                    ASHEVILLE          NC      28801
6479504   TAKAYANAGI\MASANOBU                               325 N BUENA VISTA STREET #208                                                                                               BURBANK            CA      91505
6479368   TAKE 1 MO. PIC. PLANT RNTL INC                    29287 SNAPDRAGON PLACE                                                                                                      CANYON COUNTRY     CA      91387
6479369   TAKE 1 MOTION PIC PLANT INC                       29287 SNAPDRAGON PLACE                                                                                                      CANYON COUNTRY     CA      91387
6475662   TAKE 1 MOTION PICTURE                             PLANT RENTALS, INC.                             PO BOX 2775                                                                 CANYON COUNTRY     CA      91386
6479474   TAKE 1 TRANSPORTATION LLC.                        2329 N. REESE PLACE                                                                                                         BURBANK            CA      91504
6492316   TAKE IT TAKE IT, INC.                             ATTN: JOHN RIGNEY, ASST SECRETARY               11812 SAN VICENTE BLVD., 4TH FLOOR                                          LOS ANGELES        CA      90049
6475192   TAKE IT, TAKE IT INC                              FSO:JODY HILL                                   2000 AVE OF THE STARS                                                       LOS ANGELES        CA      90067
6478833   TAKEN 3, INC.                                     11812 SAN VICENTE BLVD                                                                                                      LOS ANGELES        CA      90049
6475213   TAKSEL\SHARON B.                                  PMB #297                                        21704 DEVONSHIRE STREET                                                     CHATSWORTH         CA      91311
6477326   TAKSEN\MELINDA                                    1201 RIVER REACH DRIVE #207                                                                                                 FT. LAUDERDALE     FL      33315
6485519   Talas, Inc                                        4872 Topanga Cyn Blvd#331                                                                                                   Woodland Hills     CA      91364
6484378   Talenthouse Inc.                                  8810 Melrose Avenue                                                                                                         West Hollywood     CA      90069
6492718   TALENTWISE SOLUTIONS LLC                          ATTN: ROBERTA FOUTS                             PO BOX 1047                                                                 BOTHELL            WA      98041-1048
6486360   TalentWise Solutions, LLC                         P.O. Box 3876                                                                                                               Seattle            WA      98124
6473983   TALENTWISE SOLUTIONS, LLC                         P.O. BOX 3876                                                                                                               SEATTLE            WA      98124-3876
                                                                                                            ATTN: B JAMES GLADSTONE, EVP,                       2700 COLORADO AVENUE,
6491960   TALK WW PRODUCTION, INC.                          C/O LIONS GATE ENTERTAINMENT CORPORATION        BUSINESS/LEGAL                         AFFAIRS      SUITE 5000              SANTA MONICA       CA      90404
6484875   Tallal, Inc dba CommCinema                        31510 Anacapa View Dr.                                                                                                      Malibu             CA      90265
6476815   TALLEY\MELISSA BEALE                              2400 METTS AVENUE                                                                                                           WILMINGTON         NC      28403
6478337   TAMALEWOOD, LLC                                   772 CALLE ALTAMIRA                                                                                                          SANTA FE           NM      87501
6484980   Taming Bear Publishing                            17 Topsail St. #2                                                                                                           Marina Del Rey     CA      90292
6480875   Tamirisa, Anant                                   Address on File
6479581   TAMPLIN, JACK                                     12924 VALLEY HEART DRIVE                                                                                                    STUDIO CITY        CA      91604
6474796   TAMPOSI*WILLIAM                                   Address on File
6481027   Tan, Mary Jane                                    Address on File
6482671   Tandem Professional Employer Svcs.                915 Harger Rd. Suite 300                                                                                                    Oak Brook          IL      60523
6479937   Tang Media Partners, LLC                          Address on File
6482622   Tangerine Promotions West, Inc.                   900 Skokie Blvd. Suite 275                                                                                                  Northbrook         IL      60062
6485180   Tangram Fabricators, Inc.                         9200 Sorensen Ave.                                                                                                          Santa Fe Springs   CA      90670
6485404   Tania McComas                                     1624 Glider Court                                                                                                           Thousand Oaks      CA      91320
6477215   TANNEHILL\HUGH WYMAN                              491 KIMBERLY AVE.APT 203                                                                                                    ASHEVILLE          NC      28804
6479908   Tannor Capital Advisors, LLC                      Address on File                                                                                                                                                      UNITED
                                                                                                                                                                                                                                 ARAB
6795710   TANWEER VISION PICTURES LIMITED                   C/O TANWEER FILMS FZ, LLC                       DUBAI MEDIA CITY-REUTERS BUILDING #1   OFFICE 410                           DUBAI                                    EMIRATES
6472121   TAO PRODUCTIONS, LLC                              8721 W Sunset Blvd PH 8                                                                                                     West Hollywood     CA      90069
6483981   TAO Productions, LLC                              TAO PRODUCTIONS LLC DBA TAO CREATIVE                                                                                        W HOLLYWOOD        CA      90069-2273
6479263   TAPIA, MANUEL G.                                  9318 MONOGRAM AVE.                                                                                                          NORTH HILLS        CA      91343
6478083   TAPIA\FRANK                                       1685 SR 314                                                                                                                 ALBUQUERQUE        NM      87105
6475492   TAPIA\JOSIAS X                                    #817 FERNANDEZ JUNCOS AVE.                      APT.#4                                                                      SAN JUAN           PR      00907
6476250   TAPPER\BARRY J                                    367 CLINE STREET                                                                                                            EAST PITTSBURGH    PA      15112-1604
6482996   Tara Hitchcock                                    6708 E. Exeter Blvd.                                                                                                        Scottsdale         AZ      85251
6484088   Tara Shane                                        2311 Bentley Ave, Apt 6                                                                                                     Los Angeles        CA      90064
6485389   Tara Tatangelo                                    23586 Ehlers Dr.                                                                                                            Chatsworth         CA      91311
6475102   TARGA BLACK SHADOW PRODUCTIONS                    FSO EDWARD GIDDENS                              11693 SAN VICENTE BLVD., #469                                               LOS ANGELES        CA      90049




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MMLID     NAME                                                      ADDRESS                                            ADDRESS 2                       ADDRESS 3                ADDRESS 4                    CITY               STATE   POSTAL CODE COUNTRY
6484031   Targa Black Shadow Productions fso Edward Ellis Giddens   11693 San Vicente Blvd. #469                                                                                                             Los Angeles        CA      90049
6475988   TARGET RENT A CAR                                         PO BOX 11361                                                                                                                             SAN JUAN           PR      00922
6795715   TARGUMVISION, INC.                                        ATTN: LICHTER GROSSMAN                             9200 SUNSET BLVD., SUITE 1200                                                         WEST HOLLYWOOD     CA      90069
6476575   TARHEEL POWDER COATING                                    161 BLUE BELL RD                                                                                                                         GREENSBORO         NC      27406
6486347   Tarik Walmsley                                            2329 N. 62 St.                                                                                                                           Seattle            WA      98103
6476611   TARNOWSKY, BRAD                                           6510 DORNOCH DRIVE                                                                                                                       GREENSBORO         NC      27410
6480515   Tartre, Svetlana                                          Address on File
6480203   TARZANA CITY HALL                                         C/O SAN FERNANDO VALLEY CITY HALL                  117 MACNEIL STREET                                                                    SAN FERNANDO       CA      91340
6485306   Tashjian Law Group                                        500 North Central Ave. Suite 940                                                                                                         Glendale           CA      91203
6475858   TASHJIAN LAW GROUP PC                                     500 NORTH BRAND BOULEVARD                          SUITE 880                                                                             GLENDALE           CA      91203
6482250   Tatershack, The                                           1002 Bob White Rd.                                                                                                                       Kingston Springs   TN      37082
6474100   TATOSIAN*CHLOE                                            Address on File
6479665   TATTERSALL, DAVID                                         40101 MONTEREY AVE                                                                                                                       RANCHO MIRAGE      CA      92270
6479669   TAVAGLIONE\STEVEN A                                       1238 SHAKESPEARE DR                                                                                                                      RIVERSIDE          CA      92506
6478427   TAXATION & REVENUE DEPARTMENT                             2544 CAMINO EDWARD ORTIZ                                                                                                                 SANTA FE           NM      87507
6483020   Taxation and Revenue Department                           New Mexico Taxation & Revenue DeptP.O. Box 25127                                                                                         Santa Fe           NM      87504
6483982   Taylor Black                                              8899 Beverly Blvd                                                                                                                        Los Angeles        CA      90048
6468770   TAYLOR HACKFORD, EDWIN, INC.,                             C/O ZIFFREN BRITTENHAM LLP                         ATTN: DAVID NOCHIMSON           1801 CENTURY PARK WEST                                LOS ANGELES        CA      90067
6482931   Taylor Made Production                                    6800 Westgate Blvd. #132                                                                                                                 Austin             TX      78745
6480430   Taylor, Asli                                              Address on File
6491585   TAYLOR, CHRISTOPHER                                       Address on File
6480587   Taylor, Hilary                                            Address on File
6476469   TAYLOR, JUSTIN                                            605 N MAIN ST                                                                                                                            KING               NC      27021
6478696   TAYLOR\HAWA                                               741 S LA BREA                                                                                                                            LOS ANGELES        CA      90036
6477073   TAYLOR\KENNETH W.                                         497 RUSS NORIS RD.                                                                                                                       ELK PARK           NC      28672
6476270   TAYLOR\LEE                                                1124 WASHINGTON STREET                                                                                                                   MCKEESPORT         PA      15132
6484042   TBA Global LLC                                            PO Box 512550                                                                                                                            Los Angeles        CA      90051
6486403   TBD Financial Services Corp                               10145 J.J. Gagnier                                                                                                                       Montreal           QC      H2B 2Z9      CANADA
6475079   TC PRODUCTIONS, INC.                                      C/O ICM                                            10250 CONSTELLATION BLVD.                                                             LOS ANGELES        CA      90067
6485175   TCI Thermal Concepts, INC.                                3723 San Gabriel River Pkwy, Ste. E                                                                                                      Pico Rivera        CA      90660
6475016   TEA TIME FILMS, INC.                                      9100 WILSHIRE BLVD                                 #1000W                                                                                BEVERLY HILLS      CA      90212
6483894   Teal Druda                                                7616 Hollywood Blvd #308                                                                                                                 Los Angeles        CA      90046
6476816   TEAM AUTO SALES                                           4203 OLEANDER DRIVE                                                                                                                      WILMINGTON         NC      28403
6482199   TeamViewer GmbH                                           c/o TeamViewer Inc3001 N. Rocky Pt, Dr E Ste 200                                                                                         Tampa              FL      33607
6483392   Teamwell Consulting                                       1946 N. Vermont Avenue                                                                                                                   Los Angeles        CA      90027
6485027   Teanmor Inc                                               249 Euclid St                                                                                                                            Santa Monica       CA      90402
6475609   TECHNICOLOR                                               ATTN: ACCOUNTS RECEIVABLE                          P O BOX 79395                                                                         CITY OF INDUSTRY   CA      91716-9395
6475360   TECHNICOLOR                                               CREATIVE SERVICES USA, INC.                        6040 SUNSET BLVD                                                                      LOS ANGELES        CA      90028
6478732   TECHNICOLOR / COMPLETE POST                               6087 SUNSET BLVD.                                                                                                                        HOLLYWOOD          CA      90038
6486416   Technicolor Canada                                        P.O. Box 324, Station H                                                                                                                  Montreal           QC      H3G 2K8      CANADA
6491522   TECHNICOLOR CINEMA DISTRIBUTION                           DEPT 7660                                                                                                                                LOS ANGELES        CA      90088
6479639   TECHNICOLOR CREATIVE SERVICES                             P.O. BOX 79395                                                                                                                           CITY OF INDUSTRY   CA      91716-9395
6490812   TECHNICOLOR CREATIVE SERVICES USA INC. -                  ATTN:ACCOUNTS RECEI                                PO BOX 79395                                                                          CITY OF INDUSRY    CA      91716
6474998   TECHNICOLOR CREATIVE SERVICES USA, INC.                   ATTN: ACCOUNTS RECEIVABLE                          PO BOX 79395                                                                          CITY OF INDUSTRY   CA      91716-9395
6479640   TECHNICOLOR CREATIVE SERVICES USA, INC.                   PO BOX 79395                                                                                                                             CITY OF INDUSTRY   CA      91716-9395
6491520   TECHNICOLOR DIGITAL CINEMA                                DEPT 2389                                                                                                                                LOS ANGELES        CA      90084
6481417   Technicolor East Coast Inc                                110 Leroy St                                                                                                                             New York           NY      10014
6484472   Technicolor Film                                          Department 7656                                                                                                                          Los Angeles        CA      90088
6479649   TECHNICOLOR FILM SERVICES                                 5491 E PHILADELPHIA STREET                                                                                                               ONTARIO            CA      91761
6478920   TECHNICOLOR FILM SERVICES                                 DEPARTMENT 7656                                                                                                                          LOS ANGELES        CA      90088-7656
6478649   TECHNICOLOR HOLLYWOOD                                     6040 SUNSET BLVD                                                                                                                         HOLLYWOOD          CA      90028
6478626   TECHNICOLOR HOLLYWOOD                                     6040 WEST SUNSET BOULEVARD                                                                                                               LOS ANGELES        CA      90027
6479641   TECHNICOLOR INC                                           P O BOX 79395                                                                                                                            CITY OF INDUSTRY   CA      91716-9395
6468845   TECHNICOLOR PRODUCTION SERVICES                           ATTN: GENERAL COUNSEL                              6040 SUNSET BLVD., 5TH FLOOR                                                          HOLLYWOOD          CA      90028
6478921   TECHNICOLOR THEATRICAL SERVICES                           DEPARTMENT #7656                                                                                                                         LOS ANGELES        CA      90088-7656
6486584   TECHNICOLOR, INC.                                         101 W 103RD STREET                                                                                                                       INDIANAPOLIS       IN      46290
6486585   TECHNICOLOR, INC.                                         6040 SUNSET BLVD.                                                                                                                        HOLLYWOOD          CA      90028
6492110   TECHNICOLOR, INC./A/K/A TECHNICOLOR USA INC.              A/K/A, TECHNICOLOR CREATIVE SVCS USA, INC.         C/O FAEGRE BAKER DANIELS, LLP   ATTN: GEORGE MESIRES     311 S. WACKER DRIVE, SUITE   CHICAGO            IL      60606        UNITED
6486493   Technicolor, Ltd.                                         28-32 Lexington St.                                                                                                                      London                     W1F 0LF      KINGDOM
6474924   TECTUS MANAGEMENT SERVICES                                DBA: TECTUS SECURITY SERVICES, LLC                 840 SOLOMON PLACE               SUITE B                                               NEW ORLEANS        LA      70119
6475868   TECTUS SECURITY SERVICES, LLC                             840 SOLOMON PLACE                                  SUITE B                                                                               NEW ORLEANS        LA      70119
6490318   TED PEREZ + ASSOCIATES                                    ATTN: TAJ TEDROW, PRESIDENT                        1708 LINCOLN BLVD.                                                                    VENICE             CA      90291
6484957   Ted Perez +Associates                                     1708 Lincoln Blvd.                                                                                                                       Venice             CA      90291
6486083   Ted Shred                                                 4302 Pickwick Circle #210                                                                                                                Huntington Beach   CA      92649
6474544   TEED*JOHN                                                 Address on File
6476253   TEGGE\JAMES                                               1074 SAXONBURG BLVD                                                                                                                      GREENSHAW          PA      15116
6477131   TEHANDON\REYNALDO                                         218 PINE RUN RIDGE                                                                                                                       SPRUCE PINE        NC      28777
6491675   TEIALYAN* MERI                                            6328 SATSUMA AVENUE                                                                                                                      NORTH HOLLWOOD     CA      91606
6479457   TEK MEDIA GROUP                                           711 SOUTH VICTORY BLVD                                                                                                                   BURBANK            CA      91502
6491676   TELALYAN* MERI                                            Address on File




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MMLID     NAME                                                      ADDRESS                                                            ADDRESS 2                              ADDRESS 3                          ADDRESS 4                   CITY             STATE    POSTAL CODE COUNTRY
6481099   Telcohelp Communications, LLC                             30 First Street #6                                                                                                                                                       Bridgewater      MA       02324
6795699   TELEFUTURA NETWORK                                        (under Univision)                                                  605 Third Avenue                                                                                      New York         NY       10158
6476892   TELEMEDIA GROUP\THE                                       1930 GORDON ACRES DRIVE                                                                                                                                                  WILMINGTON       NC       28411
6795693   TELEVISION 360, INC.                                      C/O ZIFFREN BRITTENHAM LLP                                         ATTN: JULIAN ZAJFEN                    1801 CENTURY PARK WEST                                         LOS ANGELES      CA       90067
6468717   TELEVISION 360, INC.                                      F/S/O GUYMON CASADY AND SCOTT LAMBERT                              C/O ZIFFREN BRITTENHAM LLP             ATTN: JULIAN ZAJFEN                1801 CENTURY PARK WEST      LOS ANGELES      CA       90067
6492789   TELEVISION FOOD NETWORK, G.P DBA FOOD NETWORK             SCRIPPS NETWORKS INTERACTIVE, INC.                                 C/O WYATT TARRANT & COMBS, LLP         ATTN: MARY L. FULLINGTON           250 WEST MAIN STREET, SUITE LEXINGTON        KY       40507-1746
6758841   Television Food Network, G.P.                             1180 Avenue of the Americas                                        12th Floor                                                                                            New York         NY       10036
6758841   Television Food Network, G.P.                             c/o Wyatt, Tarrant & Combs, LLP                                    Attn: Mary L. Fullington               250 West Main Street, Suite 1600                               Lexington        KY       40507
6486109   TelMove                                                   420 Apollo Street, Suite E                                                                                                                                               Brea             CA       92821
6479191   TELVAN PRODUCTIONS                                        28725 WAGON ROAD                                                                                                                                                         AGOURA           CA       91301
6475688   TEMPLE HILL,LLC.                                          20501 VENTURA BLVD                                                 STE #325                                                                                              WOODLAND HILLS   CA       91364
6483476   Ten Fold Talent                                           6671 W Sunset Blvd                                                                                                                                                       Los Angeles      CA       90028
6476441   TENAX                                                     4800 E MONUMENT STREET                                                                                                                                                   BALTIMORE        MD       21205
6479973   TENNESSEE DEPARTMENT OF LABOR                             COMMISSIONER                                                       220 FRENCH LANDING DRIVE                                                                              NASHVILLE        TN       37243
6485495   Tenney Avenue Pictures                                    4090 E Cresthaven Drive                                                                                                                                                  Thousand Oaks    CA       91362
6472259   TENNEY*CHRISTOPHER                                        18633 DEARBORN ST                                                                                                                                                        NORTHRIDGE       CA       91324-3022
6474426   TENNEY*CHRISTOPHER                                        Address on File
6480811   Tenney, Christopher J                                     Address on File
6476914   TENNEY, KELLY                                             15 CREEKSTONE LANE                                                                                                                                                     CASTLE HAYNE       NC       28429
6479475   TENT KINGS OF LOS ANGELES INC                             3238 N SAN FERNANDO BLVD                                                                                                                                               BURBANK            CA       91504
6475487   TENTE\MATTHEW A.                                          7275 FRANKLIN AVENUE                                               APT. # 511                                                                                          LOS ANGELES        CA       90046
6486275   Terence Jennings                                          6771 Havenside Dr.                                                                                                                                                     Sacramento         CA       95831
6477664   TERESE'S TOP WORKS                                        3029 RABBIT ST                                                                                                                                                         NEW ORLEANS        LA       70122
6477148   TERMINIX SERVICE                                          3241 ASHEVILLE RD.                                                                                                                                                     WAYNESVILLE        NC       28786
6475656   TERREBONNE PARISH                                         SHERIFFS OFFICE                                                    PO BOX 1670                                                                                         HOUMA              LA       70361
6483775   Terri McAlpine                                            301 S. St. Andrews Place, #321                                                                                                                                         Los Angeles        CA       90042
6475765   TERRORBIRD MEDIA                                          455 FDR DRIVE,                                                     SUITE # B-1003                                                                                      NEW YORK CITY      NY       10002
6481253   Terrorbird Media                                          455 FDR Drive, B-1003                                                                                                                                                  New York           NY       10002
6491823   TERRORBIRD MEDIA LLC                                      455 FDR DRIVE, B-1003                                                                                                                                                  NEW YORK           NY       10002
6484300   Terry Dexter                                              3608 Barham Blvd. #U-317                                                                                                                                               Los Angeles        CA       90068
6492796   TERRY HINES & ASSOCIATES                                  C/O G.L. NEMIROW, INC.                                             ATTN: RALPH TERRACCIANO, CFO           2550 N. HOLLYWOOD WAY, SUITE                                 BURBANK            CA       91505
6484379   Terry Press                                               c/o Linda Lichter9200 Sunset Blvd. Ste 1200                                                                                                                            West Hollywood     CA       90069
6479797   TESFAY, SAMI                                              1 WIGSTON CLOSE                                                                                                                                                        EDMONTON           London   N18 1XE      ENGLAND
6480330   TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                      P.O. BOX 13528, CAPITOL STATION                                                                                                                                        AUSTIN             TX       78711-3528
6482830   Texas Drumstick, LLC                                      Killer Joe                          14301 Caliber Dr., Suite 300                                                                                                       Oklahoma City      OK       73134
6491381   TEXAS NAVIGATOR COMPANY, INC., THE                        1311 7TH AVE N                                                                                                                                                         NASHVILLE          TN       37208-2607
6482923   Texas Secretary of State                                  Registrations UnitP.O. Box 13550                                                                                                                                       Austin             TX       78711
6479958   TEXAS WORKFORCE COMMISSION                                EXECUTIVE DIRECTOR                                                 101 EAST 15TH STREET                   ROOM 651                                                     AUSTIN             TX       78778-0001
6482904   TFI Resources, Inc.                                       P.O. Box 4346, Dept. 517                                                                                                                                               Houston            TX       77210
6477140   TGF SUPER CLEAN PORT A JON'S                              369 JAYBIRD LN.                                                                                                                                                        WAYNESVILLE        NC       28785
6483983   TGM, LLC                                                  6310 San Vicente Blvd.Suite 501                                                                                                                                        Los Angeles        CA       90048
6795691   TGV PICTURES SDN BHD                                      MENARA MAXIS, 6TH FLOOR                                            KUALA LUMPUR CITY CENTRE                                                                            KUALA LUMPUR                50088        MALAYSIA
6478452   THAL\DOUGLAS                                              69 BONANZA CREEK RD                                                                                                                                                    SANTA FE           NM       87508
6475699   THALIA STREET PRODUCTIONS                                 10880 WILSHIRE BLVD                                                STE 2100                                                                                            LOS ANGELES        CA       90024
6795681   THATARGETED                                               2550 N. HOLLYWOOD WAY                                              SUITE 600                                                                                           BURBANK            CA       91505
6478338   THATCH\LEONARD I.                                         1079 MANSION RIDGE RD                                                                                                                                                  SANTA FE           NM       87501
6491425   THE 1992 DIANE WARREN TRUST DBA REALSONGS                 6363 SUNSET BLVD. 8TH FLOOR                                                                                                                                            LOS ANGELES        CA       90028
6478392   THE ACCESSORY ANNEX                                       1512 PACHECO ST                                                                                                                                                        SANTA FE           NM       87505
6795685   THE ALLIANCE OF MOTION PICTURE AND TELEVISION PRODUCERS   15301 Ventura Boulevard, Building E                                                                                                                                    Sherman Oaks       CA       91403
6479911   The Catalyst Capital Group Inc.                           Address on File
6480253   THE CITY OF LONG BEACH                                    1 WEST CHESTER STREET                                              ROOM 301                                                                                            LONG BEACH         NY       11561
6478658   THE CITY OF LOS ANGELES                                   PO BOX 30968                                                                                                                                                           LOS ANGELES        CA       90030-0968
6480312   THE CITY OF POWDER SPRINGS                                TAX COLLECTOR OFFICE                                               TAX DIVISION                           4484 MARIETTA STREET                                         POWDER SPRINGS     GA       30127
6480313   THE CITY OF STOCKBRIDGE TAX COLLECTOR OFFICE              CITY HALL                                                          TAX DIVISION                           4640 NORTH HENRY BOULEVARD                                   STOCKBRIDGE        GA       30281
6468998   THE COMMUNITY DEVELOPMENT AGENCY                          OF THE CITY OF LA                                                  1200 WEST SEVENTH ST. SUITE 200                                                                     LOS ANGELES        CA       90017
6476039   THE COUNTRY GALLERY LLC                                   PO BOX 70                                                                                                                                                              RUPERT             VT       05768
                                                                                                                                       HENRY WINTERSTERN, ARIANNE FRASER, &
6795667   THE CROW REBORN, LLC                                      C/O HIGHLAND FILM GROUP                                            ALANA CROW                             9200 SUNSET BLVD. SUITE 600                                  WEST HOLLYWOOD     CA       90069
6795657   The Crow Reborn, LLC                                      c/o Namaste Productions                                            Attn: Ron Myers                        15233 Ventura Blvd., Suite 610                               Sherman Oaks       CA       91403
6795656   The Crow Reborn, LLC                                      c/o Namaste Productions, Inc.                                      Attn: Ron Myers                        15233 Ventura Blvd, Suite 610                                Sherman Oaks       CA       91403
                                                                                                                                       HENRY WINTERSTERN, ARIANNE FRASER, &
6795658   THE CROW REBORN, LLC                                      HIGHLAND FILM GROUP                                                ALANA CROW                             9200 SUNSET BLVD, SUIT 600                                   WEST HOLLYWOOD     CA       90069
6795660   THE DEEP DARK                                             WOODS                                                              1888 EMERY STREET                      SUITE 111                                                    ATLANTA            GA       30318
6475095   THE DEPARTMENT OF                                         VETERANS AFFAIRS-AGENT CASHIER                                     11301 WILSHIRE BLVD                                                                                 LOS ANGELES        CA       90073
6795651   THE ECHO LABEL LIMITED                                    6100 WILSHIRE BOULEVARD                                            SUITE #1600                                                                                         LOS ANGELES        CA       90048
6483718   The Ether                                                 1023 N. Orange Drive                                                                                                                                                   Los Angeles        CA       90038
6480136   THE FIDELITY INVESTMENTS CHARITABLE GIFT FUND             ATTENTION: RYAN A. BOLAND                                          200 SEAPORT BLVD., MAIL ZONE Z3B                                                                    BOSTON             MA       02210
6477619   THE FRENCH CASTING COMPANY INC                            8025 ST. CHARLES AVE                                                                                                                                                   NEW ORLEANS        LA       70118        UNITED
6795644   THE FYZZ FACILITY FILM 7 LIMITED                          ATTN: WAYNE MARC GODFREY/ROBERT JONES                              77 FORTRESS ROAD, 2ND FLOOR                                                                         LONDON                      NW5 1AG      KINGDOM
6484112   The Garvey Group West Large Format Facility, LLC          3116 W. Avenue 32                                                                                                                                                      Los Angeles        CA       90065




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                                                                                                                                  Served First Class Mail

MMLID     NAME                                                  ADDRESS                                                     ADDRESS 2                                  ADDRESS 3                 ADDRESS 4                     CITY                STATE   POSTAL CODE COUNTRY
6485482   The Geffen Company fso Jason Geffen                   32514 Carrie Place                                                                                                                                             Westlake Village    CA      91361
6795645   The Gotham Group                                      F/S/O Ellen Goldsmith-Vein and Jeremy Bell                  Attn: Eric Robinson                        1041 N Formosa Avenue     Formosa West Building Suite   West Hollywood      CA      90046
6484380   The London West Hollywood                             1020 N San Vicente Blvd                                                                                                                                        West Hollywood      CA      90069
6479464   THE LOOPING GROUP                                     PO BOX 846                                                                                                                                                     BURBANK             CA      91503
                                                                                                                            C/O HANSEN JACOBSON TELLER HOBERMAN,                                 450 NORTH ROXBURY DRIVE,
6492120   THE MILWAUKEE CONNECTION, INC. F/S/O R. LEE           FLEMING                                                     ET AL                                      ATTN: KEN RICHMAN, ESQ.   8TH FLOOR                     BEVERLY HILLS       CA      90210
6795647   THE NEILSEN COMPANY, LLC                              ATTN: SENIOR VICE PRESIDENT-FIANCE                          GLOBAL MEDIA CLIENT SERVICES               85 BROAD STREET                                         NEW YORK            NY      10004
6795641   THE NIELSON COMPANY, LLC                              ATTN: SENIOR VICE PRESIDENT-FIANCE                          GLOBAL MEDIA CLIENT SERVICES               85 BROAD STREET                                         NEW YORK            NY      10004
6786930   The Onion c/o Univision Communications                c/o Szabo Associates, Inc.                                  3355 Lenox Road NE, Suite 945                                                                      Atlanta             GA      30326
6491794   THE POINT MEDIA, INC                                  350 S BEVERLY DRIVE                                         SUITE 170                                                                                          BERVERLY HILLS      CA      90212
6475369   THE POST GROUP                                        ACCOUNTS RECEIVABLE,                                        6335 HOMEWOOD AVENUE                                                                               LOS ANGELES         CA      90028-8198
6491602   THE PRODUCTION TRUCK, INC.                            711 RUBERTA AVENUE                                                                                                                                             GLENDALE            CA      91201
6475327   THE RAG PLACE ATLANTA, INC.                           PINEWOOD ATLANTA STUDIOS                                    500 SANDY CREED ROAD, BLDG 2001, STE 101                                                           FAYETTEVILLE        GA      30214
6795633   THE RUDDY MORGAN ORGANIZATION, INC.                   1180 S BEVERLY DR STE 700                                                                                                                                      LOS ANGELES         CA      90035
6477899   THE RUSTY ROOSTER                                     211 N RANGE AVE                                                                                                                                                DENHAM SPRINGS      LA      70726
6468856   THE SCOOP RESEARCH COMPANY                            510 EAST 85TH STREET, SUITE 3H                                                                                                                                 NEW YORK            NY      10028
6479920   The Shipston Group, LLC                               Address on File
6480166   THE TOWN OF BEDFORD NY                                AMY PECTOL                                                  RECEIVER                                   BEDFORD TOWNHOUSE         321 BEDFORD ROAD              BEDFORD HILLS       NY      10507
6478597   THE VILLAGE                                           PO BOX 25369                                                                                                                                                   LOS ANGELES         CA      90025
6491848   THE WALL GROUP LA LLC                                 421 WEST 14TH STREET, 2ND FLOOR                                                                                                                                NEW YORK            NY      10014
6795626   THE WEINSTEIN COMPANY                                 345 HUDSON STREET, 13TH FLOOR                                                                                                                                  NEW YORK            NY      10014
6795628   THE WEINSTEIN COMPANY                                 375 GREENWICH STREET                                                                                                                                           NEW YORK            NY      10013
6795636   THE WEINSTEIN COMPANY                                 ATTN ADRIAN J. LOPEZ-SVP                                    9100 WILSHIRE BLVD                                                                                 BEVERLY HILLS       CA      90212
6795631   THE WEINSTEIN COMPANY LLC                             ATTN: ANDREW KRAMER, BUSINESS & LEGAL AFFAIRS               9100 WILSHIRE BLVD                                                                                 BEVERLY HILLS       CA      90212
6468793   THE WEINSTEIN COMPANY, LLC                            ATTN: ADRIAN J. LOPEZ-SVP,                                  BUSINESS & LEGAL AFFAIRS                   9100 WILSHIRE BLVD.                                     BEVERLY HILLS       CA      90212
6490693   THE WEINSTEIN COMPANY, LLC                            ATTN: MICHAL STEINBERG                                      99 HUDSON STREET                                                                                   NEW YORK            NY      10013
6482884   The Wolfe Group                                       P.O. Box 793963                                                                                                                                                Dallas              TX      75379
6795623   THE WRITERS GUILD OF AMERICA WEST, INC.               ATTN: GENERAL COUNSEL                                       555 WEST 57TH STREET                                                                               NEW YORK            NY      10019
6486548   The Yucaipa Companies                                 Attn: Henry E. Orren                                        9130 WEST SUNSET BOULEVARD                                                                         Los Angeles         CA      90069
6484611   Theater Partners Group, LLC                           100 N. Crescent Drive, Suite #150                                                                                                                              Beverly Hills       CA      90210
6477892   THEATRE ANTIQUES                                      228 N RANGE AVE                                                                                                                                                DENHAM SPRINGS      LA      70706
6475792   THEATREDREAMS LA/CHI, LP                              6801 HOLLYWOOD BLVD.                                        SUITE 180                                                                                          HOLLYWOOD           CA      90028
6491331   THEATRES AT MALL OF AMERICA                           60 EAST BROADWAY                                                                                                                                               MINNEAPOLIS         MN      55425
6484089   theAudience, Inc.                                     c/o Perry, Neidorf & Grassl11400 W. Olympic Blvd, Ste 590                                                                                                      Los Angeles         CA      90064
6481797   TheCelebrityCafe.com                                  414 Nassau Parkway                                                                                                                                             Oceanside           NY      11572
6484251   Then What? Films, Inc.                                c/o Creative Artists Agency2000 Avenue of the Stars                                                                                                            Los Angeles         CA      90067
6485601   Theodore Kerhulas                                     15926 Valley Wood Road                                                                                                                                         Sherman Oaks        CA      91403
6473330   THEODORE KERHULAS                                     9522 LA TUNA CANYON RD                                                                                                                                         SUN VALLEY          CA      91352-2245
6485103   Theodore Lepore                                       1933 18th StreetApt. 103                                                                                                                                       Santa Monica        CA      90404
6475339   THERIO\JERRY                                          D/B/A NEW ORLEANS NEON                                      5229 MAGAZINE ST                                                                                   NEW ORLEANS         LA      70115
6480497   Thewes, Taylor                                        Address on File
6477591   THIBADOUX\ALEX                                        1302 MARIGNY ST                                                                                                                                                NEW ORLEANS         LA      70117
6478743   THIBAULT\KEVIN                                        3114 GLENMANOR PLACE                                                                                                                                           LOS ANGELES         CA      90039
6479545   THIN MAN INC                                          11516 MORRISON ST                                                                                                                                              NORTH HOLLYWOOD     CA      91601
6478217   THINGS, ETC                                           1138 SAN MATEO SE                                                                                                                                              ALBUQUERQUE         NM      87112
6484923   Thinklatino!                                          2780 Santa Maria Rd.                                                                                                                                           Topanga             CA      90290
6477430   THINKSTOCK                                            PO BOX 953604                                                                                                                                                  ST LOUIS            MO      63195
6484090   Third Child Productions, Inc.                         11845 W. Olympic Blvd. Suite 1125W                                                                                                                             Los Angeles         CA      90064
6475104   THIRD CHILD PRODUCTIONS, INC.                         F/S/O GINA PRINCE-BYTHEWOOD                                 11845 W. OLYMPIC BLVD # 1125W                                                                      LOS ANGELES         CA      90064
6483895   Third Screen Inc.                                     2824 Nichols Canyon Rd., Suite C                                                                                                                               Los Angeles         CA      90046
6486413   Third Side Music, Inc.                                1499 William St. Suite 2                                                                                                                                       Montreal            QC      H3C 1R4      CANADA
6484612   Thirst Project, The                                   468 North Camden Dr.                                                                                                                                           Beverly Hills       CA      90210
6483719   This is Just a Test Productions, Inc.                 1040 N. Las Palmas Ave.Bldg. 40                                                                                                                                Los Angeles         CA      90038
6491426   THIS IS JUST TEST PRODUCTIONS, INC.                   6253 HOLLYWOOD BLVD, SUITE 205                                                                                                                                 LOS ANGELES         CA      90028
6486240   thisMoment, Inc                                       5725 Paradise Dr.Suite A130                                                                                                                                    Corte Madera        CA      94925
6482197   Thomas & LoCicero PL                                  601 South Boulverad                                                                                                                                            Tampa               FL      33606
6486167   Thomas DeCoud                                         101 Montgomery St. Suite 2800                                                                                                                                  San Francisco       CA      94104
6485157   Thomas E. Spence dba Jinx Props                       21757 S. Western Ave. #B                                                                                                                                       Torrance            CA      90501
6484902   Thomas Foden                                          15419 Via de Las Olas                                                                                                                                          Pacific Palisades   CA      90272
6491499   THOMAS J. WEISS                                       Address on File
6483648   Thomas Just (expenses)                                450 N Vista Street                                                                                                                                             Los Angeles         CA      90036
6483197   Thomas Parker                                         1115 S. Lucerne Blvd.                                                                                                                                          Los Angeles         CA      90019
6483649   Thomas Tapp                                           143 S. Highland Ave.                                                                                                                                           Los Angeles         CA      90036
6476857   THOMAS TOWING & TRANSPORT                             6428 AMSTERDAM WAY                                                                                                                                             WILMINGTON          NC      28405
6484381   Thomas Wilhelm                                        9130 W. Sunset Blvd.                                                                                                                                           West Hollywood      CA      90069
6482623   Thomas Windle                                         c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                               Northbrook          IL      60062
6480889   Thomas, Caleb                                         Address on File
6480465   Thomas, Joanne                                        Address on File
6477467   THOMAS\MATTHEW                                        4508 WADE ST                                                                                                                                                   METAIRIE            LA      70003
6478613   THOMAS\PETER M.                                       1730 LUCILE AVENUE                                                                                                                                             LOS ANGELES         CA      90026




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MMLID     NAME                                                  ADDRESS                                                           ADDRESS 2                        ADDRESS 3                      ADDRESS 4                CITY               STATE   POSTAL CODE COUNTRY
6476228   THOMAS\TROY A                                         1221 KIRKPATRICK AVENUE                                                                                                                                    NORTH BRADDOCK     PA      15104
6481180   Thomas-Faison Agency, Inc., The                       97 Highwood Ave.                                                                                                                                           Englewood          NJ      07631
6491393   THOMPSON* ANTONIO                                     Address on File
6475934   THOMPSON/NATALIE                                      1A FAIRWAY AVE.                                                                                                                                            KINGSTON                                JAMAICA
6477406   THOMPSON\ANDREW EGAN                                  3315 WEST 46TH STREET                                                                                                                                      MINNEAPOLIS        MN      55410
6476343   THOMPSON\CRAIG                                        1711 OUR WAY                                                                                                                                               PITTSBURGH         PA      15219
6491724   THOMSON COMPUMARK                                     P.O. BOX 71892                                                                                                                                             CHICAGO            IL      60694-1892
6482750   Thomson CompuMark                                     PO Box 71892                                                                                                                                               Chicago            IL      60694
6492847   THOMSON REUTERS                                       ATTN: KRISTI POPOWITZ, 3RD PARTY COORDINATOR                      610 OPPERMAN DR.                                                                         EAGAN              MN      55123
6481760   Thor Productions | Thorsten Thielow, LLC              80 Winthrop St. #F4                                                                                                                                        Brooklyn           NY      11225
6474805   THORNTON*BRIAN A                                      Address on File
6475148   THOUGHT EQUITY                                        ATTENTION: STEPHANIE LEBSACK                                      1530 16TH STREET, 6TH FLOOR                                                              DENVER             CO      80202
6484382   Three Ladders LLC                                     748 1/2 N. La Cienega Blvd                                                                                                                                 West Hollywood     CA      90069
6795616   THREE POINT CAPITAL ,LLC                              630 FIFTH AVENUE                                                  SUITE 2505                                                                               NEW YORK           NY      10111
6795617   THREE POINT CAPITAL, LLC,                             630 FIFTH AVENUE                                                  SUITE 300                                                                                BEVERLY HILLS      CA      90210
6474930   THREE RIVERS ENTERTAINMENT                            & PRODUCTION                                                      1028 SAW MILL RUN BLVD                                                                   PITTSBURGH         PA      15220
6476409   THREE RIVERS POWER SWEEP INC                          85 CRABAPPLE LANE                                                                                                                                          APOLLO             PA      15613        UNITED
6486391   Three Six Zero Group, Ltd.                            14 Jacks Place, 6 Corbet Place                                                                                                                             London                     E1 6NN       KINGDOM
6474839   THUNDAT*RACHEL                                        Address on File
6483536   Thunder Road Entertainment                            3200 S. Sepulveda Blvd. #F-10                                                                                                                              Los Angeles        CA      90034
                                                                                                                                  LAVIOLETTE/FELDMAN SCHENKMAN &   ATTN: CARLOS GOODMAN & GREG    150 S. RODEO DR. THIRD
6468708   THUNDER ROAD FILM PRODUCTIONS, INC.                   C/O BLOOM HERGOTT DIEMER ROSENTHAL                                GOODMAN LLP                      SLEWETT                        FLOOR                    BEVERLY HILLS      CA      90212
6484736   Thunder Road Film Productions, Inc.                   Attn: Carlos Goodman & Greg Slewett150 S. Rodeo Dr. Third Floor                                                                                            Beverly Hills      CA      90212
6485602   Thunderkick Films                                     4608 Vista Del Monte Ave, #205                                                                                                                             Sherman Oaks       CA      91403
6477410   THURLOW\DAVID                                         1411 S BOZMAN AVE                                                                                                                                          BOZEMAN            MT      59715
6492324   THX LTD                                               ATTN: AARON ENDO, VP FINANCE                                      1255 BATTERY STREET, STE.#100                                                            SAN FRANCISCO      CA      94111
6477300   THYSSENKRUPP ELEVATOR                                 P.O. BOX 933004                                                                                                                                            ATLANTA            GA      31193-3004   HONG
6492141   TIAN MING CAPITAL HOLDINGS I, INC.                    C/O IDG CAPITAL MANAGEMENT (HK) LTD                               ATTN: CHI SING HO                UNIT 5505, 55/F, THE CENTER    99 QUEEN'S ROAD          CENTRAL                                 KONG
                                                                                                                                                                                                                                                                   HONG
6480108   TIAN MING CAPITAL HOLDINGS I, INC.                    C/O IDG CAPITAL MANAGEMENT (HK) LTD                               ATTN: CHI SING HO                UNIT 5505, 55/F, THE CENTRE,   99 QUEEN’S ROAD          CENTRAL                                 KONG
6486049   ticktBox Enterprises                                  7670 OPPORTUNITY RD STE 250                                                                                                                                San Diego          CA      92111-2272
6492149   TICKTBOX, LLC                                         7670 OPPORTUNITY RD                                               STE 250                                                                                  SAN DIEGO          CA      92111-2272
6478980   TIECHE, JR., THOMAS O.                                3628 SCHAEFER STREET                                                                                                                                       CULVER CITY        CA      90232
6474831   TIEDEMAN*JEFF                                         Address on File
6483171   tierzero.net                                          700 Wilshire Blvd., 6th Floor                                                                                                                              Los Angeles        CA      90017
6481283   Tiffany L. Saxby                                      73 1st Ave. #12                                                                                                                                            New York           NY      10003
6477273   TILL\LUCAS D.                                         1502 JAMERSON LANDING                                                                                                                                      MARIETTA           GA      30066
6476656   TILLEY, DEANNA C.                                     207 N. CHURCH ST                                                                                                                                           LOWELL             NC      28098
6481418   Tim Howard Management, Inc.                           55 Bethune St. #2308                                                                                                                                       New York           NY      10014
6484383   Tim Talbott                                           Agency for the Performing Arts9200 W. Sunset Blvd., 9th. Floor                                                                                             West Hollywood     CA      90069
6481005   Timbreza-Dano, Dannen                                 Address on File
6483315   Time Code Multimedia                                  12340 Santa Monica Blvd., Suite 230                                                                                                                        Los Angeles        CA      90025
6482203   Time Cuistomer Service, Inc                           PO Box 62121                                                                                                                                               Tampa              FL      33662
6485985   Time Warner Cable                                     PO Box 60074                                                                                                                                               City Of Industry   CA      91716
6476697   TIME WARNER CABLE                                     PO BOX 70872                                                                                                                                               CHARLOTTE          NC      28272-0872
6481520   Time Warner Cable Inc.                                1633 Broadway, 40th Floor                                                                                                                                  New York           NY      10019
6490394   TIME WARNER CABLE MEDIA INC.                          ATTN: LEKETHA WALKER                                              316 E. MOREHEAD STREET                                                                   CHARLOTTE          NC      28202
6469646   TIMECODE STUDIOS                                      P.O. BOX 808                                                      CALOUNDRA                                                                                QUEENSLAND                              AUSTRALIA
6486540   Timecode Studios                                      P.O. Box 808                                                                                                                                               Caloundra          QLD                  Australia
6477027   TIMELESS TEASURES                                     122 E.MOORE STREET                                                                                                                                         SOUTHPORT          NC      28461        SOUTH
6489495   TIMES MEDIA FILMS, A DIVISION OF TIME MEDIA           (PTY) LTD                                                         PO BOX 1746                      SAXONWORLD, 2132                                        JOHANNESBURG                            AFRICA
6491512   TIMOTHY BLAKE                                         Address on File
6482412   Timothy Denardo c/o Dead Oceans                       1499 West 2nd Street                                                                                                                                       Bloomington        IN      47403
6482624   Timothy Federowicz                                    c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                           Northbrook         IL      60062
6483198   Timothy M. Herndon                                    1237 1/4 S. Dunsmuir Ave. # 2                                                                                                                              Los Angeles        CA      90019
6482855   Timothy Matthews                                      4840 Allencrest Ln.                                                                                                                                        Dallas             TX      75244
6491466   TIMOTHY R. EDGAR                                      Address on File
6481521   Timothy White Photography                             451 West 54th St.                                                                                                                                          New York           NY      10019
6475385   TIMUSIC, LLC.                                         F/S/O TIMOTHY ANDREW DAVIES                                       745 N. CRESCENT HEIGHTS BLVD                                                             LOS ANGELES        CA      90046
6485854   Tina Au                                               5227 Denny Ave. #303                                                                                                                                       North Hollywood    CA      91601
6483984   Tina Mirfarsi                                         8899 Beverly Blvd                                                                                                                                          Los Angeles        CA      90048
6483478   Tina Randall                                          1716 N. Gramercy                                                                                                                                           Los Angeles        CA      90028
6484737   Tinello Holdings Limited                              c/o William Morris Agency151 El Camino Drive                                                                                                               Beverly Hills      CA      90212
6476915   TINGA NURSERY, INC.                                   2918 CSTLE HAYNE ROAD                                                                                                                                      CASTLE HAYNE       NC      28429
6486232   Tippett Studio                                        2741 10th St.                                                                                                                                              Berkeley           CA      94710
6476817   TIPPETT\JEFF                                          2230 METTS AVENUE                                                                                                                                          WILMINGTON         NC      28403
6476239   TIPTON, KIMBERLY                                      232 SCENIC HILL DRIVE                                                                                                                                      CARNEGIE           PA      15106
6478683   TIRL\HENRY                                            1040 S ROBERTSON BLVD                                                                                                                                      LOS ANGELES        CA      90035
6491369   TISCI*RICCARDO                                        1 RUE DAUPHINE                                                                                                                                             PARIS                      75006        FRANCE
6474671   TISDALE*JENNIFER                                      Address on File
6484253   Tisdale, Inc.                                         c/o CAA2000 Ave of the Stars                                                                                                                               Los Angeles        CA      90067




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MMLID     NAME                                                    ADDRESS                                               ADDRESS 2                              ADDRESS 3                       ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6479155   TISE\EDWARD                                             435 TAMARAC DR                                                                                                                           PASADENA          CA      91105
6476332   TISHERMAN\BARBARA                                       5145 BEELER STREET                                                                                                                       PITTSBURGH        PA      15217
6485307   Titra California Inc                                    733 Salem St                                                                                                                             Glendale          CA      91203
6486003   Titus Imaging                                           4355 E Airport Drive Suite #106                                                                                                          Ontario           CA      91761
6484465   TiVo, Inc.                                              Dept. 8277                                                                                                                               Los Angeles       CA      90084
6492630   TIVOLI ENTERPRISES DBA CLASSIC CINEMAS                  ATTN: LAURA DENLINGER                                 603 ROGERS ST                                                                      DOWNERS GROVE     IL      60515
6485878   TJ Amato                                                11310 Camarillo ST #307                                                                                                                  North Hollywood   CA      91602
6486075   TKOart                                                  18023 Sky Park Circle, Suite B                                                                                                           Irvine            CA      92614
6490328   TKOART                                                  ATTN: HEATHER KATZ, COO                               18023 SKY PARK CIRCLE, SUITE B                                                     IRVINE            CA      92614
6472720   TLA PRODUCTIONS, INC.                                   24955 PACIFIC COAST HWY. #101                                                                                                            MALIBU            CA      90265
6492422   TLA PRODUCTIONS, INC.                                   ATTN: MARC LESCHER, OWNER                             24955 PACIFIC COAST HWY., #B200                                                    MALIBU            CA      90265
6475140   TM MOTION PICTURE EQUIPMENT                             RENTALS INC.                                          1501 UNIVERSITY BLVD. NE                                                           ALBUQUERQUE       NM      87102
6484385   TMC Realty LLC                                          8800 W Sunset Blvd                                                                                                                       West Hollywood    CA      90069
6486055   TMH Labs Corporation                                    6224 Hoot Owl Trail                                                                                                                      Yucca Valley      CA      92248
6484657   Tobuscus, Inc.                                          8383 Wilshire Blvd. #1050                                                                                                                Beverly Hills     CA      90211
6485104   Toby Fleischman                                         1328 1/4 14th St                                                                                                                         Santa Monica      CA      90404
6482137   Toby Turner                                             2408 Parker Drive                                                                                                                        Niceville         FL      32578
6481351   Todd Alan Nickels                                       319 W. 18th St. #4-I                                                                                                                     New York          NY      10011
6485879   Todd Delano                                             11540 Moorpark StreetUnit 402                                                                                                            North Hollywood   CA      91602
6486371   Todd Jensen                                             5344 35th St. E                                                                                                                          Fife              WA      98424
6491367   TODD K. LEWIS                                           Address on File
6483498   Todd R. Abrams                                          840 Montecito Dr.                                                                                                                        Los Angeles       CA      90031
6484613   Todd Stein                                              450 N. Roxbury Dr. 8th Floor                                                                                                             Beverly Hills     CA      90210
6486142   Todd Wood                                               103c W. Calle Crespis                                                                                                                    Santa Barbara     CA      93105
6485793   Todd-AO Burbank                                         2901 W. Alameda Avenue                                                                                                                   Burbank           CA      91505
6478917   TODD-AO STUDIOS                                         DEPT 8250                                                                                                                                LOS ANGELES       CA      90084-8250
6479158   TODD-SOUNDELUX LLC.                                     P. O. BOX 31001-2010                                                                                                                     PASADENA          CA      91110-2010
6481649   Togut, Segal & Segal, LLP Special Escrow                One Penn Plaza, Ste 3335                                                                                                                 New York          NY      10119
6474986   TOIL AND TROUBLE, INC.                                  FSO: DAVID TWOHY                                      C/O ICM - 8942                                                                     BEVERLY HILLS     CA      90211
6468765   TOIL AND TROUBLE, INC/ DAVID TWOHY (ARTIST)             C/O ICM PARTNERS                                      ATTN: JOHN BURNHAM, AGENT              10250 CONSTELLATION BOULEVARD               LOS ANGELES       CA      90067
6468755   TOIL AND TROUBLE, INC/ DAVID TWOHY (ARTIST)             C/O LAW OFFICE OF JULIA SCOTT, APC                    ATTN: JULIA SCOTT, ESQ.                433 NORTH CAMDEN DRIVE        SUITE 600     BEVERLY HILLS     CA      90210
6477819   TOLBERT\ROY TODD                                        PO BOX 1976                                                                                                                              COVINGTON         LA      70434
6476319   TOLLAN\BARBRA C                                         830 CARNIVAL WAY                                                                                                                         PITTSBURGH        PA      15210
6474464   TOLMAN*JASON                                            Address on File
6480637   Tolman, Jason                                           Address on File
6480204   TOLUCA LAKE CITY HALL                                   C/O SAN FERNANDO CITY HALL                            117 MACNEIL STREET                                                                 SAN FERNANDO      CA      91340
6485050   Tom Forman                                              Attn: Andi La Rosa1158 26th Street, #547                                                                                                 Santa Monica      CA      90403
6483650   Tom Just                                                450 N Vista St                                                                                                                           Los Angeles       CA      90036
6482838   Tom Kartsotis                                           1039 E. 15th St.                                                                                                                         Plano             TX      75074
6485246   Tom Loftus                                              487 Ellis Street                                                                                                                         Pasadena          CA      91105
6482785   Tom Rooker                                              4124 Brookridge Drive                                                                                                                    Shawnee Mission   KS      66205
6482786   Tom Rooker (Expenses)                                   4124 Brookridge Drive                                                                                                                    Shawnee Mission   KS      66205
6476254   TOMASIC III\WILLIAM R                                   1539 BUTLER PLANK ROAD                                                                                                                   GLENSHAW          PA      15116
6478614   TOMAYKO\ANDREW                                          2435 WEST SUNSET BOULEVARD                                                                                                               LOS ANGELES       CA      90026
6475912   TOMITA & ASSOC INC.                                     24006 BRIDGEPORT LANE                                 UNIT 50                                                                            VALENCIA          CA      91353
6485926   Tomlinson Management Group, Inc.                        4400 Coldwater Canyon Avenue - Suite # 127                                                                                               Studio City       CA      91604
6491672   TOMLINSON MANAGEMENT GROUP, INC.                        4407 BABCOCK AVE.                                                                                                                        STUDIO CITY       CA      91604
6492819   TOMLINSON MANAGEMENT GROUP, INC.                        ATTN: KELLY POLLACK, OWNER                            12522 MOORPARK STREET, SUITE 107                                                   STUDIO CITY       CA      91604
6485855   Tommy Aagaard                                           4860 1/2 Riverton Ave                                                                                                                    North Hollywood   CA      91601
6484254   Tommy Wirkola                                           c/o Creative Artists Agency2000 Avenue of the Stars                                                                                      Los Angeles       CA      90067        HONG
6795582   TOMSON INTERNATIONAL ENTERTAINMENT DISTRIBUTION LTD     ATTN: YVONNE CHUANG                                   ROOMS 1507-12, 15/F, WINGS ON CENTER   111 CONNAUGHT ROAD CENTRAL                  HONG KONG                              KONG
                                                                                                                                                                                                                                                  HONG
6795581   TOMSON INTERNATIONAL ENTERTAINMENT DISTRIBUTION, LTD.   ATTN: YVONNE CHUANG                                   ROOMS 1507-12, 15/F, WING ON CENTRE    111 CONNAUGHT ROAD CENTRAL                                                         KONG
6475051   TONI MAIER-ON LOCATION INC                              8033 W SUNSET BLVD                                    #569                                                                               LOS ANGELES       CA      90046
6477486   TONTI MANAGEMENT                                        4433 CONLIN ST                                                                                                                           METAIRIE          LA      70006
6481129   Tony Grazia                                             3 Jericho Road South                                                                                                                     Sherman           CT      06784
6483002   Tony Jefferson                                          8701 S. Hardy Dr.                                                                                                                        Tempe             AZ      85284
6483720   Tony Marsh                                              1040 N. Las Palmas Ave.Bldg#40                                                                                                           Los Angeles       CA      90038
6484819   Tony Valenzuela                                         4232 Duquesne                                                                                                                            Culver City       CA      90232
6483897   Tonya Toone                                             7949 Selma Ave. #1                                                                                                                       Los Angeles       CA      90046
6478393   TONY'S RENTAL                                           3147 CERRILLOS ROAD                                                                                                                      SANTA FE          NM      87505
6475827   TOOL AND DYE FINISHING, INC.                            640 S. SAN VICENTE BLVD.                              SUITE 310                                                                          LA                CA      90048
6487929   TOOLEY* TUCKER                                          C/O VENABLE LLP                                       ATTN: HAMID R. RAFATJOO, ESQ.          2049 CENTURY PARK EAST, SUITE               LOS ANGELES       CA      90067
6474516   TOOLEY*WILLIAM                                          Address on File
6480861   Tooley, William R                                       Address on File
6479076   TOOLIN\PHILLIP B.                                       1637 BERKELEY ST.#3                                                                                                                      SANTA MONICA      CA      90404
6478981   TOOLS TO GO, INC                                        10248 CULVER BLVD                                                                                                                        CULVER CITY       CA      90232
6480771   Toone, Tonya                                            Address on File
6477282   TOP DOG TALENT AGENCY                                   1214 WELCOME RD                                                                                                                          NEWNAN            GA      30263
6480221   TOPANGA CITY HALL                                       C/O LOS ANGELES CITY HALL                             200 NORTH SPRING STREET                                                            LOS ANGELES       CA      90012
6475144   TOPPER PRODUCTIONS, INC.                                F/S/O: BRIAN O'NEILL,                                 1511 MACKAY LANE                                                                   REDONDO BEACH     CA      90278




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                                                                                                                  Served First Class Mail

MMLID     NAME                                               ADDRESS                                        ADDRESS 2                         ADDRESS 3                   ADDRESS 4              CITY                STATE   POSTAL CODE COUNTRY
6486169   Topsy Labs, Inc.                                   140 Second St. Floor 6                                                                                                              San Francisco       CA      94105
6484091   Torafuku Japanese Restaurant                       10914 Pico Blvd                                                                                                                     Los Angeles         CA      90064
6478941   TORME, DAISY A.                                    351 NORTH OAKHURST DRIVE                                                                                                            BEVERLY HILLS       CA      90210
6469765   TORO, COLÌ_N, MULLET, RIVERA & SIFRE               P.O. BOX 195383                                                                                                                     SAN JUAN            PR      00919-5383
6481071   Toro, Colón, Mullet, Rivera & Sifre                P.O. Box 195383                                                                                                                     San Juan            PR      00919-5383
6475306   TORO, COLON, MULLET, RIVERA & SIFRE, PSC           UNION PLAZA, SUITE 311                         416 AVENUE PONCE DE LEON                                                             SAN JUAN            PR      00918
6492775   TORO, COLON. MULLET, RIVERA & SIFRE, P.S.C         P.O. BOX 195383                                                                                                                     SAN JUAN            PR      00919-5383
6477884   TORREGANO JR\DERRICK                               PO BOX 6711                                                                                                                         SLIDELL             LA      70469
6475566   TORRES RUIZ\ZENAIDA                                ALTURAS DE SANTA MARIA                         ELEMI #115                                                                           GUAYNABO            PR      00969
6482471   Total Administrative Services Corporation - TASC   PO Box 88278                                                                                                                        Milwaukee           WI      53288
6476698   TOTAL EVENT PRODUCTION,INC.                        720 IMPERIAL COURT                                                                                                                  CHARLOTTE           NC      28273
6484987   Totally Sketch                                     8500 Pershing Drive#307                                                                                                             Playa Del Rey       CA      90293
6476617   TOUCHSTONE 3D SERVICES                             P.O. BOX 5504                                                                                                                       CARY                NC      27512
6480567   Touhey, Emma                                       Address on File
6480471   Toumayan, Alexander                                Address on File
6475365   TOURNAY\LORI                                       DBA TOURNAY LLC                                613 ROUTE 30                                                                         CLINTON             PA      15026
6476863   TOURVILLE TRANSPORT, LLC                           4801 FIELDBROOK DR.                                                                                                                 KANNAPOLIS          NC      28407
6481905   Towers Watson                                      1500 Market St. Centre Square East                                                                                                  Philadelphia        PA      19102
6485626   Town & Country Event Rentals                       7725 Airport Business Park Way                                                                                                      Van Nuys            CA      91406
6491635   TOWN & COUNTRY EVENT RENTALS, INC.                 7700 AIRPORT BUSINESS PARK WAY                                                                                                      VAN NUYS            CA      91406
6485627   Town and Country Event Rentals                     7725 Airport Business Parkway                                                                                                       Van Nuys            CA      91406
6477057   TOWN CREEK TIMBER CO.                              3048 RIVER RD SE                                                                                                                    WINNABOW            NC      28479
6480177   TOWN OF EAST BLOOMFIELD, NY                        KATHLEEN COOPER                                TAX COLLECTOR                     3234 WHEELER STATION ROAD                          BLOOMFIELD          NY      14469
6480208   TOWN OF GERMANTOWN                                 ATTN: JANICE MULLINS, TAX COLLECTOR            141 S. FIRST ST.                                                                     GERMANTOWN          NY      12526
6480169   TOWN OF HARRISON                                   MARK HEINBOCKEL                                ASSESOR                           1 HEINEMAN PLACE                                   HARRISON            NY      10528
6480168   TOWN OF HUNTINGTON                                 ROGER RAMME                                    TOWN ASSESSOR                     100 MAIN STREET             TOWN HALL (ROOM 100)   HUNTINGTON          NY      11743
6476925   TOWN OF KURE BEACH                                 117 SETTLERS LANE                                                                                                                   KURE BEACH          NC      28449
6480307   TOWN OF LOS GATOS                                  110 E. MAIN ST.                                                                                                                     LOS GATOS           CA      95030
6476472   TOWN OF MADISON                                    120 NORTH MARKET STREET                                                                                                             MADISON             NC      27025
6477128   TOWN OF OLD FORT                                   38 CATAWBA AVENUE                                                                                                                   OLD FORT            NC      28762
6480167   TOWN OF OYSTER BAY                                 JAMES J. STEFANICH                             RECEIVER OF TAXES                 TOWN HALL WEST              74 AUDREY AVENUE       OYSTER BAY          NY      11771
6476550   TOWN OF RAMSEUR                                    PO BOX 545                                                                                                                          RAMSEUR             NC      27316
6480233   TOWN OF SOMERS                                     TERESA STEGNER                                 335 ROUTE 202                                                                        SOMERS              NY      10589
6480197   TOWN OF SOUTH HAMPTON                              LISA GOREE                                     116 HAMPTON RD                                                                       SOUTH HAMPTON       NY      11968
6477149   TOWN OF WAYNESVILLE                                16 SOUTH MAIN STREET                                                                                                                WAYNESVILLE         NC      28786
6477216   TOWN OF WOODFIN                                    90 ELK MOUNTAIN RD.                                                                                                                 ASHEVILLE           NC      28804
6476818   TOWNE PLACE SUITES BY MARRIOTT                     305 EASTWOOD RD.                                                                                                                    WILMINGTON          NC      28403
6478068   TOWNSEND\JUDI                                      2644 CAMPBELL RD NW                                                                                                                 ALBUQUERQUE         NM      87104
6485728   Toy Box Entertainment                              400 S. Victory Blvd. Suite 201                                                                                                      Burbank             CA      91502
6492593   TOY BOX ENTERTAINMENT                              ATTN: ROLAND MESA, CO-PRESIDENT                400 S. VICTORY BLVD., SUITE 201                                                      BURBANK             CA      91502
6476134   TOY, MARIAN                                        415 LEONARD ST., APT 5C                                                                                                             BROOKLYN            NY      11222
6475052   TOY\MARION                                         415 LEONARD ST                                 #5C                                                                                  BROOKLYN            NY      11222
6481615   TPG Rewards, Inc.                                  111 John St. 27th Floor                                                                                                             New York            NY      10038
6483073   Tracey Mattingly LLC                               530 N Larchmont Blvd. #4                                                                                                            Los Angeles         CA      90004
6483537   Tractor Vision, Inc.                               2601 Castle Heights Place                                                                                                           Los Angeles         CA      90034
6468860   TRACY GILCHRIST                                    4336 GOLF COURSE DR.                                                                                                                WESTLAKE VILLAGE    CA      91362
6484903   Tracy Pollard                                      848 Greentree Rd.                                                                                                                   Pacific Palisades   CA      90272
6482402   Tracy Porter                                       6435 W. Jefferson Blvd. #197                                                                                                        Fort Wayne          IN      46804
6491478   TRAILER PARK INC.                                  PO BOX 51745                                                                                                                        LOS ANGELES         CA      90051
6492170   TRAILER PARK, INC.                                 ATTN: STEPHEN ORTIZ, VP/FINANCE                6922 HOLLYWOOD BLVD.              12TH FLOOR                                         HOLLYWOOD           CA      90028
6492270   TRAILER PARK, INC. DBA ART MACHINE                 ATTN: RACHEL MCINTYRE, VP/BUSINESS AFFAIRS &   COMPLIANCE                        6922 HOLLYWOOD BLVD.                               HOLLYWOOD           CA      90028
6486170   Trailerpop, Inc.                                   555 Market St., 4th Floor                                                                                                           San Francisco       CA      94105
6795577   TRANS LUX CIN-CONSULTING                           135 East 57th Street, 14th Floor                                                                                                    New York            NY      10022
6485628   Trans-Exec Air Service, Inc.                       7240 Hayvenhurst Place #200                                                                                                         Van Nuys            CA      91406
6482316   Transfer Records, LLC                              4203 Stammer Place                                                                                                                  Nashville           TN      37215
6486365   Transgroup Express, INC                            P.O. Box 69207                                                                                                                      Seattle             WA      98168
6485017   Transit, LLC                                       1441 4th Street                                                                                                                     Santa Monica        CA      90401
6481443   TransPerfect Translations International, Inc.      3 Park Avenue, 39th Floor                                                                                                           New York            NY      10016
6475277   TRANSPORTATION RENTAL &                            SALES, INC.                                    3531 SECOND ST. SW                                                                   ALBUQUERQUE         NM      87105
6490699   TRANSPORTATION RESOURCES, LLC                      722 COLLINS HILL ROAD                          BOX H-319                                                                            LAWRENCEVILLE       GA      30045
6491696   TRANSTONE PRODUCTIONS DBA GREAT HONESTY MUSIC      P.O. BOX 547                                                                                                                        LARKSPUR            CA      94977
6475120   TRANTER/JUNEAN M                                   DBA RJT'S ICE CREAM                            130 PARK SIDE DRIVE                                                                  HOOKSTOWN           PA      15050
6477832   TRASCHER\GERALD A                                  304 PRINCE DR                                                                                                                       MADISONVILLE        LA      70447
6476404   TRASH IT                                           1284 CAMP WILDWOOD RD                                                                                                               NORMALVILLE         PA      15469
6475845   TRAVELCORP, LLC                                    16420 PARK TEN PLACE DR                        SUITE 550                                                                            HOUSTON             TX      77084
6486014   Travelpro Corporation                              1427 W. Valley Blvd. #102                                                                                                           Alhambra            CA      91801
6475059   TRAVERS\MITCHELL                                   620 WEST 143RD ST                              #70                                                                                  NEW YORK            NY      10031
6475955   TRAVIESO\ANGEL                                     C 2 C 13                                                                                                                            CEIBA               PR      00735
6485629   Travis Greene                                      16724 Tim Lane                                                                                                                      Van Nuys            CA      91406
6482146   Travis King                                        10331 Lake Sheen Reserve Blvd                                                                                                       Orlando             FL      32836




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                                                                                                                                 Served First Class Mail

MMLID     NAME                                                  ADDRESS                                                     ADDRESS 2                           ADDRESS 3                      ADDRESS 4                 CITY               STATE   POSTAL CODE COUNTRY
6480268   TREASURER AND TAX COLLECTOR                           225 N. HILL STREET #1                                                                                                                                    LOS ANGELES        CA      90012
6480300   TREASURER-TAX COLLECTOR                               P.O. BOX 579                                                                                                                                             SANTA BARBARA      CA      93102
6484614   Trebor Productions, Inc                               1256 Beverly View Drive                                                                                                                                  Beverly Hills      CA      90210
6474941   TREBOR PRODUCTIONS, INC.                              FSO: PAM DIXON                                              1256 BEVERLY VIEW DRIVE                                                                      BEVERLY HILLS      CA      90210
6474873   TRECO*S. DANIELLE                                     Address on File
6483316   Tree Line Films                                       c/o Gregg Reneau Group11075 Santa Monica Blvd., 125                                                                                                      Los Angeles        CA      90025
6484738   Tree Media Group                                      c/o William Morris AgencyOne William Morris Place                                                                                                        Beverly Hills      CA      90212
6469550   TREEFIGHT FOR SUNLIGHT                                C/O MORTEN W. NIELSEN                                       OESTRIGSGADE 38, 4TH                                                                         COPENHAGEN S               2300       DENMARK
6486541   Treefight For Sunlight                                c/o Morten W. NielsenOestrigsgade 38, 4th 2300                                                                                                           Copenhagen S                          Denmark
6478559   TREIDSTONE BAPTIST CHURCH                             5606 WEST ADAMS BLVD.                                                                                                                                    LOS ANGELES        CA      90016
6478428   TREJO\SERGIO                                          4650 AIRPORT ROAD                                                                                                                                        SANTA FE           NM      87507
6476604   TREK BICYCLE STORE GREENSBORO                         1209 BATTLEGROUND AVE                                                                                                                                    GREENSBORO         NC      27408
6482072   TreMedia Inc                                          3238 Linda's Circle                                                                                                                                      Conyers            GA      30013
6479259   TRENCH PLATE RENTAL COMPANY                           12458 GLADSTONE AVE                                                                                                                                      SYLMAR             CA      91342
6485999   Trenton Hara                                          920 S. Garfield Ave.                                                                                                                                     Monterey Park      CA      91754
6480486   Trerotola, Christopher                                Address on File
6469754   TRESSCOX LAWYERS                                      LEVEL 20, 135 KING ST.                                                                                                                                   SYDNEY                                AUSTRALIA
6486542   TressCox Lawyers                                      Level 20, 135 King St.                                                                                                                                   Sydney             NSW     2000       Australia
6479192   TRESSFUSSER, INC.                                     28804 SOUTH LAKESHORE DR.                                                                                                                                AGOURA HILLS       CA      91301
6492769   TREUL* JAMES A.                                       Address on File
6795568   TREVOR DRINKWATER                                     ARC ENTERTAINMENT                                           3212 NEBRASKA AVE                                                                            SANTA MONICA       CA      90404
6482625   Trevor May                                            c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                         Northbrook         IL      60062
6485105   Trevor Morris Music, Ltd.                             1550 18th St.                                                                                                                                            Santa Monica       CA      90404
6478560   TREVOR PEARSON PRODUCTIONS                            5290 W WASHINGTON BLVD                                                                                                                                   LOS ANGELES        CA      90016
6479505   TREW AUDIO LOS ANGELES, INC.                          2243 N. HOLLYWOOD WAY                                                                                                                                    BURBANK            CA      91505
6478882   TREW AUDIO LOS ANGELES, INC.                          3325 CAHUNEGA BLVD                                                                                                                                       LOS ANGELES        CA      90068
6483651   Tri Destined Films, Inc. f/s/o Gregory Anderson       5900 Wilshire Blvd., 26th FlrSuite 2610B                                                                                                                 Los Angeles        CA      90036
6795555   TRI PICTURES INTERNATIONAL S.L.                       ENRIQUE JARDIEL PONCELA,4,                                                                                                                               MADRID                     28016      SPAIN
6795536   TRI STATE THEA SERV INC.                              3157 NORBROOK DRIVE                                                                                                                                      MEMPHIS            TN      38116      UNITED
6486385   Triangle Recording Company, Ltd.                      184 Ingrave Rd. Brentwood                                                                                                                                Essex                      BN13 2AG   KINGDOM
6476635   TRIANGLE RENT A CAR                                   PO BOX 58536                                                                                                                                             RALEIGH            NC      27690
6475127   TRIANGLE RENT-A-CAR                                   ALTERNATIVE CLAIMS MANAGEMENT                               140 HEIMER RD. STE # 740                                                                     SAN ANTONIO        TX      78232
6476634   TRIANGLE RENT-A-CAR,LLC.                              P.O. BOX 58536                                                                                                                                           RALEIGH            NC      27658
6481182   Tribal Tours, Inc. fso Brian Bradley                  c/o CMW560 Sylvan Ave. Suite 3045                                                                                                                        Englewood Cliffs   NJ      07632
6481398   Tribeca Cinemas, LLC                                  54 Varick Street                                                                                                                                         New York           NY      10013
6476087   TRIBECA SCREENING ROOM                                375 GREENWICH ST                                                                                                                                         NEW YORK           NY      10013
6488558   TRIBUNE MEDIA COMPANY                                 C/O WGN CONTINENTAL BROADCASTING COMPANY, LLC               ATTN: MELISSA M. BALDERAS, CREDIT   435 N. MICHIGAN AVE.                                     CHICAGO            IL      60611
6468740   TRICK HOUSE PRODUCTIONS, INC.                         F/S/O JONATHAN GOLDSTEIN                                    C/O UNITED TALENT AGENCY            ATTN: JOHN HUDDLE              9336 CIVIC CENTER DRIVE   BEVERLY HILLS      CA      90210
6479804   TRICKY GUY SPECIAL EFFECTS                            101-1001 W. BROADWAY                                                                                                                                     VANCOUVER          BC      V6H4E4     CANADA
6484769   Tri-con Productions, LLC dba Jump! Creative           5901 Green Valley Circle, Suite 475                                                                                                                      Culver City        CA      90230
6481324   Trident Media Group                                   41 Madison Ave. 36th Floor                                                                                                                               New York           NY      10010
6477778   TRIGG\TRAVIS EDGAR                                    2008 US HIGHWAY 90                                                                                                                                       PATTERSON          LA      70392
6484092   Trigger LLC                                           2237 Corinth Avenue                                                                                                                                      Los Angeles        CA      90064
6486691   Trigger Street Productions, Inc                       450 N. Roxbury                                              8th Fl                                                                                       Beverly Hills      CA      90210
6475204   TRINITY METHODIST CHURCH                              OF SOUTHPORT                                                209 E. NOSH STREET                                                                           SOUTHPORT          NC      28461
6795571   TRIPICTURES INTERNATIONAL S.I.                        ENRIQUE JARDIEL PONCELA, 4                                                                                                                               MADRID                     28016      SPAIN
6492700   TRIPICTURES INTERNATIONAL S.L.                        ATTN: ELISA MARTIN DE BLAS                                  ENRIQUE JARDIEL PONCELA, 4                                                                   MADRID                     28016      SPAIN
6490375   TRISTAN J.M. BOSTON                                   DBA FIRE HAZARD MUSIC PUBLISHING                            2529 S. SEPULVEDA BLVD.                                                                      LOS ANGELES        CA      90064
6490413   TRISTAN PRETTYMAN DBA ET'S WIG SHOP, INC.             C/O NFW & ASSOC CPA'S                                       39 BROADWAY, SUITE 750                                                                       NEW YORK           NY      10006
6470812   TRI-STATE INDEPENDENT THEATRE OWNERS ASSOC            PO BOX 679                                                                                                                                               MURRAY             KY      42071
6482345   Tri-State Independent Theatre Owners Assoc. (TSITA)   P.O. Box 419                                                                                                                                             Columbia           TN      38402
6482352   Tri-State Independent Theatre Owners Association      PO Box 679                                                                                                                                               Murray             KY      42071
6476286   TRI-STATE REPROGRAPHICS INC                           2934 SMALLMAN ST                                                                                                                                         PITTSBURGH         PA      15201
6478766   TRK                                                   11099 S. LA CIENEGA BLVD., SUITE #220                                                                                                                    LOS ANGELES        CA      90045
6479150   TROJAN GROUP, INC.\THE                                301 N LAKE AVE #810                                                                                                                                      PASADENA           CA      91101
6481876   Troutman Family LP dba Cinema Supply/Cinema Centers   415 Berrysburg Rd.                                                                                                                                       Millersburg        PA      17061
6476750   TROUTMAN\DAVID                                        30 NORTHERN BLVD.                                                                                                                                        WILMINGTON         NC      28401
6476486   TROUVAILLE HOME, INC.                                 938 BURKE ST                                                                                                                                             WINSTON-SALEM      NC      27101
6482759   Troy Taylor dba The Avon Theater 3                    130 S. Austin Ave.                                                                                                                                       Decatur            IL      62522
6475564   TRUCK BROKERS INC.                                    CINE LEASE 2205-G                                           DISTRIBUTION CENTER DR.                                                                      CHARLOTTE          NC      28269
6474911   TRUCK BROKERS, INC                                    DBA: TRUCK BROKERS, INC.                                    CINELEASE                           300 JEFFERSON HWY                                        JEFFERSON          LA      70121
6795539   TRUE MOON SKYE, INC                                   REC#482-TRUE MOON SKYE, INC./N/A                            AGENT: BARRY GREENFIELD             10960 WILSHIRE BLVD STE 1900                             LOS ANGELES        CA      90024
6483479   True Public Relations, Inc.                           6725 W. Sunset Blvd. Suite 470                                                                                                                           Los Angeles        CA      90028
6478299   TRUJILLO\DENNIS                                       #40 COUNTY RD 5412                                                                                                                                       BLOOMFIELD         NM      87413
6478457   TRUJILLO\PHILLIP                                      P.O. BOX 130                                                                                                                                             ABIQUIU            NM      87510
6478458   TRUJILLO\VIRGIL                                       P.O. BOX 187                                                                                                                                             ABIQUIU            NM      87510
6481399   Trunk Images Inc. dba Truck Archive                   466 Broome St. 4th Floor                                                                                                                                 New York           NY      10013
6470829   TRUSTEDSEC, LLC                                       11565 PEARL RD. SUITE 301                                                                                                                                STRONGSVILLE       OH      44136
6482372   TrustedSec, LLC                                       14780 Pearl Rd Ste 300                                                                                                                                   Strongsville       OH      44136
6485018   Trustees of Robert Graves Copyright Trust             c/o Rabineau, Wachter, Sanford, & Harris522 Wilshire Blvd                                                                                                Santa Monica       CA      90401




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                                                                                                                              Served First Class Mail

MMLID     NAME                                                    ADDRESS                                                ADDRESS 2                               ADDRESS 3                         ADDRESS 4               CITY                STATE   POSTAL CODE COUNTRY
6476287   T'S UPHOLSTERY STUDIO LLC                               3611 BUTLER STREET                                                                                                                                       PITTSBURGH          PA      15201
6486719   TSC Media, LLC                                          5663 Jumilla Ave                                                                                                                                         Woodland Hills      CA      91367
6474824   TSIHLOPOULOS*ANASTASIA                                  Address on File
6481025   Tsou, Jack                                              Address on File
6474545   TUCHIN*PAUL                                             Address on File
6479700   TUERS\GARY                                              5471 SAN JOAQUIN ST                                                                                                                                      SIMI VALLEY         CA      93063
6486303   Tuli Leota                                              87-490 Farrington Hwy.                                                                                                                                   Waianae             HI      96792        UNITED
6479779   TULIP-CLOSE, TAYLOR                                     45 SHAFTESBURY ROAD                                                                                                                                      POOLE DORSET                BH15 2LU     KINGDOM
6482832   Tulsa Community Foundation                              7030 S. Yale, Suite 600                                                                                                                                  Tulsa               OK      74136
6491959   TUMBLR, INC.                                            C/O BIALSON BERGEN & SCHWAB,                           A PROFESSIONAL CORPORATION              ATTN: LAWRENCE SCHWAB/THOMAS 2600 EL CAMINO REAL, SUITE   PALO ALTO           CA      94306
6486543   Tunamedia, Inc.                                         26 Golf Ave.                                                                                                                                             Pointe-Claire       QC      H9S 4N5      CANADA
6485019   Tunnel, Inc. dba Tunnel Post                            233 Wilshire Blvd., Suite 100                                                                                                                            Santa Monica        CA      90401
6476900   TUREK\DANIEL A.                                         4013 E. BISHOP CT                                                                                                                                        WILMINGTON          NC      28412
6476819   TURMEL\TRUDY OLIVIA                                     221 BROOKWOOD AVENUE                                                                                                                                     WILMINGTON          NC      28403
6492251   TURNER BROADCASTING SALES, INC.                         C/O VORYS SATER SEYMOUR AND PEASE LLP                  ATTN: TIFFANY STRELOW COBB              52 E. GAY STREET                                          COLUMBUS            OH      43215
6487821   TURNER BROADCASTING SYSTEM, INC. ON BEHALF              OF ITSELF AND CERTAIN OF ITS SUBSIDIARIES              C/O VORYS SATER SEYMOUR AND PEASE LLP   ATTN: TIFFANY STRELOW COBB, ESQ. 52 EAST GAY STREET       COLUMBUS            OH      43215
6474499   TURNER*NICHOLAS                                         Address on File
6480846   Turner, Nicholas J.                                     Address on File
6477247   TURNER\BRIAN                                            225 CEMBERLAND DR                                                                                                                                        MOORE               SC      29369
6795534   TURNTHEVOLUMEUP, INC.                                   PO Box 801630                                                                                                                                            SANTA CLARITA       CA      91380
6477285   TURPIN\FRANK                                            747 RALPH MCGILL BLVD NE #1412                                                                                                                           ATLANTA             GA      30312
6478024   TURTLE GRASS SILVER INC.                                PO BOX 76                                                                                                                                                CERRILLOS           NM      87010
6479011   TURTLES PROGRESS LLC.                                   16751 MONTE HERMOSO DRIVE                                                                                                                                PACIFIC PALISADES   CA      90272
6477494   TUSCANY IMPORTS, INC                                    1510 WOODLAND HWY                                                                                                                                        BELLE CHASSE        LA      70037
6482014   TUW of Allen Watkins Sr. FBO Allen Watkins Jr           P.O. Box 2278                                                                                                                                            High Point          NC      27261
6478791   TUXEDOS BY MIKE                                         7449 SUNSET BLVD.                                                                                                                                        HOLLYWOOD           CA      90046
6487826   TV ONE, LLC                                             ATTN: JODY DREWER, CEO                                 ATTN: MARC D. SWANGIN                   1010 WAYNE AVENUE                 SUITE 1000              SILVER SPRING       MD      20910
6492147   TVGLA                                                   C/O JOSHUA P. FRIEDMAN & ASSOC. INC.                   ATTN: JOSHUA P. FRIEDMAN                9903 SANTA MONICA BOULEVARD       SUITE 1108              BEVERLY HILLS       CA      90212
6795525   TVGLA                                                   TVGLA-5340 ALLA RD                                     #100                                                                                              LOS ANGELES         CA      90066
6795526   TVN ENTERTAINMENT CORPORATION                           (under AMDOCS)                                         1390 Timberlake Manor Parkway                                                                     Chesterfield        MO      63017
6483652   Twelve Tone Productions, Inc                            PO Box 36356                                                                                                                                             Los Angeles         CA      90036
6795527   TWELVESIXTY LLC                                         ATTN: GENERAL COUNSEL                                  PO BOX 6470                                                                                       MALIBU              CA      90264
6492709   TWELVESIXTY, LLC                                        ATTN: ROBERT MARDEROSIAN                               P.O. BOX 6470                                                                                     MALIBU              CA      90264
6478995   TWELVESIXTY, LLC                                        PO BOX 6470                                                                                                                                              MALIBU              CA      90264
6484440   Twentieth Century Fox Film Corp dba Fox Entertainment   File 55864                                                                                                                                               Los Angeles         CA      90074
6481606   Twentieth Century Fox Films, Inc.                       1211 Avenue of the Americas - 3rd Floor                                                                                                                  New York            NY      10036
6795512   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC            ATTN: EXECUTIVE VICE PRESIDENT, LEGAL DEPARTMENT       PO BOX 900                                                                                        BEVERLY HILLS       CA      90213
6795516   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC            ATTN: GENERAL COUNSEL                                  2121 AVENUE OF THE STARS                SUITE 1441                                                LOS ANGELES         CA      90067
6795486   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC            PO BOX 900                                                                                                                                               BEVERLY HILLS       CA      90213
6488529   TWENTIETH TELEVISION INC.                               C/O ALSTON & BIRD LLP                                  ATTN: LEIB M. LERNER                    333 S. HOPE STREET, 16TH FLOOR                            LOS ANGELES         CA      90071
6481054   Twenty Four 9 Films UG                                  Volksgartenstraße 44A                                                                                                                                    Köln                        50677        Germany
6486363   Twenty One and Over Production                          2203 Airport Way SouthBuilding A, Suite 400                                                                                                              Seattle             WA      98134
6481247   TWIG Consulting Engineers, P.C.                         7 Penn Plaza, Suite 702                                                                                                                                  New York            NY      10001
6476245   TWIN HI-WAY DRIVE-IN                                    2013 EWINGS MILL ROAD                                                                                                                                    CORAOPOLIS          PA      15108
6486299   Twin Peaks Creative                                     1265 Naalae Rd.                                                                                                                                          Kula                HI      96790
6491690   TWITTER, INC. DBA NICHE                                 1355 MARKET ST. SUITE 900                                                                                                                                SAN FRANCISCO       CA      94103
6483393   Two Boats Wa Wa                                         4409 Avacado St                                                                                                                                          Los Angeles         CA      90027
6484615   Two Boats Wawa f/s/o Miles Chapman                      c/o Paradigm AgencyAttn: Mark Ross360 N Crescent Dr.                                                                                                     Beverly Hills       CA      90210
6480339   TWO DRIFTERS, INC.                                      F/S/O MARISSA JO CERAR                                 C/O ICM PARTNERS                        10250 CONSTELLATION BLVD          ATTN: CULLEN CONLEY     LOS ANGELES         CA      90067
6480347   TWO DRIFTERS, INC./F/S/O MARISSA JO CERAR               C/O HEROES & VILLAINS ENTERTAINMENT                    ATTN: MIKHAIL NAYFELD                   1041 N. FORMOSA AVE., FORMOSA     SUITE 202               LOS ANGELES         CA      90046
6480348   TWO DRIFTERS, INC./F/S/O MARISSA JO CERAR               C/O MYMAN GREENSPAN FINEMAN ET AL.                     ATTN: KIM STENTON                       11601 WILSHIRE BLVD, SUITE 2200                           LOS ANGELES         CA      90025
6483172   Two Dudes One Truck LLC dba Grill Em All                398 Loma Dr. #21                                                                                                                                         Los Angeles         CA      90017
6475229   TWO MEN AND A TRUCK                                     OF ASHEVILLE                                           240 RUTLEDGE RD.                                                                                  FLETCHER            NC      28732
6468794   TWR PRODUCTIONS INC                                     C/0 MANAGEMENT 360                                     ATTN: DARIN FRIEDMAN & GUYMON CASADY 9111 WISHIRE BLVD.                                           BEVERLY HILLS       CA      90210
6468804   TWR PRODUCTIONS INC                                     C/O SLOANE OFFER WEBER & DERN LLP                      ATTN: HARIS HARTMAN                  9601 WILSHIRE BLVD., SUITE 500                               BEVERLY HILLS       CA      90210
6468803   TWR PRODUCTIONS INC                                     C/O WME ENTERTAINMENT                                  ATTN: RICH COOK                      9601 WILSHIRE BLVD., 3RD FLOOR                               BEVERLY HILLS       CA      90210
6484386   twtMob, Inc.                                            8721 W. Sunset Blvd. P10                                                                                                                                 West Hollywood      CA      90069
6492285   TX- COMPTROLLER OF PUBLIC ACCOUNTS                      C/O OFFICE OF THE ATTORNEY GENERAL                     ATTN: BANKRUPTCY-COLLECTIONS DIVISION   P.O. BOX 12548                                            AUSTIN              TX      78711-2548
6482626   Ty Douglas Buttrey                                      c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                                        Northbrook          IL      60062
6482944   Ty Lawson                                               c/o Denver Nuggets1000 Chopper Circle                                                                                                                    Denver              CO      80204
6486350   Tyee Way                                                15729 Euclid Ave NE                                                                                                                                      Bainbridge Island   WA      98110
6482952   Tygris Commercial Finance                               Dept# 1608                                                                                                                                               Denver              CO      80291
6481638   Tylawtellem, LLC                                        888 7th Ave. Suite 500                                                                                                                                   New York            NY      10106
6482627   Tyler Holt                                              c/o Relativity Baseball400 Skokie Blvd. Suite 280                                                                                                        Northbrook          IL      60062
6485880   Tyler K Buschman                                        4432 Ensign Ave. Apt #5                                                                                                                                  North Hollywood     CA      91602
6482628   Tyler Moore                                             c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                                         Northbrook          IL      60062
6476229   TYLER\WILLIAM                                           1326 KIRKPATRICK AVE                                                                                                                                     N BRADDOCK          PA      15104
6479998   U.S. DEPARTMENT OF LABOR                                200 CONSTITUTION AVE., NW                                                                                                                                WASHINGTON          DC      20210
6479989   U.S. DEPARTMENT OF LABOR/OSHA                           OSHA REGION 1                                          JFK FEDERAL BUILDING, ROOM E340                                                                   BOSTON              MA      02203
6479963   U.S. DEPARTMENT OF LABOR/OSHA                           OSHA REGION 10                                         300 FIFTH AVENUE                        SUITE 1280                                                SEATTLE             WA      98104-2397




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                                                                                                                                              Master Mailing List
                                                                                                                                             Served First Class Mail

MMLID     NAME                                                          ADDRESS                                                         ADDRESS 2                              ADDRESS 3                         ADDRESS 4                   CITY                     STATE   POSTAL CODE COUNTRY
6479972   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 2                                                   201 VARICK STREET, ROOM 670                                                                          NEW YORK                 NY      10014
6479948   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 3                                                   THE CURTIS CENTER-SUITE 740 WEST       170 S. INDEPENDENCE MALL WEST                                 PHILADELPHIA             PA      19106
6479982   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 4                                                   61 FORSYTH STREET, SW, ROOM 6T50                                                                     ATLANTA                  GA      30303
6479974   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 5                                                   230 SOUTH DEARBORN STREET, ROOM 3244                                                                 CHICAGO                  IL      60604
6479980   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 6                                                   525 GRIFFIN STREET, SUITE 602                                                                        DALLAS                   TX      75202
6479949   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 7                                                   TWO PERSHING SQUARE BUILDING           2300 MAIN STREET, SUITE 1010                                  KANSAS CITY              MO      64108
6479970   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 8                                                   1999 BROADWAY, SUITE 1690                                                                            DENVER                   CO      80202
6479988   U.S. DEPARTMENT OF LABOR/OSHA                                 OSHA REGION 9                                                   90 7TH STREET, SUITE 18100                                                                           SAN FRANCISCO            CA      94103
6482905   U.S. Legal Support                                            P.O. Box 4772-11                                                                                                                                                     Houston                  TX      77210
6475823   U.S. LOGISTICS                                                471 NORTH BROADWAY                                              SUITE 301                                                                                            JERICHO                  NY      11753
6478339   U.S. TREASURY                                                 501 NORTH GUADALUPE STREET                                                                                                                                           SANTA FE                 NM      87501
6484477   UC Regents                                                    100 UCLA Medical Plaza, Suite 525                                                                                                                                    Los Angeles              CA      90095
6484478   UCLA Foundation - 6580                                        UCLA Anderson School of Management110 Westwood Plaza, Suite                                                                                                          Los Angeles              CA      90095
6478394   UESUGI\GORO                                                   1219 LUIS STREET                                                                                                                                                     SANTA FE                 NM      87505
6477028   UGARTE\MARIE E.                                               6472 ROLLING RUN ROAD                                                                                                                                                SOUTHPORT                NC      28461
6486300   Uhane Consulting                                              P.O. Box 1067                                                                                                                                                        Kula                     HI      96790
6481168   UIC, Inc.                                                     PO Box 491                                                                                                                                                           Mahwah                   NJ      07430
6486004   Uline                                                         2950 Jurupa St                                                                                                                                                       Ontario                  CA      91761
6477402   ULINE, INC.                                                   12575 ULINE DRIVE                                                                                                                                                    PLEASANT PRAIRIE         WI      53158
6481352   Ultra International Music Publishing                          235 West 23rd St. 6th Floor                                                                                                                                          New York                 NY      10011
6491837   ULTRA INTERNATIONAL MUSIC PUBLISHING LLC                      235 WEST 23RD ST, 6TH FLOOR                                                                                                                                          NEW YORK                 NY      10011
6470002   ULTRA RECORDS LLC                                             235 WEST 23RD ST, 6TH FLOOR                                                                                                                                          NEW YORK                 NY      10011
6486036   Ultra Star Cinemas                                            1060 Joshua Way                                                                                                                                                      Vista                    CA      92081
6479385   ULTRATONE, INC.                                               5755 CANTALOUPE AVENUE                                                                                                                                               VAN NUYS                 CA      91401
6479268   UMAMOTO/STANLEY                                               12612 KENNY DRIVE                                                                                                                                                    GRANADA HILLS            CA      91344
6492698   UMEDIA PRODUCTION SERVICES SPRL                               AVENUE LOUISE 235                                               B-1050                                                                                               BRUXELLES                        BE0867      BELGIUM
6468890   UMG RECORDING, INC.                                           DBA CAPITOL STUDIOS/MASTERING                                   ATTN: MICHAEL GUY T-11                 1750 N. VINE STREET                                           LOS ANGELES              CA      90028
6483480   UMG Recording, Inc. dba Capitol Studios/Mastering             1750 N. Vine StreetAttn: Michael Guy T-11                                                                                                                            Los Angeles              CA      90028
6485106   UMG Recordings, Inc. dba EMI Label Services                   2200 Colorado Ave.                                                                                                                                                   Santa Monica             CA      90404
6482321   UMG Recordings, Inc. dba UMG Nashville                        Attn: Katherine Beakes401 Commerce St. Suite 1100                                                                                                                    Nashville                TN      37219
6476176   UMGER\MARK                                                    804 PARK ROAD                                                                                                                                                        CLINTON                  PA      15026
6481444   Unconventional Partners                                       630 1st Ave. #16-R                                                                                                                                                   New York                 NY      10016
6486101   Undersea Systems International dba Ocean Technology Systems   3133 W. Harvard Street                                                                                                                                               Santa Ana                CA      92704
6795465   UNDERWORLD                                                    CHRYSTALIS MUSIC GROUP                                          c/o BMG US                             SUITE 1600                                                    LOS ANGELES              CA      90048
6479887   UNDERWRITERS AT LLOYD'S OF LONDON /                           HISCOX SYNDICATE #3624                                          NYREESE ARZU                           601 S. FIGUEROA ST., SUITE 2650                               LOS ANGELES              CA      90017
6479888   UNDERWRITERS AT LLOYD'S OF LONDON /                           HISCOX SYNDICATE #3624                                          TYLER PETERSON                         601 S. FIGUEROA ST., SUITE 2650                               LOS ANGELES              CA      90017
6484094   Undisputed Cinema, LLC                                        11845 W. Olympic Blvd. #1125W                                                                                                                                        Los Angeles              CA      90064
6475081   UNFETTERED PRODUCTIONS, INC.                                  F/S/O WILLIAM FETTERS                                           1050 N. EDINBURGH AVE. #305                                                                          WEST HOLLYWOOD           CA      90046
6483898   Unfettered Productions, Inc. fso William Fetters              1050 N. Edinburgh Ave. #305                                                                                                                                          Los Angeles              CA      90046
6485520   Unfiled Films, Inc.                                           21031 Ventura Blvd. #1000                                                                                                                                            Woodland Hills           CA      91364
6474872   UNGAR*MICHAEL                                                 Address on File
6478197   UNICA REAL ESTATE LLC                                         1717 CARLISLE BLVD NE                                                                                                                                                ALBUQUERQUE              NM      87110
6486683   UniFi Completion Guaranty Insurance                           22287 Mulholland Highway                                        #367                                                                                                 Calabasas                CA      91302
                                                                                                                                        A/K/A HOMELAND INSURANCE COMPANY OF                                      1901 AVENUE OF THE STARS,
6486934   UNIFI COMPLETION GUARANTY INSURANCE SOL INC.                  AS AGENT & ATTY-IN-FACT FOR HOMELAND                            NEW YORK                               ATTN: JASON WALLACH, ESQ.         STE 1100                    LOS ANGELES              CA      90067
                                                                                                                                                                               AND ATTORNEY OF HOMELAND          22287 MULHOLLAND
6468728   UNIFI COMPLETION GUARANTY INSURANCE SOLUTIONS                 D/B/A UNIFI COMPLETION GUARANTORS                               (UNIFI), AS AGENT                      INSURANCE CO. OF NY               HIGHWAY, #367               CALABASAS                CA      91302-5190
6484255   UniFi General Escrow                                          1901 Avenue of the StarsSuite 1100                                                                                                                                   Los Angeles              CA      90067
6476820   UNIFIRST CORPORATION                                          1821 DAWSON STREET                                                                                                                                                   WILMINGTON               NC      28403
6483112   Union Bank                                                    Corporate Trust Division120 South San Pedro Street, Suite 410                                                                                                        Los Angeles              CA      90012
6484044   Union Bank of California                                      P.O. Box 513909                                                                                                                                                      Los Angeles              CA      90051
6486587   UNION BANK, N.A.                                              601 POTRERO GRANDE                                              ATTN: 4-957-151 CL                                                                                   MONTEREY PARK            CA      91754
6795468   UNION BANK, N.A.                                              Attn: Stephen W Boughton                                        400 California Street                                                                                San Francisco            CA      94104-1302
6480064   UNION BANK, N.A. AS AGENT                                     ATTN: 4-957-161 CL                                              601 PORTERO GRANDE                                                                                   MONTEREY PARK            CA      91754
6478098   UNION DEVELOPMENT CORPORATION                                 122 TULANE DR SE                                                                                                                                                     ALBUQUERQUE              NM      87106        UNITED
6475388   UNION PICTURES LIMITED                                        THE OLD SCHOOL HOUSE                                            75A JACOBS WELLS ROAD                                                                                CLIFTON BRISTOL                  BS8 1DJ      KINGDOM
6482065   Union Square Cinemas, LLC                                     719-K N. Duncan Bypass                                                                                                                                               Union                    SC      29379
6484739   Unison Music Group, LLC                                       9100 Wilshire Blvd. Suite 400W                                                                                                                                       Beverly Hills            CA      90212
6795458   UNISON MUSIC GROUP, LLC                                       P.O. Box 4457                                                                                                                                                        Valley Village           CA      91617
6482693   Unitas North America                                          5501 N. Sawyer Ave.                                                                                                                                                  Chicago                  IL      60625
6481484   United Building Sciences Limited                              1333 Broadway, Suite 500                                                                                                                                             New York                 NY      10018        BRITISH
                                                                                                                                                                               OMAR HODGE BUILDING, 2ND                                      WICKHAMS CAY ROAD TOWN                        VIRGIN
6795460   UNITED CHAMPS ASSETS LTD.                                     ATTN: LI KAI KONG                                               325 WATERFRONT DRIVE                   FLOOR                                                         TORTOLA                                       ISLANDS
6478485   UNITED CHURCH OF LOS ALAMO\THE                                2525 CANYON RD                                                                                                                                                       LOS ALAMOS               NM      87544
6477129   UNITED COMMUNITY CHURCH                                       P.O. BOX 123                                                                                                                                                         OLD FORT                 NC      28762
6481687   United Corporate Services                                     10 Bank St. Suite 560                                                                                                                                                White Plains             NY      10606
6479612   UNITED COSTUME CORPORATION                                    12980 RAYMER ST.                                                                                                                                                     N. HOLLYWOOD             CA      91605
6482505   United Entertainment Corporation                              3601 18th St. South, Suite 104                                                                                                                                       Saint Cloud              MN      56301
6484616   United Film Corporation                                       1300 Summit Drive                                                                                                                                                    Beverly Hills            CA      90210
6485169   United Healthcare Insurance Company                           5701 Katella Ave. CA120-0517                                                                                                                                         Cypress                  CA      90630




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                                                                                                                                               Master Mailing List
                                                                                                                                              Served First Class Mail

MMLID     NAME                                                           ADDRESS                                                         ADDRESS 2                                ADDRESS 3                        ADDRESS 4               CITY              STATE   POSTAL CODE COUNTRY
6475000   UNITED RENTALS                                                 (NORTH AMERICA), INC.                                           PO BOX 840514                                                                                     DALLAS            TX      75284-0514
6478429   UNITED RENTALS                                                 2516 CAMINO ENTRADA                                                                                                                                               SANTA FE          NM      87507
6477296   UNITED RENTALS                                                 P O BOX 100711                                                                                                                                                    ATLANTA           GA      30384-0711
6478902   UNITED RENTALS (NORTH AMERICA), INC.                           FILE 51122                                                                                                                                                        LOS ANGELES       CA      90074-1122
6474921   UNITED RENTALS, INC                                            DBA: UNITED RENTALS, INC                                        100 FIRST STAMFORD PLACE                 SUITE 700                                                STAMFORD          CT      06902
6476858   UNITED RENTALS, INC.                                           5919 MARKET STREET                                                                                                                                                WILMINGTON        NC      28405
6477540   UNITED SECURITY ALARM, INC                                     5421 - C LAPALCO BLVD                                                                                                                                             MARRERO           LA      70072
6492777   UNITED SITE SERVICES OF NEVADA, INC.                           P.O. BOX 53267                                                                                                                                                    PHOENIX           AZ      85072-3267
6481955   United States Copyright Office                                 c/o Short Fee UnitP.O. Box 71380                                                                                                                                  Washington        DC      20024
6482982   United States Treasury                                         Internal Revenue Service                                                                                                                                          Ogden             UT      84201
6482114   United States Trustee Program                                  P.O. Box 530202                                                                                                                                                   Atlanta           GA      30353
6487922   UNITED TALENT AGENCY                                           C/O FREEDMAN & TAITELMAN, LLP                                   BRYAN J. FREEDMAN & BRIAN TURNAUER,      1901 AVENUE OF THE STARS, #500                           LOS ANGELES       CA      90067
6490690   UNITED TALENT AGENCY, INC.                                     ATTN: CAROLINA VICENTE                                          9336 CIVIC CENTER DRIVE                                                                           BEVERLY HILLS     CA      90210
6484771   United Telecom                                                 5730 Uplander Way #104                                                                                                                                            Culver City       CA      90230
6483048   United Trading Center                                          889 S. Rainbow Blvd. #550                                                                                                                                         Las Vegas         NV      89145
6476539   UNITS MOBILE STORAGE OF NC                                     PO BOX 400                                                                                                                                                        LIBERTY           NC      27298
6484441   Universal City Studios LLLP                                    File #56257                                                                                                                                                       Los Angeles       CA      90074
6484442   Universal City Studios LLLP-DO NOT USE/USE#2150                File #56257                                                                                                                                                       Los Angeles       CA      90074
6795450   UNIVERSAL CITY STUDIOS PRODUCTIONS LLP                         100 UNIVERSAL CITY PLAZA                                                                                                                                          UNIVERSAL CITY    CA      91608-1002
6478905   UNIVERSAL CITY STUDIOS, LLC                                    FILE #56257                                                                                                                                                       LOS ANGELES       CA      90074-6257
6486544   Universal Edition AG                                           Karlsplatz 6A-1010                                                                                                                                                Vienna                                AUSTRALIA
6474000   UNIVERSAL EDITION AG                                           KARLSPLATZ 6                                                                                                                                                      VIENNA                    A-1010      AUSTRIA
6479522   UNIVERSAL GARMENT WASH AND DYE                                 6813 TUJUNGA AVE.                                                                                                                                                 NORTH HOLLYWOOD   CA      91506
6482186   Universal Jet Aviation                                         3700 Airport Rd. Suite 204                                                                                                                                        Boca Raton        FL      33431
6479234   UNIVERSAL LOCATIONS, INC.                                      24791 VALLEY ST.                                                                                                                                                  NEWHALL           CA      91321
6482744   Universal Music - MGB NA LLC                                   15031 Collections Center Dr.                                                                                                                                      Chicago           IL      60693
6485107   Universal Music - MGB NA LLC dba Universal Music - Careers     2100 Colorado Ave.                                                                                                                                                Santa Monica      CA      90404
6485108   Universal Music - MGB NA, LLC dba Killer Tracks                2110 Colorado Ave. Suite 110                                                                                                                                      Santa Monica      CA      90404
6479077   UNIVERSAL MUSIC CORP.                                          2100 COLORAD AVENUE                                                                                                                                               SANTA MONICA      CA      90404
6490695   UNIVERSAL MUSIC CORP.                                          UNIVERSAL MUSIC CORPORATION                                     99440 COLLECTIONS CENTER DR.                                                                      CHICAGO           IL      60693
6474979   UNIVERSAL MUSIC CORP.                                          UNIVERSAL MUSIC PUBLISHING                                      7475 COLLECTIONS CENTER DRIVE                                                                     CHICAGO           IL      60693
6492384   UNIVERSAL MUSIC CORPORATION                                    ATTN: ACCOUNTS RECEIVABLE DEPT.                                 2100 COLORADO AVE                                                                                 SANTA MONICA      CA      90404
6795423   UNIVERSAL MUSIC ENTERPRISES                                    2220 COLORADO AVE.                                                                                                                                                SANTA MONICA      CA      90404
6795431   UNIVERSAL MUSIC ENTERPRISES                                    2220 COLORADO AVENUE                                            3RD FLOOR                                                                                         SANTA MONICA      CA      90404
6491953   UNIVERSAL MUSIC ENTERPRISES                                    A DIVISION OF UMG RECORDINGS, INC.                              ATTN: JOHN RAY, SR VICE PRESIDENT/LEGAL & BUSINESS AFFAIRS                2220 COLORADO AVENUE,   SANTA MONICA      CA      90404
6485110   Universal Music Enterprises                                    Attn: UME Finance - Film/TV Music2220 Colorado Ave. 3rd Floor                                                                                                     Santa Monica      CA      90404
6490494   UNIVERSAL MUSIC ENTERPRISES                                    ATTN: UME FINANCE-FILM/TV MUSIC                                 62910 COLLECTION CENTER DRIVE                                                                     CHICAGO           IL      60693-0629
6474949   UNIVERSAL MUSIC ENTERPRISES                                    DIV OF UMG RECORDINGS INC.                                      2220 COLORADO AVE, 3RD FLOOR                                                                      SANTA MONICA      CA      90404
6474970   UNIVERSAL MUSIC ENTERPRISES                                    DIVISION OF UMG RECORDINGS INC                                  62910 COLLECTION CENTER DR                                                                        CHICAGO           IL      60693-0629
6482746   Universal Music Enterprises, a Divison of UMG Recordings Inc   62910 Collection Center Dr.                                                                                                                                       Chicago           IL      60693
6795419   UNIVERSAL MUSIC ENTREPRISES                                    2220 COLORADO AVENUE                                            3RD FLOOR                                                                                         SANTA MONICA      CA      90404
6795405   UNIVERSAL MUSIC PUBLISHING GROUP                               2100 COLORADO AVENUE                                                                                                                                              SANTA MONICA      CA      90404
6491357   UNIVERSAL MUSIC PUBLISHING GROUP                               99440 COLLECTIONS CENTER DRIVE                                                                                                                                    CHICAGO           IL      60693
6795407   UNIVERSAL MUSIC PUBLISHING GROUP                               ATTN: GENERAL COUNSEL                                           2100 COLORADO AVENUE                                                                              SANTA MONICA      CA      90404
6485972   Universal Pictures                                             100 Universal City Plaza, Bldg. 2160-8F                                                                                                                           Universal City    CA      91608
6795401   UNIVERSAL PICTURES, A DIVISION OF                              UNIVERSAL CITY STUDIOS, LLC                                     ATTN: PHILIP M. COHEN                    100 UNIVERSAL CITY PLAZA         13201 3W                UNIVERSAL CITY    CA      91608
6482748   Universal Studios Home Ent LLC.                                12563 Collections Center Drive                                                                                                                                    Chicago           IL      60693
6475072   UNIVERSAL STUDIOS HOME ENTERTAINMENT                           PLANNING & FINANCE                                              10 UNIVERSAL CITY PLAZA                                                                           UNIVERSAL CITY    CA      91608
6482121   Universal Studios Licensing LLP                                PO Box 402843                                                                                                                                                     Atlanta           GA      30384
6478906   UNIVERSAL STUDIOS OPERATIONS G                                 FILE 56257                                                                                                                                                        LOS ANGELES       CA      90074-6257
6485973   Universal Studios Operations Group                             100 Universal City Plaza                                                                                                                                          Universal City    CA      91608
6795381   UNIVERSAL TELEVISION NETWORKS                                  ATTN: GENERAL COUNSEL                                           30 ROCKEFELLER PLAZA                                                                              NEW YORK          NY      10112
6795384   UNIVERSAL TELEVISION NETWORKS                                  ATTN: RYAN SHARKEY, SENIOR VICE PRESIDENT, PROGRAM              30 ROCKEFELLER PLAZA                                                                              NEW YORK          NY      10112
6491577   UNIVERSAL-Z TUNES, LLC DBA FIRSTCOM MUSIC                      2110 COLORADO AVE. SUITE 110                                                                                                                                      SANTA MONICA      CA      90404
6484473   University Club                                                645 W Exposition Blvd.                                                                                                                                            Los Angeles       CA      90089
6481964   University of Maryland                                         0221 Stamp Student Union                                                                                                                                          College Park      MD      20742
6475166   UNIVERSITY OF NEW MEXICO                                       C/O DIRECTOR OF REAL ESTATE                                     1712 LAS LOMAS NE                                                                                 ALBUQUERQUE       NM      87131
6475195   UNIVERSITY OF NEW ORLEANS                                      FOUNDATION                                                      2021 LAKESHORE DRIVE                                                                              NEW ORLEANS       LA      70122
6475279   UNIVERSITY OF SOUTHERN CAL                                     AUXILIARY SERVICES:USC TRANSPO                                  3716 S HOPE ST RES BLD STE 102                                                                    LOS ANGELES       CA      90089-8003
6484474   University of Southern California                              650 West 35th St, Ste 114Attn: Steven KlappholzLeavey Library                                                                                                     Los Angeles       CA      90089
6468921   UNIVERSITY OF SOUTHERN CALIFORNIA                              ATTN: STEVEN KLAPPHOLZ                                          LEAVEY LIBRARY                           650 WEST 35TH ST, STE 114                                LOS ANGELES       CA      90089
6795374   UNIVERSUM FILM GMBH                                            NEUMARKTER STRASSE 28                                                                                                                                             MUENCHEN                  81673       GERMANY
6483796   Univision Communications, Inc.                                 P.O. Box 452148                                                                                                                                                   Los Angeles       CA      90045
6492222   UNIVISION INTERACTIVE MEDIA                                    8200 NW 52ND TERRACE                                                                                                                                              MIAMI             FL      33166
6759653   Univision Interactive Media                                    c/o Szabo Associates, Inc.                                      3355 Lenox Road NE, Suite 945                                                                     Atlanta           GA      30326
6492227   UNIVISION INTERACTIVE MEDIA                                    C/O SZABO ASSOCIATES, INC.                                      ATTN: SANDI G. HENDERSON, AGENT          3355 LENOX ROAD NE., SUITE 945                           ATLANTA           GA      30326
6492214   UNIVISION NETWORK                                              C/O SZABO ASSOCIATES, INC.                                      ATTN: SANDI G. HENDERSON, AGENT          3355 LENOX ROAD NE, SUITE 945                            ATLANTA           GA      30326
6759603   Univision Network                                              c/o Szabo Associates, Inc.                                      3355 Lenox Road NE, Suite 945                                                                     Atlanta           GA      30326
6485927   Unlikely Films Inc                                             13057 Woodbridge St.                                                                                                                                              Studio City       CA      91604
6478486   UNM LOS ALAMOS                                                 4000 UNIVERSITY DRIVE                                                                                                                                             LOS ALAMOS        NM      87544




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                                                                                                                                      Served First Class Mail

MMLID     NAME                                                   ADDRESS                                                        ADDRESS 2                         ADDRESS 3                          ADDRESS 4             CITY               STATE   POSTAL CODE COUNTRY
6491827   UNTITLED ENTERTAINMENT, LLC                            200 PARK AVENUE SOUTH, 8TH FLOOR                                                                                                                          NEW YORK           NY      10003
6482122   Unum Life Insurance Company of America                 P.O. Box 406990                                                                                                                                           Atlanta            GA      30384
6479634   UNVERSAL CITY STUDIOS LLLP                             100 UNIVERSAL CIT PLAZA                                                                                                                                   UNIVERSAL CITY     CA      91608
6492303   UP ENTERTAINMENT, LLC                                  ATTN: LIZ WHEELER                                              2077 CONVENTIONCENTER CONCOURSE   SUITE 300                                                ATLANTA            GA      30337
6481465   Upala Music, Inc.                                      c/o Prager & Fenton675 Third Avenue                                                                                                                       New York           NY      10017
6475143   UPCOUNTRY PRODS., INC.                                 F/S/O GREGORY POIRIER                                          151 EL CAMINO DRIVE                                                                        BEVERLY HILLS      CA      90212
6484740   Upcountry Productions Inc.                             c/o Danny GreenbergOne William Morris Place                                                                                                               Beverly Hills      CA      90212
6491323   UPTOWN ENTERTAINMENT INC                               2211 WOODWARD AVE, 4TH FLOOR                                                                                                                              DETROIT            MI      48201
6477727   UPTOWN GRAPHICS                                        1403 ANNUNCIATION ST                                                                                                                                      NEW ORLEANS        LA      70130
6481445   Urban Communications                                   295 Madison Ave. 46th Floor                                                                                                                               New York           NY      10016
6485444   Urban Green, LLC dba The Sweet Spot                    8922 Norris Ave.                                                                                                                                          Sun Valley         CA      91352
6491840   URBAN NYC                                              214 SULLIVAN ST. #6C                                                                                                                                      NEW YORK           NY      10012
6490495   URBAN PRODUCTIONS NYC, INC.                            ATTN: ROBERT W. PIKEN                                          630 THIRD AVENUE, 23RD FLOOR                                                               NEW YORK           NY      10017
6481419   Urbanworld Foundation, Inc.                            174 West 4th St. Box 119                                                                                                                                  New York           NY      10014
6478792   UROFSKY\MATTHEW                                        917 N. CURSON AVE #1                                                                                                                                      LOS ANGELES        CA      90046
6475236   URSULINE ACADEMY OF                                    NEW ORLEANS                                                    2635 STATE ST                                                                              NEW ORLEANS        LA      70118
6476297   US ABE CLOTHING & UNIFORM                              807 EAST CARSON STREET                                                                                                                                    PITTSBURGH         PA      15203
6484400   US Bank                                                Entertainment Industries Group633 W Fifth Street, 30th Floor                                                                                              Los Angeles        CA      90071
6479681   US CITIZENSHIP AND IMMIGRATION                         CALIFORNA SERVICE CENTER                                                                                                                                  LAGUNA NIGUEL      CA      92677
6486707   US Department of Homeland Security                     245 Murray Lane SW                                                                                                                                        Washington         DC      20528
6482768   US Department of Treasury                              Debt Management ServicesPO Box 979101                                                                                                                     Saint Louis        MO      63197
6490726   US DEPT OF THE TREASURY OBO SBA                        PIONEER CREDIT RECOVERY, INC.                                  PO 979113                                                                                  SAINT LOUIS        MO      63197
6482953   US Express Leasing, Inc.                               Dept #16081700 Lincoln Street - Lower Level                                                                                                               Denver             CO      80291
6476631   US FITNESS PRODUCTS                                    3050 WAKE FOREST ROAD                                                                                                                                     RALEIGH            NC      27609
6477299   US SECURITY ASSOCIATES INC.                            P.O. BOX 931703                                                                                                                                           ATLANTA            GA      31193
6482868   USA Today                                              P.O. Box 677454                                                                                                                                           Dallas             TX      75267
6478928   USDA FOREST SERVICE                                    PO BOX 894183                                                                                                                                             LOS ANGELES        CA      90189-4183
6476320   USED FURNITURE WAREHOUSE INC                           1531 SAW MILL BLVD                                                                                                                                        PITTSBURGH         PA      15210
6476344   USED STORE FIXTURES, INC.                              1819 BOULEVARD OF THE ALLIES                                                                                                                              PITTSBURGH         PA      15219
6477684   USER-FRIENDLY SOLUTIONS, LLC                           722 S DILTON ST                                                                                                                                           RIVER RIDGE        LA      70123
6476359   USW                                                    FIVE GATEWAY CENTER                                                                                                                                       PITTSBURGH         PA      15222
6492383   UT- STATE TAX COMMISSION                               ATTN: SAM JONES, AGENT                                         210 NORTH 1950 WEST                                                                        SALT LAKE CITY     UT      84134
6479960   UTAH LABOR COMMISSION                                  COMMISSIONER                                                   160 E. 300 S.                     STE 300                                                  SALT LAKE CITY     UT      84114
6727367   Utah State Tax Commission                              Attn: Bankruptcy Unit                                          210 N 1950 W                                                                               Salt Lake City     UT      84134-9000
6491626   UTICA FILMS                                            17251 SUMMER MAPLE WAY                                                                                                                                    CANYON COUNTRY     CA      91387
6491948   UTV OF ORLANDO, INC., ON BEHALF OF                     ITS TELEVISION STATION WRBW                                    C/O UTV OF ORLANDO, INC.          ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES        CA      90025
6491949   UTV OF SAN FRANCISCO, INC. ON BEHALF OF                ITS STATION WDCA                                               C/O UTV OF SAN FRANCISCO, INC.    ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES        CA      90025
6491950   UTV OF SAN FRANCISCO, INC., ON BEHALF OF ITS           TELEVISION STATION KTXH                                        C/O UTV OF SAN FRANCISCO, INC.    ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES        CA      90025
6476005   V&V ENTERPRISES, INC.                                  PO BOX 363167                                                                                                                                             SAN JUAN           PR      00936
6475893   V. NEWMAN PRODUCTIONS INC.                             8840 WILSHIRE BLVD                                             THIRD FLOOR                                                                                BEVERLY HILLS      CA      90211
6492153   V. NEWMAN PRODUCTIONS, INC.                            C/O BEHR ABRAMSON LEVY, LLP                                    ATTN: JENNIFER LEVY               9701 WILSHIRE BLVD.                SUITE 800             BEVERLY HILLS      CA      90212
6474353   VAFIADIS*MATTHEW                                       Address on File
6483152   Vagrant Records                                        5566 W. Washington Blvd.                                                                                                                                  Los Angeles        CA      90016
6491476   VAGRANT RECORDS LLC                                    6351 WILSHIRE BLVD, 2ND FLOOR                                                                                                                             LOS ANGELES        CA      90048
6471401   VAGRANT RECORDS, LLC.                                  5566 W. WASHINGTON BLVD.                                                                                                                                  LOS ANGELES        CA      90016
6479092   VAGUELSY\PASCAL                                        2221 10 TH STREET, APT. A                                                                                                                                 SANTA MONICA       CA      90405
6479093   VAGUELSY\PASCAL                                        2418 7TH STREET #1                                                                                                                                        SANTA MONICA       CA      90405
6484032   Val Keller                                             11830 Darlington Ave. #11                                                                                                                                 Los Angeles        CA      90049
6477887   VALCOUR RECORDS, LLC                                   872 HWY 758                                                                                                                                               EUNICE             LA      70535
6477554   VALENCE\OWEN                                           306 7TH STREET                                                                                                                                            BRIDGE CITY        LA      70094
6490382   VALENCIA RUBBER STAMP MFG, CO.                         FSO CAROL L. DONALDSON                                         28827 INDUSTRY DR.                                                                         VALENCIA           CA      91355
6475099   VALENCIA\ERWIN B                                       EVO PERFORMANCE/PHYSIOTHERAPY                                  115 FEDERAL STREET                                                                         PITTSBURGH         PA      15212
6478490   VALENCIAKENNY                                          P.O. BOX 133                                                                                                                                              PECOS              NM      87552
6483899   Valerie Alexander                                      8033 Sunset Blvd. #507                                                                                                                                    Los Angeles        CA      90046
6491666   VALERIE NOBLE                                          Address on File
6474800   VALERO*RAUL                                            Address on File
6478545   VALET PARKING SERVICE                                  1335 S. FLOWER STREET                                                                                                                                     LOS ANGELES        CA      90015
6476264   VALLEY ELECTRIC CO INC                                 330 MAIN ST                                                                                                                                               IMPERIAL           PA      15126
6478284   VALLEY FENCE COMPANY                                   P.O. BOX 12312                                                                                                                                            ALBUQUERQUE        NM      87195
6795370   VALUABLE TECHNOLOGIES                                  ATTN: ALEXANDRA PINA                                           440 Sylvan Ave STE 170                                                                     Englewood Cliffs   NJ      07632-2723
6482640   Value Theatres, Inc.                                   355 W. Dundee Rd. Suite 202                                                                                                                               Buffalo Grove      IL      60089
6485496   ValueClick Media                                       30699 Russell Ranch Road, Suite 250                                                                                                                       Thousand Oaks      CA      91362
6478395   VAN ALLEN\ELIZABETH                                    2723 VIA VENADO                                                                                                                                           SANTA FE           NM      87505
6480865   Van Asch, Elise                                        Address on File
6474085   VAN DAELE*SAMUEL                                       Address on File
6480689   Van Daele, Samuel                                      Address on File
6476309   VAN DYK BUSINESS SYSTEMS                               800 TRUMBULL DRIVE                                                                                                                                        PITTSBURGH         PA      15205-4365
6480797   Van Laanen, Kelly                                      Address on File
6795372   VAN LEE                                                AT&T                                                           208 S Akard Street                                                                         Dallas             TX      75202
6486241   Van Metre Productions                                  28 Shadow Creek Ct.                                                                                                                                       Fairfax            CA      94930




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                                                                                                                                      Master Mailing List
                                                                                                                                     Served First Class Mail

MMLID     NAME                                               ADDRESS                                                            ADDRESS 2                            ADDRESS 3                    ADDRESS 4   CITY               STATE   POSTAL CODE COUNTRY
6477029   VAN SANDT\MELISSA JANE                             1066 N. SHORE DRIVE                                                                                                                              SOUTHPORT          NC      28461
6485483   Vanderzee Construction, Inc                        1497 Thornhill Avenue                                                                                                                            Westlake Village   CA      91361
6484151   Vanessa Hughes                                     PO Box 661915                                                                                                                                    Los Angeles        CA      90066
6486263   Vanessa Maynard                                    2564 Du Bois Dr.                                                                                                                                 Roseville          CA      95661
6795362   VANLINGOMUNGO, INC.                                C/O CREATIVE ARTISTS AGENCY                                        JEREMY PLAGER                        2000 AVENUE OF THE STARS                 LOS ANGELES        CA      90067
6476647   VANMEVEREN\MACKENZIE                               915 NORTH EAST DR.UNIT 20                                                                                                                        DAVIDSON           NC      28036
6477155   VANN\CHRISTIAN                                     245 MOUNTAIN RD.                                                                                                                                 HENDERSONVILLE     NC      28791
6474870   VAREJAO*SANDRO                                     Address on File
6485928   Varese Sarabande Records Inc                       11846 Ventura Blvd                                                                                                                               Studio City        CA      91604
6479710   VARGAS\GLORIA                                      9009 ROSAMOND BLVD.                                                                                                                              ROSAMOND           CA      93535
6483653   Variety                                            5700 Wilshire Blvd.Suite 120                                                                                                                     Los Angeles        CA      90036
6485978   Variety - Subscription Department                  PO Box 15759                                                                                                                                     North Hollywood    CA      91615
6483504   Variety Boys & Girls Club                          2530 Cincinnati Street                                                                                                                           Los Angeles        CA      90033
6481703   Variety Boys and Girls Club of Queens              21-12 30th Rd                                                                                                                                    Long Island City   NY      11102
6486168   Variety Childrens Charity of N. Calif.             582 Market Street, Suite 101                                                                                                                     San Francisco      CA      94104
6482677   Variety Club of Illinois                           200 E Randolph St                                                                                                                                Chicago            IL      60601
6482081   Variety of Georgia Tent21 Attn: Chase Andrews      9800 Medlock Bridge Rd Ste.1                                                                                                                     Johns Creek        GA      30097
6470588   VARIETY OF GEORGIA TENT21 ATTN: MIKE SIMONDS       9800 MEDLOCK BRIDGE RD STE.1                                                                                                                     JOHNS CREEK        GA      30097
6470107   VARIETY THE CHILDREN'S CHARITY OF NEW YORK         505 EIGHTH AVE. SUITE 1800                                                                                                                       NEW YORK           NY      10018
6481289   Variety the Children's Charity of New York         55 Broad St.,18 floor                                                                                                                            New York           NY      10004
6482933   Variety the Children's Charity of Texas            1301 North Capital of Texas Hwy.                                                                                                                 Austin             TX      78746
6483103   Variety-The Children's Charity of So Ca            4601 Wilshire Blvd, Ste. 260                                                                                                                     Los Angeles        CA      90010
6477084   VARNES\JOSHUA JAMES                                26 GREENLEAF RD.                                                                                                                                 ARDEN              NC      28704
6475927   VARONA\JOSE                                        LJ-1 CALLE 33                                                      VILLAS DEL REY 5                                                              CAGUAS             PR      00727
6479653   VASQUEZ\JOSE                                       PO BOX 2037                                                                                                                                      POMONA             CA      91769
6476507   VASSAU, MICAH                                      2128 VIOLET ST                                                                                                                                   WINSTON SALEM      NC      27127
6475524   VAZQUEZ\MERCEDES                                   PLAYA HUCARES                                                      BUZON 77, CALLE CAMBIMBORA                                                    NAGUABO            PR      00718
6485161   Vector Resources, Inc.                             Vector Resources3530 Voyager St.                                                                                                                 Torrance           CA      90503
6492275   VEDDER* EDDIE                                      Address on File
6475424   VEDDER\EDDIE                                       Address on File
6475540   VEGA FIGUEROA\EDWARD                               URB. MONTE BRISAS                                                  CALLE N O-19                                                                  FAJARDO            PR      00738
6486203   Vehicle Registration Operations                    Department of Motor VehiclesP.O. Box 942869                                                                                                      Sacramento         CA      94269
6474791   VEIGA*MARIA ELENA                                  Address on File
6485679   Velaii, Inc. fso Vera Steimberg                    c/o Criterion4842 Sylmar Ave.                                                                                                                    Sherman Oaks       CA      91423
6474771   VELASCO*ARMANDO J                                  Address on File
6475964   VELAZQUEZ\SENAYLA                                  P.O. BOX 1381                                                                                                                                    LAS PIEDRAS        PR      00771
6475802   VELLUM LLC                                         405 W. 36TH AVE                                                    SUITE 200                                                                     ANCHORAGE          AK      99503
6482481   Velocity Tech Solutions                            2273 Country Road C. West                                                                                                                        Roseville          MN      55113
6474745   VELTMAN*STEPHEN W                                  Address on File
6479235   VELUZAT/RENE                                       PO BOX 220219                                                                                                                                    NEWHALL            CA      91322
6490333   VELVET APPLE MUSIC                                 C/O GELFAND, RENNERT & FELDMAN, LLP.                               1880 CENTURY PARK EAST, SUITE 1600                                            LOS ANGELES        CA      90067
6484256   Velvet Apple Music                                 c/o Gelfand, Rennert, & Feldman1880 Century Prak East, Suite 100                                                                                 Los Angeles        CA      90067
6480296   VENTURA COUNTY TREASURER-TAX COLLECTOR             800 S. VICTORIA AVENUE                                                                                                                           VENTURA            CA      93009
6484301   Venture IAB, Inc.                                  3211 Caheunga Blvd. West, Suite 104                                                                                                              Los Angeles        CA      90068
6482713   Venturi Staffing Parnters                          P. O. Box 809185                                                                                                                                 Chicago            IL      60680
6477181   VENUE\THE                                          21 N. MARKET STREET                                                                                                                              ASHEVILLE          NC      28801
6479476   VER SALES, INC.                                    2509 N.NAOMI STREET                                                                                                                              BURBANK            CA      91504
6475800   VER SALES, INC.                                    6565 AMERICAS PARKWAY NE                                           SUITE 200                                                                     ALBUQUERQUE        NM      87110
6477578   VERGNETTE, SHANNON                                 4905 COLISEUM ST                                                                                                                                 NEW ORLEANS        LA      70115
6468702   VERITE CAPITAL ONSHORE LOAN FUND LLC               735 N WATER ST                                                     SUITE 790                                                                     MILWAUKEE          WI      53202-4103
6795366   VERITE CAPITAL ONSHORE LOAN FUND LLC               C/O STARK ONSHORE ANAGEMENT, LLC                                   ATTN: TODD TURALL                    735 NORTH WATER STREET       SUITE 790   MILWAUKEE          WI      53202
6491521   VERITES                                            DEPT 5032                                                                                                                                        LOS ANGELES        CA      90084
6481828   Verizon                                            P.O. Box 15124                                                                                                                                   Albany             NY      12212
6470383   VERIZON                                            P.O. BOX 15124                                                                                                                                   ALBANY             NY      12212-5124
6482885   Verizon Communications                             PO Box 920041                                                                                                                                    Dallas             TX      75392
6795359   VERIZON CORPORATE SERVICES GROUP, INC.             ATTN: GENERAL COUNSEL                                              140 WEST ST., 22ND FLOOR                                                      NEW YORK           NY      10007
6795361   VERIZON CORPORATE SERVICES GROUP, INC.             ATTN: VICE PRESIDENT, PROGRAMMING                                  140 WEST ST., 22ND FLOOR                                                      NEW YORK           NY      10007
6795356   Verizon Corporate Services Group, Inc.             c/o Verizon FIOS TV Business & Legal Affairs                       Attn: Associate General Counsel      140 West St., 22nd Floor                 New York           NY      10007
6492386   VERIZON WIRELESS                                   ATTN: WILLIAM M. VERMETTE                                          22001 LOUDOUN COUNTY PKWY                                                     ASHBURN            VA      20147
6794206   Verliance Inc.                                     Violet Burch                                                       43406 Business Park Drive                                                     Temecula           CA      92590
6479990   VERMONT DEPARTMENT OF LABOR & INDUSTRY             COMMISSIONER                                                       NATIONAL LIFE BUILDING, DRAWER #20                                            MONTPELIER         VT      05620
6481130   Veronica Greenfield                                P.O. Box 1215                                                                                                                                    Danbury            CT      06813
6479936   Vert Capital                                       Address on File
6492230   VEVO, LLC                                          ATTN: ALEXANDER KISCH, EVP                                         BUSINESS AFFAIRS                     4 TIMES SQUARE, 25TH FLOOR               NEW YORK           NY      10036
6481400   VFILES, LLC                                        12 Mercer St.                                                                                                                                    New York           NY      10013
6477831   VFW POST 8290                                      28000 MAIN ST                                                                                                                                    LACOMBE            LA      70445
6480386   VIACOM INTERNATIONAL INC.                          1515 BROADWAY, 4TH FLOOR                                                                                                                         NEW YORK           NY      10036
6795344   VIACOM INTERNATIONAL INC.                          ATTN: GENERAL COUNSEL                                              1515 BROADWAY                        4TH FLOOR                                NEW YORK           NY      10036
6491236   VIACOM INTERNATIONAL, INC. DBA MTV NETWORKS        1515 BROADWAY                                                                                                                                    NEW YORK           NY      10036




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                                                                                                                                      Served First Class Mail

MMLID     NAME                                               ADDRESS                                                            ADDRESS 2                              ADDRESS 3                         ADDRESS 4                   CITY             STATE   POSTAL CODE COUNTRY
                                                                                                                                                                       SR. VICE PRESIDENT/DEPUTY
6486782   VIACOM MEDIA NETWORKS, A DIVISION OF               VIACOM INTERNATIONAL INC.                                          ATTN: CHRISTA A. D'ALIMONTE, ESQ.      GENERAL COUNSEL                   1515 BROADWAY               NEW YORK         NY      10036
6484772   Vibe Creative, Inc                                 3861 Sepulveda Blvd                                                                                                                                                     Culver City      CA      90230
6490412   VIBE CREATIVE, INC                                 ATTN: ANN MUGGLEBEE, PRESIDENT                                     3861 SEPULVEDA BLVD                                                                                  CULVER CITY      CA      90230
6485603   Vicari Sound Org. Inc                              15247 Rayneta Dr.                                                                                                                                                       Sherman Oaks     CA      91403
6481735   Vice Media, Inc.                                   97 N. 10th St.                                                                                                                                                          Brooklyn         NY      11211
6485308   Vici Post Solutions                                249 N. Brand Blvd.#512                                                                                                                                                  Glendale         CA      91203
6475844   VICI POST SOLUTIONS LLC.                           249 N. BRAND BLVD.                                                 SUITE 512                                                                                            GLENDALE         CA      91203
6479172   VICI POST SOLUTIONS,LLC.                           249 N. BRAND BLVD #512                                                                                                                                                  GLENDALE         CA      91204
6485750   Vickie Hsieh                                       3011 North Buena Vista St.                                                                                                                                              Burbank          CA      91504
6484113   Victor P. Bouzi                                    1702 Kemper St.                                                                                                                                                         Los Angeles      CA      90065
6483985   Victoria Kaplan                                    6135 Warner Dr.                                                                                                                                                         Los Angeles      CA      90048
6482280   Victoria Lynn Shaw dba Victoria Shaw Songs         c/o Do Write Music, LLC900 Division St. 11355 West Olympic Blvd.                                                                                                        Nashville        TN      37203
6479165   VIDEO EQUIPMENT RENTALS                            912 RUBERTA AVENUE                                                                                                                                                      GLENDALE         CA      91201
6492691   VIDEO EQUIPMENT RENTALS HOLDINGS, LLC              ATTN: STEVEN VALLE, CREDIT MANAGER                                 912 RUBERTA AVENUE                                                                                   GLENDALE         CA      91201
6491832   VIDEO HELPER INC                                   18 WEST 21ST ST                                                                                                                                                         NEW YORK         NY      10010
6476437   VIDEO VILLAGE LLC                                  110 PEMBERTON CT                                                                                                                                                        NORTH WALES      PA      19454
6481354   VideoHelper Inc                                    50 West 17 St, 10th Floor                                                                                                                                               New York         NY      10011
6669293   VideoHelper, Inc.                                  50 West 17th St., 10th Floor                                                                                                                                            New York         NY      10011
6492236   VIDEOHELPER, INC.                                  ATTN: MS. MAURA MURPHY, DIRECTOR/FILM & TV                         LICENSING                              50 WEST 17TH STREET, 10TH FLOOR                               NEW YORK         NY      10011        UNITED
6486427   Videx International Media LTD                      2nd Floor, Int'l House 41, The Parade, St Helier                                                                                                                        Jersey                   JE2 3QQ      KINGDOM
6484387   Viewpoint, Inc.                                    9000 W. Sunset Suite 1015                                                                                                                                               West Hollywood   CA      90069
6478061   VIGER\JACQUES M.                                   412 11TH STREET NW                                                                                                                                                      ALBUQUERQUE      NM      87102
6795341   VIGGLE                                             902 Broadway, 11th Floor                                                                                                                                                NEW YORK         NY      10010
6476321   VIGLIONE\GREG                                      2043 DARTMORE ST                                                                                                                                                        PITTSBURGH       PA      15210
6475980   VIGUIE FILMS, INC.                                 FEDERICO COSTA CALLE HM 1045                                                                                                                                            SAN JUAN         PR      00918
6490420   VII PEAKS CAPITAL FBO MARQUETTE                    ATTN: GURPREET CHANDHOKE                                           4 ORINDA WAY, SUITE 125A                                                                             ORINDA           CA      94563
6479824   VII PEAKS CAPITAL FBO MORGAN STANLEY FBO           JAMES DIBOISE IRA                                                  ATTN: GURPREET CHANDHOKE               4 ORINDA WAY                      SUITE 125A                  ORINDA           CA      94563
6490426   VII PEAKS CO-OPTIVIST INCOME BDC II, INC.          ATTN: GURPREET CHANDHOKE                                           4 ORINDA WAY, SUITE 125A                                                                             ORINDA           CA      94563
6486218   VII Peaks, LLC                                     4 Orinda Way, Suite 125A                                                                                                                                                Orinda           CA      94563
6480145   VII PEAKS-R HOLDINGS, INC.                         ATTN: GURPREET CHANDHOKE                                           4 ORINDA WAY SUITE 125A                                                                              ORINDA           CA      94563
6488556   VII PEAKS-R HOLDINGS, INC.                         C/O VII PEAKS CAPITAL, LLC                                         ATTN: GURPREET S. CHANDHOKA, PRESIDENT 4 ORINDA WAY, SUITE 125A                                      ORINDA           CA      94563
6479066   VILIM\CALO                                         1041 21ST STREET                                                                                                                                                        SANTA MONICA     CA      90403
6474387   VILLA*CYNTHIA                                      Address on File
6480422   Villa, Cindy                                       Address on File
6491238   VILLAGE COPIER INC.                                P.O. BOX 30953                                                                                                                                                          NEW YORK         NY      10087
6476177   VILLAGE INN\THE                                    632 ROUTE 30                                                                                                                                                            CLINTON          PA      15026
6480173   VILLAGE OF ELMSFORD                                EDYE MCCARTHY                                                      VILLAGE ASSESSOR                       15 SOUTH STONE AVE                                            ELMSFORD         NY      10523
6480239   VILLAGE OF GREAT NECK                              ATTN: JOE GILL, CLERK-TREASURER                                    61 BAKER HILL ROAD                                                                                   GREAT NECK       NY      11023
6480242   VILLAGE OF IRVINGTON                               ATTN: CLERK'S OFFICE                                               85 MAIN STREET                                                                                       IRVINGTON        NY      10533
6480170   VILLAGE OF LARCHMONT                               DANIEL T. WHITTEMORE                                               ASSESOR                                120 LARCHMONT AVENUE                                          LARCHMONT        NY      10538
6478598   VILLAGE RECORDER, INC.\THE                         1616 BUTLER AVENUE                                                                                                                                                      LOS ANGELES      CA      90025
6795332   VILLAGE ROADSHOW DISTRIBUTORS GREECE S.A.          47, MARINOU ANTYPA                                                 141 21 NEO IRAKLEIO                                                                                  ATHENS                                GREECE
6795335   VILLAGE ROADSHOW FILM DISTRIBUTORS GREECE S.A.     47, MARINOU ANTYPA                                                 141 21 NEO IRAKLEIO                                                                                  ATHENS                                GREECE
6481616   Village Voice, LLC                                 80 Maiden Lane, Ste. #2105                                                                                                                                              New York         NY      10038
6483317   Village, The                                       P.O. Box 253691616 Butler Avenue                                                                                                                                        Los Angeles      CA      90025
6480862   Villanueva, Brittany                               Address on File
6474632   VILLARI*KATHRYN LEIGH                              Address on File
6480945   Villari, Kathryn Leigh                             Address on File
6482403   Vince Williams                                     6435 West Jefferson Blvd.                                                                                                                                               Fort Wayne       IN      46804
6491249   VINCENT J. GIORDANO                                Address on File
6481031   Vincent P. Boyle, III                              c/o EQUITY LEGAL GROUP, P.C.                                       Attn: Kevin W. Chiang                  155 N. Lake Ave., Ste. 420                                    Pasadena         CA      91101
6484741   Vincenzo Natali dba Headspace Inc.                 c/o Tom CollierBloom Hergott Diemer Rosenthal, LLP                                                                                                                      Beverly Hills    CA      90212
6799486   Vine Alternative Investments                       810 Seventh Avenue                                                 Suite 802                                                                                            New York         NY      10019
6486547   Vine Alternative Investments                       c/o Vine Investment Advisors, LP                                   810 Seventh Avenue                     Suite 802                                                     New York         NY      10019
6479928   Vine Alternative Investments Group, LLC            Address on File
6480076   VINE FILM FINANCE FUND II LP                       1501 BROADWAY                                                      SUITE 1400                                                                                           NEW YORK         NY      10036
6492130   VINE FILM FINANCE FUND II, LP                      RE: VERITE CAPITAL ONSHORE LOAN FUND LLC                           C/O VINE INVESTMENT ADVISORS LLP       ATTN: WILLIAM LAMBERT, PARTNER 810 SEVENTH AVENUE, SUITE      NEW YORK         NY      10019
6475295   VINNIE JONES ENTERPRISES                           F/S/O VINNIE JONES                                                 410 N. KILKEA DRIVE                                                                                  LOS ANGELES      CA      90048
6483394   Vintage Cinemas, Inc.                              1822 N. Vermont Ave.                                                                                                                                                    Los Angeles      CA      90027
6476154   VIOLATIONS PROCESSING CENTER                       P.O. BOX 15186                                                                                                                                                          ALBANY           NY      12212-5186
6795329   VIP LIMITED PARTNERSHIP                            424 FORT HILL DRIVE                                                BUILDING 128                                                                                         NAPERVILE        IL      60540
6468732   VIPER FILMS, INC                                   F/S/O PAUL RUEHL AND LESTER LEWIS                                  C/O PARADIGM TALENT AGENCY             ATTN: DAVID BOXERBAUM             360 N. CRESCENT DR. NORTH   BEVERLY HILLS    CA      90210
6490312   VIPER FILMS, INC & THE ESTATE OF LESTER LEWIS      PAUL RUEHL AND LESTER LEWIS, WRITER                                1601 N. KINGS ROAD                                                                                   LOS ANGELES      CA      90069
6484742   Virgin Produced LLC                                315 S. Beverly Dr. Suite 506                                                                                                                                            Beverly Hills    CA      90212
6795323   VIRGIN PRODUCED LLC                                C/O EISNER, FRANK & KAHAN                                          9601 WILSHIRE BOULEVARD                SUITE 700                                                     BEVERLY HILLS    CA      90210
6795324   VIRGIN PRODUCED LLC                                C/O EISNER, FRANK & KAHAN                                          ATTN: DARIN FRAKN, ESQ.                9601 WILSHIRE BOULEVARD           SUITE 700                   BEVERLY HILLS    CA      90210
6795315   VIRGIN PRODUCED LLC                                JASON FELTS                                                        9601 WILSHIRE BOULEVARD                SUITE 700                                                     BEVERLY HILLS    CA      90210
6483481   Virgin Records CM Holdings dba Capitol Records     1750 North Vine St.                                                                                                                                                     Los Angeles      CA      90028
6475167   VIRGIN RECORDS CM HOLDINGS INC                     DBA EMI FILM AND TV                                                1750 VINE STREET                                                                                     HOLLYWOOD        CA      90028




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                                                                                                                       Served First Class Mail

MMLID     NAME                                                     ADDRESS                                        ADDRESS 2                               ADDRESS 3                          ADDRESS 4              CITY              STATE   POSTAL CODE   COUNTRY
6483482   Virgin Records CM Holdings, Inc. dba EMI Film and TV     1750 N. Vine St.                                                                                                                                 Los Angeles       CA      90028         UNITED
6474917   VIRGIN RECORDS, LTD. T/AS                                ABBEY ROAD STUDIOS                             BEAUMONT HOUSE / AVONMORE ROAD          KENSINGTON VILLAGE                                        LONDON                    ENGLAND       KINGDOM
6479968   VIRGINIA DEPT. OF LABOR AND INDUSTRY                     COMMISSIONER                                   13 SOUTH THIRTEENTH STREET                                                                        RICHMOND          VA      23219         UNITED
6475600   VISA CONSULTANT (LONDON) LTD                             11 SAPPHIRE COURT,                             OCEAN WAY                                                                                         SOUTHAMPTON               S0143JW       KINGDOM
                                                                                                                                                                                                                                                            UNITED
6479798   VISA CONSULTANTS                                         5 CROWN PLACE                                                                                                                                    LONDON                    NW5 2JR       KINGDOM
6480301   VISALIA FINANCE DEPARTMENT                               707 W ACEQUIA AVE                                                                                                                                VISALIA           CA      93291
6492606   VISION COMMUNICATIONS                                    ATTN: MERRI ANN SMART, ACCOUNTING MANAGER      4501 E PACIFIC COAST HWY , SUITE 400                                                              LONG BEACH        CA      90804
6491708   VISION LEADERSHIP, INC.                                  14306 22ND AVE NE                                                                                                                                SEATTLE           WA      98125
6492428   VISION MEDIA MANAGEMENT & FULFILLMENT, LLC               ATTN: MICHAEL MCLAUGHLIN, CFO                  29125 AVENUE PAINE                                                                                VALENCIA          CA      91355
6486197   Vision Service Plan                                      P.O. Box 45210                                                                                                                                   San Francisco     CA      94145
6492613   VISIONAIRE GROUP* THE                                    ATTN: CATHERINE BONES, CONTROLLER              5340 ALLA RD., SUITE 100                                                                          LOS ANGELES       CA      90066
6484152   Visionaire Group, The                                    5340 Alla Rd., Suite 100                                                                                                                         Los Angeles       CA      90066
6479458   VISIONARY FORCES                                         148 SOUTH VICTORY BLVD.                                                                                                                          BURBANK           CA      91502
6476554   VISIONS CATERING INC.                                    1569 NATIONAL HWY                                                                                                                                THOMASVILLE       NC      27360
6483318   Vista Imaging Supplies                                   12021 Wilshire Blvd., Suite 546                                                                                                                  Los Angeles       CA      90025
6486128   Vista Media Reps                                         4880 Santa Rosa Rd.                                                                                                                              Camarillo         CA      93012
6485794   Visual Data Media Services, Inc.                         610 North Hollywood Way                                                                                                                          Burbank           CA      91505
6479053   VISUAL ICON, INC.                                        910 COLORADO AVENUE                                                                                                                              SANTA MONICA      CA      90401
6470411   VITAC                                                    101 HILLPOINTE DRIVE                                                                                                                             CANONSBURG        PA      15317-9503
6492351   VITAC                                                    ATTN: PETE MUCK, DIRECTOR OF FINANCIAL OPER.   101 HILLPOINTE DRIVE                                                                              CANONSBURG        PA      15317-9503
6481866   VITAC Corporation                                        101 Hillpointe Dr.                                                                                                                               Canonsburg        PA      15317
6476086   VITALIZE LABS                                            151 MERCER STREET                                                                                                                                NEW YORK          NY      10012
6475519   VITA-RAY PRODUCTIONS II, LLC                             1600 ROSECRANS AVENUE                          BUILDING 1A, SUITE 201                                                                            MANHATTAN BEACH   CA      90266
6479306   VITEK INDUSTRIAL VIDEO PRODUCT                           28492 CONSTELLATION ROAD                                                                                                                         VALENCIA          CA      91355
6477825   VITTITOE\BARBARA F                                       83068 N FACTORY RD                                                                                                                               FOLSOM            LA      70437
6477826   VITTITOE\ROBERT G                                        83068 NORTH FACTORY RD                                                                                                                           FOLSOM            LA      70437
6479440   VITTONE-MCNEIL\MICHELLE                                  5177 WOODLEY AVENUE                                                                                                                              ENCINO            CA      91436
6482358   Viv Patlovich                                            229 Quail Haven                                                                                                                                  Columbus          OH      43235
6478539   VIVA CHESSE, INC                                         1452 N. BOYLSTON STREET                                                                                                                          LOS ANGELES       CA      90012         PHILLIPPIN
6795319   VIVA COMMUNICATIONS                                      7TH FLOOR, EAST TOWER                          PHILLIPPINE STOCK EXCHANGE CENTER                                                                 PASIGN                                  ES
6489473   VIVA COMMUNICATIONS, INC.                                KOMPLEX PERKANTORAN ROXY MAS                   BLOK C2 NO. 27-34                       JLKM HASYIM ASHARI KAV, 125 B                             JAKARTA                   10150         INDONESIA
6477640   VIVID INK GRAPHICS                                       2538 POYDRAS ST                                                                                                                                  NEW ORLEANS       LA      70119
6482359   Vivienne Patlovic                                        229 Quail Haven Drive                                                                                                                            Columbus          OH      43235
6483254   Vladimir Spasojevic                                      10933 Wellworth Ave #9                                                                                                                           Los Angeles       CA      90024
6480596   Vlahos, Victoria                                         Address on File
6478399   VM TECHNOLOGY INC.                                       2 REATA RD                                                                                                                                       SANTA FE          NM      87506
6482637   VNU Business Media dba Billboard                         PO Box 3479                                                                                                                                      Northbrook        IL      60065
6492128   VOBILE INC.                                              C/O LEGAL DEPARTMENT                           ATTN: LYNNE MURPHY, DIRECTOR OF LEGAL   CREDIT SERVICES                    7700 N.E. AMBASSADOR   PORTLAND          OR      97220
6491591   VOBILE, INC.                                             DEPT LA 23824                                                                                                                                    PASADENA          CA      91185
6481097   Vocus, Inc                                               PO Box 417215                                                                                                                                    Boston            MA      02241
6478396   VOELKER\JESSICA                                          2722 GALISTEO COURT # 2                                                                                                                          SANTA FE          NM      87505         THE
6486545   VOF De Noisia                                            Boterdiep 71, 9712 LL                                                                                                                            Groningen                               NETHERLA
                                                                                                                                                                                                                                                            THE
6469687   VOF DE NOISIA                                            BOTERDIEP 71, 9712 LL GRONINGEN                                                                                                                  LL GRONINGEN              9712          NETHERLA
6478991   VOGEL\KRISTINA                                           728 LONGFELLOW AVENUE                                                                                                                            HERMOSA BEACH     CA      90254
6478198   VOID VENDOR                                              4121 CUTLER AV, NE                                                                                                                               ALBUQUERQUE       NM      87110
6484302   Volfoni, Inc.                                            3450 Cahuenga Blvd. West, Unit 504                                                                                                               Los Angeles       CA      90068
6484443   Volt Management Corp.                                    File #53102                                                                                                                                      Los Angeles       CA      90074
6492164   VOLTAGE PICTURES, LLC                                    C/O LEVENE NEALE BENDER YOO & BRILL, LLP       ATTN: GARY E. KLAUSNER, ESQ.            10250 CONSTELLATION BLVD., SUITE                          LOS ANGELES       CA      90067
6477453   VOLTOLINA JR\MICHAEL                                     1804 WOODROW AVE                                                                                                                                 METAIRIE          LA      70001
6475100   VON BRANDENSTEIN\PATRIZIA                                WURTZEL VON BRANDENSTEIN, LTD                  115 KENT CORNWALL RD                                                                              KENT              CT      06757
6476700   VON TASSELL, PAIGE                                       6508 GLYNMOOR LAKES DR.                                                                                                                          CHARLOTTE         NC      28277
6478564   VOUTSINAS, CHRISTOS A.                                   801 S GRAND AVE #2012                                                                                                                            LOS ANGELES       CA      90017
6478565   VOUTSINAS\CHRISTOS                                       801 S GRAND STREET #2012                                                                                                                         LOS ANGELES       CA      90017
6483986   Vox + Associates                                         3861 SEPULVEDA BLVD                                                                                                                              CULVER CITY       CA      90230-4605
6491477   VOX + ASSOCIATES                                         955 S. CARRILLO DR. SUITE 208                                                                                                                    LOS ANGELES       CA      90048
6479080   VOYAGE MEDIA, INC.                                       1639 11TH STREET                                                                                                                                 SANTA MONICA      CA      90404
6486437   VP Protection                                            259 Yorkland Rd.                                                                                                                                 Toronto           ON      M2J 5B2       CANADA
6491807   VR MARKETING CONSULTANTS, LLC                            315 GORHAM RD.                                                                                                                                   SCARBOROUGH       ME      04074
6476508   V'S TREASURES                                            2117 S. MAIN STREET                                                                                                                              WINSTON-SALEM     NC      27127
6476306   VSA, INC                                                 2250 NOBLESTOWN RD                                                                                                                               PITTSBURGH        PA      15205
6482809   VSS-Southern Theatres, LLC                               305 Baronne St. Suite 900                                                                                                                        New Orleans       LA      70112
6485604   Vubiquity Entertainment, Inc.                            15301 Ventura Blvd. Building E, Suite 3000                                                                                                       Sherman Oaks      CA      91403
6485334   VX Advisors, Inc.                                        30473 Mulholland Hwy., Suite 199                                                                                                                 Agoura Hills      CA      91301
6486039   W Hotel Management Inc AAF/W San Diego                   421 West B Street                                                                                                                                San Diego         CA      92101
6475403   W W NORTON & COMPANY INC                                 C/O NATIONAL BOOK COMPANY INC                  800 KEYSTONE INDUSTRIAL PARK                                                                      SCRANTON          PA      18512-4601
6476114   W W NORTON & COMPANY, INC.                               500 FIFTH AVENUE                                                                                                                                 NEW YORK CITY     NY      10110-0017
6480269   W. HOLLYWOOD CITY TAX OFFICE                             8300 SANTA MONICA BLVD                                                                                                                           WEST HOLLYWOOD    CA      90069
6479565   W. M. CREATIONS, INC                                     P.O. BOX 870                                                                                                                                     NORTH HOLLYWOOD   CA      91603-0870
6477412   W. W. GRAINGER, INC.                                     100 GRAINGER PARKWAY                                                                                                                             LAKE FOREST       IL      60045         THE
6795299   W2MEDIA B.V.                                             ATTENTION: WILCO WOLFERS                       MEEUWENLAAN 98-100                      1021 JL                                                   AMSTERDAM                               NETHERLA




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                                                                                                                                       Master Mailing List
                                                                                                                                      Served First Class Mail

MMLID     NAME                                                      ADDRESS                                                     ADDRESS 2                                 ADDRESS 3                   ADDRESS 4              CITY               STATE   POSTAL CODE COUNTRY
                                                                                                                                ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492244   WABC                                                      C/O THE WALT DISNEY COMPANY                                 MGR                                       500 S. BUENA VISTA STREET                          BURBANK            CA      91521
6482252   Wade William Schoenemann                                  1043 Nighthawk Lane                                                                                                                                      Mount Juliet       TN      37122
6486710   WageWorks, Inc.                                           PO Box 870725                                                                                                                                            Kansas City        MO      64187
6481285   waggingtail entertainment limited                         900 Broadway, Suite 400                                                                                                                                  New York           NY      10003
6478134   WAGNER EQUIPMENT COMPANY                                  2929 CANDELARIA ROAD NE                                                                                                                                  ALBUQUERQUE        NM      87107
6479654   WAGNER, PAUL M.                                           244 GERONA AVENUE                                                                                                                                        SAN GABRIEL        CA      91775
6477953   WAGNER\TROY                                               14602 OAK BEND DR                                                                                                                                        HOUSTON            TX      77079
6479094   WAIN\GREGORY                                              2828 DONALD DOUGLAS LOOP                                                                                                                                 SANTA MONICA       CA      90405
6480943   Wainie, Byron                                             Address on File                                                                                                                                                                                  UNITED
6475387   WAITE\SAMANTHA J.                                         THE OLD SCHOOL HOUSE                                        75A JACOBS WELL ROAD                                                                         CLIFTON BRISTOL            BS8 1DJ      KINGDOM
6485795   Waldberg Inc dba The Refinery                             115 N Hollywood Wy                                                                                                                                       Burbank            CA      91505
6480393   WALDEN MEDIA, LLC                                         1888 CENTURY PARK EAST, SUITE 1400                                                                                                                       LOS ANGELES        CA      90067
6795290   WALDEN MEDIA, LLC                                         ATTN: GENERAL COUNSEL                                       1888 CENTURY PARK EAST                    SUITE 1400                                         LOS ANGELES        CA      90067
6485316   Waldin Corporation                                        1208 N. Cedar St.                                                                                                                                        Glendale           CA      91207
6476147   WALKEN JAFFE CASTING - CA INC.                            PO BOX 563                                                                                                                                               LOCUST VALLEY      NC      11560
6481794   Walken Jaffe Casting - CA, Inc.                           43 Oyster Bay Rd.                                                                                                                                        Locust Valley      NY      11560
6477913   WALKER CONTAINER SALES, LLC                               P.O. BOX 15108                                                                                                                                           BATON ROUGE        LA      70895
6479316   WALKER LOCATION SERVICE                                   32078 WATERSIDE LANE                                                                                                                                     WESTLAKE VILLAGE   CA      91361
6479317   WALKER PRODUCTION SERVICES INC                            4607 LAKEVIEW CYN RD #254                                                                                                                                WESTLAKE VILLAGE   CA      91361
6476530   WALKER, TRENT                                             5403 NEWLAND DRIVE                                                                                                                                       JULIAN             NC      27283
6476916   WALKER\ALLEN                                              453 BLOSSOM FERRY ROAD                                                                                                                                   CASTLE HAYNE       NC      28429
6478843   WALKER\AZIZA                                              5162 S MANHATTAN PLACE                                                                                                                                   LOS ANGELES        CA      90062
6479351   WALKER\BRIAN                                              26451 WEST O'CASEY PLACE                                                                                                                                 STEVENSON RANCH    CA      91381
6476751   WALKER\DAVID A.                                           413 NUN STREET                                                                                                                                           WILMINGTON         NC      28401
6477501   WALKER\PATRICK T                                          402 SOUTH DESTREHAN AVE                                                                                                                                  DESTREHAN          LA      70047
6481420   Wall Group Corp, The                                      421 W. 14th St., 2nd Floor                                                                                                                               New York           NY      10014
6483987   Wall Group Inc The c/o Forte Management                   518 N. La Cienga Blvd                                                                                                                                    Los Angeles        CA      90048
6484153   Wall Lizard Music LLC                                     12530 Braddock Dr                                                                                                                                        Los Angeles        CA      90066
6481075   Wall Street Journal The OCR PROCESSING                    84 2nd Ave.                                                                                                                                              Chicopee           MA      01020
6477236   WALL STREET STATION, LLC                                  P.O. BOX 5423                                                                                                                                            ASHEVILLE          NC      28813
6480496   Wall, Melissa                                             Address on File
6491276   WALLACE* GEORGE                                           Address on File
6477592   WALLACE, ANDREW JON                                       1734 SAINT ROCH AVENUE                                                                                                                                   NEW ORLEANS        LA      70117
6480920   Wallace, Te'Ahnna                                         Address on File
6795291   WALLACE/HOLLYWOOD THEATRE                                 4035 NE Sandy Blvd                                          Suite 212                                                                                    Portland           OR      97212
6477620   WALLACE\LARRY S                                           8705 WILLOW ST                                                                                                                                           NEW ORLEANS        LA      70118
6476230   WALLACE\STACY ANN                                         1301 KIRKPATRICK STREET                                                                                                                                  NORTH BRADDOCK     PA      15104
6477030   WALLACE\WHITNEY PAIGE                                     1085 POPLAR RD.                                                                                                                                          SOUTHPORT          NC      28461
6478697   WALLSPACE, LLC                                            607 N. LA BREA AVENUE                                                                                                                                    LOS ANGELES        CA      90036
6476109   WALSH/BRENDAN                                             232 E. 118TH ST.                                                                                                                                         NEW YORK           NY      10035
6475312   WALSH\CODY                                                DBA:CODY WALSH FINE ART                                     4436 VETERANS BLVD SUITE 29A                                                                 METAIRIE           LA      70002
6475461   WALSH\COLIN                                               211 CARPENTER ST                                            APT 3                                                                                        PROVIDENCE         RI      02903
6479352   WALSH\MIKE                                                25510 ARLEN DR                                                                                                                                           SANTA CLARITA      CA      91321-3423
6476322   WALSH\ROBERT                                              814 EUREKA ST                                                                                                                                            PITTSBURGH         PA      15210
6795292   WALT DISNEY PICTURES                                      500 S BUENA VISTA ST                                                                                                                                     BURBANK            CA      91521-2344
6795295   WALT DISNEY PICTURES                                      ATT: DEPUTY CHEIF CONSEL, LEGAL AFFAIRS                     500 S BUENA VISTA ST                                                                         BURBANK            CA      91521-2344
6489444   WALT DISNEY PICTURES                                      ATTN: ALEC M. LIPKIND,                                      ASSISTANT GENERAL COUNSEL                 500 S BUENA VISTA ST                               BURBANK            CA      91521-2344
6485820   Walt Disney Pictures and Television                       Attn:Debbie CuppLocation: FGW4086500 South Buena Vista St                                                                                                Burbank            CA      91521
6484444   Walt Disney Pictures and TV c/o Bank of America           500 S. Buena Vista St                                                                                                                                    Los Angeles        CA      90074
6484445   Walt Disney Pictures c/o Bank of America                  File 51082                                                                                                                                               Los Angeles        CA      90074
6491846   WALTER SCHUPFER MANAGEMENT OF CA, INC.                    401 BROADWAY, SUITE 1400                                                                                                                                 NEW YORK           NY      10013
6480847   Walters, Happy                                            Address on File
6476420   WALTERS\LANCE                                             184 NORTH STREET                                                                                                                                         ROCKTON            PA      15856
6477691   WALTERS\LESLIE G                                          6326 CATINA ST                                                                                                                                           NEW ORLEANS        LA      70124
6491315   WAMA, INC.                                                PO BOX 120667                                                                                                                                            NASHVILLE          TN      37212
6474833   WANG*GARY                                                 Address on File
6477278   WANG\JENNIFER                                             4130 BERKLEY CREEK DRIVE                                                                                                                                 DULUTH             GA      30096
6483988   War of Gods                                               8899 Beverly Blvd. #510                                                                                                                                  West Hollywood     CA      90048
6477031   WARD MINI STORAGE                                         4721 LONG BEACH ROAD SE                                                                                                                                  SOUTHPORT          NC      28461
6474852   WARDE-LEVIE*DAKOTA                                        Address on File
6479613   WARDROBE SUPPLY COMPANY                                   7243 COLDWATER CANYON BLVD.                                                                                                                              NORTH HOLLYWOOD    CA      91605
6477652   WARDROBE WENCHES, LLC                                     4921 JEFFERSON HWY                                                                                                                                       JEFFERSON          LA      70121
6476345   WARGO\PAUL                                                301 ADELE COURT                                                                                                                                          PITTSBURGH         PA      15219
6475508   WARNER BROS PHOTO LAB                                     4000 WARNER BLVD. BLDG 44 LL                                BLDG 44LL                                                                                    BURBANK            CA      91522
6475293   WARNER BROS PICTURES                                      A DIV OF WB STUDIO ENTERPRISES                              4000 WARNER BOULEVARD                                                                        BURBANK            CA      91522
6492145   WARNER BROS PICTURES                                      A DIVISION OF WB STUDIO ENTERPRISES, INC.                   ATTN: WAYNE M. SMITH, SR. VICE PRESIDENT 4000 WARNER BLVD.            BLDG. 156, ROOM 5120   BURBANK            CA      91522        UNITED
6479810   WARNER BROS STUDIOS LEAVESDEN                             75 DEAN STREET                                                                                                                                           LONDON                     W1D 3PU      KINGDOM
                                                                                                                                                                                                                                                                     UNITED
6486506   Warner Bros, Studios Leavesden Ltd.                       Warner Drive, Leavesden                                                                                                                                  Hertfordshire              WD25 7LP     KINGDOM
6485823   Warner Bros. Advanced Media Services                      4000 Warner BoulevardBldg. 168 Room 6006                                                                                                                 Burbank            CA      91522




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                                                                                                                               Master Mailing List
                                                                                                                              Served First Class Mail

MMLID     NAME                                             ADDRESS                                                      ADDRESS 2                               ADDRESS 3                          ADDRESS 4                   CITY              STATE   POSTAL CODE COUNTRY
6492765   WARNER BROS. DIGITAL MEDIA SALES                 111 N. HOLLYWOOD WAY, SUITE 243                                                                                                                                     BURBANK           CA      91505
6476703   WARNER BROS. DISTRIBUTING INC.                   PO BOX 905681                                                                                                                                                       CHARLOTTE         NC      28290
6492231   WARNER BROS. DOMESTIC TELEVISION DISTRIBUTION    C/O WARNER BROS. ENTERTAINMENT INC.                          ATTN: WAYNE M. SMITH, SR. VICE PRESIDENT 4000 WARNER BLVD., BLDG 156, RM                               BURBANK           CA      91522
6479921   Warner Bros. Entertainment Inc.                  Address on File
6474960   WARNER BROS. PHOTO LAB                           ATTN: GREG DYRO                                              4000 WARNER BLVD. BLDG 44 LL                                                                           BURBANK           CA      91522
6795288   WARNER BROS. PICTURES,                           A DIVISION OF WB STUDIO ENTERPRISES, INC.                    ATTN: LEGAL DEPARTMENT                  400 WARNER BLVD                                                BURBANK           CA      91522
6485824   Warner Bros. Post Production Services            Attn: Daniells Scott4000 Warner Blvd.Bldg 4, Rm 131A                                                                                                                Burbank           CA      91522
6481522   Warner Bros. Records, Inc.                       75 Rockefeller Plaza, 12th FloorTax Department                                                                                                                      New York          NY      10019
6469464   WARNER BROS. RECORDS, INC.                       TAX DEPARTMENT                                               75 ROCKEFELLER PLAZA, 12TH FLOOR                                                                       NEW YORK          NY      10019
6479527   WARNER BROS. STUDIO FACILITIES                   4000 WARNER BLVD                                                                                                                                                    BURBANK           CA      91522
6486721   Warner Bros.Pictures                             3400 W. Riverside Dr                                                                                                                                                Burbank           CA      91522
6473522   WARNER BROS.POST PRODUCTION SERVICES             4000 WARNER BLVD.                                                                                                                                                   BURBANK           CA      91522
6491597   WARNER BROTHERS STUDIO ENTERPRISES INC           PO BOX 100579                                                                                                                                                       PASADENA          CA      91189
6486776   WARNER CHAPPELL, MUSIC, INC.                     C/O MYMAN GREENSPAN FINEMAN FOX ROSENBERG &                  ROSENBERG & LIGHT LLP                   ATTN: AARON D. ROSENBERG           11601 WILSHIRE BLVD., SUITE LOS ANGELES       CA      90025
6492372   WARNER MUSIC NASHVILLE, LLC                      ATTN: MEGAN JOYCE, VP/BUSINESS & LEGAL AFFAIR                20 MUSIC SQUARE EAST                                                                                   NASHVILLE         TN      37203
6479528   WARNER PHOTO LAB                                 4000 WARNER BLVD.                                                                                                                                                   BURBANK           CA      91522
6478599   WARNER/CHAPPELL MUSIC INC.                       10585 SANTA MONICA BLVD.                                                                                                                                            LA                CA      90025
6487877   WARNER/CHAPPELL MUSIC INC.                       ATTN: NATHAN OSHER, V.P. LEGAL &                             BUSINESS AFFAIRS                        10585 SANTA MONICA BLVD.                                       LOS ANGELES       CA      90025
6483319   Warner/Chappell Music, Inc                       10585 Santa Monica Blvd                                                                                                                                             Los Angeles       CA      90025
6477427   WARNER/CHAPPELL MUSIC, INC.                      12821 COLLECTIONS CENTER DR                                                                                                                                         CHICAGO           IL      60693
6471243   WARNER/CHAPPELL PRODUCTION MUSIC, INC.           915 WEST 100 SOUTH                                                                                                                                                  SALT LAKE CITY    UT      84104
6484446   Warner/Chappell Production Music, Inc.           PO Box 748408                                                                                                                                                       Los Angeles       CA      90074
6478600   WARNER\CHAPPELL MUSIC, INC.                      10585 SANTA MONICA BLVD.                                                                                                                                            LOS ANGELES       CA      90025-4950
6476919   WARNER\KENNETH                                   101 PEANUT ROAD                                                                                                                                                     HAMPSTEAD         NC      28443
6477303   WARNER\SCOTT D.                                  323 SUNCREST BLVD                                                                                                                                                   SAVANNAH          GA      31410-2211
6483989   Warren Baker                                     531 North Kings Rd. #1                                                                                                                                              Los Angeles       CA      90048
6485227   Warren Betts Communications, Inc.                391 Foothill Ave.                                                                                                                                                   Sierra Madre      CA      91024
6483199   Warren Drummond                                  1321 S. Cloverdale Ave.                                                                                                                                             Los Angeles       CA      90019
6485112   Warrior Films, LLC dba Skip Film                 2038 Broadway                                                                                                                                                       Santa Monica      CA      90404
6491710   WASHINGTON DEPARTMENT OF FISH & WILDLIFE         2315 N DISCOVERY PLACE                                                                                                                                              SPOKANE           WA      99216
6479993   WASHINGTON DEPARTMENT OF LABOR & INDUSTRIES      DIRECTOR                                                     P.O. BOX 44000                                                                                         OLYMPIA           WA      98504-4000
6486366   Washington Limousine                             15701 Nelson Place                                                                                                                                                  Seattle           WA      98188
6478169   WASHINGTON\ROBERT D.                             6505 MCKINNEY DRIVE NE                                                                                                                                              ALBUQUERQUE       NM      87109
6477641   WASSON, JENNIFER                                 3322 DUMAINE ST                                                                                                                                                     NEW ORLEANS       LA      70119-3911
6474971   WASTE CONNECTIONS OF ALASKA INC                  DBA: ALASKA WASTE                                            6301 ROSEWOOD STREET                                                                                   ANCHORAGE         AK      99518
6475619   WASTE MANAGEMENT                                 OF THE CAROLINAS, INC                                        P.O. BOX 105453                                                                                        ATLANTA           GA      30348
6475438   WASTE MANAGEMENT OF CALIFORNIA                   DBA SUN VALLEY HAULING                                       9801 TUJUNGA AVENUE                                                                                    SUN VALLEY        CA      91352
6476431   WASTE MANAGEMENT OF PA INC                       PO BOX 13648                                                                                                                                                        PHILADELPHIA      PA      19101-3648
6477085   WASTE PRO OF NORTH CAROLINA                      138 TAVISTOCK ROAD                                                                                                                                                  ARDEN             NC      28704
6477556   WATER & SEWER PIPE & SUPPLY                      949 BRIDGE CITY AVE                                                                                                                                                 BRIDGE CITY       LA      70096
6478348   WATER MAN\THE                                    P.O. BOX 6464                                                                                                                                                       SANTA FE          NM      87502-6464
6475947   WATERFRONT CANTINA CORP                          PO BOX 531                                                                                                                                                          NAGUABO           PR      00718
6476277   WATERKOTTO\JOSEPH                                429 2ND ST                                                                                                                                                          PITCAIRN          PA      15140
6484154   Watkins Art Services, Inc.                       P.O. Box 66-1664                                                                                                                                                    Los Angeles       CA      90066
6479409   WATKINS\APRIL                                    6636 PETIT AVENUE                                                                                                                                                   LAKE BALBOA       CA      91406
6477032   WATKINS\PENNY H.                                 303 N. HOWE STREET                                                                                                                                                  SOUTHPORT         NC      28461
6476821   WATKINS\VALERIE R.                               302 COLONIAL DRIVE                                                                                                                                                  WILMINGTON        NC      28403
6488539   WATL TELEVISION                                  C/O SZABO ASSOCIATES, INC.                                   ATTN: SANDI HENDERSON                   3355 LENOX RD NE STE 945                                       ATLANTA           GA      30326
6480871   Watson, Elliott                                  Address on File
6476555   WATSON, TREVOR RYAN                              385 IRONWOOD DR.                                                                                                                                                    THOMASVILLE       NC      27360
6478896   WATSON/MICHAEL                                   1230 HORN AVE., UNIT 519                                                                                                                                            WEST HOLLYWOOD    CA      90069
6478453   WATSON\STEVE                                     53 CALLE ALEXIA                                                                                                                                                     SANTA FE          NM      87508
6477665   WATTS HAPPENING LLC                              1349 MIRABEAU AVE                                                                                                                                                   NEW ORLEANS       LA      70122
6484257   Waugh Entertainment Inc.                         c/o International Creative Management, 10250 Constellation                                                                                                          Los Angeles       CA      90067
6795267   WAUGH ENTERTAINMENT, INC F/S/O RIC ROMAN WAUGH   C/O INTERNATIONAL CREATIVE MANAGEMENT                        ATTN: NICOLE CLEMENS                    10250 CONSTELLATION BOULEVARD                                  LOS ANGELES       CA      90067
6479095   WAUGH ENTERTAINMENT, INC.                        2850 OCEAN PARK BL #300                                                                                                                                             SANTA MONICA      CA      90405
6795277   WAUGH ENTERTAINMENT,INC                          C/O SLOAN OFFER WEBER AND DERN, LLP                          ATTN: HARRIS HARTMAN, ESQ            9601 WILSHIRE BLVD.                   SUITE 500                   BEVERLY HILLS     CA      90210
6487914   WAUGH* SCOTT                                     C/O FREEMAN FREEMAN & SMILEY, LLP                            ATTN: THEODORE B. STOLMAN/CAROL CHOW 1888 CENTURY PARK EAST, SUITE                                     LOS ANGELES       CA      90067
6478752   WAVEFRONT LIGHTING                               1172 KIPLING AVE                                                                                                                                                    LOS ANGELES       CA      90041
6475238   WAVELAB STUDIO                                   AKA CRAIG SCHUMACHER                                         270 SOUTH STONER AVENUE                                                                                TUCSON            AZ      85748
6475379   WAVELENGTH & RESONANCE, LLC.                     C/O NEED FINANCIAL SERVICES                                  701 SANTA MONICA BLVD, SUITE 200                                                                       SANTA MONICA      CA      90401
6477685   WAVEONE INC                                      1433 SAMS AVE STE#2                                                                                                                                                 NEW ORLEANS       LA      70123
6475762   WAX LTD.                                         6767 SUNSET BOULEVARD,                                       SUITE # 8-485                                                                                          LOS ANGELES       CA      90028
6479546   WAX/DENISE                                       11231 OTSEGO STREET, PAT #319                                                                                                                                       NORTH HOLLYWOOD   CA      91601        UNITED
6475929   WAXMAN, JEFF                                     PINEWOOD STUDIOS WALES                                       WENTLOOG AVE                                                                                           CARDIFF                   CF3 2GH      KINGDOM
6476152   WAXMAN\JEFF                                      24 BLUEBIRD LANE                                                                                                                                                    PLAINVIEW         NY      11803
6475227   WAXYLU FILMS INC                                 FSO WAXMAN/J                                                 24 BLUEBIRD LANE                                                                                       PLAINVIEW         NY      11803
6481820   Waxylu Films, Inc                                24 Bluebird Lane                                                                                                                                                    Plainview         NY      11803
6468779   WAXYLU FILMS, INC.                               C/O WALK THE WALK ENTERTAINMENT, INC.                        ATTN: STEVE HUTENSKY                    2320 GLYNDON AVE.                                              VENICE            CA      90291
6475228   WAXYLU FILMS, LLC                                FSO JEFF WAXMAN                                              24 BLUEBIRD LANE                                                                                       PLAINVIEW         NY      11803




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                                                                                                                                Master Mailing List
                                                                                                                               Served First Class Mail

MMLID     NAME                                                   ADDRESS                                                 ADDRESS 2                               ADDRESS 3                       ADDRESS 4              CITY                STATE   POSTAL CODE COUNTRY
6484988   Wayne A. Morse                                         PO Box 11512                                                                                                                                           Marina Del Rey      CA      90295
6481191   Wayne D. Barlowe                                       7 Allen Street                                                                                                                                         Rumson              NJ      07760
6485299   Wayne Drake                                            1411 Virginia Ave.                                                                                                                                     Glendale            CA      91202
6481104   Wayne S. Alpert                                        701 Boylston St.                                                                                                                                       Newton              MA      02461
6477686   WAYNE'S VENDING SERVICE                                5812 PLAUCHE ST                                                                                                                                        HARAHAN             LA      70123
6475638   WAYNESVILLE AMERICAN LEGION                            POST # 47                                               P.O. BOX 911                                                                                   WAYNESVILLE         NC      28786
6484904   Ways and Means Productions, Inc                        f/s/o Jason Clark, 941 Kagawa St                                                                                                                       Pacific Palisades   CA      90272
6479160   WB STUDIO ENTERPRISES INC.                             P.O. BOX 100579                                                                                                                                        PASADENA            CA      91189-0579
6475505   WB STUDIO ENTERPRISES, INC.                            4000 WARNER BLVD.,                                      BLDG #4, RM # 131-A                                                                            BURBANK             CA      91522
6492146   WB STUDIO FACILITIES INC.                              C/O WARNER BROS ENTERTAINMENT INC.                      ATTN: WAYNE M. SMITH, SR. VICE PRESIDENT 4000 WARNER BLVD.              BLDG. 156, ROOM 5120   BURBANK             CA      91522
6479161   WBSF                                                   P.O.BOX 100579                                                                                                                                         PASADENA            CA      91189-0579
6475292   WBSF POST PRODUCTION SVC                               ATTN: COLE GEHRUNG                                      4000 WARNER BLVD BLDG 4 RM131                                                                  BURBANK             CA      91522
6490355   WDCW                                                   ATTN: STACEY EDWARDS, REGIONAL CREDIT MGR               2121 WISCONSIN AVENUE N.W., SUITE 350                                                          WASHINGTON          DC      20007
6483499   We Write Good fso Patrick Ryan Andrew Hamilton         934 Montecito Dr.                                                                                                                                      Los Angeles         CA      90031
6479244   WEAKS\ALMA                                             11110 DE HAVEN AVENUE                                                                                                                                  PACOIMA             CA      91331
6476061   WEATHER WORKS, LLC                                     PO BOX 7100, 103 MOUNTAIN COUR                                                                                                                         HACKETTSTOWN        NJ      07840
6477555   WEAVER\DEBRA                                           401 4TH STREET                                                                                                                                         WESTWEGO            LA      70094
6476240   WEAVERTOWN ENVIRONMENTAL GROUP                         2 DORRINGTON RD                                                                                                                                        CARNEGIE            PA      15106
6476241   WEAVERTOWN TRANSPORT LEASING                           2 DORRINGTON RD                                                                                                                                        CARNEGIE            PA      15106
6480670   Webb, Cody                                             Address on File
6480578   Webb, Katherine                                        Address on File
6479036   WEBB, LESLIE C.                                        851 VICTORIA AVENUE                                                                                                                                    VENICE              CA      90291
6480872   Weber, Rachel                                          Address on File
6476938   WEB'S NEON                                             9251 HIGHLAND HILLS DRIVE N.E.                                                                                                                         LELAND              NC      28451
6476047   WECHLSER\MICHAEL J.                                    48 MILL HILL ROAD                                                                                                                                      SOUTHPORT           CT      06890
6491415   WEDIDIT LLC                                            1990 S. BUNDY DR.                                                                                                                                      LOS ANGELES         CA      90025
6492622   WEEKS-LERMAN GROUP, LLC* THE                           ATTN: RICHARD BARRY, COLLECTIONS SPECIALIST             58-38 PAGE PLACE                                                                               MASPETH             NY      11378
6481786   Weeks-Lerman Group, The                                58-38 Page Pl.                                                                                                                                         Maspeth             NY      11378
6475878   WEEMS GALLERY, INC.                                    7200 MONTGOMERY BLVD NE                                 SUITE D                                                                                        ALBUQUERQUE         NM      87109
6477692   WEICK\TONI                                             5649 GENERAL HAIG ST                                                                                                                                   NEW ORLEANS         LA      70124
6481422   Weidlinger Associates, Inc.                            375 Hudson Street, 12th Floor                                                                                                                          New York            NY      10014
6477033   WEIKLE\SCOTT                                           1451 NICHOLS AVENUE SE                                                                                                                                 SOUTHPORT           NC      28461
6481651   Weil, Gotshal & Manges LLP                             767 fith Avenue                                                                                                                                        New York            NY      10153
6479312   WEINMAN, RICHARD                                       18563 CLARK STREET                                                                                                                                     TARZANA             CA      91356
6480922   Weinman, Richard                                       Address on File
6484743   Weinstein Company, LLC                                 9100 Wilshire Blvd. Suite 700 West                                                                                                                     Beverly Hills       CA      90212
6479345   WELKER, FRANK                                          P. O. BOX 327                                                                                                                                          AGOURA              CA      91376
6482503   Wells Fargo Delaware Trust Company, National Assoc     WF 8113P.O. Box 1450                                                                                                                                   Minneapolis         MN      55485
6482454   Wells Fargo Financial Leasing                          P.O. Box 10306                                                                                                                                         Des Moines          IA      50306
6491340   WELLS FARGO FINANCIAL LEASING                          P.O. BOX 6434                                                                                                                                          CAROL STREAM        IL      60197
6480406   WELLS FARGO FINANCIAL LEASING, INC.                    ATTN: RYAN FORRET, LOAN ADJUSTOR                        800 WALNUT STREET                       MAC N0005-055                                          DES MOINES          IA      50309
6480672   Wells, Samuel                                          Address on File
6479410   WELLS\MATTHEW                                          7118 LASAINE AVENUE                                                                                                                                    VAN NUYS            CA      91406
6478673   WELSH, JESSICA                                         3745 DELMAS TERRACE #8                                                                                                                                 LA                  CA      90034
6484033   Wendy Creed Productions                                555 S Barrington Ave                                                                                                                                   Los Angeles         CA      90049
6484258   Wendy Diane Miller                                     c/o Int'l Creative Management10250 Constellation Blvd                                                                                                  Los Angeles         CA      90067
6484388   Wendy Heller Law, Inc.                                 9000 Sunset Blvd. #1250                                                                                                                                West Hollywood      CA      90069
6483538   Wendy L. Krieger                                       9628 Beverlywood St.                                                                                                                                   Los Angeles         CA      90034
6481665   Wendy Merry                                            521 5th AvenueSuite 1900                                                                                                                               New York            NY      10175
6475596   WENG\DIANA C.                                          860 MERIDIAN GAY LANE                                   NO. 328                                                                                        FOSTER CITY         CA      94404
6485216   WePackItAll                                            2745 Huntington Drive                                                                                                                                  Duarte              CA      91010
6484303   Wesley Spencer Craun                                   3219 Bonnie Hill Dr.                                                                                                                                   Los Angeles         CA      90068
6476752   WESSEL\GREGORY L.                                      203 SOUTH 8TH STREET                                                                                                                                   WILMINGTON          NC      28401
6492184   WESSLER* CHARLES                                       C/O VALENSI ROSE, PLC                                   ATTN: DAVID M. REEDER, ESQ.             1888 CENTURY PARK EAST, SUITE                          LOS ANGELES         CA      90067
6481523   West Brands Fashion, LLC                               1755 Broadway, 3rd Floor                                                                                                                               New York            NY      10019
6491608   WEST COAST MARKETING                                   PO BOX 9142                                                                                                                                            CALABASAS           CA      91372-9142
6479684   WEST COAST STUDIO RENTALS                              2392 STONY LN                                                                                                                                          BREA                CA      92821
6480289   WEST COVINA CITY TAX ASSESSOR                          2934 E. GARVEY AVENUE S #290                                                                                                                           WEST COVINA         CA      91791
6476487   WEST END TOWNHOUSE ASSOCIATES                          812 BURKE STREET                                                                                                                                       WINSTON-SALEM       NC      27101
6477869   WEST JR\RODNEY L                                       2112 SGT. ALFRED RD                                                                                                                                    SLIDELL             LA      70458
6485522   West Valley Boys & Girls Club                          P.O. Box 6576                                                                                                                                          Woodland Hills      CA      91365
                                                                                                                         BUREAU OF COMMERCE,STATE CAPITOL
6479952   WEST VIRGINIA DIVISION OF LABOR                        COMMISSIONER                                            COMPLEX                                 BUILDING #6, ROOM B749                                 CHARLESTON          WV      25305
6490728   WEST VIRGINIA STATE TAX DEPT                           TAX ACCOUNT ADMIN DIV                                   PO BOX 11751                                                                                   CHARLESTON          WV      25339
6475182   WEST VIRGINIA\STATE OF                                 DIVISION OF CULTURE & HISTORY                           1900 KANAWHA BLVD EAST                                                                         CHARLESTON          WV      25305-0300
6491239   WEST WORLD MEDIA LLC                                   PO BOX 30291                                                                                                                                           NEW YORK            NY      10087
6492636   WEST WORLD MEDIA, LLC                                  ATTN: SUSAN RICH, VP/GENERAL MANAGER                    63 COPPS HILL ROAD                                                                             RIDGEFIELD          CT      06877
6492642   WEST* CORINNE                                          C/O ANDREA MATOS                                        6841 VALLEY CIRCLE BLVD., #50                                                                  WEST HILLS          CA      91307
6491695   WEST/CORINNE                                           Address on File
6475486   WEST\COLLIN M.                                         519 HALSEY STREET,                                      APT. # 4-R                                                                                     BROOKLYN            NY      11233




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                                                                                                                                             Served First Class Mail

MMLID     NAME                                                     ADDRESS                                                              ADDRESS 2                         ADDRESS 3                        ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6795257   WESTATES THEATRES, INC.                                  4956 W 6200 S                                                                                                                                       SALT LAKE CITY    UT      84118
6479614   WESTERN COSTUME                                          11041 VANOWEN ST                                                                                                                                    NORTH HOLLYWOOD   CA      91605
6479615   WESTERN COSTUME COMPANY                                  11041 VANOWEN ST                                                                                                                                    NORTH HOLLYWOOD   CA      91605
6479616   WESTERN COSTUME LEASING CO.                              11041 VANOWEN ST                                                                                                                                    N. HOLLYWOOD      CA      91605
6479617   WESTERN COSTUME RENTAL                                   110401 VANOWEN STREET                                                                                                                               NORTH HOLLYWOOD   CA      91605
6478135   WESTERN GROUP/SW\THE                                     5811 EDITH BLVD NE                                                                                                                                  ALBUQUERQUE       NM      87107
6478744   WESTERN STUDIO SERVICE INC                               4561 COLORADO BLVD                                                                                                                                  LOS ANGELES       CA      90039
6479459   WESTERN STUDIO SERVICES                                  805 SOUTH SAN FERNANDO BLVD.                                                                                                                        BURBANK           CA      91502
6483320   Westgate Film Services LLC                               11620 Wilshire Blvd Suite 460                                                                                                                       Los Angeles       CA      90025
6479562   WESTLAKE PRO, INC.                                       4101 LANKERSHIM BOULEVARD                                                                                                                           NORTH HOLLYWOOD   CA      91602       UNITED
6486472   Westminster Music, LTD                                   Suite 2. 07, Plaza 535 Kings Road                                                                                                                   London                    SW10 OSZ    KINGDOM
6476408   WESTMORELAND SUPPLY INC                                  140 E OTTERMAN STREET                                                                                                                               GREENSBURG        PA      15601
6485723   WestNet Consulting Services, inc.                        817 E. Magnolia Blvd.                                                                                                                               Burbank           CA      91501
6482453   Westonfilm LLC                                           311 1/2 W 8th St                                                                                                                                    Traverse City     MI      49684
6485270   Wexler                                                   Dept LA 23312                                                                                                                                       Pasadena          CA      91185
6480986   Weymans, Roy                                             Address on File
6485715   WF Cinema Holdings LP                                    16530 Ventura BlvdSuite 500                                                                                                                         Encino            CA      91436
6488534   WFAA TELEVISION                                          606 YOUNG STREET                                                                                                                                    DALLAS            TX      75202
6488534   WFAA TELEVISION                                          C/O SZABO ASSOCIATES, INC.                                           ATTN: SANDI G HENDERSON           3355 LENOX RD NE, SUITE 945                  ATLANTA           GA      30326
6492804   WFTV/WRDQ TELEVISION                                     C/O SZABO ASSOCIATES, INC.                                           ATTN: SANDI G. HENDERSON, AGENT   3355 LENOX ROAD NE., SUITE 945               ATLANTA           GA      30326
6480376   WGA MARC KLEIN                                           C/O WRITERS GUILD OF AMERICA, WEST, INC.                             7000 WEST THIRD STREET                                                         LOS ANGELES       CA      90048
6480377   WGAW RESIDUALS DEPARTMENT                                C/O WRITERS GUILD OF AMERICA, WEST, INC.                             7000 WEST THIRD STREET                                                         LOS ANGELES       CA      90048
6491805   WGBH EDUCATIONAL FOUNDATION                              P.O. BOX 414670                                                                                                                                     BOSTON            MA      02241
6475948   WHARTON\VALERIE                                          PLAY HUCARES BUZION 180                                                                                                                             NAGUABO           PR      00718
6485390   WHClune, Inc                                             10745 Bothwell Road                                                                                                                                 Chatsworth        CA      91311
6476873   WHEELIS\GEORGE                                           212 BRIGHTWOOD ROAD                                                                                                                                 WILMINGTON        NC      28409
6478030   WHEELS 4 REELS                                           8 JAY BIRD LOOP                                                                                                                                     LOS LUNAS         NM      87031
6477879   WHEELS IN MOTION                                         35436 HWY 433                                                                                                                                       SLIDELL           LA      70460
6475651   WHEN HARRY MET SAMMY INC                                 FSO KRESS/RONNA                                                      PO BOX 11450                                                                   BEVERLY HILLS     CA      90213-4450
6475652   WHEN HARRY MET SAMMY, INC                                F/S/O RONNA KRESS                                                    PO BOX 11450                                                                   BEVERLY HILLS     CA      90213-4450
6484753   When Harry Met Sammy, Inc.                               P.O. Box 11450                                                                                                                                      Beverly Hills     CA      90213
6475867   WHIRLED MUSIC PUBLISHING INC.                            1818 W. NORTHERN AVENUE                                              SUITE A9-186                                                                   PHOENIX           AZ      85021
6485437   Whispering Wind Media, Inc.                              26522 Pipit Ct.                                                                                                                                     Canyon Country    CA      91351
6479173   WHITCOMB, DENNIS L.                                      448 W. MAPLE STREET                                                                                                                                 GLENDALE          CA      91204
6481124   White Nite, LLC dba Holiday Cinemas 14                   970 North Colony Rd.                                                                                                                                Wallingford       CT      06492
6486700   White Oak Global Advisors                                3 Embarcadero Center                                                 Ste 550                                                                        San Francisco     CA      94111
6480369   WHITE OAK GLOBAL ADVISORS, LLC                           C/O GREENBERG TRAURIG, LLP                                           1840 CENTURY PARK EAST            SUITE 1900                                   LOS ANGELES       CA      90067
6486699   White Oak Merchant Partners, LLC                         3 Embarcadero Center                                                 Ste 540                                                                        San Francisco     CA      94111
6491394   WHITE* PATRICK                                           PO BOX 44507                                                                                                                                        LOS ANGELES       CA      90044-0507
6476543   WHITE, WILLIAM ZACHARY                                   7102 DESTINY JO RD                                                                                                                                  PLEASANT GARDEN   NC      27313
6476307   WHITE\KEVIN JR                                           47 POPLAR ST                                                                                                                                        PITTSBURGH        PA      15205
6478747   WHITE\RICHARD CAMERON                                    1660 BERKELEY ST. #3                                                                                                                                SANTA MONICA      CA      90404
6474999   WHITECAP ENTERTAINMENT, INC.                             FSO: DJ CARUSO                                                       PO BOX 80997                                                                   SAN MARINO        CA      91118
6484259   Whitecap Entertainment, Inc. fso Daniel John Caruso      c/o Creative Artists AgencyAttn: Scott Greenberg2000 Avenue of the                                                                                  Los Angeles       CA      90067
6476457   WHITELATCH\WILLIAM M                                     2203 4TH ST                                                                                                                                         MOUNDSVILLE       WV      25041
6480421   Whitman, Colin                                           Address on File
6475817   WHITMORE-LINDLEY THEATER CTR                             18034 VENTURA BLVD                                                   SUITE 291                                                                      ENCINO            CA      91316
6483200   Whitney Lucci                                            1865 S. Cloverdale Avenue                                                                                                                           Los Angeles       CA      90019
6483350   Whitney Weir                                             2825 Marathon St.                                                                                                                                   Los Angeles       CA      90026
6475270   WHOLE FOODS MARKET                                       SOUTHWEST, L.P.                                                      3420 VETERANS MEMORIAL BLVD                                                    METAIRIE          LA      70002
6475861   WHOLESALE CERAMIC TILE, INC.                             315 S WESTGATE DRIVE                                                 SUITE A                                                                        GREENSBORO        NC      27407
6477234   WHOLESALE GLASS AND MIRROR                               419 HAYWOOD RD                                                                                                                                      ASHEVILLE         NC      28806
6478519   WHOLESALE MIRROR & GLASS                                 4121 EDITH BLVD NE                                                                                                                                  ALBUQUERQUE       NM      878107
6478674   WIDGET POST PRODUCTION                                   2700 S LA CIENEGA BLVD                                                                                                                              LOS ANGELES       CA      90034
6475131   WIIG\KRISTEN                                             C/O STELLIE PRODS, INC                                               1430 BROADWAY, 17TH FLOOR                                                      NEW YORK          NY      10018
6476056   WILCASSETTES LLC                                         500-B LAKE STREET                                                                                                                                   RAMSEY            NJ      07446        UNITED
6475575   WILCOCK, DAVID                                           22 COURTLANDS AVE.                                                   HAMPTON                                                                        MIDDLESEX                 TW12 3NT     KINGDOM
6491467   WILCOX*DYLAN                                             Address on File
6481088   Wild about Movies LLC                                    304 Newbury Street, Suite 212                                                                                                                       Boston            MA      02115
6484820   Wild Card Media, LLC                                     3542 Hayden Ave. Suite B                                                                                                                            Culver City       CA      90232
6491506   WILD WOODS, INC.                                         3575 CAHUENGA BLVD WEST, #400                                                                                                                       LOS ANGELES       CA      90068
6484304   Wild Woods, Inc.                                         3575 Cahuenga Blvd. West                                                                                                                            Los Angeles       CA      90068
6476401   WILD WORLD OF ANIMALS                                    15 SHORT CUT ROAD                                                                                                                                   EIGHTY FOUR       PA      15330
6476859   WILDCHILD CUSTOM GRAPHIC                                 3126 KITTY HAWK RD. STE 1                                                                                                                           WILMINGTON        NC      28405
6476405   WILDERNESS\THE                                           960 PITTMAN HOLLOW ROAD                                                                                                                             EVERETTE          PA      15537
6478818   WILDFIRE                                                 640 S SAN VICENTE BLVD.                                                                                                                             LA                CA      90048
6478819   WILDFIRE                                                 640 S SAN VICENTE BLVD.                                                                                                                             LOS ANGELES       CA      90048
6474972   WILDFIRE POST PRODUCTION                                 STUDIOS                                                              640 S SAN VICENTE BLVD.                                                        LOS ANGELES       CA      90048
6483991   Wildfire Studios, LLC                                    640 S. San Vicente Blvd.                                                                                                                            Los Angeles       CA      90048
6478454   WILDHORSE MOVIE TRUCKS                                   3570 STATE ROAD 14                                                                                                                                  SANTA FE          NM      87508




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                                                                                                                                            Served First Class Mail

MMLID     NAME                                                    ADDRESS                                                           ADDRESS 2                         ADDRESS 3             ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6477049   WILDLIFE BAIT & TACKLE                                  4381 FISH FACTORY ROAD                                                                                                                OAK ISLAND        NC      28465
6478292   WILDWOOD, INC.                                          P.O. BOX 91477                                                                                                                        ALBUQUERQUE       NM      87199
6481808   Wilen Media Corp.                                       5 Wellwood Ave.                                                                                                                       Farmingdale       NY      11735
6795243   WILEN NEW YORK                                          5 WELLWOOD AVE                                                                                                                        FARMINGDALE       NY      11735
6491307   WILEN PRESS DBA WILEN DIRECT                            3333 SW 15TH ST.                                                                                                                      DEERFIELD BEACH   FL      33442
6476443   WILHELM\ROBERT S.                                       9101A SIMMS AVENUE                                                                                                                    PARKVILLE         MD      21234-1317
6478522   WILKERSON\KEITH                                         P.O. BOX 64                                                                                                                           MULE CREEK        NM      88051
6483764   Will Madoc Rees                                         5264 Live Oak View Avenue                                                                                                             Los Angeles       CA      90041
6473575   WILL ROGERS MPPF                                        10045 RIVERSIDE DR                                                                                                                    TOLUCA LAKE       CA      91602
6484305   Will Rogers MPPF                                        6767 Forest Lawn Dr., Suite 303            Attn: Martin Johnson                                                                       Los Angeles       CA      90068
6474151   WILL*RORY                                               Address on File
6480694   Will, Rory M                                            Address on File
6491806   WILLARD-KIESS/SUZANNE                                   Address on File
6482629   William Alexander Wilson                                c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                     Northbrook        IL      60062
6482210   William Andrews                                         4927 18th Street E.                                                                                                                   Bradenton         FL      34203
6482630   William B. Lamb                                         c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                     Northbrook        IL      60062
6485051   William Brent McHenry                                   1101 Lincoln Blvd. #2A                                                                                                                Santa Monica      CA      90403
6481717   William Carlough                                        196 Court St. #9                                                                                                                      Brooklyn          NY      11201
6482169   William D. Davis                                        450 E. Las Olas Blvd. Suite 1000                                                                                                      Fort Lauderdale   FL      33301
6482631   William Deck McGuire                                    c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                      Northbrook        IL      60062
6482061   William Goodrum                                         10 Deanwood Circle                                                                                                                    Asheville         NC      28803
6482254   William J. Decker                                       4416 Churchill Place                                                                                                                  Old Hickory       TN      37138
6482815   William J. Widmer                                       1233 Kerlerec St. #2                                                                                                                  New Orleans       LA      70116
6485432   William Kremin Electrical Contractor Inc.               11024 Balboa Blvd., # 770                                                                                                             Granada Hills     CA      91344
6486716   William Morris Agency                                   9601 Wilshire Blvd                                                                                                                    Beverly Hills     CA      90210
6484618   William Morris Endeavor Ent., LLC                       9601 Wilshire Blvd. 3rd F                                                                                                             Beverly Hills     CA      90210
6489467   WILLIAM MORRIS ENDEAVOR ENT., LLC                       C/O WILIAM MORRIS ENDEAVOR, LLC                                   ATTN: COURTNEY BRAUN              9601 WILSHIRE BLVD.               BEVERLY HILLS     CA      90210
6491543   WILLIAM MORRIS ENDEAVOR ENTERTAINMENT LLC               151 EL CAMINO DR.                                                                                                                     BEVERLY HILLS     CA      90212
6490691   WILLIAM MORRIS ENDEAVOR ENTERTAINMENT, LLC              ATTN: COURTNEY BRAUN                                              9601 WILSHIRE BLVD.                                                 BEVERLY HILLS     CA      90210
6484619   William Morris Entertainment, LLC dba Youth Trends      9601 Wilshire Blvd., 3rd FL                                                                                                           Beverly Hills     CA      90210
6483483   William Parrish                                         1810 N Bronson Ave, #206                                                                                                              Los Angeles       CA      90028
6485542   William Povletich                                       26103 Salinger Lane                                                                                                                   Stevenson Ranch   CA      91381
6482686   William R. Zwecker                                      180 E. Pearson St. #4006                                                                                                              Chicago           IL      60611
6482308   William Reynolds dba Lakewood Trip                      2000 Glen Echo Rd Ste 105                                                                                                             Nashville         TN      37215
6491721   WILLIAM REYNOLDS DBA LAKEWOOD TRIP                      2000 GLEN ECHO ROAD, STE 105                                                                                                          NASHVILLE         TN      37215-2857
6482632   William Scott Middlebrooks                              c/o SFX Baseball Group400 Skokie Blvd. Suite 280                                                                                      Northbrook        IL      60062
6485300   William Seth Engstrom                                   1343 Bruce Ave.                                                                                                                       Glendale          CA      91202
6486071   William Thompson f/s/o Bill Thompson Productions        3129 Watermark Place                                                                                                                  Irvine            CA      92612
6482196   William W. Hallenbeck, Jr                               1105 Abbeys Way                                                                                                                       Tampa             FL      33602
6474838   WILLIAMS*ADAM                                           Address on File
6474788   WILLIAMS*TYRONE J                                       Address on File
6480532   Williams, Carmen                                        Address on File
6476910   WILLIAMS, DAWN                                          108 S. FIFTH ST                                                                                                                       CAROLINA BEACH    NC      28428
6480938   Williams, Erin                                          Address on File
6479716   WILLIAMS\CHARLES                                        10006 EAST AVE S-8                                                                                                                    LITTLEROCK        CA      93543
6479045   WILLIAMS\DEVONA                                         13603 MARINA POINTE DR D602                                                                                                           MARINA DEL REY    CA      90292
6476939   WILLIAMS\JESSE                                          116 STONEY CREEK LANE                                                                                                                 LELAND            NC      28451
6478156   WILLIAMS\JUSTIN T.                                      327 SOLANO DRIVE NE                                                                                                                   ALBUQUERQUE       NM      87108
6479717   WILLIAMS\ROBERT                                         10006 EAST AVE S-8                                                                                                                    LITTLEROCK        CA      93543
6475598   WILLIAMS\SANDY                                          311 HILL STREET                                                   NO. 4                                                               SANTA MONICA      CA      90405
6477513   WILLIAMS\SEAN A                                         PO BOX 1521                                                                                                                           GRETNA            LA      70054
6490367   WILLIAMSON MUSIC COMPANY                                ATTN: ALBANELA MALAVE                                             229 WEST 28TH ST. 11TH FLOOR                                        NEW YORK          NY      10001
6482782   Willie Aames                                            16054 W. 160th Terrace                                                                                                                Olathe            KS      66062
6478577   WILLIE'S SHOE SERVICE                                   1174 S. LA BREA AVENUE                                                                                                                LOS ANGELES       CA      90019
6491385   WILLINGTON RITZ THEATRE, INC.                           P.O. BOX 202, 902 EAST AVENUE                                                                                                         WELLINGTON        TX      79095
6474804   WILLMOT*SETH                                            Address on File
6482056   Willow Holdings, Inc. fso Nick Sparks                   4907 Trent Woods Dr.                                                                                                                  New Bern          NC      28562
6477034   WILLY VENTURE, LLC.                                     606 W WEST ST, SUITE 202                                                                                                              SOUTHPORT         NC      28461
6476753   WILMINGTON BREWERS, LLC                                 9 NORTH FRONT STREET                                                                                                                  WILMINGTON        NC      28401
6476754   WILMINGTON CONVENTION CENTER                            10 CONVENTION CENTER DRIVE                                                                                                            WILMINGTON        NC      28401
6476860   WILMINGTON DOLLIES & CRANES                             111 W SAMDS HILL DR                                                                                                                   WILMINGTON        NC      28409-3274
6476755   WILMINGTON PRINTING COMPANY                             401 COLONIAL DRIVE                                                                                                                    WILMINGTON        NC      28401
6476861   WILMINGTON SHEET METAL                                  6427 E. WINDMILL WAY                                                                                                                  WILMINGTON        NC      28405
6476761   WILMINGTON\CITY OF                                      P.O. BOX 1810                                                                                                                         WILMINGTON        NC      28402
6478840   WILSHIRE PARK PLAZA                                     607 S PARK VIEW                                                                                                                       LOS ANGELES       CA      90057
6485814   Wilson Chandler                                         2140 N. Hollywood Way #1675                                                                                                           Burbank           CA      91507
6482633   Wilson Ramos                                            c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                                     Northbrook        IL      60062
6478501   WILSON TRAILER LEASING COMPANY                          PO BOX 15489                                                                                                                          SANTA FE          NM      87592
6491562   WILSON* GLEN D.                                         737 BROADWAY                                                                                                                          VENICE            CA      90291
6474388   WILSON*RAMON                                            Address on File




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                                                                                                                                                   Master Mailing List
                                                                                                                                                  Served First Class Mail

MMLID     NAME                                                        ADDRESS                                                             ADDRESS 2                                 ADDRESS 3                          ADDRESS 4   CITY             STATE   POSTAL CODE COUNTRY
6479830   WILSON*RAMON                                                C/O YUCAIPA FILM INVESTMENTS LLC                                    888 SEVENTH AVENUE                        40TH FLOOR                                     NEW YORK         NY      10106       UNITED
6479814   WILSON, CLAIRE                                              20 HARROW VIEW ROAD                                                                                                                                          LONDON                   W5 1LZ      KINGDOM
6480911   Wilson, Lauren                                              Address on File
6480785   Wilson, Ramon M                                             Address on File
6476312   WILSON\CALVIN M                                             228 WINSTON STREET                                                                                                                                           PITTSBURGH       PA      15207
6475434   WILSON\ERIK                                                 C/O WME                                                             9601 WILSHIRE BLVD 3RD FLOOR                                                             BEVERLY HILLS    CA      90210
6479037   WILSON\GLEN D.                                              797 BROADWAY                                                                                                                                                 VENICE           CA      90291
6475478   WILSON\PETER                                                1509 PINE ST                                                        APT D                                                                                    NEW ORLEANS      LA      70118
6477918   WINANS\ROBERT L                                             1820 STANFORD ST                                                                                                                                             ALEXANDRIA       LA      71301
6485967   Winco Global Music                                          12650 Riverside Drive, Suite 200                                                                                                                             Valley Village   CA      91607
6492168   WINCO GLOBAL MUSIC                                          C/ WINOGRADSKY/SOBEL DBA WINCO GLOBAL MUSIC                         ATTN: STEEN WINOGRADSKY, ESQ.,            12650 RIVERSIDE DRIVE, SUITE 200               STUDIO CITY      CA      91607
6480152   WINCREST VENTURES LP                                        ATTENTION: JOHN BLAISDELL                                           PO BOX 56389                                                                             HOUSTON          TX      77256
6475935   WINDMILL LANE LTD.                                          4 WINDMILL LANE                                                                                                                                              DUBLIN                                IRELAND
6476901   WINDOW SCENE\THE                                            9212 RIVER ROAD                                                                                                                                              WILMINGTON       NC      28412
6485377   Window Tint's Everytying, Inc.                              P.O. Box 238                                                                                                                                                 Castaic          CA      91310
6477728   WINDSOR COURT HOTEL                                         300 GRAVIER STREET                                                                                                                                           NEW ORLEANS      LA      70130
6478170   WINDSOR DOOR SALES, INC.                                    3901-A BOGAN AVE. NE                                                                                                                                         ALBUQUERQUE      NM      87109
6477182   WINDSOR HOTEL LLC                                           36 BROADWAY                                                                                                                                                  ASHEVILLE        NC      28801
6483900   Windswept Holdings, LLC                                     7750 Sunset Blvd.                                                                                                                                            Los Angeles      CA      90046
6486295   Windward Aviation                                           P.O. Box 596                                                                                                                                                 Puunene          HI      96784
6481020   Wineman, Richard                                            Address on File
6476308   WINER WELLNESS CENTER                                       2419 BALDWICK ROAD                                                                                                                                           PITTSBURGH       PA      15205
6491482   WINFORD GROUP, LLC, THE                                     11500 W. OLYMPIC BLVD. SUITE 380                                                                                                                             LOS ANGELES      CA      90064
6477035   WINGATE BY WYNDHAM                                          1511 NORTH HOWE STREET                                                                                                                                       SOUTHPORT        NC      28461
6475159   WINIFRED HERVEY PROD. INC.                                  C/O WEISS ACCOUNTANCY INC.                                          16217 KITTRIDGE ST                                                                       VAN NUYS         CA      91406
6474356   WINKLER*JUSTINE                                             Address on File
6480559   Winkler, Justine R                                          Address on File
6475137   WINNER MANAGEMENT LTD                                       C/O BLOOM HERGOTT DIEMER                                            150 S. RODEO DRIVE                                                                       BEVERLY HILLS    CA      90212
6475004   WINNINGHAM\MARE                                             445 NORTH RSSMORE AVENUE                                            # 105                                                                                    LOS ANGELES      CA      90004
6475772   WINROCK PARTNERS, LLC                                       100 SUN AVENUE NE                                                   SUITE 100                                                                                ALBUQUERQUE      NM      87109
6481402   Winston Communications, LLC                                 170 Varick St. 2nd Floor                                                                                                                                     New York         NY      10013
6479193   WINSTON GREGORY, INC.                                       30473-199 MULHOLLAND HWY                                                                                                                                     AGOURA           CA      91301
6485680   Winston Gregory, Inc.                                       4115 Weslin Ave                                                                                                                                              Sherman Oaks     CA      91423
6474961   WINSTON GREGORY, INC.                                       FSO: GREG MAXWELL                                                   4115 WESLIN AVE.                                                                         SHERMAN OAKS     CA      91423
6491408   WINSTON PEREZ                                               Address on File
6491564   WIPER* SCOTT                                                3400 PACIFIC AVENUE, #107                                                                                                                                    MARINA DEL REY   CA      90292
6482472   Wisconsin Department of Revenue                             PO Box 930208                                                                                                                                                Milwaukee        WI      53293
6479994   WISCONSIN DEPARTMENT OF WORKFORCE DEVELOPMENT               SECRETARY                                                           P.O. BOX 7946                                                                            MADISON          WI      53707-7946
6484260   Wise Monkey Films                                           c/o Creative Artists AgencyAttn:Scott Greenberg2000 Avenue of the                                                                                            Los Angeles      CA      90067
6474088   WISNESKI*JAYMIE                                             Address on File
6478430   WITTEN-SMITH\RYLAND                                         1066 HIGHLAND WAY                                                                                                                                            SANTA FE         NM      87507
6478431   WITTWER\ROBERT                                              4439 CHAMISA PATH RD                                                                                                                                         SANTA FE         NM      87507
6485362   Wixen Music Publishing                                      24025 Park Sorrento, Suite 130                                                                                                                               Calabasas        CA      91302
                                                                                                                                          ATTN: DALE MELIDOSIAN, GENERAL COUNSEL
6488227   WIXEN MUSIC PUBLISHING                                      O/B/O SAND DEVIL MUSIC                                              & VP                                   24025 PARK SORRENTO, SUITE 130                    CALABASAS        CA      91302
6491609   WIXEN MUSIC PUBLISHING INC                                  24025 PARK SORRENTO, SUITE 130                                                                                                                               WOODLAND HILLS   CA      91302
6485363   Wixen Music Publishing Inc obo McMoore McLesst Publishing   24025 Park SorrentoSte 130                                                                                                                                   Calabasas        CA      91302
6487825   WIXEN MUSIC PUBLISHING, INC                                 O/B/O BABY COLE MUSIC                                               ATTN: DALE MELIDOSIAN                     24025 PARK SORRENTO STE 130        STE 130     CALABASAS        CA      91302
6485364   Wixen Music Publishing, Inc obo Baby Cole Music             24025 Park Sorrento Ste 130                                                                                                                                  Calabasas        CA      91302
6795231   WIXEN MUSIC PUBLISHING, INC. OBO BABY COLE MUSIC            24025 PARK SORRENTO                                                 SUITE 130                                                                                CALABASAS        CA      91302-4003
                                                                                                                                          TIME MUSIC, FUNKY PENGUIN MUSIC,
6488228   WIXEN MUSIX PUBLISHING, INC, AS AGENT FOR                   PSYCHO SEMITIC MUSIC, NINJA BUNNY MUSIC, SNAQ                       MUFFIN MUSIC                           24025 PARK SORRENTO, SUITE 130                    CALABASAS        CA      91302
                                                                                                                                          ATTN: DALE MELIDOSIAN, GENERAL COUNSEL
6487824   WIXEN PUBLISHING, INC                                       O/B/O SALLEY GARDENS PUBLISHING                                     & VP                                   24025 PARK SORRENTO                   STE 130     CALABASAS        CA      91302
6477733   WJS ENTERPRISES                                             PO BOX 54138                                                                                                                                                 NEW ORLEANS      LA      70154-4138
6484744   WKT Public Relations                                        9350 Wilshire Blvd. Suite 450                                                                                                                                Beverly Hills    CA      90212
                                                                                                                                          ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492245   WLS                                                         C/O THE WALT DISNEY COMPANY                                         MGR                                       500 S. BUENA VISTA STREET                      BURBANK          CA      91521
6476190   WM. BURGESS ELECTRIC                                        169 TARENTUM-CULMERVILLE ROAD                                                                                                                                TARENTUM         PA      15084
6479938   WME IMG Global, LLC                                         Address on File
6489466   WME IMG GLOBAL, LLC                                         Address on File
6477240   WNC MARBLE & GRANITE                                        P.O. BOX 177                                                                                                                                                 MARBLE           NC      28905
6475490   WODOWSKI\NICOLE                                             956 HANCOCK STREET                                                  APT. 1R                                                                                  BROOKLYN         NY      11233
6478498   WOERTER\SEAN                                                P.O. BOX 1376                                                                                                                                                SANTA CRUZ       NM      87567
6477099   WOFFORD SCULPTURE STUDIO LLC                                P.O. BOX 2912                                                                                                                                                CASHIERS         NC      28717
6484821   Wolcott Architecture Interiors                              3859 Cardiff Avenue                                                                                                                                          Culver City      CA      90232
6484745   Wolf Kasteler & Associates dba WKT Public Relations         9350 Wilshire Blvd., Suite 450                                                                                                                               Beverly Hills    CA      90212
6478627   WOLFE\EMILY                                                 1944 N BERENDO ST                                                                                                                                            LOS ANGELES      CA      90027
6474472   WOLFF*MICHELLE                                              Address on File
6484114   Wollam Industries, Inc. f/s/o Bac DeLorme                   1742 Wollam St.                                                                                                                                              Los Angeles      CA      90065




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                                                                                                                                        Served First Class Mail

MMLID     NAME                                                  ADDRESS                                                           ADDRESS 2                                 ADDRESS 3                   ADDRESS 4                       CITY                 STATE   POSTAL CODE COUNTRY
6483566   Women In Film                                         c/o Levy, Pazanti & Associates9911 W. Pico Blvd. Suite 510                                                                                                              Los Angeles          CA      90035
6478756   WONG\ALLEN                                            845 NORTH AVENUE 65                                                                                                                                                     LOS ANGELES          CA      90042
6478757   WONG\ALLEN Y.                                         845 NORTH AVENUE 65                                                                                                                                                     LOS ANGELES          CA      90042
6478293   WOOD MOULDING SPECIALTIES INC.                        P.O. BOX 90908                                                                                                                                                          ALBUQUERQUE          NM      87199
6477509   WOOD 'N THINGS                                        1137 MONROE ST                                                                                                                                                          GRETNA               LA      70053
6480815   Wood, Latania                                         Address on File
6478340   WOOD\DURINDA                                          313-3 ROSARIO BLVD                                                                                                                                                      SANTA FE             NM      87501
6477113   WOOD\SAMUAL                                           P O BOX 43                                                                                                                                                              HORSE SHOE           NC      28742        UNITED
6479800   WOOD\THOMAS                                           140 MALLINSON ROAD                                                                                                                                                      LONDON                       SW11 1 BJ    KINGDOM
6479582   WOODBURN\DANNY                                        12134 VIEWCREST ROAD                                                                                                                                                    STUDIO CITY          CA      91604
6477062   WOODBURY JR.\EUGENE B.                                P.O. BOX 963                                                                                                                                                            WRIGHTSVILLE BEACH   NC      28480
6477063   WOODBURY MARINE                                       P.O. BOX 963                                                                                                                                                            WRIGHTSVILLE BEACH   NC      28480
6491674   WOODEN NICKEL LIGHTING, INC.                          6920 TUJUNGA AVE.                                                                                                                                                       NORTH HOLLYWOOD      CA      91605
6477077   WOODIE JR.\JOHN E.                                    1836 SHELTON AVE.                                                                                                                                                       STATESVILLE          NC      28677
6477833   WOODRUFF\DAVID MICHAEL                                1680 LOTUS RD EXT                                                                                                                                                       MANDEVILLE           LA      70448
6479762   WOODS, MARK                                           3010 AMBER BAY LOOP                                                                                                                                                     ANCHORAGE            AK      99515
6478684   WOODS\CRAIG                                           6121 ALCOTT ST                                                                                                                                                          LOS ANGELES          CA      90035
6478199   WOODS\HAROLD                                          3167 SAN MATEO BLVD. NE                                                                                                                                                 ALBUQUERQUE          NM      87110
6480854   Woodward, Vanessa                                     Address on File
6477985   WOODWORKER'S SUPPLY INC.                              1108 NORTH GLENN RD                                                                                                                                                     CASPER               WY      82601
6476488   WOOTEN, JAMES T.                                      725 N. CHERRY ST.                                                                                                                                                       WINSTON-SALEM        NC      27101
6475113   WORD OF MOUTH ACCESSORIES                             ATTN: LINDA MEYERS                                                12345 LANDALE ST                                                                                      STUDIO CITY          CA      91604-121
6482784   Word-Tech Business Systems                            5625 Foxridge Dr.Ste. 110                                                                                                                                               Shawnee Mission      KS      66202
6478578   WORKHOUSE ROAD PRODUCTIONS                            1321 CLOVERDALE AVENUE                                                                                                                                                  LOS ANGELES          CA      90019
6483721   Works Advertising, Inc.                               759 N. Highland Ave.                                                                                                                                                    Los Angeles          CA      90038
6484389   Workshop Creative LLC                                 9006 Melrose Ave                                                                                                                                                        West Hollywood       CA      90069
6492688   WORKSHOP CREATIVE LLC                                 ATTN: ROBERT MYERS                                                9006 MELROSE AVENUE                                                                                   WEST HOLLYWOOD       CA      90069
6482763   World Events Productions                              50 Maryland Plaza, Suite 300                                                                                                                                            Saint Louis          MO      63108
6486356   World Famous                                          911 East Pike St.                                                                                                                                                       Seattle              WA      98122
6485796   World Wide Entertainment Group                        2600 W. Olive Ave. 5th Floor                                                                                                                                            Burbank              CA      91505
6481030   World Wrestling Entertainment Studios, Inc.           c/o Goldstein & McClintock LLLP                                   Attn: Harley J. Goldstein, Esq.           111 W. Washington Street    Suite 1221                      Chicago              IL      60602
6483753   Worlds End Creative Licensing                         c/o Iamsound RecordsAttn: Colin Chambers3191 Castitas Ave. #109                                                                                                         Los Angeles          CA      90039
6480101   WORLDWIDE SPE ACQUSITIONS INC,                        10202 W WASHINGTON BLVD.                                                                                                                                                CULVER CITY          CA      90232
6475201   WORTHAM INTERNATIONAL                                 FSO: MARTIN C.BOWEN                                               20501 VENTURA BLVD, STE #325                                                                          WOODLAND HILLS       CA      91364
6485521   Wortham International fso Marty Bowen                 20501 Ventura Blvd. Suite 325                                                                                                                                           Woodland Hills       CA      91364
                                                                                                                                  C/O HANSEN JACOBSON TELLER HOBERMAN,                                  450 NORTH ROXBURY DRIVE,
6492122   WORTHAM INTERNATIONAL, F/S/O MARTY BOWEN              AND CUSSIN' REDNECK, INC. F/S/O WYCK GODFREY                      ET AL                                     ATTN: KEN RICHMAN, ESQ.     8TH FLOOR                       BEVERLY HILLS        CA      90210
6478136   WORTHEN MEMORIALS, INC.                               2408 CLAREMONT AVE., NE                                                                                                                                                 ALBUQUERQUE          NM      87107
6475419   WOVEN TREASURES LLC                                   D/B/A PEEL & COMPANY                                              901 LABARRE RD                                                                                        METAIRIE             LA      70001
6479081   WOW & FLUTTER POST                                    1533 26TH ST                                                                                                                                                            SANTA MONICA         CA      90404
6475753   WOZNIAK/ROBERT E.                                     7095 HOLLYWOOD BOULEVARD,                                         SUITE # 401                                                                                           LOS ANGELES          CA      90028
6492444   WP TECHNOLOGY INC.                                    ATTN: MABEL HUI, CONTROLLER                                       36 WELLINGTON STREET EAST, SUITE 200                                                                  TORONTO              ON      M5E 1C7      CANADA
6483141   WPCE, LLC                                             800 West Olympic Blvd.                                                                                                                                                  Los Angeles          CA      90015
6490463   WPHL                                                  ATTN: STACEY EDWARDS, REGIONAL CREDIT MGR                         5001 WYNNEFIELD AVENUE                                                                                PHILADELPHIA         PA      19131
6490359   WPIX-TV                                               ATTN: STACEY EDWARDS, REGIONAL CREDIT MGR                         220 EAST 42ND STREET                                                                                  NEW YORK             NY      10017
6490401   WPLG INC.                                             ATTN: CARA KASPRIK, CREDIT COLLECTION MANAGER                     3401 W. HALLENDALE BCH BLVD.                                                                          PEMBROKE PARK        FL      33023
                                                                                                                                  ATTN: ADRIAN TUSTIN, SENIOR COLLECTIONS
6492246   WPVI                                                  C/O THE WALT DISNEY COMPANY                                       MGR                                       500 S. BUENA VISTA STREET                                   BURBANK              CA      91521
6491483   WRAP NEWS, INC., THE                                  2260 S. CENTINELA AVE., STE 150                                                                                                                                         LOS ANGELES          CA      90064
6485716   Wraparound Porch Productions, Inc.                    16030 Ventura Blvd. #240                                                                                                                                                Encino               CA      91436
6474835   WRAY*FREDERICK                                        Address on File
6476231   WRIGHT JR\ALBERT D                                    431 PRICE AVENUE                                                                                                                                                        NORTH BRADDOCK       PA      15104
6485368   Wright Lock & Key                                     20910 Hart Street                                                                                                                                                       Canoga Park          CA      91303
6480483   Wright, Tailyr                                        Address on File
6475444   WRIGHT\KEVIN MICHAEL                                  28 PAISLEY DR                                                     APT #103                                                                                              SHALLOTTE            NC      28470
6477520   WRIGHT\SHARON                                         3909 RED CEDAR LANE                                                                                                                                                     HARVEY               LA      70058
6476756   WRIGHT-FRIERSON\VIRGINIA                              1619 PRINCESS ST.                                                                                                                                                       WILMINGTON           NC      28401
6475088   WRIGHT'S COLLECTION OF INDIAN                         ART                                                               1100 SAN MATEO NE, SUITE 21                                                                           ALBUQUERQUE          NM      87110
6475870   WRIGHT'S MEDIA, LLC                                   2407 TIMBERLOCH PLACE                                             SUITE B                                                                                               THE WOODLANDS        TX      77380
6484306   Writer Girl                                           6022 Gracisoa Dr.                                                                                                                                                       Los Angeles          CA      90068
6485797   Writers' Guild Industry Health Fund                   1015 N Hollywood Way                                                                                                                                                    Burbank              CA      91505
6483992   Writers Guild of America West                         7000 W. 3rd St.                                                                                                                                                         Los Angeles          CA      90048
6474976   WRITERS GUILD OF AMERICA WEST                         ATTN: RAIN STEWART-EXCERPTS                                       7000 WEST 3RD STREET                                                                                  LOS ANGELES          CA      90048
6795216   WRITERS GUILD OF AMERICA WEST, INC.                   ATTN: ALISA SCHLESINGER                                           7000 W. THIRD STREET                                                                                  LOS ANGELES          CA      90048-4329
6489440   WRITERS GUILD OF AMERICA WEST, INC.                   C/O BUSH GOTTLIEB ALC                                             ATTN: JOSEPH A KOHANSKI/DAVID E AHDOOT 500 N. CENTRAL AVE., STE 800                                   GLENDALE             CA      91203
6489337   WRITERS GUILD OF AMERICA WEST, INC.                   C/O BUSH GOTTLIEB ALC                                             ATTN: JOSEPH A KOHANSKI/DAVID E AHDOOT 7000 WEST 3RD STREET                                           LOS ANGELES          CA      90048
6795206   Writers Guild of America West, Inc.                   c/o Guild Counsel                                                 Attn: Joseph A. Kohanski               Bush Gottlieb                  500 North Central Ave., Suite   Glendale             CA      91203
6795219   Writers Guild of America, East, Inc.                  Attn: General Counsel                                             250 Hudson Street, Suite 700                                                                          New York             NY      10013

6479870   WRITERS GUILD OF AMERICA, EAST, INC.                  ATTN: LEGAL DEPT.                                                 250 HUDSON STREET, SUITE 700                                                                          NEW YORK             NY      10013




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                                                                                                                                         Master Mailing List
                                                                                                                                        Served First Class Mail

MMLID     NAME                                                     ADDRESS                                                        ADDRESS 2                            ADDRESS 3                          ADDRESS 4             CITY             STATE   POSTAL CODE COUNTRY
6795196   WRITERS GUILD OF AMERICA, WEST, INC.                     ATTN: GENERAL COUNSEL                                          7000 WEST 3RD STREET                                                                          LOS ANGELES      CA      90048

6479877   WRITERS GUILD OF AMERICA, WEST, INC.                     ATTN: LEGAL DEPT.                                              7000 WEST THIRD STREET                                                                        LOS ANGELES      CA      90048
6479507   WRITERS' GUILD-IND HEALTH FUND                           1015 N. HOLLYWOOD WAY                                                                                                                                        BURBANK          CA      91505

6479872   WRITERS' GUILD-INDUSTRY HEALTH FUND                      ATTN: LEGAL DEPT.                                              2900 W ALAMEDA AVE                                                                            BURBANK          CA      91505
6492805   WSB TELEVISION                                           C/O SZABO ASSOCIATES, INC.                                     ATTN: SANDI G. HENDERSON, AGENT      3355 LENOX ROAD NE., SUITE 945                           ATLANTA          GA      30326
6490704   WSFL-TV                                                  ATTN: KATHY BONDI                                              ONE GALLERIA BLVD., STE 850                                                                   METAIRIE         LA      70001
6483993   WSM Post, LLC                                            640 S. San Vicente Blvd                                                                                                                                      Los Angeles      CA      90048
6474973   WSM POST, LLC                                            DBA: WILDFIRE                                                  640 S SAN VICENTE BLVD.                                                                       LA               CA      90048
6487891   WSVN - CHANNEL 7                                         SUNBEAM TELEVISION CORP                                        ATTN: VIVIAN CREWS                   1401 - 79TH STREET CAUSEWAY                              MIAMI            FL      33141
6488540   WTSP TELEVISION                                          C/O SZABO ASSOCIATES, INC.                                     ATTN: SANDI HENDERSON                3355 LENOX RD NE STE 945                                 ATLANTA          GA      30326
6488541   WUSA TELEVISION                                          C/O SZABO ASSOCIATES, INC.                                     ATTN: SANDI HENDERSON                3355 LENOX RD NE STE 945                                 ATLANTA          GA      30326
6484746   WV Productions, Inc.                                     c/o United Talent Agency9560 Wilshire Blvd, Suite 500                                                                                                        Beverly Hills    CA      90212
6492714   WV- STATE TAX DEPARTMENT                                 ATTN: LORA RUTLEDGE, PARALEGAL                                 P.O. BOX 766                                                                                  CHARLESTON       WV      25323-0766
6476757   WWAY-TV, LLC.                                            616 NORTH FRONT STREET                                                                                                                                       WILMINGTON       NC      28401
6481137   WWE Studios                                              1241 E. Main Street                                                                                                                                          Stamford         CT      06902
6748002   WWE Studios, Inc.                                        12424 Wilshire Boulevard                                       Suite 1400                                                                                    Los Angeles      CA      90025
6487838   WWE STUDIOS, INC.                                        C/O DAVIS WRIGHT TREMAINE LLP                                  ATTN: STEVEN G. POLARD               865 SOUTH FIGUEROA STREET          SUITE 2400            LOS ANGELES      CA      90017
6491951   WWOR-TV, INC., ON BEHALF OF ITS TELEVISION               STATION WWOR                                                   C/O WWOR-TV, INC.                    ATTN: LISA R. RAFFERTY, VP/LEGAL   1999 S. BUNDY DRIVE   LOS ANGELES      CA      90025
6478529   WWT CONSULTING SERVICES                                  419 N LARCHMONT BLVD                                                                                                                                         LOS ANGELES      CA      90004
6488542   WXIA TELEVISION                                          C/O SZABO ASSOCIATES, INC.                                     ATTN: SANDI HENDERSON                3355 LENOX RD NE STE 945                                 ATLANTA          GA      30326
6477110   WYKLE\CHARLES                                            493 LYLE STREET                                                                                                                                              FRANKLIN         NC      28734
6482281   Wynonna Judd                                             P.O. Box 340020                                                                                                                                              Nashville        TN      37203
6476920   X EFFECTS LLC                                            PO BOX 626                                                                                                                                                   HAMPSTEAD        NC      28443
6485369   X Inc dba Onestop                                        6800 Owensmouth Ave                                                                                                                                          Canoga Park      CA      91303
6771269   XACT DATA DISCOVERY                                      ATTN: MARCUS TAYLOR                                            5800 FOXRIDGE DRIVE                  SUITE 406                                                MISSION          KS      66202
6481249   Xaxis US, LLC                                            132 West 31st St.                                                                                                                                            New York         NY      10001
6482660   Xcellence, Inc. dba Xact Data Discovery                  PO Box 6594                                                                                                                                                  Carol Stream     IL      60197
6485258   Xerox Capital Services, LLC                              PO Box 7405                                                                                                                                                  Pasadena         CA      91109
6487884   XEROX CORPORATION                                        ATTN: VANESSA ADAMS, BANKRUPTCY COORD.                         MEDIATOR                             1303 RIDGEVIEW DRIVE, #450                               LEWISVILLE       TX      75057
6482882   Xerox Corporation dba Xerox Financial Services, LLC      P.O. Box 202882                                                                                                                                              Dallas           TX      75320
6486591   XEROX FINANCIAL SERVICES                                 PO BOX 4505                                                                                                                                                  NORWALK          CT      06856-4505
6484261   X-G Productions, Inc.                                    c/o International Creative ManagementAttn: Lars Thierot10250                                                                                                 Los Angeles      CA      90067
6795177   X-IT MUSIC INC.                                          ATTN: TODD LEGAULT                                             1320 BURLEITH CRESCENT                                                                        VICTORIA         BC      V9A 4B4      CANADA
6486490   X-IT Music, Inc.                                         1320 Burleith Crescent                                                                                                                                       Victoria         BC      V9A 4B4      CANADA
6492334   X-IT MUSIC, INC.                                         ATTN: TODD LEGAULT, PRESIDENT                                  1320 BURLEITH CRESCENT                                                                        VICTORIA         BC      V9A 4B4      CANADA
6486735   XL Catlin                                                Seaview House                                                  70 Seaview Avenue                                                                             Stamford         CT      06902-6040
6486553   XL Specialty Insurance Company                           70 Seaview Avenue                                              Seaview House                                                                                 Stamford         CT      06902-6040
6795179   XL Specialty Insurance Company                           Attn: General Counsel                                          505 Eagelview Boulevard, Suite 100   Department: Regulatory                                   Exton            PA      19341-1120
6482282   Xpress Instrument Delivery, LLC                          111 Rains Ave.                                                                                                                                               Nashville        TN      37203
6470755   XPRESS INSTRUMENT DELIVERY, LLC                          PO BOX 2397                                                                                                                                                  Lebanon          TN      37088-2397
6491658   X-RAY DOG MUSIC INC                                      1023 N HOLLYWOOD WAY                                                                                                                                         BURBANK          CA      91505
6475124   XS CAMERA                                                AKA MAMMOTH ENTERTAINMENT LLC                                  13428 BEACH AVENUE                                                                            MARINA DEL REY   CA      90292-5624
6484307   XTracks, LLC                                             3575 Cahuenga Blvd. West, Suite 400                                                                                                                          Los Angeles      CA      90068        New
6481050   Xtreme Forwarding NZ Ltd                                 PO Box 14-702Kilbirnie                                                                                                                                       Wellington               6241         Zealand
6479386   XTREME LOGISTICS, INC.                                   14120 MARGATE ST                                                                                                                                             SHERMAN OAKS     CA      91401
6485564   Xtreme Logistics, Inc.                                   14120 Margate Street                                                                                                                                         Van Nuys         CA      91401
6486117   X-Treme Security                                         12749 Bridgewater Dr.                                                                                                                                        Corona           CA      92880
6477036   YACHT BASIN PROVISION CO.                                107 N. ATLANTIC AVENUE                                                                                                                                       SOUTHPORT        NC      28461
6479038   YACOUB/LILA                                              13376TH AVENUE                                                                                                                                               VENICE           CA      90291
6475581   YAHAGI\SUMIKO                                            G/F 145 WATERLOO RD                                            KOWLOON-TONG                                                                                  HONG KONG                             CHINA
6481355   Yale Chasin                                              421 West 24th Street#2D                                                                                                                                      New York         NY      10011
6478685   YANO\KENTARO                                             1243 SOUTH LA CIENEGA BLVD                                                                                                                                   LOS ANGELES      CA      90035
6479411   YANO\KENTARO                                             17516 KITTRIDGE STREET                                                                                                                                       VAN NUYS         CA      91406
6479412   YANO\KENTARO                                             6448 AQUEDUCT AVE.                                                                                                                                           VAN NUYS         CA      91406
6480498   Yardy, Jessica                                           Address on File
6481958   Yasmeen Ibrahim aka Jasmine Ibrahim                      44346 Oakmount Manor Square                                                                                                                                  Ashburn          VA      20147
6492756   YATES*EMILY                                              Address on File
6474812   YATES*JOSHUA A                                           Address on File
6477050   YAUPON SERVICE CENTER                                    8201 E. OAK ISLAND DRIVE                                                                                                                                     OAK ISLAND       NC      28465
6480104   YC RELATIVITY LLC                                        C/O YCCM FUNDING, LLC                                          ATTN: MORRIS BEYDA                   888 SEVENTH AVENUE                 40TH FLOOR            NEW YORK         NY      10106
6481066   Ye Fang                                                  3800 Du Shi RoadHouse #92                                                                                                                                    Shanghai                 201108       China
6485565   Year of the Monkey Productions fso Gregory Benson        14340 Hatteras St.                                                                                                                                           Sherman Oaks     CA      91401
6481944   Yellow Cat Productions Inc                               505 11th St SE                                                                                                                                               Washington       DC      20003
6475701   YEWING, INC                                              16030 VENTURA BLVD                                             STE 240                                                                                       ENCINO           CA      91436
6478533   YIN\JIAYI                                                1355 W ADAMS BLVD                                                                                                                                            LOS ANGELES      CA      90007
6480970   Yip, Paulyne                                             Address on File
6479432   YOCHUM\MATTHEW                                           14208 DICKENS ST #20                                                                                                                                         SHERMAN OAKS     CA      91423
6490492   YODER AND ARMSTRONG, INC.,                               COMMERCIAL PRINTING                                            627 BALTIMORE AVE.                                                                            LANSDOWNE        PA      19050




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                                                                                                                             Master Mailing List
                                                                                                                            Served First Class Mail

MMLID     NAME                                                    ADDRESS                                              ADDRESS 2                      ADDRESS 3          ADDRESS 4   CITY                 STATE   POSTAL CODE COUNTRY
6475175   YOGAFY, INC                                             C/O ZIFFREN BRITTENHAM LLP                           1801 CENTURY PARK WEST                                        LOS ANGLES           CA      90067
6484747   Yogafy, Inc.                                            501 S. Beverly Dr., 3rd Floor                                                                                      Beverly Hills        CA      90212
6480711   Yonker, Katherine                                       Address on File
6480261   YONKERS ASSESSOR'S OFFICE                               87 NEPPERHAN AVE #400                                                                                              YONKERS              NY      10701
6477976   YONKEY, MELISSA                                         557 ROCK RIDGE RD                                                                                                  PALMER LAKE          CO      80133
6477977   YONKEY\MELISSA                                          P.O. BOX 128                                                                                                       PALMER LAKE          CO      80133
6484475   Yoram Kahana                                            P.O. Box 93368                                                                                                     Los Angeles          CA      90093
6480237   YORBA LINDA FINANCE DEPARTMENT                          CITY TAX OFFICE                                      4845 CASA LOMA AVENUE                                         YORBA LINDA          CA      92886
6482634   Yordano Ventura                                         c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                  Northbrook           IL      60062
6479910   York (Tang Media Partners)                              Address on File
6479632   YORK\PATTY                                              4804 LAUREL CANYON BLVD. #738                                                                                      VALLEY VILLAGE       CA      91607
6483776   Yosemite Waters                                         226 South Avenue 54                                                                                                Los Angeles          CA      90042
6468780   YOU ONLY LIVE ONCE FILMS, LLC                           C/O BUSINESS AFFAIRS INC.                            ATTN: GREG SNODGRASS           2415 MAIN STREET               SANTA MONICA         CA      90405
6485857   Young Artist Awards                                     5632 Colfax Ave.                                                                                                   North Hollywood      CA      91601
6479096   YOUNG III\DENIS GERALD                                  508 ASHLAND AVE. #210                                                                                              SANTA MONICA BLVD.   CA      90405
6477217   YOUNG TRANSPORTATION                                    843 RIVERSIDE DR.                                                                                                  ASHEVILLE            NC      28804
6480786   Young, Courtney                                         Address on File
6477693   YOUNG, DARRYLIN                                         876 HIDALGO STREET                                                                                                 NEW ORLEANS          LA      70124
6480600   Young, Devon                                            Address on File
6479315   YOUNG\RICK                                              3239 LANIER PLACE                                                                                                  THOUSAND OAKS        CA      91360
6478664   YOUNG-NAK PRESBYTERIAN CHURCH                           1721 N BROADWAY                                                                                                    LA                   CA      90031
6472866   YOURBASH!, INC.                                         1133 9TH ST. #109                                                                                                  SANTA MONICA         CA      90403
6478953   YOUSPEAK, LLC                                           269 SOUTH SWALL DRIVE                                                                                              BEVERLY HILLS        CA      90211
6480117   YUCAIPA FILM INVESTMENTS LLC                            ATTN: MORRIS BEYDA                                   888 SEVENTH AVENUE             40TH FLOOR                     NEW YORK             NY      10106
6492683   YUCAIPA FILM INVESTMENTS LLC                            Address on File
6479850   YUCAIPA LEVERAGED FINANCE, LLC                          ATTN: ROBERT P. BERMINGHAM                           9130 WEST SUNSET BOULEVARD                                    LOS ANGELES          CA      90069
6477037   YUCATAN TREASURES                                       P.O. BOX 10912                                                                                                     SOUTHPORT            NC      28461
6483994   Yunatan Khoshbin                                        520 N. Croft Ave #313                                                                                              Los Angeles          CA      90048
6484034   YZ Productions                                          11960 Montana Avenue, #302                                                                                         Los Angeles          CA      90049
6479909   Z Capital Partners, L.L.C.                              Address on File
6476413   Z&M PLUMBING                                            817 REMBRANDT CIRCLE                                                                                               IRWIN                PA      15642
6481108   Zachary Bates                                           1046 Cohannet Street                                                                                               Taunton              MA      02780
6486153   Zachary Chamberlin                                      40441 18th St. W                                                                                                   Palmdale             CA      93551
6482635   Zachary Duke                                            c/o SFX Baseball Group400 Skokie Blvd., Suite 280                                                                  Northbrook           IL      60062
6484308   Zachary Selwyn                                          1915 Taft Ave                                                                                                      Los Angeles          CA      90068
6470501   ZACHARY THIELEN                                         2724 Emma Stone Dr                                                                                                 Marriottsvl          MD      21104
6481980   Zachary Thielen                                         2724 EMMA STONE DR                                                                                                 MARRIOTTSVL          MD      21104-1486
6478034   ZACHARY\CASSIDY                                         P.O. BOX 2711                                                                                                      ALBUQUERQUE          NM      87048
6483205   Zachery Stebbins (Expenses)                             520 S. Hobart Blvd. Apt 102                                                                                        Los Angeles          CA      90020
6478069   ZACH-LOW, INC.                                          2107 CENTRAL NW                                                                                                    ALBUQUERQUE          NM      87104
6480751   Zadra, Thomas                                           Address on File
6480787   Zahn, Alexander                                         Address on File
6475299   ZAINER\MICHAEL                                          C/O GORFAINE/SCHWARTZ AGENCY                         4111 W ALAMEDA AVE #509                                       BURBANK              CA      91505
6478137   ZAMBELLO\EMILY                                          601 NOBLE PLACE N.E.                                                                                               ALBUQUERQUE          NM      87107
6479203   ZAMBRANO SWISS AUTO BODY                                7319 REMMET AVE.                                                                                                   CANOGA PARK          CA      91303
6479114   ZAMORA\JOSE L                                           5101 E ANAHEIM ST. #301                                                                                            LONG BEACH           CA      90804
6475147   ZANELLITIVITY MUSIC, INC.                               C/O KRAFT-ENGEL MGMT                                 15233 VENTURA BLVD. #200                                      SHERMAN OAKS         CA      91403
6474358   ZAPPALA*LINDSAY                                         Address on File
6478698   ZAPPIA/JOSEPH                                           321 N, ORANGE GROVE AVENUE                                                                                         LOS ANGELES          CA      90036
6484057   Zaragosa Investment Enterprises dba Cinema Security     950 N. Townsend Ave.                                                                                               Los Angeles          CA      90063
6474868   ZAREFSKY*JOSEPH                                         Address on File
6475550   ZAYAS LOPEZ\YOHELY                                      BARRIO PLAYA HUCARES                                 CARR 3 KM 69 HM5                                              NAGUABO              PR      00718
6489480   ZAYO GROUP, LLC                                         ATTN: THOMAS KELLY                                   ASSOCIATE GENERAL COUNSEL      PO BOX 952136                  DALLAS               TX      75395
6482888   Zayo Group, LLC                                         PO Box 952136                                                                                                      Dallas               TX      75395
6480403   ZAYO, LLC                                               PO BOX 952136                                                                                                      DALLAS               TX      75395-2136
6482486   Zebra Mats                                              9444 Deerwood Lane North                                                                                           Osseo                MN      55369
6477943   ZEE MEDICAL ,INC.                                       P.O. BOX 204683                                                                                                    DALLAS               TX      75320
6492766   ZEKOWSKI* GREGORY L.                                    Address on File
6478070   ZEKOWSKI\JEANE IRENE                                    2421 PUEBLO BONITA CT NW                                                                                           ALBUQUERQUE          NM      87104
6478518   ZELLER\BEN                                              P.O. BOX 442                                                                                                       RATON                NM      87740
6474867   ZELON*LUKE                                              Address on File
6484097   Zentana Productions, Inc.                               2249 Malcolm Ave.                                                                                                  Los Angeles          CA      90064
6478942   ZEVERLY AND SUSAN LAPIN TRUST                           1058 HILLCREST ROAD                                                                                                BEVERLY HILLS        CA      90210
6484622   Zeverly and Susan Lapin Trust                           1058 N. Hillcrest Road                                                                                             Beverly Hills        CA      90210
6477316   ZIBELLI/ANTHONY P                                       400 NE 102 ST.                                                                                                     MIAMI SHORES         FL      33138
6476232   ZIEGLER\JASON                                           1214 KIRKPATRICK AVENUE                                                                                            BRADDOCK             PA      15104
6475196   ZIEGLER\KENNETH                                         DBA MILITARY EQUIPMENT STUDIO                        20229 WERREN PL                                               SAUGUS               CA      91350-3818
6468838   ZIFFREN BRITTENHAM LLP                                  ATTN: LOGAN CLARE                                    1801 CENTURY PARK WEST                                        LOS ANGELES          CA      90067
6485630   Zimmitti                                                17042 Enadia Way                                                                                                   Van Nuys             CA      91406
6481446   ZinePak, LLC                                            349 Fifth Ave.                                                                                                     New York             NY      10016




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MMLID     NAME                                              ADDRESS                                         ADDRESS 2                          ADDRESS 3                   ADDRESS 4   CITY              STATE   POSTAL CODE COUNTRY
6474359   ZINGRAFF*BENJAMIN                                 Address on File
6480482   Zingraff, Benjamin K                              Address on File
6475177   ZIO RENTALS                                       AKA L.E.D. PRODUCTIONS                          1840 VALPREDA STREET                                                       BURBANK           CA      91504
6474290   ZISFEIN*ALLISON BETH                              Address on File
6486339   Zita T. Mazzola                                   14208 160th Ave.                                                                                                           Woodinville       WA      98072
6474742   ZIVOJINOVIC*FILIP                                 Address on File
6480517   Zivojinovic, Filip                                Address on File
6477687   ZLN HOLDINGS #2, LLC                              701 EDWARDS AVE                                                                                                            ELMWOOD           LA      70123
6484917   ZMH, Inc dba West Coast Mailers                   5630 Borwick ave.                                                                                                          South Gate        CA      90280
6483081   Zoe Byrne                                         801 Gramercy Drive#502                                                                                                     Los Angeles       CA      90005
6482425   Zoe Shapiro                                       836 Tappan Ave.                                                                                                            Ann Arbor         MI      48104
6491645   ZOEMALY PRODUCTIONS, INC                          16255 VENTURA BLVD, STE 900                                                                                                ENCINO            CA      91436
6475168   ZOEMALY PRODUCTIONSINC                            C/O FULTON & MEYER                              17530 VENTURA BLVD #201                                                    ENCINO            CA      91316
6484447   ZOHO Corporation                                  P.O. Box 742760                                                                                                            Los Angeles       CA      90074
6486686   Zolfo Cooper                                      101 Eisenhower Parkway                          3rd Fl                                                                     Roseland          NJ      07068
6484822   Zombieland Productions, LLC                       10202 W. Washington Blvd.                                                                                                  Culver City       CA      90232
6487852   ZOMBIELAND PRODUCTIONS, LLC                       C/O SONY PICTURES ENTERTAINMENT INC.            ATTN: KATHLEEN HALLINAN, ESQ.      10202 W. WASHINGTON BLVD.               CULVER CITY       CA      90232
6486208   Zoove Corp.                                       2300 Geng Rd. Suite 150                                                                                                    Palo Alto         CA      94303        New
6486546   Zorb Limited                                      PO Box 90841                                                                                                               Auckland                               Zealand
6477315   ZUCCARINI FILMS, INC.                             111 SAN SOUCI DR.                                                                                                          MIAMI             FL      33133
6477454   ZUCHOWSKI\SCOTT                                   420 ARLINGTON DR                                                                                                           METAIRIE          LA      70001
6480961   Zuckerman, Kelly                                  Address on File
6474360   ZUCOSKY*GRIFFIN                                   Address on File
6479621   ZUKOWSKI\STEVEN J.                                11748 GILMORE ST                                                                                                           NORTH HOLLYWOOD   CA      91606
6478969   ZULLO\ROBERT                                      11044 CULVER BL.                                                                                                           CULVER CITY       CA      90230
6471025   ZURICH                                            8723 INNOVATION WA                                                                                                         CHICAGO           IL      60682-8723
6482714   Zurich                                            8723 Innovation Way                                                                                                        Chicago           IL      60682-8723
6481371   Zync Music Group                                  243 Mulberry St. Suite 4R                                                                                                  New York          NY      10012
6795163   ZYNC MUSIC GROUP LLC                              243 MULBERRY STREET                             SUITE 4R                                                                   NEW YORK          NY      10012
6492388   ZYNC MUSIC GROUP, LLC                             ATTN: SUSANNE HAGELSTEN, PRESIDENT              243 MULBERRY ST., SUITE 4R                                                 NEW YORK          NY      10012
6475756   ZYNC MUSIC GROUP, LLC.                            243 MULBERRY STREET,                            SUITE # 4-R                                                                NEW YORK CITY     NY      10012




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 MMLID                                NAME                                          ADDRESS                                          ADDRESS 2                                         ADDRESS 3                         ADDRESS 4                CITY            STATE    POSTAL CODE COUNTRY
6468422   315 Holdings, LLC                                   c/o Harris, King, Fodera & Correia                Attn: Kevin J. McGinnis                                One Battery Park Plaza - 29th Floor                                New York           NY           10004
6468488   A GREENER TOMORROW, INC.                            11175 Braddock Dr.                                                                                                                                                          Culver City        CA           90230
6468611   ACADEMY OF CANADIAN CINEMA & TELEVISION             49 Ontario St. Suite 501                                                                                                                                                    Toronto            ON           M5A 2V1      Canada
6684814   Adstream North American Inc.                        P.O. Box 74008348                                                                                                                                                           Chicago            IL           60674
6684803   Allied Integrated Marketing                         Attn: Joseph H. Matzkin, Esq.                     c/o Partridge Snow & Hahn LLP                          30 Federal Street                                                  Boston             MA           02110
6486612   Alvarez & Marsal                                    Attn: Hamish Allanson                             540 West Madison Street                                Suite 1800                                                         Chicago            IL           60661
6684817   American Federation of Musicians (AFM)              c/o Bush Gottlieb                                 Attn: Joe Kohanski                                     801 N. Brand Blvd, Suite 950                                       Glendale           CA           91203
6684817   American Federation of Musicians (AFM)              c/o Bush Gottlieb                                 Attn: Joe Kohanski                                     801 N. Brand Blvd, Suite 950                                       Glendale           CA           91203
6471029   AMERICAN MULTI-CINEMA INC.                          13731 Collections Center Dr                                                                                                                                                 Chicago            IL           60693
6471918   ANDREW HINDES DBA THE IN HOUSE WRITER               5239 Highland View Ave                                                                                                                                                      Los Angeles        CA           90041
6486554   APERTURE MEDIA PARTICIPATIONS, LLC                  8730 SUNSET BOULEVARD, SUITE 490                                                                                                                                            LOS ANGELES        CA           90069
6486554   APERTURE MEDIA PARTICIPATIONS, LLC                  8730 SUNSET BOULEVARD, SUITE 490                                                                                                                                            LOS ANGELES        CA           90069
6486554   APERTURE MEDIA PARTICIPATIONS, LLC                  8730 SUNSET BOULEVARD, SUITE 490                                                                                                                                            LOS ANGELES        CA           90069
6486554   APERTURE MEDIA PARTICIPATIONS, LLC                  8730 SUNSET BOULEVARD, SUITE 490                                                                                                                                            LOS ANGELES        CA           90069
6471688   AQUA SPRING WATER DISTRIBUTION                      1625 Riverside Dr.                                                                                                                                                          Los Angeles        CA           90031
6684847   AT&T                                                P.O. Box 5025                                                                                                                                                               Carol Stream       IL           60197
6684795   AT&T Long Distance                                  P.O. Box 5017                                                                                                                                                               Carol Stream       IL           60197
6470828   ATLAS CINEMAS GREAT LAKES                           22624 Lakeshore Blvd.                                                                                                                                                       Euclid             OH           44132
6470681   B.I.G. CREATIVE SERVICES                            7820 Brookmar Court                                                                                                                                                         Lake Worth         FL           33467
6484489   Babok & Robinson, LLP                               9201 Wilshire Blvd., Ste. 303                                                                                                                                               Beverly Hills      CA           90210
6470673   BASELINE STUDIO SYSTEMS                             2255 Glades Rd. Suite 221A                                                                                                                                                  Boca Raton         FL           33431
6485177   Bekins Moving Solutions, Inc                        12610 Shoemaker Ave.                                                                                                                                                        Santa Fe Springs   CA           90670
6471617   BERNIE GRUNDMAN MASTERING                           1640 N. Gower St.                                                                                                                                                           Los Angeles        CA           90028
6684768   Bernstein Shur                                      Robert Keach                                      c/o Bernstein Shur                                     100 Middle Street, PO Box 9729                                     Portland           ME           04104-5029
6684771   Black White, LLC                                    Attn: Jasa McCall                                 C/O TREEHOUSE FILMS, LLC                               4450 LAKESIDE DRIVE, SUITE 225                                     BURBANK            CA           91505
6483910   BMG Production Music, Inc.                          6100 Wilshire Blvd Suite 1600                                                                                                                                               Los Angeles        CA           90048
6473448   BONDED SERVICES INTERNATIONAL LTD.                  3205 Burton Ave.                                                                                                                                                            Burbank            CA           91504
6684828   Box, Inc.                                           Dept 34666 P.O. Box 39000                                                                                                                                                   San Francisco      CA           94139
6684824   Boyle, III, Vincent P.                              Address on File
6470927   BRAINERD ENTERTAINMENT, LLC                         900 East 80th St.                                                                                                                                                           Minneapolis        MN           55420
6469892   BRIGADE MARKETING, LLC                              548 West 28th Street, #332-334                                                                                                                                              New York           NY           10001
6684772   Browne George Ross, LLP                             Attn: Eric M. George                              2121 Avenue of the Stars, Suite 2800                                                                                      Los Angeles        CA           90067
6684772   Browne George Ross, LLP                             Attn: Eric M. George                              2121 Avenue of the Stars, Suite 2800                                                                                      Los Angeles        CA           90067
6684837   C. E. Mechanical, Inc.                              P.O. Box 891                                                                                                                                                                Chino              CA           91708
6684821   Carat USA                                           Attn: Scott Hughes                                2700 Pennsylvania Avenue, 2nd Floor                                                                                       Santa Monica       CA           90404
6470212   CARR BUSINESS SYSTEMS, INC.                         P.O. Box 28330                                                                                                                                                              New York           NY           10087
6471131   CENTURY THEATRES INC                                3900 Dallas ParkwaySuite 500                                                                                                                                                Plano              TX           75093
6471623   CHINESE THEATRES                                    6925 Hollywood Blvd.                                                                                                                                                        Los Angeles        CA           90028
6684800   Christie Digital Systems USA                        Attn: John M. Kline and Richard Wallace           10550 Camden Drive                                                                                                        Cypress            CA           90630
6684784   Cinedigm Digital Cinema Corp                        Attn: Gregory S. Loffredo                         902 Broadway, 9th Floor                                                                                                   New York           NY           10010
6684770   Cinedigm Digital Cinema Corp dba Pavilion Theatre   Attn: President or General Counsel                45 W. 36th Street                                      7th Floor                                                          New York           NY           10018
6471083   CINEMA SCENE MARKETING & PROMOTIONS LLC             9200 Indian Creek Pkwy #200                                                                                                                                                 Overland Park      KS           66210
6471132   CINEMARK USA INC                                    3900 Dallas Pkwy, Ste.500                                                                                                                                                   Plano              TX           75093
6481221   Cinetic Media LLC                                   555 W. 25th Street, 4th Floor                                                                                                                                               New York           NY           10001
6482108   Cinevision Corporation                              3300 NE ExpresswayBldg 2A                                                                                                                                                   Atlanta            GA           30341
6481032   City of Los Angeles                                 Attn: Michael N. Feuer, City Attorney             Attn: Karen Woodward, Deputy City Attorney             200 N. Main Street, 600 CHE                                        Los Angeles        CA           90012
6472762   COLD OPEN INC                                       1313 Innes Pl                                                                                                                                                               Venice             CA           90291
6684801   Concept Arts Studios, Inc.                          Attn: President or General Counsel                4201 Wilshire Boulevard                                5th Floor                                                          Los Angeles        CA           90010
6684812   Consolidated Entertainment                          Attn: Linda Hogarty                               189 Second Ave. Suite 2S                                                                                                  New York           NY           10003
6481947   Control Risks Group, LLC                            1600 K Street NW Suite 700                                                                                                                                                  Washington         DC           20006
6684819   Corodata                                            P.O. Box 842638                                                                                                                                                             Los Angeles        CA           90084
6684839   Corodata Records Management, Inc.                   P.O. Box 842638                                                                                                                                                             Los Angeles        CA           90084
6472465   COROVAN                                             P.O. Box 840778                                                                                                                                                             Los Angeles        CA           90084
6684806   County of Los Angeles                               Attn: Mary C. Wickham, County Counsel; Ruben      & Jessica C. Rivas, Deputy County Counsel              648 Kenneth Hahn Hall of Administration   500 West Temple Street   Los Angeles        CA           90012-2713
6471840   CUT IT OUT ENTERTAINMENT                            5940 1/2 Barton Ave.                                                                                                                                                        Los Angeles        CA           90038
6472629   DAX PFT, LLC                                        100 Corporate Pointe, Suite 350                                                                                                                                             Culver City        CA           90230
6684777   DCIP / Kasima (VPF) Underuse fee                    c/o Digital Cinema Implementation Partners LLC    One International Boulevard 9th Floor                                                                                     Mahwah             NJ           07495
6684766   Deluxe Digital Cinema, Inc.                         Attn: President or General Counsel                File #56477                                                                                                               Los Angeles        CA           90074
6472433   DELUXE DIGITAL CINEMA, INC.                         File #56477                                                                                                                                                                 Los Angeles        CA           90074
6472438   DELUXE MEDIA, INC.                                  P.O. Box 749663                                                                                                                                                             Los Angeles        CA           90074
6684756   DFG DEUTSCHE FILMVERSICHERUNGSGEMEINSCHAFT          TROSTBRUKE 1                                                                                                                                                                20457 HAMBURG                                Germany
6472325   DG ENTERTAINMENT MEDIA, INC.                        3280 Cahuenga Bl. West                                                                                                                                                      Los Angeles        CA           90068
6684856   Digital Entertainment Content Ecosystem (DECE)      1807 Santa Rita Rd. Ste D235                                                                                                                                                Pleasanton         CA           94566
6473855   DIGITAL ENTERTAINMENT CONTENT ECOSYSTEM, LLC        1807 Santa Rita Rd. Ste D235                                                                                                                                                Pleasanton         CA           94566




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                                                                                                                                            Exhibit E
                                                                                                                                 Schedule DEF Parties Service List
                                                                                                                                     Served First Class Mail
 MMLID                               NAME                                            ADDRESS                                      ADDRESS 2                                          ADDRESS 3             ADDRESS 4           CITY          STATE    POSTAL CODE   COUNTRY
6472565   DIGITAL MEDIA MANAGEMENT, INC.                        8444 Wilshire Blvd. 5th Floor                                                                                                                          Beverly Hills    CA           90211
6684815   Digital Video Stream LLC dba CCI Digital              2625 W. Olive Ave                                                                                                                                      Burbank          CA           91505
6684786   Directors Guild of America                            c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
6684786   Directors Guild of America                            c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
6684786   Directors Guild of America                            c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
6684764   Directors Guild of America (DGA)                      c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
6684764   Directors Guild of America (DGA)                      c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
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6684764   Directors Guild of America (DGA)                      c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
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6684764   Directors Guild of America (DGA)                      c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
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6684764   Directors Guild of America (DGA)                      c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                      Glendale         CA           91203
6470118   DIRECTORS GUILD OF AMERICA INC                        110 West 57th St.                                                                                                                                      New York         NY           10019
6486560   DIRECTORS GUILD OF AMERICA, INC.                      7920 SUNSET BLVD                                                                                                                                       Los Angeles      CA           90046
6486560   DIRECTORS GUILD OF AMERICA, INC.                      7920 SUNSET BLVD                                                                                                                                       Los Angeles      CA           90046
6486560   DIRECTORS GUILD OF AMERICA, INC.                      7920 SUNSET BLVD                                                                                                                                       Los Angeles      CA           90046
6471038   DOLBY LABORATORIES                                    16841 Collections Center Dr                                                                                                                            Chicago          IL           60693
6481609   Donlin Recano & Company, Inc.                         110 William Street                                                                                                                                     New York         NY           10038
6481358   Downtown Records, LLC                                 568 Broadway, Suite 705                                                                                                                                New York         NY           10012
6486628   Drinker Biddle                                        Attn: Robert K. Malone                      600 Campus Drive                                                                                           Florham Park     NJ           07932-1047
6485185   DTVSATCOM, Inc. dba Front Page Communications Group   14518 Garfield Ave.                                                                                                                                    Paramount        CA           90723
6473479   DVS INTELESTREAM                                      2625 W. Olive Ave                                                                                                                                      Burbank          CA           91505
6482383   Envision Cinemas Bar & Grille                         4780 Cornell Road                                                                                                                                      Cincinnati       OH           45241
6484516   EuropaCorp                                            345 N Maple Dr. Ste. 123                                                                                                                               Beverly Hills    CA           90210
6469797   EXTREME REACH, INC.                                   75 Second Ave., Suite 720                                                                                                                              Needham          MA           02494
6684805   Federal Express                                       P.O. Box 7221                                                                                                                                          Pasadena         CA           91109
6684805   Federal Express                                       P.O. Box 7221                                                                                                                                          Pasadena         CA           91109
6684775   FedEx                                                 P.O. Box 371461                                                                                                                                        Pittsburgh       PA           15250
6684807   Fields, Adam                                          Address on File
6473442   FILM SOLUTIONS                                        1121 South Flower St.                                                                                                                                  Burbank          CA           91502
6473442   FILM SOLUTIONS                                        1121 South Flower St.                                                                                                                                  Burbank          CA           91502
6684833   FilmNation Entertainment                              588 Broadway #503                                                                                                                                      New York         NY           10012
6481503   Finsbury LLC                                          3 Columbus Circle, Floor 9                                                                                                                             New York         NY           10019
6486562   FIREMANS FUND INSURANCE COMPANY                       ATTN: GENERAL COUNSEL'S OFFICE              225 W. WASHINGTON STREET                                 18TH FLOOR                                        CHICAGO          IL           60606
6486562   FIREMANS FUND INSURANCE COMPANY                       ATTN: GENERAL COUNSEL'S OFFICE              225 W. WASHINGTON STREET                                 18TH FLOOR                                        CHICAGO          IL           60606
6486562   FIREMANS FUND INSURANCE COMPANY                       ATTN: GENERAL COUNSEL'S OFFICE              225 W. WASHINGTON STREET                                 18TH FLOOR                                        CHICAGO          IL           60606
6486562   FIREMANS FUND INSURANCE COMPANY                       ATTN: GENERAL COUNSEL'S OFFICE              225 W. WASHINGTON STREET                                 18TH FLOOR                                        CHICAGO          IL           60606
6486562   FIREMANS FUND INSURANCE COMPANY                       ATTN: GENERAL COUNSEL'S OFFICE              225 W. WASHINGTON STREET                                 18TH FLOOR                                        CHICAGO          IL           60606
6486562   FIREMANS FUND INSURANCE COMPANY                       ATTN: GENERAL COUNSEL'S OFFICE              225 W. WASHINGTON STREET                                 18TH FLOOR                                        CHICAGO          IL           60606
6684835   First Note                                            3765 Wade St.                                                                                                                                          Los Angeles      CA           90066
6684765   Fishbowl, LLC                                         Attn: Joe Kohanski                          c/o Bush Gottlieb                                        801 N. Brand Boulevard, Suite 950                 Glendale         CA           91203
                                                                                                                                                                                                                                        Mid                         United
6684787   Fortium Technologies Limited                          6 Bridgend Business CentreBennett Street                                                                                                               Bridgend         Glamorgan    CG31 3SH       Kingdom
6471064   FRED WEHRENBERG CIRCUIT OF THEATRES, INC              12800 Manchester Road                                                                                                                                  Saint Louis      MO           63131
6684769   GDC Digital Cinema Network USA, LLC                   Attn: Jason Shin                            1016 West Magnolia Boulevard                                                                               Burbank          CA           91506
6684778   Genis, Carol                                          Address on File                                                                                                                                        Los Angeles      CA           90077
6484846   Gentle Giant Moving & Storage                         13020 Yukon Avenue, #Q                                                                                                                                 Hawthorne        CA           90250
6469484   GINSBERG LIBBY                                        c/o Binder and Company                      9000 Sunset Blvd. Ste. 1250                                                                                West Hollywood   CA           90069
6484523   Glassman, Browning, Saltsman & Jacobs, Inc            360 North Bedford Dr., Suite 204                                                                                                                       Beverly Hills    CA           90210
6485488   Global Entertainment Security Inc                     3625 E. Thousand Oaks BlvdSuite 202                                                                                                                    Thousand Oaks    CA           91362
6471685   GLOBALSTAR, INC.                                      P.O. Box 30519                                                                                                                                         Los Angeles      CA           90030
6485738   Graphic Visions Inc                                   2860 N Ontario St                                                                                                                                      Burbank          CA           91504




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                                                                                                                                                    Served First Class Mail
 MMLID                                NAME                                                    ADDRESS                                             ADDRESS 2                                         ADDRESS 3                 ADDRESS 4           CITY           STATE    POSTAL CODE   COUNTRY
6482675   Greenberg Traurig LLP                                          77 West Wacker Dr., Ste.3100                                                                                                                                     Chicago           IL           60601
6684773   Guilds' Counsel                                                c/o Bush Gottlieb                                 Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                          Glendale          CA           91203
6684854   Halsband, Ken                                                  211 South Spalding Drive                          #102N                                                                                                          Beverly Hills     CA           90212
6471263   HARKINS REEL DEALS CINEMAS LLC                                 7511 E. McDonald Drive                                                                                                                                           Scottsdale        AZ           85250
6684822   Harris, James E.                                               Address on File
6481035   He’s A Rebel Productions, Inc.                                 c/o Kinsella Weitzman Iser Kump & Aldisert LLP    Dale F. Kinsella & Gregory Korn                          808 Wilshire Boulevard, Third Floor                   Santa Monica      CA           90401-1889
6486595   Heatherden Securities LLC                                      Attn: David Miller                                40 West 57th Street                                                                                            New York          NY           10019
6486038   Holonis, Inc.                                                  750 B. Street #1230                                                                                                                                              San Diego         CA           92101
6481656   Houlihan Lokey                                                 245 Park Avenue                                                                                                                                                  New York          NY           10167
6473533   HURWITZ ENTERTAINMENT COMPANY, INC., THE                       5344 Vineland Avenue                                                                                                                                             North Hollywood   CA           91601
6483786   Hybrid Studio                                                  7505 W. 80th St.                                                                                                                                                 Los Angeles       CA           90045
6684782   HYFN, Inc.                                                     12777 W Jefferson Blvd                            Suite 100                                                                                                      Los Angeles       CA           90066-7034
6470937   INDEPENDENT MARKETING EDGE DBA IME SHOWTIME                    638 Ferguson Rd. Suite 3                                                                                                                                         Bozeman           MT           59718
6471736   INDUSTRY EDGE, LLC FSO STEVEN RUBENSTEIN, THE                  1496 Stearns Dr.                                                                                                                                                 Los Angeles       CA           90035
6484343   Industry Express LLC                                           8491 Sunset Blvd, Ste 409                                                                                                                                        West Hollywood    CA           90069
6684827   International Alliance of Theatrical Stage Employees (IATSE)   c/o Bush Gottlieb                                 Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                          Glendale          CA           91203
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6684827   International Alliance of Theatrical Stage Employees (IATSE)   c/o Bush Gottlieb                                 Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                          Glendale          CA           91203
6486564   INTERNATIONAL FILM GUARANTORS, LLC                             2828 DONALD DOUGLAS LOOP NORTH, SECOND                                                                                                                           SANTA MONICA      CA           91504
6486564   INTERNATIONAL FILM GUARANTORS, LLC                             2828 DONALD DOUGLAS LOOP NORTH, SECOND                                                                                                                           SANTA MONICA      CA           91504
6486564   INTERNATIONAL FILM GUARANTORS, LLC                             2828 DONALD DOUGLAS LOOP NORTH, SECOND                                                                                                                           SANTA MONICA      CA           91504
6486564   INTERNATIONAL FILM GUARANTORS, LLC                             2828 DONALD DOUGLAS LOOP NORTH, SECOND                                                                                                                           SANTA MONICA      CA           91504
6486564   INTERNATIONAL FILM GUARANTORS, LLC                             2828 DONALD DOUGLAS LOOP NORTH, SECOND                                                                                                                           SANTA MONICA      CA           91504
6486564   INTERNATIONAL FILM GUARANTORS, LLC                             2828 DONALD DOUGLAS LOOP NORTH, SECOND                                                                                                                           SANTA MONICA      CA           91504
6471516   INTRATEM                                                       1990 S. Bundy Dr. Suite 325                                                                                                                                      Los Angeles       CA           90025
6684857   Iron Mountain Film and Sound                                   P.O. Box 601002                                                                                                                                                  Pasadena          CA           91189
6684826   Ivie, Laura                                                    Address on File
6472796   JAMESTOWN PRODUCTIONS                                          4223 Glencoe Ave. Suite A215                                                                                                                                     Marina Del Rey    CA           90292
6472796   JAMESTOWN PRODUCTIONS                                          4223 Glencoe Ave. Suite A215                                                                                                                                     Marina Del Rey    CA           90292
6684834   Javelin Distribution LLC and Adstream Advertising Services     5432 West 102nd Street                                                                                                                                           Los Angeles       CA           90045
6469907   JED ROOT INC                                                   333 Seventh Avenue, 9th Floor                                                                                                                                    New York          NY           10001
6484210   Jeffer Mangels Butler & Mitchell, LLP                          1900 Avenue of the Stars, 7th Fl                                                                                                                                 Los Angeles       CA           90067
6486593   Jones Day                                                      Attn: Todd Geremia                                250 Vesey Street                                                                                               New York          NY           10281-1047
6684798   Jones, Buddha                                                  Address on File
6684843   K & L Gates                                                    70 West Madison Street                            #3100                                                                                                          Chicago           IL           60602
6684783   Kasima LLC                                                     Attn: Chief Executive Officer                     c/o Digital Cinema Implementation Partners, LLC          One International Boulvard, 9th Floor                 Mahwah            NJ           07495
6684799   Kasowitz, Benson, Torres & Friedman LLP                        Attn: Andrew Glenn                                1633 Broadway                                                                                                  New York          NY           10019
6684790   Kavanaugh, Ryan                                                Address on File
6482807   Kenner Theatres, LLC                                           305 Baronne StreetSuite 900                                                                                                                                      New Orleans       LA           70112
6481596   Kobalt Music Publishing America, Inc. (PAY BY WIRE)            220 W. 42nd St., 11th Floor                                                                                                                                      New York          NY           10036
6471239   LARRY H MILLER THEATRES INC                                    9295 South State Street                                                                                                                                          Sandy             UT           84070
6684851   Lawton, Rosalind                                               Address on File
6473189   LE STUDIO PHOTOGRAPHY                                          26520 Royal Vista Court                                                                                                                                          Canyon Country    CA           91351
6684850   LeClair Ryan                                                   885 Third Avenue                                  16th Floor                                                                                                     New York          NY           10022
6684850   LeClair Ryan                                                   885 Third Avenue                                  16th Floor                                                                                                     New York          NY           10022
6484393   Lewis Brisbois Bisgaard & Smith LLP                            633 West 5th Street, Suite 4000                                                                                                                                  Los Angeles       CA           90071
6472697   LITHOGRAPHIX INC                                               12250 S Crenshaw Blvd                                                                                                                                            Hawthorne         CA           90250
6684781   Litigation Trust                                               c/o Togut Segal & Segal LLP                       Attn Frank A. Oswald                                     One Penn Plaza, Suite 3335                            New York          NY           10119
6684774   Living Room Theaters Oregon                                    921 SW Washington St. Suite 220                                                                                                                                  Portland          CA           97205




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                                                                                                                           Served First Class Mail
 MMLID                               NAME                                     ADDRESS                                    ADDRESS 2                                       ADDRESS 3     ADDRESS 4            CITY           STATE    POSTAL CODE   COUNTRY
6684845   Los Angels County Tax Collector               225 N Hill Street                                                                                                                          Los Angeles        CA           90012
6684780   Macquarie                                     c/o Samuel A. Newman                         Gibson, Dunn & Crutcher LLP                           333 South Grand Avenue                  Los Angeles        CA           90071-3197
6470293   MAD DESIGN PARTNERS, LLC DBA MAD CREATIVE     60 Broadway, Suite 9L                                                                                                                      Brooklyn           NY           11211
6684796   Malco Theatres Inc                            P.O. Box 171809                                                                                                                            Memphis            TN           38187
6469556   MAPLE PLAZA                                   c/o Tishman Speyer                           P.O. Box 100856                                                                               Pasadena           CA           91189
6468951   MARCUS THEATRES CORPORATION                   Attn: Theatre Acct.                          100 E Wisconsin Ave, Ste.2000                                                                 Milwaukee          WI           53202
6684792   Market Force Information Inc.                 Attn: CMS AR                                 P.O. Box 270355                                                                               Louisville         CO           80027
6684829   Masergy Cloud Comunications, Inc.             P.O. Box 671122                                                                                                                            Dallas             TX           75267
6472626   MASSIVE MARKETING                             2035 E. Vista Bella Way                                                                                                                    Compton            CA           90220
6684855   MB Growth Advisors Corp                       P.O. Box 1075                                                                                                                              Hermosa Beach      CA           90254
6472444   MEDIAVU                                       File #56477                                                                                                                                Los Angeles        CA           90074
6485817   Messengers, Inc                               P.O. Box 11794                                                                                                                             Burbank            CA           91510
6485817   Messengers, Inc                               P.O. Box 11794                                                                                                                             Burbank            CA           91510
6684840   Microsoft                                     P.O. Box 844510                                                                                                                            Dallas             TX           75284
6684759   MidCap Financial                              7255 Woodmont Avenue                                                                                                                       Bethesda           MD           20814
6684759   MidCap Financial                              7255 Woodmont Avenue                                                                                                                       Bethesda           MD           20814
6684759   MidCap Financial                              7255 Woodmont Avenue                                                                                                                       Bethesda           MD           20814
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6684759   MidCap Financial                              7255 Woodmont Avenue                                                                                                                       Bethesda           MD           20814
6486570   MIDCAP FUNDING X TRUST, AS AGENT              7255 Woodmont Avenue, Suite 200                                                                                                            Bethesda           MD           20814
6486570   MIDCAP FUNDING X TRUST, AS AGENT              7255 Woodmont Avenue, Suite 200                                                                                                            Bethesda           MD           20814
6486570   MIDCAP FUNDING X TRUST, AS AGENT              7255 Woodmont Avenue, Suite 200                                                                                                            Bethesda           MD           20814
6471651   MILTON AGENCY, THE                            6715 Hollywood Blvd. #206                                                                                                                  Los Angeles        CA           90028
6482436   MJR Group, LLC                                41000 Woodward Ave.Ste. 135 East                                                                                                           Bloomfield Hills   MI           48304
6486636   Mob Scene LLC                                 Attn: President or General Counsel           5750 Wilshire Boulevard                               Suite 530                               Los Angeles        CA           90036
6471356   MONKEY DEUX, INC.                             4601 Wilshire Blvd., Suite 250                                                                                                             Los Angeles        CA           90010
6684808   N8 VFX                                        Attn: Nathan Hurlburt                        5314 West 126th Street                                                                        Hawthorne          CA           90250
6469777   NATIONAL AMUSEMENTS INC                       P.O. Box 9108                                                                                                                              Norwood            MA           02062
6684802   National Research Group, Inc dba NRG          Attn: President or General Counsel           5780 W. Jefferson Boulevard                                                                   Los Angeles        CA           90016
6485433   NE Systems                                    25106 Barnhill Rd.                                                                                                                         Santa Clarita      CA           91350
6470407   NEW YORK TIMES, THE                           P.O. Box 371456                                                                                                                            Pittsburgh         PA           15250
6483453   Nexus Media Inc.                              1600 Vine St. #634                                                                                                                         Los Angeles        CA           90028
6486571   NORTH AMERICAN PANDA, LLC                     8730 SUNSET BOULEVARD, SUITE 490                                                                                                           LOS ANGELES        CA           90069
6486571   NORTH AMERICAN PANDA, LLC                     8730 SUNSET BOULEVARD, SUITE 490                                                                                                           LOS ANGELES        CA           90069
6684804   North Carolina Department of Revenue          P.O. Box 25000                                                                                                                             Raleigh            NC           27640
6470844   NORTHGATE CINEMA INC                          3778 Lakewood Dr                                                                                                                           Greenfield         IN           46140
6485226   Obi Probiotic Soda LLC                        80 W. Sierra Madre Blvd #366                                                                                                               Sierra Madre       CA           91024
6482829   Odd Box 2, LLC                                14301 Caliber Dr. Suite 200The Collection                                                                                                  Oklahoma City      OK           73134
6472699   OLSON VISUAL INC                              13000 Weber Wy                                                                                                                             Hawthorne          CA           90250
6469991   ONLY AGENCY, INC.                             100 11th Avenue, Ste. E                                                                                                                    New York           NY           10011
6684844   Paradigm Associates                           P.O. Box 364248                                                                                                                            San Juan           PR           00936
6478723   PARAMOUNT PICTURES CORPORATION                5555 MELROSE AVENUE                                                                                                                        HOLLYWOOD          CA           90038




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                                                                                                                                Schedule DEF Parties Service List
                                                                                                                                    Served First Class Mail
 MMLID                               NAME                                          ADDRESS                                        ADDRESS 2                                         ADDRESS 3         ADDRESS 4           CITY         STATE    POSTAL CODE   COUNTRY
6684846   Parasec                                            PO Box 160568                                                                                                                                        Sacramento      CA           95816-0568
6485305   Performance Entertainment USA, Inc.                Attn: Amy Heacock                               655 North Central Ave., 17th Floor                                                                   Glendale        CA           91203
6470408   PITNEY BOWES GLOBAL FINANCIAL SERVICES             P.O. Box 371887                                                                                                                                      Pittsburgh      PA           15250
6684818   Pitney Bowes, Inc.                                 P.O. Box 371896                                                                                                                                      Pittsburgh      PA           15250
6684841   PJT                                                280 Park Avenue                                                                                                                                      New York        NY           10017
6684788   Powster Ltd                                        2 Netil Lane, Netil House, 1 Westgate Street                                                                                                         London                                      United
6483150   Price Self Storage                                 3430 S. La Brea Avenue                                                                                                                               Los Angeles     CA           90016
6486050   PSS National Boulevard, LLC                        10920 Via Frontera ,Ste 510                                                                                                                          San Diego       CA           92127
6684797   R&I Premiere Films Inc                             P.O. Box 13550                                                                                                                                       San Juan        PR           00908
6684810   RED                                                Attn: Kevin McDonald                            c/o EuropaCorp USA                                     345 N. Maple Drive, Suite 123                 Beverly Hills   CA           90210
6684767   Regal Entertainment Group                          Film Division                                   Attn: Robert Engel                                     P.O. Box 844360                               Los Angeles     CA           90084
6684760   Relativity Secured Lender (Joseph Nicholas)        10 South Riverside Plaza                        Suite 700                                                                                            Chicago         IL           60606
6684760   Relativity Secured Lender (Joseph Nicholas)        10 South Riverside Plaza                        Suite 700                                                                                            Chicago         IL           60606
6684760   Relativity Secured Lender (Joseph Nicholas)        10 South Riverside Plaza                        Suite 700                                                                                            Chicago         IL           60606
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6684753   RKA Film Financing, LLC                       510 LaGuardia Place                         5th Floor                                                                                              New York        NY           10012
6684753   RKA Film Financing, LLC                       510 LaGuardia Place                         5th Floor                                                                                              New York        NY           10012
6684753   RKA Film Financing, LLC                       510 LaGuardia Place                         5th Floor                                                                                              New York        NY           10012
6486580   RML DISTRIBUTION DOMESTIC, LLC                9242 BEVERLY BOULEVARD                      SUITE 300                                                                                              BEVERLY HILLS   CA           90210
6486580   RML DISTRIBUTION DOMESTIC, LLC                9242 BEVERLY BOULEVARD                      SUITE 300                                                                                              BEVERLY HILLS   CA           90210
6486581   RML DISTRIBUTION DOMESTIC, LLC                9242 Beverly Boulevard, Suite 300                                                                                                                  Beverly Hills   CA           90210
6486581   RML DISTRIBUTION DOMESTIC, LLC                9242 Beverly Boulevard, Suite 300                                                                                                                  Beverly Hills   CA           90210
6486581   RML DISTRIBUTION DOMESTIC, LLC                9242 Beverly Boulevard, Suite 300                                                                                                                  Beverly Hills   CA           90210
6470944   ROYALTY SHARE                                 Dept CH 17995                                                                                                                                      Palatine        IL           60055
6684842   RSM/McGladrey                                 1185 Avenue of the Americas                                                                                                                        New York        NY           10036
6472034   RYAN HUNNEWELL DBA GRIZZLY DESIGN             1409 N. Alta Vista Blvd. #207                                                                                                                      Los Angeles     CA           90046
6684823   SAG AFTRA                                     Business Representative; Stunts & Safety    Attn: Sherika Randle                                     5757 Wilshire Blvd, 7th Floor                 Los Angeles     CA           90036
6483795   Satiated Productions                          7600 Flight Ave.                                                                                                                                   Los Angeles     CA           90045
6472968   SCRABBLE VENTURES, LLC                        10550 Camden Dr.                                                                                                                                   Cypress         CA           90630
6684761   Screen Actors Guild (SAG)                     c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                  Glendale        CA           91203
6684761   Screen Actors Guild (SAG)                     c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                  Glendale        CA           91203
6684761   Screen Actors Guild (SAG)                     c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                  Glendale        CA           91203
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6684761   Screen Actors Guild (SAG)                     c/o Bush Gottlieb                           Attn: Joe Kohanski                                       801 N. Brand Blvd, Suite 950                  Glendale        CA           91203
6471818   SCREEN ACTORS GUILD, INC.                     5757 Wilshire Blvd.                                                                                                                                Los Angeles     CA           90036
6684754   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF    5757 Wilshire Blvd.                                                                                                                                Los Angeles     CA           90036
6684754   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF    5757 Wilshire Blvd.                                                                                                                                Los Angeles     CA           90036
6684755   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF    5757 Wilshire Blvd.                         7th Floor                                                                                              Los Angeles     CA           90036
6684754   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF    5757 Wilshire Blvd.                                                                                                                                Los Angeles     CA           90036
6684754   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF    5757 Wilshire Blvd.                                                                                                                                Los Angeles     CA           90036
6684754   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF    5757 Wilshire Blvd.                                                                                                                                Los Angeles     CA           90036
6684853   Sheppard, Mullin, Richter & Hampton LLP       333 South Hope Street43rd Floor                                                                                                                    Los Angeles     CA           90071
6684791   Sheppard, Mullin, Richter & Hampton LLP       Attn: David Sunkin                          333 South Hope Street, 43rd Floor                                                                      Los Angeles     CA           90071-1422
6684848   Shook Lin & Bok LLP                           1 Robinson Rd, #1800 AIA Tower                                                                                                                     Singapore                    048542       Singapore
6473067   SHRED-IT NORTH LOS ANGELES INC.               P.O. Box 101007                                                                                                                                    Pasadena        CA           91189
6684830   Silver Cinemas dba Landmark Theatres          2222 S Barrington                                                                                                                                  Los Angeles     CA           90064
6684811   Skadden, Arps, Slate, Meagher & Flom LLP      Attn: Van C. Durrer, II                     300 S. Grand Avenue, Suite 3400                                                                        Los Angeles     CA           90071
6484852   Slant Promotions, Ltd.                        3133 Jack Northrop Ave.                                                                                                                            Hawthorne       CA           90250
6472452   SONY DADC US, INC. DBA SONY DADC AMERICAS     File #99460                                                                                                                                        Los Angeles     CA           90074
6472452   SONY DADC US, INC. DBA SONY DADC AMERICAS     File #99460                                                                                                                                        Los Angeles     CA           90074
6684794   Sony Electronics Inc.                         Attn: Esperanza Mendez                      16530 Via Esprillo                                                                                     San Diego       CA           92127




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 MMLID                                 NAME                                            ADDRESS                                      ADDRESS 2                                         ADDRESS 3               ADDRESS 4            CITY          STATE    POSTAL CODE   COUNTRY
6482040   Southeast Cinema dba Caroline Mall Cinemas             11917 Sam Roper DriveSuite 200                                                                                                                           Charlotte         NC           28269
6481036   Spear Street Capital                                   c/o Harris, King, Fodera & Correia            Attn: Kevin J. McGinnis                                One Battery Park Plaza - 29th Floor                 New York          NY           10004
6684820   Spectrum                                               290 Delaware Avenue                                                                                                                                      Albany            NY           12209
6684832   Staples Advantage                                      Dept. LA P.O. Box 83689                                                                                                                                  Chicago           IL           60696
6483646   Starworks Artists, LLC                                 440 N. La Brea Avenue                                                                                                                                    Los Angeles       CA           90036
6483496   Steuber Corp dba Alta/Foodcraft Coffee & Refreshment   1625 N. Riverside Dr.                                                                                                                                    Los Angeles       CA           90031
6486624   Story Pictures                                         Attn: Brent Almond                            23852 Pacific Coast Highway                            Suite 465                                           Malibu            CA           90265
6472313   STROOCK & STROOCK & LAVAN, LLP                         2029 Century Park East                                                                                                                                   Los Angeles       CA           90067
6684852   Switch Creative Group                                  1046 Princeton Dr                             Unit 101                                                                                                   Venice            CA           90292-5462
6684809   Taft Stettinius & Hollister LLP                        Attn: Jack J. Hagerty                         111 East Wacker, Suite 2800                                                                                Chicago           IL           60601
6684757   Technicolor                                            101 West 103rd Street                                                                                                                                    Indianapolis      IL           46290
6472477   TECHNICOLOR                                            Department #7656                                                                                                                                         Los Angeles       CA           90088
6684793   Technicolor Creative Services USA Inc.                 Attn: President or General Counsel            1631 Gardena Avenue                                                                                        Glendale          CA           91204
6684836   Technicolor Creative Services USA Inc.                 Attn:Accounts Receivable                      P.O. Box 79395                                                                                             City of Indusry   CA           91716
6472479   TECHNICOLOR ENTERTAINMENT SERVICES                     Dept 7660                                                                                                                                                Los Angeles       CA           90088
6485792   Terry Hines & Associates                               2550 Hollywood Way, Suite 600                                                                                                                            Burbank           CA           91505
6473834   THX LTD                                                1255 Battery Street, Ste.#100                                                                                                                            San Francisco     CA           94111
6470985   TIVOLI ENTERPRISES DBA CLASSIC CINEMA                  603 Rogers St                                                                                                                                            Downers Grove     IL           60515
6484876   TLA Productions, Inc.                                  24955 Pacific Coast Hwy., Ste. B200                                                                                                                      Malibu            CA           90265
6684779   Togut, Segal & Segal LLP                               Attn: Frank A. Oswald & Charles M. Persons    One Penn Plaza                                         Suite 3335                                          New York          NY           10119
6684785   Total Administrative Services Corporation - TASC       P.O. Box 88278                                                                                                                                           Milwaukee         WI           53288
6484770   True Value Sceening LLC                                10736 Jefferson Blvd. #782                                                                                                                               Culver City       CA           90230
6486586   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC           P.O. BOX 900                                                                                                                                             Beverly Hills     CA           90213-0900
6684762   UltraV Holdings                                        c/o Schulte Roth & Zabel LLP                  Attn: Adam C. Harris and Kristine Manoukian            919 Third Avenue                                    New York          NY           10022
6684762   UltraV Holdings                                        c/o Schulte Roth & Zabel LLP                  Attn: Adam C. Harris and Kristine Manoukian            919 Third Avenue                                    New York          NY           10022
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6684762   UltraV Holdings                                        c/o Schulte Roth & Zabel LLP                  Attn: Adam C. Harris and Kristine Manoukian            919 Third Avenue                                    New York          NY           10022
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6684762   UltraV Holdings                                        c/o Schulte Roth & Zabel LLP                  Attn: Adam C. Harris and Kristine Manoukian            919 Third Avenue                                    New York          NY           10022
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                                                                                                                 Schedule DEF Parties Service List
                                                                                                                     Served First Class Mail
 MMLID                               NAME                                     ADDRESS                             ADDRESS 2                                         ADDRESS 3                 ADDRESS 4           CITY          STATE    POSTAL CODE   COUNTRY
6684762   UltraV Holdings                               c/o Schulte Roth & Zabel LLP         Attn: Adam C. Harris and Kristine Manoukian             919 Third Avenue                                     New York         NY           10022
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6684762   UltraV Holdings                               c/o Schulte Roth & Zabel LLP         Attn: Adam C. Harris and Kristine Manoukian             919 Third Avenue                                     New York         NY           10022
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6684762   UltraV Holdings                               c/o Schulte Roth & Zabel LLP         Attn: Adam C. Harris and Kristine Manoukian             919 Third Avenue                                     New York         NY           10022
6684762   UltraV Holdings                               c/o Schulte Roth & Zabel LLP         Attn: Adam C. Harris and Kristine Manoukian             919 Third Avenue                                     New York         NY           10022
6484958   Unfold Agency Inc                             809 Brooks Ave                                                                                                                                    Venice           CA           90291
6684789   UPS                                           P.O. Box 894820                                                                                                                                   Los Angeles      CA           90189
6684776   US Trustee                                    Attn: Serene K. Nakano               Office of UST of the Southern District of NY            201 Varick Street                                    New York         NY           10014
6684838   Verizon Wireless                              P.O. Box 660108                                                                                                                                   Dallas           TX           75266
6486630   Viacom                                        Attn: Christa A. D'Alimonte          1515 Broadway                                                                                                New York         NY           10036
6473205   VISION MEDIA MANAGEMENT & FULFILLMENT, LLC    29125 Avenue Paine                                                                                                                                Valencia         CA           91355
6470059   WALL GROUP LA, LLC, THE                       421 W. 14th St., 2nd Floor                                                                                                                        New York         NY           10014
6684813   Wehrenberg Inc                                12800 Manchester Road                                                                                                                             Saint Louis      MO           63131
6684831   Weiss, Thomas J.                              Address on File
6486588   WELLS FARGO FINANCIAL LEASING, INC.           800 WALNUT STREET, MAC FF4031-040                                                                                                                 DES MOINES       IA           50309
6486588   WELLS FARGO FINANCIAL LEASING, INC.           800 WALNUT STREET, MAC FF4031-040                                                                                                                 DES MOINES       IA           50309
6684849   Wells Fargo Financial Leasing, Inc.           P.O. Box 10306                                                                                                                                    Des Moines       IA           50306
6473286   WEST COAST DISPLAYS FSO LOREN H. HOLLAND      33863 Sierra Vallejo Rd.                                                                                                                          Agua Dulce       CA           91390
6483990   Wildfire Finishing LLC                        640 S. San Vicente Blvd                                                                                                                           Los Angeles      CA           90048
6484054   Williams Data Management                      1925 E. Vernon Avenue                                                                                                                             Los Angeles      CA           90058
6486617   Workshop Creative LLC                         Attn: Robert Myers                   9006 Melrose Avenue                                                                                          West Hollywood   CA           90069
6684825   World Wrestling Entertainment Studios, Inc.   c/o Goldstein & McClintock LLLP      Attn: Harley J. Goldstein, Esq.                         111 W. Washington Street, Suite 1221                 Chicago          IL           60602
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684763   Writers Guild of America (WGA)                c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6684816   Writers Guild of America West (WGA)           c/o Bush Gottlieb                    Attn: Joe Kohanski                                      801 N. Brand Blvd, Suite 950                         Glendale         CA           91203
6486589   WRITERS GUILD OF AMERICA, EAST, INC.          555 West 57th Street                                                                                                                              New York         NY           10019
6486589   WRITERS GUILD OF AMERICA, EAST, INC.          555 West 57th Street                                                                                                                              New York         NY           10019
6486590   WRITERS GUILD OF AMERICA, WEST, INC.          7000 West 3rd Street                                                                                                                              Los Angeles      CA           90048
6486590   WRITERS GUILD OF AMERICA, WEST, INC.          7000 West 3rd Street                                                                                                                              Los Angeles      CA           90048
6486590   WRITERS GUILD OF AMERICA, WEST, INC.          7000 West 3rd Street                                                                                                                              Los Angeles      CA           90048




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                                                                                            Schedule DEF Parties Service List
                                                                                                Served First Class Mail
 MMLID                         NAME                                    ADDRESS               ADDRESS 2                          ADDRESS 3     ADDRESS 4        CITY        STATE    POSTAL CODE   COUNTRY
6684758 XEROX FINANCIAL SERVICES                      45 GLOVER AVE.                                                                                      NORWALK     CT           06856




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                                                                                                                        Schedule G Parties Service List
                                                                                                                           Served First Class Mail
 MMLID                             NAME                                                  ADDRESS                                  ADDRESS 2                           ADDRESS 3          ADDRESS 4           CITY          STATE    POSTAL CODE       COUNTRY
6795153 20TH CENTURY FOX HOME ENTERTAINMENT LLC                         P.O. BOX 900                                                                                                                 BEVERLY HILLS    CA           90213
6799080 21ST CENTURY THEATRES                                           9760 SW99 STREET                                                                                                             MIAMI            FL           33176
6799070 3B PRODUCTIONS, INC.                                            C/O BLOOM HERGOTT ET AL. LLP              GREG SLEWETT                            150 SOUTH RODEO DRIVE        THIRD FLOOR   BEVERLY HILLS    CA           90212
                                                                                                                  WAIWEN CULTURE & CREATIVE PARK          #20 ZIZHUYUAN SOUTH ROAD,
6799071   3C MEDIA                                                      ATTN: LULU TIAN                           BUILDING FIVE                           HAIDIAN DISTRICT                           BEIJING                                      CHINA
6468431   3DTK, INC.                                                    Address on File
6864398   42 WEST                                                       11400 W. OLYMPIC BLVD. SUITE 1100                                                                                            LOS ANGELES      CA           90064
6799064   4AM MUSIC LIMITED                                             C/O CUTTING EDGE MUSIC HOLDINGS LTD.      18 RODMARTON STREET                                                                LONDON                        W1U 8BJ        UNITED KINGDOM
6799065   5 STAR CINEMA                                                 4147 5 PTS ROAD                                                                                                              CORPUS CHRISTI   TX           78410
          7 BUCKS ENTERTAINMENT, INC. F/S/O DWAYNE JOHNSON, SOMNIO
6799058   BELLUS, INC. F/S/O DANY GARCIA AND HIRAM GARCIA               F/S/O DWAYNE JOHNSON                      C/O GANG TYRE, RAMNER & BROWN INC.      132 SOUTH RODEO DRIVE                      BEVERLY HILLS    CA           90212
6799061   7 TO ZYNC MUSIC GROUP LLC                                     243 MULBERRY STREET. SUITE 4R                                                                                                NEW YORK         NY           10012
6864399   7786 HOLDINGS, LLC                                            23679 CALABASAS ROAD                      SUITE 980                                                                          CALABASAS        CA           92302
6798926   A MUSIC CO. INC                                               68 KING STREET                                                                                                               NEW YORK         NY           10014
6798747   A WARNER MUSIC GROUP COMPANY                                  3400 WEST OLIVE AVENUE                                                                                                       BURBANK          CA           91505-4614
6799062   AARON ZIGMAN ENTERPRISES, INC.                                CC/O FORST ARTIST MANAGEMENT              ATTN: VASI VANGELOS                     4764 PARK GRANADA            SUITE 210     CALABASAS        CA           91302
6799063   ABC ENTERTAINMENT ACCOUNTING                                  ATTN: PATTI YAMATE                        500 S. BUENA VISTA STREET                                                          BURBANK          CA           91521-4668
6799052   ABERCROMBIE & FITCH MANAGEMENT CO.                            6301 FITCH PATH                                                                                                              NEW ALBANY       OH           43054
6799053   ABIGAIL BARLOW                                                3504 COLD HARBOR LANE                                                                                                        BIRMINGHAM       AL           35223
6799055   ABIGAIL PAIGE MARTIN                                          3516 CEDAR VALLEY DRIVE                                                                                                      SMYRNA           GA           30080
6799056   ABOVE AVERAGE INC                                             ATTN:JACK SULLIVAN                        PRESIDENT                               1619 BROADWAY                4TH FLOOR     NEW YORK         NY           10019
6799057   ABOVE AVERAGE PRODUCTIONS LLC                                 ATTN: DOUGLAS BANDES                      25 W. 45TH STREET                       SUITE 200                                  NEW YORK         NY           10036
6864400   ACCESS DIGITAL CINEMA PHASE 2 CORP.                           ATTN: GARY LOFFREDO, PRESIDENT            6255 SUNSET BLVD                        SUITE 1025                                 HOLLYWOOD        CA           90028
6799045   ACCESS DIGITAL CINEMA PHASE 2 CORP.                           ATTN: PRESIDENT                           2049 CENTURY PARK EAST                  SUITE 1900                                 LOS ANGELES      CA           90067
6799035   ACE MEDIA LLC                                                 1674 BROADWAY                             7TH FLOOR                                                                          NEW YORK         NY           10019
6864401   ACENTIC, LIMITED                                              ATTN: TONY BUSZKA                         THE OLD GRANARY                         THE LYNCH                                  KENSWORTH                     LU6 3QZ        UNITED KINGDOM
6799037   ACMO REL, L.L.C.                                              C/O ANCHORAGE CAPITAL GROUP, L.L.C.       610 BROADWAY                            6TH FLOOR                                  NEW YORK         NY           10012
6799028   ACTION LOGISTICS, INC                                         815 GREENVIEW DR.                                                                                                            GRAND PRAIRIE    TX           75050
6799029   ADAM FARAG                                                    10 LIBERTY STREET                         #41B                                                                               NEW YORK         NY           10005
6864402   ADAM MASON AND DAVID BOYES                                    C/O LUKER ROKLIN ENTERTAINMENT            ATTN: BRYAN BRUCKS                      8530 WILSHIRE BLVD., FIFTH                 BEVERLY HILLS    CA           90211
6799031   ADAM MASON AND SIMON BOYES                                    C/O LUKER ROKLIN ENTERTAINMENT            ATTN: BRYAN BRUCKS                      8530 WILSHIRE BLVD., FIFTH                 BEVERLY HILLS    CA           90211
6799032   ADP BENEFIT SERVICES                                          ATTN: SHANNON BURKE                       2575 WESTSIDE PKWY                      SUITE 500                                  ALPHARETTA       GA           30004
6799024   ADP, INC.                                                     ATTN: SHANNON BURKE                       ONE ADP BOULEVARD                                                                  ROSELAND         NJ           07068
6799025   ADRIAN ASKARIEH C/O PRIME UNIVERSE FILMS                      ATTN: GENERAL COUNSEL                     612 SANTA MONICA BLVD.                                                             SANTA MONICA     CA           90401
                                                                        THROUGH ITS DIVISION CONDE NAST           ATTN: DAWN OSTROFF, PRES, CONDE NAST
6864403   ADVANCE MAGAZINE PUBLISHERS INC.                              ENTERAINMENT                              ENTERAINMENT                            FOUR TIMES SQUARE                          NEW YORK         NY           10036
6799026   ADVANCE MAGAZINE PUBLISHERS INCCONDE NAST ENTERTAINMENT       C/O ZIFFREN BRITTENHAM LLP                ATTN: ERIC SHERMAN                      1801 CENTURY PARK WEST                     LOS ANGELES      CA           90067
6864404   AELITE FILM AG                                                BADENERSTRASSE 156                                                                                                           ZUIRCH           CH           8026           SWITZERLAND
6799018   A-FILM RECHTEN B.V.                                           ATTN: MR. WILCO WOLFERS                   MEEUWENLAAN 98/100                                                                 AMSTERDAM                     1021 JL        NETHERLANDS
6799019   A-FILMS B.V.                                                  POSTBUS 37743                                                                                                                AMSTERDAM                     1030           NETHERLANDS
6799011   AGO ACTION INC                                                350 S. CALIFORNIA ST                                                                                                         BURBANK          CA           91505
6799012   AJAY THEATRES                                                 1384 SAGEBROOK DRIVE                                                                                                         FAIRVIEW         TX           75069
6864405   AKIN GUMP STRAUSS HAUER & FELD, LLP                           2029 CENTURY PARK EAST, SUITE 2400                                                                                           LOS ANGELES      CA           90067
6799014   ALAMO THEATRE SERVICES                                        PO BOX 6928                                                                                                                  SAN JOSE         CA           95150
6799015   ALAN DANTONI                                                  3845 VILLAGE ESTATES                                                                                                         COURT CUMMING    GA           30040
6864406   ALAN MENKEN                                                   C/O J.H. COHEN, LLP                       1212 AVENUE OF THE AMERICAS             14TH FLOOR                                 NEW YORK         NY           10036
6799005   ALEXANDER MILCHAN                                             9200 WEST SUNSET BLVD.                    STE. 550                                                                           WEST HOLLYWOOD   CA           90069
6799006   ALEXANDER RYBAK AS                                            PB 1646 VIKA                                                                                                                 OSLO                          0119           NORWAY
6799009   ALIBI MUSIC LP                                                JONATHAN PARKS, AN AUTHORIZED SIGNATORY   731 W. BROAD STREET                                                                BETHLEHEM        PA           18018
6798999   ALICE KATZ                                                    C/O PARR3 LLC                             1513 MURRAY DRIVE                                                                  LOS ANGELES      CA           90026
6799000   ALICIA M. DERCOLE                                             PENGUIN RANDOM HOUSE                      1745 BROADWAY                           15TH FLOOR                                 NEW YORK         NY           10019
6799001   ALIVE RECORDS LLC                                             919 ISABEL, UNIT G                                                                                                           BURBANK          CA           91506
6799002   ALIZA KATE BARLOW                                             C/O PEGGY BARLOW                          3504 COLD HARBOR LANE                                                              MONTAIN BRK      AL           35223
6864407   ALKI DAVID                                                    C/O FILMON                                301 N CANON DRIVE                                                                  BEVERLY HILLS    CA           90210
6798992   ALLEN ANDERSON MARTIN                                         265 SPENCE RD                                                                                                                CARROLLTON       GA           30117
6798993   ALLEN KUPETSKY                                                6228 WATERTREE COURT                                                                                                         AGOURA HILLS     CA           91301-1613
6798994   ALLEN THEATRES                                                PO BOX 1500                                                                                                                  FARMINGTON       NM           87401
6864408   ALLIANCE                                                      455 ST-ANTOINE OUEST                      SUITE 300                                                                          MONTREAL         QC           H2Z 1J1        CANADA
6798986   ALLIANCE ATLANTIS RELEASING LIMITED                           ATTN: PRESIDENT, MANAGING DIRECTOR AND    20 SOHO SQUARE                                                                     LONDON                        W1D 3QW        UNITED KINGDOM
6864409   ALLIANCE ATLANTIS RELEASING LIMITED D/B/A MOMENTUM PICTURES   ATTN: PRESIDENT, MANAGING DIRECTOR AND    20 SOHO SQUARE                                                                     LONDON                        W1D 3QW        UNITED KINGDOM
6864410   ALLIANCE ATLANTIS RELEASING LIMITED T/A MOMENTUM PICTURES     184-192 DRUMMOND STREET                                                                                                      LONDON                        NWI 3HP        UNITED KINGDOM
6798990   ALLIANCE FILM INC                                             121 BLOOR ST EAST                         SUITE1500                                                                          TORONTO          ON           M4W 3M5        CANADA
6798952   ALLIANCE FILMS (UK) LIMITED                                   45 WARREN STREET                                                                                                             LONDON                        W1T 6AG        UNITED KINGDOM




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                                                                                                                   Schedule G Parties Service List
                                                                                                                      Served First Class Mail
 MMLID                                   NAME                                      ADDRESS                                  ADDRESS 2                          ADDRESS 3                ADDRESS 4            CITY           STATE    POSTAL CODE        COUNTRY
6864411   ALLIANCE FILMS (UK) LIMITED                             D/B/A MOMENTUM PICTURES                    ATTN: PRESIDENT, MANAGING DIRECTOR      & HEAD OF LEGAL AND BUSINESS    20 SOHO        LONDON                          W1D 3QW        UNITED KINGDOM
6864412   ALLIANCE FILMS (UK) LIMITED ("MOMENTUM")                20 SOHO SQUARE                             2ND FLOOR                                                                              LONDON                          W1D 3QW        UNITED KINGDOM
6864413   ALLIANCE FILMS INC.                                     145 KING STREET EAST                       3RD FLOOR                                                                              TORONTO            ON           M5c 2Y7        CANADA
6798984   ALLIANCE FILMS INC.                                     145 KING STREET EAST                       SUITE 300                                                                              TORONTO            ON           M5C 2Y7        CANADA
6864414   ALLIANCE FILMS INC.                                     175 BLOOR STREET EAST                      14TH FLOOR, NORTH TOWER                                                                TORONTO            ON           M4W 3R8        CANADA
6864416   ALLIANCE FILMS INC.                                     AMY PAPETTO, GENERAL COUNSEL               455 ST-ANTOINE OUEST, SUITE 300                                                        MONTREAL           QC           H2Z 1J1        CANADA
6864415   ALLIANCE FILMS INC.                                     ATTN: AMY PAQUETTE, SVP BUSINESS & LEGAL   145 KING STREET EAST                    SUITE 300                                      TORONTO            ON           MC5C 2Y7       CANADA
6798957   ALLIANCE FILMS INC.                                     PRESIDENT AND HEAD OF LEGAL AND BUSINESS   145 KING STREET EAST                    3RD FLOOR                                      TORONTO            ON           M5C 2Y7        CANADA
6798964   ALLIANCE FILMS INC. ("ALLIANCE")                        145 KING STREET EAST                       3RD FLOOR                                                                              TORONTO            ON           M5C 2Y7        CANADA
6798967   ALLIANCE FILMS, INC                                     ATTN: CHARLES LAYTON                       145 KING STREET EAST                    SUITE 300                                      TORONTO            ON           M5C 2Y7        CANADA
6864417   ALLIANCE FILMS, INC.                                    455 ST-ANTOINE OUEST, SUITE 300                                                                                                   MONTREAL           QC           H2Z 1J1        CANADA
6798946   ALLIN MEDIA CORPORATION                                 ATTN: DEAN PRASKACH, VICE PRESIDENT        2841 W. CYPRESS CREEK RD.                                                              FORT LAUDERDALE    FL           33309
6798947   ALLOY TRACKS LLC                                        MR. TROY MACCUBBIN                         5650 CAMELLIA AVENUE                                                                   NORTH HOLLYWOOD    CA           91601
6798948   ALTAIR CASTING & PRODUCTION SERVICES, LLC               ANN HOULTON GUILL                          PHIL NEWSOME                            703 COLISEUM PLAZA COURT                       WINSTON-SALEM      NC           27106
6798949   ALVAREZ & SHELLEY P.C.                                  FRANCIS SHELLEY                            14156 MAGNOLIA BOULEVARD                SUITE 102                                      SHERMAN OAKS       CA           91423
6798938   ALYSON STONER                                           C/O JENNIFER MILLAR                        PARADIGM                                360 N. CRESCENT DR., N.                        BEVERLY HILLS      CA           90210
6798939   AMARE STOUDEMIRE ENTERPRISES, INC.                      C/O DENNIS A. ROACH, ESQ.                  9200 SUNSET BLVD                        SUITE 525                                      LOS ANGELES        CA           90069
6798940   AMAZON DIGITAL SERVICES                                 C/O AMAZON.COM                             ATTN: CAMERON JANES                     410 TERRY AVENUE NORTH                         SEATTLE            WA           98109-5210
6798941   AMC                                                     2121 AVENUE OF THE STARS                   SUITE 2580                                                                             LOS ANGELES        CA           90067
6798933   AMERICAN SOCIETY OF COMPOSERS, AUTHORS AND PUBLISHERS   ONE LINCOLN PLAZA                                                                                                                 NEW YORK           NY           10023
6798934   AMERICAN THEATRE BOOKING                                232 KIMBERLY HILL DRIVE                                                                                                           PALMER             TX           75152
6798935   AMMO CREATIVE                                           ATTN: SCOTT OGDEN - OWNER                  6725 SUNSET BLVD.                       SUITE #380                                     LOS ANGELES        CA           90028
6798936   AMONTILLADO PRODUCTIONS, LLC                            ATTN: TREVOR MACY & MARC D. EVANS          C/O INTREPID PICTURES, LLC              1221 SECOND STREET              2ND FLOOR      SANTA MONICA       CA           90401
6798937   AMS ENTERPRISES                                         2749 WINNETKA AVE. N                                                                                                              NEW HOPE           MN           55422
6798927   AMY BRICE                                               227 LINDEN DR.                                                                                                                    WAYCROSS           GA           31501
6798928   ANDREW ARMSTRONG                                        3100 W. RIVERSIDE DR.                      #101                                                                                   BURBANK            CA           91505
6798929   ANDREW JOINER                                           STYLUS RECORDS / STEREOPHONICS.COM         44 CHISWICK LANE                                                                       LONDON                          W4 2JQ         UNITED KINGDOM
6798930   ANDREW KOPPEROD                                         1940 MARENGO AVENUE                                                                                                               SOUTH PASADENA     CA           91030
6864418   ANDREW WIGHT                                            375 HUDSON ST.                             12TH FLOOR                                                                             NEW YORK           NY           10014
6798920   ANDY BERMAN                                             C/O UNITED TALENT AGENCY                   ATTN: JOSH HORNSTOCK                    9560 WILSHIRE BOULEVARD         SUITE 500      BEVERLY HILLS      CA           90212
6798923   ANGEL R PAGAN COLON                                     PO BOX 846                                                                                                                        DORADO             PR           00646
6864419   ANGRY ROBOT LTD., AGENT                                 LACE MARKET HOUSE                          54-56 HIGH PAVEMENT                                                                    NOTTINGHAM                      NG1 1HW        UNITED KINGDOM
6798918   ANIMAL CRACKERS PROPERTIES LTD.                         ATTN: GENERAL COUNSEL                      8 PENTIRE POINT                                                                        PENTIRE, NEWQUAY                TR71FS         UNITED KINGDOM
6798919   ANNA GRACE BARLOW                                       C/O MICHAEL MORALES                        10880 WILSHIRE BLVD                     SUITE 2070                                     LOS ANGELES        CA           90024
6798908   ANNE MARIE RHODES/MARILYN MAODELS & TALENT MANGMENT     601 NORWALK ST                                                                                                                    GREENSBORO         NC           27407
6798909   ANTHONY MASTROMAURO                                     C/O LICHTER, GROSSMAN, NICHOLS, ADLER &    ATTN: LINDA LICHTER, ESQ                9200 SUNSET BLVD., SUITE 1200                  WEST HOLLYWOOD     CA           90069
6798910   ANTIC INC                                               JUAN PONCIDHO, AN AUTHORIZED SIGNATORY     842 N. FAIRFAX AVE                                                                     LOS ANGELES        CA           90046
6798911   ANTIONETTE MESSAM                                       C/O APA AGENCY                             ATTN: AMANDA PECORA - SUTPHEN           405 S. BEVERLY DRIVE                           BEVERLY HILLS      CA           90210
                                                                                                                                                                                  1925 CENTURY
6798912   ANTONIO MOURAS SANTOS JR.                               C/O JACKOWAY TYERMAN WERTHERIMER           AUSTEN MANDELEBAUM MORRIS & KLEIN       ATTN: DARREN TRATTNER        PARK EAST, 22ND LOS ANGELES          CA           90067
6798913   ANYWAY INC                                              172 N 1ST ST                                                                                                                    BROOKLYN             NY           11211
6864423   APERTURE MEDIA PARTICIPATIONS, LLC                      ATTN: GENERAL COUNSEL                      8730 SUNSET BOULEVARD                   SUITE 490                                    LOS ANGELES          CA           90069
6864422   APERTURE MEDIA PARTICIPATIONS, LLC                      ATTN: JARAD UNDERWOOD, ANDREW              8730 SUNSET BOULEVARD, SUITE 490                                                     LOS ANGELES          CA           90069
6864424   APERTURE MEDIA PARTNERS, LLC                            ATTN: GENERAL COUNSEL                      8730 SUNSET BOULEVARD                   SUITE 490                                    LOS ANGELES          CA           90069
6798898   APEX CINEMAS, INC.                                      215 B. FOREST DRIVE                        SUITE 38                                                                             ANNAPOLIS            MD           21401
6864426   APEX SUCCESS GLOBAL LTD.                                ATTN: PAUL WANG                            SEA MEADOW HOUSE, BLACKBURNE HWY        (P.P. BOX 116)                               ROAD TOWN            TORTOLA                     BRITISH VIRGIN
6864425   APEX SUCCESS GLOBAL LTD.                                ATTN: PAUL WANG                            2F NO 113 SEC 2                         HAN KOU ST WANHUA DISTRICT                   TAIPEI CITY                       108            TAIWAN
6798899   APEX SUCCESS GLOBAL LTD.                                PAUL WANG                                  2F, NO. 113, SEC. 2                     HAN KOU STL, WANHUA DISTRICT                 TAIPEI CITY                       108            TAIWAN
6864427   APOLLO TACTICAL VALUE SPN INVESTMENTS, LP               ATTN: GENERAL COUNSEL                      PO BOX 309                              UGLAND HOUSE                                 GEORGE TOWN          KY           1-1104         CAYMAN ISLANDS
6798869   APPLE INC.                                              ATTN: ASSOCIATE GENERAL COUNSEL, ITUNES    1 INFINITE LOOP                         MS 3-ITS                                     CUPERTINO            CA           95014
6798870   APRIL STEINER                                           EXCLUSIVE ARTISTS MANAGEMENT               7699 W SUNSET BOULEVARD                 SUITE 205                                    LOS ANGELES          CA           90046
6798862   AQUA GROUP INC./PINEMA                                  450 ALTON ROAD, 2301                       SUITE 120                                                                            MIAMI BEACH          FL           33139
6798849   AQUA GROUP INC./PINEMA                                  ATTN: MARMIR M. DEMIRTAS                   450 ALTON ROAD                                                                       MIAMI BEACH          FL           33139
6798852   AQUA GROUP INC./PINEMA                                  ATTN: PAM M. DEMIRTAS                      450 ALTON ROAD                          SUITE 2301                                   MIAMI BEACH          FL           33139
6864428   AQUA GROUP INC/PINEMA                                   450 ALTON ROAD                             2301                                                                                 MIAMI BEACH          FL           33139
6798848   AQUA GROUP INC/PINEMA                                   450 ALTON ROAD                                                                                                                  MIAMI BEACH          FL           33139
6798842   ARABELLA BARLOW                                         3504 COLD HARBOR LN                                                                                                             MONTAIN BRK          AL           35223
6798843   ARAMID CAPITAL PARTNERS, LLP                            1800 AVENUE OF THE STARS, SUITE 900                                                                                             LOS ANGELES          CA           90067-4276
                                                                                                                                                                                  1800 AVENUE OF
6798844 ARAMID CAPITAL PARTNERS, LLP                              C/O IRELL & MANELLA LLP                    ATTN: JEFFREY M. REISNER, ESQ.          MICHAEL H. STRUB, JR., ESQ.  THE STARS,      LOS ANGELES          CA           90067-4276
                                                                                                                                                                                  1800 AVENUE OF
6798845 ARAMID ENTERTAINMENT FUND LTD                             C/O IRELL & MANELLA                        ATTN: JEFFREY M. REISNER, ESQ.          MICHAEL H. STRUB, JR., ESQ.  THE STARS,      LOS ANGELES          CA           90067-4276




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                                                                                                                    Schedule G Parties Service List
                                                                                                                       Served First Class Mail
MMLID                                              NAME                              ADDRESS                                  ADDRESS 2                            ADDRESS 3             ADDRESS 4            CITY        STATE   POSTAL CODE           COUNTRY
                                                                                                                                                                                      1800 AVENUE OF
6798846 ARAMID GRANTOR TRUST                                        C/O IRELL & MANELLA LLP                   ATTN: JEFFREY M. REISNER, ESQ.          MICHAEL H. STRUB, JR., ESQ.     THE STARS,     LOS ANGELES     CA           90067-4276
6798847 ARAMID LIQUIDATING                                          1800 AVENUE OF THE STARS, SUITE 900                                                                                              LOS ANGELES     CA           90067-4276
                                                                                                                                                                                      1800 AVENUE OF
6798836   ARAMID LIQUIDATING                                        C/O IRELL & MANELLA                       ATTN: JEFFREY M. REISNER, ESQ.          MICHAEL H. STRUB, JR., ESQ.     THE STARS,     LOS ANGELES     CA           90067-4276
6798840   ARC ENTERTAINMENT, LLC                                    ATTN: TREVOR DRINKWATER                   3212 NEBRASKA AVENUE                                                                   SANTA MONICA    CA           90404
6798837   ARCANGELO                                                 15060 VENTURA BLVD                        SUITE 350                                                                              SHERMAN OAKS    CA           91403
6864429   ARCLIGHT FILMS INTERNATIONAL PTY LTD                      BUILDING 22, FOX STUDIOS AUSTRALIA        DRIVER AVENUE                                                                          MOORE PARK      NSW          2021          AUSTRALIA
6798841   ARCLIGHT FILMS INTERNATIONAL PTY LTD ACN 100 209 872      BUILDING 22, FOX STUDIOS AUSTRALIA        DRIVER AVENUE                                                                          MOORE PARK                   2021          AUSTRALIA
6798831   ARENDALL ENTERPRISES                                      2999 OVERTON CROSSING STREET                                                                                                     MEMPHIS         TN           38127
6798832   ARGONAUT INSURANCE COMPANY                                ARGO GROUP US                             ATTN: MANAGEMENT LIABILITY -            101 HUDSON STREET               SUITE 1201     JERSEY CITY     NJ           07302
6864430   ARMORED CAR PRODUCTIONS, LLC                              1 WEST PACK SQUARE, BB&T BUILDING         SUITE 1600                                                                             ASHEVILL        NC           28801
6798812   ARMSTRONG PICTURES INC..                                  3100 W.RIVERSIDE DR.                      #101                                                                                   BURBANK         CA           91505
6798816   ARON MARDEROSIAN                                          C/O TWELVESIXTY, LLC                      P.O. BOX 6470                                                                          MALIBU          CA           90264
6798817   ARSONAL                                                   3524 HAYDEN AVE.                                                                                                                 CULVER CITY     CA           90232
6798811   ART MACHINE                                               6922 HOLLYWOOD BLVD.                      11TH FLOOR                                                                             HOLLYWOOD       CA           90028
6798810   ARTIE MALESCI / STUNT COORDINATOR                         5900 SW 123 AVE                                                                                                                  MIAMI           FL           33183
6798801   ASHURST AGENCY                                            210 TURNBERRY CIRCLE                                                                                                             FAYETTEVILLE    GA           30215
6798802   ASIA MINOR PICTURES F/S/O                                 CHARLES & VLAS PARLAPANIDES               C/O WILLIAM MORRIS AGENCY               ATTN: MIKE ESOLA                ONE WILLIAM    BEVERLY HILLS   CA           90012
6798803   ASPECT RATIO, INC.                                        1347 N. CAHUENGA BLVD.                                                                                                           HOLLYWOOD       CA           90028
6491423   ASSOCIATED PRODUCTION MUSIC LLC                           6255 SUNSET BOULEVARD, SUITE 820                                                                                                 LOS ANGELES     CA           90028
6798805   ASSOCIATED PRODUCTION MUSIC LLC                           6255 SUNSET BOULEVARD, SUITE 900                                                                                                 HOLLYWOOD       Ca           90028
6798794   ASW INC.                                                  155 N CRAIG STREET                        SUITE 170                                                                              PITTSBURGH      PA           15213
6798781   AT PLAY CREATIVE, INC.                                    VICKIE DENICOLA                           1615 E. WASHINGTON BLVD.                2ND FLOOR                                      PASADENA        CA           91104
6798764   AT&T                                                      ATTN: SENIOR VICE PRESIDENT AND DEPUTY    ONE AT&T WAY                                                                           BEDMINSTER      NJ           07921-0752
6798772   AT&T CORP.                                                1150 S. OLIVE ST.                                                                                                                LOS ANGELES     CA           90015
6798773   AT&T CORP.                                                ATTN: MASTER AGREEMENT SUPPORT TEAM       ONE AT&T WAY                                                                           BEDMINSTER      NJ           07921-0752
6864431   AT&T CORP.                                                VAN LEE                                   1150 S OLIVE ST                                                                        LOS ANGELES     CA           90015
6798766   AT&T SERVICES, INC                                        ATTN: ROSEMARIE URESTI                    1010 N. ST. MARY'S ROOM 7-H-01G                                                        SAN ANTONIO     TX           78215
6798765   AT&T SERVICES, INC.                                       530 MCCULLOUGH                                                                                                                   SAN ANTONIO     TX           78215
6864432   AT&T SERVICES, INC.                                       ATTN: SR. CONTRACT MANAGER                530 MCCULLOUGH                                                                         SAN ANTONIO     TX           78215
6798795   ATLANTA MODELS & TALENT AGENCY                            ATTN: SUSAN FRONSOE                       3098 PIEDMONT RD STE #102                                                              ATLANTA         GA           30305
6798796   ATLANTIC SCREEN INTERNATIONAL LIMITED                     ATTN; SIMON FAWCETT                       5 CLARKES MEWS                                                                         LONDON                       W1G 6GN       UNITED KINGDOM
6798797   ATLAS DISTRIBUTION COMPANY                                ATTN: JOHN AGLIALORO                      56 N. HADDON AVE. FLR. 3                                                               HADDONFIELD     NJ           08033
                                                                    C/O BLOOM HERGOTT DIEMER ROSENTHAL
6798798   ATLAS ENTERTAINMENT, LLC                                  LAVIOLETTE FELMAN SCHENKMAN &             ATTN: RICHARD THOMPSON                  150 SOUTH RODEO DRIVE           THIRD FLOOR   BEVERLY HILLS    CA           90212
6798799   ATLAS PRODUCTION                                          JOHN JAHRMARKT                            JAHRMARKT & ASSOCIATES                  2049 CENTURY PARK EAST          SUITE 3850    LOS ANGELES      CA           90067
6798788   ATLAS PRODUCTIONS, LLC                                    ATT: JOHN AGLIALORO                       56 N. HADDON AVE, FLR 3                                                               HADDONFIELD      NJ           08033
6798789   ATLAS PRODUCTIONS, LLC                                    C/O JAHRMARKT & ASSOCIATES                ATTN: JOHN JAHRMARKT                    2049 CENTURY PARK EAST          SUITE 3850    LOS ANGELES      CA           90067
6798790   ATLAS PRODUCTIONS, LLC.                                   ATTN: JOHN AGLIALORO                      56 N. HADDON AVE                        FLR 3                                         HADDONFIELD      NJ           08033
6798791   ATM FILM DISTRIBUTORS                                     ATT: RICHARD TEELUCKSINGH                 1 FILM CENTER                           P.O. BOX 3034                                 ST. JAMES                                   TRINIDAD
6798775   ATTORNEY GENERAL OF THE UNITED STATES                     U.S. DEPARTMENT OF JUSTICE                950 PENNSYLVANIA AVENUE, NW                                                           WASHINGTON       DC           20530-0001
6798769   AUDIOMACHINE                                              ATTN: CAROL SOVINSKI                      9903 SANTA MONICA BOULEVARD             SUITE 250                                     BEVERLY HILLS    CA           90212
6798746   AV SQUAD INC.                                             7750 SUNSET BLVD.                                                                                                               LOS ANGELES      CA           90046
6798753   AVATARLABS INC                                            16030 VENTURA BLVD SUITE 102                                                                                                    ENCINO           CA           91436
6798754   AVIRON PICTURES, LLC                                      ATTN: GENERAL COUNSEL                     9101 WILSHIRE BLVD.                                                                   BEVERLY HILLS    CA           90212
6798757   AVITAL ASH                                                2250 INDIA ST.                                                                                                                  LOS ANGELES      CA           90039
6798677   B & B THEATRES                                            4204 SAN JUAN AVE.                                                                                                              LA JUNTA         CO           81050
6864433   B&B THEATRES                                              4201 SAN JUAN AVENUE                                                                                                            LA JUNTA         CO           81050
6798679   B.D.J. LAW & ACCOUNTING OFFICE                            ATTN: TAKAHIDE MORITA, ESQ.               LE SILLAGE JINGUMAE 208                 3-18-42, JINGUMAE, SHIBUYA-KU                 TOKYO                                       JAPAN
6798749   BACKGROUND NOISES                                         C/O DANIEL GLUSZAK                        51 POLLOK PLACE                                                                       HICKSVILLE       NY           11801
6798750   BAD PARENTS LLC                                           ATTN: CAYTHA JENTIS                       50 W. 93RD STREET                       SUITE 1G                                      NEW YORK         NY           10025
6798740   BAKER STREET INVESTORS, LLC                               455 MARKET ST                             23RD FLOOR                                                                            SAN FRANCISCO    CA           94105
6798741   BALCONY BOOKING                                           26 MILL LANE                                                                                                                    AMHERST          MA           10020
6798743   BANDITO BROTHERS, LLC                                     3115 SOUTH LA CIENEGA BOULEVARD                                                                                                 LOS ANGELES      CA           90016
6798744   BANDITO FILMS, INC.                                       3115 SOUTH LA CIENEGA BOULEVARD                                                                                                 LOS ANGELES      CA           90016
6798745   BANK ROBBER MUSIC LLC O/B/O                               THE NUMERO GROUP                          40 EXCHANGE PLACE                       SUITE 1900                                    NEW YORK         NY           10005
6798734   BANKSIDE FILMS LIMITED                                    ASHLEY HOUSE                              12 GREAT PORTLAND STREET                                                              LONDON                        W1W 8QN       UNITED KINGDOM
6798735   BARBARA DOHERTY                                           19 CANTERBURY ROAD                                                                                                              WOBURN           MA           01801
6798736   BARNESANDNOBLE.COM LLC                                    ATTN; GENERAL MANAGER- EMERGING DIGITAL   76 NINTH AVENUE                         9TH FLOOR                                     NEW YORK         NY           10011
6798737   BARRY RATCLIFFE                                           5643 OAKWOOD DRIVE                                                                                                              MERCERBURG       PA           17236
6798685   BATRAX ENTERTAINMENT                                      SAID BOUDARGA                             STATIONSWEG 32                                                                        AV LEIDEN                     2312          THE NETHERLANDS
6864434   BATRAX ENTERTAINMENT B.V.                                 ATTN: SAID BOURDARGA                      STATIONSWEG 32                                                                        AV LEIDEN                     2312          THE NETHERLANDS




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                                                                                                                   Served First Class Mail
 MMLID                                 NAME                                      ADDRESS                                 ADDRESS 2                          ADDRESS 3               ADDRESS 4              CITY        STATE    POSTAL CODE      COUNTRY
6798674   BAYESCAP PARTNERS LTD                                 HIGHSTONE HOUSE                           ATTN: ISHAN SAKSENA, DIRECTOR           HIGH STREET                     BARNET         HERTFORDSHIRE                 EN5 5SU      UNITED KINGDOM
6798675   BAZAN ENTERTAINMENT MARKETING, INC                    GREG SHAMO                                4 RAINBOW TERRACE                                                                      WEST ORANGE      NJ           07052
6798678   BCKORS, LLC                                           D/B/A MANAGEMENT 360                      9111 WILSHIRE BOULEVARD                                                                BEVERLY HILLS    CA           90210
6798668   BEACHWOOD ENTERTAINMENT, LLC                          C/O LICHTER, GROSSMAN, NICHOLS, ADLER &   ATTN: LINDA LICHTER, ESQ                9200 SUNSET BLVD., SUITE 1200                  WEST HOLLYWOOD   CA           90069
6798669   BECK AVENUE PICTURES, INC.                            1925 CENTURY PARK EAST                    2ND FLOOR                                                                              LOS ANGELES      CA           90067
6864435   BED & BREAKFAST PUBLISHING LTD.                       C/O ZYNC MUSIC GROUP                      243 MULBERRY STREET                     SUITE 4R                                       NEW YORK         NY           10012
6864436   BEGINNERS, LLC                                        C/O FOCUS FEATURESA DIVISION OF NBC       ATTN: ROBIN URDANG                      100 UNIVERSAL CITY PLAZA                       UNIVERSAL CITY   CA           91608
6864437   BEGINNERS, LLC                                        C/O OLYMPUS PICTURES, LLC                 2901 OCEAN PARK BOULEVARD               SUITE217                                       SANTA MONICA     CA           90405
6798673   BENJI HUGHES                                          P.O. BOX 5055                                                                                                                    CHARLOTTE        NC           28229
6798662   BERKLEE COLLEGE OF MUSIC                              1140 BOYLSTON STREET                                                                                                             BOSTON           MA           02215
6798663   BERNADETTE M. COUTURE                                 VISTAS DE LUQUILLO CALLE V2 CASA F28                                                                                             LUQUILLO         PR           00773
6864438   BET PRODUCTIONS IV, LLC                               1235 "W" STREET, N.E.                                                                                                            WASHINGTON       DC           20018
6864439   BIG BLUE BUS                                          CITY OF SANTA MONIA                       1660 7TH STREET                                                                        SANTA MONICA     CA           90401
6798658   BIG DOOR INC                                          114 SHELDON STREET                                                                                                               EL SEGUNDO       CA           90245
6798659   BIG HONCHO MEDIA                                      111 BROADWAY                              STE.505                                                                                NEW YORK         NY           10006
6798660   BIG MONSTER COMAPANY                                  21 S RACINE AVE                                                                                                                  CHICAGO          IL           60607
6864440   BIG PICTURE ENTERTAINMENT                             3524 HAYDEN AVE                                                                                                                  CULVER CITY      CA           90232
6798661   BIG PICTURE ENTERTAINMENT                             ATTN: RYAN HEGENBERGER, MANAGING          3524 HAYDEN AVE.                                                                       CULVER CITY      CA           90232
                                                                                                                                                                                                 SOUTH WEST
6798650   BILL FLAHERTY                                         6330 SW 186 WAY                                                                                                                  RANCHES          FL           33332
6798654   BILL KELLY AND GRENADIER FILMS                        C/O WILLIAM MORRIS ENDEAVOR               ATTN: DANNY GREENBERG                   9601 WILSHRIE BLVD.             3RD FLOOR      BEVERLY HILLS    CA           90210
6864441   BILLIOS PRODUCTIONS, INC.                             2000 AVENUE OF THE STARS                                                                                                         LOS ANGELES      CA           90067
6798652   BILLIOS PRODUCTIONS, INC.                             9150 WILSHIRE BLVD. #350                                                                                                         BEVERLY HILLS    CA           90212
6798653   BILLIOS PRODUCTIONS, INC.                             ATTN: JASON HEYMAN                        2000 AVENUE OF THE STARS                                                               LOS ANGELES      CA           90067
6864442   BILZERIAN ENTERTAINMENT INC.                          F/S/O DAN BILZERIAN                       7455 ARROYO CROSSING PARKWAY            SUITE 220                                      LAS VEGAS        NV           89113
6798644   BIN JYUE INTERNATIONAL CO., LTD                       10684 2F, NO. 240, SEC.1                  DA'AN RD., DA'AN DIST.                                                                 TAIPEI CITY                   106         TAIWAN
6798639   BLACK ENTERTAINMENT TELIVISION                        ATTN: DARRELL E. WALKER,                  EVP & GENERAL COUNSEL                   1235 W STREET, N.E.                            WASHINGTON       DC           20018
                                                                                                                                                                                  150 SOUTH
6798641   BLACK OCEAN FILMS, INC.                               F/S/O CHRISTIAN GUDEGAST                  C/O BLOOM HERGOTT ET AL. LLP            ATTN: PATRICK KNAPP             RODEO DRIVE,   BEVERLY HILLS    CA           90212
6798640   BLACK OCEAN FILMS, INC./ CHRISTIAN GUDAGEST, WRITER   C/O WILLIAM MORRIS ENDEAVOR (WME)         ATTN: CHRIS DONNELLY, AGENT             9601 WILSHIRE BLVD              3RD FLOOR      BEVERLY HILLS    CA           90210
6864443   BLACK OR WHITE FILMS LLC                              ATTN: GENERAL COUNSEL                     PO BOX 601152                                                                          PASADENA         CA           91189
6798642   BLACK TORTOISE                                        C/O ARI SADOWITZ                          219 PROSPECT AVE                                                                       BROOKLYN         NY           11215
6798643   BLACKWHITE                                            4450 LAKESIDE DRIVE                       SUITE225                                                                               BURBANK          CA           91505
6864448   BLACKWHITE, LLC                                       ATTN: GENERAL COUNSEL                     PO BOX 601152                                                                          PASADENA         CA           91189
6864447   BLACKWHITE, LLC                                       C/O ALVAREZ & SHELLEY, P.C.,              ATTN: FRANCIS SHELLEY                   14156 MAGNOLIA BOULEVARD        SUITE 102      SHERMAN OAKS     CA           91423
6864446   BLACKWHITE, LLC                                       C/O ALVEREZ & SHELLY                      PC                                      14156 MAGNOLIA BOULEVARD        SUITE 102      SHERMAN OAKS     CA           90423
6798628   BLACKWHITE, LLC                                       C/O TREEHOUSE FILMS, LLC                  ATTN: JASA MCCALL                       4450 LAKESIDE DRIVE             SUITE 225      BURBANK          CA           91505
6864449   BLACKWHITE, LLC                                       C/O TREEHOUSE FILMS, LLC                  COLE BEHRINGER, TTE BEHRINGER-FUSSELL   4450 LAKESIDE DRIVE             SUITE 225      BURBANK          CA           91505
6798630   BLACKWHITE, LLC                                       TREEHOUSE FILMS, LLC                      4450 LAKESIDE DRIVE                     SUITE 225                                      BURBANK          CA           91505
6798620   BLKBX                                                 6418 SANTA MONICA BLVD.                   SUITE 8200                                                                             LOS ANGELES      CA           90038
6798621   BLKBX CREATIVE GROUP                                  6418 SANTA MONICA BLVD SUITE 82001                                                                                               LOS ANGELES      CA           90038
6864450   BLKBX CREATIVE GROUP                                  ATTN: JEFF HUANG, CEO                     6418 SANTA MONICA BLVD.                 SUITE 8200                                     LOS ANGELES      CA           90038
6798623   BLOOM HERGOTT DIEMER ROSENTHAL LAVIOLETTE FELDMAN &   ATTN: ALAN S. HERGOTT, ESQ.               150 SOUTH RODEO DRIVE, 3RD FLOOR                                                       BEVERLY HILLS    CA           90212
6798624   BLT COMMUNICATIONS, LLC                               6430 SUNSET BLVD.                         8TH FLOOR                                                                              HOLLYWOOD        CA           90028
6798625   BLUE CROSS OF CALIFORNIA                              2011 FRESNO STREET                        #104                                                                                   FRESNO           CA           93721
6798616   BLUE LAKE MUSIC LTD                                   5950 BERKSHIRE LANE                       SUITE 810                                                                              DALLAS           TX           75225
6490505   BLUE LAKE ROMEO MUSIC PUBLISHING                      421 S BEVERLY DRIVE                       6TH FLOOR                                                                              BEVERLY HILLS    CA           90212
6798618   BMG CHRYSALIS                                         1745 BROADWAY                             19TH FLOOR                                                                             NEW YORK         NY           10019
6798619   BMG CHRYSALIS                                         6 EAST 32ND STREET                        11TH FLOOR                                                                             NEW YORK         NY           10016
6798608   BMG CHRYSALIS                                         ATTN: GREGG BARRON                        6 EAST 32ND STREET                      11TH FLOOR                                     NEW YORK         NY           10016
6798611   BMG RIGHTS MANAGEMENT (US) LLC                        1745 BROADWAY                             19TH FLOOR                                                                             NEW YORK         NY           10019
6864451   BMG RIGHTS MANAGEMENT (US) LLC                        C/O BMG CHRYSALIS                         1745 BROADWAY                           19TH FLOOR                                     NEW YORK         NY           10019
6798613   BMG RIGHTS MANAGEMENT (US) LLC ("BMG")                6 EAST 32ND STREET                        11TH FLOOR                                                                             NEW YORK         NY           10016
6798610   BMG RIGHTS MANAGEMENT LLC                             1745 BROADWAY                             19TH FLOOR                                                                             NEW YORK         NY           10019
6864452   BOARDWALK PICTURES                                    1639 11TH STREET                                                                                                                 SANTA MONICA     CA           90404
6798593   BOLD FILMS PRODUCTIONS,LLC                            6464 SUNSET BLVD                          SUITE 800                                                                              LOS ANGELES      CA           90028
6798594   BOOKIT SOFTWARE, LLC                                  7700 SUNSET BLVD                          SUITE 205                                                                              LOS ANGELES      CA           90046
6798595   BOOMGEN STUDIOS,LLC                                   5 DEVOE STREET 2ND FLOOR                                                                                                         BROOKLYN         NY           11211
6798584   BOSS MEDIA                                            P.O. BOX 3243                                                                                                                    VÄXJÖ                         SE-350 53   SWEDEN
6798585   BOW TIE CINEMAS                                       1530 BROADWAY                             3RD FLOOR                                                                              NEW YORK         NY           10036
6798586   BOX INC                                               4440 EL CAMINO REAL                                                                                                              LOS ALTOS        CA           94022
6798587   BOY OF THE YEAR INC.                                  C/O CREATIVE ARTISTS AGENCY               ATTN: TODD FELDMAN                      9830 WILSHIRE BLVD.                            BEVERLY HILLS    CA           90212
6798588   BRAD HOLMES, CEO                                      OUTSOURCE MEDIA GROUP, LLC                9200 WEST SUNSET BLVD.                  SUITE 300                                      LOS ANGELES      CA           90069




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                                                                                                                             Served First Class Mail
 MMLID                                  NAME                                                 ADDRESS                                ADDRESS 2                           ADDRESS 3          ADDRESS 4            CITY         STATE    POSTAL CODE        COUNTRY
6798589   BRAND BOOKING                                                    1384 SAGEBROOK DRIVE                                                                                                         FAIRVIEW          TX         75069
6492670   BRAND X MUSIC, LLC                                               ATTN: MARGARET SAADI KRAMER              842 N. FAIRFAX AVENUE                                                               LOS ANGELES       CA         90046
6798578   BRANDON BURNSIDE                                                 SYNCHRONIC LLC                           6922 HOLLYWOOD BOULEVARD, SUITE 1200                                                HOLLYWOOD         CA         90028
6798580   BRAODCAST MUSIC, INC.                                            320 WEST 57TH STREET                                                                                                         NEW YORK          ny         10019
6798581   BRAVO DESIGN, INC.                                               150 E. OLIVE AVENUE, SUITE 304                                                                                               BURBANK           CA         91502
6864453   BRCR CONSULTING, INC                                             BRET COHEN                               23209 RUNNYMEDE ST                                                                  WEST HILLS        CA         91307
6798575   BRENDEN THEATRES                                                 1985 WILLOW PASS ROAD                                                                                                        CONCORD           CA         94520
6864454   BRETT DAHL                                                       1211 HORN AVE #301                                                                                                           WEST HOLLYWOOD    CA         90069
6798576   BREVITY MUSIC, INC.                                              6423 WILSHIRE BOULEVARD                                                                                                      LOS ANGELES       CA         90048
6798577   BRIAN BIELAWSKI                                                  10849 BLIX ST.                                                                                                               TOLUCA LAKE       CA         91602
6798566   BRIAN POTTER                                                     C/O UNIVERSAL MUSIC PUBLISHING GROUP     2100 COLORADO AVENUE                                                                SANTA MONICA      CA         90404
6798568   BRIDGE ENTERTAINMENT, INC/E-POLL                                 16133 VENTURA BLVD, SUITE 905                                                                                                ENCINO            CA         91436
6864456   BRIGADE MARKETING, LLC                                           548 W 28TH STREET                        STE 332-334                                                                         NEW YORK          NY         10001
6798574   BROADWAY VIDEO ENTERTAINMENT                                     JOHN GOLDWYN                             30 ROCKEFELLER PLAZA                    54TH FLOOR                                  NEW YORK          NY         10112
6798570   BROCKTON PRODUCTIONS INC                                         26056 BATES PL                                                                                                               STEVENSON RANCH   CA         91381
6798571   BROKEN ROAD PRODUCTIONS, INC.                                    F/S/O TODD GARNER                        2121 AVENUE OF THE STARS                # 2560                                      LOS ANGELES       CA         90067
6798562   BROTHERS PRODUCTIONS                                             C/O GARSON STUDIOS,                      1600 ST. MICHAEL'S DRIVE                                                            SANTA FE          NM         87505
6798554   BROTHERS PRODUCTIONS, LLC                                        ATTN: GENERAL COUNSEL                    C/O GARSON STUDIOS,                     1600 ST. MICHAEL'S DRIVE                    SANTA FE          NM         87505
6864458   BROWNE GEORGE ROSS LLP                                           ATTN: GENERAL COUNSEL                    2121 AVENUE OF THE STARS, SUITE 2400                                                LOS ANGELES       CA         90067
6864459   BRUNSWICK GROUP LLC                                              ATTN: STANISLAS NEVE DE MEVERGNIES,      245 PARK AVENUE                         14TH FLOOR                                  NEW YORK          NY         10167
6864460   BRYAN WALSH/DON BUCHWALD & ASSOCIATE                             DEVIN RATRAY                             6500 WILSHIRE BLVD                      SUITE 2200                                  LOS ANGELES       CA         90048
6798555   BRYANT PARK HOTEL                                                40 WEST 40TH STREET                                                                                                          NEW YORK          NY         10018
6486555   BUCK MCDONALD PRODUCTIONS, LLC                                   2115 COLORADO AVENUE                                                                                                         SANTA MONICA      CA         90404
6864461   BUCK MCDONALD PRODUCTIONS, LLC                                   ATTN: BUSINESS AND LEGAL AFFAIRS         2115 COLORADO AVENUE                                                                SANTA MONICA      CA         90404
6798559   BUDDHA JONES LLC                                                 910 N SYCAMORE AVE                                                                                                           HOLLYWOOD         CA         90038
6798548   BUG MUSIC, INC                                                   7750 SUNSET BLD                                                                                                              LOS ANGELES       CA         90046
6798549   BULLARD, GERALD/GEJU THEA                                        PO BOX 68                                                                                                                    MITCHELL          NE         69357
6798505   C. FLETCHER & CO., LLC                                           78 FIFTH AVE., 3RD FLOOR                                                                                                     NEW YORK          NY         10011
6798411   C.M.W. ENTERPRISES, INC.                                         235 PARK AVENUE SOUTH                    10TH FLOOR                                                                          NEW YORK          NY         10003
6798550   CAIN MCKNIGHT                                                    13155 NOEL ROAD RD                                                                                                           DALLAS            TX         75240
6798551   CALCMASTERS INC                                                  ATTN: PATRICIA BLAIR                     PO BOX 412453                                                                       LOS ANGELES       CA         90041
6798552   CALIFORNIA BOOKING SVC.                                          PO BOX 11                                                                                                                    AGOURA            CA         91376
6798542   CAMERA HSY FILMS                                                 C/O WME                                  ATTN: JUNE HORTON, AGENT                9601 WILSHIRE BLVD                          BEVERLY HILLS     CA         90210
6798543   CANDACE BLANCHARD                                                10 GREY GOOSE CT                                                                                                             BILTMORE LAKE     NC         28715
6864462   CANDUFALL PRODUCTIONS, INC.                                      9601 WILSHIRE BLVD. #755                                                                                                     BEVERLY HILLS     CA         90210
6798547   CAPILLARY MUSIC, INC.                                            MR. JOSEPH BISHARA                       16255 VENTURA BOULEVARD, SUITE 509                                                  ENCINO            CA         91436-2310
6798536   CAPITOL RECORDS NASHVILLE                                        3322 WEST END AVE,                       NO. 1100                                                                            NASHVILLE         TN         37203
6798537   CAPS, LLC                                                        10600 VIRGINIA AVENUE                                                                                                        CULVER CITY       CA         90232
6798538   CAPS, LLC                                                        KARLTON WILLIAM HESTER                   10600 VIRGINIA AVENUE                                                               CULVER CITY       CA         90232
6798539   CAPTIVE CINEMA DISTRIBUTION INC                                  3111 CAMINO DELRIO NORTH, SUITE 400                                                                                          SAN DIEGO         CA         92108
6798541   CAPTIVE ENTERTAINMENT, INC.                                      3111 CAMINO DEL RIO NORTH                SUITE 400                                                                           SAN DIEGO         CA         92108
6864465   CARAT USA, INC.                                                  ATTN: GENERAL COUNSEL                    150 EAST 42ND STREET                                                                NEW YORK          NY         10017
6864464   CARAT USA, INC.                                                  ATTN: GENERAL COUNSEL                    2700 PENNSYLVANIA AVE                   2ND FLOOR                                   SANTA MONICA      CA         90404
6864466   CARMIKE CINEMAS                                                  1301 FIRST AVENUE                                                                                                            COLUMBUS          GA         31902
6864467   CARR BUSINESS SYSTEMS                                            130 SPAGNOLL RD                                                                                                              MELVILLE          NY         11747
6480364   CASEY AFFLECK                                                    C/O WILLIAM MORRIS ENDEAVOR              ATTN: SIMON FABER                       9601 WILSHIRE BLVD., THIRD                  BEVERLY HILLS     CA         90210
6798525   CASEY SILVER PRODUCTIONS, INC                                    506 SANTA MONICA BOULEVARD               SUITE 322                                                                           SANTA MONICA      CA         90401
6798526   CASSIDY BANKS, INC                                               C/O SERLING ROOKS FERRARA MCKOY &WAROB   119 FIFTH AVENUE 3RD FLOOR                                                          NEW YORK          NY         10003
6798527   CASSIDY BARKS, INC.                                              C/O SERLING ROLLKS FERRARA MCKOY &       ATTN: JEFFREY A. WOROB, ESQ.            119 FIFTH AVENUE             3RD FLOOR      NEW YORK          NY         10003
6798507   CAST & CREW TALENT SERVICES, LLC                                 ATTN: GENERAL COUNSEL                    2300 EMPIRE AVENUE, 5TH FLOOR                                                       BURBANK           CA         91504
6798513   CAST & CREW TALENT SERVICES, LLC AND/OR CAST & CREW PRODUCTION   2300 EMPIRE AVENUE                       5TH FLOOR                                                                           BURBANK           CA         91504
6798514   CAST & CREW TALENT SERVICES, LLC AND/OR CAST & CREW PRODUCTION   ATTN: JULIE TOTTA                        2300 EMPIRE AVENUE                      5TH FLOOR                                   BURBANK           CA         91504
6798508   CAST SHADOW PRODUCTIONS, LLC                                     5430 BELLINGTON AVE. UNIT 303                                                                                                VALLEY VILLAGE    CA         91607
6864468   CATCHPLAY, INC                                                   PO BOX 897                                                                                                                   GRAND CAYMAN      KY                        CAYMAN ISLANDS
6798510   CATFISH PICTURE COMPANY, LLC                                     ATTN: ANDREW JARECKI AND MARC SMERLING   741 MADISON AVENUE                                                                  NEW YORK          NY         10065
6480115   CB AGENCY SERVICES, LLC                                          Address on File
6798501   CBS                                                              ATTN: NORIKO GEE                         DIRECTOR, PROGRAM PLANNING AND          CBS STUDIO CENTER            4024 RADFORD   STUDIO CITY       CA         91604
6482709   CDW Direct LLC                                                   PO Box 75723                                                                                                                 Chicago           IL         60675
6864469   CENTRAL COAST CINEMAS                                            8500 GRAVES CREEK RD                                                                                                         ASTASCADERO       CA         93422
6798504   CENTURION FILM SERVICE                                           124 AUSTIN LANE                                                                                                              ALAMO             CA         94507
6798496   CHAKERES THEATRES                                                PO BOX 4369                                                                                                                  APOPKA            FL         32712
6864470   CHAMBERS VENTURE CAPITAL, LLC                                    216 WESTMINSTER DR                                                                                                           LEWISVILLE        TX         75056
6798497   CHARLES B. WESSLER ENTERTAINMENT, INC.                           11661 SAN VICENTE BLVD. SUITE 609                                                                                            LOS ANGELES       CA         90049




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 MMLID                                             NAME                                   ADDRESS                                ADDRESS 2                               ADDRESS 3        ADDRESS 4           CITY           STATE    POSTAL CODE       COUNTRY
6798498 CHARLES CARROLL                                                 5361 RUSSELL AVE.                          APT# 313                                                                           LOS ANGELES       CA           90212
6798499 CHARLES HUTTINGER                                               C/O ROOSTER FILMS                          ATTN: CHRISTOPHER SHERMAN                5225 WILSHIRE BOULEVARD    SUITE 701      LOS ANGELES       CA           90036
6798489 CHARLES R. BORDEN                                               204 GARNET COURT                                                                                                              WATERFORD         NY           12188
                                                                        F/S/O JIM SHERIDAN, C/O CREATIVE ARTISTS   ATTN: ROBERT BOOKMAN AND BYRDIE
6798490   CHARTSCRIPT LIMITED                                           AGENCY                                     LIFSON-POMPAN                            2000 AVENUE OF THE STARS                  LOS ANGELES       CA           90067
6798491   CHAUNCEY MUSIC                                                C/O CHAD FISCHER                           12424 WILSHIRE BLVD S. 1150                                                        LOS ANGELES       CA           90402
6864471   CHAVEZ ENTERTAINMENT INC                                      9281 GLENDALE AVE. NE                                                                                                         ALBUEQUERQUE      NM           87122
6798493   CHESTER MUSIC LTD                                             14-15 BERNERS STREET                                                                                                          LONDON                         W1T 3LJ        UNITED KINGDOM
6798482   CHICKS DIG GAY GUYS, LLC                                      404 21 ST STREET                                                                                                              MANHATTAN BEACH   CA           90266
6798483   CHINA FILM PROMOTION INTERNATIONAL                            NO.25, XINWAI STREET                       HAIDIAN DISTRICT                                                                   BEIJING                        100088         CHINA
6798484   CHOPLOGIC MUSIC (ASCAP)                                       1208 MYRA AVENUE                                                                                                              LOS ANGELES       CA           90029
6798485   CHRISTIAN GONZALEZ                                            8 QUAIL COVE RD                                                                                                               ASHEVILLE         NC           28804
6798486   CHRISTIAN J FLETCHER                                          10 BEACHSIDE DR                                                                                                               ISLE OF PAMS      SC           29451
6798487   CHRISTIAN MERCURI                                             RED GRANITE INT.                           9255 SUNSET BLVD                      SUITE 710                                    WEST HOLLYWOOD    CA           90069
6864473   CHRISTIE DIGITAL SYSTEMS USA, INC.                            ATTN: GENERAL COUNSEL                      P.O. BOX 513386                                                                    LOS ANGELES       CA           90051
6864472   CHRISTIE DIGITAL SYSTEMS USA, INC.                            ATTN: JOHN KLINE, COO/RICHARD WALLACE      10550 CAMDEN DRIVE                                                                 CYPRESS           CA           90630
6864479   CHRISTIE/AIX, INC.                                            ATTN: GARY LOFFREDO, GENERAL COUNSEL &     6255 SUNSET BLVD                      SUITE 1025                                   HOLLYWOOD         CA           90028
6864478   CHRISTIE/AIX, INC.                                            C/O ACCESS INTEGRATED TECHNOLOGIES, INC.   ATTN: PRESIDENT, MEDIA SERVICES GROUP 6255 SUNSET BLVD.             SUITE 1025     HOLLYWOOD         CA           90028
6864480   CHRISTINA SIEBENEICHER                                        19780 VISION TRAIL                                                                                                            TOPANGA           CA           90290
6798476   CHRISTINE BERGEN                                              512 MAIN STREET                            STE 1                                                                              EL SEGUNDO        CA           90245
6798477   CHRISTINE BERGEN MUSIC CONSULTING                             DALIA FRANCO SHMUEL                        512 MAIN STREET                          SUITE 1                                   EL SEGUNDO        CA           90245
6798478   CHRISTINE BERGREN MUSIC CONSULTING                            512 MAIN STREET                            SUITE 1                                                                            EL SEGUNDO        CA           90245
6798479   CHRISTINE BERGREN MUSIC CONSULTING                            ATTN: ALLISON CUMMINGS                     512 MAIN STREET                          SUITE 1                                   EL SEGUNDO        CA           90245
6798470   CHRISTOPHER CROSS RECORDS                                     C/O LINDA CALLAWAY                         P.O. BOX 302425                                                                    AUSTIN            tx           78703
6798471   CHRISTY FLETCHER                                              C/O LICHTER, GROSSMAN, NICHOLS, ADLER &    ATTN: LINDA LICHTER                      9200 SUNSET BOULEVARD      SUITE 1200     WEST HOLLYWOOD    CA           90069
6864481   CHRYSALIS MUSIC PUBLISHING, LLC                               8447 WILSHIRE BOULEVARD                    SUITE 400                                                                          BEVERLY HILLS     CA           90211
6798473   CHRYSTAL CAPITAL PARTNERS LLP                                 ATTN: STEPHEN FORD                         48 BERKELEY SQUARE                                                                 LONDON                         W1J 5AX        UNITED KINGDOM
6798474   CHUCK JAMES/ ICM                                              10250 CONSTELLATION BLVD                                                                                                      LOS ANGELES       Ca           90067
6798453   CINE PRODUCTIONS, LLC                                         ATTN: GREG SHAME                           4001 DIVISION ST.                                                                  METAIRIE          LA           70002
6864482   CINEDGIM DIGITAL FUNDING 2,LLC                                55 MADISON AVENUE, SUITE 300                                                                                                  MORRISTOWN        NJ           07960
6864483   CINEDIGM DIGITAL CINEMA CORP.                                 902 BROADWAY 9TH FLOOR                                                                                                        NEW YORK          NY           10010
6864484   CINEDIGM DIGITAL CINEMA CORP.                                 ATTN: SVP GENERAL COUNSEL                  55 MADISON AVENUE, SUITE 300                                                       MORRISTOWN        NJ           07960
6864485   CINEDIGM DIGITAL CINEMA CORP.( AS MANAGER FOR CHRISTIE/AIX,   ACCESS DIGITAL CINEMA PHASE 2, CORP.       6255 SUNSET BLVD                         SUITE 1025                                HOLLYWOOD         CA           90028
6864486   CINEDIGM DIGITAL FUNDING 2, LLC                               ATTN: GENERAL COUNSEL                      902 BROADWAY                             9TH FLOOR                                 NEW YORK          NY           10010
6864487   CINEDIGM DIGITAL FUNDING 2,LLC                                55 MADISON AVENUE, SUITE 300                                                                                                  MORRISTOWN        NJ           07960
6864490   CINEDIGM DIGITAL FUNDING I, LLC                               55 MADISON AVENUE, SUITE 300                                                                                                  MORRISTOWN        NJ           07960
6864489   CINEDIGM DIGITAL FUNDING I, LLC                               AS ASSIGNEE OF CHRISTIE/AIX, INC.          55 MADISON AVENUE                        SUITE 300                                 MORRISTOWN        NJ           07960
6864488   CINEDIGM DIGITAL FUNDING I, LLC                               ATTN: GENERAL COUNSEL                      902 BROADWAY                             9TH FLOOR                                 NEW YORK          NY           10010
6798475   CINEFINANCE INSURANCE SERVICES LLC FOR AND ON BEHALF OF       HOUSTON CASUALTY COMPANY                   ATTN: FRED MILSTEIN, PRESIDENT           1875 CENTURY PARK EAST     SUITE 1970     LOS ANGELES       CA           90067
6798464   CINEMA BOOKING SERVICE                                        PO BOX 920827                                                                                                                 NEEDHAM           MA           02492
6798465   CINEMA DIGITAL FUNDING I LLC                                  1901 AVENUE OF THE STARS                   12TH FLOOR                                                                         LOS ANGELES       CA           90067
6798466   CINEMA ENTERTAINMENT                                          1621 WEST DIVISION ST.                                                                                                        WAITE PARK        MN           56387
6798467   CINEMA FILM BUYING                                            1245 HANCOCK STREET                        SUITE 11                                                                           QUINCY            MA           02169
6798468   CINEMA LINKS                                                  PO BOX 422                                                                                                                    CHOCORUA          NH           03817
6798469   CINEMA MANAGEMENT                                             80 PINE HILL ROAD                                                                                                             CAPE NEDDICK      ME           03902
6798459   CINEMA SELECTIONS                                             180 BEACON STREET, #3A                                                                                                        BOSTON            MA           02116
6864491   CINEMA SERVICE (TX)                                           12201 MERIT DRIVE                          SUITE 650                                                                          DALLAS            TX           75251
6864492   CINEMA SERVICES (NJ)                                          97 MAIN STREET                                                                                                                CHATHAM           NJ           07928
6798462   CINEMA STAR                                                   1949 AVENIDA DEL ORO                       #100                                                                               OCEANSIDE         CA           92056
6798463   CINEMA WEST                                                   515 E WASHINGTON ST                                                                                                           PETALUMA          CA           94952
6798458   CINEMARK                                                      3900 DALLAS PARKWAY                        SUITE 500                                                                          PLANO             TX           75093
6798454   CINRAM GROUP INC                                              2255 MARKHAM ROAD                                                                                                             SCARBOROUGH       ON           M1B 2W3        CANADA
6864493   CINRAM GROUP INC                                              ATTN: FRED RUDOLPH, EVP                    2255 MARKHAM ROAD                                                                  SCARBOROUGH       ON           M1B 2W3        CANADA
6798446   CINRAM, INC.                                                  ATTN: HOWARD Z. BERMAN, SENIOR             2255 MARKHAM ROAD                                                                  SCARBOROUGH       ON           M1B 2W3        CANADA
6798457   CINRAM, INC.                                                  C/O CINRAM INTERNATIONAL INC.              ATTN: JOHN BELL, CHIEF FINANCIAL         2255 MARKHAM ROAD                         SCARBOROUGH       ON           M1B 2W3        CANADA
6798456   CINRAM, INC.                                                  C/O CINRAM INTERNATIONAL, INC.             2255 MARKHAM ROAD                                                                  SCARBOROUGH       ON           M1B 2W3        CANADA
6798447   CIONA JOHNSON-KING                                            93 CHICHELE ROAD                                                                                                              LONDON                         NW2 3AT        UNITED KINGDOM
6864494   CIT BANK, N.A.                                                ATTN: CLIENT BANKING SERVICES              155 NROTH LAKE AVE.                      (LK-03-17)                                PASADENA          CA           91101
6864496   CIT BANK, N.A.                                                ATTN: GENERAL COUNSEL                      17001 COLLINS AVE., SUITE 4305                                                     NORTH MIAMI       FL           33160
6864497   CIT BANK, N.A.                                                ATTN: GENERAL COUNSEL                      2450 BROADWAY AVENUE                     4TH FLOOR                                 SANTA MONICA      CA           90404
6864498   CIT BANK, N.A.                                                ATTN: GENERAL COUNSEL                      CLIENT BANKING SERVICES                  155 NORTH LAKE AVE.        (LK-03-17)     PASADENA          CA           91101
6864500   CIT BANK, N.A.                                                ATTN: JAMES K. SIMONS AND DAISY STALL      2450 BROADWAY AVENUE                     4TH FLOOR                                 SANTA MONICA      CA           90404
6864499   CIT BANK, N.A.                                                COMMERCIAL LOAN AND AGENCY SERVICES        ATTN: TROY HENDRIX                       888 E. WALNUT STREET       5TH FLOOR      PASADENA          CA           91101




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                                                                                                                        Served First Class Mail
 MMLID                                  NAME                                              ADDRESS                              ADDRESS 2                           ADDRESS 3              ADDRESS 4           CITY          STATE    POSTAL CODE       COUNTRY
6864502   CITIZEN SNOW FILM PRODUCTIONS, INC.                           314- 1777 CARRIE- DERICK                                                                                                      MONTREAL           QC         H3C 6G2      CANADA
6864503   CITIZEN SNOW FILM PRODUCTIONS, INC.                           ATTN: JEFF WAXMAN                      1777 CARRIE DERICK                      SUITE 314                                      MONTREAL           QC         H3C 6G2      CANADA
6864504   CITY CINEMAS READING                                          182 2ND AVENUE                         SUITE 2N                                                                               NEW YORK           NY         10003
6798442   CITY NATIONAL BANK                                            400 N ROXBURY DR                                                                                                              BEVERLY HILLS      CA         90210
6864506   CITY NATIONAL BANK                                            ATTN: STEVEN SHAPIRO, SVP              ENTERTAINMENT DIVISION                  400 ROXBURY DRIVE                3RD FLOOR     BEVERLY HILLS      CA         90210-5021
6798434   CITY NATIONAL BANK                                            WEALTH MANAGEMENT SERVICES--BUSINESS   555 S. FLOWER STREET                    12TH FLOOR                                     LOS ANGELES        CA         90071
6798436   CJ 4DPLEX AMERICAS,LLC                                        5700 WILSHIRE BLVD.                    SUITE 550                                                                              LOS ANGELES        CA         90036
6798428   CLARIUS BIGS, LLC                                             9100 WILSHIRE BLVD                     SUITE 520E                                                                             BEVERLY HILLS      CA         90212
6864507   CLARIUS BIGS, LLC                                             ATTN: WILLIAM SADLEIR                  9100 WILSHIRE BLVD.                                                                    BEVERLY HILLS      CA         90212
6798433   CLARK FILM BUYING                                             PO BOX 10517                                                                                                                  BOZEMAN            MT         59719
6798423   CLARK THEATRE SERVICE, INC.                                   PO BOX 610727                                                                                                                 PORT HURON         MI         48061
6798422   CLARK THEATRES                                                501 PLAZA DRIVE                                                                                                               ENTERPRISE         EZ         36330
6798424   CLEAN YOUR HOMEFISH MUSIC                                     2020 UNION STREET                                                                                                             SAN FRANCISCO      CA         94133
6798425   CLEAN YOUR HOMEFISH MUSIC                                     PROVIDENT FINANCIAL MANAGEMENT         ATTN: BRIAN REYNOLDS                    2020 UNION STREET                              SAN FRANCISCO      ca         94123
6798426   CLEARED BY ASHLEY, INC.                                       ASHLEY KRAVITZ                         6049 LAKE LINDERO DRIVE                                                                AGOURA HILLS       CA         91301
6798427   CLEARED BY ASHLEY, INC.                                       ASHLEY KRAVITZ                         6049 LAKE LINERO DRIVE                                                                 AGOURA HILLS       CA         91301
6798417   CLEARVIEW CINEMA CORP.                                        97 MAIN STREET                                                                                                                CHATHAM            NJ         07928
6798418   CLIFF DORFMAN INC./ CLIFF DORFMAN, WRITER                     C/O MCKUIN FRANKEL WHITEHEAD LLP       ATTN: JEFF FRANKEL                      141 EL CAMINO DRIVE              SUITE 100     BEVERLY HILLS      CA         90212
6798419   CLIFF DORFMAN, INC.                                           C/O MCKUIN FRANKEL WHITEHEAD LLP       ATTN: JEFF FRANKEL                      141 EL CAMINO DRIVE              SUITE 100     BEVERLY HILLS      CA         90212
6798420   CLOAK AND DAGGER, INC.                                        10250 CONSTELLATION BLVD                                                                                                      LOS ANGELES        CA         90067
6798421   CMCI                                                          326 BALLARDVALE STREET                                                                                                        WILMINGTON         MA         01887
6798410   CMT                                                           330 COMMERCE STREET                                                                                                           NASHVILLE          TN         37201
6798412   COBB THEATRES III LLC                                         1384 SAGEBROOK DRIVE                                                                                                          FAIRVIEW           TX         75069
6798413   CODY JOHNS                                                    C/O WILLIAMS MORRIS AGENCY             9601 WILSHIRE BLVD                                                                     BEVERLY HILLS      CA         90210
6864508   COHN REZNICK                                                  RAJIV MEHRA, CPA                       21700 OXNARD STREET                     7TH FLOOR                                      WOODLAND HILLS     CA         91367
6864509   COINFISH PUBLISHING                                           6351 WILSHIRE BLVD                                                                                                            LOS ANGELES        CA         90048
6798404   COLDEN MCKUIN & FRANKEL, LLP                                  141 EL CAMINO DRIVE, SUITE 100                                                                                                BEVERLY HILLS      CA         90212-2717
6864510   COLIN, JEZ                                                    HI-FINESSE MUSIC AND SOUND LLC         1102 GRANT AVENUE                                                                      VENICE             CA         90291
6798409   COLUMBIA PICTURES INDUSTRIES, INC.                            ATTN: GENERAL COUNSEL                  10202 WEST WASHINGTON BOULEVARD         CAPRA BUILDING                   SUITE 2500    CULVER CITY        CA         90232
6864512   COMERICA BANK                                                 ATTN: GENERAL COUNSEL                  2000 AVENUE OF THE STARS                SUITE 210                                      LOS ANGELES        CA         90067
6864511   COMERICA BANK                                                 ATTN: MARIBETH GOMEZ                   2000 AVENUE OF STARS, SUITE 210                                                        LOS ANGELES        CA         90067
6864513   COMERICA ENTERTAINMENT GROUP                                  COMERICA BANK                          ATTN: JEFF COLVIN, ADAM KORN AND        200 AVENUE OF THE STARS, SUITE                 LOS ANGELES        CA         90067
6798403   COMMON WALL MEDIA LLC                                         ATTN: CHUCKIE DUFF                     1402 E. CAROLINE LANE                                                                  TEMPE              AZ         85284
6798392   COMPLETE BOOKING SERVICE                                      5014 E LIBERTY HILL ROAD                                                                                                      YORK               SC         29745
6798393   COMPREHENSIVE FILM BKG                                        9800 MEDLOCK BRIDGE RD                 SUITE 1                                                                                DULUTH             GA         30097
6864514   CONCEPT ARTS                                                  6422 SELMA AVENUE                                                                                                             LOS ANGELES        CA         90028
6798397   CONDE NAST ENTERTAINMENT LL, F/S/O JEREMY STECKLER            1 WORLD TRADE CENTER                                                                                                          NEW YORK           NY         10007
6798396   CONDE NAST ENTERTAINMENT LLC                                  1 WORLD TRADE CENTER                                                                                                          NEW YORK           NY         10007
6798386   CONSTANTIN FILM VERLEIH GMBH                                  MATTHIAS PEIPP                         GERO WORSTBROCK                         FEILITZSCHSTRASSE 6                            MUNCHEN                       80802        GERMANY
6864515   CONSULTA FILMS LIMITED F/S/O PIERRE SPENGLER                  WICKHAM CAY                                                                                                                                                              BRITISH VIRGIN
6798388   CONTINENTAL FILM SVCS.                                        20131 GOLD FLAT COURT                                                                                                         HIDDEN VALLEY LK   CA         94567
6798389   CONTINENTAL PICTURES, LP                                      ATTN: BENJAMIN WAISBREN                5200 NORTH LAKE DRIVE                                                                  WHITEFISH BAY      WI         53217
6798380   COOP THEATES/BOOKING                                          1413 GOLDEN GATE BLVD.                 SUITE 205                                                                              MAYFIELD HEIGHTS   OH         44124
6864516   CORBIS CORPORATION                                            6060 CENTER DRIVE                      SUITE 950                                                                              LOS ANGELES        CA         90045
6864517   CORBIS ENTERTAINMENT                                          6060 CENTER DRIVE                      STE 950                                                                                LOS ANGELES        CA         90045
6798383   CORMERICA PRODUCTIONS, INC                                    1232 N. POINSETTIA PLACE                                                                                                      WEST HOLLYWOOD     CA         90046
6798384   COR-O-VAN                                                     P.O. BOX 840778                                                                                                               LOS ANGELES        CA         90084
6798385   CORTLAND CAPITAL MARKET                                       BEATA KONOPKO                          DIRECTOR                                225 W. WASHINGTON ST.            21ST FLOOR    CHICAGO            IL         60606
6864518   CORTLAND CAPITAL MARKET SERVICES LLC                          225 W WASHINGTON STREET                SUITE 1450                                                                             CHICAGO            IL         60606
6798374   CORTLAND CAPITAL MARKET SERVICES LLC                          225 WEST WASHINGTON                    21ST FLOOR                                                                             CHICAGO            IL         60606
6798369   CORTLAND CAPITAL MARKET SERVICES LLC                          ASLAM A. AZEEM                         ASSOCIATE DIRECTOR                      225 W. WASHINGTON                              CHICAGO            IL         60606
6798371   CORTLAND CAPITAL MARKET SERVICES LLC                          ATTN: MIKE FREDIAN                     225 WEST WASHINGTON STREET              SUITE 2100                                     CHICAGO            IL         60606
6798370   CORTLAND CAPITAL MARKET SERVICES LLC                          MARC FRIESS                            225 W. WASHINGTON ST.                                                                  CHICAGO            IL         60606
6798372   COUNSEIL DU QUEBEC DE LA GUILDE CANADIENNE DES REALISATEURS   4200 SAINT-LAURENT BOULEVARD           SUITE 708                                                                              MONTREAL           QC         H2W 2R2      CANADA
6864519   CRAIG G LASHLEY                                               6404 MARVIN GARDENS                                                                                                           TOBYHANNA          PA         18466
6798362   CRASH KINGS                                                   C/O DAVIS SHAPIRO & LEWIT, LLP         ATTN: JEFF LEVEN, ESQ.                  689 5TH AVENUE                   5TH FLOOR     NEW YORK           NY         10022
6798363   CREATE ADVERTISING                                            6022 WASHINGTON BLVD.                                                                                                         CULVER CITY        CA         90232
6798364   CREATIVE ARTISTS AGENCY                                       BARRY LEVINE, JESSE BERGER             2000 AVENUE OF THE STARS                                                               LOS ANGELES        CA         90067
6798365   CREATIVE ARTISTS AGENCY                                       F/S/O TOMMY WIRKOLA                    ATTN: DAN RABINOW                       2000 AVENUE OF THE STARS                       LOS ANGELES        CA         90067
6798366   CREATIVE ENTER/DESTINTA                                       11 KIPP AVENUE                                                                                                                LODI               NJ         07644
6798367   CREATIVE ENTER/N GUADAGNO                                     23 W WESTFIELD AVE                     2ND FLOOR LEFT                                                                         ROSELLE PARK       NJ         07204
6798356   CREATIVE SOUNDSCAPES, INC.                                    1930 N MAIN STREET                                                                                                            LOS ANGELES        CA         90031-3217
6798357   CREATIVE SOUNDSCAPES, INC.                                    CATO KYVIK, AN AUTHORIZED SIGNATORY    1930 N MAIN STREET                                                                     LOS ANGELES        CA         90031




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                                                                                                                       Schedule G Parties Service List
                                                                                                                          Served First Class Mail
 MMLID                                   NAME                                           ADDRESS                                 ADDRESS 2                          ADDRESS 3                ADDRESS 4               CITY         STATE    POSTAL CODE      COUNTRY
6798359   CREATIVE VISION GRAPHICS, INC.                              6850 VINELAND AVE.                         BLDG F                                                                                     NORTH HOLLYWOOD   CA         91605
6798360   CRESA LLC                                                   ATTN: GENERAL COUNSEL                      200 STATE STREET                        13TH FLOOR                                         BOSTON            MA         02109
6798361   CRITICAL TV, LLC                                            ATTN: GENERAL COUNSEL                      1040 N. LAS PALMAS AVE.                 BLDG. 40                                           HOLLYWOOD         CA         90038
6798350   CRUCIAL MUSIC CORPORATION                                   31748 BROAD BEACH ROAD                                                                                                                MALIBU            CA         90265
6864521   CRUCIAL MUSIC CORPORATION OBO ASTONISHING MUSIC AND MUSIC   31748 BROAD BEACH ROAD                                                                                                                MALIBU            CA         90265
6798352   CRYSTAL TRAN                                                11005 MORRISON ST. #301                                                                                                               NORTH HOLLYWOOD   CA         91601
6798346   CURB RECORDS, INC.                                          49 MUSIC SQUARE E                                                                                                                     NASHVILLE         TN         37203
6798349   CYNTHIA ERIVO                                               10 HALDANE ROAD EAST HAM                                                                                                              LONDON ENGLAND               E63JJ        UNITED KINGDOM
6864522   D FILMS CORPORATION                                         2 ST. CLAIR AVENUE EAST                    SUITE 903                                                                                  TORONTO           ON         M4T 2T5      CANADA
6798338   DAISY STALL                                                 2450 BROADWAY AVE, SUITE 400                                                                                                          SANTA MONICA      CA         90404
6798339   DALIA FRANCO SHMUEL                                         CHRISTINE BERGREN MUSIC CONSULTING         512 MAIN STREET                         SUITE 1                                            EL SEGUNDO        CA         90245
6798342   DALLAS J. EDWARDS                                           TAMERA EDWARDS                             494 LOUISIANA AVE.                                                                         SALUDA            NC         28773
6798343   DAMIEN J LUBANK                                             861 N ALTA VISTA BLVD                                                                                                                 LOS ANGELES       CA         90046
6798332   DAMMAGE 7, INC.                                             C/O HIRSCH WALLERSTEIN HAYUM ET AL.        10100 SANTA MONICA BLVD                                                                    LOS ANGELES       CA         90067
6798333   DAN BILZERIAN                                               7455 ARROYO CROSSING PARKWAY               SUITE 220                                                                                  LAS VEGAS         NV         89113
                                                                                                                                                                                          1801 CENTURY
6798334   DAN GORDON, INC.                                            DAN GORDON, WRITER                         C/O RESOLUTION ENTERTAINMENT            ATTN: JEFF BERG, AGENT           PARK EAST, 23RD   LOS ANGELES       CA         90067
6864524   DANA BRUNETTI                                               ATTN: GENERAL COUNSEL                      ATTN: FRANK SELVAGGI                    200 PARK AVENUE SOUTH            8TH FLOOR         NEW YORK          NY         10003
6864526   DANA BRUNETTI                                               C/O ALTMAN GREENFIELD & SELVAGGI           ATTN: FRANK SELVAGGI                    200 PARK AVENUE SOUTH            8TH FLOOR         NEW YORK          NY         10003
6864525   DANA BRUNETTI                                               C/O ALTMAN GREENFIELD & SELVAGGI           ATTN: FRANK SELVAGGI                    421 SOUTH BEVERLY DRIVE          8TH FLOOR         NEW YORK          NY         10003
6864527   DANA BRUNETTI C/O EVAN LOWENSTEIN                           ATTN: GENERAL COUNSEL                      409 WEST OLYMPIC BLVD #510                                                                 LOS ANGELES       CA         90015
6798335   DANIEL ALTER                                                ATTN: GENERAL COUNSEL                      16654 SOLEDAD CANYON RD., #242                                                             CANYON COUNTRY    CA         91387
6798326   DANIEL FEGAN                                                323 N. PACIFIC COAST HWY.                                                                                                             SOLANA BEACH      CA         92075
6798327   DANIEL KOPLOWITZ D/B/A FRIENDLY FIRE RECORDINGS             3727 25TH STREET                                                                                                                      SAN FRANCISCO     CA         94110
6798330   DANIEL SCOTT LUMPKIN                                        16901 SWEENY RD                                                                                                                       SUMMERDALE        AL         36580
6798328   DANIELLE PELLAND                                            C/O LICHTER, GROSSMAN, NICHOLS, ADLER &    ATTN: LINDA LICHTER, ESQ                9200 SUNSET BLVD., SUITE 1200                      WEST HOLLYWOOD    CA         90069
6798329   DANIELLE RENE                                               1942 HOLLY DR., #4                                                                                                                    LOS ANGELES       CA         90068
6798331   DANNY COMDEN                                                2013 OAKWOOD AVE                                                                                                                      VENICE            CA         90291
6798320   DANY GARCIA                                                 C/O GANG TYRE, RAMNER & BROWN, INC.        132 SOUTH RODEO DRIVE                                                                      BEVERLY HILLS     CA         90212
6798321   DAPHNE YANG                                                 CATCHPLAY, INC.                            8F, NO. 34, BADE RD.                    SEC 3                                              TAIPEI                                    TAIWAN
6798324   DAVE AND RON PRODUCTIONS, INC.                              C/O FELKER TOCZEK, GELLMAN AND             ATTN: BRUCE GELLMAN                     10880 WILSHIRE BLVD., SUITE                        LOS ANGELES       CA         90024
6798314   DAVID COHEN                                                 C/O INTERNATIONAL CREATIVE MANAGEMENT      ATTN: KATHLEEN REMINGTON                10250 CONSTELLATION                                LOS ANGELES       CA         90067
6798315   DAVID O. RUSSELL                                            C/O CREATIVE ARTISTS AGENCY                ATTN: JOSH LIEBERMAN AND JOHN CAMPISI   2000 AVENUE OF THE STARS                           CENTURY CITY      CA         90067
6798316   DAVID SARDY                                                 C/O KING, HOLMES, PATERNO & BERLINER,LLP   ATTN: PETER PATERNO, ESQ.               1900 AVENUE OF THE STARS         25TH FLR.         LOS ANGELES       CA         90067
6798317   DAVID SHANE                                                 C/O DAVID SHANE STRATEGIES, LLC            1232 N. KINGS ROAD                      APT. 205                                           WEST HOLLYWOOD    CA         90069
6798311   DAVIS.FLOYD M BOOKING                                       5809 LAKESIDE AVENUE                       SUITE G1-F                                                                                 RICHMOND          VA         23228
                                                                                                                 THROUGH ITS DIVISION CONDE NAST
6864528   DAWN OSTROFF                                                C/O ADVANCE MAGAZINE PUBLISHERS INC.       ENTERAINMENT                            FOUR TIMES SQUARE                                  NEW YORK          NY         10036
6798313   DAWN OSTROFF                                                C/O ADVANCE MAGAZINE PUBLISHERS INC.       DIVISION CONDE NAST ENTERTAINMENT       ATTN: ERIC SHERMAN               1801 CENTURY      LOS ANGELES       CA         90067
6798302   DC SLEEPS LLC OBO DYING SONGS                               C/O ZEITGEIST ARTIST MANAGEMENT LTD.       660 YORK STREET                         S. 216                                             SAN FRANCISCO     CA         94110
6798303   DC SLEEPS LLC OBO WHERE I'M CALLING FROM SONGS              C/O ZEITGEIST ARTIST MANAGEMENT LTD.       600 YORK STREET                         S. 216                                             SAN FRANCISCO     CA         94110
6798304   DDA EVENT MANAGMENT LTD                                     192-198 VAUXHALL BRIDGE ROAD                                                                                                          LONDON                       SW1V 1DX     UNITED KINGDOM
6798305   DDA PUBLIC RELATIONS LIMITED                                192-198 VAUXHALL BRIDGE RD                 2ND FL                                                                                     LONDON                       SW1V 1DX     UNITED KINGDOM
6798298   DE ANZA LAND & LEISURE                                      1615 CORDOVA STREET                                                                                                                   LOS ANGELES       CA         90007
6864529   DEAD OCEAN, INC.                                            1499 WEST 2ND ST.                                                                                                                     BLOOMINGHTON      IN         47403
6798297   DEAD VERTICLE, INC. F/S/O MATTHEW JOHNSON                   C/O UNITED TALENT AGENCY                   ATTN: KEYA KHAYATIAN                    9560 WILSHIRE BLVD., SUITE 500                     BEVERLY HILLS     CA         90212-2401
6798290   DEBMERICA, INC. F/S/O DEBORAH LURIE                         KRAFT-ENGEL MANAGEMENT                     ATTN: LAURA ENGEL                       15233 VENTURA BLVD.                                SHERMAN OAKS      CA         91403
6471626   DELICIOUS VINYL, LLC                                        6607 SUNSET BLVD.                                                                                                                     LOS ANGELES       CA         90028
6798292   DELOITTE TRANSACTIONS AND BUSINESS ANALYTICS LLP            555 WEST 5TH STREET                        SUITE 2700                                                                                 LOS ANGELES       CA         90013
6798293   DELTA VIDEO SAC                                             AV. AVIACION 3362                          PASAJE FRANCO ALFARO 150                                                                   LIMA 41                                   PERU
6798295   DELUXE DIGITAL CINEMA, INC.                                 ATTN: SHARRA UPDIKE                        2233 N. ONTARIO ST. SUITE 300                                                              BURBANK           CA         91504
6798284   DENGA MUSIC                                                 1058 BROADMOOR ROAD                                                                                                                   BRYN MAWR         PA         19010
6798285   DENNIS LAMBERT                                              C/O UNIVERSAL MUSIC PUBLISHING GROUP       2100 COLORADO AVENUE                                                                       SANTA MONICA      CA         90404
6798286   DENNIS O' CONNER FILMING MARKETING, LLC                     DENNIS O'CONNER                            11454 DONA DOLORES PLACE                                                                   STUDIO CITY       CA         91604
6798287   DEREK KOLSTAD                                               C/O APA                                    ATTN: MIKE GOLDBERG                     405 SOUTH BEVERLY DRIVE                            BEVERLY HILLS     CA         90212
6864532   DESERT DANCER PRODUCTIONS LTD.                              9665 WILSHIRE BLVD                         5TH FLOOR                                                                                  BEVERLY HILLS     CA         90212
                                                                                                                 C/O STONE, MEYER, GENOW, SMELKINSON
6798289   DESERT DANCER PRODUCTIONS LTD.                              RICHARD RAYMOND, COMPANY DIRECTOR          & BINDER, LLP                           9665 WILSHIRE BLVD.              5TH FLOOR         BEVERLY HILLS     CA         90212
6798278   DEVIL'S COUNTRY, INC. F/S/O ANDREW LOBEL                    C/O LICHTER, GROSSMAN, NICHOLS, ADLER &    ATTN: STEPHEN CLARK                     9200 SUNSET BLVD                                   WEST HOLLYWOOD    CA         90069
6864533   DEVIN RATRAY                                                C/O BRYAN WALSH/DON BUCHWALD               6500 WILSHIRE BOULEVARD                 SUITE 2200                                         LOS ANGELES       CA         90048
6798283   DIA FRAMPTON                                                THESE ARE SONGS OF PULSE C/O PULSE         ATTN: JODY IKEHARA                      16130 VENTURA BOULEVARD          SUITE 560         ENCINO            CA         91436
6798274   DICKINSON                                                   6801 W 107TH STREET                                                                                                                   OVERLAND PARK     KS         66212
6798275   DICKON HINCHLIFFE                                           C/O FIRST ARTISTS MANAGEMENT               ATTN: ROBERT MESSINGER                  4764 PARK GRANADA                SUITE 210         CALABASAS         CA         91302




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                                                                                                                         Schedule G Parties Service List
                                                                                                                            Served First Class Mail
 MMLID                                    NAME                                            ADDRESS                                  ADDRESS 2                          ADDRESS 3             ADDRESS 4            CITY           STATE    POSTAL CODE       COUNTRY
6798276   DICKSON                                                       6801 W. 107TH STREET                                                                                                             OVERLAND PARK     KS           66212
6798277   DIGIHEARIT?INC.                                               DBA UPDOWN SOUND                           ATTN: MS MARY CATHERINE FINNEY          1825 STANFORD ST.                             SANTA MONICA      CA           90404
6864535   DIGITAL CINEMA IMPLEMENTATION PARTNERS, LLC.                  ATTN: CEO                                  ONE INTERNATIONAL BLVD., 9TH FLOOR                                                    MAHWAH            NJ           07495
6864534   DIGITAL CINEMA IMPLEMENTATION PARTNERS, LLC.                  C/O LOEB & LOEB                            ATTN: GENERAL COUNSEL                   10100 SANTA MONICA BLVD.      SUITE 2200      LOS ANGELES       CA           90067
6798261   DIGITAL CINEMA IMPLEMENTATION PARTNERS, LLC.                  ONE INTERNATIONAL BOULEVARD                9TH FLOOR                                                                             MAHWAH            NJ           07495
6864536   DIGITAL CINEMA INITIATIVES, LLC.                              ATTN: JOHN M KLINE, PRESIDENT/COO          10550 CAMDEN DRIVE                                                                    CYPRESS           CA           90630
6798262   DIGITAL CONTENT LLC                                           3-TH KHOROO                                PEACE AVENUE, PEACE TOWER RM 1408                                                     ULAANBAATAR                                   MONGOLIA
6864537   DIGITAL MEDIA MANAGEMENT ("DM2")                              8444 WILSHIRE BOULEVARD                    3RD FLOOR                                                                             BEVERLY HILLS     CA           90211
6864538   DIGITAL MEDIA MANAGEMENT INC                                  8444 WILSHIRE BOULEVARD                    3RD FLOOR                                                                             BEVERLY HILLS     CA           90211
6864539   DIGITAL MEDIA MANAGEMENT, INC (DMM)                           8444 WILSHIRE BLVD, 5TH FLOOR                                                                                                    BEVERLY HILLS     CA           90211
6798254   DILVA SCREEN RECORDS LTD                                      3 PROWSE PLACE                                                                                                                   LONDON                         NW19PH         UNITED KINGDOM
6798255   DIN MAK RECORDS                                               1643 COSMO ST.                                                                                                                   LOS ANGELES       CA           90028
6798225   DIRECTORS GUILD OF AMERICA                                    ATTN: MARILYN ECKERLIN, SIGNATORIES        7920 SUNSET BLVD                                                                      LOS ANGELES       CA           90046
6798226   DIRECTORS GUILD OF AMERICA                                    ATTN: REPORTS COMPLIANCE DEPT              C/O GINA PRINCE BYTHEWOOD               7920 SUNSET BLVD                              LOS ANGELES       CA           90046
6798228   DIRECTORS GUILD OF AMERICA                                    ATTN: SIGNATORIES & REPORTS COMPLIANCE     7920 SUNSET BLVD.                                                                     LOS ANGELES       CA           90046
6798229   DIRECTORS GUILD OF AMERICA                                    ATTN: WARREN ADLER, ASSOC. NATIONAL        DIRECTORS GUILD OF AMERICA, INC.        7920 SUNSET BLVD.                             LOS ANGELES       CA           90046
6798224   DIRECTORS GUILD OF AMERICA                                    JAY D. ROTH, NATIONAL EXECUTIVE DIRECTOR   7920 SUNSET BLVD.                                                                     LOS ANGELES       CA           90048
6798227   DIRECTORS GUILD OF AMERICA                                    SEBASTIAN MAZZOZA                          3208 CAMDEN CIRCLE                                                                    WILMINGTON        NC           28403
6798219   DIRECTORS OF THE MOTION PICTURE INDUSTRY PENSION AND HEALTH   11365 VENTURA BOULEVARD                                                                                                          STUDIO CITY       CA           91604
6798220   DIRECTV                                                       ATTN: RENE WEAVER, VP, CONTENT &           2230 EAST IMPERIAL HIGHWAY                                                            EL SEGUNDO        CA           90245
6798221   DISAPPEARING ONE (ASCAP)                                      C/O GELFAND RENNER & FELDMAN, LLP          ATTN: MARK GOODMAN, CPA                 1880 CENTURY PARK EAST        #1600           LOS ANGELES       CA           90067
6798222   DISH NETWORK, LLC                                             9601 SOUTH MERIDIAN BOULEVARD                                                                                                    ENGLEWOOD         CO           80112
6864540   DISTORTION PARTNERSHIP LLC                                    ATTN: MR. STEVE WINOGRADSKY                P.O. BOX 937                                                                          BEVERLY HILLS     CA           90213
6798212   DISTRICT MUSIC LLC                                            8439 SUNSET BLVD 2ND FL                                                                                                          LOS ANGELES       CA           90069
6798213   DISTRICT MUSIC LLC                                            8439 SUNSET BLVD.                          2ND FLOOR                                                                             LOS ANGELES       CA           90069
6798215   DJ STARKEYMUSIK                                               4366 SEABREEZE DRIVE                                                                                                             JACKSONVILLE      FL           32250
6798214   DJH MANAGEMENT                                                105 W 4TH STREET                           SUITE 1000                                                                            CINCINNATI        OH           45202
6798216   DMRG, INC.                                                    303 WEST WINDSOR                                                                                                                 LOMBARD           IL           60148
                                                                                                                                                                                                         WIGTOWN NEWTOWN
6798217   DOCUMENT RECORDS LTD.                                         UNIT 2C, CREEK ROAD                        BLADNOCH BRIDGE ESTATE                                                                STEWART                        DG8 9AB        UNITED KINGDOM
6798206   DOMINO PUBLISHING COMPANY OF AMERICA INC                      55 WASHINGTON ST                           SUITE 458                                                                             NEW YORK          NY           11201
6798201   DON KEITH                                                     40 RED STICK ROAD                                                                                                                PELHAM            AL           35124
6798202   DONKEY BONE, INC                                              1630 STEWART ST                            STE 120                                                                               ELMONT            NY           11003
6864542   DORORTHY OF OZ, LLC                                           3600 WESY OLIVE AVE.                       SUITE 500                                                                             BURBANK           CA           91505
                                                                        AND THE ESTATE OF TYRONE WOODS (THE                                                                              9301 WILSHIRE
6798204 DOROTHY NARVAEZ-WOODS                                           ESATE)                                     C/O ONE LLP                             ATTN: MARK FLEISCHER          BOULEVARD,      BEVERLY HILLS     CA           90210
                                                                                                                                                           9301 WILSHIRE BOULEVARD,
6798205 DOROTHY NARVAEZ-WOODS AND THE ESTATE OF TYRONE WOODS            C/O ONE LLP                                ATTN: MARK FLEISCHER                    PENTHOUSE SUITE                               BEVERLY HILLS     CA           90210
6798194 DOROTHY OF OZ, LLC                                              ATTN: NEIL KAUFFMAN                        2600 WEST OLIVE AVE.                    SUITE 500                                     BURBANK           CA           91505
6798195 DOS BRAINS, INC.                                                920 18TH STREET, #5                                                                                                              SANTA MONICA      CA           90403
                                                                        C/O BLOOM HERGOTT DIEMER ROSENTHAL         ATTN: CARLOS GOODMAN & GREG
6798196   DOUBLEYOU, INC.                                               LAVIOLETTE FELDMAN SCHENKMAN &             SLEWETT                                 150 S RODEO DR.               THIRD FLOOR     BEVERLY HILLS     CA           90212
6473531   DOUGLAS G. PETTY                                              Address on File
6798198   DOUGLAS G. PETTY                                              ECLECTIC AUDIO                             4902 DENNY AVENUE                                                                    NORTH HOLLYWOOD    CA           91601
6798199   DOW FILM PRODUCTIONS INC.                                     ATTN: MR. OGDEN GAVANSKI                   VICE PRESIDENT                          1250 RENE-LEVESQUE BLVD. WEST SUITE 2500     MONTREAL           QC           H3B 4Y1        CANADA
6798190   DOWNTOWN MUSIC PUBLISHIN LLC                                  485 BROADWAY 3RD FL                                                                                                             NEW YORK           NY           10013
6798189   DOWNTOWN MUSIC PUBLISHING LLC                                 485 BROADWAY 3RD FLOOR                                                                                                          NEW YORK           NY           10013
6864543   DOWNTOWN RECORDS LLC                                          568 BROADWAY                               SUITE 705                                                                            NEW YORK           NY           10012
6798192   DRASTIC MEASURES, INC.                                        C/O ICM PARTNERS                           NATHAN FURST                            10250 CONSTELLATION BLVD.                    LOS ANGELES        CA           90067
6798175   DTECNET, INC                                                  ATTN: TOM RYDEN, SVP FINANCE               303 SECOND ST                           SUITE 800N                                   SAN FRANCISCO      CA           94107
6798165   DUNCAN JOINER                                                 11115 ACMA ST. #307                                                                                                             STUDIO CITY        CA           91602
6798166   DUNCAN JOINER                                                 KELLY JOINER                               11115 ACMA ST                           307                                          STUDIO CITY        CA           91602
6798167   DUNE CAPITAL PARTNERS IV LLC                                  C/O BRADSHAW, SMITH ENTERTAINMENT          ATTN: NATALIE MARSHALL                  5851 WEST CHARLESTON                         LAS VEGAS          NV           89146
6798168   DUSTIN LANCE BLACK                                            C/O CREATIVE ARTISTS AGENCY                ATTN: CRAIG GERING                      2000 AVENUE OF THE STARS                     LOS ANGELES        CA           90067
6798158   DUSTIN O'HALLORAN                                             C/O REDBIRD MANAGEMENT                     ATTN: BEAU STAPLETON, ESQ.              ROSEN LAW GROUP, PC           1046 PRINCETON VENICE             CA           90292
6864544   DUSTIN O'HALLORAN                                             C/O REDBIRD MANAGEMENT                     ATTN: TIM HUSON                         301 GLENDALE BLVD.                           LOS ANGELES        CA           90026
6798160   DUSTIN O'HALLORAN C/O REDBIRD MANAGEMENT                      ATTN: TIM HUSOM                            880 ELYRIA DR.                                                                       LOS ANGELES        CA           90065
6798162   DWARF MUSIC                                                   COOPER STATION PO BOX 860                                                                                                       NEW YORK           NY           10276
6798163   DWAYNE JOHNSON                                                VIEWPOINT INC. (PUBLICIST)                 8821 WILSHIRE BLVD                      SUITE 220                                    BEVERLY HILLS      CA           90211
6798153   EAGLE ROCK ENTERTAINMENT LTD.                                 ATTN: CORINNA KEARNEY                      EAGLE HOUSE                             22 ARMOURY WAY                               LONDON                          SW18 1EZ       UNITED KINGDOM
6798152   EAGLE-I MUSIC LTD                                             EAGLE HOUSE                                22 ARMOURY WAY                                                                       LONDON                          SW18 1EZ       UNITED KINGDOM
6798154   EAN COSMO STRAUSS FOR                                         BROAD STREET BULLY MUSIC                   122 ASHLAND PLACE                       APT. 16A                                     BROOKLYN           NY           11201
6798155   EARLANN INC.                                                  PO BOX 1073                                                                                                                     CHARLESTON         IL           61920




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                                                                                                                          Schedule G Parties Service List
                                                                                                                             Served First Class Mail
 MMLID                                   NAME                                              ADDRESS                                ADDRESS 2                           ADDRESS 3           ADDRESS 4           CITY           STATE     POSTAL CODE        COUNTRY
6798156   EARLE-TONES MUSIC, INC.                                        F/S/O MARK ISHAM , C/O KRAFT-ENGEL         ATTN: LAURA ENGEL                       15233 VENTURA BLVD                        SHERMAN OAKS        CA          91403
6798157   EARL-TONES MUSIC, INC F/S/O MARK ISHAM                         KRAFT-ENGEL MANAGEMENT                     ATTN: LAURA EAGLE                       15233 VENTURA BLVD                        SHERMAN OAKS        CA          91403
6864545   EASE ENTERTAINMENT SERVICE LLC                                 8383 WILSHIRE BLVD                         SUITE 100                                                                         BEVERLY HILLS       CA          90211
6798147   ECOBRAADMIN.COM                                                2740 SKI LANE                                                                                                                MADISON             WI          53713
6798148   ECONNET VENTURES, LLC                                          LATINUM                                    DAVID WELLISCH, MANAGING PARTNER        2 BETHESDA METRO CENTER     SUITE300      BETHESDA            MD          20814
6798140   ED RICOURT                                                     C/O CREATIVE ARTISTS AGENCY                MATT ROSEN                              2000 AVENUE OF THE STARS                  BEVERLY HILLS       CA          90210
6486761   EDIT FUEL INC.                                                 ATTN: PAULA WILLIAMS                       LION GATE FILMS, INC.                   8306 WILSHIRE BOULEVARD     #544          BEVERLY HILLS       CA          90211
6798151   EDKO FILMS LTD. (INCORPORATED IN B.V.I.)                       ATTENTION: AUDREY LEE                      ROOM 1212, TOWER II, ADMIRALTY/CENTRE   18 HARCOURT ROAD                          HONG KONG                                      HONG KONG
6798145   EIZZILL CINTRON VALENZUELA                                     URBANIZACION VILLA BORINQUEN               1310 CALLE DAMASCO                                                                SAN JUAN            PR          00920
6798134   EL BIGOTE INC.                                                 13157 RIVERSIDE DR. # 102                                                                                                    SHERMAN OAKS        CA          91423
6798121   EL MIEDO FILMS, INC. F//S/O JONATHAN JAKUBOWICZ & THEN WHAT?   C/O CREATIVE ARTISTS AGENCY                JAY BAKER & MAHA DAKHIL                 2000 AVENUE OF THE STARS                  LOS ANGELES         CA          90067
6798135   ELECTRIC ENTERTAINMENT, INC.                                   ATTN: DIONNE MCNEFF, ESQ.                  962 N. LA CINEGA BLVD.                                                            LOS ANGELES         CA          90069
6798136   ELEVEN THREE PRODUCTIONS, INC.                                 ATTN: LANA MCKISSACK, CEO & PRESIDENT      14358 COHASSET STREET                                                             VAN NUYS            CA          91405
6798138   ELINA PRODUCTIONS, INC.                                        FSO: MARTIN CAMPBELL                       16000 VENTURA BLVD                      SUITE 900                                 ENCINO              CA          91436
6864547   ELITE FILM AG                                                  ATTN: GREG SHAMO                           BADENERSTRASSE 156                                                                ZUIRCH              CH          8026           SWITZERLAND
6864549   ELITE FILM AG                                                  ATTN: MR. STEPHAN GIGER                    BADENERSTRASSE 156                                                                ZUIRCH              CH          8026           SWITZERLAND
6864548   ELITE FILM AG                                                  ATTN: RALPH DIETRICH                       BADENERSTRASSE 256                                                                ZUIRCH              CH          8026           SWITZERLAND
6864551   ELITE FILM AG                                                  BADENERSTRASSE 156                                                                                                           ZUIRCH              CH          8026           SWITZERLAND
6864546   ELITE FILM AG                                                  FLORIAN LEUPIN                             BADENERTRASSE 156                                                                 ZUIRCH              CH          8026           SWITZERLAND
6864554   EMI ENTERTAINMENT WORLD, INC.                                  550 MADISON AVENUE 5TH FLOOR                                                                                                 NEW YORK            NY          10022
6864553   EMI ENTERTAINMENT WORLD, INC.                                  75 NINTH AVENUE                            4TH FLOOR                                                                         NEW YORK            NY          10011
6864552   EMI ENTERTAINMENT WORLD, INC.                                  75 NINTH AVENUE                                                                                                              NEW YORK            NY          10011
6864555   EMI ENTERTAINMENT WORLD, INC.                                  F/S/O JUSTINE ELINOR FRISCHMANN            550 MADISON AVE.                        5TH FL.                                   NEW YORK            NY          10022
6798104   EMI LABEL SERVICES                                             VICE PRESIDENT, BUSINESS AFFAIRS           1750 NORTH VINE STREET                                                            HOLLYWOOD           CA          90028
6478595   EMILYCO, INC                                                   1990 S. BUNDY DRIVE, STE 200                                                                                                 LOS ANGELES         CA          90025
6798094   EMJAG PRODUCTIONS INC.                                         ATTN: ALEXANDRA MILCHAN                    9200 SUNSET BLVD                        STE 550                                   WEST HOLLYWOOD      CA          90069
6798097   EMJAG PRODUCTIONS, INC.                                        F/S/O ALEXANDRA MILCHAN                    9200 WEST SUNSET BLVD., STE 550                                                   WEST HOLLYWOOD      CA          90069
6798088   EMTRAIN                                                        2018 19TH STREET                                                                                                             SACRAMENTO          CA          95818
6798089   ENDURANCE MEDIA, LLC                                           ATTN: GENERAL COUNSEL                      2110 MAIN ST., SUITE 205                                                          SANTA MONICA        CA          90405
6798090   ENERGY ENTERTAINMENT, INC./ BROOKLYN WEAVER , ARTIST           C/O MCKUIN FRANKEL WHITEHEAD LLP           ATTN: JEFF FRANKEL                      141 EL CAMINO DRIVE         SUITE 100     BEVERLY HILLS       CA          90212-2717
6798091   ENTENDRE FILMS, INC                                            9200 SUNSET BLVD                           SUITE 1200                                                                        WEST HOLLYWOOD      CA          90069
6798080   ENTENDRE PROPERTIES,LTD                                        9200 SUNSET BLVD                           SUITE 1200                                                                        WEST HOLLYWOOD      CA          90069
6798068   ENTERTAINMENT IN MOTION, INC                                   ATTN: STEVE MALTESE                        5455 CENTINELA AVENUE                   2ND FLOOR                                 LOS ANGELES         CA          90066
6798071   ENTERTAINMENT IN MOTION, INC                                   WILLIAM GRANT, PRESIDENT                   5455 CENTINELA AVENUE                   2ND FLOOR                                 LOS ANGELES         CA          90066
6798072   ENTERTAINMENT MARKETING                                        9331 EAST KIVA AVE.                                                                                                          MESA                AZ          85209
6798073   ENTERTAINMENT MOTION, INC.                                     5455 CENTINELA AVE                                                                                                           LOS ANGELES         CA          90066
6864557   ENTERTAINMENT ONE                                              175 BLOOR STREET EAST, SUITE 1400, NORTH                                                                                     TORONTO             ON          M4W 3R8        CANADA
                                                                                                                    175 BLOOR STREET EAST, SUITE 1400,
6864556   ENTERTAINMENT ONE                                              ATTN: ALEX HAMILTON                        NORTH TOWER                                                                       TORONTO             ON          M4W 3R8        CANADA
6798057   ENTERTAINMENT ONE FILM USA, LLC                                22 HARBOR PARK DRIVE                                                                                                         PORT WASHINGTON     NY          11050
6798058   ENTHEOS INC.                                                   F/S/O MICHELLE CHYDZIK SOWA                2629 33RD ST.                                                                     SANTA MONICA        CA          90405
6798060   EPIC LEVEL ENTERTAINMENT, LTD.                                 7095 HOLLYWOOD BLVD., #688                                                                                                   HOLLYWOOD           CA          90028
6798061   EPIC RECORDS                                                   550 MADISON AVE                                                                                                              NEW YORK            NY          10022
6798050   EPITAPH, A CALIFORNIA CORPORATION                              2798 SUNSET BLVD                                                                                                             LOS ANGELES         CA          90026
6798051   ERIC BLEHM C/O LICHER,GROSSMAN,NICHOLS,ADLER &FELDMAN, INC     9200SUNSET BOULEVARD SUITE1200                                                                                               WEST HOLLYWOOD      CA          90069
6798053   ERIC LAVIS                                                     10750 PALMS BLVD                           APARTMENT 103                                                                     LOS ANGELES         CA          90034
6864558   ERIC STEVENS/RAINBOW HIGH ENTERTAINMENT                        3500 W. OLIVE AVENUE                       3RD FLOOR                                                                         BURBANK             CA          91505
6864559   ERICKSON, EDDY                                                 PO BOX 670712                                                                                                                DALLAS              TX          75265
6798055   ERNST & YOUNG LLP                                              725 SOUTH FIGUEROA STREET                  SUITE 500                                                                         LOS ANGELES         CA          90017-5418
6798044   ETSWIGSHOP INC.                                                PUBLISHING C/O NFW                         &ASSOC CPA'S                            39 BROADWAY                 ROOM 750      NEW YORK            NY          10006
                                                                                                                                                                                                                          KILLALOE
6864560 EUROFILM & MEDIA LTD.                                            ATTN: HELGE SASSE                                                                                                            BALLYCUGGERAN       CO. CLARC                  IRELAND
                                                                         WHOLLY OWNED SUBSIDIARY OF SENATOR                                                                                                               KILLALOE
6864561 EUROFILM & MEDIA LTD.                                            ENTERTAINMENT AG                                                                                                             BALLYCUGGERAN       CO. CLARC                  IRELAND
                                                                                                                                                                                                                          KILLALOE
6864563 EUROFILM & MEDIA LTD./SENATOR                                    ATTENTION: HELGE SASSE                                                                                                       BALLYCUGGERAN       CO. CLARC                  IRELAND
                                                                                                                                                                                                                          KILLALOE
6864562   EUROFILM & MEDIA LTD./SENATOR                                  ATTN: MILADA KOLBERG                                                                                                         BALLYCUGGERAN       CO. CLARC                  IRELAND
6798037   EUROPACORP                                                     137, RUE DU FAUBOURG SAINT HONORE                                                                                            PARIS                           75008          FRANCE
6798028   EUROPACORP                                                     ATTN: CHRISTOPHE LAMBERT                   LA CITE DU CINEMA                       20 RUE AMPERE                             SAINT DENIS CEDEX               93413          FRANCE
6798031   EUROPACORP                                                     ATTN: NEIL OLLIVIERRA                      LA CITE DU CINEMA                       20 RUE AMPERE SAINT DENIS                 CEDEX                           93413          FRANCE
6798030   EUROPACORP                                                     LA CITE DU CINEMA                          LA CITE DU CINEMA                       20 RUE AMPERE SAINT DENIS                 CEDEX                           93413          FRANCE
6864564   EUROPACORP FILM USA, INC                                       ATTN: CHRISTOPHE LAMBERT                   345 NORTH MAPLE DRIVE, SUITE 103                                                  BEVERLY HILLS       CA          90210




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                                                                                                                         Served First Class Mail
 MMLID                                  NAME                                              ADDRESS                            ADDRESS 2                              ADDRESS 3       ADDRESS 4           CITY           STATE    POSTAL CODE        COUNTRY
6864565   EUROPACORP FILMS USA, INC.                                     ATTN: CHRISTOPHE LAMBERT               345 NORTH MAPLE DRIVE                   SUITE 103                               BEVERLY HILLS     CA           90210
6798015   EVELYN FOSTER                                                  2021 21ST AVE                                                                                                          SOUTH NASHVILLE   TN           37212
6798016   EVERGREEN PICTURES LLC                                         30 ROCKEFELLER PLZ                                                                                                     NEW YORK          NY           10112-0015
6798017   EVOLUTION MUSIC PARTNERS LLC                                   C/O ABEL KORZENIOWSKI                  1680 NORTH VINE STREET                  SUITE 500                               HOLLYWOOD         CA           90028
6798018   EW THEATRES INC.                                               PO BOX 55339                                                                                                           VALENCIA          CA           91385
6798009   EXCLUSIVE ARTISTS MANAGEMENT                                   MARK AND JAY DUPLASS-GROOMING          THEA ISTENES, ARTIST                    7700 SUNSET BOULEVARD     SUITE 205     LOS ANGELES       CA           90046
6798010   EXCLUSIVE ARTISTS MANGEMENT                                    7700 SUNSET BLVD.                      SUITE 205                                                                       LOS ANGELES       CA           90046
6798011   EXCLUSIVE ARTISTS MGMT                                         C/O JORDAN LONG                        7700 SUNSET BOULEVARD SUITE 205                                                 LOS ANGELES       CA           90046
6864566   EXHIBITOR CO-OP                                                PO BOX 22333                                                                                                           BULLHEAD CITY     AZ           86439
6798013   EXHIBITORS' SERVICE                                            PO BOX 48054                                                                                                           LOS ANGELES       CA           90035
6798002   EXHIT-SUPPORT PARTNERSHIP                                      1200 65TH STREET                       #212                                                                            EMERYVILLE        CA           94608
6798003   EXPLOSION IN THE SKY MUSIC                                     C/O CHRIS HRASKY                       4008 CHERRYWOOD ROAD                                                            AUSTIN            TX           78722
6797994   F & F MGMT., INC.                                              355 WEST DUNDEE ROAD                   SUITE 202                                                                       BUFFALO GROVE     IL           60089
6864567   FADE TO BLACK PRODUCTIONS, INC                                 C/O SHAPIRO & COMPANY CPA              9229 SUNSET BLVD SUITE 607                                                      WEST HOLLYWOOD    CA           90069
6864568   FALCON INVESTMENT ADVISORS,LLC                                 600 LEXINGTON AVE                      35TH FLOOR                                                                      NEW YORK          NY           10022
6864569   FALCON STRATEGIC PARTNERS III, LP                              AS TERM B LOAN LENDER                  ATTN: RAFE FOGEL                        600 LEXINGTON AVENUE      35TH FLOOR    NEW YORK          NY           10022
6864570   FALCON STRATEGIC PARTNERS III, LP                              ATTN: RAFE FOGEL                       600 LEXINGTON AVENUE                    35TH FLOOR                              NEW YORK          NY           10022
6488231   FANCY MUSIC INC                                                C/O ML MANAGEMENT ASSOCIATES INC       250 WEST 57TH STREET                    26 FLOOR                                NEW YORK          NY           10107
6864571   FANOLOGY                                                       ATTN: RICHARD JANES, CEO               3415 S. SEPULVEDA BLVD.                 #460                                    LOS ANGELES       CA           90034
6864573   FANOLOGY, LLC                                                  3415 S. SEPULVEDA BLVD.                #460                                                                            LOS ANGELES       CA           90034
6864572   FANOLOGY, LLC                                                  RICHARD JANES                          3415 S. SEPULVEDA BLVD.                 #460                                    LOS ANGELES       CA           90034
6797996   FANOLOGY, LLC                                                  RICHARD JANES, CEO                     3415 S. SEPULVEDA BLVD                  #460                                    LOS ANGELES       CA           90034
6798000   FAWN, INC./ MICHELLE PHAN                                      2114 PICO BLVD                                                                                                         LOS ANGELES       CA           90405
                                                                                                                                                                                  13155 NOEL
6864574   FEDEX OFFICE AND PRINT SERVICES, INC.                          AIMEE DICICCO                          VICE PRESIDENT, SALES                   THREE GALLERIA TOWER      ROAD, SUITE   DALLAS            TX           75240
6797990   FEEL GOOD ENTERTAINMENT                                        12 ZISIMPOULOU                                                                                                         ATHENS                         115 24         GREECE
6797992   FEELGOOD ENTERTAINMENT                                         12, ZISIMPOULOU STR.                                                                                                   ATHENS                         115 24         GREECE
6797993   FELIPE B. ORTIZ JR.                                            6869 TAMARIND CR.                                                                                                      ORLANDO           FL           32819
6797984   FIGHTER, LLC                                                   444 MARKET STREET                                                                                                      SAN FRANCISCO     CA           94145
6797947   FILM & TV HOUSE LIMITED                                        18 BROADWICK STREET                                                                                                    LONDON                         W1F8HS         UNITED KINGDOM
6797936   FILM & TV HOUSE LIMITED                                        33 NEWMAN STREET                       3RD FLOOR                                                                       LONDON                         W1T 1PY        UNITED KINGDOM
6797906   FILM & TV HOUSE LIMITED                                        36-38 WESTBOURNE GROVE                 NEWTON ROAD                                                                     LONDON                         W2 5SH         UNITED KINGDOM
6797911   FILM & TV HOUSE LIMITED                                        ATTN: GAVIN JAMES                      33 NEWMAN STREET                        3RD FLOOR                               LONDON                         W1T 1PY        UNITED KINGDOM
6864575   FILM & TV HOUSE LIMITED                                        GAVIN JAMES                            18 BROADWICK STREET                     4TH FLOOR                               LONDON                         W1F 8HS        UNITED KINGDOM
6864576   FILM DISTRICT PICTURES, LLC                                    ATTN: HEAD OF BUSINESS AFFAIRS         1540 SECOND STREET                      SUITE 200                               SANTA MONICA      CA           90401
6797973   FILM FINANCES, INC                                             9000 SUNSET BOULEVARD, SUITE 1400                                                                                      LOS ANGELES       CA           90069
6864577   FILM NATION INTERNATIONAL, LLC                                 ROBERT CARNEY                          150 WEST 22ND STREET                    9TH FLOOR                               NEW YORK          NY           10011
6797944   FILM SERVICE THEATRE GRP                                       4700 SOUTH 900 EAST                    #41-D                                                                           SALT LAKE CITY    UT           84117
6797946   FILM TV HOUSE                                                  ATTN: GAVIN JAMES                      AUTHORIZED REPRESENTATIVE               33 NEWMAN STREET                        LONDON                         W1T 1PY        UNITED KINGDOM
6797907   FILM&TV HOUSE LIMITED                                          3RD FLOOR                              33 NEWMAN STREET                                                                LONDON                         W1T 1PY        UNITED KINGDOM
6797904   FILM&TV HOUSE LIMITED                                          ATTN: GAVIN JAMES                      80 MORTIMER STREET                      2ND FLOOR                               LONDON                         W1W 7SD        UNITED KINGDOM
6797905   FILM&TV HOUSE LTD                                              33 NEWMAN STREET                                                                                                       LONDON                         W1T 1PY        UNITED KINGDOM
6797982   FILMATION INTERNATIONAL, LLC                                   150 WEST 22ND STREET                   9TH FLOOR                                                                       NEW YORK          NY           10011
6797983   FILMDISTRICT DISTRIBUTION, LLC                                 1540 SECOND STREET                     SUITE 200                                                                       SANTA MONICA      CA           90401
6797976   FILML.A., INC.                                                 SYLVAIN WHITE                          6255 W SUNSET                           BLVD 12TH FLOOR                         HOLLYWOOD         CA           90028
6797977   FILMNATION INTERNATIONAL                                       ATTN: ALISON COHEN                     150 W 22ND STREET                       9TH FLOOR                               NEW YORK          NY           10011
6797954   FILMNATION INTERNATIONAL, LLC                                  150 WEST 22ND STREET, 9TH FLOOR                                                                                        NEW YORK          NY           10011
6797952   FILMNATION INTERNATIONAL, LLC                                  BUSINESS & LEGAL AFFAIRS               150 WEST 22ND STREET                    9TH FLOOR                               NEW YORK          NY           10011
6797942   FILMNATION PRODUCTIONS, LLC                                    150 WEST 22ND STREET                   9TH FLOOR                                                                       NEW YORK          NY           10011
6797943   FILMORE WEST ENTERTAINMENT                                     1805 GEARY BLVD                                                                                                        SAN FRANCISCO     CA           94115
6797945   FILMTRACK, INC.                                                ATTN: LEGAL                            11846 VENTURA BLVD., SUITE 101                                                  STUDIO CITY       CA           91604
6797896   FINAL DRAFT INC.                                               26707 W. AGOURA ROAD                   SUITE 205                                                                       CALABASAS         CA           91302
6797897   FINE BROTHERS PROPERTIES, INC F/S/O BENNY FINE AND RAFI FINE   C/O BEMEL & ROSS, LLP                  11601 WILSHIRE BLVD. #2150                                                      LOS ANGELES       CA           90025
6797884   FINTAGE COLLECTION ACCOUNT MANAGEMENT                          STATIONSWEG 32                                                                                                         AV LEIDEN                      2312           THE NETHERLANDS
6797898   FINTAGE COLLECTION ACCOUNT MANAGEMENT B.V                      ATTN: GENERAL COUNSEL                  600 DE LA GAUCHETIERE WEST              GROUND FLOOR                            MONTREAL          QC           H3B 4L2        Canada
6797890   FINTAGE COLLECTION ACCOUNT MANAGEMENT B.V.                     ATTN: GENERAL COUNSEL                  STATIONSWEG 32                                                                  LEIDEN            AV           2312           THE NETHERLANDS
6797887   FINTAGE MAGYAR KFT.                                            ATTN: SAID BOUDARGA                    TEREZ KRT. 46, 3RD FLOOR                                                        BUDAPEST                       H-1066         HUNGARY
6797876   FINTAGE MAGYAR KFT.                                            TER`EZ KRT 46                          3RD FLOOR                                                                       BUDAPEST                       H-1066         HUNGARY
6797886   FINTAGE MAGYAR KFT. (NOW KNOWN AS GEM ENTERTAINMENT KFT.)      TEREZ KRT. 46                          3RD FLOOR                                                                       BUDAPEST                       H-1066         HUNGARY
6797879   FINTAGE PUBLISHING BV                                          STATIONSWEG 32                                                                                                         AV LEIDEN                      2312           THE NETHERLANDS
6864578   FIREMAN'S FUND INSURANCE COMPANY                               C/O ENTERTAINMENT INSURANCE DIVISION   ATTN: SVP - ENTERTAINMENT DIVISION      10 UNIVERSAL CITY PLAZA   SUITE 2800    UNIVERSAL CITY    CA           91608
6797870   FIRST NOTE MUSIC SERVICE                                       3765 WADE STREET                                                                                                       LOS ANGELES       CA           90066
6797871   FIRST NOTE MUSIC SERVICES                                      C/O MS. PATRICIA BLAIR                 3765 WADE ST                                                                    LOS ANGELES       CA           90066




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 MMLID                                     NAME                                             ADDRESS                               ADDRESS 2                           ADDRESS 3           ADDRESS 4           CITY          STATE    POSTAL CODE           COUNTRY
6797881   FIRSTCOM MUSIC                                                  2110 COLORADO AVE, SUITE 110                                                                                                SANTA MONICA       CA         90404
6797865   FIVE PENNIES, INC.                                              9601 WILSHIRE BLVD.                     SUITE 500                                                                           BEVERLY HILLS      CA         90210
6864579   FIZZIOLOGY, LLC                                                 342 E. SAINT JOSEPH STREET                                                                                                  INDIANAPOLIS       IN         46202
6797867   FLAGSHIP CINEMAS, INC.                                          210 BROADWAY                            SUITE 203                                                                           LYNNFIELD          MA         01940
6797868   FLIXSTER, INC.                                                  5905 SOUTH DECATUR BOULEVARD                                                                                                LAS VEGAS          NV         89118
6864580   FLORIN/CREATIVE FILM SVC                                        125 NORTH MAIN STREET                                                                                                       PORT CHESTER       NY         10573
6797858   FOCUS ENTERTAINMENT                                             BRIAN PARK                              11 TEHERAN-RO 33-GLL                    SUITE 360                                   GANGNAM-GU SEOUL              131-915        KOREA
6797862   FOCUS FEATURES                                                  A DIVISION OF NBCUNIVERSAL, INC.        ATTN: JENNIFER TOWLE                    100 UNIVERSAL CITY PLAZA                    UNIVERSAL CITY     CA         91608
6797863   FOCUS FEATURES                                                  ATTN: AMY ESCHENASY                     100 UNIVERSAL CITY PLAZA                                                            UNIVERSAL CITY     CA         91608
6797853   FOCUS FEATURES                                                  ATTN: JENNIFER TOWLE                    100 UNIVERSAL CITY PLAZA                                                            UNIVERSAL CITY     CA         91608
6864581   FORMAN PRODUCTIONS, INC.                                        F/S/O TOM FORMAN                        C/O UNITED TALENT AGENCY                9560 WILSHIRE BLVD. #500                    BEVERLY HILLS      CA         90212
6797857   FORTIUM TECHNOLOGIES LTD.                                       6 BRIDGEND BUSINESS CENTRE              BENNETT STREET                                                                      BRIDGEND                      CF31 3SH       UNITED KINGDOM
6797846   FORTIUM TECHNOLOGIES LTD.                                       6 BRIDGEND BUSINESS CENTRE, BENNETT     BRIDGEND                                                                            WALES                         CF31 3SH       UNITED KINGDOM
6797847   FORUM FILM CZECH                                                ATTN: AYELET NIR SHTAIER                ARKALYCKA 951/3                                                                     PRAHA                         149 00         CZECH REPUBLIC
6797848   FORUM FILM CZECH S.R.O.                                         ARKALYCKA 951/3                                                                                                             PRAHA                         149 00         CZECH REPUBLIC
6797849   FORUM FILM CZECH S.R.O.                                         ATTN: AYELET NIR SHTAIER                ARKALYCKA 951/3                                                                     PRAHA                         149 00         CZECH REPUBLIC
6797850   FORUM FILM CZECH S.R.O.,                                        ID:28405277                             ARKALYCKA 951/3                                                                     PRAHA                         149 00         CZECH REPUBLIC
6797851   FOUNDATION FOR NATIONAL PROGRESS D/B/A/ MOTHER JONES            ATTN: MEDELINE BUCKINGHAM               222 SUTTER STREET, #600                                                             SAN FRANCISCO      CA         94108
6797840   FOX THEATRES CORP                                               201 WASHINGTON STREET                                                                                                       READING            PA         19601
6473555   FRANK F. BANYAI                                                 Address on File
6797842   FRANK LAWLESS ENTERTAINMENT                                     C/O TRISH FIELD                         HABER CORP.                             16830 VENTURA BLVD., SUITE 501              ENCINO             CA         91436
6797843   FRAUDVILLE FILMS F/S/O SCOTT MILAM                              C/O PARADIGM AGENCY                     ATTN: SCOTT HENDERSON, AGENT            360 NORTH CRESCENT DRIVE       NORTH        BEVERLY HILLS      CA         90210
6797844   FRAUDVILLE FILMS/ SCOTT MILAM, WRITER                           C/O PARADIGM AGENCY                     ATTN: SCOTT HENDERSON, AGENT            360 NORTH CRESCENT DRIVE       NORTH        BEVERLY HILLS      CA         90210
6797845   FRED HASHAGEN                                                   UNITED TALENT AGENCY                    9336 CIVIC CENTER DRIVE                                                             BEVERLY HILLS      CA         90210
6797809   FREEWAY ENTERTAINMENT KFT.                                      ATTN: DORA KASPARI, DIRECTOR OF         ANDRASSY UT 12                                                                      BUDAPEST                      1061           HUNGARY
6797798   FREEWAY ENTERTAINMENT KFT.                                      ATTN: GENERAL COUNSEL                   ANDRASSY UT 12                                                                      BUDAPEST                      1061           HUNGARY
6797799   FREEWAY ENTERTAINMENT KFT.                                      ATTN: KATALIN CSER                      ANDRASSY UT 12                                                                      BUDAPEST                      1061           HUNGARY
6797800   FREEWAY ENTERTAINMENT KFT.                                      ATTN:KIM TEMMERMAN                      ANDRASSY UT 12                                                                      BUDAPEST                      1061           HUNGARY
6797807   FREEWAY ENTERTAINMENT KFT.                                      CECILE HUBERTS, MANAGING DIRECTOR       ANDRASSY UT 12                                                                      BUDAPEST                      1061           HUNGARY
6797808   FREEWAY ENTERTAINMENT KFT.                                      CECILE HUBERTS, MANAGING DIRECTOR       DORA KASPARI, DIRECTOR OF OPERATIONS    ANDRASSY UT 12                              BUDAPEST                      1061           HUNGARY
6797834   FRIDLEY THEATRES                                                1321 WALNUT STREET                                                                                                          DES MOINES         IA         50309
6797835   FRONTIER AMUSEMENT CORP                                         100 BROAD STREET                        SUITE 4                                                                             TONAWANDA          NY         14150
6864582   FSP III RELATIVITY HOLDINGS, INC.                               C/O FALCON STRATEGIC PARTNERS III, LP   ATTN: RAFE FOGEL                        600 LEXINGTON AVENUE         35TH FLOOR     NEW YORK           NY         10022
6797836   FUJIFILM NORTH AMERICA CORPORATION                              6200 PHYLLIS DRIVE                                                                                                          CYPRESS            CA         90630
6797837   FULFORD, BOB                                                    4407 HIGHLANDS DRIVE                                                                                                        MCKINNEY           TX         75070
6797838   FULLCOURT PRESS, LLC                                            LISA EISENPRESSER                       3101 COLBY AVENUE                                                                   LOS ANGELES        CA         90066
6797839   FULLSCREEN, INC.                                                C/O CULVER STUDIOS                      ATTN: LARRY SHAPIRO                     9336 WASHINGTON BLVD         BUILDING K     CULVER CITY        CA         90232
6797828   FUN ACADEMY MOTION PICTURES INC.                                ATTN: GENERAL COUNSEL                   111 12TH STREET                                                                     COLUMBUS           GA         31901
6797829   FUNTIME CINEMAS                                                 67 HARDING STREET                                                                                                           POTTSTOWN          PA         19464
6797801   FX NETWORKS                                                     ATTN; CHUCK SAFTLER, EVP                10201 WEST PICO BLVD                    BUILDING 103, 4TH FLOOR                     LOS ANGELES        CA         90035
6797802   FYR MUSIC                                                       C/O EVOLUTION MUSIC PARTNERS            1680 N. VINE ST,                        SUITE 500                                   HOLLYWOOD          CA         90028
6864583   G4 MEDIA, LLC                                                   5750 WILSHIRE BLVD                                                                                                          LOS ANGELES        CA         90036
6797792   G4 MEDIA, LLC                                                   G4 MEDIA, LLC                           G4 MEDIA, LLC                           5750 WILSHIRE BLVD                          LOS ANGELES        CA         90036
6797794   GAGA CORPORATION                                                ATTN TORN YOSHIKAWA                     TY BLDG, 2-22-18 MINAMI-AOYAMA          MINATO-KU                                   TOKYO                         107-0062       JAPAN
6797793   GAGA CORPORATION                                                ATTN: TOM YODA                          TY BLDG, 2-22-18 MINAMI - AOYAMA        MINATO-KU                                   TOKYO                         107-0062       JAPAN
6797795   GALAX THEATRES                                                  15060 VENTURA BLVD.,                    SUITE 350                                                                           SHERMAN OAKS       CA         91403
6797787   GALLUP, TOM                                                     PO BOX 37                                                                                                                   REDFIELD           SD         57469
6864584   GARALD MCRANEY                                                  MUCH AND HOUSE PUBLIC RELATIONS         8075 W 3RD ST                                                                       LOS ANGELES        CA         90047
6797789   GARRETT WHOOSH                                                  MS. VICTORIA GASKILL                    GARRETT WHOOSH, LLC                     4233 FARMDALE AVENUE                        STUDIO CITY        CA         91604
6864585   GDC DIGITAL CINEMA NETWORK                                      3500 W. OLIVE AVE                       STE 940                                                                             BURBANK            CA         91505
6489862   GDC DIGITAL CINEMA NETWORK (USA) LLC                            ATTN: GENERAL MANAGER                   3500 W OLIVE AVENUE                     SUITE 940                                   BURBANK            CA         91505
6864586   GDC DIGITAL CINEMA NETWORK (USA) LLC                            ATTN: KEN HWANG                         1016 WEST MAGNOLIA BLVD.                                                            BURBANK            CA         91506
6797790   GDC TECHNOLOGY (USA), LLC                                       3500 OLIVE AVENUE                       SUITE 930                                                                           BURBANK            CA         91505
6797691   GEM ENTERTAINMENT                                               TEREZ KRT. 46                           43/3RD FLOOR                                                                        BUDAPEST                      H-1066         HUNGARY
6797692   GEM ENTERTAINMENT                                               TEREZ KRT. 46                                                                                                               BUDAPEST                      1066           HUNGARY
6797783   GEM ENTERTAINMENT KFT (FORMERLY KNOWN AS FINTAGE MAGYAR         TEREZ KRT. 46/3RD FLOOR                 H-1066                                                                              BUDAPEST                      1066           HUNGARY
6864591   GEM ENTERTAINMENT KFT.                                          ATTN: SAID BOUDARGA                                                             3RD FLOOR                                   BUDAPEST                      H-1066         HUNGARY
6864593   GEM ENTERTAINMENT KFT.                                          TEREZ KRT.                              43/3RD FLOOR                                                                        BUDAPEST                      H-1066         HUNGARY
6797782   GEM ENTERTAINMENT KFT. (FORMERLY KNOWN AS FINTAGE MAGYAR        TEREZ KRT. 46                           3RD FLOOR                                                                           BUDAPEST                      H-1066         HUNGARY
6797693   GENERAL TEAMSTERS, CHAUFFERS AND HELPERS LOCAL UNION NO.249     C/O INTERNATIONAL BROTHERHOOD OF        ATTN: LEGAL DEPT.                       P.O. BOX 40128                              PITTSBURGH         PA         15201
6797694   GENERAL TEAMSTERS, CHAUFFEURS AND HELPERS LOCAL UNION NO. 249   A/W INTERNATIOAL BROTHERHOOD OF         ATTN: LEGAL DEPT.                       P.O. BOX 40128                              PITTSBURGH         PA         15201
6797695   GEORGE WALLACE                                                  11440 ANDASOL AVE                                                                                                           GRANADA HILLS      CA         91344
6797679   GEORGIA THEATRE COMPANY                                         9800 MEDLOCK BRIDGE RD                  SUITE 1                                                                             DULUTH             GA         30097




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                                                                                                                         Schedule G Parties Service List
                                                                                                                            Served First Class Mail
 MMLID                                  NAME                                             ADDRESS                                 ADDRESS 2                           ADDRESS 3              ADDRESS 4             CITY         STATE    POSTAL CODE        COUNTRY
6797680   GERARD BUTLER                                                 C/O CREATIVE ARTISTS AGENCY                ATTN: JEREMY PLAGER                     2000 AVENUE OF THE STARS                     LOS ANGELES         CA         90067
6797683   GERRIT KINKEL PRODUCTIONS, LLC                                5242 KESTER AVENUE #4                                                                                                           SHERMAN OAKS        CA         91411
6864935   GETTY IMAGES (US), INC.                                       P.O. BOX 953604                                                                                                                 ST. LOUIS           MO         63195-3604
6864594   GILF FILM LLC                                                 420 FIFTH AVENUE                                                                                                                NEW YORK            NY         10018-2798
6797674   GINO CROGNALE                                                 132 KAUFMAN RUN BLVD                                                                                                            MARS                PA         15046
6797675   GIVE 2 GET MUSIC GROUP INC                                    1417 PAWNEE ST.                                                                                                                 ORANGE PARK         FL         32065
6797676   GLASS BEAD MUSIC, INC.                                        JOSHUA RADIN                               200 W. 57TH ST.                         SUITE 1101                                   NEW YORK            ny         10019
6864595   GOLDEN SCENE COMPANY LTD.                                     15F ASTORIA BLG                            34 ASHLEY ROAD                                                                       TSIM SHA SHUI       KOWLOON                   HONG KONG
6864597   GOLDEN VILLAGE PICTURE PTE LTD                                68 ORCHARD ROAD                            #B-1-10 PLAZA, SINGAPURA                                                             SINGAPORE                      238839         MALAYSIA
6864596   GOLDEN VILLAGE PICTURE PTE LTD                                ATTN: KURT RIEDER, CEO                     68 ORCHARD ROAD, #B-1-10 PLAZA                                                       SINGAPURA                      238839         SINGAPORE
6864598   GOLDEN VILLAGE PICTURES PTE LTD                               68 ORCHARD ROAD #B1-10                                                                                                          SINGAPORE                      238839         MALAYSIA
6864599   GOLDEN VILLAGE PICTURES PTE LTD                               68 ORCHARD ROAD, #07-10/14 PLAZA                                                                                                SINGAPORE                      238839         MALAYSIA
6864600   GOLDEN VILLAGE PICTURES PTE LTD                               68 ORCHARD ROAD, #B-1-10 PLAZA SINGAPURA                                                                                        SINGAPORE                      238839         MALAYSIA
6864601   GOLDEN VILLAGE PICTURES PTE LTD                               3 TEMASEK BLVD #03-373                     SUNTEK CITY MALL                                                                     SINGAPORE                      038983         SINGAPORE
6797652   GOLDMAN PICTURES, INC.                                        C/O BEHR & ABRAMSON, LLC                   ATTN: HOWARD ABRAMSON, ESQ              9701 WILSHIRE BLVD             SUITE 800     BEVERLY HILLS       CA         90265
6797653   GOLDMAN, RICH                                                 RIPTIDE MUSIC GROUP ,LLC                   9469 JEFFERSON BOULEVARD                SUITE 114                                    CULVER CITY         CA         90232
6797642   GOLDMINE PRODUCTIONS, LTD                                     11 HUMPHREY STREET                         FILM CENTRE                                                                          ST. JAMES                                     TRINIDAD
6797643   GOLDMINE PRODUCTIONS, LTD                                     11 HUMPHREY STREET                         FILM CENTER                                                                          ST. JAMES                                     TRINIDAD
6797644   GOODRICH THEATRES INC.                                        4417 BROADMOOR S.E.                                                                                                             KENTWOOD            MI         49512
6797645   GOOGLE, INC.                                                  1600 AMPHITHEATRE PARKWAY                                                                                                       MOUNTAIN VIEW       CA         94043
6864602   GOOGLE, INC.                                                  ATTN: LEGAL DEPARTMENT                     1600 AMPHITHEATRE PARKWAY                                                            MOUNTAIN VIEW       CA         94043
6797618   GR LAKES THEA SER. LTD                                        PO BOX 861                                                                                                                      WHEATON             IL         60189
6797638   GRAND SLAM MUSIC INC.                                         MS. LISA CORBETT                           6174 DEBS AVENUE                                                                     WOODLAND HILLS      CA         91367
6797640   GRAY MATTER, LLC                                              ATTN: GLENN BARBER                         65 PALATINE                             SUITE 410                                    IRVINE              CA         92312
6864603   GRAY MATTER, LLC                                              GLEN BARBER                                65 PALATINE                             SUITE 410                                    IRVINE              CA         92612
6864604   GREAT EASTERN THEATRES                                        30540 SECOR RD                             STE 205                                                                              TOLEDO              OH         43606
6797630   GREAT ESCAPE LLC                                              911 TYLER COURT                                                                                                                 ALLEN               TX         75013
6797631   GREENBERG TRAURIG, LLP                                        ATTN: JACKIE MCBRIDE, ESQ                  1840 CENTURY PARK EAST, SUITE 1900                                                   LOS ANGELES         CA         90067
6797632   GREENESTREET FILMS LLC                                        JOHN PENOTTI, PRESIDENT                    430 W. BROADWAY                         2ND FLOOR                                    NEW YORK            NY         10012
6797633   GREENHOUSE SPRING PRODUCTIONS, F/S/O SARAH WRIGHT             10061 RIVERSIDE DRIVE                                                                                                           TOLUCA LAKE         CA         91602
6797624   GREG NICE MUSIC                                               825 TRACE LANE                                                                                                                  LAWRENCEVILLE       GA         30046
6797629   GRIN & BEAR IT INC.                                           236 SOUTH WASHINGTON ST.                   #107                                                                                 NAPERVILLE          IL         60540
6797622   GROWTH CAPITAL SERVICES, INC.                                 ATTN: GENERAL COUNSEL                      582 MARKET STREET, SUITE 300                                                         SAN FRANCISCO       CA         94104
6797623   GUETSCHOFF THEATRES INC.                                      123 2ND AVENUE NE                                                                                                               CAMBRIDGE           MN         55008
                                                                                                                   C/O FLOOD, BUMSTEAD, MCCREADY &         2300 CHARLOTTE AVENUE, SUITE
6797613 GUITAR MONKEY ENTERTAINMENT, INC.                               F/S/O KEITH URBAN                          MCCARTHY, INC.                          103                                          NASHVILLE           TN         37203
6797604 GULF FILM LLC                                                   ATTN: SELIM ELAZAR, AUTHORIZED             P.O. BOX 81956                                                                       DUBAI                                         UNITED ARAB
6797603 GULF FILM LLC                                                   PO. BOX 81956                                                                                                                   DUBAI                                         UNITED ARAB
                                                                                                                                                                                                        CHAPULTEPE MEXICO
6797605   GUSSI, S.A. DE C.V.                                           ATTN: ALEJANDRO LEBRIJA                    GOH, IGNACIO ESTEVA N 70                COL. SAN MIGUEL                              CITY                           11850          MEXICO
6797594   GUSSI, S.A. DE C.V.                                           GOB. IGNACIO ESTEVA NO. 70                 SOL. SAN MIGUEL - CHAPU                                                              MEXICO CITY DF                 11850          MEXICO
6797588   HAMILTON, JOE FRANK & REYNOLDS                                C/O UNIVERSAL MUSIC ENTERPRISES            2220 COLORADO AVE                                                                    SANTA MONICA        CA         90404
6864605   HAMMER FILM PRODUCTIONS LIMITED                               35 VINE STREET                                                                                                                  LONDON                         EC3N 2AA       UNITED KINGDOM
6797590   HAMMERLAND MUSIC                                              255 MARKET STREET                                                                                                               LOS ANGELES         CA         90291
6797591   HAMMERLAND MUSIC                                              ATTENTION: MR. LEX KAYS                    255 MARKET STREET                                                                    LOS ANGELES         CA         90291
6797592   HAMMERLAND MUSIC                                              LEX KAYS, AN AUTHORIZED SIGNATORY          255 MARKET STREET                                                                    LOS ANGELES         CA         90291
6797593   HANOVER IMPROVEMENT                                           6041 WILSON HALL                           #202                                                                                 HANOVER             NH         03755
6797582   HANSEN, JACOBSON, TELLER, HOBERMAN,                           NEWMAN WARREN & RICHMAN, LLP               ADAM KALLER                             450 NORHT ROXBURY DRIVE 8TH                  BEVERLY HILLS       CA         90210-4222
6797583   HARKINS THEATRES                                              7511 E MCDONALD DRIVE                                                                                                           SCOTTSDALE          AZ         85250
6864606   HARRIS FISHMAN                                                2718 WESTSHIRE DRIVE                                                                                                            LA                  CA         90068
6797586   HATES, LLC                                                    ATTN: ALISON COHEN                         150 WEST 22ND STREET                                                                 NEW YORK            NY         10011
6797576   HBO PACIFIC PARTNERS                                          ATTN: REGINA TAY                           151 LORONG CHUAN                        #D4-05, NEW TECH PARK                        SINGAPORE                      556741         MALAYSIA
                                                                                                                   ATTN: REGINA TAY, SENIOR MANAGER,
6797587   HBO PACIFIC PARTNERS                                          C/O HOME BOX OFFICE (S) PTE LTD            ACCOUNTING                              151 LORONG CHUAN, #04-05                     NEW TECH PAK                   556741         SINGAPORE
6797577   HEADSPACE, INC. F/S/O VINCENZO NATALI                         C/O CREATIVE ARTISTS AGENCY                ATTN: JON LEVIN                         2000 AVENUE OF THE STARS                     LOS ANGELES         CA         90067
6864607   HEATHERDEN SECURITIES LLC                                     ATTN: GENERAL COUNSEL                      712 FIFTH AVENUE                        35TH FLOOR                                   NEW YORK            NY         10019
6864608   HEATHERDEN SECURITIES LLC C/O ELLIOT MANAGEMENT CORPORATION   ATTN: DAVID MILLER                         40 WEST 57TH ST.                                                                     NEW YORK            NY         10019
6864609   HEATHERDEN SECURITIES LLC C/O ELLIOT MANAGEMENT CORPORATION   ATTN: GENERAL COUNSEL                      40 WEST 57TH ST.                                                                     NEW YORK            NY         10019
6797578   HEAVY YOUNG HEATHENS                                          C/O TWELVESIXTY, LLC                       P.O. BOX 6470                                                                        MALIBU              CA         90264
6797579   HELENA BARRETT                                                1168 MELLOW LANE                                                                                                                SIMI VALLEY         CA         93065
6797580   HELLO FLORIDA, INC.                                           D/B/A HELLO! FLORIDA DESTINATION           ROBYN GILBERT, ACCOUNT EXECUTIVE        3840 VINELAND RD               SUITE 200     ORLANDO             FL         32811
6797581   HERNANDEZ, SANTIAGO                                           782 N W 42ND AVENUE                                                                                                             MIAMI               FL         33126
6797570   HESS FILMS, INC.                                              C/O UNITED TALENT AGENCY                   KEYA KHAYATIAN                          9336 CIVIC CENTER DRIVE                      BEVERLY HILLS       CA         90210




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                                                                                                                  Schedule G Parties Service List
                                                                                                                     Served First Class Mail
 MMLID                                 NAME                                          ADDRESS                                ADDRESS 2                           ADDRESS 3          ADDRESS 4              CITY          STATE    POSTAL CODE           COUNTRY
6477990   HESS FILMS,LLC                                            2236 S.2200 E.                                                                                                                SALT LAKE CITY   UT           84109
6797575   HI-FINESSE MUSIC AND SOUND LLC                            ATTN: JEZ OLIN                          1102 GRANT AVENUE                                                                     VENICE           CA           90291
6797558   HIGHFALL4YOU PRODUCTIONS, INC.                            SEAN PAUL BRAUD                         224 SOUTH LOPEZ STREET                                                                NEW ORLEANS      LA           70119
6797562   HISCOX INSURANCE COMPANY, INC.                            ATTN: GENERAL COUNSEL                   104 SOUTH MICHIGAN AVENUE, SUITE 600                                                  CHICAGO          IL           60603
6472656   HOLLY CONNORS                                             Address on File
6797552   HOLLYWOOD GANG PRODUCTIONS, LLC                           F/S/O GIANNI NUNNARI                    11990 SAN VICENTE BLVD                                                                LOS ANGELES      CA           90049
6797553   HOLLYWOOD RECORDS, INC.                                   C/O THE WALT DISNEY COMPANY             ATTN: ADRIAN TUSTIN, SENIOR             500 SOUTH BUENA VISTA ST.                     BURBANK          CA           91521-9750
6797549   HOME BOX OFFICE PLE LTD.                                  REGINA TAY                              151 LORONG CHUAN                        #D4-05, NEW TECH PARK                         SINGAPORE                     556741         MALAYSIA
6864610   HOME BOX OFFICE, INC.                                     1100 AVENUE OF THE AMERICAS                                                                                                   NEW YORK         NY           10036
6797547   HOME BOX OFFICE, INC.                                     2500 BROADWAY                           SUITE 400                                                                             SANTA MONICA     CA           90404
6864611   HOME BOX OFFICE, INC.                                     ATTN: SENIOR VICE PRESIDENT BUSINESS    1100 AVENUE OF THE AMERICAS                                                           NEW YORK         NY           10036
                                                                                                                                                    AND CHIEF OPERATING AND      1100 GLENDON
6864614 HOMELAND INSURANCE COMPANY OF NEW YORK                      C/O ONEBEACON ENTERTAINMENT             ATTN: JOSEPH FITZGERALD, DR. VIP        UNDERWRITING OFFICER         AVENUE, SUITE    LOS ANGELES      CA           90024
                                                                                                                                                    AND CHIEF OPERATING AND      1100 GLENDON
6864612 HOMELAND INSURANCE COMPANY OF NEW YORK                      C/O ONEBEACON ENTERTAINMENT             ATTN: JOSEPH FITZGERALD, SR. VP         UNDERWRITING OFFICER         AVENUE, SUITE    LOS ANGELES      CA           90024
                                                                                                                                                    AND CHIEF OPERATING &        11-- GLENDON
6864613   HOMELAND INSURANCE COMPANY OF NEW YORK                    C/O ONEBEACON ENTERTAINMENT             ATTN: JOSEPH FITZGERALD, SR. VP         UNDERWRITING OFFICER         AVE, SUITE 900 LOS ANGELES        CA           90024
6864615   HOMELAND INSURANCE COMPANY OF NEW YORK C/O ONEBEACON      ATTN: JOSEPH FITZGERALD                 1100 GLENDON AVENUE                     SUITE 900                                   LOS ANGELES        CA           90024
6864616   HORROR ENTERTAINMENT                                      C/O FEARNET                             ATTN: SARAH SHANNON                     1601 CLOVERFIELD BLVD        SOUTH TOWER, SANTA MONICA         CA           90404
6797537   HORROR ENTERTAINMENT, LLC                                 1601 CLOVERFIELD BLVD.                  SOUTH TOWER, SUITE 200                                                              SANTA MONICA       CA           90404
6797538   HOSTEES ENTERTAINMENT UNLIMITED                           2-10-15-3F                              MEGURO-KU                                                                           TOKYO                           153-0061       JAPAN
6797539   HOSTESS KK                                                2-10-15-3F                                                                                                                  NAKAMEGURO                      153-0061       JAPAN
6797528   HOWARD GREYNOLDS                                          D/B/A OVERCOAT RECORDINGS               6060 N. NICKERSON                                                                   CHICAGO            IL           60631
6797529   HOWROYD-WRIGHT EMPLOYMENT AGENCY, INC.                    DBA APPLEONE                            327 W. BROADWAY                                                                     GLENDALE           CA           91204
6797530   HUDMAR PUBLISHING CO., INC.                               34 NORTH PALM                           SUITE 100                                                                           VENTURA            CA           93001
6797531   HUGE GRAND INVESTMENTS LIMITED                            ATTN: TERRY WONG/MR. QIANG ZHANG, CEO   26/F TOWER ONE, TIMES SQUARE            1 MATHESON STREET                           CAUSEWAY BAY                                   HONG KONG
6797523   HUGS & HIGH FIVES (ASCAP) SONGS OF ZYNC (ASCAP)           C/O ZYNC MUSIC GROUP LLC                243 MULBERRY STREET, SUITE 4R                                                       NEW YORK           NY           10012
6797525   HUNDREDS OF HATS, LLC                                     11175 SANTA MONICA BLVD                                                                                                     LOS ANGELES        CA           90025
6797526   HUNGRY JACKAL PRODUCTIONS, INC. F/S/O                     DUSTIN LANCE BLACK                      C/O CREATIVE ARTISTS AGENCY             ATTN: CRAIG GERING           2000 AVENUE OF LOS ANGELES        CA           90067
6797516   HURWITZ CREATIVE                                          5344 VINELAND AVE.                                                                                                          NORTH HOLLYWOOD    CA           91601
6797512   I.A.T.S.E INTERNATIONAL                                   10045 RIVERSIDE DRIVE, 2ND FL                                                                                               NORTH HOLLYWOOD    CA           91602
6797513   I.A.T.S.E LOCAL 764                                       ATTN: FRANK GALLAGHER - BUSINESS        545 W 45TH ST                                                                       NEW YORK           NY           10036
          IATM, LLC C/O BLOOM HERGOTT DIEMER ROSENTHAL LAVIOLETTE
6797511   FELDMAN SCHENKMAN AND GOODMAN, LLP                        ATTN: GENERAL COUNSEL                   150 S. RODEO DRIVE                      3RD FLOOR                                     BEVERLY HILLS    CA           90212
6864621   IATM, LLC.                                                3115 S LA CIENEGA BLVD                                                                                                        LOS ANGELES      CA           90016
6864617   IATM, LLC.                                                C/O BLOOM HERGOTT DIEMER ROSENTHAL      LAVIOLETTE FELDMAN SCHENKMAN &          150 S. RODEO DRIVE, THIRD                     LOS ANGELES      CA           90016
6864619   IATM, LLC.                                                C/O BLOOM HERGOTT DIEMER ROSENTHAL LA   3115 SOUTH LA CIENEGA BLVD                                                            LOS ANGELES      CA           90016
6864620   IATM, LLC.                                                C/O BLOOM HERGOTT DIEMER ROSENTHAL      FELDMAN SCHENKMAN & GOODMAN, LLP        150 S. RODEO DRIVE, THIRD                     LOS ANGELES      CA           90016
6864618   IATM, LLC.                                                C/O BLOOM HERGOTT DIEMER ROSENTHAL      FELDMAN SCHENKMAN & GOODMAN, LLP        3115 SOUTH LA CIENEGA BLVD                    LOS ANGELES      CA           90016
6797514   IB SQUARED, INC.                                          6135 WILSHIRE BLVD.                                                                                                           LOS ANGELES      CA           90048
6797515   ICONISUS L&Y                                              1000 VENICE BLVD                                                                                                              CULVER CITY      CA           90232
6797488   ID                                                        ATTN: KELLY BUSH NOVAK, CEO             400 WEST 14TH STREET                    3RD FLOOR                                     NEW YORK         NY           10014
6797489   ID PUBLIC RELATIONS                                       7060 HOLLYWOOD BLVD.                    8TH FLOOR                                                                             LOS ANGELES      CA           90028
6797507   IDENTICAL PRODUCTION COMPANY, LLC                         ATTN: GENERAL COUNSEL                   PO BOX 440                                                                            HARTSVILLE       TN           37074
6797508   IDENTITY FILMS, LLC                                       400 WEST 14TH STREET                    3RD FLOOR                                                                             NEW YORK         NY           10014
6864622   IDG + SAIF                                                410 TOWNSEND STREET                                                                                                           SAN FRANCISCO    CA           94107
6797498   IDG CHINA CREATIVE MEDIA LIMITED                          1209 ORANGE STREET                                                                                                            WILMINGTON       DE           19801
6797499   IDG CHINA MEDIA FUND II KP                                C/O THE CORPORATION TRUST COMPANY       1209 ORANGE STREET                                                                    WILMINGTON       DE           19801
6864623   IDG CHINA MEDIA FUND II, L.P.                             IDG-ACCEL FUNDS                         AETNA TOWER                             NO. 107 ZUNYI ROAD           ROOM 1105        SHANGHAI                      20051          CHINA
6797494   IDG CHINA MEDIA FUND II, L.P./IDG-ACCEL FUNDS             ATTN: HUGO SHONG/MI ZHOU                AETNA TOWER                             NO. 107 ZUNYI ROAD           ROOM 1105        SHANGHAI                      20051          CHINA
6797500   IDG CHINA MEDIA FUND II, LLP                              ATTN: HUGO SHONG/MI ZHOU                AETNA TOWER                             NO. 107 ZUNYI ROAD           ROOM 1105        SHANGHAI                      20051          CHINA
6797495   IDG CHINA MEDIA FUND II, LTD.                             ATTN: MR. HUGO SHONG                    6TH FLOOR TOWER A, COFCO PLAZA          8 JINANGUOMENEI STREET                        BEIJING                       1000005        CHINA
6797509   IDG-ACCEL CHINA GROWTH FUND III LP                        ATTN: HUGO SHONG/MI ZHOU                AETNA TOWER                             NO. 107 ZUNYI ROAD           ROOM 1105        SHANGHAI                      20051          CHINA
6797490   IEG,LLC                                                   LAREN UKMAN                             350 NORTH ORLEANS                       SUITE 1200                                    CHICAGO          IL           60654
6797481   IGNITION PRINT                                            12959 CORAL TREE PL.                                                                                                          LOS ANGELES      CA           90066
6797482   IKIRU FILMS, S.L.                                         CARRER DE MAIGNON, 26                                                                                                         BARCELONA                     08024          SPAIN
6864625   I'LL SLEEP WHEN I'M DEAD LLC                              C/O DREAM CHASER PICTURES, INC.         D/B/A MEDIA WEAVER                      ATTN: MATT WEAVER            345 N MAPLE,     BEVERLY HILLS    CA           90210
                                                                                                                                                                                 345 N. MAPLE
6864624   I'LL SLEEP WHEN I'M DEAD LLC                              C/O DREAM CHASER PICTURES, INC.         D/B/A MEDIAWEAVER                       ATTN: MATT WEAVER            DRIVE, SUITE 281 BEVERLY HILLS    CA           90210
6864626   IM GLOBAL ,LLC                                            ROW SALES AGENT                         8201 BERVERLY BOULEVARD                 5 TH FLOOR                                    LOS ANGELES      CA           90048
6797472   IM GLOBAL FILM FUND, LLC                                  8201 BEVERLY BOULEVARD                  5TH FLOOR                                                                             LOS ANGELES      CA           90048
6864627   IM GLOBAL, LLC                                            8201 BEVERLY BOULEVARD                  5TH FLOOR                                                                             LOS ANGELES      CA           90048
6864628   IM GLOBAL, LLC                                            ATTN: GENERAL COUNSEL                   8201 BEVERLY BOULEVARD                  5TH FLOOR                                     LOS ANGELES      CA           90048




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                                                                                                                         Schedule G Parties Service List
                                                                                                                            Served First Class Mail
 MMLID                                  NAME                                                ADDRESS                               ADDRESS 2                             ADDRESS 3             ADDRESS 4            CITY          STATE    POSTAL CODE       COUNTRY
6797478   IMAGEM FILMES DISTRIBUIDORA LTD                                 AVENIDA BRIGADEIRO SILVA PAES            225- SALA 202 CAMPINAS                                                                 SAO JOSE                       88101-250    BRAZIL
6797468   IMAGEM FILMS                                                    ATTN; MARCOS SCHERER                     AVENIDA BRIGADEIRO SILVA PAES            225- SALA 202 CAMPINAS                        SAN JOSE                       88101-250    BRAZIL
6797479   IMAGEM FILMS DISTRIBUIDORA LTD.                                 ATTN: CECILE HUBERTS                     ANDRASSY UT 12                                                                         BUDAPEST                       1061         HUNGARY
6797469   IMAGEM HOLDING CORP.                                            ATTN: MS MARY LORRAINE MCDONALD          229 WEST 28TH STREET                     11TH FLOOR                                    NEW YORK          NY           10001
6797470   IMAN SHUMPERT                                                   3242 BEVERLY BLVD. S.300                                                                                                        BEVERLY HILLS     CA           90210
6797456   IMMEDIATE MUSIC LLC                                             MS. ALI PISTORESI                        2801 OCEAN PARK BOULEVARD, #415                                                        SANTA MONICA      CA           90405
6797457   IN A TREE, INC.                                                 C/O SAFE 'N SOUND ROYALTY MANAGEMENT     A DIVISION OF DAVID WEISE & ASSOCIATES 16000 VENTURA BLVD                SUITE 600     ENCINO            CA           91436
6864629   IN DEMAND, L.L.C.                                               ATTN: EMILIS NUMEZ                       345 HUDSON STREET                      17TH FLOOR                                      NEW YORK          NY           10014
6864630   IN DEMAND, L.L.C.                                               ATTN: EXECUTIVE VICE PRESIDENT,          345 HUDSON STREET, 17TH FLOOR                                                          NEW YORK          NY           10014
6797461   IN DEMAND, L.L.C.                                               ATTN: MICHAEL BERMAN, EXECUTIVE VICE     PROGRAMMING & GENERAL COUNSEL          345 HUDSON STREET                 17TH FLOOR    NEW YORK          NY           10014
6797450   INDEPENDENT FILM SERVICES                                       4204 SAN JUAN AVENUE                                                                                                            LA JUNTA          CO           81050
6797451   INDEPENDENT THEATRE BKG                                         4523 PARK ROAD                           SUITE A-105                                                                            CHARLOTTE         NC           28209
6797452   INDIANA BOOKING SERVICE                                         829 WEST MAIN STREET                                                                                                            GREENFIELD        MI           46140
6797454   INDO OVERSEAS FILM'S GROUP                                      4876 ROCHELLE AVE                                                                                                               IRVINE            CA           92604
6797453   INDOMINA FINANCE LLC                                            ATTN: ANTONIO GENNARI                    CALLE ISABEL LA CATOLICA NO. 158                                                       CIUDAD COLONIA                              DOMINICAN REPUBLIC
6797455   INNOVATIVE ACTION,INC                                           823 SHADOW MOUNTAIN DRIVE                                                                                                       HIGHLANDS RANCH   CO           80126
6797444   INTEL CORPORATION                                               2200 MISSION COLLEGE BOULEVARD                                                                                                  SANTA CLARA       CA           95054
6797445   INTERATIONAL ALLIANCE OF                                        THEATRICAL STAGE EMPLOYEES ("IASTE")     ATTN: DANIEL MAHONEY                     207 W. 25TH ST.                 4TH FL        NEW YORK          NY           10001
6864631   INTERCONTINENTAL FILM DISTRIBUTORS (H.K.) LTD.                  ATTN: MICHAEL WONG                       UNIT 1, 27/F, WYLER CENTRE               PHASE 2, 200 TAI LIN PAI ROAD                 KWAI CHUNG        NT                        HONG KONG
6797447   INTERNATIONAL ALLIANCE OF THEATRICAL STAGE EMPLOYEES            ATTN: DANIEL MAHONEY                     207 W. 25TH ST.                          4TH FL                                        NEW YORK          NY           10001
          INTERNATIONAL ALLIANCE OF THEATRICAL STAGE EMPLOYEES AND
6797441   MOVING PICTURE TECHNICIANS, ARTISTS AND ALLIED CRAFTS OF T HE   AFL-CIO, CLC                             207 W. 25TH ST.                          4TH FL                                        NEW YORK          NY           10001
          INTERNATIONAL ALLIANCE OF THEATRICAL STAGE EMPLOYEES, MOVING
6797440   PICTURE TECHNICIANS, ARTISTS AND ALLIED CRAFTS OF THE UNISTED   207 W. 25TH ST.                          4TH FL                                                                                 NEW YORK          NY           10001
          INTERNATIONAL ALLIANCE OF THEATRICAL STAGE EMPLOYEES, MOVING                                             ASST. DEPT. DIR OF MOTION PICTURE & TV
6864633   PICTURES TECHNICIANS, ARTISTS AND ALLIED CRAFTS OF THE UNITED   ATTN: DANIEL MAHONEY                     PRODUCTION                               207 W. 25TH ST., 4TH FL                       NEW YORK          NY           10001
6797428   INTERNATIONAL FAMILY ENTERTAINMENT, INC.                        ATTN: LYNN STEPANIAN                     3800 W. ALAMEDA AVENUE                   20TH FLOOR                                    BURBANK           CA           91505
6864634   INTERNATIONAL FAMILY ENTERTAINMENT, INC.                        ATTN: SENIOR VICE PRESIDENT, BUSINESS    3800 W. ALAMEDA AVENUE                                                                 BURBANK           CA           91505
6864635   INTERNATIONAL FILM GUARANTORS, LLC                              ATTN: STEVE MANGEL                       2828 DONALD DOUGLAS LOOP NORTH           2ND FLOOR                                     SANTA MONICA      CA           90405
6797431   INTERSTATE AMUSEMENTS                                           1301 FIRST AVENUE                                                                                                               COLUMBUS          GA           31901
6864636   IPIC ENTERTAINMENT                                              3300 AIRPORT ROAD                        SUITE #203                                                                             BOCA RATON        FL           33431
6797421   IRA MILLER BOOKING                                              8524 MOUNTAINHOLLY DRIVE                                                                                                        PIKESVILLE        MD           21208
6797422   IRVING MUSIC, INC.                                              ATTN: FILM & TV DEPT.                    2100 COLORADO AVE.                                                                     SANTA MONICA      CA           90404
6797325   J TRAX LLC                                                      ATTN: JAMIE ANDERSON, AN AUTHORIZED      2408 ROSCOMARE RD.                                                                     LOS ANGELES       CA           90077
                                                                          C/O YINGDU HOTEL, BUILDING A,2/F,        HENGDIAN CHINISE FILM INDUSTRIAL PARK,
6797364   J&J PROJECT LLC                                                 CONFERENCE ROOM #1                       DONGYANG                                                                               ZHEJIANG                       322118       CHINA
6797418   J. ALBERT                                                       C/O CARLIN AMERICA, INC.                 126 EAST 38TH STREET                                                                   NEW YORK          NY           10016
6797394   J. DAVID WILLIAMS                                               PANDA MEDIA FUND, LLC                    9099 TOPANGA CAANYON                   SUITE 135                                       CHADSWORTH        CA           91311
6797363   J.J. GEORGE                                                     11406 VICTORIA AVE                                                                                                              LOS ANGELES       CA           90066
6797423   JACKOWAY, TYERMAN, WERTHEIMER, AUSTEN,                          MANDELBAUM & MORRIS, PC                  ATTN: KARL AUSTEN                        1925 CENTURY PARK EAST, 22ND                  LOS ANGELES       CA           90067
6797424   JACOBS ENTERTAINMENT, INC                                       26 ALLENDALE DRIVE                                                                                                              RYE               NY           10580
6797425   JAIME IRIZARRY                                                  S-14 MONTELLANO COLINAS METRO                                                                                                   GUAYNABO          PR           00969
6797414   JAIME PRIMAK-SULLIVAN                                           C/O ICM PARTNERS                         ATTN: JOANNE WILES                       10250 CONSTELLATION                           LOS ANGELES       CA           90067
6797415   JAKE HESS                                                       HESS FILMS,LLC                           ATTN: KEYA KHAYATIAN                     9336 CIVIC CENTER DRIVE                       BEVERLY HILLS     CA           90210
6797419   JAMES CAMERON                                                   435 WEST 19TH STREET                     4TH FLOOR                                                                              NEW YORK          NY           10011
6797408   JAMES EVENS                                                     207 CATINO CT                                                                                                                   MT PROSPECT       IL           60056
6797409   JAMES EVENS OBO POPRIS PUBLISHING                               207 CATINO COURT                                                                                                                MT. PROSPECT      IL           60056
6797410   JAMES J. GEORGE                                                 11406 VICTORIA AVE.                                                                                                             LA                CA           90066
6864637   JAMES LAVELLE                                                   LULLABIES AND WAR CRIES SONGS            C/O RED LIGHT MANAGEMENT                 321 EAST MAIN STREET            SUITE 500     CHARLOTTESVILLE   VA           22902
6797412   JAMES LOPEZ                                                     1233 MONCADO DRIVE                                                                                                              GLENDALE          CA           91207
6797403   JAMES SANDERS                                                   8155 WEST CHARLESTON BLVD                UNIT 72                                                                                LAS VEGAS         NV           89117
6797404   JAMES TAMBORELLO                                                1761 SILVER LAKE BLVD.                                                                                                          LOS ANGELES       CA           90026
6797405   JANICE BROWN                                                    117 BRIDGEVIEW CIRCLE                                                                                                           HOT SPRINGS       AR           71913
6797406   JARED HESS                                                      9336 CIVIC CENTER DRIVE                                                                                                         BEVERLY HILLS     CA           90210
6797407   JARED HESS                                                      HESS FILMS, LLC                          C/O UTA, ATTN: KEYA KHAYATIAN            9336 CIVIC CENTER DRIVE                       BEVERLY HILLS     CA           90210
6797396   JARED HESS ATTN: KEYA KHAYATIAN                                 9336 CIVIC CENTER DRIVE                                                                                                         BEVERLY HILLS     CA           90210
6797397   JASON MARKEY                                                    ATTN: GENERAL COUNSEL                    26824 CACTUS TRAIL                                                                     CALABASAS         CA           91301
6797398   JASON NETTER, ARTIST                                            9701 WILSHIRE BLVD.                      SUITE 800                                                                              BEVERLY HILLS     CA           90212
6797399   JASON SUDEIKIS                                                  CREATIVE ARTIST AGENCY (CAA)- RYAN       2000 AVENUE OF THE STARS                                                               LOS ANGELES       CA           90067
6797400   JAY AMOR                                                        5320 SW 164 TERRACE                                                                                                             SW RANCHES        FL           33331
6797391   JAY POLLAK                                                      3249 S. LA CIENEGA BLVD                                                                                                         LOS ANGELES       CA           90016
6864638   JAYLYNN BAILEY                                                  C/O HOHMAN-MAYBANK-LIEB                  ATTN: BAYARD MAYBANK                     9229 SUNSET BLVD                SUITE 700     WEST HOLLYWOOD    CA           90069
6797390   JAYLYNN BAILEY                                                  C/O LICHTER, GROSSMAN, NICHOLS, ET AL.   ATTN: LINDA LICHTER                      9200 SUNSET BLVD                SUITE 1200    LOS ANGELES       CA           90069




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                                                                                                                               Served First Class Mail
 MMLID                                NAME                                                 ADDRESS                                    ADDRESS 2                            ADDRESS 3            ADDRESS 4            CITY           STATE    POSTAL CODE       COUNTRY
6797392   JC ROBAINA                                                     613 S SYCAMORE AVE.                                                                                                                 LOS ANGELES       CA           90036
6797395   JEAN CLAUDE VAN DAMME                                          C/O HIRSCH WALLERSTEIN HAYUM ET AL.          10100 SANTA MONICA BLVD                 SUITE 1700                                     LOS ANGELES       CA           90067
6797384   JEE AN (STABLEIN)                                              13811 HARVEY WALKER LANE                                                                                                            CHARLOTTE         NC           28278
6797385   JEFF BROCKTON                                                  238 SPINNAKER DR                                                                                                                    SLIDELL           LA           70458
6797386   JEFF FISHER                                                    489 S. ROBERTYSON BLVD. #206                                                                                                        BEVERLY HILLS     CA           90211
6864639   JEFFER MANGELS BUTLER & MITCHELL, LLP                          ATTN: GENERAL COUNSEL                        1900 AVENUE OF THE STARS, 7TH FLOOR                                                    LOS ANGELES       CA           90067-4308
6797388   JENNIE PARRISH                                                 730 NE 53T                                   LIGHTHOUSE PL                                                                          MIAMI             FL           33054
6797389   JENNIFER JO CAPUTO                                             350 S CALIFORNIA ST                                                                                                                 BURBANK           CA           91505
6797378   JENNIFER KLEIN                                                 C/O BLOOM HERGOTT, ET AL                     ATTN: GREG SLEWETT                      150 SOUTH RODEO DRIVE           THIRD FLOOR    BEVERLY HILLS     CA           90212
6797372   JENNY PARRISH                                                  2730 NE 53T                                                                                                                         LIGHTHOUSE PT     FL           33064
6797373   JEREMY GOLDSCHEIDER                                            1501 STEARNS DR.                                                                                                                    LOS ANGELES       CA           90035
6797374   JEREMY IRVINE                                                  8444 WILSHIRE BLVD                           5TH FLOOR                                                                              BEVERLY HILLS     CA           90211
                                                                                                                      THROUGH ITS DIVISION CONDE NAST
6797375   JEREMY STECKLER                                                C/O ADVANCE MAGAZINE PUBLISHERS INC.         ENTERAINMENT                            FOUR TIMES SQUARE                              NEW YORK          NY           10036
6797376   JEREMY STECKLER                                                C/O ADVANCE MAGAZINE PUBLISHERS INC.         DIVISION CONDE NAST ENTERTAINMENT       ATTN: ERIC SHERMAN              1801 CENTURY   LOS ANGELES       CA           90067
6797377   JERICHO ENTERTAINMENT, INC.                                    C/O JACKOWAY TYERMAN WERTHEIMER              ATTN: KARL AUSTEN                       1925 CENTURY PARK EAST          22ND FLOOR     LOS ANGELES       CA           90067
6797366   JESSY BOSWELL                                                  2002 RIVERSIDE DR. STE. 42-P                                                                                                        ASHEVILLE         NC           28804
6797367   JET PRODUCTIONS, INC.                                          ATTN: JAMES TOOLEY                           2317 WESTRIDGE ROAD                                                                    LOS ANGELES       CA           90049
6864640   JGJ EQUITY HOLDINGS, LLC                                       ATTN: JOSEPH NICHOLAS                        17001 COLLINS AVE., SUITE 4305                                                         NORTH MIAMI       FL           33160
6797370   JILL JANE CLEMENTS                                             3014 BELAIRE CIRCLE                                                                                                                 ATLANTA           GA           30340
6797371   JILL MEYERS                                                    ATTN: GENERAL COUNSEL                        1460 4TH ST, SUITE 302                                                                 SANTA MONICA      CA           90401
6797362   JIM OSBOURNE                                                   405 SOUTH BEVERLY DRIVE                                                                                                             BEVERLY HILLS     CA           90212
6797365   JOANNA BRANDT PHANTOM POWER LLC                                3431 KEESHEN DR                                                                                                                     LOS ANGELES       CA           90066
6797356   JOE,S PRODUCTIONS, INC. F/S/O JOE STILLMAN                     JOE,S PRODUCTIONS, INC. F/S/O JOE STILLMAN   JOE,S PRODUCTIONS, INC. F/S/O JOE       6239 1/2 ORANGE STREET                         LOS ANGELES       CA           90048
6797357   JOE'S PRODUCTIONS, INC./ JOE STILLMAN, WRITER                  C/O UNITED TALENT AGENCY                     ATTN: KEYA KHAYATIAN                    9560 WILSHIRE BLVD              SUITE 500      BEVERLY HILLS     CA           90212
6797358   JOEY ANDERTON                                                  11030 HARTSOOK STREET, APT. 206                                                                                                     NORTH HOLLYWOOD   CA           91601
6797359   JOEY MCFARLAND                                                 RED GRANITE PICTURES                         9255 SUNSET BLVD                        SUITE 710                                      LOS ANGELES       CA           90069
6797348   JOHN GOLDWYN                                                   C/O EMILYCO, INC.                            450 N. ROXBURY DRIVE                    8TH FLOOR                                      BEVERLY HILLS     CA           90210
6864641   JOHN MOLSON                                                    2 SOUTH AVE W, APT. 205                                                                                                             CRANFORD          NJ           07016
6797349   JOHN PAESANO                                                   C/O NEIL KOHAN                               KOHAN GREENSPAN MANAGEMENT              8760 SUNSET BLVD.                              WEST HOLLYWOOD    CA           90069
                                                                                                                                                              360 NORTH CRESCENT DRIVE,
6797350   JOHN PLANTE                                                    PARADIGM AGENCY                              ATTN: DAVID BOXERBAUM                   NORTH BUILDING                                 BEVERLY HILLS     CA           90210
6797352   JOHN SCOTT SHEPHERD COMPANY, INC F/S/O JOHN SCOTT SHEPHERD     C/O PARADIGM TALENT AGENCY                   ATTN: VALARIE PHILLIPS                  360 NORTH CRESCENT DRIVE        NORTH          BEVERLY HILLS     CA           90210
6797353   JOHN STEELE                                                    PO BOX 280                                                                                                                          SPEARFISH         SD           57783
6797344   JON FRANKEL                                                    9336 CIVIC CENTER DRIVE                                                                                                             BEVERLY HILLS     CA           90210
6797342   JONATHAN PARKS                                                 ALIBI MUSIC LP                               731 W BROAD STREET                                                                     BETHEHEM          PA           18018
6864642   JONES DAY                                                      ATTN: GENERAL COUNSEL                        555 SOUTH FLOWER STREET                 FIFTIETH FLOOR                                 LOS ANGELES       CA           90071-2300
6797345   JORDAN LONG                                                    7700 SUNSET BLVD                             SUITE 205                                                                              LOS ANGELES       CA           90046
6797346   JOSEPH ANDERSON                                                C/O MERINO YEBRI, LLP                        ATTN: JOHN BEGAKIS                      1925 CENTURY PARK EAST, SUITE                  LOS ANGELES       CA           90067
6797347   JOSEPH ANDERSON                                                P/K/A JOE NATION                             5533 EDWARD E. HORTON LANE #10                                                         ENCINO            CA           91316
6797336   JOSEPH MCGINTY NICHOL                                          C/O SLOANE, OFFER, WEBER AND DERN, LLP       ATTN: DAVID WEVER AND DJ                9601 WILSHIRE BLVD.             SUITE 500      BEVERLY HILLS     CA           90210
6797337   JOSEPH NICHOLAS C/O LECLAIR RYAN, A PROFESSIONAL CORPORATION   ATTN: GENERAL COUNSEL                        885 THIRD AVENUE, 16TH FLOOR                                                           NEW YORK          NY           10022
6797338   JOSEPH S WILSON                                                19 AVOCET LANE                                                                                                                      SIMMONSVILEE      SC           29680
6797339   JOSEPH WILLIAMS                                                1904 HALL AVE                                                                                                                       METAIRIE          LA           70003
6864643   JOSH DEUTSCH                                                   568 BROADWAY                                 SUITE 705                                                                              NEW YORK          NY           10012
6797340   JOSH HOMME                                                     C/O MYMAN GREENSPAN,FINEMAN FOX              ATTN: JEFFREY LIGHT, ESQ.               11601 WILSHIRE BOULEVARD        SUITE 2200     LOS ANGELES       CA           90025
6797341   JOSH OPPENHEIMER                                               C/O JACKOWAY TYERMAN WERTHEIMER              ATTN: KARL AUSTEN                       1925 CENTURY PARK EAST          22ND FLOOR     LOS ANGELES       CA           90067
6797330   JOSUE GUTIERREZ                                                15577 AMBERBEAM BLVD                                                                                                                WINTER GARDEN     FL           34787
6797331   JOY BERGIN AND JESSICA DENAY                                   C/O AKA TALENT AGENCY                        6310 SAN VINCENTE BLVD                SUITE 200                                        LOS ANGELES       CA           90048
6797333   JPMORGAN SECURITIES INC.                                       JESSICA KEARNS                               270 PARK AVENUE                                                                        NEW YORK          NY           10017
6797334   JS/DF PARTNERS LLC                                             C/O LEVEL FOUR                               ATTN: JORDAN SCHUR AND DOUG           11872 SAN VICENTE BLVD 4TH                       LOS ANGELES       CA           90067
6797328   JUANELL WALKER                                                 TALENT TREK AGENCY                           5401 KINGSTON PIKE                                                                     KNOCKSVILLE       TN           37919
6864644   JUNCTION FILMS, INC.                                           ATTN: DONALD KUSHNER                         9000 SUNSET BLVD., SUITE 2300                                                          WEST HOLLYWOOD    CA           90069
6864645   JUNEBUG & DIANE PRODUCTIONS INC                                1134 11TH STREET                             STE 103                                                                                SANTA MONICA      CA           90403
6797287   K & H ZRT.                                                     LECHNER ODON FASOR 9                         VIGADOR TER 1                                                                          BUDAPEST                       H-1095         HUNGARY
6797318   KANZEON CORP.                                                  C/O CREATIVE ARTISTS AGENCY                  ATTN: JOSH LIEBERMAN AND JOHN CAMPISI 2000 AVENUE OF THE STARS                         CENTURY CITY      CA           90067
6797319   KAPOW STUNTS INC                                               330 DAHLIA ST METAIRIE                                                                                                              METAIRIE          LA           70005-4321
6797320   KAREN CRONER                                                   C/O JACKOWAY TYERMAN WERTHEIMER              ATTN: ALAN WERTHEIMERM ESQ.             1925 CENTURY PARK EAST, 22ND                   LOS ANGELES       CA           90067
6864646   KARMA FILM, INC.                                               C/O VERVE TALENT AND LITERARY AGENCY         ATTN: ADAM LEVINE                       9696 CULVER BLVD                SUITE 301      CULVER CITY       CA           90232
6864648   KARSTEN FRISKE                                                 20 GARRISON RD.                                                                                                                     WEAVERVILLE       NC           28787
6864647   KARSTEN FRISKE                                                 2002 RIVERSIDE DR STE                                                                                                               ASHEVILLE         NC           28804
6864651   KASIMA, LLC                                                    ATTN: GENERAL COUNSEL                        ONE INTERNATIONAL BLVD.                 SUITE 902                                      MAHWAH            NJ           07495
6864652   KASIMA, LLC                                                    ONE INTERNATIONAL BLVD., STE. 902                                                                                                   MAHWAH            NJ           07495




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                                                                                                                    Schedule G Parties Service List
                                                                                                                       Served First Class Mail
 MMLID                                             NAME                               ADDRESS                              ADDRESS 2                              ADDRESS 3              ADDRESS 4           CITY            STATE    POSTAL CODE        COUNTRY
6797315 KATE EDWARDS                                                365 WEST 20TH ST                          APT 7B                                                                                 NEW YORK           NY           10011
6797316 KATE MCKINNON                                               C/O HANSEN, JACOBSON, NEWNAM, WARREN,     450 NORTH ROXBURY DRIVE                                                                BEVERLY HILLS      CA           90210
                                                                    C/O HANSEN, JACOBSON, TELLER, HOBERMAN,
6797317   KATE MCKINNON                                             NEWMAN, WARREN, RICHMAN, RUSH &           ATTN: MELISSA FOX                       450 N ROXBURY DR                               BEVERLY HILLS      CA           90210
6797308   KATHY CAMPBELL                                            1205 E. WASHINGTON ST                     SUITE 107                                                                              LOUISVILLE         KY           40206
6797309   KEITH DINIELLI                                            4215 VINELAND AVE.                        APT #22                                                                                STUDIO CITY        CA           91602
6797310   KELLEY BROWN                                              198 VALLEY RIDGE CIRCLE                                                                                                          HOT SPRINGS        AR           71913
6797311   KELLEY LOGSDON OBO KOOOL G MURDER MUSIC                   3544 THE PASEO                                                                                                                   LOS ANGELES        CA           90065
6797302   KELLY BROWN                                               198 VALLEY RIDGE CIRCLE                                                                                                          HOT SPRINGS        AZ           71913
6797303   KELLY JOINER                                              STYLUS RECORDS / STEREOPHONICS.COM        44 CHISWICK LANE                                                                       LONDON                          W4 2JQ         UNITED KINGDOM
6797297   KELLY TIPPENS                                             3827 COWAN CIRCLE                                                                                                                ACWORTH            GA           30205
6797298   KEN ESTRADA PHOTOGRAPHY                                   1034 E VALENCIA AVE                                                                                                              BURBANK            CA           91501
6797299   KEN MARINO                                                360 N CRESCENT DR                                                                                                                BEVERLY HILLS      CA           90210
6797288   KENNEDY BRICE                                             227 LINDEN DR.                                                                                                                   WAYCROSS           GA           31501
6797289   KERASOTES THEATRES                                        3 WEST FAIRVIEW LANE                                                                                                             SPRINGFIELD        IL           62711
6797290   KERRY ROSSALL                                             2361 BUENA VISTA CIR                                                                                                             CARLSBAD           CA           92008
6797291   KEVIN BEARD                                               13547 VENTURA BLVD #354                                                                                                          SHERMAN OAKS       CA           91423
6797282   KEVIN COSTNER                                             C/O ALVEREZ & SHELLY                      P.C                                     14156 MAGNOLIA BOULEVARD         SUITE 102     SHERMAN OAKS       CA           91423
6797293   KEVIN COSTNER C/O ALVAREZ & SHELLEY, P.C.                 ATTN: FRANCIS SHELLEY                     14156 MAGNOLIA BOULEVARD, SUITE 102                                                    SHERMAN OAKS       CA           91423
6797283   KEVIN PAUL MCMAHON                                        128 S CATALINA ST. #2                                                                                                            LOS ANGELES        CA           90004
6797286   KEVIN R WILLIAMS OBO HOLOGRAM SCENE MUSIC                 165 PARKWOOD DRIVE                                                                                                               ROYAL PALM BEACH   FL           33411
6797284   KEVIN RODNEY SULLIVAN                                     C/O FILMORE WEAT ENTERTAINMENT            C/O HIRSCH, WALLERSTEIN, HAYUM ET AL.   10100 SANTA MONICA BLVD          SUITE 1700    LOS ANGELES        CA           90067
6797285   KEVIN RODNEY SULLIVAN                                     C/O HIRSCH WALLERSTEIN                    ATTN: BARRY HIRSCH                      10100 SANTA MONICA               SUITE 1700    LOS ANGELES        CA           90067
6797276   KICKSTART PRODUCTIONS, INC.                               ATTN: HOWARD ABRAMSON, ESQ.               C/O BEHR & ABRAMSON, LLP                9701 WILSHIRE BLVD., SUITE 800                 BEVERLY HILLS      CA           90212
6797277   KING THEATRES                                             413 2ND STREET                                                                                                                   IDA GROVE          IA           51445
6797278   KINOWELT GMBH                                             LEGAL & BUSINESS AFFAIRS                  KARL-TAUCHNITZ-STRASSE                  10, D-04107                                    LEIPZIG                                        GERMANY
6797279   KNIGHT GLOBAL, LLC                                        ATTN: CORPORATE LEGAL                     3000 31ST STREET, SUITE E               3000 31ST STREET, STE E                        SANTA MONICA       CA           90405
6797280   KNIGHT GLOBAL, LLC                                        ATTN: MATTHEW KAVANAUGH                   3000 31ST STREET, STE E                                                                SANTA MONICA       CA           90405
6797281   KNIGHT GLOBAL, LLC                                        ATTN: MATTHEW KAVANAUGH                   9663 SANTA MONICA BLVD.                 SUITE 884                                      BEVERLY HILLS      CA           90210
6797270   KNUCKLE SANDWICH, INC                                     2000 AVENUE OF THE STARS                                                                                                         LOS ANGELES        Ca           90067
6797271   KNUCKLE SANDWICH, INC. F/S/O DANNY MCBRIDE                C/O CREATIVE ARTISTS AGENCY               ATTN: GREG MCKNIGHT                     2000 AVENUE OF THE STARA                       LOS ANGELES        CA           90067
6797272   KOBALT MUSIC PUBLISHING AMERICA                           317 MADISON AVENUE                        SUITE 2310                                                                             NEW YORK           NY           10017
6864654   KOBALT MUSIC PUBLISHING AMERICA, INC.                     1501BROADWAY 27TH FL                                                                                                             NEW YORK           NY           10036
6797259   KOBALT MUSIC PUBLISHING AMERICA, INC.                     220 WEST 42ND STREET                      11TH FLOOR                                                                             NEW YORK           NY           10036
6864655   KOBALT MUSIC PUBLISHING AMERICA, INC.                     220 WEST 42ND STREET                                                                                                             NEW YORK           NY           10036
6797246   KOOKCONNECT TECHNOLOGIES INC.                             ATTN: ANDRES BORBON                       755 DEDHAM STREET                                                                      CANTON             MA           02021
6797247   KRIKORIAN PREMIER                                         10450 LARAMIE                                                                                                                    CHATSWORTH         CA           91311
6797248   KRISCO MEDIA FZC                                          P.O. BOX 31303                            EMIRATES TOWERS, LEVEL 41, SHEIKH                                                      DUBAI                                          UNITED ARAB
6797249   KRISTEN WIIG                                              UNITED TALENT AGENCY                      9336 CIVIC CENTER DR                                                                   BEVERLY HILLS      CA           90210
6797250   KROOPF                                                    C/O JACKOWAY TYERMAN, WERTHEIMER,         ALAN WERTHEIMER, ESQ.                   1925 CENTURY PARK EAST, 22ND                   LOS ANGELES        CA           90067
                                                                                                                                                      AUSTEN MANDELBAUM MORRIS + 1925 CENTURY
6864656   KUBIER ENTERTAINMENT, INC.                                ATTN: ALAN WERTHEIMER, ESQ.               JACKOWAY TYERMAN WERTHEIMER             KLEIN                        PARK EAST -        LOS ANGELES       CA           90067
6797241   KUBIER ENTERTAINMENT, INC.                                JACKOWAY TYERMAN WERTHEIMER AUSTEN        ATTN: ALAN WERTHEIMER, ESQ.             1925 CENTURY PARK EAST       22ND FLOOR         LOS ANGELES       CA           90067
6797242   KUONI DESTINATION MANAGEMENT USA INC.                     701 WATERFORD WAY                         SUITE 160                                                                               MIAMI             FL           33126
6797243   KUONI DESTINATION MANAGEMENT USA INCE                     701 WATERFORD WAY                         SUITE 160                                                                               MIAMI             FL           33126
6797238   L.A. LIBATIONS LLC                                        ATTN:DINO SARTI                           80 W. SIERRA MADRE BLVD.              SUITE 364                                         SIERRA MADRE      CA           91024
6797223   LA RIGGING AND STUNTS                                     F/S/O LUIS RAUL ALCOCER                   PMB. 753                              #1353                              LUIS VIGOREAUX GUAYNABO          PR           00966
6797244   LABORATORY                                                CINEPOST PRODUCTIONS GMBH                 NIEDERLASSUNG BERLIN HARZER STRAßE 39                                                   BERLIN                         12059          GERMANY
6797245   LABRADOR AB                                               KVAMGATAN 2                                                                                                                       STOCKHOLM                      11847          SWEDEN
6797234   LABRADOR AB                                               KVARNGATAN 2                                                                                                                      STOCKHOLM                      11847          SWEDEN
6864657   LACROSSE THEATRES                                         PO BOX 2702                                                                                                                       LACROSSE          WI           54602
6797236   LAEMMLE THEATRES                                          11523 SANTO MONICA BLVD                                                                                                           LOS ANGELES       CA           90025
6797237   LAKEWOOD TRIP                                             1920 ADELICIA STREET                      #300                                                                                    NASHVILLE         TN           37212
6864658   LAMF LLC                                                  ATTN: GENERAL COUNSEL                     8040 WILSHIRE BLVD.                     3RD FLOOR                                       BEVERLY HILLS     CA           90211
6797232   LANDSCAPE ENTERTAINMENT                                   ATTN: BOB COOPER                          12400 WILSHIRE BOULEVARD                12TH FLOOR                                      LOS ANGELES       CA           90025
6797233   LANGHORNE SLIM                                            C/O ZYNC MUSIC GROUP.                     243 MULBERRY STREET                     SUITE 4R                                        NEW YORK          NY           10012
6797222   LAPIDUS, ROOT, FRANKLIN & SACHAROW, LLP                   1299 OCEAN AVENUE                         SUITE 306                                                                               SANTA MONICA      CA           90401
6797224   LARRY BROWN                                               117 BRIDGEVIEW CIR                                                                                                                HOT SPRING        AR           71915
6797227   LASH FILMS, INC                                           ATTN: TRACEY JACOBS & KEYA KHAYATIAN      C/O UNITED TALENT AGENCY                9560 WILSHIRE BLVD, SUITE 500                   BEVERLY HILLS     CA           90212
6864659   LASSE HALLSTROM                                           C/O UNITED TALENT AGENCY                  ATTN: TRACY JACOBS & KEYA KHAYATIAN     9560 WILSHIRE BLVD., SUITE 500                  BEVERLY HILLS     CA           90212
6797217   LASSE HALLSTROM                                           LASH FILMS, INC.                          LASH PRODUCTIONS                        15030 VENTURA BOULEVARD          #525           SHERMAN OAKS      CA           91403
6797218   LASSER PRODUCTIONS, LLC                                   ATTN: TREVOR MACY                         1221 SECOND STREET                      SUITE 200                                       SANTA MONICA      CA           90401
6864660   LASSER PRODUCTIONS, LLC                                   TREVOR MACY AND MARC D. EVANS             10323 SANTA MONICA BOULEVARD                                                            LOS ANGELES       CA           90025




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 MMLID                                  NAME                                          ADDRESS                                 ADDRESS 2                               ADDRESS 3       ADDRESS 4            CITY         STATE    POSTAL CODE      COUNTRY
6797221   LATINAMERICAN THEATRICAL GROUP, LLC                       2385 EXECUTIVE CENTER DRIVE                 SUITE 100                                                                         BOCA RATON         FL         33431
6797210   LATINAMERICAN THEATRICAL GROUP, LLC                       ATTENTION: JAIME PENARANDA                  2385 EXECUTIVE CENTER DRIVE              SUITE 100                                BOCA RATON         FL         33431
6797211   LATOYA AMMONS                                             C/O GREENBERG TRAURIG, LLP                  ATTN: DAVID MARKMAN                      1840 CENTURY PARK EAST     SUITE 1900    LOS ANGELES        CA         90067
6797212   LAURA NICOLE FIGUEROA ALEMAN                              PO BOX 846                                                                                                                    DORADO             PR         00646
6797213   LAURA PALKA                                               7911 PEMSWOOD ST.                                                                                                             CHARLOTTE          NC         28203
6797214   LAURENCE CHAVEZ                                           3603 WILLOW GLEN TRAIL                                                                                                        SUWANEE            GA         30024
6864661   LAVA FILMS LLC                                            3201B SOUTH LA CIENEGA BLVD                                                                                                   LOS ANGELES        CA         90016
6797204   LAZARD FRERES & CO. LLC                                   ATTN: GENERAL COUNSEL                       30 RECKEFELLER PLAZA                                                              NEW YORK           NY         10112
6797205   LD ENTERTAINMENT                                          14201 CALIBER DRIVE                         SUITE 120                                                                         OKLAHOMA CITY      CA         90069
6797206   LD ENTERTAINMENT                                          14201 CALIBER DRIVE                         SUITE 120                                                                         OKLAHOMA CITY      OK         73134
6864662   LD ENTERTAINMENT LLC                                      ATTN:BRAIN WOOLDAND                         14201 CALIBER DRIVE                      SUITE 120                                OKALAHOMA CITY     OK         73134
6797200   LD ENTERTAINMENT LLC                                      SVP BUSINESS & LEGAL AFFAIRS                14201 CALIBER DRIVE                      SUITE 120                                OKLAHOMA CITY      OK         73134
6864663   LEFONT THEATRES, INC.                                     2835 PEACHTREE TOADD                                                                                                          ATLANTA            GA         30305
6864664   LEFT BEHIND INVESTMENTS, INC.                             ATTN: MICHAEL WALKER                        1 ST. PAUL STREET, SUITE 701                                                      ST. CATHARINES     ON         L2R7L4       CANADA
6864665   LEFT BEHIND INVESTMENTS, LLC                              ATTN: MICHAEL WALKER                        1 ST. PAUL STREET, SUITE 701                                                      ST. CATHARINES     ON         L2R7L4       CANADA
6797187   LEGAL CAPITAL INVESTMENTS I LLC                           200 VARICK STREET                           SUITE 803                                                                         NEW YORK           NY         10007
6797188   LEGAL OPTION GROUP, INC.                                  1901 AVENUE OF THE STARS                    SUITE 800                                                                         LOS ANGELES        CA         90067
6797189   LEGION CAPITAL INVESTMENTS I, LLC                         ATTN: MICHAEL SEPSO                         WE: WOMEN'S ENTERTAINMENT LLC            200 VARICK STREET          SUITE 803     NEW YORK           NY         10007
6797190   LEM DOBBS                                                 C/O CREATIVE ARTISTS AGENCY                 ATTN: BRIAN KEND                         2000 AVENUE OF THE STARS                 LOS ANGELES        CA         90067
6797191   LESCHER.MOKUAU.GROUP                                      ATTN: MARC LESCHER                          24955 PACIFIC COAST HIGHWAY              SUITE A101                               MALIBU             CA         90265
6797180   LESLIE JONES                                              13300 VICTORY BL STE. 349                                                                                                     VAN NUYS           CA         91401-1831
6797181   LESLIE JONES                                              13300 VICTORY BLVD                          STE 349                                                                           VAN NUYS           CA         91401
6797182   LESSER THEATRE SERVICE                                    166 LEVINBERG LANE                                                                                                            WAYNE              NJ         07470
6797183   LESSER THEATRE SERVICES                                   ATTN: ROB LAWINSKI                          166 LEVINBERG LANE                                                                WAYNE              NJ         07470
6797184   LEVCOR CINEMA CORP.                                       ATTN: SALVATORE CORRENTE - VICE PRESIDENT   151 MAPLE STREET                                                                  MASSAPEQUA PARK    NY         11762
6864666   LEX D GIDDINGS                                            2514 GATES CIRCLE                           #22                                                                               BATON ROUGE        LA         70809
6797174   LEX GEDDINGD                                              2514 GATES CIRCLE                           #2                                                                                BATON ROUGE        LA         70809
6797175   LINDA EISEN/COSTAL TALENT                                 PO BOX 1142                                                                                                                   ISLA OF PALMS      SC         29414
6797176   LION GATE INTERNATIONAL SALE, LLC                         ATTN: BUSINESS & LEGAL AFFAIRS              2700 COLORADO AVENUE                     SUITE 200                                SANTA MONICA       CA         90404
6797177   LION GATES INTERNATIONAL SALE, LLC                        ATTN: BUSINESS & LEGAL AFFAIRS              2700 COLORADO AVENUE                     SUITE200                                 SNATA MONICA       CA         90404
6797165   LIONS GATE FILMS INC.                                     ATTN: JASON CONSTANTINE, PRESIDENT-         2700 COLORADO AVENUE                     SUITE 200                                SANTA MONICA       CA         90404
6797167   LIONS GATE FILMS INC.                                     ATTN: JOE DRAKE, PRESIDENT                  2700 COLORADO AVENUE                     SUITE 200                                SANTA MONICA       CA         90404
6797166   LIONS GATE FILMS INC.                                     JASON CONSTANTINE                           PRESIDENT - ACQUISITIONS                 2700 COLORADO AVENUE       SUITE 200     SANTA MONICA       CA         90404
6797164   LIONS GATE FILMS, INC.                                    ATTN: EVP, BUSINESS & LEGAL AFFAIRS         ACQUISITIONS & CO-PRODUCTIONS            2700 COLORADO AVENUE       SUITE 200     SANTA MONICA       CA         90404
6797156   LIONS GATE FILMS, INC.                                    ATTN: PETER BLOCK                           2700 COLORADO AVE.,                      SUITE 200                                SANTA MONICA       CA         90404
6797158   LIONS GATE INTERNATIONAL SALE, LLC                        ATTN: BUSINESS & LEGAL AFFAIRS              2700 COLORADO AVENUE                     SUITE 200                                SANTA MONICA       CA         90404
6797154   LIONS GATE INTERNATIONAL SALES, LLC                       INTERNATIONAL BUSINESS & LEGAL AFFAIRS      2700 COLORADO AVENUE                     SUITE 200                                SANTA MONICA       CA         90404
6797157   LIONSGATE FILMS                                           JASON CONSTANTINE, PRESIDENT-               2700 COLORADO AVENUE                     SUITE 200                                SANTA MONICA       CA         90404
6797155   LISTENFIRST MEDIA LLC                                     ATTN: GENERAL COUNSEL                       24 CALHOUN DRIVE                                                                  GREENWICH          CT         06831
6797144   LITCHER, GROSSMAN, NICHOLS, ADLER & FELDMAN, INC.         PETER NICHOLD                               9200 SUNSET BOULEVARD                    SUITE 1200                               WEST HOLLYWOOD     CA         90069
                                                                                                                                                                                                  BEIJING CHAOYANG
6864667 LIU AIFAN                                                   NO. 5-505, CATHAY VIEW                      1 GUAN TANG EAST ROAD                                                             DISTRICT                      100102       CHINA
6797145 LLOYD AUSTIN C/O GREENBERG TRAURING, LLP                    1840 CENTURY PARK EAST                      SUITE 1900                                                                        LOS ANGELES        CA         90067-2121
6797149 LMB HOLDINGS LIMITED                                        FIRST FLOOR, MILLENNIUM HOUSE               VICTORIA ROAD                                                                     DOUGLAS                       IM2 4RW      ISLE OF MAN
        LOCAL #755 OPERATIVE PLASTERERS & CEMENT MASONS             DIRECTORS OF THE MOTION PICTURE INDUSTRY
6797140 INTERNATIONAL ASSOCIATION OF THE UNITED STATES AND CANADA   PENSION AND HEALTH CPLAN                    11385 VENTURA BOULEVARD                                                           STUDIO CITY        CA         91504
6797138 LOCAL 161 - I.A.T.S.E.                                      630 NINTH AVENUE                            SUITE 1103                                                                        NEW YORK           NY         10036
6797139 LOCAL 161 - I.A.T.S.E.                                      ATTN: COLLEEN DONAHUE, BUSINESS AGENT       630 NINTH AVENUE, SUITE 1103                                                      NEW YORK           NY         10036
6797141 LOEKS THEATRES, INC.                                        2121 CELEBRATION DR. NE                                                                                                       GRAND RAPIDS       MI         49525
6797142 LOGO NETWORK                                                ATTN: BUSINESS & LEGAL AFFAIRS              345 HUDSON STREET                        OFFICE 3-209                             NEW YORK           NY         10014
6797143 LONE STAR THEATRES, INC                                     3900 DALLAS PKWY                            SUITE 500                                                                         PLANO              TX         75093
6797126 LORETTA HARENBURG                                           10746 FRANCE PLACE                          APT 302                                                                           LOS ANGELES        CA         90034
6797130 LORNE MICHAELS                                              2000 AVENUE OF THE STAR                                                                                                       LOS ANGELES        CA         90067
6797120 LORNE MICHAELS AND EMILYCO, INC.                            2000 AVENUE OF THE STAR                                                                                                       LOS ANGELES        CA         90067
6797121 LUANNA BERNIER/ MONARCH TALENT AGENCY                       PO BOX 77044                                                                                                                  CHARLOTTE          NC         28271
6797123 LUCAS TILL                                                  GRINDFIRST PRODUCTION                       6420 WILSHIRE BLVD                       STE 1080                                 LOS ANGELES        CA         90048
6797122 LUCAS, H BOOKING & BUYING                                   PO BOX 861                                                                                                                    WHEATON            IL         60187
6797124 LUCKY CRICKET PRODUCTIONS LLC                               76 PROGRESS DR                              #200                                                                              STAMFORD           CT         06902
                                                                                                                                                                                                  BEIJING CHAOYANG
6864668   LUI AIFAN                                                 NO. 5-505                                   CATHAY VIEW, 1 GUAN TANG EAST RIAD                                                DISTRICT                      100102       CHINA
6797125   LUIS RAUL ALCOCER                                         1353 LUIS VIGOREAUX                         753                                                                               GUAYNABO           PR         00966
6797115   LYLEWORKS PRODUCTIONS, INC.                               C/O FIRST ARTISTS MANAGEMENT                ATTN: VAS VANGELOS                       4764 PARK GRANADA          SUITE 210     CALABASAS          CA         91302
6797116   LYNDA ERKILETIASN / PRESIDENT                             3550 WILSHIRE BLVD. #840                                                                                                      LOS ANGELES        CA         90010




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6797117   LYNDSAY CARR                                       334 SHOBARD BLVD.                                                                                                       LOS ANGELES        CA         90020
6796922   M &N BOOKING SERVICE                               600 2ND STREET                                                                                                          JACKSON            MN         56143
6797118   M3 CREATIVE                                        4111 WEST ALAMEDA AVENUE                                                                                                BURBANK            CA         91505
6797119   MACCUBBIN, TROY                                    ALLOY TRACKS LLC                     5650 CAMELLIA AVENUE                                                               NORTH HOLLYWOOD    CA         91601
6864669   MACQUARIE INVESTMENTS US LLC                       ATTN: GENERAL COUNSEL                125 WEST 55TH STREET                                                               NEW YORK           NY         10019
6864671   MACQUARIE US TRADING LLC                           ATTN: AGENCY SERVICES- MACQUARIE     225 WEST WASHINGTON STREET              21ST FLOOR                                 CHICAGO            IL         60606
6864672   MACQUARIE US TRADING LLC                           ATTN: GENERAL COUNSEL                125 WEST 55TH STREET                                                               NEW YORK           NY         10019
6864670   MACQUARIE US TRADING LLC                           ATTN: GENERAL COUNSEL                155 NORTH LAKE AVE.                     (LK-03-17)                                 PASADENA           CA         91101
6864673   MACQUARIE US TRADING LLC                           ATTN: PORTFOLIO ADMINISTRATION       125 WEST 55TH STREET                                                               NEW YORK           NY         10019
6864674   MACQUARIE US TRADING, LLC                          225 WEST WASHINGTON STREET           21ST FLOOR                                                                         CHICAGO            IL         60606
6797110   MAGIC BULLET RECORDS, LLC                          DARK OPERATIVE PUBLISHING            1450 PINE RIDGE ROAD                                                               OCEANSIDE          CA         92056
6797111   MAIN STREET THEATRES, INC.                         13117 LAFAYETTE AVENUE                                                                                                  OMAHA              NE         68154
6797113   MAJOR LEAGUE GAMING INC.                           ATENTION: MICHAEL SEPSO              420 LEXINGTON AVENUE                    SUITE 2820                                 NEW YORK           NY         10170
6864675   MAJOR LEAGUE GAMING INC.                           ATTN: MICHAEL SEPSO                  3 PARK AVENUE                           32ND FLOOR                                 NEW YORK           NY         10016
6797112   MAJOR LEAGUE GAMING, INC                           3 PARK AVENUE                                                                                                           NEW YORK           NY         10007
6797102   MAJOR LEAGUE GAMING, INC                           ATTEN:MIKE SEPSO                     3 PARK AVENUE                                                                      NEW YORK           NY         10007
6864676   MAJOR LEAGUE GAMING, INC.                          GREG CHISHOLM, CFO                   3 PARK AVENUE                           32ND FLOOR                                 NEW YORK           NY         10016
6797106   MAKE IT RAIN,LLC D/B/A NINJA TRACKS                11400 W.OLYMPICBLVD. 9TH FL.                                                                                            LOS ANGELES        CA         90064
6797096   MAKE IT RAIN,LLC D/B/A NINJA TRACKS                C/O WOLF RIFKIN SHAPIRO SCHULMAN &   ATTN: BRIAN L. SCHALL, ESQ.             11400 W. OLYMPIC BOULEVARD   9TH FLOOR     LOS ANGELES        CA         90025
6797097   MAKER STUDIOS, INC.                                500 S. BUENA VISTA STREET                                                                                               BURBANK            CA         91521
6797098   MAKER STUDIOS,INC                                  C/O THE WALT DISNEY COMPANY          ATTN: ADRIAN TUSTIN, SENIOR             500 S. BUENA VISTA STREET                  BURBANK            CA         91521
6864677   MALAPROP MUSIC (ASCAP)                             ATTN: ROB MEURER                     12831 MOORPARK STREET                   #14                                        STUDIO CITY        CA         91604
6797101   MALCO THEATRES                                     5851 RIDGE WAY CENTER                                                                                                   MEMPHIS            TN         38120
6797092   MAMMOTH ADVERTISING, LLC                           ATTENTION MARIA QUINN, PRINCIPAL     45 MAIN STREET                          STE 1006                                   BROOKLYN           NY         11201
6480088   MANCHESTER LIBRARY COMPANY LLC                     Address on File
6864683   MANCHESTER LIBRARY COMPANY LLC                     ATTEN: DAVID MILLER                  40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864681   MANCHESTER LIBRARY COMPANY LLC                     ATTN: ELLIOT GREENBERG               40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864682   MANCHESTER LIBRARY COMPANY LLC                     ATTN: ELLIOTT GREENBERG              40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864679   MANCHESTER LIBRARY COMPANY LLC                     ATTN: JOHANNES WEBER                 ATTN: ELLIOT GREENBERG                  40 WEST 57TH STREET                        NEW YORK           NY         10019
6864680   MANCHESTER LIBRARY COMPANY LLC                     C/O ELLIOT MANAGEMENT                ATTN: DAVID MILLER                      40 WEST 57TH STREET                        NEW YORK           NY         10019
6864685   MANCHESTER LIBRARY COMPANY, LCC                    ATTN: DAVID MILLER                   40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864690   MANCHESTER LIBRARY COMPANY, LLC                    ATTN: GENERAL COUNSEL                40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864689   MANCHESTER LIBRARY COMPANY, LLC                    ATTN: JOHANNES WEBER                 40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864686   MANCHESTER LIBRARY COMPANY, LLC                    ELLIOT GREENBURG, VP                 JOHANNES WEBER                          40 WEST 57TH STREET                        NEW YORK           NY         10019
6864691   MANCHESTER LIBRARY COMPANY,LLC                     ATTN: DAVID MILLER                   40 W 57TH STREET                                                                   NEW YORK           NY         10019
6864692   MANCHESTER SECURITIES CORP                         40 W 57TH STREET                                                                                                        NEW YORK           NY         10019
6864693   MANCHESTER SECURITIES CORP                         40 WEST 57TH STREET                  30TH FLOOR                                                                         NEW YORK           NY         10019
6480073   MANCHESTER SECURITIES CORP.                        Address on File
6864695   MANCHESTER SECURITIES CORP.                        ATTN: ELLIOT GREENBERG               40 WEST 57TH STREET                     30TH FLOOR                                 NEW YORK           NY         10019
6864696   MANCHESTER SECURITIES CORP.                        ATTN: GENERAL COUNSEL                40 WEST 57TH STREET 4TH FLOOR                                                      NEW YORK           NY         10019
6864698   MANCHESTER SECURITIES CORP.                        ATTN: GENERAL COUNSEL                712 FIFTH AVENUE                        35TH FLOOR                                 NEW YORK           NY         10019
6864697   MANCHESTER SECURITIES CORP.                        HARRY RIMALOWER                      40 WEST 57TH STREET                                                                NEW YORK           NY         10019
6864700   MANCHESTER SEURITIES CORP.                         40 W 57TH STREET                     31ST FLOOR                                                                         NEW YORK           NY         10019
6797093   MANDA ATKINSON                                     310 CRESTVIE DR                                                                                                         HOT SPRINGS        AZ         71913
6797094   MANDI BEERS                                        1416 EMERALD FOREST PARKWAY                                                                                             CHARLESTON         SC         29414
6864701   MANN THEATRES                                      16530 VENTURA BLVD,                  SUITE 500                                                                          ENCINO             CA         91436
6797084   MANN THEATRES (MN)                                 900 EAST 80TH STREET                                                                                                    BLOOMINGTON        MN         55420
6797085   MARAJU MUSIC                                       ATTN: LINDA CALLAWAY                 P.O. BOX 302425                                                                    AUSTIN             TX         78703
6797086   MARCH, JACK                                        5503 LAKESHORE DRIVE                                                                                                    OKOBOJI            IA         51355
6797078   MARCIA DEROUSSE                                    3062 CALANDA AVENUE                                                                                                     ALTADENA           CA         91001
6797079   MARCUS FILM BUYING                                 14742 KRYPTON COURT NW                                                                                                  RAMSEY             MN         55303
6797080   MARCUS THEATRES CORP                               100 W WISCONSIN                      20TH FLOOR                                                                         MILWAUKEE          WI         53202
6797073   MARK STEVEN JOHNSON                                C/O HIRSCH WALLERSTEIN ET AL.        ATTN: DAVID MALOF                       10100 SANTA MONICA BLVD.     SUITE 1700    LOS ANGELES        CA         90067
6797074   MARK THOMAS HANNAH                                 DBA BOOMERANG!                       514 SOUTH GAYLORD DRIVE                                                            BURBANK            CA         91505
6797075   MARK WOOLLEN & ASSOCIATES                          207 ASHLAND AVENUE                                                                                                      SANTA MONICA       CA         90405
6797072   MARKMONITOR INC.                                   P.O. BOX 71398                                                                                                          CHICAGO            IL         60694
6864702   MARKMONITOR, INC.                                  ATTN: LEGAL                          391 N. ANCESTOR PLACE                                                              BOISE              ID         83704
6797076   MARLENE HARTJE/ THE MARLENE AGENCY                 6080 CENTER DRIVE SUITE 694                                                                                             LOS ANGELES        CA         90045
6797077   MAROIA DEROUSSE                                    3062 CALANDA AVENUE                                                                                                     ALTADENA           CA         91001
6797066   MARQUEE CINEMAS                                    5475 EDGECLIFF CIRCLE                                                                                                   WESTLAKE VILLAGE   CA         91362
6797067   MARSHAL STRICLAND MUSIC                            8903 LATITUDES DRIVE APT 419                                                                                            INDIANAPOLIS       IN         46237
6797068   MARTIN CAMPBELL                                    C/O CREATIVE ARTISTS AGENCY          2000 AVENUE OF THE STARS                                                           LOS ANGELES        CA         90067
6864703   MARTIN DOLFI                                       155 WEST 15TH STREET APT.2G                                                                                             NEW YORK           NY         10011




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 MMLID                                NAME                                                 ADDRESS                                 ADDRESS 2                              ADDRESS 3         ADDRESS 4           CITY           STATE    POSTAL CODE       COUNTRY
6797071   MARY ELIZABETH ELLIS                                            200 AVENUE OF THE STARS                     NORTH TOWER 3RD FLOOR                                                             LOS ANGELES       CA           90067
6797069   MARYANNIS MUSIC                                                 2384 PANORAMA TERRACE                                                                                                         LOS ANGELES       CA           90039
6797070   MARYANNIS MUSIC O/B/O ITSELF, FORTE PIANO MUSIC AND FYR MUSIC   C/O EVOLUTION MUSIC PARTNERS, LLC           1680 N. VINE ST                         SUITE 500                                 HOLLYWOOD         CA           90028
6797062   MASERGY COMMUNICATIONS INC                                      2740 N. DALLAS PKWY                         SUITE 250                                                                         PLANO             TX           75093
6797063   MASERGY COMMUNICATIONS, INC.                                    2740 N. DALLAS PKWY SUITE 260                                                                                                 PIANO             TX           75093
6797064   MASERGY COMMUNICATIONS, INC.                                    ATTN: CONTRACTS ADMINISTRATOR               2740 N. DALLAS PKWY.,                   SUITE 260                                 PLANO             TX           75093
6797054   MASTER TO MONSCAR, INC.                                         200 PARK AVENUE SOUTH                       8TH FLOOR                                                                         NEW YORK          NY           10003
6797065   MASTERIMAGE 3D                                                  ATTN: PETER KOPLIK                          5300 MELROSE AVE 4TH FL                 RALEIGH STUDIOS WEST                      LOS ANGELES       CA           90038
6797056   MATT ALVAREZ & ROBERT KRAVITZ                                   C/O ZIFFREN BRITTENHAM LLP                  ATTN: JAMIE AFIFI                       1801 CENTURY PARK WEST                    LOS ANGELES       CA           90067
6797057   MATT BROWN, INC. F/S/O MATHEW BROWN                             C/O CREATIVE ARTISTS AGENCY                 ATTN: MATT ROSEN                        2000 AVENUE OF THE STARS                  LOS ANGELES       CA           90067
6797059   MATT CORBOY                                                     1232 N. POINSETTIA PL                                                                                                         WEST HOLLYWOOD    CA           90046
6797048   MATTHEW ALVAREZ                                                 337 7TH STREET                                                                                                                MANHATTAN BEACH   CA           90266
6864705   MATTHEW GASPARICH                                               13 WESTMINSTER DR.                                                                                                            LAKE OSWEGO       OR           97034
6864706   MATTHEW HUNT                                                    212 WEST 22ND STREET APT.3F                                                                                                   NEW YORK          NY           10011
                                                                                                                                                                                                        KINGSTON UPON
6797050   MATTHEW MARSTON                                                 58 CHATHAM ROAD                                                                                                               THAMES                         KT1-3as        UNITED KINGDOM
6797051   MATTHEW SAND                                                    C/O PARADIGM                                ATTN: ROBERT BOOKMAN                    360 NORTH CRESCENT DRIVE    NORTH         BEVERLY HILLS     CA           90210
6797052   MATTYB, LLC                                                     ATTN: TAWNY MORRIS                          4865 KETTLE RIVER POINT                                                           SUWANEE           GA           30024
6797053   MAV12                                                           ATTN: GENERAL COUNSEL                       1310 MONTANA AVE                        2ND FLOOR                                 SANTA MONICA      CA           90403
6797042   MAYHEM STUNTS INC                                               GREGORY PAUL REMEMTER                       1400 ANNUNCIATION ST                    APT 1210                                  NEW ORLEANS       LA           70130
6864707   MB INVESTMENT MANAGEMENT, LLC                                   ATTN: GENERAL COUNSEL                       825 THIRD AVENUE 31ST FLOOR                                                       NEW YORK          NY           10022
6797044   MCMENAMIN PUBS                                                  3702 SE HAWTHORNE BLVD                                                                                                        PORTLAND          OR           97214
6797045   MCMOORE MCLESST PUBLISING                                       C/O WIXEN MUSIC PUBLISHING, INC.            24025 PARK SORRENTO                     SUITE 130                                 CALABASAS         CA           91302
6864708   MCSPARIN, MARK/NEW ERA                                          PO BOX 378                                                                                                                    CHARLESTON        IL           61920
6797047   MEDIALOG CORP.                                                  10TH FLOOR                                  THE PAN BLDG. 1592 SANGAM-DONG                                                    MAPO-GU SEOUL                  121-835        SOUTH KOREA
6797036   MEDIALOG CORP.                                                  HOJIN LEONG, HEAD OF ACQUISITIONS           10TH FLOOR, THE PAN BLDG.               1592 SANGAM-DONG, MAPO-GU                 SEOUL                          121-835        SOUTH KOREA
6797037   MEDIALOG CORP.                                                  OF 10TH FLOOR, THE PAN BLDG.                1592 SANGAM-DONG                                                                  MAPO-GU                        121-835        SOUTH KOREA
6864709   MEDIANAVICO LLC                                                 250 E OLIVE AVE                                                                                                               BURBANK           CA           91502-1212
6797039   MEDIAVEST WORLDWIDE INC.                                        1675 BROADWAY AVENUE                                                                                                          NEW YORK          NY           10019
6797040   MEDIAWAVER, LLC                                                 ATTN: MATT WEAVER                           345 N. MAPLE DRIVE, SUITE 281                                                     BEVERLY HILLS     CA           90210
6797041   MEGAN LANOUX                                                    7700 SUNSET BLVD                            SUITE 205                                                                         LOS ANGELES       CA           90046
6797030   MEGAN NICOLE MUSIC, LLC                                         ATTN: MEGAN FLORES                          9601 WILSHIRE BLVD                                                                BEVERLY HILLS     CA           90210
6797031   MEGAPLEX THEATRES                                               35 E 9270 SOUTH                                                                                                               SANDY             UT           84070
6797032   MELLOPHONE MUSIC OBO DA CAPO MUSIC                              ATTN: GENERAL COUNSEL                       2125 15TH ST. NW                                                                  WASHINGTON        DC           20009
6797033   MEMORIAL-MAYA MUSIC                                             12649 MEMORIAL DRIVE                        SUITE E                                                                           HOUSTON           TX           77024
6797034   MERCURY RECORDS                                                 A DIVISION OF UMG                           RECORDINGS, INC.                        401 COMMERCE STREET         SUITE 100     NASHVILLE         TN           37219
6797035   MERCURY RECORDS                                                 A DIVISION OF UMG RECORDINGS, INC.          ATTN: VP. BUSINESS AND LEGAL AFFAIRS    401 COMMERCE STREET         SUITE 1100    NASHVILLE         TN           37219
6797024   MERRICK CINEMAS                                                 15 FISHER AVE                                                                                                                 MERRICK           NY           11566
6797025   MESCOP, INC.                                                    PO BOX 303                                                                                                                    SUSSEX            WI           53089
6797026   METHODIC DOUBT MUSIC , LLC                                      8928 RAYFORD DRIVE                                                                                                            LOS ANGELES       CA           90045
6797027   METHODIC DOUBT MUSIC , LLC                                      ATTN; EUGENE AHN                            8928 RAYFORD DRIVE                                                                LOS ANGELES       CA           90045
6797012   METRO- GOLDWYN-MAYER STUDIOS INC.                               10250 COSTELLATION BLVD.                                                                                                      LOS ANGELES       CA           90067
6797028   METRO-GOLDWIN- MAYER STUDIOS INC.                               ATTN:EXECUTIVE VICE PRESIDENT, BUSINESS     10250 CONSTELLATION BLVD.                                                         LOS ANGELES       CA           90067
6797013   METRO-GOLDWYN-MAYER STUDIOS INC.                                JOHN HESTER                                 10250 COSTELLATION BLVD.                                                          LOS ANGELES       CA           90067
6864710   METROPOLITAN FILMEXPORT                                         29, RUE GALILEE                                                                                                               PARIS                          75116          FRANCE
6797002   METROPOLITAN FILMEXPORT                                         ATTN: SAMUEL AND VICTOR HADIDA              29, RUE GALILEE                                                                   PARIS                          75116          FRANCE
6797003   METROPOLITAN FILMEXPORT                                         ATTN: VICTOR HADIDA                         29 RUE GALILEE                                                                    PARIS                          75016          FRANCE
6797004   METROPOLITAN THEA CORP                                          124 AUSTIN LANE                             UNIT A                                                                            ALAMO             CA           94507
6796994   METWAY STUDIOS                                                  ATTN: RICHARD FILE                          55 CANNING STREET                                                                 BRIGHTON                       BN2 0EF        UNITED KINGDOM
6796995   MGM FILMS, INC.                                                 ATTN: EXECUTIVE VICE PRESIDENT AND DEPUTY   245 N. BEVERLY DR.                                                                BEVERLY HILLS     CA           90210
6796996   MGM INTERNATIONAL TELEVISION DISTRIBUTION INC.                  ATTN: EXECUTIVE VICE PRESIDENT AND DEPUTY   245 N. BEVERLY DR.                                                                BEVERLY HILLS     CA           90210
6796997   MGM INTERNATIONAL TELEVISION DISTRUBTION                        ATTN: EXECUTIVE VICE PRESIDENT AND DEPUTY   245 N.BEVERLY DR.                                                                 BEVERLY HILLS     CA           91210
6796998   MGN FILMS                                                       2064 BUCKINGHAM PLACE                                                                                                         GLENDALE          CA           91206
6796999   MGN FILMS                                                       ATTN: ARMEN MKRTCHIAN                       609 E. COLORADO ST.                                                               GLENDALE          CA           91205
6796964   MGN FILMS INC                                                   ARMEN MKRTCHIAN CEO                         2064 BUCKINGHAM PLACE                                                             GLENDALE          CA           91206
6796965   MGN FILMS INC.                                                  ATTN: MR. ARMEN MRKTCHIAN                   2064 BUCKINGHAM PLACE                                                             GLENDALE          CA           91206
6796971   MGN FILMS, INC.                                                 609 E. COLORADO STREET                                                                                                        GLENDALE          CA           91205
6796972   MGN FILMS, INC.                                                 ATTN: ARMEN MKRTCHAN, CEO                   2064 BUCKINGHAM PLACE                                                             GLENDALE          CA           91206
6796973   MGN FILMS, INC.                                                 ATTN: ARMEN MKRTCHIAN                       2064 BUCKINGHAM PLACE                                                             GLENDALE          CA           91206
6796975   MGN FILMS, INC.                                                 ATTN: ARMEN MKRTCHIAN                       609 E. COLORADO ST.                                                               GLENDALE          CA           91205
6796966   MGN FILMS, INC.                                                 ATTN: STEVE BETRAM, PRESIDENT               2064 BUCKINGHAM PLACE                                                             GLENDALE          CA           91206
                                                                          C/O MIDCAP FINANCIAL SERVICES, LLC, AS      ATTN: ACCOUNT MANAGER FOR RELATIVITY
6864711 MICCAP FINANCIAL TRUST                                            SERVICER                                    TRANSACTION                          7255 WOODMONT AVENUE           SUITE 200     BETHESDA          MD           20814




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                                                                                                                     Schedule G Parties Service List
                                                                                                                        Served First Class Mail
 MMLID                               NAME                                              ADDRESS                               ADDRESS 2                              ADDRESS 3            ADDRESS 4           CITY            STATE    POSTAL CODE      COUNTRY
6796959   MICHAEL ANDREWS D/B/A ELGONIX LLC                           1146 N. CENTRAL AVENUE                   #280                                                                                  GLENDALE           CA           91202
6796961   MICHAEL CAISSIE                                             C/O ROOSTER FILMS                        ATTN: CHRISTOPHER SHERMAN                5225 WILSHIRE BOULEVARD        SUITE 701     LOS ANGELES        CA           90036
6796962   MICHAEL DE LUCA PRODUCTIONS, INC.                           2000 AVENUE OF THE STARS                                                                                                       LOS ANGELES        CA           90067
6796963   MICHAEL DE LUCA PRODUCTIONS, INC. F/S/O MICHAEL DE LUCA     C/O GANG TYRE RAMER & BROWN INC.         132 SOUTH RODEO DRIVE                                                                 BEVERLY HILLS      CA           90212-2403
6864712   MICHAEL JANSEN                                              DBA THE GREATER GOODS CO.                2050 1/2 N. COMMONWEALTH AVE.                                                         LOS ANGELES        CA           90027
6864713   MICHAEL JOHN LISTER                                         6 NEW ZEALAND GARDENS, WING                                                                                                    LEIGHTON BUZZARD                LU7 OPQ      ENGLAND
6796955   MICHAEL KNOX                                                C/O ALMON LAW,PLLC                       1222 16TH AVENUE SOUTH SUITE 26                                                       NASHVILLE          TN           37212
6796968   MICHAELA CONLIN                                             C/O JOEL MCKUIN                          141 EL CAMINO DRIVE                      SUITE 100                                    BEVERLY HILLS      CA           90212-2717
6796960   MICHAELANGEL FRAGUADA                                       718 WEST FARRISS AVE                                                                                                           HIGH POINT         NC           27262
6796956   MICHELLE MALLEY                                             2021 CALLE LOIZA                         APT 2                                                                                 SAN JAUN           PR           00911
6864714   MICROSOFT CORPORATION                                       ATTN: MARTIN SACCHI, GM                  ONE MICROSOFT WAY                                                                     REDMOND            WA           98052-6399
6864716   MICROSOFT CORPORATION                                       ATTN: MR. BLAIR WESTLAKE & MR. ROSS      ONE MICROSOFT WAY                                                                     REDMOND            WA           98052
6864715   MICROSOFT CORPORATION                                       ONE MICROSOFT WAY                                                                                                              REDMOND            WA           98052
6864718   MIDCAP FINANCIAL TRUST                                      ATTN: ACCOUNT MANAGER FOR RELATIVITY     C/O MIDCAP FINANCIAL SERVICES, LLC, AS   7255 WOODMONT AVENUE           SUITE 200     BETHESDA           MD           20814
6864717   MIDCAP FINANCIAL TRUST                                      ATTN: GENERAL COUNSEL                    7255 WOODMONT AVENUE                     SUITE 200                                    BETHESDA           MD           20814
                                                                      C/O MIDCAP FINANCIAL SERVICES, LLC, AS   ATTN: ACCOUNT MANAGER FOR RELATIVITY
6864722 MIDCAP FINANCIAL TRUST                                        SERVICER                                 TRANSACTION                              7255 WOODMONT AVENUE           SUITE 200     BETHESDA           MD           20814
                                                                      C/O MIDCAP FINANCIAL SERVICES, LLC, AS   ATTN: ACCOUNT MANAGER FOR RELATIVITY
6864719 MIDCAP FINANCIAL TRUST                                        SERVICER                                 TRANSACTION                              7255 WOODMONT AVENUE           SUITE 200     PASADENA           CA           91101
6864721 MIDCAP FINANCIAL TRUST                                        C/O MIDCAP FINANCIAL SERVICES, LLC, AS   ATTN: GENERAL COUNSEL                    7255 WOODMONT AVENUE           SUITE 200     BETHESDA           MD           20814
                                                                      C/O MIDCAP FINANIAL SERVICES, LLC, AS    ATTN: ACCOUNT MANAGER FOR RELATIVITY
6864720   MIDCAP FINANCIAL TRUST                                      SERVICER                                 TRANSACTION                              7255 WOODMONT AVENUE           SUITE 200     BETHESDA           MD           20814
6864723   MIDCAP FINANCIAL TRUST C/O MIDCAP FINANCIAL SERVICES, LLC   ATTN: ACCOUNT MANAGER FOR RELATIVITY     7255 WOODMONT AVENUE, SUITE 200                                                       BETHESDA           MD           20814
6864724   MIDCAP FUNDING X TRUST                                      ATTN: GENERAL COUNSEL                    7255 WOODMONT AVENUE                     SUITE 200                                    BETHESDA           MD           20814
6864725   MIDCAP FUNDING X TRUST                                      C/O MIDCAP FINANCIAL SERVICES, LLC       ATTN: GENERAL COUNSEL                    7255 WOODMONT AVENUE           SUITE 200     BETHESDA           MD           20814
6796948   MIDDLETOWN NEWS                                             C/O THE ENDEAVOR AGENCY, LLC             ATTN: LEE STOLLMAN AND JASON SPITZ       9601 WILSHIRE BOULEVARD, 3RD                 BEVERLY HILLS      CA           90210
6864726   MIDWAY ENTERPRISES                                          MIDWAY SHOPPING CENTER                                                                                                         REHOBOTH BEACH     DE           19971
6796940   M-III ADVISORY PARTNERS, LP                                 ATTN: GENERAL COUNSEL                    THREE COLUMBUS CIRCLE, 15TH FLOOR                                                     NEW YORK           NY           10019
6796941   MILES TELLER                                                200 AVENUE OF THE STARS                                                                                                        LOS ANGELES        CA           90067
6796942   MILGRAM THEATRES, INC.                                      BE,MONST & CITY LINE                     SUITE 525                                                                             BALA CYNWYD        PA           19004
6796934   MINI THEATRES                                               5507 AVENUE N                            3RD FLOOR                                                                             BROOKLYN           NY           11234
6864727   MIRAMAX FILM NY, LLC                                        STEVEN J. SCHOCH, CEO, CFO               2450 COLORADO AVENUE                     SUITE 100, EAST TOWER                        SANTA MONICA       CA           90404
6796936   MIRAMAX, LLC                                                ATTN: GENERAL COUNSEL                    2450 COLORADO AVENUE, SUITE 100E                                                      SANTA MONICA       CA           90404
6796937   MISHER FILMS, INC.                                          C/O SLOANE, OFFER, WEBER AND DERN LLP    ATTN: JASON SLOANE AND AJ                9601 WILSHIRE BLVD.            SUITE 500     BEVERLY HILLS      CA           90210
6796929   MIXTAPE MUSIC LTD.                                          15 BISHOPS WAY                                                                                                                 LONDON                          E29HB        ENGLAND
6796930   MIXTAPE MUSIC LTD.                                          ATTN: ROXANNE OLDHAM                     15 BISHOPS WAY                                                                        LONDON                          E2 9HB       UNITED KINGDOM
6796931   MIXTAPE MUSIC PUBLISHING                                    1636 W 25TH STREET                                                                                                             LOS ANGELES        CA           90007
6796932   MJR THEA SERVICE, INC                                       13691 W11 MILE ROAD                                                                                                            OAK PARK           MI           48237
6796933   MMM BLOCKING PRODUCTIONS                                    C/O UNTITLED ENT                         300 S BEVERLY DRIVE SUITE 200                                                         BEVERLY HILLS      CA           90212
6796923   MNM THEATRES                                                9800 MEDLOCK BRIDGE RE                   SUITE 8                                                                               DULUTH             GA           30097
6864728   MOB SCENE, LLC                                              8447 WILSHRIE BLVD.                      3RD FLOOR                                                                             BEVERLY HILLS      CA           90211
6796925   MOCEAN                                                      2440 S. SEPULVEDA BLVD.                  #150                                                                                  LOS ANGELES        CA           90064
6796926   MOMENTUM                                                    20 SOHO SQUARE                                                                                                                 LONDON                          W1D 3QW      UNITED KINGDOM
6796917   MONDELEZ GLOBAL LLC                                         C/O MONDELEZ CANADA, INC.                2660 MATHESON BLVD. EAST                                                              MISSISSAUGA        ON           L4W 5M2      CANADA
6796918   MONDO TEES LLC                                              4115 GUADALUPE                                                                                                                 AUSTIN             TX           78751
6796919   MONEY GO GETTA ENTERTAINMENT LLC                            14083 PARTRIDGE LANE                                                                                                           NEW ORLEANS        LA           70128
6796920   MONSCAR . INC.                                              200 PARK AVE SOUTH                       8TH FLOOR                                                                             NEW YORK           ny           10003
6796910   MONSCAR INC.                                                FSO OSCAR ISSAC                          C/O INSPIRE ENTERTAINMENT                200 PARK AVENUE SOUTH          8TH FLOOR     NEW YORK           NY           10003
6796921   MONSCAR,INC                                                 FSO OSCAR ISSACC                         200 PARK AVENUE SOUTH                    8TH FLOOR                                    NEW YORK           NY           10003
6796911   MORAN, DENNY                                                4952 DODGE STREET                                                                                                              OMAHA              NE           68132
6796912   MORRISON, TERRY                                             247 RICH DAVIS ROAD                                                                                                            HIRAM              GA           30141
6796913   MOSAIC                                                      F/S/O MEL RAIDO                          ATTN: PAUL NELSON                        9200 SUNSET BLVD.              TENTH FL.     LOS ANGELES        CA           90069
6796914   MOSS LANDING                                                563 WESTMINSTER AVE.                     SUITE 3                                                                               VENICE             CA           90291
6491795   MOSS LANDING                                                583 WESTMINSTER AVENUE                   SUITE 3                                                                               VENICE             CA           90291
6796904   MOSS LANDING                                                ATTN: MR GEOFF MANN                      583 WESTMINSTER AVEUENE                  SUITE 3                                      VENICE             CA           90291
6796905   MOTHERSHIP FILMS                                            609 GREENWICH ST                         6TH FLOOR                                                                             NEW YORK           NY           10014
6796888   MOTION PIC COUNSELING                                       301 MT. SHASTA DRIVE                                                                                                           SAN RAFAEL         CA           94903
6796889   MOTION PICTURE INDUSTRY HEALTH PLAN                         ATTN: GENERAL COUNSEL                    P O BOX 1999                                                                          STUDIO CITY        CA           91614-0999
6796890   MOTION PICTURE INDUSTRY PENSION AND HEALTH PALN             11365 VENTURA BOULEVARD                                                                                                        STUDIO CITY        CA           91604
6796891   MOTION PICTURE INDUSTRY PENSION AND HEALTH PLAN             11365 VENTURA BOULEVARD                                                                                                        STUDIO CITY        CA           91604
6864729   MOTION PICTURES STUDIO MECHANICS LOCAL 52                   INTERNATIONAL ALLIANCE OF THEATRICAL     AFL CIO                                  326 WEST 48TH STREET                         NEW YORK           NY           10036
6864730   MOTIVE CREATIVE                                             1023 NORTH ORANGE DR.                                                                                                          HOLLYWOOD          CA           90038
6796868   MOUSE MCCOY                                                 C/O BLOOM HERGOTT DIEMER ROSENTHAL &     ATTN: STUART ROSENTHAL                   150 SOUTH RODEO DRIVE 3RD                    BEVERLY HILLS      CA           90212




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                                                                                                                Schedule G Parties Service List
                                                                                                                   Served First Class Mail
 MMLID                                 NAME                                             ADDRESS                        ADDRESS 2                              ADDRESS 3          ADDRESS 4             CITY            STATE    POSTAL CODE        COUNTRY
6796864   MOVIETICKETS.COM INC                                        ATTN: BARBARA KLEIN                2255 GLADES ROAD, SUITE 100E                                                         BOCA RATON          FL           33431
6796865   MSI                                                         1430 BROADWAY                      17TH FLOOR                                                                           NEW YORK            NY           10018
6796866   MSR PARTNERS, LLC                                           DBA SHAREABILITY                   4081 REDWOOD AVE.                                                                    LOS ANGELES         CA           90066
6796858   MUD TOWN CRIER INC                                          120 N. TOPANGA CANYON              #111                                                                                 TOPANGA             CA           90290
6470333   MUDPUPPY FILMS, INC.                                        400 LAFAYETTE AVE. #1                                                                                                   BROOKLYN            NY           11238
6796857   MUDPUPPY FILMS, INC.                                        ATTN: MATTHEW AKERS                400 LAFAYETTE AVE. #1                                                                BROOKLYN            NY           11238
6796856   MUDPUPPY FILMS, INC. F/S/O MATTHEW AKERS                    400 LAFAYETTE AVE. #1                                                                                                   BROOKLYN            NY           11238
6796859   MUDTOWN CRIER PUBLISHING                                    120 N. TOPANGA CYN BLVD #111                                                                                            TOPANGA             CA           90290
6864731   MUFG UNION BANK, N.A.                                       CORPORATE TRUST DEPARTMENT         NABEEL BADAWI                            120 SOUTH SAN PEDRO STREET   4TH FLOOR      LOS ANGELES         CA           90012
6796861   MUSIC BEYOND LLC                                            1545 WILCOX AVE.                   SUITE 101                                                                            HOLLYWOOD           CA           90028
6796850   MUSIC FOR MOVING IMAGES, INC.                               316 SWARTHMORE AVENUE                                                                                                   PACIFIC PALISADES   CA           90272
6796851   MUVICO THEATRES                                             1003 W INDIANTOWN RD               SUITE 210                                                                            JUPITER             FL           33458
6796852   MY DAMN CHANNEL,INC.                                        DBA OMNIVISION                     3605 LONG BEACH BLVD. SUITE 300B                                                     LONG BEACH          CA           90807
6796853   MY LEAFS,LLC                                                331 FOOTHILL ROAD                                                                                                       BEVERLY HILLS       CA           90210
6796844   MYNDFORM EHF                                                TRONUHRAUN 1                                                                                                            HAFNARFJORDUR                    IS 220         ICELAND
6796854   MYNDFORM EHF OF TRONUHRAUN                                  TRONUHRAUN 1                                                                                                            HAFNARFJORDUR                    IS 220         ICELAND
6796855   MYNDFORM EHF PF                                             TRONUHRAUN 1                                                                                                            HAFNARFJORDUR                    IS 220         ICELAND
6864732   N STAR ENTERTAINMENT                                        5070 PARKSIDE AVENUE               SUITE 5300D                                                                          PHILADELPHIA        PA           19131
6796846   NATALIE DIAZ                                                13331 MOORPARKSTREET               #352                                                                                 SHERMAN OAKS        CA           91423
6864733   NATHAN JOHNSON                                              1208 MYRA AVENUE                                                                                                        LOS ANGELES         CA           90029
6796848   NATHAN MILGRAM SERVICES                                     PO BOX 2806                                                                                                             CHERRY HILL         NJ           08034
6796849   NATIONAL AMUSEMENTS                                         846 UNIVERSITY AVENUE                                                                                                   NORWOOD             MA           02062
6796840   NATIONAL CINEMEDIA, LLC                                     ATTN: AMY KUESSNER                 9110 E. NICHOLS AVENUE                   SUITE 200                                   CENTENNIAL          CO           80112
6796841   NATIONAL PUBLICITY                                          ATTN: CHRIS TREROTOLA              295 MADISON AVE                          12TH FLOOR                                  NEW YORK            NY           10017
6796842   NAUTIVISION ENTERTAINMENT, INC.                             ATTN: ERIC ASHENBERG               3000 OLYMPIC BLVD                        SUITE 2378                                  SANTA MONICA        CA           90404
6796843   NAUTVISION ENTERTAINMENT, INC.                              ATTN: ERIC ASHENBERG               3000 OLYMPIC BLVD                        SUITE 2378                                  SANTA MONICA        CA           90404
6796834   NBC ENTERTAINMENT                                           A DIVISION OF NBC WEST, LLC        100 UNIVERSAL CITY PLAZA                 BUILDING 1320                               UNIVERSAL CITY      CA           91608
6796835   NBC NEWS ARCHIVES LLC                                       ATTN: MEG KAHARA                   30 ROCKEFELLER PLAZA                     ROOM 1221/39873                             NEW YORK            NY           10112
6796836   NBC NEWS ARCHIVES LLC                                       MEG NAKAHARA, ACCOUNT MANAGER      30 ROCKEFELLER PLAZA                     ROOM 1221/39B73                             NEW YORK            NY           10112
6796837   NBC UNIVERSAL                                               ATTN: GENERAL COUNSEL              30 ROCKEFELLER PLAZA                                                                 NEW YORK            NY           10112
6796820   NE SYSTEMS, INC.                                            25106 BARNHILL ROAD                                                                                                     SANTA CLARITA       CA           91350
6864734   NEFF, LLC                                                   1230 CALLE SUERTE                                                                                                       CAMARILLO           CA           93012
6796830   NEIGHBORHOOD CINEMAS                                        314 EAST COMSTOCK                                                                                                       OWOSSO              MI           48867
6796831   NELSON DAVIS WETZSTEIN LLP                                  ATTN: GEORGE DAVIS                 233 WILSHIRE BOULEVARD, SUITE 900                                                    SANTA MONICA        CA           90401
6796811   NETFLIX INC.                                                ATTN: GENERAL COUNSEL              C/O MCNUTT LAW GROUP LP                  ATTN: SCOTT H. MCNUTT        212 9TH STREET SAN FRANCISCO       CA           94103
6796818   NETFLIX, INC.                                               5800 SUNSET BOULEVARD                                                                                                   LOS ANGELES         CA           90028
6796819   NETFLIX, INC.                                               A DELAWARE CORPORATION             100 WINCHESTER CIRCLE                                                                LOS GATOS           CA           95032
6682743   Netflix, Inc.                                               Attn: General Counsel              100 Winchester Circle                                                                Los Gatos           CA           95032
6796812   NETFLIX, INC.                                               ATTN: PAULINE FISCHER              VP, CONTENT ACQUISITION                  100 WINCHESTER CIRCLE                       LOS GATOS           CA           95032
6864735   NETTWERK ONE MUSIC (CANADA) LTD.                            1650 WEST 2ND AVENUE                                                                                                    VANCOUVER           BC           V6J 4R3        CANADA
6864736   NETTWERK PRODUCTIONS LTD                                    1650 W. 2ND AVENUE                                                                                                      VANCOUVER           BC           V6J4R3         CANADA
6796805   NETWORK PRODUCTIONS                                         1650 WEST 2ND AVENUE                                                                                                    VANCOUVER           BC           V6J 4R3        CANADA
6864737   NETWORKED INSIGHTS, INC.                                    ATTN: JOSH DAMON, CFO              33 EAST MAIN STREET                      SUITE 251                                   MADISON             WI           53703
6796806   NEUSTAR                                                     BRADLEY D. SMITH                   21575 RIDGETOP CIRCLE                                                                STERLING            VA           20166
6796797   NEUSTAR, INC                                                21575 ROOFTOP CIRCLE                                                                                                    STERLING            VA           20166
6796796   NEUSTAR, INC.                                               21575 RIDGETOP CIRCLE                                                                                                   STERLING            VA           20166
6864738   NEW GAMES PRODUCTION, INC                                   1540 BROADWAY                                                                                                           NEW YORK            NY           10036
6796799   NEW LAND FILMS S.A DE CV                                    ATTENTION: TREVOR DRINKWATER       3212 NEBRASKA AVE                                                                    SANTA MONICA        CA           90404
6796800   NEW ROUNDER LLC D/B/A ROUNDER RECORDS, HAPPY VALLEY MUSIC   POLY-RHYTHM RECORDS, CONTINENTAL   100 N. CRESCENT DRIVE                    GARDEN LEVEL                                BEVERLY HILLS       CA           90210
6796801   NEW STAR CINEMEDIA                                          4688 E 29TH ROAD                                                                                                        SANDWICH            IL           60548
6796790   NEXT DECADE ENTERTAINMENT INC                               GAUCHO MUSIC                       65 WEST 55TH STREET                      SUITE 4F                                    NEW YORK            NY           10019
6796791   NEXT DECADE ENTERTAINMENT INC                               O/B/O GAUCHO MUSIC                 65 WEST 55TH STREET                      SUITE 4F                                    NEW YORK            NY           10019
6796792   NGHT, LLC                                                   ATTN: DANIEL BATTSEK               711 5TH AVENUE                           17TH FLOOR                                  NEW YORK            NY           10022
6796793   NICHOLAS SCHUYLER                                           C/O FRENCH/WEST/VAUGHAN            ATTN: RICK FRENCH                        112 E. HARGETT STREET                       RALEIGH             NC           27601
6796795   NICHOLAS SCHUYLER                                           C/O WILLIAM MORRIS ENDEAVOR        ATTN: SOLCO SCHUITT                      9601 WILSHIRE BLVD.                         BEVERLY HILLS       CA           90210
6796784   NICHOLAS SPARKS                                             PMK-BNC / PUBLICIST                THE PARK LITERARY GROUP LLC / LITERARY   PUBLICIST, 8687 MELROSE      8TH FLOOR      LOS ANGELES         CA           90069
6796787   NICK HERMZ                                                  108 S CLARK DR                     #105                                                                                 WEST HOLLYWOOD      CA           90048
6796788   NICOLE MICHELE SOBCHACK                                     11946 AVON WAY, UNIT #1                                                                                                 LOS ANGELES         CA           90066
6796789   NILS CRUZ                                                   P.O. BOX 1097                                                                                                           JOHNSON CITY        TN           37605
6796778   NINJA TUNE                                                  90 KENNINGTON LANE                                                                                                      LONDON                           SE11 4X0       UNITED KINGDOM
6796781   NJEMA WILLIAMS                                              456 NATHAN DEAN BLVD               #226                                                                                 DALLAS              GA           30132
6796780   NJEMA WILLIAMS                                              456 NATHAN DEAN BLVD #225                                                                                               DALLAS              GA           30132
6796744   NO SPIES, LLC                                               2924 1/2 MAIN STREET                                                                                                    SANTA MONICA        CA           90405




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 MMLID                                             NAME                               ADDRESS                                ADDRESS 2                            ADDRESS 3       ADDRESS 4             CITY            STATE    POSTAL CODE        COUNTRY
6796746 NO SPIES, LLC                                               SRIRAM DAS                                2924 1/2 MAIN STREET                                                              SANTA MONICA       CA           90405
6796782 NOELLE KESHISHIAN                                           440 N. LA BREA AVENUE                                                                                                       LOS ANGELES        CA           90036
6796774 NON-STOP MUSIC LIBRARY LC                                   ATTN: GENERAL COUNSEL                     915 W 100 SOUTH                                                                   SALT LAKE CITY     UT           84104
                                                                    C.O WARNER/CHAPPELL PRODUCTION MUSIC,     ATTN: DEBORAH KEEGAN, VP LICENSING
6864739   NON-STOP MUSIC LIBRARY, LC                                INC.                                      ADMINISTRATION                          1030 16TH AVENUE SOUTH                    NASHVILLE          TN           37212
6796767   NORDISK FILM                                              KENNETH WIBERG -VP                        PETER PHILIPSON-GM                      MOSEDALVEJ 14                             VALBY                           2500           DENMARK
6796768   NORDISK FILM                                              MOSEDALVEJ 14                                                                                                               VALBY                           2500           DENMARK
6796775   NORDISK FILM A/ S                                         KENNETH WIBERG -VP                        PETER PHILIPSON-GM                      MOSEDALVEJ 14                             VALBY                           2500           DENMARK
6796766   NORDISK FILM A/S                                          ATTN:NORDISK FILM LEGAL                   MOSEDALVEJ 14                                                                     VALBY                           2500           DENMARK
6796748   NORDISK FILM VALBY A/S                                    ATTN: PETER PHILIPSEN                     MOSEDALVEJ 14                                                                     VALBY                           2500           DENMARK
6796759   NORDISK FILM VALBY A/S                                    PETER PHILIPSEN, GENERAL MANAGER RIGHTS   MOSEDALVEJ 14                                                                     VALBY                           2500           DENMARK
6796749   NORET                                                     4550 HAYVENHURST AVE                                                                                                        ENCINO             CA           91430
6796750   NORMAN MORA                                               13157 RIVERSIDE DR. # 102                                                                                                   SHERMAN OAKS       CA           91423
6796751   NORRIS, REX                                               1917 HOLLYOAKS LAKE RD                                                                                                      JACKSONVILLE       FL           32225
6796752   NORTHEAST BOOKING SERVICE                                 PO BOX 375                                                                                                                  MILLBURY           MA           01527
6864740   NORTHEAST CINEMAS                                         500 FRANKLIN VILLAGE DR.                  SUITE 204                                                                         FRANKLIN           MA           02038
6796742   NORTHWEST DIVERSIFIED ENT                                 915 5TH AVENUE WEST                                                                                                         SEATTLE            WA           98119
6796743   NORTON JIM-N & S CINEMAS                                  PO BOX 222                                                                                                                  CHILTON            WI           53014
6796747   NOVA THEATRE CIRCUIT                                      173 JUNE ROAD                                                                                                               STAMFORD           CT           06903
6796739   NU METRO DISTRIBUTION LTD.                                GALLO HOUSE, 6 HOOD AVENUE                ROSEBANK                                                                          JOHANNESBURG                    2196           SOUTH AFRICA
6796740   NU METRO FILM                                             ATTN: MRS RICKY HUMAN                     AVUSA HOUSE, 4 BIERMANN AVENUE          ROSEBANK                                  JOHANNESBURG                    2196           SOUTH AFRICA
6796730   NU METRO FILMS                                            A DIVISION OF AVUSA                       ENTERTAINMENT INVESTMENT (PTY) LTD.     AVUSA HOUSE, 4 BIERMANN   ROSEBANK        JOHANNESBURG                    2196           SOUTH AFRICA
6796741   NU METRO FILMS                                            A DIVISIONN OF AVUSA ENTERTAINMENT        ATTN: MRS. RICKY HUMAN                  AVUSA HOUSE, 4 BIERMANN   ROSEBANK        JOHANNESBURG                    2196           SOUTH AFRICA
6796732   NU METRO FILMS, A DIVISION OF AVUSA                       ENTERTAINMENT INVESTMENTS (PYT) LTD.      ATTN: DEBBIE MCKRUM                     AVUSA HOUSE, 4 BIERMANN   ROSEBANK        JOHANNESBURG                    2196           SOUTH AFRICA
6796734   NWLWH LLC                                                 THE LONDON WEST HOLLYWOOD                 1020 N.SAN VICENTE BLVD.                                                          WEST HOLLYWOOD     CA           90005
6864741   NYBLOM, JACK                                              PO BOX 720728                                                                                                               SAN JOSE           CA           95172
6864742   OAK INVESTMENT PARTNERS                                   ATTN: EDWARD F. GLASSMEYER                ONE GORHAM ISLAND                                                                 WESTPORT           CT           06880
6796725   OAK INVESTMENT PARTNERS XXII, LIMITED PARTNERSHIP         ATTENTION: EDWARD F. GLASSMEYER           ONE GORHAM ISLAND                                                                 WESTPORT           CT           06880
6796726   OEDIPUS PRODUCTIONS, INC.                                 9200 SUNSET BLVD SUITE 1200                                                                                                 LOS ANGELES        CA           90069
6796729   OEDIPUS PRODUCTIONS, INC. F/S/O TARSEM SINGH              9200 SUNSET BLVD SUITE 1200                                                                                                 LOS ANGELES        CA           90069
6796718   OLD COW YOUNG GRASS LLC                                   2901 OCEAN PARK BOULEVARD                 SUITE 217                                                                         SANTA MONICA       CA           90405
6796719   OLE MEDIA MANAGEMENT LP.                                  STEVEN FITZGERALD DIRECTOR OF             266 KING STREET WEST SUITE 500                                                    TORONTO            ON           M5V 1H8        CANADA
6796720   O'MEARA, MARK                                             10659 BRADOCK ROAD                                                                                                          FAIRFAX            VA           22032
6796711   OMNI MEDIA INC                                            80 WASHINGTON STREET                      SUITE 300                                                                         PHOUGHKEEPSIE      NY           12601
6796706   OMNIA MEDIA                                               RAY KIM                                   5880 WEST JEFFERSON BOULEVARD           STUDIO H                                  LOS ANGELES        CA           90016
6864743   OMNIA MEDIA INC.                                          SCOTT SIRE                                5880 WEST JEFFERSON BOULEVARD           STUDIO H                                  LOS ANGELES        CA           90016
6796712   OMNIA MEDIA, INC. CO.                                     RAY KIM                                   5880 WEST JEFFERSON BOULEVARD,                                                    LOS ANGELES        CA           90016
6864744   OMNILAB MEDIA GROUP                                       1/4-16 YURONG ST                                                                                                            EAST SYDNEY        NSW          2010           AUSTRALIA
6864745   OMNILAB PTY LTD                                           1/4-16 YURONG ST                                                                                                            EAST SYDNEY        NSW          2010           AUSTRALIA
6796687   ONE THRE TELEVISION, LLC D/B/A/ ONE THREE MEDIA           300 OLYMPIC BLVD.                         BLDG.1, SUITE 2520                                                                SANTA MONICA       CA           90404
6796703   ONE THREE TELEVISION                                      300 OLYMPIC BLVD.                         BLDG.1, SUITE 2520                                                                SANTA MONICA       CA           90404
6796693   ONE THREE TELEVISION LLC                                  D/B/A ONE THREE MEDIA                     300 OLYMPIC BLVD                        BUILIDNG 1, SUITE 2520                    SANTA MONICA       CA           90404
6796697   ONE THREE TELEVISION LLC, D/B/A ONE THREE MEDIA           3000 OLYMPIC BLVD                         BUILDING ONE SUITE 2520                                                           SANTA MONICA       CA           90404
6796695   ONE THREE TELEVISION, LLC                                 300 OLYMPIC BLVD.                         BUILDING 1, SUITE 2520                                                            SANTA MONICA       CA           90404
6796683   ONE THREE TELEVISION, LLC                                 D/B/A ONE THREE MEDIA                     ATTN: BRIAN EDWARDS, COO                300 OLYMPIC BLVD.         BLDG.1, SUITE   SANTA MONICA       CA           90404
6796691   ONE THREE TELEVISION, LLC                                 D/B/A/ ONE THREE MEDIA                    300 OLYMPIC BLVD                        BUILDING 1, SUITE 300                     BEVERLY HILLS      CA           90210
6796692   ONE THREE TELEVISION, LLC D/B/A ONE THREE MEDIA           300 OLYMPIC BLVD. BUILDING 1, SUITE2520                                                                                     SANTA MONICA       CA           90404
6796682   ONE THREE TELEVISION, LLC D/B/A ONE THREE MEDIA           ATTENTION: BRIAN EDWARDS                  300 OLYMPIC BLVD                        BUILIDNG 1, SUITE 2520                    SANTA MONICA       CA           90404
6796684   ONE THREE TELEVISION, LLC/MEDIA                           300 OLYMPIC BLVD                          BUILDING 1, SUITE 2520                                                            SANTA MONICA       CA           90404
6796685   ONE THREE TELEVISON LLC DBA ONE THREE MEDIA               300 OLYMPIC BLVD                          BUILDING 1, SUITE 2520                                                            SANTA MONICA       CA           90404
6796686   ONE THREE TV, LLC                                         300 OLYMPIC BLVD.                         BLDG.1, SUITE 2520                                                                SANTA MONICA       CA           90404
6796667   ONEWEST BANK                                              ATTN: JOSEPH WOOLF, AS ADMINISTRATIVE     2450 BROADWAY AVENUE                    4TH FLOOR                                 SANTA MONICA       CA           90404
6864746   ONEWEST BANK, FSB                                         2450 BROADWAY AVENUE SUITE 400                                                                                              SANTA MONICA       CA           90404
6796670   ONEWEST BANK, FSB                                         ATTN: GENERAL COUNSEL                     2450 BROADWAY AVENUE                    4TH FLOOR                                 SANTA MONICA       CA           90404
6796664   ONEWEST BANK, FSB                                         ATTN: JOSEPH WOOLF                        2450 BROADWAY AVENUE                    4TH FLOOR                                 SANTA MONICA       CA           90404
6796665   ONEWEST BANK, FSB                                         ATTN: JOSEPH WOOLF                        PENSKE MEDIA CORPORATION                2450 BROADWAY AVENUE      SUITE 400       SANTA MONICA       CA           90404
6796666   ONEWEST BANK, FSB                                         ATTN: JOSPEH WOOLF                        2450 BROADYWAY AVENUE                   SUITE 400                                 SANTA MONICA       CA           90404
6796681   ONEWEST BANK, FSB                                         DAISY STALL                               2450 BROADWAY AVENUE                    SUITE 400                                 SANTA MONICA       CA           90404
6796658   ONEWEST BANK, N.A.                                        ATTN: LAUREN PULIDO /TINA DAVE/JULES      888 E. WALNUT STREET                                                              PASADENA           CA           91101
6796659   OPEN ROAD ENTERTAINMENT                                   3003 WEST OLIVE AVE.                      SUITE 1                                                                           BURBANK            CA           91505
6796652   OPUS 7, LLC                                               ATTN: LEIGH ANN BURTON                    969 HILDARD AVENUE                                                                LOS ANGELES        CA           90024
6796653   OSCAR GUERRERO                                            LOS NARANJOS                              708 APT 2                                                                         MIRAMAR SAN JUAN   PR           00907
6796654   OSIRIS ENTERTAINMENT, LLC                                 9315 ETON AVE.                                                                                                              CHATSWORTH         CA           91311




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6796645   PACIFIC                                            120 N. ROBERTSON BLVD                  3RD FLOOR                                                                                LOS ANGELES         CA           90048
6796634   PACIFIC DESIGN CENTER 1, LLC                       SILVERSCREEN THEATER                   8687 MELROSE AVENUE                                                                      WEST HOLLYWOOD      CA           90069
6796635   PACIFIC FILM RESOURCES                             410 MCAULEY STREET                                                                                                              OAKLAND             CA           94609
6469362   PAIGE WILLIAMS                                     Address on File
6796637   PAIN IN THE ART                                    C/O FBMM, INC.                         P.O. BOX 340020                                                                          NASHVILLE           TN           37203
6796639   PAINTED DESERT MUSIC CORPORATION                   488 MADISON AVENUE                                                                                                              NEW YORK            NY           10022
6796628   PALLADIUM RECORDS LLC/ CASSIDY BARKS               ZYNC MUSIC GROUP                       243 MULBERRY STREET                     SUITE 4R                                         NEW YORK            NY           10012
6796629   PALMER, GENE                                       899 TAYAUA RD                                                                                                                   BELTON              TX           78513
6796630   PANAY FILMS, INC.                                  C/O JACKOWAY TYERMAN WERTHEIMER        ATTN: KARL AUSTEN AND RYAN LEVINE       1925 CENTURY PARK EAST            22ND FLOOR     LOS ANGELES         CA           90067
6796631   PANDA MEDIA FUND, LLC                              9909 TOPANGA CANYON BOULEVARD                                                                                                   CHATSWORTH          CA           91311
6796632   PANDA MEDIA GROUP                                  69 BRADFORD RD                                                                                                                  BRIGHOUSE                        HD6 1RS        UNITED KINGDOM
6864749   PARACORP INCORPORATED                              2804 GATEWAY OAKS DR.                  SUITE 200                                                                                SACRAMENTO          CA           95833
6864750   PARACORP INCORPORATED                              ATTN: NINH HO, ASSISTANT SECRETARY     2804 GATEWAY OAKS DRIVE                 SUITE 500                                        SACRAMENTO          CA           95833
6864748   PARACORP INCORPORATED                              SHARON COOKE                           ASSISTANT SECRETARY                     2804 GATEWAY OAKS DRIVE           #200           SACRAMENTO          CA           95833
6796633   PARADIGM TALENT AGENCY                             ATTN: BEN WEISS                        360 N CRESCENT DR.                                                                       BEVERLY HILLS       CA           90210
6796622   PARADIGM TALENT AGENCY                             ATTN: LUCY STILLE                      360 N. CRESCENT DRIVE                                                                    BEVERLY HILLS       CA           90210
6796623   PARADOX ENTERTAINMENT INC.                         ATTN: SILVIO MURAGLIA                  9107 WILSHIRE BLVD                      SUITE 600                                        BEVERLY HILLS       CA           90210
6796624   PARAGON THEATRES                                   1003 W INDIANTOWN RD                   SUITE 210                                                                                JUPITER             FL           33458
6796625   PARALLAX PRODUCTIONS                               C/O CREATIVE ARTISTS AGENCY            ATTN: MARTIN SPENCER                    2000 AVENUE OF THE STARS                         LOS ANGELES         CA           90067
6796626   PARAMOUNT PICTURES CORPORATION                     5555 MELROSE AVE                                                                                                                HOLLYWOOD           CA           90038
6796609   PARAMOUNT PICTURES CORPORATION                     ATTN: SENIOR VICE-PRESIDENT, MOTION    5555 MELROSE AVENUE                                                                      LOS ANGELES         CA           90038-3197
6796598   PARANOIA PRODUCTIONS                               ATTN: DEEPAK NAYAR                     7955 W. 3RD STREET                                                                       LOS ANGELES         CA           90048
6796594   PARANOIA PRODUCTIONS, LLC                          ATTN: GENERAL COUNSEL                  7955 W 3RD SREET                                                                         LOS ANGELES         CA           90048
6796593   PARANOIA PRODUCTIONS, LLC                          DEEPAK NAYAR                           7955 W. 3RD STREET                                                                       LOS ANGELES         CA           90048
6864753   PARKWAY MANAGEMENT LTD.                            32/F, BLOCK 2, VIGOR INDUSTRIAL BLDG   49-53 TA CHUEN PING STR                 852 KWAI CHUNG, N.T.                             KOWLOON                                         HONG KONG
6796595   PARTICIPANT MEDIA LLC                              331 FOOTHILL ROAD                                                                                                               BEVERLY HILLS       CA           90210
6796596   PAS ENTERTAINMENT, LLC                             C/O CONTES LAW CORPORATION             ATTN: CAROL T. CONTES                   1250 ROSECRANS AVE                SUITE 650      MANHATTAN BEACH     CA           90266
6796597   PATRIOT CINEMAS, INC.                              101 DERBY STREET                       SUITE 202                                                                                HINGHAM             MA           02043
6796586   PAUL MAURICE                                       12003 MUKILTEO SPEEDWAY, STE 102                                                                                                MUKILTEO            WA           98275-5733
6796587   PAUL NELSON                                        MOSAIC                                 9200 SUNSET BLVD                        10TH FLOOR                                       LA                  CA           90069
6796588   PEACE FROG HOLDING LTD.                            C/O STEEL SYNCH                        80 EIGTH AVENUE SUITE 1010                                                               NEW YORK            NY           10011
6796589   PENALTY BOX MUSIC                                  MR. JOEL MATTHEW SALSBUREY             528 E. SAN JOSE AVENUE                  #110                                             BURBANK             CA           91501
6796590   PENTALY BOX MUSIC                                  JOEL MATHEW SALSBUREY                  528 E. SAN JOSE AVE.                    #110                                             BURBANK             CA           91501
6796591   PETER CHARLES HASTY                                310 S.                                 NINTH STREET                                                                             BURBANK             CA           91501
6796580   PETER FARRELLY, INC.                               LICHTER, GROSSMAN, NICHOLS, ADLER &    9200 SUNSET BOULEVARD                   SUITE 1200                                       WEST HOLLYWOOD      CA           90069
6796581   PFEIFER BROZ MUSIC, INC.                           MS. SHARON STETZEL                     557 VIA DE LA PAZ                                                                        PACIFIC PALISADES   CA           90272
6796584   PHANTOM POWER                                      ATTN: MS. JOANNA BRANDT                3431 KEESHAN DRIVE                                                                       LOS ANGELES         CA           90066
6796582   PHANTOM POWER LLC                                  3431 KEESHEN DRIVE                                                                                                              LOS ANGELES         CA           90066
6796583   PHANTOM POWER LLC                                  ATTN: JOANNA BRANDT                    3431 KEESHEN DRIVE                                                                       LOS ANGELES         CA           90066
6796574   PHIL JOANOU                                        C/O PARADIGM TALENT AGENCY             ATTN: RAND HOLSTON                      360 N. CRESCENT DRIVE             NORTH          BEVERLY HILLS       CA           90210
6864754   PHILLIP L. ROSEN                                   ROSEN LAW GROUP                        15 BROOKS AVENUE                                                                         VENICE              CA           90291
6796576   PHONIX ADLABS THEATRE MGMT                         9111 CORSS PARK DRIVE                  SUITE E-275                                                                              KNOXVILLE           TN           37923
6796577   PIAS RECORDINGS(UK) LIMITED [PIAS] COOPERATIVE     1 BEVINGTON PATH                                                                                                                LONDON                           SE13PW         UNITED KINGDOM
6796578   PIEDMONT MUSIC COMPANY                             C/O CARLIN AMERICA, INC.               126 EAST 38TH STREET                                                                     NEW YORK            NY           10016
6796579   PIEDMONT MUSIC COMPANY                             J.ALBERT & SON PTY.LTD                 C/O CARLIN AMERICA, INC                 126 EAST 38TH STREET                             NEW YORK            NY           10016
6796568   PIONEER FILMS                                      ATTENTION: WILSON YULOQUE              GROUND FLOOR NATIVIDAD BUILDING         355 T. PINPIN COR. ESCOLTA STS.                  MANILA                           0711           PHILLIPPINES
6796572   PIONEER FILMS                                      ATTN: WILSON YULOQUE                   GROUND FLOOR NATIVIDAD BUILDING         355 T, PIMPIN COR. ESCOLTA STS.                  MANILA                           0711           PHILLIPPINES
6796569   PIONEER FILMS                                      GROUND FLOOR                           NATIVIDAD BLDG                          355 T.PINPIN COR.ESCOLTA STS                     MANILA                           0711           PHILLIPPINES
                                                                                                    SOLEMAREPARK SUITES CONDOMINIUM
6796571 PIONEER FILMS                                        UNIT 327 TOWER A                       BRADCO AVE                              ASEANA BUSINESS PARK                             PARANAQUE CITY                   1702           PHILLIPPINES
                                                                                                                                                                              355 T.PINPIN
6796573   PIONEER PICTURES LLC                               ROBERT S. KRAVIS, PRINCIPAL            GROUND FLOOR                            NATIVIDAD BLDG                    COR.ESCOLTA    MANILA                           0711           PHILLIPPINES
6796562   PITCH HAMMER LLC                                   BRIAN BRASHER                          578 WASHINGTON BLVD.                    SUITE 721                                        MARINA DEL REY      CA           90292
6864755   PITCH HAMMER MUSIC, LLC                            ATTN: MR. BRIAN BRASHER                578 WASHINGTON BLVD. SUITE 721                                                           MARINA DEL RAY      CA           90291
6796564   PITCH HAMMER MUSIC, LLC                            ATTN: MS. JENN GERMAN                  578 WASHINGTON BOULEVARD,                                                 SUITE 721      MARINA DEL REY      CA           90292
6796565   PITNEY BOWES                                       814 10TH AVE                           # 7F                                                                                     NEW YORK            NY           10019
6796566   PITSCHKA, ALEX                                     MONTAGE MUSIC                          20485 ROCA CHICA DRIVE                                                                   MALIBU              CA           90265
6796556   PLAY PRODUCTIONS, INC.                             2300 CHARLOTTE AVENUE                                                                                                           NASHVILLE           TN           37203
6796557   POLLY ANNA BARLOR                                  3504 COLD HARBOR DR                                                                                                             MONTAIN BRK         AL           35223
6796558   POLSON THEATRES                                    PO BOX 999                                                                                                                      POLSON              MT           59860
                                                                                                    C/O LICHTER GROSSMAN NICHELS ADLER &                                      9200 SUNSET
6796559 POPULIST PICTURE, INC.                               F/S/O STEVEN SODERBERGH                FELDMAN, INC.                        ATTN: MICHAEL ADLER, ESQ.            BLVD., SUITE   LOS ANGELES         CA           90069-3507




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MMLID                                              NAME                                 ADDRESS                                ADDRESS 2                          ADDRESS 3                ADDRESS 4           CITY             STATE   POSTAL CODE        COUNTRY
                                                                                                                C/O LICHTER, GROSSMAN, NICHOLS,                                         9200 SUNSET
6864756 POPULIST PICTURES, INC.                                        A VIRGINIA CORPORATION                   ADLER&FELDMAN,INC.                      ATTN: MICHAEL ADLER             BOULEVARD,     LOS ANGELES         CA           90069
6796561 POPULIST PICTURES, INC.                                        C/O LICHTER, GROSSMAN, NICHOLS ADLER &   ATTN: MICHAEL ADLER, ESQ.               9200 SUNSET BLVD., SUITE 1200                  LOS ANGELES         CA           90069-3507
                                                                                                                C/O LICHTER, GROSSMAN, NICHOLS,                                         9200 SUNSET
6864757   POPULIST PICTURES, INC.                                      STEVEN SODERBERGH, DIRECTOR              ADLER&FELDMAN,INC.                      ATTN: MICHAEL ADLER, ESQ.       BLVD., SUITE   LOS ANGELES         CA           90069-3507
6796551   PORCUPINE WASH LTD.                                          C/O THE ENDEAVOR AGENCY, LLC             ATTN: LEE STOLLMAN AND JASON SPITZ      9601 WILSHIRE BOULEVARD, 3RD                   BEVERLY HILLS       CA           90210
6796545   POSITION MUSIC                                               702 NORTH MARIPOSA STREET                                                                                                       BURBANK             CA           91506
6864758   POSITION MUSIC, INC.                                         ATTN: EMILY WEBER                        P.O. BOX 25907                                                                         LOS ANGELES         CA           90025
6796546   POSITION MUSIC, INC.                                         EMILY WEBER, AN AUTHORIZED SIGNATORY     P.O. BOX 25907                                                                         LOS ANGELES         CA           90025
6796548   POSITION MUSIC, INC.                                         P.O. BOX 25907                                                                                                                  LOS ANGELES         CA           90025
                                                                                                                                                                                        10250
6796549   PREDAWN PRODUCTIONS, INC.                                    F/S/O RONALD BASS                        C/O ICM                                 ATTN: HARLEY COPEN              CONSTELLATION LOS ANGELES          CA           90067
6796538   PREDAWN PRODUCTIONS, INC. F/S/O RONALD BASS                  C/O INTERNATIONAL CREATIVE MANAGEMENT    ATTN: HARLEY COPEN                      10250 CONSTELLATION BLVD        9TH FLOOR     LOS ANGELES          CA           90067
6796539   PREFERRED BOOKING SERVICE                                    PO BOX 4369                                                                                                                    APOPKA               FL           32712
6796540   PREMIERE ENTERTAINMENT                                       2970 SE 64TH STREET                                                                                                            PORTLAND             OR           97206
6796543   PREMIERE FILMS, INC.                                         ATTN: ISMAEL D. NIEVES                   P.O. BOX 13550                                                                        SAN JUAN             PR           00908-3550
6796532   PRESSURE SUIT, INC                                           C/O EVOLUTION ENTERTAINMENT              ATTN: TIFFANY KUZON                     901 N. HIGHLAND AVE.                          LOS ANGELES          CA           90038
                                                                                                                C/O LICHTER GROSSMAN ET AL., ATTN:
6796537   PRIME UNIVERSE PRODUCTIONS, INC.                             F/S/O ADRIAN ASKARIEH                    PETER GROSSMAN                          9200 SUNSET BLVD.               SUITE 1200     LOS ANGELES         CA           90069-3507
6864759   PROCOPE CONSULTING LLC                                       CYNDY PROCOPE                            859 MT WASHINGTON DRIVE                                                                LOS ANGELES         CA           90065
6796526   PRODUCERS PENSION & HEALTH PLANS FOR MOTION PICTURE ACTORS   3601 WEST OLIVE AVENUE                                                                                                          BURBANK             CA           91510-7830
6796528   PROSIEBEN SATL MEDIA AG                                      ATTN: EXECUTIVE BOARD                    MEDIENALLEE 7                                                                          UNTERFOHRING                     D-85774       GERMANY
6864760   PROSIGHT SYNDICATE                                           101 N. BRAND BLVD.                       #1200                                                                                  GLENDALE            CA           91203
6796529   PROSLEBENSAT.1 MEDIA AG                                      ATTN: EXECUTIVE BOARD                    MEDIENAILEE 7                                                                          UNTERFOHRING                     D-85774       GERMANY
6796524   PT AMERO MITRA                                               ATTN: HARRIS LASMANA                     JI. K.H. WAHID HASYIM NO. 96 A          BUILDING #2                                    JAKARTA                          10340         INDONESIA
6796520   PT AMERO MITRA FILM                                          ATTENTION: MR. SACHEEN LASMANA           J.L.K.H. WAHID HASYIM NO. 96                                                           JAKARTA                          10340         INDONESIA
6796523   PT AMERO MITRA FILM                                          ATTN: MR. HARRIS LASMANA                 J.L.K.H. WAHID HASYIM NO. 96                                                           JAKARTA                          10340         INDONESIA
6796521   PT AMERO MITRA FILM                                          J.L.K.H. WAHID HASYIM NO. 96                                                                                                    JAKARTA                          10340         INDONESIA
6796522   PT AMERO MITRA FILM                                          J.L.K.H. WAHID HASYIN NO. 96                                                                                                    JAKARTA                          10340         INDONESIA
6796515   PT ATHALI SUKSES MAKMUR                                      ATTN: BRIAN RIADY                        KARAWACI OFFICE PARK                 RUKO PINANGSIA L/55                               LIPPO VILLAGE                                  INDONESIA
6796516   PT PRIMA CIEMA MULTIMEDIA                                    JALAN K.H. MOH MANSYUR 11                KOMPLEX JEMBATAN LIMA PERMAI BLOK B-                                                   JAKARTA                          10140         INDONESIA
6796519   PT PRIMA CINEMA                                              MULTIMEDIA                               JALAN K.H MOH MANSYUR 11             KOMPLEX JEMBATAN                   LIMA PERMAI    JAKARTA                          10140         INDONESIA
6796508   PT PRIMA MULTIMEDIA                                          JALAN K.H. MOH MANSYUR11                 KOMPLEX JEMBARAN LIMA PERMAI BLOK B-                                                   JAKARTA                          10140         INDONESIA
6796525   PT. ANUGERAH CREATIVE                                        JL. PETO VIJ I/32JO                                                                                                             CIDENG JAKPUS                    10150         INDONESIA
6864761   PTERODACTYL PRODUCTIONS INC.                                 ATTN: GENERAL COUNSEL                    2541 CANYON OAK DRIVE                                                                  LOS ANGELES         CA           90068
6796509   PUPPET BOY PROD. INC.                                        3400 LAS VEGAS BLVD SOUTH                                                                                                       SOUTH LAS VEGAS     NV           89109
6796496   PURE FLIX ENTERTAINMENT, LLC                                 ATTN: KEN RATHER, VICE PRESIDENT,        18940 N. PIMA ROAD SUITE # 110                                                         SCOTTSDALE          AZ           85255
6796497   QBI, LLC                                                     ATTN: PATRICIA BYRNES FINN               21021 VENTURA BLVD.                     SUITE 100                                      WOODLAND HILLS      CA           91364
6796498   QNO, LLC                                                     C/O MICO ENTERTAINMENT                   ATTN: GENERAL COUNSEL                   251 MERRILL STREET              SUITE 202      BIRMINGHAM          MI           48009
6796500   QUANTIFIND                                                   2470 EL CAMINO REAL                      SUITE 210                                                                              PALO ALTO           CA           94306
6796501   QUEEN CITY BOOKING SERV                                      5332 FOX MEADOW COURT                                                                                                           CHARLOTTE           NC           28025
6796490   QUEEN DIVA MUSIC, LLC                                        ATTN: FREDDIE ROSS, JR                   6045 WARRINGTON DRIVE                                                                  NEW ORLEANS         LA           70112
6796492   QUEEN INTERNATIONAL PICTURES, PTE. LTD                       20 CECIL STREET                          #14-01 EQUITY PLAZA                                                                    SINGAPORE                        049705        SINGAPORE
6796493   QUEEN INTERNATIONAL PICTURES, PTE. LTD                       OF 20 CECIL STREET                       #14-01 EQUITY PLAZA                                                                    SINGAPORE                        049705        SINGAPORE
6796468   R/C THEATRES                                                 231 W CHERRY HILL CORT                                                                                                          REISTERTOWN         MD           21136
6796494   RACHEL SCHWARTZ                                              ATTN: GENERAL COUNSEL                    837 N. WEST KNOLL DR., APT. 116                                                        WEST HOLLYWOOD      CA           90069
6864762   RADICAL PICTURES, INC.                                       ATTN: GENERAL COUNSEL                    7421 BEVERLY BOULEVARD                                                                 LOS ANGELES         CA           90036
6796486   RADIKAL RECORDS INC.                                         1119 N WILSON AVENUE                                                                                                            TEANECK             NJ           07666
6796487   RAG AND BONE SHOP PRODUCTIONS, INC.                          C/O ZIFFREN BRITEENHAM LLC               ATTN: STEVE BURKOW                      1801 CENTURY PARK WEST                         LOS ANGELES         CA           90067
6796488   RAG AND BONE SHOP PRODUCTIONS, INC. F/S/O CASEY AFFLECK      C/O WILLIAM MORRIS ENDEAVOR              ATTN: SIMON FABER                       9601 WILSHIRE BLVD., THIRD                     BEVERLY HILLS       CA           90210
6796489   RAG AND BONE SHOP PRODUCTIONS, INC. F/S/O CASEY AFFLECK      C/O ZIFFREN BRITTENHAM LLP               ATTN: STEVE BURKOW                      1801 CENTURY PARK WEST                         LOS ANGELES         CA           90067
6796478   RAH3 INC                                                     37459 ULTIMA PLAZA BLVD                  SUITE B238                                                                             PRAIRIEVILLE        LA           70769
6796479   RALEIGH FILM                                                 6104 MADDRY OAKS COURT                                                                                                          RALEIGH             NC           27616
6796480   RALEIGH STUDIOS                                              5300 MELROSE AVE                                                                                                                LOS ANGELES         CA           90038
6796481   RANDOM FACTION PRODUCTIONS                                   9701 WILSHIRE BOULEVARD                  SUITE 800                                                                              BEVERLY HILLS       CA           90212
6796482   RANDOM HOUSE LLC                                             PERMISSIONS DEPARTMENT                   1745 BROADWAY                                                                          NEW YORK            NY           10019
6796483   RASKIN ANDERSON LAW                                          ATTN: GARY S. RASKIN                     THE CULVER STUDIOS                      9336 W. WASHINGTON BLVD.,                      CULVER CITY         CA           90232
6864763   RAZOR & TIE DIRECT, LLC                                      214 SULLIVAN STREET                      SUITE 4S                                                                               NEW YORK            NY           10012
6796473   RAZOR & TIE DIRECT, LLC                                      VICTOR ZARAYA                            214 SULLIVAN STREET                     STE 4A                                         NEW YORK            NY           10012
                                                                                                                                                                                        214 SULLIVAN
6796474 RAZOR & TIE MUSIC PUBLISHING LLC                               DBA SONGS OF RAZOR AND TIE               ATTN: JOANNE B. KELSEY, DIRECTOR        O/B/O SONGS OF THE GALT LINE    STREET , 5TH   NEW YORK            NY           10012
6796467 RC STUDIO RENTALS, INC.                                        558 S KANSAS CITY AVE                                                                                                           EXCELSIOR SPRINGS   MO           64024-2637
6796475 RCR DISTRIBUTION, LLC                                          1169 LOMA LINDA DRIVE                                                                                                           BEVERLY HILLS       CA           90210




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                                                                                                                     Schedule G Parties Service List
                                                                                                                        Served First Class Mail
 MMLID                                  NAME                                            ADDRESS                               ADDRESS 2                             ADDRESS 3           ADDRESS 4            CITY         STATE    POSTAL CODE       COUNTRY
6864764   RCR DISTRIBUTION, LLC                                       ATTN: ELLIAD JOSEPHSON                   1169 LOMA LINDA DRIVE                                                                BEVERLY HILLS    CA           90210
6796443   REACH MUSIC PUBLISHING, INC.                                321 NORTH PASS AVENUE                    SUITE 500                                                                            BURBANK          CA           91505
6796444   REACH MUSIC PUBLISHING, INC.                                ATTN: JEAN MONTIEL, SR DIRECTOR OF       321 N. PASS AVE.                        SUITE 500                                    BURBANK          CA           91505
6796445   REAGAN WALLACE COAST TO COAST TALENT GROUP                  3350 BARHAM BLVD                                                                                                              LOS ANGELES      CA           90068
6796438   REAL TO REEL THEATRES                                       130 WEST SPRINGBROOK DRIVE                                                                                                    JOHNSON CITY     TN           37604
6796447   REALD INC.                                                  100 N. CRESENT DR                        SUITE 120                                                                            BEVERLY HILLS    CA           90210
6490506   REALLY SLOW MOTION LTD.                                     ATTN: MR. AGUS GONZALEZ-LANCHARRO        7 GROSVENOR GARDENS                                                                  LONDON                        SW1W0AF      ENGLAND
6796436   REALLY SLOW MOTION LTD.                                     16 WINCHFIELD HOUSE                      HIGHCLIFFE DRIVE                                                                     LONDON                        SW15 4PX     UNITED KINGDOM
6796431   RED GRANITE PICTURES                                        9255 SUNSET BLVD                         SUITE 710                                                                            WEST HOLLYWOOD   CA           90069
6864767   REDCOLA, LLC.                                               ATTN: MARK BURGOYNE                      525 VENEZIA AVENUE                                                                   VENICE           CA           90291
6864765   REDCOLA, LLC.                                               ATTN: MARK BURGOYNE                      669 N. BERENDO STREET                                                                LOS ANGELES      CA           90004
6864766   REDCOLA, LLC.                                               MR. MARK BURGOYNE                        660 N. BERENDO STREET                                                                LOS ANGELES      CA           90004
6864768   REDCOLA, LLC.                                               MR. MARK BURGOYNE                        669 N. BERENDO STREET                                                                LOS ANGELES      CA           90004
6796432   REEGUS FLENORY                                              4350 CATO RD.                                                                                                                 NASHVILLE        TN           37218
6864769   REEL FX, INC.                                               C/O BUCK MCDONALD PRODUCTIONS, LLC       ATTN: STEVE O'BRIEN AND DAVID ROSS      2115 COLORADO AVENUE                         SANTA MONICA     CA           90404
6796434   REGAL CINEMAS                                               7132 REGAL LANE                                                                                                               KNOXVILLE        TN           37918
6796435   REGENCY THEATRES INC                                        1200 65TH STREET, #212                                                                                                        EMERYVILLE       CA           94608
6796424   REGIS A HARRINGTON                                          37459 ULTIMA PLAZA BLVD                  SUITE B238                                                                           PRAIRIEVILLE     LA           70769
6864770   RELATIVITY EUROPACORP DISTRIBUTION LLC                      ATTN: CHRISTOPHE LAMBERT                 345 NORTH MAPLE DRIVE, SUITE 103                                                     BEVERLY HILLS    CA           90210
6864771   RELATIVITY EUROPACORP DISTRIBUTION LLC                      TUCKER TOOLEY                            CHRISTOPHE LAMBERT                      345 NORTH MAPLE DRIVE, SUITE                 BEVERLY HILLS    CA           90210
6864779   RELATIVITY SECURED LENDER LLC                               ATTN: GENERAL COUNSEL                    155 NORTH LAKE AVE.                     (LK-03-17)                                   PASADENA         CA           91101
6864780   RELATIVITY SECURED LENDER MANAGER, LLC                      ATTN: GENERAL COUNSEL                    17001 COLLINS AVE., SUITE 4305                                                       NORTH MIAMI      FL           33160
6864781   RELATIVITY SECURED LENDER, LLC                              ATTN: GENERAL COUNSEL                    17001 COLLINS AVE., SUITE 3405                                                       NORTH MIAMI      FL           33160
6864785   RELATIVITY SECURED LENDER, LLC                              ATTN: GENERAL COUNSEL                    17001 COLLINS AVE., SUITE 4305                                                       NORTH MIAMI      FL           33160
6864783   RELATIVITY SECURED LENDER, LLC                              ATTN: JAMES K. SIMONS AND DAISY STALL    17001 COLLINS AVE., SUITE 4305                                                       NORTH MIAMI      FL           33160
6864782   RELATIVITY SECURED LENDER, LLC                              ATTN: JOSEPH NICHOLAS                    17001 COLLINS AVE., SUITE 4305                                                       NORTH MIAMI      FL           33160
6864784   RELATIVITY SECURED LENDER, LLC                              ATTN: JOSEPH NICHOLAS, MANAGER           17001 COLLINS AVE., SUITE 4305                                                       NORTH MIAMI      FL           33160
6796381   RELIGION MUSIC                                              GLANMORE HALL                            6 LOWER O'CONNELL STREET                                                             DUBLIN 1                                   IRELAND
6796370   RENTRAK CORPORATION                                         7700 N.E. AMBASSADOR PLACE                                                                                                    PORTLAND         OR           97220
6796371   RENTRAK CORPORATION                                         ATTN: CHRISTOPHER E. ROBERTS             SVP HOME ENT. MEDIA & DIGITAL           7700 N.E. AMBASSADOR PL.                     PORTLAND         OR           97220
6864787   REPRESENT HOLDINGS,LLC                                      6615 MELROSE AVE. #2                                                                                                          LOS ANGELES      CA           90038
                                                                                                               STEVE GAWLEY, ESQ., EVP BUSINESS &
6864788   REPUBLIC RECORDS                                            A DIVISION OF UMG RECORDINGS, INC.       LEGAL AFFAIRS                           1755 BROADWAY                                NEW YORK         NY           10019
6796366   RESERVOIR MEDIA MANAGEMENT, INC.                            225 VARICK STREET, 6TH FLOOR                                                                                                  NEW YORK         NY           10014
6796367   RESTAURANT ASSOCIATES                                       PO BOX 23277                                                                                                                  WASHINGTON       DC           20026
6864789   REVEK ENTERTAINMENT                                         ATTN: GABRIELA REVILLA LUGO              1112 SOUTH WOOSTER STREET               APT# 1                                       LOS ANGELES      CA           90035
6796369   REVOLUTION 9 INC.                                           JIM ROMANO, AN AUTHORIZED SIGNATORY      5043 N. LAWNDALE                                                                     CHICAGO          IL           60625
6796358   RHINI ENTERTAINMENT COMPANY                                 A WARNER MUSIC GROUP COMPANY             3400 WEST OLIVE AVENUE                                                               BURBANK          CA           91505
6796359   RHINO ENTERTAINMENT CO.                                     3400 WEST OLIVE AVENUE                                                                                                        BURBANK          CA           91505-4614
6796360   RHINO ENTERTAINMENT COMPANY                                 3400 WEST OLIVE AVENUE                   5TH FLOOR                                                                            BURBANK          CA           91505
6796341   RHINO ENTERTAINMENT COMPANY                                 ATTN: EVAN SHAFFERMAN, ESQ               ASSISTANT MGR, CONTRACT                 3400 WEST OLIVE AVENUE                       BURBANK          CA           91505-4614
6796340   RHINO ENTERTAINMENT COMPANY                                 COMPANY, A WARNER                        MUSIC GROUP COMPANY                     3400 WEST OLIVE AVENUE                       BURBANK          CA           91505
6796342   RHINO ENTERTAINMENT COMPANY                                 WARNER MUSIC GROUP                       3400 WEST OLIVE AVENUE                                                               BURBANK          CA           91505
6864790   RHINO ENTERTAINMENT COMPANY, A WARNER MUSIC GROUP COMPANY   3400 WEST OLIVE AVENUE                                                                                                        BURBANK          CA           91505-4614
6796336   RHODA GRIFFIS                                               2704 WOODLAND BROOK LANE SE                                                                                                   ATLANTA          GA           30339
6796329   RIC ROMAN WAUGH                                             C/O SLOANE OFFER WEBER AND DERN, LLP     ATTN: HARRIS HARTMAN, ESQ.              9601 WILSHIRE BLVD.            SUITE 500     BEVERLY HILLS    CA           90210
6796339   RICH GOLDMAN                                                RIPTIDE MUSIC GROUP, LLC                 9469 JEFFERSON BOULEVARD, SUITE 114                                                  CULVER CITY      CA           90232
6796337   RICHARD FRENCH                                              112 E HARGETT STREET                                                                                                          RALEIGH          NC           27601
6796338   RICHARD PARKER, OWNER                                       1 ALBANY TERRACE                         WILTON, SALISBURY                                                                    WILTSHIRE                     SP2 0HF      UNITED KINGDOM
6796328   RICHIE OPPORTUNISTIC TRADING, LTD.                          C/O RITCHIE CAPITAL MGMT, LLC            ATTN: LEGAL DPEARTMENT                  120 NORTH HALE STREET          SUITE 300     WHEATON          IL           60187
6796330   RIDER PRODUCTIONS LLC                                       260 MOUNTAIN ROAD                                                                                                             NORTH GRANBY     CT           06060
6796331   RIPTIDE MUSIC GROUP, LLC                                    9469 JEFFERSON BLVD.                     SUITE 114                                                                            CULVER CITY      CA           90232
6796332   RIPTIDE MUSIC GROUP, LLC                                    MR. RICH GOLDMAN                         9469 JEFFERSON BOULEVARD                SUITE 114                                    CULVER CITY      CA           90232
6796322   RITCHIE OPPORTUNISTIC TRADING, LTD.                         C/O RITCHIE CAPITAL MANAGEMENT, L.L.C.   ATTENTION: LEGAL DEPARTMENT             120 NORTH HALE STREET          SUITE 300     WHEATON          IL           60187
6796323   RITZI, INC.                                                 STEVEN RITZI                             4419 WEST CULBREATH AVENUE                                                           TAMPA            FL           33609
6796324   RITZI. INC.                                                 STEVEN RITZI                             4622 WEST BEACH PARK DRIVE                                                           TAMPA            FL           33609
6864792   RKA FILM FINANCING, LLC                                     874 WALKER ROAD                          SUITE C                                                                              DOVER            DE           19904
6864793   RKA FILM FINANCING, LLC                                     ATTN: CHAIRMAN                           510 LAGUARDIA PLACE                     5TH FLOOR                                    NEW YORK         NY           10012
6864791   RKA FILM FINANCING, LLC                                     ATTN: GENERAL COUNSEL                    155 NORTH LAKE AVE.                     (LK-03-17)                                   PASADENA         CA           91101
6864794   RKA FILM FINANCING, LLC                                     ATTN: GENERAL COUNSEL                    510 LAGUARDIA PLACE                     5TH FLOOR                                    NEW YORK         NY           10012
6864795   RKRML HOLDINGS, INC.                                        ATTN: CORPORATE LEGAL                    2121 AVENUE OF THE STARS SUITE 2320                                                  LOS ANGELES      CA           90067
6864796   RM BIDDER, LLC                                              ATTN: CHRISTOPH PACHLER                  750 N. SAN VINCENTE BLVD.               RED EAST TOWER, 12TH FLOOR                   WEST HOLLYWOOD   CA           90069
6864797   RM BIDDER, LLC                                              ATTN: GENERAL COUNSEL                    750 N. SAN VINCENTE BLVD.               RED EAST TOWER, 12TH FLOOR                   WEST HOLLYWOOD   CA           90069




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                                                                                                                           Schedule G Parties Service List
                                                                                                                              Served First Class Mail
 MMLID                                    NAME                                                 ADDRESS                               ADDRESS 2                         ADDRESS 3           ADDRESS 4             CITY      STATE    POSTAL CODE        COUNTRY
6796208   RM WHITE MGMT., INC.                                               5750 GATEWAY BLVD.,                     SUITE 102                                                                         MASON            OH         45040
6796235   RML FILMS PR,LLC                                                   416 PONCE DE LE`ON AVE                  SUITE 311                                                                         SAN JUAN         PR         00918-3430
6864807   ROADSHOW FILMS PTY LTD.                                            1 GARDEN STREET                                                                                                           SOUTH YARRA      VIC        3141           AUSTRALIA
6864803   ROADSHOW FILMS PTY LTD.                                            ATTN: MR. JOEL PEARLMAN                 THE JAM FACTORY. 1 GARDEN STREET                                                  SOUTH YARRA      VIC        3141           AUSTRALIA
6864805   ROADSHOW FILMS PTY LTD.                                            ATTN: STEVE BERTRAM                     1 GARDEN STREET                                                                   SOUTH YARRA      VIC        3141           AUSTRALIA
6864804   ROADSHOW FILMS PTY LTD.                                            JOEL PEARLMAN                           THE JAM FACTORY, 1 GARDEN STREET                                                  SOUTH YARRA      VIC        3141           AUSTRALIA
6796204   ROB SEVIER                                                         DUST INDEX LLC                          2348 S. MARSHALL BLVD                                                             CHICAGO          IL         60623
6796209   ROBBER MUSIC GROUP LLC                                             DUSTIN O HALLORAN                       40 EXCHANGE PLACE                       19TH FLOOR, SUITE 1900                    NEW YORK         NY         10005
6796210   ROBERT BROOKMAN                                                    CREATIVE ARTISTS AGENCY                 DAVID PEOPLES, JANET PEOPLES            2000 AVE OF THE STARS                     LOS ANGELES      CA         90067
6480407   ROBERT ETOLL PRODUCTIONS, INC.                                     ATTN: PETER ISELIN, ACCOUNTS MANAGER    11560 BARMAN AVENUE                                                               CULVER CITY      CA         90230
6796213   ROBERT FRANCIS ALONZO                                              7252 PACIFIC VIEW DR.                                                                                                     LOS ANGELES      CA         90068
6796202   ROBERT KRAVITZ                                                     C/O ZIFFREN BRITTENHAM LLP              ATTN: JAMIE AFIFI                       1801 CENTURY PARK WEST                    LOS ANGELES      CA         90067
6796203   ROBERT WALLERSTEIN                                                 HIRSH WALLERSTEIN HAYUM MATLOF 7        10100 SANTA MONICA BOULEVARD            SUITE 1700                                LOS ANGELES      CA         90067
6796205   ROCHESTER THEATRE MGT                                              15 MILLWOOD CT.                                                                                                           PITTSFORD        NY         14534
6796207   ROCK OF AGES BROADWAY LLC                                          C/O FRANKEL GREEN THEATRICAL            729 SEVENTH AVENUE                      12TH FLOOR                                NEW YORK         NY         10036
6796197   ROCK WRITE, INC.                                                   F/S/O SAM HOLLANDER                     C/O RICHMAN BUSINESS MANAGEMENT,        600 LAKE STREET                           RAMSEY           NJ         07446
6796196   ROCK WRITE, INC. F/S/O SAM HOLLANDER                               70 E 10TH ST                            APT 14P                                                                           NEW YORK         NY         10003
6864808   ROCKETSHIP NATIONFILMS, INC. F/S/O ANTHONY JASWINSKI               C/O CIRCLE OF CONFUSION                 ATTN: ASHLEY BERNS                      8548 WASHINGTON BLVD.                     CULVER CITY      CA         90232
6796198   ROCKY ARCENEAUX                                                    ATTN: GENERAL COUNSEL                   11469 OLIVE BLVD                                                                  ST. LOUIS        MO         63141
6796200   ROD LAKE C/O ALVAREZ & SHELLEY, PC                                 ATTN: FRANCIS SHELLEY                   14156 MAGNOLIA BOULEVARD, SUITE 102                                               SHERMAN OAKS     CA         91423
6796191   ROGERS CINEMA THEATRES                                             407 S MAPLE                                                                                                               MARSHFIELD       WE         54449
6796193   ROGUE PICTURES                                                     ATTN: AMY ESCHENASY                     100 UNIVERSAL CITY PLAZA                                                          UNIVERSAL CITY   CA         91608
6473883   ROKU, INC.                                                         12980 SARATOGA AVE. SUITE D                                                                                               SARATOGA         CA         95070
6796195   RONALD BASS                                                        C/O INTERNATIONAL CREATIVE MANAGEMENT   ATTN: HARLEY COPEN                      10250 CONSTELLATION BLVD    9TH FLOOR     LOS ANGELES      CA         90067
6864809   RON'S FILM BOOKING                                                 4700 SOUTH 9900 EAST                    #41H                                                                              SALT LAKE CITY   UT         84117
6864810   ROSALIND LAWTON                                                    ATTN: GENERAL COUNSEL                   242 S HIGHLAND AVE                                                                LOS ANGELES      CA         90036
6796185   ROSEY FILM PRODUCTIONS LLC                                         515 GREENWICH ST                                                                                                          NEW YORK         NY         10013
6796186   ROSI GOLAN D/B/A GYPSY BETCH                                       C/O SERLING ROOKS FERRARA MCKOY &       ATTN: JEFFREY A. WOROB, ESQ.            119 FIFTH AVENUE            3RD FLOOR     NEW YORK         NY         10003
6796187   ROSS KIMBAL                                                        FRED HASHAGEN/ UNITED TALENT AGENCY     9339 CIVIC CENTER DR                                                              BEVERLY HILLS    CA         90210
6864811   ROUGE ARTISTS                                                      3221 CARTER AVE                         SUITE 425                                                                         MARINA DEL REY   CA         90292
6796179   ROXY MANAGEMENT COMPANY                                            2004 MAIN STREET                                                                                                          NORTHAMPTON      PA         18067
6796180   RS BASEBALL EQUITY LLC                                             345 MAPLE                               SUITE 205                                                                         BEVERLY HILLS    CA         90210
6796181   RS FOOTBALL EQUITY, LLC                                            345 MAPLE                               SUITE 205                                                                         BEVERLY HILLS    CA         90210
6796182   RUBY'S TUNA TIME INC                                               C/O CREATIVE ARTISTS AGENCY             ATTN: JASON HEYMAN                      2000 AVENUE OF THE STARS                  LOS ANGELES      CA         90067
6796183   RUFUS-ISAACS, ACLAND & GRANTHAM, LLP                               ATTN: GENERAL COUNSEL                   232 N. CANON DRIVE                                                                BEVERLY HILLS    CA         90210
6796173   RUSSELL WIGGS                                                      174 HUNTERS GLEN DRIVE                                                                                                    SUMMERFIELD      NC         27358
6796174   RYAN C. KAVANAUGH                                                  C/O KNIGHT GLOBAL, LLC                  ATTN: CORPORATE LEGAL                   9663 SANTA MONICA BLVD.     SUITE 884     BEVERLY HILLS    CA         90210
6864812   RYAN KAVANAUGH C/O PHILPOTT, BILLS, STOLL & MEEKS                  ATTN: GENERAL COUNSEL                   16030 VENTURA BLVD., SUITE 380                                                    ENCINO           CA         91436
6795825   S&P LLC                                                            PO BOX 222                                                                                                                CHILTON          WI         53014
          SAATCHI AND SAATCHI NORTH AMERICA, INC., D/B/A TEAM ONE FOR THE
6796169   BENEFIT OF ITS CLIENT, LEXUS, A DIVISISON OF TOYOTA MOTOR SALES,   13031 W. JEFFERSON BOULEVARD                                                                                              LOS ANGELES      CA         90094
6796170   SABAJKA PRODUCTIONS, II, INC.                                      C/O HITSCH WALLERSTEIN HAYUM MATLOF +   ATTN: BARRY HIRSCH AND HOWARD           10100 SANTA MONICA BLVD.,                 LOS ANGELES      CA         90067
6796171   SABRE REIGN,LLC                                                    52 WILSON AVENUE                        #211                                                                              BROOKLYN         NY         11237
6796152   SAG                                                                THEATRICAL DEPT.                        5757 WILSHIRE BLVD                                                                LOS ANGELES      CA         90036-3600
6796165   SAG-AFTRA                                                          3601 WEST OLIVE AVENUE                  P.O.BOX 7830                                                                      BURBANK          CA         91510
6796148   SAG-AFTRA                                                          5757 WILSHIRE BLVD                      8TH FLOOR                                                                         LOS ANGELES      CA         90036
6796149   SAG-AFTRA                                                          LEIF L. LARSON                          MANAGER THEATRICAL CONTRACTS            1900 BROADWAY               5TH FLOOR     NEW YORK         NY         10023
6796153   SAHAMONGKOL FILM INTERNATIONAL CO., LTD                            388 PAHOLOYOTHIN RD                     FLOOR 9B                                                                          BANGKOK                     10400          THAILAND
6796146   SAHAMONGKOL FILM INTERNATIONAL CO., LTD.                           388 PAHOLOYOTHIN ROAD, FLOOR 9B         S.P. BUILDING                                                                     BANGKOK                     10400          THAILAND
6796147   SAHAMONGKOL FILM INTERNATIONAL CO., LTD.                           ATTN: GILBERT LIM                       388 PAHOLOYOTHIN ROAD                   FLOOR 9B S.P. BLDG                        BANGKOK                     10400          THAILAND
6796134   SAIF IV L.P.                                                       ATTN: ANDY YAN                          VILLA - 16                              SHANGHAI HONG QIAO STATE    1591 HONG     SHANGHAI                    20036          CHINA
6796128   SAIF PARTNERS IV, LP                                               ATTN: ANDY YAN                          VILLA - 16                              SHANGHAI HONG QIAO STATE    1591 HONG     SHANGHAI                    20036          CHINA
6796129   SAIF VILLA +16,                                                    ATTN: ANDY YAN                          VILLA - 16                              SHANGHAI HONG QIAO STATE    1591 HONG     SHANGHAI                    20036          CHINA
6796118   SAIZEN MEDIA                                                       1427 7TH ST.                                                                                                              SANTA MONICA     CA         90401
6796119   SALVATORE BOSSIO MUSIC                                             C/O SALVATORE BOSSIO                    230 WEST NECK ROAD                                                                HUNTINGTON       NY         11743
6796120   SAMMYJACK PRODUCTIONS, INC.                                        2001 WILSHIRE BLVD                                                                                                        SANTA MONICA     CA         90403
6796121   SAMUEL GOLDWYN FILMS                                               ATTN: BEN FEINGOLD                      8675 WASHINGTON BLVD, STE. 203                                                    CULVER CITY      CA         90232
6864815   SANCTUM INTERNATIONAL, LLC                                         375 HUDSON ST.                          12TH FLOOR                                                                        NEW YORK         NY         10014
6864816   SANTIKOS THEATRES LTD                                              18402 US HIGHWAY 281 N                  SUITE 229                                                                         SAN ANTONIO      TX         78259
6796115   SAPINDA DEUTSCHLAND GMBH                                           ATTN: TAREK MALAK                       FRIEDRICHSTRABE 95                                                                BERLIN                      10117          GERMANY
6796116   SAPINDA DEUTSCHLAND GMBH                                           ATTN: TAREK MALAK                       FRIEDRICHSTRAFBE 95                                                               BERLIN                      10117          GERMANY
6796106   SAPINDA HOLDING BV                                                 SCHIPHOL BOULEVARD 127                  TOWER A/3                                                                         SCHIPHOL                    1118 BJ        NETHERLANDS
6796107   SAPINDS DEUTSCHLAND GMBH                                           FRIEDRICHSTRABE 95                                                                                                        BERLIN                      10117          GERMANY




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 MMLID                                  NAME                                             ADDRESS                                    ADDRESS 2                            ADDRESS 3           ADDRESS 4            CITY            STATE    POSTAL CODE       COUNTRY
6796108   SAREGAMA INDIA LTD                                            2 CHOWRINGHEE APPROACH                                                                                                            KOLKATA                         700 072      INDIA
6796109   SATELLITE TELEVISION ASIAN REGION LIMITED                     TAIWAN BRANCH                               NO. 73, ALLEY 72                        KUANG FU S. ROAD                              TAIPEI                                       TAIWAN
6796110   SAUNDERS THEATRES                                             10117 SE SUNNYSIDE RD                       F-119                                                                                 CLACKAMASS         OR           97015
6796111   SCANBOX ENTERTAINMENT DISTRIBUTION RIGHTS APS                 MAGSTRAEDE 10A, STUEN                                                                                                             COPENHAGEN K                    1204         DENMARK
6796100   SCHULTE ROTH & ZABEL LLP                                      ATTN:ROBERT GOLDSTEIN                       919 THIRD AVENUE                                                                      NEW YORK           NY           10022
6796101   SCION FOUR MUSIC LLC OBO BOSTON SCALLY                        PUNK PUBLISHING                             MARK SPIER                              501 SEVENTH AVENUE S. 512                     NEW YORK           NY           10018
6864817   SCOGGIN CAPITAL                                               660 MADISON AVE                             #20                                                                                   NEW YORK           NY           10065
6796104   SCOTT AUGUST                                                  432 MELODY DRIVE                                                                                                                  METAIRIE           LA           70001
6796099   SCOTT SIRE                                                    20821 CHARWOOD LANE                         HB                                                                                    LOS ANGELES        CA           92646-5920
6796088   SCOTT SIRE                                                    20821 CHARWOOD LANE                                                                                                               HUNTINGTON BEACH   CA           92646
6796091   SCOTT WAUGH                                                   3249 S LA CIENEGA BLVD                                                                                                            LOS ANGELES        CA           90016
6864939   SCOTTIE SIRE                                                  20821 CHARWOOD LANE                                                                                                               LOS ANGELES                     92646-5920
6864818   SCRABBLE VENTURES LLC                                         ATTN: RANJIT THAKUR, CEO                    10550 CAMDEN DRIVE                                                                    CYPRESS            CA           90630
6796043   SCREEN ACTORS GUILD                                           ATTN: DUNCAN CRABTREE-IRELAND               5757 WILSHIRE BLVD.                     8TH FLOOR                                     LOS ANGELES        CA           90036
6796044   SCREEN ACTORS GUILD                                           ATTN: DUNCAN CRABTREE-IRELAND, ESQ.         5757 WILSHIRE BLVD.                     7TH FLOOR                                     LOS ANGELES        CA           90036-3600
                                                                                                                    ATTN: NATIONAL DIRECTOR OF FINACIAL     SENIOR FINANCIAL ASSURANCES   5757 WILSHIRE
6864820 SCREEN ACTORS GUILD                                             ATTN: GENERAL COUNSEL                       ASSURANCES                              COUNSEL                       BLVD, 7TH FL    LOS ANGELES        CA           90036-3600
6796036 SCREEN ACTORS GUILD                                             ATTN: HECTOR DEL CID                        5757 WILSHIRE BLVD.                                                                   LOS ANGELES        CA           90036-3600
6796038 SCREEN ACTORS GUILD                                             ATTN: S. PERRY                              360 MADISON AVE                         12TH FLOOR                                    NEW YORK           ny           10017
                                                                                                                    DIRECTOR OF THEATRICAL AND TELEVISION
6796045   SCREEN ACTORS GUILD                                           FERN WAKNEEN                                CONTRACTS                               360 MADISON AVE.              12TH FLOOR      NEW YORK           NY           10017
6796028   SCREEN ACTORS GUILD                                           S. PERRY, MANAGER, THEATRICAL AND           360 MADISON AVENUE                      12TH FLOOR                                    NEW YORK           NY           10017
6864819   SCREEN ACTORS GUILD                                           SAG                                         FERN WAKNEEN, DIR, THEATRICAL &         360 MADISON AVE               12TH FLOOR      NEW YORK           NY           10017
6796029   SCREEN ACTORS GUILD                                           WRITER'S GUILD OF AMERICA, WEST, INC        360 MADISON AVE                         12TH FLOOR                                    NEW YORK           NY           10017
6796040   SCREEN ACTORS GUILD - AMERICAN FEDERATION OF TELEVISION AND   ATTN: SUSAN LOWRY                           5757 WILSHIRE BOULEVARD                                                               LOS ANGELES        CA           90036
6796074   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND     3601 WEST OLIVE AVENUE                      PO BOX 7830                                                                           BURBANK            CA           91510
6684755   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND     5757 Wilshire Blvd.                         7th Floor                                                                             Los Angeles        CA           90036
6796047   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND     ATTN: LEIF L. LARSON - MANAGER THEATRICAL   1900 BROADWAY                           5TH FLOOR                                     NEW YORK           NY           10023
6796048   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND     SAG-AFTRA                                   3601 WEST OLIVE AVENUE                  P.O. BOX 7830                                 BURBANK            CA           91510-7830
6796050   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND     5757 WILSHIRE BLVD.,                        7TH FLOOR                                                                             LOS ANGELES        CA           90036
6796071   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION ANS     5757 WILSHIRE BLVD.,                        7TH FLR.                                                                              LOS ANGELES        CA           90036
6796041   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISON AND      5757 WILSHIRE BLVD                          7TH FLOOR                                                                             LOS ANGELES        CA           90036
6796042   SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISON AND      SAG-AFTRA                                   ASSOCIATE GENERAL COUNSEL, FINANCIAL    5757 WILSHIRE BLVD.EVERLY     8TH FLOOR       LOS ANGELES        CA           90036
6796030   SCREEN CAPITAL INTERNATIONAL                                  CORP.                                       ATTN: DAVID L. MOLNER                   345 N. MAPLE DR.              #294            BEVERLY HILLS      CA           90210
6864821   SCREEN ENGINE, LLC                                            CHRISTINE PERAKIS                           10635 SANTA MONICA BLVD                 STE 125                                       SANTA MONICA       CA           90025
6796031   SCREEN RECORDS LTD                                            ATTN BUSINESS AND LEGAL AFFAIRS             3 PROWSE PLACE                                                                        LONDON                          NW1 9PH      UNITED KINGDOM
6796022   SEAN LAKE AND THE ESTATE OF                                   GLEN DOHERTY                                ATTN: TANYA MALLEAN                     9229 SUNSET BLVD STE 525                      LOS ANGELES        CA           90069
6796032   SEAN LAKE AND THE ESTATE OF GLEN DOHERTY                      C/O SKRYNIARZ & MALLEAN                     ATTN: TANYA MALLEAN                     9229 SUNSET BLVD STE 525                      LOS ANGELES        CA           90069
6864822   SEAN LAKE AND THE ESTATE OF GLEN DOHERTY                      C/O SKRZYNIARZ & MALLEAN                    ATTN: TANYA MALLEAN                     9229 SUNSET BLVD              STE 525         LOS ANGELES        CA           90069
6796023   SEAN WILKINSON                                                2470 EL CAMINO REAL #210                                                                                                          PALO ALTO          CA           91521
6796024   SEASIDE FILM SERVICES LLC                                     6694 BREAKERS WAY                                                                                                                 MUSSEL SHOALS      CA           93001
6469647   SEBASTIAN ESCOFET                                             Address on File
6796019   SEBASTIAN JUNGER                                              C/O STUART KRICHEVSKY LITERARY AGENCY       ATTN: STUART KRICHEVSKY                 381 PARK AVENUE SOUTH         SUITE 914       NEW YORK           NY           10016
6864823   SEBASTIAN JUNGER                                              C/O UNITED TALENT AGENCY                    ATTN: HOWARD SANDERS                    9560 WILSHIRE BLVD                            BEVERLY HILLS      CA           90212
6796018   SEBASTIAN JUNGER ("ARTIST")                                   C/O UNITED TALENT AGENCY                    ATTN: HOWARD SANDERS                    9560 WILSHIRE BLVD                            BEVERLY HILLS      CA           90212
6796010   SECRET ROAD MUSIC SERVICES, INC.                              2640 N. BEACHWOOD DRIVE                                                                                           SUITE # 101     LOS ANGELES        CA           90068
6796011   SEE MANGEMENT, INC.                                           307 7TH AVE                                 #1607                                                                                 NEW YORK           NY           10001
6864824   SELECT MUSIC LLC                                              ATTN: JOSH DEUTSCH                          568 BROADWAY                            SUITE 705                                     NEW YORK           NY           10012
6796013   SELECTRACKS, INC.                                             ATTN: DARREL SHIRK                          6100 WILSHIRE BOULEVARD                 SUITE 1600                                    LOS ANGELES        CA           90048
6796014   SELECTRACKS, INC. DBA MUSIC BEYOND                            6100 WILSHIRE BOULEVARD                                                                                           SUITE 1600      LOS ANGELES        CA           90048
6796015   SELECTRACKS, INC. DBA MUSIC BEYOND                            ATTN: MS. SINEAD HARTMANN                   6100 WILSHIRE BOULEVARD                                               SUITE 1600      LOS ANGELES        CA           90048
6796004   SENATOR ENTERTAINMENT AG                                      SCHONHAUSER ALLEE 53, 10413                                                                                                       BERLIN                                       GERMANY
6796005   SENATOR FILM VERLEIH GMBH                                     SCHONHAUSER ALLEE 53, 10413                                                                                                       BERLIN                                       GERMANY
6469001   SENCIT MUSIC, LLC                                             ATTN: JOHNNY GEORGE, BUSINESS MANAGER       1205 ALMA STREET                                                                      GLENDALE           CA           91202
6864825   SETH MENACHEM                                                 409 1/2 N. SIERRA BONITA AVENUE                                                                                                   LOS ANGELES        CA           90036
6864826   SETH WILLIAMS                                                 700 LOUISIANA STREET, SUITE 3950                                                                                                  HOUSTON            TX           77002
6796008   SHADOWBANDIT, INC.                                            9601 WILSHIRE BLVD                                                                                                                BEVERLY HILLS      CA           90210
                                                                                                                                                            360 NORTH CRESCENT DRIVE,
6796009 SHARP END PRODUCTIONS                                           F/S/O MATTHEW SAND                          ATTN: ROBERT BOOKMAN                    NORTH BUILDING                                BEVERLY HILLS      CA           90210
6795999 SHARP END PRODUCTIONS, INC.                                     ATTN: ROBERT BOOKMAN                        360 NORTH CRESCENT DRIVE, NORTH                                                       BEVERLY HILLS      CA           90210
                                                                                                                                                            360 NORTH CRESCENT DRIVE,
6795998 SHARP END PRODUCTIONS, INC. F/S/O MATTHEW SAND                  C/O PARADIGM                                ATTN: ROBERT BOOKMAN                    NORTH BUILDING                                BEVERLY HILLS      CA           90210
6796000 SHAWN BROWN                                                     391 KAUFMAN ROAD                                                                                                                  HOT SPRING         AR           71913




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 MMLID                              NAME                                      ADDRESS                          ADDRESS 2                            ADDRESS 3                 ADDRESS 4           CITY             STATE    POSTAL CODE        COUNTRY
6796003 SHELDON TURNER                                       C/O CREATIVE ARTISTS AGENCY         ATTN: JOHN CAMPISI                       2000 AVENUE OF THE STARS                        LOS ANGELES         ca           90067
6795992 SHELTON GRANT                                        624 VISTA GRANDE CIRCLE                                                                                                      CHARLOTTE           NC           28203
6864827 SHEPPARD MULLIN RICHTER & HAMPTON LLP                ATTN: GENERAL COUNSEL               333 SOUTH HOPE STREET                43RD FLOOR                                          LOS ANGELES         CA           90071-1422
                                                                                                                                      ATTN: ISAAC DUNHAM & JOSEPH         5 COLUMBUS
6795993   SHIRTLESS LTD.                                     F/S/O JONATHAN DALY                 C/O SCHRECK ROSE DAPELLO & ADAMS LLP R. GREGORY, ESQS.                   CIRCLE, 20TH    NEW YORK            NY           10019
6795994   SHLESMAN BOOKING                                   7005 CAROL AVENUE                                                                                                            NILES               IL           60714
6795995   SHONG, HUGO                                        2350 VILLA HEIGHTS ROAD                                                                                                      PASADENA            CA           91107
6864828   SHOT CALLER FILM, LLC                              ATTN: GARY MICHAEL WALTERS          6464 SUNSET BLVD.                        SUITE 800                                       LOS ANGELES         CA           90028
6795997   SHOWTIME NETWORKS INC.                             ATTN: LAW DEPARTMENT                1633 BROADWAY                            16TH FL.                                        NEW YORK            NY           10019
6795986   SHOWTIME NETWORKS INC.                             ATTN: LAW DEPARTMENT                1633 BROADWAY, 16TH FLOOR                                                                NEW YORK            NY           10019
6864829   SHRED-IT NORTH LOS ANGELES                         8600 TAMARACK AVE.                                                                                                           SUN VALLEY          CA           91352
6864830   SIGNATURE ENTERTAINMENT                            CHARLOTTE STREET STUDIOS            76-78 CHARLOTTE STREET                                                                   LONDON                           W1T 4QS        ENGLAND
6795989   SILK FILM BUYING                                   14742 KRYTON COURT NW                                                                                                        RAMSEY              MN           55303
6864831   SILVA SCREEN RECORDS                               3 PROWSE PLACE                                                                                                               LONDON                           NW1 9PH        ENGLAND
6795983   SILVA SCREEN RECORDS LTD                           C/O ADAM GREENUP                    LEGAL & BUSINESS AFFAIRS                 3 PROWSE PLACE                                  LONDON                           NW1 9PH        UNITED KINGDOM
6864832   SILVA SCREEN RECORDS LTD.                          3 PROWSE PLACE                                                                                                               LONDON                           NW1 9PH        ENGLAND
6795984   SILVA TONE MUSIC                                   ATTN: VINCE SCHULTZ                 8225 SANTA MONICA BLVD                                                                   WEST HOLLYWOOD      CA           90046
6795974   SILVER CINEMAS, INC.                               2222 S BARRINGTON AVENUE                                                                                                     LOS ANGELES         CA           90064
6795975   SILVER DREAM PRODUCTIONS                           C/O GREENBERG TRAURIG LLP           ATTN: MATHEW ROSENGART                   1840 CENTURY PARK EAST          19TH FLOOR      LOS ANGELES         CA           90067
6795976   SILVER DREAM PRODUCTIONS F/S/O LUO YAN             C/O SURPIN & MAYERSOHN, LLP         ATTN: PAUL F. MAYERSOHN                  1880 CENTURY PARK EAST, SUITE                   LOS ANGELES         CA           90067
6795985   SILVERBACK PICTURES, INC. F/S/O JOEL BERGVALL      MONKEY BROTHERS, INC. F/S/O SIMON   C/O EXILE ENTERTAINMENT                  ATTN: GARY UNGAR                732 EL MEDIO    PACIFIC PALISADES   CA           90272-3451
6864833   SILVERSTEIN PROPERTIES INC.                        7 WORLD TRADE CENTER                250 GREENWICH STREET                                                                     NEW YORK            NY           10007
6795977   SIMON M.J HORSMAN                                  ANCIENT ARROW FILMS PRODUCTION      2301 E FOOTHILL BOULEVARD                                                                GLENDORA            CA           91740
6795978   SINEAD HARTMANN                                    MUSIC BEYOND LLC                    1545 WILCOX AVENUE, SUITE 101                                                            HOLLYWOOD           CA           90028
6864834   SKINNER HALL MUSIC                                 15 INTERNATIONAL PLACE              SUITE300                                                                                 ST JOHN'S           NL                          CANADA
6864835   SKINNER'S HILL MUSIC                               15 INTERNATIONAL PLACE              SUITE 300                                                                                ST JOHN'S           NL                          CANADA
6864836   SKY LAND                                           OFFSHORE INCORPORATIONS CENTRE      ROAD TOWN                                                                                TORTOLA                                         BRITISH VIRGIN
6864837   SKY LAND ENTERTAINMENT CO., LTD.                   P.O. BOX 957                        OFFSHORE INCORPORATIONS CENTRE                                                           ROAD TOWN           TORTOLA                     BRITISH VIRGIN
6864838   SKY LAND ENTERTAINMENT LIMITED                     ATTN: HUGO SHONG, DIRECTOR          P.O. BOX 957                             OFFSHORE INCORPORATIONS                         ROAD TOWN           TORTOLA                     BRITISH VIRGIN
6864839   SKY LAND ENTERTAINMENT LIMITED                     P.O. BOX 957                        OFFSHORE INCORPORATIONS CENTRE                                                           ROAD TOWN           TORTOLA                     BRITISH VIRGIN
6795963   SKY LAND ENTERTAINMENT LTD                         ATTNN: CATHY CHENG                  ROOM 5118, BUILDING 5, NO. 1 JINZHAN     CHAOYANG DISTRICT                               BEIJING                                         CHINA
6864841   SKY LAND FILM-TELEVISION CULTURE DEVELOPMENT LTD   P.O. BOX 957                        OFFSHORE INCORPORATIONS CENTRE                                                           ROAD TOWN           TORTOLA                     BRITISH VIRGIN
6795957   SKY MAP INC.                                       C/O MAPLES FIDUCIARY SERVICES LLC   4001 KENNETT PIKE                        SUITE 302                                       WILMINGTON          DE           19807
6864842   SKYLAND (BEIJING) FILM-TELEVISION                  CULTURE DEVELOPMENT LTD             P.O. BOX 957                             OFFSHORE INCORPORATIONS                         ROAD TOWN           TORTOLA                     BRITISH VIRGIN
6864843   SKYLAND ENTERTAINMENT                              P.O. BOX 957                        OFFSHORE INCORPORATIONS CENTRE                                                           ROAD TOWN           TORTOLA                     BRITISH VIRGIN
6795959   SKYNOTE LLC                                        RTE 640 P O BOX 460                                                                                                          KESWICK             VA           22947
6795958   SKYNOTE LLC C/O ZYNC MUSIC GROUP                   243 MULBERRY STREET SUITE 4R                                                                                                 NEW YORK            NY           10012
6795960   SLE                                                IDG CHINA MEDIA FUND II L.P.        ATTN: MR. HUGO SHONG                     6TH FLOOR TOWER A, COFCO        8               BEIJING                          1000005        CHINA
6795961   SLS MUSIC, LLC                                     ATTN: MR. JASON ALTSHULER           2901 WEST ALAMEDA AVENUE                 SUITE 500                                       BURBANK             CA           91505
6795950   SMITH MANAGEMENT                                   7430 NW 87TH STREET                                                                                                          KANSAS CITY         MO           64153
6795939   SO CAL CINEMAS                                     13 CORPORATE PLAZA                  #110                                                                                     NEWPORT BEACH       CA           92660
6795940   SOCAL OFFICE                                       5700 WARLAND DRIVE                                                                                                           CYPRESS             CA           90630
6795935   SOCAL TECHNOLOGIES                                 5700 WARLAND DRIVE                                                                                                           CYPRESS             CA           90630
6795936   SOCIAL OFFICE TECHNOLOGIES                         5700 WARLAND DRIVE                                                                                                           CYPRESS             CA           90838
6864846   SOCIETE GENERAL, NEW YORK BRANCH                   ATTN: JUSTINE DUPONT-NIVET          1221 AVENUE OF THE AMERICAS                                                              NEW YORK            NY           10020
6795937   SOCIETE GENERALE, NEW YORK BRANCH                  1221 AVENUE OF THE AMERICAS                                                                                                  NEW YORK            NY           10020
6795927   SOFTCHOICE CORPORATION                             ATTN: SHAUN GRIFFIN                 314 W. SUPERIOR STREET                   SUITE 301                                       CHICAGO             IL           60654
6795923   SOLACE ACQUISITION, LTD.                           ATTN: GENERAL COUNSEL               C/O SILVER REEL                          18 BROADWICK STREET             4TH FLOOR       LONDON                           W1F 8HS        UNITED KINGDOM
6864847   SOLACE ACQUISITION, LTD. C/O SILVER REEL           ATTN: GENERAL COUNSEL               4TH FLOOR                                17 BROADWICK STREET                             LONDON                           W1F 8HS        UNITED KINGDOM
6795924   SOLE PRODUCTIONS, LLC                              9100 WILSHIRE BOULEVARD             SUITE 401 EAST                                                                           BEVERLY HILLS       CA           90212
6864848   SOLMAZ SARHADDI                                    202 4TH ST.                         APT 201                                                                                  LOS ANGELES         CA           90405
6795925   SOMA EEL SONGS                                     C/O RZO LLC                         250 W 57TH STREET                        STE 1101                                        NEW YORK            NY           10107
6795915   SOMNIO BELLUS, INC.                                F/S/O DANNY GARCIA                  C/O GANG TYRE, RAMNER & BROWN< INC.      132 SOUTH RODEO DRIVE                           BEVERLY HILLS       CA           90212
6795916   SONGS MUSIC PUBLISHING LLC                         307 SEVENTH AVE                     SUITE 2104                                                                               NEW YORK            ny           10001
6795917   SONGS TO YOUR EYES LTD.                            OPHER YISRAELI                      22817 VENTURA BOULEVARD                  #839                                            LOS ANGELES         CA           91364
6795908   SONIC SYMPHONY PRODUCTIONS                         MANU KHOSLA                         324 S BEVERLY DRIVE                      SUITE 703                                       BEVERLY HILLS       CA           90212
6795909   SONIC SYMPHONY PRODUCTIONS                         MR. MANU KHOSIA                     324 S BEVERLY DRIVE                      SUITE 703                                       BEVERLY HILLS       CA           90212
6795911   SONIC SYMPHONY PRODUCTIONS                         MR. MANU KHOSLA                     324 S BEVERLY DRIVE, SUITE 703                                                           BEVERLY HILLS       CA           90212
6795912   SONIFI SOLUTIONS, INC.                             3900 WEST INNOVATION STREET                                                                                                  SIOUX FALLS         SD           57107
6864849   SONORA ENTERTAINMENT GRP                           10155 WESTMOOR DRIVE                SUITE 175                                                                                WESTMINSTER         CO           80021
6795904   SONY ENTERTAINMENT                                 550 MADISON AVENUE                                                                                                           NEW YORK            NY           10022
6864850   SONY MUSIC ENTERTAIMENT                            500 MADISON AVENUE                                                                                                           NEW YORK            NY           10022
6795906   SONY MUSIC ENTERTAINMENT                           2100 COLORADO BLVD                                                                                                           SANTA MONICA        CA           90404




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 MMLID                                 NAME                                           ADDRESS                                   ADDRESS 2                             ADDRESS 3          ADDRESS 4           CITY           STATE    POSTAL CODE        COUNTRY
6864852   SONY MUSIC ENTERTAINMENT                                   530 MADISON AVE                                                                                                                 NEW YORK          NY           10022
6864851   SONY MUSIC ENTERTAINMENT                                   550 MADISON                                                                                                                     NEW YORK          NY           10022-3211
6795868   SONY MUSIC ENTERTAINMENT                                   5520 MADISON AVENUE                                                                                                             NEW YORK          NY           10022
6795869   SONY MUSIC ENTERTAINMENT                                   9830 WILSHIRE BLVD                                                                                                              BEVERLY HILLS     CA           90212
6795870   SONY MUSIC ENTERTAINMENT                                   ATTN: ELIZABETH MILLER, SENIOR DIRECTOR,   550 MADISON AVENUE                                                                   NEW YORK          NY           10022-3211
6864854   SONY MUSIC ENTERTAINMENT                                   ATTN: PAULA ERICKSON                       550 MADISON AVENUE                                                                   NEW YORK          NY           10022-3211
6864853   SONY MUSIC ENTERTAINMENT                                   ATTN: PAULA ERICKSON, SR. VP               550 MADISON AVENUE                                                                   NEW YORK          NY           10022-3211
6795855   SONY NETWORK ENTERTAINMENT INTERNATIONAL LLC               BUSINESS AND LEGAL AFFAIRS                 6080 CENTER DRIVE, 10TH FLOOR                                                        LOS ANGELES       CA           90045
6795857   SONY PICTURES WORLDWIDE ACQUISITIONS INC.                  ATTN: EXECUTIVE VP, LEGAL AFFAIRS          10202 WEST WASHINGTON BLVD.                                                          CULVER CITY       CA           90232
6795858   SONY PTY. LTD.                                             C/O CARLIN AMERICA, INC.                   126 EAST 38TH STREET                                                                 NEW YORK          NY           10016
6795902   SONY/ATV ACUFF ROSE MUSIC (BMI)                            P.O. BOX 415000                                                                                                                 NASHVILLE         TN           37241
6795903   SONY/ATV MUSIC PUBLISHING, LLC                             424 CHURCH STREET                          SUITE 1200                                                                           NASHVILLE         TN           37219
6864855   SOUND CELLAR LLC                                           ATTN: BEN FINCH                            1415 GREENFIELD AVE                     APT 101                                      LOS ANGELES       CA           90025
                                                                                                                KOMPLEK PERKANTORAN ROXY MAS BLOK
6795839   SOUND SPACE INTERNATIONAL, LTD.                            ATTN: HARRY MIRPURI                        C2 NO. 27-34                            JLKH HASYIM ASHARI KAV 125 B                 JAKARTA                        10150          INDONESIA
6864856   SOUND SPACE INTERNATIONAL, LTD.                            KOMPLEX PERKANTORAN ROXY MAS               BLOK C2 NO.27-34                        JLKM HASYIM ASHARI KAV         125 B         JAKARTA                        10150          INDONESIA
6864857   SOUNDSCAPE INTERNATIONAL LIMITED                           375 AJMAN                                                                                                                       E.O.C.E.                                      UNITED ARAB
6864858   SOUNDSCAPES PUBLISHING INC.                                244 MADISON AVENUE                         SUITE 314                                                                            NEW YORK          NY           10016
6795844   SOUNDSPACE INTERNATIONAL LIMITED                           ATTN: HARRY MIPURI                         375 AJMAN FREEZONE,                                                                  E.O.C.E                                       UNITED ARAB
6864859   SOUNDSPACE INTERNATIONAL LIMITED                           RAJESH PUNJABI, DIRECTOR                   375 AJMAN                                                                            E.O.C.E.                                      UNITED ARAB
6864862   SOUNDSPACE INTERNATIONAL LIMTED                            SANJAY MAKHIJANI                           375 AJMAN                                                                            E.O.C.E                                       UNITED ARAB
6795838   SOUNDSPACE INTERNATIONAL, LTD                              ATTN: HARRY MIRPURI                        KOMPLEK PERKANTORA                      JLKH HASYIM ASHARI                           JAKARIA                        10150          INDONESIA
6864863   SOUNDSPACE INTERNATIONAL, LTD                              375 AJMAN                                                                                                                       E.O.C.E.                                      UNITED ARAB
6795830   SOURCE/Q                                                   4821 LANKERSHIM BLVD., #F545                                                                                                    NORTH HOLLYWOOD   CA           91601
6795831   SOUTHERN BOOKING                                           305 BARONNE ST                             9TH FLOOR                                                                            NEW ORLEANS       LA           70112
6795832   SOUTHERN THEATRES LLC                                      305 BARRONE ST.,                           9TH FLOOR                                                                            NEW ORLEANS       LA           70112
6795833   SOVINSKI, CAROL                                            AUDIOMACHINE                               9903 SANTA MONICA BOULEVARD             SUITE 250                                    BEVERLY HILLS     CA           90212
6795834   SPECIAL RIDER MUSIC                                        PO BOX 860                                 COOPER STATION                                                                       NEW YORK          NY           10276-0860
6795826   SPREDFAST, INC.                                            ATTN: JAY HARRY                            200 W. CESAR CHAVEZ, SUITE 600                                                       AUSTIN            TX           78701
6795828   SPRINT UNITED MANAGEMENT COMPANY                           ATTN: DAN SOLOMON, LEGAL DEPT.             10 INDEPENDENT BLVD.                                                                 WARREN            NJ           07059
6795827   SPRINT UNITED MANAGEMENT COMPANY BY AND ON BEHALF          OF VIRGIN MOBILE                           ATTN: DAN SOLOMON, LEGAL DEPT           10 INDEPENDENCE BLVD.                        WARREN            NJ           07059
6795829   SPRINT UNITED MANAGMENT COMPANY                            ATTEN:DAN SOLOMON, LEGAL DEPT              10 INDEPENDANCE BLVD.                                                                WARREN            NJ           07059
                                                                                                                C/O JACKOWAY TYERMAN ET AL., ATTN:
6795794   ST. IVES PRODUCTIONS, INC.                                 F/S/O KEVIN MESSICK                        KARL AUSTEN                             1925 CENTURY PARK EAST         22ND FL.      LOS ANGELES       CA           90067
6795798   ST. ROSE MUSIC PUBLISHING CO                               40 EXCHANGE PLACE                          19TH FLOOR                                                                           NEW YORK          NY           10005
6795812   STAGE THREE MUSIC (U.S.) INC.                              1616 VISTA DEL MAR, SECOND FLOOR                                                                                                HOLLYWOOD         CA           90028
6795813   STAMPEDE MUSIC PUBLISHING                                  O/B/O MASS IMPULSE MUSIC PUBLISHING        12530 BEATRICE STREET                                                                LOS ANGELES       CA           90066
6795814   STARPLEX THEATRES                                          12400 COIT ROAD                            SUITE 800                                                                            DALLAS            TX           75251
6795815   STARTWORKS ARTISTS                                         440 N. LA BREA AVENUE                                                                                                           LOS ANGELES       CA           90036
6795807   STARZ ENTERTAINMENT                                        ATTN: STEPHAN SHELANSKI                    8900 LIBERTY CIRCLE                                                                  ENGLEWOOD         CO           80112
6795816   STARZ ENTERTAINMENT, LLC                                   ATTN: BRET MAROTTOLI, SENIOR VICE          8900 LIBERTY CIRCLE                                                                  ENGLEWOOD         CO           80112
6795817   STARZ ENTERTAINMENT, LLC                                   ATTN: NANCY SILVERSTONE                    8900 LIBERTY CIRCLE                                                                  ENGLEWOOD         CO           80112
6795806   STARZ ENTERTAINMENT, LLC                                   ATTN: NANCY SILVERSTONE, VP, PROGRAM       8900 LIBERTY CIRCLE                                                                  ENGLEWOOD         CO           80112
6795808   STEELE, JOHN                                               P.O. BOX 280                                                                                                                    SPEARFISH         SD           57783
6795809   STEPHEN SOUDER                                             MASSIVE NOISE MACHINE                      36 BEVERLY RD                                                                        MADISON           NJ           07940
6795810   STEREOTYPES MUSIC PUBLISHING                               10960 WILSHIRE BLVD.                       5TH FL.                                                                              LOS ANGELES       CA           90024
6795811   STERN, BRUCE AGENCY                                        1088 STANDARD DRIVE                                                                                                             ATLANTA           GA           30319
          STEVE WARREN HANSEN, JACOBSON, TELLER, HOBERMAN, NEWMAN,
6795803   WARREN, RICHMAN, RUSH & KALLER, LLP                        450 NORTH ROXBURY DRIVE, 8TH FL                                                                                                 LOS ANGELES       CA           90210
6795804   STEVE WINOGRADSKY WINCO GLOBAL MUSIC                       12650 RIVERSIDE DRIVE                      SUITE 200                                                                            STUDIO CITY       CA           91607
6795800   STEVEN HARDY                                               1736 HICKORY LANE                          APT. B                                                                               HARAHAN           LA           70123
6795801   STEVEN RITZI                                               4419 W. CULBREATH AVE                                                                                                           TAMPA             FL           33609
6795802   STEVEN SODERBERGH                                          2121 AVE. OF THE STARS                     #2700                                                                                LOS ANGELES       CA           90067
6795805   STI HOLDING, LLC                                           ATTN; NEAL LENARSKY, FOUNDER & CHAIRMAN    137 N. LARCHMONT BLVD                   SUITE 469                                    LOS ANGELES       CA           90004
6864864   STONE MANAGEMENT, INC.                                     9903 SANTA MONICA BOULEVARD                SUITE 1109                                                                           BEVERLY HILLS     CA           90212
6795795   STONE TABLES PRODUCTIONS, INC.                             26893 BOUQUET CANYON ROAD, SUITE C 210                                                                                          SANTA CLARITA     CA           91350-2374
6795796   STONE TABLES PRODUCTIONS, INC.                             F/S/O MARK STEVEN JOHNSON                  26893 BOUQUET CANYON ROAD               SUITE C 210                                  SANTA CLARITA     CA           91350-2374
6795797   STRADELLA ROAD,LLC                                         1110 STRADELLA ROAD                                                                                                             LOS ANGELES       CA           90077
6795799   STUDIO 3 PARTNERS LLC                                      ATTN: BUSINESS & LEGAL AFFAIRS             1515 BROADWAY                                                                        NEW YORK          NY           10036
6795788   STUDIO CANAL GMBH                                          NEUE PROMENADE 4                                                                                                                BERLIN                         10178          GERMANY
6795780   STUDIO UTILITY EMPLOYEES, LOCAL 724                        ATTN: THOMAS INMAN - BUSINESS MANAGER      6700 MELROSE AVENUE                                                                  HOLLYWOOD         CA           90038
6795789   STUDIOCANAL GMBH                                           NEUE PROMENADE                                                                                                                  BERLIN                         10178          GERMANY
6795781   STUFIO TRANSPORTATION DRIVERS LOCAL 399, INTERNATIONAL     4747 VINELAND AVE                                                                                                               NORTH HOLLYWOOD   CA           91603




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                                                                                                                 Schedule G Parties Service List
                                                                                                                    Served First Class Mail
 MMLID                                 NAME                                       ADDRESS                                  ADDRESS 2                           ADDRESS 3             ADDRESS 4           CITY         STATE    POSTAL CODE     COUNTRY
6795770   STX FILMDEV, LLC                                      3900 WEST ALAMEDA AVE., 32ND FLOOR                                                                                               BURBANK           CA         91505
6795764   STYLE NETWORK                                         ATTN: KATIE BUCHANAN                       5750 WILSHIRE BOULEVARD                                                               LOS ANGELES       CA         90036
6795765   SUBATOMIC SYSTEMS, INC.                               625 2ND STREET                             SUITE 280                                                                             SAN FRANCISCO     CA         94107
6795768   SUGAR FREE MEDIA                                      SETH KAPLAN                                25 WALL ST                              #4                                            ORLANDO           FL         32801
6795758   SUN BASIN THEATRES                                    PO BOX 2506                                                                                                                      WENATCHEE         WA         98807
6795762   SUN DISTRIBUTION CORP S.A                             RUTA 8 KM, 17,500                          EDIFICIO @ 3 - LOCAL 107B                                                             MONTEVIDEO                   91600        URUGUAY
6795763   SUN DISTRIBUTION GROUP S.A.                           RUTA 8 KM, 17,500                          EDIFICIO @ 3 - LOCAL 107B                                                             MONTEVIDEO                   91600        URUGUAY
6795754   SUN SOUTH THREATRES, INC.                             PO BOX 1528                                                                                                                      LAKELAND          FL         33802
6795759   SUNDANCE CINEMAS                                      3900 DALLAS PKWY                           SUITE 500                                                                             PLANO             TX         75093
6864865   SUNDAY PRODUCTIONS, INC. D/B/A COLERAIN MUSIC (BMI)   1501 BROADWAY                                                                                                                    NEW YORK          NY         10036
                                                                C/O BLOOM HERGOTT DIEMER ROSENTHAL
6795752   SUNIL PERKASH                                         LAVIOLETTE FELDMAN SCHENKMAN &             ATTN: ERIC M. BROOKS                    150 SOUTH RODEO DRIVE           THIRD FLOOR   BEVERLY HILLS     CA         90212
6795753   SUNSHINE SACHS                                        136 MADISON AVE                            17TH FLOOR                                                                            NEW YORK          NY         10016
6795755   SUPERSENSORY, LLC                                     C/O EDEN ROCK MEDIA                        ATTN: GENERAL COUNSEL                   HENSON-CHAPLIN LOT 1416 N. LA                 HOLLYWOOD         CA         90028
6795756   SURPIN & MAYERSON, LLP ATTORNEYS AT LAW               PAUL F. MAYERSOHN                          1880 CENTURY PARK EAST,                 SUITE 618                                     LOS ANGELES       CA         90067
6795757   SUSAN FRONSOE                                         3098 PIEDMONT RD STE 102                                                                                                         ATLANTA           GA         30305
6795746   SUSAN FRONSOE ATLANTA MODELS&TALENT AGENCY            3098 PIEDMONT RD                           STE#102                                                                               ATLANTA           GA         30305
6795734   SWANK MOTION PICTURES, INC.                           ATTN: VP SALES & STUDIO RELATIONS          10795 WATSON ROAD                                                                     ST. LOUIS         MO         63127-1012
6795745   SWANK MOTION PICTURES, INC. LLC                       10795 WATSON ROAD                                                                                                                ST. LOUIS         MO         63127-1012
6795735   SWORDFISH INVESTMENTS LLP                             ATTN: ISHAN SEKSENA, MD                    3RD FLOOR, BERKELEY SQUARE HOUSE        BERKELEY SQUARE                               LONDON                       W1J 6BU      UNITED KINGDOM
6795736   SYNCHRONIC LLC                                        6922 HOLLYWOOD BOULEVARD                   SUITE 1200                                                                            HOLLYWOOD         CA         90028
6795739   SYNCHRONIC LLC                                        ATTN: MR. BRANDON BURNSIDE                 6922 HOLLYWOOD BLVD., SUITE 1200                                                      HOLLYWOOD         CA         90028
6795728   SYUFY ENTERPRISES                                     150 PELICAN WAY                                                                                                                  SAN RAFAEL        CA         94901
6795730   TAKE IT, TAKE IT, INC.                                JODY HILL                                  200 AVENUE OF THE STARS                                                               LOS ANGELES       CA         90067
6795729   TAKE IT, TAKE IT, INC. F/S/O JODY HILL                C/O CREATIVE ARTISTS AGENCY                ATTN: SCOTT GREENBERG                   2000 AVENUE OF THE STARS                      LOS ANGELES       CA         90067
6795731   TALBOT MANAGEMENT CO.                                 2155 ALOMA AVENUE                                                                                                                WINTER PARK       FL         32792
6795732   TALIA K. DILLINGHAM                                   5051 CAHUENGA BLVD                                                                                                               N. HOLLYWOOD      CA         91601
6864866   TAMMY & BRUNO FRISKE                                  20 GARRISON RD.                                                                                                                  WEAVERVILLE       NC         28787
6795724   TANK CATERPILLAR, INC./ SCOTT DERRICKSON, ARTIST      C/O WILLIAM MORRIS ENDEAVOR                ATTN: PHIL RASKIND                      9601 WILSHIRE BLVD                            BEVERLY HILLS     CA         90210
6795726   TANWEER FILMS FZ, LLC                                 ATTN: BAMA DEVAN, SVP, BUSINESS AFFAIRS    DUBAI MEDIA CITY                        REUTERS BLDG 1, ROOM 410                      DUBAI                                     UNITED ARAB
6795718   TANWEER FILMS FZ, LLC                                 ATTN: MS. BAMA DEVAN, SVP-BUSINESS         DUBAI MEDIA CITY, REUTERS BUILDING #1   OFFICE 410                                    DUBAI                                     UNITED ARAB
6795717   TANWEER FILMS FZ, LLC                                 ATTN: MS.BAMA DEVAN SVP -BUSINESS          DUBAI MEDIA CITY                        REUTER BUILDING #1              OFFICE 410    DUBAI                                     UNITED ARAB
6795716   TANWEER FILMS FZ, LLC                                 ATTNETION: BAMA DEVAN                      DUBAI MEDIA CITY-REUTERS BUILDING 1     OFFICE 410,                                   DUBAI                                     UNITED ARAB
6795727   TANWEER FILMS FZ, LLC                                 DUBAI MEDIA CITY                           REUTERS BUILDING #1                     OFFICE 410                                    DUBAI                                     UNITED ARAB
6795719   TANWEER VISION PICTURES LIMITED                       C/O TANWEER FILMS FZ, LLC                  ATTN: BAMA DEVAN, SVP, BUSINESS         DUBAI MEDIA CITY, BUILDING #1 OFFICE 410      DUBAI                                     UNITED ARAB
6795720   TANWEER VISION PICTURES LIMITED                       C/O TANWEER FILMS FZ, LLC                  DUBAI MEDIA CITY                        BUILDING #1 REUTERS, OFFICE 410               DUBAI                                     UNITED ARAB
6795711   TANWEER VISION PICTURES LIMITED                       C/O TANWEER FILMS FZ, LLC                  DUBAI MEDIA CITY                        RUETERS BUILDING #1             OFFICE 410    DUBAI                                     UNITED ARAB
6795712   TANWEER VISION PICTURES LIMITED                       C/O TANWEER FILMS FZ, LLC OF DUBAI MEDIA   BUILDING #1 REUTERS                     OFFICE 410                                    DUBAI                                     UNITED ARAB
6795713   TANWEER VISION PICTURES LTD                           BUILDING 1 RUETERS                         OFFICE 410                                                                            DUBAI                                     UNITED ARAB
6795704   TARSEM SINGH                                          1299 OCEAN AVE. #333                                                                                                             SANTA MONICA      CA         90401
6795705   TASC STUNT INC                                        1785 IVEY TRACE                                                                                                                  CUMMING           GA         30041
6795706   TAYLOR HELMBOLDT                                      11622 CHANDLER BLVD.                                                                                                             NORTH HOLLYWOOD   CA         91601
6795708   TEA TIME FILMS                                        9100 WILSHIRE BLVD                         #1000W                                                                                BEVERLY HILLS     CA         90212
6795707   TEAMSTERS LOCAL UNION NO. 391                         REC # 451                                                                                                                        COLFAX            NC         27235
6864867   TECHNICOLOR                                           ATTN: EXECUTIVE OR BILLING DEPT            ATTN: GENERAL COUNSEL                   6040 SUNSET BLVD                6TH FLOOR     HOLLYWOOD         CA         90028
6864869   TECHNICOLOR                                           CLAUDE GAGNON                              6040 SUNSET BOULEVARD                                                                 HOLLYWOOD         CA         90028
6864868   TECHNICOLOR                                           JOE BERCHTOLD                              6040 SUNSET BOULEVARD                                                                 HOLLYWOOD         CA         90028
6864870   TECHNICOLOR CREATIVE SERVICES                         ATTN: GENERAL COUNSEL                      6040 SUNSET BLVD                        6TH FLOOR                                     HOLLYWOOD         CA         90028
6864871   TECHNICOLOR WEST COAST CREDIT                         ATTN: CREDIT MANAGER                       5431 E. PHILADELPHIA ST.                                                              ONTARIO           CA         91761
6864875   TECHNICOLOR, INC.                                     ATTN: PRESIDENT                            6040 SUNSET BLVD.                                                                     HOLLYWOOD         CA         90028
6864874   TECHNICOLOR, INC.                                     C/O FAEGRE BAKER DANIELS LLP               ATTN: GENERAL COUNSEL                   311 SOUTH WACKER DRIVE                        CHICAGO           IL         60606
6864873   TECHNICOLOR, INC.                                     CLAUDE GAGNON                              6040 SUNSET BOULEVARD                                                                 HOLLYWOOD         CA         90028
6864872   TECHNICOLOR, INC.                                     CLAUDE GAGNON                              PRESIDENT                               6040 SUNSET BOULEVARD                         HOLLYWOOD         CA         90028
6795709   TEHANI PRODUCTION, INC. F/S/O JOHN BALDECCHI          ATTN: JOHN LAVIOLETTE, ESQ.                150 S. RODEO DRIVE, THIRD FLOOR                                                       BEVERLY HILLS     CA         90212
6795700   TELE MUNCHEN FERNSEH GMBH + CO                        ATTN: DR. HERBERT KLOIBER                  PRODUKTIONSGESELLSCHAFT,                KAUFINGERSTR. 24                              MUNICH                       80331        GERMANY
6795698   TELEFUTURA                                            1900 NW 89TH PLACE                                                                                                               MIAMI             FL         33172
6864876   TELEFUTURA NETWORK                                    ATTN: VALERIA PALAZIO                      1900 NW 89TH PLACE                                                                    MIAMI             FL         33172
                                                                                                           DIRECTOR, BUSINESS AFFAIRS                                              CITY WALK
6795701   TELEMUNDO NETWORK GROUP LLC                           ATTN: MONICA MASON                         ADMINISTRATION                          100 UNIVERSITY CITY PLAZA       MEDIA SOUTH   UNIVERSAL CITY    CA         91608
6795702   TELEPOOL GMBH                                         ATTN: THOMAS WEBER / PETRA GERNGROSS       SONNENSTRASSE 21                                                                      MUNCHEN                      D-80331      GERMANY
6795694   TELEVISION FOOD NETWORK                               1180 AVENUE OF AMERICAS                                                                                                          NEW YORK          NY         10036
6795695   TEN TWENTY ONE, INC                                   MICHAEL LORDES                             1180 AVENUE OF THE AMERICAS                                                           NEW YORK          NY         10036
6864877   TERENCE LAM                                           CHINA STAR ENTERTAINMENT                   UNIT 3409 SHUN TAK CENTRE, WEST         168-200 CONNAUGHT ROAD                        CENTRAL HONG KONG                         CHINA




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                                                                                                                             Schedule G Parties Service List
                                                                                                                                Served First Class Mail
 MMLID                                 NAME                                                  ADDRESS                                ADDRESS 2                              ADDRESS 3           ADDRESS 4           CITY          STATE    POSTAL CODE     COUNTRY
6795696   TERRORBIRD MEDIA LLC                                             O/B/O FRIENDLY FIRE RECORDINGS             455 FDR DRIVE                            B-1003                                      NEW YORK         NY           10002
6795697   TERRY HINES & ASSOCIATES                                         2550 N. HOLLYWOOD WAY                      SUITE 600                                                                            BURBANK          CA           91505
6795686   TERRY HINES & ASSOCIATES                                         BREE BOSSELMANN                            SVP, MULTICULTURAL                       2550 N. HOLLYWOOD WAY         SUITE 600     BURBANK          CA           91505
6795687   TERRY HINES & ASSOCIATES                                         MARIOS BARRON                              PRESIDENT                                2550 N. HOLLYWOOD WAY         SUITE 600     BURBANK          CA           91505
6795688   TGV PICTURES SDN BHD                                             ATTN: GERALD V. DIBBAYAWAN, DIRECTOR       MENARA MAXIS, 6TH FLOOR                  KUALA LUMPUR CITY CENTRE                    KUALA LUMPUR                  50088        MALAYSIA
6795682   THE 1992 DIANE WARREN TRUST D/B/A REALSONGS                      6363 SUNSET BOULEVARD                                                                                                           HOLLYWOOD        CA           90028
6795683   THE AIRBORNE TOXIC EVENT                                         MIKEL FRANS JOLLETT                        C/O GALLI MANAGEMENT LLC                 4220 LANKERSHIM               3RD FLOOR     NO. HOLLYWOOD    CA           91602
6864878   THE ALLIANCE OF MOTION PICTURE AND TELEVISION PRODUCERS          15503 VENTURA BLVD                                                                                                              ENCINO           CA           91436
6795672   THE BICYCLE MUSIC COMPANY                                        MICHAEL PIZZUTO                            100 NORTH CRESCENT DRIVE                 #323                                        BEVERLY HILLS    CA           90210
6795673   THE BLACKHEAD GROUP, INC.                                        200 PARK AVENUE SOUTH                      8TH FL                                                                               NEW YORK         NY           10003
6795662   THE BRYANT PARK HOTEL                                            JESSICA POWERS                             DIRECTOR OF CATERING                     40 WEST 40TH STREET                         NEW YORK         NY           10018
6795663   THE CHURCH OF THE GOOD THIEF PUBLISHING                          1888 EMERY STREET                          SUITE 111                                                                            ATLANTA          GA           30318
6795664   THE CLASH                                                        C/O SONY MUSIC ENTERTAINMENT (UK) & EPIC   550 MADISON AVENUE                                                                   NEW YORK         NY           10022-3211
6795665   THE CRONER COMPANY                                               1028 SIR FRANCIS DRAKE BOULEVARD                                                                                                KENTFIELD        CA           94904-1426
6864879   THE CROW REBORN, LLC                                             C/O HIGHLAND FILM GROUP                    ATTN: H. WINTERSTERN, A. FRASER AND A.   9200 SUNSET BLVD. SUITE 600                 WEST HOLLYWOOD   CA           90069
6795659   THE CW NETWORK                                                   ATTN: VP, PROGRAM PLANNING AND             3300 W. OLIVE AVE.                       #3124                                       BURBANK          CA           91505
6795661   THE DEEP DARK WOODS, LLC                                         1888 EMERY STREET                          SUITE 111                                                                            ATLANTA          GA           30318
6795650   THE DIRECTORS GUILD OF AMERICA, INC.                             7920 SUNSET BLVD.                                                                                                               LOS ANGELES      CA           90046
6864880   THE ECHO LABEL LIMITED                                           CHRYSALIS MUSIC GROUP                      8447 WILSHIRE BLVD                       SUITE 400                                   BEVERLY HILLS    CA           90211
6795652   THE ESTATE OF GLEN DOHERTY                                       165 RODNEY AVE.                                                                                                                 ENCINITAS        CA           92024
6795653   THE FILM GROUP                                                   2101 CEDAR SPRINGS RD                      SUITE 800                                                                            DALLAS           TX           75201
6795654   THE FILM MUSICIANS SECONDARY MARKETS FUND                        ATTN: KIM ROBERTS HEDGPETH, EXECUTIVE      15910 VENTURA BL., 9TH FLOOR                                                         ENCINO           CA           91436
6864881   THE GOTHAM GROUP                                                 F/S/O ELLEN GOLDSMITH-VEIN AND JEREMY      ATTN: ERIC ROBINSON                      9255 SUNSET BLVD STE 515                    LOS ANGELES      CA           90069
6795646   THE METROPOLITAN MUSEUM OF ART                                   ATTN: NANCY CHILTON                        1000 FIFTH AVENUE                                                                    NEW YORK         NY           10028-0198
6795648   THE NEILSON COMPANY US, LLC                                      ATTN: SENIOR VICE PRESIDENT-FIANCE         GLOBAL MEDIA CLIENT SERVICES             85 BROAD STREET                             NEW YORK         NY           10004
6795649   THE NICHE PROJECT INC                                            132 MULBERRY STREET                        SUITE 503                                                                            NEW YORK         NY           10013
6795639   THE NIELSEN COMPANY, LLC                                         ATTN: SENIOR VICE PRESIDENT-FIANCE         GLOBAL MEDIA CLIENT SERVICES             85 BROAD STREET                             NEW YORK         NY           10004
6795642   THE NOISE COMPANY MX                                             6230 WILSHIRE BOULEVARD                    #1201                                                                                LOS ANGELES      CA           90048
6795643   THE ONLINE INCENTIVES EXCHANGE, LLC                              ATTN: DANIEL BIGEL, CEO                    680 FIFTH AVENUE                         10TH FLOOR                                  NEW YORK         NY           10019
6795632   THE ROBERT SIMONDS COMPANY                                       C/O PBSM, LLP                              16030 VENTURA BLVD, SUITE 380                                                        ENCINO           CA           91436
6864882   THE RUDDY MORGAN ORGANIZATION, INC.                              C/O KEITH G. FLEER                         520 BROADWAY                             SUITE 350                                   SANTA MONICA     CA           90401
6795634   THE SCOOP RESEARCH COMPANY                                       510 EAST 85TH ST.                          SUITE 3H                                                                             NEW YORK         NY           10028
6795635   THE WALL GROUP CORP.                                             421 W. 14TH STREET 2ND FL.                                                                                                      NEW YORK         NY           10014
6864883   THE WEINSTEIN COMPANY                                            ATTN: ADRIAN J. LOPEZ-SVP                  9100 WILSHIRE BLVD.                                                                  BEVERLY HILLS    CA           90212
6864884   THE WEINSTEIN COMPANY, LLC                                       375 GREENWICH STREET, 3RD FLOOR                                                                                                 NEW YORK         NY           10013
6864885   THE WEINSTEIN COMPANY, LLC                                       ATTN: ANDREW KRAMER, BUSINESS & LEGAL      9100 WILSHIRE BLVD                                                                   BEVERLY HILLS    CA           90212
6795620   THE WEINSTEIN COMPANY, LLC                                       ATTN: LEE SOLOMON & ANDREW KRAMER, ESQ.    5700 WILSHIRE BOULEVARD                  6TH FLOOR                                   LOS ANGELES      CA           90036
6795684   THEA ISTENES                                                     7700 SUNSET BLVD                           SUITE 205                                                                            LOS ANGELES      CA           90046
6795674   THEATRE ALLIANCE GROUP                                           7495 GLACIER RIDGE PLACE SE                                                                                                     PORT ORCHARD     WA           98367
6795675   THEATRE BOOKING SERVICE (CNTL)                                   221 ELK STREET                                                                                                                  BEATRICE         NE           68310
6795676   THEATRE CONSULT/CINEMAGIC                                        4300 O'DAY AVENUE                                                                                                               ST. MICHAEL      MN           55376
6795677   THEATRE GROUP INC.                                               108 ST. FRANCES PL                                                                                                              SHERWOOD         AR           72120
6795678   THEATRE MANAGEMENT INC.                                          9800 MEDLOCK BRIDGE RD                     SUITE 8                                                                              DULUTH           GA           30097
6795679   THEATRE MGMT. ASSOC                                              PO BOX 8483                                                                                                                     CHERRY HILL      NJ           08002
6795668   THEATRE SERVICES                                                 2425 CLEVELAND AVE                         #200                                                                                 SANTA ROSA       CA           94503
6795669   THEATRE SERVICES NETWORK                                         630 MANATEE DRIVE                                                                                                               BOYNTON BEACH    FL           33444
6795670   THEATRE SERVICES UNLIMITED                                       PO BOX 26085                                                                                                                    COLLEGEVILLE     PA           19423
          THEATRICAL DRIVERS AND HELPERS LOCAL UNION 817 / INTERNATIONAL
6795671   BROTHERHOOD OF TEAMSTERS, CHAUFFEURS, WAREHOUSE MEN AND          I.B.T / THE UNION                          127 CUTTER MILL ROAD                                                                 GREAT NECK       NY           11021
6795624   THIRL HASTON                                                     3588 HWY 138 EAST                                                                                                               SSTOCKBRIDGE     GA           30281
6795614   THOMAS ROBER AKOS                                                6851 BITTERSWEET LN.                                                                                                            ORLANDO          FL           32819
6864886   THOMAS ZADRA                                                     242 S. HIGHLAND AVE.                                                                                                            LOS ANGELES      CA           90036
6795625   THOMAS, LARRY BOOKING                                            6934 WOODSEDGE DRIVE                                                                                                            CINCINNATI       OH           45230
6795615   THOMPSON BOOKING & BUYING                                        372 EQUESTRIAN DRIVE                                                                                                            ROCKWALL         TX           75032
6864887   THREE POINT CAPITAL, LLC                                         630 FIFTH AVENUE                           SUITE 2505                                                                           NEW YORK         NY           10111
6864888   THREE POINT CAPITAL, LLC                                         630 FIFTH AVENUE                           SUITE 300                                                                            BEVERLY HILLS    CA           90210
6795618   THREE POINT CAPITAL, LLC                                         ATTN: GENERAL COUNSEL                      630 5TH AVE #2505                                                                    NEW YORK         NY           10111
6795619   THUNDER ROAD ENTERTAINMENT, INC.                                 C/O JACKOWAY TYERMAN WERTHEIMER            ATTN: KARL AUSTEN                        1925 CENTURY PARK EAST        22ND FLOOR    LOS ANGELES      CA           90067
                                                                           C/O BLOOM HERGOTT DIEMER ROSENTHAL         ATTN: CARLOS GOODMAN & GREG
6795608   THUNDER ROAD FILM PRODUCTIONS, INC.                              LAVIOLETTE FELDMAN SCHENKMAN &             SLEWETT                                  150 S RODEO DR.               THIRD FLOOR   BEVERLY HILLS    CA           90212
6795609   TIAN MING CAPITA HOLDINGS I INC                                  UNIT 5505, THE CENTRE,                     99 QUEEN'S ROAD CENTRAL                                                              HONG KONG                                CHINA
6795610   TICKTBOX, LLC                                                    ATTN: ANDREW LY                            4655 RUFFNER ST.                         SUITE 210                                   SAN DIEGO        CA           92111
6795611   TIFFANY KUZON/ EVOLUTION ENTERTAINMENT                           901 N HIGHLAND AVE                                                                                                              LOS ANGELES      CA           90038




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                                                                                                                         Schedule G Parties Service List
                                                                                                                            Served First Class Mail
 MMLID                                   NAME                                            ADDRESS                                  ADDRESS 2                           ADDRESS 3                 ADDRESS 4            CITY             STATE    POSTAL CODE        COUNTRY
6795603   TIMES MEDIA FILMS                                             A DIV OF TIMES MEDIA (PTY) LTD.            TIMES MEDIA BUILDING                      4 BLERMANN AVE                   ROSEBANK       JOHANNESBURG                     2196           SOUTH AFRICA
6795604   TIMES MEDIA FILMS                                             ATTENTION: DEBBIE MCCRUM                   TIMES MEDIA BUILDING                      4 BLERMANN AVE                   ROSEBANK       JOHANNESBURG                     2196           SOUTH AFRICA
6795605   TIMES MEDIA FILMS                                             DEBBIE MCCRUM                              TIMES MEDIA BUILDING                      4 BLERMANN AVE                   ROSEBANK       JOHANNESBURG                     2196           SOUTH AFRICA
6795607   TIMES MEDIA FILMS                                             TIMES MEDIA BUILDING                       4 BLERMANN AVE                            ROSEBANK                                        JOHANNESBURG                     2196           SOUTH AFRICA
6795606   TIMES MEDIA FILMS (F.K.A. NU METRO FILMS)                     ATTN: DEBBIE MCCRUM                        TIMES MEDIA BUILDING                      4 BLERMANN AVE                   ROSEBANK       JOHANNESBURG                     2196           SOUTH AFRICA
6795612   TIMES MEDIA FILMS, A DIVISION OF TIMES MEDIA (PTY) LTD.       ATTN: DEBBIE MCCRIM / GENERAL MANAGER      TIMES MEDIA BUILDING                      4 BLERMANN AVE                   ROSEBANK       JOHANNESBURG                     2196           SOUTH AFRICA
6864889   TIMES MEDIA FILMS, A DIVISION OF TIMES MEDIA (PTY) LTD.       TIMES MEDIA BUILDING                       4 BLERMANN AVE                            ROSEBANK                                        JOHANNESBURG                     2196           SOUTH AFRICA
6795596   TIMOTHY BRYAN BELL                                            2117 VETERANS MEMORIAL BLVD                #322                                                                                      METAIRIE            LA           70002
6795597   TIMOTHY TIMMS LLC                                             F/S/O TIMOTHY TIMMS                        1863 PENTUCKETT AVE.                                                                      SAN DIEGO           CA           92104
6795598   TINELLO HOLDINGS LTD.                                         C/O HIRSCH WALLERSTEIN HAYUM MATLOF &      FISHMAN, LLP ATT: BOB WALLERSTEIN, ESQ.   10100 SANTA MONICA               SUITE 1700     LOS ANGELES         CA           90067
6795599   TINYPASS                                                      105 HUDSON STREET                          #401                                                                                      NEW YORK            NY           10013
6795600   TOBY HOLGUIN                                                  110 PINE RIDGE DR.                                                                                                                   WALLACE             NC           28466
6795601   TOBY HOLGUIN                                                  1425 AVENEL DRIVE                                                                                                                    WILMINGTON          NC           28411
6795590   TODD GARNER                                                   2121 AVENUE OF THE STARS                   # 2560                                                                                    LOS ANGELES         CA           90067
6795591   TODD STEIN                                                    C/O WILLIAM MORRIS ENDEAVOR                ATTN: DANNY GREENBERG & JEFF GORIN        9601 WILSHIRE BLVD., 3RD FLOOR                  BEVERLY HILLS       CA           90210
6795592   TOIL AND TROUBLE                                              C/O INTERNATIONAL CREATIVE MANAGEMENT      10250 CONSTELLATION BLVD                                                                  LOS ANGELES         CA           90067
6795593   TOIL AND TROUBLE INC                                          8942 WILSHIRE BOULEVARD                                                                                                              BEVERLY HILLS       CA           90211
6795594   TOIL AND TROUBLE, INC C/O INTERNATIONAL CREATIVE MANAGEMENT   ATTN: ROBERT LAZAR                         10250 CONSTELLATION BLVD.                                                                 LOS ANGELES         CA           90067
6795584   TOIL AND TROUBLE, INC. F/S/O DAVID TWOHY                      C/O ICM PARTNERS                           ATTN: JOHN BURNHAM                        10250 CONSTELLATION                             LOS ANGELES         CA           90067
                                                                        C/O BLOOM HERGOTT DIEMER ROSENTHAL                                                   ATTN: DAVID FELDMAN AND          150 S. RODEO
6795585 TOM ARNOLD                                                      LAVIOLETTE                                 FELDMAN, SCHENKMAN & GOODMAN LLP          PATRICK KNAPP                    DRIVE, THIRD   BEVERLY HILLS       CA           90212
                                                                                                                   ATTN: ABRAM NALIBOTSKY & SANDRA
6795586 TOM DONNELLY & JOSH OPPENHEIMER                                 C/O GERSH AGENCY                           LUCCHESI, AGENT                           232 N CANON DRIVE                               BEVERLY HILLS       CA           90210
6795587 TOM DONNELLY WITH OPPENHEIMER                                   C/O GERSH AGENCY                           ATTN: ABRAM NALIBOTSKY & SANDRA           232 N. CANON DRIVE                              BEVERLY HILLS       CA           90210
6795583 TOM WERME                                                       220 SYCAMORE CREEK ROAD                                                                                                              FORT MILL           SC           29708
                                                                        C/O BLOOM HERGOTT DIEMER ROSENTHAL                                                                              150 SOUTH
6795589   TOMMY WIRKOLA                                                 LAVIOLETTE                                 FELDMAN SCHENKMAN & GOODMAN LLP           ATTN: MICHAEL SCHENKMAN    RODEO DRIVE,         BEVERLY HILLS       CA           90212
6864890   TOMSON INTERNATIONAL ENTERTAINMENT DISTRIBUTION, LTD.         ATTN: YVONNE CHUANG                        ROOMS 1507-12, 15/F, WINGS ON CENTER      111 CONNAUGHT ROAD CENTRAL                                                                      HONG KONG
6795572   TOUCHSTAR CNIEMAS INC.                                        12441 S ORANGE BLOSSOM                                                                                                               ORLANDO             FL           32837
6795573   TOY BOX ENTERTAINMENT                                         400 S. VICTORY BLVD.                                                                                                                 BURBANK             CA           91502
6795574   TRACI DANIELLE                                                100 S. EOLA DR                             SUITE 200                                                                                 ORLANDO             FL           32801
6795575   TRADEMARK CINEMAS                                             770 RIVERSIDE DRIVE                                                                                                                  CORAL SPRINGS       FL           33071
6795576   TRAILER PARK, INC.                                            6922 HOLLYWOOD BLVD.                       12TH FLOOR                                                                                HOLLYWOOD           CA           90028
6864891   TRANS LUX CIN-CONSULTING                                      4605 LANKERSHIM BLVD #408                                                                                                            N. HOLLYWOOD        CA           91602
6795566   TREE MEDIA GROUP F/S/O NADIA CONNERS                          C/O WILLIAM MORRIS AGENCY                  ATTN: DANNY GABAI                         ONE WILLIAM MORRIS PLACE                        BEVERLY HILLS       CA           90212
6795537   TRI STATE THEATRES                                            690 ISLAND WAY #1110                                                                                                                 CLEARWATER          FL           33767
6795569   TRIANGLE RECORDING COMPANY LIMITED                            184 INGRAVE ROAD, BRENTWOOD                                                                                                          ESSEX                            BN13 2AG       UNITED KINGDOM
6795570   TRIGGER GLOBAL INC.                                           2237 CORINTH AVE.                                                                                                                    LOS ANGELES         CA           90064
6864892   TRIGGER STREET PRODUCTIONS, INC. C/O FRANK SELVAGGI           ATTN: GENERAL COUNSEL                      ALTMAN, GREENFIELD, & SELVAGGI            200 PARK AVENUE SOUTH            8TH FLOOR      NEW YORK            NY           10003
6795545   TRIPICTURES, S.A.                                             ENRIQUE JARDIEL PONCELA, 4                                                                                                           MADRID                           28016          SPAIN
6795546   TRISTAN BOSTON                                                OBO FIRE HAZARD MUSIC [PUBLISHING          2529 S. SEPULVEDA BLVD                                                                    LOS ANGELES         CA           90064
6864893   TRUE MOON SKYE, INC.                                          REC#482-TRUE MOON SKYE, INC./N/A           AGENT: BARRY GREENFIELD                   10960 WILSHIRE BLVD STE 1900                    LOS ANGELES         CA           90024
6795541   TRUTH RECORDS, LLC                                            2170 BUCKTHORNE PLACE                      SUITE 400                                                                                 THE WOODLANDS       TX           77380
6864894   TUCKER TOOLEY                                                 17820 CASTELLANARA DRIVE                                                                                                             PACIFIC PALISADES   CA           90272
                                                                                                                                                                                              1840 CENTURY
6795533   TURN LEFT PRODUCTIONS, LLC                                    JACKSON NGUYEN AND TODD CRITES             ATTN: DAVID MARKMAN                       C/O GREENBERG TRAURIG, LLP       PARK EAST,     LOS ANGELES         CA           90067-2121
6795531   TURNER ENTERTAINMENT NETWORKS, INC.                           ATTN: DEBORAH BRADLEY, SR VICE PRESIDENT   PROGRAM PLANNING & ACQUISITIONS           1050 TECHWOOD DRIVE, NW                         ATLANTA             GA           30318-5604
6795530   TURNER ENTERTAINMENT NETWORKS. INC.                           1050 TECHWOOD DRIVE, NW                                                                                                              ATLANTA             GA           30318-5604
6795532   TURNER ENTERTAINMENT NETWORKS. INC.                           TURNER ENTERTAINMENT NETWORKS. INC.        TURNER ENTERTAINMENT NETWORKS. INC. 1050 TECHWOOD DRIVE, NW                               ATLANTA             GA           30318-5604
6864895   TURNTHEVOLUMEUP, INC.                                         TURN THE VOLUME UP, INC.-                                                                                                            SANTA CLARITA       CA           91380
6795535   TVGLA                                                         JOHN SEXTON                                TVGLA-5340 ALLA RD                        #100                                            LOS ANGELES         CA           90066
6864896   TVN ENTERTAINMENT CORPORATION                                 ATTN: DOUGLAS H. SYLVESTER, CHIEF          15301 VENTURA BLVD.                       BLDG E, SUITE 3000                              SHERMAN OAKS        CA           91403
6864897   TWELVESIXTY, LLC                                              ATTN: GENERAL COUNSEL                      PO BOX 6470                                                                               MALIBU              CA           90264
6795528   TWELVESIXTY, LLC                                              ATTN: ROBERT MARDEROSIAN                   P.O. BOX 6470                                                                             MALIBU              CA           90264
6795529   TWENTIETH CENTURY FOX ENTERTAINMENT LLC                       P.O. BOX 900                                                                                                                         BEVERLY HILLS       CA           90213
6795518   TWENTIETH CENTURY FOX FILM CORPORATION                        P.O. BOX 900                                                                                                                         BEVERLY HILLS       CA           90213
6795519   TWENTIETH CENTURY FOX HOME ENTERTAINMENT CANADA LIMITED       PO BOX 900                                                                                                                           BEVERLY HILLS       CA           90213
6864898   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC                  ATTN: EXECUTIVE VP, LEGAL DEPARTMENT       2121 AVENUE OF THE STARS                  SUITE 1441                                      LOS ANGELES         CA           90067
6795520   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC & CINRAM         P.O. BOX 900                                                                                                                         BEVERLY HILLS       CA           90213
6795513   TWENTIETH CENTURY FOX HOME ENTERTAINMENT LLC ("FOX")          P.O. BOX 900                                                                                                                         BEVERLY HILLS       CA           90213
6864899   TWENTIETH CENTURY FOX HOME ENTERTAINMENT, LLC                 ATTN: EXECUTIVE VICE PRESIDENT, LEGAL      P.O. BOX 900                                                                              BEVERLY HILLS       CA           90213
6864900   TWENTIETH CENTURY FOX HOME ENTERTAINMENT, LLC                 ATTN: GENERAL COUNSEL                      2121 AVENUE OF THE STARS                  SUITE 1441                                      LOS ANGELES         CA           90067
6795517   TWENTIETH CENTURY FOX HOME ENTERTAINMENT, LLC                 HARRIS KANE, SENIOR VP, LEGAL AFFAIRS      PO BOX 900                                                                                BEVERLY HILLS       CA           90213




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 MMLID                                  NAME                                                 ADDRESS                                    ADDRESS 2                            ADDRESS 3           ADDRESS 4           CITY        STATE    POSTAL CODE        COUNTRY
6795476   TWIN STATES BOOKING SERV.                                        PO BOX 471163                                                                                                                     CHARLOTTE        NC         28947
6795477   TWO BOATS WAWA F/S/O MILES CHAPMAN                               C/O PARADIGM AGENCY                          360 NORTH CRESCENT DRIVE                NORTH BUILDING                               BEVERLY HILLS    CA         90210
6795478   TWO BOATS WAWA F/S/O MILES CHAPMAN                               C/O PARADIGM AGENCY                          ATTN: MARK ROSS                         360 NORTH CRESCENT DRIVE      NORTH          BEVERLY HILLS    CA         90210
6795479   TWO DOG LIMIT PRODUCTIONS, INC.                                  150 S. RODEO DRIVE                           3RD FLOOR                                                                            BEVERLY HILLS    CA         90212
6795480   TWR PRODUCTIONS, INC.                                            C/O SLOANE OFFER WEBER AND DERN, LLP         ATTN: HARRIS HARTMAN, ESQ.              9601 WILSHIRE BLVD.           SUITE 500      BEVERLY HILLS    CA         90210
6864901   UA FILM                                                          OPERATION BY LARK FILMS DISTRIBUTION LTD.    23/F, LEGEND TOWER                      7 SHING YIP STREET                           KWUN TONG        KOWLOON                   HONG KONG
6864902   UA FILMS (OPERATED BY LARK FILMS DISTRIBUTION LTD.)              23/F LEGEND TOWER                            7 SHING YIP STREET                                                                   KWUN TONG        KOWLOON                   HONG KONG
6795471   ULTRA INTERNATIONAL MUSIC PUBLISHING, LLC                        235 W. 23RD STREET, 6TH FLOOR                                                                                                     NEW YORK         NY         10011
6795472   ULTRA STAR THEATRES                                              1200 65TH ST., #212                                                                                                               EMERYVILLE       CA         94608
6864903   ULTRAV HOLDINGS, LLC                                             ATTN: GENERAL COUNSEL                        660 MADISON AVENUE, 15TH FLOOR                                                       NEW YORK         NY         10065
6795474   UMG RECORDINGS                                                   1755 BROADWAY                                                                                                                     NEW YORK         NY         10019
6864904   UMG RECORDINGS INC                                               2220 COLORODO AVE 3RD FL                                                                                                          SANTA MONICA     CA         90404
6795464   UMG RECORDINGS INC                                               UNIVERSAL MUSIC ENTERPRISES                  2220 COLORADO AVENUE                    3RD FLOOR                                    SANTA MONICA     CA         90404
6795473   UMGN                                                             UMG NASHVILLE                                401 COMMERENCE STREET                   SUITE 1100                                   NASHVILLE        TN         37027
6864905   UNDERWORLD                                                       C/O CHRYSTALIS MUSIC GROUP                   8447 WILSHIRE BLVD                      SUITE 400                                    BEVERLY HILLS    CA         90211
6864906   UNIFI COMPLETION GURANTY INSURANCE SOLUTION INC.                 UNIFI COMPLETION GURANTORS                   22287 MULHOLAND HIGHWAY                 #367                                         CALABASAS        CA         91302
6795467   UNION BANK, N.A                                                  120 SOUTH SAN PEDRO STREET                   4TH FLOOR                                                                            LOS ANGELES      CA         90012
6795469   UNION BANK, N.A                                                  ATTN: STEPHEN W. BOUGHTON                    1901 AVENUE OF THE STARS                SUITE 600                                    LOS ANGELES      CA         90067
6864907   UNION BANK, N.A.                                                 ATTN: STEPHEN W. BOUGHTON                    120 SOUTH SAN PEDRO STREET              4TH FLOOR                                    LOS ANGELES      CA         90012
6864908   UNISON MUSIC GROUP, LLC                                          9100 WILSHIRE BLVD                           SUITE 400W                                                                           BEVERLY HILLS    CA         90212
6864910   UNITED CHAMPS ASSETS, LTD.                                       325 WATERFRONT DRIVE                         OMAR HODGE BUILDING, 2ND FLOOR                                                                        TORTOLA                   BRITISH VIRGIN
6864909   UNITED CHAMPS ASSETS, LTD.                                       ATTN: LI KAI KONG                            325 WATERFRONT DRIVE                    OMAR HODGE BUILDING, 2ND      WICKHAMS CAY   ROAD TOWN        TORTOLA                   BRITISH VIRGIN
6795461   UNITED MULTIMEDIA NETWORK CO., LTD                               GAZAR BUSINESS CENTER                        SUITE 310, PO BOX A830 (THE MORNING                                                  ULAANBAATAR                                MONGOLIA
6795462   UNITED TALENT AGENCY                                             9336 CIVIC CENTER DR.                                                                                                             BEVERLY HILLS    CA         90210
6795452   UNITED TALENT AGENCY                                             ATTN: JIM BERKUS                             9336 CIVIC CENTER DR                                                                 BEVERLY HILLS    CA         90210
6795463   UNITED TALENT AGENCY                                             FRED HASHAGEN                                9336 CIVIC CENTER DR                                                                 BEVERLY HILLS    CA         90210
6795453   UNITED THEATRE SERVICE                                           PO BOX 13153                                                                                                                      MILL CREEK       WA         98082
6795454   UNIVERAL MUSIC ENTERPRISES                                       2220 COLORADO AVENUE                         3RD FLOOR                                                                            SANTA MONICA     CA         90404
6795455   UNIVERSAL CITY STUDIOS LLC                                       100 UNIVERSAL CITY PLAZA                                                                                                          UNIVERSAL CITY   CA         91608-1002
6795456   UNIVERSAL CITY STUDIOS PRODUCTION LLLP                           100 UNIVERSAL CITY PLAZA                                                                                                          UNIVERSAL CITY   CA         91608-1002
                                                                                                                        VICE-PRESIDENT VIDEO, MUSIC & PRODUCT
6795448   UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP                          SHELLI HILL                                  DEVELOPMENT                           100 UNIVERSAL CITY PLAZA                       UNIVERSAL CITY   CA         91608-1002
6795451   UNIVERSAL CITY STUDIOS PRODUCTIONS LLP                           9560 WILSHIRE BLVD                           SUITE 500                                                                            BEVERLY HILLS    CA         90212
6795409   UNIVERSAL MUSIC - Z SONGS ON BEHALF OF IMAGEM LONDON LTD.        ATTN: FILM AND TV DEPT.                      2100 COLORADO AVENUE                                                                 SANTA MONICA     CA         90404
6795440   UNIVERSAL MUSIC CORP                                             2100 COLORADO AVE                                                                                                                 SANTA MONICA     CA         90404
6795441   UNIVERSAL MUSIC ENTERPRISES                                      2200 COLORADO AVENUE                         3RD FLOOR                                                                            SANTA MONICA     CA         90404
6795432   UNIVERSAL MUSIC ENTERPRISES                                      2220 COLORADO AVENUE                         3RD FL                                                                               SANTA MONICA     CA         90404
6795424   UNIVERSAL MUSIC ENTERPRISES                                      A DIVISION OF UMB RECORDINGS, INC.           ATTN: SVP - BUSINESS AFFAIRS            2220 COLORADO AVENUE          3RD FLOOR      SANTA MONICA     CA         90404
6795426   UNIVERSAL MUSIC ENTERPRISES                                      A DIVISION OF UMG RECORDINGS, INC.           2220 COLORADO AVE                                                                    SANTA MONICA     CA         90404
6795417   UNIVERSAL MUSIC ENTERPRISES                                      ATTN: JOHN RAY                               2200 COLORADO AVE.                      3RD FL.                                      SANTA MONICA     CA         90404
6795418   UNIVERSAL MUSIC ENTERPRISES                                      ATTN: SR. VICE PRESIDENT, BUSINESS AFFAIRS   2220 COLORADO AVENUE                    3RD FLOOR                                    SANTA MONICA     CA         90404
6795416   UNIVERSAL MUSIC ENTERPRISES                                      C/O UMG RECORDINGS                           2220 COLORADO AVENUE                    3RD FLOOR                                    SANTA MONICA     CA         90404
6795427   UNIVERSAL MUSIC ENTERPRISES                                      COLORADO AVENUE                              3RD FLOOR                                                                            SANTA MONICA     CA         90404
6795425   UNIVERSAL MUSIC ENTERPRISES A DIVISION OF UMG RECORDINGS, INC.   220 COLORADO AVENUE 3RD FLOOR                                                                                                     SANTA MONICA     CA         90404
6795420   UNIVERSAL MUSIC GROUP                                            2100 COLORADO AVE                                                                                                                 SANTA MONICA     CA         90404
6795408   UNIVERSAL MUSIC-Z SONGS ON BEHALF OF IMAGEM LONDON LTD           ATT: FILM AND TVDEPT                         2100 COLORADO AVE                                                                    SANTA MONICA     CA         90210
6795398   UNIVERSAL MUSIC-Z SONGS ON BEHALF OF IMAGEM LONDON LTD           ATTN: FILM & TV DEPT.                        2100 COLOROADO AVENUE                                                                SANTA MONICA     CA         90404
6795399   UNIVERSAL PICTURE A DIVITION OF UNIVERSAL CITY STUDIOS LLP       ATTN: FEATURE LAW DEPARTMENT                 100 UNIVERSAL CITY PLAZA                UNIVERSAL CITY                               UNIVERSAL CITY   CA         91608-1002
6795400   UNIVERSAL PICTURES                                               100 UNIVERSAL CITY PLAZA 13201 3W                                                                                                 UNIVERSAL CITY   CA         91608
6795402   UNIVERSAL PICTURES                                               A DIVISION OF UNIVERSAL CITY STUDIOS LLLP    100 UNIVERSAL CITY PLAZA 500/7                                                       UNIVERSAL CITY   CA         91608
6795403   UNIVERSAL PICTURES                                               A DIVISION OF UNIVERSAL CITY STUDIOS LLLP    ATTN: BUSINESS AFFAIRS                  100 UNIVERSAL CITY PLAZA       BLDG 2160/8   UNIVERSAL CITY   CA         91608
6795392   UNIVERSAL PICTURES                                               A DIVISION OF UNIVERSAL CITY STUDIOS LLLP    ATTN: FEATURE LAW DEPARTMENT            100 UNIVERSAL CITY PLAZA 500/7               UNIVERSAL CITY   CA         91608
6864911   UNIVERSAL PICTURES                                               A DIVISION OF UNIVERSAL CITY STUDIOS LLP     100 UNIVERSAL CITY PLAZA                                                             UNIVERSAL CITY   CA         91608
6795386   UNIVERSAL PICTURES                                               ATTN: FEATURE LAW DEPARTMENT                 100 UNIVERSAL CITY PLAZA 500/7                                                       UNIVERSAL CITY   CA         91608
6795394   UNIVERSAL PICTURES, A DIVISION OF UNIVERSAL CITY STUDIOS LLP     ATTN: FEATURE LAW DEPARTMENT                 100 UNIVERSAL CITY PLAZA                13201 3W                                     UNIVERSAL CITY   CA         91608
6795395   UNIVERSAL PICTURES, A DIVISION OF UNIVERSAL CITY STUDIOS LLP     ATTN: FEATURE LAW DEPARTMENT                 100 UNIVERSAL CITY PLAZA                                                             UNIVERSAL CITY   Ca         91608-1002
6795396   UNIVERSAL PICTURES, A DIVISION OF UNIVERSAL CITY STUDIOS LLP     ATTN: FEATURE LAW DEPARTMENT                 100 UNIVERSAL CITY PLZ                                                               UNIVERSAL CITY   CA         91608
6864912   UNIVERSAL PICTURES, A DIVISION OF UNIVERSAL CITY STUDIOS LLP     ATTN: PHILIP M. COHEN                        100 UNIVERSAL CITY PLAZA                13201 3W                                     UNIVERSAL CITY   CA         91608
6795397   UNIVERSAL PICTURES, A DIVISION OF UNIVERSAL STUDIOS, LLLP        ATTN: PHIL COHEN AND DAVID BUNTZ             100 UNIVERSAL CITY PLZ                                                               UNIVERSAL CITY   CA         91608-1002
6795387   UNIVERSAL PUBLISHING                                             PAULINE NEAL                                 DIRECTOR, FILM & TV MUSIC               2100 COLORADO AVENUE                         SANTA MONICA     CA         90404
6795388   UNIVERSAL STUDIOS                                                LICENSING                                    TAMARA WOOLFORK SVP                     100 UNIVERSAL CITY PLZ                       UNIVERSAL CITY   CA         91608-1002
6795389   UNIVERSAL TELEVISION NETWORKS                                    30 ROCKEFELLAR PLAZA                                                                                                              BEVERLY HILLS    CA         90210
6795382   UNIVERSAL TELEVISION NETWORKS                                    ATTN: PRESIDENT, USA NETWORK                 30 ROCKEFELLER PLAZA                                                                 NEW YORK         NY         10112




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6795375   UNIVISION NETWORK                                  ATTN: SVP BUSINESS AFFAIRS                  9405 N.W. 41STREET                                                                    MIAMI            FL         33178
6795378   UNUM                                               P.O. BOX 406990                                                                                                                   ATLANTA          GA         30384
6795377   UNUM LIFE INSURANCE COMPANY                        P.O. BOX 406990                                                                                                                   ATLANTA          GA         30384
6795376   UNUM LIFE INSURANCE COMPANY OF AMERICA             2211 CONGRESS STREET                                                                                                              PORTLAND         ME         04122
6795379   VAGRANT RECORDS, LLC                               5566 WEST WASHINGTON BLVD.                                                                                                        LOS ANGELES      CA         90016
6864913   VAGRANT RECORDS, LLC                               MR. DAN GILL                                6351 WILSHIRE BOULEVARD                 2ND FLOOR                                     LOS ANGELES      CA         90048
6864914   VALUABLE TECHNOLOGIES                              ATTN: ALEXANDRA PINA                        100 W FOREST AVE.                       SUITE F                                       ENGLEWOOD        NJ         07631
6864915   VAN LEE                                            AT & T                                      1150 S OLIVE STREET                                                                   LOS ANGELES      CA         90015
6795371   VANESS MERREL                                      OSBRINK TALENT AGENCY                       4343 LANKERSHIM BLVD                    SUITE 100                                     UNIVERSAL CITY   CA         91602
6795363   VARESE SARABANDE RECORDS INC                       11846 VENTURA BOULEVARD                     SUITE 130                                                                             STUDIO CITY      CA         91604
6795364   VARIETY MEDIA LLC                                  5700 WILSHIRE BLVD                          SUITE 120                                                                             LOS ANGELES      CA         90036
6795365   VELVET APPLE MUSUC                                 C/O GELFAND RENNERT &                       FELDMAN LLP                             1880 CENTURY PARK             EAST SUITE 1600 LOS ANGELES      CA         90067
6864916   VERITE CAPITAL ONSHORE LOAN FUND LLC               C/O STARK ONSHORE ANAGEMENT, LLC            ATTN: TODD TURALL                       3600 SOUTH LAKE DRIVE                         ST. FRANCIS      WI         53235
6795367   VERITE CAPITAL ONSHORE LOAN, LLC                   ATTENTION: TODD TURALL                      C/O STARK ONSHORE MANAGEMENT LLC        3600 SOUTH LAKE DRIVE                         ST. FRANCIS      WI         53252
6864917   VERIZON CORPORATE SERVICES GROUP, INC.             ATTN: VICE PRESIDENT, PROGRAMMING           140 WEST ST.                            22ND FLOOR                                    NEW YORK         NY         10007
6795350   VERONICA MERRELL                                   ROAR                                        9701 WILSHIRE BLVD                      8TH FL                                        BEVERLY HILLS    CA         90213
6795351   VETERINARY PET INSURANCE COMPANY                   1800 E IMPERIAL HWY1                                                                                                              BREA             CA         92821
6795345   VIACOM INTERNATIONAL INC.                          ATTN: TOM ZAPPALA                           345 HUDSON STREET, 7TH FLOOR                                                          NEW YORK         NY         10014
6795346   VIACOM INTERNATIONAL INC.                          TOM ZAPPALA, EVP, PROGRAMMING               345 HUDSON STREET                                                                     NEW YORK         NY         10014
6795347   VIACOM MEDIA NETWORKS                              1515 BROADWAY                                                                                                                     NEW YORK         NY         10036
6795348   VIACOM MEDIA NETWORKS                              345 HUDSON STREET, 9TH FLOOR                                                                                                      NEW YORK         NY         10014
6795338   VIACOM MEDIA NETWORKS                              ATTN: TOM ZAPPALA                           345 HUDSON STREET, 7TH FLOOR                                                          NEW YORK         NY         10014
6795339   VIACOM MEDIA NETWORKS                              ATTN: TOM ZAPPALA, EVP/PROGRAMMING          345 HUDSON STREET                       7TH FLOOR                                     NEW YORK         NY         10014
6795349   VIACOM MEDIA NETWORKS, A DIVISION OF               VIACOM INTERNATIONAL INC.                   ATTN: COUNSEL, BUSINESS & LEGAL         345 HUDSON STREET, 9TH FLOOR                  NEW YORK         NY         10014
6795340   VIDEOHELPER, INC.                                  ATTN: MS. MAURA MURPHY                      50 W 17TH STREET                        10TH FLOOR                                    NEW YORK         NY         10011
6864918   VIGGLE                                             902 BROADWAY                                                                                                                      NEW YORK         NY         10010
6795336   VILLAGE ROADSHOW FILM DISTRIBUTORS GREECE S.A      YANNIS KALFAKAKOS, CEO                      VICTOR SYRIGOS, CFO                     47, MARINOU ANTYPA            141 21 NEO      ATHENS                                     GREECE
6795337   VILLAGE ROADSNOW FILM DISTRIBUTORS GREECE S.A      47 MARIOU ANTYPA                            141 21 NEO IRAKLEIO                                                                   ATHENS                                     GREECE
6795326   VILLAGE THEATRES                                   8605 WHITE ROCK TRAIL                                                                                                             DALLAS           TX         75238
6795327   VINCENT GARCIA                                     59-420 KAMEHAMEHA HWY                                                                                                             HALEIVA          HI         96712
6795330   VIP LIMITED PARTNERSHIP                            424 FORT HILL DRIVE, BUILDING 128                                                                                                 NAPERVILLE       IL         60540
6795331   VIP LIMTIED PARTNERSHIP                            424 FORT HILL DRIVE                         BUILDING 128                                                                          NAPERVILE        IL         60540
6795321   VIRGIN MANAGEMENT USA, INC.                        65 BLEECKER ST., #6                                                                                                               NEW YORK         NY         10012
6795314   VIRGIN PRODUCED, LLC                               ATTN: JASON FELTS                           23679 CALABASAS ROAD                    SUITE 980                                     CALABASAS        CA         91302
6795322   VIRGIN PRODUCED, LLC                               C/O DMF LAW                                 ATTN: DARIN FRANK, ESQ.                 9454 WILSHIRE BOULEVARD       SUITE 300       BEVERLY HILLS    CA         90212
6795325   VIRGIN PRODUCED, LLC                               C/O EISNER FRANK & KAHAN                    ATTN: DARIN FRANK, ESQ                  9601 WILSHIRE BLVD            SUITE 700       BEVERLY HILLS    CA         90210
6864921   VIRGIN PRODUCED, LLC                               C/O EISNER, FRANK & KAHAN                   9601 WILSHIRE BOULEVARD                 SUITE 700                                     BEVERLY HILLS    CA         90210
6864919   VIRGIN PRODUCED, LLC                               C/O EISNER, FRANK & KAHAN                   ATTN: DARIN FRAKN, ESQ.                 9601 WILSHIRE BOULEVARD       SUITE 700       BEVERLY HILLS    CA         90210
6864920   VIRGIN PRODUCED, LLC                               JASON FELTS                                 9601 WILSHIRE BOULEVARD                 SUITE 700                                     BEVERLY HILLS    CA         90210
6795317   VISION MEDIA MANAGEMENT                            ATTN: MICHAEL ALVAREZ, JR.                  29125 AVENUE PAINE                                                                    VALENCIA         CA         91355
6795308   VIVA COMMUNICATIONS                                E.O.C.E.                                    NO. 375                                                                               AJMAN                                      UNITED ARAB
6795310   VIVA COMMUNICATIONS                                VINCENTE R DEL ROSARIO, JR                  E.O.C.E.                                NO. 375                                       AJMAN                                      UNITED ARAB
6795309   VIVA COMMUNICATIONS, INC.                          7TH FLOOR, EAST TOWER                       PHILLIPPINE STOCK EXCHANGE CENTER                                                     PASIGN                                     PHILLIPPINES
6795311   VIVIAN, PETE                                       36 CONDIT COURT                                                                                                                   ROSELAND         NJ         07068
6795312   VMN/MTV                                            ATTN: BUSINESS & LEGAL AFFAIRS              345 HUDSON ST.                          OFFICE 3-209                                  NEW YORK         NY         10014
6795313   VOBILE, INC.                                       ATTN: PRESIDENT                             4699 OLD IRONSIDES DRIVE                SUITE 430                                     SANTA CLARA      CA         95054
6795302   VOCUS, INC.                                        SCOTT TANENBAUM, SALES REP                  MATTHEW MELNICK, VP / SALES             12051 INDIAN CREEK COURT                      BELTSVILLE       MD         20705
6795303   VOLGAFILM                                          4500 WOODMAN AVE                            2ND FLOOR                                                                             SHERMAN OAKS     CA         90210
6795304   VOLTAGE PICTURES, LLC                              AS AGENT FOR                                DON JON NEVADA, LLC                     662 N. CRESCENT HEIGHTS BLVD.                 LOS ANGELES      CA         90048
6795305   VONDERHAAR CINEMA SERVICE                          100 N MAIN                                                                                                                        WATFORD CITY     ND         58854
6795306   VUDU, INC.                                         2980 BOWERS AVE.                                                                                                                  SANTA CLARA      CA         95051
6864922   W2MEDIA B.V.                                       ATTENTION: WILCO WOLFERS                    MEEUWENLAAN 98-100                                                                    AMSTERDAM                   1021 JL        THE NETHERLANDS
6795300   WALDEN MEDIA, LLC                                  1888 CENTURY PARK EAST                      SUITE 1400                                                                            LOS ANGELES      CA         90067
6864923   WALLACE/HOLLYWOOD THEATRE                          919 SW TAYLOR STREET                        SUITE 800                                                                             PORTLAND         OR         97205
6479526   WALT DISNEY PICTURES                               500 S BUENA VISTA ST                                                                                                              BURBANK          CA         91521-2344
6795284   WALT DISNEY PICTURES                               BERNARDINE BRANDIS, EXECUTIVE VICE          500 S BUENA VISTA ST                                                                  BURBANK          CA         91521-2344
6795285   WALTER MEYER                                       2260 EL CAJON BLVD                          #516                                                                                  SAN DIEGO        CA         92104
6795286   WAPA-TV                                            ATTN: JIMMY ARTEAGA GRUSTEIN                VP PROGRAMMING & PROMOTIONS             AVE LUIS VIGOREAUX                            GUAYNABO         PR         00966
6795287   WARNER BROS. PICTURES                              4000 WARNER BOULEVARD                                                                                                             BURBANK          CA         91522
6864924   WARNER BROS. PICTURES                              A DIVISION OF WB STUDIO ENTERPRISES, INC.   ATTN: LEGAL DEPARTMENT                  400 WARNER BLVD                               BURBANK          CA         91522
6795289   WARNER BROTHERS RECORDS                            3300 WARNER BOULEVARD                                                                                                             BURBANK          CA         91505
6795279   WARNER MUSIC GROUP COMPANY                         3400 WEST OLIVE AVENUE                                                                                                            BURBANK          Ca         91505-4614
6795280   WARNER MUSIC NASHVILLE, LLC                        ATTN: GENERAL COUNSEL                       20 MUSIC SQUARE EAST                                                                  NASHVILLE        TN         37203




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                                                                                                                             Served First Class Mail
 MMLID                                NAME                                               ADDRESS                                  ADDRESS 2                             ADDRESS 3             ADDRESS 4             CITY         STATE    POSTAL CODE      COUNTRY
6795278   WARNER/CHAPPELL MUSIC                                         ATTN: WENDY CHRISTIANSEN                    10585 SANTA MONICA BLVD.                                                              LOS ANGELES       CA           90025
6795281   WARNER-TAMERLANE PUBLISHING CORP.                             C/O WARNER/CHAPPELL MUSIC, INC.             ATTN: GENERAL COUNSEL                   10585 SANTA MONICA BLVD.                      LOS ANGELES       CA           90025-4950
6795273   WARP MUSIC PUBLISHING                                         SPECTRUM HOUSE                              32-34 GORDAN HOUSE ROAD                                                               LONDON                         NW5 1LP      UNITED KINGDOM
6795274   WARP MUSIC PUBLISHING                                         ZYNC MUSIC                                  SPECTRUM HOUSE                          32-34 GORDON HOUSE ROAD                       LONDON                         NW51LP       UNITED KINGDOM
6795275   WARP RECORDS LIMITED                                          C/O ZYNC MUSIC GROUP LLC                    243 MULBERRY STREET                     SUITE 4R                                      NEW YORK          NY           10012
6864925   WAUGH ENTERTAINMENT, INC                                      C/O SLOAN OFFER WEBER AND DERN, LLP         ATTN: HARRIS HARTMAN, ESQ               9601 WILSHIRE BLVD.             SUITE 500     BEVERLY HILLS     CA           90210
6795268   WAXYLU FILMS, INC.                                            F/S/O JEFF WAXMAN                           24 BLUEBIRD LANE                                                                      PLAINVIEW         NY           11803
6795269   WAYFARE ENTERTAINMENT VENTURES, LLC                           435 WEST 19TH STREET                        4TH FLOOR                                                                             NEW YORK          NY           10011
6864926   WAYFARE ENTERTAINMENT VENTURES, LLC                           JAMES CAMERON, ANDREW WRIGHT                435 WEST 19TH STREET                    4TH FLOOR                                     NEW YORK          NY           10011
6795271   WB MUSIC CORP                                                 C/O WARNER/CHAPPELL MUSIC, INC              10585 SANTA MONICA BOULEVARD                                                          LOS ANGELES       CA           90025-4950
6795260   WB MUSIC CORP.                                                C/O WARNER/CHAPPELL MUSIC, INC.             ATTN: GENERAL COUNSEL                   10585 SANTA MONICA BLVD.                      LOS ANGELES       CA           90025-4950
6795261   WDP(WALT DISNEY PICTURES )                                    ATTN: DEPUTY CHIEF COUNSEL,LEGAL AFFAIRS    500 SOUTH BUENA VIATA STREET                                                          BURBANK           CA           91521
6795263   WEHRENBERG THEAS                                              12800 MANCHESTER RD                                                                                                               ST. LOUIS         MO           63131
6795262   WEHRENBERG/RMC                                                12800 MANCHESTER RD                                                                                                               ST. LOUIS         MO           63131
6795264   WEINSTEIN GLOBAL FILM CORP.                                   ATTN: DAVID GLASSER                         375 GREENWICH STREET, 3RD FLOOR                                                       NEW YORK          NY           10013
6795256   WELLS FARGO                                                   PO BOX 6434                                                                                                                       CAROL STREAM      IL           60197
6795265   WELLS FARGO FINANCIAL LEASING                                 800 WALNUT STREET                           MAC N0005-055                                                                         DES MOINES        IA           50309
6795255   WELLS FARGO FINANCIAL LEASING, INC.                           800 WALNUT STREET                           MAC N0005-055                                                                         DES MOINES        IA           50309
6795254   WELLS FARGO FINANCIAL LEASING, INC.                           800 WALNUT, 4TH FLOOR                                                                                                             DES MOINES        IA           50309
6795248   WEST WORLD MEDIA LLC                                          63 COPPS HILL ROAD                                                                                                                RIDGEFIELD        CT           06877
6864927   WESTATES THEATRES, INC.                                       1111 BRICKYARD ROAD, # 106                                                                                                        SALT LAKE CITY    UT           84106
6795258   WESTEC MEDIA LIMITED                                          CITY HALL SHOPPING CENTER                   MONIRETH STREET (STREET 217)            SANGAT VEAL VONG, KHAN 7                      PHNOM PENH                                  CAMBODIA
6795259   WESTEC MEDIA LIMITED                                          NO. 35 STREET                               KHAN TOUL KORK                                                                        PHNOM PENH                                  CAMBODIA
6795249   WHI, INC.                                                     442 POST ST.                                10TH FLOOR                                                                            SAN FRANCISCO     CA           94102
6795252   WILEN DIRECT                                                  3333SW 15TH STREET                                                                                                                DEERFIELD BEACH   FL           33442
6795253   WILEN MEDIA CORP                                              A WILEN GROUP PARTNER COMPANY               5 WELLWOOD AVENUE                                                                     FARMINGDALE       NY           11735
6795244   WILLIAMS, LOREN/MOEN, BOB                                     3800 42ND AVE SOUTH                                                                                                               MINNEAPOLIS       MN           55406
6795245   WILSON THEATRE SERVICE                                        22035 167TH ST                                                                                                                    BIG LAKE          SD           55309
6795246   WIND POINT SPORTS LLC                                         345 MAPLE                                   SUITE 205                                                                             BEVERLY HILLS     CA           90210
6795247   WINESONG MUSIC (ASCAP)                                        1855 INDUSTRIAL STREET                      #604                                                                                  LOS ANGELES       CA           90021
6864929   WINSTON & STRAWN, LLP                                         ATTN: GENERAL COUNSEL                       333 S. GRAND AVENUE,                    38TH FLOOR                                    LOS ANGELES       CA           90071
6795237   WISCONSIN AMUSEMENT                                           PO BOX 2208                                                                                                                       FOND DU LAC       WI           54936
                                                                        C/O BLOOM HERGOTT DIEMER ROSENTHAL
6795238 WISE MONKEY FILMS                                               LAVIOLETTE FELDMAN SCHENKMAN &              ATTN: CARLOS GOODMAN                    150 SOUTH RODEO DRIVE           THIRD FLOOR   BEVERLY HILLS     CA           90212
6795239 WISE MONKEY FILMS, INC                                          150 SOUTH RODEO DRIVE                       THIRD FLOOR                                                                           BEVERLY HILLS     CA           90210
                                                                        C/O BLOOM HERGOTT DIEMER ROSENTHAL
6795240   WISE MONKEY FILMS, INC./ JASON KELLER, ARTIST                 LAVIOLETTE FELDMAN SCHENKMAN &              ATTN: CARLOS GOODMAN                    150 SOUTH RODEO DRIVE           THIRD FLOOR   BEVERLY HILLS     CA           90212
6795241   WIXEN MUSIC PUBLISHING, INC.                                  AS AGENT FOR MCMOORE MCLESST                24025 PARK SORRENTO                     SUITE 130                                     CALABASAS         CA           91302
6795232   WIXEN PUBLISHING, INC                                         24025 PARK SORRENTO                         STE 130                                                                               CALABASAS         CA           91302
6795233   WOLFPACK PRODUCTIONS, INC                                     F/S/O DANIEL ZACAPA                         901 WEDGEWOOD LANE                                                                    ASHEVILLE         NC           28803
6795234   WORKSHOP CREATIVE                                             9006 MELROSE AVE.                                                                                                                 WEST HOLLYWOOD    CA           90069
6795235   WORLDS END CREATIVE LICENSING, LLC                            183 NORTH MARTEL AVENUE                     SUITE 270                                                                             LOS ANGELES       CA           90036
6795224   WPIX, LLC                                                     220 E 42ND ST                               FLO 10                                                                                NEW YORK          NY           10017
6795225   WRITERS DEVELOPMENT, LTD                                      C/O LICHTER, GROSSMAN, NICHOLS, ADLER &     ATTN: LINDA LICHTER, ESQ                9200 SUNSET BLVD., SUITE 1200                 WEST HOLLYWOOD    CA           90069
6795227   WRITERS GUILD OF AMERICA                                      7000 W. THIRD STREET                                                                                                              LOS ANGELES       CA           90048-4329
6795221   WRITERS GUILD OF AMERICA                                      ATTN: GENERAL COUNSEL                       7000 WEST 3RD STREET                                                                  LOS ANGELES       CA           90048
6795220   WRITERS GUILD OF AMERICA                                      EMAL NESSARY                                OPERATIONS ADMINISTRATOR                7000 WEST 3RD STREET                          LOS ANGELES       CA           90048
6795197   WRITERS GUILD OF AMERICA WEST INC                             ON BEHALF OF WRITERS GUILD OF AMERICA       7000 W THIRD STREET                                                                   LOS ANGELES       CA           90048-4329
6795217   WRITERS GUILD OF AMERICA WEST INC.                            BEHALF OF WRITERS GUILD OF AMERICA, EAST    7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048-4329
6795199   WRITERS GUILD OF AMERICA WEST, INC.                           ATTN: SUSAN LOWRY                           7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048-4329
6795218   WRITERS GUILD OF AMERICA, EAST, INC.                          7000 W.THIRD STREET                                                                                                               LOS ANGELES       CA           90048-4329
6795215   WRITERS GUILD OF AMERICA, WEST, INC.                          7000 W.THIRD STREET                                                                                                               LOS ANGELES       CA           90048-4329
6795208   WRITERS GUILD OF AMERICA, WEST, INC.                          ATTN: DAVID YOUNG - EXECUTIVE DIRECTOR      7000 W.THIRD STREET                                                                   LOS ANGELES       CA           90048-4329
6795188   WRITERS GUILD OF AMERICA, WEST, INC.                          ATTN: VAERIE KORBISCH                       7000 W.THIRD STREET                                                                   LOS ANGELES       CA           90048-4329
6795189   WRITERS GUILD OF AMERICA, WEST, INC.                          ATTN: VALERIE KORDISCH                      7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048-4329
6795207   WRITERS GUILD OF AMERICA, WEST, INC.                          C/O WRITERS GUILD OF AMERICA, EAST, INC     7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048
6795193   WRITERS GUILD OF AMERICA, WEST, INC.                          WRITERS GUILD OF AMERICA, EAST, INC.        WGA                                     7000 W THIRD STREET                           LOS ANGELES       CA           90048
6795192   WRITERS GUILD OF AMERICA, WEST, INC. AND WRITERS GUILD OF     7000 W. THIRD STREET                                                                                                              LOS ANGELES       CA           90048-4329
6795210   WRITERS GUILD OF AMERICA, WEST, INC. FOR ITSELF               ON BEHALF OF WRITERS GUILD OF AMERICA,      7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048
6795209   WRITERS GUILD OF AMERICA, WEST, INC. FOR ITSELF AND O/B/O     WGA                                         7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048-4329
6795198   WRITERS GUILD OF AMERICA,WEST,INC. AND ON BEHALF OF WRITERS   FOR ITSELF AND ON BEHALF OF WRITERS GUILD   7000 W. THIRD STREET                                                                  LOS ANGELES       CA           90048-4329
6795182   WWE STUDIOS, INC.                                             12424 WILSHIRE BOULEVARD                    SUITE 1400                                                                            LOS ANGELES       CA           90025
6795183   WYNN REICHERT                                                 904 LAKESHORE DR                                                                                                                  GALLATIN          TN           37066




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 MMLID                                  NAME                                  ADDRESS                           ADDRESS 2                          ADDRESS 3         ADDRESS 4            CITY            STATE    POSTAL CODE      COUNTRY
6795184   WYNONNA JUDD                                       C/O BIG ENTERPRISES, LLC            ATTN: DENISE STEVENS, ESQ.              819 18TH AVENUE SOUTH                   NASHVILLE           TN           37203
6795185   XEROX                                              45 GLOVER AVE                                                                                                       NORWALK             CT           06856
6795186   XEROX FINANCIAL SERVICES, LLC                      45 GLOVER AVE                                                                                                       NORWALK             CT           06856
6795187   X-IT MUSIC INC.                                    ATTN: MR. TODD LEGAULT              1320 BURLEITH CRESCENT                                                          VICTORIA            BC           V9A 4B4      CANADA
6795178   XL SPECIALTY INSURANCE COMPANY                     ATTN: GENERAL COUNSEL               100 CONSTITUTION PLAZA                  17TH FLOOR                              HARTFORD            CT           06103
6864930   YFE HOLDINGS, INC.                                 ATTN: GENERAL COUNSEL               9130 SUNSET BOULEVARD                                                           LOS ANGELES         CA           90069
6795180   YOCHANAN MARCELLINO                                IDENTICAL PRODUCTION COMPANY, LLC   PO BOX 440                                                                      HARTSVILLE          TN           37074
6468843   YOU ONLY LIVE ONCE FILMS, LLC                      Address on File
                                                                                                                                                                                 SINGAPORE SCIENCE
6864931 YUUZOO CORPORATION                                   ATTN: THOMAS ZILLIAZCUS             20 SCIENCE PARK ROAD                    TELETECH PARK #03-11/14                 PARK II                          117674      SINGAPORE
                                                                                                                                                                                 SINGAPORE SCIENCE
6864932   YUUZOO CORPORATION LIMITED                         ATTN: THOMAS ZILLIAZCUS             20 SCIENCE PARK ROAD                    TELETECH PARK #03-11/14                 PARK II                          117674      SINGAPORE
6795175   YVONNE CRAIG                                       ELEV8                               489 S. ROBERTSON BLVD.                  SUITE 206                               BEVERLY HILLS       CA           90211
6469488   ZACH GALIFIANAKIS                                  Address on File
6795165   ZANELLITIVITY MUSIC, INC.                          C/O KRAFT-ENGEL MANAGEMENT          ATTN: GENERAL COUNSEL                   15233 VENTURE BOULEVARD   SUITE 200     SHERMAN OAKS        CA           91403
6795166   ZEALOT, INC.                                       6 WEST 18TH STREET                  #7L                                                                             NEW YORK            NY           10011
6795167   ZEFER INC                                          1621 ABBOT KINNEY BLVD                                                                                              VENICE              CA           90291
6795169   ZEFR, INC.                                         1621 ABBOT KINNEY BLVD                                                                                              VENICE              CA           90291
6795159   ZEFR, INC.                                         RICK RADDON CO-CEO                  2249 MALCOLM AVENUE                                                             LOS ANGELES         CA           90064
6795160   ZOMBIELAND PRODUCTIONS LLC                         10202 WEST WASHINGTON BOULEVARD                                                                                     CULVER CITY         CA           90232
6795161   ZURICH CINEMA CORP                                 5181 BROCKWAY LANE                                                                                                  FAYETTEVILLE        NY           13066
6795162   ZYNC MUSIC GROUP, LLC                              243 MULBERRY ST.                    SUITE 4RM                                                                       NEW YORK            NY           10012
6864933   ZYNC MUSIC GROUP, LLC                              243 MULBERRY STREET                 SUITE 4R                                                                        NEW YORK            NY           10012




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                                                                                                                       Supplemental Notice Parties Service List
                                                                                                                             Served as set forth below

 MMLID                    NAME                              ADDRESS                    ADDRESS 2            ADDRESS 3                 ADDRESS 4                    CITY     STATE POSTAL CODE                     EMAIL             METHOD AND DATE OF SERVICE
                                                                                                                                                                                                vburch@verliance.com;
6869106 AdSpace                                   Attn: Violet Burch            c/o Verliance Inc.       Legal Coordinator 43406 Business Park Drive         Temecula       CA   92590          Legal@verliance.com                 Email on 08/03/18
6871307 Carat LA                                  2700 Pennsylvania Ave.                                                                                     Santa Monica   CA   90404                                              First Class Mail on 08/06/18
6871526 Carat LA                                  150 East 42nd Street                                                                                       New York       NY   10017                                              First Class Mail on 08/06/18
                                                  Attn: James C. Vandermark &   c/o White and Williams   1650 Market        One Liberty Plaza, Suite                                            vandermarkj@whiteandwilliams.com;
6869084 Google LLC f/k/a Google Inc.              Steven E. Ostrow              LLP                      Street             1800                             Philadelphia   PA   19103-7395     Ostrows@whiteandwilliams.com        Email on 08/03/18




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